  Case 4:21-cv-01058-P Document 27 Filed 12/07/21                   Page 1 of 633 PageID 727



                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS


 PUBLIC HEALTH AND MEDICAL
 PROFESSIONALS FOR TRANSPARENCY,

                                  Plaintiff,                 Civil Action No. 4:21-cv-01058-P
        -against-

 FOOD AND DRUG ADMINISTRATION,

                                  Defendant.


           APPENDIX IN SUPPORT OF BRIEF FOR TIMELY PRODUCTION

       NOW COMES, Plaintiff Public Health and Medical Professionals for Transparency and

files this Appendix in Support of its Brief for Timely Production.


   Exhibit                              Description                                   Page No.


   A                Declaration of Peter McCullough, MD, MPH,                     App000001 –
                    President of Public Health and Medical Professionals          App000003
                    for Transparency (PHMPT)

   B                Declaration of Harvey Risch, MD, PhD                          App000004 –
                                                                                  App000102

   C                Declaration of Tom Jefferson, MD MRCGP FFPHM                  App000103 –
                                                                                  App000150

   D                Declaration of Peter McCullough, MD, MPH                      App000151 –
                                                                                  App000336

   E                Declaration of Aaron Siri, Esq.                               App000337 –
                                                                                  App000579

                    Unpublished Cases                                             App000580 –
                                                                                  App000631



                                               Page 1 of 2
 Case 4:21-cv-01058-P Document 27 Filed 12/07/21       Page 2 of 633 PageID 728




Dated: December 7, 2021


                             SIRI & GLIMSTAD LLP




                             Aaron Siri, NY Bar No. 4321790
                             Elizabeth A. Brehm, NY Bar No. 4660353
                             Gabrielle G. Palmer, CO Bar No. 48948
                             200 Park Avenue
                             New York, New York 10166
                             Tel: (212) 532-1091
                             Fax: (646) 417-5967
                             aaron@sirillp.com
                             ebrehm@sirillp.com
                             gpalmer@sirillp.com

                             HOWIE LAW, PC
                             John Howie
                             Texas Bar Number: 24027239
                             2608 Hibernia Street
                             Dallas, Texas 75204
                             Tel: (214) 622-6340
                             jhowie@howielaw.net

                             Attorneys for Plaintiff




                                  Page 2 of 2
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 3 of 633 PageID 729




                            Exhibit $




                                                                    App000001
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 4 of 633 PageID 730



                      81,7('67$7(6',675,&7&2857
                       1257+(51',675,&72)7(;$6
                                      
                                        
    38%/,&+($/7+$1'0(',&$/           
    352)(66,21$/6)2575$163$5(1&<     
                                                           
                         3ODLQWLII      &LYLO$FWLRQ1RFY3
        DJDLQVW                                         
                                        
    )22'$1''58*$'0,1,675$7,21
    
                         'HIHQGDQW
    


   '(&/$5$7,212)3(7(50&&8//28*+0'03+35(6,'(172)38%/,&
     +($/7+$1'0(',&$/352)(66,21$/6)2575$163$5(1&< 3+037 
                                          
,3HWHU0F&XOORXJKGHFODUHDVIROORZV

              ,PDNHWKLVVWDWHPHQWEDVHGXSRQP\RZQSHUVRQDONQRZOHGJHDQGDPSUHSDUHGWR

WHVWLI\WRWKHIDFWVDQGPDWWHUVVHWIRUWKKHUHLQ

              ,DPWKH3UHVLGHQWRI3XEOLF+HDOWKDQG0HGLFDO3URIHVVLRQDOVIRU7UDQVSDUHQF\

    ³3+037´ DQRWIRUSURILWRUJDQL]DWLRQZLWKDQRIILFHORFDWHGDW7H[DQ7UDLO6XLWH

*UDSHYLQH7H[DV

              3+037LVPDGHXSRISXEOLFKHDOWKSURIHVVLRQDOVPHGLFDOSURIHVVLRQDOVVFLHQWLVWV

DQGMRXUQDOLVWV,WFXUUHQWO\KDVPRUHWKDQPHPEHUVLQFOXGLQJDWOHDVWSURIHVVRUVDWPDMRU

XQLYHUVLWLHV  PHGLFDO GRFWRUV DQG WKUHH DUH MRXUQDOLVWV  3+037 PDLQWDLQV D ZHEVLWH DW

ZZZSKPSWRUJDQGLWVFXUUHQWOLVWRIPHPEHUVFDQEHIRXQGRQWKLVZHEVLWH

              0DQ\RI3+037¶VPHPEHUVLQFOXGLQJDOOLWV PHPEHUVZKRDUHMRXUQDOLVWV DUH

SULPDULO\HQJDJHGLQGLVVHPLQDWLQJLQIRUPDWLRQWRWKHSXEOLFDQGGRVRDFURVVYDULRXVSODWIRUPV

LQFOXGLQJWKURXJKLQWHUYLHZVDUWLFOHVEORJVHVVD\VDQGSRGFDVWV




                                                                                              App000002
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21                       Page 5 of 633 PageID 731



            3+037H[LVWVVROHO\WRREWDLQDQGGLVVHPLQDWHWKHGDWDUHOLHGXSRQE\WKH)'$WR

OLFHQVH&29,'YDFFLQHV3+037WDNHVQRSRVLWLRQRQWKHGDWDRWKHUWKDQLWVKRXOGEHPDGH

SXEOLFO\DYDLODEOHWRDOORZLQGHSHQGHQWH[SHUWVWRFRQGXFWWKHLURZQUHYLHZDQGDQDO\VHV

            ,Q IXUWKHUDQFH RI LWV PLVVLRQ DQG LQ DQ HIIRUW WR HQVXUH WKDW WKH )RRG DQG 'UXJ

$GPLQLVWUDWLRQLVWUDQVSDUHQW3+037VHHNVWRREWDLQWKHGDWDDQGLQIRUPDWLRQUHOLHGXSRQE\WKH

)'$WROLFHQVH3IL]HU¶V&29,'YDFFLQH

            3+037LQWHQGVWRPDNHDQ\UHFRUGVLWREWDLQVLQFOXGLQJIURPLWV)2,$UHTXHVW

LPPHGLDWHO\DYDLODEOHWRWKHSXEOLFWKURXJKERWKLWVZHEVLWHDQGLWVLQGLYLGXDOPHPEHUV¶SODWIRUPV



,GHFODUHXQGHUSHQDOW\RISHUMXU\XQGHUWKHODZVRIWKH8QLWHG6WDWHVRI$PHULFDWKDWWKHIRUHJRLQJ

                                                                  WK GD\ RI 'HFHPEHU  DW
LV WUXH DQG FRUUHFW WR WKH EHVW RI P\ NQRZOHGJH WKLV BBBBBB

 'DOODV           7H[DV
BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                           BBBBBBBBBBBBBBBBBBBBBBBB
                                                                                 B

                                                          3HWHU0F&XOORXJK0'03+




                                                                                                    App000003
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 6 of 633 PageID 732




                            Exhibit %




                                                                    App000004
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 7 of 633 PageID 733




                                                                   App000005
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 8 of 633 PageID 734




                                                                   App000006
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 9 of 633 PageID 735




                                                                   App000007
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 10 of 633 PageID 736




                                                                    App000008
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 11 of 633 PageID 737




                                                                    App000009
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 12 of 633 PageID 738




                                                                    App000010
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 13 of 633 PageID 739




                                                                    App000011
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 14 of 633 PageID 740




                                                                    App000012
Case 4:21-cv-01058-P Document 27 Filed 12/07/21      Page 15 of 633 PageID 741




  Curriculum Vitae of Harvey A. Risch, M.D., Ph.D.
                       (Exhibit A to Risch Declaration)




                                                                        App000013
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 16 of 633 PageID 742

                Curriculum Vitae for: HARVEY A. RISCH, M.D., PH.D.

                                   Professor of Epidemiology
                      Yale School of Public Health, Yale School of Medicine


Business Address:     Yale School of Public Health
                      60 College Street, LEPH 413
                      P.O. Box 208034, New Haven, CT 06520-8034
                      Phone: (203) 785-2848; Fax: (203) 785-4497
                      E-mail: harvey.risch@yale.edu


Education:
    Date            School                                Degree, Major
  9/80-12/82      University of Washington              Postdoctoral Fellow, Epidemiology
  9/76-8/80       University of Chicago                 Ph.D., Biomathematics
  9/72-6/76       UC San Diego School of Medicine       M.D., Medicine
  9/67-6/72       California Institute of Technology    B.S. (Honors), Biology; Mathematics


Professional Appointments:

   7/01-          Professor of Epidemiology, Department of Chronic Disease Epidemiology, Yale
                  School of Public Health, Yale School of Medicine, New Haven, CT.
   1/12-          Director, Molecular Cancer Epidemiology Laboratory and Shared Resource, Yale
                  Comprehensive Cancer Center and Yale School of Public Health
   9/06-8/07      Lady Davis Visiting Professor, Department of Community Medicine and
                  Epidemiology, Faculty of Medicine, Technion-Israel Institute of Technology, Haifa,
                  Israel
   1/91-6/01      Associate Professor of Epidemiology, Department of Epidemiology and Public
                  Health, Yale University School of Medicine.
   1/83-12/90     Epidemiologist-Biostatistician, Epidemiology Unit, National Cancer Institute of
                  Canada, Toronto, Ontario.
   7/90-12/90     Associate Professor, Department of Preventive Medicine and Biostatistics, University
                  of Toronto, Toronto, Ontario (Concurrent Appointment).
   1/83-6/90      Assistant Professor, Department of Preventive Medicine and Biostatistics, University
                  of Toronto, Toronto, Ontario (Concurrent Appointment).
   9/80-12/82     Postdoctoral Fellow, Department of Epidemiology, School of Public Health and
                  Community Medicine, University of Washington, Seattle, Washington.
   7/79-8/80      Postdoctoral Fellow, Department of Pathology, University of Chicago, Chicago,
                  Illinois.


h-Index: 9. Publication citations: more than 4,000 research citations as of -XQH 22, 2021.



                                                                                          App000014
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 17 of 633 PageID 743


Awards, Memberships, etc.:
     NSF Undergraduate Research Fellowship, Department of Mathematics, California Institute of
         Technology, Pasadena (6/70-9/70)
     General Medicine Stipended Externship, UC San Diego School of Medicine, La Jolla (6-9/73)
     Theoretical Biology Predoctoral Traineeship, University of Chicago (9/76-6/79)
     Pathobiology Postdoctoral Traineeship (GM 7190), University of Chicago (7/79-8/80)
     Cancer Epidemiology Postdoctoral Traineeship (CA 9168), University of Washington (9/80-12/82)
     Member, Society for Epidemiologic Research (1982- )
     Member, American Society of Preventive Oncology (1984- )
     Full Member, Sigma Xi (1986- )
     Fellow, American College of Epidemiology (1991- ); Member (1984-91)
     Member, Yale Cancer Center (1992- ), Sections: Cancer Prevention and Control; Gynecologic
         Oncology; Cancer Genetics
     “Best of the AACR Journals” for “Aspirin Use and Reduced Risk of Pancreatic Cancer,” one of
         the most highly cited Cancer Epidemiology, Biomarkers & Prevention (CEBP) articles
         published in 2016 (April 2018) ( http://aacrjournals.org/h-a-risch-bio )
     The Ruth Leff Siegel Award for Excellence in Pancreatic Cancer Research (2018), $50,000
         ( http://columbiasurgery.org/pancreas/ruth-leff-siegel-award )
     Member, Connecticut Academy of Science and Engineering (2019- )
     Highest attention paper ever published in the American Journal of Epidemiology (2020)
         (https://oxfordjournals.altmetric.com/details/82900954)
   Consortia:
      BEACON: Barrett's Esophagus and Esophageal Adenocarcinoma Consortium (2005- )
      OCAC: Ovarian Cancer Association Consortium (International Consortium of Case-Control
         Studies of Ovarian Cancer) (2005- )
      PanC4: Pancreatic Cancer Case-Control Consortium (2006- ); Elected Steering Committee
         Member (2008-2013, 2014-2017, 2018-2021)
      Panscan: Pancreas Cancer Genome-wide Association Study Consortium (2008- )
      CIMBA: Consortium of Investigators of Modifiers of BRCA1/2 (2017- )
Research Interests:
   Cancer epidemiology and etiology—Pancreas, Ovary, Lung, Breast, Stomach, Bladder, etc.
   Cancer genetic epidemiology: polymorphisms, major genes; Hormonal factors and cancer; Occupa-
      tional/environmental exposures and cancer; Diet and cancer; Helicobacter pylori and cancer
   Epidemiologic methods; Causal inference; Cancer registration, control and prevention
Teaching Experience:
   Advanced Epidemiologic Research Methods (Yale University CDE 619a) (Course developer)
   Fundamentals of Epidemiology (Yale University CDE/EMD 508) (Course developer)
   Principles of Epidemiology II (Yale University CDE 516) (Course developer)
   Research Methods in Epidemiology I (University of Toronto CHL 4102f) (Course co-developer)
   Research Methods in Epidemiology II (University of Toronto CHL 4105s) (Course developer)
   Cancer Epidemiology (University of Toronto CHL 4103f; Yale University CDE 532b)
Trainees
   PhD: Advisor to five students; dissertation committee member for 11 students.
   MPH or MSc: Advisor to 36 students.
   Postdoctoral Fellows: Advisor to 16 fellows.

                                                                                    App000015
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 18 of 633 PageID 744


   Visiting Faculty: Host to four visiting professors.
Service Activity:
   Grant Review Panels:
       Health Canada, National Health Research and Development Program: Epidemiology,
          Occupational Health and Chronic Disease Panel (1987-91)
       NIH External Site Reviewer (1995)
       NIH Study Section Regular Member: Epidemiology and Disease Control (EDC2) (1997)
       US Army MRMC Ovarian Cancer Research Program Integration Panel Member (1997-2002)
       American Cancer Society Extramural Grant Reviewer (1998)
       Chair, Epidemiology Grant Review Panel, National Cancer Institute of Canada (2000-2)
       Dutch Cancer Society Extramural Research Grant Reviewer (2000, 2001, 2008)
       Cancer Council Australia Extramural Research Grant Reviewer (2004)
       Pancreatic Cancer Action Network-AACR Career Development Awards Scientific Review
          Committee (2016-8)
       NIH Study Section Member: Epidemiology and Disease Control (EDC2) (2000)
       NIH Study Section Member: Epidemiology Special Emphasis Panel (ZRG4, 1998; ZRG1, 2001-3)
       NIH Study Section Member: Pancreas SPORE Panel (ZCA1 GRB-V, 2002-3)
       NIH Study Section Member: Small Grants Program for Cancer Epidemiology Panel (ZCA1
          SRRB-Q, 2003)
       NIH Study Section Member: Cancer Genetics Panel (CG) (2004, 2006)
       NIH Study Section Member: Cancer Epidemiology, Prevention and Control (NCI-E X1) (2005)
       NIH Study Section Member: Breast and Ovarian Cancer Genetics (ZRG1 ONC-U 03M) (2005)
       NIH Study Section Member: Gene-Environment Interactions (ZHL1 CSR-D S1 R) (2007)
       NIH Study Section Member: Epidemiology of Cancer Member Conflicts (ZRG1 HOP-Q, 2009;
          ZRG1 PSE-B, 2010)
       NIH Study Section Member: Barrett's Esophagus Translational Research Network (ZCA1 SRLB-1
          (O1) R, 2011)
       NIH Study Section Member: Core Infrastructure and Methodological Research for Cancer
          Epidemiology Cohorts (ZCA1 SRLB-9 (M2) B, 2013; ZCA1 TCRB-9 (J2) R, 2014; ZCA1
          SRBJ (O2) S, 2015)
       NIH Study Section Member: Cancer Management, Epidemiology, and Health Behavior (ZCA1
          SRLB-B (J1) S, 2013)
       NIH Study Section Member: Population Science (U01) (ZCA1 RTRB-Z M1 R, 2016)
       Medical Research Council UK External Reviewer (2019)
   Journal Editor:
      Associate Editor, American Journal of Epidemiology (1997-2014)
      Editor pro tem, American Journal of Epidemiology (2002-2014)
      Member, Board of Editors, American Journal of Epidemiology (2014-2020)
      Associate Editor, Journal of the National Cancer Institute (2000- )
      Editor, International Journal of Cancer (2008- )
   Journal Referee:
      Alimentary Pharmacology & Therapeutics (2015- )
      American Journal of Epidemiology (1986- )
      American Journal of Medical Genetics (2004- )
      American Journal of Obstetrics and Gynecology (2015- )
      American Journal of Preventive Medicine (1988- )


                                                                                    App000016
Case 4:21-cv-01058-P Document 27 Filed 12/07/21         Page 19 of 633 PageID 745


   Annals of Epidemiology (1992- )
   Annals of Oncology (2001- )
   Annals of Surgical Oncology (2011- )
   Biodemography and Social Biology (2018- )
   Biometrics (1990- )
   Blood Transfusion (2015- )
   BMC Cancer (2007- )
   BMC Public Health (2007- )
   British Journal of Cancer (2003- )
   Canadian Journal of Public Health (1987- )
   Canadian Medical Association Journal (1983- )
   Cancer (1996- )
   Cancer Causes and Control (1992- )
   Cancer Detection and Prevention (2003-2009)
   Cancer Epidemiology (2009- )
   Cancer Epidemiology, Biomarkers and Prevention (1995- )
   Cancer Genetics (2012- )
   Cancer Research (1988- )
   Carcinogenesis (2008- )
   Clinical Cancer Research (2015- )
   Clinical Gastroenterology and Hepatology (2007- )
   Current Pharmacogenomics (2007- )
   DNA and Cell Biology (2019- )
   Environmental Pollution (2018- )
   Epidemiology (1989- )
   European Journal of Cancer (2001- )
   European Journal of Epidemiology (1995- )
   European Journal of Human Genetics (2008- )
   Gastroenterology (2007- )
   Gynecologic Oncology (1997- )
   International Journal of Cancer (1995- )
   International Journal of Epidemiology (1995- )
   JAMA (1990- )
   Journal for Nurse Practitioners (2018- )
   Journal of Clinical Epidemiology (2006- )
   Journal of Clinical Gastroenterology (2010- )
   Journal of Clinical Medicine (2019- )
   Journal of Epidemiology (2016- )
   Journal of Infectious Diseases (2002- )
   Journal of the National Cancer Institute (1992- )
   Menopause (2011- )
   Molecular Carcinogenesis (2009- )
   Nature Clinical Practice Oncology (2005- )
   Nature Scientific Reports (2016- )
   New England Journal of Medicine (2017- )
   Oncology Research (2001- )
   Oncotarget (2017- )
   Preventive Medicine (1994- )

                                                                           App000017
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 20 of 633 PageID 746


      Reproductive Sciences (2008- )
      Science (2004- )
      Treatments in Endocrinology (2003- )
      Tumor Biology (2015- )
      World Journal of Gastroenterology (2013- )
   Other Review and Service:
      Society for Epidemiologic Research Student Prize Paper Review Committee (1987, 1994)
      American Society for Clinical Oncology Cancer Prevention Curriculum (2006)
      External Advisory Board Member, Multiple Myeloma Prevention Program Project, Washington
          University (2014-2015)
      Mayo Clinic SPORE in Pancreatic Cancer External Advisory Committee (2018-2023)
      Connecticut Academy of Science and Engineering (CASE) Advisory Committee on Covid-19
          for Reopening Connecticut (2020)
   Academic and Professional Standing Committees:
      Yale School of Public Health:
         Doctoral (Admissions and Progress; 1991-1999)
         MPH (Academic Progress; 1991-1995)
         Computer (1999-2001)
         Medical Studies (2000-2005)
         Chair, Genetics and Public Health Interest Group (2003-2006)
         Chair, C.E.A. Winslow Medal Committee (2007-2010)
         Chair, Hildreth Memorial Fund Committee (2007-2012)
         The Honorable Tina Brozman Foundation Small Grant Proposal Review Committee (2010)
         Chair, MPH Thesis Dean’s Prize Committee (2010- )
         Chair, Department of Chronic Disease Epidemiology, Epidemiology Competencies
             Committee (2015- )
         Committee for Academic and Professional Integrity (2018-2021)
         Education Committee (2019-)
      Yale School of Medicine:
         Program in Investigative Medicine Doctoral Committee (1999-2007)
         Mentored Clinical Research Scholar Program Advisory Board (2003-2008)
      Yale Cancer Center:
         Rapid Case Ascertainment System Shared Resource (1995- )
         American Cancer Society Institutional Research Award Review Committee (1996-2001)
      American College of Epidemiology:
         Education Committee (1996-2002)
         Policy Committee (1997-2003)

Peer-Reviewed Research Publications:
Accepted for Publication or In-Press
   Cartmel B, Hughes M, Ercolano EA, Gottlieb L, Li F, Zhou Y, Harrigan M, Ligibel JA, von
      Gruenigen VE, Gogoi R, Schwartz PE, Risch HA, Lu L, Irwin ML. Randomized trial of
      exercise on depressive symptomatology and brain derived neurotrophic factor (BDNF) in
      ovarian cancer survivors: The Women's Activity and Lifestyle Study in Connecticut (WALC).



                                                                                     App000018
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 21 of 633 PageID 747


      Gynecol Oncol 2021:S0090-8258(21)00195-5. doi: 10.1016/j.ygyno.2021.02.036. PMCID:
      PMC Journal in Process. In Press.
   Zhang H, Greenwood DC, Risch HA, Bunce D, Hardie LJ, Cade JE. Meat consumption and risk of
      incident dementia: cohort study of 493,888 UK Biobank participants. Am J Clin Nutr
      2021:nqab028. doi: 10.1093/ajcn/nqab028. PMCID: PMC Journal in Process. In Press.
   Mocci E, Kundu P, Wheeler W, Arslan AA, Beane Freeman LE, Bracci PM, Brennan P, Canzian F,
      Du M, Gallinger S, Giles GG, Goodman PJ, Kooperberg C, Le Marchand L, Neale RE, Shu
      XO, Visvanathan K, White E, Zheng W, Albanes D, Andreotti G, Babic A, Bamlet WR, Berndt
      SI, Blackford AL, Bueno-de-Mesquita B, Buring JE, Campa D, Chanock SJ, Childs EJ, Duell
      EJ, Fuchs CS, Gaziano JM, Giovannucci EL, Goggins MG, Hartge P, Hassan MM, Holly EA,
      Hoover RN, Hung RJ, Kurtz RC, Lee IM, Malats N, Milne RL, Ng K, Oberg AL, Panico S,
      Peters U, Porta M, Rabe KG, Riboli E, Rothman N, Scelo G, Sesso HD, Silverman DT, Stevens
      VL, Strobel O, Thompson IM, Tjonneland A, Trichopoulou A, Van Den Eeden SK, Wactawski-
      Wende J, Wentzensen N, Wilkens LR, Yu H, Yuan F, Zeleniuch-Jacquotte A, Amundadottir
      LT, Li D, Jacobs EJ, Petersen GM, Wolpin BM, Risch HA, Kraft P, Chatterjee N, Klein AP,
      Stolzenberg-Solomon RZ. Smoking modifies pancreatic cancer risk loci on 2q21.3. Cancer
      Res 2021:canres.3267.2020. doi: 10.1158/0008-5472.CAN-20-3267. PMCID: PMC Journal in
      Process. In Press.
   Corlin L, Ruan M, Tsilidis KK, Bouras E, Yu Y-H, Stolzenberg-Solomon R, Klein AP, Risch HA,
      Amos CI, Sakoda LC, Vodi ka P, Rish PK, Beck J, Platz EA, Michaud DS. Two-Sample
      Mendelian Randomization Analysis of Associations Between Periodontal Disease and Risk of
      Cancer. Accepted for Publication, JNCI Cancer Spectrum. PMCID: PMC Journal in Process.
   Lakeman IMM, van den Broek AJ, Vos J, Barnes DR, Adlard J, Andrulis IL, Arason A, Arnold N,
      Arun BK, Balmaña J, Barrowdale D, Benitez J, Borg A, Caldés T, Caligo MA, Chung WK,
      Claes KBM, GEMO Study Collaborators-, EMBRACE Collaborators, Collée JM, Couch FJ,
      Daly MB, Dennis J, Dhawan M, Domchek SM, Eeles R, Engel C, Evans DG, Feliubadaló L,
      Foretova L, Friedman E, Frost D, Ganz PA, Garber J, Gayther SA, Gerdes A-M, Godwin AK,
      Goldgar DE, Hahnen E, Hake CR, Hamann U, Hogervorst FBL, Hooning MJ, Hopper JL,
      Hulick PJ, Imyanitov EN, OCGN Investigators, HEBON Investigators, kConFab Investigators,
      Isaacs C, Izatt L, Jakubowska A, James PA, Janavicius R, Jensen UB, Jiao Y, John EM, Joseph
      V, Karlan BY, Kets CM, Konstantopoulou I, Kwong A, Legrand C, Leslie G, Lesueur F, Loud
      JT, LubiÑski J, Manoukian S, McGuffog L, Miller A, Gomes DM, Montagna M, Mouret-
      Fourme E, Nathanson KL, Neuhausen SL, Nevanlinna H, Yie JNY, Olah E, Olopade OI, Park
      SK, Parsons MT, Peterlongo P, Piedmonte M, Radice P, Rantala J, Rennert G, Risch HA,
      Schmutzler RK, Sharma P, Simard J, Singer CF, Stadler Z, Stoppa-Lyonnet D, Sutter C, Tan
      YY, Teixeira MR, Teo SH, Teulé A, Thomassen M, Thull DL, Tischkowitz M, Toland AE,
      Tung N, van Rensburg EJ, Vega A, Wappenschmidt B, Devilee P, van Asperen CJ, Bernstein
      JL, Offit K, Easton DF, Rookus MA, Chenevix-Trench G, Antoniou AC, Robson M, Schmidt
      MK, Consortium of Investigators of Modifiers of BRCA1 and BRCA2. The predictive ability
      of the 313-variant-based polygenic risk score for contralateral breast cancer risk prediction in
      women of European ancestry with a heterozygote BRCA1 or BRCA2 pathogenic variant.
      Accepted for publication, Genet Med. PMCID: PMC Journal in Process.

2021
   McCullough PA, Kelly RJ, Ruocco G, Lerma E, Tumlin J, Wheelan KR, Katz N, Lepor NE, Vijay
     K, Carter H, Singh B, McCullough SP, Bhambi BK, Palazzuoli A, De Ferrari GM, Milligan GP,


                                                                                         App000019
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 22 of 633 PageID 748


   Safder T, Tecson KM, Wang DD, McKinnon JE, O'Neill WW, Zervos M, Risch HA.
   Pathophysiological Basis and Rationale for Early Outpatient Treatment of SARS-CoV-2
   (COVID-19) Infection. Am J Med. 2021;134(1):16-22. doi: 10.1016/j.amjmed.2020.07.003.
   PMCID: PMC7410805
Kho PF, Amant F, Annibali D, Ashton K, Attia J, Auer PL, Beckmann MW, Black A, Brinton L,
   Buchanan DD, Chanock SJ, Chen C, Chen MM, Cheng THT, Cook LS, Crous-Bous M, Czene
   K, De Vivo I, Dennis J, Dörk T, Dowdy SC, Dunning AM, Dürst M, Easton DF, Ekici AB,
   Fasching PA, Fridley BL, Friedenreich CM, García-Closas M, Gaudet MM, Giles GG, Goode
   EL, Gorman M, Haiman CA, Hall P, Hankinson SE, Hein A, Hillemanns P, Hodgson S, Hoivik
   EA, Holliday EG, Hunter DJ, Jones A, Kraft P, Krakstad C, Lambrechts D, Le Marchand L,
   Liang X, Lindblom A, Lissowska J, Long J, Lu L, Magliocco AM, Martin L, McEvoy M, Milne
   RL, Mints M, Nassir R, Otton G, Palles C, Pooler L, Proietto T, Rebbeck TR, Renner SP, Risch
   HA, Rübner M, Runnebaum I, Sacerdote C, Sarto GE, Schumacher F, Scott RJ, Setiawan VW,
   Shah M, Sheng X, Shu XO, Southey MC, Tham E, Tomlinson I, Trovik J, Turman C, Tyrer JP,
   Van Den Berg D, Wang Z, Wentzensen N, Xia L, Xiang YB, Yang HP, Yu H, Zheng W, Webb
   PM, Thompson DJ, Spurdle AB, Glubb DM, O'Mara TA. Mendelian randomization analyses
   suggest a role for cholesterol in the development of endometrial cancer. Int J Cancer
   2021;148(2):307-319. doi: 10.1002/ijc.33206. PMCID: PMC7757859
Glubb DM, Thompson DJ, Aben KKH, Alsulimani A, Amant F, Annibali D, Attia J, Barricarte A,
   Beckmann MW, Berchuck A, Bermisheva M, Bernardini MQ, Bischof K, Bjorge L, Bodelon C,
   Brand AH, Brenton JD, Brinton LA, Bruinsma F, Buchanan DD, Burghaus S, Butzow R, Cai H,
   Carney ME, Chanock SJ, Chen C, Chen XQ, Chen Z, Cook LS, Cunningham JM, De Vivo I,
   deFazio A, Doherty JA, Dörk T, du Bois A, Dunning AM, Dürst M, Edwards T, Edwards RP,
   Ekici AB, Ewing A, Fasching PA, Ferguson S, Flanagan JM, Fostira F, Fountzilas G,
   Friedenreich CM, Gao B, Gaudet MM, Gawełko J, Gentry-Maharaj A, Giles GG, Glasspool R,
   Goodman MT, Gronwald J, Harris HR, Harter P, Hein A, Heitz F, Hildebrandt MAT,
   Hillemanns P, Høgdall E, Høgdall CK, Holliday EG, Huntsman DG, Huzarski T, Jakubowska
   A, Jensen A, Jones ME, Karlan BY, Karnezis A, Kelley JL, Khusnutdinova E, Killeen JL, Kjaer
   SK, Klapdor R, Köbel M, Konopka B, Konstantopoulou I, Kopperud RK, Koti M, Kraft P,
   Kupryjanczyk J, Lambrechts D, Larson MC, Le Marchand L, Lele S, Lester J, Li AJ, Liang D,
   Liebrich C, Lipworth L, Lissowska J, Lu L, Lu KH, Macciotta A, Mattiello A, May T,
   McAlpine JN, McGuire V, McNeish IA, Menon U, Modugno F, Moysich KB, Nevanlinna H,
   Odunsi K, Olsson H, Orsulic S, Osorio A, Palli D, Park-Simon TW, Pearce CL, Pejovic T,
   Permuth JB, Podgorska A, Ramus SJ, Rebbeck TR, Riggan MJ, Risch HA, Rothstein JH,
   Runnebaum IB, Scott RJ, Sellers TA, Senz J, Setiawan VW, Siddiqui N, Sieh W,
   Spiewankiewicz B, Sutphen R, Swerdlow AJ, Szafron LM, Teo SH, Thompson PJ, Thomsen
   LCV, Titus L, Tone A, Tumino R, Turman C, Vanderstichele A, Edwards DV, Vergote I,
   Vierkant RA, Wang Z, Wang-Gohrke S, Webb PM; OPAL Study Group; AOCS Group, White
   E, Whittemore AS, Winham SJ, Wu X, Wu AH, Yannoukakos D, Spurdle AB, O'Mara TA.
   Cross-Cancer Genome-Wide Association Study of Endometrial Cancer and Epithelial Ovarian
   Cancer Identifies Genetic Risk Regions Associated with Risk of Both Cancers. Cancer
   Epidemiol Biomarkers Prev 2021;30(1):217-228. doi: 10.1158/1055-9965.EPI-20-0739.
   PMCID: PMC Journal in Process.
Streicher SA, Klein AP, Olson SH, Kurtz RC, Amundadottir LT, DeWan AT, Zhao H, Risch HA.
    A pooled genome-wide association study identifies pancreatic cancer susceptibility loci on
    chromosome 19p12 and 19p13.3 in the full-Jewish population. Hum Genet 2021;140(2):309-
    319. doi: 10.1007/s00439-020-02205-8. PMCID: PMC Journal in Process.

                                                                                   App000020
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 23 of 633 PageID 749


   Jordan SJ, Na R, Weiderpass E, Adami HO, Anderson KE, van den Brandt PA, Brinton LA, Chen
       C, Cook LS, Doherty JA, Du M, Friedenreich CM, Gierach GL, Goodman MT, Krogh V, Levi
       F, Lu L, Miller AB, McCann SE, Moysich KB, Negri E, Olson SH, Petruzella S, Palmer JR,
       Parazzini F, Pike MC, Prizment AE, Rebbeck TR, Reynolds P, Ricceri F, Risch HA, Rohan
       TE, Sacerdote C, Schouten LJ, Serraino D, Setiawan VW, Shu XO, Sponholtz TR, Spurdle AB,
       Stolzenberg-Solomon RZ, Trabert B, Wentzensen N, Wilkens LR, Wise LA, Yu H, La Vecchia
       C, De Vivo I, Xu W, Zeleniuch-Jacquotte A, Webb PM. Pregnancy outcomes and risk of
       endometrial cancer: A pooled analysis of individual participant data in the Epidemiology of
       Endometrial Cancer Consortium. Int J Cancer 2021;148(9):2068-2078. doi: 10.1002/ijc.33360.
       PMCID: PMC7969437
   Lee AW, Rosenzweig S, Wiensch A; Australian Ovarian Cancer Study Group, Ramus SJ, Menon
       U, Gentry-Maharaj A, Ziogas A, Anton-Culver H, Whittemore AS, Sieh W, Rothstein JH,
       McGuire V, Wentzensen N, Bandera EV, Qin B, Terry KL, Cramer DW, Titus L, Schildkraut
       JM, Berchuck A, Goode EL, Kjaer SK, Jensen A, Jordan SJ, Ness RB, Modugno F, Moysich K,
       Thompson PJ, Goodman MT, Carney ME, Chang-Claude J, Rossing MA, Harris HR, Doherty
       JA, Risch HA, Khoja L, Alimujiang A, Phung MT, Brieger K, Mukherjee B, Pharoah PDP, Wu
       AH, Pike MC, Webb PM, Pearce CL. Expanding Our Understanding of Ovarian Cancer Risk:
       The Role of Incomplete Pregnancies. J Natl Cancer Inst 2021;113(3):301-308. doi:
       10.1093/jnci/djaa099. PMCID: PMC Journal in Process.
   Dighe SG, Chen J, Yan L, He Q, Gharahkhani P, Onstad L, Levine DM, Palles C, Ye W, Gammon
       MD, Iyer PG, Anderson LA, Liu G, Wu AH, Dai JY, Chow WH, Risch HA, Lagergren J,
       Shaheen NJ, Bernstein L, Corley DA, Prenen H, deCaestecker J, MacDonald D, Moayyedi P,
       Barr H, Love SB, Chegwidden L, Attwood S, Watson P, Harrison R, Ott K, Moebus S,
       Venerito M, Lang H, Mayershofer R, Knapp M, Veits L, Gerges C, Weismüller J, Gockel I,
       Vashist Y, Nöthen MM, Izbicki JR, Manner H, Neuhaus H, Rösch T, Böhmer AC, Hölscher
       AH, Anders M, Pech O, Schumacher B, Schmidt C, Schmidt T, Noder T, Lorenz D, Vieth M,
       May A, Hess T, Kreuser N, Becker J, Ell C, Ambrosone CB, Moysich KB, MacGregor S,
       Tomlinson I, Whiteman DC, Jankowski J, Schumacher J, Vaughan TL, Madeleine MM, Hardie
       LJ, Buas MF. Germline variation in the insulin-like growth factor pathway and risk of Barrett's
       esophagus and esophageal adenocarcinoma. Carcinogenesis 2021;42(3):369-377. doi:
       10.1093/carcin/bgaa132. PMCID: PMC8052954
   López de Maturana E, Rodríguez JA, Alonso L, Lao O, Molina-Montes E, Martín-Antoniano IA,
       Gómez-Rubio P, Lawlor R, Carrato A, Hidalgo M, Iglesias M, Molero X, Löhr M, Michalski C,
       Perea J, O'Rorke M, Barberà VM, Tardón A, Farré A, Muñoz-Bellvís L, Crnogorac-Jurcevic T,
       Domínguez-Muñoz E, Gress T, Greenhalf W, Sharp L, Arnes L, Cecchini L, Balsells J, Costello
       E, Ilzarbe L, Kleeff J, Kong B, Márquez M, Mora J, O'Driscoll D, Scarpa A, Ye W, Yu J;
       PanGenEU Investigators, García-Closas M, Kogevinas M, Rothman N, Silverman DT;
       SBC/EPICURO Investigators, Albanes D, Arslan AA, Beane-Freeman L, Bracci PM, Brennan
       P, Bueno-de-Mesquita B, Buring J, Canzian F, Du M, Gallinger S, Gaziano JM, Goodman PJ,
       Gunter M, LeMarchand L, Li D, Neale RE, Peters U, Petersen GM, Risch HA, Sánchez MJ,
       Shu XO, Thornquist MD, Visvanathan K, Zheng W, Chanock SJ, Easton D, Wolpin BM,
       Stolzenberg-Solomon RZ, Klein AP, Amundadottir LT, Marti-Renom MA, Real FX, Malats N.
       A multilayered post-GWAS assessment on genetic susceptibility to pancreatic cancer. Genome
       Med 2021;13(1):15. doi: 10.1186/s13073-020-00816-4. PMCID: PMC7849104
2020
   McCullough PA, Alexander PE, Armstrong R, Arvinte C, Bain AF, Bartlett RP, Berkowitz RL,
       Berry AC, Borody TJ, Brewer JH, Brufsky AM, Clarke T, Derwand R, Eck A, Eck J, Eisner

                                                                                         App000021
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 24 of 633 PageID 750


   RA, Fareed GC, Farella A, Fonseca SNS, Geyer CE Jr, Gonnering RS, Graves KE, Gross KBV,
   Hazan S, Held KS, Hight HT, Immanuel S, Jacobs MM, Ladapo JA, Lee LH, Littell J, Lozano
   I, Mangat HS, Marble B, McKinnon JE, Merritt LD, Orient JM, Oskoui R, Pompan DC, Procter
   BC, Prodromos C, Rajter JC, Rajter JJ, Ram CVS, Rios SS, Risch HA, Robb MJA, Rutherford
   M, Scholz M, Singleton MM, Tumlin JA, Tyson BM, Urso RG, Victory K, Vliet EL, Wax CM,
   Wolkoff AG, Wooll V, Zelenko V. Multifaceted highly targeted sequential multidrug treatment
   of early ambulatory high-risk SARS-CoV-2 infection (COVID-19). Rev Cardiovasc Med.
   2020;21(4):517-530. doi: 10.31083/j.rcm.2020.04.264. *Not a result of NIH funding.
Risch HA. Early Outpatient Treatment of Symptomatic, High-Risk COVID-19 Patients That
   Should Be Ramped Up Immediately as Key to the Pandemic Crisis. Am J Epidemiol
   2020;189(11):1218-1226. doi: 10.1093/aje/kwaa093. PMCID: PMC7546206
Zhang H, Ahearn TU, Lecarpentier J, Barnes D, Beesley J, Qi G, Jiang X, O'Mara TA, Zhao N,
   Bolla MK, Dunning AM, Dennis J, Wang Q, Ful ZA, Aittomäki K, Andrulis IL, Anton-Culver
   H, Arndt V, Aronson KJ, Arun BK, Auer PL, Azzollini J, Barrowdale D, Becher H, Beckmann
   MW, Behrens S, Benitez J, Bermisheva M, Bialkowska K, Blanco A, Blomqvist C, Bogdanova
   NV, Bojesen SE, Bonanni B, Bondavalli D, Borg A, Brauch H, Brenner H, Briceno I, Broeks
   A, Brucker SY, Brüning T, Burwinkel B, Buys SS, Byers H, Caldés T, Caligo MA, Calvello M,
   Campa D, Castelao JE, Chang-Claude J, Chanock SJ, Christiaens M, Christiansen H, Chung
   WK, Claes KBM, Clarke CL, Cornelissen S, Couch FJ, Cox A, Cross SS, Czene K, Daly MB,
   Devilee P, Diez O, Domchek SM, Dörk T, Dwek M, Eccles DM, Ekici AB, Evans DG,
   Fasching PA, Figueroa J, Foretova L, Fostira F, Friedman E, Frost D, Gago-Dominguez M,
   Gapstur SM, Garber J, García-Sáenz JA, Gaudet MM, Gayther SA, Giles GG, Godwin AK,
   Goldberg MS, Goldgar DE, González-Neira A, Greene MH, Gronwald J, Guénel P, Häberle L,
   Hahnen E, Haiman CA, Hake CR, Hall P, Hamann U, Harkness EF, Heemskerk-Gerritsen
   BAM, Hillemanns P, Hogervorst FBL, Holleczek B, Hollestelle A, Hooning MJ, Hoover RN,
   Hopper JL, Howell A, Huebner H, Hulick PJ, Imyanitov EN; kConFab Investigators; ABCTB
   Investigators, Isaacs C, Izatt L, Jager A, Jakimovska M, Jakubowska A, James P, Janavicius R,
   Janni W, John EM, Jones ME, Jung A, Kaaks R, Kapoor PM, Karlan BY, Keeman R, Khan S,
   Khusnutdinova E, Kitahara CM, Ko YD, Konstantopoulou I, Koppert LB, Koutros S,
   Kristensen VN, Laenkholm AV, Lambrechts D, Larsson SC, Laurent-Puig P, Lazaro C,
   Lazarova E, Lejbkowicz F, Leslie G, Lesueur F, Lindblom A, Lissowska J, Lo WY, Loud JT,
   Lubinski J, Lukomska A, MacInnis RJ, Mannermaa A, Manoochehri M, Manoukian S,
   Margolin S, Martinez ME, Matricardi L, McGuffog L, McLean C, Mebirouk N, Meindl A,
   Menon U, Miller A, Mingazheva E, Montagna M, Mulligan AM, Mulot C, Muranen TA,
   Nathanson KL, Neuhausen SL, Nevanlinna H, Neven P, Newman WG, Nielsen FC, Nikitina-
   Zake L, Nodora J, Offit K, Olah E, Olopade OI, Olsson H, Orr N, Papi L, Papp J, Park-Simon
   TW, Parsons MT, Peissel B, Peixoto A, Peshkin B, Peterlongo P, Peto J, Phillips KA,
   Piedmonte M, Plaseska-Karanfilska D, Prajzendanc K, Prentice R, Prokofyeva D, Rack B,
   Radice P, Ramus SJ, Rantala J, Rashid MU, Rennert G, Rennert HS, Risch HA, Romero A,
   Rookus MA, Rübner M, Rüdiger T, Saloustros E, Sampson S, Sandler DP, Sawyer EJ,
   Scheuner MT, Schmutzler RK, Schneeweiss A, Schoemaker MJ, Schöttker B, Schürmann P,
   Senter L, Sharma P, Sherman ME, Shu XO, Singer CF, Smichkoska S, Soucy P, Southey MC,
   Spinelli JJ, Stone J, Stoppa-Lyonnet D; EMBRACE Study; GEMO Study Collaborators,
   Swerdlow AJ, Szabo CI, Tamimi RM, Tapper WJ, Taylor JA, Teixeira MR, Terry M,
   Thomassen M, Thull DL, Tischkowitz M, Toland AE, Tollenaar RAEM, Tomlinson I, Torres
   D, Troester MA, Truong T, Tung N, Untch M, Vachon CM, van den Ouweland AMW, van der
   Kolk LE, van Veen EM, vanRensburg EJ, Vega A, Wappenschmidt B, Weinberg CR, Weitzel


                                                                                    App000022
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 25 of 633 PageID 751


   JN, Wildiers H, Winqvist R, Wolk A, Yang XR, Yannoukakos D, Zheng W, Zorn KK, Milne
   RL, Kraft P, Simard J, Pharoah PDP, Michailidou K, Antoniou AC, Schmidt MK, Chenevix-
   Trench G, Easton DF, Chatterjee N, García-Closas M. Genome-wide association study
   identifies 32 novel breast cancer susceptibility loci from overall and subtype-specific analyses.
   Nat Genet 2020;52(6):572-581. doi: 10.1038/s41588-020-0609-2. PMCID: PMC7808397
Babic A, Sasamoto N, Rosner BA, Tworoger SS, Jordan SJ, Risch HA, Harris HR, Rossing MA,
   Doherty JA, Fortner RT, Chang-Claude J, Goodman MT, Thompson PJ, Moysich KB, Ness
   RB, Kjaer SK, Jensen A, Schildkraut JM, Titus LJ, Cramer DW, Bandera EV, Qin B, Sieh W,
   McGuire V, Sutphen R, Pearce CL, Wu AH, Pike M, Webb PM, Modugno F, Terry KL.
   Association Between Breastfeeding and Ovarian Cancer Risk. JAMA Oncol
   2020;6(6):e200421. doi: 10.1001/jamaoncol.2020.0421. PMCID: PMC7118668
Fachal L, Aschard H, Beesley J, Barnes DR, Allen J, Kar S, Pooley KA, Dennis J, Michailidou K,
   Turman C, Soucy P, Lemaçon A, Lush M, Tyrer JP, Ghoussaini M, Moradi Marjaneh M, Jiang
   X, Agata S, Aittomäki K, Alonso MR, Andrulis IL, Anton-Culver H, Antonenkova NN, Arason
   A, Arndt V, Aronson KJ, Arun BK, Auber B, Auer PL, Azzollini J, Balmaña J, Barkardottir
   RB, Barrowdale D, Beeghly-Fadiel A, Benitez J, Bermisheva M, Białkowska K, Blanco AM,
   Blomqvist C, Blot W, Bogdanova NV, Bojesen SE, Bolla MK, Bonanni B, Borg A, Bosse K,
   Brauch H, Brenner H, Briceno I, Brock IW, Brooks-Wilson A, Brüning T, Burwinkel B, Buys
   SS, Cai Q, Caldés T, Caligo MA, Camp NJ, Campbell I, Canzian F, Carroll JS, Carter BD,
   Castelao JE, Chiquette J, Christiansen H, Chung WK, Claes KBM, Clarke CL; GEMO Study
   Collaborators; EMBRACE Collaborators, Collée JM, Cornelissen S, Couch FJ, Cox A, Cross
   SS, Cybulski C, Czene K, Daly MB, de la Hoya M, Devilee P, Diez O, Ding YC, Dite GS,
   Domchek SM, Dörk T, Dos-Santos-Silva I, Droit A, Dubois S, Dumont M, Duran M, Durcan L,
   Dwek M, Eccles DM, Engel C, Eriksson M, Evans DG, Fasching PA, Fletcher O, Floris G,
   Flyger H, Foretova L, Foulkes WD, Friedman E, Fritschi L, Frost D, Gabrielson M, Gago-
   Dominguez M, Gambino G, Ganz PA, Gapstur SM, Garber J, García-Sáenz JA, Gaudet MM,
   Georgoulias V, Giles GG, Glendon G, Godwin AK, Goldberg MS, Goldgar DE, González-
   Neira A, Tibiletti MG, Greene MH, Grip M, Gronwald J, Grundy A, Guénel P, Hahnen E,
   Haiman CA, Håkansson N, Hall P, Hamann U, Harrington PA, Hartikainen JM, Hartman M, He
   W, Healey CS, Heemskerk-Gerritsen BAM, Heyworth J, Hillemanns P, Hogervorst FBL,
   Hollestelle A, Hooning MJ, Hopper JL, Howell A, Huang G, Hulick PJ, Imyanitov EN;
   KConFab Investigators; HEBON Investigators; ABCTB Investigators, Isaacs C, Iwasaki M,
   Jager A, Jakimovska M, Jakubowska A, James PA, Janavicius R, Jankowitz RC, John EM,
   Johnson N, Jones ME, Jukkola-Vuorinen A, Jung A, Kaaks R, Kang D, Kapoor PM, Karlan
   BY, Keeman R, Kerin MJ, Khusnutdinova E, Kiiski JI, Kirk J, Kitahara CM, Ko YD,
   Konstantopoulou I, Kosma VM, Koutros S, Kubelka-Sabit K, Kwong A, Kyriacou K, Laitman
   Y, Lambrechts D, Lee E, Leslie G, Lester J, Lesueur F, Lindblom A, Lo WY, Long J,
   Lophatananon A, Loud JT, LubiÑski J, MacInnis RJ, Maishman T, Makalic E, Mannermaa A,
   Manoochehri M, Manoukian S, Margolin S, Martinez ME, Matsuo K, Maurer T, Mavroudis D,
   Mayes R, McGuffog L, McLean C, Mebirouk N, Meindl A, Miller A, Miller N, Montagna M,
   Moreno F, Muir K, Mulligan AM, Muñoz-Garzon VM, Muranen TA, Narod SA, Nassir R,
   Nathanson KL, Neuhausen SL, Nevanlinna H, Neven P, Nielsen FC, Nikitina-Zake L, Norman
   A, Offit K, Olah E, Olopade OI, Olsson H, Orr N, Osorio A, Pankratz VS, Papp J, Park SK,
   Park-Simon TW, Parsons MT, Paul J, Pedersen IS, Peissel B, Peshkin B, Peterlongo P, Peto J,
   Plaseska-Karanfilska D, Prajzendanc K, Prentice R, Presneau N, Prokofyeva D, Pujana MA,
   Pylkäs K, Radice P, Ramus SJ, Rantala J, Rau-Murthy R, Rennert G, Risch HA, Robson M,
   Romero A, Rossing M, Saloustros E, Sánchez-Herrero E, Sandler DP, Santamariña M,


                                                                                        App000023
Case 4:21-cv-01058-P Document 27 Filed 12/07/21           Page 26 of 633 PageID 752


   Saunders C, Sawyer EJ, Scheuner MT, Schmidt DF, Schmutzler RK, Schneeweiss A,
   Schoemaker MJ, Schöttker B, Schürmann P, Scott C, Scott RJ, Senter L, Seynaeve CM, Shah
   M, Sharma P, Shen CY, Shu XO, Singer CF, Slavin TP, Smichkoska S, Southey MC, Spinelli
   JJ, Spurdle AB, Stone J, Stoppa-Lyonnet D, Sutter C, Swerdlow AJ, Tamimi RM, Tan YY,
   Tapper WJ, Taylor JA, Teixeira MR, Tengström M, Teo SH, Terry MB, Teulé A, Thomassen
   M, Thull DL, Tischkowitz M, Toland AE, Tollenaar RAEM, Tomlinson I, Torres D, Torres-
   Mejía G, Troester MA, Truong T, Tung N, Tzardi M, Ulmer HU, Vachon CM, van Asperen CJ,
   van der Kolk LE, van Rensburg EJ, Vega A, Viel A, Vijai J, Vogel MJ, Wang Q,
   Wappenschmidt B, Weinberg CR, Weitzel JN, Wendt C, Wildiers H, Winqvist R, Wolk A, Wu
   AH, Yannoukakos D, Zhang Y, Zheng W, Hunter D, Pharoah PDP, Chang-Claude J, García-
   Closas M, Schmidt MK, Milne RL, Kristensen VN, French JD, Edwards SL, Antoniou AC,
   Chenevix-Trench G, Simard J, Easton DF, Kraft P, Dunning AM. Fine-mapping of 150 breast
   cancer risk regions identifies 191 likely target genes. Nat Genet 2020;52(1):56-73. doi:
   10.1038/s41588-019-0537-1. PMCID: PMC6974400
Feng H, Gusev A, Pasaniuc B, Wu L, Long J, Abu-Full Z, Aittomäki K, Andrulis IL, Anton-Culver
   H, Antoniou AC, Arason A, Arndt V, Aronson KJ, Arun BK, Asseryanis E, Auer PL, Azzollini
   J, Balmaña J, Barkardottir RB, Barnes DR, Barrowdale D, Beckmann MW, Behrens S, Benitez
   J, Bermisheva M, Białkowska K, Blanco A, Blomqvist C, Boeckx B, Bogdanova NV, Bojesen
   SE, Bolla MK, Bonanni B, Borg A, Brauch H, Brenner H, Briceno I, Broeks A, Brüning T,
   Burwinkel B, Cai Q, Caldés T, Caligo MA, Campbell I, Canisius S, Campa D, Carter BD,
   Carter J, Castelao JE, Chang-Claude J, Chanock SJ, Christiansen H, Chung WK, Claes KBM,
   Clarke CL; GEMO Study Collaborators; EMBRACE Collaborators; GC-HBOC study
   Collaborators, Couch FJ, Cox A, Cross SS, Cybulski C, Czene K, Daly MB, de la Hoya M, De
   Leeneer K, Dennis J, Devilee P, Diez O, Domchek SM, Dörk T, Dos-Santos-Silva I, Dunning
   AM, Dwek M, Eccles DM, Ejlertsen B, Ellberg C, Engel C, Eriksson M, Fasching PA, Fletcher
   O, Flyger H, Fostira F, Friedman E, Fritschi L, Frost D, Gabrielson M, Ganz PA, Gapstur SM,
   Garber J, García-Closas M, García-Sáenz JA, Gaudet MM, Giles GG, Glendon G, Godwin AK,
   Goldberg MS, Goldgar DE, González-Neira A, Greene MH, Gronwald J, Guénel P, Haiman
   CA, Hall P, Hamann U, Hake C, He W, Heyworth J, Hogervorst FBL, Hollestelle A, Hooning
   MJ, Hoover RN, Hopper JL, Huang G, Hulick PJ, Humphreys K, Imyanitov EN; ABCTB
   Investigators; HEBON Investigators; BCFR Investigators; OCGN Investigators, Isaacs C,
   Jakimovska M, Jakubowska A, James P, Janavicius R, Jankowitz RC, John EM, Johnson N,
   Joseph V, Jung A, Karlan BY, Khusnutdinova E, Kiiski JI, Konstantopoulou I, Kristensen VN,
   Laitman Y, Lambrechts D, Lazaro C, Leroux D, Leslie G, Lester J, Lesueur F, Lindor N,
   Lindström S, Lo WY, Loud JT, LubiÑski J, Makalic E, Mannermaa A, Manoochehri M,
   Manoukian S, Margolin S, Martens JWM, Martinez ME, Matricardi L, Maurer T, Mavroudis D,
   McGuffog L, Meindl A, Menon U, Michailidou K, Kapoor PM, Miller A, Montagna M,
   Moreno F, Moserle L, Mulligan AM, Muranen TA, Nathanson KL, Neuhausen SL, Nevanlinna
   H, Nevelsteen I, Nielsen FC, Nikitina-Zake L, Offit K, Olah E, Olopade OI, Olsson H, Osorio
   A, Papp J, Park-Simon TW, Parsons MT, Pedersen IS, Peixoto A, Peterlongo P, Peto J, Pharoah
   PDP, Phillips KA, Plaseska-Karanfilska D, Poppe B, Pradhan N, Prajzendanc K, Presneau N,
   Punie K, Pylkäs K, Radice P, Rantala J, Rashid MU, Rennert G, Risch HA, Robson M, Romero
   A, Saloustros E, Sandler DP, Santos C, Sawyer EJ, Schmidt MK, Schmidt DF, Schmutzler RK,
   Schoemaker MJ, Scott RJ, Sharma P, Shu XO, Simard J, Singer CF, Skytte AB, Soucy P,
   Southey MC, Spinelli JJ, Spurdle AB, Stone J, Swerdlow AJ, Tapper WJ, Taylor JA, Teixeira
   MR, Terry MB, Teulé A, Thomassen M, Thöne K, Thull DL, Tischkowitz M, Toland AE,
   Tollenaar RAEM, Torres D, Truong T, Tung N, Vachon CM, van Asperen CJ, van den


                                                                                  App000024
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 27 of 633 PageID 753


   Ouweland AMW, van Rensburg EJ, Vega A, Viel A, Vieiro-Balo P, Wang Q, Wappenschmidt
   B, Weinberg CR, Weitzel JN, Wendt C, Winqvist R, Yang XR, Yannoukakos D, Ziogas A,
   Milne RL, Easton DF, Chenevix-Trench G, Zheng W, Kraft P, Jiang X. Transcriptome-wide
   association study of breast cancer risk by estrogen-receptor status. Genet Epidemiol
   2020;44(5):442-468. doi: 10.1002/gepi.22288. PMCID: PMC7987299
Zhong J, Jermusyk A, Wu L, Hoskins JW, Collins I, Mocci E, Zhang M, Song L, Chung CC, Zhang
   T, Xiao W, Albanes D, Andreotti G, Arslan AA, Babic A, Bamlet WR, Beane-Freeman L,
   Berndt S, Borgida A, Bracci PM, Brais L, Brennan P, Bueno-de-Mesquita B, Buring J, Canzian
   F, Childs EJ, Cotterchio M, Du M, Duell EJ, Fuchs C, Gallinger S, Gaziano JM, Giles GG,
   Giovannucci E, Goggins M, Goodman GE, Goodman PJ, Haiman C, Hartge P, Hasan M,
   Helzlsouer KJ, Holly EA, Klein EA, Kogevinas M, Kurtz RJ, LeMarchand L, Malats N,
   Männistö S, Milne R, Neale RE, Ng K, Obazee O, Oberg AL, Orlow I, Patel AV, Peters U,
   Porta M, Rothman N, Scelo G, Sesso HD, Severi G, Sieri S, Silverman D, Sund M, Tjønneland
   A, Thornquist MD, Tobias GS, Trichopoulou A, Van Den Eeden SK, Visvanathan K,
   Wactawski-Wende J, Wentzensen N, White E, Yu H, Yuan C, Zeleniuch-Jacquotte A, Hoover
   R, Brown K, Kooperberg C, Risch HA, Jacobs EJ, Li D, Yu K, Shu XO, Chanock SJ, Wolpin
   BM, Stolzenberg-Solomon RZ, Chatterjee N, Klein AP, Smith JP, Kraft P, Shi J, Petersen GM,
   Zheng W, Amundadottir LT. A Transcriptome-Wide Association Study Identifies Novel
   Candidate Susceptibility Genes for Pancreatic Cancer. J Natl Cancer Inst 2020;112(10):1003-
   1012. doi: 10.1093/jnci/djz246. PMCID: PMC7566474
Barnes DR, Rookus MA, McGuffog L, Leslie G, Mooij TM, Dennis J, Mavaddat N, Adlard J,
   Ahmed M, Aittomäki K, Andrieu N, Andrulis IL, Arnold N, Arun BK, Azzollini J, Balmaña J,
   Barkardottir RB, Barrowdale D, Benitez J, Berthet P, Białkowska K, Blanco AM, Blok MJ,
   Bonanni B, Boonen SE, Borg Å, Bozsik A, Bradbury AR, Brennan P, Brewer C, Brunet J, Buys
   SS, Caldés T, Caligo MA, Campbell I, Christensen LL, Chung WK, Claes KBM, Colas C;
   GEMO Study Collaborators; EMBRACE Collaborators, Collonge-Rame MA, Cook J, Daly
   MB, Davidson R, de la Hoya M, de Putter R, Delnatte C, Devilee P, Diez O, Ding YC,
   Domchek SM, Dorfling CM, Dumont M, Eeles R, Ejlertsen B, Engel C, Evans DG, Faivre L,
   Foretova L, Fostira F, Friedlander M, Friedman E, Frost D, Ganz PA, Garber J, Gehrig A,
   Gerdes AM, Gesta P, Giraud S, Glendon G, Godwin AK, Goldgar DE, González-Neira A,
   Greene MH, Gschwantler-Kaulich D, Hahnen E, Hamann U, Hanson H, Hentschel J,
   Hogervorst FBL, Hooning MJ, Horvath J, Hu C, Hulick PJ, Imyanitov EN; kConFab
   Investigators; HEBON Investigators; GENEPSO Investigators, Isaacs C, Izatt L, Izquierdo A,
   Jakubowska A, James PA, Janavicius R, John EM, Joseph V, Karlan BY, Kast K, Koudijs M,
   Kruse TA, Kwong A, Laitman Y, Lasset C, Lazaro C, Lester J, Lesueur F, Liljegren A, Loud
   JT, LubiÑski J, Mai PL, Manoukian S, Mari V, Mebirouk N, Meijers-Heijboer HEJ, Meindl A,
   Mensenkamp AR, Miller A, Montagna M, Mouret-Fourme E, Mukherjee S, Mulligan AM,
   Nathanson KL, Neuhausen SL, Nevanlinna H, Niederacher D, Nielsen FC, Nikitina-Zake L,
   Noguès C, Olah E, Olopade OI, Ong KR, O'Shaughnessy-Kirwan A, Osorio A, Ott CE, Papi L,
   Park SK, Parsons MT, Pedersen IS, Peissel B, Peixoto A, Peterlongo P, Pfeiler G, Phillips KA,
   Prajzendanc K, Pujana MA, Radice P, Ramser J, Ramus SJ, Rantala J, Rennert G, Risch HA,
   Robson M, Rønlund K, Salani R, Schuster H, Senter L, Shah PD, Sharma P, Side LE, Singer
   CF, Slavin TP, Soucy P, Southey MC, Spurdle AB, Steinemann D, Steinsnyder Z, Stoppa-
   Lyonnet D, Sutter C, Tan YY, Teixeira MR, Teo SH, Thull DL, Tischkowitz M, Tognazzo S,
   Toland AE, Trainer AH, Tung N, van Engelen K, van Rensburg EJ, Vega A, Vierstraete J,
   Wagner G, Walker L, Wang-Gohrke S, Wappenschmidt B, Weitzel JN, Yadav S, Yang X,
   Yannoukakos D, Zimbalatti D, Offit K, Thomassen M, Couch FJ, Schmutzler RK, Simard J,


                                                                                    App000025
Case 4:21-cv-01058-P Document 27 Filed 12/07/21          Page 28 of 633 PageID 754


   Easton DF, Chenevix-Trench G, Antoniou AC; Consortium of Investigators of Modifiers of
   BRCA and BRCA2. Polygenic risk scores and breast and epithelial ovarian cancer risks for
   carriers of BRCA1 and BRCA2 pathogenic variants. Genet Med 2020 Oct;22(10):1653-1666.
   doi: 10.1038/s41436-020-0862-x. PMCID: PMC7521995
Szente Fonseca SN, de Queiroz Sousa A, Wolkoff AG, Moreira MS, Pinto BC, Valente Takeda CF,
   Rebouças E, Vasconcellos Abdon AP, Nascimento ALA, Risch HA. Risk of hospitalization for
   Covid-19 outpatients treated with various drug regimens in Brazil: Comparative analysis.
   Travel Med Infect Dis 2020;38:101906. doi: 10.1016/j.tmaid.2020.101906. PMCID:
   PMC7604153
Xie SH, Fang R, Huang M, Dai J, Thrift AP, Anderson LA, Chow WH, Bernstein L, Gammon MD,
   Risch HA, Shaheen NJ, Reid BJ, Wu AH, Iyer PG, Liu G, Corley DA, Whiteman DC, Caldas
   C, Pharoah PD, Hardie LJ, Fitzgerald RC, Shen H, Vaughan TL, Lagergren J. Association
   Between Levels of Sex Hormones and Risk of Esophageal Adenocarcinoma and Barrett's
   Esophagus. Clin Gastroenterol Hepatol 2020;18(12):2701-2709.e3. doi:
   10.1016/j.cgh.2019.11.030. PMCID: PMC7580878
Lin Y, Nakatochi M, Hosono Y, Ito H, Kamatani Y, Inoko A, Sakamoto H, Kinoshita F, Kobayashi
    Y, Ishii H, Ozaka M, Sasaki T, Matsuyama M, Sasahira N, Morimoto M, Kobayashi S,
    Fukushima T, Ueno M, Ohkawa S, Egawa N, Kuruma S, Mori M, Nakao H, Adachi Y, Okuda
    M, Osaki T, Kamiya S, Wang C, Hara K, Shimizu Y, Miyamoto T, Hayashi Y, Ebi H, Kohmoto
    T, Imoto I, Kasugai Y, Murakami Y, Akiyama M, Ishigaki K, Matsuda K, Hirata M, Shimada
    K, Okusaka T, Kawaguchi T, Takahashi M, Watanabe Y, Kuriki K, Kadota A, Okada R,
    Mikami H, Takezaki T, Suzuki S, Yamaji T, Iwasaki M, Sawada N, Goto A, Kinoshita K, Fuse
    N, Katsuoka F, Shimizu A, Nishizuka SS, Tanno K, Suzuki K, Okada Y, Horikoshi M,
    Yamauchi T, Kadowaki T, Yu H, Zhong J, Amundadottir LT, Doki Y, Ishii H, Eguchi H,
    Bogumil D, Haiman CA, Le Marchand L, Mori M, Risch H, Setiawan VW, Tsugane S, Wakai
    K, Yoshida T, Matsuda F, Kubo M, Kikuchi S, Matsuo K. Genome-wide association meta-
    analysis identifies GP2 gene risk variants for pancreatic cancer. Nat Commun
    2020;11(1):3175. doi: 10.1038/s41467-020-16711-w. PMCID: PMC7314803
Dong J, Maj C, Tsavachidis S, Ostrom QT, Gharahkhani P, Anderson LA, Wu AH, Ye W,
    Bernstein L, Borisov O, Schröder J, Chow WH, Gammon MD, Liu G, Caldas C, Pharoah PD,
    Risch HA, May A, Gerges C, Anders M, Venerito M, Schmidt T, Izbicki JR, Hölscher AH,
    Schumacher B, Vashist Y, Neuhaus H, Rösch T, Knapp M, Krawitz P, Böhmer A, Iyer PG,
    Reid BJ, Lagergren J, Shaheen NJ, Corley DA, Gockel I, Fitzgerald RC; Stomach and
    Oesophageal Cancer Study (SOCS) consortium, Cook MB, Whiteman DC, Vaughan TL,
    Schumacher J, Thrift AP. Sex-Specific Genetic Associations for Barrett's Esophagus and
    Esophageal Adenocarcinoma. Gastroenterology 2020;159(6):2065-2076.e1. doi:
    10.1053/j.gastro.2020.08.052. PMCID: PMC Journal in Process.
Zhang YD, Hurson AN, Zhang H, Choudhury PP, Easton DF, Milne RL, Simard J, Hall P,
    Michailidou K, Dennis J, Schmidt MK, Chang-Claude J, Gharahkhani P, Whiteman D,
    Campbell PT, Hoffmeister M, Jenkins M, Peters U, Hsu L, Gruber SB, Casey G, Schmit SL,
    O'Mara TA, Spurdle AB, Thompson DJ, Tomlinson I, De Vivo I, Landi MT, Law MH, Iles
    MM, Demenais F, Kumar R, MacGregor S, Bishop DT, Ward SV, Bondy ML, Houlston R,
    Wiencke JK, Melin B, Barnholtz-Sloan J, Kinnersley B, Wrensch MR, Amos CI, Hung RJ,
    Brennan P, McKay J, Caporaso NE, Berndt SI, Birmann BM, Camp NJ, Kraft P, Rothman N,
    Slager SL, Berchuck A, Pharoah PDP, Sellers TA, Gayther SA, Pearce CL, Goode EL,
    Schildkraut JM, Moysich KB, Amundadottir LT, Jacobs EJ, Klein AP, Petersen GM, Risch


                                                                                App000026
Case 4:21-cv-01058-P Document 27 Filed 12/07/21           Page 29 of 633 PageID 755


    HA, Stolzenberg-Solomon RZ, Wolpin BM, Li D, Eeles RA, Haiman CA, Kote-Jarai Z,
    Schumacher FR, Al Olama AA, Purdue MP, Scelo G, Dalgaard MD, Greene MH, Grotmol T,
    Kanetsky PA, McGlynn KA, Nathanson KL, Turnbull C, Wiklund F; Breast Cancer
    Association Consortium (BCAC); Barrett’s and Esophageal Adenocarcinoma Consortium
    (BEACON); Colon Cancer Family Registry (CCFR); Transdisciplinary Studies of Genetic
    Variation in Colorectal Cancer (CORECT); Endometrial Cancer Association Consortium
    (ECAC); Genetics and Epidemiology of Colorectal Cancer Consortium (GECCO); Melanoma
    Genetics Consortium (GenoMEL); Glioma International Case-Control Study (GICC);
    International Lung Cancer Consortium (ILCCO); Integrative Analysis of Lung Cancer Etiology
    and Risk (INTEGRAL) Consortium; International Consortium of Investigators Working on
    Non-Hodgkin’s Lymphoma Epidemiologic Studies (InterLymph); Ovarian Cancer Association
    Consortium (OCAC); Oral Cancer GWAS; Pancreatic Cancer Case-Control Consortium
    (PanC4); Pancreatic Cancer Cohort Consortium (PanScan); Prostate Cancer Association Group
    to Investigate Cancer Associated Alterations in the Genome (PRACTICAL); Renal Cancer
    GWAS; Testicular Cancer Consortium (TECAC), Chanock SJ, Chatterjee N, Garcia-Closas M.
     Assessment of polygenic architecture and risk prediction based on common variants across
    fourteen cancers. Nat Commun 2020;11(1):3353. doi: 10.1038/s41467-020-16483-3. PMCID:
    PMC7335068
Yuan F, Hung RJ, Walsh N, Zhang H, Platz EA, Wheeler W, Song L, Arslan AA, Beane Freeman
    LE, Bracci P, Canzian F, Du M, Gallinger S, Giles GG, Goodman PJ, Kooperberg C, Le
    Marchand L, Neale RE, Rosendahl J, Scelo G, Shu XO, Visvanathan K, White E, Zheng W,
    Albanes D, Amiano P, Andreotti G, Babic A, Bamlet WR, Berndt SI, Brennan P, Bueno-de-
    Mesquita B, Buring JE, Campbell PT, Chanock SJ, Fuchs CS, Gaziano JM, Goggins MG,
    Hackert T, Hartge P, Hassan MM, Holly EA, Hoover RN, Katzke V, Kirsten H, Kurtz RC, Lee
    IM, Malats N, Milne RL, Murphy N, Ng K, Oberg AL, Porta M, Rabe KG, Real FX, Rothman
    N, Sesso HD, Silverman DT, Thompson IM, Wactawski-Wende J, Wang X, Wentzensen N,
    Wilkens LR, Yu H, Zeleniuch-Jacquotte A, Shi J, Duell EJ, Amundadottir LT, Li D, Petersen
    GM, Wolpin BM, Risch HA, Yu K, Klein AP, Stolzenberg-Solomon R. Genome-Wide
    Association Study Data Reveal Genetic Susceptibility to Chronic Inflammatory Intestinal
    Diseases and Pancreatic Ductal Adenocarcinoma Risk. Cancer Res 2020;80(18):4004-4013.
    doi: 10.1158/0008-5472.CAN-20-0447. PMCID: PMC7861352
Cristiano S, McKean D, Carey J, Bracci P, Brennan P, Chou M, Du M, Gallinger S, Goggins MG,
    Hassan MM, Hung RJ, Kurtz RC, Li D, Lu L, Neale R, Olson S, Petersen G, Rabe KG, Fu J,
    Risch H, Rosner GL, Ruczinski I, Klein AP, Scharpf RB. Bayesian copy number detection and
    association in large-scale studies. BMC Cancer 2020;20(1):856. doi: 10.1186/s12885-020-
    07304-3. PMCID: PMC7487704
Tang H, Jiang L, Stolzenberg-Solomon RZ, Arslan AA, Beane Freeman LE, Bracci PM, Brennan
    P, Canzian F, Du M, Gallinger S, Giles GG, Goodman PJ, Kooperberg C, Le Marchand L,
    Neale RE, Shu XO, Visvanathan K, White E, Zheng W, Albanes D, Andreotti G, Babic A,
    Bamlet WR, Berndt SI, Blackford A, Bueno-de-Mesquita B, Buring JE, Campa D, Chanock SJ,
    Childs E, Duell EJ, Fuchs C, Gaziano JM, Goggins M, Hartge P, Hassam MH, Holly EA,
    Hoover RN, Hung RJ, Kurtz RC, Lee IM, Malats N, Milne RL, Ng K, Oberg AL, Orlow I,
    Peters U, Porta M, Rabe KG, Rothman N, Scelo G, Sesso HD, Silverman DT, Thompson IM Jr,
    Tjønneland A, Trichopoulou A, Wactawski-Wende J, Wentzensen N, Wilkens LR, Yu H,
    Zeleniuch-Jacquotte A, Amundadottir LT, Jacobs EJ, Petersen GM, Wolpin BM, Risch HA,
    Chatterjee N, Klein AP, Li D, Kraft P, Wei P. Genome-Wide Gene-Diabetes and Gene-Obesity
    Interaction Scan in 8,255 Cases and 11,900 Controls from PanScan and PanC4 Consortia.

                                                                                  App000027
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 30 of 633 PageID 756


   Cancer Epidemiol Biomarkers Prev 2020;29(9):1784-1791. doi: 10.1158/1055-9965.EPI-20-
   0275. PMCID: PMC7483330
Zhu J, Shu X, Guo X, Liu D, Bao J, Milne RL, Giles GG, Wu C, Du M, White E, Risch HA,
   Malats N, Duell EJ, Goodman PJ, Li D, Bracci P, Katzke V, Neale RE, Gallinger S, Van Den
   Eeden SK, Arslan AA, Canzian F, Kooperberg C, Beane Freeman LE, Scelo G, Visvanathan K,
   Haiman CA, Le Marchand L, Yu H, Petersen GM, Stolzenberg-Solomon R, Klein AP, Cai Q,
   Long J, Shu XO, Zheng W, Wu L. Associations between Genetically Predicted Blood Protein
   Biomarkers and Pancreatic Cancer Risk. Cancer Epidemiol Biomarkers Prev 2020;29(7):1501-
   1508. doi: 10.1158/1055-9965.EPI-20-0091. PMCID: PMC7334065
Shen Y, Risch H, Lu L, Ma X, Irwin ML, Lim JK, Taddei T, Pawlish K, Stroup A, Brown R, Wang
   Z, Jia W, Wong L, Mayne ST, Yu H. Risk factors for hepatocellular carcinoma (HCC) in the
   northeast of the United States: results of a case-control study. Cancer Causes Control
   2020;31(4):321-332. doi: 10.1007/s10552-020-01277-1. PMCID: PMC7136513
Thi-Hai Pham Y, Utuama O, Thomas CE, Park JA, La Vecchia C, Risch HA, Tran CT, Le TV,
    Boffetta P, Raskin L, Luu HN. High mobility group A protein-2 as a tumor cancer diagnostic
    and prognostic marker: a systematic review and meta-analysis. Eur J Cancer Prev
    2020;29(6):565-581. doi: 10.1097/CEJ.0000000000000602. *Not a result of NIH funding.
Brieger KK, Peterson S, Lee AW, Mukherjee B, Bakulski KM, Alimujiang A, Anton-Culver H,
    Anglesio MS, Bandera EV, Berchuck A, Bowtell DDL, Chenevix-Trench G, Cho KR, Cramer
    DW, DeFazio A, Doherty JA, Fortner RT, Garsed DW, Gayther SA, Gentry-Maharaj A, Goode
    EL, Goodman MT, Harris HR, Høgdall E, Huntsman DG, Shen H, Jensen A, Johnatty SE,
    Jordan SJ, Kjaer SK, Kupryjanczyk J, Lambrechts D, McLean K, Menon U, Modugno F,
    Moysich K, Ness R, Ramus SJ, Richardson J, Risch H, Rossing MA, Trabert B, Wentzensen N,
    Ziogas A, Terry KL, Wu AH, Hanley GE, Pharoah P, Webb PM, Pike MC, Pearce CL; Ovarian
    Cancer Association Consortium. Menopausal hormone therapy prior to the diagnosis of ovarian
    cancer is associated with improved survival. Gynecol Oncol 2020;158(3):702-709. doi:
    10.1016/j.ygyno.2020.06.481. PMCID: PMC7487048
Modugno F, Fu Z, Jordan SJ, Group A, Chang-Claude J, Fortner RT, Goodman MT, Moysich KB,
    Schildkraut JM, Berchuck A, Bandera EV, Qin B, Sutphen R, McLaughlin JR, Menon U,
    Ramus SJ, Gayther SA, Gentry-Maharaj A, Karpinskyj C, Pearce CL, Wu AH, Risch HA,
    Webb PM. Offspring sex and risk of epithelial ovarian cancer: a multinational pooled analysis
    of 12 case-control studies. Eur J Epidemiol 2020;35(11):1025-1042. doi: 10.1007/s10654-020-
    00682-9. PMCID: PMC7981786
Ghoneim DH, Zhu J, Zheng W, Long J, Murff HJ, Ye F, Setiawan VW, Wilkens LR, Khankari NK,
    Haycock P, Antwi SO, Yang Y, Arslan AA, Beane Freeman LE, Bracci PM, Canzian F, Du M,
    Gallinger S, Giles GG, Goodman PJ, Kooperberg C, Le Marchand L, Neale RE, Scelo G,
    Visvanathan K, White E, Albanes D, Amiano P, Andreotti G, Babic A, Bamlet WR, Berndt SI,
    Brais LK, Brennan P, Bueno-de-Mesquita B, Buring JE, Campbell PT, Rabe KG, Chanock SJ,
    Duggal P, Fuchs CS, Gaziano JM, Goggins MG, Hackert T, Hassan MM, Helzlsouer KJ, Holly
    EA, Hoover RN, Katske V, Kurtz RC, Lee IM, Malats N, Milne RL, Murphy N, Oberg AL,
    Porta M, Rothman N, Sesso HD, Silverman DT, Thompson IM Jr, Wactawski-Wende J, Wang
    X, Wentzensen N, Yu H, Zeleniuch-Jacquotte A, Yu K, Wolpin BM, Jacobs EJ, Duell EJ,
    Risch HA, Petersen GM, Amundadottir LT, Kraft P, Klein AP, Stolzenberg-Solomon RZ, Shu
    XO, Wu L. Mendelian Randomization Analysis of n-6 Polyunsaturated Fatty Acid Levels and
    Pancreatic Cancer Risk. Cancer Epidemiol Biomarkers Prev 2020;29(12):2735-2739. doi:
    10.1158/1055-9965.EPI-20-0651. PMCID: PMC7710600


                                                                                    App000028
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 31 of 633 PageID 757


   Yang T, Tang H, Risch HA, Olson SH, Peterson G, Bracci PM, Gallinger S, Hung RJ, Neale RE,
      Scelo G, Duell EJ, Kurtz RC, Khaw KT, Severi G, Sund M, Wareham N, Amos CI, Li D, Wei
      P. Incorporating multiple sets of eQTL weights into gene-by-environment interaction analysis
      identifies novel susceptibility loci for pancreatic cancer. Genet Epidemiol 2020;44(8):880-892.
      doi: 10.1002/gepi.22348. PMCID: PMC7657998
   Xiao Y, He L, Chang W, Zhang S, Wang R, Chen X, Li X, Wang Z, Risch HA. Self-harm
      behaviors, suicidal ideation, and associated factors among rural left-behind children in west
      China. Ann Epidemiol 2020;42:42-49. doi: 10.1016/j.annepidem.2019.12.014. *Not a result of
      NIH funding.
   Shuch B, Li S, Risch H, Bindra RS, McGillivray PD, Gerstein M. Estimation of the carrier
      frequency of fumarate hydratase alterations and implications for kidney cancer risk in
      hereditary leiomyomatosis and renal cancer.       Cancer 2020;126(16):3657-3666. doi:
      10.1002/cncr.32914. *Not a result of NIH funding.
2019
   Lor GCY, Risch HA, Fung JW, Yeung SLA, Wong IOL, Zheng W, Pang H. Reporting and
       guidelines for Mendelian randomization analysis: A systematic review of oncological studies.
       Cancer Epidemiol 2019;62:101577. doi: 10.1016/j.canep.2019.101577. *Not a result of NIH
       funding.
   Ferreira MA, Gamazon ER, Aittomäki K, Andrulis IL, Anton-Culver H, Arndt V, Aronson KJ,
       Arun BK, Asseryanis E, Auer PL, Azzollini J, Balmaña J, Barkardottir RB, Barnes DR,
       Barrowdale D, Beckmann MW, Behrens S, Benitez J, Bermisheva M, Blomqvist C, Bogdanova
       NV, Bojesen SE, Bolla MK, Borg A, Brauch H, Brenner H, Broeks A, Burwinkel B, Caldés T,
       Caligo MA, Campbell I, Canzian F, Carter J, Carter BD, Castelao JE, Chang-Claude J, Chanock
       SJ, Christiansen H, Chung WK, Claes KBM, Clarke CL, Couch FJ, Cox A, Cross SS, Czene K,
       Daly MB, de la Hoya M, Dennis J, Devilee P, Diez O, Dörk T, Dunning AM, Dwek M, Eccles
       DM, Ejlertsen B, Ellberg C, Engel C, Eriksson M, Fasching PA, Fletcher O, Flyger H,
       Friedman E, Frost D, Gabrielson M, Gago-Dominguez M, Ganz PA, Gapstur SM, Garber J,
       García-Closas M, García-Sáenz JA, Gaudet MM, Giles GG, Glendon G, Godwin AK, Goldberg
       MS, Goldgar DE, González-Neira A, Greene MH, Gronwald J, Guénel P, Haiman CA, Hall P,
       Hamann U, He W, Heyworth J, Hogervorst FBL, Hollestelle A, Hoover RN, Hopper JL, Huang
       G, Hulick PJ, Humphreys K, Imyanitov EN, Isaacs C, Jakimovska M, Jakubowska A, James P,
       Janavicius R, Jankowitz RC, John EM, Johnson N, Jones ME, Joseph V, Kaczmarek K, Kar S,
       Karlan BY, Keuhl T, Khusnutdinova E, Kiiski JI, Ko Y-D, Konstantopoulou I, Kristensen VN,
       Laitman Y, Lambrechts D, Lazaro C, Leslie G, Lester J, Lesueur F, Lindor N, Lindström S,
       Long J, Loud JT, LubiÑski J, Makalic E, Mannermaa A, Margolin S, Mavroudis D, McGuffog
       L, Meindl A, Menon U, Michailidou K, Miller A, Montagna M, Moreno F, Moserle L,
       Mulligan AM, Nathanson KL, Neuhausen SL, Nevanlinna H, Nevelsteen I, Nielsen FC,
       Nikitina-Zake L, Nussbaum RL, Offit K, Olah E, Olopade OI, Olsson H, Osorio A, Papp J,
       Park-Simon T-W, Parsons MT, Pedersen IS, Peixoto A, Peterlongo P, Pharoah PDP, Plaseska-
       Karanfilska D, Poppe B, Prentice R, Presneau N, Radice P, Rantala J, Rennert G, Risch HA,
       Saloustros E, Sanden K, Sandler DP, Sawyer EJ, Schmidt MK, Schmutzler RK, Sharma P, Shu
       X-O, Simard J, Singer CF, Soucy P, Southey MC, Spinelli JJ, Spurdle AB, Stone J, Swerdlow
       AJ, Tapper WJ, Taylor JA, Teixeira MR, Terry MB, Teulé A, Thomassen M, Thöne K, Thull
       DL, Tischkowitz M, Toland AE, Torres D, Truong T, Tung N, Vachon C, van Asperen CJ, van
       den Ouweland AMW, van Rensburg EJ, Vega A, Viel A, Wang Q, Wappenschmidt B,
       Weinberg CR, Weitzel JN, Wendt C, Winqvist R, Yang XR, Yannoukakos D, Ziogas A, GC-
       HBOC study collaborators, OCGN, HEBON Investigators, GEMO Study Collaborators,

                                                                                         App000029
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 32 of 633 PageID 758


   EMBRACE, BCFR Investigators, kConFab Investigators, ABCTB Investigators, Antoniou AC,
   Kraft P, Easton DF, Zheng W, Milne RL, Beesley J, Chenevix-Trench G. Genome-wide
   association and transcriptome studies identify novel putative target genes and risk loci for breast
   cancer.     Nat Commun 2019;10(1):1741. doi: 10.1038/s41467-018-08053-5. PMCID:
   PMC6465407
Dong J, Gharahkhani P, Chow W-H, Gammon MD, Liu G, Caldas C, Wu AH, Ye W, Onstad L,
   Anderson LA, Bernstein L, Pharoah PD, Risch HA, Corley DA, Fitzgerald RC, Stomach and
   Esophageal Cancer Study (SOCS) Consortium, Iyer PG, Reid BJ, Lagergren J, Shaheen NJ,
   Vaughan TL, MacGregor S, Love S, Palles C, Tomlinson I, Gockel I, May A, Gerges C, Anders
   M, Böhmer AC, Becker J, Kreuser N, Thieme R, Noder T, Venerito M, Veits L, Schmidt T,
   Schmidt C, Izbicki JR, Hölscher AH, Lang H, Lorenz D, Schumacher B, Mayershofer R,
   Vashist Y, Ott K, Vieth M, Weismüller J, Nöthen MM, Moebus S, Knapp M, Peters WHM,
   Neuhaus H, Rösch T, Ell C, Jankowski J, Schumacher J, Neale RE, Whiteman DC, Thrift AP.
   Vitamin D status and the risks of Barrett's esophagus and esophageal adenocarcinoma: a
   Mendelian randomization study. Clin Gastroenterol Hepatol. 2019: S1542-3565(19)30088-6.
   doi: 10.1016/j.cgh.2019.01.041. PMCID: PMC Journal in Process.
Xiao Y, Yang H, Lu J, Li D, Xu C, Risch HA. Serum gamma-glutamyltransferase and the overall
   survival of metastatic pancreatic cancer. BMC Cancer 2019;19:1020. doi: 10.1186/s12885-
   019-6250-8. *Not a result of NIH funding.
Xiao Y, Wang Y, Chang W, Chen Y, Yu Z, Risch H. Factors associated with psychological
   resilience in left-behind children in southwest China. Asian J Psychiatr 2019;46:1-5. doi:
   10.1016/j.ajp.2019.09.014. *Not a result of NIH funding.
Baecker A, Kim S, Risch HA, Nuckols TK, Wu BU, Hendifar AE, Pandol SJ, Pisegna JR, Jeon
   CY. Do changes in health reveal the possibility of undiagnosed pancreatic cancer?
   Development of a risk-prediction model based on healthcare claims data. PLoS One
   2019;14(6):e0218580. doi: 10.1371/journal.pone.0218580. PMCID: PMC6592596.
Chen FC, Childs EJ, Mocci E, Bracci PM, Gallinger S, Li D, Neale R, Olson SH, Scelo G, Bamlet
   WR, Blackford A, Borges M, Brennan P, Chaffee KG, Duggal P, Hassan M, Holly EA, Hung
   RJ, Goggins M, Kurtz RC, Oberg AL, Orlow I, Yu H, Petersen GM, Risch HA, Klein AP.
   Analysis of heritability and genetic architecture of pancreatic cancer: a PanC4 study. Cancer
   Epidemiol Biomarkers Prev 2019;28(7):1238-45. doi: 10.1158/1055-9965.EPI-18-1235.
   PMCID: PMC6606380.
Reid BM, Permuth JB, Chen YA, Fridley BL, Iversen E, Chen Z, Jim HS, Vierkant RA,
   Cunningham JM, Barnholtz Sloan J, Narod S, Risch H, Schildkraut JM, Goode EL, Monteiro
   ANA, Sellers TA. Genome wide analysis of common copy number variation and epithelial
   ovarian cancer risk. Cancer Epidemiol Biomarkers Prev 2019;28(7):1117-26. PMCID: PMC
   Journal in Process.
Buckley MA, Woods NT, Tyrer J, Mendoza-Fandino G, Lawrenson K, Hazelett DJ, Najafabadi
   HS, Gjyshi A, Carvalho RS, Lyra PC Jr, Coetzee SG, Shen HC, Karevan R, Yang A, Earp M,
   Chen YA, Yoder SJ, Risch HA, Aben KKH, Anton Culver H, Antonenkova N, Bruinsma F,
   Bandera EV, Bean YT, Beckmann MW, Bisogna M, Bjorge L, Bogdanova N, Brinton LA,
   Brooks-Wilson A, Bunker CH, Butzow R, Campbell IG, Carty K, Chang-Claude J, Cook LS,
   Cramer DW, Cunningham JM, Cybulski C, Dansonka-Mieszkowska A, du Bois A, Dicks E,
   Doherty JA, Dörk T, Dürst M, Easton DF, Eccles DM, Edwards RP, Ekici AB, Fasching PA,
   Fridley BL, Gao Y-T, Gentry-Maharaj A, Giles GG, Glasspool R, Goodman MT, Gronwald J,
   Harter P, Hasmad HN, Hein A, Heitz F, Hildebrandt MAT, Hillemanns P, Hogdall CK, Hogdall

                                                                                         App000030
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 33 of 633 PageID 759


   E, Hosono S, Iversen ES, Jakubowska A, Jensen A, Ji B-T, Karlan BY, Kellar M, Kelley JL,
   Kiemeney LA, Krakstad C, Kjaer SK, Kupryjanczyk J, Lambrechts D, Lambrechts S, Le ND,
   Lee AW, Lele S, Leminen A, Lester J, Levine DA, Liang D, Lim BK, Lissowska J, Lu K,
   Lubinski J, Lundvall L, Massuger LFAG, Matsuo K, McGuire V, McLaughlin JR, McNeish I,
   Menon U, Milne RL, Modugno F, Moysich KB, Ness RB, Nevanlinna H, Eilber U, Odunsi K,
   Olson SH, Orlow I, Orsulic S, Weber RP, Paul J, Pearce CL, Pejovic T, Pelttari LM, Permuth-
   Wey J, Pike MC, Poole EM, Rosen B, Rossing MA, Rothstein JH, Rudolph A, Runnebaum IB,
   Rzepecka IK, Salvesen HB, Schwaab I, Shu, X-O, Shvetsov YB, Siddiqui N, Sieh W, Song H,
   Southey MC, Spiewankiewicz B, Sucheston-Campbell L, Teo S-H, Terry KL, Thompson PJ,
   Thomsen L, Tangen IL, Tsai Y, Tworoger SS, van Altena AM, Van Nieuwenhuysen E, Vergote
   I, Walsh CS, Wang-Gohrke S, Wentzensen N, Whittemore AS, Wicklund KG, Wilkens LR, Wu
   AH, Wu X, Woo Y-L, Yang H, Zheng W, Ziogas A, Berchuck A, Chenevix-Trench G, AOCS
   management group, Schildkraut JM, Ramus SJ, Kelemen LE, Freedman ML, Phelan CM,
   Coetzee GA, Noushmehr H, Hughes TR, Sellers TA, Goode EL, Pharoah PD, Gayther SA,
   Monteiro ANA. Functional analysis and fine mapping of the 9p22.2 ovarian cancer
   susceptibility locus. Cancer Res 2019;79(3):467-81. doi: 10.1158/0008-5472.CAN-17-3864.
   PMCID: PMC Journal in Process.
Chhoda A, Lu L, Clerkin BM, Risch H, Farrell J. Pancreatic cancer screening: current approaches.
     Am J Pathol 2019;189(1):22-35. doi: 10.1016/j.ajpath.2018.09.013. *Not a result of NIH
    funding.
Webb PM, Na R, Weiderpass E, Adami HO, Anderson KE, Bertrand KA, Botteri E, Brasky TM,
    Brinton LA, Chen C, Doherty JA, Lu L, McCann SE, Moysich KB, Olson S, Petruzella S,
    Palmer JR, Prizment AE, Schairer C, Setiawan VW, Spurdle AB, Trabert B, Wentzensen N,
    Wilkens L, Yang HP, Yu H, Risch HA, Jordan SJ. Use of aspirin, other nonsteroidal anti-
    inflammatory drugs and acetaminophen and risk of endometrial cancer: The Epidemiology of
    Endometrial     Cancer     Consortium.        Ann    Oncol      2019;30(2):310-316.     doi:
    10.1093/annonc/mdy541. PMCID: PMC Journal in Process.
Jiang X, Finucane HK, Schumacher FR, Schmit SL, Tyrer JP, Han Y, Michailidou K, Lesseur C,
    Kuchenbaecker KB, Dennis J, Conti DV, Casey G, Gaudet MM, Huyghe JR, Albanes D,
    Aldrich MC, Andrew AS, Andrulis IL, Anton-Culver H, Antoniou AC, Antonenkova NN,
    Arnold SM, Aronson KJ, Arun BK, Bandera EV, Barkardottir RB, Barnes DR, Batra J,
    Beckmann MW, Benitez J, Benlloch S, Berchuck A, Berndt SI, Bickeböller H, Bien SA,
    Blomqvist C, Boccia S, Bogdanova NV, Bojesen SE, Bolla MK, Brauch H, Brenner H, Brenton
    JD, Brook MN, Brunet J, Brunnström H, Buchanan DD, Burwinkel B, Butzow R, Cadoni G,
    Caldés T, Caligo MA, Campbell I, Campbell PT, Cancel-Tassin G, Cannon-Albright L, Campa
    D, Caporaso N, Carvalho AL, Chan AT, Chang-Claude J, Chanock SJ, Chen C, Christiani DC,
    Claes KBM, Claessens F, Clements J, Collée JM, Cruz Correa M, Couch FJ, Cox A,
    Cunningham JM, Cybulski C, Czene K, Daly MB, deFazio A, Devilee P, Diez O, Gago-
    Dominguez M, Donovan JL, Dörk T, Duell EJ, Dunning AM, Dwek M, Eccles DM, Edlund
    CK, Velez Edwards DR, Ellberg C, Evans DG, Fasching PA, Ferris RL, Liloglou T, Figueiredo
    JC, Fletcher O, Fortner RT, Fostira F, Franceschi S, Friedman E, Gallinger SJ, Ganz PA,
    Garber J, García-Sáenz JA, Gayther SA, Giles GG, Godwin AK, Goldberg MS, Goldgar DE,
    Goode EL, Goodman MT, Goodman G, Grankvist K, Greene MH, Gronberg H, Gronwald J,
    Guénel P, Håkansson N, Hall P, Hamann U, Hamdy FC, Hamilton RJ, Hampe J, Haugen A,
    Heitz F, Herrero R, Hillemanns P, Hoffmeister M, Høgdall E, Hong Y-C, Hopper JL, Houlston
    R, Hulick PJ, Hunter DJ, Huntsman DG, Idos G, Imyanitov EN, Ingles SA, Isaacs C,
    Jakubowska A, James P, Jenkins MA, Johansson M, Johansson M, John EM, Joshi AD, Kaneva

                                                                                    App000031
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 34 of 633 PageID 760


      R, Karlan BY, Kelemen LE, Kühl T, Khaw K-T, Khusnutdinova E, Kibel AS, Kiemeney LA,
      Kim J, Kjaer SK, Knight JA, Kogevinas M, Kote-Jarai Z, Koutros S, Kristensen VN,
      Kupryjanczyk J, Lacko M, Lam S, Lambrechts D, Landi MT, Lazarus P, Le ND, Lee E,
      Lejbkowicz F, Lenz H-J, Leslie G, Lessel D, Lester J, Levine DA, Li L, Li CI, Lindblom A,
      Lindor NM, Liu G, Loupakis F, LubiÑski J, Maehle L, Maier C, Mannermaa A, Le Marchand
      L, Margolin S, May T, McGuffog L, Meindl A, Middha P, Miller A, Milne RL, MacInnis RJ,
      Modugno F, Montagna M, Moreno V, Moysich KB, Mucci L, Muir K, Mulligan AM,
      Nathanson KL, Neal DE, Ness AR, Neuhausen SL, Nevanlinna H, Newcomb PA, Newcomb
      LF, Nielsen FC, Nikitina-Zake L, Nordestgaard BG, Nussbaum RL, Offit K, Olah E, Al Olama
      AA, Olopade OI, Olshan AF, Olsson H, Osorio A, Pandha H, Park JY, Pashayan N, Parsons
      MT, Pejovic T, Penney KL, Peters WHM, Phelan CM, Phipps AI, Plaseska-Karanfilska D,
      Pring M, Prokofyeva D, Radice P, Stefansson K, Ramus SJ, Raskin L, Rennert G, Rennert HS,
      van Rensburg EJ, Riggan MJ, Risch HA, Risch A, Roobol MJ, Rosenstein BS, Rossing MA,
      De Ruyck K, Saloustros E, Sandler DP, Sawyer EJ, Schabath MB, Schleutker J, Schmidt MK,
      Setiawan VW, Shen H, Siegel EM, Sieh W, Singer CF, Slattery ML, Sorensen KD, Southey
      MC, Spurdle AB, Stanford JL, Stevens VL, Stintzing S, Stone J, Sundfeldt K, Sutphen R,
      Swerdlow AJ, Tajara EH, Tangen CM, Tardon A, Taylor JA, Teare MD, Teixeira MR, Terry
      MB, Terry KL, Thibodeau SN, Thomassen M, Bjørge L, Tischkowitz M, Toland AE, Torres D,
      Townsend PA, Travis RC, Tung N, Tworoger SS, Ulrich CM, Usmani N, Vachon CM, Van
      Nieuwenhuysen E, Vega A, Aguado-Barrera ME, Wang Q, Webb PM, Weinberg CR,
      Weinstein S, Weissler MC, Weitzel JN, West CML, White E, Whittemore AS, Wichmann H-E,
      Wiklund F, Winqvist R, Wolk A, Woll P, Woods M, Wu AH, Wu X, Yannoukakos D, Zheng
      W, Zienolddiny S, Ziogas A, Zorn KK, Lane JM, Saxena R, Thomas D, Hung RJ, Diergaarde
      B, McKay J, Peters U, Hsu L, García Closas M, Eeles RA, Chenevix-Trench G, Brennan PJ,
      Haiman CA, Simard J, Easton DF, Gruber SB, Pharoah PDP, Price AL, Pasaniuc B, Amos CI,
      Kraft P, Lindström S. Shared heritability and functional enrichment across six solid cancers.
      Nat Commun 2019;10(1):431. doi: 10.1038/s41467-018-08054-4. PMCID: PMC Journal in
      Process.
2018
   Liu G, Mukherjee B, Lee S, Lee AW, Wu AH, Bandera EV, Jensen A, Rossing MA, Moysich KB,
      Chang-Claude J, Doherty J, Gentry-Maharaj A, Kiemeney L, Gayther SA, Modugno F,
      Massuger L, Goode EL, Fridley B, Terry KL, Cramer DW, Ramus SJ, Anton- Culver H, Ziogas
      A, Tyrer JP, Schildkraut JM, Kjaer SK, Webb PM, Ness RB, Menon U, Berchuck A, Pharoah
      PD, Risch H, Pearce CL, Ovarian Cancer Association Consortium. Robust tests for additive
      gene-environment interaction in case-control studies using gene-environment independence.
      Am J Epidemiol 2018;187(2):366-77. doi: 10.1093/aje/kwx243. PMCID: PMC Journal in
      Process.
   Harris HR, Babic A, Webb PM, Nagle CM, Jordan SJ, Australian Ovarian Cancer Study Group,
      Risch HA, Rossing MA, Doherty JA, Goodman MT, Modugno F, Ness RB, Moysich KB, Kjær
      SK, Høgdall E, Jensen A, Schildkraut JM, Berchuck A, Cramer DW, Bandera EV, Wentzensen
      N, Kotsopoulos J, Narod SA, Phelan CM, McLaughlin JR, Anton-Culver H, Ziogas A, Pearce
      CL, Wu AH, Terry KL, Ovarian Cancer Association Consortium. Polycystic ovary syndrome,
      oligomenorrhea, and risk of ovarian cancer histotypes: Evidence from the Ovarian Cancer
      Association Consortium. Cancer Epidemiol Biomarkers Prev 2018;27(2):174-82. doi:
      10.1158/1055-9965.EPI-17-0655. PMCID: PMC Journal in Process.
   Dong J, Buas MF, Gharahkhani P, Kendall BJ, Onstad L, Zhao S, Anderson LA, Wu AH, Ye W,
      Bird NC, Bernstein L, Chow W-H, Gammon MD, Liu G, Caldas C, Pharoah PD, Risch HA,

                                                                                      App000032
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 35 of 633 PageID 761


   Iyer PG, Reid BJ, Hardie LJ, Lagergren J, Shaheen NJ, Corley DA, Fitzgerald RC, Stomach
   and Oesophageal Cancer Study (SOCS) Consortium, Whiteman DC, Vaughan TL, Thrift AP.
   Determining risk of Barrett’s Esophagus and esophageal adenocarcinoma based on
   epidemiologic factors and genetic variants. Gastroenterology 2018;154(5):1273-81.e3. doi:
   10.1053/j.gastro.2017.12.003. PMCID: PMC Journal in Process.
Dong J, Levine DM, Buas MF, Zhang R, Onstad L, Fitzgerald RC, Stomach and Oesophageal
   Cancer Study (SOCS) Consortium, Corley DA, Shaheen NJ, Lagergren J, Hardie LJ, Reid BJ,
   Iyer PG, Risch HA, Caldas C, Caldas I, Pharoah PDP, Liu G, Gammon MD, Chow W-H,
   Bernstein L, Bird NC, Ye W, Wu AH, Anderson LA, MacGregor S, Whiteman DC, Vaughan
   TL, Thrift AP. Interactions between genetic variants and environmental factors affect risk of
   esophageal adenocarcinoma and Barrett's Esophagus.             Clin Gastroenterol Hepatol
   2018;16(10):1598-606.e4. doi: 10.1016/j.cgh.2018.03.007. PMCID: PMC Journal in Process.
Dixon-Suen SC, Nagle CM, Thrift AP, Pharoah PDP, Pirie A, Pearce CL, Zheng W, Australian
   Ovarian Cancer Study Group, Chenevix-Trench G, Fasching PA, Beckmann MW, Lambrechts
   D, Vergote I, Lambrechts S, Van Nieuwenhuysen E, Rossing MA, Doherty JA, Wicklund KG,
   Chang-Claude J, Jung AY, Moysich KB, Odunsi K, Goodman MT, Wilkens LR, Thompson PJ,
   Shvetsov YB, Dörk T, Park-Simon T-W, Hillemanns P, Bogdanova N, Butzow R, Nevanlinna
   H, Pelttari LM, Leminen A, Modugno F, Ness RB, Edwards RP, Kelley JL, Heitz F, du Bois A,
   Harter P, Schwaab I, Karlan BY, Lester J, Orsulic S, Rimel BJ, Kjær SK, Høgdall E, Jensen A,
   Goode EL, Fridley BL, Cunningham JM, Winham SJ, Giles GG, Bruinsma F, Milne RL,
   Southey MC, Hildebrandt MAT, Wu X, Lu KH, Liang D, Levine DA, Bisogna M, Schildkraut
   JM, Berchuck A, Cramer DW, Terry KL, Bandera EV, Olson SH, Salvesen HB, Vestrheim
   Thomsen LC, Kopperud RK, Bjorge L, Kiemeney LA, Massuger LFAG, Pejovic T, Bruegl A,
   Cook LS, Le ND, Swenerton KD, Brooks-Wilson A, Kelemen LE, LubiÑski J, Huzarski T,
   Gronwald J, Menkiszak J, Wentzensen N, Brinton L, Yang H, Lissowska J, Høgdall CK,
   Lundvall L, Song H, Tyrer JP, Campbell I, Eccles D, Paul J, Glasspool R, Siddiqui N,
   Whittemore AS, Sieh W, McGuire V, Rothstein JH, Narod SA, Phelan C, Risch HA,
   McLaughlin JR, Anton-Culver H, Ziogas A, Menon U, Gayther SA, Ramus SJ, Gentry-Maharaj
   A, Wu AH, Pike MC, Tseng C-C, Kupryjanczyk J, Dansonka-Mieszkowska A, Budzilowska A,
   Rzepecka IK, Webb PM, Ovarian Cancer Association Consortium. Adult height is associated
   with increased risk of ovarian cancer: a Mendelian randomisation study. Br J Cancer
   2018;118(8):1123-9. doi: 10.1038/s41416-018-0011-3. PMCID: PMC Journal in Process.
Antwi SO, Bamlet WR, Pedersen KS, Chaffee KG, Risch HA, Shivappa N, Steck SE, Anderson
   KE, Bracci PM, Polesel J, Serraino D, La Vecchia C, Bosetti C, Li D, Oberg AL, Arslan AA,
   Albanes D, Duell EJ, Huybrechts I, Amundadottir LT, Hoover R, Mannisto S, Chanock S,
   Zheng W, Shu X-O, Stepien M, Canzian F, Bueno-de-Mesquita B, Quirós JR, Zeleniuch-
   Jacquotte A, Bruinsma F, Milne RL, Giles GG, Hébert JR, Stolzenberg-Solomon RZ, Petersen
   GM. Pancreatic cancer risk is modulated by inflammatory potential of diet and ABO genotype:
   A consortia-based evaluation and replication study. Carcinogenesis. 2018:bgy072. doi:
   10.1093/carcin/bgy072. PMCID: PMC Journal in Process.
Earp M, Tyrer JP, Winham SJ, Lin H-Y, Chornokur G, Dennis J, Aben KKH, Anton Culver H,
   Antonenkova N, Bandera EV, Bean YT, Beckmann MW, Bjorge L, Bogdanova N, Brinton LA,
   Brooks-Wilson A, Bruinsma F, Bunker CH, Butzow R, Campbell- IG, Carty K, Chang-Claude
   J, Cook LS, Cramer DW, Cunningham JM, Cybulski C, Dansonka-Mieszkowska A, Despierre
   E, Doherty JA, Dörk T, du Bois A, Dürst M, Easton DF, Eccles DM, Edwards RP, Ekici AB,
   Fasching PA, Fridley BL, Gentry-Maharaj A, Giles GG, Glasspool R, Goodman MT, Gronwald
   J, Harter P, Hein A, Heitz F, Hildebrandt MAT, Hillemanns P, Hogdall CK, Høgdall E, Hosono

                                                                                    App000033
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 36 of 633 PageID 762


   S, Iversen ES, Jakubowska A, Jensen A, Ji B-T, Jung AY, Karlan BY, Kellar M, Kiemeney LA,
   Lim BK, Kjaer SK, Krakstad C, Kupryjanczyk J, Lambrechts D, Lambrechts S, Le ND, Lele S,
   Lester J, Levine DA, Li Z, Liang D, Lissowska J, Lu K, Lubinski J, Lundvall L, Massuger
   LFAG, Matsuo K, McGuire V, McLaughlin JR, McNeish I, Menon U, Milne RL, Modugno F,
   Moysich KB, Ness RB, Nevanlinna H, Odunsi K, Olson SH, Orlow I, Orsulic S, Paul J, Pejovic
   T, Pelttari LM, Permuth JB, Pike MC, Poole EM, Rosen B, Rossing MA, Rothstein JH,
   Runnebaum IB, Rzepecka IK, Schernhammer E, Schwaab I, Shu X-O, Shvetsov YB, Siddiqui
   N, Sieh W, Song H, Southey MC, Spiewankiewicz B, Sucheston-Campbell L, Tangen IL, Teo
   S-H, Terry KL, Thompson PJ, Thomsen L, Tworoger SS, van Altena AM, Vergote I, Vestrheim
   Thomsen LC, Vierkant RA, Walsh CS, Wang-Gohrke S, Wentzensen N, Whittemore AS,
   Wicklund KG, Wilkens LR, Woo Y-L, Wu AH, Wu X, Xiang Y-B, Yang H, Zheng W, Ziogas
   A, Lee AW, Pearce CL, Berchuck A, Schildkraut JM, Ramus SJ, Monteiro ANA, Narod SA,
   Sellers TA, Gayther SA, Kelemen LE, Chenevix-Trench G, Risch HA, Pharoah PDP, Goode
   EL, Phelan CM. Variants in genes encoding small GTPases and association with epithelial
   ovarian     cancer    susceptibility.       PLoS     One      2018;13(7):e0197561.    doi:
   10.1371/journal.pone.0197561. PMCID: PMC Journal in Process.
Mukhtar F, Boffetta P, Dabo B, Park JY, Tran TV, Tran HT-T, Whitney M, Risch HA, Le LC,
   Zheng W, Shu X-O, Luu HN. Disparities by race, age, and sex in the improvement of survival
   for lymphoma. PLoS One 2018;13(7):e0199745. doi: 10.1371/journal.pone.0199745. *Not a
   result of NIH funding.
Lu Y, Beeghly-Fadiel A, Wu L, Guo X, Li B, Moysich KB, Im HK, Andrulis IL, Anton-Culver H,
   Arun BK, Bandera EV, Barkardottir RB, Barnes DR, Barnes D, Benitez J, Bjorge L, Brenton J,
   Butzow R, Caldes T, Caligo MA, Campbell I, Chang-Claude J, Claes KBM, Couch FJ, Cramer
   DW, Daly MB, deFazio A, Dennis J, Diez O, Domchek SM, Dörk T, Easton DF, Eccles DM,
   Fasching PA, Fortner RT, Fountzilas G, Friedman E, Ganz PA, Garber J, Giles GG, Godwin
   AK, Goldgar DE, Goodman MT, Greene MH, Gronwald J, Hamann U, Heitz F, Hildebrandt
   MAT, Høgdall CK, Hollestelle A, Hulick PJ, Huntsman DG, Imyanitov EN, Isaacs C,
   Jakubowska A, James P, Karlan BY, Kelemen LE, Kiemeney LA, Kjaer SK, Kupryjanczyk J,
   Kwong A, Lambrechts D, Le ND, Leslie G, Lesueur F, Levine DA, May T, McGuffog L,
   McNeish I, Modugno F, Montagna M, Neuhausen SL, Nevanlinna H, Nielsen FC, Nikitina-
   Zake L, Nussbaum RL, Offit K, Olah E, Olopade OI, Olson SH, Olsson H, Osorio A, Park SK,
   Parsons M, Peeters PHM, Pejovic T, Peterlongo P, Phelan CM, Pujana MA, Ramus SJ, Rennert
   G, Riboli E, Risch H, Rodriguez GC, Rodríguez-Antona C, Romieu I, Rookus MA, Rossing
   MA, Sandler DP, Schmutzler RK, Setiawan VW, Sharma P, Sieh W, Simard J, Singer CF, Song
   H, Southey MC, Spurdle AB, Sutphen R, Swerdlow AJ, Teixeira MR, Teo SH, Thomassen M,
   Tischkowitz M, Toland AE, Tung N, Tworoger SS, van Rensburg EJ, Vega A, Edwards DV,
   Webb PM, Weitzel JN, Wentzensen N, White E, Wolk A, Wu AH, Yannoukakos D, Zorn KK,
   BCFR, EMBRACE, GEMO Study Collaborators, HEBON, KConFab Investigators, SWE-
   BRCA, Mod SQuaD study collaborators, GC-HBOC study collaborators, CONSIT study
   collaborators, Gayther SA, Antoniou AC, Berchuck A, Goode EL, Chenevix-Trench G, Sellers
   TA, Pharoah PDP, Zheng W, Long J. A transcriptome-wide association study among 97,898
   women to identify candidate susceptibility genes for epithelial ovarian cancer risk. Cancer Res
   2018;78(18):5419-30. doi: 10.1158/0008-5472.CAN-18-0951. PMCID: PMC Journal in
   Process.
O'Mara TA, Glubb DM, Amant F, Annibali D, Ashton K, Attia J, Auer PL, Beckmann MW, Black
   A, Bolla MK, Brauch H, Brenner H, Brinton L, Buchanan DD, Burwinkel B, Chang-Claude J,
   Chanock SJ, Chen C, Chen MM, Cheng THT, Clarke CL, Clendenning M, Cook LS, Couch FJ,

                                                                                     App000034
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 37 of 633 PageID 763


   Cox A, Crous-Bous M, Czene K, Day F, Dennis J, Depreeuw J, Doherty JA, Dörk T, Dowdy
   SC, Dürst M, Ekici AB, Fasching PA, Fridley BL, Friedenreich CM, Fritschi L, Fung J, García-
   Closas M, Gaudet MM, Giles GG, Goode EL, Gorman M, Haiman CA, Hall P, Hankinson S,
   Healey CS, Hein A, Hillemanns P, Hodgson S, Hoivik E, Holliday EG, Hopper JL, Hunter DJ,
   Jones A, Krakstad C, Kristensen VN, Lambrechts D, Le Marchand L, Liang X, Lindblom A,
   Lissowska J, Long J, Lu L, Magliocco AM, Martin L, McEvoy M, Meindl A, Michailidou K,
   Milne RL, Mints M, Montgomery GW, Nassir R, Olsson H, Orlow I, Otton G, Palles C, Perry
   JRB, Peto J, Pooler L, Prescott J, Proietto T, Rebbeck TR, Risch HA, Rogers PAW, Rübner M,
   Runnebaum I, Sacerdote C, Sarto GE, Schumacher F, Scott RJ, Setiawan VW, Shah M, Sheng
   X, Shu X-O, Southey MC, Swerdlow AJ, Tham E, Trovik J, Turman C, Tyrer JP, Vachon C,
   VanDen Berg D, Vanderstichele A, Wang Z, Webb PM, Wentzensen N, Werner HMJ, Winham
   SJ, Wolk A, Xia L, Xiang Y-B, Yang HP, Yu H, Zheng W, National Study of Endometrial
   Cancer Genetics Group (NSECG), RENDOCAS, The Australian National Endometrial Cancer
   Study Group (ANECS), CHIBCHA Consortium, Pharoah PDP, Dunning AM, Kraft P, De Vivo
   I, Tomlinson I, Easton DF, Spurdle AB, Thompson DJ. Identification of nine new
   susceptibility loci for endometrial cancer. Nat Commun 2018;9(1):3166. doi: 10.1038/s41467-
   018-05427-7. PMCID: PMC Journal in Process.
Kelemen LE, Earp M, Fridley BL, Chenevix-Trench G, Australian Ovarian Cancer Study Group,
   Fasching PA, Beckmann MW, Ekici AB, Hein A, Lambrechts D, Lambrechts S, Van
   Nieuwenhuysen E, Vergote I, Rossing MA, Doherty JA, Chang-Claude J, Behrens S, Moysich
   KB, Cannioto R, Lele S, Odunsi K, Goodman MT, Shvetsov YB, Thompson PJ, Wilkens LR,
   Dörk T, Antonenkova N, Bogdanova N, Hillemanns P, Runnebaum IB, du Bois A, Harter P,
   Heitz F, Schwaab I, Butzow R, Pelttari LM, Nevanlinna H, Modugno F, Edwards RP, Kelley
   JL, Ness RB, Karlan BY, Lester J, Orsulic S, Walsh C, Kjaer SK, Jensen A, Cunningham JM,
   Vierkant RA, Giles GG, Bruinsma F, Southey MC, Hildebrandt MAT, Liang D, Lu K, Wu X,
   Sellers TA, Levine DA, Schildkraut JM, Iversen ES, Terry KL, Cramer DW, Tworoger SS,
   Poole EM, Bandera EV, Olson SH, Orlow I, Vestrheim LC, Bjorge L, Krakstad C, Tangen IL,
   Kiemeney LA, Aben KKH, Massuger LFAG, van Altena AM, Pejovic T, Bean Y, Kellar M,
   Cook LS, Le ND, Brooks-Wilson A, Gronwald J, Cybulski C, Jakubowska A, LubiÑski J,
   Wentzensen N, Brinton LA, Lissowska J, Hogdall E, Engelholm SA, Hogdall C, Lundvall L,
   Nedergaard L, Pharoah PDP, Dicks E, Song H, Tyrer JP, McNeish I, Siddiqui N, Carty K,
   Glasspool R, Paul J, Campbell IG, Eccles D, Whittemore AS, McGuire V, Rothstein JH, Sieh
   W, Narod SA, Phelan CM, McLaughlin JR, Risch HA, Anton-Culver H, Ziogas A, Menon U,
   Gayther SA, Gentry-Maharaj A, Ramus SJ, Wu AH, Pearce CL, Lee AW, Pike MC,
   Kupryjanczyk J, Podgorska A, Plisiecka-Halasa J, Sawicki W, Goode EL, Berchuck A, Ovarian
   Cancer Association Consortium. rs495139 in the TYMS-ENOSF1 region and risk of ovarian
   carcinoma of mucinous histology.             Int J Mol Sci 2018;19(9). pii: E2473. doi:
   10.3390/ijms19092473. PMCID: PMC Journal in Process.
Visvanathan K, Shaw P, May B, Bahadirli-Talbot A, Kaushiva A, Risch H, Narod S, Wang T-L,
   Parkash V, Vang R, Levine D, Soslow R, Kurman R, Shih I-M. Fallopian tube lesions in
   women at high risk for ovarian cancer: A multicenter study. Accepted for publication, Cancer
   Prev Res (Phila) 2018;11(11):697-706. doi: 10.1158/1940-6207.CAPR-18-0009. PMCID:
   PMC Journal in Process.
Walsh N, Zhang H, Hyland P, Yang Q, Mocci E, Zhang M, Childs EJ, Collins I, Wang Z, Arslan
   AA, Beane-Freeman L, Bracci PM, Canzian F, Duell EJ, Gallinger S, Giles GG, Goodman GE,
   Goodman PJ, Kooperberg C, LeMarchand L, Neale RE, Olson SH, Scelo G, Shu XO, Van Den
   Eeden SK, Visvanathan K, White E, Zheng W, Albanes D, Andreotti G, Babic A, Bamlet WR,

                                                                                   App000035
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 38 of 633 PageID 764


       Berndt SI, Borgida A, Boutron-Ruault MC, Brais L, Brennan P, Bueno de-Mesquita B, Buring
       J, Chaffee KG, Chanock S, Cleary S, Cotterchio M, Foretova L, Fuchs C, Gaziano JMM,
       Giovannucci E, Goggins M, Hackert T, Haiman C, Hartge P, Hasan M, Helzlsouer KJ, Herman
       J, Holcatova I, Holly EA, Hoover R, Hung RJ, Janout V, Klein EA, Kurtz RC, Laheru D, Lee I-
       M, Lu L, Malats N, Mannisto S, Milne RL, Oberg AL, Orlow I, Patel AV, Peters U, Porta M,
       Real FX, Rothman N, Sesso HD, Severi G, Silverman D, Strobel O, Sund M, Thornquist MD,
       Tobias GS, Wactawski-Wende J, Wareham N, Weiderpass E, Wentzensen N, Wheeler W, Yu
       H, Zeleniuch-Jacquotte A, Kraft P, Li D, Jacobs EJ, Petersen GM, Wolpin BM, Risch HA,
       Amundadottir LT, Yu K, Klein AP, Stolzenberg-Solomon RZ. Agnostic pathway/gene set
       analysis of genome-wide association data identifies associations for pancreatic cancer. J Natl
       Cancer Inst 2018:djy155. doi: 10.1093/jnci/djy155. PMCID: PMC Journal in Process.
   Klein AP,* Wolpin BM,* Risch HA,* Stolzenberg-Solomon RZ,* Mocci E, Zhang M, Obazee O,
      Childs EJ, Hoskins JW, Jermusyk A, Zhong J, Chen F, Albanes D, Andreotti G, Arslan AA,
      Babic A, Bamlet WR, Beane-Freeman L, Berndt SI, Blackford A, Borges M, Borgida A, Bracci
      PM, Brais L, Brennan P, Brenner H, Bueno-de-Mesquita B, Buring J, Campa D, Capurso G,
      Cavestro GM, Chaffee KG, Chung C, Cleary S, Cotterchio M, Dijk F, Duell EJ, Foretova L,
      Fuchs C, Funel N, Gallinger S, Gaziano JMM, Gazouli M, Giles GG, Giovannucci E, Goggins
      M, Goodman GE, Goodman PJ, Hackert T, Haiman C, Hartge P, Hasan M, Hegyi P, Helzlsouer
      KJ, Herman J, Holcatova I, Holly EA, Hoover R, Hung RJ, Jacobs EJ, Jamroziak K, Janout V,
      Kaaks R, Khaw K-T, Klein EA, Kogevinas M, Kooperberg C, Kulke MH, Kupcinskas J, Kurtz
      RJ, Laheru D, Landi S, Lawlor RT, Lee I-M, LeMarchand L, Lu L, Malats N, Mambrini A,
      Mannisto S, Milne RL, Mohelníková-DuchoHová B, Neale RE, Neoptolemos JP, Oberg AL,
      Olson SH, Orlow I, Pasquali C, Patel AV, Peters U, Pezzilli R, Porta M, Real FX, Rothman N,
      Scelo G, Sesso HD, Severi G, Shu X-O, Silverman D, Smith JP, Soucek P, Sund M, Talar-
      Wojnarowska R, Tavano F, Thornquist MD, Tobias GS, Van Den Eeden SK, Vashist Y,
      Visvanathan K, Vodicka P, Wactawski-Wende J, Wang Z, Wentzensen N, White E, Yu H, Yu
      K, Zeleniuch-Jacquotte A, Zheng W, Kraft P, Li D, Chanock S, Canzian F, Petersen GM,
      Amundadottir LT. Genome-wide meta-analysis identifies five new susceptibility loci for
      pancreatic cancer. Nat Commun 2018;9:556. PMCID: PMC Journal in Process.
   Peres LC, Risch H, Terry KL, Webb PM, Goodman MT, Wu AH, Alberg AJ, Bandera EV,
      Barnholtz-Sloan J, Bondy ML, Cote ML, Funkhouser E, Moorman PG, Peters ES, Schwartz
      AG, Terry PD, Manichaikul A, Abbott SE, Camacho F, Jordan SJ, Nagle CM, Australian
      Ovarian Cancer Study Group, Rossing MA, Doherty JA, Modugno F, Moysich K, Ness R,
      Berchuck A, Cook L, Le N, Brooks-Wilson A, Sieh W, Whittemore A, McGuire V, Rothstein J,
      Anton-Culver H, Ziogas A, Pearce CL, Tseng C, Pike M, Schildkraut JM, African American
      Cancer Epidemiology Study, Ovarian Cancer Association Consortium.                 Racial/ethnic
      differences in the epidemiology of ovarian cancer: A pooled analysis of 12 case-control studies.
      Int J Epidemiol 2018;47(2):460-72. PMCID: PMC Journal in Process.
   Babic A, Harris HR, Vitonis AV, Titus LJ, Jordan SJ, Webb PM, Australian Ovarian Cancer Study
      Group, Risch HA, Rossing MA, Doherty JA, Wicklund K, Goodman MT, Modugno F,
      Moysich KB, Ness R, Kjaer SK, Schildkraut J, Berchuck A, Pierce CL, Wu AH, Cramer DW,
      Terry KL. Menstrual pain and risk of epithelial ovarian cancer: results from the Ovarian
      Cancer Association Consortium. Int J Cancer 2018;142(3):460-9. PMCID: PMC Journal in
      Process.
2017
   Zhou Y, Cartmel B, Gottlieb L, Ercolano EA, Li F, Harrigan M, McCorkle R, Ligibel JA, von
      Gruenigen VE, Gogoi R, Schwartz PE, Risch HA, Irwin ML. Randomized trial of exercise on

                                                                                         App000036
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 39 of 633 PageID 765


   quality of life in women with ovarian cancer: Women’s Activity and Lifestyle Study in
   Connecticut (WALC). J Natl Cancer Inst 2017;109(12):djx072. doi: 10.1093/jnci/djx072.
   PMCID: PMC Journal in Process.
Streicher SA, Klein AP, Olson SH, Amundadottir LT, DeWan AT, Zhao H, Risch HA. Impact of
    sixteen established pancreatic cancer susceptibility loci in American Jews. Cancer Epidemiol
    Biomarkers Prev 2017;26(10):1540-8. PMCID: PMC Journal in Process.
Risch HA, Lu L, Streicher SA, Wang J, Zhang W, Ni Q, Kidd MS, Yu H, Gao Y-T. Aspirin use
   and reduced risk of pancreatic cancer. Cancer Epidemiol Biomarkers Prev 2017;26(1):68-74.
   PMCID: PMC5225096.
Li N, Petrick JL, Steck SE, Bradshaw PT, McClain KM, Niehoff NM, Engel LS, Shaheen NJ,
   Risch HA, Vaughan TL, Wu AH, Gammon MD.                       A pooled analysis of dietary
   sugar/carbohydrate intake and esophageal and gastric cardia adenocarcinoma incidence and
   survival in the United States (US). Int J Epidemiol 2017;46(6):1836-46. PMCID: PMC Journal
   in Process.
McGee J, Gianneakas V, Karlan B, Lubinski J, Gronwald J, Rosen B, McLaughlin J, Risch H, Sun
  P, Foulkes WD, Neuhausen S, Kotsopoulos J, Narod SA, Hereditary Ovarian Cancer Clinical
  Study Group. Risk of breast cancer after a diagnosis of ovarian carcinoma cancer in BRCA
  mutation carriers: is preventive mastectomy warranted? Gynecol Oncol 2017;145(2):346-51.
  *NIH funding pre-dates mandate.
Mukhtar F, Boffetta P, Risch HA, Bubu OM, Womack L, Tran TV, Zgibor JC, Luu HN. Survival
   predictors of Burtkitt’s Lymphoma in children, adults and elderly in the United States during
   2000-2013. Int J Cancer 2017;140(7):1494-502. *Not a result of NIH funding.
Rasmussen CB, Kjaer SK, Albieri V, Bandera EV, Doherty JA, Høgdall E, Webb PM, Jordan SJ,
   AOCS Study Group, Rossing MA, Wicklund KG, Goodman MT, Modugno F, Moysich KB,
   Ness RB, Edwards RP, Schildkraut JM, Berchuck A, Olson SH, Kiemeney LA, Massuger
   LFAG, Narod SA, Phelan C, Anton-Culver H, Ziogas A, Wu AH, Pearce CL, Risch HA,
   Jensen A, on behalf of the Ovarian Cancer Association Consortium. Pelvic inflammatory
   disease and risk of ovarian cancer and borderline ovarian tumors: a pooled analysis of 13 case-
   control studies. Am J Epidemiol 2017;185(1):8-20. PMCID: PMC Journal in Process.
Buas MF, He Q, Johnson LG, Onstad L, Levine DM, Thrift AP, Gharahkhani P, Palles C,
   Lagergren J, Fitzgerald RC, Ye W, Caldas C, Bird NC, Shaheen NJ, Bernstein L, Gammon
   MD, Wu AH, Hardie LJ, Pharoah PD, Liu G, Iyer P, Corley DA, Risch HA, Chow WH, Prenen
   H, Chegwidden L, Love S, Attwood S, Moayyedi P, MacDonald D, Harrison R, Watson P, Barr
   H, deCaestecker J, Tomlinson I, Jankowski J, Whiteman DC, MacGregor S, Vaughan TL,
   Madeleine MM. Germline variation in inflammation-related pathways and risk of Barrett's
   oesophagus and oesophageal adenocarcinoma. Gut 2017;66(10):1739-47. PMCID: PMC
   Journal in Process.
Akbari MR, Zhang S, Cragun D, Lee JH, Coppola D, McLaughlin J, Risch HA, Rosen B, Shaw P,
   Sellers TA, Schildkraut J, Narod SA, Pal T. Correlation between germline mutations in MMR
   genes and microsatellite instability in ovarian cancer specimens. Fam Cancer 2017;16(3):351-
   5. PMCID: PMC Journal in Process.
Kotsopoulos J, Sopik V, Rosen B, Fan I, McLaughlin JR, Risch H, Sun P, Narod SA, Akbari MR.
   Frequency of germline PALB2 mutations among women with epithelial ovarian cancer. Fam
   Cancer 2017;16(1):29-34. PMCID: PMC Journal in Process.
Kim SJ, Rosen B, Fan I, Ivanova A, McLaughlin JR, Risch H, Narod SA, Kotsopoulos J.

                                                                                     App000037
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 40 of 633 PageID 766


    Epidemiologic factors that predict long-term survival following a diagnosis of epithelial ovarian
    cancer. Br J Cancer 2017;116(7):964-71. PMCID: PMC Journal in Process.
Præstegaard C, Jensen A, Jensen SM, Nielsen TSS, Webb PM, Nagle CM, DeFazio A, Australian
    Ovarian Cancer Study Group, Høgdall E, Rossing MA, Doherty JA, Wicklund KG, Goodman
    MT, Modugno F, Moysich K, Ness RB, Edwards R, Matsuo K, Hosono S, Goode EL, Winham
    SJ, Fridley BL, Cramer DW, Terry KL, Schildkraut JM, Berchuck A, Bandera EV, Paddock
    LE, Massuger LFAG, Wentzensen N, Pharoah P, Song H, Whittemore A, McGuire V, Sieh W,
    Rothstein J, Anton-Culver H, Ziogas A, Menon U, Gayther SA, Ramus SJ, Gentry-Maharaj A,
    Wu AH, Pearce CL, Pike M, Lee AW, Sutphen R, Chang-Claude J, Risch HA, Kjaer SK,
    Ovarian Cancer Association Consortium. Cigarette smoking is associated with adverse survival
    among women with ovarian cancer: results from a pooled analysis of 19 studies. Int J Cancer
    2017;140(11):2422-35. PMCID: PMC Journal in Process.
Kar SP, Adler E, Tyrer J, Hazelett D, Anton-Culver H, Bandera EV, Beckmann MW, Berchuck A,
    Bogdanova N, Brinton L, Butzow R, Campbell I, Carty K, Chang-Claude J, Cook LS, Cramer
    DW, Cunningham JM, Dansonka-Mieszkowska A, Anne Doherty JA, Dörk T, Dürst M, Eccles
    D, Fasching PA, Flanagan J, Gentry-Maharaj A, Glasspool R, Goode EL, Goodman MT,
    Gronwald J, Heitz F, Hildebrandt MAT, Høgdall E, Høgdall CK, Huntsman DG, Jensen A,
    Karlan BY, Kelemen LE, Kiemeney LA, Kjaer SK, Kupryjanczyk J, Lambrechts D, Levine
    DA, Li Q, Lissowska J, Lu KH, LubiÑski J, Massuger LFAG, McGuire V, McNeish I, Menon
    U, Modugno F, Monteiro AN, Moysich KB, Ness RB, Nevanlinna H, Paul J, Pearce CL,
    Pejovic T, Permuth JB, Phelan C, Pike MC, Poole EM, Ramus SJ, Risch HA, Rossing MA,
    Salvesen HB, Schildkraut JM, Sellers TA, Sherman M, Siddiqui N, Sieh W, Song H, Southey
    M, Terry KL, Tworoger SS, Walsh C, Wentzensen N, Whittemore AS, Wu AH, Yang H, Zheng
    W, Ziogas A, Freedman ML, Gayther SA, Pharoah PDP, Lawrenson K. Enrichment of putative
    PAX8 target genes at serous epithelial ovarian cancer susceptibility loci. Br J Cancer
    2017;116(4):524-35. PMCID: PMC Journal in Process.
Lindström S, Finucane H, Bulik-Sullivan B, Schumacher F, Amos C, Hung R, Rand K, Gruber SB,
    Conti D, Permuth-Wey J, Lin H-Y, Sellers TA, Amundadottir L, Stolzenberg-Solomon R, Klein
    A, Petersen G, Risch H, Wolpin B, Peters U, GECCO Consortium, Eeles R, Easton D, Haiman
    CA, Hunter DJ, Neale B, Price A, Kraft P, PanScan, GECCO Consortium, CORECT
    Consortium, DRIVE Consortium, ELLIPSE Consortium, FOCI Consortium, TRICL
    Consortium. Quantifying the genetic correlation between multiple cancer types. Cancer
    Epidemiol Biomarkers Prev 2017;26(9):1427-35. PMCID: PMC Journal in Process.
Jordan SJ, Na R, Johnatty SE, Wise LA, Adami HO, Brinton LA, Chen C, Cook, LS, Dal Maso L,
    De Vivo I, Freudenheim JL, Friedenreich CM, La Vecchia C, McCann SE, Moysich KB, Lu L,
    Olson SH, Palmer JR, Petruzella S, Pike MC, Rebbeck TR, Ricceri F, Risch HA, Sacerdote C,
    Setiawan VW, Sponholtz TR, Shu XO, Spurdle AB, Weiderpass E, Wentzensen N, Yang HP,
    Yu H, Webb PM. Breastfeeding and endometrial cancer risk: an analysis from the
    Epidemiology of Endometrial Cancer Consortium. Obstet Gynecol 2017;129(6):1059-67.
    PMCID: PMC Journal in Process.
Telomeres Mendelian Randomization Collaboration, Haycock PC, Burgess S, Nounu A, Zheng J,
    Okoli GN, Bowden J, Wade KH, Timpson NJ, Evans DM, Willeit P, Aviv A, Gaunt TR,
    Hemani G, Mangino M, Ellis HP, Kurian KM, Pooley KA, Eeles RA, Lee JE, Fang S, Chen
    WV, Law MH, Bowdler LM, Iles MM, Yang Q, Worrall BB, Markus HS, Hung RJ, Amos CI,
    Spurdle AB, Thompson DJ, O'Mara TA, Wolpin B, Amundadottir L, Stolzenberg-Solomon R,
    Trichopoulou A, Onland-Moret NC, Lund E, Duell EJ, Canzian F, Severi G, Overvad K, Gunter


                                                                                        App000038
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 41 of 633 PageID 767


   MJ, Tumino R, Svenson U, van Rij A, Baas AF, Bown MJ, Samani NJ, van t'Hof FNG, Tromp
   G, Jones GT, Kuivaniemi H, Elmore JR, Johansson M, Mckay J, Scelo G, Carreras-Torres R,
   Gaborieau V, Brennan P, Bracci PM, Neale RE, Olson SH, Gallinger S, Li D, Petersen GM,
   Risch HA, Klein AP, Han J, Abnet CC, Freedman ND, Taylor PR, Maris JM, Aben KK,
   Kiemeney LA, Vermeulen SH, Wiencke JK, Walsh KM, Wrensch M, Rice T, Turnbull C,
   Litchfield K, Paternoster L, Standl M, Abecasis GR, SanGiovanni JP, Li Y, Mijatovic V,
   Sapkota Y, Low SK, Zondervan KT, Montgomery GW, Nyholt DR, van Heel DA, Hunt K,
   Arking DE, Ashar FN, Sotoodehnia N, Woo D, Rosand J, Comeau ME, Brown WM, Silverman
   EK, Hokanson JE, Cho MH, Hui J, Ferreira MA, Thompson PJ, Morrison AC, Felix JF, Smith
   NL, Christiano AM, Petukhova L, Betz RC, Fan X, Zhang X, Zhu C, Langefeld CD, Thompson
   SD, Wang F, Lin X, Schwartz DA, Fingerlin T, Rotter JI, Cotch MF, Jensen RA, Munz M,
   Dommisch H, Schaefer AS, Han F, Ollila HM, Hillary RP, Albagha O, Ralston SH, Zeng C,
   Zheng W, Shu XO, Reis A, Uebe S, Hüffmeier U, Kawamura Y, Otowa T, Sasaki T, Hibberd
   ML, Davila S, Xie G, Siminovitch K, Bei JX, Zeng YX, Försti A, Chen B, Landi S, Franke A,
   Fischer A, Ellinghaus D, Flores C, Noth I, Ma SF, Foo JN, Liu J, Kim JW, Cox DG, Delattre O,
   Mirabeau O, Skibola CF, Tang CS, Garcia-Barcelo M, Chang KP, Su WH, Chang YS, Martin
   NG, Gordon S, Wade TD, Lee C, Kubo M, Cha PC, Nakamura Y, Levy D, Kimura M, Hwang
   SJ, Hunt S, Spector T, Soranzo N, Manichaikul AW, Barr RG, Kahali B, Speliotes E, Yerges-
   Armstrong LM, Cheng CY, Jonas JB, Wong TY, Fogh I, Lin K, Powell JF, Rice K, Relton CL,
   Martin RM, Davey Smith G. Association between telomere length and risk of cancer and non-
   neoplastic diseases: a mendelian randomization study. JAMA Oncol 2017;3(5):636-51.
   PMCID: PMC Journal in Process.
Minlikeeva AN, Freudenheim JL, Cannioto RA, Szender JB, Eng KH, Modugno F, Ness RB,
   LaMonte MJ, Friel G, Segal BH, Odunsi K, Mayor P, Zsiros E, Schmalfeldt B, Klapdor R,
   Dçrk T, Hillemanns P, Kelemen LE, Kçbel M, Steed H, de Fazio A; Australian Ovarian Cancer
   Study Group, Jordan SJ, Nagle CM, Risch HA, Rossing MA, Doherty JA, Goodman MT,
   Edwards R, Matsuo K, Mizuno M, Karlan BY, Kjær SK, Høgdall E, Jensen A, Schildkraut JM,
   Terry KL, Cramer DW, Bandera EV, Paddock LE, Kiemeney LA, Massuger LF, Kupryjanczyk
   J, Berchuck A, Chang-Claude J, Diergaarde B, Webb PM, Moysich KB; Ovarian Cancer
   Association Consortium. History of hypertension, heart disease, and diabetes and ovarian
   cancer patient survival: evidence from the ovarian cancer association consortium. Cancer
   Causes Control 2017;28(5):469-86. PMCID: PMC Journal in Process.
Dixon SC, Nagle CM, Wentzensen N, Trabert B, Beeghly-Fadiel A, Schildkraut JM, Moysich KB,
   deFazio A; Australian Ovarian Cancer Study Group, Risch HA, Rossing MA, Doherty JA,
   Wicklund KG, Goodman MT, Modugno F, Ness RB, Edwards RP, Jensen A, Kjær SK, Høgdall
   E, Berchuck A, Cramer DW, Terry KL, Poole EM, Bandera EV, Paddock LE, Anton-Culver H,
   Ziogas A, Menon U, Gayther SA, Ramus SJ, Gentry-Maharaj A, Pearce CL, Wu AH, Pike MC,
   Webb PM. Use of common analgesic medications and ovarian cancer survival: results from a
   pooled analysis in the Ovarian Cancer Association Consortium. Br J Cancer 2017;116(9):1223-
   8. PMCID: PMC Journal in Process.
Phelan CM, Kuchenbaecker KB, Tyrer JP, Kar SP, Lawrenson K, Winham SJ, Dennis J, Pirie A,
   Riggan M, Chornokur G, Earp MA, Lyra PC Jr, Lee JM, Coetzee S, Beesley J, McGuffog L,
   Soucy P, Dicks E, Lee A, Barrowdale D, Lecarpentier J, Leslie G, Aalfs CM, Aben KKH,
   Adams M, Adlard J, Andrulis IL, Anton-Culver H, Antonenkova N, AOCS study group,
   Aravantinos G, Arnold N, Arun BK, Arver B, Azzollini J, Balmaña J, Banerjee SN, Barjhoux
   L, Barkardottir RB, Bean Y, Beckmann MW, Beeghly-Fadiel A, Benitez J, Bermisheva M,
   Bernardini M, Birrer MJ, Bisogna M, Bjorge L, Black A, Blankstein K, Blok MJ, Bodelon C,

                                                                                   App000039
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 42 of 633 PageID 768


   Bogdanova N, Bojesen A, Bonanni B, Borg Å, Bradbury AR, Brenton JD, Brewer C, Brinton L,
   Broberg P, Brooks-Wilson A, Bruinsma F, Brunet J, Buecher B, Butzow R, Buys SS, Caldes T,
   Caligo MA, Campbell I, Cannioto R, Carney ME, Cescon T, Chan SB, Chang-Claude J,
   Chanock S, Chen XQ, Chiew Y-E, Chiquette J, Chung WK, Claes KBM, Conner T, Cook LS,
   Cook J, Cramer DW, Cunningham JM, D'Aloisio AA, Daly MB, Damiola F, Damirovna SD,
   Dansonka-Mieszkowska A, Dao F, Davidson R, DeFazio A, Delnatte C, Doheny KF, Diez O,
   Ding YC, Doherty JA, Domchek SM, Dorfling CM, Dörk T, Dossus L, Duran M, Dürst M,
   Dworniczak B, Eccles D, Edwards T, Eeles R, Eilber U, Ejlertsen B, Ekici AB, Ellis S, Elvira
   M, EMBRACE Study, Eng KH, Engel C, Evans DG, Fasching PA, Ferguson S, Ferrer SF,
   Flanagan JM, Fogarty ZC, Fortner RT, Fostira F, Foulkes WD, Fountzilas G, Fridley BL,
   Friebel TM, Friedman E, Frost D, Ganz PA, Garber J, García MJ, Garcia-Barberan V, Gehrig
   A, GEMO Study Collaborators, Gentry-Maharaj A, Gerdes A-M, Giles GG, Glasspool R,
   Glendon G, Godwin AK, Goldgar DE, Goranova T, Gore M, Greene MH, Gronwald J, Gruber
   S, Hahnen E, Haiman CA, Håkansson N, Hamann U, Hansen TVO, Harrington PA, Harris HR,
   Hauke J, HEBON Study, Hein A, Henderson A, Hildebrandt MAT, Hillemanns P, Hodgson S,
   Høgdall CK, Høgdall E, Hogervorst FBL, Holland H, Hooning MJ, Hosking K, Huang R-Y,
   Hulick PJ, Hung J, Hunter DJ, Huntsman DG, Huzarski T, Imyanitov EN, Isaacs C, Iversen ES,
   Izatt L, Izquierdo A, Jakubowska A, James P, Janavicius R, Jernetz M, Jensen A, Jensen UB,
   John EM, Johnatty S, Jones ME, Kannisto P, Karlan BY, Karzenis A, Kast K, KConFab
   Investigators, Kennedy CJ, Khusnutdinova E, Kiemeney LA, Kiiski JI, Kim S-W, Kjaer SK,
   Köbel M, Kopperud RK, Kruse TA, Kupryjanczyk J, Kwong A, Laitman Y, Lambrechts D,
   Larrañaga N, Larson MC, Lazaro C, Le ND, Marchand LL, Lee JW, Lele SB, Leminen A,
   Leroux D, Lester J, Lesueur F, Levine DA, Liang D, Liebrich C, Lilyquist J, Lipworth L,
   Lissowska J, Lu KH, LubiÑski J, Luccarini C, Lundvall L, Mai PL, Mendoza-Fandiño G,
   Manoukian S, Massuger LFAG, May T, Mazoyer S, McAlpine J, McGuire V, McLaughlin JR,
   McNeish I, Meijers-Heijboer HEJ, Meindl A, Menon U, Mensenkamp AR, Merritt M, Milne
   RL, Mitchell G, Modugno F, Moes-Sosnowska J, Moffitt M, Montagna M, Moysich KB,
   Mulligan AM, Musinsky J, Nathanson KL, Nedergaard L, Ness RB, Neuhausen SL, Nevanlinna
   H, Niederacher D, Nussbaum RL, Odunsi K, Olah E, Olopade OI, Olsson H, Olswold C,
   O'Malley DM, Ong K-r, Onland-Moret NC, OPAL study group, Orr N, Orsulic S, Osorio A,
   Palli D, Papi L, Park-Simon T-W, Paul J, Pearce CL, Pedersen IS, Peeters PHM, Peissel B,
   Peixoto A, Pejovic T, Pelttari LM, Permuth JB, Peterlongo P, Pezzani L, Pfeiler G, Phillips K-
   A, Piedmonte M, Pike MC, Piskorz AM, Poblete SR, Pocza T, Poole EM, Poppe B, Porteous
   ME, Prieur F, Prokofyeva D, Pugh E, Pujana MA, Pujol P, Radice P, Rantala J, Rappaport-
   Fuerhauser C, Rennert G, Rhiem K, Rice P, Richardson A, Robson M, Rodriguez GC,
   Rodríguez-Antona C, Romm J, Rookus MA, Rossing MA, Rothstein JH, Rudolph A,
   Runnebaum IB, Salvesen HB, Sandler DP, Schoemaker MJ, Senter L, Setiawan VW, Severi G,
   Sharma P, Shelford T, Siddiqui N, Side LE, Sieh W, Singer CF, Sobol H, Song H, Southey MC,
   Spurdle AB, Stadler Z, Steinemann D, Stoppa-Lyonnet D, Sucheston-Campbell LE,
   Sukiennicki G, Sutphen R, Sutter C, Swerdlow AJ, Szabo CI, Szafron L, Tan YY, Taylor JA,
   Tea M-K, Teixeira MR, Teo S-H, Terry KL, Thompson PJ, Thomsen LCV, Thull DL,
   Tihomirova L, Tinker AV, Tischkowitz M, Tognazzo S, Toland AE, Tone A, Trabert B, Travis
   R, Trichopoulou A, Tung N, Tworoger SS, van Altena AM, Van Den Berg D, van der Hout
   AH, van der Luijt RB, Van Heetvelde M, Van Nieuwenhuysen E, van Rensburg EJ,
   Vanderstichele A, Varon-Mateeva R, Vega A, Edwards DV, Vergote I, Vierkant RA, Vijai J,
   Vratimos A, Walker L, Walsh C, Wand D, Wang-Gohrke S, Wappenschmidt B, Webb PM,
   Weinberg CR, Weitzel JN, Wentzensen N, Whittemore AS, Wijnen JT, Wilkens LR, Wolk A,
   Woo M, Wu X, Wu AH, Yang H, Yannoukakos D, Ziogas A, Zorn KK, Narod SA, Easton DF,

                                                                                    App000040
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 43 of 633 PageID 769


      Amos CI, Schildkraut JM, Ramus SJ, Ottini L, Goodman MT, Park SK, Kelemen LE, Risch
      HA, Thomassen M, Offit K, Simard J, Schmutzler RK, Hazelett D, Monteiro AN, Couch FJ,
      Berchuck A, Chenevix-Trench G, Goode EL, Sellers TA, Gayther SA, Antoniou AC, Pharoah
      PDP. Identification of 12 new susceptibility loci for different histotypes of epithelial ovarian
      cancer. Nat Genet 2017;49(5):680-91. PMCID: PMC Journal in Process.
   Minlikeeva AN, Freudenheim JL, Eng KH, Cannioto RA, Friel G, Szender JB, Segal B, Odunsi K,
      Mayor P, Diergaarde B, Zsiros E, Kelemen L, Köbel M, Steed H, de Fazio A, Australian
      Ovarian Cancer Study Group, Jordan S, Fasching PA, Beckmann MW, Risch HA, Rossing
      MA, Doherty JA, Chang-Claude J, Goodman MT, Dçrk T, Edwards R, Modugno F, Ness RB,
      Matsuo K, Mizuno M, Karlan BY, Goode EL, Kjær SK, Høgdall E, Schildkraut JM, Terry KL,
      Cramer DW, Bandera EV, Paddock L, KiemeneyLA, Massuger LF, Sutphen R, Anton-Culver
      H, Ziogas A, Menon U, Gayther S, Ramus S, Gentry-Maharaj A, Pearce CL, Kupryjanczyk J,
      Jensen A, Webb PM, Moysich KB, Ovarian Cancer Association Consortium. History of
      comorbidities and survival of ovarian cancer patients, results from the Ovarian Cancer
      Association Consortium. Cancer Epidemiol Biomarkers Prev 2017;26(9):1470-3. PMCID:
      PMC Journal in Process.
2016
   Chen MM, O'Mara TA, Thompson DJ, Painter JN, Australian National Endometrial Cancer Study
      Group (ANECS), Attia J, Black A, Brinton L, Chanock S, Chen C, Chen C, Cheng THT, Cook
      LS, Crous-Bou M, Doherty J, Friedenreich CM, Garcia-Closas M, Gaudet MM, Gorman M,
      Haiman C, Hankison SE, Hartge P, Henderson BE, Hodgson S, Holliday EG, Horn-Ross PL,
      Hunter DJ, Le Marchand L, Liang X, Lissowska J, Long J, Lu L, Magliocco AM, Martin L,
      McEvoy M, National Study of Endometrial Cancer Genetics Group (NSECG), Olson SH,
      Orlow I, Pooler L, Prescott J, Rastogi R, Rebbeck TR, Risch H, Sacerdote C, Schumacher F,
      Setiawan VW, Scott RJ, Sheng X, Shu X-O, VanDen Berg D, Weiss NS, Wentzensen N, Xia L,
      Xiang Y-B, Yang HP, Yu H, Zhang W, Pharoah PDP, Dunning AM, Tomlinson I, Easton DF,
      Kraft P, Spurdle AB, De Vivo I. GWAS meta-analysis of 16,852 women identifies new
      susceptibility locus for endometrial cancer. Hum Mol Genet 2016;25(12):2612-20. PMCID:
      PMC5868213.
   Fu Y, Biglia N, Wang Z, Shen Y, Risch HA, Lu L, Canuto EM, Jia W, Katsaros D, Yu H. Long
      non-coding RNAs, ASAP1-IT1, FAM215A, and LINC00472, in epithelial ovarian cancer. Gyn
      Oncol 2016;143(3):642-9. *Not a result of NIH funding.
   Schulte A, Pandeya N, Fawcett J, Fritschi L, Klein K, Risch HA, Webb PM, Whiteman DC, Neale
      RE. Association between family cancer history and risk of pancreatic cancer. Cancer
      Epidemiol 2016;45:145-50. *Not a result of NIH funding.
   Lu L, Risch, HA. Exosomes: potential for early detection in pancreatic cancer. Future Oncol
      2016;12(8):1081-90. *Not a result of NIH funding.
   Lu L, Katsaros D, Canuto EM, Biglia N, Risch HA, Yu H. LIN-28B/let-7a/IGF-II axis molecular
      subtypes are associated with epithelial ovarian cancer prognosis.      Gynecol Oncol
      2016;141(1):121-7. *Not a result of NIH funding.
   Wei R, De Vivo I, Huang S, Risch H, Moore JH, Yu H, Garmire LX. Meta-dimensional data
      integration identifies critical pathways for susceptibility, tumorigenesis and progression of
      endometrial cancer. Oncotarget 2016;7(34):55249-63. PMCID: PMC5342415.
   Clyde MA, Palmieri Weber RP, Iversen ES, Poole EM, Doherty JA, Goodman MT, Ness RB,
      Risch HA, Rossing MA, Terry KL, Wentzensen N, Whittemore AS, Anton-Culver H, Bandera


                                                                                         App000041
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 44 of 633 PageID 770


   EV, Berchuck A, Carney ME, Cramer DW, Cunningham JM, Cushing-Haugen KL, Edwards
   RP, Fridley BL, Goode EL, Lurie G, McGuire V, Modugno F, Moysich KB, Olson SH, Pearce
   CL, Pike MC, Rothstein JH, Sellers TA, Sieh W, Stram D, Thompson PJ, Vierkant RA,
   Wicklund KG, Wu AH, Ziogas A, Tworoger SS, Schildkraut JM, Ovarian Cancer Association
   Consortium. Risk prediction for epithelial ovarian cancer in eleven United States-based case-
   control studies: incorporation of epidemiologic risk factors and 17 confirmed genetic loci. Am
   J Epidemiol 2016;184(8):579-89. PMCID: PMC5065620.
Karami S, Han Y, Pande M, Cheng I, Rudd J, Pierce BL, Nutter EL, Schumacher FR, Kote-Jarai Z,
   Lindstrom S, Witte JS, Fang S, Han J, Kraft P, Hunter D, Song F, Hung RJ, McKay J, Gruber
   SB, Chanock SJ, Risch A, Shen H, Haiman CA, Boardman L, Ulrich CM, Casey G, Peters U,
   Al Olama AA, Berchuck A, Berndt SI, Bezieau S, Brennan P, Brenner H, Brinton L, Caporaso
   N, Chan AT, Chang-Claude J, Christiani DC, Cunningham JM, Easton D, Eeles RA, Eisen T,
   Gala M, Gallinger SJ, Gayther SA, Goode EL, Grönberg H, Henderson BE, Houlston R, Joshi
   AD, Küry S, Landi MT, Le Marchand L, Muir K, Newcomb PA, Permuth-Wey J, Pharoah P,
   Phelan C, Potter JD, Ramus SJ, Risch H, Schildkraut J, Slattery ML, Song H, Wentzensen N,
   White E, Wiklund F, Zanke BW, Sellers TA, Zheng W, Chatterjee N, Amos CI, Doherty JA,
   GECCO and the GAME-ON Network: CORECT, DRIVE, ELLIPSE, FOCI, and TRICL.
   Telomere structure and maintenance gene variants and risk of five cancer types. Int J Cancer
   2016;139(12):2655-70. PMCID: PMC5198774.
Machiela MJ, Zhou W, Karlins E, Sampson JN, Freedman ND, Yang Q, Hicks B, Dagnall C,
   Hautman C, Jacobs KB, Abnet CC, Aldrich MC, Amos C, Amundadottir LT, Berndt SI, Black
   A, Blot WJ, Bock CH, Bracci PM, Brinton LA, Burdett L, Buring JE, Butler MA, Carreón T,
   Chang I-S, Chatterjee N, Chen C, Chen C, Chen K, Chung CC, Cook LS, Bou MC, Cullen M,
   Davis FG, De Vivo I, Ding T, Doherty J, Duell EJ, Epstein CG, Fan J-H, Figueroa JD,
   Fraumeni JF Jr, Friedenreich CM, Fuchs CS, Gao Y-T, Gapstur SM, Garcia-Closas M, Gaudet
   MM, Gaziano JM, Giles GG, Gillanders EM, Giovannucci EL, Goldin L, Goldstein AM,
   Haiman CA, Hallmans G, Hankinson SE, Harris CC, Henriksson R, Holly EA, Hong Y-C,
   Hoover RN, Hsiung CA, Hu N, Hu W, Hunter DJ, Hutchinson A, Jenab M, Johansen C, Khaw
   K-T, Kim HN, Kim YH, Kim YT, Klein R, Koh W-P, Kolonel LN, Kooperberg C, Kraft P,
   Krogh V, Kurtz RC, LaCroix A, Lan Q, Landgren A, Landi MT, Le Marchand L, Li D, Liang
   X, Liao LM, Lin D, Liu J, Lissowska J, Lu L, Magliocco AM, Malats N, Matsuo K, McNeill
   LH, McWilliams RR, Melin BS, Mirabello L, Moore L, Olson SH, Orlow I, Park JY, Patiño-
   Garcia A, Peplonska B, Peters U, Petersen GM, Pooler L, Prescott J, Prokunina-Olsson L,
   Purdue M, Qiao Y-L, Rabe KG, Rajaraman P, Real FX, Riboli E, Risch HA, Rodriguez-
   Santiago B, Ruder AM, Savage SA, Schumacher F, Schwartz AG, Schwartz KL, Seow A,
   Sesso HD, Setiawan VW, Severi G, Shen H, Sheng X, Shin M-H, Shu X-O, Silverman DT,
   Spitz MR, Stevens VL, Stolzenberg-Solomon R, Stram D, Tang Z-Z, Taylor PR, Teras LR,
   Tobias GS, VanDen Berg D, Viswanathan K, Wacholder S, Wang J-C, Wang Z, Wentzensen N,
   Wheeler W, White E, Wiencke JK, Wolpin BM, Wong MP, Wu C, Wu T, Wu X, Wu Y-L,
   Wunder JS, Xia L, Yang HP, Yang P-C, Yu K, Zanetti KA, Zeleniuch-Jacquotte A, Zheng W,
   Zhou B, Ziegler RG, Perez-Jurado LA, Caporaso NE, Rothman N, Tucker M, Dean MC,
   Yeager M, Chanock SJ. Female chromosome X mosaicism is age-related and preferentially
   affects the inactivated X chromosome. Nat Commun 2016;7:11843. PMCID: PMC4909985.
Lawrenson K, Kar S, McCue K, Kuchenbaeker K, Michailidou K, Tyrer J, Beesley J, Ramus SJ, Li
   Q, Delgado MK, Lee J, Aittomäki K, Andrulis IL, Anton-Culver H, Arndt V, Arun BK, Arver
   B, Bandera EV, Barile M, Barkardottir RB, Barrowdale D, Beckmann MW, Benitez J,
   Berchuck A, Bisogna M, Bjorge L, Blomqvist C, Blot W, Bogdanova N, Bojesen A, Bojesen

                                                                                    App000042
Case 4:21-cv-01058-P Document 27 Filed 12/07/21          Page 45 of 633 PageID 771


   SE, Bolla MK, Bonanni B, Borresen-Dale A-L, Brauch H, Brennan P, Brenner H, Bruinsma F,
   Brunet J, Buhari SA, Burwinkel B, Butzow R, Buys SS, Cai Q, Caldes T, Campbell I,
   Canniotto R, Chang-Claude J, Chiquette J, Choi J-Y, Claes KBM, GEMO Study Collaborators,
   Cook LS, Cox A, Cramer DW, Cross SS, Cybulski C, Czene K, Daly MB, Damiola F,
   Dansonka-Mieszkowska A, Darabi H, Dennis J, Devilee P, Diez O, Doherty JA, Domchek SM,
   Dorfling CM, Dörk T, Dumont M, Ehrencrona H, Ejlertsen B, Ellis S, EMBRACE, Engel C,
   Eunjung L, Evans DG, Fasching PA, Feliubadalo L, Figueroa J, Flesch-Janys D, Fletcher O,
   Flyger H, Foretova L, Fostira F, Foulkes WD, Fridley BL, Friedman E, Frost D, Gambino G,
   Ganz PA, Garber J, García-Closas M, Gentry-Maharaj A, Ghoussaini M, Giles GG, Glasspool
   R, Godwin AK, Goldberg MS, Goldgar DE, González-Neira A, Goode EL, Goodman MT,
   Greene MH, Gronwald J, Guénel P, Haiman CA, Hall P, Hallberg E, Hamann U, Hansen TVO,
   Harrington PA, Hartman M, Hassan N, Healey S, HEBON, Heitz F, Herzog J, Høgdall E,
   Høgdall CK, Hogervorst FBL, Hollestelle A, Hopper JL, Hulick PJ, Huzarski T, Imyanitov EN,
   KConFab Investigators, Australian Ovarian Cancer Study Group, Isaacs C, Ito H, Jakubowska
   A, Janavicius R, Jensen A, John EM, Johnson N, Kabisch M, Kang D, Kapuscinski M, Karlan
   BY, Khan S, Kiemeney LA, Kjaer SK, Knight JA, Konstantopoulou I, Kosma V-M, Kristensen
   V, Kupryjanczyk J, Kwong A, de la Hoya M, Laitman Y, Lambrechts D, Le N, De Leeneer K,
   Lester J, Levine DA, Li J, Lindblom A, Long J, Lophatananon A, Loud JT, Lu K, Lubinski J,
   Mannermaa A, Manoukian S, Le Marchand L, Margolin S, Marme F, Massuger LFAG, Matsuo
   K, Mazoyer S, McGuffog L, McLean C, McNeish I, Meindl A, Menon U, Mensenkamp AR,
   Milne RL, Montagna M, Moysich KB, Muir K, Mulligan AM, Nathanson KL, Ness RB,
   Neuhausen SL, Nevanlinna H, Nord S, Nussbaum RL, Odunsi K, Offit K, Olah E, Olopade OI,
   Olson JE, Olswold C, O’Malley D, Orlow I, Orr N, Osorio A, Park SK, Pearce CL, Pejovic T,
   Peterlongo P, Pfeiler G, Phelan CM, Poole EM, Pylkäs K, Radice P, Rantala J, Rashid MU,
   Rennert G, Rhenius V, Rhiem K, Risch HA, Rodriguez G, Rossing MA, Rudolph A, Salvesen
   HB, Sangrajrang S, Sawyer EJ, Schildkraut JM, Schmidt MK, Schmutzler RK, Sellers TA,
   Seynaeve C, Shah M, Shen C-Y, Shu X-O, Sieh W, Singer CF, Sinilnikova OM, Slager S, Song
   H, Soucy P, Southey MC, Stenmark-Askmalm M, Stoppa-Lyonnet D, Sutter C, Swerdlow A,
   Tchatchou S, Teixeira MR, Teo SH, Terry KL, Terry MB, Thomassen M, Tibiletti MG,
   Tihomirova L, Tognazzo S, Toland AE, Tomlinson I, Torres D, Truong T, Tseng C-C, Tung N,
   Tworoger SS, Vachon C, van den Ouweland AMW, van Doorn HC, van Rensburg EJ, Van't
   Veer LJ, Vanderstichele A, Vergote I, Vijai J, Wang Q, Wang-Gohrke S, Weitzel JN,
   Wentzensen N, Whittemore AS, Wildiers H, Winqvist R, Wu AH, Yannoukakos D, Yoon S-Y,
   Yu J-C, Zheng W, Zheng Y, Khanna KK, Simard J, Monteiro AN, French JD, Couch FJ,
   Freedman ML, Easton DF, Dunning AM, Pharoah PDP, Edwards SL, Chenevix-Trench G,
   Antoniou AC, Gayther SA. Functional mechanisms underlying pleiotropic risk alleles at the
   19p13.1 breast-ovarian cancer susceptibility locus. Nat Commun 2016;7:12675. PMCID:
   PMC5023955.
Dixon SC, Nagle CM, Thrift AP, Pharoah PDP, Pearce CL, Zheng W, Painter JN, AOCS Group,
   Australian Cancer Study (Ovarian Cancer), Chenevix-Trench G, Fasching PA, Beckmann MW,
   Lambrechts D, Vergote I, Lambrechts S, Van Nieuwenhuysen E, Rossing MA, Doherty JA,
   Wicklund KG, Chang-Claude J, Rudolph A, Moysich KB, Odunsi K, Goodman MT, Wilkens
   LR, Thompson PJ, Shvetsov YB, Dörk T, Park-Simon T-W, Hillemanns P, Bogdanova N,
   Butzow R, Nevanlinna H, Pelttari LM, Leminen A, Modugno F, Ness RB, Edwards RP, Kelley
   JL, Heitz F, Karlan BY, Kjær SK, Høgdall E, Jensen A, Goode EL, Fridley BL, Cunningham
   JM, Winham SJ, Giles GG, Bruinsma F, Milne RL, Southey MC, Hildebrandt MAT, Wu X, Lu
   KH, Liang D, Levine DA, Bisogna M, Schildkraut JM, Berchuck A, Cramer DW, Terry KL,


                                                                                 App000043
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 46 of 633 PageID 772


   Bandera EV, Olson SH, Salvesen HB, Thomsen LC, Kopperud RK, Bjorge L, Kiemeney LA,
   Massuger LFAG, Pejovic T, Cook LS, Le ND, Swenerton KD, Brooks-Wilson A, Kelemen LE,
   LubiÑski J, Huzarski T, Gronwald J, Menkiszak J, Wentzensen N, Brinton L, Yang H,
   Lissowska J, Høgdall CK, Lundvall L, Song H, Tyrer JP, Campbell I, Eccles D, Paul J,
   Glasspool R, Siddiqui N, Whittemore AS, Sieh W, McGuire V, Rothstein JH, Narod SA,
   Phelan C, Risch HA, McLaughlin JR, Anton-Culver H, Ziogas A, Menon U, Gayther SA,
   Ramus SJ, Gentry-Maharaj A, Wu AH, Pike MC, Tseng C-C, Kupryjanczyk J, Dansonka-
   Mieszkowska A, Budzilowska A, Spiewankiewicz B, Webb PM, Ovarian Cancer Association
   Consortium. Adult body mass index and risk of ovarian cancer by subtype: a Mendelian
   randomization study. Int J Epidemiol 2016;45(3): 884-95. PMCID: PMC5644573.
Permuth JB, Reid B, Earp M, Chen YA, Monteiro ANA, Chen Z, AOCS Study Group, Chenevix-
   Trench G, Fasching PA, Beckmann MW, Lambrechts D, Vanderstichele A, Van Niewenhuyse
   E, Vergote I, Rossing MA, Doherty JA, Chang-Claude J, Moysich K, Odunsi K, Goodman MT,
   Shvetsov YB, Wilkens LR, Thompson PJ, Dörk T, Bogdanova N, Butzow R, Nevanlinna H,
   Pelttari L, Leminen A, Modugno F, Edwards RP, Ness RB, Kelley J, Heitz F, Karlan B, Lester
   J, Kjaer SK, Jensen A, Giles G, Neumann S, Hildebrandt M, Liang D, Lu KH, Wu X, Levine
   DA, Bisogna M, Berchuck A, Cramer DW, Terry KL, Tworoger SS, Poole EM, Bandera EV,
   Fridley B, Cunningham J, Winham SJ, Olson SH, Orlow I, Bjorge L, Kiemeney LA, Massuger
   L, Pejovic T, Moffitt M, Le N, Cook LS, Brooks-Wilson A, Kelemen LE, Gronwald J, Lubinski
   J, Wentzensen N, Brinton LA, Lissowska J, Yang H, Hogdall E, Hogdall C, Lundvall L,
   Pharoah PDP, Song H, Campbell I, Eccles D, McNeish I, Whittemore A, McGuire V, Sieh W,
   Rothstein J, Phelan CM, Risch H, Narod S, McLaughlin J, Anton-Culver H, Ziogas A, Menon
   U, Gayther S, Ramus SJ, Gentry-Maharaj A, Pearce CL, Wu AH, Kupryjanczyk J, Dansonka-
   Mieszkowska A, Schildkraut JM, Cheng JQ, Goode EL, Sellers TA, Ovarian Cancer
   Association Consortium. Inherited variants affecting RNA editing may contribute to ovarian
   cancer susceptibility: results from a large-scale collaboration. Oncotarget 2016;7(45): 72381-
   94. PMCID: PMC5340123.
Hampras SS, Sucheston-Campbell LE, Cannioto R, Chang-Claude J, Modugno F, Dörk T,
  Hillemanns P, Preus L, Knutson KL, K.Wallace P, Hong C-C, Friel G, Davis W, Nesline M,
  Pearce CL, Kelemen LE, Goodman MT, Bandera EV, Terry KL, Schoof N, Eng KH, Clay A,
  Singh PK, Joseph JM, Aben KKH, Anton-Culver H, Antonenkova N, Baker H, Bean Y,
  Beckmann MW, Bisogna M, Bjorge L, Bogdanova N, Brinton LA, Brooks-Wilson A, Bruinsma
  F, Butzow R, Campbell IG, Carty K, Cook LS, Cramer DW, Cybulski C, Dansonka-
  Mieszkowska A, Dennis J, Despierre E, Dicks E, Doherty JA, du Bois A, Dürst M, Easton D,
  Eccles D, Edwards RP, Ekici AB, Fasching PA, Fridley BL, Gao Y-T, Gentry-Maharaj A, Giles
  GG, Glasspool R, Gronwald J, Harrington P, Harter P, Hasmad HN, Hein A, Heitz F,
  Hildebrandt MAT, Hogdall C, Hogdall E, Hosono S, Iversen ES, Jakubowska A, Jensen A, Ji
  B-T, Karlan BY, Kellar M, Kelley JL, Kiemeney LA, Klapdor R, Kolomeyevskaya N, Krakstad
  C, Kjaer SK, Kruszka B, Kupryjanczyk J, Lambrechts D, Lambrechts S, Le ND, Lee AW, Lele
  S, Leminen A, Lester J, Levine DA, Liang D, Lissowska J, Liu S, Lu K, Lubinski J, Lundvall L,
  Massuger LFAG, Matsuo K, McGuire V, McLaughlin JR, McNeish I, Menon U, Moes-
  Sosnowska J, Narod SA, Nedergaard L, Nevanlinna H, Nickels S, Olson SH, Orlow I, Weber
  RP, Paul J, Pejovic T, Pelttari LM, Perkins B, Permuth-Wey J, Pike MC, Plisiecka-Halasa J,
  Poole EM, Risch HA, Rossing MA, Rothstein JH, Rudolph A, Runnebaum IB, Rzepecka IK,
  Salvesen HB, Schernhammer E, Schmitt K, Schwaab I, Shu X-O, Shvetsov YB, Siddiqui N,
  Sieh W, Song H, Southey MC, Tangen IL, Teo S-H, Thompson PJ, Timorek A, Tsai Y-Y,
  Tworoger SS, Tyrer J, van Altena AM, Vergote I, Vierkant RA, Walsh C, Wang-Gohrke S,


                                                                                    App000044
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 47 of 633 PageID 773


   Wentzensen N, Whittemore AS, Wicklund KG, Wilkens LR, Wu AH, Wu X, Woo Y-L, Yang
   H, Zheng W, Ziogas A, Gayther SA, Ramus SJ, Sellers TA, Schildkraut JM, Phelan CM,
   Berchuck A, Chenevix-Trench on behalf of the Australian Ovarian Cancer Study Group G,
   Cunningham JM, Pharoah PDP, Ness RB, Odunsi K, Goode EL, Moysich KB. Assessment of
   variation in immunosuppressive pathway genes reveals TGFBR2 to be associated with risk of
   clear cell ovarian cancer. Oncotarget 2016;7(43):69097-110. PMCID: PMC5340115.
Zhang M, Wang Z, Obazee O, Jia J, Childs E, Hoskins J, Figlioli G, Mocci E, Collins I, Chung CC,
   Hautman C, Arslan AA, Beane-Freeman L, Bracci PM, Buring J, Duell EJ, Gallinger S, Giles
   GG, Goodman GE, Goodman PJ, Kamineni A, Kolonel LN, Kulke MH, Malats N, Olson SH,
   Sesso HD, Visvanathan K, White E, Zheng W, Abnet CC, Albanes D, Andreotti G, Austin MA,
   Bueno-de-Mesquita HB, Basso D, Berndt SI, Boutron-Ruault M-C, Bijlsma M, Brenner H,
   Burdette L, Campa D, Caporaso NE, Capurso G, Cavestro GM, Cotterchio M, Costello E, Elena
   J, Boggi U, Gaziano JM, Gazouli M, Giovannucci EL, Goggins M, Gorman MJ, Gross M,
   Haiman CA, Hassan M, Helzlsouer KJ, Hu N, Hunter DJ, Iskierka-Jazdzewska E, Jenab M,
   Kaaks R, Key TJ, Khaw K-T, Klein EA, Kogevinas M, Krogh V, Kupcinskas J, Kurtz RC,
   Landi MT, Landi S, Le Marchand L, Mambrini A, Mannisto S, Milne RL, Neale R, Oberg AL,
   Panico S, Patel AV, Peeters PHM, Peters U, Pezzilli R, Tavano F, Porta M, Purdue M, Quiros
   JR, Riboli E, Rothman N, Scarpa A, Scelo G, Shu X-O, Silverman DT, Soucek P, Strobel O,
   Sund M, Małecka-Panas E, Taylor PR, Travis RC, Thornquist M, Tjønneland A, Tobias GS,
   Trichopoulos D, Vashist Y, Vodicka P, Wactawski-Wende J, Wentzensen N, Yu H, Yu K,
   Zeleniuch-Jacquotte A, Kooperberg C, Risch HA, Jacobs EJ, Li D, Fuchs C, Hoover R, Hartge
   P, Chanock SJ, Petersen GM, Stolzenberg-Solomon RS, Wolpin BM, Kraft P, Klein AP,
   Canzian F, Amundadottir LT. Three new pancreatic cancer susceptibility signals identified on
   chromosomes 1q32.1, 5p15.33 and 8q24.21. Oncotarget 2016;7(41):66328-43. PMCID:
   PMC5340084.
Cannioto R, LaMonte MJ, Risch HA, Hong C-C, Sucheston-Campbell LE, Eng KH, Szender JB,
   Chang-Claude J, Schmalfeldt B, Klapdor R, Gower E, Minlikeeva AN, Zirpoli G, Bandera EV,
   Berchuck A, Cramer D, DohertyJA, Edwards RP, Fridley BL, Goode EL, Goodman MT,
   Hogdall E, Hosono S, Jensen A, Jordan S on behalf of The Australian Ovarian Cancer Study
   Group, Kjaer SK, Matsuo K, Ness RB, Olsen CM, Olson SH, Pearce CL, Pike MC, Rossing
   MA, Szamreta EA, Thompson PJ, Tseng C-C, Vierkant RA, Webb PM, Wentzensen N,
   Wicklund KG, Winham SJ, Wu AH, Modugno F, Schildkraut JM, Terry KL, Kelemen LE,
   Moysich KB. Chronic recreational physical inactivity and epithelial ovarian cancer risk:
   Evidence from the Ovarian Cancer Association Consortium. Cancer Epidemiol Biomarkers
   Prev 2016;25(7): 1114-24. PMCID: PMC4930728.
Cannioto RA, LaMonte MJ, Kelemen LE, Risch HA, Eng KH, Minlikeeva AN, Hong C-C,
   Szender JB, Sucheston-Campbell L, Joseph JM, Berchuck A, Chang-Claude J, Cramer DW,
   DeFazio A on behalf of The Australian Ovarian Cancer Study Group, Diergaarde B, Dörk T,
   Doherty JA, Edwards RP, Fridley BL, Friel G, Goode EL, Goodman MT, Hillemanns P,
   Hogdall E, Hosono S, Kelley JL, Kjaer SK, Klapdor R, Matsuo K, Odunsi K, Nagle CM, Olsen
   CM, Paddock LE, Pearce CL, Pike MC, Rossing MA, Schmalfeldt B, Segal B, Szamreta EA,
   Thompson PJ, Tseng C-C, Vierkant R, Schildkraut JM, Wentzensen N, Wicklund KG, Winham
   SJ, Wu AH, Modugno F, Ness RB, Jensen A, Webb PM, Terry K, Bandera EV, Moysich KB.
   Recreational physical inactivity and mortality in women with invasive epithelial ovarian cancer:
   Evidence from the Ovarian Cancer Association Consortium. Br J Cancer 2016;115(1): 95-101.
   PMCID: PMC4931371.
Ong J-S, Cuellar-Partida G, Lu Y, Australian Ovarian Cancer Study, Fasching PA, Hein A,

                                                                                      App000045
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 48 of 633 PageID 774


   Burghaus S, Beckmann MW, Lambrechts D, Van Nieuwenhuysen E, Vergote I, Vanderstichele
   A, Doherty JA, Rossing MA, Chang-Claude J, Eilber U, Rudolph A, Wang-Gohrke S,
   Goodman MT, Bogdanova N, Dörk T, Dürst M, Hillemanns P, Runnebaum IB, Antonenkova
   N, Butzow R, Leminen A, Nevanlinna H, Pelttari LM, Edwards RP, Kelley JL, Modugno- F,
   Moysich KB, Ness RB, Cannioto R, Høgdall E, Høgdall CK, Jensen A, Giles- GG, Bruinsma F,
   Kjaer SK, Hildebrandt MAT, Liang D, Lu KH, Wu X, Bisogna M, Dao F, Levine DA, Cramer
   DW, Terry KL, Tworoger SS, Stampfer M, Missmer S, Bjorge L, Salvesen HB, Kopperud RK,
   Bischof K, Aben KKH, Kiemeney LA, Massuger LFAG, Brooks-Wilson A, Olson SH,
   McGuire V, Rothstein JH, Sieh W, Whittemore AS, Cook LS, Le ND, Gilks CB, Gronwald J,
   Jakubowska A, LubiÑski J, Kluz T, Song H, Tyrer JP, Wentzensen N, Brinton L, Trabert B,
   Lissowska J, McLaughlin JR, Narod SA, Phelan C, Anton-Culver H, Ziogas A, Eccles D,
   Campbell I, Gayther SA, Gentry-Maharaj A, Menon U, Ramus SJ, Wu AH, Dansonka-
   Mieszkowska A, Kupryjanczyk J, Timorek A, Szafron L, Cunningham JM, Fridley BL,
   Winham SJ, Bandera EV, Poole EM, Morgan TK, Risch HA, Goode EL, Schildkraut JM,
   Pearce CL, Berchuck A, Pharoah PDP, Chenevix-Trench G, Gharahkhani P, Neale RE, Webb
   PM, MacGregor S. Association of vitamin D levels and risk of ovarian cancer: a Mendelian
   randomization study. Int J Epidemiol 2016;45(5):1619-30. PMCID: PMC5100621.
Hollestelle A, van der Baan FH, Berchuck A, Johnatty SE, Aben KK, Agnarsson BA, Aittomäki K,
   Alducci E, Andrulis IL, Anton-Culver H, Antonenkova NN, Antoniou AC, Apicella C, Arndt
   V, Arnold N, Arun BK, Arver B, Ashworth A, Australian Ovarian Cancer Study Group,
   Baglietto L, Balleine R, Bandera EV, Barrowdale D, Bean YT, Beckmann L, Beckmann MW,
   Benitez J, Berger A, Berger R, Beuselinck B, Bisogna M, Bjorge L, Blomqvist C, Bogdanova
   NV, Bojesen A, Bojesen SE, Bolla MK, Bonanni B, Brand JS, Brauch H, Breast Cancer Family
   Register, Brenner H, Brinton L, Brooks-Wilson A, Bruinsma F, Brunet J, Brüning T,
   Budzilowska A, Bunker CH, Burwinkel B, Butzow R, Buys SS, Caligo MA, Campbell I, Carter
   J, Chang-Claude J, Chanock SJ, Claes KBM, Collée JM, Cook LS, Couch FJ, Cox A, Cramer
   D, Cross SS, Cunningham JM, Cybulski C, Czene K, Damiola F, Dansonka-Mieszkowska A,
   Darabi H, de la Hoya M, de Fazio A, Dennis J, Devilee P, Dicks EM, Diez O, Doherty JA,
   Domchek SM, Dorfling CM, Dörk T, Dos Santos Silva I, du Bois A, Dumont M, Dunning AM,
   Duran M, Easton DF, Eccles D, Edwards RP, Ehrencrona H, Ejlertsen B, Ekici AB, Ellis SD,
   EMBRACE, Engel C, Eriksson M, Fasching PA, Feliubadalo L, Figueroa J, Flesch-Janys D,
   Fletcher O, Fontaine A, Fortuzzi S, Fostira F, Fridley BL, Friebel T, Friedman E, Friel G, Frost
   D, Garber J, García-Closas M, Gayther SA, GEMO Study Collaborators, GENICA Network,
   Gentry-Maharaj A, Gerdes A-M, Giles GG, Glasspool R, Glendon G, Godwin AK, Goodman
   MT, Gore M, Greene MH, Grip M, Gronwald J, Gschwantler Kaulich D, Guénel P, Guzman
   SR, Haeberle L, Haiman CA, Hall P, Halverson SL, Hamann U, Hansen TVO, Harter P,
   Hartikainen JM, Healey S, HEBON, Hein A, Heitz F, Henderson BE, Herzog J, Hildebrandt
   MAT, Høgdall CK, Høgdall E, Hogervorst FBL, Hopper JL, Humphreys K, Huzarski T,
   Imyanitov EN, Isaacs C, Jakubowska A, Janavicius R, Jaworska K, Jensen A, Jensen UB,
   Johnson N, Jukkola-Vuorinen A, Kabisch M, Karlan BY, Kataja V, Kauff N, KConFab
   Investigators, Kelemen LE, Kerin MJ, Kiemeney LA, Kjaer SK, Knight JA, Knol-Bout JP,
   Konstantopoulou I, Kosma V-M, Krakstad C, Kristensen V, Kuchenbaecker KB, Kupryjanczyk
   J, Laitman Y, Lambrechts D, Lambrechts S, Larson MC, Lasa A, Laurent-Puig P, Lazaro C, Le
   ND, Le Marchand L, Leminen A, Lester J, Levine DA, Li J, Liang D, Lindblom A, Lindor N,
   Lissowska J, Long J, Lu KH, Lubinski J, Lundvall L, Lurie G, Mai PL, Mannermaa A,
   Margolin S, Mariette F, Marme F, Martens JWM, Massuger LFAG, Maugard C, Mazoyer S,
   McGuffog L, McGuire V, McLean C, McNeish I, Meindl A, Menegaux F, Menéndez P,


                                                                                      App000046
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 49 of 633 PageID 775


   Menkiszak J, Menon U, Mensenkamp AR, Miller N, Milne RL, Modugno F, Montagna M,
   Moysich KB, Müller H, Mulligan AM, Muranen TA, Narod SA, Nathanson KL, Ness RB,
   Neuhausen SL, Nevanlinna H, Neven P, Nielsen FC, Nielsen SF, Nordestgaard BG, Nussbaum
   RL, Odunsi K, Offit K, Olah E, Olopade OI, Olson JE, Olson SH, Oosterwijk JC, Orlow I, Orr
   N, Orsulic S, Osorio A, Ottini L, Paul J, Pearce CL, Pedersen IS, Peissel B, Pejovic T, Pelttari
   LM, Perkins J, Permuth-Wey J, Peterlongo P, Peto J, Phelan CM, Phillips K-A, Piedmonte M,
   Pike MC, Platte R, Plisiecka-Halasa J, Poole EM, Poppe B, Pylkäs K, Radice P, Ramus SJ,
   Rebbeck TR, Reed MWR, Rennert G, Risch HA, Robson M, Rodriguez GC, Romero A,
   Rossing MA, Rothstein JH, Rudolph A, Runnebaum I, Salani R, Salvesen HB, Sawyer EJ,
   Schildkraut JM, Schmidt MK, Schmutzler RK, Schneeweiss A, Schoemaker MJ, Schrauder
   MG, Schumacher F, Schwaab I, Scuvera G, Sellers TA, Severi G, Seynaeve CM, Shah M,
   Shrubsole M, Siddiqui N, Sieh W, Simard J, Singer CF, Sinilnikova OM, Smeets D, Sohn C,
   Soller M, Song H, Soucy P, Southey MC, Stegmaier C, Stoppa-Lyonnet D, Sucheston L, SWE-
   BRCA, Swerdlow A, Tangen IL, Tea M-K, Teixeira MR, Terry KL, Terry MB, Thomassen M,
   Thompson PJ, Tihomirova L, Tischkowitz M, Toland AE, Tollenaar RAEM, Tomlinson I,
   Torres D, Truong T, Tsimiklis H, Tung N, Tworoger SS, Tyrer JP, Vachon CM, Van 't Veer LJ,
   van Altena AM, Van Asperen CJ, van den Berg D, van den Ouweland AMW, van Doorn HC,
   Van Nieuwenhuysen E, van Rensburg EJ, Vergote I, Verhoef S, Vierkant RA, Vijai J, Vitonis
   AF, Wachenfeldt Av, Walsh C, Wang Q, Wang-Gohrke S, Wappenschmidt B, Weischer M,
   Weitzel JN, Weltens C, Wentzensen N, Whittemore AS, Wilkens LR, Winqvist R, Wu AH, Wu
   X, Yang HP, Zaffaroni D, Zamora MP, Zheng W, Ziogas A, Chenevix-Trench G, Pharoah PDP,
   Rookus MA, Hooning MJ, Goode EL. No clinical utility of KRAS variant rs61764370 for
   ovarian or breast cancer. Gynecol Oncol 2016;141(2):386-401. PMCID: PMC4630206.
Kar SP, Beesley J, Al Olama AA, Michailidou K, Tyrer J, Kote-Jarai ZS, Lawrenson K, Lindstrom
   S, Ramus SJ, Thompson DJ, ABCTB Investigators, Kibel AS, Dansonka-Mieszkowska A,
   Michael A, Dieffenbach AK, Gentry-Maharaj A, Whittemore AS, Wolk A, Monteiro A,
   Peixoto A, Kierzek A, Cox A, Rudolph A, Gonzalez-Neira A, Wu AH, Lindblom A, Swerdlow
   A, AOCS Study Group, Australian Cancer Study (Ovarian Cancer), APCB BioResource,
   Ziogas A, Ekici AB, Burwinkel B, Karlan BY, Nordestgaard BG, Blomqvist C, Phelan C,
   McLean C, Pearce CL, Vachon C, Cybulski C, Slavov C, Stegmaier C, Maier C, Ambrosone
   CB, Høgdall CK, Teerlink CC, Kang D, Tessier DC, Schaid DJ, Stram DO, Cramer DW, Neal
   DE, Eccles D, Flesch-Janys D, Edwards DRV, Wokozorczyk D, Levine DA, Yannoukakos D,
   Sawyer EJ, Bandera EV, Poole EM, Goode EL, Khusnutdinova E, Høgdall E, Song F,
   Bruinsma F, Heitz F, Modugno F, Hamdy FC, Wiklund F, Giles GG, Olsson H, Wildiers H,
   Ulmer H-U, Pandha H, Risch HA, Darabi H, Salvesen HB, Nevanlinna H, Gronberg H,
   Brenner H, Brauch H, Anton-Culver H, Song H, Lim H-Y, McNeish I, Campbell I, Vergote I,
   Gronwald J, LubiÑski J, Stanford JL, Benítez J, Doherty JA, Permuth JB, Chang-Claude J,
   Donovan JL, Dennis J, Schildkraut JM, Schleutker J, Hopper JL, Kupryjanczyk J, Park JY,
   Figueroa J, Clements JA, Knight JA, Peto J, Cunningham JM, Pow-Sang J, Batra J, Czene K,
   Lu KH, Herkommer K, Khaw K-T, kConFab Investigators, Matsuo K, Muir K, Offitt K, Chen
   K, Moysich KB, Aittomäki K, Odunsi K, Kiemeney LA, Massuger LFAG, Fitzgerald LM,
   Cook LS, Cannon-Albright L, Hooning MJ, Pike MC, Bolla MK, Luedeke M, Teixeira MR,
   Goodman MT, Schmidt MK, Riggan M, Aly M, Rossing MA, Beckmann MW, Moisse M,
   Sanderson M, Southey MC, Jones M, Lush M, Hildebrandt MAT, Hou M-F, Schoemaker MJ,
   Garcia-Closas M, Bogdanova N, Rahman N, NBCS Investigators, Le ND, Orr N, Wentzensen
   N, Pashayan N, Peterlongo P, Guénel P, Brennan P, Paulo P, Webb PM, Broberg P, Fasching
   PA, Devilee P, Wang Q, Cai Q, Li Q, Kaneva R, Butzow R, Kopperud RK, Schmutzler RK,


                                                                                      App000047
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 50 of 633 PageID 776


   Stephenson RA, MacInnis RJ, Hoover RN, Winqvist R, Ness R, Milne RL, Travis RC,
   Benlloch S, Olson SH, McDonnell SK, Tworoger SS, Maia S, Berndt S, Lee SC, Teo S-H,
   Thibodeau SN, Bojesen SE, Gapstur SM, Kjær SK, Pejovic T, Tammela TL, GENICA
   Network, PRACTICAL consortium, Dörk T, Brüning T, Wahlfors T, Key TJ, Edwards TL,
   Menon U, Hamann U, Mitev V, Kosma V-M, Setiawan VW, Kristensen V, Arndt V, Vogel W,
   Zheng W, Sieh W, Blot WJ, Kluzniak W, Shu X-O, Gao Y-T, Schumacher F, Freedman ML,
   Berchuck A, Dunning AM, Simard J, Haiman CA, Spurdle A, Sellers TA, Hunter DJ,
   Henderson BE, Kraft P, Chanock SJ, Couch FJ, Hall P, Gayther SA, Easton DF, Chenevix-
   Trench G, Eeles R, Pharoah PDP, Lambrechts D. Genome-wide meta-analyses of breast,
   ovarian and prostate cancer association studies identify multiple new susceptibility loci shared
   by at least two cancer types. Cancer Discov 2016;6(9):1052-67. PMCID: PMC5010513.
Gharahkhani P, Fitzgerald RC, Vaughan TL, Tomlinson I, Gockel I, Palles C, Buas MF, May A,
   Gerges C, Anders M, Becker J, Kreuser N, Noder T, Venerito M, Veits L, Schmidt T, Manner
   H, Schmidt C, Hess T, Böhmer AC, Izbicki JR, Hölscher AH, Lang H, Lorenz D, Schumacher
   B, Hackelsberger A, Mayershofer R, Pech O, Vashist Y, Ott K, Vieth M, Weismüller J, Nöthen
   MM, Barrett’s and Esophageal Adenocarcinoma Consortium (BEACON), Wellcome Trust
   Case-Control Consortium (WTCCC), Attwood S, Barr H, Chegwidden L, deCaestecker J,
   Harrison R, Love SB, MacDonald D, Moayyedi P, Prenen H, Watson RGP, Iyer PG, Anderson
   LA, Bernstein L, Chow W-H, Hardie LJ, Lagergren J, Liu G, Risch HA, Wu AH, Ye W, Bird
   NC, Shaheen NJ, Gammon MD, Corley DA, Caldas C, Moebus S, Knapp M, Peters WHM,
   Neuhaus H, Rösch T, Ell C, MacGregor S, Pharoah P, Whiteman DC, Jankowski J, Schumacher
   J. Genome-wide association studies in oesophageal adenocarcinoma and Barrett’s oesophagus:
   a large-scale meta-analysis. Lancet Oncol 2016;17(10):1363-73. PMCID: PMC5052458.
Dai J, Tapsoba J de D, Bernstein L, Chow W-H, Shaheen NJ, Anderson L, Liu G, Iyer P, Reid BJ,
   Wu AH, Corley DA, Gammon MD, Hardie LJ, Risch HA, Bird NC, Lagergren J, Ye W,
   Whiteman DC, Vaughan TL. Constrained score statistics identify novel genetic variants
   interacting with multiple risk factors in Barrett's Esophagus. Am J Hum Genet 2016;99(2):352-
   65. PMCID: PMC4974090.
Lujan-Barroso L, Zhang W, Olson SH, Gao Y-T, Yu H, Baghurst PA, Bracci PM, Bueno-de-
   Mesquita HB, Foretová L, Gallinger S, Holcatova I, Janout V, Ji B-T, Kurtz RC, La Vecchia C,
   Lagiou P, Li D, Miller AB, Serraino D, Zatonski W, Risch HA, Duell EJ. Menstrual and
   reproductive factors, hormone use and risk of pancreatic cancer: analysis from the International
   Pancreatic Cancer Case-Control Consortium (PanC4).              Pancreas 2016;45(10):1401-10.
   PMCID: PMC5065728.
Kho PF, Fawcett J, Fritschi L, Risch H, Webb PM, Whiteman DC, Neale RE. Nonsteroidal anti-
   inflammatory drugs, statins and pancreatic cancer risk: a population-based case-control study.
   Cancer Causes Control 2016;27(12):1457-64. *Not a result of NIH funding.
Drahos J, Xiao Q, Risch HA, Freedman ND, Abnet CC, Anderson LA, Bernstein L, Brown L,
   Chow W-H, Gammon MD, Kamangar F, Liao LM, Murray LJ, Ward MH, Ye W, Wu AH,
   Vaughan TL, Whiteman DC, Cook MB. Age-specific risk factor profiles of adenocarcinomas
   of the esophagus: a pooled analysis from the International BEACON Consortium. Int J Cancer
   2016;138(1):55-64. PMCID: PMC4607633.
Shi J, Park J-H, Duan J, Berndt S, Moy W, Yu K, Song L, Wheeler W, Hua X, Silverman D,
   Garcia-Closas M, Hsiung CA, Figueroa JD, Cortessis VK, Malats N, Karagas MR, Vineis P,
   Chang I-S, Lin D, Zhou B, Seow A, Matsuo K, Hong Y-C, Caporaso NE, Wolpin B, Jacobs E,
   Petersen G, Klein AP, Li D, Risch H, Sanders AR, Hsu L, Schoen RE, Brenner H, MGS


                                                                                      App000048
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 51 of 633 PageID 777


   (Molecular Genetics of Schizophrenia) GWAS Consortium, GECCO (The Genetics and
   Epidemiology of Colorectal Cancer Consortium), The GAME-ON/TRICL (Transdisciplinary
   Research in Cancer of the Lung) GWAS Consortium, PRACTICAL (PRostate cancer
   AssoCiation group To Investigate Cancer Associated aLterations) Consortium, PanScan and
   PanC4 Consortium, The GAMEON/ ELLIPSE Consortium, Stolzenberg-Solomon R, Gejman
   P, Lan Q, Rothman N, Amundadottir LT, Landi MT, Levinson DF, Chanock SJ, Chatterjee N.
   Winner’s curse correction and variable thresholding improve performance of polygenic risk
   modeling based on genome-wide association study summary-level data. PLoS Genet
   2016;12(12):e1006493. PMCID: PMC5201242.
McWilliams RR, Maisonneuve P, Bamlet WR, Petersen GM, Li D, Risch HA, Yu H, Fontham ET,
  Luckett B, Bosetti C, Negri E, La Vecchia C, Talamini R, Bueno de Mesquita HB, Bracci P,
  Gallinger S, Neale RE, Lowenfels AB. Risk factors for early-onset and very-early-onset
  pancreatic adenocarcinoma: a Pancreatic Cancer Case-Control Consortium (PanC4) analysis.
  Pancreas 2016;45(2):311-6. PMCID: PMC4710562.
Kotsopoulos J, Rosen B, Fan I, Moody J, McLaughlin JR, Risch H, May T, Sun P, Narod SA.
   Ten-year survival after epithelial ovarian cancer is not associated with BRCA mutation status.
   Gynecol Oncol 2016;140(1):42-7. *NIH funding pre-dates mandate.
Ek WE, Lagergren K, Cook M, Wu AH, Abnet CC, Levine D, Chow W-H, Bernstein L, Risch HA,
   Shaheen NJ, Bird NC, Corley DA, Hardie LJ, Fitzgerald RC, Gammon M, Romero Y, Liu G,
   Ye W, Vaughan TL, MacGregor S, Whiteman DC, Westberg L, Lagergren J. Polymorphisms
   in genes in the androgen pathway and risk of Barrett’s Esophagus and esophageal
   adenocarcinoma. Int J Cancer 2016;138(5):1146-52. PMCID: PMC4715576.
Lu L, Katsaros D, Risch HA, Canuto EM, Biglia N, Yu H. MicroRNA let-7a modifies the effect of
   self-renewal gene HIWI on patient survival of epithelial ovarian cancer. Mol Carcinog
   2016;55(4):357-65. *Not a result of NIH funding.
Præstegaard C, Kjaer, SK, Nielsen TSS, Jensen SM, Webb PM, Australian Ovarian Cancer Study
   Group, Nagle CM, Høgdall E, Risch HA, Rossing MA, Doherty JA, Wicklund KG, Goodman
   MT, Modugno F, Moysich K, Ness RB, Edwards RP, Goode EL, Winham SJ, Fridley BL,
   Cramer DW, Terry KL, Schildkraut JM, Berchuck A, Bandera EV, Paddock L, Kiemeney LA,
   Massuger LF, Wentzensen N, Pharoah P, Song H, Whittemore AS, McGuire V, Sieh W,
   Rothstein J, Anton-Culver H, Ziogas A, Menon U, Gayther SA, Ramus SJ, Gentry-Maharaj A,
   Wu AH, Pearce CL, Pike MC, Lee AW, Chang-Claude J, Jensen A, Ovarian Cancer
   Association Consortium. The association between socioeconomic status and tumour stage at
   diagnosis of ovarian cancer: a pooled analysis of 18 case-control studies. Cancer Epidemiol
   2016;41:71-9. PMCID: PMC4993452.
Cuellar-Partida G, Lu Y, Dixon SC, Australian Ovarian Cancer Study, Fasching PA, Hein A,
   Burghaus S, Beckmann MW, Lambrechts D, Van Nieuwenhuysen E, Vergote I, Vanderstichele
   A, Doherty JA, Rossing MA, Chang-Claude J, Rudolph A, Wang-Gohrke S, Goodman MT,
   Bogdanova N, Dörk T, Dürst M, Hillemanns P, Runnebaum IB, Antonenkova N, Butzow R,
   Leminen A, Nevanlinna H, Pelttari LM, Edwards RP, Kelley JL, Modugno F, Moysich KB,
   Ness RB, Cannioto R, Høgdall E, Høgdall C, Jensen A, Giles GG, Bruinsma F, Kjaer SK,
   Hildebrandt MAT, Liang D, Lu KH, Wu X, Bisogna M, Dao F, Levine DA, Cramer DW, Terry
   KL, Tworoger SS, Stampfer M, Missmer S, Bjorge L, Salvesen HB, Kopperud RK, Bischof K,
   Aben KKH, Kiemeney LA, Massuger LFAG, Brooks-Wilson A, Olson SH, McGuire V,
   Rothstein JH, Sieh W, Whittemore AS, Cook LS, Le ND, Gilks CB, Gronwald J, Jakubowska
   A, LubiÑski J, Kluz T, Song H, Tyrer JP, Wentzensen N, Brinton L, Trabert B, Lissowska J,


                                                                                    App000049
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 52 of 633 PageID 778


     McLaughlin JR, Narod SA, Phelan C, Anton-Culver H, Ziogas A, Eccles D, Campbell I,
     Gayther SA, Gentry-Maharaj A, Menon U, Ramus SJ, Wu AH, Dansonka-Mieszkowska A,
     Kupryjanczyk J, Timorek A, Szafron L, Cunningham JM, Fridley BL, Winham SJ, Bandera
     EV, Poole EM, Morgan TK, Goode EL, Schildkraut JM, Pearce CL, Berchuck A, Pharoah PDP,
     Webb PM, Chenevix-Trench G, Risch HA, MacGregor S. Assessing the genetic architecture
     of epithelial ovarian cancer histological subtypes. Hum Genet 2016;135(7): 741-56. PMCID:
     PMC4976079.
   Meeks HD, Song H, Michailidou K, Bolla MK, Dennis J, Wang Q, Barrowdale D, Frost D,
     EMBRACE, McGuffog L, Ellis S, Feng B, Buys SS, Hopper JL, Southey MC, Tesoriero A,
     kConFab Investigators, James PA, Bruinsma F, Campbell IG, Australia Ovarian Cancer Study
     Group, Broeks A, Schmidt MK, Hogervorst FBL, HEBON, Beckman MW, Fasching PA,
     Fletcher O, Johnson N, Sawyer EJ, Riboli E, Banerjee S, Menon U, Tomlinson I, Burwinkel B,
     Hamann U, Marme F, Rudolph A, Janavicius R, Tihomirova L, Tung N, Garber J, Cramer D,
     Terry KL, Poole EM, Tworoger SS, Dorfling CM, van Rensburg EJ, Godwin AK, Guénel P,
     Truong T, GEMO Study Collaborators, Stoppa-Lyonnet D, Damiola F, Mazoyer S, Sinilnikova
     OM, Isaacs C, Maugard C, Bojesen SE, Flyger H, Gerdes A-M, Hansen TVO, Jensen A, Kjaer
     SK, Hogdall C, Hogdall E, Pedersen IS, Thomassen M, Benitez J, González-Neira A, Osorio A,
     de la Hoya M, Perez Segura P, Diez O, Lazaro C, Brunet J, Anton-Culver H, Eunjung L, John
     EM, Neuhausen SL, Ding YC, Castillo D, Weitzel JN, Ganz PA, Nussbaum RL, Chan SB,
     Karlan BY, Lester J, Wu A, Gayther S, Ramus SJ, Sieh W, Whittermore AS, Monteiro ANA,
     Phelan CM, Terry MB, Piedmonte M, Offit K, Robson M, Levine D, Moysich KB, Cannioto R,
     Olson SH, Daly MB, Nathanson KL, Domchek SM, Lu KH, Liang D, Hildebrant MAT, Ness
     R, Modugno F, Pearce L, Goodman MT, Thompson PJ, Brenner H, Butterbach K, Meindl A,
     Hahnen E, Wappenschmidt B, Brauch H, Brüning T, Blomqvist C, Khan S, Nevanlinna H,
     Pelttari LM, Aittomäki K, Butzow R, Bogdanova NV, Dörk T, Lindblom A, Margolin S,
     Rantala J, Kosma V-M, Mannermaa A, Lambrechts D, Neven P, Claes KBM, Van Maerken T,
     Chang-Claude J, Flesch-Janys D, Heitz F, Varon-Mateeva R, Peterlongo P, Radice P, Viel A,
     Barile M, Peissel B, Manoukian S, Montagna M, Oliani C, Peixoto A, Teixeira MR, Collavoli
     A, Hallberg E, Olson JE, Goode EL, Hart S, Shimelis H, Cunningham JM, Giles GG, Milne
     RL, Healey S, Tucker K, Haiman CA, Henderson BE, Goldberg MS, Tischkowitz M, Simard J,
     Soucy P, Eccles DM, Le N, Borresen-Dale A-L, Kristensen V, Salvesen HB, Bjorge L, Bandera
     EV, Risch H, Zheng W, Beeghly-Fadiel A, Cai H, Pylkäs K, Tollenaar RAEM, van der
     Ouweland AMW, Andrulis IL, Knight JA, OCGN, Narod S, Devilee P, Winqvist R, Figueroa J,
     Greene MH, Mai PL, Loud JT, García-Closas M, Schoemaker MJ, Czene K, Darabi H,
     McNeish I, Siddiquil N, Glasspool R, Kwong A, Park SK, Teo SH, Yoon S-Y, Matsuo K,
     Hosono S, Woo YL, Gao Y-T, Foretova L, Singer CF, Feurhauser CR, Friedman E, Laitman Y,
     Rennert G, Imyanitov EN, Hulick PJ, Olopade OI, Senter L, Olah E, Doherty JA, Schildkraut J,
     Hollestelle A, Koppert LB, Kiemeney LA, Massuger LFAG, Cook LS, Pejovic T, Li J, Borg A,
     Öfverholm A, Rossing MA, Wentzensen N, Henriksson K, Cox A, Cross SS, Perkins BJ, Shah
     M, Kabisch M, Torres D, Jakubowska A, Lubinski J, Gronwald J, Agnarsson BA,
     Kupryjanczyk J, Moes-Sosnowska J, Fostira F, Konstantopoulou I, Slager S, Jones M, Prostate
     Cancer Association Group to Investigate Cancer Associated Alterations in the Genome,
     Antoniou AC, Berchuck A, Swerdlow A, Chenevix-Trench G, Dunning AM, Pharoah PDP,
     Hall P, Easton DF, Couch FJ, Spurdle AB, Goldgar DE. BRCA2 polymorphic stop codon
     K3326X and the risk of breast, prostate and ovarian cancers. J Natl Cancer Inst
     2016;108(2):djv315. PMCID: PMC4907358.
2015


                                                                                     App000050
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 53 of 633 PageID 779


Risch HA, Yu H, Lu L, Kidd MS. Detectable symptomatology preceding the diagnosis of
   pancreatic cancer and absolute risk of pancreatic cancer diagnosis. Am J Epidemiol
   2015;182(1):26-34. PMCID: PMC4479115.
Schulte A, Pandeya N, Fawcett J, Fritschi L, Risch HA, Webb PM, Whiteman DC, Neale RE.
   Association between Helicobacter pylori and pancreatic cancer risk: a meta-analysis. Cancer
   Causes Control 2015;26(7):1027-35. *Not a result of NIH funding.
Ivanova A, Loo A, Tworoger S, Crum CP, Fan I, McLaughlin JR, Rosen B, Risch H, Narod SA,
   Kotsopoulos J. Ovarian cancer survival by tumor dominance, a surrogate for site of origin.
   Cancer Causes Control 2015;26(4):601-8. *NIH funding pre-dates mandate.
Wang Z, Katsaros D, Shen Y, Fu Y, Canuto EM, Benedetto C, Lu L, Chu W-M, Risch HA, Yu H.
  Biological and clinical significance of MAD2L1 and BUB1, genes frequently appearing in
  expression signatures for breast-cancer prognosis. PLoS One 2015;10(8):e0136246. PMCID:
  PMC4546117.
Waterhouse M, Risch HA, Bosetti C, Anderson KE, Petersen GM, Bamlet WR, Cotterchio M,
   Cleary SP, Ibiebele T, La Vecchia C, Skinner H, Strayer L, Bracci PM, Maisonneuve P, Bueno-
   de-Mesquita HB, ZatoÑski W, Lu L, Yu H, Janik-Koncewicz K, Polesel J, Serraino D, Neale
   RE, for the Pancreatic Cancer Case-Control Consortium (PanC4). Vitamin D and pancreatic
   cancer: a pooled analysis from the Pancreatic Cancer Case-Control Consortium. Ann Oncol
   2015;26(8):1776-83. PMCID: PMC4511221.
Amankwah EK, Lin H-Y, Tyrer JP, Lawrenson K, Dennis J, Chornokur G, Aben KKH, Anton-
   Culver H, Antonenkova N, Bruinsma F, Bandera EV, Bean YT, Beckmann MW, Bisogna M,
   Bjorge L, Bogdanova N, Brinton LA, Brooks-Wilson A, Bunker CH, Butzow R, Campbell IG,
   Carty K, Chen Z, Chen YA, Chang-Claude J, Cook LS, Cramer DW, Cunningham JM,
   Cybulski C, Dansonka-Mieszkowska A, du Bois A, Despierre E, Dicks E, Doherty JA, Dörk T,
   Dürst M, Easton DF, Eccles DM, Edwards RP, Ekici AB, Fasching PA, Fridley BL, Gao Y-T,
   Gentry-Maharaj A, Giles GG, Glasspool R, Goodman MT, Gronwald J, Harrington P, Harter P,
   Hasmad HN, Hein A, Heitz F, Hildebrandt MAT, Hillemanns P, Hogdall CK, Hogdall E,
   Hosono S, Iversen ES, Jakubowska A, Jensen A, Ji B-T, Karlan BY, Jim H, Kellar M,
   Kiemeney LA, Krakstad C, Kjaer SK, Kupryjanczyk J, Lambrechts D, Lambrechts S, Le ND,
   Lee AW, Lele S, Leminen A, Lester J, Levine DA, Liang D, Lim BK, Lissowska J, Lu K,
   Lubinski J, Lundvall L, Massuger L FAG, Matsuo K, McGuire V, McLaughlin JR, McNeish I,
   Menon U, Milne RL, Modugno F, Moysich KB, Ness RB, Nevanlinna H, Eilber U, Odunsi K,
   Olson SH, Orlow I, Orsulic S, Weber RP, Paul J, Pearce CL, Pejovic T, Pelttari LM, Permuth-
   Wey J, Pike MC, Poole EM, Risch HA, Rosen B, Rossing MA, Rothstein JH, Rudolph A,
   Runnebaum IB, Rzepecka IK, Salvesen HB, Schernhammer E, Schwaab I, Shu X-O, Shvetsov
   YB, Siddiqui N, Sieh W, Song H, Southey MC, Spiewankiewicz B, Sucheston-Campbell L,
   Teo S-H, Terry KL, Thompson PJ, Thomsen L, Tangen IL, Tworoger SS, van Altena AM,
   Vierkant RA, Vergote I, Walsh CS, Wang-Gohrke S, Wentzensen N, Whittemore AS,
   Wicklund KG, Wilkens LR, Wu AH, Wu X, Woo Y-L, Yang H, Zheng W, Ziogas A, Kelemen
   LE, Berchuck A, Chenevix-Trench G on behalf of the AOCS management group, Schildkraut
   JM, Ramus SJ, Goode EL, Monteiro ANA, Gayther SA, Narod SA, Pharoah PDP, Sellers TA,
   Phelan CM. Epithelial-mesenchymal transition (EMT) gene variants and epithelial ovarian
   cancer (EOC) risk. Genet Epidemiol 2015;39(8):689-97. PMCID: PMC4721602.
Collaborative Group on Epidemiological Studies of Ovarian Cancer. Menopausal hormone use and
   ovarian cancer risk: Individual participant meta-analysis of 52 epidemiological studies. Lancet
   2015;385:1835-42. *Not a result of NIH funding.


                                                                                     App000051
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 54 of 633 PageID 780


Wang Z, Risch H, Lu L, Irwin M, Mayne S, Schwartz P, Rutherford T, De Vivo I, Yu H. Joint
  effect of genotypic and phenotypic features of reproductive factors on endometrial cancer risk.
  Sci Rep 2015;5:15582. PMCID: PMC Journal in Process.
Machiela MJ, Zhou W, Sampson JN, Dean MC, Jacobs KB, Black A, Brinton LA, Chang I-S, Chen
  C, Chen C, Chen K, Cook LS, Crous Bou M, De Vivo I, Doherty J, Friedenreich CM, Gaudet
  MM, Haiman CA, Hankinson SE, Hartge P, Henderson BE, Hong Y-C, Hosgood III HD,
  Hsiung CA, Hu W, Hunter DJ, Jessop L, Kim HN, Kim YH, Kim YT, Klein R, Kraft P, Lan Q,
  Lin D, Liu J, Le Marchand L, Liang X, Lissowska J, Lu L, Magliocco AM, Matsuo K, Olson
  SH, Orlow I, Park JY, Pooler L, Prescott J, Rastogi R, Risch HA, Schumacher F, Seow A,
  Setiawan VW, Shen H, Sheng X, Shin M-H, Shu X-O, VanDen Berg D, Wang J-C,
  Wentzensen N, Wong MP, Wu C, Wu T, Wu Y-L, Xia L, Yang HP, Yang P-C, Zheng W, Zhou
  B, Abnet CC, Albanes D, Aldrich MC, Amos C, Amundadottir LT, Berndt SI, Blot WJ, Bock
  CH, Bracci PM, Burdett L, Buring JE, Butler MA, Carreón T, Chatterjee N, Chung CC, Cook
  MB, Cullen M, Davis FG, Ding T, Duell EJ, Epstein CG, Fan J-H, Figueroa JD, Fraumeni Jr.
  JF, Freedman ND, Fuchs CS, Gao Y-T, Gapstur SM, Patiño-Garcia A, Garcia-Closas M,
  Gaziano JM, Giles GG, Gillanders EM, Giovannucci EL, Goldin L, Goldstein AM, Greene
  MH, Hallmans G, Harris CC, Henriksson R, Holly EA, Hoover RN, Hu N, Hutchinson A, Jenab
  M, Johansen C, Khaw K-T, Koh W-P, Kolonel LN, Kooperberg C, Krogh V, Kurtz RC,
  LaCroix A, Landgren A, Landi MT, Li D, Liao LM, Malats N, McGlynn KA, McNeill LH,
  McWilliams RR, Melin BS, Mirabello L, Peplonska B, Peters U, Petersen GM, Prokunina-
  Olsson L, Purdue M, Qiao Y-L, Rabe KG, Rajaraman P, Real FX, Riboli E, Rodriguez-
  Santiago B, Rothman N, Ruder AM, Savage SA, Schwartz AG, Schwartz KL, Sesso HD, Severi
  G, Silverman DT, Spitz MR, Stevens VL, Stolzenberg-Solomon R, Stram D, Tang Z-Z, Taylor
  PR, Teras LR, Tobias GS, Viswanathan K, Wacholder S, Wang Z, Weinstein SJ, Wheeler W,
  White E, Wiencke JK, Wolpin BM, Wu X, Wunder JS, Yu K, Zanetti KA, Zeleniuch-Jacquotte
  A, Ziegler RG, de Andrade M, Barnes KC, Beaty TH, Bierut LJ, Desch KC, Doheny KF,
  Feenstra B, Ginsburg D, Heit JA, Kang JH, Laurie CA, Li JZ, Lowe WL, Marazita ML, Melbye
  M, Mirel DB, Murray J, Nelson SC, Pasquale LR, Rice K, Wiggs JL, Wise A, Tucker M, Perez-
  Jurado LA, Laurie CC, Caporaso NE, Yeager M, Chanock SJ. Characterization of large
  structural genetic mosaicism in human autosomes. Am J Hum Genet 2015;96(3):487-97.
  PMCID: PMC Journal in Process.
Fritschi L, Benke G, Risch HA, Schulte A, Webb PM, Whiteman DC, Fawcett J, Neale RE.
    Occupational exposure to N-nitrosamines and pesticides and risk of pancreatic cancer. Occup
    Environ Med 2015;72(9):678-83. *Not a result of NIH funding.
Salmena L, Shaw P, Fan I, McLaughlin JR, Rosen B, Risch H, Mitchell C, Sun P, Narod SA,
   Kotsopoulos J. Prognostic value of INPP4B protein immunohistochemistry in ovarian cancer.
   Eur J Gynaecol Oncol 2015;36(3):260-7. PMCID: PMC Journal in Process.
Lee E, Stram DO, Ek W, Onstad LE, MacGregor S, Buas M, Gharahkhani P, Ye W, Lagergren J,
   Bird NC, Romero Y, Shaheen NJ, Murray LJ, Hardie LJ, Gammon MD, Chow W-H, Risch
   HA, Corley DA, Reid BJ, Levine DM, Abnet C, Whiteman DC, Bernstein L, Vaughan TL, Wu
   AH. Pleiotropic analysis of cancer risk loci on esophageal adenocarcinoma risk. Cencer
   Epidemiol Biomarkers Prev 2015;24(11):1801-3. PMCID: PMC Journal in Process.
Prescott J, Setiawan VW, Wentzensen N, Schumacher F, Yu H, Delahanty R, Bernstein L, Chanock
   SJ, Chen C, Cook LS, Friedenreich C, Garcia-Closas M, Haiman CA, Le Marchand L, Liang X,
   Lissowska J, Lu L, Magliocco AM, Olson SH, Risch HA, Shu X-O, Ursin G, Yang HP, Kraft
   P, De Vivo I. Body mass index genetic risk score and endometrial cancer risk. PLoS One


                                                                                    App000052
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 55 of 633 PageID 781


   2015;10(11):e0143256. PMCID: PMC Journal in Process.
Petrick JL, Steck SE, Bradshaw PT, Chow W-H, Engel LS, He K, Risch HA, Vaughan TL,
    Gammon MD. Dietary flavonoid intake and Barrett’s Esophagus in western Washington State.
    Ann Epidemiol 2015;25(10):730-5.e2. PMCID: PMC Journal in Process.
Dai JY, Tapsoba Jde D, Buas MF, Onstad LE, DM, Risch HA, Chow W-H, Bernstein L, Ye W,
   Lagergren J, Bird NC, Corley DA, Shaheen NJ, Wu AH, Reid BJ, Hardie LJ, Whiteman DC,
   Vaughan TL. A newly identified susceptibility locus near FOXP1 modifies the association of
   gastroesophageal reflux with Barrett’s Esophagus. Cancer Epidemiol Biomarkers Prev
   2015;24(11):1739-47. PMCID: PMC Journal in Process.
Shen Y, Wang Z, Loo LWM, Ni Y, Jia W, Fei P, Risch HA, Katsaros D, Yu H. LINC00472
   expression is regulated by promoter methylation and associated with disease-free survival in
   patients with grade 2 breast cancer. Breast Cancer Res Treat 2015;154(3):473-82. *Not a
   result of NIH funding.
Lagergren K, Ek WE, Levine D, Chow W-H, Bernstein L, Casson AG, Risch HA, Shaheen NJ,
    Bird NC, Reid BJ, Corley DA, Hardie LJ, Wu AH, Fitzgerald RC, Pharoah P, Caldas C,
    Romero Y, Vaughan TL, MacGregor S, Whiteman D, Westberg L, Nyren O, Lagergren J.
    Polymorphisms in genes of relevance for oestrogen and oxytocin pathways and risk of Barrett’s
    Oesophagus and oesophageal adenocarcinoma: a pooled analysis from the BEACON
    Consortium. PLoS ONE 2015;10(9):e0138738. PMCID: PMC Journal in Process.
Kar SP, Tyrer JP, Li Q, Lawrenson K, Aben KKH, Anton-Culver H, Antonenkova N, Chenevix-
    Trench G, Australian Cancer Study, Australian Ovarian Cancer Study Group, Baker H, Bandera
    EV, Bean YT, Beckmann MW, Berchuck A, Bisogna M, Bjørge L, Bogdanova N, Brinton L,
    Brooks-Wilson A, Butzow R, Campbell I, Carty K, Chang-Claude J, Chen YA, Chen Z, Cook
    LS, Cramer D, Cunningham JM, Cybulski C, Dansonka-Mieszkowska A, Dennis J, Dicks E,
    Doherty JA, Dörk T, du Bois A, Dürst M, Eccles D, Easton DF, Edwards RP, Ekici AB,
    Fasching PA, Fridley BL, Gao Y-T, Gentry-Maharaj A, Giles GG, Glasspool R, Goode EL,
    Goodman MT, Grownwald J, Harrington P, Harter P, Hein A, Heitz F, Hildebrandt MAT,
    Hillemanns P, Hogdall E, Hogdall CK, Hosono S, Iversen ES, Jakubowska A, James P, Jensen
    A, Ji B-T, Karlan BY, Kjaer SK, Kelemen LE, Kellar M, Kelley J, Kiemeney LA, Krakstad C,
    Kupryjanczyk J, Lambrechts D, Lambrechts S, Le ND, Lee AW, Lele S, Leminen A, Lester J,
    Levine DA, Liang D, Lissowska J, Lu K, Lubinski J, Lundvall L, Massuger L, Matsuo K,
    McGuire V, McLaughlin JR, McNeish IA, Menon U, Modugno F, Moysich KB, Narod SA,
    Nedergaard L, Ness RB, Nevanlinna H, Odunsi K, Olson SH, Orlow I, Orsulic S, Weber RP,
    Pearce CL, Pejovic T, Pelttari LM, Permuth-Wey J, Phelan CM, Pike MC, Poole EM, Ramus
    SJ, Risch HA, Rosen B, Rossing MA, Rothstein JH, Rudolph A, Runnebaum IB, Rzepecka IK,
    Salvesen HB, Schildkraut JM, Schwaab I, Shu X-O, Shvetsov YB, Siddiqui N, Sieh W, Song H,
    Southey MC, Sucheston-Campbell LE, Tangen IL, Teo S-H, Terry KL, Thompson PJ, Timorek
    A, Tsai Y-Y, Tworoger SS, van Altena AM, Van Nieuwenhuysen E, Vergote I, Vierkant RA,
    Wang-Gohrke S, Walsh C, Wentzensen N, Whittemore AS, Wicklund KG, Wilkens LR, Woo
    Y-L, Wu X, Wu A, Yang H, Zheng W, Ziogas A, Sellers TA, Monteiro ANA, Freedman ML,
    Gayther SA, Pharoah PDP. Network-based integration of GWAS and gene expression
    identifies a HOX-centric network associated with serous ovarian cancer risk. Cancer Epidemiol
    Biomarkers Prev 2015;24(10):1574-84. PMCID: PMC Journal in Process.
Felix AS, Gaudet MM, La Vecchia C, Nagle CM, Shu X-O, Weiderpass E, Adami HO, Beresford
    S, Bernstein L, Chen C, Cook LS, De Vivo I, Doherty JA, Friedenreich CM, Gapstur SM, Hill
    D, Horn-Ross PL, Lacey JV, Levi F, Liang X, Lu L, Magliocco A, McCann SE, Negri E, Olson


                                                                                    App000053
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 56 of 633 PageID 782


   SH, Palmer JR, Patel AV, Petruzella S, Prescott J, Risch HA, Rosenberg L, Sherman ME,
   Spurdle AB, Webb PM, Wise LA, Xiang Y-B, Xu W, Yang HP, Yu H, Zeleniuch-Jacquotte A,
   Brinton LA. Intrauterine devices and endometrial cancer risk: a pooled analysis of the
   Epidemiology of Endometrial Cancer Consortium. Int J Cancer 2015;136(5):E410-22.
   PMCID: PMC Journal in Process.
Lee AW, Tyrer JP, Doherty JA, Stram DA, Kupryjanczyk J, Dansonka-Mieszkowska A, Plisiecka-
   Halasa J, Spiewankiewicz B, Myers EJ, Australian Cancer Study (Ovarian Cancer), Australian
   Ovarian Cancer Study Group, Chenevix-Trench G, Fasching PA, Beckmann MW, Ekici AB,
   Hein A, Vergote I, Nieuwenhuysen EV, Lambrechts D, Wicklund KG, Eilber U, Wang-Gohrke
   S, Chang-Claude J, Rudolph A, Sucheston L, Odunsi K, Moysich KB, Shvetsov YB, Thompson
   PJ, Goodman MT, Wilkens LR, Dörk T, Hillemanns P, Dürst M, Runnebaum IB, Bogdanova
   N, Pelttari LM, Nevanlinna H, Leminen A, Edwards RP, Kelley JL, Harter P, Schwaab I, Heitz
   F, du Bois A, Orsulic S, Lester J, Walsh C, Karlan BY, Hogdall E, Kjaer SK, Jensen A,
   Vierkant RA, Cunningham JM, Goode EL, Fridley BL, Southey MC, Giles GG, Bruinsma F,
   Wu X, Hildebrandt MAT, Lu K, Liang D, Bisogna M, Levine DA, Weber RP, Schildkraut JM,
   Iversen ES, Berchuck A, Terry KL, Cramer DW, Tworoger SS, Poole EM, Olson SH, Orlow I,
   Bandera EV, Bjorge L, Tangen IL, Salvesen HB, Krakstad C, Massuger LFAG, Kiemeney LA,
   Aben KKH, van Altena AM, Bean Y, Pejovic T, Kellar M, Le ND, Cook LS, Kelemen LE,
   Brooks-Wilson A, Lubinski J, Gronwald J, Cybulski C, Jakubowska A, Wentzensen N, Brinton
   LA, Lissowska J, Yang H, Nedergaard L, Lundvall L, Hogdall C, Song H, Campbell IG, Eccles
   D, Glasspool R, Siddiqui N, Carty K, Paul J, McNeish I, Sieh W, McGuire V, Rothstein JH,
   Whittemore AS, McLaughlin JR, Risch HA, Phelan CM, Anton-Culver H, Ziogas A, Menon U,
   Ramus SJ, Gentry-Maharaj A, Harrington P, Pike MC, Modugno F, Rossing MA, Ness RB,
   Pharoah PDP, Stram DO, Wu AH, Pearce CL. Evaluating the ovarian cancer gonadotropin
   hypothesis: a candidate gene study. Gyn Oncol 2015;136(3):542-8. PMCID: PMC Journal in
   Process.
Campa D, Rizzato C, Stolzenberg-Solomon R, Pacetti P, Vodicka P, Cleary SP, Capurso G, Bueno-
   de-Mesquita HB, Werner J, Gazouli M, Butterbach K, Ivanauskas A, Giese N, Petersen GM,
   Fogar P, Wang Z, Bassi C, Ryska M, Theodoropoulos GE, Kooperberg C, Hassan M, Greenhalf
   W, Pasquali C, Hackert T, Fuchs CS, Mohelnikova-Duchonova B, Sperti C, Funel N,
   Dieffenbach AK, Wareham NJ, Buring J, Holcátová I, Costello E, Zambon C-F, Kupcinskas J,
   Risch HA, Kraft P, Bracci PM, Pezzilli R, Olson SH, Sesso HD, Hartge P, Strobel O, Małecka-
   Panas E, Visvanathan K, Arslan AA, Pedrazzoli S, Sou ek P, Gioffreda D, Key TJ, Talar-
   Wojnarowska R, Scarpa A, Mambrini A, Jacobs EJ, Jamroziak K, Klein A, Tavano F, Bambi F,
   Landi S, Austin MA, Vodickova L, Brenner H, Chanock SJ, Delle Fave G, Piepoli A, Cantore
   M, Zheng W, Wolpin BM, Amundadottir LT, Canzian F. The TERT gene harbors multiple
   variants associated with pancreatic cancer susceptibility. Int J Cancer 2015;137(9):2175-83.
   PMCID: PMC Journal in Process.
Lu Y, Cuellar G, Painter JN, Nyholt D, Australian Ovarian Cancer Study, The International
   Endogene Consortium, Morris AP, Fasching PA, Hein A, Burghaus S, Beckmann MW,
   Lambrechts; D, Van Nieuwenhuysen E, Vergote I, Vanderstichele A, Doherty JA, Rossing MA,
   Wicklund KG, Chang-Claude J, Eilber U, Rudolph A, Wang-Gohrke S, Goodman MT,
   Bogdanova N, Dörk T, Dürst M, Hillemanns P, Runnebaum IB, Antonenkova N, Butzow R,
   Leminen A, Nevanlinna H, Pelttari LM, Edwards RP, Kelley JL, Modugno F, Moysich KB,
   Ness RB, Cannioto R, Høgdall E, Jensen A, Giles GG, Bruinsma F, Kjaer SK, Hildebrandt
   MAT, Liang D, Lu KH, Wu X, Bisogna M, Dao F, Levine DA, Cramer DW, Terry KL,
   Tworoger SS, Missmer S, Bjorge L, Salvesen HB, Kopperud RK, Bischof K, Aben KKH,

                                                                                   App000054
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 57 of 633 PageID 783


   Kiemeney LA, Massuger LFAG, Brooks-Wilson A, Olson SH, McGuire V, Rothstein JH, Sieh
   W, Whittemore AS, Cook LS, Le ND, Gilks CB, Gronwald J, Jakubowska A, LubiÑski J,
   Gawełko J, Song H, Tyrer JP, Wentzensen N, Brinton L, Trabert B, Lissowska J, McLaughlin
   JR, Narod SA, Phelan C, Anton-Culver H, Ziogas A, Eccles D, Gayther SA, Gentry-Maharaj A,
   Menon U, Ramus SJ, Wu AH, Dansonka-Mieszkowska A, Kupryjanczyk J, Timorek A,
   Szafron L, Cunningham JM, Fridley BL, Winham SJ, Bandera EV, Poole EM, Morgan TK,
   Risch HA, Goode EL, Schildkraut JM, Webb PM, Pearce CL, Berchuck A, Pharoah PDP,
   Montgomery GW, Zondervan KT, Chenevix-Trench G, Macgregor S. Shared genetics
   underlying epidemiological association between endometriosis and ovarian cancer. Hum Mol
   Genet 2015;24(20):5955-64. PMCID: PMC Journal in Process.
Nagle CM, Dixon SC, Jensen A, Kjaer SK, Modugno F, deFazio A, Fereday S, Hung J, Johnatty
   SE, Australian Ovarian Cancer Study Group, Fasching PA, Beckmann MW, Lambrechts D,
   Vergote I, Van Nieuwenhuysen E, Lambrechts S, Risch HA, Rossing MA, Doherty JA,
   Wicklund KG, Chang-Claude J, Goodman MT, Ness RB, Moysich K, Heitz F, du Bois A,
   Harter P, Schwaab I, Matsuo K, Hosono S, Goode EL, Vierkant RA, Larson MC, Fridley BL,
   Høgdall C, Schildkraut JM, Weber RP, Cramer DW, Terry KL, Bandera EV, Paddock L,
   Rodriguez-Rodriguez L, Wentzensen N, Yang HP, Brinton LA, Lissowska J, Høgdall E,
   Lundvall L, Whittemore A, McGuire V, Sieh W, Rothstein J, Sutphen R, Anton-Culver H,
   Ziogas A, Pearce CL, Wu AH, Webb PM, Ovarian Cancer Association Consortium. Obesity
   and survival among women with ovarian cancer: results from the Ovarian Cancer Association
   Consortium. Br J Cancer 2015;113(5):817-26. PMCID: PMC Journal in Process.
Childs EJ, Mocci E, Campa D, Bracci PM, Gallinger S, Goggins M, Li D, Neale R, Olson SH,
   Scelo G, Amundadottir LT, Bamlet WR, Bijlsma MF, Blackford A, Borges M, Brennan P,
   Brenner H, Bueno-de-Mesquita HB, Canzian F, Capurso G, Cavestro GM, Chaffee KG,
   Chanock SJ, Cleary SP, Cotterchio M, Foretova L, Fuchs C, Funel N, Gazouli M, Hassan M,
   Herman JM, Holcatova I, Holly EA, Hoover RN, Hung RJ, Janout V, Key TJ, Kupcinskas J,
   Kurtz RC, Landi S, Lu L, Malecka-Panas E, Mambrini A, Mohelnikova-Duchonova B,
   Neoptolemos JP, Oberg AL, Orlow I, Pasquali C, Pezzilli R, Rizzato C, Saldia A, Scarpa A,
   Stolzenberg-Solomon RZ, Strobel O, Tavano F, Vashist YK, Vodicka P, Wolpin BM, Yu H,
   Petersen GM, Risch HA, Klein AP. Common variation at 2p13.3, 3q29, 7p13 and 17q25.1
   associated with susceptibility to pancreatic cancer. Nat Genet 2015;47(8)911-6. PMCID:
   PMC4520746.
Lawrenson K, Li Q, Kar S, Seo J-H, Tyrer J, Spindler TJ, Lee J, Chen Y, Karst A, Drapkin R, Aben
   KKH, Anton-Culver H, Antonenkova N, Australian Ovarian Cancer Study Group, Baker H,
   Bandera EV, Bean Y, Beckmann MW, Berchuck A, Bisogna M, Bjorge L, Bogdanova N,
   Brinton LA, Brooks-Wilson A, Bruinsma F, Butzow R, Campbell IG, Carty K, Chang-Claude J,
   Chenevix-Trench G, Chen A, Chen Z, Cook LS, Cramer DW, Cunningham JM, Cybulski C,
   Dansonka-Mieszkowska A, Dennis J, Dicks E, Doherty JA, Dörk T, du Bois A, Dürst M,
   Eccles D, Easton DT, Edwards RP, Eilber U, Ekici AB, Fasching PA, Fridley BL, Gao Y-T,
   Gentry-Maharaj A, Giles GG, Glasspool R, Goode EL, Goodman MT, Grownwald J,
   Harrington P, Harter P, Hasmad HN, Hein A, Heitz F, Hildebrandt MAT, Hillemanns P,
   Hogdall E, Hogdall C, Hosono S, Iversen ES, Jakubowska A, James P, Jensen A, Ji B-T, Karlan
   BY, Kjaer SK, Kelemen LE, Kellar M, Kelley JL, Kiemeney LA, Krakstad C, Kupryjanczyk J,
   Lambrechts D, Lambrechts S, Le ND, Lee AW, Lele S, Leminen A, Lester J, Levine DA, Liang
   D, Lissowska J, Lu K, Lubinski J, Lundvall L, Massuger LFAG, Matsuo K, McGuire V,
   McLaughlin JR, Nevanlinna H, McNeish I, Menon U, Modugno F, Moysich KB, Narod SA,
   Nedergaard L, Ness RB, Noor Azmi MA, Odunsi K, Olson SH, Orlow I, Orsulic S, Weber RP,

                                                                                    App000055
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 58 of 633 PageID 784


    Pearce CL, Pejovic T, Pelttari LM, Permuth-Wey J, Phelan CM, Pike MC, Poole EM, Ramus
    SJ, Risch HA, Rosen B, Rossing MA, Rothstein JH, Rudolph A, Runnebaum IB, Rzepecka IK,
    Salvesen HB, Schildkraut JM, Schwaab I, Sellers TA, Shu X-O, Shvetsov YB, Siddiqui N, Sieh
    W, Song H, Southey MC, Sucheston L, Tangen IL, Teo S-H, Terry KL, Thompson PJ, Timorek
    A, Tsai Y-Y, Tworoger SS, van Altena AM, Van Nieuwenhuysen E, Vergote I, Vierkant RA,
    Wang-Gohrke S, Walsh C, Wentzensen N, Whittemore AS, Wicklund KG, Wilkens LR, Woo
    Y-L, Wu X, Wu AH, Yang H, Zheng W, Ziogas A, Monteiro A, Pharoah PD, Gayther SA,
    Freedman ML. Cis-eQTL analysis and functional validation of candidate susceptibility genes
    for high-grade serous ovarian cancer. Nat Commun 2015;6:8234. PMCID: PMC4580986.
Kelemen LE, Lawrenson K, Tyrer J, Li Q, Lee JM, Seo J-H, Phelan CM, Beesley J, Chen X,
    Spindler TJ, Aben KKH, Anton-Culver H, Antonenkova N, Australian Ovarian Cancer Study
    Group, Baker H, Bandera EV, Bean Y, Beckmann MW, Bisogna M, Bjorge L, Bogdanova N,
    Brinton LA, Brooks-Wilson A, Bruinsma F, Butzow R, Campbell IG, Carty K, Chang-Claude J,
    Chen YA, Chen Z, Cook LS, Cramer DW, Cunningham JM, Cybulski C, Dansonka-
    Mieszkowska A, Dennis J, Dicks E, Doherty JA, Dörk T, du Bois A, Eccles D, Easton DT,
    Edwards RP, Eilber U, Ekici AB, Engelholm SA, Fasching PA, Fridley BL, Gao Y-T, Gentry-
    Maharaj A, Giles GG, Glasspool R, Goode EL, Goodman MT, Grownwald J, Harrington P,
    Harter P, Hasmad HN, Hein A, Heitz F, Hildebrandt MAT, Hillemanns P, Hogdall E, Hogdall
    C, Hosono S, Iversen ES, Jakubowska A, Jensen A, Ji B-T, Karlan BY, Kellar M, Kelley JL,
    Kiemeney LA, Krakstad C, Kjaer SK, Kupryjanczyk J, Lambrechts D, Lambrechts S, Le ND,
    Lee AW, Lele S, Leminen A, Lester J, Levine DA, Liang D, Lissowska J, Lu K, Lubinski J,
    Lundvall L, Massuger LFAG, Matsuo K, McGuire V, McLaughlin JR, McNeish I, Menon U,
    Modugno F, Moes-Sosnowska J, Moysich KB, Narod SA, Nedergaard L, Ness RB, Nevanlinna
    H, Noor Azmi MA, Odunsi K, Olson SH, Orlow I, Orsulic S, Weber RP, Paul J, Pearce CL,
    Pejovic T, Pelttari LM, Permuth-Wey J, Pike MC, Poole EM, Ramus SJ, Risch HA, Rosen B,
    Rossing MA, Rothstein JH, Rudolph A, Runnebaum IB, Rzepecka IK, Salvesen HB,
    Schildkraut JM, Schwaab I, Shu X-O, Shvetsov YB, Siddiqui N, Sieh W, Song H, Southey MC,
    Sucheston L, Tangen IL, Teo S-H, Terry KL, Thompson PJ, Tworoger SS, van Altena AM,
    Van Nieuwenhuysen E, Vergote I, Vierkant RA, Wang-Gohrke S, Walsh C, Wentzensen N,
    Whittemore AS, Wicklund KG, Wilkens LR, Wlodzimierz S, Woo Y-L, Wu X, Wu AH, Yang
    H, Zheng W, Ziogas A, Sellers TA, Freedman ML, Chenevix-Trench G, Pharoah PD, Gayther
    SA, Berchuck A, Ovarian Cancer Association Consortium. Genome-wide significant risk
    associations for mucinous ovarian carcinoma. Nat Genet 2015;47(8):888-97. PMCID:
    PMC4520768.
Petrick JL, Steck SE, Bradshaw PT, Trivers KF, Abrahamson PE, Engel LS, He K, Chow W-H,
    Mayne ST, Risch HA, Vaughan TL, Gammon MD. Dietary intake of flavonoids and
    oesophageal and gastric cancer: incidence and survival in the United States of America (USA).
    Br J Cancer 2015;112():1291-300. PMCID: PMC Journal in Process.
Yang HP, Cook LS, Weiderpass E, Adami H-O, Anderson KE, Cai H, Cerhan JR, Clendenen TV,
    Felix AS, Friedenreich CM, Garcia-Closas M, Goodman MT, Liang X, Lissowska J, Lu L,
    Magliocco AM, McCann SE, Moysich KB, Olson SH, Petruzella S, Pike MC, Polidoro S,
    Ricceri F, Risch HA, Sacerdote C, Setiawan VW, Shu XO, Spurdle AB, Trabert B, Webb PM,
    Wentzensen N, Xiang Y-B, Xu Y, Yu H, Zeleniuch-Jacquotte A, Brinton LA. Infertility and
    incident endometrial cancer risk: a pooled analysis from the epidemiology of endometrial
    cancer consortium (E2C2). Br J Cancer 2015;112(7):925-33. PMCID: PMC4453954.
Kuchenbaecker KB, Ramus SJ, Tyrer J, Lee A, Shen H, Beesley J, Lawrenson K, McGuffog L,
    Healey S, Lee JM, Spindler TJ, Lin YG, Pejovic T, Bean Y, Li Q, Coetzee S, Hazelett D, Miron

                                                                                    App000056
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 59 of 633 PageID 785


   A, Southey M, Terry MB, Goldgar DE, Buys SS, Janavicius R, Dorfling CM, van Rensburg EJ,
   Neuhausen SL, Ding YC, Hansen TVO, Jønson L, Gerdes A-M, Ejlertsen B, Barrowdale D,
   Dennis J, Benitez J, Osorio A, Garcia MJ, Komenaka I, Weitzel JN, Ganschow P, Peterlongo P,
   Bernard L, Viel A, Bonanni B, Peissel B, Manoukian S, Radice P, Papi L, Ottini L, Fostira F,
   Konstantopoulou I, Garber J, Frost D, Perkins J, Platte R, Ellis S, EMBRACE, Godwin AK,
   Schmutzler RK, Meindl A, Engel C, Sutter C, Sinilnikova OM, GEMO Study Collaborators,
   Damiola F, Mazoyer S, Stoppa-Lyonnet D, Claes K, Leeneer KD, Kirk J, Rodriguez GC,
   Piedmonte M, O'Malley DM, de la Hoya M, Caldes T, Aittomäki K, Nevanlinna H, Collée JM,
   Rookus MA, Oosterwijk JC, Breast Cancer Family Registry, Tihomirova L, Tung N, Hamann
   U, Isaccs C, Tischkowitz M, Imyanitov EN, Caligo MA, Campbell I, Hogervorst FBL,
   HEBON, Olah E, Diez O, Blanco I, Brunet J, Lazaro C, Pujana MA, Jakubowska A, Gronwald
   J, Lubinski J, Sukiennicki G, Barkardottir RB, Plante M, Simard J, Soucy P, Montagna M,
   Tognazzo S, Teixeira MR, KConFab Investigators, Pankratz VS, Wang X, Lindor N, Szabo CI,
   Kauff N, Vijai J, Aghajanian CA, Pfeiler G, Berger A, Singer CF, Tea M-K, Phelan CM,
   Greene MH, Mai PL, Rennert G, Mulligan AM, Tchatchou S, Andrulis IL, Glendon G, Toland
   AE, Jensen UB, Kruse TA, Thomassen M, Bojesen A, Zidan J, Friedman E, Laitman Y, Soller
   M, Liljegren A, Arver B, Einbeigi Z, Stenmark-Askmalm M, Olopade OI, Nussbaum RL,
   Rebbeck TR, Nathanson KL, Domchek SM, Lu KH, Karlan BY, Walsh C, Lester J, Australian
   Cancer Study (Ovarian Cancer), Australian Ovarian Cancer Study Group, Hein A, Ekici AB,
   Beckmann MW, Fasching PA, Lambrechts D, Van Nieuwenhuysen E, Vergote I, Lambrechts S,
   Dicks E, Doherty JA, Wicklund KG, Rossing MA, Rudolph A, Chang-Claude J, Wang-Gohrke
   S, Eilber U, Moysich KB, Odunsi K, Sucheston L, Lele S, Wilkens LR, Goodman MT,
   Thompson PJ, Shvetsov YB, Runnebaum IB, Dürst M, Hillemanns P, Dörk T, Antonenkova N,
   Bogdanova N, Leminen A, Pelttari LM, Butzow R, Modugno F, Kelley JL, Edwards RP, Ness
   RB, du Bois A, Heitz F, Schwaab I, Harter P, Matsuo K, Hosono S, Orsulic S, Jensen A, Kruger
   Kjaer S, Hogdall E, Hasmad HN, Noor Azmi MA, Teo S-H, Woo Y-L, Fridley BL, Goode EL,
   Cunningham JM, Vierkant RA, Bruinsma F, Giles GG, Liang D, Hildebrandt MAT, Wu X,
   Levine DA, Bisogna M, Berchuck A, Iversen ES, Schildkraut JM, Concannon P, Weber RP,
   Cramer DW, Terry KL, Poole EM, Tworoger SS, Bandera EV, Orlow I, Olson SH, Krakstad C,
   Salvesen HB, Tangen IL, Bjorge L, van Altena AM, Aben KKH, Kiemeney LA, G. LFA,
   Kellar M, Brooks-Wilson A, Kelemen LE, Cook LS, Le ND, Cybulski C, Yang H, Lissowska J,
   Brinton LA, Wentzensen N, Hogdall C, Lundvall L, Nedergaard L, Baker H, Song H, Eccles D,
   McNeish I, Paul J, Carty K, Siddiqui N, Glasspool R, Whittemore AS, Rothstein JH, McGuire
   V, Sieh W, Ji B-T, Zheng W, Shu X-O, Gao Y-T, Rosen B, Risch HA, McLaughlin JR, Narod
   SA, Monteiro AN, Chen A, Lin H-Y, Permuth-Wey J, Sellers TA, Tsai Y-Y, Chen Z, Ziogas A,
   Anton-Culver H, Gentry-Maharaj A, Menon U, Harrington P, Lee AW, Wu AH, Pearce CL,
   Coetzee G, Pike MC, Dansonka-Mieszkowska A, Timorek A, Rzepecka IK, Kupryjanczyk J,
   Freedman M, Noushmehr H, Easton DF, Offit K, Couch FJ, Gayther S, Pharoah PDP, Antoniou
   AC, Chenevix-Trench G on behalf of the Consortium of Investigators of Modifiers of BRCA1
   and BRCA2. Identification of six new susceptibility loci for invasive epithelial ovarian cancer.
    Nat Genet 2015;47(2):164-71. PMCID: PMC Journal in Process.
Xie G, Lu L, Qiu Y, Ni Q, Zhang W, Gao Y-T, Risch HA, Yu H, Jia W. Plasma metabolite
   markers for the detection of pancreatic cancer. J Proteome Res. 2015;14(2):1195-202.
   PMCID: PMC4324440.
Segev Y, Zhang S, Akbari MR, Sun P, Sellers TA, McLaughlin J, Risch HA, Rosen B, Shaw P,
   Schildkraut J, Narod SA, Pal T. Survival in women with ovarian cancer with and without
   microsatellite instability. Eur J Gynaecol Oncol 2015;36(6):681-4. *Not a result of NIH


                                                                                      App000057
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 60 of 633 PageID 786


   funding.
Lu L, Katsaros D, Risch E, Deng Q, Biglia N, Picardo E, Mitidieri M, Risch HA, Yu H.
   Associations of LIN-28B/let-7a/IGF-II axis haplotypes with disease survival in epithelial
   ovarian cancer. Am J Clin Exp Obstet Gynecol 2015;2(3)102-15. *Not a result of NIH
   funding.
Chornokur G, Lin H-Y, Tyrer JP, Jim HSL, Lawrenson K, Amankwah EK, Qu X, Denis J, Tsai Y-
   Y, Chen Z, Chen AY, Permuth-Wey J, Aben K, Anton-Culver H, Antonenkova N, Australian
   Cancer Study, Australian Ovarian Cancer Study, Bruinsma F, Baker H, Bandera E, Bean Y,
   Beckmann M, Bisogna M, Bjorge L, Bogdanova N, Brinton L, Brooks-Wilson A, Bunker C,
   Butzow R, Campbell I, Carty K, Chang-Claude J, Concannon P, Cook LS, Cramer DW,
   Cunnigham JM, Cybulski C, Dansonka-Mieszkowska A, du Bois A, Despierre E, Dicks E,
   Doherty JA, Dork T, Durst M, Easton D, Eccles D, Edwards RP, Ekici AB, Fasching PA,
   Fridley BL, Gao Y-T, Gentry-Maharaj A, Giles GG, Glasspool R, Goodman MT, Gronwald J,
   Harrington P, Harter P, Hein A, Heitz F, Hildebrandt MAT, Hillemanns P, Hogdall C, Hogdall
   E, Hosono S, Jakubowska A, Jensen A, Ji B-T, Karlan BY, Kelemen LE, Kellar M, Kiemeney
   L, Krakstad C, Kruger Kjaer S, Kupryjanczyk J, Lambrechts D, Lambrechts S, Le ND, Lee A,
   Lele S, Leminen A, Lester J, Levine DA, Liang D, Lim BK, Lissowska J, Lu K, Lubinski J,
   Lundvall L, Massuger LFAG, Matsuo K, Milne RL, McGuire V, McLaughlin JR, McNeish I,
   Menon U, Modugno F, Moysich KB, Nedergaard L, Ness RB, Nevanlinna H, Nickels S,
   Odunsi K, Olson SH, Orlow I, Orsulic S, Palmieri-Weber R, Paul J, Pearce CL, Pejovic T,
   Pelttari LM, Pike MC, Poole EM, Risch HA, Rosen B, Rossing MA, Rothstein JH, Rudolph
   A, Runnebaum I, Rzepecka I, Salvensen HB, Schernhammer E, Schwaab I, Shu X-O,
   Shvetsov YB, Siddiqui N, Sieh W, Song H, Southey MC, Sucheston L, Teo S-H, Terry KL,
   Thompson PJ, Thorbjornsen I, Timorek A, Tworoger SS, van Altena AM, Vierkant RA,
   Vergote I, Walsh C, Wang-Gohrke S, Webb P, Wentzensen N, Whittemore AS, Wicklund KG,
   Wilkens LR, Wu AH, Wu X, Wu Y-L, Yang H, Zheng W, Ziogas A, Zulkifli F, Berchuck A,
   Chenevix-Trench G, Iversen E, Schildkraut JM, Ramus SJ, Goode EL, Monteiro ANA,
   Gayther SA, Narod SA, Sellers TA, Pharoah PDP, Phelan CM. Common genetic variation in
   cellular transport genes and epithelial ovarian cancer (EOC) risk.            PLoS One
   2015;10(6):e0128106. PMCID: PMC4474865.
Zhao J, Wang J, Du J, Xu H, Zhang W, Ni Q-X, Yu H, Risch HA, Gao Y-T, Gao Y. Urinary
   prostaglandin E2 metabolite and pancreatic cancer risk: case-control study in urban Shanghai.
   PLoS One 2015;10(2):e0118004. PMCID: PMC4332509.
Arem H, Yu K, Xiong X, Moy K, Freedman ND, Mayne ST, Albanes D, Amundadottir LT, Arslan
   AA, Austin M, Bamlet WR, Beane-Freeman L, Bracci P, Canzian F, Chanock SJ, Cotterchio
   M, Duell EJ, Gallinger S, Giles GG, Goggins M, Goodman PJ, Hartge P, Hassan M, Helzlsouer
   K, Henderson B, Holly EA, Hoover R, Jacobs EJ, Kamineni A, Klein A, Klein E, Kolonel LN,
   Li D, Malats N, Männistö S, McCullough ML, Olson SH, Orlow I, Peters U, Petersen GM,
   Porta M, Severi G, Shu X-O, Van Den Eeden S, Visvanathan K, White E, Yu H, Zeleniuch-
   Jacquotte A, Zheng W, Tobias GS, Maeder D, Brotzman M, Risch H, Sampson JN,
   Stolzenberg-Solomon RZ. Vitamin D metabolic pathway genes and pancreatic cancer risk.
   PLoS One 2015;10(3):e0117574. PMCID: PMC4370655.
Buas MF, Onstad L, Levine DM, Risch HA, Chow W-H, Liu G, Fitzgerald RC, Bernstein L, Ye
   W, Bird NC, Romero Y, Casson AG, Corley DA, Shaheen NJ, Wu AH, Gammon MD, Reid BJ,
   Hardie LJ, Peters U, Whiteman DC, Vaughan TL. MiRNA-related SNPs and risk of
   esophageal adenocarcinoma and Barrett’s Esophagus: Post genome-wide association analysis in


                                                                                    App000058
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 61 of 633 PageID 787


   the BEACON consortium. PLoS One 2015;10(6):e0128617. PMCID: PMC4454432.
Shen Y, Katsaros D, Loo L, Hernandez BY, Chong C, Canuto EM, Biglia N, Lu L, Risch H, Chu
   W-M, Yu H. Prognostic and predictive values of long non-coding RNA LINC00472 in breast
   cancer. Oncotarget 2015;6(11):8579-92. *Not a result of NIH funding.
Sampson J, Wheeler WA, Yeager M, Panagiotou O, Wang Z, Berndt SI, Lan Q, Abnet CC,
   Amundadottir LT, Figueroa JD, Landi MT, Mirabello L, Savage SA, Taylor PR, De Vivo I,
   McGlynn KA, Purdue MP, Rajaraman P, Adami H-O, Ahlbom A, Albanes D, Amary MF, An
   S-J, Andersson U, Andriole G Jr, Andrulis IL, Angelucci E, Ansell SM, Arici C, Armstrong
   BK, Arslan AA, Austin MA, Baris D, Barkauskas DA, Bassig BA, Becker N, Benavente Y,
   Benhamou S, Berg C, Van Den Berg D, Bertrand KA, Birmann BM, Black A, Boeing H,
   Boffetta P, Boutron-Ruault M-C, Bracci PM, Brinton L, Brooks-Wilson AR, Bueno-de-
   Mesquita HB, Burdett L, Buring J, Cai Q, Cancel-Tassin G, Canzian F, Carrato A, Carreon T,
   Carta A, Chan JKC, Chang ET, Chang G-C, Chang I-S, Chang J, Chang-Claude J, Chen C-J,
   Chen C-Y, Chen C, Chen C-H, Chen C, Chen H, Chen K, Chen K-Y, Chen K-C, Chen Y, Chen
   Y-H, Chen Y-S, Chen Y-M, Chien L-H, Chirlaque M-D, Choi JE, Choi YY, Chow W-H,
   Chung CC, Clavel J, Clavel-Chapelon F, Cocco P, Colt JS, Comperat E, Conde L, Connors JM,
   Conti D, Cortessis VK, Cotterchio M, Cozen W, Crouch S, Crous-Bou M, Cussenot O, Davis
   FG, Dawsey SM, Ding T, Diver WR, Dorronsoro M, Dossus L, Duell EJ, Ennas MG, Erickson
   RL, Feychting M, Flanagan AM, Foretova L, Fraumeni JF Jr, Freedman ND, Freeman LEB,
   Fuchs C, Gago-Dominguez M, Gallinger S, Gao Y-T, Gapstur SM, Garcia-Closas M, García-
   Closas R, Gascoyne RD, Gastier-Foster J, Gaudet MM, Gaziano JM, Giffen C, Giles GG,
   Giovannucci E, Glimelius B, Goggins M, Gokgoz N, Goldstein AM, Gorlick R, Gross M,
   Grubb R III, Gu J, Guan P, Gunter M, Guo H, Habermann TM, Haiman CA, Halai D, Hallmans
   G, Hassan M, Hattinger C, He Q, He X, Helzlsouer K, Henderson B, Henriksson R, Hjalgrim
   H, Hoffman-Bolton J, Hohensee C, Holford TR, Holly EA, Hong Y-C, Hoover RN, Horn-Ross
   PL, Hosain GM, Hosgood HD III, Hsiao C-F, Hu N, Hu W, Hu Z, Huang M-S, Huerta J-M,
   Hung J-Y, Hutchinson A, Inskip PD, Jackson RD, Jacobs EJ, Jenab M, Jeon H-S, Ji B-T, Jin G,
   Jin L, Johansen C, Johnson A, Jung YJ, Kaaks R, Kamineni A, Kane E, Kang CH, Karagas
   MR, Kelly RS, Khaw K-T, Kim C, Kim HN, Kim JH, Kim JS, Kim YH, Kim YT, Kim Y-C,
   Kitahara CM, Klein AP, Klein RJ, Kogevinas M, Kohno T, Kolonel LN, Kooperberg C,
   Kricker A, Krogh V, Kunitoh H, Kurtz RC, Kweon S-S, LaCroix A, Lawrence C, Lecanda F,
   Lee VHF, Li D, Li H, Li J, Li Y-J, Li Y, Liao LM, Liebow M, Lightfoot T, Lim W-Y, Lin C-C,
   Lin D, Lindstrom S, Linet MS, Link BK, Liu C, Liu J, Liu L, Ljungberg B, Lloreta J, Lollo SD,
   Lu D, Lund E, Malats N, Mannisto S, Le Marchand L, Marina N, Masala G, Mastrangelo G,
   Matsuo K, Maynadie M, McKay J, McKean-Cowdin R, Melbye M, Melin BS, Michaud DS,
   Mitsudomi T, Monnereau A, Montalvan R, Moore LE, Mortensen LM, Nieters A, North KE,
   Novak AJ, Oberg AL, Offit K, Oh I-J, Olson SH, Palli D, Pao W, Park IK, Park JY, Park KH,
   Patel AV, Patiño-Garcia A, Pavanello S, Peeters PHM, Perng R-P, Peters U, Petersen GM,
   Picci P, Pike MC, Porru S, Prescott J, Prokunina-Olsson L, Qian B, Qiao Y-L, Rais M, Riboli
   E, Riby J, Risch HA, Rizzato C, Rodabough R, Roman E, De Roos AJ, Roupret M, Ruder AM,
   De Sanjose S, Scelo G, Schned A, Schumacher F, Schwartz K, Schwenn M, Seow A, Serra C,
   Serra M, Sesso HD, Setiawan VW, Severi G, Severson RK, Shanafelt TD, Shen H, Shen W,
   Shin M-H, Shiraishi K, Shu X-O, Siddiq A, Sierrasesúmaga L, Sihoe ADL, Skibola CF, Smith
   A, Smith MT, Southey MC, Spinelli JJ, Staines A, Stampfer M, Stern MC, Stevens VL,
   Stolzenberg-Solomon RS, Su J, Su W-C, Sund M, Sung JS, Sung SW, Tan W, Tang W, Tardón
   A, Thomas D, Thompson CA, Thun MJ, Tinker LF, Tirabosco R, Tjønneland A, Travis RC,
   Trichopoulos D, Tsai F-Y, Tsai Y-H, Tucker M, Turner J, Vajdic CM, Vermeulen RCH,


                                                                                    App000059
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 62 of 633 PageID 788


       Villano DJ, Vineis P, Virtamo J, Visvanathan K, Wactawski-Wende J, Wang C, Wang C-L,
       Wang J-C, Wang J, Wei F, Weiderpass E, Weiner GJ, Weinstein S, Wentzensen N, White E,
       Witzig TE, Wolpin BM, Wong MP, Wu C, Wu G, Wu J, Wu T, Wu W, Wu X, Wu Y-L,
       Wunder J, Xiang Y-B, Xu J, Xu P, Yang P-C, Yang T-Y, Ye Y, Yin Z, Yokota J, Yoon H-I, Yu
       C-J, Yu H, Yu K, Yuan J-M, Zelenetz A, Zeleniuch-Jacquotte A, Zhang X-C, Zhang Y, Zhao
       X, Zhao Z, Zheng H, Zheng T, Zheng W, Zhou B, Zhu M, Zucca M, Boca SM, Cerhan JR,
       Ferri GM, Hartge P, Hsiung CA, Magnani C, Miligi L, Morton LM, Smedby KE, Teras LR,
       Vijai J, Wang SS, Brennan P, Caporaso NE, Hunter DJ, Kraft P, Rothman N, Silverman DT,
       Slager SL, Chanock SJ, Chatterjee N. Analysis of heritability and shared heritability based on
       genome-wide association studies for thirteen cancer types.             J Natl Cancer Inst
       2015;107(12):djv279. PMCID: PMC Journal in Process.
   Palles C, Chegwidden L, Li X, Findlay JM, Farnham G, Giner FC, Peppelenbosch MP, Kovac M,
       Adams CL, Prenen H, Briggs S, Harrison R, Sanders S, MacDonald D, Haigh C, Tucker A,
       Love S, Nanji M, deCaestecker J, Ferry D, Rathbone B, Hapeshi J, Barr H, Zietek B, Maroo N,
       Gay L, Underwood T, Boulter L, McMurtry H, Monk D, Patel P, Ragunath K, Al Dulaimi D,
       Murray I, Koss K, Veitch A, Trudgill N, Nwokolo C, Rembacken B, Atherfold P, Green E, Ang
       Y, Kuipers EJ, Chow W, Paterson S, Kadri S, Beales I, Grimley C, Mullins P, Beckett C,
       Farrant M, Dixon A, Kelly S, Johnson M, Wajed S, Dhar A, Sawyer E, Roylance R, Onstad L,
       Gammon MD, Corley DA, Shaheen NJ, Bird NC, Hardie LJ, Reid BJ, Ye W, Liu G, Romero Y,
       Bernstein L, Wu AH, Casson AG, Fitzgerald R, Whiteman DC, Risch HA, Levine DM,
       Vaughan TL, Verhaar AP, van den Brande J, Toxopeus EL, Spaander MC, Wijnhoven BPL,
       van der Laan LJ, Krishnadath K, Wijmenga C, Trynka G, McManus R, Reynolds JV,
       O’Sullivan J, MacMathuna P, McGarrigle SA, Kelleher D, Vermeire S, Cleynen I, Bisschops R,
       Tomlinson I, Jankowski J. Polymorphisms near TBX5 and GDF7 are associated with increased
       risk for Barrett’s Esophagus. Gastroenterology 2015;148(2):367-78. PMCID: PMC4315134.
2014
   Lu Y, Ek WE, Whiteman D, Vaughan TL, Spurdle AB, Easton DF, Pharoah PD, Thompson DJ,
       Dunning AM, Hayward NK, Chenevix-Trench G, Q-MEGA and AMFS Investigators, ANECS-
       SEARCH, UKOPS-SEARCH, BEACON Consortium, Macgregor S. Most common ‘sporadic’
       cancers have a significant germline genetic component. Hum Molec Genet 2014;23(22):6112-
       8. PMCID: PMC4271103.
   Thrift AP, Risch HA, Onstad L, Shaheen NJ, Casson AG, Bernstein L, Corley DA, Levine DM,
      Chow W-H, Reid BJ, Romero Y, Hardie LJ, Liu G, Wu AH, Bird NC, Gammon MD, Ye W,
      Whiteman DC, Vaughan TL. Risk of esophageal adenocarcinoma decreases with height, based
      on consortium analysis and confirmed by Mendelian randomization. Clin Gastroenterol
      Hepatol 2014;12(10):1667-76. PMCID: PMC4130803.
   Neale RE, Clark P, Fawcett J, Fritschi L, Nagler BN, Risch H, Walters RJ, Crawford WJ, Webb
      PM, Whiteman DC, Buchanan DD. Association between hypermethylation of DNA repetitive
      elements in white blood cell DNA and pancreatic cancer. Cancer Epidemiol 2014;38(5):576-
      82. *Not a result of NIH funding.
   Segev Y, Pal T, Rosen B, McLaughlin JR, Sellers TA, Risch HA, Zhang S, Sun P, Narod SA,
      Schildkraut J. Risk factors for ovarian cancers with and without microsatellite instability. Int J
      Gynecol Cancer 2014;24(4):664-9. PMCID: PMC Journal in Process.
   Wolpin BM, Rizzato C, Kraft P, Kooperberg C, Petersen GM, Wang Z, Arslan AA, Beane-
      Freeman L, Bracci PM, Buring J, Canzian F, Duell EJ, Gallinger S, Giles GG, Goodman GE,
      Goodman PJ, Jacobs EJ, Kamineni A, Klein AP, Kolonel LN, Kulke MH, Li D, Malats N,


                                                                                           App000060
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 63 of 633 PageID 789


   Olson SH, Risch HA, Sesso HD, Visvanathan K, White E, Zheng W, Abnet CC, Albanes D,
   Andriotti G, Austin MA, Barfield R, Basso D, Berndt SI, Boutron-Ruault M-C, Brotzman M,
   Büchler MW, Bueno-de-Mesquita HB, Bugert P, Burdette L, Campa D, Caporaso NE, Capurso
   G, Chung C, Cotterchio M, Costello E, Elena J, Funel N, Gaziano JM, Giese N, Giovannucci
   EL, Goggins M, Gorman MJ, Gross M, Haiman CA, Hassan M, Helzlsouer K, Henderson BE,
   Holly EA, Hu N, Hunter DJ, Innocenti F, Jenab M, Kaaks R, Key TJ, Khaw K-T, Klein EA,
   Kogevinas M, Kupcinskas J, Kurtz RC, LaCroix A, Landi MT, Landi S, Le Marchand L,
   Mambrini A, Mannisto S, Milne RL, Nakamura Y, Oberg AL, Owzar K, Panico S, Patel AV,
   Peeters PHM, Peters U, Piepoli A, Porta M, Real FX, Riboli E, Rothman N, Scarpa A, Shu X-
   O, Silverman DT, Soucek P, Sund M, Talar-Wojnarowska R, Taylor PR, Theodoropoulos GE,
   Thornquist M, Tjønneland A, Tobias GS, Trichopoulos D, Vodicka P, Wactawski-Wende J,
   Wentzensen N, Wu C, Yu H, Yu K, Zeleniuch-Jacquotte A, Hoover R, Hartge P, Fuchs C,
   Chanock S, Stolzenberg-Solomon RS, Amundadottir L. Genome-wide association study
   identifies multiple susceptibility loci for pancreatic cancer. Nat Genet 2014;46(9):994-1000.
   PMCID: PMC4191666.
Finch A, Bacopoulos S, Rosen B, Fan I, Bradley L, Risch H, McLaughlin JR, Lerner-Ellis J, Narod
    SA. Preventing ovarian cancer through genetic testing: a population-based study. Clin Genet
    2014;86(5):496-9. *NIH funding pre-dates mandate.
Kelemen LE, Terry KL, Goodman MT, Webb PM, Bandera EV, McGuire V, Rossing MA, Wang
    Q, Dicks E, Tyrer JP, Song H, Kupryjanczyk J, Dansonka-Mieszkowska A, Plisiecka-Halasa J,
    Timorek A, Menon U, Gentry-Maharaj A, Gayther SA, Ramus SJ, Narod SA, Risch HA,
    McLaughlin JR, Siddiqui N, Glasspool R, Paul J, Carty K, Gronwald J, LubiÑski J, Jakubowska
    A, Cybulski C, Kiemeney LA, Massuger LFAG, van Altena AM, Aben KKH, Olson SH, Orlow
    I, Cramer DW, Levine DA, Bisogna M, Giles GG, Southey MC, Bruinsma F, Krüger Kjær S,
    Høgdall E, Jensen A, Høgdall CK, Lundvall L, Engelholm S-A, Heitz F, du Bois A, Harter P,
    Schwaab I, Butzow R, Nevanlinna H, Pelttari LM, Leminen A, Thompson PJ, Lurie G, Wilkens
    LR, Lambrechts D, Van Nieuwenhuysen E, Lambrechts S, Vergote I, Beesley J, AOCS Study
    Group/ACS Investigators, Fasching PA, Beckmann MW, Hein A, Ekici AB, Doherty JA, Wu
    AH, Pearce CL, Pike MC, Stram D, Chang-Claude J, Rudolph A, Dörk T, Dürst M, Hillemanns
    P, Runnebaum IB, Bogdanova N, Antonenkova N, Odunsi K, Edwards RP, Modugno F, Ness
    RB, Karlan BY, Walsh C, Lester J, Orsulic S, Fridley BL, Vierkant RA, Cunningham JM, Wu
    X, Lu K, Liang D, Hildebrandt MAT, Weber RP, Iversen ES, Tworoger SS, Poole EM,
    Salvesen HB, Krakstad C, Bjorge L, Tangen IL, Pejovic T, Bean Y, Kellar M, Wentzensen N,
    Brinton LA, Lissowska J, Garcia-Closas M, Campbell IG, Eccles D, Whittemore AS, Sieh W,
    Rothstein JH, Anton-Culver H, Ziogas A, Phelan CM, Moysich KB, Goode EL, Schildkraut
    JM, Berchuck A, Pharoah PDP, Sellers TA, Brooks-Wilson A, Cook LS, Le ND, on behalf of
    the Ovarian Cancer Association Consortium. Consortium analysis of gene and gene-folate
    interactions in purine and pyrimidine metabolism pathways with ovarian carcinoma risk. Mol
    Nutr Food Res 2014;58(10):2023-5. PMCID: PMC4197821.
Setiawan VW, Schumacher F, Prescott J, Haessler J, Malinowski J, Wentzensen N, Yang H,
    Chanock S, Brinton L, Hartge P, Lissowska J, Park SL, Cheng I, Bush WS, Crawford DC,
    Ursin G, Horn-Ross P, Bernstein L, Lu L, Risch H, Yu H, Sakoda LC, Doherty J, Chen C,
    Jackson R, Yasmeen S, Cote M, Kocarnik JM, Peters U, Kraft P, De Vivo I, Haiman CA,
    Kooperberg C, Le Marchand L. Cross-cancer pleiotropic analysis of endometrial cancer:
    PAGE and E2C2 Consortia. Carcinogenesis 2014;35(9):2068-73. PMCID:4146418.
Lawrenson K, Iversen ES, Tyrer J, Weber RP, Concannon P, Hazelett DJ, Li Q, Marks JR,
    Berchuck A, Lee JM, Aben KKH, Anton-Culver H, Antonenkova N, Australian Cancer Study

                                                                                   App000061
Case 4:21-cv-01058-P Document 27 Filed 12/07/21          Page 64 of 633 PageID 790


  (Ovarian Cancer), Australian Ovarian Cancer Study Group, Bandera EV, Bean Y, Beckmann
  MW, Bisogna M, Bjorge L, Bogdanova N, Brinton LA, Brooks-Wilson A, Bruinsma F, Butzow
  R, Campbell IG, Carty K, Chang-Claude J, Chenevix-Trench G, Chen YA, Chen Z, Cook LS,
  Cramer DW, Cunningham JM, Cybulski C, Plisiecka-Halasa J, Dennis J, Dicks E, Doherty JA,
  Dörk T, du Bois A, Eccles D, Easton DT, Edwards RP, Eilber U, Ekici AB, Fasching PA,
  Fridley BL, Gao Y-T, Gentry-Maharaj A, Giles GG, Glasspool R, Goode EL, Goodman MT,
  Grownwald J, Harter P, Hasmad HN, Hein A, Heitz F, Hildebrandt MAT, Hillemanns P,
  Hogdall E, Hogdall C, Hosono S, Jakubowska A, Paul J, Jensen A, Karlan BY, Kruger Kjaer S,
  Kelemen LE, Kellar M, Kelley JL, Kiemeney LA, Krakstad C, Lambrechts D, Lambrechts S,
  Le ND, Lee AW, Cannioto R, Leminen A, Lester J, Levine DA, Liang D, Lissowska J, Lu K,
  Lubinski J, Lundvall L, Massuger LFAG, Matsuo K, McGuire V, McLaughlin JR, Nevanlinna
  H, McNeish I, Menon U, Modugno F, Moysich KB, Narod SA, Nedergaard L, Ness RB, Noor
  Azmi MA, Odunsi K, Olson SH, Orlow I, Orsulic S, Pearce CL, Pejovic T, Pelttari LM,
  Permuth-Wey J, Phelan CM, Pike MC, Poole EM, Ramus SJ, Risch HA, Rosen B, Rossing
  MA, Rothstein JH, Rudolph A, Runnebaum IB, Rzepecka IK, Salvesen HB, Budzilowska A,
  Sellers TA, Shu X-O, Shvetsov YB, Siddiqui N, Sieh W, Song H, Southey MC, Sucheston L,
  Tangen IL, Teo S-H, Terry KL, Thompson PJ, Timorek A, Tworoger SS, Van Nieuwenhuysen
  E, Vergote I, Vierkant RA, Wang-Gohrke S, Walsh C, Wentzensen N, Whittemore AS,
  Wicklund KG, Wilkens LR, Woo Y-L, Wu X, Wu AH, Yang H, Zheng W, Ziogas A, Coetzee
  GA, Freedman ML, Monteiro ANA, Moes-Sosnowska J, Kupryjanczyk J, Pharoah PDP,
  Gayther SA, Schildkraut JM. Common variants at the CHEK2 gene locus and risk of epithelial
  ovarian cancer. Carcinogenesis 2015;36(11):1341-53. PMCID: PMC Journal in Process.
Wang Z, Zhu B, Zhang M, Parikh H, Jia J, Chung CC, Sampson JN, Hoskins JW, Hutchinson A,
  Burdette L, Ibrahim A, Hautman C, Raj PS, Abnet CC, Adjei AA, Ahlbom A, Albanes D, Allen
  NE, Ambrosone CB, Aldrich M, Amiano P, Amos C, Andersson U, Andriole G Jr, Andrulis IL,
  Arici C, Arslan AA, Austin MA, Baris D, Barkauskas DA, Bassig BA, Beane Freeman LE,
  Berg CD, Berndt SI, Bertazzi PA, Biritwum RB, Black A, Blot W, Boeing H, Boffetta P,
  Bolton K, Boutron-Ruault M-C, Bracci PM, Brennan P, Brinton LA, Brotzman M, Bueno-de-
  Mesquita HB, Buring JE, Butler MA, Cai Q, Cancel-Tassin G, Canzian F, Cao G, Caporaso
  NE, Carrato A, Carreon T, Carta A, Chang G-C, Chang I-S, Chang-Claude J, Che X, Chen C-J,
  Chen C-Y, Chen C-H, Chen C, Chen K-Y, Chen Y-M, Chokkalingam AP, Chu LW, Clavel-
  Chapelon F, Colditz GA, Colt JS, Conti D, Cook MB, Cortessis VK, Crawford ED, Cussenot O,
  Davis FG, De Vivo I, Deng X, Ding T, Dinney CP, Di Stefano AL, Diver WR, Duell EJ, Elena
  JW, Fan J-H, Feigelson HS, Feychting M, Figueroa JD, Flanagan AM, Fraumeni JF Jr,
  Freedman ND, Fridley BL, Fuchs CS, Gago-Dominguez M, Gallinger S, Gao Y-T, Gapstur
  SM, Garcia-Closas M, Garcia-Closas R, Gastier-Foster JM, Gaziano JM, Gerhard DS, Giffen
  CA, Giles GG, Gillanders EM, Giovannucci EL, Goggins M, Gokgoz N, Goldstein AM,
  Gonzalez C, Gorlick R, Greene MH, Gross M, Grossman HB, Grubb R III, Gu J, Guan P,
  Haiman CA, Hallmans G, Hankinson SE, Harris CC, Hartge P, Hattinger C, Hayes RB, He Q,
  Helman L, Henderson BE, Henriksson R, Hoffman-Bolton J, Hohensee C, Holly EA, Hong Y-
  C, Hoover RN, Hosgood HD III, Hsiao C-F, Hsing AW, Hsiung CA, Hu N, Hu W, Hu Z,
  Huang M-S, Hunter DJ, Inskip PD, Ito H, Jacobs EJ, Jacobs KB, Jenab M, Ji B-T, Johansen C,
  Johansson M, Johnson A, Kaaks R, Kamat AM, Kamineni A, Karagas M, Khanna C, Khaw K-
  T, Kim C, Kim I-S, Kim YH, Kim Y-C, Kim YT, Kang CH, Jung YJ, Kitahara CM, Klein AP,
  Klein R, Kogevinas M, Koh W-P, Kohno T, Kolonel LN, Kooperberg C, Kratz CP, Krogh V,
  Kunitoh H, Kurtz RC, Kurucu N, Lan Q, Lathrop M, Lau CC, Lecanda F, Lee K-M, Lee MP,
  Le Marchand L, Lerner SP, Li D, Liao LM, Lim W-Y, Lin D, Lin J, Lindstrom S, Linet MS,


                                                                                App000062
Case 4:21-cv-01058-P Document 27 Filed 12/07/21           Page 65 of 633 PageID 791


   Lissowska J, Liu J, Ljungberg B, Lloreta J, Lu D, Ma J, Malats N, Mannisto S, Marina N,
   Mastrangelo G, Matsuo K, McGlynn KA, McKean-Cowdin R, McNeill LH, McWilliams RR,
   Melin BS, Meltzer PS, Mensah JE, Miao X, Michaud DS, Mondul AM, Moore LE, Muir K,
   Niwa S, Olson SH, Orr N, Panico S, Park JY, Patel AV, Patino-Garcia A, Pavanello S, Peeters
   PHM, Peplonska B, Peters U, Petersen GM, Picci P, Pike MC, Porru S, Prescott J, Pu X, Purdue
   MP, Qiao Y-L, Rajaraman P, Riboli E, Risch HA, Rodabough RJ, Rothman N, Ruder AM, Ryu
   J-S, Sanson M, Schned A, Schumacher FR, Schwartz AG, Schwartz KL, Schwenn M, Scotlandi
   K, Seow A, Serra C, Serra M, Sesso HD, Severi G, Shen H, Shen M, Shete S, Shiraishi K, Shu
   X-O, Siddiq A, Sierrasesumaga L, Sierri S, Sihoe ADL, Silverman DT, Simon M, Southey MC,
   Spector L, Spitz M, Stampfer M, Stattin P, Stern MC, Stevens VL, Stolzenberg-Solomon RZ,
   Stram DO, Strom SS, Su W-C, Sund M, Sung SW, Swerdlow A, Tan W, Tanaka H, Tang W,
   Tang Z-Z, Tardon A, Tay E, Taylor PR, Tettey Y, Thomas DM, Tirabosco R, Tjonneland A,
   Tobias GS, Toro JR, Travis RC, Trichopoulos D, Troisi R, Truelove A, Tsai Y-H, Tucker MA,
   Tumino R, Van Den Berg D, Van Den Eeden SK, Vermeulen R, Vineis P, Visvanathan K,
   Vogel U, Wang C, Wang C, Wang J, Wang SS, Weiderpass E, Weinstein SJ, Wentzensen N,
   Wheeler W, White E, Wiencke JK, Wolk A, Wolpin BM, Wong MP, Wrensch M, Wu C, Wu T,
   Wu X, Wu Y-L, Wunder JS, Xiang Y-B, Xu J, Yang HP, Yang P-C, Yatabe Y, Ye Y, Yeboah
   ED, Yin Z, Ying C, Yu C-J, Yu K, Yuan J-M, Zanetti KA, Zeleniuch-Jacquotte A, Zheng W,
   Zhou B, Mirabello L, Savage SA, Kraft P, Chanock SJ, Yeager M, Landi MT, Shi J, Chatterjee
   N, Amundadottir LT. Imputation and subset based association analysis across different cancer
   types identifies multiple independent risk loci in the TERT-CLPTM1L region on chromosome
   5p15.33. Hum Molec Genet 2014;23(24):6616-33. PMCID: PMC Journal in Process.
Cook MB, Corley DA, Murray LJ, Liao LM, Kamangar F, Ye W, Gammon MD, Risch HA,
   Casson AG, Freedman ND, Chow W-H, Wu AH, Bernstein L, Nyrén O, Pandeya N, Whiteman
   DC, Vaughan TL. Gastroesophageal reflux in relation to adenocarcinomas of the esophagus: A
   pooled analysis from the Barrett’s and Esophageal Adenocarcinoma Consortium (BEACON).
   PLoS One 2014;9(7):e103508. PMCID: PMC4116205.
Chen MM, Crous-Bou M, Setiawan VW, Prescott J, Olson SH, Wentzensen N, Black A, Brinton L,
   Chen C, Chen C, Cook LS, Doherty J, Friedenreich CM, Gaudet MM, Hankinson SE, Hartge P,
   Henderson BE, Horn-Ross PL, Hunter DJ, Le Marchand L, Liang X, Lissowska J, Lu L, Orlow
   I, Petruzella S, Pooler L, Rebbeck TR, Risch H, Sacerdote C, Schumacher F, Sheng X, Shu X-
   O, Weiss NS, Xia L, Van Den Berg D, Yang HP, Yu H, Chanock S, Haiman C, Kraft P, De
   Vivo I. Exome-wide association study of endometrial cancer in a multiethnic population.
   PLoS One 2014;9(5):e97045. PMCID: PMC4014590.
Tang H, Wei P, Duell EJ, Risch HA, Olson SH, Bueno-de-Mesquita HB, Gallinger S, Holly EA,
   Petersen G, Bracci PM, McWilliams RR, Jenab M, Riboli E, Tjønneland A, Boutron-Ruault
   MC, Kaaks R, Trichopoulos D, Panico S, Sund M, Peeters PHM, Khaw K-T, Amos CI, Li D.
   Axonal guidance signaling pathway interacting with smoking in modifying the risk of
   pancreatic cancer: A gene and pathway-based interaction analysis of GWAS data.
   Carcinogenesis 2014;35(5):1039-45. PMCID: PMC4004205.
Huang H, Ma X, Waagepetersen R, Holford T, Wang R, Risch H, Mueller L, Guan Y. A new
   estimation approach for combining epidemiological data from multiple sources. J Am Stat
   Assoc 2014;109(505):11-23. PMCID: PMC3964681.
Trabert B, Ness R, Lo-Ciganic W-H, Murphy M, Goode E, Poole E, Brinton L, Webb P, Nagle C,
   Jordan S, Risch H, Rossing MA, Doherty J, Goodman M, Lurie G, Krüger Kjær S, Høgdall E,
   Jensen A, Cramer D, Terry K, Vitonis A, Bandera E, Olson S, King M, Chandran U, Anton-


                                                                                   App000063
Case 4:21-cv-01058-P Document 27 Filed 12/07/21           Page 66 of 633 PageID 792


   Culver H, Ziogas A, Menon U, Gayther S, Ramus S, Gentry-Maharaj A, Wu A, Pearce C, Pike
   M, Berchuck A, Schildkraut J, Wentzensen N, on behalf of the Ovarian Cancer Association
   Consortium. Aspirin, non-aspirin nonsteroidal anti-inflammatory drug, and acetaminophen use
   and risk of invasive epithelial ovarian cancer: a pooled analysis in the Ovarian Cancer
   Association Consortium. J Natl Cancer Inst 2014;106(2):djt431. PMCID: PMC3898362.
Xu H-L, Cheng J-R, Zhang W, Wang J, Yu H, Ni Q-X, Risch HA, Gao Y-T. Re-evaluation of
   ABO gene polymorphisms detected in a genome-wide association study and risk of pancreatic
   ductal adenocarcinoma in a Chinese population. Chin J Cancer 2014;33(2):68-73. PMCID:
   PMC3884064.
Charbonneau B, Block MS, Bamlet WR, Vierkant RA, Kalli KR, Fogarty Z, Rider DN, Sellers TA,
   Tworoger SS, Poole E, Risch HA, Salvesen HB, Kiemeny LA, Baglietto L, Giles GG, Severi
   G, Trabert B, Wentzensen N, Chenevix-Trench G for AOCS/ACS group, Whittemore AS, Sieh
   W, Chang-Claude J, Bandera EV, Orlow I, Terry K, Goodman MT, Thompson PJ, Cook LS,
   Rossing M, Ness RB, Narod SA, Kupryjanczyk J, Lu K, Bützow R, Dork T, Pejovic T,
   Campbell I, Le ND, Bunker CH, Bogdanova N, Runnebaum IB, Eccles DM, Paul J, Wu AH,
   Gayther SA, Hogdall E, Heitz F, Kaye SB, Karlan BY, Anton-Culver H, Gronwald J, Hogdall
   CK, Lambrechts D, Fasching PA, Menon U, Schildkraut J, Pearce CL, Levine DA, Kruger Kjær
   S, Cramer D, Flanagan JM, Phelan CM, Brown R, Massuger LFAG, Song H, Doherty JA,
   Krakstad C, Liang D, Odunsi K, Berchuck A, Jensen A, LubiÑski J, Nevanlinna H, Bean YT,
   Lurie G, Ziogas A, Walsh C, Despierre E, Brinton L, Hein A, Rudolph A, Dansonka-
   Mieszkowska A, Olson SH, Harter P, Tyrer J, Vitonis AF, Brooks-Wilson A, Aben KK, Pike
   MC, Ramus SJ, Wik E, Cybulski C, Lin J, Sucheston L, Edwards R, McGuire V, Lester J, du
   Bois A, Lundvall L, Wang-Gohrke S, Szafron LM, Lambrechts S, Yang HP, Beckmann MW,
   Pelttari LM, van Altena AM, van den Berg D, Halle M, Gentry-Maharaj A, Schwaab I,
   Chandran U, Menkiszak J, Ekici AB, Wilkens LR, Leminen A, Modugno F, Friel G, Rothstein
   JH, Vergote I, Garcia-Closas M, Hildebrandt MAT, Sobiczewski P, Kelemen LE, Pharoah PDP,
   Moysich K, Knutson KL, Cunningham JM, Fridley BL, Goode EL. Risk of ovarian cancer and
   the NF-ʃB pathway: Genetic association with IL1A and TNFSF10. Cancer Res 2014;74(3):852-
   61. PMCID: PMC3946482.
Earp MA, Kelemen LE, Magliocco AM, Swenerton KD, Chenevix-Trench G, Australian Cancer
   Study, Australian Ovarian Cancer Study Group, Lu Y, Hein A, Ekici AB, Beckmann MW,
   Fasching PA, Lambrechts D, Despierre E, Vergote I, Lambrechts S, Doherty JA, Rossing MA,
   Chang-Claude J, Rudolph A, Friel G, Moysich KB, Odunsi K, Sucheston L, Lurie G, Goodman
   MT, Carney ME, Thompson PJ, Runnebaum I, Dürst M, Hillemanns P, Dörk T, Antonenkova
   N, Bogdanova N, Leminen A, Nevanlinna H, Pelttari LM, Butzow R, Bunker CH, Modugno F,
   Edwards RP, Ness RB, du Bois A, Heitz F, Schwaab I, Harter P, Karlan BY, Walsh C, Lester J,
   Jensen A, Kjær SK, Høgdall CK, Høgdall E, Lundvall L, Sellers TA, Fridley BL, Goode EL,
   Cunningham JM, Vierkant RA, Giles GG, Baglietto L, Severi G, Southey MC, Liang D, Wu X,
   Lu K, Hildebrandt MA, Levine DA, Bisogna M, Schildkraut JM, Iversen ES, Palmieri Weber
   R, Berchuck A, Cramer DW, Terry KL, Poole EM, Tworoger SS, Bandera EV, Chandran U,
   Orlow I, Olson SH, Wik E, Salvesen HB, Bjorge L, Halle MK, van Altena AM, Aben KK,
   Kiemeney LA, Massuger LFAG, Pejovic T, Bean YT, Cybulski C, Gronwald J, Lubinski J,
   Wentzensen N, Brinton LA, Lissowska J, Garcia-Closas M, Dicks E, Dennis J, Easton DF,
   Song H, Tyrer JP, Pharoah PDP, Eccles D, Campbell IG, Whittemore AS, McGuire V, Sieh W,
   Rothstein JH, Flanagan JM, Paul J, Brown R, Phelan CM, Risch HA, McLaughlin JR, Narod
   SA, Ziogas A, Anton-Culver H, Gentry-Maharaj A, Menon U, Gayther SA, Ramus SJ, Wu AH,
   Pearce CL, Pike MC, Dansonka-Mieszkowska A, Rzepecka IK, Szafron LM, Kupryjanczyk J,

                                                                                  App000064
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 67 of 633 PageID 793


   Cook LS, Le ND, Brooks-Wilson A, on behalf of the Ovarian Cancer Association Consortium.
   Genome-wide association study of subtype-specific epithelial ovarian cancer risk alleles using
   pooled DNA. Hum Genet 2014;133(5):481-97. PMCID: PMC4063682.
Tang H, Wei P, Duell EJ, Risch HA, Olson SH, Bueno-de-Mesquita HB, Gallinger S, Holly EA,
   Petersen GM, Bracci PM, McWilliams RR, Jenab M, Riboli E, Tjønneland A, Boutron-Ruault
   MC, Kaaks R, Trichopoulos D, Panico S, Sund M, Peeters PHM, Khaw K-T, Amos CI, Li D.
   Genes-environment interactions in obesity- and diabetes-associated pancreatic cancer: A
   GWAS data analysis. Cancer Epidemiol Biomarkers Prev 2014;23(1):98-106. PMCID:
   PMC3947145.
De Vivo I, Prescott J, Setiawan VW, Olson SH, Wentzensen N, Australian National Endometrial
   Cancer Study Group, Attia J, Black A, Brinton L, Chen C, Chen C, Cook LS, Crous-Bou M,
   Doherty J, Dunning AM, Easton DF, Friedenreich CM, Garcia-Closas M, Gaudet MM, Haiman
   C, Hankinson SE, Hartge P, Henderson BE, Holliday E, Horn-Ross PL, Hunter DJ, Le
   Marchand L, Liang X, Lissowska J, Long J, Lu L, Magliocco AM, McEvoy M, O'Mara TA,
   Orlow I, Painter JN, Pooler L, Rastogi R, Rebbeck TR, Risch H, Sacerdote C, Schumacher F,
   Scott RJ, Sheng X, Shu X-O, Spurdle AB, Thompson D, VanDen Berg D, Weiss NS, Xia L,
   Xiang Y-B, Yang HP, Yu H, Zheng W, Chanock S, Kraft P. Genome.wide association study of
   endometrial cancer in E2C2. Hum Genet 2014;133(2):211-24. PMCID: PMC3898362.
Buas MF, Levine DM, Makar KW, Utsugi H, Onstad L, Li X, Galipeau PC, Shaheen NJ, Hardie
   LJ, Romero Y, Bernstein L, Gammon MD, Casson AG, Bird NC, Risch HA, Ye W, Liu G,
   Corley DA, Blount PL, Fitzgerald RC, Whiteman DC, Wu AH, Reid BJ, Vaughan TL.
   Integrative post-genome-wide association analysis of CDKN2A and TP53 SNPs and risk of
   esophageal adenocarcinoma. Carcinogenesis 2014; 35(12):2740-7. PMCID: PMC Journal in
   Process.
Thrift AP, Shaheen NJ, Gammon MD, Bernstein L, Reid BJ, Onstad L, Risch HA, Liu G, Bird NC,
   Wu AH, Corley DA, Romero Y, Chanock S, Chow W-H, Casson AG, Levine DM, Zhang R, Ek
   WE, MacGregor S, Ye W, Hardie LJ, Vaughan TL, Whiteman DC. Obesity and risk of
   esophageal adenocarcinoma and Barrett’s Esophagus: a Mendelian randomization study. J Natl
   Cancer Institute 2014;106(11):dju252. doi: 10.1093/jnci/dju252. PMCID: PMC4200028.
Streicher SA, Yu H, Lu L, Kidd MS, Risch HA. Case-control study of aspirin use and risk of
    pancreatic cancer. Cancer Epidemiol Biomarkers Prev 2014;23(7):1254-63. PMCID:
    PMC4091763.
Risch HA, Lu L, Kidd MS, Wang J, Zhang W, Ni Q, Gao Y-T, Yu H. Helicobacter pylori
   seropositivities and risk of pancreatic carcinoma. Cancer Epidemiol Biomarkers Prev
   2014;23(1):172-8. PMCID: PMC3947155.
Schulte A, Pandeya N, Tran B, Fawcett J, Fritschi L, Risch HA, Webb PM, Whiteman DC, Neale
   RE, Queensland Pancreatic Cancer Study Group. Cigarette smoking and pancreatic cancer risk:
   more to the story than just pack-years. Eur J Cancer 2014;50(5):997-1003. . *Not a result of
   NIH funding.
Kotsopoulos J, Prescott J, De Vivo I, Fan I, McLaughlin J, Rosen B, Risch H, Sun P, Narod SA.
   Telomere length and mortality following a diagnosis of ovarian cancer. Cancer Epidemiol
   Biomarkers Prev 2014;23(11):2603-6. PMCID: PMC4221534.
Navarro Silvera SA, Mayne ST, Gammon MD, Vaughan TL, Chow W-H, Dubin JA, Dubrow R,
   Stanford JL, West AB, Rotterdam H, Blot WJ, Risch HA. Diet and lifestyle factors and risk of
   subtypes of esophageal and gastric cancer: classification tree analysis. Ann Epidemiol


                                                                                    App000065
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 68 of 633 PageID 794


       2014;24(1):50-7. PMCID: PMC4006990.
2013
   Pearce CL, Rossing MA, Lee AW, Ness R, Webb PM for Australian Cancer Study (Ovarian
      Cancer) and Australian Ovarian Cancer Study Group, Chenevix-Trench G, Jordan SM, Stram
      DA, Chang-Claude J, Hein R, Nickels S, Lurie G, Thompson PJ, Carney ME, Goodman MT,
      Moysich K, Hogdall E, Jensen A, Goode EL, Fridley BL, Cunningham JM, Vierkant RA,
      Weber RP, Ziogas A, Anton-Culver H, Gayther SA, Gentry-Maharaj A, Menon U, Ramus SJ,
      Brinton L, Wentzensen N, Lissowska J, Garcia-Closas M, Massuger LFAG, Kiemeney LALM,
      van Altena AM, Aben KKH, Berchuck A, Doherty JA, Iversen E, McGuire V, Moorman PG,
      Pharoah P, Pike MC, Risch H, Sieh W, Stram DO, Terry KL, Whittemore A, Wu AH,
      Schildkraut JM, Kjaer SK for the Ovarian Cancer Association Consortium. Combined and
      interactive effects of environmental and GWAS-identified risk factors in ovarian cancer.
      Cancer Epidemiol Biomarkers Prev 2013;22(5):880-90. PMCID: PMC3963289.
   Leenders M, Bhattacharjee S, Vineis P, Stevens V, Bueno-de-Mesquita HB, Shu XO,
      Amundadottir L, Gross M, Tobias GS, Wactawski-Wende J, Arslan AA, Duell EJ, Fuchs CS,
      Gallinger S, Hartge P, Hoover RN, Holly EA, Jacobs EJ, Klein AP, Kooperberg C, Lacroix A,
      Li D, Mandelson MT, Olson SH, Petersen G, Risch HA, Yu K, Wolpin BM, Zheng W, Agalliu
      I, Albanes D, Boutron-Ruault MC, Bracci PM, Buring JE, Canzian F, Chang K, Chanock SJ,
      Cotterchio M, Gaziano JM, Giovanucci EL, Goggins M, Hallmans G, Hankinson SE, Hoffman-
      Bolton JA, Hunter DJ, Hutchinson A, Jacobs KB, Jenab M, Khaw KT, Kraft P, Krogh V, Kurtz
      RC, McWilliams RR, Mendelsohn JB, Patel AV, Rabe KG, Riboli E, Tjønneland A,
      Trichopoulos D, Virtamo J, Visvanathan K, Elena JW, Yu H, Zeleniuch-Jacquotte A,
      Stolzenberg-Solomon RZ. Polymorphisms in genes related to one-carbon metabolism are not
      related to pancreatic cancer in PanScan and PanC4. Cancer Causes Control 2013;24(3):595-
      602. PMCID: PMC4127987.
   Ek WE, Levine DM, D'Amato M, Pedersen NL, Magnusson PKE, Bresso F, Onstad LE, Schmidt
      PT, Törnblom H, Nordenstedt H, Romero Y, Chow W-H, Murray LJ, Gammon MD, Liu G,
      Bernstein L, Casson AG, Risch HA, Shaheen NJ, Bird NC, Reid BJ, Corley DA, Hardie LJ, Ye
      W, Wu AH, Zucchelli M, Spector TD, Hysi P, Vaughan TL, Whiteman DC, MacGregor S.
      Germline genetic contributions to risk for esophageal adenocarcinoma, Barrett’s Esophagus and
      gastroesophageal reflux. J Natl Cancer Inst 2013;105(22):1711-8. PMCID: PMC3833931.
   Arem H, Reedy J, Sampson J, Jiao L, Hollenbeck AR, Risch H, Mayne ST, Stolzenberg-Solomon
      RZ. The Healthy Eating Index-2005 and risk of pancreatic cancer in the NIH-AARP Study. J
      Natl Cancer Inst 2013;105(17):1298-305. PMCID: PMC3760780.
   Arem H, Mayne ST, Sampson J, Risch H, Stolzenberg-Solomon RZ. Dietary fat intake and risk of
       pancreatic cancer in the Prostate, Lung, Colorectal and Ovarian Cancer Screening Trial. Ann
       Epidemiol 2013;23(9):571-5. PMCID: PMC3752990.
   Terry KL, Karageorgi S, Shvetsov YB, Merritt MA, Lurie G, Thompson PJ, Carney ME, Weber
       RP, Akushevich L, Lo-Ciganic W-H, Cushing-Haugen K, Sieh W, Moysich K, Doherty JA,
       Nagle CM, Australian Cancer Study (Ovarian Cancer), Australian Ovarian Cancer Study
       Group, Berchuck A, Pearce CL, Pike M, Ness RB, Webb PM, Rossing MA, Schildkraut J,
       Risch H, Goodman MT, The Ovarian Cancer Association Consortium. Genital powder use and
       risk of ovarian cancer: a pooled analysis of 8,525 cases and 9,859 controls. Cancer Prev Res
       2013;6(8):811-21. PMCID: PMC3766843.
   Setiawan VW, Yang HP, Pike MC, McCann S, Yu H, Xiang Y-B, Wolk A, Wentzensen N, Weiss
       N, Webb P, van den Brandt PA, van de Vijver K, Thompson PJ, Strom B, Spurdle AB, Soslow

                                                                                       App000066
Case 4:21-cv-01058-P Document 27 Filed 12/07/21          Page 69 of 633 PageID 795


   R, Shu X-O, Schairer C, Sacerdote C, Rohan T, Robien K, Risch HA, Ricceri F, Rebbeck T,
   Rastogi R, Prescott J, Polidoro S, Park Y, Olson SH, Moysich K, Miller AB, McCullough M,
   Matsuno R, Magliocco AM, Lurie G, Lu L, Lissowska J, Liang X, Lacey JV, Kolonel L,
   Henderson B, Hankinson S, Hakansson N, Goodman M, Gaudet MM, Garcia-Closas M,
   Friedenreich C, Freudenheim J, Doherty J, de Vivo I, Courneya KS, Cook L, Chen C, Cerhan
   JR, Cai H, Brinton L, Bernstein L, Anderson K, Anton-Culver H, Schouten L, Horn-Ross P.
   Type I and II endometrial cancers: have they different risk factors? J Clin Oncol
   2013;31(20):2607-18. PMCID: PMC3699726.
Olsen CM, Nagle CM, Whiteman DC, Ness R, Pearce CL, Pike MC, Rossing MA, Terry KL, Wu
   AH, Australian Cancer Study (Ovarian Cancer), Australian Ovarian Cancer Study Group, Risch
   HA, Yu H, Doherty JA, Chang-Claude J, Hein R, Nickels S, Wang-Gohrke S, Goodman MT,
   Carney ME, Matsuno RK, Lurie G, Moysich K, Kjaer SK, Jensen A, Hogdall E, Goode EL,
   Fridley BL, Vierkant RA, Larson MC, Schildkraut J, Hoyo C, Moorman P, Weber RP, Cramer
   DW, Vitonis AF, Bandera EV, Olson SH, Rodriguez-Rodriguez L, King M, Brinton LA, Yang
   H, Garcia-Closas M, Lissowska J, Anton-Culver H, Ziogas A, Gayther SA, Ramus SJ, Menon
   U, Gentry-Maharaj A, Webb PM, Ovarian Cancer Association Consortium. Obesity and risk of
   ovarian cancer subtypes: evidence from the Ovarian Cancer Association Consortium. Endocr
   Relat Cancer 2013;20(2);251-62. PMCID: PMC3857135.
Arem H, Bobe G, Sampson J, Subar AF, Park Y, Risch H, Hollenbeck A, Mayne ST,
   Stolzenberg-Solomon RZ. Flavonoid intake and risk of pancreatic cancer in the National
   Institutes of Health-AARP Diet and Health Study Cohort. Br J Cancer 2013;108(5):1168-72.
   PMCID: PMC3619057.
Faber MT, Kjær SK, Dehlendorff C, Chang-Claude J, Andersen KK, Høgdall E, Webb PM, Jordan
   SM, The Australian Cancer Study (Ovarian Cancer), Australian Ovarian Cancer Study Group,
   Rossing MA, Doherty JA, Goodman MT, Ness R, Goode EL, Schildkraut J, Cramer DW, Terry
   KL, Bandera EV, Olson SH, Kiemeney LA, Massuger L, Moysich K, Odunsi K, Song H,
   Pharaoh P, Whittemore A, McGuire V, Sieh W, Sutphen R, Narod SA, Menon U, Gayther SA,
   Ramus SJ, Gentry-Maharaj A, Pearce CL, Risch HA, Jensen A, Ovarian Cancer Association
   Consortium. Cigarette smoking and risk of ovarian cancer—a pooled analysis of 21 case-
   control studies. Cancer Causes Control 2013;24(5):989-1004. PMCID: PMC3818570.
Permuth-Wey J, Lawrenson K, Shen HC, Velkova A, Tyrer JP, Chen Z, Lin H-Y, Chen YA, Tsai
   Y-Y, Qu X, Ramus SJ, Karevan R, Lee J, Lee N, Larson MC, Aben KK, Anton-Culver H,
   Antonenkova N, Antoniou A, Armasu SM, Australian Cancer Study, Australian Ovarian
   Cancer Study, Bacot F, Baglietto L, Bandera EV, Barnholtz-Sloan J, Beckmann MW, Birrer
   MJ, Bloom G, Bogdanova N, Brinton LA, Brooks-Wilson A, Brown R, Butzow R, Cai Q,
   Campbell I, Chang-Claude J, Chanock S, Chenevix-Trench G, Cheng JQ, Cicek MS, Coetzee
   GA, Consortium of Investigators of Modifiers of BRCA1/2, Cook LS, Couch FJ, Cramer DW,
   Cunningham JM, Dansonka-Mieszkowska A, Despierre E, Doherty JA, Dörk T, du Bois A,
   Dürst M, Easton DF, Eccles D, Edwards R, Ekici AB, Fasching PA, Fenstermacher DA,
   Flanagan JM, Garcia-Closas M, Gentry-Maharaj A, Giles GG, Glasspool RM, Gonzalez-
   Bosquet J, Goodman MT, Gore M, Górski B, Gronwald J, Hall P, Halle MK, Harter P, Heitz F,
   Hillemanns P, Hoatlin M, Høgdall CK, Høgdall E, Hosono S, Jakubowska A, Jensen A, Jim H,
   Kalli KR, Karlan BY, Kaye SB, Kelemen LE, Kiemeney LA, Kikkawa F, Konecny GE,
   Krakstad C, Krüger Kjaer S, Kupryjanczyk J, Lambrechts D, Lambrechts S, Lancaster JM, Le
   ND, Leminen A, Levine DA, Liang D, Lim BK, Lin J, Lissowska J, Lu KH, LubiÑski J, Lurie
   G, Massuger LF, Matsuo K, McGuire V, McLaughlin JR, Menon U, Modugno F, Moysich KB,
   Nakanishi T, Narod SA, Nedergaard L, Ness RB, Nevanlinna H, Nickels S, Noushmehr H,

                                                                                 App000067
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 70 of 633 PageID 796


   Odunsi K, Olson SH, Orlow I, Paul J, Pearce CL, Pejovic T, Pelttari LM, Pike MC, Poole EM,
   Raska P, Renner SP, Risch HA, Rodriguez-Rodriguez L, Rossing MA, Rudolph A, Runnebaum
   IB, Rzepecka IK, Salvesen HB, Schwaab I, Severi G, Shridhar V, Shu X-O, Shvetsov YB, Sieh
   W, Song H, Southey MC, Spiewankiewicz B, Stram D, Sutphen R, Teo S-H, Terry KL, Tessier
   DC, Thompson PJ, Tworoger SS, van Altena AM, Vergote I, Vierkant RA, Vincent D, Vitonis
   AF, Wang-Gohrke S, Weber RP, Wentzensen N, Whittemore AS, Wik E, Wilkens LR,
   Winterhoff B, Woo YL, Wu AH, Xiang Y-B, Yang HP, Zheng W, Ziogas A, Zulkifli F, Phelan
   CM, Iversen E, Schildkraut JM, Berchuck A, Fridley BL, Goode EL, Pharoah PDP, Monteiro
   ANA, Sellers TA, Gayther SA. Identification and molecular characterization of a new ovarian
   cancer susceptibility locus at 17q21.31. Nat Commun 2013;4:1627. PMCID: PMC3709460.
Levine DM, Ek WE, Zhang R, Liu X, Onstad L, Sather C, Lao-Sirieix P, Gammon MD, Corley
   DA, Shaheen NJ, Bird NC, Hardie LJ, Murray LJ, Reid BJ, Chow W-H, Risch HA, Nyrén O,
   Ye W, Liu G, Romero Y, Bernstein L, Wu AH, Casson AG, Chanock S, Harrington P, Caldas I,
   Debiram-Beecham I, Caldas C, Hayward NK, Pharoah P, Fitzgerald R, MacGregor S,
   Whiteman DC, Vaughan TL. A genome-wide association study identifies new susceptibility
   loci for esophageal adenocarcinoma and Barrett’s Esophagus. Nat Genet 2013; 45(12):1487-
   93. PMCID: PMC3840115.
Klein AP, Lindström S, Mendelsohn JB, Steplowski E, Arslan AA, Bueno-de-Mesquita HB, Fuchs
   CS, Gallinger S, Gross M, Helzlsouer K, Holly EA, Jacobs EJ, LaCroix A, Li D, Mandelson
   MT, Olson SH, Petersen GM, Risch HA, Stolzenberg-Solomon RZ, Zheng W, Amundadottir L,
   Albanes D, Allen NE, Bamlet WR, Boutron-Ruault M-C, Buring JE, Bracci PM, Canzian F,
   Clipp S, Cotterchio M, Duell EJ, Elena J, Gaziano JM, Giovannucci EL, Goggins M, Hallmans
   G, Hassan M, Hutchinson A, Hunter DJ, Kooperberg C, Kurtz RC, Liu S, Overvad K, Palli D,
   Patel AV, Rabe KG, Shu X-O, Slimani N, Tobias GS, Trichopoulos D, Van Den Eeden SK,
   Vineis P, Virtamo J, Wactawski-Wende J, Wolpin BM, Yu H, Yu K, Zeleniuch-Jacquotte A,
   Chanock SJ, Hoover RN, Hartge P, Kraft P. An absolute risk model to identify individuals at
   elevated risk for pancreatic cancer in the general population. PLoS One 2013;8(9):e72311.
   PMCID: PMC3772857.
Bosetti C, Lucenteforte E, Bracci PM, Ji B-T, Negri E, Neale RE, Risch HA, Olson SH, Gallinger
   S, Miller AB, Bueno-de-Mesquita HB, Talamini R, Polesel J, Ghadirian P, Baghurst PA,
   Zatonski W, Fontham E, Holly EA, Gao Y-T, Yu H, Kurtz RC, Cotterchio M, Maisonneuve P,
   Zeegers MP, Duell EJ, Boffetta P, La Vecchia C. Ulcer, gastric surgery and pancreatic cancer
   risk: an analysis from the International Pancreatic Cancer Case-control Consortium (PanC4).
   Ann Oncol 2013;24(11):2903-10. PMCID: PMC3811904.
Sieh W, Salvador S, McGuire V, Weber RP, Terry KL, Rossing MA, Risch H, Wu AH, Webb PM,
   Moysich K, Doherty JA, Felberg A, Miller D, Jordan SJ, Australian Cancer Study (Ovarian
   Cancer), Australian Ovarian Cancer Study Group, Goodman MT, Lurie G, Chang-Claude J,
   Rudolph A, Krüger Kjær S, Jensen A, Høgdall E, Bandera EV, Olson SH, King MG,
   Rodriguez-Rodriguez L, Kiemeney LA, Marees T, Massuger LF, van Altena AM, Ness RB,
   Cramer DW, Pike MC, Pearce CL, Berchuck A, Schildkraut JM, Whittemore, AS, on behalf of
   the Ovarian Cancer Association Consortium. Tubal ligation and risk of ovarian cancer
   subtypes: a pooled analysis of case-control studies. Int J Epidemiol 2013;42(2):579-89.
   PMCID: PMC3619957.
Arem H, Neuhouser ML, Irwin ML, Cartmel B, Lu L, Risch H, Mayne ST, Yu H. Omega-3 and
   omega-6 fatty acid intakes and endometrial cancer risk in a population-based case-control
   study. Eur J Nutr 2013;52(3):1251-60. PMCID: PMC3548981.


                                                                                   App000068
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 71 of 633 PageID 797


Tran B, Whiteman DC, Webb PM, Fritschi L, Fawcett J, Risch HA, Lucas R, Pandeya N, Schulte
   A, Neale RE, for the Queensland Pancreatic Cancer Study Group. Association between
   ultraviolet radiation, skin sun sensitivity and risk of pancreatic cancer. Cancer Epidemiology
   2013;37(6):886-92. *Not a result of NIH funding.
Wang J, Zhang W, Sun L, Yu H, Risch HA, Ni Q-X, Gao Y-T. Dietary energy density is
   positively associated with risk of pancreatic cancer in urban Shanghai Chinese. J Nutr
   2013;143(10):1626-9. PMCID: PMC3771813.
Shen H, Fridley BL, Song H, Lawrenson K, Cunningham JM, Ramus SJ, Cicek MS, Tyrer J, Stram
   D, Larson MC, Köbel M, PRACTICAL Consortium, Ziogas A, Zheng W, Yang HP, Wu AH,
   Wozniak EL, Woo YL, Winterhoff B, Wik E, Whittemore AS, Wentzensen N, Weber RP,
   Vitonis AF, Vincent D, Vierkant RA, Vergote I, Van Den Berg D, Van Altena AM, Tworoger
   SS, Thompson PJ, Tessier DC, Terry KL, Teo S-H, Templeman C, Stram DO, Southey MC,
   Sieh W, Siddiqui N, Shvetsov YB, Shu X-O, Shridhar V, Wang-Gohrke S, Severi G, Schwaab
   I, Salvesen HB, Rzepecka IK, Runnebaum I, Rossing MA, Rodriguez-Rodriguez L, Risch HA,
   Renner SP, Poole EM, Pike MC, Phelan CM, Pelttari LM, Pejovic T, Paul J, Orlow I, Omar SZ,
   Olson SH, Odunsi K, Nickels S, Nevanlinna H, Ness RB, Narod SA, Nakanishi T, Moysich
   KB, Monteiro ANA, Moes-Sosnowska J, Modugno F, Menon U, McLaughlin JR, McGuire V,
   Matsuo K, Mat Adenan NA, Massuger LFG, Lurie G, Lundvall L, LubiÑski J, Lissowska J,
   Levine DA, Leminen A, Lee AW, Le ND, Lambrechts S, Lambrechts D, Kupryjanczyk J,
   Krakstad C, Konecny GE, Krüger Kjaer S, Kiemeney LA, Kelemen LE, Keeney GL, Karlan
   BY, Karevan R, Kalli KR, Kajiyama H, Ji B-T, Jensen A, Jakubowska A, Iversen E, Hosono S,
   Høgdall CK, Høgdall E, Hoatlin M, Hillemanns P, Heitz F, Hein R, Harter P, Halle MK, Hall P,
   Gronwald J, Gore M, Goodman MT, Giles GG, Gentry-Maharaj A, Garcia-Closas M, Flanagan
   JM, Fasching PA, Ekici AB, Edwards R, Eccles D, Easton DF, Dürst M, du Bois A, Dörk T,
   Doherty JA, Despierre E, Dansonka-Mieszkowska A, Cybulski C, Cramer DW, Cook LS, Chen
   X, Charbonneau B, Chang-Claude J, Campbell I, Butzow R, Bunker CH, Brueggmann D,
   Brown R, Brooks-Wilson A, Brinton LA, Bogdanova N, Block MS, Benjamin E, Beesley J,
   Beckmann MW, Bandera EV, Baglietto L, Bacot F, Armasu SM, Antonenkova N, Anton-
   Culver H, Aben KK, Australian Ovarian Cancer Study Group, Australian Cancer Study,
   Schildkraut JM, Sellers TA, Huntsman D, Berchuck A, Chenevix-Trench G, Gayther SA,
   Pharoah PDP, Laird PW, Goode EL, Pearce CL. Epigenetic analysis leads to identification of
   HNF1B as a subtype-specific susceptibility gene for ovarian cancer. Nat Commun
   2013;4(1628):1-10. PMCID: PMC3848248.
Bojesen SE, Pooley KA, Johnatty SE, Beesley J, Michailidou K, Tyrer JP, Edwards SL, Pickett
   HA, Shen HC, Smart CE, Hillman KM, Mai PL, Lawrenson K, Stutz MD, Lu Y, Karevan R,
   Woods N, Johnston RL, French JD, Chen X, Wesicher M, Nielsen SF, Maranian MJ,
   Ghoussaini M, Ahmed S, Baynes C, Humphreys MK, Wang J, Dennis J, McGuffog L,
   Barrowdale D, Lee A, Healey S, Lush M, Tessier DC, Vincent D, Bacot F, Australian Cancer
   Study, Australian Ovarian Cancer Study Group, Vergote I, Lambrechts S, Despierre E, Risch
   HA, González-Neira A, Rossing MA, Pita G, Doherty JA, Álvarez N, Larson MC, Fridley BL,
   Schoof N, Chang-Claude J, Cicek MS, Peto J, Kalli KR, Broeks A, Armasu SM, Schmidt MK,
   Braaf LM, Winterhoff B, Nevanlinna H, Konecny GE, Lambrechts D, Rogmann L, Guénel P,
   Teoman A, Milne RL, Garcia JJ, Cox A, Shridhar V, Burwinkel B, Marme F, Hein R, Sawyer
   EJ, Haiman CA, Wang-Gohrke S, Andrulis IL, Moysich KB, Hopper JL, Odunsi K, Lindblom
   A, Giles GG, Brenner H, Simard J, Lurie G, Fasching PA, Carney ME, Radice P, Wilkens LR,
   Swerdlow A, Goodman MT, Brauch H, García-Closas M, Hillemanns P, Winqvist R, Dürst M,
   Devilee P, Runnebaum I, Jakubowska A, Lubinski J, Mannermaa A, Butzow R, Bogdanova

                                                                                    App000069
Case 4:21-cv-01058-P Document 27 Filed 12/07/21           Page 72 of 633 PageID 798


   NV, Dörk T, Pelttari L, Zheng W, Leminen A, Anton-Culver H, Bunker CH, Kristensen V,
   Ness RB, Muir K, Edwards R, Meindl A, Heitz F, Matsuo K, du Bois A, Wu AH, Harter P, Teo
   S-H, Schwaab I, Shu X-O, Blot W, Hosono S, Kang D, Nakanishi T, Hartman M, Yatabe Y,
   Hamann U, Karlan BY, Sangrajrang S, Krüger Kjaer S, Gaborieau V, Jensen A, Eccles D,
   Høgdall E, Shen C-Y, Brown J, Woo YL, Shah M, Noor Azmi MA, Luben R, Omar SZ, Czene
   K, Vierkant RA, Nordestgaard BG, Flyger H, Vachon C, Olson JE, Wang X, Levine DA,
   Rudolph A, Palmieri Weber R, Flesch-Janys D, Iversen E, Nickels S, Schildkraut JM, Dos
   Santos Silva I, Cramer DW, Gibson L, Terry KL, Fletcher O, Vitonis AF, van der Schoot CE,
   Poole EM, Hogervorst FBL, Tworoger SS, Liu J, Bandera EV, Li J, Olson SH, Humphreys K,
   Orlow I, Blomqvist C, Rodriguez-Rodriguez L, Aittomäki K, Salvesen HB, Muranen TA, Wik
   E, Brouwers B, Krakstad C, Wauters E, Halle MK, Wildiers H, Kiemeney LA, Mulot C, Aben
   KK, Laurent-Puig P, van Altena AM, Truong T, Massuger LF, Benitez J, Pejovic T, Arias
   Perez JI, Hoatlin M, Zamora MP, Cook LS, Balasubramanian SP, Kelemen LE, Schneeweiss A,
   Le ND, Sohn C, Brooks-Wilson A, Tomlinson I, Kerin MJ, Miller N, Cybulski C, kConFab
   Investigators, Henderson BE, Menkiszak J, Schumacher F, Wentzensen N, Marchand LL, Yang
   HP, Mulligan AM, Glendon G, Engelholm SA, Knight JA, Høgdall CK, Apicella C, Gore M,
   Tsimiklis H, Song H, Southey MC, Jager A, van den Ouweland AM, Brown R, Martens JW,
   Flanagan JM, Kriege M, Paul J, Margolin S, Siddiqui N, Severi G, Whittemore AS, Baglietto L,
   McGuire V, Stegmaier C, Sieh W, Müller H, Arndt V, Labrèche F, Gao Y-T, Goldberg MS,
   Yang G, Dumont M, McLaughlin JR, Hartmann A, Ekici AB, Beckmann MW, Phelan CM, Lux
   MP, Permuth-Wey J, Peissel B, Sellers TA, Ficarazzi F, Barile M, Ziogas A, Ashworth A,
   Gentry-Maharaj A, Jones M, Ramus SJ, Orr N, Menon U, The Genica Network, Pearce CL,
   Brüning T, Pike MC, Ko Y-D, Lissowska J, Figueroa J, Kupryjanczyk J, Chanock SJ,
   Dansonka-Mieszkowska A, Jukkola-Vuorinen A, Rzepecka IK, Pylkäs K, Bidzinski M,
   Kauppila S, Hollestelle A, Seynaeve C, Monteiro ANA, Tollenaar RAM, Durda K, Jaworska K,
   Hartikainen JM, Kosma V-M, Kataja V, Antonenkova NN, Long J, Shrubsole M, Deming-
   Halverson S, Lophatananon A, Siriwanarangsan P, Stewart-Brown S, Ditsch N, Lichtner P,
   Schmutzler RK, Ito H, Iwata H, Tajima K, Tseng C-C, Stram DO, van den Berg D, Yip CH,
   Ikram MK, Teh Y-C, Cai H, Lu W, Signorello LB, Cai Q, Noh D-Y, Yoo K-Y, Miao H, Iau PT,
   Teo YY, McKay J, Shapiro C, Ademuyiwa F, Fountzilas G, Hsiung C-N, Yu J-C, Hou M-F,
   Healey CS, Luccarini C, Wang Q, Peock S, Stoppa-Lyonnet D, Peterlongo P, SWE-BRCA,
   Rebbeck TR, Piedmonte M, Singer CF, Friedman E, Thomassen M, Offit K, Hansen TVO,
   Neuhausen SL, Szabo CI, Blanco I, Garber J, Narod SA, Weitzel JN, Montagna M, Olah E,
   Godwin AK, Yannoukakos D, Goldgar DE, Caldes T, Imyanitov EN, Tihomirova L, Arun BK,
   Campbell I, Mensenkamp AR, van Asperen CJ, van Roozendaal K, Meijers-Heijboer HEJ,
   HEBON, Collée JM, Oosterwijk JC, Hooning MJ, Rookus MA, van der Luijt RB, van Os
   TAM, Evans DG, Frost D, Fineberg E, Embrace, Barwell J, Walker L, Kennedy MJ, Platte R,
   Davidson R, Ellis SD, Cole T, De Paillerets BB, Buecher B, Damiola F, Gemo Study
   Collaborators, Faivre L, Frenay M, Sinilnikova OM, Caron O, Giraud S, Mazoyer S, Bonadona
   V, Caux-Moncoutier V, Toloczko-Grabarek A, Gronwald J, Byrski T, Spurdle AB, Bonanni B,
   Zaffaroni D, Giannini G, Bernard L, Dolcetti R, Manoukian S, Norbert A, Engel C, Deissler H,
   Rhiem K, Meindl A, Niederacher D, Plendl H, Sutter C, Wappenschmidt B, Borg A, Melin B,
   Rantala J, Soller M, Nathanson KL, Domchek SM, Rodriguez GC, Salani R, Geschwantler
   Kaulich D, Tea M-K, Paluch SS, Laitman Y, Skytte A-B, Kruse TA, Jensen UB, Robson M,
   Gerdes A-M, Ejlertsen B, Foretova L, Savage SA, Lester J, Soucy P, Kuchenbaecker KB,
   Olswold C, Cunningham JM, Slager S, Pankratz VS, Dicks E, Lakhani SR, Couch FJ, Hall P,
   Gayther SA, Pharoah PDP, Reddel RR, Goode EL, Greene MH, Easton DF, Berchuck A,
   Antoniou AC, Chenevix-Trench G, Dunning AM. Multiple independent TERT variants

                                                                                   App000070
Case 4:21-cv-01058-P Document 27 Filed 12/07/21           Page 73 of 633 PageID 799


   associated with telomere length and risks of breast and ovarian cancer. Nat Genet
   2013;45(4):371-86. PMCID: PMC3670748.
Pharoah PDP, Tsai Y-Y, Ramus SJ, Phelan CM, Goode EL, Lawrenson K, Buckley M, Fridley BL,
   Tyrer JP, Shen H, Weber R, Karevan R, Larson MC, Song H, Tessier DC, Bacot F, Vincent D,
   Cunningham JM, Dennis J, Dicks E, Australian Cancer Study, Australian Ovarian Cancer Study
   Group, Aben KK, Anton-Culver H, Antonenkova N, Armasu SM, Baglietto L, Bandera EV,
   Beckmann MW, Bloom G, Bogdanova N, Brenton J, Brinton LA, Brooks-Wilson A, Brown R,
   Butzow R, Campbell I, Carney ME, Carvalho RS, Chang-Claude J, Chen A, Chen Z, Chow W-
   H, Cicek MS, Coetzee G, Cook LS, Cramer DW, Cybulski C, Dansonka-Mieszkowska A,
   Despierre E, Doherty JA, Dörk T, du Bois A, Dürst M, Eccles D, Edwards R, Ekici AB,
   Fasching PA, Fenstermacher D, Flanagan J, Gao Y-T, Garcia-Closas M, Gentry-Maharaj A,
   Giles G, Gjyshi A, Gore M, Gronwald J, Guo Q, Halle MK, Harter P, Hein A, Heitz F,
   Hillemanns P, Hoatlin M, Høgdall E, Høgdall CK, Hosono S, Jakubowska A, Jensen A, Kalli
   KR, Karlan BY, Kelemen L, Kiemeney LA, Krüger Kjaer S, Konecny GE, Krakstad C,
   Kupryjanczyk J, Lambrechts D, Lambrechts S, Le ND, Lee N, Lee J, Leminen A, Lim BK,
   Lissowska J, LubiÑski J, Lundvall L, Lurie G, Massuger LFAG, Matsuo K, McGuire V,
   McLaughlin JR, Menon U, Modugno F, Moysich KB, Nakanishi T, Narod SA, Ness RB,
   Nevanlinna H, Nickels S, Noushmehr H, Odunsi K, Olson SH, Orlow I, Paul J, Pejovic T,
   Pelttari LM, Permuth-Wey J, Pike MC, Poole EM, Qu X, Risch HA, Rodriguez-Rodriguez L,
   Rossing MA, Rudolph A, Runnebaum I, Rzepecka IK, Salvesen HB, Schwaab I, Severi G, Shen
   H, Shridhar V, Shu X-O, Sieh W, Southey MC, Spellman P, Tajima K, Teo S-H, Thompson PJ,
   Timorek A, Tworoger SS, van Altena AM, Van Den Berg D, Vergote I, Vierkant RA, Vitonis
   AF, Wang-Gohrke S, Wentzensen N, Whittemore AS, Wik E, Winterhoff B, Woo YL, Wu AH,
   Yang HP, Zheng W, Ziogas A, Zulkifli F, Goodman MT, Hall P, Easton DF, Pearce CL,
   Berchuck A, Chenevix-Trench G, Iversen E, Monteiro AN, Gayther SA, Schildkraut JM,
   Sellers TA. GWAS meta analysis and replication identifies three new susceptibility loci for
   ovarian cancer. Nat Genet 2013;45(4):362-72. PMCID: PMC3693183.
Delahanty RJ, Xiang Y-B, Spurdle A, Beeghly-Fadiel A, Long J, Thompson D, Tomlinson I, Yu H,
   Lambrechts D, Dörk T, Goodman MT, Zheng Y, Salvesen HB, Bao P-P, Amant F, Beckmann
   MW, Coenegrachts L, Coosemans A, Dubrowinskaja N, Dunning A, Runnebaum I, Easton D,
   Ekici AB, Fasching PA, Halle MK, Hein A, Howarth K, Gorman M, Kaydarova D, Krakstad C,
   Lose F, Lu L, Lurie G, O'Mara T, Matsuno RK, Pharoah P, Risch H, Schwake A, Trovik J,
   Turmanov N, Wen W, Lu W, Cai Q, Zheng W, Shu X-O. Polymorphisms in inflammation
   pathway genes and endometrial cancer risk.          Cancer Epidemiol Biomarkers Prev
   2013;22(2):216-23. PMCID: PMC3677562.
Narod SA, Moody JRK, Rosen B, Fan I, Risch [H]A, Sun P, McLaughlin JR. Estimating survival
   rates after ovarian cancer among women tested for BRCA1 and BRCA2 mutations. Clin Genet
   2013;83(3):232-7. *NIH funding pre-dates mandate.
McLaughlin JR, Rosen B, Moody J, Pal T, Fan I, Shaw P, Risch HA, Sellers TA, Sun P, Narod SA.
    Long-term ovarian cancer survival associated with mutation in BRCA1 or BRCA2. J Natl
   Cancer Inst 2013;105(2):141-8. *NIH funding pre-dates mandate.
Kelemen LE, Bandera EV, Terry KL, Rossing MA, Brinton LA, Doherty JA, Ness RB, Krüger
   Kjær S, Chang-Claude J, Köbel M, Lurie G, Thomson PJ, Carney ME, Moysich K, Edwards
   RP, Bunker CH, Jensen A, Høgdall E, Cramer DW, Vitonis AF, Olson SH, King M, Chandran
   U, Lissowska J, Garcia-Closas M, Yang H, Webb PM, Schildkraut JM, Goodman MT, Risch
   HA. Recent alcohol consumption and risk of incident ovarian carcinoma: a pooled analysis of


                                                                                  App000071
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 74 of 633 PageID 800


       5,342 cases and 10,358 controls from the Ovarian Cancer Association Consortium. BMC
       Cancer 2013;13:28. PMCID: PMC3568733.
   Risch HA, Lu L, Wang J, Zhang W, Ni Q-X, Gao Y-T, Yu H. ABO blood group and risk of
       pancreatic cancer: a study in Shanghai and meta-analysis. Am J Epidemiol 2013;177(12):1326-
       37. PMCID: PMC3732019.
   Parikh H, Jia J, Zhang X, Chung C, Jacobs KB, Yeager M, Boland J, Hutchinson A, Burdett L,
       Risch HA, Jacobs EJ, Stolzenberg-Solomon RZ, Chanock SJ, Wolpin BM, Petersen GM, Fuchs
       CS, Hartge P, Amundadottir L. A re-sequence analysis of genomic loci on chromosomes
       1q32.1, 5p15.33 and 13q22.1 associated with pancreatic cancer risk. Pancreas 2013;42(2):209-
       215. PMCID: PMC3618611.
2012
   Hoyo C, Cook MB, Kamangar F, Freedman ND, Whiteman DC, Bernstein L, Brown LM, Risch
      HA, Ye W, Sharp L, Wu AH, Ward MH, Casson AG, Murray LJ, Corley DA, Nyren O,
      Pandeya N, Vaughan TL, Chow W-H, Gammon MD. Body mass index in relation to
      oesophageal and oesophagogastric junction adenocarcinomas: a pooled analysis from the
      international BEACON consortium.      Int J Epidemiol 2012;41(6):1706-18.     PMCID:
      PMC3535758.
   Bosetti C, Lucenteforte E, Silverman DT, Petersen G, Bracci PM, Ji BT, Negri E, Li D, Risch HA,
      Olson SH, Gallinger S, Miller AB, Bueno-de-Mesquita HB, Talamini R, Polesel J, Ghadirian
      P, Baghurst PA, Zatonski W, Fontham E, Bamlet WR, Holly EA, Bertuccio P, Gao YT,
      Hassan M, Yu H, Kurtz RC, Cotterchio M, Su J, Maisonneuve P, Duell EJ, Boffetta P, La
      Vecchia C. Cigarette smoking and pancreatic cancer: an analysis from the International
      Pancreatic Cancer Case-Control Consortium (PanC4). Ann Oncol 2012;23(7):1880-88.
      PMCID: PMC3387822.
   Lu L, Zhu G, Zhang C, Deng Q, Katsaros D, Mayne ST, Risch HA, Mu L, Canuto EM, Gregori G,
      Benedetto C, Yu H. Association of large noncoding RNA HOTAIR expression and its
      downstream intergenic CpG island methylation with survival in breast cancer. Breast Cancer
      Res Treat 2012;136(3)875-83. *Not a result of NIH funding.
   Wang J, Zhang W, Sun L, Yu H, Ni Q-X, Risch H, Gao Y-T. Green tea drinking and risk of
      pancreatic cancer: a large-scale, population-based case-control study in urban Shanghai.
      Cancer Epidemiol 2012;36(6):e354-8. PMCID: PMC3490023.
   Raska P, Iversen E, Chen A, Chen Z, Fridley BL, Permuth-Wey J, Tsai Y-Y, Vierkant RA, Goode
      EL, Risch H, Schildkraut JM, Sellers TA, Barnholtz-Sloan J. European American stratification
      in ovarian cancer case control data: the utility of genome-wide data for inferring ancestry.
      PLoS One 2012;7(5): e35235. doi:10.1371/journal.pone.0035235. PMCID: PMC3348917.
   Su Z, Gay LJ, Strange A, Palles C, Band G, Whiteman DC, Lescai F, Langford C, Nanji M, Edkins
      S, van der Winkel A, Levine D, Sasieni P, Bellenguez C, Howarth K, Freeman C, Trudgill N,
      Tucker AT, Pirinen M, Peppelenbosch MP, van de rLaan LJW, Kuipers EJ, Drenth JPH, Peters
      WH, Reynolds JV, Kelleher DP, McManus R, Grabsch H, Prenen H, Bisschops R, Krishnadath
      K, Siersema PD, van Baal JW, Middleton M, Petty R, Gillies R, Burch N, Bhandari P, Paterson
      S, Edwards C, Penman I, Vaidya K, Ang Y, Murray I, Patel P, Ye W, Mullins P, Wu AH, Bird
      NC, Dallal H, Shaheen NJ, Murray LJ, Koss K, Bernstein L, Romero Y, Hardie LJ, Zhang R,
      Winter H, Corley DA, Panter S, Risch HA, Reid BJ, Sargeant I, Gammon MD, Smart H, Dhar
      A, McMurtry H, Ali H, Liu G, Casson AG, Chow W-H, Rutter M, Tawil A, Morris D,
      Nwokolo C, Isaacs P, Rodgers C, Ragunath K, MacDonald C, Haigh C, Monk D, Davies G,


                                                                                       App000072
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 75 of 633 PageID 801


   Wajed S, Johnston D, Gibbons M, Cullen S, Church N, Langley R, Griffin M, Alderson D,
   Deloukas P, Hunt SE, Gray E, Dronov S, Potter SC, Tashakkori-Ghanbaria A, Anderson M,
   Brooks C, Blackwell JM, Bramon E, Brown MA, Casas JP, Corvin A, Duncanson A, Markus
   HS, Mathew CG, Palmer CNA, Plomin R, Rautanen A, Sawcer SJ, Trembath RC, Viswanathan
   AC, Wood N, Trynka G, Wijmenga C, Cazier J-B, Atherfold P, Nicholson AM, Gellatly NL,
   Glancy D, Cooper SC, Cunningham D, Lind T, Hapeshi J, Ferry D, Rathbone B, Brown J, Love
   S, Attwood S, MacGregor S, Watson P, Sanders S, Ek W, Harrison RF, Moayyedi P, de
   Caestecker J, Barr H, Stupka E, Vaughan TL, Peltonen L, Spencer CCA, Tomlinson I, Donnelly
   P, Jankowski JAZ. Common variants at the MHC locus and at chromosome 16q24.1
   predispose to Barrett’s Esophagus. Nat Genet 2012;44(10):1131-6. PMCID: PMC3459818.
Ji Y, Shen M-C, Jin X-L, Zhu M-H, Wang H, Ni Q-X, Zhang W, Wang J, Sun L, Yu H, Risch H,
    Gao Y-T. Pathologic characteristics of pancreatic cancer in Shanghai urban area: preliminary
    analysis of 350 cases. Zhong Liu [Tumor] 2012;32(3):199-202. (Publication in Chinese).
Pal T, Akbari MR, Sun P, Lee J-H, Fulp J, Thompson Z, Coppola D, Nicosia S, Sellers TA,
    McLaughlin J, Risch HA, Rosen B, Shaw P, Schildkraut J, Narod SA. Frequency of mutations
    in mismatch repair genes in a population-based study of women with ovarian cancer. Br J
    Cancer 2012;107(10):1783-90. PMCID: PMC3493867.
Collaborative Group on Epidemiological Studies of Ovarian Cancer. Ovarian cancer and smoking:
    individual participant meta-analysis including 28,114 women with ovarian cancer from 51
    epidemiological studies. Lancet Oncol 2012;13(9):946-56. *Not a result of NIH funding.
Lu L, Katsaros D, Mayne ST, Risch HA, Benedetto C, Canuto EM, Yu H. Functional study of risk
    loci of stem cell-associated gene lin-28B and associations with disease survival outcomes in
    epithelial ovarian cancer. Carcinogenesis 2012;33(11):2119-25. *Not a result of NIH funding.
Fridley BL, Chalise P, Tsai Y-Y, Sun Z, Vierkant RA, Larson MC, Cunningham JM, Iversen ES,
    Fenstermacher D, Barnholtz-Sloan J, Asmann Y, Risch HA, Schildkraut JM, Phelan CM,
    Sutphen R, Sellers TA, Goode EL. Germline copy number variation and ovarian cancer
    survival. Front Genet 2012;3:142. PMCID: PMC3413872.
Kotsopoulos J, Moody JRK, Fan I, Rosen B, Risch HA, McLaughlin JR, Sun P, Narod SA.
   Height, weight, BMI and ovarian cancer survival. Gyn Oncol 2012;127(1):83-7. *NIH
   funding pre-dates mandate.
Li D, Duell EJ, Yu K, Risch HA, Olson SH, Kooperberg C, Wolpin BM, Jiao L, Dong X, Wheeler
   B, Arslan AA, Bueno-de-Mesquita HB, Fuchs CS, Gallinger S, Gross M, Hartge P, Hoover RN,
   Holly EA, Jacobs EJ, Klein AP, LaCroix A, Mandelson MT, Petersen G, Zheng W, Agalliu I,
   Albanes D, Boutron-Ruault M-C, Bracci PM, Buring JE, Canzian F, Chang K, Chanock SJ,
   Cotterchio M, Gaziano JM, Giovannucci EL, Goggins M, Hallmans G, Hankinson SE, Hoffman
   Bolton JA, Hunter DJ, Hutchinson A, Jacobs KB, Jenab M, Khaw K-T, Kraft P, Krogh V,
   Kurtz RC, McWilliams RR, Mendelsohn JB, Patel AV, Rabe KG, Riboli E, Shu X-O,
   Tjønneland A, Tobias GS, Trichopoulos D, Virtamo J, Visvanathan K, Watters J, Yu H,
   Zeleniuch-Jacquotte A, Amundadottir L, Stolzenberg-Solomon RZ. Pathway analysis of
   genome-wide association study data highlights pancreatic development genes as susceptibility
   factors for pancreatic cancer. Carcinogenesis 2012;33(7):1384-90. PMCID: PMC3405651.
Duell EJ, Lucenteforte E, Olson SH, Bracci PM, Li D, Risch HA, Silverman DT, Ji B-T, Gallinger
   S, Holly EA, Fontham EH, Maisonneuve P, Bueno-de-Mesquita HB, Ghadirian P, Kurtz RC,
   Ludwig E, Yu H, Lowenfels AB, Seminara D, Petersen GM, LaVecchia C, Boffetta P.



                                                                                    App000073
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 76 of 633 PageID 802


   Pancreatitis and pancreas cancer risk: a pooled analysis in the International Pancreatic Cancer
   Case-Control Consortium (PanC4). Ann Oncol 2012;23(11):2964-70. PMCID: PMC3477881.
Palmer AJ, Lochhead P, Hold GL, Rabkin CS, Chow WH, Lissowska J, Vaughan TL, Berry S,
   Gammon M, Risch H, El-Omar EM. Genetic variation in C20orf54, PLCE1 and MUC1 and
   the risk of upper gastrointestinal cancers in Caucasian populations. Eur J Cancer Prev
   2012;21(6):541-4. PMCID: PMC3460062.
Jacobs KB, Yeager M, Zhou W, Wacholder S, Wang Z, Rodriguez-Santiago B, Hutchinson A,
   Deng X, Liu C, Horner M-J, Cullen M, Epstein CG, Burdett L, Dean MC, Chatterjee N,
   Sampson J, Chung CC, Kovaks J, Gapstur SM, Stevens VL, Teras LT, Gaudet MM, Albanes D,
   Weinstein SJ, Virtamo J, Taylor PR, Freedman ND, Abnet CC, Goldstein AM, Hu N, Yu K,
   Yuan J-M, Liao L, Ding T, Qiao Y-L, Gao Y-T, Koh W-P, Xiang Y-B, Tang Z-Z, Fan J-H,
   Aldrich MC, Amos C, Blot WJ, Bock CH, Gillanders EM, Harris CC, Haiman CA, Henderson
   BE, Kolonel LN, Marchand LL, McNeill LH, Rybicki BA, Schwartz AG, Signorello LB, Spitz
   MR, Wiencke JK, Wrensch M, Wu X, Zanetti KA, Ziegler RG, Figueroa JD, Garcia-Closas M,
   Malats N, Marenne G, Prokunina-Olsson L, Baris D, Schwenn M, Johnson A, Landi MT,
   Goldin L, Consonni D, Bertazzi PA, Rotunno M, Rajaraman P, Andersson U, Freeman LEB,
   Berg CD, Buring JE, Butler MA, Carreon T, Feychting M, Ahlbom A, Gaziano JM, Giles GG,
   Hallmans G, Hankinson SE, Hartge P, Henriksson R, Inskip PD, Johansen C, Landgren A,
   McKean-Cowdin R, Michaud DS, Melin BS, Peters U, Ruder AM, Sesso HD, Severi G, Shu X-
   O, Visvanathan K, White E, Wolk A, Zeleniuch-Jacquotte A, Zheng W, Silverman DT,
   Kogevinas M, Gonzalez JR, Villa O, Li D, Duell EJ, Risch HA, Olson SH, Kooperberg C,
   Wolpin BM, Jiao L, Hassan M, Wheeler W, Arslan AA, Bueno-de-Mesquita HB, Fuchs CS,
   Gallinger S, Gross MD, Holly EA, Klein AP, LaCroix A, Mandelson MT, Petersen G, Boutron-
   Ruault M-C, Bracci PM, Canzian F, Chang K, Cotterchio M, Giovannucci EL, Goggins M,
   Bolton JAH, Jenab M, Khaw K-T, Krogh V, Kurtz RC, McWilliams RR, Mendelsohn JB, Rabe
   KG, Riboli E, Tjønneland A, Tobias GS, Trichopoulos D, Elena JW, Yu H, Amundadottir L,
   Stolzenberg-Solomon RZ, Kraft P, Schumacher F, Stram D, Savage SA, Mirabello L, Andrulis
   I, Wunder J, García AP, Sierrasesúmaga L, Barkauskas DA, Gorlick RG, Purdue M, Chow W-
   H, Moore LE, Schwartz KL, Davis FG, Hsing AW, Berndt SI, Black A, Wentzensen N, Brinton
   LA, Lissowska J, Peplonska B, McGlynn KA, Cook MB, Graubard BI, Kratz CP, Greene MH,
   Erickson RL, Hunter DJ, Thomas G, Hoover RN, Real FX, Fraumeni JF, Caporaso NE, Tucker
   M, Rothman N, Pérez-Jurado LA, Chanock SJ. Detectable clonal mosaicism and its
   relationship to aging and cancer. Nat Genet 2012;44(6):651-8. PMCID: PMC3372921.
Lubin JH, Cook MB, Pandeya N, Vaughan TL, Abnet CC, Giffen C, Webb PM, Murray LJ, Casson
   AG, Risch HA, Ye W, Kamangar F, Bernstein L, Sharp L, Nyrén O, Gammon MD, Corley DA,
   Wu AH, Brown LM, Chow W-H, Ward MH, Freedman ND, Whiteman DC. The importance of
   exposure rate on odds ratios by cigarette smoking and alcohol consumption for esophageal
   adenocarcinoma and squamous cell carcinoma in the Barrett’s Esophagus and Esophageal
   Adenocarcinoma Consortium.            Cancer Epidemiology 2012;36(3):306-16. PMCID:
   PMC3489030
Long J, Zheng W, Xiang Y-B, Lose F, Thompson D, Tomlinson I, Yu H, Wentzensen N,
   Lambrechts D, Dörk T, Dubrowinskaja N, Goodman MT, Salvesen HB, Fasching PA, Scott RJ,
   Delahanty R, Zheng Y, O'Mara T, Healey CS, Hodgson S, Risch H, Yang HP, Amant F,
   Turmanov N, Schwake A, Lurie G, Trovik J, Beckmann MW, Ashton K, Ji B-T, Bao P-P,
   Howarth K, Lu L, Lissowska J, Coenegrachts L, Kaidarova D, Dürst M, Thompson PJ,
   Krakstad C, Ekici AB, Otton G, Shi J, Zhang B, Gorman M, Brinton L, Coosemans A, Matsuno
   RK, Halle MK, Hein A, Proietto A, Cai H, Lu W, Dunning A, Easton D, Gao Y-T, Cai Q,

                                                                                     App000074
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 77 of 633 PageID 803


    Spurdle AB, Shu X-O. Genome-wide association study identifies a possible susceptibility locus
    for endometrial cancer. Cancer Epidemiol Biomarkers Prev 2012;21(6):980-7. PMCID:
    PMC3372671
Setiawan VW, Pike MC, Karageorgi S, Deming SL, Anderson K, Bernstein L, Brinton LA, Cai H,
    Cerhan JR, Cozen W, Chen C, Doherty J, Freudenheim JL, Goodman MT, Hankinson SE,
    Lacey JV Jr, Liang X, Lissowska J, Lu L, Lurie G, Mack T, Matsuno RK, McCann S, Moysich
    KB, Olson SH, Rastogi R, Rebbeck TR, Risch H, Robien K, Schairer C, Shu X-O, Spurdle AB,
    Strom BL, Australian National Endometrial Cancer Study Group, Thompson PJ, Ursin G,
    Webb PM, Weiss N, Wentzensen N, Xiang Y-B, Yang HP, Yu H, Horn-Ross PL, De Vivo I.
    Age at last birth in relation to risk of endometrial cancer: pooled analysis in the Epidemiology
    of Endometrial Cancer Consortium.            Am J Epidemiol 2012;176(4):269-78. PMCID:
    PMC3491967
Pearce CL, Templeman C, Rossing MA, Lee A, Near A, Australian Cancer Study (Ovarian
    Cancer), Australian Ovarian Cancer Study Group, Doherty JA, Cushing-Haugen KL, Wicklund
    KG, Chang-Claude J, Hein R, Wang-Gohrke S, Lurie G, Wilkens LR, Carney ME, Goodman
    MT, Moysich10, Kjaer SK, Hogdall E, Jensen A, Goode EL, Fridley BL, Larson MC,
    Schildkraut JM, Palmieri RT, Cramer DW, Terry KL, Vitonis AF, Titus-Ernstoff L, Ziogas A,
    Brewster W, Anton-Culver H, Gentry Maharaj A, Ramus SJ, Anderson AR, Brueggmann D,
    Fasching PA, Gayther SA, Huntsman D, Menon U, Nagle CM, Ness R, Pike MC, Risch H,
    Webb PM, Wu AH, Berchuck A, Ovarian Cancer Association Consortium. Association
    between endometriosis and risk of histological subtypes of ovarian cancer: a pooled analysis of
    case–control studies. Lancet Oncol 2012;13(4):385-94. PMCID: PMC3664011.
Zeng H, Irwin ML, Lu L, Risch H, Mayne S, Mu L, Deng Q, Scarampi L, Mitidieri M, Katsaros
   D, Yu H.. Physical activity and breast cancer survival—an epigenetic link through reduced
   methylation of a tumor suppressor gene L3MBTL1.              Breast Cancer Res Treat
   2012;133(1):127-35. *Not a result of NIH funding.
Liao LM, Vaughan TL, Corley DA, Cook MB, Casson AG, Kamangar F, Abnet CC, Risch HA,
   Giffen C, Freedman ND, Chow W-H, Sadeghi S, Pandeya N, Whiteman DC, Murray LJ,
   Bernstein L, Gammon MD, Wu AH. Nonsteroidal anti-inflammatory drug use reduces risk of
   adenocarcinomas of the esophagus and esophagogastric junction in a pooled analysis.
   Gastroenterology 2012;142(3):442-52. PMCID: PMC3488768.
Collaborative Group on Epidemiological Studies of Ovarian Cancer. Beral V, Hermon C, Peto R,
   Reeves G, Brinton L, Green AC, Marchbanks P, Negri E, Ness R, Peeters P, Vessey M, Calle
   EE, Rodriguez C, Dal Maso L, Talamini T, Cramer D, Hankinson SE, Tworoger SS, Chetrit A,
   Hirsh-Yechezkel G, Lubin F, Sadetzki S, Appleby P, Banks E, Berrington de Gonzalez A, Bull
   D, Crossley B, Goodill A, Green I, Green J, Key T, Collins R, Doll R, Agudo A, Gonzalez CA,
   Lee N, Ory HW, Peterson HB, Wingo PA, Martin N, Pardthaisong T, Silpisornkosol S,
   Theetranont C, Boosiri B, Chutivongse S, Jimakorn P, Virutamasen P, Wongsrichanalai C,
   Titus-Ernstoff L, Byers T, Rohan T, Mosgaard BJ, Yeates D, Marshall JR, Chang-Claude J,
   Anderson KE, Folsom AR, Rossing MA, Thomas D, Weiss N, Franceschi S, La Vecchia C,
   Adami HO, Magnusson C, Riman T, Weiderpass E, Wolk A, Freedman DM, Hartge P, Lacey
   JM, Hoover R, Schouten LJ, van den Brandt PA, Chantarakul N, Koetsawang S, Rachawat D,
   Graff-Iversen G, Selmer R, Bain CJ, Purdie DM, Siskind V, Webb PM, McCann SE, Hannaford
   P, Kay C, Binns CW, Lee AH, Zhang M, Nasca P, Coogan PF, Rosenberg L, Kelsey J,
   Paffenbarger R, Whittemore A, Katsouyanni K, Trichopoulou A, Trichopoulos D, Tzonou A,
   Dabancens A, Martinez L, Molina R, Salas O, Goodman MT, Laurie G, Carney ME, Wilkens


                                                                                       App000075
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 78 of 633 PageID 804


      LR, Bladstrom A, Olsson H, Grisso JA, Morgan M, Wheeler JE, Casagrande J, Pike MC, RK
      Ross RK, Wu AH, Kumle M, Lund E, McGowan L, Shu XO, Zheng W, Farley TMM, Holck S,
      Meirik O, Risch HA. Ovarian cancer and body size: Individual participant meta-analysis
      including 25,157 women with ovarian cancer from 47 epidemiological studies. PLoS Med
      2012;9(4):e1001200. doi:10.1371/journal.pmed.1001200. *Not a result of NIH funding.
2011
   Permuth-Wey J, Chen Z, Tsai Y-Y, Lin H-Y, Chen YA, Barnholtz-Sloan J, Birrer MJ, Chanock
      SJ, Cramer DW, Cunningham JM, Fenstermacher D, Fridley BL, Garcia-Closas M, Gayther
      SA, Gentry-Maharaj A, Gonzalez-Bosquet J, Iversen E, Jim H, McLaughlin J, Menon U,
      Narod SA, Phelan CM, Ramus SJ, Risch H, Song H, Sutphen R, Terry KL, Tyrer J, Vierkant
      RA, Wentzensen N, Lancaster JM, Cheng JQ, Berchuck A, Pharoah PDP, Schildkraut JM,
      Goode EL, Sellers TA on behalf of the Ovarian Cancer Association Consortium (OCAC).
      MicroRNA processing and binding site polymorphisms are not replicated in the Ovarian
      Cancer Association Consortium. Cancer Epidemiol Biomarkers Prev 2011;20:1793-7.
      PMCID: PMC3153581.
   Permuth-Wey J, Kim D, Tsai Y-Y, Lin H-Y, Chen YA, Barnholtz-Sloan J, Birrer MJ, Gregory
      Bloom G, Chanock SJ, Chen Z, Cramer DW, Cunningham JM, Dagne G, Ebbert-Syfrett J,
      Fenstermacher D, Fridley BL, Garcia-Closas M, Gayther SA, Ge W, Gentry-Maharaj A,
      Gonzalez-Bosquet J, Goode EL, Iversen E, Jim H, Kong W, McLaughlin J, Menon U,
      Monteiro ANA, Narod SA, Pharoah PDP, Phelan CM, Qu X, Ramus SJ, Risch H, Schildkraut
      JM, Song H, Stockwell H, Sutphen R, Terry KL, Tyrer J, Vierkant RA, Wentzensen N,
      Lancaster JM, Cheng JQ, Sellers TA on behalf of the Ovarian Cancer Association Consortium
      (OCAC). LIN28B polymorphisms influence susceptibility to epithelial ovarian cancer.
      Cancer Res 2011;71:3896-903. PMCID: PMC3107389.
   Lu L, Risch H, Irwin ML, Mayne ST, Cartmel B, Schwartz P, Rutherford T, Yu H. Long-term
      overweight and weight gain in early adulthood in association with risk of endometrial cancer.
      Int J Cancer 2011;129:1237-43. PMCID: PMC3125463.
   Zhang S, Royer R, Li S, McLaughlin JR, Rosen B, Risch HA, Fan I, Bradley L, Shaw PA, Narod
      SA. Frequencies of BRCA1 and BRCA2 mutations among 1,342 unselected patients with
      invasive ovarian cancer. Gyn Oncol 2011;121:353-7. PMID:21324516. *NIH funding pre-
      dates mandate.
   Freedman ND, Murray LJ, Kamangar F, Abnet CC, Cook MB, Nyrén O, Ye W, Wu AH,
      Bernstein L, Brown LM, Ward MH, Pandeya N, Green A, Casson AG, Giffen C, Risch HA,
      Gammon MD, Chow W-H, Vaughan TL, Corley DA, Whiteman DC. Alcohol intake and risk
      of esophageal adenocarcinoma: a pooled analysis from the BEACON Consortium. Gut
      2011;60:1029-37. PMCID: PMC3439838.
   Lu L, Zhang C, Zhu G, Irwin M, Risch H, Menato G, Mitidieri M, Katsaros D, Yu H. Telomerase
      expression and telomere length in breast cancer and their associations with adjuvant treatment
      and disease outcome.        Breast Cancer Res 2011;13:R56:1-8.            http://breast-cancer-
      research.com/content/13/3/R56. *Not a result of NIH funding.
   Lu L, Katsaros D, Zhu Y, Hoffman A, Luca S, Marion CE, Mu L, Risch H, Yu H. Let-7A
      regulation of insulin-like growth factors in breast cancer. Breast Cancer Res Treat 2010,
      Published online: DOI 10.1007/s10549-010-1168-5. *Not a result of NIH funding.
   Permuth-Wey J, Chen YA, Tsai Y-Y, Chen Z, Qu X, Lancaster JM, Stockwell H, Dagne G,
      Iversen E, Risch H, Barnholtz-Sloan J, Cunningham JM, Vierkant RA, Fridley BL, Sutphen


                                                                                        App000076
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 79 of 633 PageID 805


   R, McLaughlin J, Narod SA, Goode EL, Schildkraut JM, Fenstermacher D, Phelan CM,
   Sellers TA. Inherited variants in mitochondrial biogenesis genes may influence epithelial
   ovarian cancer risk. Cancer Epidemiol Biomarkers Prev 2011;20:1131-45. PMCID:
   PMC3111851.
Pharoah PDP, Palmieri RT, Ramus SJ, Gayther SA, Andrulis IL, Anton-Culver H, Antonenkova
   N, Antoniou AC, Goldgar D for the BCFR Investigators, Beattie MS, Beckmann MW, Birrer
   MJ, Bogdanova N, Bolton KL, Brewster W, Brooks-Wilson A, Brown R, Butzow R, Caldes T,
   Caligo MA, Campbell I, Chang-Claude J, Chen YA, Cook LS, Couch FJ, Cramer DW,
   Cunningham JM, Despierre E, Doherty JA, Dörk T, Dürst M, Eccles DM, Ekici AB, Easton D
   for the EMBRACE Investigators, Fasching PA, de Fazio A, Fenstermacher DA, Flanagan JM,
   Fridley BL, Friedman E, Gao B, Sinilnikova O for the GEMO Study Collaborators, Gentry-
   Maharaj A, Godwin AK, Goode EL, Goodman MT, Gross J, Hansen TVO, Harnett P, Rookus
   M for the HEBON Investigators, Heikkinen T, Hein R, Høgdall C, Høgdall E, Iversen ES,
   Jakubowska A, Johnatty SE, Karlan BY, Kauff ND, Kaye SB, Chenevix-Trench G for the
   kConFab Investigators and the Consortium of Investigators of Modifiers of BRCA1/2,
   Kelemen LE, Kiemeney LA, Krüger Kjaer S, Lambrechts D, LaPolla JP, Lázaro C, Le ND,
   Leminen A, Leunen K, Levine DA, Lu Y, Lundvall L, Macgregor S, Marees T, Massuger LF,
   McLaughlin JR, Menon U, Montagna M, Moysich KB, Narod SA, Nathanson KL, Nedergaard
   L, Ness RB, Nevanlinna H, Nickels S, Osorio A, Paul J, Pearce CL, Phelan CM, Pike MC,
   Radice P, Rossing MA, Schildkraut JM, Sellers TA, Singer CF, Song H, Stram DO, Sutphen
   R, Lindblom A for the SWE-BRCA Investigators, Terry KL, Tsai Y-Y, van Altena AM,
   Vergote I, Vierkant RA, Vitonis AF, Walsh C, Wang-Gohrke S, Wappenschmidt B, Wu AH,
   Ziogas A, Berchuck A and Risch HA for the Ovarian Cancer Association Consortium. The
   role of KRAS rs61764370 in invasive epithelial ovarian cancer: implications for clinical
   testing. Clin Cancer Res 2011;17:3742-50. PMCID: PMC3107901.
Zeng H, Yu H, Lu L, Jain D, Kidd MS, Saif MW, Chanock SJ and Hartge P for the PanScan
   Consortium, Risch HA. Genetic effects and modifiers of radiotherapy and chemotherapy on
   survival in pancreatic cancer. Pancreas 2011;40:657-63. PMCID: PMC3116071.
Navarro Silvera SA, Mayne ST, Risch HA, Gammon MD, Vaughan T, Chow W-H, Dubin JA,
   Dubrow R, Schoenberg J, Stanford JL, West AB, Rotterdam H, Blot WJ. Principal component
   analysis of dietary and lifestyle patterns in relation to risk of subtypes of esophageal and
   gastric cancer. Ann Epidemiol 2011;21:543-50. PMCID: PMC3109225.
Lochhead P, Frank B, Hold GL, Rabkin CS, Ng MTH, Vaughan TL, Risch HA, Gammon MD,
   Lissowska J, Weck MN, Raum E, Müller H, Illig T, Klopp N, Dawson A, McColl KE,
   Brenner H, Chow WH, El-Omar EM. Genetic variation in the prostate stem cell antigen gene
   and upper gastrointestinal cancer in white individuals. Gastroenterology 2011;140:435-41.
   PMCID: PMC3031760.
Lochhead P, Ng MT, Hold GL, Rabkin CS, Vaughan TL, Gammon MD, Risch HA, Lissowska J,
   Mukhopadhya I, Chow W-H, El-Omar EM. Possible association between a genetic
   polymorphism at 8q24 and risk of upper gastrointestinal cancer. Eur J Cancer Prev
   2011;20:54-7. PMCID: PMC3020097.
Zhou Y, Irwin ML, Risch HA. Pre- and post-diagnosis body mass index, weight change and
   ovarian cancer mortality. Gynecol Oncol 2011;140:435-41. PMCID: PMC3034401.
Bertuccio P, La Vecchia C, Silverman D, Petersen G, Bracci PM, Negri E, Li D, Risch HA, Olson
   SH, Gallinger S, Miller AB, Bueno-de-Mesquita HB, Talamini R, Polesel J, Ghadirian P,
   Baghurst PA, Zatonski W, Fontham E, Bamlet WR, Holly EA, Lucenteforte E, Hassan M, Yu

                                                                                   App000077
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 80 of 633 PageID 806


       H, Kurtz RC, Cotterchio M, Su J, Maisonneuve P, Duell EJ, Bosetti C, Boffetta P. Cigar and
       pipe smoking, smokeless tobacco use and pancreatic cancer: an analysis from the International
       Pancreatic Cancer Case-Control Consortium (PanC4). Ann Oncol 2011;22:1420-6. PMID:
       21245160. PMCID: PMC3139985.
   Arem H, Irwin ML, Zhou Y, Lu L, Risch H, Yu H. Physical activity and endometrial cancer in a
      population-based case-control study. Cancer Causes Control 2011;22:219-26. PMCID:
      PMC3075067.
   Soskolne CL, Jhangri GS, Scott HM, Brenner DR, Siemiatycki J, Lakhani R, Gérin M, Dewar R,
      Miller AB, Risch HA. A population-based case-control study of occupational exposure to
      acids and the risk of lung cancer: Evidence for specificity of association. Int J Occup Environ
      Health 2011;17:1-8. *Not a result of NIH funding.
2010
   Goode EL, Chenevix-Trench G, Song H, Ramus SJ, Notaridou M, Lawrenson K, Widschwendter
      M, Vierkant RA, Larson MC, Kjaer SK, Birrer MJ, Berchuck A, Schildkraut J, Tomlinson I,
      Kiemeney LA, Cook LS, Gronwald J, Garcia-Closas M, Gore ME, Campbell I, Whittemore
      AS, Sutphen R, Phelan C, Anton- Culver H, Pearce CL, Lambrechts D, Rossing MA, Chang-
      Claude J, Moysich KB, Goodman MT, Dörk T, Nevanlinna H, Ness RB, Rafnar T, Hogdall C,
      Hogdall E, Fridley BL, Cunningham JM, Sieh W, McGuire V, Godwin AK, Cramer DW,
      Hernandez D, Levine D, Lu K, Iversen ES, Palmieri RT, Houlston R, van Altena AM, Aben
      KKH, Massuger LFAG, Brooks-Wilson A, Kelemen LE, Le ND, Jakubowska A, Lubinski J,
      Medrek K, Stafford A, Easton DF, Tyrer J, Bolton KL, Harrington P, Eccles D, Chen A,
      Molina AN, Davila BN, Arango H, Tsai Y-Y, Chen Z, Risch HA, McLaughlin J, Narod SA,
      Ziogas A, Brewster W, Gentry-Maharaj A, Menon U, Wu AH, Stram DO, Pike MC, The
      Wellcome Trust Case-Control Consortium, Beesley J, Webb PM, The Australian Cancer Study
      (Ovarian Cancer), The Australian Ovarian Cancer Study Group, Chen X, Ekici AB, Thiel FC,
      Beckmann MW, Yang H, Wentzensen N, Lissowska J, Fasching PA, Despierre E, Amant F,
      Vergote I, Doherty J, Hein R, Wang-Gohrke S, Lurie G, Carney ME, Thompson PJ,
      Runnebaum I, Hillemanns P, Dürst M, Antonenkova N, Bogdanova N, Leminen A, Butzow R,
      Heikkinen T, Stefansson K, Sulem P, Besenbacher S, Sellers TA, Gayther SA, Pharoah PDP,
      The Ovarian Cancer Association Consortium (OCAC). A genome-wide association study
      identifies susceptibility loci for ovarian cancer at 2q31 and 8q24. Nat Genet 2010;42:874-9.
      PMCID: PMC3020231.
   Ratner E, Lu L, Boeke M, Barnett R, Nallur S, Chin LJ, Pelletier C, Blitzblau R, Tassi R,
      Paranjape T, Hui P, Godwin AK, Yu H, Risch H, Rutherford T, Schwartz P, Santin A, Matloff
      E, Zelterman D, Slack FJ, Weidhaas JB. A KRAS-variant in ovarian cancer acts as a genetic
      marker of cancer risk. Cancer Res 2010;70:6509-15. PMCID: PMC2923587.
   Cook MB, Kamangar F, Whiteman DC, Freedman ND, Gammon MD, Bernstein L, Brown LM,
      Risch HA, Ye W, Sharp L, Wu AH, Ward MH, Giffen C, Casson AG, Abnet CC, Murray LJ,
      Corley DA, Nyrén O, Vaughan TL, Chow W-H. Cigarette smoking and adenocarcinomas of
      the esophagus and esophagogastric junction: a pooled analysis from the International
      BEACON Consortium. J Natl Cancer Inst 2010;102:1344-53. PMCID: PMC2935475.
   Risch HA, Yu H, Lu L, Kidd MS. ABO blood group, Helicobacter pylori seropositivity, and risk
      of pancreatic cancer: a case-control study. J Natl Cancer Inst 2010;102(7):502-5. PMCID:
      PMC2902822.
   Johnatty SE, Beesley J, Chen X, Macgregor S, Duffy DL, Spurdle AB, deFazio A, Gava N, Webb
      PM, Rossing MA, Doherty JA, Goodman MT, Lurie G, Thompson PJ, Wilkens LR, Ness RB,

                                                                                        App000078
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 81 of 633 PageID 807


       Moysich KB, Chang-Claude J, Wang-Gohrke S, Cramer DW, Terry KL, Hankinson SE,
       Tworoger SS, Garcia-Closas M, Yang H, Lissowska J, Chanock SJ, Pharoah PD, Song H,
       Whitemore AS, Pearce CL, Stram DO, Wu AH, Pike MC, Gayther SA, Ramus SJ, Menon U,
       Gentry-Maharaj A, Anton-Culver H, Ziogas A, Hogdall E, Kjaer SK, Hogdall C, Berchuck A,
       Schildkraut JM, Iversen ES, Moorman PG, Phelan CM, Sellers TA, Cunningham JM, Vierkant
       RA, Rider DN, Goode EL, Haviv I, Chenevix-Trench G; Ovarian Cancer Association
       Consortium; Australian Ovarian Cancer Study Group; Australian Cancer Study (Ovarian
       Cancer). Evaluation of candidate stromal epithelial cross-talk genes identifies association
       between risk of serous ovarian cancer and TERT, a cancer susceptibility "hot-spot". PLoS
       Genet 2010;6:e1001016. PMCID: PMC2900295.
   Elliott KS, Zeggini E, McCarthy MI, Gudmundsson J, Sulem P, Stacey SN, Thorlacius S,
       Amundadottir L, Grönberg H, Xu J, Gaborieau V, Eeles RA, Neal DE, Donovan JL, Hamdy
       FC, Muir K, Hwang SJ, Spitz MR, Zanke B, Carvajal-Carmona L, Brown KM; Australian
       Melanoma Family Study Investigators, Hayward NK, Macgregor S, Tomlinson IP, Lemire M,
       Amos CI, Murabito JM, Isaacs WB, Easton DF, Brennan P, PanScan Consortium, Barkardottir
       RB, Gudbjartsson DF, Rafnar T, Hunter DJ, Chanock SJ, Stefansson K, Ioannidis JP.
       Evaluation of association of HNF1B variants with diverse cancers: collaborative analysis of
       data from 19 genome-wide association studies. PLoS One 2010;5:e10858. PMCID:
       PMC2878330.
   Petersen GM, Amundadottir L, Fuchs CS, Kraft P, Stolzenberg-Solomon RZ, Jacobs KB, Arslan
       AA, Bueno-de-Mesquita HB, Gallinger S, Gross M, Helzlsouer K, Holly EA, Jacobs EJ, Klein
       AP, LaCroix A, Li D, Mandelson MT, Olson SH, Risch HA, Zheng W, Albanes D, Bamlet
       WR, Berg CD, Boutron-Ruault M-C, Buring JE, Bracci PM, Canzian F, Clipp S, Cotterchio
       M, de Andrade M, Duell EJ, Gaziano JM, Giovannucci EL, Goggins M, Hallmans G,
       Hankinson SE, Hassan M, Howard B, Hunter DJ, Hutchinson A, Jenab M, Kaaks R,
       Kooperberg C, Krogh V, Kurtz RC, Lynch SM, McWilliams RR, Mendelsohn JB, Michaud
       DS, Parikh H, Patel AV, Peeters PHM, Rajkovic A, Riboli E, Rodriguez L, Seminara D, Shu
       X-O, Thomas G, Tjønneland A, Tobias GS, Trichopoulos D, Van Den Eeden SK, Virtamo J,
       Wactawski-Wende J, Wang Z, Wolpin B, Yu H, Yu K, Zeleniuch-Jacquotte A, Fraumeni JF
       Jr, Hoover RN, Hartge P, Chanock SJ. A genome-wide association study identifies pancreatic
       cancer susceptibility loci on chromosomes 13q22.1, 1q32.1 and 5p15.33. Nat Genet
       2010;42(3):224-8. PMCID: PMC28533179.
2009
   Song H, Ramus SJ, Tyrer J, Bolton K, Gentry-Maharaj A, Wozniak E, Anton-Culver H, Chang-
       Claude J, Cramer DW, DiCioccio R, Dörk T, Goode EL, Goodman MT, Schildkraut JM,
       Sellers T, Beckmann MW, Beesley J, Blaakaer J, Carney ME, Chanock S, Chen Z,
       Cunningham JM, Dicks E, Doherty JA, Duerst M, Ekici AB, Fenstermacher D, Fridley BL,
       Gore ME, Hankinson SE, Hogdall C, Hogdall E, Iversen ES, Jacobs IJ, Jakubowska A,
       Lissowska J, LubiÑski J, Lurie G, McGuire V, McLaughlin J, M drek K, Moorman PG,
       Moysich K, Narod S, Phelan C, Risch H, Stram DO, Strick R, Terry KL, Tsai Y-Y, Tworoger
       SS, Van Den Berg DJ, Vierkant RA, Wang-Gohrke S, Webb PM, Wilkens LR, Wu AH, Yang
       H, Ziogas A, Australian Cancer (Ovarian) Study, The Australian Ovarian Cancer Study Group,
       The Hannover-Jena Ovarian Cancer Study Group, The Ovarian Cancer Association
       Consortium, Whittemore AS, Rossing MA, Ponder BAJ, Pearce CL, Ness RB, Menon U,
       Krüger Kjær S, Gronwald J, Garcia-Closas M, Fasching P, Easton DF, Chenevix-Trench G,
       Berchuck A, Pharoah PDP, Gayther SA. A genome-wide association study identifies a novel
       ovarian cancer susceptibility locus on 9p22.2. Nat Genet 2009;41:996-1000. PMCID:

                                                                                      App000079
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 82 of 633 PageID 808


     PMC2844110.
   Amundadottir L, Kraft P, Stolzenberg-Solomon RZ, Fuchs CS, Petersen GM, Arslan AA, Bueno-
     de-Mesquita HB, Gross M, Helzlsouer K, Jacobs EJ, LaCroix A, Zheng W, Albanes D, Bamlet
     W, Berg CD, Berrino F, Bingham S, Buring JE, Bracci PM, Canzian F, Clavel-Chapelon F,
     Clipp S, Cotterchio M, de Andrade M, Duell EJ, Fox JW Jr, Gallinger S, Gaziano JM,
     Giovannucci E, Goggins M, González C, Hallmans G, Hankinson SE, Hassan M, Holly EA,
     Hunter DJ, Hutchinson A, Jackson R, Jacobs K, Jenab M, Kaaks R, Klein AP, Kooperberg C,
     Kurtz RC, Li D, Lynch SM, Mandelson M, McWilliams RR, Mendelsohn JB, Michaud DS,
     Olson SH, Overvad K, Patel AV, Peeters PHM, Rajkovic A, Riboli E, Risch HA, Shu X-O,
     Thomas G, Tobias GS, Trichopoulos D, Van Den Eeden SK, Virtamo J, Wactawski-Wende J,
     Wolpin BM, Yu H, Yu K, Zeleniuch-Jacquotte A, Chanock SJ, Hartge P, Hoover RN.
     Genome-wide association study identifies ABO blood group susceptibility variants for
     pancreatic cancer. Nat Genet 2009;41:986-90. PMCID: PMC2839871.
   Hoyo C, Schildkraut JM, Murphy SK, Chow W-H, Vaughan TL, Risch H, Marks JR, Jirtle RL,
      Calingeart B, Mayne S, Fraumeni J Jr, Gammon MD. IGF2R polymorphisms and risk of
      esophageal and gastric adenocarcinoma.    Int J Cancer 2009;125:2673-8.   PMCID:
      PMC3008656.
   Concato J, Jain D, Uchio E, Risch H, Li WW, Wells CK. Molecular markers and death from
      prostate cancer. Ann Intern Med 2009;150:595-603. *Not a result of NIH funding.
   Bentov Y, Brown TJ, Akbari MR, Royer R, Risch H, Rosen B, McLaughlin J, Sun P, Zhang S,
      Narod SA, Casper RF. Polymorphic variation of genes in the fibrinolytic system and the risk
      of ovarian cancer. PLoS ONE 2009;4:e5918. PMCID: PMC2691597.
   Figueroa JD, Terry MB, Gammon MD, Vaughan TL, Risch HA, Zhang F-F, Kleiner DE, Bennett
      WP, Howe CL, Dubrow R, Mayne ST, Fraumeni JF Jr, Chow W-H. Cigarette smoking, body
      mass index, gastro-esophageal reflux disease, and non-steroidal anti-inflammatory drug use
      and risk of subtypes of esophageal and gastric cancers by P53 overexpression. Cancer Causes
      Control 2009;20:361-8. PMCID: PMC2726999.
   Hold GL, Rabkin CS, Gammon MD, Berry SH, Smith MG, Lissowska J, Risch HA, Chow W-H,
      Mowat NAG, Vaughan TL, El-Omar EM. CD14-159C/T and TLR9-1237T/C polymorphisms
      are not associated with gastric cancer risk in Caucasian populations. Eur J Cancer Prev
      2009;18:117-9. PMCID: PMC2679029.
   Metcalfe KA, Fan I, McLaughlin J, Risch HA, Rosen B, Murphy J, Bradley L, Armel S, Sun P,
      Narod SA. Uptake of clinical genetic testing for ovarian cancer in Ontario: a population-based
      study. Gynecol Oncol 2009;112:68-72. PMCID: PMC3074978.
2008
   Antoniou AC, Cunningham AP, Peto J, Evans DG, Lalloo F, Narod SA, Risch HA, Eyfjord JE,
      Hopper JL, Southey MC, Olsson H, Johannsson O, Borg A, Pasini B, Radice P, Manoukian S,
      Eccles DM, Tang N, Olah E, Anton-Culver H, Warner E, Lubinski J, Gronwald J, Gorski B,
      Tryggvadottir L, Syrjakoski K, Kallioniemi O-P, Eerola H, Nevanlinna H, Pharoah PDP,
      Easton DF. The BOADICEA model of genetic susceptibility to breast and ovarian cancers:
      updates and extensions. Br J Cancer 2008;98:1457-66. PMCID: PMC2361716.
   Navarro Silvera SA, Mayne ST, Risch H, Gammon MD, Vaughan TL, Chow W-H, Dubrow R,
      Schoenberg JB, Stanford JL, West AB, Rotterdam H, Blot WJ, Fraumeni JF Jr. Food group
      intake and risk of subtypes of esophageal and gastric cancer. Int J Cancer 2008;123:852-60.
      PMCID: PMC3008621.


                                                                                        App000080
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 83 of 633 PageID 809


   Vaninetti NM, Geldenhuys L, Porter GA, Risch H, Hainaut P, Guernsey DL, Casson AG.
      Inducible nitric oxide synthase, nitrotyrosine and p53 mutations in the molecular pathogenesis
      of Barrett’s Esophagus and esophageal adenocarcinoma. Mol Carcinog 2008;47:275-85.
      *Not a result of NIH funding.
   Pearce CL, Wu AH, Gayther SA, Bale AE, Australian Cancer Study (Ovarian Cancer) and
      Australian Ovarian Cancer Study Group, Beck PA, Beesley J, Chanock S, Cramer DW,
      DiCioccio R, Edwards R, Fredericksen ZS, Garcia-Closas M, Goode EL, Green AC, Hartmann
      LC, Hogdall E, Kruger Kjaer S, Lissowska J, McGuire V, Modugno F, Moysich K, Ness RB,
      Ramus SJ, Risch HA, Sellers TA, Song H, Stram DO, Terry KL, Webb PM, Whiteman DC,
      Whittemore AS, Zheng W, Pharoah PDP, Chenevix-Trench G, Pike MC, Schildkraut J,
      Berchuck A, on behalf of the Ovarian Cancer Association Consortium (OCAC). Progesterone
      receptor variation and risk of ovarian cancer is limited to the invasive endometrioid subtype:
      results from the ovarian cancer association consortium pooled analysis. Br J Cancer
      2008;98:282-8. PMCID: PMC2361465.
   Collaborative Group on Epidemiological Studies of Ovarian Cancer. Beral V, Doll R, Hermon C,
      Peto R, Reeves G. Ovarian cancer and oral contraceptives: collaborative reanalysis of data
      from 45 epidemiological studies including 23257 women with ovarian cancer and 87303
      controls. Lancet 2008;371:303-14. *Not a result of NIH funding.
   Harley I, Rosen B, Risch HA, Siminovitch K, Beiner ME, McLaughlin J, Sun P, Narod SA.
      Ovarian cancer risk is associated with a common variant in the promoter sequence of the
      mismatch repair gene MLH1. Gynecol Oncol 2008;109:384-7. PMCID: PMC3060029.
2007
   Terry MB, Gammon MD, Zhang FF, Vaughan TL, Chow W-H, Risch HA, Schoenberg JB,
      Mayne ST, Stanford JL, West AB, Rotterdam H, Blot WJ, Fraumeni JF Jr, Santella RM.
      Alcohol dehydrogenase 3 and risk of esophageal and gastric adenocarcinomas. Cancer Causes
      Control 2007;18:1039-46.
   Concato J, Jain D, Li WW, Risch HA, Uchio EM, Wells CK. Molecular markers and mortality in
      prostate cancer. BJU Intl 2007;100:1259-63.
   Hold GL, Rabkin CS, Chow W-H, Smith MG, Gammon MD, Risch HA, Vaughan TL, McColl
      KEL, Lissowska J, Zatonski W, Schoenberg JB, Blot WJ, Mowat NAG, Fraumeni JF Jr, El-
      Omar EM. A functional polymorphism of Toll-like receptor 4 gene increases risk of gastric
      carcinoma and its precursors. Gastroenterology 2007;132:905-12.
   Wideroff L, Vaughan TL, Farin FM, Gammon MD, Risch H, Stanford JL, Chow W-H. GST,
      NAT1, CYP1A1 polymorphisms and risk of esophageal and gastric adenocarcinomas. Cancer
      Detect Prev 2007;31:233-6.
   Brokaw J, Katsaros D, Wiley A, Lu L, Su D, Sochirca O, de la Longrais IAR, Mayne S, Risch H,
      Yu H. IGF-I in epithelial ovarian cancer and its role in disease progression. Growth Factors
      2007;25:346-54.
   McLaughlin JR, Risch HA, Lubinski J, Moller P, Ghadirian P, Lynch H, Karlan B, Fishman D,
     Rosen B, Neuhausen SL, Offit K, Kauff N, Domchek S, Tung N, Friedman E, Foulkes W, Sun
     P, Narod SA, Hereditary Ovarian Cancer Clinical Study Group. Reproductive risk factors for
     ovarian cancer in carriers of BRCA1 or BRCA2 mutations: a case-control study. Lancet
     Oncol 2007;8:26-34.
   Koutros S, Holford TR, Hahn T, Lantos PM, McCarthy PL Jr, Risch HA, Swede H. Excess
      diagnosis of non-Hodgkin’s lymphoma during spring in the USA. Leuk Lymphoma

                                                                                       App000081
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 84 of 633 PageID 810


       2007;48:357-66.
2006
   Risch HA, McLaughlin JR, Cole DEC, Rosen B, Bradley L, Fan I, Tang J, Li S, Zhang S, Shaw
      PA, Narod SA. Population BRCA1 and BRCA2 mutation frequencies and cancer penetrances:
      a kin-cohort study in Ontario, Canada. J Natl Cancer Inst 2006;98(23):1694-706.
   Risch HA, Bale AE, Beck PA, Zheng W. PGR +331A/G and increased risk of epithelial ovarian
      cancer. Cancer Epidemiol Biomarkers Prev 2006;15:1738-41.
   Lu L, Katsaros D, Wiley A, Rigault de la Longrais IA, Risch HA, Puopolo M, Yu H. The
      relationship of insulin-like growth factor-II, insulin-like growth factor binding protein-3, and
      estrogen receptor-alpha expression to disease progression in epithelial ovarian cancer. Clin
      Cancer Res 2006;12:1208-14.
   Mayne ST, Risch HA, Dubrow R, Chow W-H, Gammon MD, Vaughan TL, Borchardt L,
     Schoenberg JB, Stanford JB, West AB, Rotterdam H, Blot WJ, Fraumeni JF Jr. Carbonated
     soft drink consumption and risk of esophageal adenocarcinoma. J Natl Cancer Inst
     2006;98:72-5.
   Beeghly A, Katsaros D, Chen H, Fracchioli S, Zhang Y, Massobrio M, Risch H, Jones B, Yu H.
      Glutathione S-transferase polymorphisms and ovarian cancer treatment and survival. Gynecol
      Oncol 2006;100:330-7.
2005
   Trivers KF, De Roos AJ, Gammon MD, Vaughan TL, Risch HA, Olshan AF, Schoenberg JB,
       Mayne ST, Dubrow R, Stanford JL, Abrahamson P, Rotterdam H, West AB, Fraumeni JF Jr,
       Chow W-H. Demographic and lifestyle predictors of survival in patients with esophageal or
       gastric cancers. Clin Gastroenterol Hepatol 2005;3:225-30.
   Antoniou AC, Pharoah PDP, Narod S, Risch HA, Eyfjord JE, Hopper JL, Olsson H, Johannsson
      O, Borg Å, Pasini B, Radice P, Manoukian S, Eccles DM, Tang N, Olah E, Anton-Culver H,
      Warner E, Lubinski J, Gronwald J, Gorski B, Tulinius H, Thorlacius S, Eerola H, Nevanlinna
      H, Syrjäkoski K, Kallioniemi O-P, Thompson D, Evans C, Peto J, Lalloo F, Evans DG, Easton
      DF. Breast and ovarian cancer risks to carriers of the BRCA1 5382insC and 185delAG and
      BRCA2 6174delT mutations: a combined analysis of 22 population based studies. J Med
      Genet 2005;42:602-3.
2004
   Gammon MD, Terry MB, Arber N, Chow W-H, Risch HA, Vaughan TL, Schoenberg JB, Mayne
     ST, Stanford JL, Dubrow R, Rotterdam H, West AB, Fraumeni JF Jr, Weinstein IB,
     Hibshoosh, H. Nonsteroidal anti-inflammatory drug use associated with reduced incidence of
     adenocarcinomas of the esophagus and gastric cardia that overexpress Cyclin D1: a
     population-based study. Cancer Epidemiol Biomarkers Prev 2004;13:34-9.
2003
   Engel LS, Chow W-H, Vaughan TL, Gammon MD, Risch HA, Stanford JL, Schoenberg JB,
      Mayne ST, Dubrow R, Rotterdam H, West AB, Blaser M, Blot WJ, Gail M, Fraumeni JF Jr.
      Population attributable risks of esophageal and gastric cancers. J Natl Cancer Inst
      2003;95:1404-13.
   Risch HA. Etiology of pancreatic cancer, with a hypothesis concerning the role of N-nitroso
      compounds and excess gastric acidity. J Natl Cancer Inst 2003;95(13):948-60.
   Fung WLA, Risch H, McLaughlin J, Rosen B, Cole D, Vesprini D, Narod SA. The N314D


                                                                                         App000082
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 85 of 633 PageID 811


     polymorphism of galactose-1-phosphate uridyl transferase does not modify the risk of ovarian
     cancer. Cancer Epidemiol Biomarkers Prev 2003;12:678-80.
   Modugno F, Moslehi R, Ness RB, Nelson DB, Belle S, Kant JA, Wheeler JE, Wonderlick A,
     Fishman D, Karlan B, Risch H, Cramer DW, Dube M-P, Narod SA. Reproductive factors and
     ovarian cancer risk in Jewish BRCA1 and BRCA2 mutation carriers (United States). Cancer
     Causes Control 2003;14:439-46.
   Modugno F, Ovarian Cancer and High-Risk Women Symposium Presenters. Ovarian cancer and
     high-risk women: Implications for prevention, screening, and early detection. Gynecol Oncol
     2003;91:15-31.
   El-Omar EM, Rabkin CS, Gammon MD, Vaughan TL, Risch HA, Schoenberg JB, Stanford JL,
      Mayne ST, Goedert J, Blot WJ, Fraumeni JF Jr, Chow W-H. Increased risk of noncardia
      gastric cancer associated with proinflammatory cytokine gene polymorphisms.
      Gastroenterology 2003;124:1193-201.
   Antoniou A, Pharoah PDP, Narod S, Risch HA, Eyfjord JE, Hopper J, Loman N, Olsson H,
      Johannsson O, Borg Å, Pasini B, Radice P, Manoukian S, Eccles D, Tang N, Olah E, Anton-
      Culver H, Warner E, Lubinski J, Gronwald J, Gorski B, Tulinius H, Thorlacius S, Eerola H,
      Nevanlinna H, Syrjäkoski K, Kallionemi O-P, Thompson D, Evans C, Peto J, Lalloo F, Evans
      DG, Easton DF. Average risks of breast and ovarian cancer associated with BRCA1 or BRCA2
      mutations detected in case series unselected for family history: a combined analysis of 22
      studies. Am J Human Genet 2003;72:1117-30.
2002
   Shaw PA, McLaughlin JR, Zweemer RP, Narod SA, Risch H, Verheijen RHM, Ryan A, Menko
      FH, Kenemans P, Jacobs IJ. Histopathologic features of genetically determined ovarian
      cancer. Int J Gynecol Pathol 2002;21:407-11.
   Engel LS, Vaughan TL, Gammon MD, Chow W-H, Risch HA, Dubrow R, Mayne ST, Rotterdam
      H, Schoenberg JB, Stanford JL, West AB, Blot WJ, Fraumeni JF Jr. Occupation and risk of
      esophageal and gastric cardia adenocarcinoma. Am J Ind Med 2002;42:11-22.
   Ness RB, Cramer DW, Goodman MT, Kjaer SK, Mallin K, Mosgaard BJ, Purdie DM, Risch HA,
      Vergona R, Wu A. Infertility, fertility drugs and ovarian cancer: a pooled analysis of case-
      control studies. Am J Epidemiol 2002;155:217-24.
2001
   Dhillon PK, Farrow DC, Vaughan TL, Chow W-H, Risch HA, Gammon MD, Mayne ST,
      Stanford JL, Schoenberg JB, Ahsan H, Dubrow R, West AB, Rotterdam H, Blot WJ, Fraumeni
      JF Jr. Family history of cancer and risk of esophageal and gastric cancers in the United States.
       Int J Cancer 2001;93:148-52.
   Mayne ST, Risch HA, Dubrow R, Chow W-H, Gammon MD, Vaughan TL, Farrow DC,
      Schoenberg JB, Stanford JB, Ahsan H, West AB, Rotterdam H, Blot WJ, Fraumeni JF Jr.
      Nutrient intake and risk of subtypes of esophageal and gastric cancer. Cancer Epidemiol
      Biomarkers Prev 2001;10:1055-62.
   Runnebaum IB, Wang-Gohrke S, Vesprini D, Kreienberg R, Lynch H, Moslehi R, Ghadirian P,
      Weber B, Godwin AK, Risch H, Garber G, Lerman C, Olipade OI, Foulkes WD, Karlan B,
      Warner E, Rosen B, Rebbeck T, Tonin P, Dubé M-P, Kieback DG, Narod SA. Progesterone
      receptor variant increases ovarian cancer risk in BRCA1 and BRCA2 mutation carriers who
      were never exposed to oral contraceptives. Pharmacogenetics 2001;11:1-4.


                                                                                         App000083
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 86 of 633 PageID 812


   Risch HA, McLaughlin JR, Cole DEC, Rosen B, Bradley L, Kwan E, Jack E, Vesprini DJ,
      Kuperstein G, Abrahamson JLA, Fan I, Wong B, Narod SA. Prevalence and penetrance of
      germline BRCA1 and BRCA2 mutations in a population series of 649 women with ovarian
      cancer. Am J Human Genet 2001;68(3):700-10.
2000
   Whiteman DC, Murphy MFG, Cook LS, Cramer DW, Hartge P, Marchbanks PA, Nasca PC, Ness
     RB, Purdie DM, Risch HA. Multiple births and risk of epithelial ovarian cancer. J Natl
     Cancer Inst 2000;92:1172-7.
   Moslehi R, Chu W, Karlan B, Fishman D, Risch H, Fields A, Smotkin D, Ben-David Y,
     Rosenblatt J, Russo D, Schwartz P, Tung N, Warner E, Rosen B, Friedman J, Brunet J-S,
     Narod SA. BRCA1 and BRCA2 mutation analysis of 208 Ashkenazi Jewish women with
     ovarian cancer. Am J Human Genet 2000;66:1259-72.
   Shin HR, Kim JY, Ohno T, Cao K, Mizokami M, Risch H, Kim SR. Prevalence and risk factors
      of hepatitis C virus infection among Koreans in a rural area of Korea. Hepatol Res
      2000;17:185-96.
   Eras JL, Saftlas AF, Triche E, Hsu C-D, Risch HA, Bracken MB. Abortion and its effect on risk
      of preeclampsia and transient hypertension. Epidemiology 2000;11:36-43.
   Farrow DC, Vaughan TL, Sweeney C, Gammon MD, Chow W-H, Risch HA, Stanford JL,
       Hansten PD, Mayne ST, Schoenberg JB, Rotterdam H, Ahsan H, West AB, Dubrow R,
       Fraumeni JF Jr, Blot WJ. Gastroesophageal reflux disease, use of H2 receptor antagonists, and
       risk of esophageal and gastric cancer. Cancer Causes Control 2000;11:231-8.
1999
   Wang-Gohrke S, Weikel W, Risch H, Vesprini D, Abrahamson J, Lerman C, Godwin A, Moslehi
     R, Olipade O, Brunet J-S, Stickeler E, Kieback DG, Kreienberg R, Weber B, Narod SA,
     Runnebaum IB. Intron variants of the p53 gene are associated with increased risk for ovarian
     cancer but not in carriers of BRCA1 or BRCA2 germline mutations. Br J Cancer
     1999;81:179-83.
   Zweemer RP, Shaw PA, Verheijen RHM, Ryan A, Berchuk A, Ponder BAJ, Risch H,
     McLaughlin JR, Narod SA, Menko FH, Kenemans P, Jacobs IJ. Accumulation of p53 protein
     is frequent in ovarian cancers associated with BRCA1 and BRCA2 germline mutations. J Clin
     Pathol 1999;52:372-5.
1998
   Risch HA. Hormonal etiology of epithelial ovarian cancer, with a hypothesis concerning the role
      of androgens and progesterone. J Natl Cancer Inst 1998;90(23):1774-86.
   Narod SA, Risch H, Moslehi R, Dørum A, Neuhausen S, Olsson H, Provencher D, Radice P,
      Evans G, Bishop S, Brunet J-S, Ponder BAJ, Klijn JGM. Oral contraceptives and the risk of
      hereditary ovarian cancer. The Hereditary Ovarian Cancer Clinical Study Group. N Engl J
      Med 1998;339(7):424-8.
   Vaughan TL, Farrow DC, Hansten PD, Chow W-H, Gammon MD, Risch HA, Stanford JL,
      Schoenberg JB, Mayne ST, Rotterdam H, Dubrow R, Ahsan H, West AB, Blot WJ, Fraumeni
      JF Jr. Risk of esophageal and gastric adenocarcinomas in relation to use of calcium channel
      blockers, asthma drugs, and other medications that promote gastroesophageal reflux. Cancer
      Epidemiol Biomarkers Prev 1998;7:749-56.
   Chow W-H, Blaser MJ, Blot WJ, Gammon MD, Vaughan TL, Risch HA, Perez-Perez GI,

                                                                                       App000084
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 87 of 633 PageID 813


       Schoenberg JB, Stanford JL, Rotterdam H, West AB, Fraumeni JF Jr. An inverse relation
       between cagA+ strains of Helicobacter pylori infection and risk of esophageal and gastric
       cardia adenocarcinoma. Cancer Res 1998;58:588-90.
   Farrow DC, Vaughan TL, Hansten PD, Stanford JL, Risch HA, Gammon MD, Chow W-H,
       Dubrow R, Ahsan H, Mayne ST, Schoenberg JB, West AB, Rotterdam H, Fraumeni JF Jr, Blot
       WJ. Use of aspirin and other non-steroidal anti-inflammatory drugs and risk of esophageal
       and gastric cancer. Cancer Epidemiol Biomarkers Prev 1998;7:97-102.
   Chow WH, Blot WJ, Vaughan TL, Risch HA, Gammon MD, Stanford JL, Dubrow R, Schoenberg
      JB, Mayne ST, Farrow DC, Ahsan H, West AB, Rotterdam H, Niwa S, Fraumeni JF Jr. Body
      mass index and risk of adenocarcinomas of the esophagus and gastric cardia. J Natl Cancer
      Inst 1998;90:150-5.
1997
   Gammon MD, Schoenberg JB, Ahsan H, Risch HA, Vaughan TL, Chow W-H, Rotterdam H,
     West AB, Dubrow R, Stanford JL, Mayne ST, Farrow DC, Niwa S, Blot WJ, Fraumeni JF Jr.
     Tobacco, alcohol, and socioeconomic status and adenocarcinomas of the esophagus and
     gastric cardia. J Natl Cancer Inst 1997;89:1277-84.
   Chang S, Risch HA. Perineal talc exposure and risk of ovarian carcinoma. Cancer 1997;79:2396-
      401.
   Yoo K-Y, Tajima K, Miura S, Takeuchi T, Hirose K, Risch H, Dubrow R. Breast cancer risk
      factors according to combined estrogen and progesterone receptor status: a case-control
      analysis. Am J Epidemiol 1997;146:307-14.
1996
   Risch HA. Estrogen replacement therapy and risk of epithelial ovarian cancer. Gynecol Oncol
      1996;63:254-7.
   Risch HA, Marrett LD, Jain M, Howe GR. Differences in risk factors for epithelial ovarian
      cancer by histologic type: results of a case-control study. Am J Epidemiol 1996;144(4):363-
      72.
1995
   Risch HA, Howe GR. Pelvic inflammatory disease and the risk of epithelial ovarian cancer.
      Cancer Epidemiol Biomarkers Prev 1995;4:447-51.
   Risch HA, Howe GR. Menopausal hormone use and colorectal cancer in Saskatchewan: A record
      linkage cohort study. Cancer Epidemiol Biomarkers Prev 1995;4:21-8.
1994
   Risch HA, Jain M, Marrett LD, Howe GR. Dietary fat intake and risk of epithelial ovarian
      cancer. J Natl Cancer Inst 1994;86:1409-15.
   Risch HA, Marrett LD, Howe GR. Parity, contraception, infertility and the risk of epithelial
      ovarian cancer. Am J Epidemiol 1994;140(7):585-97.
   Risch HA, Jain M, Marrett LD, Howe GR. Dietary lactose intake, lactose intolerance, and the
      risk of epithelial ovarian cancer in southern Ontario (Canada). Cancer Causes Control
      1994;5:540-8.
   Narod SA, Madlensky L, Bradley L, Cole D, Tonin P, Rosen B, Risch HA. Hereditary and
      familial ovarian cancer in Southern Ontario. Cancer 1994;74:2341-6.



                                                                                     App000085
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 88 of 633 PageID 814


   Risch HA, Howe GR. Menopausal hormone usage and breast cancer in Saskatchewan: A record-
      linkage cohort study. Am J Epidemiol 1994;139:670-83.
1993
   Risch HA, Howe GR, Jain MJ, Burch JD, Holowaty EJ, Miller AB. Are female smokers at higher
      risk for lung cancer than male smokers? A case-control analysis by histologic type. Am J
      Epidemiol 1993;138(5):281-93.
   Holowaty PH, Miller AB, Baines CJ, Risch HA. Canadian National Breast Screening Study: First
      screen results as predictors of future breast cancer risk. Cancer Epidemiol Biomarkers Prev
      1993;2:11-9.
   Yoo K-Y, Tajima K, Miura S, Yoshida M, Murai H, Kuroishi T, Lee Y, Risch HA, Dubrow R. A
      hospital-based case-control study of breast-cancer risk factors by estrogen and progesterone
      receptor status. Cancer Causes Control 1993;4:39-44.
1991
   Holowaty EJ, Risch HA, Burch JD, Miller AB. Lung cancer in women in the Niagara region,
      Ontario: A case-control study. Can J Publ Health 1991;82:304-9.
1990
   Jain M, Burch JD, Howe GR, Risch HA, Miller AB. Dietary factors and risk of lung cancer:
       Results from a case-control study, Toronto, 1981-1985. Int J Cancer 1990;45:287-93.
1989
   Miller AB, Howe GR, Sherman GJ, Lindsay JP, Yaffe MJ, Dinner PJ, Risch HA, Preston DL.
      Mortality from breast cancer after irradiation during fluoroscopic examinations in patients
      being treated for tuberculosis. N Engl J Med 1989;321:1285-9.
   Burch JD, Rohan TE, Howe GR, Risch HA, Hill GB, Steele R, Miller, AB. Risk of bladder
      cancer by source and type of tobacco exposure: a case-control study. Int J Cancer
      1989;44:622-8.
   Howe GR, Burch JD, Chiarelli AM, Risch HA, Choi BCK. An exploratory case-control study of
     brain tumors in children. Cancer Res 1989;49:4349-52.
1988
   Risch HA, Burch JD, Miller AB, Hill GB, Steele R, Howe GR. Dietary factors and the incidence
      of cancer of the urinary bladder. Am J Epidemiol 1988;127(6):1179-91.
   Risch HA, Burch JD, Miller AB, Hill GB, Steele R, Howe GR. Occupational factors and the
      incidence of cancer of the bladder in Canada. Br J Ind Med 1988;45(6):361-7.
   Narod SA, Neri L, Risch HA, Raman S. Lymphocyte micronuclei and sister-chromatid
      exchanges among Canadian federal laboratory employees. Am J Ind Med 1988;14:449-456.
   Risch HA, Weiss NS, Clarke EA, Miller AB. Risk factors for spontaneous abortion and its
      recurrence. Am J Epidemiol 1988;128:420-30.
   Robles SC, Marrett LD, Clarke EA, Risch HA. An application of capture-recapture methods to
      the estimation of completeness of cancer registration. J Clin Epidemiol 1988;41:495-501.
1987
   Burch JD, Craib KJP, Choi BCK, Miller AB, Risch HA, Howe GR. An exploratory case-control
      study of brain tumors in adults. J Natl Cancer Inst 1987;78:601-9.
1986

                                                                                      App000086
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 89 of 633 PageID 815


   Baines CJ, Wall C, Risch HA, Kuin JK, Fan IJ. Changes in breast self-examination behaviour in
      a cohort of 8214 women in the Canadian National Breast Screening Study. Cancer
      1986;57:1209-16.
   Sclabassi RJ, Kroin JS, Hinman CL, Risch HA. The effect of cortical ablation on afferent activity
      in the cat somatosensory system. Electroenceph Clin Neurophysiol 1986;64:31-40.
1985
   Risch HA, Jain M, Choi NW, Fodor JG, Pfeiffer CJ, Howe GR, Harrison LW, Craib KJP,
      Miller AB. Dietary factors and the incidence of cancer of the stomach. Am J Epidemiol
      1985;122:947-59.
   Sclabassi RJ, Hinman CL, Kroin JS, Risch HA. A non-linear analysis of afferent modulatory
      activity in the cat somatosensory system. Electroenceph Clin Neurophysiol 1985;60:444-54.
1983
   Risch HA, Weiss NS, Lyon JL, Daling JR, Liff JM. Events of reproductive life and the incidence
      of epithelial ovarian cancer. Am J Epidemiol 1983;117(2):128-39.
   Risch HA. An approximate solution for the standard deterministic epidemic model. Math
      Biosciences 1983;63:1-8.
1979
   Risch HA. The correlation between relatives under assortative mating for an X-linked and
      autosomal trait. Ann Hum Genet 1979;43:151-65.
1977
   Sclabassi RJ, Risch HA, Hinman CL, Kroin JS, Enns NF, Namerow NS. Complex pattern evoked
      somatosensory responses in the study of multiple sclerosis. Proc IEEE 1977;65:626-33.

Chapters in Books:
   Holick CN, Risch HA. Smoking and Ovarian Cancer. In: Tobacco: Science, Policy and Public
      Health, second edition, Boyle P, Gray N, Henningfield J, Seffrin J, Zatonski W, eds. New
      York: Oxford University Press, pp. 503-11, 2010.
   Holick CN, Risch HA. Smoking and Ovarian Cancer. In: Tobacco and Public Health: Science
      and Policy, Boyle P, Gray N, Henningfield J, Seffrin J, Zatonski W, eds. New York: Oxford
      University Press, pp. 511-21, 2004.
   Risch HA. Hormones and Epithelial Ovarian Cancer. In: Proceedings of the Second
      International Symposium of the Portuguese Menopause Society, Neves-e-Castro M, Wren BG,
      eds. London, UK: Parthenon Publishing Group, pp. 129-40, 2002.
   Risch HA. Etiologic Mechanisms in Epithelial Ovarian Cancer. In: Proceedings of the Third
      International Symposium on Hormonal Carcinogenesis, Li JJ, Daling JR, Li SA, eds. New
      York: Springer Verlag, pp. 307-19, 2000.
   Howe GR, Burch JD, Risch HA. Artificial sweeteners, caloric intake and cancer: the
     epidemiologic evidence. In: Sweeteners: Health Effects, Williams G, ed. Princeton: Princeton
     Scientific Publishers, 1988.
   Choi NW, Miller AB, Fodor JG, Jain M, Howe GR, Risch HA, Ruder AM. Consumption of
      precursors of N-nitroso compounds and human gastric cancer. In: The Relevance of N-Nitroso
      compounds to Human Cancer Exposures and Mechanisms, Bartsch H, O'Neill I, Schulte-


                                                                                       App000087
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 90 of 633 PageID 816


      Hermann R, eds. Lyon: IARC Scientific Publications No. 84, 1987.

Editorials and Other Invited Papers:
   Risch HA. Diabetes and pancreatic cancer: both cause and effect. JNCI J Natl Cancer Inst
      2019;111(1):djy093. doi: 10.1093/jnci/djy093
   Risch HA. Pancreatic cancer: Helicobacter pylori colonization, N-nitrosamine exposures, and
      ABO blood group. Mol Carcinog 2012;51(1):109-18.
   Risch HA. It’s time to accept that intake of dairy foods is not related to risk of ovarian cancer.
      Nat Clin Pract Oncol 2006;3:472-3.
   Risch H. Involvement of dietary factors, Helicobacter pylori, and host inflammatory cytokine
      genetic polymorphisms in the etiology of pancreatic carcinoma. Zhong Liu [Tumor]
      2003;23:445-7.
   Risch HA. Postmenopausal estrogen-only, but not estrogen + progestin, was associated with an
      increased risk of ovarian cancer. Evid-Based Obstet Gynecol 2003;5:53-4.
   Risch HA. Hormone replacement therapy and the risk of ovarian cancer. Gyn Oncol 2002;
      86:115-7.

Other Papers:
   Risch HA. THE AUTHOR REPLIES. Am J Epidemiol 2020;189(11):1444-1449. doi:
      10.1093/aje/kwaa152. PMCID: PMC7454297 (letter)
   Risch HA. Risch Responds to "How to Consider Low Reported Death Rates in COVID-19". Am J
      Epidemiol 2020;189(11):1230-1231. doi: 10.1093/aje/kwaa156. PMCID: PMC7454272 (letter)
   Risch HA. Response to: "Overcoming the therapeutic nihilism of out-of-hospital management of
      COVID-19 patients". Am J Epidemio. 2020 Dec 16:kwaa275. doi: 10.1093/aje/kwaa275. Online
      ahead of print. PMCID: PMC7799246 (letter)
   Connecticut Academy of Science and Engineering, Inc. (May 29, 2020). An Adaptive Risk-Based
      Strategy for Connecticut’s Ongoing COVID-19 Response [White Paper]. Retrieved from
      https://www.ctcase.org/reports/Adaptive%RiskBased%Approach.pdf
   Risch HA. Re: NSAID use and pancreatic cancer risk. Gastroenterology 2018;155:931 (letter).
   Risch HA. Low-dose aspirin and pancreatic cancer risk—Reply. Cancer Epidemiol Biomarkers Prev
      2017;26(7):1155-6 (letter).
   Risch HA. Aspirin and pancreatic cancer—Response.            Cancer Epidemiol Biomarkers Prev
      2017;26(6):979 (letter).
   Risch HA, Yu H, Lu L, Kidd MS. Risch et al. respond to “Clinical utility of prediction models for
      rare outcomes: The example of pancreatic cancer.” Am J Epidemiol 2015;182(1):39-40.
      (response to invited commentary).
   Risch HA, Berchuck A, Pharoah PDP for the Ovarian Cancer Association Consortium. KRAS
      rs61764370 in epithelial ovarian cancer—Response. Clin Cancer Res 2011;17:6601 (letter).
   Bertuccio P, La Vecchia C, Silverman DT, Petersen GM, Bracci PM, Negri E, Li D, Risch HA, Olson
      SH, Gallinger S, Miller AB, Bueno-de-Mesquita HB, Talamini R, Polesel J, Ghadirian P,
      Baghurst PA, Zatonski W, Fontham E, Bamlet WR, Holly EA, Lucenteforte E, Hassan M, Yu H,
      Kurtz RC, Cotterchio M, Su J, Maisonneuve P, Duell EJ, Bosetti C, Boffetta P. Reply to: Are


                                                                                        App000088
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 91 of 633 PageID 817


   cohort data on smokeless tobacco use and pancreatic cancer confounded by alcohol use? Ann
   Oncol 2011;22:1931-2. (letter).
Risch HA. Cyclin E Overexpression Relates to Ovarian Cancer Histology but Not to Risk Factors.
   Cancer Epidemiol Biomarkers Prev 2008;17:1841 (letter).
Zhang Y, Zhu Y, Risch HA. Changing incidence of thyroid cancer. JAMA 2006;296:1350 (letter).
Mayne ST, Risch HA, Dubrow R, Chow W-H, Gammon MD, Vaughan TL, Fraumeni JF Jr.
  Re: “Carbonated Soft Drink Consumption and Risk of Esophageal Adenocarcinoma.”
  Response. J Natl Cancer Inst 2006;98:646-7 (letter).
Risch HA, Miller AB. Re: “Are Women More Susceptible to Lung Cancer?” J Natl Cancer Inst
   2004;96(20):1560 (letter).
Risch HA. Re: “Etiology of pancreatic cancer, with a hypothesis concerning the role of N-nitroso
   compounds and excess gastric acidity.” Response. J Natl Cancer Inst 2004;96:75-6 (letter).
Risch HA, Narod SA. Re: “Cancer risks in BRCA1 carriers: Time for the next generation of
   studies.” J Natl Cancer Inst 2003;95:758 (letter).
Risch HA, Narod SA. Re: “On the use of familial aggregation in population-based case probands
   for calculating penetrance.” J Natl Cancer Inst 2003;95:73-4 (letter).
Risch HA, Miller AB. Re: “Sex, smoking and cancer: a reappraisal.” J Natl Cancer Inst
   2002;94:308 (letter).
Narod SA, Sun P, Risch HA, for the Hereditary Ovarian Cancer Clinical Study Group. Ovarian
   cancer, oral contraceptives, and BRCA mutations. N Engl J Med 2001;345:1706-7 (letter).
Whiteman DC, Murphy MFG, Cook LS, Cramer DW, Hartge P, Marchbanks PA, Nasca PC, Ness
   RB, Purdie DM, Risch HA. Re: “Multiple births and risk of epithelial ovarian cancer--
   Response.” J Natl Cancer Inst 2001;93:319-20 (letter).
Risch HA. Oral contraceptive use, anovulatory action and risk of epithelial ovarian cancer.
   Epidemiology 2000;11:614 (letter).
Risch HA. Re: “Hormonal etiology of epithelial ovarian cancer, with a hypothesis concerning the
   role of androgens and progesterone.” Response. J Natl Cancer Inst 1999;91:650-1 (letter).
Risch HA. Re: “Relationship between lifetime ovulatory cycles and overexpression of mutant
   p53 in epithelial ovarian cancer.” J Natl Cancer Inst 1997;89:1726-7 (letter).
Risch HA, Howe GR, Jain MJ, Burch JD, Holowaty EJ, Miller AB. Re: “Are female smokers at
   higher risk for lung cancer than male smokers? A case-control analysis by histologic type”—
   The authors reply. Am J Epidemiol 1994;140:187-8 (letter).
Risch HA, Howe GR, Jain MJ, Burch JD, Holowaty EJ, Miller AB. Lung cancer risk for female
   smokers. Science 1994;263(5151):1206-8 (letter).
Risch HA. Re: “Likelihood-based Confidence Limits.” Ann Epidemiol 1992;2:767-9 (letter).
Risch HA. Re: “A simple method to calculate the confidence interval of a standardized mortality
   ratio (SMR).” Am J Epidemiol 1991;133:212 (letter).
Risch HA. Re: “Risk factors for spontaneous abortion and its recurrence”—The first author
   replies. Am J Epidemiol 1990;131:571-3 (letter).
Miller AB, Risch HA.      Diet and lung cancer.     Chest--The Cardiopulmonary Journal 1989
   (Suppl);96:8s-9s.
Risch HA, Weiss NS, Daling JR, Lyon JL, Liff JM. Re: “Events of reproductive life and the

                                                                                    App000089
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 92 of 633 PageID 818


      incidence of epithelial ovarian cancer”—The authors reply. Am J Epidemiol 1989;129:862-3
      (letter).
   Risch HA, Tibshirani RJ. Likelihood-based conditional logistic regression methods for
      comparing different classes of controls under individual matching to a single case group. Am
      J Epidemiol 1988;128:446-8 (letter).
   Risch HA. Book Review: Peter Taylor, The Smoke Ring: Tobacco, Money and Multinational
      Politics. J Public Health Policy 1985;6:137-139.
   Risch HA. On approximate solutions for the general stochastic epidemic. Ph.D. dissertation,
      University of Chicago, 1980.
   Risch HA. Functional power series analysis of somatosensory evoked potentials.            M.D.
      dissertation, University of California at San Diego, 1976.

Published Abstracts:
   Cartmel B, Hughes M, Zhou Y, Gottlieb L, Ercolano E, Risch H, Harrigan M, McCorkle R, Irwin
      M. Randomized trial of exercise on depressive symptoms in women diagnosed with ovarian
      cancer: The women's activity and lifestyle study in Connecticut (WALC). Psychooncology
      2018;27(Suppl 1):97. doi:http://dx.doi.org/10.1002/pon.4623
   Streicher SA, Klein AP, Olson SH, Kurtz RC, DeWan AT, Zhao H, Risch HA. A pooled
       genome-wide association study of pancreatic cancer susceptibility loci in American Jews.
       Cancer Res 2017;77(13 Suppl): Abstract 1326. doi:10.1158/1538-7445.AM2017-1326.
   Rasmussen CB, Kjaer SK, Albieri V, Webb PM, Risch HA, Rossing MA, Goodman MT,
      Moysich KB, Schildkraut JM, Bandera EV, Massuger LFAG, Phelan C, Anton-Culver H,
      Pearce CL, Wu AH, Jensen A. Pelvic inflammatory disease and risk of invasive ovarian
      cancer and borderline ovarian tumors: A pooled analysis of 13 case-control studies. Int J
      Gynecol Obstet 2015;131(Suppl 5):e421.
   Prastegaard C, Jensen A, Svane TS, Risch HA, Rossing MA, Chang-Claude J, Goodman MT,
      Moysich K, Matsuo K, Goode EL, Terry KL, Schildkraut JM, Massuger LFAG, Bandera EV,
      Wentzensen N, Whittemore A, Sutphen R, Anton-Culver H, Menon U, Gentry-Maharaj A, Wu
      A, Pearce CL, Webb PM, Kruger Kjaer S. The impact of cigarette smoking on ovarian cancer
      survival: A pooled analysis of 20 case control studies from the ovarian cancer association
      consortium. Int J Gynecol Obstet 2015;131(Suppl 5):e172.
   Zhou Y, Gottlieb L, Cartmel B, Li F, Ercolano EA, Harrigan M, McCorkle R, Ligibel JA, Von
      Gruenigen VE, Gogoi R, Schwartz PE, Risch HA, Irwin ML. Randomized trial of exercise on
      quality of life and fatigue in women diagnosed with ovarian cancer: The Women's Activity
      and Lifestyle study in Connecticut (WALC). J Clin Oncol 2015;33(15 Suppl):9505.
   Yang HP, Cook LS, Weiderpass E, Adami H-O, Anderson KE, Cai H, Cerhan JR, Clendenen T,
      Felix AS, Friedenreich C, Garcia-Closas M, Goodman MT, Liang X, Lissowska J, Lu L,
      Magliocco AM, McCann SE, Moysich KB, Olson SH, Pike MC, Polidoro S, Ricceri F, Risch
      H, Sacerdote C, Setiawan VW, Shu XO, Spurdle AB, Trabert B, Webb PM, Wentzensen N,
      Xiang Y-B, Xu Y, Yu H, Zeleniuch-Jacquotte A, Brinton LA. Infertility and risk of incident
      endometrial carcinoma: a pooled analysis from the Epidemiology of Endometrial Cancer
      Consortium. Cancer Res 2014;74(19 Suppl);2167.
   Tang H, Duell EJ, Risch HA, Olson SH, Bueno-de-Mesquita HB, Gallinger S, Holly EA, Petersen
      GM, Bracci PM, McWilliams RR, Jenab M, Riboli E, Tjønneland A, Boutron-Ruault MC,


                                                                                      App000090
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 93 of 633 PageID 819


   Kaaks R, Trichopoulos D, Panico S, Sund M, Peeters PHM, Khaw K-T, Amos CI, Li D, Wei
   P. Genome-wide gene-diabetes and gene-obesity interaction scan in the pancreatic cancer case
   control consortium. Cancer Res 2014;74(19 Suppl);2214.
Irwin M, Gottlieb L, Cartmel B, Ercolano E, Rothbard M, Zhou Y, Schwartz PE, Ligibel JA, Von
   Gruenigen VE, Risch H. Trial of exercise in ovarian cancer survivors. J Clin Oncol
   2012;30(suppl; abstr TPS1614).
Lu L, Katsaros D, Risch H, Yu H. Stem cell-associated gene Lin-28B genotype and phenotype in
   epithelial ovarian cancer and their associations with disease survival outcomes. Cancer Res
   2012;72(8 Suppl);3655.
Risch HA. Why is pancreatic cancer less frequent in Asia than in the US, in spite of the higher
   prevalence of risk factors in Asia? Observations on the etiology of pancreatic cancer. J
   Epidemiol 2011;21(Suppl):43-6.
Berchuck A, Pharoah P, Ramus S, Gayther S, Palmieri R, Pearce C, Couch F, Antonio A, Goode E,
   Schildkraut J, Chenevix-Trench G, Sellers T, Risch H, for the Consortium of Investigators of
   Modifiers of BRCA1/2 and the Ovarian Cancer Association Consortium. Association of KRAS
   SNP rs61764370 with risk of invasive epithelial ovarian cancer: Implications for clinical testing.
   Gyn Oncol 2011;121:S2-3.
Tsai Y-Y, Chen YA, Chen Z, Permuth-Wey J, Iversen E, Risch H, Barnholtz-Sloan J,
   Cunningham JM, Vierkant RA, Fridley BL, Fenstermacher D, Sutphen R, Phelan CM, Narod
   SA, Schildkraut JM, Goode EL, Sellers TA. A novel region on 8q24.21 is associated with
   ovarian cancer susceptibility. Cancer Res 2011;70:4724. doi:10.1158/1538-7445.AM10-4724
Permuth-Wey J, Tsai Y-Y, Chen YA, Chen Z, Lancaster JM, Iverson E, Risch H, Barnholtz-Sloan
   J, Cunningham JM, Vierkant RA, Fridley BL, Fenstermacher D, Sutphen R, Narod SA, Goode
   EL, Schildkraut JM, Sellers TA, Phelan CM. Mitochondrial genetic variants influence ovarian
   cancer risk. Cancer Res 2011;70:2835. doi:10.1158/1538-7445.AM10-2835
Risch HA. Gene, environment, and risk factor interaction in pancreatic cancer. Cancer Prev Res
   2010;3(12 Suppl):ED02-03. doi:10.1158/1940-6207.PREV-10-ED02-03
Ng MT, Rabkin CS, Lochhead P, Lissowska J, Vaughan TL, Gammon M, Risch H, Chow W-H,
   Hold GL, El-Omar E. Assessment of novel genetic polymorphisms and risk of upper
   gastrointestinal carcinoma. Gastroenterology 2010;138(5)(Suppl 1):S612.
Neale R, Whiteman D, Young J, Fritschi L, Fawcete J, Webb P, Risch H. The Queensland
   Pancreatic Cancer Study--Identifying risk factors for pancreatic cancer. Pancreas
   2008;36:223.
Vaninetti N, Macdonald K, Geldenhuys L, Risch H, Porter G, Guernsey D, Casson AG. Nitric
   oxide in the molecular pathogenesis of Barrett Esophagus and esophageal adenocarcinoma.
   Gastroenterology 2007;132(Suppl 2):A635-6.
Engel LS, Vaughan TL, Gammon MD, Chow WH, Risch HA, Dubrow R, Mayne ST, Rotterdam
   H, Schoenberg JB, Stanford JL, West AB, Blot WJ, Fraumeni JF. Occupation and risk of
   esophageal and gastric cardia adenocarcinoma. Epidemiology 2002;13:S163.
Pharoah P, Antoniou A, Risch H, Narod S, Hopper J, Loman N, Olson H, Johansson O, Borg A,
   Pasini B, Radici P, Eccles D, Tang N, Olah E, Anton-Culver H, Eyfjord J, Evans DG, Evans
   C, Peto J, Easton D. Average risks of breast and ovarian cancer in women who carry a
   BRCA1 or BRCA2 mutation: a preliminary analysis of pooled family data from unselected
   case series. Am J Human Genet 2001;69 (Suppl 1):256.


                                                                                        App000091
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 94 of 633 PageID 820


Ness RB, Cramer DW, Goodman M, Kjaer SK, Mosgaard B, Purdie DM, Risch H, Vergona R,
   Wu A. Infertility and ovarian cancer: A pooled analysis. Am J Epidemiol 2001;153:S111.
McLaughlin J, Cole D, Narod S, Rosen B, Risch H. Reproductive and genetic risk factors for
  ovarian cancer. Am J Epidemiol 2001;153:S205.
Lew EA, Risch HA, Chow WH, Gammon MD, Vaughan TL, Schoenberg JB, Stanford JL, West
   AB, Rotterdam H, Blot WJ, Blaser MJ, Fraumeni JF. Helicobacter pylori, gastroesophageal
   reflux, their interrelationships, and the risk of esophageal adenocarcinoma. Gastroenterology
   2001;120(Suppl 1):A31.
Lew EA, Risch HA, Chow WH, Gammon MD, Vaughan TL, Schoenberg JB, Stanford JL, Farrow
   D, West AB, Rotterdam H, Blot WJ, Fraumeni JF. Epidemiological study of risk factors for
   gastric carcinoids. Gastroenterology 2001;120(Suppl 1):A256.
El-Omar EM, Chow WH, Gammon MD, Vaughan TL, Risch HA, Fraumeni JF Jr. Pro-
   inflammatory genotypes of IL-1 beta, TNF-alpha and IL-10 increase risk of distal gastric
   cancer but not of cardia or oesophageal adenocarcinomas. Gastroenterology 2001;120(Suppl
   1):A86.
Saftlas A, Wang W, Risch H, Woolson R, Hsu C, Bracken M. Prepregnancy body mass index
    and gestational weight gain as risk factors for preeclampsia and transient hypertension. Ann
    Epidemiol 2000;10:475.
Chu W, McLaughlin J, Phelan C, Cole D, Risch H, Narod S. The HRAS1 minisatellite locus
   increases the risk of ovarian cancer in BRCA1 carriers, but not in BRCA2 carriers or sporadic
   ovarian cancer. Am J Human Genet 2000;67:(Suppl 2):82.
Mayne ST, Risch H, Dubrow R, Chow W-H, Blot W, Gammon M, Vaughan T, Farrow DC,
  Schoenberg J, Stanford J, Ahsan H, Fraumeni JF Jr. Nutrient intake and risk of
  adenocarcinomas of the esophagus and gastric cardia. FASEB J 1999;13:A1021.
Hibshoosh H, Gammon MD, Rotterdam H, West AB, Terry MB, Vaughan TL, Risch HA, Chow
   WH, Fraumeni J, Arber N. Cyclin D1 overexpression in esophageal and gastric carcinoma:
   Correlation with histopathology. Lab Invest 1999;79:76A.
Shaw PA, Zweemer RP, McLaughlin J, Narod SA, Risch H, Jacobs IJ.               Characteristics of
   genetically determined ovarian cancer. Lab Invest 1999;79:124A.
Farrow DC, Vaughan TL, Sweeney C, Gammon MD, Chow W-H, Risch HA, Stanford JL,
    Hansten PD, Mayne ST, Schoenberg JB, Rotterdam H, Ahsan H, West AB, Dubrow R,
    Fraumeni JF Jr, Blot WJ. Gastroesophageal reflux disease, use of H2 receptor antagonists, and
    risk of esophageal and gastric cancer. Ann Epidemiol 1998;8:456.
Farrow DC, Vaughan TL, Hansten PD, Stanford JL, Risch HA, Gammon MD, Chow W-H,
    Dubrow R, Ahsan H, Mayne ST, Schoenberg JB, West AB, Rotterdam H, Fraumeni JF Jr, Blot
    WJ. Use of aspirin and other non-steroidal anti-inflammatory drugs and risk of esophageal
    and gastric cancer. Ann Epidemiol 1998;8:134.
Chow WH, Blot WJ, Vaughan TL, Risch HA, Gammon MD, Farrow DC, Mayne ST, Schoenberg
   JB, Fraumeni JF Jr. Body mass index and risk of adenocarcinomas of the esophagus and gastri
    cardia. Cancer Epidemiol Biomarkers Prev 1998;7:175.
Vaughan T, Farrow D, Chow W-H, Gammon M, Risch H, Hansten P, Schoenberg J, Mayne S,
   Fraumeni J Jr. Risk of esophageal and gastric adenocarcinoma and use of calcium antagonists
   and other medications that promote gastroesophageal reflux. Cancer Epidemiol Biomarkers
   Prev 1998;7:178.


                                                                                    App000092
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 95 of 633 PageID 821


   Chow WH, Blaser MJ, Blot WJ, Gammon MD, Vaughan TL, Risch HA, Pérez-Pérez GI,
      Fraumeni JF Jr. H. pylori and CagA status in relation to risk of adenocarcinomas of esophagus
      and stomach by anatomic subsite. Gut 1997;41(Suppl):A33-4.
   Abrahamson JLA, Vesprini DJ, Mclaughlin J, Cole D, Rosen B, Bradley L, Robb K, Jack E, Rehal
      P, Morris A, Patterson C, Fan I, Brunel JS, Narod SA, Risch HA. High proportion of
      germline BRCA1 and BRCA2 mutations in unselected ovarian cancer. Am J Human Genet
      1997;61(Suppl):A59.
   Risch HA. Estrogen replacement therapy and the risk of epithelial ovarian cancer.         Am J
      Epidemiol 1996;143:S42.
   Risch HA, Howe GR. Pelvic inflammatory disease and the risk of epithelial ovarian cancer. Am
      J Epidemiol 1995;141:S24.
   Risch HA, Jain M, Marrett LD, Howe GR. Dietary fat intake and the risk of epithelial ovarian
      cancer. Am J Epidemiol 1994;139:S37.
   Klaus D, Dubrow R, Risch H, Troncale F. Risk of colorectal adenomas and use of nonsteroidal
      antiinflammatory drugs (NSAIDS) and acetaminophen (APAP).            Am J Epidemiol
      1994;139:S78.
   Risch HA, Malcolm E, Howe GR. Cohort study of menopausal hormone usage and breast cancer
      in Saskatchewan. Am J Epidemiol 1993;138:610.
   Risch HA, Howe GR, Jain MJ, Burch JD, Holowaty EJ, Miller AB. Are female smokers at higher
      risk for lung cancer than male smokers? A case-control analysis by histologic type. Am J
      Epidemiol 1992;136:1015.
   Risch HA. A unified framework for meta-analysis by maximum likelihood. Am J Epidemiol
      1988;128:906.
   Risch HA. Measuring tumor induction period in case-control studies of chronic exposures. Am J
      Epidemiol 1986;124:499.

Research Grants Held:
 2020-2025 AP Klein (Principal Investigator), G Petersen, D Li, HA Risch, P Bracci, S Gallinger,
           R Hung, M Meng, E Jacobs, J Manjer, M Sund, V Katzke, A Arslan, L Le Marchand,
           R Milne, R Stolzenberg-Solomon, C Kooperberg, S van den Eeden, J Genkinger, A
           Schwartz, J Brody, S Lynch, A Tjønneland, X-O Shu, L Amundadottir, K Visvanathan,
           B Wolpin. Multi-Ancestry Mapping of Pancreatic Cancer Susceptibility Loci.
           (National Cancer Institute, $112,843 total direct costs to Yale subcontract over 60
           months)
 2018-2020 CY Jeon (Principal Investigator), S Freedland, S Kim, NY Kyeong, TK Nuckols, SJ
           Pandol, HA Risch, B Spiegel. Predicting the Diagnosis of Pancreatic Cancer by
           Leveraging Big Data. (National Cancer Institute, $235,000 total direct costs over 24
           months)
 2018-2018 ML Irwin (Principal Investigator), L Lu, H Risch. Impact of exercise and diet-induced
           weight loss on immunosuppression in breast cancer survivors. (Cynthia Barnett Breast
           Cancer Foundation, $25,000 total costs over 12 months)
 2017-2018 HA Risch (Principal Investigator), L Lu. Feasibility of circulating exosomal proteins
           in ovarian cancer diagnosis. (Brozman Ovarian Cancer Foundation, $25,000 total


                                                                                       App000093
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 96 of 633 PageID 822


          costs over 12 months)
2016-2021 AP Klein (Principal Investigator), P Bracci, S Cleary, S Gallinger, R Hung, D Li, R
          Neale, S Olson, G Petersen, HA Risch, G Scelo. Validation and Fine-scale Mapping
          of Pancreatic Cancer Susceptibility Loci. (National Cancer Institute, $220,000 total
          direct costs to Yale subcontract over 60 months)
2013-2017 Y Guan, X Ma (Principal Investigators), D Zimmerman, P Diggle, T Holford, H Risch,
          L Mueller, Y Zhang. New Statistical Methods to Handle Spatial Uncertainty in
          Cancer Risk Estimation. (National Cancer Institute, $1,100,000 total direct costs over
          48 months)
2011-2016 R Kurman (Principal Investigator), H Berman, L Cope, T Diaz-Montes, M Gauthier, D
          Huso, D Levine, E Matloff, S Narod, V Parkash, H Risch, G Rosner, P Shaw, I-M
          Shih, R Soslow, R Vang, K Visvanathan, T-L Wang, et al. Prevention of Ovarian
          High-Grade Serous Carcinoma by Elucidating Its Early Changes. (Department of
          Defense USMRMC, $9,166,162 total direct costs, of which $199,000 total direct to
          Yale epidemiology subcontract, over 60 months).
2011-2015 AP Klein (Principal Investigator), P Bracci, P Brennan, E Duell, S Gallinger, D Li, R
          Neale, S Olson, G Petersen, HA Risch. Validation and Fine-scale Mapping of
          Pancreatic Cancer Susceptibility Loci. (National Cancer Institute, $197,000 total
          direct costs to Yale subcontract over 48 months)
2011-2013 AP Klein, HA Risch (Co-Principal Investigators). Validation and Fine-Scale Mapping
          of Pancreatic Cancer Susceptibility Loci. (National Human Genome Research
          Institute, covers costs of large-scale high-throughput genotyping of collaborative
          multi-center pancreatic cancer study (see previous grant) at the Center for Inherited
          Disease Research (CIDR)).
2010-2016 H Yu (Principal Investigator), M Irwin, X Ma, S Mayne, H Risch, H Zhao, J Lim.
          Epidemiologic Study of Hepatocellular Carcinoma in the US. (National Cancer
          Institute, $5,385,000 total direct costs over 60 months)
2010-2014 T Sellers (Principal Investigator), A Berchuck, G Bloom, M Clyde, D Fenstermacher,
          B Fridley, S Gayther, W Ge, E Goode, E Iversen, H-Y Lin, S Mears, A Monteiro, T
          Moorman, L Pearce, P Pharoah, C Phelan, H Risch, MA Rossing, J Schildkraut, G
          Trench, Y-Y Tsai. Follow-up of Ovarian Cancer Genetic Association and Interaction
          Studies (FOCI). (National Cancer Institute, $108,926 total direct costs to Yale
          subcontract 2012-2014)
2010-2013 CL Pearce (Principal Investigator), JA Doherty, S Gayther, VM McGuire, H Risch,
          MA Rossing, J Schildkraut, TA Sellers, W Sieh, D Stram, G Trench, P Webb, A
          Whittemore, A Wu. Identifying Ovarian Cancer Susceptibility Alleles Using Genome-
          Wide Scan Data. (National Cancer Institute, $22,500 total direct costs to Yale
          subcontract)
2009-2014 M Irwin (Principal Investigator), J Dziura, R McCorkle, G Mor, H Risch, P Schwartz,
          H Yu. Impact of Exercise on Ovarian Cancer Prognosis. (National Cancer Institute,
          $2,045,493 total direct costs over 59 months)
2009-2012 T Vaughan, D Whiteman (Principal Investigators), L Bernstein, D Corley, MD
          Gammon, L Hardie, N Hayward, G Liu, L Murray, O Nyrén, U Peters, B Reid, HA
          Risch, Y Romero, N Shaheen, D Stram, D Van Den Berg, B Weir, A Wu. Barrett’s
          and Esophageal Adenocarcinoma Consortium Genetic Susceptibility Study. (National

                                                                                    App000094
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 97 of 633 PageID 823


          Cancer Institute, $3,750,000 total direct costs over 36 months)
2009-2010 M Goodman (Principal Investigator), A Berchuck, J Chang-Claude, D Cramer, CM
          Garcia, E Goode, S Krueger Kjaer, R Ness, P Pharoah, HA Risch, M Rossing, R
          Sutphen, K Terry, G Trench, A Whittemore. Collaborative Genetic Study of Ovarian
          Cancer Risk. (National Cancer Institute, $17,419 total direct costs over 12 months, to
          Yale subcontract)
2007-2014 HA Risch (Principal Investigator), Y-T Gao, MS Kidd, H Yu. Case-Control Study of
          Pancreas Cancer in Shanghai, China. (National Cancer Institute, $1,858,377 total
          direct costs over 75 months)
2007-2012 P Salovey (Principal Investigator), M Irwin, ST Mayne, HA Risch. Promoting Cancer
          Prevention/Control with Message Framing: III. Extending Tailored Cancer
          Information Service-Delivered Messages Across the Cancer Continuum. (National
          Cancer Institute: $1,525,215 total direct costs over 58 months)
2007-2012 R Neale (Principal Investigator), D Whiteman, J Young, L Fritschi, J Fawcett, P Webb,
          H Risch. Case-Control Study of Genetic and Environmental Risk Factors for
          Pancreatic Carcinoma. (National Health and Medical Research Council (Australia):
          AU$946,475 total nonacademic direct costs over 60 months)
2007-2011 T Sellers (Principal Investigator), D Ballinger, J Barnholtz-Sloan, ME Colter, Y
          Huang, E Iversen, J Lancaster, J McLaughlin, S Narod, VS Pankratz, H Risch, J
          Schildkraut, R Sutphen. Haplotype-Based Genome Screen for Ovarian Cancer Loci.
          (National Cancer Institute, $5,726,016 total direct costs over 60 months)
2006-2007 R Neale (Principal Investigator), D Whiteman, L Fritschi, J Young, J Fawcett, P Webb,
          H Risch. A Case-Control Study of the Environmental and Genetic Causes of
          Pancreatic Carcinoma. (Queensland Cancer Fund: AU$258,339 total nonacademic
          direct costs over 16 months)
2003-2012 HA Risch (Principal Investigator), FS Gorelick, D Jain, MS Kidd, ST Mayne, MD
          Topazian, H Yu. Case-Control Study of Pancreas Cancer Etiologic Factors.
          (National Cancer Institute: $2,578,672 total direct costs over 80 months, in NCE)
2003-2010 H Yu (Principal Investigator), HA Risch, ST Mayne, M Irwin, B Cartmel. Role of
          Genetic and Lifestyle Interplay in Uterus Cancer. (National Cancer Institute:
          $2,185,432 total direct costs over 60 months, in NCE)
2003-2006 SA Narod (Principal Investigator), B Rosen, JR McLaughlin, P Shaw, HA Risch. The
          contribution of BRCA2 to ovarian cancer. (National Cancer Institute of Canada:
          $375,000 total nonacademic direct costs over 36 months)
2002-2005 H Yu (Principal Investigator), HA Risch. DNA Methylation, Aging, and Prostate
          Cancer Risk. (National Cancer Institute: $600,000 total direct costs over 48 months)
2002-2006 JP Concato (Principal Investigator), W Li, P Peduzzi, HA Risch, D Jain. Risk of
          Mortality in Prostate Cancer. (USVA: $424,000 total direct costs over 48 months)
2001-2007 P Salovey (Principal Investigator), HA Risch, ST Mayne, M Morra. Promoting
          Cancer Prevention/Control with Message Framing. II. (National Cancer Institute:
          $1,324,481 total direct costs over 72 months)
1999-2005 HA Risch (Principal Investigator), AE Bale. DNA Polymorphisms in Ovarian Cancer:
          Case-Control Study. (National Cancer Institute: $325,168 total direct costs over 58
          months)

                                                                                    App000095
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 98 of 633 PageID 824


1998-2002 JP Concato (Principal Investigator), W Li, P Peduzzi, S Flynn, C Howe, HA Risch, D
          Esrig. Risk of Mortality in Prostate Cancer. (USVA: $425,245 total direct costs over
          48 months)
1997-2003 HA Risch (Principal Investigator), L DiPietro, AF Saftlas, A Duleba, ML Carcangiu.
          Case-Control Study of Ovarian Cancer Hormonal Etiology. (National Cancer
          Institute: $1,445,806 total direct costs over 70 months)
1997-2000 SA Narod (Principal Investigator), HA Risch. Risk-Factor Analysis of BRCA1 and
          BRCA2 Carriers. (National Cancer Institute: $1,228,000 total direct costs over 36
          months)
1997-2001 P Salovey (Principal Investigator), HA Risch, M Morra. Promoting Cancer
          Prevention/Control with Message Framing. (National Cancer Institute: $498,295 total
          direct costs over 48 months)
1996-1999 P Salovey (Principal Investigator), HA Risch, M Morra. Message Framing,
          Persuasion, and Cancer Prevention/Detection. (American Cancer Society: $198,000
          total direct costs over 24 months)
1994-2000 HA Risch (Principal Investigator), JR McLaughlin, SA Narod, NJ Risch, EJ Holowaty,
          BP Rosen, DEC Cole. Genetic-Epidemiology Study of Epithelial Ovarian Tumors.
          (National Cancer Institute: $799,551 total direct costs over 69 months)
1994-1997 SA Narod (Principal Investigator), HT Lynch, HA Risch, DE Goldgar. The
          Prevention of Hereditary Breast and Ovarian Cancer. (National Cancer Institute:
          $356,875 total direct costs over 34 months)
1992-1996 HA Risch (Principal Investigator), ST Mayne, R Dubrow, AB West. Epidemiologic
          Study of Esophageal/Gastric Adenocarcinoma. (National Cancer Institute: $536,163
          total direct costs over 43 months)
1991-1992 HA Risch (Principal Investigator). Latency-Temporality Analysis in Case-Control
          Studies of Chronic Exposures. (National Institutes of Health (BSRG): $19,000 total
          direct costs over 12 months)
1990-1991 HA Risch (Principal Investigator), GR Howe, R West, LM Strand. A Record-Linkage
          Cohort Study of Menopausal Hormone Usage and Endometrial Cancer in
          Saskatchewan. (National Health Research and Development Program, Health and
          Welfare Canada: $50,476 total nonacademic direct costs over 8 months)
1990-1994 JAJ Stolwijk (Principal Investigator), HA Risch, ST Mayne, R Dubrow, T Holford.
          Cancer Prevention Research Unit for Connecticut at Yale. (National Cancer Institute:
          $3,865,000 total direct costs over 60 months)
1989-1993 HA Risch (Principal Investigator), LD Marrett, GR Howe, M Jain. A Case-Control
          Study of Dietary Factors and Epithelial Ovarian Cancer. (National Health Research
          and Development Program, Health and Welfare Canada: $343,766 total nonacademic
          direct costs over 41 months)
1986-1990 GR Howe (Principal Investigator), HA Risch, M Jain, JD Burch, C Wall. Research
          Project Support of the NCIC Epidemiology Unit. (National Cancer Institute of Canada:
          total nonacademic direct costs $228,093 in 1986-7; $440,454 in 1987-8; $205,617 in
          1988-9, etc.)




                                                                                  App000096
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21          Page 99 of 633 PageID 825


Selected Scholarly Presentations and Workshops:
   11/20     “Randomized Controlled Trials, Hydroxychloroquine and Risk of Hospitalization and
             Mortality in Patients with Covid-19.” Testimony, US Senate Committee on Homeland
             Security & Governmental Affairs, Washington, DC.
   5/19      “Pancreatic Cancer and Diet.” Pancreatic Cancer Case-Control Consortium (PanC4)
             Annual Meeting, Baltimore, MD.
   3/19      “Reducing Mortality of What Will Be the #3 Cause of Cancer Death Two Years from
             Now.” Virus and Other Infection-associated Cancers Research Seminar, Yale School
             of Medicine, New Haven, CT.
   5/18      “New Concepts in Causation.” Keynote speaker, Pancreatic Cancer Case-Control
             Consortium (PanC4) Annual Meeting, Baltimore, MD.
   2/18      "Risk Factors for Pancreatic Cancer."          Yale Pancreas Symposium 2018:
             Multidisciplinary Management of Pancreatic Cancer. New Haven, CT.
   4/17      “Reducing Mortality of what will be the #2 Cause of Cancer Death Four Years from
             Now.” Gastroenterologic Oncology Service, Yale Cancer Center, New Haven, CT.
   3/17      “Genomewide Association Study of Pancreatic Cancer in American Jews.” Pancreatic
             Cancer Case-Control Consortium (PanC4) Annual Meeting, Baltimore, MD.
   3/17      “New Markers and Approaches in Predicting Risk of Pancreatic Cancer.” Pancreatic
             Cancer Case-Control Consortium (PanC4) Annual Meeting, Baltimore, MD.
   12/16     “Genomewide Association Study of Pancreatic Cancer in American Jews.” Pancreatic
             Cancer Case-Control Consortium (PanC4) GWAS Study Annual Meeting, Bethesda,
             MD.
   10/16     “Reducing Mortality of Pancreatic Cancer in the International Context.” Inaugural
             Global Oncology Seminar Series speaker, Yale Cancer Center, New Haven, CT.
   6/16      “Prevention of Pancreatic Cancer.” Pancreatic Cancer Case-Control Consortium
             (PanC4) Annual Meeting, Milan, Italy.
   1/16      “Reducing Mortality of what will be the #2 Cause of Cancer Death Five Years from
             Now.” Department of Therapeutic Radiation, Yale School of Medicine, New Haven,
             CT.
   10/15     “Reducing Mortality of what will be the #2 Cause of Cancer Death Five Years from
             Now.” Division of Cancer Epidemiology and Genetics, National Cancer Institute,
             NIH, Rockville, MD.
   3/15      “Absolute Risk Models for Pancreatic Cancer.” Pancreatic Cancer Case-Control
             Consortium (PanC4) Annual Meeting, Baltimore, MD.
   12/12     Keynote Speaker, “From Cancer Registration to Cancer Etiology to Cancer
             Prevention.” Cancer Registrars Association of New England Annual Meeting,
             Norwich, CT.
   3/12      “Pancreatic Cancer Risk Models.” Pancreatic Cancer Case-Control Consortium
             (PanC4) Annual Meeting, Baltimore, MD.
   3/12      Cancer Center Grand Rounds: “Helicobacter pylori, ABO Blood Group and the
             Etiology of Pancreatic Cancer in China and the US.” Yale University School of
             Medicine, New Haven, CT.


                                                                                  App000097
Case 4:21-cv-01058-P Document 27 Filed 12/07/21           Page 100 of 633 PageID 826


 9/11     “Etiology of Pancreatic Cancer: Theory and Evidence.” Seminar, Division of Chronic
          Disease Epidemiology, Yale University School of Public Health, New Haven, CT.
 3/11     “Genetic Effects and Modifiers of Radiotherapy and Chemotherapy on Survival in
          Pancreatic Cancer,” Pancreatic Cancer Case-Control Consortium (PanC4) Annual
          Meeting, New York, NY.
 1/11     Keynote Speaker, “Why is Pancreatic Cancer Less Frequent in Asia than in the US, in
          Spite of the Higher Prevalence of Risk Factors in Asia? Observations on the Etiology
          of Pancreatic Cancer.” Japan Epidemiology Association National Meetings, Sapporo,
          Japan.
 1/11     Department Seminar: “BRCA1 and BRCA2 Mutations: Population Frequencies and
          Associations with a Variety of Cancers.” Division of Epidemiology and Prevention,
          Aichi Cancer Center Research Institute, Nagoya, Japan.
 1/11     Cancer Center Grand Rounds, “Why is Pancreatic Cancer Less Frequent in Asia than
          in the US, in Spite of the Higher Prevalence of Risk Factors in Asia? Observations on
          the Etiology of Pancreatic Cancer.” Japan National Cancer Center, Tokyo, Japan.
 11/10    Educational Session Seminar, “Gene, environment, and risk-factor interaction in
          pancreatic cancer.” AACR Frontiers in Cancer Prevention Annual International
          Meeting, Philadelphia PA.
 11/10    Workshop Presentation: “KRAS variation and risk of ovarian cancer.” Biennial
          meeting of the Ovarian Cancer Association Consortium (OCAC), Bethesda, MD.
 5/10     Cancer Center Retreat Seminar, “ABO blood group, Helicobacter pylori colonization
          and pancreatic cancer.” Yale University School of Medicine, New Haven, CT.
 3/10     “Helicobacter pylori colonization, ABO blood group and risk of pancreatic cancer,”
          Pancreatic Cancer Case-Control Consortium (PanC4) Annual Meeting, Bethesda, MD.
 7/09     Epidemiology Grand Rounds: “Pancreas Cancer and Helicobacter pylori in the U.S.
          and China.” Department of Epidemiology, Shanghai Cancer Institute, Shanghai,
          China.
 3/09     Cancer Center Grand Rounds: “Inconsistencies in Pancreas-Cancer Risk Factors and
          Disease Incidence Between the U.S. and China: Observations on the Etiology of
          Pancreas Cancer.” Yale University School of Medicine, New Haven, CT.
 11/08    Workshop Participant, Defining the Public Health Research Agenda for Ovarian
          Cancer, Centers for Disease Control, Atlanta, GA.
 7/08     Workshop Presentation: “Helicobacter pylori and pancreas cancer.” Biological and
          Clinical Risks and Potential Benefits of Helicobacter pylori Colonization, Division of
          Microbiology and Infectious Diseases, NIAID, NIH, Bethesda, MD.
 1/08     Research Seminar: “Smoking and lung cancer in women—yet again.” Program in
          Cancer Prevention and Control, Yale Cancer Center, New Haven, CT.
 11/07    Workshop Presentation: “BRCA1 and BRCA2 Mutations: Frequencies in the General
          Population of North America and Associations with Breast, Ovary, Stomach, Pancreas
          and Other Cancers.” Nanjing International Symposium of New Frontiers in Cancer
          Research and Advanced Training Workshop of Cancer Molecular Epidemiology,
          Nanjing Medical University, Nanjing, China.
 10/07    Workshop Presentation: “Why have epidemiology data and outcomes of clinical trials


                                                                                   App000098
Case 4:21-cv-01058-P Document 27 Filed 12/07/21           Page 101 of 633 PageID 827


          not correlated?” Third Haifa Cancer Prevention Workshop. CHS National Cancer
          Control Center, Faculty of Medicine, Technion Israel Institute of Technology, Haifa,
          Israel.
 6/07     Workshop: “Advanced Statistical Methods for Epidemiologic Studies”. Department of
          Community Medicine and Epidemiology, Technion Israel Institute of Technology
          Faculty of Medicine, Haifa, Israel.
 3/07     Ruth and Bruce Rappaport Seminar: “Why Pancreas Cancer is Less Frequent in China
          than the US, in Spite of the Generally Higher Chinese Prevalence of Risk Factors:
          Insights on the Etiology of Pancreas Cancer.” Faculty of Medicine, Technion Israel
          Institute of Technology, Haifa, Israel.
 2/07     Seminar: “Smoking and lung cancer in women—yet again.” Department of
          Community Medicine and Epidemiology, Technion Israel Institute of Technology
          Faculty of Medicine, Haifa, Israel.
 1/07     Seminar: “Etiologic theories for epithelial ovarian cancer.” Department of Community
          Medicine and Epidemiology, Technion Israel Institute of Technology Faculty of
          Medicine, Haifa, Israel.
 11/06    Seminar: “BRCA1 and BRCA2 Mutations: Frequencies in the General Population and
          Associations with Breast, Ovary, Stomach, Pancreas and Other Cancers.” New York
          University Cancer Center, New York, NY.
 2/06     Cancer Center Grand Rounds: “BRCA1 and BRCA2 Mutations: Their Frequencies in
          the General Population and Their Associations with Breast, Ovary, Stomach, Pancreas
          and Other Cancers,” Yale University School of Medicine, New Haven, CT.
 11/05    Symposium: "Why Pancreas Cancer is Less Frequent in China than the US, in spite of
          the Generally Higher Chinese Prevalence of Risk Factors: Insights on the Etiology of
          Pancreas Cancer." Clinical Oncological Society of Australia annual scientific meeting,
          Brisbane, Australia (Sponsored by the Queensland Cancer Fund).
 11/05    Symposium: "Risks and penetrances of germline BRCA1 and BRCA2 mutations for
          ovarian, breast, stomach, pancreas and other cancers: updated results from the Ontario
          (Canada) ovarian cancer kin-cohort study." Clinical Oncological Society of Australia
          annual scientific meeting, Brisbane, Australia (Sponsored by the Queensland Cancer
          Fund).
 6/05     Seminar: "Why Pancreas Cancer is Less Frequent in China than the US, in spite of the
          Generally Higher Chinese Prevalence of Risk Factors: Insights on the Etiology of
          Pancreas Cancer." Tumor Registrars Association of Connecticut Quarterly Meeting,
          Yale-New Haven Hospital, New Haven, CT.
 5/05     Seminar: "Why Pancreas Cancer is Less Frequent in China than the US, in spite of the
          Higher Prevalence of Risk Factors There: Insights on the Etiology of Pancreas
          Cancer." Sylvester Comprehensive Cancer Center, University of Miami, Miami, FL.
 5/02     Symposium: "Genetic Epidemiology of Ovarian Cancer." Ovarian Cancer and High-
          Risk Women: Implications of Prevention, Screening and Early Detection. University
          of Pittsburgh, Pittsburgh, PA.
 12/01    Seminar: "Prevalence and Penetrance of Germline BRCA1 and BRCA2 Mutations in
          Unselected Ovarian Cancer." Kaplan Cancer Center, NYU School of Medicine, New
          York, NY.


                                                                                   App000099
Case 4:21-cv-01058-P Document 27 Filed 12/07/21           Page 102 of 633 PageID 828


 10/01    Research Seminar: "Prevalence and Penetrance of Germline BRCA1 and BRCA2
          Mutations in Unselected Ovarian Cancer." Memorial Sloan Kettering Cancer Center,
          New York, NY.
 6/01     Combined Monthly Research Seminar: "Prevalence and Penetrance of Germline
          BRCA1 and BRCA2 Mutations in Unselected Ovarian Cancer." Programs in Ovarian
          Cancer, Cancer Genetics and Cancer Prevention, Yale Cancer Center, New Haven, CT.
 10/00    Departmental Seminar: "Etiology of Epithelial Ovarian Cancer." Department of Public
          Health Sciences, Fox Chase Cancer Center, Philadelphia, PA.
 9/98     "Etiologic Mechanisms in Epithelial Ovarian Cancer," Third International Symposium
          on Hormonal Carcinogenesis, Seattle, WA.
 5/98     Departmental Grand Rounds: "BRCA1 and BRCA2 Mutations in Unselected Ovarian
          Cancer," Department of Gynecologic Oncology, Yale University School of Medicine,
          New Haven, CT.
 9/97     Departmental Seminar: "Etiologic Mechanisms in Epithelial Ovarian Cancer."
          Division of Epidemiology, Columbia University School of Public Health, New York,
          NY.
 9/97     "Use of aspirin and other non-steroidal anti-inflammatory drugs and risk of esophageal
          and gastric cancer." American College of Epidemiology Annual Meetings, Cambridge,
          MA.
 3/97     "Risk Factors for Familial and Hereditary Ovarian Cancer." American Cancer Society
          Science Writers Seminar, Reston, VA.
 2/97     Departmental Grand Rounds: "Etiologic and Histologic Considerations in the
          Occurrence of Ovarian Cancer." Department of Pathology, Yale School of Medicine,
          New Haven, CT.
 1/97     Departmental Seminar: "Ovarian Cancer Pathophysiology: Etiologic and Methodologic
          Issues." Department of Epidemiology, University of North Carolina School of Public
          Health, Chapel Hill, NC.
 6/96     "Risk factors for BRCA1-associated ovarian cancer." NCI Extramural Genetic
          Epidemiology PIs Second Biennial Meetings, Frederick, MD.
 6/96     "Estrogen replacement therapy and the risk of epithelial ovarian cancer." Society for
          Epidemiologic Research Annual Meetings, Boston, MA.
 6/95     "Pelvic inflammatory disease and the risk of epithelial ovarian cancer." Society for
          Epidemiologic Research Annual Meetings, Snowbird, UT.
 6/94     "Dietary fat intake and the risk of epithelial ovarian cancer." Society for
          Epidemiologic Research Annual Meetings, Miami, FL.
 6/93     "A cohort study of menopausal hormone usage and breast cancer in Saskatchewan."
          Society for Epidemiologic Research Annual Meetings, Keystone, CO.
 2/93     "A cohort study of menopausal hormone usage and breast cancer in the province of
          Saskatchewan, Canada." International Epidemiology Association Regional European
          Meeting, Jerusalem.
 9/92     "A record-linkage cohort study of menopausal hormone usage and breast cancer in
          Saskatchewan." American College of Epidemiology Annual Meetings, Bethesda, MD.
 9/92     "Record-linkage cohort study of menopausal hormone usage and breast cancer."

                                                                                   App000100
Case 4:21-cv-01058-P Document 27 Filed 12/07/21           Page 103 of 633 PageID 829


          Yale/Dana Farber Conference on Cancer Prevention and Control, Department of
          Epidemiology and Public Health, Yale University, New Haven, CT.
 6/92     "Are female smokers at higher risk for lung cancer than male smokers? A case-control
          analysis by histologic type." Society for Epidemiologic Research Annual Meetings,
          Minneapolis, MN.
 12/91    Departmental Seminar: "Some interesting results on lung cancer in women."
          Department of Epidemiology and Public Health, Yale University, New Haven, CT.
 11/89    Departmental Seminar: "Occupational and dietary associations with bladder-cancer
          incidence." Department of Epidemiology and Public Health, Yale University, New
          Haven, CT.
 8/89     "A demonstration of the GLIMP computer program for epidemiologic analysis."
          Canadian Epidemiology Research Conference Meetings, Ottawa.
 4/89     "Nonlinear dose-response models with standard logistic regression." Upstate New
          York and Southern Ontario Epidemiology Group Meetings, Toronto.
 6/88     "A unified framework for meta-analysis by maximum likelihood." Society for
          Epidemiologic Research Annual Meetings, Vancouver.
 4/88     Departmental Seminar: "Occupational and dietary factors in the study of cancer of the
          bladder." Division of Epidemiology and Biostatistics, Graduate School of Public
          Health, San Diego State University, San Diego, CA.
 3/88     Seminar: "Diet and occupation in the causation of bladder cancer." School of Public
          Health, New York State Department of Health, SUNY, Albany, NY.
 12/87    Departmental Seminar: "Dietary and occupation factors in a case-control study of
          bladder cancer." Department of Epidemiology, Harvard School of Public Health,
          Boston, MA.
 12/87    Departmental Seminar: "Risk factors for spontaneous abortion and its recurrence, and
          habitual abortion." Department of Medical Genetics, Hospital for Sick Children,
          Toronto.
 11/87    Departmental Seminar: "Occupational and dietary factors in the causation of bladder
          cancer." Department of Social and Preventive Medicine, SUNY School of Medicine,
          Buffalo, NY.
 11/87    Departmental Seminar: "Dietary and occupational factors in the study of bladder
          cancer." Department of Epidemiology and Biostatistics, University of Western
          Ontario, London.
 9/87     Departmental Seminar: "Dietary and occupational factors in a case-control study of
          bladder cancer." Department of Epidemiology and Community Medicine, University
          of Ottawa.
 11/86    Departmental Seminar: "Application of linear structural hypotheses in observational
          epidemiologic studies." Department of Environmental and Occupational Medicine,
          Mount Sinai School of Medicine, New York, NY.
 9/86     Departmental Seminar: "Application of linear structural equations in observational
          epidemiologic studies." Department of Epidemiology and Public Health, Yale
          University, New Haven, CT.
 6/86     "Measuring tumor induction period in case-control studies of chronic exposures."


                                                                                   App000101
Case 4:21-cv-01058-P Document 27 Filed 12/07/21          Page 104 of 633 PageID 830


          Society for Epidemiologic Research Annual Meetings, Pittsburgh, PA.
 8/84     "Nitrate and ascorbate in a study of gastric cancer." International Epidemiology
          Association Meetings, Vancouver.
 5/84     "An improved method for obtaining confidence intervals of the odds ratio in logistic
          regression." Epidemiologic Methods Workshop, Upstate New York and Southern
          Ontario Epidemiology Group Meetings, Toronto.




                                                                                  App000102
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 105 of 633 PageID 831




                              Exhibit &




                                                                     App000103
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 106 of 633 PageID 832



                      81,7('67$7(6',675,&7&2857
                       1257+(51',675,&72)7(;$6
                                      
                                        
    38%/,&+($/7+$1'0(',&$/           
    352)(66,21$/6)2575$163$5(1&<     
                                                           
                         3ODLQWLII      &LYLO$FWLRQ1RFY3
        DJDLQVW                                         
                                        
    )22'$1''58*$'0,1,675$7,21
    
                         'HIHQGDQW
    

               '(&/$5$7,212)720-())(56210'05&*3))3+0

,7KRPDV-HIIHUVRQGHFODUHDVIROORZV

           , PDNH WKLV VWDWHPHQW EDVHG XSRQ P\ RZQ SHUVRQDO NQRZOHGJH HGXFDWLRQ DQG

H[SHULHQFH,DPSUHSDUHGWRWHVWLI\WRWKHIDFWVDQGPDWWHUVVHWIRUWKKHUHLQ$WUXHDQGDFFXUDWH

FRS\RIP\FXUULFXOXPYLWDHLVDWWDFKHGKHUHWRDV([KLELW$

5HOHYDQW&UHGHQWLDOVDQG([SHULHQFH

            , DP D PHPEHU RI WKH :RUOG +HDOWK 2UJDQL]DWLRQ :+2  &29,' ,QIHFWLRQ

3UHYHQWLRQDQG&RQWURO5HVHDUFK:RUNLQJ*URXS

            ,UHFHLYHGP\'HJUHHLQ0HGLFLQHDQG6XUJHU\IURP3LVD8QLYHUVLW\  ,WKHQ

ZHQW RQ WR FRQWLQXH P\ VWXGLHV LQ WKH 8QLWHG .LQJGRP UHFHLYLQJ D 'LSORPD IURP WKH 5R\DO

&ROOHJHRI2EVWUHWULFLDQ *\QDHFRORJLVWV  &HUWLILFDWHRI9RFDWLRQDO7UDLQLQJLQ*HQHUDO

3UDFWLFH  0HPEHUVKLSRIWKH5R\DO&ROOHJHRI*HQHUDO3UDFWLWLRQHUV  0HPEHUVKLS

RIWKH&KDUWHUHG,QVWLWXWHRI/LQJXLVWV  'LSORPDLQ7URSLFDO0HGLFLQH +\JLHQH  

0DVWHU RI 6FLHQFH LQ &RPPXQLW\ 0HGLFLQH   DQG 0HPEHUVKLS RI WKH )DFXOW\ RI 3XEOLF

+HDOWK 0HGLFLQH 0)3+0    , KROG DFFUHGLWDWLRQV LQ WKH 8. LQ 3XEOLF +HDOWK 0HGLFLQH




                                                  

                                                                                             App000104
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                    Page 107 of 633 PageID 833



     DQG*HQHUDO3UDFWLFH  ,HDUQHGP\&HUWLILFDWHLQ+HDOWK(FRQRPLFVDWWKH8QLYHUVLW\

RI$EHUGHHQ  DQGD)HOORZVKLSRIWKH)DFXOW\RI3XEOLF+HDOWK0HGLFLQH ))3+0  

               ,ZDVSDUWRIDWHDPLQWKH1RUGLF&RFKUDQH&HQWUHZKHUHZHFRPSLOHGDQHYLGHQFH

VHWWRFRQGXFWDV\VWHPLFUHYLHZRI+39YDFFLQHLQGXVWU\FOLQLFDOVWXG\SURJUDPVDQGQRQLQGXVWU\

IXQGHGVWXGLHV

               6LQFH  , DP D )HOORZ RI WKH &HQWUH IRU (YLGHQFH %DVHG 0HGLFLQH RI WKH

8QLYHUVLW\RI2[IRUG,DPQRZ6HQLRU&OLQLFDO7XWRURQWKH&RPSOH[5HYLHZV0RGXOHRIWKH

0DVWHURI6FLHQFHLQ(YLGHQFH%DVHG+HDOWKFRXUVH7KLVLQYROYHVUHYLHZVRIUHJXODWRU\GDWD

HFRQRPLFVWXGLHVGLDJQRVWLFVWXGLHVTXDOLWDWLYHVWXGLHVDQG,3,PHWDDQDO\VHV            

               ,FROODERUDWHZLWKRWKHU&RFKUDQHFROOHDJXHVDVFRLQYHVWLJDWRUVIRUWKH-RKQDQG

/DXUD$UQROG)RXQGDWLRQIRUGHYHORSPHQWRI5,$7 5HVWRULQJ,QYLVLEOHDQG$EDQGRQHG7ULDOV 

6XSSRUW&HQWHU7KLV&HQWHUZLOOKHOSDFFHOHUDWHWKHFRUUHFWLRQRIWKHVFLHQWLILFUHFRUGRIFOLQLFDO

WULDOVE\PDNLQJLWPRUHDFFXUDWHDQGFRPSOHWH,KDYHZRUNHGZLWKWKH&RFKUDQH&HQWUDO(GLWRULDO

8QLWZKHUHZHVWDELOL]HGRXUWKUHHORQJVWDQGLQJLQIOXHQ]DYDFFLQHUHYLHZV

               ,ZDVDPHPEHURI(0$¶V&OLQLFDO7ULDOV$GYLVRU\*URXS

               ,ZDVRQWKHHGLWRULDOERDUGRIWKH%0-(YLGHQFH%DVHG0HGLFLQHIURPWR



               ,Q WKH SDVW , KDYH FDUULHG RXW UHVHDUFK IRU WKH 0LQLVWU\ RI 'HIHQFH 8. 1,&(

5RFKH (8 :+2 *OD[R6PLWK.OLQH 6DQRIL6\QKWHODER ,VWLWXWR 6XSHULRUH GL 6DQLWD¶ $665

    QRZ$JHQDV 1HWKHUODQGV+HDOWK&RXQFLO,06+HDOWK3LHPRQWH5HJLRQRI1RUWKHUQ,WDO\DQG

$JHQ]LDGL6DQLWD¶3XEEOLFD/D]LR




                                                       

                                                                                                    App000105
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                  Page 108 of 633 PageID 834



2SLQLRQ

         $)RUD0HDQLQJIXO5HYLHZ$OO'DWD0XVW%H5HOHDVHG

            6FLHQWLVWVVHHNLQJWRFRQGXFWDSURSHUDQDO\VLVRI3IL]HU¶V&29,'YDFFLQHGDWD

ZLOO QHHG DOO RI WKH GRFXPHQWV VXEPLWWHG E\ 3IL]HU WR WKH )'$ EHFDXVH PLVVLQJ HYHQ D VLQJOH

GDWDVHWFRXOGFRUUXSWDQ\DQDO\VLV

            7KRVH GDWD DQG GRFXPHQWV LQ 3IL]HU¶V %LRORJLF /LFHQVLQJ $SSOLFDWLRQ IRU LWV

&29,'YDFFLQHVXEPLWWHGWRWKH)'$LVOLNHO\WRIROORZDQLQWHUQDWLRQDOVWDQGDUGRIVWUXFWXUH

IRUWKHFRQWHQWRIVXFKDSSOLFDWLRQVNQRZQDVD&RPPRQ7HFKQLFDO'RFXPHQWRU&7'




                                                                                         

            7KH&7'FRQVLVWVRIILYH³PRGXOHV´RUSDUWVDQG&7'FRQWHQWLVFORVHO\FRQQHFWHG

)RU H[DPSOH 0RGXOH  FRQVLVWV RI VXPPDULHV DQG RYHUYLHZV RI ERWK QRQFOLQLFDO LH QRW LQ

KXPDQV DQGFOLQLFDO LHLQKXPDQV GDWDDQGRQWKHYDFFLQH0RGXOHVH[SODLQLQJUHDWHU

GHWDLOVWKHGDWDIURPWKHVXPPDULHVLQ0RGXOH0RGXOHUHSRUWVGHWDLOVRIWKHPDQXIDFWXULQJ

SURFHVV  0RGXOH  XVXDOO\ FRQVLVWV RI SKDUPDFRNLQHWLFV WR[LFRORJLFDO HJ FDUFLQRJHQHVLV 


                                                     

                                                                                                 App000106
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                   Page 109 of 633 PageID 835



VWXGLHVFDUULHGRXWE\WKHPDQXIDFWXUHUVDOORZLQJDQXQGHUVWDQGLQJRIKRZWKHKXPDQERG\UHDFWV

WRWKHYDFFLQHDQGZKDWKDSSHQVWRLWVFRPSRQHQWV0RGXOHFRQWDLQVWKH&OLQLFDO6WXG\5HSRUWV

ZKLFKDUHWKHYHU\GHWDLOHGUHSRUWVRIWKHUDQGRPL]HGFRQWUROOHGWULDOVDQGDQ\RWKHUVWXGLHVFDUULHG

RXWWRVXSSRUWWKHDSSOLFDWLRQ

            3DUWLDOLQFRPSOHWHRUEDWFKUHOHDVHRISDUWVRIWKH&7'LPSHGHDVVHVVPHQWRIWKH

DSSOLFDWLRQLQDFRKHUHQWZD\DQGPD\OHDGWRHUURUVLQWKHLQWHUSUHWDWLRQRILWVFRQWHQW

            &RYLGYDFFLQHVDUHJOREDOLQWHUYHQWLRQVUROOHGRXWWRDOODJHDQGULVNJURXSV$Q

HVWLPDWHG  ELOOLRQ GRVHV KDYH EHHQ DGPLQLVWHUHG WKXV IDU PDNLQJ LW WKH ODUJHVW PHGLFDO

LQWHUYHQWLRQ LQ WKH KLVWRU\ RI KXPDQNLQG ZLWK D QRYHO PHGLFDO SURGXFW  'HVSLWH WKLV WR GDWH

SXEOLFO\ DYDLODEOH LQIRUPDWLRQ LV OLPLWHG WR MRXUQDO DUWLFOHV SUHVV UHOHDVHV DQG UHJXODWRUV¶

DVVHVVPHQWVRIWKHYDFFLQH¶VSHUIRUPDQFH$OORIWKHVHDUHVXEMHFWWRUHSRUWLQJELDV6XFKELDVLV

RIWHQH[WUHPHO\GLIILFXOWWRLGHQWLI\XQOHVVWKHIXOOGRFXPHQWDWLRQLVDYDLODEOH

            &DXWLRXV UHYLHZHUV KDYH SRLQWHG RXW WKH DV\PPHWU\ RI WKH JOREDO UROORXW RI WKLV

SURGXFWYHUVXVODFNRIWUDQVSDUHQF\RQGDWDVXSSRUWLQJLWVXVHZKLFKGDWDLVDUJXDEO\WKHSURSHUW\

RIKXPDQNLQG 7DQYHHU65RZKDQL)DULG$+RQJ.HWDO7UDQVSDUHQF\RI&29,'YDFFLQH

WULDOVGHFLVLRQVZLWKRXWGDWD%0-(YLGHQFH%DVHG0HGLFLQH3XEOLVKHG2QOLQH)LUVW$XJXVW

GRLEPMHEP 

         %,PSRUWDQFHRI3XEOLFO\5HOHDVLQJWKH'DWD,PPHGLDWHO\

            ,WLVLPSRUWDQWWRSXEOLFO\UHOHDVHWKHVHGRFXPHQWVDVVRRQDVSRVVLEOH&RYLG

YDFFLQHVDUHFXUUHQWO\EHLQJXVHGZRUOGZLGHDQGLQPDQ\FDVHVDUHPDQGDWHG3IL]HU¶VYDFFLQH

KDVEHHQWKHVXEMHFWRIYLJRURXVGHEDWHDQGWKHREMHFWRIFRXQWOHVVDOOHJDWLRQVRIXQGHUUHSRUWLQJ




                                                      

                                                                                                   App000107
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                      Page 110 of 633 PageID 836



RIKDUPVLQWKHWULDOVWR[LFLW\ODFNRIHIILFDF\DQGFRQIOLFWVRILQWHUHVWFRPSURPLVLQJYDULRXV

VWDJHVRIWKHLUGHYHORSPHQWWHVWLQJWULDOVUHYLHZDQGOLFHQVLQJ,QFOXGLQJGLUHFWDOOHJDWLRQVRI

GDWDIDOVLILFDWLRQDQGVODFNFRQGXFWRIWKHWULDOLQWZRFHQWHUVUHSRUWVRIH[FHVVGHDWKVOLQNHGWR

VSHFLILFYDFFLQHEDWFKHVDQGLQVWDELOLW\RIP51$FRQWDLQHGLQWKHYDFFLQH$Q\GHOD\LQWKH

GDWD¶VUHOHDVHLVOLNHO\WRXQGHUPLQHWKHSRVVLELOLW\RIXQGHUVWDQGLQJWKHPHFKDQLVPRIDFWLRQDQG

EHQHILWVRUOLPLWDWLRQVRIWKLVYDFFLQH5HJDUGOHVVRIWKHPHULWVRIWKHDUJXPHQWVRQO\IXOODQG

SURPSWDFFHVVWRWKHILOHVZLOOHQDEOHSXEOLFVFUXWLQ\DQGVXVWDLQFRQILGHQFHLQWKHLQWHJULW\RIWKH

UHJXODWRU\SURFHVV

                7KH LPSRUWDQFH RI LQGHSHQGHQW UHYLHZ RI GDWD LQ VFLHQFH FDQQRW EH RYHUVWDWHG

6FLHQFHLVQHYHUVWDWLF2XUXQGHUVWDQGLQJHYROYHVRYHUWLPHDVDVORZDFFXPXODWLRQRINQRZOHGJH

DOORZVJHQHUDOSURJUHVVDQGRFFDVLRQDOEUHDNWKURXJKV&HQVRUVKLSDQGODFNRIWUDQVSDUHQF\KDYH

DOZD\V EHHQ WKH HQHPLHV RI SURJUHVV  ,Q WKH FDVH RI &RYLG  YDFFLQHV WKH LPSRUWDQFH RI

WUDQVSDUHQF\LQKHLJKWHQHGE\WKHPDVVDGPLQLVWUDWLRQWRKHDOWK\SRSXODWLRQVDQGWKHLUXQNQRZQ

ORQJWHUPHIIHFWV

                ,QVHQLRU(0$UHJXODWRUVVWDWHG³WKHSRWHQWLDOEHQHILWVIRUSXEOLFKHDOWKRI

LQGHSHQGHQW UH  DQDO\VLV RI GDWD DUH QRW GLVSXWHG DQG LQ DQ RSHQ VRFLHW\ WULDO VSRQVRUV DQG

UHJXODWRUVGRQRWKDYHDPRQRSRO\RQDQDO\VLQJDQGDVVHVVLQJGUXJWULDOUHVXOWV´ (LFKOHU+*

$EDGLH ( %UHFNHQULGJH $ /HXINHQV + 5DVL * 2SHQ FOLQLFDO WULDO GDWD IRU DOO" $ YLHZ IURP

UHJXODWRUV3/R60HG  HGRLMRXUQDOSPHG 


                                     

 KWWSVZZZJRRJOHFRPXUO"T KWWSVPDU\DQQHGHPDVLFRPSXEOLFDWLRQVIDUHDGYHUVHHYHQWVLQFRYLGYDFFLQH
WULDOVXQGHUUHSRUWHG VD ' VRXUFH GRFV XVW  XVJ $2Y9DZQHTZ,GI(;URJ(D(F

    KWWSVZZZEPMFRPFRQWHQWEPMQIXOO

  KWWSVGDLO\H[SRVHXNSHUFHQWRIFRYLGYDFFLQHGHDWKVFDXVHGE\MXVWSHUFHQWRIWKHEDWFK
HVSURGXFHG

    KWWSVZZZEPMFRPFRQWHQWEPMQ

                                                         

                                                                                                       App000108
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 111 of 633 PageID 837



            *LYHQWKHLQVXIILFLHQWDQGKXUULHGWHVWLQJDQGWKHFXOWXUHRIVHFUHF\LWLVDUJXDEOH

ZKHWKHUDQ\LQIRUPHGFRQVHQWLVYDOLGSULRUWRPDNLQJSXEOLFDOORIWKHGRFXPHQWVWKH)'$KDVLQ

3IL]HU¶V&29,'ILOH



,GHFODUHXQGHUSHQDOW\RISHUMXU\XQGHUWKHODZVRIWKH8QLWHG6WDWHVRI$PHULFDWKDWWKH

IRUHJRLQJLVWUXHDQGFRUUHFWWKLVVL[WKGD\RI'HFHPEHUDW5RPH,WDO\




                                                       7RP-HIIHUVRQ0'05&*3))3+0




                                                 

                                                                                           App000109
Case 4:21-cv-01058-P Document 27 Filed 12/07/21      Page 112 of 633 PageID 838




   Curriculum Vitae of Thomas Jefferson, MD MRCGP FFPHM
                      (Exhibit A to Jefferson Declaration)




                                                                        App000110
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 113 of 633 PageID 839


                                                                                              1
     
                                               
                                               
                           1..%1(1)2%0!0BIG;M+FCP?L&!""!./+*
                                   *IP?G<?L

    LC?@<CIAL;JBC?M;JJ?;LCHNB?M?LC?M(C@?FCH?IH0B?(;H=?N &;HO;LS
               ;H>CHNB?"?;NOL?,CIH??LMI@0L;HMJ;L?H=S)&A



                                          $ %H>?R

)IMN=CN?>J;J?LM
#OC>?FCH?M@IL;ONBILM;H>J??LL?PC?Q?LMI@?=IHIGC=MO<GCMMCIHMNINB?)&
)" LOGGIH> 0+&?@@?LMIH )&  =CN;NCIHM

2;==CH?M@ILJL?P?HNCHACH@FO?HT;CHB?;FNBS;>OFNM
2 ?GC=B?FC 0&?@@?LMIH !"?LLIHC .CP?NNC  C,C?NL;HNIHD I=BL;H?>;N;<;M?I@
MSMN?G;NC=L?PC?QM=CN;NCIHM

,BSMC=;FCHN?LP?HNCIHMNICHN?LLOJNILL?>O=?NB?MJL?;>I@L?MJCL;NILSPCLOM?M
0&?@@?LMIH  ?F);L ( IIF?S !"?LLIHC (F HM;LS #;Q;T??L  
I=BL;H?>;N;<;M?I@MSMN?G;NC=L?PC?QM=CN;NCIHM

*?OL;GCHC>;M?CHBC<CNILM@ILJL?P?HNCHA;H>NL?;NCHACH@FO?HT;CH;>OFNM;H>=BCF>L?H
0&?@@?LMIH )&IH?M , IMBC  ?F);L .$;G; )&0BIGJMIH $?H?AB;H 
I=BL;H?>;N;<;M?I@MSMN?G;NC=L?PC?QM=CN;NCIHM





'?SQIL>M!PC>?H=?MSHNB?MCM !JC>?GCIFIAS $?;FNB!=IHIGC=M .?AOF;NILS>;N; 
.?MJCL;NILSPCLOM?M $?;FNB0?=BHIFIASMM?MMG?HN




                                                                                        App000111
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 114 of 633 PageID 840


                                                                                             2


$%%971
2C;>CA?;
HAOCFF;L;/;<;TC;
.IG;
%N;FS
)I<CF? 
!G;CFD?@@?LMIH NIGAG;CF =IG

%!$&! %
1*,.+"+.)?>;F
+""%!..+0$!.+L>?LI@/N&IBHI@&?LOM;F?G 
*0+)?>;F"ILG?L5OAIMF;PC;F;MJ

$( &"$!%%! #'&! %

  ?AL??CH)?>C=CH?;H>/OLA?LS ,CM;1HCP?LMCNS 
  CJFIG;I@NB?.IS;FIFF?A?I@+<MN?NLC=C;H#SH;?=IFIACMNM1' .+# 
 
?LNC@C=;N?I@2I=;NCIH;F0L;CHCHACH#?H?L;F,L;=NC=?1' 
)?G<?LMBCJI@NB?.IS;FIFF?A?I@#?H?L;F,L;=NCNCIH?LM1').#,
 
)?G<?LMBCJI@NB?B;LN?L?>%HMNCNON?I@(CHAOCMNM1' 
  CJFIG;CH0LIJC=;F)?>C=CH?$SAC?H?1'(IH>IH/=BIIFI@$SAC?H?0LIJC=;F)?>C=CH?
 
)/=IGGOHCNS)?>C=CH?1'(IH>IH/=BIIFI@$SAC?H?0LIJC=;F)?>C=CH?
 
)?G<?LMBCJI@NB?";=OFNSI@,O<FC=$?;FNB)?>C=CH?1')",$) 
==L?>CN;NCIHCH,O<FC=$?;FNB)?>C=CH?1' 
==L?>CN;NCIHCH#?H?L;F,L;=NC=?1' 
0CNIFI>C/=OIF;>C#O?LL;
?LNC@C=;N?CH$?;FNB!=IHIGC=M 1HCP?LMCNSI@<?L>??H1'
"?FFIQMBCJI@NB?";=OFNSI@,O<FC=$?;FNB)?>C=CH?1'"",$) 


$ &-80"$% &&(&%

1HCNF*IP?G<?L%JLIPC>?>M=C?HNC@C=MOJ?LPCMCIH@ILNB?A?H;MA?HTC;J?LC/?LPCTC
/;HCN;LC.?ACIH;FC$0JLIAL;GG?@ILHIH JB;LG;=?ONC=;FM A?H;MCM;H;A?H=SI@NB?
%N;FC;H)I$ ,;LNI@GSQILE?HN;CF?>MOJ?LPCMCHA;ALIOJI@L?M?;L=B?LM;H>N;ECHA
L?MJIHMC<CFCNS@IL>?MCAHCHA >?PCMCHA;H>=;LLSCHAION$0;H>$ILCTIH/=;HHCHA
;MM?MMG?HNM %Q;MM=C?HNC@C=F?;>@ILNB?!OLIJ?;H!1*?$0&ICHN=NCIH3ILEJ;=E;A?
\>?PC=?M;H>>C;AHIMNC=MJLID?=N  M??<?FIQ 0B?!1*?$0IFF;<IL;NCIHCM;
H?NQILEI@!OLIJ?;HJO<FC=;A?H=C?MJLI>O=CHAMNLO=NOL?>$0CH@ILG;NCIH@ILH;NCIH;F
OM? %HNB?IFF;<IL;NCIHMBIOF><?=IG?;J?LG;H?HNH?NQILE@OH>?><SNB?



                                                          



                                                                                     App000112
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                   Page 115 of 633 PageID 841


                                                                                                   3
IGGCMMCIH %Q;M;FMIM=C?HNC@C==IIL>CH;NIL@IL3ILEJ;=E;A?QBC=B;MM?MM?M?>HIH
JB;LG;=?ONC=;FCHN?LP?HNCIHM MO=B;MCHPCNLIN?MNM 0BCMCHPIFP?>=IIL>CH;NCHAMIG?
L?M?;L=B?LM@LIG;A?H=C?M@LIG=IOHNLC?M@LIG!MNIHC;NIOFA;LC; NI#L??=?;H>
/Q?>?H 0B?JLID?=NMN;LN?>CH;H>Q;M=IGJF?N?>CH %=;LLC?>IONNB?M;G?
LIF?@ILNB?JL?PCIOM!1*?$0JLID?=N&ICHN=NCIHIL&QCNBNB?!OLIJ?;H
IGGCMMCIH 1HNCF*IP?G<?L%Q;M;G?G<?LI@NQI>C@@?L?HNQILEJ;=E;A?M;H>;
L?PC?Q?L@ILNQIJLID?=NMCHNB?M?QILEJ;=E;A?M;MJ;LNI@NB?!1*?$0& 

%=I >?P?FIJ?>;G?NBI>IFIAS@ILMSHNB?NCMCHA?PC>?H=?I@?@@?=NCP?H?MM ?@@C=C?H=S M;@?NS;H>
L?MIOL=?ONFCM;NCIHOMCHAL?AOF;NILSCH@ILG;NCIH;H>>;N;@LIG>C@@?L?HNMIOL=?M <INB
L?AOF;NILS;H>IJ?HMIOL=? 0BCM;=NCPCNSQ;MCHCNC;FFS@OH>?><S*%$.1'OHNCFGC>  
NB?HNB?I=BL;H?)?NBI>M%HHIP;NCIHM"OH>)%" *%$.;A;CH;H>MCH=?NB?
I=BL;H?*IL>C=?HNL? 0B?)%"JLID?=NQ;M;=IFF;<IL;NCIHNI>L;@N;>PC=?I@QB?H;H>
BIQNICH=FO>?L?AOF;NILSG;N?LC;FCHI=BL;H?L?PC?QM 
%;G>?P?FIJCHANBCMQILE@OLNB?L<SMNL?;GFCHCHANB?OM?I@L?AOF;NILS>;N;;H>CNM
CH=ILJIL;NCIHCHNIOM?L@LC?H>FS NCG?FSL?PC?QM 

MJ;LNI@;N?;GCHNB?*IL>C=I=BL;H??HNL?Q?=;LLSC?>ION;MSMN?G;NC=L?PC?QI@
$,2P;==CH?M<;M?>IHL?AOF;NILS>I=OG?HNM 0B??PC>?H=?M?N@ILNB?L?PC?QQ;M
;MM?G<F?><SOM@LIG;P;LC?NSI@MIOL=?MCHNI;H%H>?RI@NB?BOG;HJ;JCFFIG;PCLOM$,2
P;==CH?CH>OMNLS=FCHC=;FMNO>SJLIAL;GG?M;H>HIH CH>OMNLS@OH>?>MNO>C?M MBILNFSNI<?
JO<FCMB?> NJL?M?HNQ?;L?>?P?FIJCHANB?M;G?L?PC?QM@OLNB?LQCNBNB?=IGJF?N?
L?AOF;NILS>;N;M?NL?F?;M?><S$?;FNB;H;>;;@N?L;=IOLN=;M? 

/CH=?%;G;"?FFIQI@NB??HNL?@IL!PC>?H=?;M?>)?>C=CH?I@NB?'85?1;<5=A92
!@29;0 CHNB?1' %;GHIQ/?HCILFCHC=;F0ONILIHNB?IGJF?R.?PC?QM)I>OF?I@NB?)/=
CH!PC>?H=?;M?>$?;FNB=IOLM? 

%;GPCMCNCHA,LI@?MMIL2CMCNCHA,LI@?MMIL%HMNCNON?I@$?;FNB/I=C?NS;NNB?";=OFNSI@)?>C=CH?
I@*?Q=;MNF?1HCP?LMCNS  

3CNBNB?INB?LI=BL;H?=IFF?;AO?M%;G;=I CHP?MNCA;NILCH;&IBH;H>(;OL;LHIF>
"IOH>;NCIHAL;HN@IL>?P?FIJG?HNI@;.%0MOJJILN=?HNL?  

.%0MN;H>M@IL.?MNILCHA%HPCMC<F?;H><;H>IH?>0LC;FM %HMBILN .%0CM;G?=B;HCMG
NB;N?H;<F?ML?M?;L=B?LMNI;>>L?MMNQIFIHA MN;H>CHAJLI<F?GMCHNB?G?>C=;FFCN?L;NOL?
HIH JO<FC=;NCIHI@NLC;FM;H>GCML?JILNCHA +OL=IH=?JNQ;M@CLMNIONFCH?>B?L?
BNNJ QQQ <GD =IG =IHN?HN  <GD @

0B?.%0/OJJILN?HN?LQCFFB?FJ;==?F?L;N?NB?=ILL?=NCIHI@NB?M=C?HNC@C=L?=IL>I@
=FCHC=;FNLC;FM<SG;ECHACNGIL?;==OL;N?;H>GIL?=IGJF?N? 

"CH;FFS QCNBNB?B?FJI@NB?I=BL;H??HNL;F!>CNILC;F1HCNQ?MN;<CFCM?>I@IOLNBL??FIHA
MN;H>CHACH@FO?HT;P;==CH?L?PC?QM 0B?M?Q?L?L?F?;M?>CH&;HO;LS 





                                                              



                                                                                           App000113
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 116 of 633 PageID 842


                                                                                             4
)S;=NCPCNSFCH?I@L?AOF;NILS>;N;MN;LN?>QCNBOJ>;NCHAI@I=BL;H?L?PC?Q
*?OL;GCHC>;M?%HBC<CNILM@ILCH@FO?HT; CM=OLL?HNFS<;M?>?R=FOMCP?FSIHL?AOF;NILS
CH@ILG;NCIH?MM?HNC;FFS=FCHC=;FMNO>SL?JILNM /.M@LIG!);H>=IGG?HNM<S" ;H>
,)  ;<ION'J;A?MCH;FF 

0B?MNILSCMNIF>CH

  ;PC>,;SH? 0;GC@FONB?<;NNF?@ILM?=L?N>LOA>;N; )&?>IC
  <GD ?,O<FCMB?>+=NI<?L 
BNNJ QQQ <GD =IG =IHN?HN  <GD ?

BNNJ QQQ HSNCG?M =IG    <OMCH?MM <L?;ECHA NB? M?;F IH >LOA
L?M?;L=B BNGFJ;A?Q;HN?>9LMGC>NQ MB;L?

BNNJ QQQ H?QMQ??E =IG    G?>C=;F M=C?H=? B;M >;N; JLI<F?G  BNGF
0B?JCIH??LMI@NL;HMJ;L?H=S )&A,O<FCMB?>&;H

%Q;M;G?G<?LI@!)aMFCHC=;F0LC;FM>PCMILS#LIOJ0# 

%Q;M IHNB??>CNILC;F<I;L>I@)&!PC>?H=?;M?>)?>C=CH?)&!) 

%;G;HOHJ;C>=IFF;<IL;NILNINB?JLID?=N 2*),)-+, )2$)#,( /.$'
 - ,#) "/'.$*)F?><S ;FBIOMC?1HCP?LMCNS;H>@OH>?><SNB?;H;>C;H
%HMNCNON?MI@$?;FNB.?M?;L=B  

%=OLL?HNFSN?;=BIHNB?IGJF?R.?PC?QMGI>OF?I@NB?)/=CH!PC>?H=?;M?>$?;FNB
;L?;N+R@IL>1HCP?LMCNS;H>=OLL?HNFSMOJ?LPCMCHANI)/=MNO>?HNM 0BCMCHPIFP?ML?PC?QM
I@L?AOF;NILS>;N; ?=IHIGC=MNO>C?M >C;AHIMNC=MNO>C?M KO;FCN;NCP?MNO>C?M;H>%,%G?N;
;H;FSM?M 

%;G;G?G<?LI@NB?3$++2% %H@?=NCIH,L?P?HNCIH;H>IHNLIF.?M?;L=B3ILECHA
#LIOJ 

/CH=? 0IGB;M=IFF;<IL;N?>QCNBNB??HNL?@IL!PC>?H=?)?>C=CH?NI=F;LC@SGI>?M
I@NL;HMGCMMCIHI@/./I2           



"%&! %'& % !&$&(&%

%HNB?J;MN%B;P?=;LLC?>IONL?M?;L=B@ILNB?585<=;A921218/1'MOCN?I@I=BL;H?
L?PC?QMIHPCL;F;H>;LNBLIJI><ILH?@?P?LMJL?P?HNCIH  $0I@T;H;GCPCL@IL
CH@FO?HT; $9/41NB??=IHIGC=MI@;HNCPCL;FMH?OL;GCHC>;M?CHBC<CNILM 'MSMN?G;NC=
L?PC?QI@?PC>?H=?I@M;@?NSI@)).P;==CH?M;H>I@NB??=IHIGC=MI@JH?OGI=I==;F



                                                          



                                                                                      App000114
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                    Page 117 of 633 PageID 843


                                                                                            5
P;==CH?M )!MSMN?G;NC=L?PC?QI@?PC>?H=?I@M;@?NSI@$?J;NCNCMP;==CH?M 6-@9
%75=46581MSMN?G;NC=L?PC?QI@?PC>?H=?I@M;@?NS;H>?@@?=NCP?H?MMI@ ,0P;==CH?M 
%-8925%A84=16-.9 ?P?FIJG?HNI@,F?=IH;LCF <=5=>=9%>:1;59;105%-85=-C;H>
%%$HIQA?H;M =IIL>CH;NILI@NB?H;NCIH;F=FCHC=;FAOC>?FCH?MJLID?=NM??<?FIQ 
  1=41;6-80<1-6=49>8/56M;@?NSI@$?J;NCNCMP;==CH?OJ>;N?L?PC?Q %1-6=4
HNC>C;<?NC=>LOAMNB?"51798=1$13598I@*ILNB?LH%N;FSMOCN?I@I=BL;H?L?PC?QMIH
CH@FO?HT;P;==CH?M 318B5-05%-85=-">..65/--B59 ,O<FC=$?;FNBA?H=SI@(;TCI
.?ACIHAOC>?FCH?MCGJF?G?HN;NCIHNLC;FJLID?=N;H>=IIL>CH;NCIHI@;NQI=FOMN?L
L;H>IGCM?>NLC;FMI@AOC>?FCH?MCGJF?G?HN;NCIH IH<?B;F@I@NB?1'aM0?=BHIFIAS
MM?MMG?HN,LIAL;GG?%OJ>;N?>NQIL?PC?QMIHNB??@@?=NMI@?>CNILC;FJ??LL?PC?Q 
%B;P?<??HCHPIFP?>CH;S?;LOJ>;N?;H>L?QLCN?I@BCMI=BL;H?L?PC?QIH
*?OL;GCHC>;M?%HBC<CNILM?R=FOMCP?FS<;M?>IHL?AOF;NILSCH@ILG;NCIH $0\  
1J>;N?;H>;G;FA;G;NCIHI@NQII=BL;H?.?PC?QMH?OL;GCHC>;M?CHBC<CNILM@IL
JL?P?HNCHA;H>NL?;NCHACH@FO?HT;CHB?;FNBS;>OFNM;H>=BCF>L?H]
#..+ 111) .-)$#,/&+,*% .-#. 

%;G;G?G<?LI@NB??>CNILC;F<;M?I@NB?I=BL;H?=ON?.?MJCL;NILS%H@?=NCIHM#LIOJ 
.?PC?Q?L I=BL;H?%H@?=NCIOM CM?;M?M =ON?.?MJCL;NILS%H@?=NCIHM $?J;NI <CFC;LS 
CLQ;SM;H>IFIL?=N;F;H=?L#LIOJM 

  CL?=NIL $?;FNB.?PC?QM(N> GSIQH=IGJ;HS 

)?G<?L ?>CNILC;F <I;L>I@  ).$,*", --$$) $$);H> '.#
 ,0$ - - ,# 

,??L L?PC?Q?L @IL )&  (;H=?N  &)  &) %HN?LH;F )?>C=CH?  )&  *?Q !HAF;H>
&IOLH;F I@ )?>C=CH?  2;==CH? ;H> ;H;>C;H IIL>CH;NCHA +@@C=? @IL $?;FNB 0?=BHIFIAS
MM?MMG?HN+$0!G?LACHA0?=BHIFIAS<OFF?NCHM 

%;G;H=;>?GC=!>CNIL ,(+/+*! ;H>B;P?<??H;=IHNLC<ONILNI(;MNaM
  C=NCIH;LSI@!JC>?GCIFIASNB ?>CNCIH 

%>I;HIHSGIOMG;LE?N;==?MM=IHMOFN;H=SCHN?LPC?QM@ILP;LCIOMJB;LG;=?ONC=;F=IGJ;HC?M 

?NQ??H;H>%Q;MNB?I IL>CH;NILI@NB?I=BL;H?2;==CH?M"C?F>;H>
;H>%Q;MBIHIL;LS.?M?;L=B"?FFIQ;NNB?1'I=BL;H??HNL? 

%H  %;=N?>;M;H?RJ?LNQCNH?MMCH;FCNCA;NCIH=;M?L?F;N?>NINB?;HNCPCL;FIM?FN;GCPCL 
CHNQIFCNCA;NCIH=;M?MIHJIN?HNC;FP;==CH? L?F;N?>>;G;A?;H>CH;F;<IOL=;M?IHCH@FO?HT;
P;==CH?MCHB?;FNB=;L?QILE?LMCH;H;>; %H %Q;M;G?G<?LI@;HCH>?J?H>?HN>;N;
GIHCNILCHA=IGGCNN??@IL;%-8925"-<=1>;=FCHC=;FNLC;FIH;HCH@FO?HT;P;==CH?;H>;G?G<?L
I@NBL??;>PCMILS<I;L>M@IL91;45831;83164157IH<LIH=BI>CF;NIL>LOA 0;E?>;
=;L>CIP;M=OF;L>LOA;H>;S?L<FII>L?JF;=?G?HN 






                                                               



                                                                                             App000115
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                  Page 118 of 633 PageID 844


                                                                                                    6
MJ;LNI@GS$0;=NCPCNS%B;P?CHN?LPC?Q?> =IFF;<IL;N?>;H>CHN?L;=N?>QCNBM=IL?MI@
=FCHC=C;HMCH<INBJLCG;LS;H>BIMJCN;F=;L?<INBCH%N;FS;H>NB?L?MNI@!OLIJ? +P?LNB?J;MN
NBCLNSS?;LM %B;P?QILE?>CHGIMNNB?L;J?ONC=;H>JL?P?HNCIH;L?;M FMI;MJ;LNI@GS%N;FC;H
$0;H>M=C?HNC@C=;=NCPCNS%B;P?CHN?L;=N?>QCNBJ;NC?HNILA;HCM;NCIHM;H>B;P?=IHMC>?L;<F?
EHIQF?>A?I@NB?L?ACIH;F%N;FC;HMNLO=NOL?;H>CNMQILECHAMNB;HEMNIGSLIF?;M=IHMOFN;HNNI
A?H;M 
0B?$0L?JILNIONJONCM;==?MMC<F?;NBNNJM QQQ ;A?H;M AIP CN ;L?? N?G;NC=B? BN; B?;FNB
N?=BHIFIAS ;MM?MMG?HN ;NNCPCN; BN; L?JILN BN;
0B?$ILCTIHM=;HHCHAIONJONCM;==?MMC<F?;NBNNJM QQQ ;A?H;M AIP CN ;L?? N?G;NC=B? BN;
B?;FNB N?=BHIFIAS ;MM?MMG?HN BM BILCTIH M=;HHCHA L?JILN BM



/CH=?%;G;G?G<?LI@NB?%N;FC;H)I$*;NCIH;F%GGOHCM;NCIH0?=BHC=;F>PCMILS
#LIOJ*%0# 

 $"$%! "$!%%! $!' 

%Q;M<ILHIH);L=BCH2C;L?AACIH?;L,CM; %N;FS %Q;M?>O=;N?>CH%N;FS;H>
Q?HNNI1'CHNI>IGSBIMJCN;FDI<MJLCILNIDICHCHANB?LGS )SJLI@?MMCIH;F
=;L??LB;MMJ;HH?>NQIMJ?=C;FNC?M #?H?L;F,L;=NC=? ;H>,O<FC=$?;FNB
MCH=? %M?LP?>CHNB?LCNCMBLGS<?NQ??H;H> 
)SLGSM?LPC=?NIIEJF;=?CHNBL??=IHNCH?HNM;H>NQI=IH@FC=NM/IONBNF;HNC=;H>
5OAIMF;PC; %B?F>NB?L;HEI@(C?ON?H;HNIFIH?F %;GG;LLC?>QCNB@CP?=BCF>L?H 

 $"$&$$

/$+)?>C=CH? L<LI;NB%H@CLG;LS  
/$+;MO;FNS LIS>IH 
,IMN#L;>O;N?)?>C=;F+@@C=?LMIOLM?B?F>.IS;F)CFCN;LS=;>?GS /;H>BOLMN;H>NB?
.IS;FLGS)?>C=;FIFF?A? (IH>IH 
/$++# LCNCMB)CFCN;LS$IMJCN;F$IHA'IHA 
0L;CH??#,;H>.?ACG?HN;F)?>C=;F+@@C=?LCHM?P?L;F#OLEB;OHCNMCH$IHA'IHA;H>
*?J;F  
#,JLCH=CJ;F;N.IS;F)CFCN;LS=;>?GS/;H>BOLMN LGIOL?>.?ACG?HNCH#?LG;HS;H>
#OLEB;;NN;FCIHCH1';H>/IONBNF;HNC=  
/N;@@I@@C=?LP;LCIOMLIF?M  
,;LNH?LJ;LN NCG? *ILNB(;H?,L;=NC=? F>?LMBIN $;GJMBCL?  

"'&
$$

.?ACMNL;L;NNB? ?J;LNG?HNI@,L?P?HNCP?)?>C=CH?;NNB?.IS;FLGS)?>C=;FIFF?A?
(IH>IH  




                                                             



                                                                                          App000116
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 119 of 633 PageID 845


                                                                                               7
$IHIL;LS(?=NOL?LNINB? ?J;LNG?HNI@,O<FC=$?;FNB;N'CHAMIFF?A?$IMJCN;F 
(IH>IH,LI@?MMILM&CG)=!Q?H *ILG;H*I;B   
$IHIL;LS/?HCIL(?=NOL?LNINB? ?J;LNG?HNI@,O<FC=$?;FNB;N'CHAMIFF?A?$IMJCN;F 
(IH>IH =OLL?HN 
  ?N;=BG?HNNINB?(IH>IH/=BIIFI@$SAC?H?;H>0LIJC=;F)?>C=CH?IHNB? CJFIG;CH
0LIJC=;F)?>C=CH?;H>$SAC?H?IOLM?@CLMN;H>NB?HIH);MN?LI@/=C?H=?CHIGGOHCNS
)?>C=CH?  
/?HCIL.?ACMNL;L;NNB?.)0L;CHCHA?HNL?H?;LF>?LMBIN  /NO>?HN
IHNB?$CAB?LIGG;H>;H>/N;@@IOLM?;NNB?%N;FC;HLGS/N;@@IFF?A? .IG?
  
/?=IH>CHIGG;H>I@;)?>C=;F;NN;FCIHCH#?LG;HS=IHMCMNCHAI@J?LMIHH?F
  

MMCMN;HN"IL=?)?>C=;F+@@C=?L 1HCN?>*;NCIHM,LIN?=NCIH"IL=?CH5OAIMF;PC;
1*,.+"+. %M?NOJ;FFG?>C=;F@;=CFCNC?M@ILNB?CHCNC;F>?JFISG?HNCH);L=B;H>
  CL?=NILI@,O<FC=$?;FNB@IL1*,.+"+. %Q;MMN;NCIH?>CH/;L;D?PIIMHC; $?L=?AIPCH; 
?FAL;>?/?L<C;;H>6;AL?<LI;NC;@ILNB?>OL;NCIHI@MCRGIHNBM  ?JONSIGG;H>?L
)?>C=;F,L?P?HNCP?)?>C=CH?LCNCMBLGSI@NB?.BCH? %Q;ML?MJIHMC<F?@IL;FF,L?P?HNCP?
)?>C=CH?M?LPC=?M@IL;JIJOF;NCIHI@ MIOFM  

/?HCIL0?=BHC=;F+@@C=?LIHNB?$?;FNB/?LPC=?M);LE?N0?MN@ILLCNCMB"IL=?M#?LG;HS
  .?MJIHMC<F?@IL>?P?FIJCHANB?/N;N?G?HNI@.?KOCL?G?HNCHJL?J;L;NCIH@ILNB?
CMMOCHAI@NB?%HPCN;NCIH0I0?H>?L;H>NB?>?P?FIJCHAI@NB?JOL=B;MCHA@OH=NCIH /N;@@
+@@C=?L )CHCMNLSI@ ?@?H=? LGS)?>C=;F CL?=NIL;N?  .?MJIHMC<F?@ILB?;FNB
MOLP?CFF;H=?;H>B?;FNBJIFC=S@ILGOF;NCIH@ILNB?LCNCMBLGS )S>?J;LNG?HN=;LLC?>ION
GIL<C>CNSMOLP?CFF;H=?@ILNB?LCNCMBLGS;H>@ILNB?*0+/"+.GCMMCIHCHNB?"ILG?L
.?JO<FC=I@5OAIMF;PC;".5 

%H"?<LO;LS%Q;M;JJICHN?>2CMCNCHA,LI@?MMILCH$?;FNB/?LPC=?M.?M?;L=B;NNB?
1HCP?LMCNSI@,;PC; *ILNB?LH%N;FS 

%H&OH?%Q;M;JJICHN?>!>GOH>,;LE?M,LI@?MMILI@,L?P?HNCP?)?>C=CH?;NNB?
.IS;F ?@?H=?)?>C=;FIFF?A? 0B?=B;CLCML?=IAHCM?><SNB?";=OFNSI@,O<FC=$?;FNB
)?>C=CH?I@NB?.IS;FIFF?A?I@,BSMC=C;HMI@NB?1HCN?>'CHA>IG >>CNCIH;F
L?MJIHMC<CFCNC?MCH=FO>?>NB?MNL;N?AC=G;H;A?G?HNI@NB?LGSaM MNLIHA!HPCLIHG?HN;F
$?;FNB=;>L? 0BCMF;JM?>QB?H%F?@NNB?LGS 

,LCH=CJ;FCH@;GCFSG?>C=CH? F>?LMBIN 1'   
LCNCMB)?>C=;FMMI=C;NCIH$.IM=I?"?FFIQ@ILNB?MNO>SI@NB?JL?P?HNCIH;H>
NL?;NG?HNI@NB?=IGGIH=IF>  

>PCM?LNB?(;TCI.?ACIH,O<FC=$?;FNBA?H=S%0;H>NB?%MNCNONI/OJ?LCIL?>C/;HCNW
IHNB?>?P?FIJG?HNI@?PC>?H=? <;M?>=FCHC=;FAOC>?FCH?M 





                                                           



                                                                                       App000117
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 120 of 633 PageID 846


                                                                                           8
"$*%

LGS/SHN?RQ;L>@ILL?M?;L=BCHNII<MN?NLC=J?L@ILG;H=?CH>C@@?L?HN?NBHC=
ALIOJMM??JO<FC=;NCIH 

1HCP?LMCNSI@/OLL?S.?M?;L=B,LCT?@ILQILEIHB;?G;NIFIAC=;FCH>C=?MI@JL?AH;HN
#OLEB;QIG?HM??JO<FC=;NCIH 

,;LE?M)?GILC;F,LCT?@ILQILEIHNB?M?F?=NCIH;H>NL;CHCHAI@LGSL?=LOCNMM??
JO<FC=;NCIHM? 

)&JLCT?@IL<?MNOM?I@)&;L=BCP;FG;N?LC;FJO<FC=;NCIHIHNB?^/J;HCMB_
CH@FO?HT;J;H>?GC= 



"-<=3;-8=<

)+ 1' MSMN?G;NC=L?PC?QMI@CHN?LP?HNCIHMNIJL?P?HNCH@FO?HT;CHB?;FNBS;>OFNM

.I=B?1'(N> =IMNI@CFFH?MMMNO>SI@NB?<OL>?HI@CH@FO?HT; 

).IM=I?"?FFIQMBCJ MSMN?G;NC=L?PC?QI@NB??@@?=NMI@;HNCPCL;FM@ILNB?=IGGIH
=IF> 

1'$0JLIAL;GG? MSMN?G;NC=L?PC?QI@NB??@@?=NMI@T;H;G;PCL 

!1 MSMN?G;NC=L?PC?QI@M;@?NSI@)).P;==CH?M 

!1 MSMN?G;NC=L?PC?QI@NB??=IHIGC=MI@JH?OGI=I==;FP;==CH?M 

3$+ MSMN?G;NC=L?PC?QI@?PC>?H=?I@M;@?NSI@$?J;NCNCMP;==CH?M 

3$+ MSMN?G;NC=L?PC?QI@?PC>?H=?I@M;@?NSI@;FOGCHCOGCH 0,P;==CH?M 

#F;RI/GCNB'FCH?(N> MSMN?G;NC=L?PC?QI@?PC>?H=?I@M;@?NS;H>?@@?=NCP?H?MMI@ ,0
P;==CH?M 

*$/. JLIAL;GG? MSMN?G;NC=L?PC?QI@NB??@@?=NMI@J??LL?PC?Q HOJ>;N?Q;M
=IGGCMMCIH?>CH);S 

.?ACIH?,C?GIHN? %N;FS\MSMN?G;NC=L?PC?QMI@NB??@@?=NMI@CH@FO?HT;P;==CH?MCH
=BCF>L?H;H>?F>?LFS;H>KO;FCNSMNO>C?M;H>NB?CLJO<FC=;NCIHIHBCABCGJ;=N@;=NIL
DIOLH;FM 





                                                         



                                                                                    App000118
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 121 of 633 PageID 847


                                                                                           9

*?NB?LF;H>M$?;FNBIOH=CFM;@?NSI@$?J;NCNCMP;==CH?OJ>;N?L?PC?Q

    $1' *%$.I=BL;H?L?PC?QOJ>;N?CH=?HNCP?M=B?G?M?P?L;F;Q;L>M

(;TCI,O<FC=$?;FNBA?H=S\MSMN?G;NC=L?PC?QI@NB??JC>?GCIFIASI@) /(*)$ 

  $1'*;NCIH;F=IIL>CH;NCHA?HNL?@IL)?NBI>IFIAS

3$+ ,BSMC=;FCHN?LP?HNCIHMNICHN?LLOJNILL?>O=?NB?MJL?;>I@L?MJCL;NILSPCLOM?M
MSMN?G;NC=L?PC?Q 

1'*%$.\ ?P?FIJCHA OJ>;NCHA;H>L?QLCNCHANB?I=BL;H?L?PC?QIH*?OL;GCHC>;M?
%HBC<CNILM?R=FOMCP?FS<;M?>IHL?AOF;NILSCH@ILG;NCIH 

I=BL;H? )?NBI>M%HHIP;NCIH"OH>)%" NI>?P?FIJ;G?NBI>IFIAS@IL
MOGGCHAOJ?PC>?H=?I@?@@?=NCP?H?MM ?@@C=C?H=S;H>M;@?NSOMCHAL?AOF;NILS
CH@ILG;NCIH;H>>;N;@LIG>C@@?L?HNMIOL=?M <INBL?AOF;NILS;H>IJ?HMIOL=? 

LHIF>"IOH>;NCIH\.%0=?HNL?

$$&! &(&%

3?CABNNL;CHCHA MECCHA 

$%"!!&$!$ %&! %:-<=-80:;1<18=

$?;FNB!=IHIGC=M/NO>S#LIOJ$!/#
%HN?LH;NCIH;FMMI=C;NCIHI@$?;FNB!=IHIGCMNMFCMN?>CHNB?QILF>>CL?=NILSI@$?;FNB
!=IHIGCMNM 
I=BL;H?CLQ;SMIFF;<IL;NCP?.?PC?Q#LIOJ
(+'*!0&) )&J??L L?PC?QH?NQILE 
3ILF>MMI=C;NCIHI@)?>C=;F!>CNILM3)!
$?;FNB0?=BHIFIASMM?MMG?HN%HN?LH;NCIH;FCHN?LH;NCIH;FMI=C?NS@IL$0


"'&! %$"!$&% 
   
     .+(%# &!""!./+*0+ 3?>>CHA,;LNSQCNB/ $;C@; HH;FC/=F;PI 
     
   
     .+(%# &!""!./+*0+ "CH>CHAI@! IFC,B;A?CH1LCH;LS0L;=N%H@?=NCIHM 
   HH;FC/=F;PI   
   
     &!""!./+*0+ ,?LMIH;F2C?Q )&  



                                                        



                                                                                  App000119
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 122 of 633 PageID 848


                                                                                              10
    
      &!""!./+*0+ +$!* ";GCFC;F/CLCHAIGS?FC;QCNB)?HN;F%GJ;CLG?HN &.
    LGS)?>ILJM   
    
      &!""!./+*0+ .!% 5& %H=C>?H=?I@%HMNLOG?HN;F ?FCP?LC?MCH,LCGCAL;PC>;?
    I@ C@@?L?HN!NBHC=#LIOJM &.LGS)?>ILJM   
    
      .!% 5& &!""!./+*0+ '!**! 5,) /IG?$;?G;NIFIAC=;F ;N;IH
    ,L?AH;HN#OLEB;3IG?H &.LGS)?>ILJM   
    
      &!""!./+*0+ ,BSMC=;F"CNH?MM;H>/GIECHA,;NN?LHMCH;#OLEB;;NN;FCIH &
    . LGS)?>ILJM   
    
      &!""!./+*0+ ./+., *IH/CGOF;N?>;MO;FNS3ILEFI;>CH"C?F>
    $IMJCN;F OLCHA!R?L=CM?IF>#;HH?NN #CILH;F?>C)?>C=CH;)CFCN;L? 
     
    
      &!""!./+*0+ 05(+.2) ,?LCH;N;FGILN;FCNSCHCH@;HNMI@NQI>C@@?L?HN?NBHC=
    ALIOJM ";GCFS,L;=NC=?  
    
      &!""!./+*0+ HIHSGIOM)?;=OFJ; 1J>;N?  
    
      &!""!./+*0+ ,;NN?LHMI@MGIECHACHCH@;HNLS<;NN;FCIHM LCNCMBLGS.?PC?Q 
     
    
      &!""!./+*0+ ;G?L;CHA?H?L;FJL;=NC=?+N;M*;?POM 1J>;N? 
     
    
      '!**! 5,) &!""!./+*0+ .!% 5& #LIQNBCH#OLEB;%H@;HNM ";GCFS
    ,L;=NC=?  
    
      &!""!./+*0+ OIH*;N;F?(?NN?LNINB?!>CNIL &.IS;FIFF#?H,L;=N 
     
    
      +((%!.3 "!*/0!*/0!%* &!""!./+*0+ $(HNCA?HMCH*?J;F?M? 
    ,LI=??>CHAMI@NB?L>MC;H+=?;HC;$CMNI=IGJ;NC<CFCNSIH@?L?H=? /;JJILI 
    
      &!""!./+*0+ 0B?,L?P?HNCIHI@% //IG?,LCH=CJF?M@ILNB?%H=?JNCIH;H>
    MM?MMG?HNI@;$?;FNB!>O=;NCIH;GJ;CAH .CPCMN;%N;FC;H;>:%AC?H?  
    
      &!""!./+*0+ H%HP?MNCA;NCIHI@)?>C=;F CM=B;LA?M@LIGNB?LCNCMBLGS
      &.LGS)?>ILJM   
    
      &!""!./+*0+ .* $ (!2.!:! .+(%# 0B?,?LMIH;F,L?P?HNCIHI@
    );F;LC; .CPCMN;%N;FC;H;>:%AC?H?  




                                                          



                                                                                     App000120
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                  Page 123 of 633 PageID 849


                                                                                                11
    
      &!""!./+*0+ .+(%# )+(%*.%# ,!%.+*!, ,O<FC=$?;FNB;H>
    IGGOHCNS)?>C=CH?CH!HAF;H> .CPCMN;%N;FC;H;>:%AC?H?  
    
      /*!0% $ 5,*%+0+1 &!""!./+*0+ )%((/ <ILNCIH/?LPC=?M
    CH3;H>MQILNB)/="C?F>/?LPC=?NN;=BG?HN (IH>IH/=BIIFI@$SAC?H?0LIJC=;F
    )?>C=CH?  
    
      05(+.(! &!""!./+*0+ .+(%# 3;N?L/OJJFS!HACH??LCHA;H>,O<FC=
    $?;FNBCHNB?1HCN?>'CHA>IG .CPCMN;%N;FC;H;>:%AC?H?  
    
      &!""!./+*0+ H%HP?MNCA;NCIHCHNI.?AOF;L.?=LOCN3;MN;A?@LIGNB?LCNCMB
    LGS  &.LGS)?>ILJM  
    
      05(+.(! &!""!./+*0+ .+(%# 0B?3;N?L/OJJFSI@(IH>IH .CPCMN;
    %N;FC;H;>:%AC?H?    
    
      !)%$!(%2 &!""!./+*0+ ),+() .+(%# ,!%.+*!, %F(;S
    ?FC?@/SMN?G *IN;(I/NO>CI>?FIGJILN;G?HNI/;HCN;LCI .CPCMN;%N;FC;H;>:%AC?H?
       
    
      &!""!./+*0+  !)%$!(%2 .+(%# *?MMINL;;MC>C(?O=?GC;%H@;HNCF?
    ??HNL;F?*O=F?;L?>C/?FF;@C?F>1'OH,OTTF?!JC>?GCIFIAC=I .CPCMN;%N;FC;H;
    >:%AC?H?   
    
      !)%$!(%2 &!""!./+*0+ (?IHM?AO?HT?!=IHIGC=B?>?FF;
    /;FGIH?FFIMC HNC<CINC=IN?L;JC;J?LF;JL;NC=;   
    
      &!""!./+*0+ "CLMNC>0L;CHCHA HJJL;CM;F 0B?/IF>C?LM(IHA?MN&IOLH?S &
    .LGS)?>ILJM   
    
      &!""!./+*0+ ,LI=?>OL?M@ILNB?=IFF?=NCIH;H><INNFCHAI@GCH?L;FQ;N?LM
    #OC>?FCH?M@ILB;H>F?LM .CPCMN;%N;FC;H;>:%AC?H?   
    
      %/+#*%( &!""!./+*0+  !)%$!(%2 (+)+(%*+# ,!((%# /NO>CI
    >?FF;JL?P;F?HT;>?FF?CH@?TCIHCIMJ?>;FC?L?CHOHIMJ?>;F?A?H?L;F?>CTIH; .CPCMN;
    %N;FC;H>CHNC<CINC=IN?L;JC;J?LF;JL;NC=;  
    
      !)%$!(%2 (+)+(%*+# &!""!./+*0+ O>CNH?CM?LPCTC>C%AC?H?
    ,O<<FC=;F:IJCHCIH?>?C=CNN;>CHCMOAFCCHN?LP?HNCJ?LCH=IP?HC?HNCCAC?HC=C NNC>?F%2
    IHAL?MMI*;TCIH;F?>?FF;/I=C?N;:%N;FC;H;>C2.- ,;PC; /?NN?G<L? 
    J;ACH; !>CNLC=?,?LCI>C=C 
    
      !)%$!(%2 (+)+(%*+# &!""!./+*0+ (;KO;FCN;:>?FF?CHCTC;NCP?>C
    @ILG;TCIH?F:;AACILH;G?HNI>?FJ?LMIH;F?MOFJLI<F?G;>?FF?CH@?TCIHCIMJ?>;FC?L? NNC




                                                             



                                                                                         App000121
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                  Page 124 of 633 PageID 850


                                                                                                12
    >?F%2IHAL?MMI*;TCIH;F?>?FF;/I=C?N;:%N;FC;H;>C2.- ,;PC; /?NN?G<L?
     J;ACH; !>CNLC=?,?LCI>C=C 
    
      !)%$!(%2 (+)+(%*+# &!""!./+*0+ (:;JJILNI>?FF;!=IHIGC;
    /;HCN;LC;;FF;KO;FCN;:>?FF?>?=CMCIHC (;>?N?LGCH;TCIH?>?F=IMNI>?FF;MI@@?L?HT; NNC
    >?F%2IHAL?MMI*;TCIH;F?>?FF;/I=C?N;:%N;FC;H;>C2.- ,;PC; /?NN?G<L? 
    J;ACH; !>CNLC=?,?LCI>C=C 
    
      !)%$!(%2 (+)+(%*+# &!""!./+*0+ @@?LG;TCIHC>C=IHM?HMI?
    P?LC@C=;>?FF;KO;FCN;: NNC>?F%2IHAL?MMI*;TCIH;F?>?FF;/I=C?N;:%N;FC;H;>C2.- 
    ,;PC; /?NN?G<L? J;ACH; !>CNLC=?,?LCI>C=C 
    
      !)%$!(%2 &!""!./+*0+ IMN <?H?@CN;H;FSMCMI@NB?CHNLI>O=NCIHI@G;MM
    P;==CH;NCIH;A;CHMN$?J;NCNCMCH%N;FS &IOLH;FI@,O<FC=$?;FNB)?>C=CH?
     ,;J?LJL?M?HN?>NINB?NBCL>!OLIJ?;H$?;FNB/?LPC=?M.?M?;L=B)??NCHA 
    1HCP?LMCNSIFF?A?(IH>IH   ?=?G<?L 
    
      !)%$!(%2 &!""!./+*0+ );HO;F?>C,LIAL;GG;TCIH??ILA;HCTT;TCIH?
    /;HCN;LC; -O;>?LHC>C!JC>?GCIFIAC; (;#IFC;L>C=;,;P?M? ,;PC; 
    
      !)%$!(%2 &!""!./+*0+ LCN?LC>CP;FON;TCIH?>?FH?MMI=;OM;F??FILI
    ;JJFC=;TCIH?;FF;KO?MNCIH?>?FF?L?F;TCIHC@L;F?L;>C;TCIHCCIHCTT;HNC?F;F?O=?GC;
    CH@;HNCF? 0?=HC=;/;HCN;LC;CHJL?MM 
    
      &!""!./+*0+  !)%$!(%2 (+)+(%*+# ,LI<F?GC>C2;FON;TCIH?
    ?JC>?GCIFIAC=;H?FF?JC==IF?=;N;MNLI@C;G<C?HN;FC %F=;MI>C;G?F@IL>CHILHIP;AFC; 
    0?=HC=;/;HCN;LC;CHJL?MM 
    
      &!""!./+*0+ ,O<FC=$?;FNBMJ?=NMI@NB?Q;LCH5OAIMF;PC; ,O<FC=$?;FNB
      
    
      &!""!./+*0+  !)%$!(%2 3.%#$0  H?=IHIGC=?P;FO;NCIHI@NB?
    CHNLI>O=NCIHI@P;==CH;NCIH;A;CHMN$?J;NCNCMCH;J?;=? E??JCHAIJ?L;NCIH 0B?=;M?I@
    NB?1HCN?>*;NCIHM,LIN?=NCIH"IL=?CH5OAIMF;PC;1*,.+"+. %HN?LH;NCIH;F&IOLH;F
    I@0?=BHIFIASMM?MMG?HNCH$?;FNB;L?  ,IMN?LJL?M?HN?>;NNB?
    "C@NB!OLIJ?;H$?;FNB/?LPC=?M.?M?;L=BIH@?L?H=?;N);;MNLC=BN  ?=?G<?L 
    
      !)%$!(%2 (+)+(%*+# &!""!./+*0+ O>CNI@;H?HPCLIHG?HN;FM?LPC=?
    CH%N;FS ,LI=??>CHAMI@NB?/OGG?LIH@?L?H=?I@NB?";=OFNSI@,O<FC=$?;FNB
    )?>C=CH?  !;MN<IOLH? /OMM?R %HABCFN?LL; 
    
      &!""!./+*0+  !)%$!(%2 0B?=IMNMI@>CM?;M? ;FIIE;NQILF>FCN?L;NOL? 
    ,L?M?HN?>;NNB?)??NCHA%HN?LH;TCIH;F?MOC=IMNC>?FF?G;F;NNC??>?FF;/;FGIH?FFIMC 
    ,;PC;1HCP?LMCNS JLCFCHJL?MM 
    




                                                             



                                                                                         App000122
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                  Page 125 of 633 PageID 851


                                                                                                  13
      &!""!./+*0+  !)%$!(%2 %MP;==CH;NCIH;A;CHMN$?J;NCNCM;H>
    =IMN ?@@?=NCP?JL?FCGCH;LSFIIE;NQILF>FCN?L;NOL? ,L?M?HN?>;NNB?)??NCHA
    %HN?LH;TCIH;F?MOC=IMNC>?FF?G;F;NNC??>?FF;/;FGIH?FFIMC ,;PC;1HCP?LMCNS JLCF
    CHJL?MM 
    
      &!""!./+*0+  !)%$!(%2 %MP;==CH;NCIH;A;CHMN$?J;NCNCM?@@C=C?HN
    L?PC?QI@QILF>FCN?L;NOL? $?;FNB!=IHIGC=M  ,;J?LJL?M?HN?>;NNB?"C@NB
    !OLIJ?;H$?;FNB/?LPC=?M.?M?;L=BIH@?L?H=?;N);;MNLC=BN  ?=?G<?L 
    
      &!""!./+*0+ ,O<FC=$?;FNB;H>NB?Q;LCH5OAIMF;PC; %H)='??)?>
    $?;FNB@IL;FFCH;=B;HACHA!OLIJ? $"*?QM  
    
      !)%$!(%2 &!""!./+*0+ IMN <?H?@CN;H;FSMCMI@NB?CHNLI>O=NCIHI@G;MM
    P;==CH;NCIH;A;CHMN$?J;NCNCMCH%N;FSF?NN?LNINB?!>CNIL &IOLH;FI@,O<FC=$?;FNB
    )?>C=CH?  
    
      &!""!./+*0+ )1#"+. ) #.5  !)%$!(%2 ,O=B;M?LM;H>=IMN
    ?@@?=NCP?H?MMI@CHN?LP?HNCIHM L?M?=IH>;LS?=IHIGC=?P;FO;NCIHMJIMMC<F?<MNL;=N
    JL?M?HN?>;NNB?/?=IH>I=BL;H?IFFIKCOG $;GCFNIH +HN;LCI +=NI<?L 
    
      &!""!./+*0+ !$.!*/.  !)%$!(%2 /BIOF>LCNCMBMIF>C?LM<?
    P;==CH;N?>;A;CHMN$?J;NCNCMH?=IHIGC=;H;FSMCM 2;==CH?  
    
      &!""!./+*0+ ,%!.!  !)%$!(%2 !=IHIGC=<OL>?HI@;HION<L?;EI@;
    =IGGOHC=;<F?>CM?;M?I@OHEHIQH;?NCIFIASCH;GCFCN;LSOHCN &IOLH;FI@!JC>?GCIFIAS
    ;H>IGGOHCNS$?;FNB F?NN?LNINB?!>CNIL 
    
      '!$1./0. #.5 140+*) $()!./%  +*( /+* 
    $1.*/% !. "!**, "+.!/& #.%""%*& $+3. / &!""!./+*0 )
    #1%.! )1#"+. ) +.%!* +4)* 0+3/! MM?G<FCHACH@ILG;NCIHCH
    L?PC?QMI@L;H>IGCM?>=IHNLIFF?>NLC;FM@ILMO<M?KO?HN=IMN ?@@?=NCP?H?MM;H;FSMCM 
    +R@IL>1'I=BL;H??HNL? 3ILEMBIJ.?JILN *IP?G<?L 
    
      &!""!./+*0+ ))%((*$) 3BCNB?L>CJFIG;NIMCM3BCNB?L,$+)&
    .IS;FLGS)?>ILJMF?NN?LNINB??>CNIL 
    
      &!""!./+*0+ )1#"+. )  !)%$!(%2 -(5F?;AO?N;<F?M $?;FNB
    !=IHIGC=M F?NN?LNINB??>CNIL 
    
      )1#"+. ) &!""!./+*0+ /+((. /?=IH>;LS/SMN?G;NC=.?PC?QNI
    MM?MMQB?NB?L;H>BIQL?MOFNMI@L;H>IGCM?>=IHNLIFF?>NLC;FMI@MOL@;=N;HNNL?;NG?HN
    @ILH?IH;N;F. /=;H<?OM?>NICH@ILGKO?MNCIHMI@=IMN ?@@?=NCP?H?MM <MNL;=N
    JL?M?HN?>;NNB?/?=IH>I=BL;H?IFFIKCOG $;GCFNIH +HN;LCI +=NI<?L 
    
      )1#"+. ) )=#1%.! &!""!./+*0+ .?MOFNMI@;MOLP?SI@B?;FNB




                                                             



                                                                                         App000123
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 126 of 633 PageID 852


                                                                                             14
    ?=IHIGCMNMIHA?H?L;FCMCHA@LIG?=IHIGC=?P;FO;NCIHM 
    
      &!""!./+*0+ )1#"+. ) #.5  !)%$!(%2 H?R?L=CM?IHNB?
    @?;MC<CFCNSI@=;LLSCHAIONM?=IH>;LS?=IHIGC=;H;FSM?M  <MNL;=NJL?M?HN?>;NNB?
    /?=IH>I=BL;H?IFFIKCOG $;GCFNIH +HN;LCI +=NI<?L 
    
      &!""!./+*0+ !HPCLIHG?HN;FJLI<F?GM@ILQILE?LM;<LI;> %H?LB?HM.$ 
    .CF?S3?>CNILM ;LCHA@IL?RJ;NLC;N?M;H>QILE?LM;<LI;> $?;FNBCMMO?M;H>?NBC=;F
    >CF?GG;M ,LI=??>CHAMI@;HCHN?LH;NCIH;FG??NCHAILA;HCM?><SNB?LCNCMB
    ,IMNAL;>O;N?)?>C=;F"?>?L;NCIHNB?$IMJCN;F@IL0LIJC=;F CM?;M?M;H>NB?(IH>IH
    /=BIIFI@$SAC?H?;H>0LIJC=;F)?>C=CH? LCNCMB,IMNAL;>O;N?)?>C=;F"?>?L;NCIH 
    (IH>IH 
    
      &!""!./+*0+  !)%$!(%2 J;H?FJLCILCNSL;NCHA?R?L=CM?@ILNB?LCNCMB
    "IL=?M#?LG;HS$?;FNB/?LPC=?M);LE?N0?MN &.IS;FLGS)?>ILJM
     
    
      !)%$!(%2 / %+#, (*%+00%# *+2+" &!""!./+*0+ 0B?
    !GCFC;=IMNCHAMNO>SP;FON;TCIH?>?FFCGJ;NNI?=IHIGC=I>?FF;M;FGIH?FFIMCOG;H; 
    )?=IM;H  
    
      3%((%)/ +5(! #.5 $100+*& &!""!./+*0+ '.(//+*# 
    '!/0!(++0' 15( ! #.++0 3%0/ !OLIJ?;H/=BIIFI@+H=IFIAS;>PCMILS
    L?JILNNINB?IGGCMMCIHI@NB?!OLIJ?;HIGGOHCNC?M@IL!OLIJ?A;CHMN;H=?L
    ,LIAL;GG? =IMN ?@@?=NCP?H?MMCH=;H=?L=;L? !OLIJ?;H&IOLH;FI@;H=?L
      
    
      &!""!./+*0+ IIE.?PC?Q (CN?L;NOL?.?PC?QI@NB?IMN !@@?=NCP?H?MMI@
    *O=F?;L)?>C=CH?<S&;H;LN?L 'CHAM"OH>?HNL? (IH>IH )& 
    
      &!""!./+*0+ IIE.?PC?Q 0B?)?;MOL?MI@)?>C=CH??H?@CNM $;LGM;H>
    IMNM<S.C=B;L>'.C?A?FG;H F;=EQ?FF/=C?H=? (IH>IH )& 
    
      &!""!./+*0+ 0B?LGS;H>NB?I=BL;H?IFF;<IL;NCIH?>CNILC;F &.IS;F
    LGS)?>ILJM  
    
      &!""!./+*0+ IIE.?PC?Q +ON=IG?MCHNIFCHC=;F,L;=NC=?<S0 ?F;GINB?
    ?>CNIL )&,O<FCMBCHA#LIOJ (IH>IH &.IS;FLGS)?>ILJM
     
    
      &!""!./+*0+  !)%$!(%2 /NO>C?=IHIGC=CMOFF?LCPCMN?G?>C=B??N?GJI>C
    J?HM;L?;FCH??AOC>; )?=IM;H  
    
      &!""!./+*0+  !)%$!(%2 !*03%/0(!2 MM?MMCHAKO;FCNSI@?=IHIGC=
    MO<GCMMCIHMNINB?)& )& F?NN?LNINB??>CNIL 




                                                           



                                                                                       App000124
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 127 of 633 PageID 853


                                                                                               15
    
      &!""!./+*0+  !)%$!(%2 L?AOC>?FCH?M@ILJ??L L?PC?QCHA?=IHIGC=
    ?P;FO;NCIHMH?=?MM;LSMOLP?SI@=OLL?HN?>CNILC;FJL;=NC=? $?;FNB!=IHIGC=M
      
    
      ///%"  !)%$!(%2 &!""!./+*0+ /SMN?G;NC=.?PC?Q;H>MSHNB?MCMI@
    ?=IHIGC=MNO>C?M ,;J?LJL?M?HN?>;NNB?/=C?HNC@C=;MCMI@$?;FNB/?LPC=?M
    =IH@?L?H=? (IH>IH +=NI<?L 
    
      &!""!./+*0+  !)%$!(%2 ))%((*$) !JC>?GCIFIAC=;FH??>M
    ;MM?MMG?HNCHNB?LCNCMBLGS ,IMN?LJL?M?HN?>;NNB?/=C?HNC@C=;MCMI@$?;FNB     
    /?LPC=?M=IH@?L?H=? (IH>IH +=NI<?L 
    
      !)%$!(%2 &!""!./+*0+ (?M;FGIH?FFIMC?FIMNO>CI>?C=IMNC>?FF?
    G;F;NNC? %H ?,;FG; *IP;=I" +LF;H>C(?>CNILM (?M;FGIH?FFIMC?JC>?GCIFIAC; 
    =IMNI?=IHIGC=I?MNL;N?AC?>CCHN?LP?HNI .?ACIH?!GCFC; .IG;AH; MM?MMIL;NI;FF;
    /;HCN; IFIAH;  
    
      &!""!./+*0+  !)%$!(%2 0B?=IMNMI@>CM?;M? ;FIIE;NQILF>FCN?L;NOL? 
    %H
      ?,;FG; *IP;=I" +LF;H>C(?>CNILM (?M;FGIH?FFIMC?JC>?GCIFIAC; =IMNI
    ?=IHIGC=I?MNL;N?AC?>CCHN?LP?HNI .?ACIH?!GCFC; .IG;AH; MM?MMIL;NI;FF;/;HCN; 
    IFIAH;J;A?M  
    
      !)%$!(%2 &!""!./+*0+ ,L?M?HN;TCIH?>?FFIMNO>CIMOFF;P;FON;TCIH?
    >?FF?=IHM?AO?HT??=IHIGC=B?>?FF;M;FGIH?FFIMCOG;H;CH!GCFC; .IG;AH; %H ?
    ,;FG; *IP;=I" +LF;H>C(?>CNILM (?M;FGIH?FFIMC?JC>?GCIFIAC; =IMNI
    ?=IHIGC=I?MNL;N?AC?>CCHN?LP?HNI .?ACIH?!GCFC; .IG;AH; MM?MMIL;NI;FF;/;HCN; 
    IFIAH;  
    
      ///%"  !)%$!(%2 &!""!./+*0+ ,IIFCHA=IMN>;N;@LIGMSMN?G;NC=
    L?PC?QMI@?=IHIGC=MNO>C?M ,IMN?LJL?M?HN?>;NNB?0BCL>I=BL;H?IFFIKOCOG +MFI 
    *ILQ;S  +=NI<?L 
    
      &!""!./+*0+ 0B?KO?MN@ILNLC;FMIHNB??@@C=;=SI@BOG;HP;==CH?ML?MOFNMI@
    NB?B;H>M?;L=BI@NB?2;==CH?DIOLH;F ,IMN?LJL?M?HN?>;NNB?0BCL>I=BL;H?
    IFFIKOCOG +MFI *ILQ;S  +=NI<?L 
    
      &!""!./+*0+ IIE.?PC?Q B;FG?LM% FNG;H # /SMN?G;NC=L?PC?QM)&
    ,O<FCMBCHA#LIOJ (IH>IH &.IS;FLGS)?>ILJM
    
      &!""!./+*0+  !)%$!(%2 !=IHIGC=?P;FO;NCIHI@%H@FO?HT;P;==CH;NCIH;H>
    ?=IHIGC=GI>?FFCHA ;HL?MOFNM<?JIIF?>,B;LG;?=IHIGC=M/OJJF
      
             




                                                            



                                                                                        App000125
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 128 of 633 PageID 854


                                                                                             16
    &!""!./+*0+  !)%$!(%2 ))%((*$) ,CFINMNO>SI@NB?
  CHNLI>O=NCIHI@NB?&B?;FNB>;N;=IFF?=NCIHMSMN?G &.IS;FLGS)?>ILJM
         
  
   &!""!./+*0+ &!""!./+*2) 0B?KO?MN@ILNLC;FMIHNB??@@C=;=SI@
  BOG;HP;==CH?M .?MOFNMI@NB?B;H>M?;L=BI@$)  2;==CH?  
  
   .1))+* )" &!""!./+*0+@ILNB?)&3ILECHA,;LNSIHAOC>?FCH?M@IL
  ;ONBILM;H>J??L L?PC?Q?LMI@?=IHIGC=MO<GCMMCIHMNINB?LCNCMB)?>C=;F&IOLH;F 
  ORNIH) ?GC=B?FC2  IH;F>MIH &XHMMIH )OA@IL>) .?HHC? .IPCL;& .ONN?H
  " /=BOFG;H' /GCNB. 0IHEM 0ILL;H=?# 0IQM? #OC>?FCH?M@IL;ONBILM;H>
  J??L L?PC?Q?LMI@?=IHIGC=MO<GCMMCIHMNINB?LCNCMB)?>C=;F&IOLH;F )&
   OAOMN 
  
    &!""!./+*0+ )1#"+. ) #.5  !)%$!(%2 H?R?L=CM?IHNB?
  @?;MC<CFCNSI@=;LLSCHAIONM?=IH>;LS?=IHIGC=;H;FSM?M $?;FNB!=IHIGC=M
   
  
    &!""!./+*0+  !)%$!(%2 )1#"+. ) !F?G?HN;LS!=IHIGC=!P;FO;NCIH
  CH$?;FNB;L? (IH>IH)&IIEM 
  
    !)%$!(%2 &!""!./+*0+ !=IHIGC=;MJ?=NMI@P;==CH;NCIH!>CNILC;F 
  2;==CH?
  
    &!""!./+*0+ !=IHIGC=?P;FO;NCIHM;M;H;C>NI>?=CMCIHMIHQB?NB?LNI=;LLS
  IONNLC;FM IGG?HN;LS (;H=?N&OFS 
  
    &!""!./+*0+ .+)*+#  !)%$!(%2 (;P;FON;TCIH?>?FFCGJ;NNI
  ?=IHIGC=I>CCH=C>?HNCNIMMCH@?NNCPC;FCG?HN;LCJLI<F?GCG?NI>IFIAC=C?JLIMJ?NNCP?
  CN;FC;H? (%AC?H?)I>?LH;  
  
    !)%$!(%2 .%2!00% &!""!./+*0+ !=IHIGC=;MJ?=NMI@;MG;FF
  ?JC>?GC=I@$?J;NCNCMCH;L?FCACIOM=IGGOHCNSCH*ILNB?LH%N;FS &IOLH;FI@%H@?=NCIH
   
  
    &!""!./+*0+IIE.?PC?Q )?>C=;F%H@ILG;NC=M           NB??MM?HNC;FM S"
  0>? IG<;F ONN?LQILNB$?CH?G;HH +R@IL> &.IS;F)?>ILJM 
  
    &!""!./+*0+ *?Q;H>HINMIH?QP;==CH?M !>CNILC;F )&
  /?JN?G<?L 
  
    &!""!./+*0+  !)%$!(%2 ,.00)  !!'/& ///%" ))%((* 
  0B??@@?=NCP?H?MMI@P;==CH?M;A;CHMN$?J;NCNCMCHB?;FNB=;L?QILE?LM %H#FOO> 
  &YLA?HM?H0 )IL;<CNI ,;AFC;LI( ,ISH;L>0 /ONNIH.?>M I=BL;H? ;N;<;M?
  I@/SMN?G;NC=.?PC?QM%MMO? 1J>;N?/I@NQ;L? 




                                                           



                                                                                      App000126
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 129 of 633 PageID 855


                                                                                         17
    
      !)%$!(%2 &!""!./+*0+ ,.00) !$.!*/. #.2!/, 
    +00//+" .%2!00% ))%((* )+..%/ 0B??@@?=NMI@HNBL;R
    P;==CH?M %H#;LH?L, #?F<;H>$ +FC;LI, /;FCH;M.?>M I=BL;H? ;N;<;M?I@
    /SMN?G;NC=.?PC?QM1J>;N?/I@NQ;L? %MMO? 
    
      )%((!.//N& &!""!./+*0+ )CFCN;LS$?;FNB/OLP?CFF;H=? &.IS;F)?>ILJM
    ?>CNILC;F
    
      !)%$!(%2 &!""!./+*0+ ,.00) !$.!*/. #.2!/, 
    +00//+" .%2!00% ))%((* )+..%/ 0B??@@?=NMI@,F;AO?
    P;==CH?M %H#;LH?L, #?F<;H>$ +FC;LI, /;FCH;M.?>M I=BL;H? ;N;<;M?I@
    /SMN?G;NC=.?PC?QM%MMO? 1J>;N?/I@NQ;L? 
    
      !)%$!(%2 &!""!./+*0+ ,.00) !$.!*/. #.2!/, 
    +00//+" .%2!00% ))%((* )+..%/ 0B??@@?=NMI@P;==CH?M
    ;A;CHMN0C=E ILH?!H=?JB;FCNCM0! %H#;LH?L, #?F<;H>$ +FC;LI, /;FCH;M.
    ?>M I=BL;H? ;N;<;M?I@/SMN?G;NC=.?PC?QM1J>;N?/I@NQ;L? CMMO? 
    
      &!""!./+*0+  !)%$!(%2 ,.00) !PC>?H=? <;M?>P;==CHIFIAS 0B?
    QILEI@NB?I=BL;H?2;==CH?M"C?F> &IOLH;FI@!JC>?GCIFIAS;H>IGGOHCNS$?;FNB
      
    
      &!""!./+*0+ /)%0$.  .1))+* )" '(!. 5%5 ,.00) 
    !P;FO;NCHANB?)&AOC>?FCH?MIH?=IHIGC=MO<GCMMCIHMJLIMJ?=NCP?;O>CNI@
    ?=IHIGC=MO<GCMMCIHMNINB?;H>) . ,;J?LJL?M?HN?>;NNB?0BCL>
    %HN?LH;NCIH;FIHAL?MMIH,??L.?PC?QCHCIG?>C=;F,O<FC=;NCIH ,L;AO? 
    /?JN?G<?L 
    
      &!""!./+*0+  !)%$!(%2 $100+*& 0B?OM?I@MSMN?G;NC=L?PC?QM@IL
    J??LL?PC?QCHA ,IMN?LJL?M?HN?>;NNB?0BCL>%HN?LH;NCIH;FIHAL?MMIH,??L.?PC?Q
    CHCIG?>C=;F,O<FC=;NCIH ,L;AO? /?JN?G<?L 
    
      &!""!./+*0+  !)%$!(%2 MSMN?G;NC=L?PC?QI@QILF>FCN?L;NOL?IHNB?
    ?=IHIGC=MI@CH@FO?HT; %H@ILG;NCIH;H>*?QMIH%H@FO?HT; !OLIJ?;H/=C?HNC@C=
    3ILECHA#LIOJIH%H@FO?HT;  
    
      &!""!./+*0+.?>OH>;HNJO<FC=;NCIHCH<CIG?>C=;FM=C?H=?M /=C?HNC@C=
    GCM=IH>O=NILH?=?MMCNS/=C?H=?;H>!HACH??LCHA!NBC=M  
    /??ILLCA?H>;CH/=C?H=?;H>!HACH??LCHA!NBC=M 
    
      .%2!00%  !)%$!(%2  !!'/& &!""!./+*0+ ,.00) 0B?
    ?@@?=NCP?H?MM;H>M;@?NSI@P;==CH?M;A;CHMNBOG;H;HNBL;R;MSMN?G;NC=L?PC?Q 
    2;==CH?  
    




                                                        



                                                                                   App000127
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 130 of 633 PageID 856


                                                                                            18
      #.2!/,)  !)%$!(%2 &!""!./+*0+  !!'/&& ,.00) 0B?
    ?@@?=NMI@=BIF?L;P;==CH?M %H#;LH?L, #?F<;H>$ +FC;LI, /;FCH;M.?>M 
    I=BL;H? ;N;<;M?I@/SMN?G;NC=.?PC?QM1J>;N?/I@NQ;L? %MMO? 
    
      &!""!./+*0+ 2;==CH?NLC;F>;N;MSMN?G;NC=;FFS;MM?G<F?> JIIF?>;H>
    >CMM?GCH;N?><SNB?I=BL;H?IFF;<IL;NCIH 2;==CH?  
    
     &!""!./+*0+  !)%$!(%2 *I?PC>?H=?NB;NP;==CH?M=;OM?CHMOFCH
    >?J?H>?HN>C;<?N?MG?FFCNOM &IOLH;FI@!JC>?GCIFIAS;H>IGGOHCNS$?;FNB
      
    
      !)%$!(%2 &!""!./+*0+ H?RJFIL;NILSL?PC?QI@NB??=IHIGC=MI@
    L?=IG<CH;HNP;==CH?M;A;CHMN$?J;NCNCM$ %H.IH=BC!!>CNILCIN?=BHIFIAS
    ;H>)?>C=;FCHHIP;NCIH/I=CI ?=IHIGC=;MM?MMG?HNI@NB?N?=BHIFIAS NB?JIN?HNC;F
    ;H>NB?JLI>O=NM +! ,;LCMJ;A?M  
    
     $100+*& &!""!./+*0+ MM?MMCHANB?JIN?HNC;F=IMN ?@@?=NCP?H?MMI@
    JH?OGI=I==;FP;==CH?MG?NBI>IFIAC=;FCMMO?M;H>=OLL?HN?PC>?H=? <MNL;=N 
    
     3.%#$0(  !)%$!(%2 #%((!/,%!3& &!""!./+*0+ )IL<C>CNS
    MOLP?CFF;H=?CHNB?LCNCMBLGS NB?@CLMNGIHNBM &.LGS)?>ILJM
     
    
     &!""!./+*0+ HCHNLI>O=NCIHNI$?;FNB!=IHIGC=M !JC>?GCIFIAS/OJ?L=IOLM?
    IHNB?3?<?>CNIL.(;,ILN? 1HCP?LMCNSI@,CNNM<OLAB 
    BNNJ QQQ JCNN ?>O UMOJ?L B?= 
    
     &!""!./+*0+  .1))+* )" /)%0$. 5%5 ,.00) '(!. 
    !P;FO;NCHANB?AOC>?FCH?MIH?=IHIGC=MO<GCMMCIHM ,LIMJ?=NCP?;O>CNI@
    ?=IHIGC=MO<GCMMCIHMNINB?;H>) . &)  

     &!""!./+*0+ 2;==CH?M;H>NB?CL;>P?LM??@@?=NM L?;FILJ?L=?CP?>?>CNILC;F 
      

     &!""!./+*0+ !=IHIGC=?P;FO;NCIH;FIHAMC>?NB?1'=IFF;<IL;NCP?!)+NLC;F
    =IGG?HN;LS   

     &!""!./+*0+  !)%$!(%2 0B?MI=CI?=IHIGC=MI@CH@FO?HT; %H*C=BIFMIH 
    $;S;H>3?<MN?L?>CNILM0?RN<IIEI@%H@FO?HT; (IH>IHF;=EQ?FFJ;A?M
     
    
     &!""!./+*0+  !)%$!(%2 .?F;NCIH<?NQ??H?RJ?LCG?HN;F;H>HIH
    ?RJ?LCG?HN;FMNO>S>?MCAHM $P;==CH?M;=;M?MNO>S &IOLH;FI@!JC>?GCIFIAS;H>
    IGGOHCNS$?;FNB  
    




                                                          



                                                                                      App000128
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 131 of 633 PageID 857


                                                                                              19
      !)%$!(%2 .%2!00%  !!'/&& &!""!./+*0+ 2;==CH?M@IL
    JL?P?HNCHACH@FO?HT;CHB?;FNBS;>OFNMI=BL;H?.?PC?Q %H0B?I=BL;H?(C<L;LS 
    %MMO?  +R@IL>1J>;N?/I@NQ;L? 
    
     &!""!./+*0+  !)%$!(%2  !!'/&& .%2!00% *?OL;GCHC>;M?CHBC<CNILM
    @ILCH@FO?HT; I=BL;H? ;N;<;M?I@/SMN?G;NC=.?PC?QM=ON?.?MJCL;NILS%H@?=NCIHM
    )I>OF?+R@IL>1J>;N?/I@NQ;L? %MMO? 
    
     &!""!./+*0+  !)%$!(%2  !!'/&& .%2!00% G;HN;>CH?
    LCG;HN;>CH?@ILCH@FO?HT; I=BL;H? ;N;<;M?I@/SMN?G;NC=.?PC?QM=ON?.?MJCL;NILS
    %H@?=NCIHM)I>OF?+R@IL>1J>;N?/I@NQ;L? %MMO? 
    
     &!""!./+*0+  !)%$!(%2 )?NBI>IFIAC=;FKO;FCNSI@?=IHIGC=GI>?FFCHA
    MNO>C?M;=;M?MNO>SQCNBB?J;NCNCMP;==CH?M ,B;LG;=I?=IHIGC=M  
    
     &!""!./+*0+  !)%$!(%2  !!'/&& .%2!00% I=BL;H?L?PC?QM;H>
    MSMN?G;NC=L?PC?QMI@?=IHIGC=?P;FO;NCIHMNB?=;M?I@;G;HN;>CH?;H>LCG;HN;>CH?CH
    NB?JL?P?HNCIH;H>NL?;NG?HNI@CH@FO?HT; %H/H;=E?H. /TO=M0 ?>CNILM 0B?
    MI=CI?=IHIGC=MI@CH@FO?HT;;H>CNM=IHNLIFG?;MOL?M ,B;LG;=I?=IHIGC=M
    / / 
    
     &!""!./+*0+  !)%$!(%2 & !,%*0+<;M?>JF;HHCHAJ;L;G?N?LM@IL
    G?>C=;FMOJJILNNIIJ?L;NCIHMINB?LNB;HQ;L++03 &.LGS)?>ILJM
      
    
     $100+*& %#(!/%/ &!""!./+*0+ MM?MMCHANB?JIN?HNC;F=IMN
    ?@@?=NCP?H?MMI@JH?OGI=I==;FP;==CH?MG?NBI>IFIAC=;FCMMO?M;H>=OLL?HN?PC>?H=? 
      LOAM;H>ACHA/OJJF  
    
     &!""!./+*0+ 3B;N;L?NB?=IMNM;H><?H?@CNMI@?>CNILC;FM;H>HIH MSMN?G;NC=
    L?PC?QM)& ,?LMIH;F2C?Q&;HO;LS 
    
     &!""!./+*0+  !)%$!(%2  !!'/&& .%2!00% ,L?P?HNCIH;H>?;LFS
    NL?;NG?HNI@CH@FO?HT;CHB?;FNBS;>OFNM 2;==CH?  
    
     &!""!./+*0+ )!%!.. 3!#)V((!.5 0B?CGJ;=NI@CH@FO?HT;IH;>OFNM 
    ,IMN?LJL?M?HN?>;NNB?%HN?LH;NCIH;FIHAL?MMI@B?GINB?L;JS CLGCHAB;G 1' 
     &OFS &IOLH;FI@HNCGC=LI<C;FB?GINB?L;JS/OJJF <MNL;=N, 
    3CHH?LI@NB?%HN?LH;NCIH;FIHAL?MMI@B?GINB?L;JS5IOHA%HP?MNCA;NILMQ;L>
    
     &!""!./+*0+ 3!#)V((!.5 .'!. 3. , %H@FO?HT;CHNB?
    QILEJF;=??@@?=NI@+M?FN;GCPCLIH;<CFCNSNIJ?L@ILGOMO;F;=NCPCNC?M;H>;NN?H>;H=?;N
    QILE ,IMN?LJL?M?HN?>;NNB?%HN?LH;NCIH;FIHAL?MMI@B?GINB?L;JS 
    CLGCHAB;G 1'  &OFS &IOLH;FI@HNCGC=LI<C;FB?GINB?L;JS/OJJF
     <MNL;=N, 




                                                            



                                                                                       App000129
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 132 of 633 PageID 858


                                                                                           20
    
     &!""!./+*0+ .%*+2%$. 01+)%(!$0+& 2;==CH?M;H>NB?CLL?;FIL
    J?L=?CP?>;>P?LM??@@?=NM\;ONBILMa=IH=FOMCIHM;L?;NI>>MQCNBCHP?MNCA;NILMa )&
    F?NN?LNINB??>CNIL 
    
     &!""!./+*0+ /BIOF>NB?NIJC=MI@I=BL;H?.?PC?QM<?,LCILCNCM?>
    <MNL;=NJL?M?HN?>;NNB?M?P?HNBI=BL;H?IFFIKOCOG .IG? +=NI<?L 
    
     &!""!./+*0+  !)%$!(%2 /BIOF>Q?.?PC?Q/CHAF?%HN?LP?HNCIHMILFF
    IGJ;L;NILMCH; ?=CMCIH );ECHAIHN?RN<MNL;=NJL?M?HN?>;NNB?M?P?HNB
    I=BL;H?IFFIKOCOG .IG? +=NI<?L 
    
     &!""!./+*0+ )%(*/ $IQ;L?NB?NIJC=MI@I=BL;H?.?PC?QM>?=C>?>
    <MNL;=NJL?M?HN?>;NNB?M?P?HNBI=BL;H?IFFIKOCOG .IG? +=NI<?L 
    
     &!""!./+*0+  IP;==CH?MG;E?<?MNOM?I@;P;CF;<F?L?MIOL=?M%HINB?L
    QIL>M;L?NB?S=IMN ?@@?=NCP? %H"OLGCHA?L%?>CNIL!OLIJ?;HIH@?L?H=?IH
    2;==CHIFIASNB?MI=C?N;FP;FO?I@P;==CH;NCIH 2;==CH?/  
    
     #+ (!!" &!""!./+*0+!>CNILM ,??L.?PC?QCH$?;FNB/=C?H=?M (IH>IH
    )&IIEM 
    
      &!""!./+* 0+  .?;F IL J?L=?CP?> ;>P?LM??@@?=NMI@P;==CH?M;H>NB?G?>C;\ ;
    N;F?I@IOLNCG?M!>CNILC;F &IOLH;FI@!JC>?GCIFIAS;H>IGGOHCNS$?;FNB
    

     &!""!./+*0+ !=IHIGC=;H>HIH ?=IHIGC=@;=NILMCH?P;FO;NCHAJL?P?HNCIH
    P?LMOMNL?;NG?HN <MNL;=NI@N;FEACP?H;NNB?/HHO;F)??NCHA;H>/=C?H=?
    %HHIP;NCIH/SGJIMCOG<MNL;=N 3;MBCHANIH  "?<LO;LS 
    
     &!""!./+*0+  !!'/&& 0B?OM?I@MSMN?G;NC=L?PC?QM@ILJ??LL?PC?QCHA %H
    #+ (!!" &!""!./+*0+!>CNILM ,??L.?PC?QCH$?;FNB/=C?H=?M (IH>IH)&
    IIEM 
    
     +(+.!0(*!.+((+.0%2!#.+1, ,;FFC;NCP?=B?GINB?L;JS@IL
    ;>P;H=?>=IFIL?=N;F=;H=?LMSMN?G;NC=L?PC?Q;H>G?N; ;H;FSMCM )&
    
    
     &!""!./+*0+  !)%$!(%2  !!'/&& .%2!00% ,L?P?HNCIH;H>?;LFS
    NL?;NG?HNI@CH@FO?HT;CHB?;FNBS;>OFNM 2;==CH?  
    
     &!""!./+*0+  !)%$!(%2 )1#"+. ) !F?G?HN;LS!=IHIGC=!P;FO;NCIHCH
    $?;FNB;L? /?=IH>!>CNCIH (IH>IH)&IIEM 
    
     $!%&!($ &!""!./+*0+ 2;==CH?/;@?NS\%GJLIPCHAGIHCNILCHA 2;==CH?




                                                          



                                                                                     App000130
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 133 of 633 PageID 859


                                                                                            21
      
    
     &!""!./+*0+ IGG?HN!@@C=;=S;H>M;@?NSI@NB?IL;FH?OL;GCHC>;M?CHBC<CNIL
    +M?FN;GCPCLCHNL?;NCHA;=ON?CH@FO?HT; L;H>IGCM?>=IHNLIFF?>NLC;F !PC>?H=? <;M?>
    B?;FNB=;L? 
    
     )!%!.. *,('+2,* 3!#)1!((!.5 &!""!./+*0 &%'$ 
    ,IJOF;NCIH <;M?>MNO>SIHCH=C>?H=? LCME@;=NILM =FCHC=;F=IGJFC=;NCIHM;H>>LOA
    ONCFCM;NCIH;MMI=C;N?>QCNBCH@FO?HT;CHNB?1HCN?>'CHA>IG !OLIJ?;H&IOLH;FI@FCHC=;F
    )C=LI<CIFIAS;H>%H@?=NCIOM CM?;M?M  
    
     &!""!./+*0+ $!%&!($  ?GS?FCH;NCHA>CM?;M?;H>$?J;NCNCMP;==CH;NCIH 
    %MNB?L?;FCHE LOA/;@?NS  
    
     &!""!./+*0+ )IHCNILCHANB?M;@?NSI@P;==CH?MG?NBI>IFIAC=;F=B;FF?HA?M 
    ,;J?LJL?M?HN?>;NNB?HHO;FG??NCHAI@NB?!OLIJ?;H/I=C?NSI@
    ,B;LG;=IPCAFCF;H=? 2?LIH; %N;FS /?JN?G<?L <MNL;=NHOG<?L 
    
     &!""!./+*0+  !)%$!(%2 0B?KO;FCNSI@G?NBI>MI@?=IHIGC=
    ?P;FO;NCIHMCHB?;FNB=;L?NCG?@IL;=NCIH?>CNILC;F )&  
    "?<LO;LS 
    
     3#!.! &!""!./+*0+ /BILN=IGCHAMI@J??LL?PC?QCH<CIG?>C=;F
    DIOLH;FM (?;LH?>,O<FCMBCHA  
    
     &!""!./+*0+  !)%$!(%2 2(!( 0B?KO;FCNSI@MSMN?G;NC=L?PC?QMI@
    ?=IHIGC=?P;FO;NCIHMCHB?;FNB=;L?;H>QB;NNB?S;L?N?FFCHA
    OMCNCMNCG?@IL;=NCIH &)  
    
     1.(/ (.'3 /0!3.00 ,.!/0+* .5*/ &!""!./+*0 
    ".5 /)%0$ 6;H;GCPCL@ILNB?NL?;NG?HNI@CH@FO?HT;CH;>OFNM *$/$0,LIAL;GG? 
    (IH>IH2IF*I 
    
     &!""!./+*0+ 05..!(( HNCPCL;FM@ILNB?IGGIHIF>I=BL;H?
    .?PC?Q %H0B?I=BL;H?(C<L;LS %MMO?  +R@IL>1J>;N?/I@NQ;L? 
    
     &!""!./+*0+ ( !./+*,  2% +""" 3#!.! !>CNILC;FJ??LL?PC?Q
    @ILCGJLIPCHANB?KO;FCNSI@L?JILNMI@<CIG?>C=;FMNO>C?MI=BL;H?)?NBI>IFIAS
    .?PC?Q %H0B?I=BL;H?(C<L;LS %MMO?  +R@IL>1J>;N?/I@NQ;L? 
    
     &!""!./+*0+ 05..!(( 2;==CH?M@ILNB?IGGIHIF>,LINI=IF@IL;
    I=BL;H?.?PC?Q %H0B?I=BL;H?(C<L;LS %MMO?  +R@IL>1J>;N?/I@NQ;L? 

     /,%!.. &!""!./+*0+  !)%$!(%2 H?>CNILC;FJIFC=SMN;N?G?HN /O<GCMMCIH
    I@?=IHIGC=?P;FO;NCIHMI@P;==CH?M 2;==CH?  




                                                          



                                                                                     App000131
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 134 of 633 PageID 860


                                                                                            22
    
     &!""!./+*0+ ( !./+*,  2% +""" 3#!.! !@@?=NMI@?>CNILC;FJ??L
    L?PC?Q;MSMN?G;NC=L?PC?Q &)  
    
     &!""!./+*0+ 3#!.!  2% +""" )?;MOLCHANB?KO;FCNSI@?>CNILC;FJ??L
    L?PC?Q &)  
    
     3#!.! #+ (!!" &!""!./+*0+ $IQNIMOLPCP?J??LL?PC?Q (IH>IH )&
    IIEM 
    
     &!""!./+*0+ >P;H=?MCHNB?>C;AHIMCM;H>G;H;A?G?HNI@CH@FO?HT; OLL?HN
    %H@?=NCIOM CM?;M?M.?JILNM  
    
    &!""!./+*0+ %*+!  !)%$!(%2 %H@FO?HT;P;==CH?MCH;>OFNM 
    +==OJ;NCIH;F)?>C=CH?  
    
     &!""!./+*0+  !)%$!(%2 2(!( )?NBI>IFIAC=;FKO;FCNSI@?=IHIGC=
    ?P;FO;NCIHMI@B?;FNB=;L?CHN?LP?HNCIHM\?PC>?H=?@LIGMSMN?G;NC=L?PC?QM %H
      IH;FMIH )OA@IL>) 2;F?(?>CNILM !PC>?H=? <;M?>$?;FNB?=IHIGC=M@LIG
    ?@@?=NCP?H?MMNI?@@C=C?H=SCHB?;FNB=;L? (IH>IH)&IIEM ,;A?M  
    
      !)%$!(%2 &!""!./+*0+ 2(!( !@@?=NCP?H?MM?MNCG;N?MCH?=IHIGC=
    ?P;FO;NCIH %H IH;FMIH )OA@IL>) 2;F?(?>CNILM !PC>?H=? <;M?>$?;FNB
    ?=IHIGC=M@LIG?@@?=NCP?H?MMNI?@@C=C?H=SCHB?;FNB=;L? (IH>IH)&IIEM 
    ,;A?M  
    
     &!""!./+*0+ %*+! -O;HNIJLIN?NNCL?NL?a.I=B?  
    
     &!""!./+*0 .1 %*) MN%HN?LH;NCIH;F/SGJIMCOGIHNB?!P;FO;NCIHI@
    /;@?NSI@$OG;H2;==CH?M !RJ?LN+JCH LOA/;@  
    
     &!""!./+*0+ 0.2!./# $?J;NCNCMP;==CH;NCIHLCME <?H?@CNJLI@CF?;H>LIF?
    I@ MSMN?G;NC= L?PC?QM CH NB? ;MM?MMG?HN I@ =;OM;FCNS I@ ;>P?LM? ?P?HNM @IFFIQCHA
    CGGOHCM;NCIH &IOLH;FI@)?>C=;F2CLIFIAS  
    
     &!""!./+*0+  !)%$!(%2 ,IFSM;==B;LC>?,H?OGI=I==;F2;==CH?M !>CNILC;F 
    )&CHJL?MM 

     &!""!./+*0  !)%$!(%2 2(!( !>O=;NCHA;ONBILM;H>L?PC?Q?LMI@
    ?=IHIGC=?P;FO;NCIHMI@B?;FNB=;L? &)OA(?NN?LNINB?
    !>CNIL 
    
      &!""!./+* 0+  ,.%!           !)%$!(% 2  1HCHN?H>?> !P?HNM @IFFIQCHA
    CGGOHCM;NCIH QCNB )). ; MSMN?G;NC= L?PC?Q  ,B;G;=I?JC>?GCIFIAS ;H> LOA /;@?NS
    /;<MNL;=N 




                                                           



                                                                                       App000132
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 135 of 633 PageID 861


                                                                                          23
    
     &!""!./+*0+ .1 %*)  %,%!0.*0+*& MSMN?G;NC=L?PC?QI@NB??@@?=NMI@
      0, P;==CH?M CH =BCF>L?H QCNB IL QCNBION CH;=NCP;N?> JIFCI P;==CH? %,2 
    ,B;G;=I?JC>?GCIFIAS;H> LOA/;@?NS/;<MNL;=N 
    
     )!(! &!""!./+*0 ".*+! /()/+/ B;HA?@LIGIL;FJIFCIPCLOM
    P;==CH?NICH;=NCP;N?>JIFCIPCLOMP;==CH? 0B?(;H=?N+=NI<?L 
    
     +*$+!""!.& '+$(' $!*.  1(+/, $!%&!($ $!%*%*#!.1 
    &!""!./+*0 (+1,%!;H>0B?LCABNIHIFF;<IL;NCIH 0B?LCABNIHIFF;<IL;NCIH
    ;>>L?MMCHANB?H??>@ILMN;H>;L>CT?>=;M?>?@CHCNCIHMI@;>P?LM??P?HNM@IFFIQCHA
    CGGOHCT;NCIH!"% 2;==CH?  
    
      &!""!./+* 0+  /$/$+' '  &IOLH;FM BIQ NI >?=C>? QB;NM QILNB JO<FCMBCHA 
    *;NOL?  

      !)%$!(%2 .%2!00%  %,%!0.*0+*& (!)!*0/& &!""!./+*0 
    $?J;NCNCMP;==CH;NCIH;H>GOFNCJF?M=F?LIMCM !PC>?H=?@LIG;MSMN?G;NC=L?PC?Q 
    &IOLH;FI@2CL;F$?J;NCNCM  
    
     &!""!./+*0+ .1 %*)  %,%!0.*0+*& /SMN?G;NC=L?PC?QI@NB??@@?=NM
    I@J?LNOMMCMP;==CH?MCH=BCF>L?H 2;==CH?   
    
     &!""!./+*0+  !)%$!(%2 !=IHIGC=H;FSMCMIHCH@F?OHT;P;==CH;NCIH;H>
    NL?;NG?HN HH;FMI@%HN?LH;F)?>C=CH?F?NN?LNINB?!>CNIL 
    
     )!(! &!""!./+*0+ 0B?OM?I@$?J;NCNCMP;==CH?CH%N;FS ?PC>?H=? <;M?>
    L?=IGG?H>;NCIHM@LIG;H?RJ?LNJ;H?F 2;==CH??>CNILC;F 
    
     &!""!./+*0+  !)%$!(%2 +<M?LP;NCIH;F>;N;IHB;LG;L?;FL?;>SCH=FO>?>CH
    MSMN?G;NC=L?PC?QM )& 
    
     &!""!./+*0+ ,.%!  !)%$!(%2 %*+! 1HCHN?H>?>!P?HNM@IFFIQCHA
    CGGOHCM;NCIHQCNB)).;MSMN?G;NC=L?PC?Q 2;==CH?   
    
     &!""!./+*0+ /$/$+'' 3#!.! #?N,??L?>)& BLCMNG;M
    CMMO? 
    
     #+ (!!" &!""!./+*0+!>CNILM ,??L.?PC?QCH$?;FNB/=C?H=?M /?=IH>
    ?>CNCIH (IH>IH)&IIEM 
    
     )0!.%! #(%+# *+*+ &!""!./+*0 )!(! ).$%/%+, 
       % +)!*%*0+*%+. #1/0%$%# ,LIGINCHA=FCHC=;F;H>ILA;HCT;NCIH;F
    ;JJLIJLC;N?H?MMI@NIHMCFF?=NIGSCH%N;FS !OLIJ?;H&,O<FC=$?;FNB
    /OJJF?G?HN <MNL;=NMI@NB?NBHHO;F!1,$)??NCHA#FI<;FCM;NCIH;H>B?;FNBCH




                                                          



                                                                                     App000133
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 136 of 633 PageID 862


                                                                                            24
    !OLIJ?B;LGIHCMCHAJO<FC=B?;FNBJL;=NC=?M .IG; *IP?G<?L 
    
     &!""!./+*0+ .1 %*)  %,%!0.*0+*& >P?LM??P?HNM@IFFIQCHA
    CGGOHCT;NCIHQCNB;FOGCHCOG =IHN;CHCHA 0,P;==CH?M MSMN?G;NC=L?PC?QI@NB?
    ?PC>?H=? (;H=?N%H@?=N CM\ 
    
     &!""!./+*0 %H@ILG?>=BIC=?;H><;F;H=?;L?PC=NCGMI@NB?)). ;ONCMGM;A; 
    ) .)! .$-  
    
     &!""!./+*0 ,.%!  !)%$!(%2 %*+! /?F?=NCP?KOIN;NCIHI@
    ?PC>?H=?CHP;==CH?ML?M?;L=B (;H=?NF?NN?LNINB?!>CNIL 
    
     &!""!./+*0+ 0B?LIF?I@?>CNILC;FJ??LL?PC?QCHNB??P;FO;NCIHI@P;==CH?
    M;@?NS 2;==CH?  
    
     &!""!./+*0+  ?GC=B?FC2 0B?@CLMNCHN?LH;NCIH;FMSGJIMCOGIHP;==CH?M;@?NS 
    2;==CH?  
    
     ,!..% "ILNB?%),(!)!#/NO>S#LIOJ,C?LFOCAC;LNIF?NNC ,;IFICFFC 2CLACFCI
    ;FTCHC );OLCTCI aG;NI F@IHMI"CILCFFI #;<LC?FF;#O;MNC==BC ;LG?FCH;#O?LLC?L; 
    #COM?JJ?#L;MMI 0IG&?@@?LMIH /?LACI(?INN;  IH;N?FF;);H>IFCHC 3;FN?L);LLI==I 
    );TTC?LC/=B?AAC GCH;,;MKO;L?FF; ;LF;,?LLC; IH=?NN;/OL;=C %=;-=1351<29;=41
    58=;90>/=598-8057:61718=-=59892-3>501658129;=41=;1-=718=92=A:1 
    05-.1=5/<.A3181;-6:;-/=5=5981;<"<92=41-B59;1359892=-6A"
    <=>0A";9=9/9629;-/6><=1;;-80975<10/98=;96610=;5-6+%$&              , )
    $?;FNB/?LPC=?M.?M?;L=B &OH
    BNNJ QQQ <CIG?>=?HNL;F =IG    
    
     &!""!./+*0+ .1 %*)  %,%!0.*0+*& .?JFSNINB?F?NN?LNINB?!>CNIL
    2;==CH?  
    
     &!""!./+*0+ CIN?LLILCMG;H>=IGJOFMILSP;==CH;NCIH ?NN?LP;==CH?M;L?
    H??>?>C@P;==CH;NCIHCMNI<?G;>?=IGJOFMILS !>CNILC;F )&  
    /?JN?G<?L
     &!""!./+*0+ 3B;N;L?Q?NI>I;<IONCH@FO?HT;!>CNILC;F )&
      
     /)%0$/  !)%$!(%2 &!""!./+*0 $.* !* )0$!/+**  %
    ,%!0.*0+*& 2;==CH?M@ILJL?P?HNCHACH@FO?HT;CHB?;FNBS=BCF>L?H,LINI=IF@IL;
    I=BL;H?.?PC?Q %H0B?I=BL;H?(C<L;LS %MMO?  BC=B?MN?L 1'&IBH3CF?S
    /IHM (N> 
    
     .%2!00%  !)%$!(%2  %,%!0.*0+*& &!""!./+*0+ 0$+)/. 
    2;==CH?M@ILJL?P?HNCHACH@FO?HT;CHNB??F>?LFS,LINI=IF@IL;I=BL;H?.?PC?Q %H0B?
    I=BL;H?(C<L;LS %MMO?  BC=B?MN?L 1'&IBH3CF?S/IHM (N> 



                                                           



                                                                                      App000134
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 137 of 633 PageID 863


                                                                                            25
    
     &!""!./+*0+ $IQNI>?;FQCNBCH@FO?HT;ONBILML?JFS )& 
    >IC  <GD    <
    
     %*+!  !)/%/ )!(! &!""!./+*0 !@@?=NCP?H?MMI@CGOH?AFI<OFCH;
    CHJL?P?HNCHACH@?=NCIOMB?J;NCNCM;H>B?J;NCNCM;MSMN?G;NC=L?PC?Q  CA?MNCP?;H>
    (CP?L CM?;M? 

     &!""!./+*0+  ?GC=B?FC2 ,LC=? %H@ILG?>=BIC=? <;F;H=?;H>NB?)).
    ;ONCMGM;A;;ONBILMaL?JFS 0B?(;H=?N%H@?=NCIOM CM?;M?M  

     &!""!./+*0+ #FIMM;LSI@J??LL?PC?Q &IOLH;FI@!JC>?GCIFIAS;H>IGGOHCNS
    $?;FNB 
    
     &!""!./+*0 /)%0$/  !)%$!(%2 $.* !* .%2!00%  %
    ,%!0.*0+*& MM?MMG?HNI@NB??@@C=;=S;H>?@@?=NCP?H?MMI@CH@FO?HT;P;==CH?MCH
    B?;FNBS=BCF>L?HMSMN?G;NC=L?PC?Q (;H=?N I@"?<LO;LS 
    
     &!""!./+*0 (a;JJFC=;TCIH?>?FF;G?>C=CH;<;M;N;MOFF?JLIP?;FF;
    NIGIM=CHNCAL;@C;;?GCMMCIH?>CJIMCNLIHC,!0  ?=C>?L?CH)?>C=CH;  
    
     &!""!./+*0 /)%0$/  !)%$!(%2 $.* !* .%2!00% %H@FO?HT;
    P;==CH?MCHB?;FNBS=BCF>L?H\;ONBILMaL?JFS 0B?(;H=?N 
    
     &!""!./+*0 ,??LL?PC?Q;H>JO<FCMBCHACNMNCG?NIGIP?NB?;A?H>;IH 0B?
    (;H=?N   +%  /   
     &!""!./+*0 )C=LI<C;F=B;FF?HA?MNO>C?MI@PIFOHN??LM];=B;FF?HA?QILNB
    ;==?JNCHA (;H=?NCHJL?MM=IGG?HN;LS 
     &!""!./+*0 /)%0$/  !)%$!(%2 $.* !* .%2!00% /;@?NSI@
    CH@FO?HT;P;==CH?MCH=BCF>L?H (;H=?N  
    
     &!""!./+*0 .%2!00% .%2!00% .1 %*)  %,%!0.*0+*& 
      !)%$!(%2 !@@C=;=S;H>?@@?=NCP?H?MMI@CH@FO?HT;P;==CH?MCHNB??F>?LFSMSMN?G;NC=
    L?PC?Q (;H=?N  

     &!""!./+*0 NN?HNC;FF?<O@;F? .IG;,?HMC?LI/=C?HNC@C=I!>CNIL? 
    
     &?@@?LMIH0  ?GC=B?FC2 .CP?NNC &IH?M)  C,C?NL;HNIHD .CP?NNC HNCPCL;FM
    @ILCH@FO?HT;CHB?;FNBS;>OFNMMSMN?G;NC=L?PC?Q 0B?(;H=?N  
    ,O<FCMB?>+HFCH?&;HO;LS +%  /   
    
     0$+)/.! &!""!./+*0+  !)%$!(%2 .%2!00% %H@FO?HT;P;==CH;NCIH
    @ILB?;FNB=;L?QILE?LMQBIQILEQCNBNB??F>?LFSMSMN?G;NC=L?PC?Q 0B?(;H=?N
    %H@?=NCIOM CM?;M?M  



                                                           



                                                                                       App000135
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 138 of 633 PageID 864


                                                                                            26

     &!""!./+*0 FN?LH;NCP?GI>?FMI@KO;FCNS=IHNLIF@ILM=C?HNC@C=L?M?;L=B *;NOL?
    BNNJ QQQ H;NOL? =IG H;NOL? J??LL?PC?Q >?<;N? CH>?R BNGF 
    
     &!""!./+*0 NN?HNC;FF?<O@;F? .IG; ,?HMC?LI/=C?HNC@C=I!>CNIL?
    
     &!""!./+*0 "!..+*%! 1.0(!" #%+.#%.+//%, +.#%, 
    +) /(*)$ CH3?MN?LH!OLIJ?M?LINSJ?>CMNLC<ONCIH;H>CH=C>?H=?CH=BCF>L?HF?MMNB;H
    S?;LMIF> 0B?(;H=?N%H@?=NCIOM CM?;M?M  
    
     &!""!./+*0 ".0% #.//+! PC;LC;CH@FO?HT;>?CJIFFC.IG;,?HMC?LI
    /=C?HNC@C=I!>CNIL?
    
     &!""!./+*0 .1 %*) .+ *!5"+(/!/  2% +""" !>CNILC;FJ??L
    L?PC?Q@ILCGJLIPCHANB?KO;FCNSI@L?JILNMI@<CIG?>C=;FMNO>C?M # *#,) .- 
    *! .#**'*"2 0$ 1- %MMO? LN *I ). JO< 
      +%   ). JO< 
    
     &!""!./+*0 0B?JL?P?HNCIHI@M?;MIH;FCH@FO?HT;\JIFC=SP?LMOM?PC>?H=? 
    )&  
    
            &!""!./+*0 %H@FO?HT; FCHC=;F!PC>?H=? 
    
              .%2!00% 0&!""!./+* .0$+)/ ).1 %* .%2!00%  %
    ,%!0.*0+*& 2 !)%$!(% 2;==CH?M@ILJL?P?HNCHACH@FO?HT;CHNB??F>?LFS 
    I=BL;H? ;N;<;M?I@2-. (.$ 0$ 1- %MMO? LN *I   
      +%     JO< 
    
            &?@@?LMIH0 (IIE;N;FFNB??PC>?H=?<?@IL?MNI=EJCFCHAG;HN;>CH? )&
    F?NN?LNINB??>CNIL 
    
            0+&?@@?LMIH  .CP?NNC  C,C?NL;HNIHD .CP?NNC 2 ?GC=B?FC 2;==CH?M@IL
    JL?P?HNCHACH@FO?HT;CHB?;FNBS;>OFNM *#,) .- *!2-. (.$ 0$ 1- 
    %MMO? LN *I    +%     JO< 
    
            0+)&!""!./+* (1%6.. * (%2%1/0+% NN?HNCFF?O@;F?
    ?Q;L?I@.?>$?LLCHAM IL $IQNI);E?!PC>?H=? ;M?>)?>C=CH?3ILE@IL5IO
    & . /I= )?>   
    
            0+)&!""!./+** (1%6.. O@;F;MJINNCHA J;LNIH?;MM?MMCHA
    L?M?;L=BJ;J?L<& . /I= )?>   
    
            0+)&!""!./+** (1%6.. O@;F?MJINNCHA J;LNNQI;MM?MMCHA
    MSMN?G;NC=L?PC?QM& . /I= )?>   
    




                                                           



                                                                                       App000136
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 139 of 633 PageID 865


                                                                                             27
            0+)&!""!./+** (1%6.. O@;F?MJINNCHA J;LNNBL??
    ;MM?MMCHA?>CNILC;FM & . /I= )?> J 
    
            .(,!..%  +*0!(()* +(%*% .)!(%*#1!..!. 
    0$+)/&!""!./+* ,+(+%((% 2%.#%(%+(6%*% ("+*/+"%+.%((+ 
    #%1/!,,!#.//+ /!.#%+(!+00 3(0!.)..++ +*!00/1.%
    * )%*,/-1.!(( %GJF?G?HNCHA;AOC>?FCH?@ILNB?NL?;NG?HNI@NSJ?
    >C;<?NC=ML?MOFNMI@;FOMN?L .;H>IGCT?>IHNLIFF?>0LC;F .0
    +%$&             , )$?;FNB/?LPC=?M.?M?;L=B &OH 
    BNNJ QQQ <CIG?>=?HNL;F =IG    
    
            0+)&!""!./+** (1%6.. O@;F?/JINNCHA J;LNMM?MMCHA;
    Q?<MCN? & . /I= )?> J 
    BNNJ QQQ DLMG ILA =AC =IHN?HN @OFF   =N=N
    
            0+&!""!./+*  .%2!00%  %,%!0.*0+*& %H;=NCP;N?>CH@FO?HT;
    P;==CH?MCHNB??F>?LFS];L?SIOMOL?IGG?HN 0B?(;H=?N,O<FCMB?>+H>CH?
    /?JNG<?L   +%  /   
    
            0+)&!""!./+* .10$"+4(!! $.%/ !(). (%6 ++(!5 
    !(%*"!..+*% %(($!3'  %,.$( /.!!*%. * (!4.%2!00% 
    ,BSMC=;FCHN?LP?HNCIHMNICHN?LLOJNILL?>O=?NB?MJL?;>I@L?MJCL;NILSPCLOM?MMSMN?G;NC=
    L?PC?Q )& J  
    
            0+)&!""!./+** (1%6.. O@;F?/JINNCHA J;LNMM?MMCHA
    ;H;>P?LN & . /I= )?> J 
    
            0&!""!./+* ;NNCP?=KO? %F,?HMC?LI/=C?HNC@C=I!>CNIL? 
    
            0+)&!""!./+** (1%6.. O@;F?/JINNCHA J;LN;MM?MMCHA;H
    ?=IHIGC=?P;FO;NCIH &./I=)?> J   
    
            0&!""!./+* .%2!00% $.* !*  %,%!0.*0+*& * 2
       !)%$!(% 2;==CH?M@ILJL?P?HNCHACH@FO?HT;CHB?;FNBS=BCF>L?H I=BL;H? ;N;<;M?
    /SMN.?P&;HJ  
    
            0!/ 0&!""!./+* * .+3! 2;==CH?M@ILJL?P?HNCHACH@FO?HT;
    CHJ?IJF?QCNB;MNBG; I=BL;H? ;N;<;M?/SMN.?P&;HJ   
    BNNJ BCABQCL? MN;H@IL> ?>O =AC G?>FCH? JGC>
    
      0+)&!""!./+* )IL?=;M?M >I=NIL5?MJF?;M?;M?M&&OFJ 
     BNNJ BCABQCL? MN;H@IL> ?>O =AC G?>FCH? JGC>
    
      0+)&!""!./+*  ;LEH?MM@;FFM )& HIP9J ;
    




                                                           



                                                                                       App000137
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 140 of 633 PageID 866


                                                                                             28
            "%+!.*. %*% ).%*!.+ 0+)&!""!./+* 
    (!//* .(+/(6+ ).+.00% 3CL?F?MM;JMOF?!H>IM=IJSCHNB?
    >C;AHIMCMI@MG;FF<IQ?F>CM?;M? A? H; M $0.?JILN .IG? /?JN?G<?L 
    #..+ 111($)$-. ,*-'/. $.$-+*-$.$0$+"$)$). ,)-!%-+ $ ( )/ #.
    
            *0+*!((2((+ ).%*!.+  .%+"!(( 0+)
    &!""!./+* *0+*%+)%#(%+.! ).%.+/.%,!..%*%  ,LIMNB?M?M@IL
    JLCG;LSNIN;FBCJL?JF;=?G?HNCH%N;FS A? H; M $0.?JILN .IG? /?JN?G<?L 
    #..+ 111($)$-. ,*-'/. $.$-+*-$.$0$+"$)$). ,)-!%-+ $ ( )/ #.
    
            **).%2%*!*6)%+/*0! ).%*!.+ 0+)
    &!""!./+* /%)+*,+*! (1.2!(. % .;JC><?> MC>?N?MNM@ILCH@FO?HT; 
    A? H; M $0.?JILN .IG? /?JN?G<?L 
    
            0&!""!./+*  %,%!0.*0+*& )# !(%*% .%2!00% * 2
      !)%$!(% %H;=NCP;N?>CH@FO?HT;P;==CH?M)?NBI>M JIFC=C?M ;H>JIFCNC=M &FCH
    !JC>?GCIF  BNNJ BCABQCL? MN;H@IL> ?>O =AC G?>FCH? JGC>
    >IC  D D=FCH?JC    
    
      0&!""!./+*  %,%!0.*0+*& )# !(%*% .%2!00% 2 !)%$!(% 
    /NO>SKO;FCNS =IH=IL>;H=? N;E?BIG?G?MM;A? @OH>CHA;H>CGJ;=N 0B?CLL?F;NCIHMBCJ
    CHCH@FO?HT;P;==CH?MMNO>C?M )&@?<9J <
    BNNJ QQQ <GD =IG =AC =IHN?HN ;<MNL;=N  @?<9 <=N=N 
    
     0&!""!./+* .;HECHA;HNC>?JL?MM;HNM (;H=?N);SJ 
    
    
      &!""!./+*0 %H@FO?HT; )&FCHC=;F!PC>?H=? 
    
    (+/(6+ ).00% 0&!""!./+* "!.*. %*% * )!.+ 
    3CL?F?MM=;JMOF?@IL?H>IM=IJSCH%N;FS;>>CHA=IHN?RN MJ?=C@C=>;N;NINB?L?PC?QI@NB?
    ?PC>?H=?@LIGFCN?L;NOL? %HN&0?=BHIFMM?MM$?;FNB;L?&OFJ  
    BNNJ BCABQCL? MN;H@IL> ?>O =AC G?>FCH? JGC>
    
    &!""!./+*0 ,H?OGI=I==;FP;==CH?M=IH@LIHNCHANB?=IH@IOH>?LM 0B?(;H=?N
      
    
    0+)&!""!./+* <LC?@BCMNILSI@MBLIO>Q;PCHANBLIOABNB?=?HNOLC?M )& 
    DOH9J <
    BNNJ QQQ <GD =IG =AC =IHN?HN ?RNL;=N  DOH9 <=N=N
    
     &!""!./+*0  !().  ++(!5( "!..+*%! ( */.5( 
    36!!.# 2* .%!()( "+4(!!. .%2!00% ,BSMC=;FCHN?LP?HNCIHMNI
    CHN?LLOJNILL?>O=?NB?MJL?;>I@L?MJCL;NILSPCLOM?MMSMN?G;NC=L?PC?Q )& /?J
    < >IC  <GD < .?PC?Q 




                                                           



                                                                                       App000138
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 141 of 633 PageID 867


                                                                                               29
    
     $!.4$!%)!. (.'!) ! 3. /. &!""!./+*0 (+'!5  $*@FO 
    0CG?@IL=;M? =IHNLIFMNO>C?MI@*/% M;H>IM?FN;GCPCL )& &OF< 
    >IC  <GD < *I;<MNL;=N;P;CF;<F? 
    
     )%#(%+.! .00%) !.+) &!""!./+*0 $?;FNB0?=BHIFIAS
    MM?MMG?HNG;H;ACHANB?CHNLI>O=NCIH;H>OM?I@G?>C=;F>?PC=?MCH=FCHC=;FJL;=NC=?CH
    %N;FS !RJ?LN.?P)?> ?PC=?M );S  .?PC?Q ,)% 7,O<)?>
      CH>?R?>@IL)! (%*!8
    
     0&!""!./+* )&+*!/ , +/$% *  !(). ,IMMC<F?B;LGMI@
    IM?FN;GCPCL ;=;FF@ILOLA?HN;=NCIH (;H=?N+=NJ  
    
     &!""!./+* 0 #O?MN!>CNILC;F)CMN;E?HC>?HNCNSM?;MIH;FCH@FO?HT;P?LMOM
    CH@FO?HT; FCE?CFFH?MM FCHC=;F!PC>?H=?+=NI<?L  
    
     0+)&!""!./+* ).'&+*!/ ,!0!. +/$% * $.%/ !(). 
    *?OL;GCHC>;M?CHBC<CNILM@ILJL?P?HNCHA;H>NL?;NCHACH@FO?HT;CHB?;FNBS;>OFNM
    MSMN?G;NC=L?PC?Q;H>G?N; ;H;FSMCM )& >?=9J < 
    BNNJ QQQ <GD =IG =AC =IHN?HN ;<MNL;=N  >?=9 <=N=N
    
     0+)&!""!./+** !(%*"!..+*% 0B?/J;HCMBCH@FO?HT;J;H>?GC=M??H
    NBLIOABNB?)&M?S?MI<M?LP;NCIHM;H>OH;HMQ?L?>KO?MNCIHM )& 
    >?=9J <
    BNNJ QQQ <GD =IG =AC =IHN?HN ?RNL;=N  >?=9 <=N=N
    
     )%#(%+.! ).,!..%*% !.+)*%*%  "!(( 2((+ )!.+ 
    * 0&!""!./+* IGJ;LCMIHI@NB?J?L@ILG;H=?I@BCJCGJF;HNMQCNB>;N;@LIG
    >C@@?L?HN;LNBLIJF;MNSL?ACMN?LM &IH?&ICHN/OLAL ?=J  
    BNNJ BCABQCL? MN;H@IL> ?>O =AC G?>FCH? JGC>
    
     0+)&!""!./+* *?OL;GCHC>;M?CHBC<CNILMJLI>O=?;MG;FFL?>O=NCIHCH>OL;NCIH
    I@M?;MIH;FCH@FO?HT;CH=BCF>L?H;H>L?>O=?NL;HMGCMMCIHCH;@@?=N?>BIOM?BIF>M <ON
    ?@@?=NMIHM?LCIOM=IGJFC=;NCIHMOH=F?;L !PC> ;M?>)?> J  
    BNNJ ?<G <GD =IG =AC =IHN?HN ?RNL;=N   =N=N
    
     "!..+*%! &!""!./+*0 HA?FI?FFC;H>L?M?;L=BIHNB?JL?P?HNCIHI@
    G;F;LC;;NNB?NOLHI@NB?=?HNOLS &((OFF?NCHIGG?HN;LC?MIHNB?BCMNILSI@
    NL?;NG?HN?P;FO;NCIHQQQ D;G?MFCH>FC<L;LS ILA
    
    0$+)/.! &!""!./+*0 (//!./+*0& %H@FO?HT;P;==CH;NCIH@ILB?;FNB
    =;L?QILE?LMQBIQILEQCNBNB??F>?LFS;I=BL;H?L?PC?Q  '.# #)*'*"2
      -- --( ). )+) ($!'/ -+ $'.# ( $--/ *! 
     
    



                                                            



                                                                                        App000139
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 142 of 633 PageID 868


                                                                                         30
     )%#(%+.! +.%+) ,+*!/ !.+)* &!""!./+*0 
    ==IGGI>;NCHACHNL;I=OF;LF?HM?M@ILJ;NC?HNMQCNB=;N;L;=NL?PC?Q !RJ?LN.?PC?QI@
    +JBNB;FGIFIAS  
    
     I=BL;H?*?OL;GCHC>;M?%HBC<CNILM.?PC?Q0?;G  I?M+M?FN;GCPCL.?;FFS.?>O=?
    IGJFC=;NCIHMI@%H@FO?HT;FCHC=;F%H@?=NCIOM CM?;M?M  ?=\ 
    
     &!""!./+*0 /BIOF>DIOLH;FMM?FFL?JLCHNM)&>>IC
      <GD >
    
     &!""!./+*0 &+*!/)  +/$%,  !(). $!*!#$*& $). 
    0$+),/+*)& *?OL;GCHC>;M?CHBC<CNILM@ILJL?P?HNCHA;H>NL?;NCHACH@FO?HT;CH
    B?;FNBS;>OFNM;H>=BCF>L?H *#,) .- *!2-. (.$ 0$ 1- %MMO? 
    LN *I    +%     JO< 
    
      +/$%, &+*!/) &!""!./+*0 .?NBCHECHA=L?>C<F??PC>?H=?MSHNB?MCM 
    >>IC  <GD >
    
      LOA ;N;/BIOF>HN?/?=L?N S,!0!. +/$%* 0+)&!""!./+* 0B?
    *?Q5ILE0CG?M JLCF 
    1.(BNNJ QQQ HSNCG?M =IG    IJCHCIH >LOA >;N; MBIOF>HN <? M?=L?N BNGF
    /BILN?H?>1.(BNNJ HSNC GM %PAB=
    
      +/$%, &!""!./+*0  !().0B?%GJ?L;NCP?NI/B;L?FCHC=;F
    /NO>S.?JILNM.?=IGG?H>;NCIHM@LIGNB?0;GC@FO!RJ?LC?H=? ,(I/)?>
    ? >IC  DIOLH;F JG?> 
    /BILN1.(BNNJ <CN FS $%<QK+, "@ILJLCHNCHABNNJ <CN FS $"502
    
     &+*!/) $). &!""!./+*0  +/$%, *?OLIJMS=BC;NLC=>P?LM?!P?HNM
    ;H>+M?FN;GCPCL@IL,LIJBSF;RCM LOA/;@  
    
      +/$%, &!""!./+*0 0B?@CLMNS?;LMI@NB?!OLIJ?;H)?>C=CH?M
    A?H=SaMJIFC=SIH;==?MMNI>I=OG?HNM/?=L?NHI(IHA?L L=B%HN?LH
    )?> ,O<FCMB?>IHFCH? ?=?G<?L  >IC
    BNNJ >R >IC ILA   D;G;CHN?LHG?>  
    BNNJ ;L=BCHN? D;G;H?NQILE =IG ;LNC=F? ;MJR;LNC=F?C>
    
      +/$%, &!""!./+*0 FCHC=;FMNO>SL?JILNMI@L;H>IGCM?>=IHNLIFF?>NLC;FM;H
    ?RJFIL;NILSL?PC?QI@JL?PCIOMFS=IH@C>?HNC;FCH>OMNLSL?JILNM )&+J?H "?<
    ? 
    BNNJ <GDIJ?H <GD =IG =IHN?HN   ? @OFF;H>
    BNNJ >R >IC ILA   <GDIJ?H  
    






                                                         



                                                                                    App000140
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 143 of 633 PageID 869


                                                                                         31
  +/$%,  %'!./%*' $!(5 2! 1(// &!""!./+*0 .?MNILCHA
CHPCMC<F?;H>;<;H>IH?>NLC;FM;=;FF@ILJ?IJF?NIJO<FCMBNB?@CH>CHAM
>ICBNNJ >R >IC ILA   <GD @,O<FCMB?>&OH? 

 $* 3 /+*#" 2%'!./ &!""!./+*0  %'!./%*' #[06/$!
,?N;F %H=L?;MCHAP;FO?;H>L?>O=CHAQ;MN?;>>L?MMCHACH;==?MMC<F?L?M?;L=B 0B?
(;H=?N 2IFOG? %MMO? ,;A?M  &;HO;LS 
>IC  /   
BNNJ QQQ NB?F;H=?N =IG DIOLH;FM F;H=?N ;LNC=F? ,%%/ 
 @OFFN?RN 

 &!""!./+*0 &+*!/)  +/$%,  !(). $). 0$+),/+*)& 
?N;F *?OL;GCHC>;M?CHBC<CNILM@ILJL?P?HNCHA;H>NL?;NCHACH@FO?HT;CHB?;FNBS;>OFNM;H>
=BCF>L?H I=BL;H? ;N;<;M?I@/SMN?G;NC=.?PC?QM %MMO? LN *I  
  +%     JO<

 $!*!#$*& +*',+5% 0$+),/+*) /,!*!.! &+*!/) 
&!""!./+*0 6;H;GCPCL@ILCH@FO?HT;CH;>OFNM;H>=BCF>L?HMSMN?G;NC=L?PC?QI@
=FCHC=;FMNO>SL?JILNM;H>MOGG;LSI@L?AOF;NILS=IGG?HNM )&  +
  <GD A 1(BNNJ QQQ <GD =IG =IHN?HN  <GD A

 &!""!./+*0  +/$%, )OFNCMSMN?G@;CFOL?NB?MNILSI@;HNC CH@FO?HT;>LOAM 
)&  +C  <GD A
1(BNNJ QQQ <GD =IG =IHN?HN  <GD A

 &!""!./+*0  +/$%, !)aM>IO<F?1 NOLHIHCNM,??JCHA0IGJIFC=S@IL>;N;
L?F?;M? )&FIA 

 &!""!./+*0  +/$%, (!))!*/0 !)aM>;N;MB;LCHAJIFC=S]NIQ;L>M
J??JCHANIG<;M?>G?>C=CH?)&FIA 
BNNJ <FIAM <GD =IG <GD    NIG D?@@?LMIH ?N ;F ?G;M >;N; MB;LCHA JIFC=S
NIQ;L>M J??JCHA NIG <;M?> G?>C=CH? 

 &!""!./+*0 &+*!/)  +/$%,  !(). $). 0$+),/+*)& 
+*',+5% $!*!#$*& .CMEI@<C;MCHCH>OMNLS @OH>?>IM?FN;GCPCLNLC;FM
=IGJ;LCMIHI@=IL?L?JILNMP?LMOM@OFF=FCHC=;FMNO>SL?JILNM )&+J?H?
?
BNNJ <GDIJ?H <GD =IG =AC =IHN?HN @OFF <GDIJ?H 
CDE?S$@G<P1OG)C=.E?SNSJ?L?@

 &!""!./+*0 !)aML?F?;M?I@L?AOF;NILS>;N;]NLOMN<ONP?LC@S
)&FIAM

 &!""!./+*0!)aM.?F?;M?I@.?AOF;NILS ;N;,IMMC<F?";FFION@IL&IOLH;FM
;H>.?M?;L=B/SHNB?MCM 



                                                         



                                                                                    App000141
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 144 of 633 PageID 870


                                                                                         32
    
     0+)&!""!./+** ,!0!. +/$%0B;HEMACPCHAMJ?=C;F]G?HOMH??>?>;N
    NB?!)aML?MN;OL;HN
    
     ,!0!. +/$%;H>0+)&!""!./+* 0B?!PC>?H=?;M?@IL*?Q LOAM
    ?>CNILC;F !       
      """   
    
     0+)&!""!./+* 0B?!)L?PIFONCIHA;NB?LMJ;=?
    BNNJ <FIAM <GD =IG <GD    NIG D?@@?LMIH NB? ?G; L?PIFONCIH A;NB?LM J;=? 
    
     L?Q?L?;>S@ILNB?!)L?PIFONCIH
    BNNJ <FIAM <GD =IG <GD    NIG D?@@?LMIH ;L? Q? L?;>S @IL NB? ?G; L?PIFONCIH 
    
     !)=IH@C>?HNC;F]NB?!)=IHNCHO?M=IHMOFN;NCIHIHCNMJIFC=S;H>=IH=?LHM
    ;JJ?;LBNNJ <FIAM <GD =IG <GD    NIG D?@@?LMIH ?G; =IH@C>?HNC;F 
    
     '$(! !(!))0+)&!""!./+*,!0!. +/$%
    BNNJ <FIAM <GD =IG <GD    G;RCGCTCHA NB? P;FO? I@ =FCHC=;F MNO>S L?JILNM 
    
     '$(! !(!))0+)&!""!./+*,!0!. +/$% 0B?L?F?;M?I@L?AOF;NILS
    >I=OG?HNMOH>?L!)JIFC=S*IQSIOM??NB?G HIQSIO>IHaN 
    
      +/$%, &!""!./+*0 +J?H>;N;S?;LMIH;=;M?M?LC?MI@@L??>IGI@
    CH@ILG;NCIHL?KO?MNM@ILL?AOF;NILS>;N;NINB?!OLIJ?;H)?>C=CH?MA?H=S 0LC;FM
     +%  M    
    BNNJ NLC;FMDIOLH;F <CIG?>=?HNL;F =IG ;LNC=F?M   M   
    
     ,!0!. +/$%0+)&!""!./+* ==?MMNI=FCHC=;FNLC;F>;N;@LIGNB?
    !OLIJ?;H)?>C=CH?MA?H=S 
    
     &!""!./+*0  !)%$!(%2 %MNB?NCGCHAI@L?=IGG?H>?>=BCF>BII>P;==CH?M
    ?PC>?H=?<;M?>)&>ICBNNJ >R >IC ILA   <GD C,O<FCMB?>
    "?<LO;LSCN?NBCM;M)&C 
    BNNJ QQQ <GD =IG =IHN?HN  <GD C
    
     .(&$!*!#$* %#$++*',+5 ).'&+*!/ ,!0!. +/$% 
    $.%/ !(). .+'1.+$) )00$!3&0$+),/+* !(%6!0$
    /,!*!. ')(.)$0*%  2% *1** &!.!)5$+3%' 0+)
    &!""!./+* *?OL;GCHC>;M?CHBC<CNILM@ILCH@FO?HT;;MSMN?G;NC=L?PC?Q;H>G?N;
    ;H;FSMCMI@L?AOF;NILS;H>GILN;FCNS>;N; $?;FNB0?=BHIFIASMM?MMG?HN CH
    JL?MMBNNJ QQQ DIOLH;FMFC<L;LS HCBL ;= OE BN;
    
     &!""!./+*0 ";=CHANB?OHL?FC;<CFCNSI@=FCHC=;FNLC;FMFCN?L;NOL?  LOA;H>
    0B?L;J?ONC=MOFF?NCHI@*;P;LL? /J;CH  



                                                         



                                                                                    App000142
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 145 of 633 PageID 871


                                                                                           33
     BNNJ QQQ H;P;LL; ?M BIG?9?H 0?G;M ,ILN;F >? F; /;FO> ,LI@?MCIH;F?M I=OG?HN
     ;=CIH S JO<FC=;=CIH?M ,O<FC=;=CIH?M N?G;NC=;M )?>C=;G?HNI %0 
     
       2%/ (!4$%*& &!""!./+*0 #[06/$!, )'!!) ^>;JNCP?
     J;NBQ;SM_NI>LOA;ONBILCM;NCIH;>;JNCHANICH>OMNLS )&C>IC
       <GD C,O<FCMB?>OAOMN  IQHFI;>@L??B?L?
     
      0IG&?@@?LMIH0B?!)aMJIFC=SCMFCP?  
     
       +/$%, $1., &+*!/) (.)3%$ &!""!./+*0 )+.#* & 
     /,!./, ,+3!./&$ %H@ILG?>=IHM?HNNIMNO>SJOLJIM?CHL;H>IGCT?>=IHNLIFF?>
     NLC;FMI@;HNC<CINC=M   &)%HN?LH)?> ,O<FCMB?>IHFCH?OAOMN  
     >IC  D;G;CHN?LHG?>  
     
      0+)&!""!./+* /NC=ECHANIJLCH=CJF?M;H>;HNC=CJ;NCHAION=IG?M .?=?HNC,LIA
     )?>  BNNJM AII AF D"EJ
     
     0+)&!""!./+* 0B?1'NOLHMNI3CNNS 2;FF;H=? ;H>2;H0;G@ILF?;>?LMBCJ
     L?PIFPCHA>IILM)&<FIAM 
     
     )$0*%'. &!""!./+*0 $!*!#$* 3B;NG;E?M;MSMN?G;NC=L?PC?Q
    ^=IGJF?R_)&<FIAM 
    
      +/$%, &!""!./+*0  CM=FIM? ;N;,O<FC=FS QCNBION.?MNLC=NCIH %H ;PCM( 
    )CFF?L& /B;L@MN?CH&) '?MM?FB?CG/ FO?JLCHN@ILNL;HMJ;L?H=S;NNB?1/"II>;H>
       LOA>GCHCMNL;NCIH 3CHN?L ,;A?M   +%   
    
     &[.#!*/!*( #[06/$!, &!""!./+*0 %H>?RI@NB?BOG;H
    J;JCFFIG;PCLOM$,2P;==CH?CH>OMNLS=FCHC=;FMNO>SJLIAL;GG?M;H>HIH CH>OMNLS
    @OH>?>MNO>C?M;H?=?MM;LS<;MCMNI;>>L?MML?JILNCHA<C;MCH;MSMN?G;NC=L?PC?Q 
    /SMN?G;NC=.?PC?QM BNNJM >IC ILA   M   T 
    
      !)%$!(%2 &!""!./+*0 "!..+*%! .%2!00%  %,%!0.*0+*& 
    2;==CH?M@ILJL?P?HNCHACH@FO?HT;CHB?;FNBS;>OFNM I=BL;H? ;N;<;M?I@/SMN?G;NC=
    .?PC?QM %MMO? LN *I    +%     JO< 
     &!""!./+*0 .%2!00%  %,%!0.*0+*&  !)%$!(%2 2;==CH?M@IL
    JL?P?HNCHACH@FO?HT;CHB?;FNBS=BCF>L?H I=BL;H? ;N;<;M?I@/SMN?G;NC=.?PC?QM
     %MMO? LN *I    +%     JO< 
      !)%$!(%2 &!""!./+*0  %,%!0.*0+*& "!..+*%! 0$+.*%*#/ 
    0$+)/.! .%2!00% 2;==CH?M@ILJL?P?HNCHACH@FO?HT;CHNB??F>?LFS I=BL;H?
     ;N;<;M?I@/SMN?G;NC=.?PC?QM %MMO? LN *I    +%
         JO< 
    



                                                          



                                                                                    App000143
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 146 of 633 PageID 872


                                                                                        34
     &!""!./+*0 .%2!00% !)%$!(%2 3BSB;P?NBL??FIHA LOHHCHA
    I=BL;H?.?PC?QMIHCH@FO?HT;P;==CH?M<??HMN;<CFCM?>
    BNNJ =IGGOHCNS =I=BL;H? ILA H?QM QBS B;P? NBL?? FIHA LOHHCHA =I=BL;H? L?PC?QM
    CH@FO?HT; P;==CH?M <??H MN;<CFCM?>
    
     0IG&?@@?LMIH;H>,?N?L IMBC.%,,O<)?>=IGGIHM
    )&FIAM
    
     &!""!./+*0 &[.#!*/!*( .?>?@?HCHANB?^!_CH!) )&!PC>?H=?
    ;M?>)?>C=CH?   <GD?<G   
    
     )$0*%' &!""!./+*0 $!*!#$* *1** .+*/+*& 3B;NCM;
    a=IGJF?RMSMN?G;NC=L?PC?QLCN?LC; >?@CHCNCIH ;H>?R;GJF?M   <GD?<G 
    
    BNNJ >R >IC ILA   <GD?<G   
    
     &[.#!*/!*( #[06/$!, &!""!./+*0 0B?I=BL;H?$,2P;==CH?
    L?PC?QQ;MCH=IGJF?N?;H>CAHIL?>CGJILN;HN?PC>?H=?I@<C;M )&!PC>?H=?;M?>
    )?>C=CH? ,O<FCMB?>+HFCH?"CLMN&OFS >IC  <GD?<G   
    
     &!""!./+*0 &[.#!*/!*( $OG;HJ;JCFFIG;PCLOMP;==CH?M =IGJF?R
    L?ACIH;FJ;CHMSH>LIG? JIMNOL;FILNBIMN;NC=N;=BS=;L>C;MSH>LIG? ;H>
    ;ONIHIGC=>SM@OH=NCIH ;L?PC?QI@NB?L?AOF;NILS?PC>?H=?@LIGNB?
    !OLIJ?;H)?>C=CH?MA?H=S %H>C;H&)?>!NBC=M ,O<FCMB?>IHFCH?IH
    +=NI<?L  

     $+ '%*/+*  %!06' (!"!2.! #+( !./ &+*!/)  +/$%, 
    $!*!#$* &!""!./+*0 +10.+*% /0!3.0( 0B?OM?I@=FCHC=;FMNO>S
    L?JILNMNI?HB;H=?NB?KO;FCNSI@MSMN?G;NC=L?PC?QM;MOLP?SI@MSMN?G;NC=L?PC?Q
    ;ONBILM /SMN?G;NC=.?PC?QM  BNNJM >IC ILA   M   R
    
     &!""!./+*0  !)%$!(%2  %,%!0.*0+*& .%2!00% G;HN;>CH?;H>
    LCG;HN;>CH?@ILCH@FO?HT;CH;>OFNM I=BL;H? ;N;<;M?I@/SMN?G;NC=.?PC?QM 
    %MMO? LN *I    +%     JO< 
    
     &[.#!*/!*(  +/$%, #[06/$!, &!""!./+*0 B;FF?HA?MI@
    CH>?J?H>?HN;MM?MMG?HNI@JIN?HNC;FB;LGMI@$,2P;==CH?M)& >IC
    BNNJM >IC ILA   <GD E
    
     ,!0!. +/$% 0+)&!""!./+* ).'&+*!/ &+$*$ ,+3!./%%% 
    ;FIR;PCL.I=B?aMH?QIM?FN;GCPCLBNNJM QQQ <GD =IG =IHN?HN  <GD E LL
    
     0IG&?@@?LMIH $IQI=BL;H?CM>ICHAJB;LG;;AII>NOLH
    BNNJM <FIAM <GD =IG <GD    NIG D?@@?LMIH =I=BL;H? JB;LG; AII> NOLH 
    



                                                        



                                                                                  App000144
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 147 of 633 PageID 873


                                                                                            35
      +/$%, &!""!./+*0 &+*!/)!0( ;FFNI;=NCIH.%0L?MNIL;NCIHI@;
    JL?PCIOMFSOHJO<FCMB?>G?NBI>IFIASCH#;L>;MCFP;==CH?NLC;FM 
    BNNJM QQQ <GD =IG =IHN?HN  <GD @ LL 
    ,LINI=IF;P;CF;<F?;NBNNJM IM@ CI EQ  +%  +/" %+ '3
    
     0+)&!""!./+* "(+.!*!+1.#!+%/ '51*#3*$+*# ).'
    &+*!/ $!5+1*#(!! 2%*5,./ +).!!*/,!*! ,!0!. +/$% .?
    ;H;FSMCMI@GILN;FCNSCH$,2P;==CH?NLC;FMMSMN?G;NC=L?PC?Q ,.+/,!.+
    . P;CF;<F?@LIG
    BNNJ QQQ =L> SILE ;= OE ,.+/,!.+ >CMJF;S9L?=IL> JBJ% . 
    
      +/$%, &!""!./+*0 &+*!/)!0( >>CNCIH;FNLC;FMQCNBCHM=IJ?;@IFFIQ
    OJNIIOL;FFNI;=NCIH.%0L?MNIL;NCIHI@;JL?PCIOMFSOHJO<FCMB?>G?NBI>IFIASCH
    #;L>;MCFP;==CH?NLC;FM BNNJM QQQ <GD =IG =IHN?HN  <GD @ LL 

     .($!*!#$* 0+)&!""!./+* #?H>?L ;@@CLGCHABILGIH?CH=BCF>L?H;H>
    ;>IF?M=?HNM BNNJM <FIAM <GD =IG <GD?<GMJINFCABN ,IMN?>IHNB"?<LO;LS
    
     &!""!./+*0 /JIHMILMBCJ<C;MCH=FCHC=;FNLC;FM\ALIQCHAG?H;=?IL
    >;QHCHAL?;FCM;NCIH&((OFF?NCHIGG?HN;LC?MIHNB?BCMNILSI@NL?;NG?HN?P;FO;NCIH 
    BNNJM QQQ D;G?MFCH>FC<L;LS ILA ;LNC=F?M MJIHMILMBCJ <C;M CH =FCHC=;F NLC;FM ALIQCHA
    G?H;=? IL >;QHCHA L?;FCM;NCIH 
    
     &!""!./+*0 "+.)+/+# 2!*01.!((%" 2%!*0%*%) $%.+((! 
    ((%*%( $;>LIHNB?L;JS@IL=;H=?L HIP?LPC?QI@$0L?JILNM;H>IHAICHAMNO>C?M 
    .?=?HNC,LIA)?> 
    
      +/$%!0( >DOP;HN =IHN;CHCHA=IHNLIF;LGMCH
    JCPIN;FKO;>LCP;F?HNBOG;HJ;JCFFIG;PCLOMP;==CH?NLC;FML?MNIL;NCIHI@JL?PCIOMFS
    OHJO<FCMB?>G?NBI>IFIAS )&!PC>?H=? ;M?>)?>C=CH?
     BNNJM >IC ILA   <GD?<G  
    
     &[.#!*/!* ( #[06/$! ,  &!""!./+* 0 ?H?@CNM;H>B;LGMI@NB?
    BOG;HJ;JCFFIG;PCLOM$,2P;==CH?MMSMN?G;NC=L?PC?QQCNBG?N; ;H;FSM?MI@NLC;F>;N;
    @LIG=FCHC=;FMNO>SL?JILNM 2-. 0 BNNJM >IC ILA   M  
    S

     &[.#!*/!* ( #[06/$! ,  &!""!./+*0 ?H?@CNM;H>B;LGMI@NB?
    BOG;HJ;JCFFIG;PCLOM$,2P;==CH?M=IGJ;LCMIHI@NLC;F>;N;@LIG=FCHC=;FMNO>S
    L?JILNMQCNB=ILL?MJIH>CHANLC;FL?ACMN?L?HNLC?M;H>DIOLH;FJO<FC=;NCIHM /SMN.?P 
     BNNJM >IC ILA   M    

     &!""!./+*0  !)/%)  +/$%, /N;NCHM@ILJLCG;LSJL?P?HNCIHQB;NCMNB?
    L?AOF;NILMLIF?!PC> ;M?>)?> J <GD?<G  P <GD?<G 
     http://ebm.bmj.com/cgi/content/full/bmjebm-2019-111321.




                                                            



                                                                                        App000145
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 148 of 633 PageID 874


                                                                                           36

     &!""!./+*0 IPC>]G;HSKO?MNCIHM HI=F?;L;HMQ?LM 
    BNNJM <FIAM <GD =IG <GD    NIG D?@@?LMIH =IPC>  G;HS KO?MNCIHM HI =F?;L
    ;HMQ?LM 
    
     &!""!./+*0 .?@CHCHANB?^!_CH!) )&!PC>?H=?;M?>)?>C=CH? 
    
    0IG&?@@?LMIHIPC>]Q?FCP?CHMOLL?;FNCG?M
    BNNJM <FIAM <GD =IG <GD    NIG D?@@?LMIH =IPC>  Q? FCP? CH MOLL?;F NCG?M 
    
    0IG&?@@?LMIHIPC>;CL@FCABN@LIG.IG?NI+R@IL>;H><;=E;A;CH 
    BNNJM <FIAM <GD =IG <GD    NIG D?@@?LMIH =IPC>;CL @FCABN  @LIG LIG? NI IR@IL>
    ;H> <;=E ;A;CH 
    
      +/$%, +1.#!+%/" $+*#' !0( >DOP;HN =IHN;CHCHA=IHNLIF;LGMCH
    JCPIN;FKO;>LCP;F?HNBOG;HJ;JCFFIG;PCLOMP;==CH?NLC;FML?MNIL;NCIHI@JL?PCIOMFS
    OHJO<FCMB?>G?NBI>IFIAS )&!PC>?H=? ;M?>)?>C=CH?,O<FCMB?>+HFCH?"CLMN
    );L=B >IC  <GD?<G  
    BNNJM >IC ILA   <GD?<G  
    
    &!""!./+* 0  /JIHMILMBCJ<C;MCH=FCHC=;FNLC;FMALIQCHAG?H;=?IL>;QHCHA
    L?;FCM;NCIH&IOLH;FI@NB?.IS;F/I=C?NSI@)?>C=CH?  \ 
    BNNJM >IC ILA   
    BNNJ DIOLH;FM M;A?JO< =IG MB;L? ".56#1-0&0 &0&3N;LA?N  
    
    
    &!""!./+* 0 .?@CHCHANB?!CH!) !PC> ;M?>)?> J <GD?<G 
    P <GD?<G  
    BNNJ ?<G <GDDIOLH;FM =IG =AC =IHN?HN @OFF <GD?<G  P=N&!""!./+*0 
    
       !().  ++(!5( "!..+*%! ( */.5( 36!!.# !0( 
    ,BSMC=;FCHN?LP?HNCIHMNICHN?LLOJNILL?>O=?NB?MJL?;>I@L?MJCL;NILSPCLOM?M *#,) 
    .- *!2-. (.$ 0$ 1-  
    BNNJM >IC ILA      JO<
    
       +/$%, +1.#!+%/" $+*#' !0(
    >DOP;HN =IHN;CHCHA=IHNLIF;LGMCHJCPIN;FKO;>LCP;F?HNBOG;HJ;JCFFIG;PCLOMP;==CH?
    NLC;FML?MNIL;NCIHI@JL?PCIOMFSOHJO<FCMB?>G?NBI>IFIAS )&!PC>?H=? ;M?>
    )?>C=CH?  

      !)/%) &!""!./+*0 ,F;=?<I]NB?1HEHIQH2;LC;<F?CH;IHNLIFF?>0LC;F 
    &)%HN?LH)?> ,O<FCMB?>IHFCH?"?<LO;LS  
    >IC  D;G;CHN?LHG?>  
    BNNJM D;G;H?NQILE =IG DIOLH;FM D;G;CHN?LH;FG?>C=CH? @OFF;LNC=F? AO?MN==?MM
    '?S;<@= ?@ ; <@




                                                           



                                                                                      App000146
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 149 of 633 PageID 875


                                                                                        37
    <@ONG9MIOL=?DJMONG9G?>COG?G;CFONG9=;GJ;CAH;ONBIL9;F?LN
    D;G;H?NQILEONG9=IHN?HN;ONBIL ;ONBIL9?HA;A?G?HNONG9N?LGG
    
    0*2!!./ .+3$*% ".%  $+*#' !0( 0L;HMJ;L?H=SI@+2% 
    P;==CH?NLC;FM>?=CMCIHMQCNBION>;N;)&!PC>?H=? ;M?>)?>C=CH?,O<FCMB?>+HFCH?
    "CLMNOAOMN >IC  <GD?<G  
    
    
    !%$&%
    
    0IG&?@@?LMIHIPC> ]MOJ?LG;LE?NQCM>IG
    BNNJM <FIAM <GD =IG <GD    NIG D?@@?LMIH =IPC>  MOJ?LG;LE?N QCM>IG 
    
    +2%    ;H$CMNILC=;FHNCPCL;FM?I@1M?
    BNNJM QQQ =?<G H?N =IPC>  =IPC>  =;H BCMNILC=;F ;HNCPCL;FM <? I@ OM? 
    
    +2% \0B?0CJJCHA,ICHN
    BNNJM QQQ =?<G H?N =IPC>  =IPC>  NB? NCJJCHA JICHN 
    
    +2% 3B;NJLIJILNCIH;L?;MSGJNIG;NC=
    BNNJM QQQ =?<G H?N =IPC>  =IPC>  QB;N JLIJILNCIH ;L? ;MSGJNIG;NC= 
    
    ,LI<F?GMCHC>?HNC@SCHANB?ILCACHMI@;HION<L?;E
    BNNJM QQQ =?<G H?N =IPC>  JLI<F?GM CH C>?HNC@SCHA NB? ILCACHM I@ ;H ION<L?;E 

    IPC> )I>?FFCHANB?GI>?FM
    BNNJM QQQ =?<G H?N =IPC>  GI>?FFCHA NB? GI>?FM 

    BNNJM QQQ =?<G H?N =IPC>  M;LM =IP  PCL;F FI;> ;H> NB? M?P?LCNS I@ =IPC>  
    
    L?+2% J;NC?HNMCHBIMJCN;FIL;>GCNN?>NIBIMJCN;F
    BNNJM QQQ =?<G H?N =IPC>  ;L? =IPC>  J;NC?HNM CH BIMJCN;F IL ;>GCNN?> NI BIMJCN;F 
    
    +2% \0B?AL?;NJF;AO?I@(IG<;L>S\;HINMI>CMN;HNL?MIH;H=?=B;G<?L
    BNNJM QQQ =?<G H?N =IPC>  =IPC>  NB? AL?;N JF;AO? I@ FIG<;L>S ; HIN MI >CMN;HN
    L?MIH;H=? =B;G<?L 
    
    %M(IG<;L>SNB?QC>IQI@$;GJMN?;>
    BNNJM QQQ =?<G H?N =IPC>  =IPC>  CM FIG<;L>S NB? QC>IQ I@ B;GJMN?;> 
    
    3B;N>I?M.#,MOLP?CFF;H=?N?FFOM;<ION+2% CHNB?=IGGOHCNS
    BNNJM QQQ =?<G H?N =IPC>  QB;N >I?M L=AJ MOLP?CFF;H=? N?FF OM ;<ION =IPC>  CH
    NB? =IGGOHCNS 
    
    +2% \0L;=ECHA!OLIJ?;H)ILN;FCNS



                                                          



                                                                                     App000147
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 150 of 633 PageID 876


                                                                                         38
    BNNJM QQQ =?<G H?N =IPC>  =IPC>  NL;=ECHA ?OLIJ?;H GILN;FCNS 
    
    +2% \0B?3C>IQI@$;GJMN?;>.?PCMCN?>
    
    !@@?=NI@(;NCNO>?IH+2% 
    
    /CRIOHNLC?M0BL?? KO;LN?LMI@NB?+2%  ?;NBM
    
    +2% #FI<;FB;LNMI@ ?;NBM
    
    IPC>!JC>?GC=^3;P?M_
    BNNJM QQQ =?<G H?N =IPC>  =IPC>  ?JC>?GC= Q;P?M 
    
    +2% \*IP;?N2?N?L;(;T;L?NNMI@2?HC=?
    BNNJM QQQ =?<G H?N =IPC>  =IPC>  HIP; ?N P?N?L; F;T;L?NNM I@ P?HC=? 

    +2% 1HL;P?FFCHANB?1H=?LN;CHNC?M
    BNNJM QQQ =?<G H?N =IPC>  =IPC>  OHL;P?FFCHA NB? OH=?LN;CHNC?M 

    +2% .? ?MN;<FCMBCHA`"?P?L$IMJCN;FMa
    BNNJM QQQ =?<G H?N =IPC>  =IPC>  L??MN;<FCMBCHA @?P?L BIMJCN;FM 

    +2%  1H>?LMN;H>CHANB?1HEHIQHCH=ON?.?MJCL;NILS%H@?=NCIHM
    BNNJM QQQ =?<G H?N =IPC>  =IPC>  OH>?LMN;H>CHA NB? OHEHIQH CH ;=ON?
    L?MJCL;NILS CH@?=NCIHM 

    +2% $;P?Q?@ILAINN?HIOL=BCF>L?HCH;FFNBCM
    BNNJM QQQ =?<G H?N =IPC>  =IPC>  B;P? Q? @ILAINN?H IOL =BCF>L?H CH ;FF NBCM 
    
    (?NaM<LCHA<;=ELCN;CHaM@?P?LBIMJCN;FM
    BNNJM QQQ MJ?=N;NIL =I OE ;LNC=F? (?NM <LCHA <;=E LCN;CHM @?P?L BIMJCN;FM

      IHaNJF;=?NIIGO=B@;CNBCHGI>?FMJL?>C=NCHA;HINB?L=ILIH;PCLOMQ;P?
    BNNJM QQQ N?F?AL;JB =I OE JIFCNC=M    >IHN JF;=? GO=B @;CNB GI>?FM JL?>C=NCHA
    ;HINB?L =ILIH;PCLOM 
    
    IOF>G;MMN?MNCHA@ILIPC> >IGIL?B;LGNB;HAII>
    BNNJM QQQ MJ?=N;NIL =I OE ;LNC=F? =IOF> G;MM N?MNCHA @IL =IPC>  >I GIL? B;LG NB;H
    AII> 

    
    &$ %%%! !%$%!( QILEIHAICHA@IL=IGJF?N?MSHIJMCM M??
    BNNJM QQQ =?<G IR ;= OE L?M?;L=B NL;HMGCMMCIH I@ M;LM =IP    


                                                         



                                                                                    App000148
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 151 of 633 PageID 877


                                                                                           39
    
    0+)&!""!./+* !(%6!0$/,!*!. &+*.//!5 .($!*!#$* 
    2CL;F=OFNOL?M@IL+2% CH@?=NCPCNS;MM?MMG?HN /SMN?G;NC=L?PC?Q 
    G?>.RCP   >ICBNNJM >IC ILA      
    BNNJM QQQ G?>LRCP ILA =IHN?HN      P
    
    0&!""!./+* !/,!*!. &.//!5 $!*!#$* 2CL;F=OFNOL?M@IL+2%
    CH@?=NCIOMJIN?HNC;F;MM?MMG?HN\;MSMN?G;NC=L?PC?Q FCHC=;F%H@?=NCIOM CM?;M?M 
      ?=  BNNJM >IC ILA   =C> =C;;
    
    &!""!./+* 0 $!*!#$*  /,!*!. ! .//!5 & ,(1 !)*  
    +*',+5 % !2*/  +*(5 & $C?L;L=BC=;F"L;G?QILE@ILMM?MMCHA
    0L;HMGCMMCIH;OM;FCNSI@.?MJCL;NILS2CLOM?M ,L?JLCHNM >IC
      JL?JLCHNM  P 
    
    !(!*!%(%.+/ .($!*!#$* !(%6!0$
    /,!*!. &+*.//!5 **!00!,(1 !)** %#$++*',+5  2% 
    $!2*/ &+$*)+*(5 0+)&!""!./+* 
    0L;HMGCMMCIHI@/./ I2 ;MMI=C;N?>QCNB=LOCM?MBCJNL;P?FJLINI=IF@IL;
    MSMN?G;NC=L?PC?Q2?LMCIH
    G?>.RCP   >ICBNNJM >IC ILA      
    
    0+)&!""!./+*!(%6!0$/,!*!. &+*.//!5 **!00!
    ,(1 !)** %#$++*',+5  2% $!2*/ &+$*)+*(5 
    .($!*!#$* 0L;HMGCMMCIHI@/?P?L?=ON?.?MJCL;NILS/SH>LIG?ILIH;PCLOM 
    /./ I2 @LIGJL?;H>;MSGJNIG;NC=CH@?=N?>CH>CPC>O;FM MSMN?G;NC=L?PC?Q
    FCHC=;F)C=LI<CIFIAS;H>%H@?=NCIH?JO<;B?;>I@JLCHN 
    BNNJM QQQ =FCHC=;FGC=LI<CIFIAS;H>CH@?=NCIH =IG ;LNC=F? / 4  @OFFN?RN
    
    
    !&$!$"!$&%QCNB;LF$?H?AB;H;H>&IHL;MM?S

    #.!,+.00B?%GJ;=NI@+2%       "CLMN3;P?.?MNLC=NCIHMIH;H=?L;L?
    &OH?

    #.!,+.00B?%GJ;=NI@%HN?LLOJNCIHMCHBCF>BII>2;==CH;NCIH
    &OH?
    
    #.!,+.00B?%GJ;=NI@,;H>?GC=.?MNLC=NCIHMIHBCF>BII>)?HN;F$?;FNB
    +=NI<?L
    
    #.!,+.0!@@?=NMI@+2% .?MNLC=NCIHMIHCL,IFFONCIH
    *IP?G<?L
    
    




                                                          



                                                                                    App000149
  Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 152 of 633 PageID 878


                                                                                        40
  #.!,+.00B?%GJ;=NI@+2%     .?MNLC=NCIHMIH1HCP?LMCNS/NO>?HNM)?HN;F
  $?;FNB
  *IP?G<?L
  
  
  


.IG? *IP?G<?L+=NI<?L




                        




                                                      



                                                                                App000150
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 153 of 633 PageID 879




                              Exhibit '




                                                                     App000151
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                   Page 154 of 633 PageID 880



                            81,7('67$7(6',675,&7&2857
                             1257+(51',675,&72)7(;$6



 38%/,&+($/7+$1'0(',&$/
 352)(66,21$/6)2575$163$5(1&<

                                   3ODLQWLII
         DJDLQVW
                                                           &LYLO$FWLRQ1RFY3
 )22'$1''58*$'0,1,675$7,21

                                   'HIHQGDQW



                 '(&/$5$7,212)3(7(50&&8//28*+0'03+

,3HWHU0F&XOORXJK0'03+GHFODUHDVIROORZV

             , PDNH WKLV VWDWHPHQW EDVHG XSRQ P\ RZQ SHUVRQDO NQRZOHGJH HGXFDWLRQ DQG

H[SHULHQFH,DPSUHSDUHGWRWHVWLI\WRWKHIDFWVDQGPDWWHUVVHWIRUWKKHUHLQ$WUXHDQGDFFXUDWH

FRS\RIP\FXUULFXOXPYLWDHLVDWWDFKHGKHUHWRDV([KLELW$

                                             ([SHULHQFH

             , FRPSOHWHG P\ PHGLFDO GHJUHH DV DQ $OSKD 2PHJD $OSKD JUDGXDWH IURP WKH

8QLYHUVLW\RI7H[DV6RXWKZHVWHUQ0HGLFDO6FKRROLQ'DOODV,ZHQWRQWRFRPSOHWHP\LQWHUQDO

PHGLFLQHUHVLGHQF\DWWKH8QLYHUVLW\RI:DVKLQJWRQLQ6HDWWOHDFDUGLRORJ\IHOORZVKLSLQFOXGLQJ

VHUYLFHDV&KLHI)HOORZDW:LOOLDP%HDXPRQW+RVSLWDODQGDPDVWHU¶VGHJUHHLQSXEOLFKHDOWKDW

WKH8QLYHUVLW\RI0LFKLJDQ

             ,DPERDUGFHUWLILHGLQLQWHUQDOPHGLFLQHDQGFDUGLRYDVFXODUGLVHDVHDQGKROGDQ

DGGLWLRQDOFHUWLILFDWLRQLQFOLQLFDOOLSLGRORJ\DQGSUHYLRXVO\HFKRFDUGLRJUDSK\,SUDFWLFHLQWHUQDO

PHGLFLQHDQGFOLQLFDOFDUGLRORJ\DVZHOODVWHDFKFRQGXFWUHVHDUFKDQG,DPDQDFWLYHVFKRODULQ




                                                                                             App000152
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                     Page 155 of 633 PageID 881



PHGLFLQHZLWKUROHVDVDQDXWKRUHGLWRULDOLVWDQGUHYLHZHUDWGR]HQVRIPDMRUPHGLFDOMRXUQDOV

DQGWH[WERRNV,DOVRSDUWLFLSDWHLQWKHPDLQWHQDQFHRIFHUWLILFDWLRQSURJUDPVE\WKH$PHULFDQ

%RDUGRI,QWHUQDO0HGLFLQHIRUERWK,QWHUQDO0HGLFLQHDQG&DUGLRYDVFXODU'LVHDVHV

             ,KDYHOHGFOLQLFDOHGXFDWLRQUHVHDUFKDQGSURJUDPRSHUDWLRQVDWPDMRUDFDGHPLF

FHQWHUV +HQU\)RUG+RVSLWDO2DNODQG8QLYHUVLW\:LOOLDP%HDXPRQW6FKRRORI0HGLFLQH DVZHOO

DVDFDGHPLFDOO\RULHQWHGFRPPXQLW\KHDOWKV\VWHPV,VSHDUKHDGHGWKHFOLQLFDOGHYHORSPHQWRILQ

YLWUR QDWULXUHWLF SHSWLGH DQG QHXWURSKLO JHODWLQDVH DVVRFLDWHG OLSRFDOLQ DVVD\V LQ GLDJQRVLV

SURJQRVLVDQGPDQDJHPHQWRIKHDUWDQGNLGQH\GLVHDVHQRZXVHGZRUOGZLGH,DOVROHGWKHILUVW

FOLQLFDOVWXG\GHPRQVWUDWLQJWKHUHODWLRQVKLSEHWZHHQVHYHULW\RIDFXWHNLGQH\LQMXU\DQGPRUWDOLW\

DIWHUP\RFDUGLDOLQIDUFWLRQ,KDYHFRQWULEXWHGWRWKHXQGHUVWDQGLQJRIWKHHSLGHPLRORJ\RIFKURQLF

KHDUWDQGNLGQH\GLVHDVHWKURXJKPDQ\PDQXVFULSWVIURPWKH.LGQH\(DUO\(YDOXDWLRQ3URJUDP

$QQXDO 'DWD 5HSRUW SXEOLVKHG LQ WKH $PHULFDQ -RXUQDO RI .LGQH\ 'LVHDVH DQG SDUWLFLSDWHG LQ

FOLQLFDOWULDOGHVLJQDQGH[HFXWLRQLQFDUGLRUHQDODSSOLFDWLRQVRIDFXWHNLGQH\LQMXU\K\SHUWHQVLRQ

DFXWH FRURQDU\ V\QGURPHV KHDUW IDLOXUH DQG FKURQLF FDUGLRUHQDO V\QGURPHV  , SDUWLFLSDWHG LQ

HYHQWDGMXGLFDWLRQ LQYROYHGDWWULEXWLRQRIFDXVHRIGHDWK LQWULDOVRIDFXWHFRURQDU\V\QGURPHV

FKURQLFNLGQH\GLVHDVHKHDUWIDLOXUHDQGGDWDVDIHW\DQGPRQLWRULQJRIDQWLGLDEHWLFDJHQWVUHQDO

WKHUDSHXWLFVKHPDWRORJ\SURGXFWVDQGJDVWURLQWHVWLQDOWUHDWPHQWV,KDYHVHUYHGDVWKHFKDLUPDQ

RUDVDPHPEHURIRYHUUDQGRPL]HGWULDOVRIGUXJVGHYLFHVDQGFOLQLFDOVWUDWHJLHV6SRQVRUV

KDYH LQFOXGHG SKDUPDFHXWLFDO PDQXIDFWXUHUV ELRWHFKQRORJ\ FRPSDQLHV DQG WKH 1DWLRQDO

,QVWLWXWHVRI+HDOWK

             ,IUHTXHQWO\OHFWXUHDQGDGYLVHRQLQWHUQDOPHGLFLQHQHSKURORJ\DQGFDUGLRORJ\WR

OHDGLQJLQVWLWXWLRQVZRUOGZLGH,DPUHFRJQL]HGE\P\SHHUVIRUP\ZRUNRQWKHUROHRIFKURQLF

NLGQH\ GLVHDVH DV D FDUGLRYDVFXODUULVNVWDWH , KDYH RYHUUHODWHG VFLHQWLILFSXEOLFDWLRQV




                                                                                                 App000153
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                           Page 156 of 633 PageID 882



LQFOXGLQJWKH³,QWHUIDFHEHWZHHQ5HQDO'LVHDVHDQG&DUGLRYDVFXODU,OOQHVV´LQ%UDXQZDOG¶V+HDUW

'LVHDVH7H[WERRN0\ZRUNVKDYHDSSHDUHGLQWKH1HZ(QJODQG-RXUQDORI0HGLFLQH-RXUQDORI

WKH$PHULFDQ0HGLFDO$VVRFLDWLRQDQGRWKHUWRSWLHUMRXUQDOVZRUOGZLGH,DPDQDVVRFLDWHHGLWRU

RI WKH $PHULFDQ -RXUQDO RI &DUGLRORJ\ DQG WKH $PHULFDQ -RXUQDO RI .LGQH\ 'LVHDVHV  , KDYH

WHVWLILHGEHIRUHWKH866HQDWH&RPPLWWHHRQ+RPHODQG6HFXULW\DQG*RYHUQPHQWDO$IIDLUVWKH

86 )RRG DQG 'UXJ $GPLQLVWUDWLRQ &DUGLRUHQDO $GYLVRU\ 3DQHO DQG LWV 86 &RQJUHVVLRQDO

2YHUVLJKW&RPPLWWHHDQGDPRQJRWKHUVWDWHKHDOWKFRPPLWWHHVWKH7H[DV6HQDWH&RPPLWWHHRQ

+HDOWKDQG+XPDQ6HUYLFHV

                   , DP D )HOORZ RI WKH $PHULFDQ &ROOHJH RI &DUGLRORJ\ WKH $PHULFDQ +HDUW

$VVRFLDWLRQWKH$PHULFDQ&ROOHJHRI&KHVW3K\VLFLDQVWKH1DWLRQDO/LSLG$VVRFLDWLRQDQGWKH

1DWLRQDO.LGQH\)RXQGDWLRQ,DPDOVRD'LSORPDWHRIWKH$PHULFDQ%RDUGRI&OLQLFDO/LSLGRORJ\

                   ,Q  , ZDV KRQRUHG ZLWK WKH ,QWHUQDWLRQDO 9LFHQ]D $ZDUG IRU &ULWLFDO &DUH

1HSKURORJ\IRUP\FRQWULEXWLRQDQGGHGLFDWLRQWRWKHHPHUJLQJSUREOHPRIFDUGLRUHQDOV\QGURPHV

,DPWKH3UHVLGHQWRIWKH&DUGLRUHQDO6RFLHW\RI$PHULFDDQRUJDQL]DWLRQGHGLFDWHGWREULQJLQJ

WRJHWKHU FDUGLRORJLVWV DQG QHSKURORJLVWV DQG HQJDJH LQ UHVHDUFK LPSURYHG TXDOLW\ RI FDUH DQG

FRPPXQLW\RXWUHDFKWRSDWLHQWVZLWKERWKKHDUWDQGNLGQH\GLVHDVH 

                   ,DPWKHFXUUHQW3UHVLGHQWRIWKH&DUGLRUHQDO6RFLHW\RI$PHULFDDSURIHVVLRQDO

RUJDQL]DWLRQGHGLFDWHGWRDGYDQFLQJUHVHDUFKDQGFOLQLFDOFDUHIRUSDWLHQWVZKRKDYHFRPELQHG

KHDUWDQGNLGQH\GLVHDVH,DPWKHIRUPHU(GLWRULQ&KLHIRI&DUGLRUHQDO0HGLFLQHDSULPDU\

UHVHDUFKMRXUQDOOLVWHGE\WKH1DWLRQDO/LEUDU\RI0HGLFLQHZKLFKLVWKHRQO\SXEOLFDWLRQZLWKD

SULPDU\IRFXVRQUHVHDUFKFRQFHUQLQJSDWLHQWVZLWKFRPELQHGKHDUWDQGNLGQH\GLVHDVH)LQDOO\,

DPWKHFXUUHQW(GLWRULQ&KLHIRI5HYLHZVLQ&DUGLRYDVFXODU0HGLFLQHDZLGHO\UHDGMRXUQDOWKDW



    KWWSVFDUGLRUHQDOVRFLHW\RUJ




                                                                                                      App000154
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                             Page 157 of 633 PageID 883



SXEOLVKHVUHYLHZVRQFRQWHPSRUDU\WRSLFVLQFDUGLRORJ\DQGLVDOVROLVWHGE\WKH1DWLRQDO/LEUDU\

RI0HGLFLQH

               0\ FXUULFXOXP YLWDH IXUWKHU GHPRQVWUDWHV P\ DFDGHPLF DQG VFLHQWLILF

DFKLHYHPHQWVDQGSURYLGHVDOLVWRISXEOLFDWLRQVDXWKRUHGE\PHLQWKHSDVW\HDUV

              6LQFHWKHRXWVHWRIWKHSDQGHPLF,KDYHEHHQDOHDGHULQWKHPHGLFDOUHVSRQVHWR

WKH &29,' GLVDVWHU DQG KDYH SXEOLVKHG ³3DWKRSK\VLRORJLFDO %DVLV DQG 5DWLRQDOH IRU (DUO\

2XWSDWLHQW7UHDWPHQWRI6$56&R9 &29,' ,QIHFWLRQ´WKHILUVWV\QWKHVLVRIVHTXHQFHG

PXOWLGUXJWUHDWPHQWRIDPEXODWRU\SDWLHQWVLQIHFWHGZLWK6$56&R9LQWKH$PHULFDQ-RXUQDO

RI 0HGLFLQH DQG XSGDWHG LQ 5HYLHZV LQ &DUGLRYDVFXODU 0HGLFLQH   , KDYH  SHHUUHYLHZHG

SXEOLFDWLRQVRQWKH&29,'LQIHFWLRQFLWHGLQWKH1DWLRQDO/LEUDU\RI0HGLFLQH7KURXJKD

ZLQGRZWRSXEOLFSROLF\PDNHUV,KDYHFRQWULEXWHGH[WHQVLYHO\RQLVVXHVVXUURXQGLQJWKH&29,'

FULVLV,WHVWLILHGRQWKH6$56&R9RXWEUHDNLQWKH866HQDWH&RPPLWWHHRQ+RPHODQG

6HFXULW\DQG*RYHUQPHQWDO$IIDLUVRQ1RYHPEHU,WHVWLILHGRQOHVVRQVOHDUQHGIURPWKH

SDQGHPLFUHVSRQVHLQWKH7H[DV6HQDWH&RPPLWWHHRQ+HDOWKDQG+XPDQ6HUYLFHVRQ0DUFK

DQGRQHDUO\WUHDWPHQWRI&29,'WKH&RORUDGR*HQHUDO$VVHPEO\RQ0DUFK

,WHVWLILHGLQWKH1HZ+DPSVKLUH6HQDWHRQOHJLVODWLRQFRQFHUQLQJWKHLQYHVWLJDWLRQDO&29,'





 0F&XOORXJK3$.HOO\5-5XRFFR*/HUPD(7XPOLQ-:KHHODQ.5.DW]1/HSRU1(9LMD\.&DUWHU+
6LQJK%0F&XOORXJK63%KDPEL%.3DOD]]XROL$'H)HUUDUL*00LOOLJDQ*36DIGHU77HFVRQ.0:DQJ''
0F.LQQRQ -( 2 1HLOO :: =HUYRV 0 5LVFK +$ 3DWKRSK\VLRORJLFDO %DVLV DQG 5DWLRQDOH IRU (DUO\ 2XWSDWLHQW
7UHDWPHQW RI 6$56&R9 &29,'  ,QIHFWLRQ $P - 0HG  -DQ   GRL
MDPMPHG (SXE  $XJ  30,'  30&,' 30& DYDLODEOH DW
KWWSVSXEPHGQFELQOPQLKJRY 0F&XOORXJK 3$ $OH[DQGHU 3( $UPVWURQJ 5 $UYLQWH & %DLQ $)
%DUWOHWW53%HUNRZLW]5/%HUU\$&%RURG\7-%UHZHU-+%UXIVN\$0&ODUNH7'HUZDQG5(FN$(FN-
(LVQHU5$)DUHHG*&)DUHOOD$)RQVHFD616*H\HU&(-U*RQQHULQJ56*UDYHV.(*URVV.%9+D]DQ6+HOG
.6+LJKW+7,PPDQXHO6-DFREV00/DGDSR-$/HH/+/LWWHOO-/R]DQR,0DQJDW+60DUEOH%0F.LQQRQ
-(0HUULWW/'2ULHQW-02VNRXL53RPSDQ'&3URFWHU%&3URGURPRV&5DMWHU-&5DMWHU--5DP&965LRV
665LVFK+$5REE0-$5XWKHUIRUG06FKRO]06LQJOHWRQ007XPOLQ-$7\VRQ%08UVR5*9LFWRU\.
9OLHW(/:D[&0:RONRII$*:RROO9=HOHQNR90XOWLIDFHWHGKLJKO\WDUJHWHGVHTXHQWLDOPXOWLGUXJWUHDWPHQW
RIHDUO\DPEXODWRU\KLJKULVN6$56&R9LQIHFWLRQ &29,' 5HY&DUGLRYDVF0HG'HF  
GRLMUFP30,'DYDLODEOHDWKWWSVSXEPHGQFELQOPQLKJRY




                                                                                                           App000155
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                      Page 158 of 633 PageID 884



YDFFLQHRQ$SULO,KDYHDOVRWHVWLILHGLQWKH6RXWK&DUROLQD6HQDWH0HGLFDO$GYLVRU\

&RPPLWWHH RQ WKH WUHDWPHQW RI &29,'   0\ H[SHUWLVH RQ WKH 6$56&R9 LQIHFWLRQ DQG

&29,'V\QGURPHOLNHWKDWRILQIHFWLRXVGLVHDVHVSHFLDOLVWVLVDSSUR[LPDWHO\PRQWKVROG

,KDYHIRUPHGP\RSLQLRQVEDVHGRQP\GLUHFWFOLQLFDOH[SHULHQFHZLWKDFXWHDQGFRQYDOHVFHQW

&29,' FDVHV DV ZHOO KDV FORVHO\ IROORZLQJ WKH SUHSULQW DQG SXEOLVKHG OLWHUDWXUH RQ WKH

RXWEUHDN,KDYHVSHFLILFDOO\UHYLHZHGDOOWKHNH\SXEOLVKHGUDUHFDVHVDQGUHSRUWVFRQFHUQLQJ

SRVVLEOHUHFXUUHQFHRI6$56&R9

             , DOVR DGG WKDW LQ DGGLWLRQWRWKH HGXFDWLRQH[SHULHQFH DQGFUHGHQWLDOVGHWDLOHG

DERYH

                 D ,GLDJQRVHDQGWUHDW&29,'DVDSDUWRIP\SUDFWLFH

                 E ,KDYHDPDVWHU¶VGHJUHHLQSXEOLFKHDOWKLQHSLGHPLRORJ\IURPWKH8QLYHUVLW\

                     RI0LFKLJDQ

                 F ,DPDQLQWHUQLVWFDUGLRORJLVWDQGHSLGHPLRORJLVW,PDLQWDLQ$PHULFDQ%RDUG

                     RI ,QWHUQDO 0HGLFLQH FHUWLILFDWLRQ LQ LQWHUQDOPHGLFLQH DQG FDUGLRYDVFXODU

                     GLVHDVHV , SUDFWLFH ERWK LQWHUQDO PHGLFLQH LQFOXGLQJ WKH PDQDJHPHQW RI

                     FRPPRQ LQIHFWLRXV GLVHDVHV DV ZHOO DV WKH FDUGLRYDVFXODU FRPSOLFDWLRQV RI

                     ERWK WKH YLUDO LQIHFWLRQ DQG WKH LQMXULHV GHYHORSLQJ DIWHU WKH &29,'

                     YDFFLQH

                 G ,KDYHSHHUUHYLHZHGSXEOLFDWLRQVUHJDUGLQJ6$56&R9DQG&29,'

                 H ,KDYHKDGPRUHWKDQPRQWKVGHGLFDWHGWRDFDGHPLFDQGFOLQLFDOHIIRUWVLQ

                     FRPEDWLQJWKH6$56&R9YLUXVDQGLQGRLQJVRKDYHUHYLHZHGWKRXVDQGVRI

                     UHSRUWVSDUWLFLSDWHGLQVFLHQWLILFFRQJUHVVHVJURXSGLVFXVVLRQVSUHVVUHOHDVHV

                     DQGKDYHEHHQFRQVLGHUHGDPRQJWKHZRUOG¶VH[SHUWVRQ&29,'




                                                                                                 App000156
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                       Page 159 of 633 PageID 885



                I 0\H[SHUWLVHRQWKH6$56&R9LQIHFWLRQDQG&29,'V\QGURPHOLNHWKDW

                     RIDOOLQIHFWLRXVGLVHDVHDQGRWKHUVSHFLDOLVWVLQFOXGLQJ'HIHQGDQWV¶H[SHUWVLV

                     DSSUR[LPDWHO\PRQWKVROG

            ,DOVRQRWHWKDWXQOLNHPHGLFDOVSHFLDOLVWVZKRVXSSRUWLQGLVFULPLQDWHYDFFLQDWLRQ

,DPQRWUHOLDQWXSRQDQ\IXQGLQJWRSHUIRUPUHVHDUFKUHJDUGLQJLQIHFWLRXVGLVHDVHVWUHDWLQIHFWLRXV

GLVHDVHVRURWKHUZLVHUHFHLYHVXSSRUWIURPLQGXVWU\RUJRYHUQPHQWDJHQFLHVDVSDUWRIWKHLUZRUN

WR GHYHORS SURPRWH VHOO DQGRU PDUNHW PHGLFDO LQWHUYHQWLRQV IRU LQIHFWLRXV GLVHDVHV

$GGLWLRQDOO\,DPQRWXQGHUWKHGXW\WRSHUIRUPDFFRUGLQJWR)$4DQGRWKHUJXLGHOLQHVDVDSDUW

RI UHJXODWRU\ FDSWXUH ZKHQ IHGHUDO IXQGV IORZ WR PHGLFDO FHQWHUV JURXSV DQG RWKHU PHGLFDO

DJHQFLHVDVDSDUWRI³&29,'5HOLHI´IXQGLQJ

                                                 2SLQLRQ

        $ 7KH3IL]HU&29,'9DFFLQH

            7KH 3IL]HU &29,' YDFFLQH LV EDVHG RQ D JHQH WKHUDS\ PROHFXODU SODWIRUP

'XULQJ WKH OLFHQVXUH SURFHVV IRU WKLVSURGXFW LW VNLSSHG WHVWLQJIRUJHQRWR[LFLW\PXWDJHQLFLW\

WHUDWRJHQLFLW\DQGRQFRJHQLFLW\,QLVDWUXO\QRYHOPHGLFDOSURGXFWIRUZKLFKSXEOLFO\DYDLODEOH

GDWDUHJDUGLQJLWVVDIHW\DQGHIILFDF\LVOLPLWHG

            3IL]HU¶V &29,' YDFFLQH KDV D SRWHQWLDOO\ GDQJHURXV PHFKDQLVP RI DFWLRQ LQ

WKDWLWFDXVHVWKHERG\WRPDNHDQXQFRQWUROOHGTXDQWLW\RIWKHSDWKRJHQLFZLOGW\SHVSLNHSURWHLQ

IURPWKH6$56&R9YLUXVIRUDWOHDVWWZRZHHNVEXWSUREDEO\DORQJHUSHULRGEDVHGRQWKHODWH

HPHUJHQFHRIYDFFLQHLQMXU\UHSRUWV7KLVLVXQOLNHDOORWKHUYDFFLQHVZKHUHWKHUHLVDVHWDPRXQW

RI DQWLJHQ RU OLYHDWWHQXDWHG YLUXV  7KLV PHDQV LW LV QRW SUHGLFWDEOH DPRQJ SDWLHQWV ZKR ZLOO

SURGXFHPRUHRUOHVVRIWKHVSLNHSURWHLQ7KHVSLNHSURWHLQLWVHOIKDVEHHQGHPRQVWUDWHGWRLQMXUH

YLWDORUJDQVVXFKDVWKHEUDLQKHDUWOXQJVDVZHOODVGDPDJHEORRGYHVVHOVDQGGLUHFWO\FDXVH




                                                                                                   App000157
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                 Page 160 of 633 PageID 886



EORRGFORWV$GGLWLRQDOO\EHFDXVHWKHVHYDFFLQHVLQIHFWFHOOVZLWKLQWKHVHRUJDQVWKHJHQHUDWLRQ

RIVSLNHSURWHLQZLWKLQKHDUWDQGEUDLQFHOOVFDXVHVWKHERG\¶VRZQLPPXQHV\VWHPWRDWWDFKWR

WKHVHRUJDQV7KLVLVDEXQGDQWO\DSSDUHQWZLWKWKHEXUJHRQLQJQXPEHURIFDVHVRIP\RFDUGLWLVRU

KHDUWLQIODPPDWLRQDPRQJLQGLYLGXDOVEHORZDJH\HDUV 



 6HH KWWSVZZZDGYLVRU\FRPGDLO\EULHILQJKHDUWLQIODPPDWLRQ 6HH DOVR 5RVH -HVVLFD $ 5HSRUWRQ
WKH869DFFLQH$GYHUVH(YHQWV5HSRUWLQJ6\VWHP 9$(56 LQDVVRFLDWLRQZLWK&29,',QMHFWDEOH%LRORJLFDO
3URGXFWV &XUUHQW 3UREOHPV LQ &DUGLRORJ\   GRL KWWSVGRLRUJMFSFDUGLRO 5RVH
-HVVLFD$5HSRUWRQWKH869DFFLQH$GYHUVH(YHQWV5HSRUWLQJ6\VWHP 9$(56 RIWKH&29,'0HVVHQJHU
5LERQXFOHLF$FLG P51$ %LRORJLFDOV6FLHQFH3XEOLF+HDOWK3ROLF\DQG7KH /DZ9ROXPH0D\
6LQDJUD * 0HUOR 0 3LQDPRQWL % HGLWRUV 'LODWHG &DUGLRP\RSDWK\ )URP *HQHWLFV WR &OLQLFDO 0DQDJHPHQW
>,QWHUQHW@&KDP &+ 6SULQJHU(6&7H[WERRNRI&DUGLRYDVFXODU0HGLFLQHUGHGLWLRQ/LEE\36ZLUVNL).
1DKUHQGRUI 0 7KH 0\RFDUGLXP 0RUH 7KDQ 0\RF\WHV - $P &ROO &DUGLRO  'HF   GRL
MMDFF 30,'  %DQHUMHH , )XVHOHU -: 3ULFH 5/ %RUJ 7. %DXGLQR 7$
'HWHUPLQDWLRQRIFHOOW\SHVDQGQXPEHUVGXULQJFDUGLDFGHYHORSPHQWLQWKHQHRQDWDODQGDGXOWUDWDQGPRXVH$P-
3K\VLRO+HDUW&LUF3K\VLRO6HS  +GRLDMSKHDUW(SXE-XQ30,'
 0) :HQGW*DOOLWHOOL * ,VHQEHUJ (OHFWURSK\VLRORJ\ DQG 0LFURLQMHFWLRQ0HWKRGV LQ 1HXURVFLHQFHV
+DUULV.00DFNH\%RMDFN6%HQQHWW01ZDXGR''XQFDQVRQ(0DURQ%-6XGGHQ8QH[SHFWHG'HDWK
'XH WR 0\RFDUGLWLV LQ <RXQJ 3HRSOH ,QFOXGLQJ $WKOHWHV $P - &DUGLRO  0DU   GRL
MDPMFDUG (SXE  'HF  30,'  KWWSVZZZPD\RFOLQLFRUJGLVHDVHV
FRQGLWLRQVP\RFDUGLWLVV\PSWRPVFDXVHVV\F 0\RFDUGLWLV (GXFDWLRQ 8SGDWHV DQG +RZ WR 3RWHQWLDOO\
'LDJQRVH WKH 'LVHDVH $XJ   0\RFDUGLWLV )RXQGDWLRQ 0\RFDUGLWLV LQ FKLOGUHQ LQFLGHQFH FOLQLFDO
FKDUDFWHULVWLFV DQG RXWFRPHV -XO   0\RFDUGLWLV )RXQGDWLRQ KWWSVZZZFGFJRYGKGVSP\RFDUGLWLVKWP
KWWSVZZZFGFJRYFRURQDYLUXVQFRYYDFFLQHVVDIHW\P\RFDUGLWLVKWPO6LULSDQWKRQJ%1D]DULDQ60XVHU'
HW DO 5HFRJQL]LQJ &29,'UHODWHG P\RFDUGLWLV 7KH SRVVLEOH SDWKRSK\VLRORJ\ DQG SURSRVHG JXLGHOLQH IRU
GLDJQRVLV DQG PDQDJHPHQW +HDUW 5K\WKP    GRL MKUWKP 0HOH '
)ODPLJQL)5DSH]]L&)HUUDUL50\RFDUGLWLVLQ&29,'SDWLHQWVFXUUHQWSUREOHPV,QWHUQ(PHUJ0HG-DQ
±GRLVZ(SXEDKHDGRISULQW30,'30&,'30&&DVWLHOOR
7*HRUJLRSRXORV*)LQRFFKLDUR*HWDO&29,'DQGP\RFDUGLWLVDV\VWHPDWLFUHYLHZDQGRYHUYLHZRIFXUUHQW
FKDOOHQJHV >SXEOLVKHG RQOLQH DKHDG RI SULQW  0DU @ +HDUW )DLO 5HY  GRLV
 $OEHUW ( $XULJHPPD * 6DXFHGR - *HUVRQ '6 0\RFDUGLWLV IROORZLQJ &29,' YDFFLQDWLRQ 5DGLRO
&DVH5HS  GRLMUDGFU+RZ&DQ&29,'$IIHFWWKH+HDUW"$XJ
0\RFDUGLWLV)RXQGDWLRQ0RQWJRPHU\-5\DQ0(QJOHU5+RIIPDQ'0F&OHQDWKDQ%&ROOLQV//RUDQ'
+UQFLU'+HUULQJ.3ODW]HU0$GDPV16DQRX$&RRSHU/7-U0\RFDUGLWLV)ROORZLQJ,PPXQL]DWLRQ:LWKP51$
&29,' 9DFFLQHV LQ 0HPEHUV RI WKH 86 0LOLWDU\ -$0$ &DUGLRO  -XQ  GRL
MDPDFDUGLR(SXEDKHDGRISULQW30,'0DUWLQH]0:7XFNHU$0%ORRP2-*UHHQ
*'L)LRUL-36RORPRQ*3KHODQ'.LP-+0HHXZLVVH:6LOOV$.5RZH'%RJRFK,,6PLWK37%DJJLVK$/
3XWXNLDQ0(QJHO'-3UHYDOHQFHRI,QIODPPDWRU\+HDUW'LVHDVH$PRQJ3URIHVVLRQDO$WKOHWHVZLWK3ULRU&29,'
,QIHFWLRQ:KR5HFHLYHG6\VWHPDWLF5HWXUQWR3OD\&DUGLDF6FUHHQLQJ-$0$&DUGLRO-XO  
GRLMDPDFDUGLR30,'30&,'30&3XQWPDQQ92&DUHUM0/:LHWHUV
,)DKLP0$UHQGW&+RIIPDQQ-6KFKHQGU\JLQD$(VFKHU)9DVD1LFRWHUD0=HLKHU$09HKUHVFKLOG01DJHO
( 2XWFRPHV RI &DUGLRYDVFXODU 0DJQHWLF 5HVRQDQFH ,PDJLQJ LQ 3DWLHQWV 5HFHQWO\ 5HFRYHUHG )URP &RURQDYLUXV
'LVHDVH             &29,'          -$0$       &DUGLRO             1RY             GRL
MDPDFDUGLR(UUDWXP LQ -$0$ &DUGLRO  1RY    30,'  30&,'
30& *UHJRULR 7HUVDOYL0' 0DUFR 9LFHQ]L 0' 'DYLGH &DODEUHWWD 0' /XLJL %LDVFR 0' 3K'
*LRYDQQL 3HGUD]]LQL 0' 'DULR :LQWHUWRQ 0' (OHYDWHG 7URSRQLQ LQ 3DWLHQWV ZLWK &RURQDYLUXV 'LVHDVH 
3RVVLEOH 0HFKDQLVPV 5HYLHZ DUWLFOH_ 9ROXPH  ,668(  3 -XQH   3XEOLVKHG$SULO
'2,KWWSVGRLRUJMFDUGIDLO1DVFLPHQWR-+3*RPHV%)22OLYHLUD*00&DUGLDF
7URSRQLQDVD3UHGLFWRURI0\RFDUGLDO,QMXU\DQG0RUWDOLW\IURP&29,'$UT%UDV&DUGLRO2FW  
 (QJOLVK 3RUWXJXHVH GRL DEF 30,'  8FDU )0 2]WXUN & zŦůŵĂ]WHSH 0$



                                                                                                                App000158
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                Page 161 of 633 PageID 887




(YDOXDWLRQRI7SHLQWHUYDO7SH47UDWLRDQG7SH47FUDWLRLQSDWLHQWVZLWKDFXWHP\RFDUGLWLV%0&&DUGLRYDVF
'LVRUG2FW  GRLV]30,'30&,'30&)DFW
6KHHW IRU 9DFFLQDWLRQ 3URYLGHUV)XOO (8$ 3,B)LQDOBSGI 1RD 'DJDQ 0' HW DO %17E P51$
&RYLG9DFFLQHLQD1DWLRQZLGH0DVV9DFFLQDWLRQ6HWWLQJ1HZ(QJODQG-RXUQDORI0HGLFLQH)HEUXDU\
'2,1(-0RD:DOVK(()UHQFN5:-U)DOVH\$5.LWFKLQ1$EVDORQ-*XUWPDQ$/RFNKDUW
61HX]LO.0XOOLJDQ0-%DLOH\56ZDQVRQ.$/L3.RXU\..DOLQD:&RRSHU')RQWHV'ĂƌĨŝĂƐ͕^ŚŝWz͕
TüƌĞĐŝP͕dŽŵƉŬŝŶƐ<Z͕>ǇŬĞ<͕ZĂĂďĞs͕ŽƌŵŝƚǌĞƌWZ͕:ĂŶƐĞŶ<h͕bĂŚŝŶ8*UXEHU:&6DIHW\DQG,PPXQRJHQLFLW\
RI 7ZR 51$%DVHG &RYLG 9DFFLQH &DQGLGDWHV 1 (QJO - 0HG  'HF    GRL
1(-0RD(SXE2FW30,'30&,'30&3RODFN)3HWDO&
&OLQLFDO 7ULDO *URXS 6DIHW\DQG (IILFDF\ RI WKH %17E P51$ &RYLG 9DFFLQH 1 (QJO - 0HG  'HF
   GRL 1(-0RD (SXE  'HF  30,'  30&,'
30&,3$.5HSRUW3RVWYDFFLQDWLRQ'HDWK&DXVDOLW\/LNHO\*LYHQ7HPSRUDO'LVWULEXWLRQRI
'HDWKV)ROORZLQJ&29,'9DFFLQDWLRQV,QWHULPUHVXOWV7LQDUL67KH(0$FRYLGGDWDOHDNDQGZKDWLWWHOOV
XVDERXWP51$LQVWDELOLW\%0-QGRLEPMQ&RUEHWW.6(GZDUGV'./HLVW65HW
DO6$56&R9P51$YDFFLQHGHVLJQHQDEOHGE\SURWRW\SHSDWKRJHQSUHSDUHGQHVV1DWXUH±  
KWWSVGRLRUJV 1DOFD $ =XPEUXQ (( $&$0 WKH QHZ VPDOOSR[ YDFFLQH IRU
8QLWHG 6WDWHV 6WUDWHJLF 1DWLRQDO 6WRFNSLOH 'UXJ 'HV 'HYHO 7KHU  6$56&R9 6SLNH 3URWHLQ ,PSDLUV
(QGRWKHOLDO)XQFWLRQYLD'RZQUHJXODWLRQRI$&(&LUFXODWLRQ5HVHDUFK$SULO5:0DORQH3/)HOJQHU
,09HUPD&DWLRQLFOLSRVRPHPHGLDWHG51$WUDQVIHFWLRQ3URFHHGLQJVRIWKH1DWLRQDO$FDGHP\RI6FLHQFHV 31$6 
    *UHWFKHQ 9RJHO -HQQLIHU &RX]LQ)UDQNHO ,VUDHO UHSRUWV OLQN EHWZHHQ UDUH FDVHV RI KHDUW
LQIODPPDWLRQDQG&29,'YDFFLQDWLRQLQ\RXQJPHQ-XQ6LULSDQWKRQJ%1D]DULDQ60XVHU'HWDO
5HFRJQL]LQJ&29,'UHODWHGP\RFDUGLWLV7KHSRVVLEOHSDWKRSK\VLRORJ\DQGSURSRVHGJXLGHOLQHIRUGLDJQRVLVDQG
PDQDJHPHQW+HDUW5K\WKP  GRLMKUWKP0HOH')ODPLJQL)5DSH]]L
& )HUUDUL 5 0\RFDUGLWLV LQ &29,' SDWLHQWVFXUUHQW SUREOHPV ,QWHUQ (PHUJ 0HG  -DQ ± GRL
VZ(SXEDKHDGRISULQW30,'30&,'30&7RRU606DOHK5
6DVLGKDUDQ1DLU97DKD5=(ONRUG(7FHOOUHVSRQVHVDQGWKHUDSLHVDJDLQVW6$56&R9LQIHFWLRQ,PPXQRORJ\
 -DQ   GRL LPP (SXE  2FW  30,'  30&,' 30&
5REELDQL ') HW DO &RQYHUJHQW DQWLERG\ UHVSRQVHV WR 6$56&R9 LQ FRQYDOHVFHQW LQGLYLGXDOV 1DWXUH 
$XJ   GRLV (SXE  -XQ  30,'  30&,'
30& /H %HUW 1 HW DO 6$56&R9VSHFLILF 7 FHOO LPPXQLW\ LQ FDVHV RI &29,' DQG 6$56 DQG
XQLQIHFWHG FRQWUROV 1DWXUH  $XJ   GRL V] (SXE  -XO 
30,'0DWHXV-HWDO6HOHFWLYHDQGFURVVUHDFWLYH6$56&R97FHOOHSLWRSHVLQXQH[SRVHGKXPDQV
6FLHQFH2FW  GRLVFLHQFHDEG(SXE$XJ30,'30&,'
30&/LSVLWFK0*UDG<+6HWWH$&URWW\6&URVVUHDFWLYHPHPRU\7FHOOVDQGKHUGLPPXQLW\WR6$56
&R91DW5HY,PPXQRO1RY  GRLV(SXE2FW30,'
30&,'30&&RUEHWW.6(GZDUGV'./HLVW65HWDO 6$56&R9P51$YDFFLQH
GHVLJQ HQDEOHG E\ SURWRW\SHSDWKRJHQ SUHSDUHGQHVV 1DWXUH  ±   KWWSVGRLRUJV
=LPPHUPDQQ3&XUWLV1)DFWRUV7KDW,QIOXHQFHWKH,PPXQH5HVSRQVHWR9DFFLQDWLRQ&OLQ0LFURELRO
5HY  0DU   H GRL &05 30,'  30&,' 30&
2UHQVWHLQ:$%HUQLHU5+'RQGHUR7-+LQPDQ$50DUNV-6%DUW.-6LURWNLQ%)LHOGHYDOXDWLRQRIYDFFLQH
HIILFDF\%XOO:RUOG+HDOWK2UJDQ  30,'30&,'30&)XUPDQ''DYLV
00 1HZ DSSURDFKHV WR XQGHUVWDQGLQJ WKH LPPXQH UHVSRQVH WR YDFFLQDWLRQ DQG LQIHFWLRQ 9DFFLQH  6HS
   GRL MYDFFLQH (SXE  -XO  30,'  30&,'
30&,RDQQLGLV-3  5HFRQFLOLQJHVWLPDWHVRIJOREDOVSUHDGDQGLQIHFWLRQIDWDOLW\UDWHVRI&29,'ဨ
 DQ RYHUYLHZ RI V\VWHPDWLF HYDOXDWLRQV (XU - &OLQ ,QYHVW $FFHSWHG $XWKRU 0DQXVFULSW H
KWWSVGRLRUJHFL1RK-'DQXVHU*  (VWLPDWLRQRIWKHIUDFWLRQRI&29,'LQIHFWHGSHRSOH
LQ86VWDWHVDQGFRXQWULHVZRUOGZLGH3/R621(  HKWWSVGRLRUJMRXUQDOSRQH
&ROVRQ35RODLQ-0/DJLHU-&%URXTXL35DRXOW'&KORURTXLQHDQGK\GUR[\FKORURTXLQHDVDYDLODEOHZHDSRQVWR
ILJKW&29,',QW-$QWLPLFURE$JHQWV$SU  GRLMLMDQWLPLFDJ(SXE
 0DU  30,' 30&,' 30& /LDQJ &KHQ ;LDQJMLH /L 0LQJTXDQ &KHQ <L )HQJ
&KHQJORQJ;LRQJ7KH$&(H[SUHVVLRQLQKXPDQKHDUWLQGLFDWHVQHZSRWHQWLDOPHFKDQLVPRIKHDUWLQMXU\DPRQJ
SDWLHQWVLQIHFWHGZLWK6$56&R9&DUGLRYDVFXODU5HVHDUFK9ROXPH,VVXH0D\3DJHV±
KWWSVGRLRUJFYUFYDD6KDQW'HU6DUNLVVLDQ-XVWLQ/*UREH/LKXL<XDQ'KUXY51DULHOZDOD*OHQQ
$:DOWHU0LFKDHO-.DWRYLFK0RKDQ.5DL]DGD&DUGLDF2YHUH[SUHVVLRQRI$QJLRWHQVLQ&RQYHUWLQJ(Q]\PH
3URWHFWV WKH +HDUW )URP ,VFKHPLD,QGXFHG 3DWKRSK\VLRORJ\ +\SHUWHQVLRQ   9DLG\DQDWKDQ 5



                                                                                                               App000159
 Case 4:21-cv-01058-P Document 27 Filed 12/07/21                              Page 162 of 633 PageID 888



              9DFFLQHVIRURWKHUFRURQDYLUXVHVKDYHQHYHUEHHQDSSURYHGIRUKXPDQVDQGGDWD

JHQHUDWHGLQWKHGHYHORSPHQWRIFRURQDYLUXVYDFFLQHVGHVLJQHGWRHOLFLWQHXWUDOL]LQJDQWLERGLHV

VKRZWKDWWKH\PD\ZRUVHQ&29,'GLVHDVHYLDDQWLERG\GHSHQGHQWHQKDQFHPHQW $'( DQG

7KLPPXQRSDWKRORJ\UHJDUGOHVVRIWKHYDFFLQHSODWIRUPDQGGHOLYHU\PHWKRG

              ,Q0DUFKYDFFLQHLPPXQRORJLVWVDQGFRURQDYLUXVH[SHUWVDVVHVVHG6$56

&R9YDFFLQHULVNVEDVHGRQ6$56&R9YDFFLQHWULDOVLQDQLPDOPRGHOV7KHH[SHUWJURXS

FRQFOXGHG WKDW $'( DQG LPPXQRSDWKRORJ\ ZHUH D UHDO FRQFHUQ EXW VWDWHG WKDW WKHLU ULVN ZDV

LQVXIILFLHQWWRGHOD\FOLQLFDOWULDOVDOWKRXJKFRQWLQXHGPRQLWRULQJZRXOGEHQHFHVVDU\

         % 6DIHW\&RQFHUQV5HJDUGLQJWKH3IL]HU9DFFLQH

              7KH ODFN RI WKRURXJK WHVWLQJ LQ DQLPDOV SULRU WR FOLQLFDO WULDOV FRXSOHG ZLWK

DXWKRUL]DWLRQEDVHGRQVDIHW\GDWDJHQHUDWHGGXULQJWULDOVWKDWODVWHGOHVVWKDQPRQWKVUDLVHV

TXHVWLRQV UHJDUGLQJ WKH VDIHW\ RI WKHVH YDFFLQHV  7KH UHFHQWO\ LGHQWLILHG UROH RI 6$56&R9




2 &RQQHOO53'HR0HWDO7KHLRQLFEDVHVRIWKHDFWLRQSRWHQWLDOLQLVRODWHGPRXVHFDUGLDF3XUNLQMHFHOO+HDUW
5K\WKP  GRLMKUWKP3HUHWWR*6DOD65L]]R6'H/XFD*&DPSRFKLDUR
&6DUWRUHOOL6%HQHGHWWL*3DOPLVDQR$(VSRVLWR$7UHVROGL07KLHQH*%DVVR&'HOOD%HOOD3$UUK\WKPLDVLQ
P\RFDUGLWLV6WDWHRIWKHDUW+HDUW5K\WKP0D\  GRLMKUWKP(SXE
1RY30,'0F&XOORXJK3$.HOO\5-5XRFFR*/HUPD(7XPOLQ-:KHHODQ.5.DW]1/HSRU
1(9LMD\.&DUWHU+6LQJK%0F&XOORXJK63%KDPEL%.3DOD]]XROL$'H)HUUDUL*00LOOLJDQ*36DIGHU7
7HFVRQ.0:DQJ''0F.LQQRQ-(2 1HLOO::=HUYRV05LVFK+$3DWKRSK\VLRORJLFDO%DVLVDQG5DWLRQDOH
IRU (DUO\ 2XWSDWLHQW 7UHDWPHQW RI 6$56&R9 &29,'  ,QIHFWLRQ $P - 0HG  -DQ   GRL
MDPMPHG (SXE  $XJ  30,' 30&,' 30& 0F&XOORXJK 3$
$OH[DQGHU3($UPVWURQJ5$UYLQWH&%DLQ$) %DUWOHWW 53%HUNRZLW] 5/%HUU\$&%RURG\7-%UHZHU-+
%UXIVN\$0&ODUNH7'HUZDQG5(FN$(FN-(LVQHU5$)DUHHG*&)DUHOOD$)RQVHFD616*H\HU&(-U
*RQQHULQJ56*UDYHV.(*URVV.%9+D]DQ6+HOG.6+LJKW+7,PPDQXHO6-DFREV00/DGDSR-$/HH/+
/LWWHOO-/R]DQR,0DQJDW+60DUEOH%0F.LQQRQ-(0HUULWW/'2ULHQW-02VNRXL53RPSDQ'&3URFWHU%&
3URGURPRV&5DMWHU-&5DMWHU--5DP&965LRV665LVFK+$5REE0-$5XWKHUIRUG06FKRO]06LQJOHWRQ
00 7XPOLQ -$ 7\VRQ %0 8UVR 5* 9LFWRU\ . 9OLHW (/ :D[ &0 :RONRII $* :RROO 9 =HOHQNR 9
0XOWLIDFHWHG KLJKO\ WDUJHWHG VHTXHQWLDO PXOWLGUXJ WUHDWPHQW RI HDUO\ DPEXODWRU\ KLJKULVN 6$56&R9 LQIHFWLRQ
 &29,' 5HY&DUGLRYDVF0HG'HF  GRLMUFP30,'
0F&XOORXJK 3$ 9LMD\ . 6$56&R9 LQIHFWLRQ DQG WKH &29,' SDQGHPLF D FDOO WR DFWLRQ IRU WKHUDS\ DQG
LQWHUYHQWLRQVWRUHVROYHWKHFULVLVRIKRVSLWDOL]DWLRQGHDWKDQGKDQGOHWKHDIWHUPDWK5HY&DUGLRYDVF0HG0DU
  GRLMUFP30,'
                                                           





                                                                                                              App000160
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                       Page 163 of 633 PageID 889



JO\FRSURWHLQVSLNHIRULQGXFLQJHQGRWKHOLDOGDPDJHFKDUDFWHULVWLFRI&29,'HYHQLQDEVHQFH

RI LQIHFWLRQ LV H[WUHPHO\ UHOHYDQW WKDW PRVW RI WKH DXWKRUL]HG YDFFLQHV LQGXFH WKH VSLNH

JO\FRSURWHLQVLQWKHUHFLSLHQWV

            ,QWKH9DFFLQH$GYHUVH(YHQW5HSRUWLQJ6\VWHP 9$(56 ZDVHVWDEOLVKHG

DVDQDWLRQDOHDUO\ZDUQLQJV\VWHPWRGHWHFWSRVVLEOHVDIHW\SUREOHPVLQ86OLFHQVHGYDFFLQHV

9$(56 LV D SDVVLYH UHSRUWLQJ V\VWHP PHDQLQJ LW UHOLHV RQ LQGLYLGXDOV WR YROXQWDULO\ VHQG LQ

UHSRUWV RI WKHLU H[SHULHQFHV WR WKH &'& DQG )'$  9$(56 LV XVHIXO LQ GHWHFWLQJ XQXVXDO RU

XQH[SHFWHGSDWWHUQVRIDGYHUVHHYHQWUHSRUWLQJWKDWPLJKWLQGLFDWHDSRVVLEOHVDIHW\SUREOHPZLWK

DYDFFLQH

            7KHDYHUDJHQXPEHURIWRWDOUHSRUWVWR9$(56IRUVHULRXVLQMXULHVIURPDOOYDFFLQHV

SHU \HDU EHWZHHQ  DQG  ZDV DSSUR[LPDWHO\  ZKLOH WKH WRWDO VDIHW\ UHSRUWV LQ

9$(56 IRU VHULRXV LQMXULHV IURP MXVW WKH &29,' 9DFFLQH WKURXJK 1RYHPEHU   LV

DSSUR[LPDWHO\7KLVLQFOXGHVUHSRUWVRIGHDWKDQGKRVSLWDOL]DWLRQV%\

FRPSDULVRQGXULQJWKH\HDUVSULRUWRLQWURGXFWLRQRIWKH&29,'YDFFLQH9$(56UHFHLYHG

D WRWDO RI  UHSRUWV RI GHDWKV DQ DYHUDJH RI  GHDWKV SHU \HDU  DQG  UHSRUWV RI

KRVSLWDOL]DWLRQV DQDYHUDJHRIKRVSLWDOL]DWLRQVSHU\HDU DQGWKDWZDVDOOYDFFLQHVFRPELQHG

7KXVWKH&29,'PDVVYDFFLQDWLRQLVDVVRFLDWHGZLWKDWOHDVWDIROGLQFUHDVHLQDQQXDOL]HG

YDFFLQH GHDWKV UHSRUWHG WR 9$(56 DQGIROGLQFUHDVHLQDQQXDOL]HG YDFFLQH KRVSLWDOL]DWLRQV

UHSRUWHGWR9$(56

            *LYHQWKHKLJKUDWHRIRFFXUUHQFHRIDGYHUVHHIIHFWVDQGWKHZLGHUDQJHRIW\SHVRI

DGYHUVHHIIHFWVWKDWKDYHEHHQUHSRUWHGWRGDWHDVZHOODVWKHSRWHQWLDOIRUYDFFLQHGULYHQGLVHDVH

HQKDQFHPHQW7KLPPXQRSDWKRORJ\DXWRLPPXQLW\DQGLPPXQHHYDVLRQWKHUHLVDQHHGIRUD




                                                                                                  App000161
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                       Page 164 of 633 PageID 890



EHWWHU XQGHUVWDQGLQJ RI WKH EHQHILWV DQG ULVNV RI PDVV YDFFLQDWLRQ WKDW FDQ RQO\ FRPH IURP D

WKRURXJKUHYLHZRIWKHFRPSOHWHGDWDVXEPLWWHGE\3IL]HU

        & 7KHUHLVD1HHGIRUWKH(QWLUH8QLYHUVHRI'DWD

            6FLHQWLVWV DQG KHDOWKFDUH SURIHVVLRQDOV QHHGDOORI WKH GRFXPHQWV VXEPLWWHG E\

3IL]HUWRFRQGXFWDSURSHUDQDO\VLVRIWKH&29,'YDFFLQHVDQGWKHSUHVHQWDQGSRWHQWLDODGYHUVH

HYHQWVUHVXOWLQJIURPPDVVYDFFLQDWLRQSURWRFROV0LVVLQJHYHQDVLQJOHGDWDVHWFRXOGLQDFFXUDWHO\

VNHZ DQ\ DWWHPSW DW PHDQLQJIXO DQDO\VLV  $OO VFLHQWLILF DQDO\VHV UHO\ RQ FRPSOHWH VHWV RI

LQIRUPDWLRQ IURP WKH FRQFHSWLRQ RI K\SRWKHVLV WHVWLQJ SURWRFRO GHYHORSPHQW DQG DSSURYDO

LQLWLDWLRQRILPSOHPHQWDWLRQEDVHOLQHDVVHVVPHQWDQGH[FOXVLRQVDGPLQLVWUDWLRQRIWKHWHVWDUWLFOH

H[SHULPHQWDODQGFOLQLFDOREVHUYDWLRQVFULWLFDOHYHQWFROOHFWLRQDQGDGMXGLFDWLRQGDWDVDIHW\DQG

FOLQLFDO LQYHVWLJDWLRQ LQWHJULW\ PRQLWRULQJ GDWD V\QWKHVLV VWDWLVWLFDO DQDO\VLV H[SHULPHQWDO DQG

FOLQLFDO LQIHUHQFH DQG JHQHUDOL]DELOLW\ $V D UHVXOW RI WKLV SURFHVV DOO GRFXPHQWV ZLWKRXW

H[FHSWLRQDUHUHTXLUHGWRSHUIRUPDFRPSUHKHQVLYHHYDOXDWLRQRIWKHYDFFLQHVDGYHUVHHYHQWV

DQGWKHRYHUDOOEHQHILWDQGULVNSRVHGLQVXESRSXODWLRQVLQGLIIHUHQWDJHFRKRUWVDQGWRSXEOLF

KHDOWKLQJHQHUDO

            7KH)'$SURYLGHGDQLQGH[OLVWLQJRIWKHGRFXPHQWVZLWKLQWKHSURGXFW¶VOLFHQVXUH

DSSOLFDWLRQKRZHYHUWKHLQIRUPDWLRQSURYLGHGDERXWWKHGRFXPHQWVLVQRWGHWDLOHGHQRXJKIRURQH

WREHDEOHWRSULRULWL]HSURGXFWLRQDQGWRDVFHUWDLQZKDWZRXOGEHQHHGHGLQRUGHUWRFRPSOHWHDQ

DGHTXDWHDQGDSSURSULDWHDVVHVVPHQW

        ' 7KH1HHGIRUWKH'DWDLV,PPHGLDWH

            ,WLVFULWLFDOWKDWWKHVHGRFXPHQWVDUHSXEOLFO\UHOHDVHGDVVRRQDVSRVVLEOH7KH

FRPELQHGIDLOXUHRI&29,'YDFFLQHSURWHFWLRQWRODVWHYHQVL[PRQWKVDQGWKHFDWDVWURSKLF

QXPEHU RI VHULRXV DGYHUVH HYHQWV UHSRUWHG KDYH FUHDWHG DQ XUJHQW QHHG IRU WKH VFLHQWLILF




                                                                                                  App000162
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 165 of 633 PageID 891



FRPPXQLW\WRVWXG\DQGWKHSXEOLFWRXQGHUVWDQGZKDWKDVJRQHZURQJLQWKH8QLWHG6WDWHVDQG

KRZZHFDQUHPHG\WKHSXEOLF&29,'YDFFLQHSURJUDPFXUUHQWO\EHLQJDGPLQLVWHUHGE\WKH

&'&)'$

             (YLGHQFH RQ WKH VDIHW\ RI DOO 6$56&R9 YDFFLQHV LV QHHGHG EHIRUH H[SRVLQJ

\RXQJFKLOGUHQWRWKLVSURGXFWDQGPRUHSHRSOHWRWKHULVNRIUHSHDWHGERRVWHUVVLQFHIDLOLQJWR

WLPHO\SURSHUO\DQGLQGHSHQGHQWO\VWXG\WKHVHLPSOLFDWLRQVFRXOGOHDGWRDQH[DFHUEDWLRQRIWKH

FXUUHQWJOREDOFULVLVDQGDVHULRXVWKUHDWWR$PHULFDQVHFXULW\LQFOXGLQJLQWHUJHQHUDWLRQDOO\)RU

H[DPSOHULVNVWUDWLILFDWLRQRIYDFFLQHUHFLSLHQWVLVRIFULWLFDOLPSRUWDQFHEXWWKHGDWDWRSURSHUO\

DQDO\]HVDPHLVEHLQJZLWKKHOGIURPWKHVFLHQWLILFFRPPXQLW\E\WKH)'$

             ,QGHSHQGHQWUHYLHZLVHVVHQWLDOWRVFLHQWLILFLQWHJULW\DQGWKHSURWHFWLRQRIKXPDQ

VXEMHFWV $Q RSHQ VFLHQWLILF GLDORJXH LV XUJHQW DQG LQGLVSHQVDEOH WR DYRLG HURVLRQ RI SXEOLF

FRQILGHQFHLQVFLHQFHDQGSXEOLFKHDOWKDQGWRHQVXUHWKDWQDWLRQDOKHDOWKDXWKRULWLHVSURWHFWWKH

LQWHUHVWVRIKXPDQLW\GXULQJWKHFXUUHQWSDQGHPLF5HWXUQLQJSXEOLFKHDOWKSROLF\WRHYLGHQFH

EDVHGPHGLFLQHWKDWUHOLHVRQDFDUHIXOHYDOXDWLRQRIWKHUHOHYDQWVFLHQWLILFUHVHDUFKLVLPSHUDWLYH



,GHFODUHXQGHUSHQDOW\RISHUMXU\XQGHUWKHODZVRIWKH8QLWHG6WDWHVRI$PHULFDWKDWWKHIRUHJRLQJ
                           WK                            'DOODV           7;
LVWUXHDQGFRUUHFWWKLVBBBBBBGD\RI'HFHPEHUDWBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         

                                                                                        
                                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                        BBBBBBBBBBBBBBBBBBBB
                                                           BBBBBBB
                                                           BB
                                        3HWHU0F&XOORXJK0'03+
                                        3HWHU0F&XOORXJK0'
                                                           ' 0
                                                                033+

                                                     




                                                                                                 App000163
Case 4:21-cv-01058-P Document 27 Filed 12/07/21     Page 166 of 633 PageID 892




         Curriculum Vitae of Peter McCullough, MD, MPH
                     (Exhibit A to McCullough Declaration)




                                                                       App000164
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 167 of 633 PageID 893




                                   Tuesday, October 6, 2021
                                     CURRICULUM VITAE


         PETER A. McCULLOUGH, MD, MPH, FACC, FCCP, FAHA, FNKF, FNLA, FCRSA

     Business
                           HeartPlace
                           3409 Worth Street, #500
                           Dallas TX 75246
                           Desk: 214-841-2000
                           Cell: 248-444-6905
                           e-mail: PeterAMcCullough@gmail.com

     Home                  5231 Richard Avenue
                           Dallas, TX 75206

     Birth date            December 29, 1962
     Birthplace            Buffalo, NY, USA


EDUCATION

   1) Certificate of Graduate Liberal Arts Studies: Southern Methodist University, December 17,
      2016, principal faculty Dr. Anthony Picchioni, PhD, Adjunct Professor in Human
      Development, P.O. Box 750181, Dallas, TX 75275, 214-768-3417, www.smu.edu
      x Graduated with Honor

   2) Master of Public Health: University of Michigan School of Public Health, August 19, 1994,
      Dean Noreen M. Clark, PhD, 109 Observatory Street, Ann Arbor, MI 48109-2029, phone
      734-764-5454, www.sph.umich.edu
       x Major: General Epidemiology

   3) Doctor of Medicine: University of Texas Southwestern Medical School, June 4, 1988, Dean
      Bryan M. Williams, MD, 5323 Harry Hines Boulevard, Dallas, TX 75235-9070, 214-648-3111,
      http://www.utsouthwestern.edu/education/medical-school/
      x Clinical year rank of 1 in 199, overall rank in class of 12 in 199
      x Alpha Omega Alpha Texas Gamma Chapter, installed March 17, 1988

   4) Bachelor of Science: Baylor University, May 18, 1984, Chancellor Abner McCall, PhD, Office
      of the Registrar, Waco, TX 76798-7056, 254-710-1181, http://www.baylor.edu/
      x Double-major: Biology and Psychology
      x Graduated with Honor, degree rank of 29 in 131, university rank of 127 in 1,152


                                                                                     App000165
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 168 of 633 PageID 894



      x   Alpha Lambda Delta Freshman Honorary, installed March 19, 1981

POSTGRADUATE TRAINING

   1) Cardiovascular Diseases Fellowship: William Beaumont Hospital (WBH) (presently Oakland
      University William Beaumont School of Medicine), Division of Cardiology, 3601 W. Thirteen
      Mile Rd, Royal Oak, MI 48073, 248-551-4198, 7-1-94 to 6-30-97, Chief Cardiovascular
      Fellow for 1996-97, William W. O’Neill, MD, Program Director and Division Chief

   2) Internal Medicine Residency: University of Washington School of Medicine, Department of
      Internal Medicine, 1959 NE Pacific, Seattle, WA 98195, (206) 543-3239, 3-year traditional
      track, 7-1-88 to 6-30-91, James F. Wallace, MD, Program Director, Paul G. Ramsey, MD,
      Chairman of Medicine

PROFESSIONAL EXPERIENCE

   HeartPlace , 3409 Worth Street, Suite 500, Dallas TX 75246, March 1, 2021.

   Positions Held:   1) Attending Physician

   Baylor Scott and White Health, Baylor Health Care System, Baylor University Medical Center
   (BUMC), Baylor Heart and Vascular Institute, Baylor Jack and Jane Hamilton Heart and Vascular
   Hospital, Dallas TX, Texas A & M University College of Medicine, Department of Medicine,
   Division of Cardiology, Baylor Heart and Vascular Institute, 621 N. Hall St., #H030, Dallas, TX
   75226, February 3, 2014 to February 25, 2021. Cardiovascular Governance Council, Kevin
   Wheelan, MD, Cardiology Division Chief and Chief Medical Officer, Heart Institute Office (214)
   820-7500

   Positions Previously Held:
                    1) Professor in the Principal Faculty, Non-Tenure Track in the Department of
                    Internal Medicine, Texas A & M University Health Sciences Center (2016-
                    2021)
                    2) Chief of Cardiovascular Research (2014-2021)
                    3) Program Director, BUMC Cardiovascular Diseases Fellowship Program
                    (2014-2021)
                    4) Vice Chief, BUMC Internal Medicine (2016-2021)

   St. John Providence Health System, Providence Park Heart Institute, Department of Medicine,
   Cardiology Section, 47601 Grand River Avenue, Suite B-125, Novi, MI 48374, September 1,
   2010 to July 19, 2013. Department of Medicine Chair, Anibal Drelichman, MD: 248-849-3152,
   Cardiology Section Chief: Shukri David, MD, 248-465-5955

   Positions Previously Held:




                                                                                      App000166
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 169 of 633 PageID 895



                    1) Chief Academic and Scientific Officer (Academic Dean Equivalent), St. John
                    Providence Health System, (2010 to 2013)
                    2) Medical Director, Clinical Lipidology, Department of Medicine, Cardiology
                    Section (2010 to 2013)

   William Beaumont Hospital, Department of Internal Medicine, Divisions of Nutrition and
   Preventive Medicine, Department of Cardiology, 3601 West Thirteen Mile Road, Royal Oak, MI
   48073, October 1, 2002 to 2010. Department of Medicine Chair: Michael A. Maddens, M.D.,
   248-551-0622, Department of Cardiology Chair: David E. Haines, M.D., 248-858-0404

   Oakland University William Beaumont School of Medicine, 472 O'Dowd Hall
   2200 N. Squirrel, Rochester, MI 48309, Robert Folberg, MD, Medical School Dean, Kenneth
   Hightower, PhD, Dean of Allied Health Sciences, 248-370-3562. Clinical Professor of Health
   Sciences and Medicine (2007 to 2010)

   Positions Previously Held:
                    1) Consultant Cardiologist and Chief, Division of Nutrition and Preventive
                                     Medicine (2002 to 2010), Department of Internal Medicine
                    2) Medical Director, Preventive Cardiology (2002 to 2010)
                    3) Medical Director, Lipid Apheresis Program (2007 to 2010)
                    4) Medical Director, Weight Control Center (2002-2005)

   University of Missouri-Kansas City (UMKC) School of Medicine, Truman Medical Center,
   Department of Medicine, Cardiology Section, 2301 Holmes St., Kansas City, MO 64108. August
   18, 2000-September 30, 2002. Department of Medicine Chair: George R. Reisz, M.D, 816-556-
   3450

   Positions Previously Held:
                     1) Associate Professor of Medicine (Tenure Track) and Cardiology Section
                               Chief (2000-2002)

   Henry Ford Health System (HFHS), Henry Ford Heart and Vascular Institute, 2799 W. Grand
   Blvd., K-14, Detroit, MI 48202, July 1, 1997 to August 16, 2000. Cardiovascular Division Head:
   W. Douglas Weaver, M.D, 800-653-6568

   Positions Previously Held:
                     1) Assistant Professor of Medicine (Tenure Track), Case Western Reserve
                     University School of Medicine, and HFHVI Senior Staff Cardiologist
                     Medical Director, Preventive Cardiology, 1999-2000
                     2) Program Director, Cardiovascular Diseases Fellowship Training Program,
                     1999-2000
                     3) Director of Cardiovascular Informatics Section, 1997-2000
                     4) Associate Director of the Center for Clinical Effectiveness, 1997-99




                                                                                     App000167
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 170 of 633 PageID 896



                     5) Associate Director of the Cardiovascular Diseases Fellowship Program,
                     1998-99

   Emergency Physicians Medical Group, PC, 2000 Green Road, Suite 300, Ann Arbor, MI 48105,
   800-466-3764. Emergency medicine attending at Mission Health McPherson Hospital, Howell,
   1991-1997; Oakwood Beyer Hospital Center, Ypsilanti 1991-1997, and Mercy Hospital, Grayling
   1991-1992

   Positions Previously Held:
                    1) Associate Member
                    2) Washtenaw County Human Services Deputy Medical Examiner, 1995-1996

   Mercy Internal Medicine Associates, 308 Michigan Avenue, Grayling, MI 49738, Mercy
   Hospital-Grayling, 1100 Michigan Avenue, Grayling, MI 49738, 517-348-5461. Internal
   medicine attending at Mercy Hospital, Grayling, MI, 1991-1992

   Positions Previously Held:
                    1) Coronary Care Unit Director
                    2) Physician Director of Cardiopulmonary Services

SPECIAL TRAINING

   1) The Healthcare Forum Cardiovascular Health Fellowship, 1998-99
   2) American Heart Association (AHA), 23rd 10-Day U.S. Seminar on the Epidemiology and
       Prevention of Cardiovascular Disease, July-August, 1997
   3) University of Michigan Summer Session in Epidemiology, 1997-99
   4) Stanford University Course on Medical Informatics, Palo Alto, CA, June, 1997
   5) Current Practice of Vascular Ultrasound 3-Day Course, Chicago, IL, April, 1997
   6) Advanced Pacemaker Concepts Course, CPI, Inc., Lansing, MI, 1995
   7) Pacesetter Comprehensive Pacemaker 4-Day Course, Santa Fe, NM, 1997
   8) Medtronic Bakken Education Tutorial and Medtronic Applied Physiological Research
       Laboratory Lead Implantation Training and Biventricular Implantation Training (2 sessions),
       Minneapolis, MN, 2001-2002
   9) 2004 ASCeXAM Review Course, American Society of Echocardiography, San Francisco, CA,
       April 22-24, 2004
   10) National Lipid Association Masters Course in Clinical Lipidology, Hilton Head, SC, August 21-
       23, 2008

CERTIFICATION AND LICENSURE

   1) Licensed in the State of Washington 1988-1997 (#MD00027562), Michigan expires January
      31, 2022 (#4301058147), and New York 1992 to present (#189283 inactive status), Missouri
      2000-2002 (#2000165365 inactive status) and Texas expires May 31, 2022 (#P9222)




                                                                                       App000168
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 171 of 633 PageID 897



   2) FLEX passed April 4, 1990, State of Washington, Department of Health, Board of Medical
      Examiners
   3) Diplomate, American Board of Internal Medicine, Candidate #136084, September, 25, 1991,
      recertified May 1, 2001, recertified June 10, 2011, recertified April 6, 2021, valid through
      2031, 510 Walnut Street, Suite 1700, Philadelphia, PA 19106-3699
   4) Diplomate, American Board of Internal Medicine, Cardiovascular Diseases Subspecialty,
      Candidate #136084, November, 1997, valid through 2007, recertified October 1, 2007, valid
      through 2017, recertified September 28, 2017, valid through 2027, 510 Walnut Street, Suite
      1700, Philadelphia, PA 19106-3699
   5) Diplomate, American Board of Clinical Lipidology, September 27, 2008, 6816 Southpoint
      Parkway, Suite 1000, Jacksonville, FL 32216. Fellow, National Lipid Association
   6) National Board of Echocardiography (NBE), Examination of Special Competence in Adult
      Echocardiography, 2004-2014 expired
   7) Diplomate, American Board of Forensic Examiners, July 16, 1996, no expiration date

RECOGNITION

   Teaching:
  1. Henry Ford Hospital, 1999 Chief Medical Resident's Best Teacher Award

   Research:
  1. Chest Foundation Young Investigator Award 2001, Philadelphia, PA, November 7, 2001,
     President’s International Awards Ceremony

  2. National Kidney Foundation (NKF) of Michigan, Innovations in Health Care Award Finalist
     2008, East Lansing, MI, April 17, 2008

  3. American College of Cardiology (ACC) Simon Dack Award for Scholarly Excellence by the
     Journal of the American College of Cardiology, March 5, 2009

  4. 11th International Vicenza Award in Critical Care Nephrology, International Renal Research
     Institute, Vicenza, Italy, June 11, 2013

   Postgraduate:
  1. Founding Fellow, Cardiorenal Society of America, March 2016
  2. Fellow, National Lipid Association, January, 2013
  3. Fellow, National Kidney Foundation, January, 2012
  4. Fellow, American College of Chest Physicians, February, 2001
  5. Fellow, American College of Physicians, January, 2001 to September, 2021
  6. Fellow, American College of Cardiology, February, 1999

AFFILIATIONS

   1) Alpha Omega Alpha, National Honor Medical Society, 1988 to present



                                                                                     App000169
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 172 of 633 PageID 898



   2) American College of Emergency Physicians, Member, 1992-1994
   3) American College of Forensic Examiners, Member 1996 to present
   4) AHA, Council on Epidemiology and Prevention, 1995 to present
   5) AHA, Grassroots Network, 1998-2000.
   6) Central Society for Clinical Research, Member, 1999-2000
   7) Council on Geriatric Cardiology, Member 1996-1997
   8) Michigan Chapter of the ACC, Chair, Annual Cardiology Board Review, 1999-2000
   9) Michigan State Medical Society, Member, 1997-2000, 2004 to 2009
   10) The American Medical Informatics Association, 1997-2000
   11) The Health Forum, Charter Cardiovascular Health Charter Alumni Representative, 1998 to
       2002
   12) Cardiorenal Society of America, Founding Executive Board Member, 2013 to present, Vice
       President 2014-2016, President 2016 to present
   13) Dallas County Medical Society, 2014 to present
   14) Texas Medical Association, 2014 to present
   15) Baylor Alumni Association, 2015 to present
   16) New York Academy of Sciences, 2016 to present
   17) Truth for Health Foundation, Founding Executive Board Member, Chief Medical Advisor,
       2021 to present

EDITORIAL RESPONSIBILITIES

   1) Advances in Chronic Kidney Disease, Editorial Board Member, 2003-present. [referenced
       through Elsevier Bibliographic Database, EMBASE/Excerpta Medica, MEDLINE]
   2) American Journal of Cardiology, Associate Editor, 2014 to present
   3) American Journal of Kidney Disease, [referenced through Elsevier Bibliographic Database,
       EMBASE/Excerpta Medica, MEDLINE] Associate Editor, 2006 to 2019, Guest Editor, 2011,
       2012
   4) Arquivos Brasileiros de Cardiologia, International Editorial Board, 2006 to present
   5) Biocritique, Editorial Board, 2001 to 2013, www.biocritique.com
   6) Blood Purification, Editorial Board 2018 to present
   7) Cardiovascular Clinician, Editorial Board, 2011 to 2013, internet site,
       CARDIOVASCULARClinician.com™
   8) Cardiovascular Diagnosis and Therapy (CDT), Editorial Board (Print ISSN: 2223-3652; Online
       ISSN: 2223-3660, 2012 to present
   9) Cardiovascular Innovations and Applications (CVIA), Editorial Board 2015 to present
   10) Cardiorenal Medicine, Associate Editor, 2016-2017, Editor-in-Chief 2018 to 2021
   11) Circulation, Editorial Board, 2016 to present
   12) Circulation Heart Failure, Editorial Board, 2008 to present, Associate Editor, 2008 to 2016,
       Guest Editor 2010, 2011, 2012
   13) Clinical Exercise Physiology, Clinical Consultant to the Editorial Board, 1998-2002.
   14) Cochrane Renal Group Module, 2008, Editorial Contributor, Centre for Kidney Research, The
       Children’s Hospital at Westmead, Westmead NSW, Australia




                                                                                      App000170
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 173 of 633 PageID 899



   15) Expert Review of Cardiovascular Therapy, Editorial Advisory Panel, 2002 to present,
   www.future-drugs.com
   16) Journal of the American College of Cardiology, Editorial Consultant, 2003-present. “Elite
   Reviewer” Recognition, 2004, 2005, 2006, 2007, 2008, 2011, 2014, 2016 (DeMaria AN. The elite
   reviewer. J Am Coll Cardiol 2003;41(1):157-8.)
   17) Journal of Geriatric Cardiology, Editorial Board Member, 2003-present. The Institute of
       Geriatric Cardiology, Chinese PLA Hospital, Beijing. [Joint China-U.S.A. publication]
   18) Journal of Biorepository Science for Applied Medicine, Honorary Editorial Board, 2012 to
       2018
   19) Journal of Clinical & Experimental Cardiology, OMICS Publishing Group, Open Access,
       CrossRef, PubMed, DOAJ, Index Copernicus, Scientific Commons, EBSCO, 2010 to 2017
   20) Journal of Diabetes & Metabolism, OMICS Publishing Group, Open Access, 2010 to 2017
   21) Journal of Interventional Cardiology, “News and Views”, Section Editor, 2000-2003.
       Editorial Board Member, 2003 to present
   22) Journal of Nephrology and Therapeutics, Editorial Board, OMICS Publishing Group, Editorial
       Board, 2010 to 2017
   23) Reviews in Cardiovascular Medicine, MedReviews, LLC, www.medreviews.com “Cardiorenal
       Function,” Section Editor, 2001-2002, Associate Editor, 2003-2009, Co-Editor, 2009 to
       present
   24) The American College of Cardiology Foundation ACCEL Audio Journal, Editorial Board 2008
       to present
   25) The Open Atherosclerosis & Thrombosis Journal, [referenced through Bentham Open,
       PubMed, Google and Google Scholar] Editorial Board, 2008 to 2012
   26) The Open Heart Failure Journal, [referenced through Bentham Open, PubMed, Google and
       Google Scholar] Editorial Board, 2008 to 2010
   27) Therapy, [referenced through Elsevier Bibliographic Database, EMBASE/Excerpta Medica,
       MEDLINE], Editorial Board, 2008 to 2010

   Manuscript Reviewer

   1) Advances in Chronic Kidney Disease, 2004 to present (18)
   2) Advances in Medical Sciences, 2012 to present (2)
   3) Advances in Therapy, 2008 to present (1).
   4) American Family Physician, 2004 to present (2)
   5) American Journal of Cardiovascular Drugs, 2002 to present. (2)
   6) American Heart Journal (AHJ), 1998 to present (22)
   7) American Journal of Cardiology (AJC), 1999 to present (60)
   8) American Journal of Human Biology, 2014 to present (1)
   9) American Journal of Hypertension, 2011 to present (1)
   10) American Journal of Kidney Diseases (AJKD), 2002 to present (30)
   11) American Journal of Medicine (AJM), 1997 to present (7)
   12) American Journal of the Medical Sciences (AJMS), 2006 to present (3)
   13) American Journal of Nephrology, 2004 to present (24)
   14) American Journal of Physiology: Renal Physiology, 2006 to present (2)



                                                                                    App000171
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 174 of 633 PageID 900



   15) American Journal of Transplantation, 2004 to present (1)
   16) Annals of Epidemiology, 2004 to present (1)
   17) Annals of Internal Medicine, 2008 to present (3)
   18) Annals of Noninvasive Electrocardiology, 2009 to present (1)
   19) Antimicrobial Agents and Chemotherapy, 2020 to present (1)
   20) Archives of Internal Medicine, 2004 to present (2)
   21) Archives of Pathology and Laboratory Medicine, 2007 to present (1)
   22) Arteriosclerosis, Thrombosis, and Vascular Biology, 2010 to present (2)
   23) Autonomic Neuroscience: Basic and Clinical, 2007 to present (1)
   24) BUMC Proceedings, 2012 to present (3)
   25) Biochemia Medica, 2012 to present (1)
   26) Biomed Central (BMC) Medical Imaging, 2010 to present (1)
   27) Blood Purification, 2010 to present (2)
   28) BMC Medicine, 2007 to present (1)
   29) BMC Nephrology, 2011 to present (1)
   30) BMJ Clinical Evidence, 2008 to present (1)
   31) British Medical Journal (BMJ), 2009 to present (1)
   32) Canadian Medical Association Journal (CMAJ), 2006 to present (3)
   33) Cardiac Failure Review, 2015 to present (1)
   34) Cardiology, 2007 to present (1)
   35) Cardiorenal Medicine; 2013 to present (10)
   36) Cardiovascular Innovations and Applications, 2016 to present (1)
   37) Cardiovascular Therapeutics, 2010 to present (1)
   38) Catheterization and Cardiovascular Interventions, 2000 to present (6)
   39) Chest, 2000 to present (6)
   40) Circulation, 1998 to present (100)
   41) Circulation Cardiovascular Interventions, 2012 to present (1)
   42) Circulation Cardiovascular Quality and Outcomes, 2010 to present (1)
   43) Circulation Heart Failure, 2009 to present (4)
   44) Circulation Imaging, 2012 to present (1)
   45) Cleveland Clinic Journal of Medicine, 2008 to present (1)
   46) Clinica Chimica Acta, 2013 (1)
   47) Clinical Cardiology, 2001 (3)
   48) Clinical Chemistry and Laboratory Medicine, 2010 to present (2)
   49) Clinical Exercise Physiology, 2000-2002 (4)
   50) Clinical Journal of the American Society of Nephrology 2008 to present (3)
   51) Clinical Kidney Journal, 2012 to present (1)
   52) Clinical Medicine and Research, 2008 to present (1)
   53) Clinical Nephrology, 2008 to present (2)
   54) Clinical Physiology and Functional Imaging, 2010 to present (1)
   55) Clinical Researcher, 2002 to present (1)
   56) Clinics, 2010 to present (1)
   57) Cochrane Collaboration,2009 to present (2)
   58) Congestive Heart Failure, 2005 to present (4)



                                                                                    App000172
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 175 of 633 PageID 901



   59) Coronary Artery Disease, 2005 to present (1)
   60) Critical Care Medicine, 2008 to present (2)
   61) Current Medical Research and Opinion, 2005 to present (1)
   62) Diabetes Care, 2011 to present (2)
   63) Diabetes and Vascular Disease Research, 2011 to present (1)
   64) Diabetes, Obesity, and Metabolism, 2019 to present (1)
   65) Diabetic Medicine, 2008 to present (1)
   66) Drug Benefit Trends, 1999 (1)
   67) Drugs, 2000 (2)
   68) European Heart Journal, 1995 (12)
   69) European Journal of Cardiovascular Prevention and Rehabilitation, 2006 (1)
   70) European Journal of Heart Failure, 2012 (4)
   71) Expert Opinion on Pharmacotherapy, 2003 to present (3)
   72) Expert Opinion Therapeutic Patents, 2004 to present (1)
   73) Expert Review of Cardiovascular Therapy, 2008 to present (2)
   74) Global Heart, 2012 (1)
   75) Heart, 2004 (2)
   76) Heart and Vessels, 2007 (2)
   77) Hemodialysis International 2013 (2)
   78) Internal Medicine Journal (Australasia), 2009 to present (1)

   79) International Journal of Infectious Diseases 2020 to present (2)
   80) International Journal of Nephrology, 2010 to present (2)
   81) Journal of Biomarkers, 2013 (1)
   82) Journal of Geriatric Cardiology, 2017 (1)
   83) International Journal of Infectious Diseases, 2021 to present (3)
   84) Journal of Internal Medicine, 2009 to present (1)
   85) Journal of Interventional Cardiology (JIC), 1996 to present (9)
   86) Journal of the American College of Cardiology (JACC), 1998 to present (228)
   87) Journal of the American College of Cardiology: Heart Failure (JACC Heart Fail), 2014 to
       present (12)
   88) Journal of the American College of Cardiology: Imaging (JACC Imag), 2014 to present (6)
   89) Journal of the American College of Cardiology: Interventions (JACC Interv), 2010 to present
       (10)
   90) Journal of the American Medical Association (JAMA), 2002 to present (60)
   91) Journal of the American Medical Association Cardiology (JAMA Cardiology), 2016 to present
       (20)
   92) Journal of the American Society of Echocardiography (JASE), 2009 to present (1)
   93) Journal of the American Society of Nephrology (JASN) 2005 to present (14)
   94) Journal of Cardiac Failure, 2003 to present (10)
   95) Journal of Clinical Outcomes Management, 2011 to present (1)
   96) Journal of Critical Care, 2011, to present (1)
   97) Journal of General Internal Medicine, 2008 to present (1)
   98) Journal of Human Hypertension, 2010 to present (1)



                                                                                     App000173
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 176 of 633 PageID 902



   99) Journal of Inherited Metabolic Disease, 2014 to present (2)
   100)      Journal of Lipid Research, 2010 to present (1)
   101)      Journal of Managed Care, 2004 to present (1)
   102)      Journal of Physiology and Pathophysiology, 2009 to present (1)
   103)      Kidney and High Blood Pressure Research, 2008 to present (1)
   104)      Kidney International, 2004 to present (8)
   105)      Medical Science Monitor, 2008 to present (1)
   106)      Medicine & Science in Sports and Exercise, 2005 to present (3)
   107)      Nature Clinical Practice Cardiovascular Medicine, 2004 to present (4)
   108)      Nature Clinical Practice Nephrology, 2008 to present (1)
   109)      Nature Reviews Nephrology, 2009 to present (3)
   110)      Nephron, 2005 to present (1)
   111)      Nephrology, 2009 to present (1)
   112)      Nephrology, Dialysis, and Transplantation, 2005 to present (7)
   113)      New England Journal of Medicine, 2006 to present (8)
   114)      Pharmacological Research (Italy), 1999 (1)
   115)      Pharmaceutical Sciences, 2011 (1)
   116)      PLoS Medicine, 2005 (1)
   117)      PLOS ONE, 2013 (1)
   118)      Prehospital Emergency Care, 2015 (1)
   119)      Preventive Medicine, 2008 (1)
   120)      Rejuvenation Research, 2007 (1)
   121)      Renal Failure, 2011 (2)
   122)      The Lancet, 1999 to present (11)
   123)      The Lancet Diabetes, 2013 to present (5)
   124)      The Lancet Global Health, 2015 to present (2)

   Major Meeting Abstract Grader

  1) ACC Scientific Sessions 2001 to present (10)
  2) ACC I2 Summit, 2006 to present (2)
  3) American Diabetes Association, 2008 to present (13)
  4) AHA Scientific Sessions, 1997 to present (8)
  5) American Medical Informatics Association, Annual Symposium, 1998-2001 (3)
  6) International Academy of Cardiology World Congress on Heart Disease, Academy of
     Cardiology Annual Scientific Sessions—Mechanisms and Management, 2002-present (3)
  7) Transcatheter Therapeutics (TCT), 2004 (1)

  Grant Reviewer

  1. National Medical Research Council, Singapore, 2003-2004
  2. National Institutes of Health, National Institute of Diabetes and Digestive and Kidney
     Diseases, Special Emphasis Panel/Initial Review Group 2006/01 ZDK1 GRB-9, 2005




                                                                                     App000174
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 177 of 633 PageID 903



   3. National Institutes of Health, National Institute of Diabetes and Digestive and Kidney
       Diseases, Special Emphasis Review Group, 1 R01 DK070033-01A2, 2006
   4. National Institutes of Health, National Heart Lung and Blood Institute, Study Section, ZHL1
       CSR-H (M1), March 6-7, 2006, Heart Failure Network
   5. Diabetes UK, The British Diabetic Association, Macleod House, 10 Parkway, London NW1
       7AA. December 24, 2008
   6. National Institutes of Health National Institute of Diabetes and Digestive and Kidney
       Diseases, Special Review Panel, Chronic Renal Insufficiency Cohort Study (CRIC) and A
       Prospective Cohort Study of Kidney Disease in Children (CKiD) Study, February 23-25, 2012,
       March 6, 2013
   7. National Institutes of Health National Institute of Diabetes and Digestive and Kidney
       Diseases, Special Review Panel, ZDK1 GRB-7 (O3)S in response to PAR-DK-09-247: Ancillary
       Studies to Major Ongoing Clinical Research Studies to Advance Areas of Scientific Interest
       within the Mission of the NIDDK (R01), July 11, 2012
   8. Alberta Innovates Health Solutions Collaborative Research & Innovation Opportunities
       (CRIO) Grant Review, September, 2012
   9. Health Research Board of Ireland, Health Research Awards, 2013
   10. National Institutes of Health National Institute of Diabetes and Digestive and Kidney
       Diseases 2017/01 ZRG1 DKUS-R (55) Study Section 2016


Guidelines Reviewer

   1. Kidney Disease Improving Global Outcome (KDIGO) Guidelines Review
         a. Prevention, Diagnosis, Evaluation and Treatment of Hepatitis C in Chronic Kidney
             Disease, Published April, 2008
         b. Diagnosis, Evaluation, Prevention and Treatment of Chronic Kidney Disease related
             Mineral and Bone Disorders (CKD-MBD), Published August, 2009
         c. Acute Kidney Injury (AKI), published March, 2012


 CLINICAL TRIAL AND STUDY RESPONSIBILITIES

   Overall Study Responsibilities: Steering and Executive Committees

    1) Study Principal Investigator, Medicine vs Angiography for Thrombolytic Exclusion Patients
       (M.A.T.E.), 1994-1997, (multicenter, U.S., randomized controlled trial [RCT]). Status:
       closed.

    2) Study Principal Investigator, The Resource Utilization Among Congestive Heart Failure Study
       (R.E.A.C.H.), 1998-2000, (single-center, prospective cohort study). Status: closed.

    3) Study Principal Investigator, The Asthma, Beta-Agonists, and Congestive Heart Failure Study,
       (A.B.C.H.F.), 1998-1999, (single-center, case-control study). Status: closed.



                                                                                      App000175
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 178 of 633 PageID 904




   4) Study Co-Principal Investigator, The Prevention of Radiocontrast Induced Nephropathy
      Clinical Evaluation (P.R.I.N.C.E.) Study, 1995-1998, (single-center, RCT). Status: closed.

   5) Study Co-Principal Investigator, BNP Multinational Study, Principal Investigator, Alan Maisel,
      MD, Biosite Diagnostics, Inc., 2000-2006, (multicenter, international, prospective cohort
      study). Status: closed.

   6) Study Co-Investigator, Prophylactic Oral Amiodarone Compared to Placebo for Prevention
      of Atrial Fibrillation Following Coronary Artery Bypass Graft Surgery (P.A.P.A.C.A.B.G.),
      1996-1998, (single-center, RCT). Status: closed.

   7) Study Co-Investigator, Rapid Early Bedside Markers of Myocardial Injury, 1998-1999, HFHS
      and Biosite Diagnostics, Inc. (prospective cohort study). Status: closed.

   8) Member, Steering Committee, Clinical Study Protocol No. 2000-025: A Phase IIIb,
      Multicenter, Randomized, Double-Blind, Placebo-Controlled Study to Determine the Safety,
      Efficacy, and Tolerability of Fenoldopam Mesylate in Subjects Undergoing Interventional
      Cardiology Procedures (CONTRAST), William W. O’Neill, MD and Gregg Stone, MD, Co-
      Principal Investigators, Abbott Laboratories, Inc., 2000-2003 (multicenter, US, RCT). Status:
      closed.

   9) Chair, National Steering Committee, Kidney Early Evaluation Program (KEEP) NKF, Member
      2000-2005, Co-Chair 2005-2010, Chair 2010-present (multicenter, U.S., prospective cohort
      study). Annual budget ~$1,325,198 (2009), ~$1,233,832 (2010), ~$1,614,953.00 (2011),
      ~$989,500 (2012), ~$1,217,000 (2013). Status: inactive.

   10) Member, Steering Committee, Protocol No. 704.351 Evaluation of Synergy between
       Natrecor and Furosemide on Renal and Neurohormone Responses in Chronic Heart Failure:
       A Phase IV Study, Scios Inc., 2003-2005 (multicenter, U.S., randomized cross-over trial).
       Status: closed.

   11) Member, Steering Committee, Protocol No. CCIB002FUS12. A Multicenter, Double-blind,
       Randomized, Parallel Group Study to Evaluate the Effects of Lotrel and Lotensin HCT on
       Microalbuminuria in Mild to Moderate Hypertensive Subjects with Type 2 Diabetes Mellitus,
       Novartis Pharmaceuticals, Inc., 2003-2006. Status: closed.

   12) Rotating Executive Committee Principal Investigator Member, NIH HF-ACTION Trial (Exercise
       Training Program to Improve Clinical Outcomes in Individuals With Congestive Heart
       Failure), HL63747 01A2, 2006-2009. Principal Investigator, David Whellan, MD, status:
       closed.




                                                                                       App000176
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 179 of 633 PageID 905



    13) Overall Study Principal Investigator, Neutrophil Gelatinase-Associated Lipocalin: A Novel
        Blood Marker for Risk of Developing Contrast Induced Nephropathy (ENCINO), multicenter,
        prospective, blinded cohort study, 2006-2009, status: closed.

    14) Member, Steering Committee, VA NEPHRON-D: Diabetes iN Nephropathy Study, 2008 to
        2013, trial stopped early for safety cardiovascular and acute kidney safety concerns in
        angiotensin converting enzyme inhibitor plus losartan arm, status: closed.

    15) Member, External Expert Panel, National Institutes of Health, National Institute of Digestive
        and Diabetes and Kidney Diseases, Chronic Renal Insufficiency Cohort Study, status open,
        2010 to present.

    16) Member, Optimal Medical Management Subcommittee, National Institutes of Health,
        National Heart Lung and Blood Institute, International Study of Comparative Health
        Effectiveness with Medical and Invasive Approaches (ISCHEMIA), status: open, 2011 to
        present.

    17) Member, Steering Committee, National Institutes of Health, National Heart Lung and Blood
        Institute, International Study of Comparative Health Effectiveness with Medical and Invasive
        Approaches (ISCHEMIA) in patients with Chronic Kidney Disease (ISCHEMIA-CKD), status:
        open, 2012 to present.

    18) Member, Steering Committee, Thrasos Innovation, Inc, A Phase II Multi-Center, Parallel-
        Group, Randomized, Double Blind, Proof-of-Concept, Adaptive Study Investigating the
        Safety and Efficacy of THR-184 Administered via Intravenous Infusion in Patients at
        Increased Risk of Developing Cardiac Surgery Associated-Acute Kidney Injury (CSA-AKI),
        status: closed, 2012 to 2015.

    19) Overall Principal Investigator, AbbVie, Inc, Clinical Study Protocol M13-796, A Phase 2b,
        Randomized, Double-Blind, Placebo-Controlled, Safety and Efficacy Trial of Multiple Dosing
        Regimens of ABT-719 for the Prevention of Acute Kidney Injury in Subjects Undergoing High
        Risk Cardiac Surgery, status: closed, 2013 to 2014.

    20) Overall Principal Investigator, Bioporto, Inc, The NGAL Test™ As An Aid in the risk
        assessment for AKI stage II and III in an Intensive Care Population, status: open 2017 to
        present.

    21) Member, Global Expert Panel, Novo Nordisk, Inc, A Research Study to See How Semaglutide
        Works Compared to Placebo in People With Type 2 Diabetes and Chronic Kidney Disease
        (FLOW), status: open.

Overall Study Responsibilities: Endpoint Committees




                                                                                         App000177
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 180 of 633 PageID 906



   1) Member, Critical Endpoints Committee, Treat Angina with Aggrastat and Determine Cost of
      Therapy with an Invasive or Conservative Strategy, TACTICS-TIMI 18 (Protocol 019-00),
      1998-2000, (multicenter, international, RCT). Status: closed

   2) Member, Study Endpoints Committee, A Phase II, Escalation Trial of Vasoflux¥ in Patients
      Undergoing Thrombolysis with Streptokinase for Acute Myocardial Infarction, Protocol CLN-
      P-V18-07001, Parexel International Corporation,1998, (multicenter, international, RCT).
      Status: closed

   3) Member, Safety Endpoint Evaluation Committee, A Phase III, Single-Blind Controlled Study
      to Evaluate the Clinical Effects of a Hemoglobin-based Oxygen Carrier (HBOC-210) Given as
      a Transfusion Alternative in Patients Undergoing Orthopedic Surgery. (Protocol HEM-0115),
      Biopure Corporation with Quintiles, Inc., Clinical Event and Adjudication Services, 2000-
      2001. (multicenter, international, RCT). Status: closed

   4) Member, Critical Endpoints Committee, Cerivastatin Heart Outcomes in Renal Disease:
      Understanding Survival (C.H.O.R.U.S.), Barry Brenner, MD and William F. Keane, MD, Co-
      Principal Investigators, Bayer Inc., 2000-2003 (multicenter, international, RCT). Status:
      study terminated early due to drug withdrawal from market

   5) Member, Clinical Events Classification Committee, Correction of Hemoglobin and Outcomes
      in Renal Insufficiency (CHOIR), Ajay Singh, MD, Donal Reddan, MBBS, Principal Investigators,
      Ortho Biotech Inc., 2001-2004 (multicenter, international, RCT). Status: closed

   6) Member, Critical Endpoint Committee, A Randomised, Double-blind, Parallel Group, Phase
      3, Efficacy and Safety Study of AZD6140 (Ticagrelor) Compared with Clopidogrel for
      Prevention of Vascular Events in Patients with Non-ST or ST Elevation Acute Coronary
      Syndromes (ACS) [PLATO – A Study of PLATelet inhibition and Patient Outcomes.],
      AstraZeneca, Inc., Duke Clinical Research Institute, 2008, status: closed

   7) Chair, Clinical Endpoints Committee, Alere San Diego, Inc, Alere Prospective Blinded Study
      of a Novel Troponin Assay (PEARL), status: closed 2015

   8) Chair, Adjudication Committee, Myeloperoxidase In the Diagnosis of Acute coronary
      Syndromes (MIDAS) study, Alere, Inc., status: closed 2012

   9) Independent Endpoint Adjudicator, BioPorto Diagnostics, The NGAL test as an aid for the
      Diagnosis of AKI in an Intensive Care Population, Code of the Study: KLIN 12-005, status
      closed, 2015

   10) Independent Endpoint Adjudicator, Ischemix, Inc., Safety and Efficacy of CMX-2043 for
       Protection of the Heart and Kidneys in Subjects Undergoing Coronary Angiography (CARIN),
       status: closed 2016




                                                                                     App000178
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 181 of 633 PageID 907



    11) Chair, Data Adjudication Committee, Estimating versus Measuring Plasma Volume and
        Kidney Function in Acute Decompensated Congestive Heart Failure, Eudra-CT Number 2018-
        002638-18, Sponsor: Charite-Unversitatsmedizin Berlin, FAST Biomedical, Inc, 2018-present

Overall Study Responsibilities: Data Safety Monitoring Committees

    1) Member, External Advisory Committee/Data Safety Monitoring Board, National Institutes of
       Health, National Institute of Diabetes and Digestive and Kidney Diseases, Polycystic Kidney
       Disease (PKD) Clinical Trials Network HALT-PKD Trial, Robert Schrier, MD, Principal
       Investigator, Committee Chair: William Henrich, MD, 2004-2008, Data Safety Monitoring
       Board, status: closed 2014

    2) Chairman, Data Safety Monitoring Committee, Clinical Trials Program CS0011-A-U301,
       Daiichi Sankyo Pharma Development (DSPD) CS-011, Seven Core Trials of Rivoglitazone in
       Type 2 Diabetes: 1) A 26-week placebo-controlled trial of 1.0 and 1.5 mg rivoglitazone vs.
       45 mg pioglitazone, as monotherapy in type 2 diabetics (CS0011-A-U301); 2) A 26-week
       placebo-controlled trial of 0.5, 1.0 and 1.5 mg rivoglitazone vs. 15, 30 and 45 mg
       pioglitazone, as monotherapy in type 2 diabetics (CS0011-A-U302); 3) A 26-week placebo-
       controlled trial of 1.0 and 1.5 mg rivoglitazone vs. 45 mg pioglitazone, in type 2 diabetics on
       metformin therapy, followed by a 26-week pioglitazone-controlled continuation period
       (CS0011-A-U303); 4) A 26-week placebo-controlled trial of 0.5 and 1.0 rivoglitazone vs. 30
       mg pioglitazone, in type 2 diabetics on sulfonylureas therapy, followed by a 26-week
       pioglitazone-controlled continuation period (CS0011-A-U304); 5) A 26-week placebo-
       controlled trial of 0.5 and 1.0 mg rivoglitazone vs. 15 mg pioglitazone in type 2 diabetics on
       insulin therapy (CS0011-A-U305); 6) A long-term (12-24 months) randomized, general
       efficacy and safety study of rivoglitazone vs. pioglitazone, as monotherapy or add-on
       therapy, in type 2 diabetics (CS0011-A-U306); 7) A 26-week placebo-controlled trial of
       rivoglitazone and metformin, in type 2 diabetics (CS0011-A-U307), USFDA Special Protocol
       Assessment Agreement granted, status: closed, 2009 trials program terminated

    3) Member, Data Safety Monitoring Committee, A Multicenter, Randomized, Double-Blind,
       Placebo-Controlled Study to Evaluate Cardiovascular Outcomes Following Treatment with
       Alogliptin in Addition to Standard of Care in Subjects with Type 2 Diabetes and Acute
       Coronary Syndrome SYR322_402, EXAMINE Trial Takeda Global Research and Development
       Center, Inc. (US) Takeda Global Research and Development Centre, Ltd. (Europe), status:
       2009 trial stopped early for non-inferiority but futility on superiority outcome

    4) Chair, Data Safety Monitoring Committee, Protocol D9120C00019, A randomised, double-
       blind, placebo controlled, multi-centre phase IIb dose finding study to assess the effect on
       GERD symptoms, safety and tolerability during four weeks treatment with AZD3355 in doses
       60 mg, 120 mg, 180 mg and 240 mg bid as add-on treatment to a PPI in patients with GERD
       that are partial responders to PPI treatment, AstraZeneca, status: closed 2009, trials
       program terminated for safety



                                                                                         App000179
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 182 of 633 PageID 908




   5) Member, Data Safety Monitoring Committee, Protocols: AMAG-FER-IDA-301, A Phase III,
      Randomized, Double-Blind, Placebo-Controlled Trial of Ferumoxytol for the Treatment of
      Iron Deficiency Anemia, Protocol: AMAG-FER-IDA-302, A Phase III, Randomized, Open-Label,
      Active Controlled Trial Comparing Ferumoxytol with Iron Sucrose for the Treatment of Iron
      Deficiency Anemia, Protocol: AMAG-FER-IDA-303, A Phase III, Open-Label Extension, Trial of
      the Safety and Efficacy of Ferumoxytol for the Episodic Treatment of Iron Deficiency
      Anemia, AMAG Pharmaceuticals, Inc., status: closed 2010, trial completed in 2013 without
      safety concerns

   6) Chair, Independent Data Monitoring Committee, Protocol 402-C-0903 Bardoxolone Methyl
      Evaluation in Patients with Chronic Kidney Disease and Type 2 Diabetes: the Occurrence of
      Renal Events (BEACON), Reata Pharmaceuticals, Inc., status: trial stopped in 2012 early for
      cardiovascular and mortality safety concerns

   7) Member, Independent Safety Council, Affymax Inc and Takeda Pharmaceutical Co.,
      Omontys (peginesatide), status: closed, post-marketing surveillance led to voluntary drug
      withdrawal from market in 2013 for serious and fatal allergic reactions

   8) Chair, Independent Data Monitoring Committee, AbbVie, Inc, Clinical Study Protocol M11-
      352 A Randomized, Multicountry, Multicenter, Double Blind, Parallel, Placebo-Controlled
      Study of the Effects of Atrasentan on Renal Outcomes in Subjects with Type 2 Diabetes and
      Nephropathy SONAR: Study Of Diabetic Nephropathy with Atrasentan, status closed 2018

   9) Chair, Independent Data Monitoring Committee, AbbVie, Inc., Clinical Study Protocol M13-
      958 A Phase 2b, Randomized, Double-Blind, Placebo-Controlled, Safety and Efficacy Trial of
      Multiple Dosing Regimens of ABT-719 for the Prevention of Acute Kidney Injury in Subjects
      Undergoing High Risk Major Surgery, status: closed 2015

   10) Member, Data Monitoring Committee, Akebia Therapeutics, Inc., AKB-6548-CI-0007, Phase
       2b Randomized, Double-Blind, Placebo-Controlled Study to Assess the Pharmacodynamic
       Response, Safety, and Tolerability to 20 Weeks of Oral Dosing of AKB-6548 in Subjects with
       Anemia Secondary to Chronic Kidney Disease (CKD), GFR Categories G3a-G5 (Stages 3, 4,
       and 5) (Pre-Dialysis), status: closed 2015

   11) Member, Study Monitoring Team, Akebia Therapeutics, Inc., AKB-6548-CI-0011, Phase 2a
       Open-Label Study to Assess the Efficacy, Safety, and Tolerability of AKB-6548 in Subjects
       with Anemia Secondary to End Stage Renal Disease (ESRD), Undergoing Chronic
       Hemodialysis, status: closed 2016

   12) Member, Data Monitoring Committee, Merck, Inc., Pfizer, Inc, Clinical Trials Program,
       Ertugliflozin (MK-8835/PF-04971729) Phase 2 and Phase 3 Development Program, status
       closed, 2012 to 2020




                                                                                      App000180
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 183 of 633 PageID 909



   13) Member, Steering Committee, Medtronic, Inc., Monitoring in Dialysis, status: closed 2016

   14) Member, Data Safety and Monitoring Board, St. Jude Medical, EnligHTN IV Multi-center,
       randomized, single-blind, sham controlled clinical investigation of renal denervation for
       uncontrolled hypertension, status: 2013 trial terminated before recruitment started

   15) Chair, Data Safety Monitoring Board, Neumedicines, Inc., A Phase 2, Single-Dose,
       Randomized, Double-Blind, Placebo-Controlled Study to Evaluate the Safety, Tolerability,
       Pharmacokinetics, and Pharmacodynamics of HemaMax™ (rHuIL-12) in Healthy Subjects,
       status: closed 2016

   16) Chair, Data Safety Monitoring Board, Reata Pharmaceuticals, Inc., A Phase 2 Study of the
       Safety, Efficacy, and Pharmacodynamics of RTA 408 in the Treatment of Friedreich’s Ataxia,
       2014 to 2019, status: closed

   17) Chair, Data Safety Monitoring Board, Reata Pharmaceuticals, Inc., A Phase 2 Study of the
       Safety, Efficacy, and Pharmacodynamics of RTA 408 in the Treatment of Mitochondrial
       Myopathy, 2015 to 2019, status: closed

   18) Member, Patient Safety Review Committee, Reata Pharmaceuticals, Inc, A dose-ranging
       study of the efficacy and safety of Bardoxolone Methyl in patients with pulmonary arterial
       hypertension (402-C-1302), 2014 to 2018, status: closed

   19) Chair, Data Safety Monitoring Board, Reata Pharmaceuticals, Inc., A Study of the Efficacy
       and Safety of Bardoxolone Methyl in Patients with Connective Tissue Disease-Associated
       Pulmonary Arterial Hypertension (CATALYST), 2016 to present, status: closed

   20) Chair, Data Safety Monitoring Board, Reata Pharmaceuticals, Inc., A Phase 2/3 of Efficacy
       and Safety of Bardoxolone Methyl in Patients with Alport Syndrome (CARDINAL), 2017 to
       present, status: closed

   21) Chair, Data Safety Monitoring Board, Sanfit, Inc., A double-blind, randomised, placebo-
       controlled study to assess the effect of SNF472 on progression of cardiovascular
       calcification on top of standard of care in end-stage-renal-disease (ESRD) patients on
       haemodialysis (HD) SNFCT2015-05, 2017 to 2019, status: closed

   22) Chair, Data Monitoring Committee, Renew Research, KAI Research, A Randomized Pivotal
       Study of RenewTM NCP-5 for the Treatment of Mild Cognitive Impairment due to
       Alzheimer’s Disease or Mild Dementia of the Alzheimer’s Type, 2018 to present, status:
       closed

   23) Chair, Data Safety Monitoring Committee, Sanofi, Inc, Multicenter, randomized, double-
       blind, placebo-controlled two stage study to characterize the efficacy, safety, tolerability
       and pharmacokinetics of GZ/SAR402671 in patients at risk of rapidly progressive Autosomal



                                                                                       App000181
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 184 of 633 PageID 910



       Dominant Polycystic Kidney Disease (ADPKD) STUDY NUMBER: EFC15392 STUDY NAME:
       SAVE-PKD COMPOUND: GZ/SAR402671, 2018 to present, status: open

    24) Chair, Data Safety Monitoring Board, National Institutes of Health, National Heart, Lung and
        Blood Institute R34 NHLBI Clinical Trial Pilot Studies (R34) Reducing Arrhythmia in Dialysis by
        Adjusting the Rx Electrolytes/Ultrafiltration (RADAR), David Charytan, MD, PI, 2019 to
        present, status: open

    25) Chair, Data Safety Monitoring Board, GZ402671 EFC15392 Multicenter, randomized,
        double-blind, placebo-controlled two stage study to characterize the efficacy, safety,
        tolerability and pharmacokinetics of GZ/SAR402671 in patients at risk of rapidly progressive
        Autosomal Dominant Polycystic Kidney Disease (ADPKD), Sanofi, status: open

    26) Chair, Data Safety Monitoring Board, MEDI3506, Trials Portfolio, D9182C00001 A Phase 2
        Randomized, Double-blinded, Placebo-controlled Study to Evaluate the Efficacy and Safety
        of MEDI3506 in Adult Subjects with Moderate-to-severe Atopic Dermatitis; D9181C00001 A
        Phase II, Randomised, Double-blind, Placebo-controlled Study to Assess the Efficacy and
        Safety of MEDI3506 in Adult Participants with Uncontrolled Moderate-to-severe Asthma;
        D9180C00002 A Phase II, Randomized, Double-blind, Placebo-controlled Study to Assess the
        Efficacy, Safety and Tolerability of MEDI3506 in Participants with Moderate to Severe
        Chronic Obstructive Pulmonary Disease and Chronic Bronchitis (FRONTIER 4); D9183C00001
        A Phase 2b Randomized, Double-blind, Placebo-controlled, Study to Evaluate the Efficacy
        and Safety of MEDI3506 in Subjects with Diabetic Kidney Disease, Axio Inc, A Cytel
        Company, status: open


GRANT AWARDS

Original Research Grants

    G1)London JF (PI), Bis KG, Juni JE, Wilke N, DiCarli MF, Shetty AN, McCullough PA, Timmis GC.
       Magnetic Resonance vs. Positron Emission Tomography for the Detection of Myocardial
       Viability. Bracco Diagnostics Inc./SCA&I Grant, $25,000 (WBH RC-453), 1997-98. Additional
       WBH Research Institute Mini-grant, $5,000 (WBH Grant #RC-748). Level of involvement:
       author of the variable definitions, endpoints, and data analysis sections, 0% FTE. Status:
       closed 1998

    G2)McCullough PA (PI), Shah S, Noor H, Marks KR, McCabe KB, Zong L, McCord J, Khoury N,
       Ulcickas-Yood M, Ward RE. Diagnostic Accuracy of an Emergency Department Clinical
       Decision Unit in the Evaluation of Chest Pain. HFHS Small Projects Fund $10,000 (HFHS
       Grant #A30785), 0% FTE. Status: closed 1997

    G3)Keteyian SJ (Co-PI), McCullough PA (Co-PI), Brawner CA, Rosman HS, Stein P, Weaver WD. A
       Prospective Study of Case Identification and Triage of Patients Eligible for Cardiac



                                                                                         App000182
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 185 of 633 PageID 911



      Rehabilitation. Merck & Co., U.S. Human Health, $30,000 (HFHS Grant #E18037), 3% FTE.
      Status: closed 1998

   G4)McCullough PA. Novel Methods for Identifying High-Risk Patients for Subsequent
      Cardiovascular Events. Merck & Co., U.S. Human Health, $20,000 (HFHS Grant #M1060), 0%
      FTE. Status: closed 1998

   G5)McCullough PA. Cardiovascular Informatics Development Award. Pfizer, Inc., $10,000
      (HFHS Grant #E60022), 0% FTE. Status: closed 1998

   G6)McCullough PA, Yee J, Soman S, Sallach J, Borzak S, Foreback C, Monaghan K, Tisdale JE,
      Bailey E, Bola P, Chase G, Marks KR, Weaver WD. A Prospective Dose-Ranging Trial of Folic
      Acid to Reduce Total Homocyst(e)ine Levels in Patients with End-Stage Renal Disease
      Undergoing Hemodialysis. HFHS Project Development Fund $10,000 (HFHS Grant #A20003),
      0% FTE. Status: closed 1999

   G7)McCullough PA. NuStep Recumbent Cross Trainer Product Development Pilot Study,
      NuStep, Inc., (single center, prospective pilot study), $12,500.00, (WBH Grant #RC- 08-
      94847). Status: closed 2005

   G8)McCullough PA, Secondary Analyses from the PRINCE Trial, (single center data analysis),
      $20,000, PLC Medical, Inc., (WBH #RC 08-94851) Status: closed 2005

   G9)McCullough PA, Sullivan RA. A Systematic Review of Vascular Calcification in Patients with
      Chronic Kidney Disease and End-Stage Renal Disease, 2002-2003, Braintree Labs, Inc.,
      $40,000, 25% FTE (WBH Grant #RC 08-94833) Status: closed 2003

   G10)     Pasas SA, Davies MI, McCullough PA. Determination of Protein-bound Homocysteine
      in Human Plasma using Capillary Electrophoresis with Electrochemical Detection in Patients
      with Chronic Kidney Disease, 2003-2004, AHA Predoctoral Fellowship Program (Pasas),
      $38,000, 15% FTE (UMKC Grant #). Status: closed 2003

   G11)       Collins AC, Gladstone E, Robitscher JW, McCullough PA, Klag M, Narva A, Gilberston
      D for the NKF. Demonstration project: state-based screening for chronic kidney disease.
      Response to CDC-RFA-DP06-004, demonstration project for identifying individuals at high-
      risk for CKD in the US. Centers for Disease Control, $1,199,609, 12% FTE Status: closed
      2007

   G12)     McCullough PA, Principal Investigator. Neutrophil Gelatinase-Associated Lipocalin
      (NGAL): A Novel Blood Marker for Risk of Developing Contrast-Induced Nephropathy
      (ENCINO). Biosite/Inovise, Inc., $229,000.00 (WBH #RC-94862), 0% FTE Status: closed 2009

   G13)     Agrawal V, Barnes M, McCullough PA. Evaluation of CKD awareness in medical
      residents. WBH intramural mini-grant R/C# 98662, $10,000.00, 0% FTE Status: closed 2008



                                                                                      App000183
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 186 of 633 PageID 912




   G14)      McCullough PA, overall Principal Investigator transferred to Zalesin K. FDA
      Investigational New Drug Exemption (INDE) #060672. A Prospective, Randomized, Placebo-
      Controlled, Parallel-Group, Pilot Trial of Paricalcitol in the Treatment of
      Hyperparathyroidism in Patients after Roux-en-Y Gastric Bypass Surgery with Chronic Kidney
      Disease, Abbott Laboratories, Inc., $496,600.00 (WBH #RC-90290), 0% FTE Status: closed
      2009

   G15)      McCullough PA, overall Principal Investigator transferred to Miller WM, FDA INDE
      #107750. Investigator Initiated Study. A Prospective, Double-Blind, Randomized, Parallel
      Group, Placebo-Controlled Trial of Aliskiren versus Placebo in Non-Diabetic, Normotensive
      Obese Patients with Microalbuminuria, Novartis, Inc., $339,400.00 (WBH #RC-90345),
      Status: closed 2010

   G16)      McCullough PA, overall Principal Investigator. Investigator Initiated Study, FDA
      Investigational New Drug (IND) #74707. A Phase 2, randomized, double-blind, placebo-
      controlled trial, to assess the efficacy and safety of deferiprone in the reduction of markers
      of contrast-induced acute oxidative kidney injury. Cormedix, Inc, $857,745 (includes
      $101,442 for Beaumont Research Coordinating Center). Study centers included Providence
      Hospital and Medical Center Southfield, St. John Hospital and Medical Center, Detroit,
      Northern Michigan Hospitals, Petoskey, MI, St. Vincent’s Hospital, Indianapolis, IN, Fairfield
      Cardiac Cath Labs, LLC, Fairfield, OH, Oklahoma Heart Hospital, Oklahoma City, OK, Ohio
      Health Research Institute, Columbus, OH, Mercy St. Vincent Hospital, Toledo, OH, Status:
      closed 2011

   G17)      McCullough PA, overall study Principal Investigator, A Prospective Randomized
      Parallel-Group Controlled Trial of Multiple Blood Biomarkers in the Personalized
      Management of Chronic Heart Failure, Baylor IRB 014-252, Baylor Foundation, 2014,
      $78,639.20, status: closed 2016.

   G18)     McCullough PA, overall study Principal Investigator, Baylor Hypertrophic
      Cardiomyopathy Program Development Project: Time-resolved, 3D phase contrast
      magnetic resonance imaging (MRI) (4D Flow) and Advanced Strain Rate Echocardiography in
      Patients with Hypertrophic Cardiomyopathy, Baylor IRB 014-175, Baylor Foundation, 2014,
      $100,000.00, status: open

   G19)     McCullough PA, overall study Principal Investigator, Preventive Cardiology Registry:
      Role of Proprotein Convertase Subtilisin/kexin type 9 (PCSK9) and Other Catabolic
      Determinants in Hypercholesterolemia in Patients with Suspected Heterozygous Familial
      Hypercholesterolemia Baylor IRB 014-122, Baylor Foundation, $3,100.00, status: closed
      2014

   G20)       McCullough PA, overall study Principal Investigator and Study Chairman, Investigator
      Initiated Trial, “A Prospective, Double-blind, Placebo Controlled, Parallel Group,



                                                                                       App000184
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 187 of 633 PageID 913



      Randomized Trial of Extended Release Exenatide versus Placebo in Diabetic Patients with
      Type 4 Cardiorenal Syndrome: EXTEND-CRS”, D5551L00004/ISSEXEN0013, FDA IND 123200,
      Baylor IRB 014-149, AstraZeneca, 2014, $1,597,901.93, status: open

   G21)     McCullough PA, overall study Principal Investigator, Iso-osmolar Contrast and the
      Timing of Coronary Angiography in the Multivariate Risk for Cardiac Surgery Associated with
      Acute Kidney Injury and Major Adverse Renal and Cardiac Events (MARCE), Baylor IRB 014-
      096, GE Healthcare, Inc, 2015, $145,885.00, status open

   G22)      McCullough PA, overall study Principal Investigator, Timing of coronary angiography
      and multivariate risk for cardiac surgery associated acute kidney injury and major adverse
      renal and cardiac events (MARCE), Baylor IRB 014-096, Baylor Foundation, $8,100.00,
      status: closed 2016

   G23)     Mendez J, McCullough PA, et al, co-investigator, Assessment of Multiple Blood
      Biomarkers in Patients with Advanced Heart Failure Undergoing Evaluation for Cardiac
      Transplantation and Mechanical Circulatory Support, Baylor IRB 014-300, Critical
      Diagnostics, Inc, $10,400.00, status: closed 2016

   G24)      Bottiglieri, T, McCullough PA, et al, co-investigator, Urinary 11dhTxB2 response to
      acetylsalicylic acid (aspirin) in cardiovascular disease progression and adverse outcomes,
      Baylor IRB 008-230, Corgenix, Inc., $99,087.00, status: closed 2016

   G25)     Schussler JM, Vasudevan A, McCullough PA, co-investigator, Clinical outcomes and
      metabolomic and damage associated molecular patterns of acute kidney injury in patients
      undergoing percutaneous coronary intervention via the radial versus femoral artery
      approach, Baylor IRB 014-299, Baylor Health Care System Foundation, $61,416.00, status:
      closed 2018

   G26)     Tecson K, McCullough PA, coinvestigator, Contribution of Chronic Kidney Disease and
      Acute Kidney Injury to Heart Failure Outcomes, Baylor IRB 015-296, Baylor Health Care
      System Foundation, $43,424.60, status: open

   G27)     Vasudevan A, McCullough PA, coinvestigator, Burden of Cardiovascular Events Follow
      Percutaneous Coronary Intervention, Baylor IRB 015-297, Baylor Health Care System
      Foundation, $40,000.00, status: closed 2018

   G28)      Tecson, K, McCullough PA, Therapeutic Intensity of Lipid Lowering Therapy in
      Response to Recurrent Cardiovascular Events, Baylor IRB 017-106, Amgen, Inc., $249,990.00
      status: open

   G29)     McCullough PA, Principal Investigator, A Case Finding Study of Familial
      Chylomicronemia, Akcea Pharmaceuticals, $10,000.00, status: closed 2017




                                                                                      App000185
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 188 of 633 PageID 914



    G30)      McCullough PA, Bottiglieri T, Tecson K. Baylor Foundation $49,923.80. Identifying
       metabolomic profiles among genetically confirmed familial hypercholesterolemia,
       dyslipidemia without familial hypercholesterolemia, and healthy controls, status start-up
       2019

Site Principal Investigator Contracts

    G1)Jafri S, McCullough PA, and the WATCH Investigators. Warfarin and Antiplatelet Therapy in
       Chronic Heart Failure, (W.A.T.C.H.) Field Center, Veterans Administration Cooperative
       Studies Program and Sanofi Pharmaceuticals, $36,000.00 (HFHS Grant #B51008) status:
       closed 2000

    G2)Jafri S, McCullough PA, and the CHARM Investigators. Candesartan Cilexetil (Candesartan)
       in Heart Failure Assessment of Reduction in Mortality and Morbidity (C.H.A.R.M.) Field
       Center, 1999-2000, Astra Pharmaceuticals, $56,000.00 (HFHS Grant #E09045) status: closed
       2000

    G3)Schuger C, McCullough PA, and the MADIT Investigators. Multicenter Automatic
       Defibrillator Implantation Trial II (M.A.D.I.T.-II), Guidant Corporation/Cardiac Pacemakers
       (CPI), $96,000 (HFHS Grant #G10087) status: closed 2000

    G4)Schuger C, McCullough PA, and the MIRACLE Investigators. Multicenter InSync Randomized
       Clinical Evaluation (M.I.R.A.C.L.E.), Medtronic Inc., $195,000, (HFHS Grant #G12006) status:
       closed 2000

    G5)McCullough PA, Shetty A, Soman S and the CHORUS Investigators. Cerivastatin Heart
       Outcomes in Renal Disease: Understanding Survival (C.H.O.R.U.S.), Barry Brenner, MD and
       William F. Keane, MD, Co-Principal Investigators, Bayer Inc., 2000-2003 (RCT), Clinical Site
       Contract, Bayer Pharmaceuticals, $266,875.00 10% FTE (HFHS Grant #E05046) status:
       closed 2000

    G6)McCullough PA, Manley HJ and the CHORUS Investigators. Cerivastatin Heart Outcomes in
       Renal Disease: Understanding Survival (C.H.O.R.U.S.), Barry Brenner, MD and William F.
       Keane, MD, Co-Principal Investigators, Bayer Inc., 2000-2003 (RCT), Clinical Site Contract,
       Bayer Pharmaceuticals, $279,000 10% FTE (UMKC Grant #E05046) status: closed 2001

    G7)Nowak R, McCord J, McCullough PA and the BNP Investigators. Breathing Not Properly
       Study (B.N.P. Multinational Study), Alan Maisel, MD, and Peter A. McCullough, MD, MPH,
       Co-Principal Investigators, Biosite Diagnostics, Inc., (prospective cohort study) Field Center
       Contract, Biosite Diagnostics, Inc., $180,000.00 (HFHS Site), $500,000.00, 0% FTE (HFHS
       Grant #E03005) status: closed 2001




                                                                                         App000186
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 189 of 633 PageID 915



   G8)Ehrman JK, McCullough PA. A Prospective Randomized Trial of a Personal Health Assistant
      in the Secondary Prevention of Heart Disease. Merck, Inc., $220,961.00, 7% FTE (HFHS
      Grant #E41010) status: closed 2002

   G9)McCullough PA and the CORC Investigators. Kansas City Cardiomyopathy Questionnaire
      Interpretability Study, John A. Spertus, MD, MPH, Principal Investigator, Cardiovascular
      Outcomes Research Consortium (C.O.R.C.), 2001 (multicenter, U.S., prospective cohort
      study), $21,400.00, status: closed 2002

   G10)      McCullough PA, Rutherford BD, and the OAT Investigators. Occluded Artery Trial,
      Judith Hochman, MD, and Gervasio Lamas, MD, Co-Principal Investigators, National
      Institutes of Health, National Heart Lung and Blood Institute, $54,000.00. 0% FTE (UMKC
      Grant #K531122) status: closed 2002

   G11)     McCullough PA site Principal Investigator and National Executive Committee
      Member. Rapid Emergency Department Heart Failure Outpatient Trial, Biosite Diagnostics,
      $21,000. 0% FTE (UMKC Grant #K531130) status: closed 2002

   G12)     McCullough PA site Principal Investigator. African-American Heart Failure Trial
      (AHEFT). A Placebo-Controlled Trial of BiDil added to Standard Therapy in African American
      Patients with Heart Failure, NitroMed, Inc., $20,000.00 (UMKC Proposal #9722, TMC Grant
      #261231) status: closed 2002

   G13)      McCullough PA and the IMAGING Investigators for Cardiology Clinical Studies, LLC.
      Investigation of Myocardial Gated SPECT Imaging as Initial Strategy in Heart Failure: The
      IMAGING in Heart Failure Trial, Dupont Pharmaceuticals Inc., $20,000.00 (UMKC Proposal
      #9825, UMKC Grant #KG001278) status: closed 2002

   G14)     McCullough PA, site Principal Investigator, and Ad Hoc Executive Committee
      Member. Heart Failure and a Controlled Trial Investigating Outcomes of Exercise Training.
      National Institutes of Health, National Heart, Lung, and Blood Institute, subcontracted
      through the Duke Clinical Research Institute, $665,000, (NIH Grant #1 U01 HL63747 01A2,
      WBH Grant # RC 08-94837, Site #301) status: closed 2005

   G15)      McCullough PA, site Principal Investigator, and Executive Committee Member.
      Protocol No. 704.351 Evaluation of Synergy between Natrecor and Furosemide on Renal
      and Neurohormone Responses in Chronic Heart Failure: A Phase IV Study, Scios Inc., 2003
      (multicenter, U.S., randomized cross-over trial), $105,447.50, (WBH Grant # RC 08-94836)
      status: closed 2005

   G16)      McCullough PA, site Principal Investigator and National Co-Principal Investigator.
      Protocol No. CCIB002FUS12. A Multicenter, Double-blind, Randomized, Parallel Group
      Study to Evaluate the Effects of Lotrel and Lotensin HCT on Microalbuminuria in Mild to




                                                                                      App000187
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 190 of 633 PageID 916



      Moderate Hypertensive Subjects with Type 2 Diabetes Mellitus, Novartis Inc., (multicenter,
      U.S., randomized trial), $63,649.90, (WBH Grant #RC 08-94838) status: closed 2006

   G17)      McCullough PA, and the ACCOMPLISH Investigators. Protocol No. CCIB002.12301.
      Avoiding Cardiovascular Events through Combination Therapy in Patients Living with
      Systolic Hypertension, Novartis, Inc., 2003 (multicenter, multinational, randomized trial)
      $159,241.00, (WBH Grant #RC 08-94844) status: closed 2006

   G18)     McCullough PA, site Principal Investigator. Efficacy of Vasopressin Antagonism in
      Heart Failure: Outcome Study with Tolvaptan, Protocol #156-03-236, IND #50,533, Otsuka
      Maryland Research Institute, (multicenter, international, randomized trial), $210,750.00,
      (WBH Grant #RC 08-94842 changed to #RC 08-94849) status: closed 2005

   G19)        McCullough PA, site Principal Investigator. A Multicenter, Double-Blind,
      Randomized, Parallel Group, 6-week Study to Evaluate the Efficacy and Safety of
      Ezetimibe/Simvastatin Combination versus Atorvastatin in Patients with
      Hypercholesterolemia, Protocol #051/EZT544, Merck, Inc., (multicenter, U.S., randomized
      trial), $18,840.00, (WBH Grant #RC 08-94843) status: closed 2006

   G20)      McCullough PA, site Principal Investigator, A multicenter, double-bind randomized,
      parallel-group study to compare the effect of 24 weeks treatment with LAF237 (50 mg qd or
      bid) to placebo as add-on therapy in patients with type 2 diabetes inadequately controlled
      with metformin monotherapy. Novartis Pharmaceuticals, Inc., (multicenter, U.S.,
      randomized trial), $30,700.00, (WBH Grant #RC 08-94845) status: closed 2007

   G21)       McCullough PA, site Principal Investigator. A multicenter, double-bind randomized,
      parallel-group study to compare the effect of 24 weeks treatment with LAF237 (50 mg qd or
      bid) to placebo as add-on therapy to pioglitazone 45 mg qd in patients with type 2 diabetes
      inadequately controlled with thiazolidinediones monotherapy. Novartis Pharmaceuticals,
      Inc., (multicenter, U.S., phase III randomized trial) $30,700.00, (WBH Grant #RC 08-94846)
      status: closed 2006

   G22)      McCullough PA, site Principal Investigator. An 8-week, randomized, double-blind,
      parallel group, multicenter placebo and active controlled disease escalation study to
      evaluate the safety and efficacy of aliskiren in patients with hypertension, $47,100.00 (WBH
      #RC 08- 94852) status: closed 2007

   G23)      McCullough PA, site Principal Investigator. A randomized, double-blind study to
      compare the durability of glucose lowering and preservation of pancreatic beta-cell function
      of rosiglitazone monotherapy compared to metformin or glyburide/glibenclamide in
      patients with drug naïve, recently diagnosed type 2 diabetes, $140,100.00, Novartis
      Pharmaceuticals (WBH #RC 08-94849) status: closed 2008




                                                                                      App000188
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 191 of 633 PageID 917



   G24)      McCullough PA, site Principal Investigator. A multicenter, randomized, double-blind
      factorial study of the co-administration of MK-0431 and metformin in patients with type 2
      diabetes who have inadequate glycemic control, $36,735.00, Merck Research Laboratories
      (WBH #RC 08-94853) status: closed 2008

   G25)      McCullough PA, site Principal Investigator. Multicenter, Randomized, Double-Blind
      Study to Evaluate the Efficacy & Safety of Ezetimibe/Simvastatin and Niacin Co-
      Administered in Patients with type IIa or Type IIb Hyperlipidemia, $46,960.00, Merck
      Research Laboratories, MRK-091, (WBH #RC 08-94854) status: closed 2008

   G26)       McCullough PA, site Principal Investigator. A Multi-Center, Randomized, Double-
      Blind, factorial Design study to evaluate the lipid-altering efficacy & safety of MK-0524B
      Combination Tablet in Patients with Primary Hypercholesterolemia or Mixed Hyperlipidemia
      $40,849.00, Merck Research Laboratories, MRK-022. (WBH #RC 08-94855) status: closed
      2007

   G27)      McCullough PA, site investigator. An 8-week, multicenter, randomized, double-blind,
      parallel-group study to evaluate the efficacy and safety of the combination of
      valsartan/HCTZ/amlodipine compared to valsartan/HCTZ, valsartan/amlodipine, and
      HCTZ/amlodipine in patients with moderate to severe hypertension, $43,500.00, Novartis
      Pharmaceuticals (WBH #RC 08-94857) status: closed 2007

   G28)       McCullough PA, site Principal Investigator. A multicenter randomized, double-blind
      parallel arm, 6-week study to evaluate the efficacy and safety of ezetimibe/simvastatin
      versus atorvastatin in patients with metabolic syndrome and hypercholesterolemia at high
      risk for coronary heart disease, $32,010.00. Merck Research Laboratories (WBH #RC 08-
      94861) status: closed 2008

   G29)       McCullough PA, site Principal Investigator. A multicenter, randomized, double-blind
      study to evaluate the safety and efficacy of the initial therapy with coadministration of
      sitagliptin and pioglitazone in patients with type 2 diabetes mellitus, $24,036.00, Merck
      Research Laboratories, MRK-064 (WBH #RC 08-94860) status: closed 2008

   G30)   Dixon, SD, site PI, McCullough PA, Multinational Executive Committee. RENAL
      GUARD Pilot Trial. PLC Medical Systems, $37,610.00 (WBH #RC- 90771) status: closed 2008

   G31)      McCullough, PA, site Principal Investigator, A multi-center, randomized, double-
      blind, placebo and active controlled, parallel group, dose range study to evaluate the
      efficacy and safety of LCZ696 comparatively to valsartan, and to evaluate AHU377 to
      placebo after 8-week treatment in patients with essential hypertension. Novartis, Inc.,
      $31,965.28. (WBH #RC-94863) status: closed 2008

   G32)      McCullough PA, site Principal Investigator. Paricalcitol capsules benefits in renal
      failure induced cardiac morbidity in subjects with chronic kidney disease stage 3b/4,



                                                                                        App000189
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 192 of 633 PageID 918



      (PRIMO Abbott Laboratories, ABT-M-10-030, $157,992.00, (WBH #RC-94864) status: closed
      2008

   G33)     McCullough PA, site Principal Investigator. A randomized, double-blind, parallel
      group study to evaluate the effects of high-dose statin therapy on fluorodeoxyglucose (FDG)
      uptake in arteries of patients with atherosclerotic vascular disease. Merck Research
      Laboratories, MRK-081, $86,994.00 (WBH #RC 08-90223) status: closed 2008

   G34)     McCullough PA, site Principal Investigator. Patient registry for the Liposorber LA-15
      system. Kaneka, Inc., $7,515.00, (WBH #RC-90877) status: closed 2009

   G35)     McCullough PA, site Principal Investigator. A 30-week multicenter, randomized,
      double-blind. Parallel-group study of the combination of ABT-335 and Rosuvastatin
      compared to rosuvastatin monotherapy in dyslipidemic subjects with stage 3 chronic kidney
      disease, Abbott M10-313, $128,544.00, (WBH #RC-90212) status: closed 2009

   G36)      McCullough PA, site Principal Investigator. A multicenter, randomized open label,
      active-comparator controlled study to assess the efficacy, safety, and tolerability of
      taspoglutide compared to exenatide in patients with type 2 diabetes mellitus inadequately
      controlled with metformin, thiazolidinedione, or a combination of both, Roche BC 21625,
      $72,012.50, (WBC #RC-90245) status: closed 2010

   G37)      McCullough PA, site Principal Investigator. A multicenter, randomized double-blind,
      placebo-controlled study to assess the efficacy, safety, and tolerability of taspoglutide
      compared to placebo in obese patients with type 2 diabetes mellitus inadequately
      controlled with metformin monotherapy, Roche BC 22092, $38,387.50, (WBH #RC-90258)
      status: closed 2009

   G38)      McCullough PA, site Principal Investigator. A safety and efficacy trial evaluating the
      use of apixaban for the extended treatment of deep vein thrombosis and pulmonary
      embolism, Bristol Myers Squibb-Pfizer CV185057, $173,750.00, (WBH #RC-90288) status:
      closed 2009

   G39)      McCullough PA, site Principal Investigator. A phase 3, active (warfarin) controlled,
      randomized, double-blind, parallel arm study to evaluate efficacy and safety of apixaban in
      preventing stroke and systemic embolism in subjects with nonvalvular atrial fibrillation,
      Bristol Myers Squibb-Pfizer CV1805030, $173,750.00, (WBH #RC-90275) status: 2009

   G40)     McCullough PA, site Principal Investigator. Treatment of Preserved Cardiac Function
      Heart Failure with an Aldosterone Antagonist Trial (TOPCAT), National Institutes of Health,
      National Heart, Lung, and Blood Institute, subcontracted through the New England
      Research Institutes, Inc., $86,250.00, (WBH #RC-90267) status: closed 2010




                                                                                       App000190
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 193 of 633 PageID 919



   G41)       McCullough PA, site Principal Investigator. An 8-week, randomized, double-blind,
      parallel group, multicenter, forced titration study to evaluate the efficacy and safety of
      aliskiren plus HCTZ verus aliskiren monotherapy in metabolic syndrome patients with stage
      2 hypertension, Novartis, Inc., $107,362.44 (WBH #RC-90277) status: closed 2009

   G42)      McCullough PA, site Principal Investigator, Astute SAPPHIRE AST-111, Evaluation of
      Novel Biomarkers from Acutely Ill Patients at Risk for Acute Kidney Injury, Astute Medical,
      Inc, San Diego, CA, $23,195.50 status: closed 2012

   G43)      McCullough PA, site Principal Investigator, protocol number 156-10-292 titled “An
      Observational Prospective Registry to Identify Demographic and Clinical Characteristics of
      Patients Hospitalized with Euvolemic and Hypervolemic Hyponatremia and Assess the
      Comparative Effectiveness of Available Treatments and the Impact on Resource Utilization.
      Otsuka Inc., $21,262.60 status: initial contract fulfilled, reopened under extension and
      registry completed in 2013

   G44)      McCullough PA, site Principal Investigator, PROspective Multicenter Imaging Study
      for Evaluation of Chest Pain (PROMISE) Study, National Heart, Lung, and Blood Institute
      (NHLBI), Pamela Douglas, MD, Principal Investigator Clinical Coordinating Center, Duke
      Clinical Research Institute, $17,000.00 status: closed 2012

   G45)       McCullough PA, site Principal Investigator, ACZ885M/Canakinumab Clinical Trial
      Protocol CACZ885M2301 A randomized, double-blind, placebo-controlled, event-driven trial
      of quarterly subcutaneous canakinumab in the prevention of recurrent cardiovascular
      events among stable post-myocardial infarction patients with elevated hsCRP. Novartis,
      Inc., 2011 $279,223.00 status: closed 2015

   G46)      McCullough PA, site Principal Investigator, AN-CVD2233 Evaluation of the Safety and
      Efficacy of Short-term A-002 (Varespladib) Treatment in Subjects with Acute Coronary
      Syndromes (VISTA-16) Anthera Pharmaceuticals, Inc., 2011 $72,600.00 status: closed 2011

   G47)      McCullough PA, site Principal Investigator, BC22140A Cardiovascular outcomes study
      to evaluate the potential of aleglitazar to reduce cardiovascular risk in patients with a
      recent acute coronary syndrome (ACS) event and type 2 diabetes mellitus (T2D), F.
      Hoffmann-La Roche Ltd, $307,500.00 status: closed 2012

   G48)     McCullough PA, site Principal Investigator, A Double-blind, Randomized, Placebo-
      controlled, Multicenter Study (Phase 2) to Evaluate the Safety and Efficacy of IV Infusion
      Treatment with Omecamtiv Mecarbil in Subjects with Left Ventricular Systolic Dysfunction
      Hospitalized for Acute Heart Failure (Protocol 20100754), Amgen, Inc, 253,464.00 status:
      closed 2012

   G49)     McCullough PA, site Principal Investigator, MB102-073 A Multicenter, Randomized,
      Double-Blind, Placebo-Controlled, Parallel Group, Phase 3 Trial to Evaluate the Safety and



                                                                                      App000191
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 194 of 633 PageID 920



      Efficacy of Dapagliflozin in Subjects with Type 2 Diabetes with Inadequately Controlled
      Hypertension on an Angiotensin-Converting Enzyme Inhibitor (ACEI) or Angiotensin
      Receptor Blocker (ARB), Bristol-Myers Squibb Research and Development, 2011 $34,115.00
      status: closed 2012

   G50)      McCullough PA, site Principal Investigator, MB102-077 A Multicenter, Randomized,
      Double-Blind, Placebo-Controlled, Parallel Group, Phase 3 Trial to Evaluate the Safety and
      Efficacy of Dapagliflozin in Subjects with Type 2 Diabetes with inadequately controlled
      hypertension treated with an Angiotensin-Converting Enzyme Inhibitor (ACEI) or
      Angiotensin Receptor Blocker (ARB) and an additional Antihypertensive medication, Bristol-
      Myers Squibb Research and Development, $34,115.00 status: closed 2011

   G51)      McCullough PA, site Principal Investigator, ABT M11350 RADAR: Reducing Residual
      Albuminuria in Subjects with Diabetes and Nephropathy with AtRasentan – A Phase 2b,
      Prospective, Randomized, Double-Blind, Placebo-Controlled Trial to Evaluate Safety and
      Efficacy, Abbott Laboratories, $188,377.00 status: closed 2012

   G52)      McCullough PA, site Principal Investigator, PEGASUS TIMI 54 trial, A Randomized,
      Double-Blind, Placebo Controlled, Parallel Group, Multinational Trial, to Assess the
      Prevention of Thrombotic Events with Ticagrelor Compared to Placebo on a Background of
      Acetyl Salicylic Acid (ASA) Therapy in Patients with History of Myocardial Infarction,
      AstraZeneca, 2011 $98,530.00 status: transferred to PI Marcel Zughaib, MD

   G53)      McCullough PA, site Principal Investigator, A Double-blind, Randomized, Placebo-
      controlled, Multicenter Study Assessing the Impact of Additional LDL-Cholesterol Reduction
      on Major Cardiovascular Events When AMG 145 is Used in Combination with Statin Therapy
      in Patients with Clinically Evident Cardiovascular Disease AMG 145 Amgen Protocol Number
      20110118 EudraCT number 2012-001398-97, Amgen, Inc., $1,732,062.80 status: closed
      2016

   G54)      McCullough PA, site Principal Investigator, A single-blind, multi-site trial of the
      dietary supplement anatabine (RCP006) to determine the effects on peripheral markers of
      inflammation in patients with elevated levels of C-reactive protein (CRP). Roskamp Institute
      Protocol Number RI-11-01, $6700.00 status: closed 2012

   G55)     McCullough PA, site Principal Investigator, Long-term safety and tolerability of
      REGN727/SAR236553 in high cardiovascular risk patients with hypercholesterolemia not
      adequately controlled with their lipid modifying therapy: a randomized, double-blind,
      placebo-controlled study LTS11717 Sanofi Aventis, $252,000.00 status: closed 2013

   G56)      McCullough PA, site Principal Investigator, Assessment of Clinical Effects of
      Cholesteryl Ester Transfer Protein Inhibition with Evacetrapib in Patients at a High Risk for
      Vascular Outcomes – the ACCELERATE Study, protocol I1V-MC-EIAN, Eli Lilly, $421,202.00
      status: closed 2014



                                                                                        App000192
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 195 of 633 PageID 921




   G57)     McCullough PA, site Principal Investigator, AEGR-733-025, LOWER: Lomitapide
      Observational Worldwide Evaluation Registry, Aegerion, Inc., 2014, $23,478.00 status: open

   G58)       McCullough PA, site Principal Investigator, The Evaluation Of PF-04950615 (RN316),
      In Reducing the Occurrence of Major Cardiovascular Events in High Risk Subjects (SPIRE-1),
      Pfizer, Inc., $145,343.90 status: closed 2016

   G59)       McCullough PA, site Principal Investigator, The Evaluation Of PF-04950615 (RN316)
      In Reducing the Occurrence of Major Cardiovascular Events in High Risk Subjects (SPIRE-2),
      Pfizer, Inc., $145,343.90 status: closed 2016

   G60)      McCullough PA, site Principal Investigator, Long Term Observational Study in Patients
      with Homozygous Familial Hypercholesterolemia Treated with Kynamaro™, Genzyme-
      Sanofi, Inc., $61,260.00 status: closed 2018

   G61)     McCullough PA, site Principal Investigator, CUP14366, Alirocumab (SAR236553)
      Expanded Access Program for the Treatment of Severe Hypercholesteremia Not Controlled
      with Maximal Tolerated Dose of Lipid Lowering Therapy Administered According to
      Standard of Care, Sanofi-Regeneron, Inc., 2015 $8,500.00 status: closed 2015

   G62)     McCullough PA, site Principal Investigator, Aspirin Dosing: A Patient-Centric Trial
      Assessing Benefits and Long-term Effectiveness (ADAPTABLE), Patient-Centered Outcomes
      Research Institute, 2015 $29,400.00 status: open

   G63)      McCullough PA, site Principal Investigator, Assessment of Heart Failure using
      Condition-Specific Impact Assessments (PROMIS), Patient-Centered Outcomes Research
      Institute, 2015 $81,840.00 status: 2017 status: closed

   G64)       McCullough PA, site Principal Investigator, A Randomized Parallel-Group, Placebo-
      Controlled, Double-Blind, Event-Driven, Multi-Center Pivotal Phase III Clinical Outcome Trial
      of Efficacy and Safety of the Oral sGC Stimulator Vericiguat in Subjects With Heart Failure
      With Reduced Ejection Fraction (HFrEF) - VerICiguaT Global Study in Subjects With Heart
      Failure With Reduced Ejection Fraction (VICTORIA), Merck, Inc, 2017 $878,163.90 status:
      closed

   G65)      McCullough PA, site Principal Investigator, A phase III randomised, double-blind trial
      to evaluate efficacy and safety of once daily empagliflozin 10 mg compared to placebo, in
      patients with chronic Heart Failure with preserved Ejection Fraction (HFpEF), EMPEROR-
      PRESERVED, Boehringer-Ingleheim, 2017 $170,099.00, status: open

   G66)      McCullough PA, site Principal Investigator, A phase III randomised, double-blind trial
      to evaluate efficacy and safety of once daily empagliflozin 10 mg compared to placebo, in




                                                                                       App000193
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 196 of 633 PageID 922



      patients with chronic Heart Failure with preserved Ejection Fraction (HFpEF), EMPEROR-
      REDUCED, Boehringer-Ingleheim, 2017 $170,099.00, status: open

   G67)      Schiffmann R, McCullough PA Sub-Investigator, 014-097 PB-102-F03 (Sponsor -
      Protalix - PRX-102 1mg/kg q 2 weeks) A Multi Center Extension Study of PRX-102
      Administered by Intravenous Infusions Every 2 Weeks for 60 Months to Adult Fabry
      Patients, status: open

   G68)      Schiffmann R, McCullough PA Sub-Investigator, 014-288 AT1001-042 (Sponsor -
      Amicus - oral drug - chaperone) An Open-Label Extension Study to Evaluate the Long-Term
      Safety and Efficacy of Migalastat Hydrochloride Monotherapy in Subjects with Fabry
      Disease, status: closed.

   G69)      Schiffmann R, McCullough PA Sub-Investigator, 016-153 PB-102-F20 (Sponsor -
      Protalix - BLINDED - ERT PRX-102 or Fabrazyme 1mg/kg q 2 weeks) A Randomized, Double
      blind, Active Control Study of the Safety and Efficacy of PRX-102 compared to Agalsidase
      Beta on Renal Function in Patients with Fabry Disease Previously Treated with Agalsidase
      Beta – Study Number PB-102-F20, status: open

   G70)      Schiffmann R, McCullough PA Sub-Investigator, 017-189 PB-102-F50 (Sponsor -
      Protalix - PRX-102 infusion - 2mg/kg monthly) A Phase 3, Open Label, Switch Over Study to
      Assess the Safety, Efficacy and Pharmacokinetics of pengunigalsidase alfa (PRX-102) 2 mg/kg
      Administered by Intravenous Infusion Every 4 Weeks for 52 weeks in Patients with Fabry
      Disease Currently Treated with Enzyme Replacement Therapy: Fabrazyme® (agalsidase
      beta) or Replagal (agalsidase alfa), status: open

   G71)     Schiffmann R, McCullough PA 018-150 MODIFY (Sponsor - Idorsia - oral drug -
      substrate reduction) A multicenter, double-blind, randomized, placebo controlled, parallel-
      group study to determine the efficacy and safety of lucerastat oral monotherapy in adult
      subjects with Fabry disease, status: open

   G72)      McCullough PA, site Principal Investigator, A Randomized, Double-blind, Placebo-
      controlled, Parallel-group Multicenter Study to Evaluate the Effects of Sotagliflozin on
      Clinical Outcomes in Hemodynamically Stable Patients with Type 2 Diabetes Post Worsening
      Heart Failure (SAR 439954), Sanofi US Services, Inc, $214,600.00, 2019, status: open

   G73)     McCullough PA, site Sub-Investigator, A Randomized, Double-blind, Placebo-
      controlled, Parallel-group Study to Evaluate the Safety and Efficacy of Alirocumab in
      Patients with Homozygous Familial Hypercholesterolemia (R727-CL-1628), Regeneron
      Pharmaceuticals, Inc, $143,503.00, 2019, status: closed

   G74)     McCullough PA, site Sub-Investigator, A Randomized, Double-Blind, Placebo-
      Controlled, Parallel-Group Study to Evaluate the Efficacy and Safety of Evinacumab in




                                                                                     App000194
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 197 of 633 PageID 923



          Patients with Homozygous Familial Hypercholesterolemia (R1500-CL-1629) Regeneron
          Pharmaceuticals, Inc, $143,503.00, 2019, status: closed

      G75)      McCullough PA, site Sub-Investigator, An Open-Label Study to Evaluate the Long-
         Term Efficacy and Safety of Evinacumab in Patients with Homozygous Familial
         Hypercholesterolemia (R1500-CL-1719) Regeneron Pharmaceuticals, Inc, $65,317.44, 2019,
         status: open

      G76)     Bottiglieri T, Tecson K, McCullough PA, Identifying metabolomic profiles among
         genetically confirmed familial hypercholesterolemia, dyslipidemia without familial
         hypercholesterolemia, and healthy controls, Baylor Health Care System Foundation,
         $49,293.80, 2020 status: open

      G77)      McCullough PA, Wheelan KE. BSWRI—Overall Principal Investigator, 001 A
         prospective clinical study of hydroxychloroquine in the prevention of SARS-COV-2 (COVID-
         19) infection in health care workers after high-risk exposures, FDA IND 149293, Baylor
         Health Care System Foundation, $506,506.00, 2020 status: open

      G78)       McCullough PA, Site Investigator, 4D-310-C001 entitled “An Open-label, Phase 1/2
         Trial of Gene Therapy 4D-310 in Adult Males with Fabry Disease” 4D Molecular
         Therapeutics, Inc, $101,210.85, 2020 status: open

      G79)      McCullough PA, Site Investigator, TQJ230, Assessing the Impact of Lipoprotein (a)
         Lowering With TQJ230 on Major Cardiovascular Events in Patients With CVD
         (Lp(a)HORIZON) Novartis Pharmaceuticals Corporation, $3,475,000.00, 2020 status open


 Published Abstracts

A1)      McCullough PA, O'Neill WW, May M, Lichtenberg A, Strzelecki M, Grines CG, Safian RD.
      Predictors of Acute Complications after Percutaneous Coronary Revascularization with New
      Devices. J Am Coll Cardiol 1994; 122-123A [oral].

A2)      McCullough PA, O'Neill WW, Hoffman M, Glazier S, Safian RD. The "Protective Effect" of
      Restenosis Lesions on Angiographic Complications with New Devices. Circulation 1995;92:I-346
      [poster].

A3)       McCullough PA, Wolyn R, Rocher LL, Levin RN, O'Neill, WW. Acute Contrast Nephropathy
      After Coronary Intervention: Prediction of Dialysis and Related Mortality in the Elderly.
      American Journal of Geriatric Cardiology 1996;5:52 [poster].

A4)       McCullough PA, Wolyn R, Rocher LL, Levin RN, O'Neill WW. Acute Contrast Nephropathy
      After Coronary Intervention: Incidence, Risk Factors, and Relationship to Mortality. J Am Coll
      Cardiol 1996;304-305A [oral].



                                                                                       App000195
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 198 of 633 PageID 924




A5)      McCullough PA, Ayad O, Goldstein JA. Cost-Effectiveness Analysis of Patients Admitted with
      Chest Pain and Normal or Near-Normal Electrocardiograms.            Cathet Cardiovasc Diag
      1996;38:118 [poster].

A6)      Aliabadi D, McCullough PA, Kaplan B, Grines CL, Safian RD, Pica M, O’Neill WW, Goldstein JA.
      A Novel Mobile Fluoroscopic Imaging System for Rapid Bedside Coronary Angiography. Cathet
      Cardiovasc Diag 1996;38:111 [oral].

A7)       Thompson RJ, McCullough PA, Kahn JK, O’Neill WW. Early Prediction of Death and
      Neurologic Outcome in Out-of-Hospital Sudden Death Survivors in the Emergency Department.
      Circulation 1996;94:I-356 [poster].

A8)       McCullough PA, O’Neill WW, Graham M, David S, Stomel R, Rogers F, Grines CL. A
      Prospective Randomized Trial of Triage Angiography in Suspected Acute Myocardial Infarction
      Patients Who are Considered Ineligible for Reperfusion Therapy. Circulation 1996;94:I-570
      [oral].

A9)      Aliabadi D, McCullough PA, Grines CL, Safian RD, Pica MC, O’Neill WW, Goldstein JA. A
      Novel Mobile Fluoroscopic Imaging System for Rapid Bedside Coronary Angiography. J Am Coll
      Cardiol 1997;450A [poster].

A10) McCullough PA, O’Neill WW, Graham M, David S, Stomel R, Rogers F, Farhat A, Kazlauskaite
   R, Grines CL. Late Outcomes in the Medicine vs. Angiography for Thrombolytic Exclusion (MATE)
   Study. Circulation, 1997;96:I-595-596 [oral].

A11) Redle JD, West AJ, Khurana S, Marzan R, McCullough PA, Frumin HI. Prophylactic Oral
   Amiodarone with Beta Blockade has Favorable Effects on Atrial Fibrillation Post Coronary Bypass
   Surgery. Circulation, 1997;96:I-125 [poster].

A12) Sharma ND, Gandhi RS, Philbin EF, Weaver WD, McCullough PA. Which Patients with Left
   Ventricular Dysfunction Require Chronic Anticoagulation? A Prospective Analysis. J Am Coll
   Cardiol 1998;31:33A. [poster].

A13) McCullough PA, Tobin KJ, Kahn JK, O’Neill WW, Thompson RJ. Prediction of In-hospital
   Survival after Sudden Cardiac Death: Derivation and Validation of a Clinical Model. J Am Coll
   Cardiol 1998;31:485A [poster].

A14) Stevens M, McCullough PA, Tobin KJ, Speck JP, Westveer DC, Guido-Allen DA, Hartenburg
   DS, Puchrowicz-Ochocki SB, O’Neill WW. A Randomized Trial of Prevention Measures in Patients
   at High Risk for Contrast Nephropathy: Initial Results of the PRINCE Study. J Am Coll Cardiol
   1998;31:469A [poster].




                                                                                        App000196
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 199 of 633 PageID 925



A15) Tobin KJ, McCullough PA, Speck JP, Westveer DC, Guido-Allen DA, Hartenburg DS,
   Puchrowicz-Ochocki SB, O’Neill WW, Stevens M. What Role Does Mannitol Play in Preventing
   Contrast Nephropathy? A Prospective Analysis. J Am Coll Cardiol 1998;31:469A [poster].

A16) McCullough PA, Al-Zagoum M, Graham M, David S, Stomel R, Rogers F, Farhat A,
   Kazlauskaite R, Grines CL, O’Neill WW. A Time to Treatment Analysis in the Medicine vs.
   Angiography for Thrombolytic Exclusion Trial. Cathet Cardiovasc Diag 1998;44:105 [oral].

A17) McCullough PA, Al-Zagoum M, O’Neill WW, Graham M, David S, Stomel R, Rogers F, Farhat
   A, Kazlauskaite R, Grines CL. A Program of Triage Angiography in Acute Coronary Syndromes
   Ineligible for Thrombolysis: An Efficacy Analysis. Cathet Cardiovasc Diag 1998;44:105[poster].

A18) Philbin EF, McCullough PA, Polanczyk CA, Jenkins PL, DiSalvo TG. Are Subjects in Heart
   Failure Trials Similar in Clinical Practice? Circulation, 1998;98:I-866 [moderated poster].

A19) McCullough PA, Smith S, Borzak S. Understanding the Risks Associated with Baseline Renal
   Function in the Coronary Care Unit. Circulation, 1998;98:I-413 [poster].

A20) Afzal A, Gunda M, Brawner CA, Havstad S, McCullough PA, Keteyian SJ. Race and the Rate of
   Referral to Cardiac Rehabilitation. Circulation, 1998;98:I-810-811 [poster].

A21) Borzak S, Every NR, Jankowski M, Havstad S, Chase GA, McCullough PA, Elston-Lafata J,
   Weaver WD. Elderly Patients with Unstable Angina Have Ongoing Risk for Future Events.
   Circulation, 1998;98:I-629 [oral].

A22) Borzak S, Every NR, Chase GA, Jankowski M, Havstad S, McCullough PA, Elston-Lafata J,
   Weaver WD. U.S. Regional Differences in Use of Revascularization for Unstable Angina Patients.
   Circulation, 1998;98:I-275 [oral].

A23) McCullough PA, Newman M, Kaiser Carlson L, Flower J, Tuchfield B. Accelerating the
   Improvement in Community Cardiovascular Health Using Web-Enhanced Project Development.
   J Am Coll Cardiol 1999;33:7A [info@ACC].

A24) Mehra P, Pasnoori V, Sengstock D, Obaidat O, Brawner CA, Keteyian SJ, Philbin EF,
   McCullough PA. The Effect of Reactive Airways Disease on Peak Oxygen Consumption in
   Congestive Heart Failure. J Am Coll Cardiol 1999;33:172A [poster].

A25) McCullough PA, Cingireddy U, Philbin EF, Weaver WD. Evidence for a Heart Failure
   Epidemic: Findings from the REACH Study. J Am Coll Cardiol 1999;33:179A [poster].

A26) McCullough PA, Cingireddy U, Philbin EF, Weaver WD. Secular Trends in the Management of
   Congestive Heart Failure by Primary Care Physicians and Cardiovascular Specialists. J Am Coll
   Cardiol 1999;33:247A [poster]




                                                                                    App000197
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 200 of 633 PageID 926



A27) Hassan SA, Borzak S, Philbin EF, Soman S, Shah S, Weaver WD, Yee J, Marks KR, McCullough
   PA. The Impact Chronic Renal Insufficiency on Heart Failure Mortality after Hospitalization.
   Journal of Cardiac Failure 1999;5 Suppl 1:70. [poster].

A28) Sengstock D, Obaidat O, Pasnoori V, Mehra P, McCullough PA. Asthma, Chronic Beta-Agonist
   Use, and the Development of Dilated Cardiomyopathy: Primary Results from the ABCHF Study.
   Journal of Cardiac Failure 1999;5 Suppl 1:64. [moderated poster].

A29) McCullough PA, Kuntz RE, Marks KR, Popma JJ. Should We Change from Aspirin and
   Ticlopidine to Aspirin and Clopidogrel after Routine Coronary Stenting? A Population-Based
   Decision Analysis. Circulation 1999;100:I-379.[oral].

A30) McCullough PA, Prakash R, Tobin KJ, O'Neill WW, Thompson RJ. Application of a Cardiac
   Arrest Score in Patients with Sudden Death and ST Segment Elevation for Triage Angiography
   and Intervention. Fighting Sudden Cardiac Death: A Worldwide Challenge, 1999;18:T-2.

A31) McCullough PA, Philbin EF, Czerska B, Spertus JA, Weaver WD. Population-based
   Medication Profiling in Heart Failure: Treatment Related Outcomes from the R.E.A.C.H. Study. J
   Am Coll Cardiol 2000; 35:542A [moderated poster].

A32) McCullough PA, Philbin EF, Czerska B, Spertus JA, Weaver WD. The Diagnostic Evaluation of
   Newly Discovered Heart Failure: Opportunities for Improvement from the R.E.A.C.H. Study. J
   Am Coll Cardiol 2000;35:327A [poster].

A33) Shah SS, Tokarski GF, McCord JK, Khoury NE, McCabe KB, Morlock RJ, Noor H, McCullough
   PA. Impact of an Emergency Department Cardiac Clinical Decision Unit on a Population of
   Patients with Episodic Chest Discomfort. J Am Coll Cardiol 2000;35:380A [poster].

A34) Kadakia RA, McCullough PA, Soman S, Jankowski M, Borzak S, Keeley EC. Does Percutaneous
   Revascularization Confer a Long-Term Survival Benefit in Patients with Acute Renal Failure? J Inv
   Cardiol 2000;12(11):P1.

A35) McCullough PA, Philbin EF, Spertus JA, Weaver WD. Gender Differences in the Diagnostic
   Evaluation of Heart Failure: Findings from the R.E.A.C.H. Study. J Inv Cardiol 2000;12(11):P23.

A36) Pampati V, Shenkman HJ, McKinnon JE, Khandelwal AK, Nori DM, McCullough PA. The
   Significance of QRS Prolongation in Heart Failure: Findings from the CONQUEST Study.
   Chest2000;118(4):133S.

A37) Hassan SA, Bhatt S, Borzak S, Pallekonda V, Soman SS, Yee J, Marks K, McCullough PA.
   Clinical and Echocardiographic Determinants of Congestive Heart Failure with Renal
   Dysfunction.Chest2000;118(4):134S.




                                                                                       App000198
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 201 of 633 PageID 927



A38) Soman SS, Vera E, Jaffery H, Singh S, Marks KR, Borzak S, McCullough PA. Impact of Age and
   Admission Hemoglobin on Coronary Care Unit Mortality. Chest 2000; 118(4):166S.

A39) Soman SS, Shah S, Marks KR, Yee J, Borzak S, McCullough PA. The Independent Association
   of Renal Dysfunction and Arrhythmias in the Intensive Care Unit Setting.           Chest
   2000;118(4):171172S.

A40) Sallach JA, Soman SS, Sallach SM, Yee J, Karriem V, Hoffman RM, McCullough PA.
   “Homocysteine Flux”: An Opportunity to Modify Cardiovascular Risk in Hemodialysis
   Patients.Chest2000;118(4):218S.

A41) McKinnon JE, Khandelwal AK, Shenkman HJ, Pampati V, Nori DM, McCullough PA.
   Congestive Heart Failure and QRS Duration: Utilization in Establishing Prognosis in Systolic and
   Diastolic Dysfunction—Results of the CONQUEST Study. Chest 2000; 118(4):221S.

A42) Kadakia RA, Bonifacio DL, Mikhail B, Clark VL, McCullough PA. Survival Following Coronary
   Intervention in Patients with End Stage Renal Disease. Chest 2000; 118(4):226-227S.

A43) Hassan S, Nori D, Bhatt S, Borzak S, Philbin E, Weaver WD, Soman S, Shah S, McCullough PA.
   Impact of Bundle Branch Block (BBB) Pattern on EKG on Survival in Patients with Congestive
   Heart Failure (CHF), an Eight Year Follow-up Study. Journal of Heart Failure 2000;6(1):65 [A258].

A44) Soman SS, Sallach J, Sallach S, McCullough PA, Karriem V, Hoffman R, Yee J. Homocysteine
   (tHcy) Removal by Hemodialysis (HD) Modifies Cardiovascular Disease (CVD) Risk in ESRD.
   American Society of Nephrology 2000 [A0887].

A45) McCord JK, Nowak R, McCullough PA, Borzak S, Tokarski G, Tomlanovich M, Foreback C,
   Malki Q, Asfour A, Weaver WD. Very Rapid Rule-out: 90 Minute Exclusion of Acute Myocardial
   Infarction (AMI) with Troponin-I (cTnI) and Myoglobin (Myo). Circulation 2000;102(18): II497.

A46) Shenkman HJ, McKinnon JE, Khandelwal AK, Pampati V, Nori DM, McCullough PA.
   Determinants of QRS Prolongation in a Generalized Heart Failure Population: Findings from the
   Conquest Study. Circulation 2000;102(18): II617.

A47) Philbin EF, McCullough PA, Di Salvo TG, Dec W, Jenkins PL, Weaver WD. Socioeconomic
   Status is an Important Determinant of Use of Invasive Strategies after Myocardial Infarction in
   Hospitals with Cardiac Surgery. Circulation 2000;102(18): II840.

A48) McCullough PA, Sandberg KR, Borzak S, Hudson MP, Garg M, Manley HJ. Use of Aspirin and
   thrombolysis for myocardial infarction in patients with chronic renal disease: An opportunity for
   quality improvement, AHA Conference on Quality of Care and Outcomes P93, Circulation 2001.




                                                                                        App000199
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 202 of 633 PageID 928



A49) Ketterer MW, Goldberg AD, McCullough PA, Patel S, Farha AJ, Clark V, Keteyian S, Dennollet
   J, Chapp J, Thayer B, Deveshwar S. Psychosocial Correlates of Early Ischemic Heart Disease
   (IHD): Preliminary Results. Psychosomatic Medicine 2001;63:172-173.

A50) Fitzgerald FE, Thayer BL, Ehrman JK, Keteyian S, Jarvis R, McCullough PA. A Hospital
   Employee Cholesterol Challenge Using Spreads Containing Plant Sterol Esters to Help Reduce
   Total and LDL-Cholesterol. American Diabetes Association 2001 [p000].

A51) McCullough PA, Garg M, Bonifacio DL, Malineni K, Kadakia RR, Soman SS, Sandberg KR.
   Relationship between Lipid Levels and Advanced Coronary Calcification in End Stage Renal
   Disease. Central Society for Clinical Research Combined Annual Meeting, 2001 [P78] Journal of
   Investigative Medicine 2001;49:284A.

A52) McCullough PA, Hudson MP, Garg M, Borzak S. Benefits of Aspirin and Beta-Blockade after
   Myocardial Infarction in Patients with Advanced Renal Dysfunction. Central Society for Clinical
   Research Combined Annual Meeting, 2001 [P79] Journal of Investigative Medicine
   2001;49:285A.

A53) Hannen MN, McCullough PA, Garg M, Quick AM. Tricuspid Valve Endocarditis in a Patient
   with Negative Blood Cultures and Right Atrial Mass. Central Society for Clinical Research
   Combined Annual Meeting, 2001 [P96] Journal of Investigative Medicine 2001;49:287A.

A54) McCullough PA, Garg M, Borzak S, Hudson MP. Outcomes after Myocardial Infarction in
   Patients with Advanced Renal Disease Treated with Aspirin ĂŶĚɴ-Blockade. CHEST
   2001;120(4):145S.

A55) McCullough PA, Garg M, Borzak S, Hudson MP. Benefits of Aspirin and Beta-Blockade after
   Myocardial Infarction in Patients with Chronic Renal Disease. Circulation 2001;104 (17):II-234.

A56) Manhapra A, Jacobsen G, Havstad S, McCullough P, Hudson MP, Weaver WD, Borzak S.
   Improved Long Term Survival with Beta Blocker Therapy Among African Americans and
   Caucasians with Myocardial Infarction. Circulation 2001;104 (17):II-627.

A57) Manhapra A, Jacobsen G, Havstad S, McCullough P, Hudson MP, Weaver WD, Borzak S.
   Racial Differences in Long Term Survival following an Acute Myocardial Infarction. Circulation
   2001;104 (17):II-778.

A58) Brown WW, Bakris GL, Collins A, Flack JM, Gannon M, Greene E, Grimm R, Keane WF, Klag
   M, McCullough P, Politoski G. Identification of Individuals at High Risk (HR) for Kidney Disease
   (KD) via Targeted Screening. International Society of Hypertension in Blacks 2001 Meeting, Las
   Vegas, July 8-12, 200, Plenary Presentation and Poster. Ethnicity & Disease 2001; 11 (2): 358.

A59) Brown WW, Bakris GL, Chen S, Collins A, Davis J, Flack JM, Gannon M, Greene E, Grimm R,
   Keane WF, Klag MJ, McCullough PA, Politoski G, Tran A. St. Louis VAMC/St. Louis University,



                                                                                        App000200
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 203 of 633 PageID 929



   Rush Presbyterian, Minneapolis Medical Research Foundation, NKF, Wayne State University,
   Mayo Clinic, Hennepin County Medical Center, Johns Hopkins Medical Institutions, UMKC.
   Targeted Screenings Identify Persons at Risk for Kidney Disease (KD). Poster, ASN/ISN
   International Congress of Nephrology, San Francisco, October 13-17, 2001. J of the Am Soc of
   Nephrol 2201; 12: A1003.

A60) Maisel AS, Hlavin P, McCord J, Nowak RM, Hollander JE, Duc P, Steg G, Omland T, Westheim
   A, Abraham WT, Storrow AB, McKay CA, Wu AH, McCullough PA, for the BNP Multinational
   Study Investigators. B-Type Natriuretic Peptide in the Emergency Diagnosis of Diastolic
   Dysfunction Heart Failure. J Am Coll Cardiol 2002;39:140A.

A61) McCullough PA, Nowak RM, McCord J, Hollander JE, Steg G, Duc P, Westheim A, Omland T,
   Storrow AB, Abraham WT, Wu AH, Clopton P, Lenert L, Maisel AS, for the BNP Multinational
   Study Investigators. B-Type Natriuretic Peptide Adds to Clinical Judgment in the Diagnosis of
   Heart Failure: A Bayesian Analysis From the BNP Multinational Study. J Am Coll Cardiol
   2002;39:140A.

A62) McCullough PA, Nowak RM, McCord J, Hollander JE, Loh E, Steg G, Duc P, Omland T,
   Westheim A, Abraham WT, Storrow AB, Wu AH, Hlavin P, Maisel AS, for the BNP Multinational
   Study Investigators. The Independent Contribution to Elevations in B-Type Natriuretic Peptide
   from Atrial Fibrillation. J Am Coll Cardiol 2002;39:90A.

A63) Maisel AS, Kazanegra R, McCord J, Nowak RM, Hollander JE, Duc P, Steg G, Omland T, Wold-
   Knudsen C, Westheim A, Abraham WT, Storrow AB, Wu AH, McCullough PA, for the BNP
   Multinational Study Investigators. The Effect of Diabetes on B-Type Natriuretic Peptide Levels in
   Patients with Acute Dyspnea. J Am Coll Cardiol 2002;39:182A.

A64) McCullough PA, Nowak RM, Foreback C, Borzak S, Tokarski G, Tomlanovich MC, Jacobsen G,
   Weaver WD, Sandberg KR, McCord J. Performance of Cardiac Troponin I in the Exclusion of
   Myocardial Infarction in Patients with Advanced Renal Disease. J Am Coll Cardiol 2002;39:326A.

A65) Khandelwal A, McKinnon JE, Shenkman HJ, Pampati V, Nori D, Kaatz S, Sandberg KR,
   McCullough PA. Epidemiology of Systolic and Diastolic Dysfunction Heart Failure in 3,471 Urban
   Patients. J Am Coll Cardiol 2002;39:192A.

A66) Maisel AS, Kazanegra R, McCord J, Nowak RM, Hollander JE, Duc P, Steg G, Omland T,
   Westheim A, Abraham WT, Storrow AB, Lamba S, Wu AH, McCullough PA, for the BNP
   Multinational Study Investigators. Primary Results of the BNP Multinational Study: B-Type
   Natriuretic Peptide in the Emergency Diagnosis of Heart Failure. J Am Coll Cardiol
   2002;39:201A.

A67) McCullough PA, McCord J, Nowak RM, Hollander JE, Duc P, Omland T, Abraham WT, Wu
   AHB, Krishnaswamy P, Maisel AS. B-type Natriuretic Peptide Should be Part of the Diagnostic




                                                                                       App000201
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 204 of 633 PageID 930



   Evaluation of Heart Failure: Implications from the Breathing Not Properly (BNP) Multinational
   Study. J Heart Failure 2002;7(1):44.

A68) Nowak RM, Maisel AS, McCord J, Kazanegra R, Hlavin P, Lenert LA, Clopton P, Hollander JE,
   Loh E, Duc P, Steg PG, Westheim A, Omland T, Abraham WT, Lamba S, Storrow AB, Wu AHB,
   McKay C, McCullough PA. B-type Natriuretic Peptide Complements Clinical Judgment in the
   Emergency Diagnosis of Heart Failure. Acad Emerg Med 2002 9: 359.

A69) Hollander JE, Maisel AS, Nowak RM, McCord J, Kazanegra R, Hlavin P, Lenert LA, Clopton P,
   Loh E, Duc P, Steg PG, Wertheimer A, Omland T, Abraham WT, Lamba S, Storrow AB, Wu AHB,
   McKay C, McCullough PA. Impact of Acute Myocardial Ischemia on Blood B-Type Natriuretic
   Peptide in the Emergency Diagnosis of Heart Failure. Acad Emerg Med 2002 9: 440.

A70) Knudsen CW, Omland T, Clopton P, Westheim A, Abraham WT, Storrow AB, McCord J,
   Nowak RM, Steg PG, Duc P, McCullough PA, Maisel AS. Diagnostic Value of Chest Radiographs
   in Patients Presenting with Acute Dyspnea: Comparison with B-type Natriuretic Peptide.
   Circulation 2002;106(19):II-683.

A71) Omland T, Knudsen CW, Westheim A, McCord J, Aumont MC, McCullough PA. The Effect of
   Hypertension on B-type Natriuretic Peptide Levels in Patients with Acute Dyspnea: An Analysis
   from the Breathing Not Properly Study. Circulation 2002;106(19):II-477.

A72) Sallach JA, McCord J, Sallach SM, Duc P, Omland T, Nowak RM, Hollander JE, Storrow AB,
   Abraham WT, Wu AHB, Clopton P, Krishnaswamy P, Maisel AS, McCullough PA. The Effect of
   Pre-Existing Ischemic Heart Disease on B-type Natriuretic Peptide Levels in Patients Presenting
   with Acute Dyspnea. Circulation 2002;106(19):II-565.

A73) Ehrman JK, Manhapra A, Jacobsen G, McCullough PA. Lower Socioeconomic Status is
   Associated with Poor Survival in Heart Failure Patients. Circulation 2002;106(19):II-762.

A74) McCullough PA, Omland T, Knudsen CW, Duc P, Nowak RM, McCord J, Hollander JE, Aumont
   MC, Steg PG, Westheim A, Storrow AB, Abraham WT, Lamba S, Wu AHB, Alan S. Maisel AS, BNP
   Multinational Study Investigators. Uncovering Heart Failure in Patients with Bronchospasm:
   Rationale for the Early Use of B-Type Natriuretic Peptide in the Emergency Department. J Am
   Coll Cardiol 2003;41:142A.

A75) Maisel AS, Kazanegra R, McCullough PA, McCord J, Nowak RM, Hollander JE, Wu AHB, Duc P,
   Omland T, Storrow AB, Krishnaswamy P, Abraham WT, Clopton P, Steg PG, Westheim A,
   Knudsen CW, Herrmann HC. Bedside B-Type Natriuretic Peptide in the Emergency Diagnosis of
   Systolic and Nonsystolic Heart Failure: Results From the Breathing Not Properly (BNP)
   Multinational Study. J Am Coll Cardiol 2003;41:143A.

A76) Steg PG, Duc P, Joubin L, McCord J, Abraham WT, Hollander JE, Omland T, Baron G, Aumont
   MC, Mentré F, McCullough PA, Maisel AS, BNP Multinational Study Investigators. A Comparison



                                                                                       App000202
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 205 of 633 PageID 931



   of Bedside B-Type Natriuretic Peptide Versus Echocardiographic Determination of Ejection
   Fraction in the Diagnosis of Heart Failure. J Am Coll Cardiol 2003;41:337A.

A77) Mundy BJ, McCord J, Nowak RM, Hudson MP, Czerska B, Jacobsen G, Omland T, Wu AHB,
   Duc P, Hollander JE, McCullough PA, Maisel AS, BNP Multinational Study Investigators. B-Type
   Natriuretic Peptide Levels Are Inversely Related to Body Mass Index in Patients With Heart
   Failure. J Am Coll Cardiol 2003;41:158A.

A78) McCullough PA, Nowak RM, McCord J, Omland T, Knudsen CW, Duc P, Hollander JE, Steg PG,
   Aumont MC, Westheim A, Storrow AB, Abraham WT, Lamba S, Wu AHB, Maisel AS, BNP
   Multinational Study Investigators. What is in the Differential Diagnosis of a B-Type Natriuretic
   Peptide Level of 1,000 pg/ml? J Am Coll Cardiol 2003;41:159A.

A79) McCullough PA, Steg PG, Aumont MC, Duc P, Omland T, Knudsen CW, Nowak RM, McCord J,
   Hollander JE, Westheim A, Storrow AB, Abraham WT, Lamba S, Wu AHB, Maisel AS, BNP
   Multinational Study Investigators. What Causes Elevated B-Type Natriuretic Peptide in Patients
   Without Heart Failure? J Am Coll Cardiol 2003;41:278A.

A80) Gurudutt B. Kulkarni, John House, John A. Spertus, Peter A. McCullough. Chronic Kidney
   Disease: The Silent Killer After Coronary Angioplasty. J Am Coll Cardiol 2003;41:54A.

A81) Chew DP, Bhatt DL, Berger PB, Henry T, McCullough PA, Feit F, Bittl JA, Lincoff AM.
   Bivalirudin Provides Increasing Benefit With Declining Renal Function in Percutaneous Coronary
   Intervention: A Meta-Analysis of 5,035 Patients Enrolled in Three Randomized Trials. J Am Coll
   Cardiol 2003;41:83A.

A82) Stone GW, McCullough PA, Tumlin J, Madyoon H, Murray P, Wang A, Chu AA, Schaer G,
   Stevens M, Wilensky RL, O'Neill WW, Lepor N. A Prospective, Randomized Placebo-Controlled
   Multicenter Trial Evaluating Fenoldopam Mesylate for the Prevention of Contrast Induced
   Nephropathy: The CONTRAST Trial. J Am Coll Cardiol 2003;41:83A.

A83) McCullough PA, Duc P, Omland T, McCord J, Nowak RM, Hollander JE, Herrmann HC, Steg
   PG, Westheim A, Aumont MC, Knudsen CW, Storrow AB, Abraham WT, Lamba S, Wu AHB, Perez
   A, Clopton P, Krishnaswamy P, Kazanegra R, Maisel AS, BNP Multinational Study Investigators.
   B-Type Natriuretic Peptide and Renal Function in the Diagnosis of Heart Failure: An Analysis
   from the BNP Multinational Study. J Am Coll Cardiol 2003;41:222A.

A84) McCullough PA, Sandberg KR, Yanez J. Determinants of vascular calcification in patients
   with chronic kidney disease and end-stage renal disease: a systematic review. Am J Kidney Dis
   2003;(42)227A.

A85) Kazanegra R, Clopton P, Krishnaswamy P, Nowak RM, McCord J, Hollander JE, Duc P, Omland
   T, Storrow AB, Abraham WT, Wu AH, Steg PG, Westheim A, Perez A, Herrmann HC, Knudsen CW,
   Aumont M-C, McCullough PA, Maisel AS. The impact of age, race and gender on the ability of B-



                                                                                      App000203
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 206 of 633 PageID 932



   type natriuretic peptide to aid in the emergency diagnosis of heart failure: results from the
   breathing not properly (BNP) multinational study. J Cardiac Failure 2003; 9(5):S36.

A86) Aumont MC, Duc P, Baron G, McCord JA, Omland T, Storrow AB, McCullough PA, Maisel AS.
   High levels of brain natriuretic peptide without chronic heart failure: analysis of a multicentre
   study. Eur Heart J 2003;24(530): P2810.

A87) Havranek EP, Masoudi FA, Rumsfeld JS, Luther SA, McCullough PA, Jones PG, Rathore SS.
   Changes in BNP are not associated with outcomes in outpatients with heart failure. Circulation
   2003;108(17):IV-692.

A88) Sandberg KR, Gallagher MJ, Krause KR, Franklin BA, McCullough PA. Caloric expenditure in
   the morbidly obese. Circulation 2003;108(17):IV-735.

A89) Gallagher MJ, Sandberg KR, de Jong A, Krause KR, McCullough PA, Franklin BA. Heart rate
   recovery after symptom limited exercise testing in obese patients. Circulation 2003;108(17):IV-
   735.

A90) Fishbane S, McCullough PA, Rudnick M. Systematic Review of the Role of N-acetylcysteine
   in the Prevention of Contrast Media-Induced Nephropathy. J Am Soc Nephrol Vol 14, 2003,
   1553A.

A91) Stacul F, Bertrand ME, McCullough PA, Brinker J. Contrast-induced nephropathy (CIN)
   following iso-osmolar (IOCM) versus low-osmolar contrast media (LOCM) in patients undergoing
   angiography and predicting factors for CIN: a meta-analysis. European Congress of Radiology
   2004, B-934.

A92) Maisel AS, Hollander J, Guss D, McCullough PA, Nowak R, Green G, Saltzberg M, Kazanegra
   R, Clopton P, Jesse R, for the REDHOT Investigators. Primary results of the Rapid Emergency
   Department Heart Failure Outpatient Trial (REDHOT): a multicenter trial examining B-type
   natriuretic peptide levels, emergency physician decision making and outcomes in patients with
   shortness of breath. J Am Coll Cardiol 2004; 43(5):6A.

A93) Knudsen CW, Omland T, Westheim A, Clopton P, Abraham WT, Storrow A, McCord JK,
   Nowak R, Duc P, McCullough PA, Maisel A. B-type natriuretic peptide and chest radiograph
   findings as indicators of systolic dysfunction in patients presenting with acute dyspnea. J Am
   Coll Cardiol 2004; 43(5):171A.

A94) Soman P, Lahiri A, Mieres J, Calnon D, Wolinsky D, Beller GA, Sias T, Burnham K, Conway L,
   McCullough PA, Daher E, Walsh MN, Wight J, Heller GV, Udelson JE. Investigation of
   Myocardial-Gated SPECT Imaging as an Initial Strategy in Heart Failure: The IMAGING in Heart
   Failure Study. J Am Coll Cardiol 2004;43(5):323A.




                                                                                        App000204
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 207 of 633 PageID 933



A95) Maisel AS, Bhalla MA, Gardetto N, McCord J, Nowak RM, Hollander JE, Wu AHB, Duc P,
   Omland T, Storrow AB, Krishnaswamy P, Abraham WT, Clopton P, Steg G, Aumont MC,
   Westheim A, Knudsen CW, Perez A, Kamin R, Kazanegra R, Herrmann HC, McCullough PA, for
   the BNP Multinational Study Investigators. Utility of B-type natriuretic peptide levels in
   predicting outcome of hospitalized patients with congestive heart failure: results of the
   Breathing Not Properly (BNP) Multinational Study. J Am Coll Cardiol 2004; 43(5):234A.

A96) Sandberg KR, Irving SD, Veri S, McCullough PA. Dietary and exercise habits in morbidly
   obese patients pre and post gastric bypass surgery. Presented at the 44th Annual Conference on
   Cardiovascular Disease Epidemiology and Prevention. Circulation 2004;109(6):P233.

A97) Sandberg KR, Gallagher MJ, Franklin BA, deJong AT, Krause KR, McCullough PA. The effects
   of bariatric surgery on exercise tolerance and cardiopulmonary fitness in the morbidly obese.
   American Society for Bariatric Surgery Annual Meeting 2004 [P7].

A98) Odom JS, Sandberg KR, McCullough PA. Psychological screening in bariatric surgery
   candidates. American Society for Bariatric Surgery Annual Meeting 2004 [P51].

A99) de Jong AT, Gallagher MJ, Sandberg KR, Krause KR, Ehrman JK, Keteyian SJ, Brawner CA,
   McCullough PA, Franklin BA. Ability to achieve maximal oxygen consumption during exercise
   testing in morbidly obese patients. Medicine & Science in Sports and Exercise 2004;36(4):S140
   [999].

A100) Conklin A, de Jong AT, Franklin BA, McCullough PA. Evaluation of cardiorespiratory fitness in
   morbidly obese adults: a feasibility study. Medicine & Science in Sports and Exercise
   2004;36(4):S140 [1000].

A101) Grayson D, De Jong AT, Ochoa A, Gallagher M, Franklin BA, McCullough PA. Oxygen
   consumption changes during EECP treatment in patients with and without coronary artery
   disease. Medicine & Science in Sports and Exercise 2004;36(4):S140 [1475].

A102) Jurkovitz C, Norris K, Li S, Shen SC, McGill JA, McCullough PA, Narva A, Bakris G, Collins A,
   Klag M, Brown W. Does Obesity Modify the Association between Hypertension and Race? An
   Analysis of the KEEP Population. Preventive Medicine 39(2004), S21.

A103) Strunk A, Bhalla V, Clopton P, Nowak RM, McCord J, Hollander JE, Duc, P, Storrow, AB,
   Abraham WT, Wu AHB, Steg G, Perez A, Kazanegra R, Herrmann HC, Aumont MC, McCullough
   PA, Maisel AS for the BNP Multinational Study Investigators*. Impact of the history of
   congestive heart failure on accuracy of BNP in the emergency diagnosis of heart failure: results
   from the breathing not properly (BNP) multinational study. J Card Failure 10(4):S50 #120, 8th
   Annual Scientific meeting of the Heart Failure Society of America, 2004.




                                                                                         App000205
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 208 of 633 PageID 934



A104) Jurkovitz C, Li S, Norris K, McGill J, Chen SC, Pergola P, Narva A, McCullough PA, Brown W,
   Klag M. Obesity is associated with risk factors for chronic kidney disease: Kidney Early
   Evaluation Program Results. J Am Soc Nephrol 2004;15:134A.

A105) Singh AK, McGill J, McCullough PA, Brown W, Collins A, Chen SC, Li S, Narva A, Herman WH,
   Bakris GL, Jurkovitz C, Norris K, Pergola P, Klag M. Advanced stages of chronic kidney disease
   (CKD) detected among screened individuals with diabetes mellitus, undiagnosed diabetes, and
   mildly elevated glucose values: Results from the NKF Kidney Early Evaluation Program (KEEP)
   Study. J Am Soc Nephrol 2004;15:322A.

A106) McGill J, McCullough PA, Brown W, Collins A, Chen SC, Li S, Narva A, Herman WH, Bakris GL,
   Norris K, Pergola P, Klag M, Jurkovitz C. Pre-menopausal and elderly women with chronic
   kidney disease (CKD) at highest risk of anemia: Results from the NKF Kidney Early Evaluation
   Program (KEEP) Study. J Am Soc Nephrol 2004;15:547A.

A107) Gallagher MJ, Franklin BA, deJong A, Sandberg KR, Krause KR, Ehrman JK, Keteyian SJ,
   Brawner CA, Mattichak SJ, Kahn JK, McCullough PA. Cardiorespiratory fitness levels in obesity
   approximate those of heart failure patients: implications for exercise prescription. Circulation
   2004;110(17)822A.

A108) Knudsen CW, Clopton P, Klemsdal TO, Westheim A, Wu A, Abraham WT, Storrow AB,
   McCord JK, Nowak RM, McCullough PA, Omland T. Predictors of absence of heart failure in
   patients with elevated B-type natriuretic peptide levels. 2004;110(17)368A.

A109) Daniels LB, Clopton P, Hollander JE, Guss D, McCullough P, Nowak R, Green G, Saltzberg M,
   Ellison SR, Bhalia MA, Bhalia V, Jesse R, Maisel A. Effect of ethnicity on likelihood of admission
   for heart failure. J Am Coll Cardiol 2005;45(3)168A.

A110) McCullough PA, Brown WW, McGill JB, Collins AJ, Chen SC, Li S, Singh AK, Narva AS, Herman
   WH, Bakris GL, Jurkovitz CT, Norris KC, Pergola P, Klag MJ, for the KEEP Investigators.
   Independent components of chronic kidney disease as a cardiovascular risk factor; results from
   the Kidney Early Evaluation Program (KEEP). J Am Coll Cardiol 2005;45(3)424A.

A111) McCullough PA, Klag MJ, McGill JB, Collins AJ, Chen SC, Li S, Singh AK, Narva AS, Herman WH,
   Bakris GL, Jurkovitz CT, Norris KC, Pergola P, Brown WW, for the KEEP Investigators. Age over 30
   becomes a cardiovascular risk factor in patients screened for chronic kidney disease, results
   from the Kidney Early Evaluation Program (KEEP). J Am Coll Cardiol 2005;45(3)434A.

A112) Daniels LB, Clopton P, Chiu A, McCord J, Hollander JE, Duc P, Omland T, Storrow AB, Wu AHB,
   Steg G, Westheim A, Knudsen CW, Hermann HC, McCullough PA, Maisel AS. Using B-type
   natriuretic peptide to diagnose heart failure in obese patients. J Am Coll Cardiol
   2005;45(3)141A.




                                                                                         App000206
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 209 of 633 PageID 935



A113) Trivax JE, Gallagher MJ, Alexander DV, deJong AT, Kasturi G, Sandberg KR, Jafri SM, Krause
   KR, Chengelis DL Moy J, Franklin BA, McCullough PA. Poor aerobic fitness predicts
   complications associated with bariatric surgery. CHEST 2005;128(4)282S.

A114) Miller WM, Nori KE, Sandberg KR, Vial C, VanderLinden M, McCullough PA. Change in C-
   reactive protein levels with weight loss following gastric bypass surgery. Circulation
   2005;111(14) P213.

A115) Moy J, Gallagher M de Jong A, Sandberg K, Trivax J, Alexander D, Kasturi G, Jafri S, Krause K,
   Chengelis D, Franklin B, McCullough P. Preoperative cardiopulmonary fitness predicts surgical
   complications after laparoscopic roux-en-Y gastric bypass surgery for morbid obesity. Obesity
   Research 2005;13, A14 (54-OR).

A116) Nori Janosz K, Koenig K, Leff C, Miller W, McCullough P. How much weight needs to be lost
   to resolve type 2 diabetes? Obesity Research 2005;13, A59 (229-P).

A117) Odom J, Ferrara M, McCullough P, Miller W. The effect of behavioral group attendance on
   weight loss while participating in an out-patient, hospital-based, meal replacement program.
   Obesity Research 2005;13, A144 (557-P).

A118) Miller W, Veri S, Odom J, Lillystone M, Gibbs D, McCullough P. Effects of a short-term
   multidisciplinary program for childhood obesity. Obesity Research 2005;13, A84 (328-P).

A119) Odom J, Ferrara M, McCullough P, Miller W. The effect of psychosocial factors on weight
   loss during an out-patient, hospital-based, meal replacement program. Obesity Research
   2005;13, A69 (267-P).

A120) Vanhecke TE, Miller WM, Franklin BA, Weber JE, McCullough PA. Differences in health
   awareness knowledge, environmental tobacco smoke exposure (ETS), and body-shape
   perception among adolescents based upon body mass index. J Am Coll Cardiol 2006;47(4) 247A.

A121) Duru K, Jurkovitz C, Narva A, McGill J, Bakris G, Chen SC, Lu S, Pergola P, McCullough P, Singh
   A, Klag M, Collins A, Brown W, Norris K. Racial and gender differences in hypertension control
   and chronic kidney disease: results from the Kidney Early Evaluation Program (KEEP). NKF 2006
   Spring Clinical Meetings; 245: P101.

A122) Conklin A, de Jong A, McCullough PA, Franklin B. Cardiorespiratory Fitness: Relation to Body
   Mass Index among the Morbidly Obese and Superobese. Med Sci Sports Exerc. 2006 May;38(5
   Suppl):S84-5.

A123) Miller WM, Khazaal N, Nori-Janosz K, Franklin B, Vial C, Kaitner R, McCullough P. Advantages
   of group treatment and exercise promoting short-term weight loss in obese adults. Obesity
   2006;14(Suppl):A157.




                                                                                        App000207
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 210 of 633 PageID 936



A124) McCullough PA. Which Types and Which Amount of Physical Activities to Achieve and
   Maintain a Healthy Body Weight? 4th Metabolic Syndrome, Type II Diabetes, and
   Atherosclerosis Congress (MSDA), 2007, AL-18, p 23.

A125) Vanhecke TE, McCullough PA, Trivax J, DeJong A, Franklin BA. Energy Expenditure, Epicardial
   Adipose Tissue and Cardiorespiratory Fitness in Morbidly Obese Adults: 2154: Board #67 June 1
   8:00 AM - 9:30 AM. Med Sci Sports Exerc. 2007 May;39(5 Suppl):S385.

A126) Miller WM, Veri S, Odom J, Lillystone M, Washington T, McCullough PA, Franklin BA. Dietary
   behaviors and knowledge among urban pre-adolescents: 1581: board #71 may 30 3:30 PM - 5:00
   PM. Med Sci Sports Exerc. 2007 May;39(5 Suppl):S247.

A127) DeJong AT, McCullough P, Franklin B. Use of VE/VCO2 slope Corrected for Peak VO2 as a
   Predictor of Post-Surgical Complications in Morbidly Obese Patients: 686: May 31 8:30 AM 8:45
   AM. Med Sci Sports Exerc. 2007 May;39(5 Suppl):S40.

A128) Zalesin KC, Krause KR, Chengelis DL, McCullough PA. Determinants of the Resolution of Type
   2 Diabetes after Bariatric Surgery. American Society of Bariatric Surgery. Surgery for Obesity and
   Related Disorders 3(3):314; 2007.

A129) Kadaj P, Vanhecke T, Barnes MA, Lazar MH, Gandhi M, McCullough, PA. Natriuretic peptide
   testing and APACHE II scores for the evaluation and prediction of outcome in acutely ill patients:
   a prospective cohort study. Chest 2007;132(4) 551S.

A130) Agrawal V, Khan I, Rai B, Krause KR, Chengelis DL, Zalesin KC, Rocher LL, McCullough PA.
   Weight loss after bariatric surgery reduces albuminuria in obese adults with diabetes. J Am Soc
   Nephrol, Oct 2007; 18: 574A.

A131) Agrawal V, Rai B, Khan I, Krause KR, Chengelis DL, Zalesin KC, Rocher LL, McCullough PA.
   Weight loss after bariatric surgery reduces albuminuria in obese adults. J Am Soc Nephrol, Oct
   2007; 18: 767A.

A132) O’Donoghue M, Sabatine M, Boden WE, Braunwald E, Cannon CP, Clayton TC, de Winter RJ,
   Fox KA, Lagerqvist B, McCullough PA, Murphy SA, Spacek R, Swahn E, Wallentin L, Windhausen
   F. The benefit of early invasive strategy in women versus men with non-ST-elevation acute
   coronary syndromes: a collaborative meta-analysis of randomized trials. Circulation
   2007:116(16);II-383.

A133) Boerrigter G, Costello-Boerrigter LC, Abraham WT, St. John Sutton, MG, Heublein D, Kruger
   KM, Hill MR, McCullough PA, Burnett JC. Cardiac resynchronization therapy with biventricular
   pacing improves renal function in heart failure patients with reduced glomerular filtration rate.
   Circulation 2007:116(16);II-405.




                                                                                        App000208
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 211 of 633 PageID 937



A134) Deliri H, Davis E, Hager CS, Welch CA, Malik FS, McCullough PA, Wagner GS, Carter WH. A
   prospective randomized trial of blood B-type natriuretic peptide levels informing management
   after elective coronary artery bypass surgery. Circulation 2007:116(16);II-683.

A135) McCullough PA, Li S, Collins AJ, Chen SC, Jurkovitz CT, Norris KC, McFarlane S, Johnson B,
   Shlipak M, Obialo C, Brown WW, Vassaloti J, Bakris GL, for the KEEP Investigators. Chronic
   kidney disease and risk for premature cardiovascular disease. Circulation 2007:116(16);II-852.

A136) McCullough PA, Leifer E, Ellis S, Rendall DS, Horwich T, Hill JA, Fonarow GC. Relationship
   between renal function and cardiopulmonary fitness in patients with systolic heart failure. J Am
   Coll Cardiol 2008;51(10)A52-53.

A137) O’Donoghue, Boden WE, Cannon CP, Clayton TC, de Winter RJ, Fox KA, Lagerqvist B,
   McCullough PA, Murphy SA, Spacek R, Swahn E, Wallentin L, Windhausen F, Sabatine MS. The
   benefit of an invasive strategy in diabetic versus non-diabetic subjects with non-ST segment
   elevation acute coronary syndromes; a collaborative meta-analysis of randomized trials. J Am
   Coll Cardiol 2008;51(10)A216.

A138) McCullough PA, Li S, Jurkovitz CT, Stevens LA, Wang C, Collins AJ, Chen SC, Norris KC,
   McFarlane S, Johnson B, Shlipak MG, Obialo CI, Brown WB, Vassalotti JA, Whaley-Connel AT, for
   the KEEP Investigators. Chronic kidney disease and cardiovascular disease in volunteer and
   randomly selected populations: KEEP and NHANES. Am J Kidney Dis 2008;51(4)B68.(Abstract
   #162)

A139) McFarlane SI, Chen SC, Whaley-Connell A, Sowers J, Vassalotti JA, Salifu MO, Li S, Wang C,
   Bakris G, McCullough PA, Collins AJ, Norris K for the KEEP Investigators. Racial and gender
   differences in prevalence and predictors of anemia of chronic kidney disease: KEEP and NHANES
   1999-2004. Am J Kidney Dis 2008;51(4)B68. (Abstract #163)

A140) Pavey BS, Saab G, McFarlane SI, Sowers JR, Chen S, Li S, Vassalotti J, Collins AJ, Norris K,
   McCullough PA, Bakris G, Whaley-Connell A, for the KEEP Investigators. Prevalent components
   of cardiometabolic syndrome and cardiovascular disease from the Kidney Early Evaluation
   Program (KEEP). Am J Kidney Dis 2008;51(4)B79. (Abstract #207)

A141) Agrawal V, Vanhecke TE, Franklin BA, Zalesin KC, Sangal RB, Hakmeh B, deJong AT,
   McCullough PA. Albuminuria in obese adults is associated with hypertension and sleep
   disturbance. Am J Kidney Dis 2008;51(4)B29. (Abstract #5)

A142) Vassalotti JA, Uribarri J, Chen SC, Li S, Wang C, Collins AJ, Calvo MS, Whaley-Connell A, Norris
   KC, McCullough PA, Andress DL, for the KEEP Investigators. Trends in mineral metabolism in the
   kidney early evaluation program (KEEP). Am J Kidney Dis 2008;51(4)B52. (Abstract #75)




                                                                                         App000209
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 212 of 633 PageID 938



A143) Agrawal V, Krause KR, Chengelis DL, Zalesin K, Rocher L, McCullough PA. Relation between
   degree of weight loss after bariatric surgery and reduction in high sensitivity C-reactive protein.
   Surgery for Obesity and Related Diseases 2008;3(4)324.(Abstract P33)

A144) Odom J, Washington TL, Zalesin K, McCullough PA, Hakmeh B. Psychosocial trends related
   to weight regain after bariatric surgery. Surgery for Obesity and Related Diseases
   2008;3(4)324.(Abstract BH-04)

A145) McCullough PA. New insights on accelerated vascular calcification in patients with kidney
   disease. J Heart Dis 2008;(6):121 (Abstract 482).

A146) Agrawal V, Ghoshi AK, Barnes MA, McCullough PA. Perception of indications for nephrology
   referral among internal medicine residents. A national online survey. J Am Soc Neph
   2008;19:812-13A (SA-PO3091).

A147) Agrawal V, Swami A, Al-Sabbagh M, Kosuri R, Samarapungavan D, McCullough PA. Contrast
   induced acute kidney injury in renal transplantation recipients undergoing cardiac
   catheterization. J Am Soc Neph 2008;19:986-87A (PUB766).

A148) Agrawal V, Agarwal M, Barnes MA, Ghosh AK, McCullough PA. Internal medicine resident’s
   knowledge of chronic kidney disease complications and management: a national survey. NKF
   2009 Spring Clinical Meetings; 43: I22.

A149) Li S, Chen SC, Vassaloti J, Norris K, McCullough PA, Bakris G, Collins A. Predictors of self-
   referred repeat CKD screening in the Kidney Early Evaluation Program (KEEP). NKF 2009 Spring
   Clinical Meetings; 48: I42.

A150) Whaley-Connell, Sowers JR, McCullough PA, Roberts T, McFarlane SI, Chen SC, Li S, Wang C,
   Collins AJ, Bakris GL, and the Kidney Early Evaluation Program Investigators. Diabetes mellitus
   and CKD awareness: the Kidney Early Evaluation Program and the National Health and Nutrition
   and Examination Survey. NKF 2009 Spring Clinical Meetings; 52: I60.

A151) Kalatizidis R, Li S, Wang C, Chen SC, McCullough PA, Bakris G. Hypertension in early-stage
   kidney disease: an update from the kidney early evaluation program. NKF 2009 Spring Clinical
   Meetings; 80: I170.

A152) Agrawal V, Agarwal M, Samarapungavan D, McCullough PA. Long term outcomes of
   contrast induced acute kidney injury in renal transplant recipients. NKF 2009 Spring Clinical
   Meetings; 83: I184.

A153) McCullough PA, Whaley-Connell A, Brown WW, Collins AJ, Chen SC, Li S, Norris KC, Johnson
   BC, Calhoun D, Jurkovitz C, McFarlane S, Obialo C, Shlipak M, Sowers J, Stevens L, Vassalotti JA,
   Bakris GL. Cardiovascular risk modification in chronic kidney disease patients with coronary




                                                                                          App000210
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 213 of 633 PageID 939



   disease: results from the Kidney Early Evaluation Program (KEEP). J Am Coll Cardiol
   2009;53(10):A224.

A154) Kosiborod M, McCullough PA, Rao S, Inzucchi SE, Maddox TM, Masoudi FA, Xiao L, Fiske S,
   Spertus JA. Hyperglycemia and risk of acute kidney injury after coronary angiography in patients
   hospitalized with acute myocardial infarction. J Am Coll Cardiol 2009;53(10):A382.

A155) Miller WM, Veri S, McCullough PA, Franklin BA. Children improve nutritional knowledge,
   increase physical activity and reduce body mass through a multidisciplinary school intervention.
   Poster: 2009 American College of Sports Medicine Annual Meeting; 2009 May 27; Seattle, WA.
   Medicine and Science in Sports and Exercise 2009;41(5):S1543.

A156) Zalesin, KC, Franklin BA, Lillystone M, Shamoun T, Krause K, Chengelis D, Mucci S, Shaheen
   KW, McCullough PA. Differential loss of fat and lean mass in the morbidly obese after bariatric
   surgery. Surgery for Obesity and Related Diseases 2009;5: S29 (poster) awarded Outstanding
   Poster Recognition

A157) Miller WM, Franklin BA, Veri S, Maaz Y, Jameel J, McCullough PA. Is degree of obesity
   associated with childhood obesity treatment outcomes? Poster: The Obesity Society’s Annual
   Scientific Meeting; 2009 Oct 26; Washington, DC. Obesity 2009;17(2):S184

A158) Trivax JE, Franklin BA, Goldstein JA, Chinnaiyan KM, Gallagher MJ, deJong AT, Colar JM,
   Haines DE, McCullough PA. Acute cardiac effects of marathon running: evidence for right heart
   overload. Circulation 2009;120 (18): S513

A159) Amin AP, Riley K, Spertus JS, Venkitachalam L, Stolker JM, McCullough PA, Masoudi FA,
   Jones PG, Kosiborod M. Trends in the prevalence of acute kidney injury in patients with acute
   myocardial infarction. J Am Coll Cardiol 2010;55 (10): A102 (1046-282)

A160) Agrawal V, Garimella PS, Jaar BG, Plantinga L, Ye J, McCullough PA. Access to health care in
   adults evaluated for chronic kidney disease: findings from the Kidney Early Evaluation Program.
   NKF 2010 Spring Clinical Meetings, April 13-17, 2010, P35.

A161) Bomback AS, Kshirsagar AV, Whaley-Connell AT, Chen SC, Li S, Klemmer PJ, McCullough PA,
   Bakris GL. Racial differences in kidney function among individuals with obesity and metabolic
   syndrome: results from the Kidney Early Evaluation Program (KEEP). NKF 2010 Spring Clinical
   Meetings, April 13-17, 2010, P45.

A162) Saab G, Whaley-Connell A, Chen SC, Li S, Sowers JR, Norris K, Bakris G, McCullough PA. The
   association of serum phosphorus and pulse pressure in men and women with chronic kidney
   disease: data from the Kidney Early Evaluation Program. NKF 2010 Spring Clinical Meetings,
   April 13-17, 2010, P80.




                                                                                         App000211
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 214 of 633 PageID 940



A163) McCullough PA, Brown J, Weisbord S. The effects of iso-osmolar contrast media on
   contrast-induced acute kidney injury: a meta-analysis. Cath Cardiovasc Interv 2010;75(6):S78,
   B-034.

A164) McCullough PA, Capasso P. Patient discomfort associated with the use of intravascular
   iodinated contrast media: a meta-analysis of comparative randomized trials. Cath Cardiovasc
   Interv 2010;75(6):S80, B-037.

A165) Miller WM, Spring TJ, Zalesin KC, Kaeding K, deJong AT, McCullough PA, Franklin, BA.
   Resting metabolic rate is directly associated with cardiorespiratory fitness in the morbidly obese.
   Poster: AHA Annual Conference on Nutrition, Physical Activity and Metabolism; 2010 March 2;
   San Francisco, CA. Circulation 2010 March; Suppl. Page 114, Poster P75.

A166) Miller WM, So NC, Zalesin KC, Spring TJ, Kaeding K, Krause K, Chengelis D, deJong AT,
   Franklin BA, McCullough PA. Low resting metabolic rate is associated with low cardiorespiratory
   fitness, low vitamin D and hyperuricemia in bariatric surgery patients. Poster P-41: 27th Annual
   Meeting of the American Society for Metabolic and Bariatric Surgery; 2010 June 24; Las Vegas,
   NV. Surgery for Obesity and Related Diseases 2010;6:S41.

A167) Spring TJ, Franklin BA, McCullough PA, Miller W, Zalesin K, Kaeding K, deJong AT. Reduced
   resting oxygen consumption in the morbidly obese: Implications for exercise prescription.
   Poster: AHA Annual Conference on Nutrition, Physical Activity and Metabolism; 2010 March 2;
   San Francisco, CA. Circulation 2010 March; Suppl. Page 102, Poster P29.

A168) Vanhecke TE, Franklin BA, Soman P, Lahiri A, Mieres JH, Sias T, Calnon D, Wolinsky D, Beller
   G, Burnham K, Conway L, Wight J, Walsh M, Daher E, Heller G, Udelson JE, McCullough PA.
   Influence of Myocardial Ischemia on Outcomes in Patients with Systolic Versus Non-Systolic
   Heart Failure. Journal of the American College of Cardiology Volume 57, Issue 14, Supplement, 5
   April 2011, Page E2015. Best Fellow-in-Training Poster.

A169) Babyev R, Whaley-Connell A, Kshirsaga AV, Navaneethan S, Chen SC, Li S, McCullough PA,
   Bakris GL, Bomback AS, for the KEEP Investigators. Race does not influence ESRD and mortality
   in obese patients with CKD stages 3-4: results from the Kidney Early Evaluation Program. NKF
   2010 Spring Clinical Meetings, Las Vegas, NV, April 24-30, 2011, P55.

A170) Bose S, Mehta NN, Chen SC, McCullough PA, for the KEEP Investigators. Poor glycemic
   control but not dyslipidemia is associated with albuminuria in patients with CKD and type 2
   diabetes mellitus: a Kidney Early Evaluation Program report. NKF 2011 Spring Clinical Meetings,
   Las Vegas, NV, April 24-30, 2011, P56.

A171) Whaley-Connell A, Saab G, Szpunar S, Stevens L, Shlipak M, Bomback A, Tamura MK,
   McFarlane S, Li S, Chen SC, Collins A, Norris K, Bakris G, McCullough, PA, for the KEEP
   Investigators. Disease state awareness, kidney disease, and relationship to ESRD and death.
   NKF 2011 Spring Clinical Meetings, Las Vegas, NV, April 24-30, 2011, P121.



                                                                                        App000212
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 215 of 633 PageID 941




A172) Shah A, Fried L, Chen SC, Qiu Y, Li S, Cavanaugh K, Norris KC, Whaley-Connell AT, McCullough
   PA, Mehrotra R. Associations between access to care and awareness of chronic kidney disease.
   NKF 2012 Spring Clinical Meetings, Washington, DC, May 9-13, 2012, P170.

A173) Akrawinthawong K, Shaw M, Kachner J, Apostolov E, Basnakian A. Shah S, Tilak J,
   McCullough PA. Urine catalytic iron and neutrophil gelatinase associated lipocalin as
   companion early markers of acute kidney injury after cardiac surgery: a prospective pilot study.
   NKF 2013 Spring Clinical Meetings, Orlando, FL, April 3-5, 2013, P02. Am J Kidney Disease
   2013;61(4):A1.

A174) Mehrotra R, Chen SC, Kestenbaum B, Peralta C, Saab G, Sachs M, Shah A, Li S, Norris K,
   Whaley-Connell A. McCullough PA. Serum phosphorus and death or progression to end-stage
   renal disease in persons screened in the community for chronic kidney disease. NKF 2013 Spring
   Clinical Meetings, Orlando, FL, April 3-5, 2013, P149. Am J Kidney Disease 2013;61(4):A7.

A175) Amin A, Chen SC, Kosiborod M, Whaley-Connell A, Li S, McCullough PA. Synergistic
   relationship between eGFR and microalbuminuria in predicting long-term progression to ESRD
   or death in patients with piabetes: results from KEEP. NKF 2013 Spring Clinical Meetings,
   Orlando, FL, April 3-5, 2013, P176. Am J Kidney Disease 2013;61(4):A8.

A176) Jurkovitz C, Li S, Norris K, Saab G, Bomback A, Whaley-Connell A, McCullough PA.
   Association Between Lack of Health Insurance and Risk of Death and ESRD: Results from the
   Kidney Early Evaluation Program (KEEP). NKF 2013 Spring Clinical Meetings, Orlando, FL, April 3-
   5, 2013, P135. Am J Kidney Disease 2013;61(4):A6.

A177) Larsen TR, Singh G, Velocci V, McCullough PA. Bioimpedience and fluid overload in patients
   admitted to the intensive care unit for sepsis syndromes. Blood Purif 2013;35:241.

A178) Manatsathit W, Al-Hamid H, Gill B, Leelasinjaroen P, Hashmi U, Barawi M, McCullough P.
   Experience in the management of upper gastrointestinal bleeding and outcomes in patients
   taking dabigatran compared with warfarin: a retrospective, comparative study. Am J
   Gastroenterol 2013; 108:S464-S465.

A179) Fried LF, Emanuele N, Hongyuan Zhang J, Brophy M, Conner T, Duckworth W, Leehey DJ,
   McCullough PA, O’Connor TZ, Palevsky PM, Reilly RF, Seliger SL, Warren S, Watnick S, Peduzzi P,
   Guarino P. Combined Angiotensin Inhibition for Treatment of Diabetic Nephropathy: VA
   Nephron-D Trial. HI-OR03 J Am Soc Nephrol 24: 2013.

A180) Kumar N, McCullough PA. Epidemiology of Cardiovascular Mortality in Patients with Chronic
   Kidney Disease and End-Stage Renal Disease. SA-PO235 J Am Soc Nephrol 24: 2013.

A181) Khan S, McCullough PA, Chawla LS, Beaver TM, Bennett Guerrero E, Wang D, Houser MT.
   M13-796 Study Design – A Phase 2b, Randomized, Double-Blind, Placebo-Controlled, Safety and



                                                                                       App000213
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 216 of 633 PageID 942



   Effi cacy Trial of Multiple Dosing Regimens of ABT-719 for Prevention of Acute Kidney Injury in
   Patients Undergoing High Risk Cardiac Surgeries. PUB013, J Am Soc Nephrol 24: 2013.

A182) Larsen T, Kinni V, Zaks J, David S, McCullough P. A Lethal Case of Influenza and Type 5
   Cardiorenal Syndrome. Crit Care Med 2013;41(12 Suppl.):1296.

A183) Akrawinthawong K, Parker G, Stivers D, Cannon L, Dixon S, Ricci J, Kupfer K, Alexander P,
   David S, McCullough PA. Subclinical and clinical contrast-induced acute kidney injury: results
   from the ENCINO Study. Am J Kidney Dis 2014;63(5):A23

A184) Palazzuoli A, Pellegrini M, Ruocco G, Martini G, Franci B, Campagna MS, Gilleman M, Nuti N,
   McCullough PA, Ronco C. Continuous versus bolus intermittent loop diuretic infusion in acutely
   decompensated heart failure: a prospective randomized trial. European Heart Journal 2014;
   35:386; Suppl 1; Meeting Abstract: 2226; European Society of Cardiology Congress, Barcelona,
   Spain, 2014

A185) Shin HJ, McCullough PA, Li S, Cho E, Rimm E, Rosner B, Manson JE, Hu FB. The Association
   Between Diet Quality After Diabetes Diagnosis and Major Cardiovascular Events in Women With
   Type 2 Diabetes Mellitus. Circulation. 2014;130:A17257

A186) Oudiz R, Meyer C, Chin M, Feldman J, Goldsberry A, McConnell J, McCullough P, O’Grady M,
   Tapson V, Torres F, Waxman A, White R. Initial Data Report from "LARIAT": A Phase 2 Study of
   Bardoxolone Methyl in PAH Patients on Stable Background Therapy. Chest
   2015;148(4_MeetingAbstracts):639A. doi:10.1378/chest.2345856

A187) McCullough PA, Spinowitz B. Novel Agents for the Prevention and Management of
   Hyperkalemia. Journal of Managed Care and Speciality Pharmacy, Supplement 21 (10-a),
   October 2015: E23.

A188) Haase VH, Hartman CS, Maroni BJ, Farzaneh-Far R, McCullough PA. Vadadustat, a Novel
   Oral Treatment for Anemia of Chronic Kidney Disease, Maintains Stable Hemoglobin Levels in
   Dialysis Patients Converting from Erythropoiesis-Stimulating Agents. SA-PO1110 J Am Soc
   Nephrol 26: 2015.

A189) Palazzuoli A, Ruocco G, Pellegrini M, Franci B, Campagna MS, Nuti R, Ronco C, McCullough
   PA. Impact of loop diuretic infusion modalities on congestion signs and outcomes in patients
   with acute heart failure. European Heart Journal 2015; 36:672, Suppl 1 Meeting Abstract:
   P3791; European Society of Cardiology Congress, London, UK 2015.

A190) Haase V, Hartman C, Maroni B, Farzaneh-Far R, McCullough P. Vadadustat Maintains Stable
   Hemoglobin Levels in Dialysis Patients Converting from Erythropoiesis-Stimulating Agent (ESA).
   Poster 171. NKF Spring Clinical Meetings, 2016.




                                                                                       App000214
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 217 of 633 PageID 943



A191) Munkres AG, Vasudevan A, Shin HJ, Sarmast SA, McCullough PA. Abstract 212: Integration
   of Multiple Cardiac Biomarkers into a Disease-Specific Score: Relationship to Clinical Status and
   Therapeutic Intensity. Circulation: Cardiovascular Quality and Outcomes, March, 2016.

A192) Tecson K, Silver M, Brune S, Cauthen C, Kwan M, Schussler J, Vasudevan A, Watts J,
   McCullough PA. Impact of Enhanced External Counterpulsation on Heart Failure
   Rehospitalization Among Patients with Ischemic Cardiomyopathy. J Am Coll Cardiol.
   2016;67(13_S):1545. doi:10.1016/S0735-1097(16)31546-7.

A193) Prasad A, Morales J, Williams K, Sohn A, Levin D, Khan A, McCullough P, Mehran R, Bailey S.
   Contemporary Practice Patterns Related to the Risk of Acute Kidney Injury in the Catherization
   Laboratory: Results from an International Survey of Society of Cardiovascular Angiography and
   Intervention (SCAI) Cardiologists. Journal of the American College of Cardiology Volume 67, Issue
   13, Supplement, 5 April 2016, Page 322

A194) Mazimba S, McCullough P, Rosner M, Mejia-Lopez E, Bilchick K. Changes in Renal Perfusion
   Pressure During Hemodynamically Guided Therapy is Associated with Worsening Renal
   Function. Journal of the American College of Cardiology Volume 69, Issue 11, Supplement, 21
   March 2017, Page 768

A195) Mazimba S, Welch T, McCullough P, Breathett K, Tallaj J, Bergin J, Kennedy J, Smith L,
   Abuannadi M, Bilchick B. Systemic Arterial Pulsatility Index (SAPI) Predicts Adverse Outcomes in
   Advanced Heart Failure Patients. Journal of the American College of Cardiology Volume 69,
   Issue 11, Supplement, 21 March 2017, Page 856

A196) Vasudevan A , McCullough PA, Sathyamoorthy M, Schussler JM, Velasco CE, Lopez LR, Swift
   C, Schiffmann R, Bottiglieri T. Abstract 104: Urinary 11-Dehydro-Thromboxane B2 and Mortality
   in Patients with Stable Coronary Artery Disease. Scientific Poster Abstracts Selected for the 2016
   Congress on Atherosclerotic Cardiovascular Disease Prevention, Sept. 16-18, 2016, Boca Raton,
   Florida., Clin Cardiol. 2016 Sep;39 Suppl 1:4-18. doi: 10.1002/clc.22597.

A197) Tecson KM, Hamman BL, Choi JW, Garg P, Olugbode OA, Schussler JM, Stoler RC, Vasudevan
   A, Velasco CE, McCullough PA. Abstract 15609: The Effect of Contrast-Induced Acute Kidney
   Injury in High Risk Patients Undergoing Cardiac Surgery. Circulation. 2016;134(Suppl 1).

A198) Ballantyne CM, McCullough PA, Sanganalmath SK , Koren A, Letierce A, Davidson MH. Safety
   and Efficacy of Alirocumab in Patients With Atherosclerotic Cardiovascular Disease, Based on
   Statin Intensity: Pooled Analyses of 5 Placebo-controlled Phase 3 Trials. Circulation.
   2016;134:A16873.

A199) Pergola PE, Spinowitz BS, McCullough PA, Singh B, Menoyo JA, Lavin PT, Rasmussen HS,
   Fishbane S. Effect of Sodium Zirconium Cyclosilicate Treatment for Hyperkalemia on Blood
   Pressure in a Long-Term Open-Label Phase 3 Study. J Am Soc Nephrol 27: 2016 (TH-PO478).




                                                                                        App000215
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 218 of 633 PageID 944



A200) Golestaneh L, Gaber AO, Kalim S, McCullough PA, Germain MJ. Neutrophil Gelatinase-
   Associated Lipocalin (NGAL) Correlates to AKI Stage in ICU Patients. J Am Soc Nephrol 27: 2016
   (TH-PO643).

A201) Kalim S, Gaber AO, Golestaneh L, Germain MJ, McCullough PA. Multi Center ICU Study Finds
   NGAL Increases Rate of AKI Detection. J Am Soc Nephrol 27: 2016 (TH-PO667).

A202) Haase VH, Khawaja Z, Chan J, Zuraw Q, Farzaneh-Far R, Maroni BJ, McCullough PA.
   Vadadustat Maintains Hemoglobin (Hb) Levels in Dialysis-Dependent Chronic Kidney Disease
   (DD-CKD) Patients Independent of Systemic Inflammation or prior Dose of Erythropoiesis-
   Stimulating Agent (ESA). J Am Soc Nephrol 27: 2016 (TH-PO960).

A203) Bottiglieri T, Vasudevan A, Lopez LR, Swift C, Schiffmann R, McCullough P. Increased F2-
   Isoprostane Oxidative Stress in Coronary Artery Disease (CAD) Patients with Poor Aspirin-
   Induced Thromboxane A2 Inhibition. 84th European Atherosclerosis Society (EAS) Congress,
   Innsbruck, Austria, May 29-June 1, 2016.

A204) Winkelmayer W, Block G, Chertow G, Fishbane S, Komatsu Y, McCullough P, Pergola P,
   Rosenberger C, Williamson D, Yee J, Collins A, Khawaya Z, Sharma A, Zuraw Q, Maroni B. The
   INNO2VATE Phase 3 Program of Vadadustat for Treatment of Anemia in Dialysis-Dependent
   CKD: Rationale and Study Design. Poster 173. NKF Spring Clinical Meetings, 2017.

A205) Lopez LR, Vasudevan A, Sathyamoorthy M, Schussler JM, Velasco C, Swift C, Schiffmann R,
   Bottiglieri T, McCullough, PA. Relationship of platelet thromboxane inhibition by aspirin and all-
   cause mortality in patients with stable coronary artery disease. 85th European Atherosclerosis
   Society (EAS) Congress, SAG007, pg 90, Prague, Czech Republic, April 24-26, 2017

A206) Oudiz RJ, Meyer C, Chin M, Feldman J, Goldsberry A, McConnel JWl, McCullough PA, O'Grady
   M, Tapson VF, Torres F, Waxman A, White J. Results of Interim Analysis of the Efficacy and
   Safety of Bardoxolone Methyl in Patients with Pulmonary Arterial Hypertension Associated with
   Connective Tissue Disease (CTD) (The LARIAT Study) American Journal of Respiratory and Critical
   Care Medicine 2017;195:A6896 http://www.atsjournals.org/doi/abs/10.1164/ajrccm-
   conference.2017.195.1_MeetingAbstracts.A6896

A207) McCullough PA, Weir MR, deGoma EM, Zuraw Q, Sharma A, Luo W, Middleton J.
   Vadadustat does not prolong corrected QT interval in a thorough QTC study in healthy subjects.
   MP418. 54th ERA-EDTA Congress, Madrid, Spain, June 3-6, 2017. www.era-edta2017.org

A208) Meyer C, Warnock D, Chin M, Goldsberry A, McCullough P, O'Grady M, Toto R, Ward K, Block
   G, Pergola P. MP142 A Phase 2/3 Study of the Efficacy and Safety of Bardoxolone Methyl in
   Patients with Alport Syndrome. Nephrology Dialysis Transplantation, Volume 32, Issue suppl_3,
   1 May 2017, Pages iii480.




                                                                                        App000216
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 219 of 633 PageID 945



A209) McCullough PA, Uhlig K, Neylan JF, Fishbane S. Safety and Efficacy of Ferric Citrate in
   Patients with Nondialysis-Dependent Chronic Kidney Disease and Iron Deficiency Anemia: Post
   Hoc Analysis in Patients with or Without Heart Failure. Journal of Cardiac Failure, August 2017,
   Volume 23, Issue 8, Supplement, Pages S64–S65.

A210) McCullough PA, David G, Todoran T, Brilakis ES, Ryan MP, Gunnarsson C. Iso-Osmolar
   Contrast Media and Adverse Renal and Cardiac Events after Percutaneous Cardiovascular
   Intervention. Poster accepted for presentation at ISPOR 20th Annual European Congress,
   November 4-8, 2017, Glasgow, Scotland, Value in Health, 2017.

A211) Fried L, Emanuele N, Huang Y, Zhang JH, Palevsky PM, Johnson GR, Seliger SL, McCullough
   PA, Conner TA, Brophy M. ESRD and Mortality after VA NEPHRON-D. American Society of
   Nephrology Kidney Week 2017, November 1-5, 2017, New Orleans, LA, ABSTRACT: TH-PO717

A212) Block GA, Pergola PE, Inker L, McCullough PA, Chin M, Meyer CH, Rheault MN, Kashtan C,
   Warnock DG. Initial Data Report from “CARDINAL”: A Phase 2/3 Study of Bardoxolone Methyl in
   Patients with Alport Syndrome. American Society of Nephrology Kidney Week 2017, November
   1-5, 2017, New Orleans, LA, ABSTRACT: FR-PO1053

A213) Fishbane S, Adler SH, Singh B, Lavin PT, McCullough PA, Kosiborod M, Pergola PE, Packham
   DK, Roger SD, Lerma EV, Butler J, Von haehling S, Spinowitz BS, Block GA. Maintained Efficacy
   and Safety of Sodium Zirconium Cyclosilicate for Hyperkalemia: 12-Month, Open-Label, Phase 3
   Study, American Society of Nephrology Kidney Week 2017, November 1-5, 2017, New Orleans,
   LA, ABSTRACT: TH-PO1112

A214) Packham DK, McCullough PA, Kosiborod M, Spinowitz BS, Fishbane S, Pergola PE, Lerma EV,
   Butler J, Von haehling S, Adler SH, Singh B, Lavin PT. Efficacy and Safety of Short-Term
   Treatment with Sodium Zirconium Cyclosilicate (ZS-9) for Hyperkalemia: Open-Label, Phase 3
   Trial. American Society of Nephrology Kidney Week 2017, November 1-5, 2017, New Orleans,
   LA, ABSTRACT: FR-PO1074

A215) McCullough PA, Pergola P, Fishbane S, von Haehling S, Roger S, Adler S, Singh B, Lavin P,
   Butler J, Block G, Lerma E, Packham D, Kosiborod M. Efficacy and Safety of Sodium Zirconium
   Cyclosilicate to Treat Hyperkalemia Among Patients Taking Renin–Angiotensin–Aldosterone
   System Inhibitors in a 12-Month, Open-Label, Phase 3 Study: A Post Hoc Subgroup Analysis.
   Circulation. 2017;136:A16610

A216) Ambrosy AP, Mulder H, Coles A, Krauss WE, Lam CS, McCullough PA, Pina I, Tromp J,
   Whellan DJ, O’Connor C, Mentz RJ. Renal Function and Exercise Training in Ambulatory Heart
   Failure Patients With a Reduced Ejection Fraction - Findings From the HF-ACTION Randomized
   Controlled Trial. Circulation. 2017;136:A17039




                                                                                        App000217
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 220 of 633 PageID 946



A217) Tecson KM, Kluger AY, DiMario S, Harrison D, McCullough PA. Abstract 131: Recurrent acute
   cardiovascular events and statin use. Circ: Cardiovasc Qual Outcomes. 2018;11(Suppl 1):A131 LP
   – A131. http://circoutcomes.ahajournals.org/content/11/Suppl_1/A131.abstract.

A218) Roger S, Lavin P, Lerma E, McCullough PA, Butler J, Spinowitz B, von Haehling S, Kosiborod
   M, Adler S, Fishbane S, Packham D. Safety and Efficacy of Sodium Zirconium Cyclosilicate for
   Long-Term Treatment of Hyperkalaemia in Patients with Chronic Kidney Disease: Results From
   an Open-Label, Phase 3 Study. FP071, 55th ERA-EDTA Congress, Copenhagen, Denmark, May 24-
   27, 2018

A219) Rossing P, Block GA, Chertow GM, Chin M, Goldsberry A, McCullough PA, Meyer CJ,
   Packham D, Spinowitz B, Sprague SM, Warnock DG, Pergola PE. Effect of Bardoxolone Methyl
   Treatment on Urinary Albumin in Patients with Type 2 Diabetes and Chronic Kidney Disease –
   Post-Hoc Analysis from BEAM and BEACON. FP152, 55th ERA-EDTA Congress, Copenhagen,
   Denmark, May 24-27, 2018

A220) Meyer CJ, Chakinala MM, Chin MP, Coyne DW, Feldman J, Goldsberry A, McCullough PA,
   O’Grady M, Torres F, Oudiz RJ, Ward K, White RJ. Two-Year Durability of Improvements In eGFR
   with Bardoxolone Methyl in Patients with Pulmonary Arterial Hypertension: The LARIAT Study.
   FP804, 55th ERA-EDTA Congress, Copenhagen, Denmark, May 24-27, 2018

A221) Barker CM, Van Houten J, Mehta H, Cord D, Gunnarsson, Mollenkopf S, Verta P, McCullough
   PA. The Healthcare Burden of Disease Progession in Medicare Patients with Functional Mitral
   Regurgitation. J Am Coll Cardiol March 12, 2019, 73 (9 Supplement 1) 1051;
   DOI:10.1016/S0735-1097(19)31658-4

A222) Cork DP, Mehta H, Barker CM, Verta P, Gunnarsson C, Ryan MP, Baker ER, Mollenkopf S, Van
   Houten J, McCullough PA. The Economic Impact of Mitral Regurgitation, on Medically Managed
   Incident Heart Failure. J Am Coll Cardiol March 12, 2019, 73 (9 Supplement 1) 1130;
   DOI:10.1016/S0735-1097(19)31737-1

A223) Cork DP, Mehta H, Barker CM, Verta P, Ryan MP, Baker E, Gunnarrson C, Mollenkopf S, Van
   Houten J, McCullough PA. The Impact of Mitral Regurgitation on Mortality and Heart Failure
   Admissions in Newly Diagnosed Heart Failure. J Am Coll Cardiol March 12, 2019, 73 (9
   Supplement 1) 1131; DOI:10.1016/S0735-1097(19)31738-3

A224) McCullough PA, Cork DP, Mehta HS, Barker CM, Gunnarrson C, Ryan M, Mollenkopf S. Van
   Houten J, Verta P. Abstract 151: Therapeutic Intensity in Medically Managed Incident Heart
   Failure Patients with and without Mitral Regurgitation: A Claims Based Analysis. 4 Apr 2019
   https://doi.org/10.1161/hcq.12.suppl_1.151Circulation: Cardiovascular Quality and Outcomes.
   2019;12:A151

A225) Van Houten J, Cork D, Mehta H, Barker C, Verta P, Gunnarsson C, Ryan MP, Baker ER,
   Mollenkopf S, McCullough PA. Therapeutic Intensity Algorithm is Associations with Annual



                                                                                     App000218
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 221 of 633 PageID 947



   Expenditures in Medically Managed Incident Heart Failure Patients with and without Mitral
   Regurgitation. ISPOR (The Professional Society for Health Economics and Outcomes Research)
   New Orleans, LA May 21, 2019 (top 10% award winner).

A226) Barker C, Cork D, McCullough P, Mehta H, Van Houten J, Gunnarsson C, Mollenkopf S, Verta
   P. Survival in Clinically Significant Tricuspid Regurgitation Patients with and without Heart
   Failure: Evidence from Optum’s Integrated Databases. J Am Coll Cardiol March 29, 2020, 71 (11
   Supplement 1) 1319; DOI:10.1016/S0735-1097(20)31946-X,
   https://www.jacc.org/doi/10.1016/S0735-1097%2820%2931946-X

A227) Mehta H, McCullough P, Cork D, Barker C, Van Houten J, Gunnarsson C, Mollenkopf S, Verta
   P. Medical Therapy in Patients with Functional Mitral Regurgitation: Are Patients Optimized in
   the Real World? J Am Coll Cardiol March 29, 2020, 71 (11 Supplement 1) 1322;
   DOI:10.1016/S0735-1097(20)31949-5. https://www.jacc.org/doi/10.1016/S0735-
   1097%2820%2931949-5

A228) McCullough PA, Mehta H, Barker C, Van Houten J, Mollenkopf S, Gunnarsson C, Ryan M,
   Cork D. Mortality and Guideline Directed Medical Therapy in Heart Failure Patients with
   Reduced Ejection Fraction: Evidence from Real World Data. J Am Coll Cardiol May 15, 2021, 77
   (18_Supplement_1) 670; DOI: 10.1016/S0735-1097(21)02029-
   https://www.jacc.org/doi/full/10.1016/S0735-1097%2821%2902029-5

A229) Tecson KM, Kluger AY, Cassidy-Bushrow AE, Liu B, Coleman CM, Jones LK, Jefferson CR,
   VanWormer JJ, Xiang P, Habib M, Mues KE, McCullough PA. Early Statin Use and Recurrent
   Major Adverse Cardiovascular Events: A Multicenter Study. Lipid Management Best Practices.
   2020;14(4): 561. Doi: 10.1016/j.jacl.2020.05.030

A230) Bottiglieri T, Arning E, Tecson KM, McCullough PA. The Plasma Metabolome is Significantly
   Altered in Hypercholesterolemia. Circ Res. 2020;127(12): e272-e284. Doi:
   10.1161/RES.0000000000000450

A231) Hamadeh A, Aldujeli A, Briedis K, Tecson KM, Sanchez JS, Al Dujeili M, Al-Obeidi A, Diez-Gil
   JL, Zaliunas R, Stoler R, McCullough PA. TCT CONNECT-213 Clinical Characteristics and Outcomes
   of Patients With COVID-19 and STEMI Treated With Fibrinolytic Therapy. J Am Coll Cardiol.
   2020;76(17):B89–90. doi: 10.1016/j.jacc.2020.09.228.

A232) McCullough PA. (2021) Multifaceted Highly Targeted Sequential Multidrug Treatment of
   Early Ambulatory High-Risk SARS-CoV-2 Infection (COVID-19). J Infect Dis Res, 4(S1): 10.

 Peer-Reviewed Published Manuscripts

M1) McCullough PA, O’Neill WW. Influence of Regional Cardiovascular Mortality on the Use of
  Angiography after Acute Myocardial Infarction. Am J Cardiol 1997;79:575-80. PMID: 97221465.




                                                                                     App000219
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 222 of 633 PageID 948



M2) Stewart RE, Miller DD, Bowers TR, McCullough PA, Ponto RA, Grines CL, O’Neill WW, Juni JE,
  Safian RD. PET Perfusion and Vasodilator Function after Angioplasty for Acute Myocardial
  Infarction. J Nuc Med 1997;38:770-777. PMID: 97314102.

M3) Aliabadi D, Pica MC, McCullough PA, Grines CL, Safian RD, O’Neill WW, Goldstein JA. Rapid
  Bedside Coronary Angiography with a Portable Fluoroscopic Imaging System. Cathet Cardiovasc
  Diagn 1997;41(4):449-455. PMID: 97403128.

M4) McCullough PA, Wolyn R, Rocher LL, Levin RN, O’Neill WW. Acute Renal Failure after
  Coronary Intervention: Incidence, Risk Factors, and Relationship to Mortality. Am J Med
  1997;103:368-375. PMID: 98041552.

M5) Thompson RJ, McCullough PA, Kahn JK, O’Neill WW. Prediction of Death and Neurologic
  Outcome in the Emergency Department in Out-of-Hospital Cardiac Arrest Survivors. Am J
  Cardiol 1998;81:17-21. PMID: 98122431.

M6) McCullough PA, Ayad O, O’Neill WW, Goldstein JA. Costs and Outcomes of Patients
  Admitted with Chest Pain and Essentially Normal Electrocardiograms. Clin Cardiol 1998;21:22-
  26. PMID: 98134803.

M7) McCullough PA, Smith GS. Evaluation of Narrative Text for Case Finding: The Need for
  Accuracy Measurement. Am J Ind Med 1998;34:133-136. PMID: 98315422.

M8) McCullough PA, Thompson RJ, Tobin KJ, Kahn JK, O’Neill WW. Validation of a Decision
  Support Tool for the Evaluation of Cardiac Arrest Victims. Clin Cardiol 1998;21:195-200. PMID:
  98202866

M9) McCullough PA, O’Neill WW, Graham M, Stomel RJ, Rogers F, David S, Farhat A, Kazlauskaite
  R, Al-Zagoum M, Grines CL. A Prospective Randomized Trial of Triage Angiography in Acute
  Coronary Syndromes Ineligible for Thrombolytic Therapy: Results of the Medicine versus
  Angiography in Thrombolytic Exclusion (MATE) Trial. J Am Coll Cardiol 1998;32:596-605. PMID:
  98412530.

M10) Redle JD, Khurana S, Marzan R, McCullough PA, Stewart JR, Westveer DC, O’Neill WW,
  Bassett JS, Tepe NA, Frumin HI. Prophylactic Oral Amiodarone Compared to Placebo for
  Prevention of Atrial Fibrillation Following Coronary Artery Bypass Surgery. Am Heart J
  1999;138:144-150. PMID: 10385778.

M11) Stevens MA, McCullough PA, Tobin KJ, Speck JP, Westveer DC, Guido-Allen DA, Timmis GC,
  O’Neill WW. A Prospective Randomized Trial of Prevention Measures in Patients at High Risk for
  Contrast Nephropathy: Results of the P.R.I.N.C.E. Study. J Am Coll Cardiol 1999;33:403-411.
  PMID: 99137305.




                                                                                     App000220
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 223 of 633 PageID 949



M12) McCullough PA, O'Neill WW. Unstable Angina: Early Use of Coronary Angiography and
  Intervention. Cardiol Clin 1999;17(2):373-386. PMID: 10384833.

M13) McCullough PA, Marks KR. Aspirin and Ticlopidine after Routine Coronary Stenting: The
  Gold Standard as of 1999. J Thromb Thrombolysis 1999;7:233-239. PMID: 10373716.

M14) Sharma ND, McCullough PA, Philbin EF, Weaver WD. Left Ventricular Thrombus and
  Subsequent Thromboembolism in Patients with Severe Systolic Dysfunction.    Chest
  1999;117:314-320. PMID: 10669669.

M15) McCullough PA, O’Neill WW, Graham M, Stomel RJ, Rogers F, David S, Farhat A, Kazlauskaite
  R, Al-Zagoum M, Grines CL. Impaired Culprit Vessel Flow in Acute Coronary Syndromes Ineligible
  for Thrombolysis. J Thromb Thrombolysis 2001;10(3):247-253. PMID: 11122545.

M16) McCullough PA, O’Neill WW, Graham M, Stomel RJ, Rogers F, David S, Farhat A, Kazlauskaite
  R, Al-Zagoum M, Grines CL. A Time to Treatment Analysis in the Medicine versus Angiography in
  Thrombolytic Exclusion (MATE) Trial. J Interven Cardiol 2001;14(4):415-422. PMID: 12053495.

M17) McCullough PA, Soman SS, Shah SS, Smith ST, Marks KR, Yee J, Steven Borzak S. Risks
  Associated with Renal Dysfunction in Coronary Care Unit Patients. J Am Coll Cardiol
  2000;36(3):679-684. PMID: 10987584.

M18) Philbin EF, McCullough PA, Dec GW, DiSalvo TG. Length of Stay and Procedure Utilization are
  the Major Determinants of Hospital Charges for Heart Failure. Clin Cardiol 2001;24:56-62. PMID:
  11195608.

M19) Philbin EF, McCullough PA, DiSalvo TG, Dec GW, Jenkins PL, Weaver WD. Socioeconomic
  Status is an Important Determinant of Utilization of Invasive Procedures after Acute Myocardial
  Infarction in New York State. Circulation 2000;102[suppl III]:III107-115. PMID: 11082372

M20) Stone GW, Tumlin JA, Madyoon H, Lepor NE, McCullough PA, Mathur VS, Murray PT, O’Neill
  WW. Design and Rationale of CONTRAST--A Prospective, Randomized, Placebo-Controlled Trial
  of Fenoldopam Mesylate for the Prevention of Radiocontrast Nephropathy. Rev Cardiovasc
  Med. 2001;2 Suppl 1:S31-6. PMID: 12439366.

M21) Philbin EF, McCullough PA, DiSalvo TG, Dec GW, Jenkins PL, Weaver WD. Underuse of
  invasive procedures among Medicaid patients with acute myocardial infarction.
  Am J Public Health. 2001 Jul;91(7):1082-8. PMID: 11441735

M22) Bonifacio D, Malineni K, Kadakia R, Soman S, Sandberg K, McCullough PA. Coronary
  Calcification and Interventional Outcomes in Dialysis Patients. J Cardiovasc Risk 2001;8(3):133-
  7. PMID 11455844




                                                                                     App000221
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 224 of 633 PageID 950



M23) Beattie JN, Soman SS, Sandberg KR, Yee J, Borzak S, McCullough PA. Determinants of
  Mortality after Myocardial Infarction in Patients with Advanced Renal Dysfunction. Am J Kid
  Disease 2001;37:1191-2000. PMID 11382688.

M24) Cannon CP, Weintraub WS, Demopoulos LA, Vicari R, Frey MJ, Lakkis N, Neumann FJ,
  Robertson DH, DeLucca PT, DiBattiste PM, Gibson CM, Braunwald E; TACTICS (Treat Angina with
  Aggrastat and Determine Cost of Therapy with an Invasive or Conservative Strategy)--
  Thrombolysis in Myocardial Infarction 18 Investigators (McCullough PA, Endpoints Committee).
  Comparison of early invasive and conservative strategies in patients with unstable coronary
  syndromes treated with the glycoprotein IIb/IIIa inhibitor tirofiban. N Engl J Med. 2001 Jun
  21;344(25):1879-87. PMID: 11419424

M25) Shah SS, Noor H, Tokarski G, McCord J, Khoury N, McCabe KB, Marks KR, Morlock RJ,
  McCullough PA. Clinical Effectiveness Evaluation of an Emergency Department Clinical Decision
  Unit. British Journal of Clinical Governance 2001;6(1):40-45.

M26) Cheitlin MD, Gerstenblith G, Hazzard WR, Pasternak R, Fried LP, Rich MW, Krumholz HM,
  Peterson E, Reves JG, McKay C, Saksena S, Shen WK, Akhtar M, Brass LM, Biller J. (McCullough
  PA, Heart Failure Subcommittee). AHA Conference Proceedings: Do existing databases hold the
  answers to clinical questions in geriatric cardiovascular disease and stroke? Executive Summary.
  Database Conference, January 27-30, 2000. Circulation. 2001 Aug 14;104(7):E39. PMID:
  11502721.

M27) McCord J, Nowak RM, McCullough PA, Foreback C, Borzak S, Tokarski G, Tomlanovich MC,
  Jacobsen G, Weaver WD. Ninety Minute Exclusion of Acute Myocardial Infarction Using
  Quantitative Point of Care Testing of Myoglobin and Troponin I. Circulation 2001; Sep
  25;104(13):1483-8. PMID: 11571240.

M28) McCullough PA, Manley HJ. Prediction and Prevention of Contrast Nephropathy. J Interven
  Cardiol 2001;14(5):547-558. PMID: 12053647.

M29) McCullough PA, Philbin EF, Spertus JA, Kaatz S, Sandberg KR, Weaver WD. Confirmation of a
  Heart Failure Epidemic: Findings from the Resource Utilization Among Congestive Heart Failure
  (R.E.A.C.H.) Study. J Am Coll Cardiol 2002;39:60-69. PMID: 11755288.

M30) Riaz K, Forker AD, Garg M, McCullough PA. Atypical presentation of cocaine-induced Type A
  aortic dissection: a diagnosis made by transesophageal echocardiography. J Investig Med. 2002
  Mar;50(2):140-2. PMID 11928942.

M31) Levin A, Stevens L, McCullough PA. Cardiovascular disease and the kidney. Tracking a killer
  in chronic kidney disease. Postgraduate Medicine 2002;11(4):53-60. PMID 11985133.

M32) Ketterer MW, Denollet J, Goldberg AD, McCullough PA, John S, Farha AJ, Clark V, Keteyian S,
  Chapp J, Thayer B, Deveshwar S. The Big Mush: Psychometric Measures are Confounded and



                                                                                     App000222
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 225 of 633 PageID 951



   Nonindependent in Their Association with Age at Initial Diagnosis of Ischemic Coronary Heart
   Disease. J Cardiovasc Risk 2002:9;41-48. PMID 11984216.

M33) Abraham WT, Fisher WG, Smith AL, Delurgio DB, Leon AR, Loh E, Kocovic DZ, Packer M,
  Clavell AL, Hayes DL, Ellestad M, Trupp RJ, Underwood J, Pickering F, Truex C, McAtee P,
  Messenger J; MIRACLE Study Group. Multicenter InSync Randomized Clinical Evaluation
  (McCullough PA, Site Principal Investigator). Cardiac resynchronization in chronic heart failure.
  N Engl J Med. 2002 Jun 13;346(24):1845-53. PMID 12063368.

M34) McCullough PA. Outcomes studies and the biomedical research enterprise.
  J Interv Cardiol. 2002 Apr;15(2):167-70. PMID 12063813.

M35) Shenkman HJ, Pampati V, Khandelwal AK, McKinnon J, Nori D, Kaatz S, Sandberg KR,
  McCullough PA. Congestive Heart Failure and QRS Duration: Establishing Prognosis Study.
  Chest 2002 Aug;122(2):528-34. PMID 12171827.

M36) Soman SS, Sandberg KR, Borzak S, Hudson MP, Yee J, McCullough PA. The Independent
  Association of Renal Dysfunction and Arrhythmias in Critically Ill Patients. Chest 2002
  Aug;122(2):669-77. PMID 12171849.

M37) Maisel AS, Krishnaswamy P, Nowak RM, McCord J, Hollander JE, Duc P, Omland T, Storrow
  AB, Abraham WT, Wu AHB, Clopton P, McCullough PA, for the BNP Multinational Study
  Investigators. Bedside B-type Natriuretic Peptide in the Emergency Diagnosis of Heart Failure:
  Primary Results from the Breathing Not Properly (BNP) Multinational Study. N Engl J Med,
  2002:347(3);161-167. PMID 12124404.

M38) McCullough PA, Sullivan R. News and Views: Equipoise on Opening Chronic Total
  Occlusions. J Interven Cardiol 2002;15(3):243-247. PMID 12141153.

M39) McCullough PA, Sandberg KR, Borzak S, Hudson MP, Garg M, Manley HJ. Benefits of aspirin
  and beta-blockade after myocardial infarction in patients with chronic kidney disease.
  Am Heart J. 2002 Aug;144(2):226-32. PMID 12177638.

M40) McCullough PA, Nowak RM, McCord J, Hollander JE, Herrman HC, Steg PG, Duc P, Westheim
  A, Omland T, Wold Knudsen C, Storrow AB, Abraham WT, Lamba S, Wu AHB, Perez A, Clopton P,
  Krishnaswamy P, Kazanegra R, Maisel AS, for the BNP Multinational Study Investigators. B-type
  Natriuretic Peptide and Clinical Judgment in the Emergency Diagnosis of Heart Failure: An
  Analysis from the Breathing Not Properly (BNP) Multinational Study. Circulation 2002;106:416-
  422. PMID 12135939.

M41) McCullough PA, Nowak RM, Foreback C, Borzak S, Tokarski G, Tomlanovich MC, Weaver WD,
  Sandberg KR, McCord J. Emergency evaluation of chest pain in patients with advanced kidney
  disease. Arch Intern Med. 2002 Nov 25;162(21):2464-8. PMID 12437406.




                                                                                       App000223
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 226 of 633 PageID 952



M42) Guitterez N, Diaz A, Timmis GC, O’Neill WW, Stevens MA, McCullough PA. Determinants of
  serum creatinine trajectory in acute contrast nephropathy. J Interv Cardiol. 2002 Oct;15(5):349-
  54. PMID: 12440177.

M43) McCullough PA, Prakash R, Tobin KJ, O'Neill WW, Thompson RJ. Application of a cardiac
  arrest score in patients with sudden death and ST segment elevation for triage to angiography
  and intervention. J Interv Cardiol. 2002 Aug;15(4):257-61. PMID 12238419.

M44) Reddy HK, Koshy SK, Sturek M, Jayam VK, Bedi A, McCullough PA. Rationale and methods
  for assessment of coronary flow prior to coronary intervention: where are we headed?
  J Interv Cardiol. 2002 Aug;15(4):335-41. PMID 12238433.

M45) Sengstock D, Pasnoori V, Obaidat O, Mehra P, Marks KR, McCullough PA. Asthma, Beta-
  Agonists, and the Development of Congestive Heart Failure: Results of the A.B.C.H.F. Study. J
  Card Failure, 2002;8(4):232-238. PMID 12397571.

M46) Sullivan R, McCullough PA. Shifting statins from clinic to critical care.
  J Interv Cardiol. 2002 Oct;15(5):431-4. PMID 12440192.

M47) McCullough PA. Cardiorenal Risk: An Important Clinical Intersection. Rev Cardiovasc Med.
  2002;3(2):71-76. PMID 12447150

M48) McCullough PA, Nowak RM, Foreback C, Borzak S, Tokarski G, Tomlanovich MC, Khoury NE,
  Weaver WD, Sandberg KR, McCord J. Performance of Multiple Cardiac Biomarkers Measured in
  the Emergency Department in Patients with Chronic Kidney Disease and Chest Pain.
  Acad Emerg Med. 2002 Dec;9(12):1389-1396. PMID 12460842

M49) McCullough PA. Scope of cardiovascular complications in patients with kidney disease.
  Ethn Dis. 2002 Fall;12(4):S3-44-8. PMID 12477154

M50) Safley DM, McCullough PA. Antiphospholipid syndrome with renal artery embolism: case
  report. Rev Cardiovasc Med. 2002 Fall;3(4):192-201. PMID: 12556753

M51) McCullough PA, Sandberg KR, Yee J, Hudson MP. Mortality benefit of angiotensin-
  converting enzyme inhibitors after cardiac events in patients with end-stage renal disease.
  J Renin Angiotensin Aldosterone Syst. 2002 Sep;3(3):188-91. PMID: 12563570

M52) McCullough PA. Beyond serum creatinine: defining the patient with renal insufficiency and
  why? Rev Cardiovasc Med 2003;4(Suppl 1):S2-S6. PMID 12556731

M53) Riaz K, Forker AD, Isley WL, Hamburg MS, McCullough PA. Hyperthyroidism: a curable
  cause of congestive heart failure-three case reports and a review of the literature. Congest
  Heart Fail. 2003 Jan-Feb;9(1):40-6. PMID 12556677




                                                                                      App000224
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 227 of 633 PageID 953



M54) McCullough PA, Philbin EF, Spertus JA, Sandberg KR, Sullivan RA, Kaatz S. Opportunities for
  improvement in the diagnosis and treatment of heart failure.
  Clin Cardiol. 2003 May;26(5):231-7. PMID 12769251

M55) Maisel AS, DeMaria A, Krishnaswamy P, Nowak RM, McCord J, Hollander JE, Duc P, Omland
  T, Storrow AB, Abraham WT, Wu AHB, Clopton P, McCullough PA, for the BNP Multinational
  Study Investigators. Bedside B-Type natriuretic peptide in the emergency diagnosis of heart
  failure with reduced or preserved ejection fraction. Results from the Breathing Not Properly
  Multinational Study. J Am Coll Cardiol. 2003 Jun 4;41(11):2010-7.
  PMID 12798574

M56) McCullough PA, Duc P, Omland T, McCord J, Nowak RM, Hollander JE, Herrmann HC, Steg
  PG, Westheim A, Knudsen CW, Storrow AB, Abraham WT, Lamba S, Wu AH, Perez A, Clopton P,
  Krishnaswamy P, Kazanegra R, Maisel AS; Breathing Not Properly Multinational Study
  Investigators. B-type natriuretic peptide and renal function in the diagnosis of heart failure: an
  analysis from the Breathing Not Properly Multinational Study.
  Am J Kidney Dis. 2003 Mar;41(3):571-9. PMID 12612980

M57) McCullough PA, Hollander JE, Nowak RM, Storrow AB, Duc P, Omland T, McCord J, Hermann
  HC, Steg PG, Westheim A, Knudsen CW, Abraham WT, Lamba S, Wu AHB, Perez A, Clopton P,
  Krishnaswamy P, Kazanegra R, Maisel AS, for the BNP Multinational Study Investigators.
  Uncovering Heart Failure in Patients with a History of Pulmonary Disease: Rationale for the Early
  Use of B-type Natriuretic Peptide in the Emergency Department.
  Acad Emerg Med. 2003 Mar;10(3):198-204. PMID 12615582

M58) McCullough PA. Why is chronic kidney disease the "spoiler" for cardiovascular outcomes? J
  Am Coll Cardiol. 2003 Mar 5;41(5):725-8. PMID 12628713

M59) Riaz K, McCullough PA. Fatal case of delayed repolarization due to cocaine abuse and global
  ischemia. Rev Cardiovasc Med. 2003 Winter;4(1):47-53. PMID 12684601

M60) Safley DM, McCullough PA. The Emerging Role of Brain Natriuretic Peptide in the
  Management of Acute and Chronic Heart Failure in Outpatients. Heart Fail Monit. 2003;4(1):13-
  20. PMID 12808480

M61) McCullough PA, Philbin EF, Spertus JA, Sandberg KR, Kaatz S. Angiotensin converting
  enzyme inhibitors and beta-blockers in African Americans with heart failure. Ethn Dis. 2003
  Summer;13(3):331-6. PMID 12894957.

M62) McCullough PA. Acute coronary syndromes in patients with renal failure.
  Curr Cardiol Rep. 2003 Jul;5(4):266-70. PMID 12801443

M63) McCullough PA. B-type natriuretic peptides. A diagnostic breakthrough in heart failure.
  Minerva Cardioangiol. 2003 Apr;51(2):121-9. PMID 12783068



                                                                                        App000225
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 228 of 633 PageID 954




M64) Keeley EC, Kadakia R, Soman S, Borzak S, McCullough PA. Analysis of long-term survival
  after revascularization in patients with chronic kidney disease presenting with acute coronary
  syndromes. Am J Cardiol. 2003 Sep 1;92(5):509-14. PMID 12943868.

M65) McCullough PA, Omland T, Maisel AS. B-type natriuretic peptides: a diagnostic
  breakthrough for clinicians. Rev Cardiovasc Med. 2003 Spring;4(2):72-80.
  PMID 12776016

M66) McCullough PA, Abraham WT. Does Quality of Life Evidence Assist in the Selection of
  Patients for Resynchronization Therapy? Card Electrophysiol Rev. 2003 Jan;7(1):71-76.
  PMID 12766523

M67) Chew DP, Bhatt DL, Kimball W, Henry TD, Berger P, McCullough PA, Feit F, Bittl JA, Lincoff
  AM. Bivalirudin provides increasing benefit with decreasing renal function: a meta-analysis of
  randomized trials. Am J Cardiol. 2003 Oct 15;92(8):919-23. PMID 14556866

M68) Maisel AS, McCullough PA. Cardiac natriuretic peptides: a proteomic window to cardiac
  function and clinical management. Rev Cardiovasc Med. 2003;4 Suppl 4:S3-S12. PMID
  14564223

M69) McCullough PA, Sandberg KR. Sorting out the evidence on natriuretic peptides. Rev
  Cardiovasc Med. 2003;4 Suppl 4:S13-9. PMID 14564224

M70) McCullough PA, Sandberg KR. B-type natriuretic peptide and renal disease. Heart Fail Rev.
  2003 Oct;8(4):355-8. PMID 14574057

M71) Keeley EC, McCullough PA. Coronary revascularization in patients with end-stage renal
  disease: risks, benefits, and optimal strategies. Rev Cardiovasc Med. 2003 Summer;4(3):125-30.
  PMID 12949440.

M72) McCord J, Nowak RM, Hudson MP, McCullough PA, Tomlanovich MC, Jacobsen G, Tokarski
  G, Khoury N, Weaver WD. The prognostic significance of serial myoglobin, troponin I, and
  creatine kinase-MB measurements in patients evaluated in the emergency department for acute
  coronary syndrome. Ann Emerg Med. 2003 Sep;42(3):343-50. PMID 12944886.

M73) Sarnak MJ, Levey AS, Schoolwerth AC, Coresh J, Culleton B, Hamm LL, McCullough PA,
  Kasiske BL, Kelepouris E, Klag MJ, Parfrey P, Pfeffer M, Raij L, Spinosa DJ, Wilson PW; AHA
  Councils on Kidney in Cardiovascular Disease, High Blood Pressure Research, Clinical Cardiology,
  and Epidemiology and Prevention. Kidney disease as a risk factor for development of
  cardiovascular disease: a statement from the AHA Councils on Kidney in Cardiovascular Disease,
  High Blood Pressure Research, Clinical Cardiology, and Epidemiology and Prevention.
  Circulation. 2003 Oct 28;108(17):2154-69. PMID 14581387.




                                                                                      App000226
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 229 of 633 PageID 955



M74) Sarnak MJ, Levey AS, Schoolwerth AC, Coresh J, Culleton B, Hamm LL, McCullough PA,
  Kasiske BL, Kelepouris E, Klag MJ, Parfrey P, Pfeffer M, Raij L, Spinosa DJ, Wilson PW; AHA
  Councils on Kidney in Cardiovascular Disease, High Blood Pressure Research, Clinical Cardiology,
  and Epidemiology and Prevention. Kidney disease as a risk factor for development of
  cardiovascular disease: a statement from the AHA Councils on Kidney in Cardiovascular Disease,
  High Blood Pressure Research, Clinical Cardiology, and Epidemiology and Prevention.
  Hypertension. 2003 Nov;42(5):1050-65. PMID 14604997.

M75) Stone GW, McCullough PA, Tumlin JA, Lepor NE, Madyoon H, Murray P, Wang A, Chu AA,
  Schaer GL, Stevens M, Wilensky RL, O'Neill WW; CONTRAST Investigators. Fenoldopam
  mesylate for the prevention of contrast-induced nephropathy: a randomized controlled trial.
  JAMA. 2003 Nov 5;290(17):2284-91. PMID 14600187.

M76) Steg PG, Duc P, Joubin L, McCord J, Abraham WT, Hollander JE, Omland T, Baron G, Aumont
  MC, Mentre F, McCullough PA, Maisel AS. A comparison of bedside B-type natriuretic peptide
  versus echocardiographic determination of ejection fraction in the diagnosis of heart failure. J
  Am Coll Cardiol. 2003 Mar 19;41(6 Suppl B):337. PMID 14637402

M77) Kernis SJ, Franklin BA, Sandberg KR, O'Neill WW, McCullough PA. Advantages of an early
  invasive approach in acute coronary syndromes. Am J Med. 2003 Dec 1;115(8):669-71. PMID
  14656622

M78) McCullough PA, Sandberg KR. Epidemiology of contrast-induced nephropathy.
  Rev Cardiovasc Med. 2003;4 Suppl 5:S3-9. PMID 14668704

M79) Khanna A, McCullough PA. Malignant hypertension presenting as hemolysis,
  thrombocytopenia, and renal failure. Rev Cardiovasc Med. 2003 Fall;4(4):255-9. PMID
  14674379

M80) McCullough PA, Fonarow GC. B-type natriuretic peptide and multimarker approaches in
  cardiovascular medicine. Rev Cardiovasc Med. 2003;4 Suppl 4:S1-2. PMID 14703686

M81) McCullough PA, Kuncheria J, Mathur VS. Diagnostic and therapeutic utility of B-type
  natriuretic peptide in patients with renal insufficiency and decompensated heart failure. Rev
  Cardiovasc Med. 2003;4 Suppl 7:S3-S12. PMID 14668695

M82) Franklin BA, McCullough PA, Gordon S. Winter Storm Warning: Snow Removal May Be
  Hazardous to Your (Patient's) Health. Curr Sports Med Rep. 2004 Apr;3(2):59-61. PMID
  14980132

M83) Conaway DG, Sullivan RA, McCullough PA. Improved Symptoms, Physical Limitation, and
  Self-Efficacy After Resynchronization in a Patient with Heart Failure and a Prolonged QRS
  Duration. Rev Cardiovasc Med. 2004 Winter;5(1):53-7. PMID 15029112




                                                                                      App000227
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 230 of 633 PageID 956



M84) McCullough PA, Sandberg KR Chronic kidney disease and sudden death: strategies for
  prevention. Blood Purif. 2004;22(1):136-42. PMID 14732822

M85) Knudsen, CW, Omland, T, Clopton P, Westheim, A, Abraham, WT, Storrow AB, J McCord,
  Nowak, RM, Steg, PG, Duc, P, McCullough, PA, Maisel, AS, for the BNP Multinational Study
  Investigators. Diagnostic Value of B-type Natriuretic Peptide and Chest Radiograph Findings in
  Patients with Acute Dyspnea. Am J Med. 2004 Mar 15;116(6):363-8. PMID 15006584

M86) McCullough PA, Gibson CM, Dibattiste PM, Demopoulos LA, Murphy SA, Weintraub WS,
  Neumann FJ, Khanal S, Cannon CP; TACTICS-TIMI-18 INVESTIGATORS. Timing of Angiography
  and Revascularization in Acute Coronary Syndromes: J Interv Cardiol. 2004 Apr;17(2):81-86.
  PMID 15104769.

M87) McCullough PA. B-type natriuretic peptide and its clinical implications in heart failure. Am
  Heart Hosp J 2004;2:26-33.

M88) McCullough PA, Dorrell KA, Sandberg KR, Yerkey MW. Ximelagatran: a novel oral direct
  thrombin inhibitor for long-term anticoagulation. Rev Cardiovasc Med. 2004 Spring;5(2):99-103.
  PMID 15184843.

M89) Maisel AS, Clopton P, Krishnaswamy P, Nowak RM, McCord J, Hollander JE, Duc P, Omland T,
  Storrow AB, Abraham WT, Wu AH, Steg G, Westheim A, Knudsen CW, Perez A, Kazanegra R,
  Bhalla V, Herrmann HC, Aumont MC, McCullough PA; BNP Multinational Study Investigators.
  Impact of age, race, and sex on the ability of B-type natriuretic peptide to aid in the emergency
  diagnosis of heart failure: results from the Breathing Not Properly (BNP) multinational study.
  Am Heart J. 2004 Jun;147(6):1078-84. PMID 15199359.

M90) McCullough PA. Cardiovascular risk reduction and preservation of renal function in the early
  nephropathy patient. Adv Chronic Kidney Dis. 2004 Apr;11(2):184-91. PMID 15216489.

M91) Yerkey MW, Kernis SJ, Franklin BA, Sandberg KR, McCullough PA. Renal dysfunction and
  acceleration of coronary disease. Heart. 2004 Aug;90(8):961-6. PMID 15253986

M92) McCullough PA, Soman S. Cardiovascular calcification in patients with chronic renal failure:
  Are we on target with this risk factor? Kidney Int. 2004 Sep;66 Suppl 90:S18-24. PMID
  15296503

M93) McCullough PA, Sandberg KR, Dumler F, Yanez JE. Determinants of coronary vascular
  calcification in patients with chronic kidney disease and end-stage renal disease: a systematic
  review. J Nephrol. 2004 Mar-Apr;17(2):205-15. PMID 15293519

M94) McCullough PA. Opportunities for improvement in the cardiovascular care of patients with
  end-stage renal disease. Adv Chronic Kidney Dis. 2004 Jul;11(3):294-303. PMID 15241743




                                                                                       App000228
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 231 of 633 PageID 957



M95) Dumler F, McCullough PA. Optimal dialysis for the end-stage renal disease patient with
  cardiovascular disease. Adv Chronic Kidney Dis. 2004 Jul;11(3):261-73. PMID 15241741

M96) Keeley EC, McCullough PA. Coronary revascularization in patients with coronary artery
  disease and chronic kidney disease. Adv Chronic Kidney Dis. 2004 Jul;11(3):254-60. PMID
  15241740

M97) McCullough PA. Guest editorial: Cardiovascular care in end-stage renal disease. Adv
  Chronic Kidney Dis. 2004 Jul;11(3):245. PMID 15241738

M98) McCullough PA, Bakris GL, Owen WF Jr, Klassen PS, Califf RM. Slowing the progression of
  diabetic nephropathy and its cardiovascular consequences. Am Heart J. 2004 Aug;148(2):243-
  51. PMID 15308993

M99) Best PJ, Reddan DN, Berger PB, Szczech LA, McCullough PA, Califf RM. Cardiovascular
  disease and chronic kidney disease: insights and an update. Am Heart J. 2004 Aug;148(2):230-
  42. PMID 15308992

M100) Bakris GL, Toto RD, McCullough PA. Rationale and design of a study comparing two fixed-
  dose combination regimens to reduce albuminuria in patients with type II diabetes and
  hypertension. J Hum Hypertens. 2004 Sep 30 PMID 15457206.

M101) Wu AH, Omland T, Duc P, McCord J, Nowak RM, Hollander JE, Herrmann HC, Steg PG, Wold
  Knudsen C, Storrow AB, Abraham WT, Perez A, Kamin R, Clopton P, Maisel AS, McCullough PA.
  Breathing Not Properly Multinational Study Investigators. The effect of diabetes on B-type
  natriuretic peptide concentrations in patients with acute dyspnea: an analysis from the
  Breathing Not Properly Multinational Study. Diabetes Care. 2004 Oct;27(10):2398-404. PMID
  15451907

M102) McCullough PA, Franklin BA. Conventional risk factors and cardiac events--debunking an old
  myth about prevalence. Rev Cardiovasc Med. 2004 Summer;5(3):185-6. PMID 15346104

M103) Maisel A, Hollander JE, Guss D, McCullough P, Nowak R, Green G, Saltzberg M, Ellison SR,
  Bhalla MA, Bhalla V, Clopton P, Jesse R; Rapid Emergency Department Heart Failure Outpatient
  Trial investigators. Primary results of the Rapid Emergency Department Heart Failure Outpatient
  Trial (REDHOT): a multicenter study of B-type natriuretic peptide levels, emergency department
  decision making, and outcomes in patients presenting with shortness of breath. J Am Coll
  Cardiol. 2004 Sep 15;44(6):1328-33. PMID 15364340

M104) McCullough PA. Cardiovascular disease in chronic kidney disease from a cardiologist's
  perspective. Curr Opin Nephrol Hypertens. 2004 Nov;13(6):591-600. PMID: 15483448




                                                                                     App000229
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 232 of 633 PageID 958



M105) McCord J, Mundy BJ, Hudson MP, Maisel AS, Hollander JE, Abraham WT, Steg PG, Omland T,
  Knudsen CW, Sandberg KR, McCullough PA. Relationship between obesity and B-type
  natriuretic Peptide levels. Arch Intern Med. 2004 Nov 8;164(20):2247-52. PMID: 15534162

M106) Wase A, Basit A, Nazir R, Jamal A, Shah S, Khan T, Mohiuddin I, White C, Saklayen M,
  McCullough PA. Impact of chronic kidney disease upon survival among implantable
  cardioverter-defibrillator recipients. J Interv Card Electrophysiol. 2004 Dec;11(3):199-204.
  PMID: 15548886

M107) McCullough PA. B-type natriuretic peptide and its clinical implications in heart failure. Am
  Heart Hosp J. 2004 Winter;2(1):26-33. PMID: 15604836

M108) Silver MA, Maisel A, Yancy CW, McCullough PA, Burnett JC Jr., Francis GS, Mehra MR,
  Peacock WF 4th, Fonarow G, Gibler WB, Morrow DA, Hollander J; BNP Consensus Panel. BNP
  Consensus Panel 2004: A clinical approach for the diagnostic, prognostic, screening, treatment
  monitoring, and therapeutic roles of natriuretic peptides in cardiovascular diseases. Congest
  Heart Fail. 2004 Sep-Oct;10(5 Suppl 3):1-30. PMID: 15604859

M109) McCullough PA. Preface. Ximelagatran and oral direct thrombin inhibition. Rev Cardiovasc
  Med. 2004;5 Suppl 5:S1. PMID: 15619609

M110) Prystowsky EN, McCullough PA. Introduction: the role of oral direct thrombin inhibitors in
  cardiovascular disease. Rev Cardiovasc Med. 2004;5 Suppl 5:S2-3. PMID: 15619611

M111) McCullough PA. Clinical applications of B-type natriuretic peptide levels in the care of
  cardiovascular patients. Minerva Cardioangiol. 2004 Dec;52(6):479-89. PMID: 15729209

M112) Safley DM, Awad A, Sullivan RA, Sandberg KR, Mourad I, Boulware M, Merhi W, McCullough
  PA. Changes in B-type natriuretic peptide levels in hemodialysis and the effect of depressed left
  ventricular function. Adv Chronic Kidney Dis. 2005 Jan;12(1):117-24. PMID: 15719344.

M113) McCullough PA, Khandelwal AK, McKinnon JE, Shenkman HJ, Pampati V, Nori D, Sullivan RA,
  Sandberg KR, Kaatz S. Outcomes and prognostic factors of systolic as compared with diastolic
  heart failure in urban America. Congest Heart Fail. 2005 Jan-Feb;11(1):6-11. PMID: 15722664.

M114) McCullough PA, Lepor NE. The deadly triangle of anemia, renal insufficiency, and
  cardiovascular disease: implications for prognosis and treatment. Rev Cardiovasc Med. 2005
  Winter;6(1):1-10. PMID: 15741920

M115) El-Achkar TM, Ohmit SE, McCullough PA, Crook ED, Brown WW, Grimm R, Bakris GL, Keane
  WF, Flack JM. Higher prevalence of anemia with diabetes mellitus in moderate kidney
  insufficiency: The Kidney Early Evaluation Program. Kidney Int. 2005 Apr;67(4):1483-8. PMID:
  15780101




                                                                                        App000230
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 233 of 633 PageID 959



M116) McCullough PA, Soman SS. Contrast-induced nephropathy. Crit Care Clin. 2005
  Apr;21(2):261-80. PMID: 15781162

M117) McCullough PA. Evaluation and treatment of coronary artery disease in patients with end-
  stage renal disease. Kidney Int Suppl. 2005 Jun;(95):s51-8. PMID: 15882314

M118) Knudsen CW, Clopton P, Westheim A, Klemsdal TO, Wu AH, Duc P, McCord J, Nowak RM,
  Hollander JE, Storrow AB, Abraham WT, McCullough PA, Maisel AS, Omland T. Predictors of
  elevated B-type natriuretic peptide concentrations in dyspneic patients without heart failure: an
  analysis from the breathing not properly multinational study. Ann Emerg Med. 2005
  Jun;45(6):573-80. PMID: 15940086

M119) Gallagher MJ, Franklin BA, Ehrman JK, Keteyian SJ, Brawner CA, deJong AT, McCullough PA.
  Comparative Impact of Morbid Obesity vs Heart Failure on Cardiorespiratory Fitness. Chest.
  2005 Jun;127(6):2197-203. PMID: 15947337

M120) Mehta SR, Cannon CP, Fox KA, Wallentin L, Boden WE, Spacek R, Widimsky P, McCullough
  PA, Hunt D, Braunwald E, Yusuf S. Routine vs selective invasive strategies in patients with acute
  coronary syndromes: a collaborative meta-analysis of randomized trials. JAMA. 2005 Jun
  15;293(23):2908-17. PMID: 15956636

M121) Merhi W, Dixon SR, O'Neill WW, Hanzel GS, McCullough PA. Percutaneous left ventricular
  assist device in acute myocardial infarction and cardiogenic shock. Rev Cardiovasc Med. 2005
  Spring;6(2):118-23. PMID: 15976733

M122) Gallagher MJ, McCullough PA. The role of B-type natriuretic peptide in the diagnosis and
  treatment of decompensated heart failure. Int J Geriatric Cardiol 2004; September 1(1):21-28.

M123) McCullough PA, Hassan SA, Pallekonda V, Sandberg KR, Nori DB, Soman SS, Bhatt S, Hudson
  MP, Weaver WD. Bundle branch block patterns, age, renal dysfunction, and heart failure
  mortality. Int J Cardiol. 2005 Jul 10;102(2):303-8. PMID: 15982501

M124) Steg PG, Joubin L, McCord J, Abraham WT, Hollander JE, Omland T, Mentre F, McCullough
  PA, Maisel AS. B-type natriuretic Peptide and echocardiographic determination of ejection
  fraction in the diagnosis of congestive heart failure in patients with acute dyspnea. Chest. 2005
  Jul;128(1):21-9. PMID 16002911

M125) Gallagher MJ, McCullough PA. The emerging role of natriuretic peptides in the diagnosis
  and treatment of decompensated heart failure. Curr Heart Fail Rep. 2004 Sep;1(3):129-35.
  PMID: 16036036

M126) McCullough PA, Sandberg KR, Miller WM, Odom JS, Sloan KC, de Jong AT, Nori KE, Irving SD,
  Krause KR, Franklin BA. Substantial weight gain during adulthood: the road to bariatric surgery.
  Prev Cardiol. 2005 Summer;8(3):155-9. PMID 16034218



                                                                                       App000231
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 234 of 633 PageID 960




M127) Miller WM, Nori Janosz KE, Yanez J, McCullough PA. Effects of weight loss and
  pharmacotherapy on inflammatory markers of cardiovascular disease. Expert Rev Cardiovasc
  Ther. 2005 Jul;3(4):743-59. PMID 16076283

M128) Nori Janosz KE, Miller WM, Odom J, Lillystone M, McCullough PA. Optimal diabetes
  management during medical weight loss for cardiovascular risk reduction. Expert Rev
  Cardiovasc Ther. 2005 Jul;3(4):761-75. PMID 16076284

M129) McCullough PA, Berman AD. Percutaneous coronary interventions in the high-risk renal
  patient: strategies for renal protection and vascular protection. Cardiol Clin. 2005
  Aug;23(3):299-310. PMID 16084279

M130) Luther SA, McCullough PA, Havranek EP, Rumsfeld JS, Jones PG, Heidenreich PA, Peterson
  ED, Rathore SS, Krumholz HM, Weintraub WS, Spertus JA, Masoudi FA; for the Cardiovascular
  Outcomes Research Consortium. The Relationship Between B-type Natriuretic Peptide and
  Health Status in Patients With Heart Failure. J Card Fail. 2005 Aug;11(6):414-21. PMID
  16105631

M131) Knudsen CW, Omland T, Clopton P, Westheim A, Wu AH, Duc P, McCord J, Nowak RM,
  Hollander JE, Storrow AB, Abraham WT, McCullough PA, Maisel A. Impact of atrial fibrillation on
  the diagnostic performance of B-type natriuretic Peptide concentration in dyspneic patients an
  analysis from the breathing not properly multinational study. J Am Coll Cardiol. 2005 Sep
  6;46(5):838-44. PMID 16139134

M132) McCullough PA. Chronic angina: new medical options for treatment. Rev Cardiovasc Med.
  2005 Summer;6(3):152-61. PMID 16195688

M133) Spertus J, Peterson E, Conard MW, Heidenreich PA, Krumholz HM, Jones P, McCullough PA,
  Pina I, Tooley J, Weintraub WS, Rumsfeld JS; Cardiovascular Outcomes Research Consortium.
  Monitoring clinical changes in patients with heart failure: a comparison of methods. Am Heart J.
  2005 Oct;150(4):707-15. PMID 16209970

M134) McCullough PA. Effect of lipid modification on progression of coronary calcification. J Am
  Soc Nephrol. 2005 Nov;16 Suppl 2:S115-9. PMID 16251246

M135) Wu AH, Omland T, Wold Knudsen C, McCord J, Nowak RM, Hollander JE, Duc P, Storrow AB,
  Abraham WT, Clopton P, Maisel AS, McCullough PA. For The Breathing Not Properly
  Multinational Study Investigators. Relationship of B-type natriuretic peptide and anemia in
  patients with and without heart failure: A substudy from the Breathing Not Properly (BNP)
  Multinational Study. Am J Hematol. 2005 Oct 24;80(3):174-180. PMID 16247751

M136) Miller WM, Nori-Janosz KE, Lillystone M, Yanez J, McCullough PA. Obesity and lipids. Curr
  Cardiol Rep. 2005 Nov;7(6):465-70. PMID 16256017



                                                                                      App000232
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 235 of 633 PageID 961




M137) McCord J, Nowak RM, Jacobsen G, Sallach JA, Wu AH, Perez A, Omland T, Knudsen CW,
  Westheim A, Duc P, Steg PG, Hollander JE, Herrmann HC, Storrow AB, Abraham WT, Lamba S,
  McCullough PA, Maisel A. B-Type Natriuretic Peptide Levels in Patients in the Emergency
  Department with Possible Heart Failure and Previous Stable Angina Pectoris and/or Healed
  Myocardial Infarction. Am J Cardiol. 2005 Nov 15;96(10):1370-3. Epub 2005 Sep 23. PMID
  16275180

M138) Chinnaiyan KM, Alexander D, McCullough PA. Role of Angiotensin II in the Evolution of
  Diastolic Heart Failure. J Clin Hypertens (Greenwich). 2005 Dec;7(12):740-7. PMID: 16330897

M139) McCullough PA. Symposium: cardiovascular diseases and renal insufficiency. Introduction.
  Int J Geriatric Cardiol 2005; September 2005 2(3):130.

M140) McCullough PA. Spectrum of cardiorenal disease. Int J Geriatric Cardiol 2005; September
  2005 2(3):131-135.

M141) McCullough PA, Lepor NE. Anemia: A Modifiable Risk Factor for Heart Disease. Rev
  Cardiovasc Med. 2005;6 Suppl. 3:1-3. PMID: 16340932

M142) McCullough PA, Lepor NE. Piecing Together the Evidence on Anemia: The Link between
  Chronic Kidney Disease and Cardiovascular Disease. Rev Cardiovasc Med. 2005;6 Suppl. 3:4-12.
  PMID: 16340933

M143) McCullough PA, Silver MA, Kennard ED, Kelsey SF, Michaels AD; IEPR Investigators. Impact
  of body mass index on outcomes of enhanced external counterpulsation therapy. Am Heart J.
  2006 Jan;151(1):139. PMID: 16368306

M144) Strunk A, Bhalla V, Clopton P, Nowak RM, McCord J, Hollander JE, Duc P, Storrow AB,
  Abraham WT, Wu AHB, Steg G, Perez A, Kazanegra R, Herrmann HC, Aumont MC, McCullough
  PA, Maisel A, for the BNP Multinational Study Investigators. Impact of the history of congestive
  heart failure on the utility of B-type natriuretic peptide in the emergency diagnosis of heart
  failure: Results from the Breathing Not Properly Multinational Study. Am J Med 119(1):69.e1-
  69.e11, 2006. PMID: 16431187

M145) McCullough P. Outcomes of contrast-induced nephropathy: Experience in patients
  undergoing cardiovascular intervention. Catheter Cardiovasc Interv. 2006 Mar;67(3):335-43.
  PMID: 16489569.

M146) McCullough PA, Mueller C, Yancy CW Jr. Overview of B-type natriuretic Peptide as a blood
  test. Congest Heart Fail. 2006 Mar-Apr;12(2):99-102. PMID: 16596044

M147) McCullough PA. Ranolazine: Focusing on angina pectoris. Drugs Today (Barc). 2006
  Mar;42(3):177-83. PMID: 16628259



                                                                                      App000233
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 236 of 633 PageID 962




M148) Daniels LB, Clopton P, Bhalla V, Krishnaswamy P, Nowak RM, McCord J, Hollander JE, Duc P,
  Omland T, Storrow AB, Abraham WT, Wu AH, Steg PG, Westheim A, Knudsen CW, Perez A,
  Kazanegra R, Herrmann HC, McCullough PA, Maisel AS. How obesity affects the cut-points for B-
  type natriuretic peptide in the diagnosis of acute heart failure. Results from the Breathing Not
  Properly Multinational Study. Am Heart J. 2006 May;151(5):1006-12. PMID: 16644321

M149) Brenden CK, Hollander JE, Guss D, McCullough PA, Nowak R, Green G, Saltzberg M, Ellison
  SR, Bhalla MA, Bhalla V, Clopton P, Jesse R, Maisel AS; REDHOT Investigators. Gray zone BNP
  levels in heart failure patients in the emergency department: results from the Rapid Emergency
  Department Heart Failure Outpatient Trial (REDHOT) multicenter study. Am Heart J. 2006
  May;151(5):1013-8. PMID: 16644322

M150) Daniels LB, Bhalla V, Clopton P, Hollander JE, Guss D, McCullough PA, Nowak R, Green G,
  Saltzberg M, Ellison SR, Bhalla MA, Jesse R, Maisel A. B-Type Natriuretic Peptide (BNP) Levels
  and Ethnic Disparities in Perceived Severity of Heart Failure Results From the Rapid Emergency
  Department Heart Failure Outpatient Trial (REDHOT) Multicenter Study of BNP Levels and
  Emergency Department Decision Making in Patients Presenting With Shortness of Breath. J Card
  Fail. 2006 May;12(4):281-5. PMID: 16679261

M151) Hanzel GS, Downes M, McCullough PA. Editorial: Renal function after renal artery stenting.
  J Geriatric Cardiol 2005;2(4):196-197.

M152) Foley RN, McCullough PA. Editorial: Anemia and left ventricular hypertrophy in non-dialysis
  chronic kidney disease. J Geriatric Cardiol 2005;2(4):195-196.

M153) McCullough PA. Chronic kidney disease: tipping the scale to the benefit of angiotensin-
  converting enzyme inhibitors in patients with coronary artery disease. Circulation. 2006 Jul
  4;114(1):6-7. PMID: 16818827

M154) McCullough PA, Gallagher MJ, deJong AT, Sandberg KR, Trivax JE, Alexander D, Kasturi G,
  Jafri SM, Krause KR, Chengelis DL, Moy J, Franklin BA. Cardiorespiratory fitness and short-term
  complications after bariatric surgery. Chest. 2006 Aug;130(2):517-25. PMID: 16899853

M155) Ochoa AB, DeJong A, Grayson D, Franklin B, McCullough P. Effect of enhanced external
  counterpulsation on resting oxygen uptake in patients having previous coronary
  revascularization and in healthy volunteers. Am J Cardiol. 2006 Sep 1;98(5):613-5. Epub 2006
  Jun 30. PMID: 16923446

M156) McCullough PA, Bertrand ME, Brinker JA, Stacul F. A meta-analysis of the renal safety of
  isosmolar iodixanol compared with low-osmolar contrast media. J Am Coll Cardiol. 2006 Aug
  15;48(4):692-9. Epub 2006 Jul 24. PMID: 16904536




                                                                                      App000234
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 237 of 633 PageID 963



M157) McCullough PA, Wase A. Do implantable cardioverter-defibrillators improve survival in
  dialysis patients after cardiac arrest? Nat Clin Pract Nephrol. 2006 Feb;2(2):70-1. PMID:
  16932394

M158) McCullough PA, Stacul F, Davidson C, Becker CR, Adam A, Lameire N, Tumlin J; CIN
  Consensus Working Panel. Overview. Am J Cardiol. 2006 Sep 18;98(6S1):2-4. Epub 2006 Feb 13.
  PMID: 16949374.

M159) McCullough PA, Adam A, Becker CR, Davidson C, Lameire N, Stacul F, Tumlin J; CIN
  Consensus Working Panel. Epidemiology and Prognostic Implications of Contrast-Induced
  Nephropathy. Am J Cardiol. 2006 Sep 18;98(6S1):5-13. Epub 2006 Feb 10. PMID: 16949375

M160) Tumlin J, Stacul F, Adam A, Becker CR, Davidson C, Lameire N, McCullough PA; CIN
  Consensus Working Panel. Pathophysiology of Contrast-Induced Nephropathy. Am J Cardiol.
  2006 Sep 18;98(6S1):14-20. Epub 2006 Feb 17. PMID: 16949376

M161) Lameire N, Adam A, Becker CR, Davidson C, McCullough PA, Stacul F, Tumlin J; CIN
  Consensus Working Panel. Baseline Renal Function Screening. Am J Cardiol. 2006 Sep
  18;98(6S1):21-26. Epub 2006 Feb 20. PMID: 16949377

M162) McCullough PA, Adam A, Becker CR, Davidson C, Lameire N, Stacul F, Tumlin J; CIN
  Consensus Working Panel. Risk Prediction of Contrast-Induced Nephropathy. Am J Cardiol.
  2006 Sep 18;98(6S1):27-36. Epub 2006 Feb 23. PMID: 16949378

M163) Becker CR, Davidson C, Lameire N, McCullough PA, Stacul F, Tumlin J, Adam A; CIN
  Consensus Working Panel. High-Risk Situations and Procedures. Am J Cardiol. 2006 Sep
  18;98(6S1):37-41. Epub 2006 Feb 20. PMID: 16949379

M164) Davidson C, Stacul F, McCullough PA, Tumlin J, Adam A, Lameire N, Becker CR; CIN
  Consensus Working Panel. Contrast Medium Use. Am J Cardiol. 2006 Sep 18;98(6S1):42-58.
  Epub 2006 Mar 2. PMID: 16949380

M165) Stacul F, Adam A, Becker CR, Davidson C, Lameire N, McCullough PA, Tumlin J; CIN
  Consensus Working Panel. Strategies to Reduce the Risk of Contrast-Induced Nephropathy. Am
  J Cardiol. 2006 Sep 18;98(6S1):59-77. Epub 2006 Mar 20. PMID: 16949381

M166) Vanhecke TE, Miller WM, Franklin BA, Weber JE, McCullough PA. Awareness, knowledge,
  and perception of heart disease among adolescents. Eur J Cardiovasc Prev Rehabil. 2006
  Oct;13(5):718-23. PMID: 17001210

M167) Zalesin KC, McCullough PA. Bariatric surgery for morbid obesity: risks and benefits in
  chronic kidney disease patients. Adv Chronic Kidney Dis. 2006 Oct;13(4):403-17. PMID:
  17045226




                                                                                       App000235
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 238 of 633 PageID 964



M168) Michaels AD, McCullough PA, Soran OZ, Lawson WE, Barsness GW, Henry TD, Linnemeier G,
  Ochoa A, Kelsey SF, Kennard ED, for the IEPR Investigators. Primer: practical approach to the
  selection of patients for and application of EECP. Nature Clinical Practice Cardiovascular
  Medicine 2006; 3: 623-632. PMID: 17063167

M169) McCullough PA. Failure of beta-blockers in the reduction of perioperative events: where did
  we go wrong? Am Heart J. 2006 Nov;152(5):815-8. PMID: 17070139

M170) McCullough PA. Renal safety of iodixanol. Expert Rev Cardiovasc Ther. 2006 Sep;4(5):655-
  61. PMID: 17081087

M171) Vanhecke TE, Franklin BA, Lillystone MA, Sandberg KR, DeJong AT, Krause KR, Chengelis DL,
  McCullough PA. Caloric Expenditure in the Morbidly Obese Using Dual Energy X-ray
  Absorptiometry. J Clin Densitom. 2006 Oct-Dec;9(4):438-44. Epub 2006 Sep 28. PMID:
  17097530

M172) Conard MW, Haddock CK, Poston WS, Havranek E, McCullough P, Spertus J; Cardiovascular
  Outcomes Research Consortium. Impact of obesity on the health status of heart failure patients.
  J Card Fail. 2006 Dec;12(9):700-6. PMID: 17174231

M173) McCullough PA, Stacul F, Becker CR, Adam A, Lameire N, Tumlin JA, Davidson CJ. Contrast-
  Induced Nephropathy (CIN) Consensus Working Panel: Executive Summary. Rev Cardiovasc
  Med. 2006 Fall;7(4):177-97. PMID: 17224862

M174) Chinnaiyan KM, Alexander D, Maddens M, McCullough PA. Curriculum in cardiology:
  integrated diagnosis and management of diastolic heart failure. Am Heart J. 2007
  Feb;153(2):189-200. PMID: 17239676

M175) Vogel JA, Franklin BA, Zalesin KC, Trivax JE, Krause KR, Chengelis DL, McCullough PA.
  Reduction in predicted coronary heart disease risk after substantial weight reduction after
  bariatric surgery. Am J Cardiol. 2007 Jan 15;99(2):222-6. Epub 2006 Nov 16. PMID: 17223422

M176) McCullough PA, Rocher LR. Statin therapy in renal disease: Harmful or protective. Curr
  Atheroscler Rep. 2007 Jan;9(1):18-24. PMID: 17169242

M177) McCullough PA. [Cardiorenal intersection: crossroads to the future.] Arq Bras Cardiol. 2007
  Jan;88(1):117-26. Portuguese Translation. PMID: 17364130

M178) Mehta L, Devlin W, McCullough PA, O'Neill WW, Skelding KA, Stone GW, Boura JA, Grines CL.
  Impact of body mass index on outcomes after percutaneous coronary intervention in patients
  with acute myocardial infarction. Am J Cardiol. 2007 Apr 1;99(7):906-10. Epub 2007 Feb 12.
  PMID: 17398181




                                                                                     App000236
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 239 of 633 PageID 965



M179) McCullough PA. Kidney disease. Estimated glomerular filtration rate: why is it important?
  Rev Cardiovasc Med. 2007 Winter;8(1):46-9. PMID: 17401304

M180) Lawson WE, Hui JC, Kennard ED, Soran O, McCullough PA, Kelsey SF; for the IEPR
  Investigators. Effect of enhanced external counterpulsation on medically refractory angina
  patients with erectile dysfunction. Int J Clin Pract. 2007 May;61(5):757-62. PMID: 17493089

M181) McCullough PA, Jurkovitz CT, Pergola PE, McGill JB, Brown WW, Collins AJ, Chen SC, Li S,
  Singh A, Norris KC, Klag MJ, Bakris GL; for the KEEP Investigators. Independent Components of
  Chronic Kidney Disease as a Cardiovascular Risk State: Results From the Kidney Early Evaluation
  Program (KEEP). Arch Intern Med. 2007 Jun 11;167(11):1122-9. PMID: 17563019

M182) McCullough PA. Coronary artery disease. Clin J Am Soc Nephrol. 2007 May;2(3):611-6. Epub
  2007 Mar 21. PMID: 17699471

M183) McCullough PA, Lepor NE. The rosiglitazone meta-analysis. Rev Cardiovasc Med. 2007
  Spring;8(2):123-6. PMID: 17603430

M184) McCullough PA, Henry TD, Kennard ED, Kelsey SF, Michaels AD; for the IEPR Investigators.
  Residual high-grade angina after enhanced external counterpulsation therapy. Cardiovasc
  Revasc Med. 2007 Jul-Sep;8(3):161-5. PMID: 17765644

M185) Miller WM, Nori Janosz KE, Zalesin KC, McCullough PA. Nutraceutical meal replacements:
  more effective than all-food diets in the treatment of obesity. Therapy 2007, 4(5):623-639.

M186) Zalesin KC, Miller WM, Nori Janosz KE, Yanez J, Krause K, Chengelis DL, McCullough PA.
  Controversies in vitamin D: deficiency and supplementation after Roux-en-Y gastric bypass
  surgery. Therapy 2007, 4(5):561-574.

M187) Li S, Chen SC, Shlipak M, Bakris G, McCullough PA, Sowers J, Stevens L, Jurkovitz C,
  McFarlane S, Norris K, Vassalotti J, Klag MJ, Brown WW, Narva A, Calhoun D, Johnson B, Obialo
  C, Whaley-Connell A, Becker B, Collins AJ. Low birth weight is associated with chronic kidney
  disease only in men. Kidney Int. 2008 Mar;73(5):637-42. PMID: 18094674

M188) Duru OK, Li S, Jurkovitz C, Bakris G, Brown W, Chen SC, Collins A, Klag M, McCullough PA,
  McGill J, Narva A, Pergola P, Singh A, Norris K. Race and Sex Differences in Hypertension Control
  in CKD: Results From the Kidney Early Evaluation Program (KEEP). Am J Kidney Dis. 2008
  Feb;51(2):192-8. PMID: 18215697

M189) McCullough PA. Multimodality prevention of contrast-induced acute kidney injury. Am J
  Kidney Dis. 2008 Feb;51(2):169-72. PMID: 18215694

M190) McCullough PA, Rocher LR. Statin therapy in renal disease: harmful or protective? Curr Diab
  Rep. 2007 Dec;7(6):467-73. PMID: 18255012



                                                                                      App000237
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 240 of 633 PageID 966




M191) Nori Janosz KE, Koenig Berris KA, Leff C, Miller WM, Yanez J, Myers S, Vial C, Vanderlinden M,
  Franklin BA, McCullough PA. Clinical resolution of type 2 diabetes with reduction in body mass
  index using meal replacement based weight loss. Vascular Disease Prevention vol.5, 17-
  23(2008).

M192) Bellomo R, Auriemma S, Fabbri A, D'Onofrio A, Katz N, McCullough PA, Ricci Z, Shaw A,
  Ronco C. The pathophysiology of cardiac surgery-associated acute kidney injury (CSA-AKI). Int J
  Artif Organs. 2008 Feb;31(2):166-78. PMID: 18311733

M193) Bakris GL, Toto RD, McCullough PA, Rocha R, Purkayastha D, Davis P; GUARD (Gauging
  Albuminuria Reduction With Lotrel in Diabetic Patients With Hypertension) Study Investigators.
  Effects of different ACE inhibitor combinations on albuminuria: results of the GUARD study.
  Kidney Int. 2008 Jun;73(11):1303-9. Epub 2008 Mar 19. PMID: 18354383

M194) McCullough PA, Li S, Jurkovitz CT, Stevens LA, Wang C, Collins AJ, Chen SC, Norris KC,
  McFarlane SI, Johnson B, Shlipak MG, Obialo CI, Brown WW, Vassalotti JA, Whaley-Connell AT;
  Kidney Early Evaluation Program Investigators. CKD and cardiovascular disease in screened high-
  risk volunteer and general populations: the Kidney Early Evaluation Program (KEEP) and National
  Health and Nutrition Examination Survey (NHANES) 1999-2004. Am J Kidney Dis. 2008 Apr;51(4
  Suppl 2):S38-45. PMID: 18359407

M195) McFarlane SI, Chen SC, Whaley-Connell AT, Sowers JR, Vassalotti JA, Salifu MO, Li S, Wang C,
  Bakris G, McCullough PA, Collins AJ, Norris KC; Kidney Early Evaluation Program Investigators.
  Prevalence and associations of anemia of CKD: Kidney Early Evaluation Program (KEEP) and
  National Health and Nutrition Examination Survey (NHANES) 1999-2004. Am J Kidney Dis. 2008
  Apr;51(4 Suppl 2):S46-55. PMID: 18359408

M196) Vassalotti JA, Uribarri J, Chen SC, Li S, Wang C, Collins AJ, Calvo MS, Whaley-Connell AT,
  McCullough PA, Norris KC; Kidney Early Evaluation Program Investigators. Trends in mineral
  metabolism: Kidney Early Evaluation Program (KEEP) and the National Health and Nutrition
  Examination Survey (NHANES) 1999-2004. Am J Kidney Dis. 2008 Apr;51(4 Suppl 2):S56-68.
  PMID: 18359409

M197) Whaley-Connell AT, Sowers JR, Stevens LA, McFarlane SI, Shlipak MG, Norris KC, Chen SC,
  Qiu Y, Wang C, Li S, Vassalotti JA, Collins AJ; Kidney Early Evaluation Program Investigators.
  CKD in the United States: Kidney Early Evaluation Program (KEEP) and National Health and
  Nutrition Examination Survey (NHANES) 1999-2004. Am J Kidney Dis. 2008 Apr;51(4 Suppl
  2):S13-20. PMID: 18359403

M198) Whaley-Connell AT, Sowers JR, McFarlane SI, Norris KC, Chen SC, Li S, Qiu Y, Wang C, Stevens
  LA, Vassalotti JA, Collins AJ; Kidney Early Evaluation Program Investigators. Diabetes mellitus in
  CKD: Kidney Early Evaluation Program (KEEP) and National Health and Nutrition and Examination
  Survey (NHANES) 1999-2004. Am J Kidney Dis. 2008 Apr;51(4 Suppl 2):S21-9. PMID: 18359404



                                                                                       App000238
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 241 of 633 PageID 967




M199) McCullough PA. Acute kidney injury with iodinated contrast. Crit Care Med. 2008 Apr;36(4
  Suppl):S204-11. PMID: 18382195

M200) deJong AT, Gallagher MJ, Sandberg KR, Lillystone MA, Spring T, Franklin BA, McCullough PA.
  Peak oxygen consumption and the minute ventilation/carbon dioxide production relation slope
  in morbidly obese men and women: influence of subject effort and body mass index. Prev
  Cardiol. 2008 Spring;11(2):100-5. PMID: 18401238

M201) McCullough PA. Contrast-induced acute kidney injury. J Am Coll Cardiol. 2008 Apr
  15;51(15):1419-28. PMID: 18402894

M202) Vanhecke TE, Gandhi M, McCullough PA, Lazar MH, Ravikrishnan KP, Kadaj P, Begle RL.
  Outcomes of patients considered for, but not admitted to, the intensive care unit. Crit Care
  Med. 2008 Mar;36(3):812-7. PMID: 18431268

M203) Zalesin KC, Krause KR, Chengelis DL, McCullough PA. Determinants of resolution of type 2
  diabetes after bariatric surgery. Vascular Disease Prevention 2008;5(2):75-80.

M204) Miller W, Odom J, Veri S, Korponic S, Lillystone M, McCullough PA. Impact of short-term
  educational and behavioral therapy on childhood obesity. Vascular Disease Prevention 2008;
  5(2):129-134.

M205) Vanhecke TE, Franklin BA, Ajluni SC, Sangal RB, McCullough PA. Cardiorespiratory fitness
  and sleep-related breathing disorders. Expert Rev Cardiovasc Ther. 2008 Jun;6(5):745-58.
  PMID: 18510490

M206) Gebreegziabher Y, McCullough PA, Bubb C, Loney-Hutchinson L, Makaryus JN, Anand N,
  Divakaran V, Akhrass P, Alam A, Gizycki H, McFarlane SI. Admission hyperglycemia and length of
  hospital stay in patients with diabetes and heart failure: a prospective cohort study. Congest
  Heart Fail. 2008 May-Jun;14(3):117-20. PMID: 18550921

M207) O'Donoghue M, Boden WE, Braunwald E, Cannon CP, Clayton TC, de Winter RJ, Fox KA,
  Lagerqvist B, McCullough PA, Murphy SA, Spacek R, Swahn E, Wallentin L, Windhausen F,
  Sabatine MS. Early invasive vs conservative treatment strategies in women and men with
  unstable angina and non-ST-segment elevation myocardial infarction: a meta-analysis. JAMA.
  2008 Jul 2;300(1):71-80. PMID: 18594042

M208) Franklin BA, McCullough PA. The "Null Effect" of Low-Density Lipoprotein Cholesterol
  Lowering on a Modest Baseline Intima-Media Thickness: Lessons Learned From the ENHANCE
  Trial. Prev Cardiol. 2008 Summer;11(3):177-8.

M209) Agrawal V, Kizilbash SH, McCullough PA. New therapeutic agents for diabetic kidney disease.
  Therapy. 2008 Jun;5(4):553-75.



                                                                                      App000239
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 242 of 633 PageID 968




M210) Vanhecke TE, Berman AD, McCullough PA. Body weight limitations of United States cardiac
  catheterization laboratories including restricted access for the morbidly obese. Am J Cardiol.
  2008 Aug 1;102(3):285-6.

M211) Saab G, Whaley-Connell AT, McCullough PA, Bakris GL. CKD awareness in the United States:
  the Kidney Early Evaluation Program (KEEP). Am J Kidney Dis. 2008 Aug;52(2):382-3.

M212) McCullough PA, Li S, Jurkovitz CT, Stevens L, Collins AJ, Chen SC, Norris KC, McFarlane S,
  Johnson B, Shlipak MG, Obialo CI, Brown WW, Vassaloti J, Whaley-Connell AT, Brenner RM,
  Bakris GL; KEEP Investigators. Chronic kidney disease, prevalence of premature cardiovascular
  disease, and relationship to short-term mortality. Am Heart J. 2008 Aug;156(2):277-83. Epub
  2008 Jun 4. PMID: 18657657

M213) McCullough PA, Lepor NE. Lipids, biomarkers, and noninvasive imaging of atherosclerotic
  disease activity in clinical trials. Rev Cardiovasc Med. 2008 Spring;9(2):142-9. PMID: 18660735

M214) McCullough PA, Agrawal V, Danielewicz E, Abela GS. Accelerated Atherosclerotic
  Calcification and Mönckeberg’s Sclerosis: A Continuum of Advanced Vascular Pathology in
  Chronic Kidney Disease. Clin J Am Soc Nephrol. 2008 Nov;3(6):1585-98. PMID: 18667741

M215) Boerrigter G, Costello-Boerrigter LC, Abraham WT, Sutton MG, Heublein DM, Kruger KM, Hill
  MR, McCullough PA, Burnett JC Jr. Cardiac resynchronization therapy improves renal function in
  human heart failure with reduced glomerular filtration rate. J Card Fail. 2008 Sep;14(7):539-46.
  Epub 2008 May 27. PMID: 18722318

M216) Zalesin KC, Franklin BA, Miller WM, Peterson ED, McCullough PA. Impact of obesity on
  cardiovascular disease. Endocrinol Metab Clin North Am. 2008 Sep;37(3):663-84. PMID:
  18775358

M217) Vanhecke TE, Franklin BA, Zalesin KC, Sangal RB, deJong AT, Agrawal V, McCullough PA.
  Cardiorespiratory fitness and obstructive sleep apnea syndrome in morbidly obese patients.
  Chest. 2008 Sep;134(3):539-45. PMID: 18779193

M218) Madala MC, Franklin BA, Chen AY, Berman AD, Roe MT, Peterson ED, Ohman EM, Smith SC
  Jr, Gibler WB, McCullough PA; CRUSADE Investigators. Obesity and Age of First Non-ST-Segment
  Elevation Myocardial Infarction. J Am Coll Cardiol. 2008 Sep 16;52(12):979-985. PMID:
  18786477

M219) Agrawal V, Khan I, Rai B, Krause KR, Chengelis DL, Zalesin KC, Rocher LL, McCullough PA. The
  effect of weight loss after bariatric surgery on albuminuria. Clin Nephrol. 2008 Sep;70(3):194-
  202. PMID: 18793560




                                                                                      App000240
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 243 of 633 PageID 969



M220) Efstratiadis S, Kennard ED, Kelsey SF, Michaels AD; International EECP Patient Registry-2
  Investigators.(McCullough PA, site Principal Investigator) Passive tobacco exposure may impair
  symptomatic improvement in patients with chronic angina undergoing enhanced external
  counterpulsation. BMC Cardiovasc Disord. 2008 Sep 17;8:23. PMID: 18798998

M221) McCullough PA. Radiocontrast-induced acute kidney injury. Nephron Physiol.
  2008;109(4):p61-72. Epub 2008 Sep 18. PMID: 18802377

M222) McCullough PA. The impact of systemic calcified atherosclerosis in patients with chronic
  kidney disease. Adv Chronic Kidney Dis. 2008 Oct;15(4):335-7. PMID: 18805378

M223) McCullough PA, Chinnaiyan KM, Agrawal V, Danielewicz E, Abela GS. Amplification of
  atherosclerotic calcification and Mönckeberg's sclerosis: a spectrum of the same disease
  process. Adv Chronic Kidney Dis. 2008 Oct;15(4):396-412. PMID: 18805386

M224) Agrawal V, Krause KR, Chengelis DL, Zalesin KC, Rocher LL, McCullough PA. Relation
  between degree of weight loss after bariatric surgery and reduction in albuminuria and C-
  reactive protein. Surg Obes Relat Dis. 2009 Jan-Feb;5(1):20-6. Epub 2008 Aug 5. PMID:
  18951068

M225) Agrawal V, Ghosh AK, Barnes MA, McCullough PA. Awareness and Knowledge of Clinical
  Practice Guidelines for CKD among Internal Medicine Residents: A National Online Survey. Am J
  Kidney Dis. 2008 Dec;52(6):1061-9. Epub 2008 Oct 30. PMID: 18976845

M226) Jamerson K, Weber MA, Bakris GL, Dahlöf B, Pitt B, Shi V, Hester A, Gupte J, Gatlin M,
  Velazquez EJ; ACCOMPLISH Trial Investigators. Benazepril plus amlodipine or
  hydrochlorothiazide for hypertension in high-risk patients. (McCullough PA, Site Principal
  Investigator) N Engl J Med. 2008 Dec 4;359(23):2417-28. PMID: 19052124

M227) Flemmer M, Rajab H, Mathena T, Paulson J, Perkins S, Whelan T, Chiu R, McCullough PA.
  Blood B-type natriuretic peptide and dialysis: present assessment and future analyses. South
  Med J. 2008 Nov;101(11):1094-100. PMID: 19088516

M228) Agrawal V, Ghosh AK, Barnes MA, McCullough PA. Perception of Indications for Nephrology
  Referral among Internal Medicine Residents: A National Online Survey Clin J Am Soc Nephrol.
  2009 Feb;4(2):323-8. PMID: 19218472

M229) Fried LF, Duckworth W, Zhang JH, O'Connor T, Brophy M, Emanuele N, Huang GD,
  McCullough PA, Palevsky PM, Seliger S, Warren SR, Peduzzi P; for VA NEPHRON-D Investigators.
  Design of Combination Angiotensin Receptor Blocker and Angiotensin-Converting Enzyme
  Inhibitor for Treatment of Diabetic Nephropathy (VA NEPHRON-D). Clin J Am Soc Nephrol. 2009
  Feb;4(2):361-8. Epub 2008 Dec 31. PMID: 19118120




                                                                                      App000241
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 244 of 633 PageID 970



M230) Chinnaiyan KM, McCullough PA. Optimizing Outcomes in Coronary CT Imaging. Rev
  Cardiovasc Med. 2008 Fall;9(4):215-24. PMID: 19122579

M231) Cardenas GA, Lavie CJ, Cardenas V, Milani RV, McCullough PA. The importance of
  recognizing and treating low levels of high-density lipoprotein cholesterol: a new era in
  atherosclerosis management. Rev Cardiovasc Med. 2008 Fall;9(4):239-58. PMID: 19122582

M232) Chinnaiyan KM, McCullough PA, Flohr TG, Wegner JH, Raff GL. Improved noninvasive
  coronary angiography in morbidly obese patients with dual-source computed tomography. J
  Cardiovasc Comput Tomogr. 2008 Dec 3. PMID: 19136325

M233) Soman P, Lahiri A, Mieres JH, Calnon DA, Wolinsky D, Beller GA, Sias T, Burnham K, Conway
  L, McCullough PA, Daher E, Walsh MN, Wight J, Heller GV, Udelson JE. Etiology and
  pathophysiology of new-onset heart failure: Evaluation by myocardial perfusion imaging. J Nucl
  Cardiol. 2009 Jan-Feb;16(1):82-91. Epub 2009 Jan 20. PMID: 19152132

M234) Goldfarb S, McCullough PA, McDermott J, Gay SB. Contrast-induced acute kidney injury:
  specialty-specific protocols for interventional radiology, diagnostic computed tomography
  radiology, and interventional cardiology. Mayo Clin Proc. 2009 Feb;84(2):170-9. PMID:
  19181651

M235) McCullough PA. Treatment disparities in patients with acute coronary syndromes and
  kidney disease. Eur Heart J. 2009 Mar;30(5):526-7. PMID: 19201760

M236) Agrawal V, Ghosh AK, Barnes MA, McCullough PA. Perception of indications for nephrology
  referral among internal medicine residents: a national online survey. Clin J Am Soc Nephrol.
  2009 Feb;4(2):323-8. PMID: 19218472

M237) McCullough PA, Chinnaiyan KM. Hazards of contrast-induced acute kidney injury in elderly
  women. Women’s Health (Lond Engl). 2009 Mar;5(2):123-5. PMID: 19245350

M238) Vanhecke TE, Franklin BA, Miller WM, deJong AT, Coleman CJ, McCullough PA.
  Cardiorespiratory fitness and sedentary lifestyle in the morbidly obese. Clin Cardiol. 2009
  Mar;32(3):121-4. PMID: 19301295

M239) Agrawal V, Marinescu V, Agarwal M, McCullough PA. Cardiovascular implications of
  proteinuria: an indicator of chronic kidney disease. Nat Rev Cardiol. 2009 Apr;6(4):301-11.
  PMID:19352334

M240) O'Connor CM, Whellan DJ, Lee KL, Keteyian SJ, Cooper LS, Ellis SJ, Leifer ES, Kraus WE,
  Kitzman DW, Blumenthal JA, Rendall DS, Miller NH, Fleg JL, Schulman KA, McKelvie RS, Zannad F,
  Piña IL; HF-ACTION Investigators.(McCullough PA Site Principal Investigator) Efficacy and safety
  of exercise training in patients with chronic heart failure: HF-ACTION randomized controlled
  trial. JAMA. 2009 Apr 8;301(14):1439-50. PMID: 19351941



                                                                                       App000242
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 245 of 633 PageID 971




M241) Vanhecke TE, Franklin BA, Maciejko J, Chinnaiyan K, McCullough PA. Lipoproteins,
  inflammatory biomarkers, and cardiovascular imaging in the assessment of atherosclerotic
  disease activity. Rev Cardiovasc Med. 2009 Winter;10(1):51-8. PMID:19367236

M242) Miller WM, Franklin BA, Nori Janosz KE, Vial C, Kaitner R, McCullough PA. Advantages of
  group treatment and structured exercise in promoting short-term weight loss and cardiovascular
  risk reduction in adults with central obesity. Metab Syndr Relat Disord 2009 May 18. PMID:
  19450156

M243) Agrawal V, Swami A, Kosuri R, Alsabbagh M, Agarwal M, Samarapungavan D, Rocher LL,
  McCullough PA. Contrast-induced acute kidney injury in renal transplant recipients after cardiac
  catheterization. Clin Nephrol. 2009 Jun;71(6):687-96. PMID: 19473638

M244) Janosz KE, Zalesin KC, Miller WM, McCullough PA, Franklin BA. Impact of surgical and
  nonsurgical weight loss on diabetes resolution and cardiovascular risk reduction. Curr Diab Rep.
  2009 Jun;9(3):223-8. PMID: 19490824

M245) McCullough PA, Neyou A. Comprehensive Review of the Relative Clinical Utility of B-Type
  Natriuretic Peptide and N-Terminal Pro-B-Type Natriuretic Peptide Assays in Cardiovascular
  Disease. Open Heart Failure Journal, 2009, 2, 6-17.

M246) Odom J, Zalesin KC, Washington TL, Miller WW, Hakmeh B, Zaremba DL, Altattan M,
  Balasubramaniam M, Gibbs DS, Krause KR, Chengelis DL, Franklin BA, McCullough PA.
  Behavioral Predictors of Weight Regain after Bariatric Surgery. Obes Surg. 2010 Mar;20(3):349-
  56 PMID: 19554382

M247) McCullough PA, Agarwal M, Agrawal V. Review article: Risks of coronary artery calcification
  in chronic kidney disease: do the same rules apply? Nephrology (Carlton). 2009 Jun;14(4):428-
  36. PMID: 19563385

M248) Agrawal V, Shah A, Rice C, Franklin BA, McCullough PA. Impact of treating the metabolic
  syndrome on chronic kidney disease. Nat Rev Nephrol. 2009 Sep;5(9):520-8. Epub 2009 Jul 28.
  Review. PMID: 19636332

M249) Moe SM, Drüeke TB, Block GA, Cannata-Andía JB, Elder G, Fukagawa M, Jorgetti V, Ketteler
  M, Langman CB, Levin A, MacLeod AM, McCann L, McCullough PA, Ott SM, Wang AY, Weisinger
  JR, Wheeler DC, Eckardt KU, Kasiske BL, Uhlig K, Moorthi R, Earley A, Persson R. Introduction
  and definition of CKD-MBD and the development of the guideline statements. Kidney Int Suppl.
  2009 Aug;(113):S1-130. PMID: 19644521

M250) McCullough PA. Darapladib and atherosclerotic plaque: should lipoprotein-associated
  phospholipase A2 be a therapeutic target? Curr Atheroscler Rep. 2009 Sep;11(5):334-7. PMID:
  19664375



                                                                                      App000243
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 246 of 633 PageID 972




M251) Agrawal V, Vanhecke TE, Rai B, Franklin BA, Sangal RB, McCullough PA. Albuminuria and
  Renal Function in Obese Adults Evaluated for Obstructive Sleep Apnea. Nephron Clin Pract.
  2009 Aug 12;113(3):c140-c147. PMID: 19672111

M252) Agrawal V, Barnes MA, Ghosh AK, McCullough PA. Questionnaire instrument to assess
  knowledge of chronic kidney disease clinical practice guidelines among internal medicine
  residents. J Eval Clin Pract. 2009 Aug;15(4):733-8. PMID: 19674226

M253) Franklin BA, McCullough PA. Cardiorespiratory fitness: an independent and additive marker
  of risk stratification and health outcomes. Mayo Clin Proc. 2009 Sep;84(9):776-9. PMID:
  19720774

M254) Lele S, Shah S, McCullough PA, Rajapurkar M. Serum catalytic iron as a novel biomarker of
  vascular injury in acute coronary syndromes. EuroIntervention. 2009 Aug;5(3):336-42. PMID:
  19736158

M255) McCullough PA, Hanzel GS. B-type natriuretic peptide and echocardiography in the
  surveillance of severe mitral regurgitation prior to valve surgery. J Am Coll Cardiol. 2009 Sep
  15;54(12):1107-9. PMID: 19744621

M256) Pahle AS, Sørli D, Omland T, Knudsen CW, Westheim A, Wu AH, Steg PG, McCord J, Nowak
  RM, Hollander JE, Storrow AB, Abraham WT, McCullough PA, Maisel A. Impact of systemic
  hypertension on the diagnostic performance of B-type natriuretic peptide in patients with acute
  dyspnea. Am J Cardiol. 2009 Oct 1;104(7):966-71. PMID: 19766765

M257) McCullough PA. Commentary: contrast-induced nephropathy and long-term adverse
  events: cause and effect? Nephrol Dial Transplant. 2009 Dec;24(12):3578-9. Epub 2009 Sep 25.
  PMID: 19783600

M258) Saab G, Whaley-Connell A, McFarlane SI, Li S, Chen SC, Sowers JR, McCullough PA, Bakris GL;
  Kidney Early Evaluation Program Investigators. Obesity is associated with increased parathyroid
  hormone levels independent of glomerular filtration rate in chronic kidney disease. Metabolism.
  2009 Oct 1. PMID: 19800639

M259) McMurray MD, Trivax JE, McCullough PA. Serum cystatin C, renal filtration function, and left
  ventricular remodeling. Circ Heart Fail. 2009 Mar;2(2):86-9. PMID: 19808322

M260) Nori Janosz KE, Zalesin KC, Miller WM, McCullough PA. Treating type 2 diabetes: incretin
  mimetics and enhancers. Ther Adv Cardiovasc Dis. 2009 Oct;3(5):387-95. PMID: 19808944

M261) Thakkar BV, Hirsch AT, Satran D, Bart BA, Barsness G, McCullough PA, Kennard ED, Kelsey SF,
  Henry TD. The efficacy and safety of enhanced external counterpulsation in patients with




                                                                                        App000244
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 247 of 633 PageID 973



   peripheral arterial disease. Vasc Med. 2010 Feb;15(1):15-20. Epub 2009 Oct 19. PMID:
   19841026

M262) Keteyian SJ, Isaac D, Thadani U, Roy BA, Bensimhon DR, McKelvie R, Russell SD, Hellkamp AS,
  Kraus WE; HF-ACTION Investigators (McCullough PA Site Investigator). Safety of symptom-
  limited cardiopulmonary exercise testing in patients with chronic heart failure due to severe left
  ventricular systolic dysfunction. Am Heart J. 2009 Oct;158(4 Suppl):S72-7. PMID: 19782792

M263) Flynn KE, Lin L, Ellis SJ, Russell SD, Spertus JA, Whellan DJ, Piña IL, Fine LJ, Schulman KA,
  Weinfurt KP; HF-ACTION Investigators (McCullough PA Site Investigator). Outcomes, health
  policy, and managed care: relationships between patient-reported outcome measures and
  clinical measures in outpatients with heart failure. Am Heart J. 2009 Oct;158(4 Suppl):S64-71.
  PMID: 19782791

M264) Forman DE, Clare R, Kitzman DW, Ellis SJ, Fleg JL, Chiara T, Fletcher G, Kraus WE; HF-ACTION
  Investigators (McCullough PA). Relationship of age and exercise performance in patients with
  heart failure: the HF-ACTION study. Am Heart J. 2009 Oct;158(4 Suppl):S6-S15. PMID: 19782790

M265) Atchley AE, Kitzman DW, Whellan DJ, Iskandrian AE, Ellis SJ, Pagnanelli RA, Kao A, Abdul-
  Nour K, O'Connor CM, Ewald G, Kraus WE, Borges-Neto S; HF-ACTION Investigators (McCullough
  PA). Myocardial perfusion, function, and dyssynchrony in patients with heart failure: baseline
  results from the single-photon emission computed tomography imaging ancillary study of the
  Heart Failure and A Controlled Trial Investigating Outcomes of Exercise TraiNing (HF-ACTION)
  Trial. Am Heart J. 2009 Oct;158(4 Suppl):S53-63. PMID: 19782789

M266) Gardin JM, Leifer ES, Fleg JL, Whellan D, Kokkinos P, Leblanc MH, Wolfel E, Kitzman DW; HF-
  ACTION Investigators (McCullough PA). Relationship of Doppler-Echocardiographic left
  ventricular diastolic function to exercise performance in systolic heart failure: the HF-ACTION
  study. Am Heart J. 2009 Oct;158(4 Suppl):S45-52. PMID: 19782788

M267) Felker GM, Whellan D, Kraus WE, Clare R, Zannad F, Donahue M, Adams K, McKelvie R, Piña
  IL, O'Connor CM; HF-ACTION Investigators (McCullough PA). N-terminal pro-brain natriuretic
  peptide and exercise capacity in chronic heart failure: data from the Heart Failure and a
  Controlled Trial Investigating Outcomes of Exercise Training (HF-ACTION) study. Am Heart J.
  2009 Oct;158(4 Suppl):S37-44. PMID: 19782787

M268) Horwich TB, Leifer ES, Brawner CA, Fitz-Gerald MB, Fonarow GC; HF-ACTION Investigators
  (McCullough PA). The relationship between body mass index and cardiopulmonary exercise
  testing in chronic systolic heart failure. Am Heart J. 2009 Oct;158(4 Suppl):S31-6. PMID:
  19782786

M269) Russell SD, Saval MA, Robbins JL, Ellestad MH, Gottlieb SS, Handberg EM, Zhou Y, Chandler B;
  HF-ACTION Investigators (McCullough PA). New York Heart Association functional class predicts




                                                                                        App000245
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 248 of 633 PageID 974



   exercise parameters in the current era. Am Heart J. 2009 Oct;158(4 Suppl):S24-30. PMID:
   19782785

M270) Piña IL, Kokkinos P, Kao A, Bittner V, Saval M, Clare B, Goldberg L, Johnson M, Swank A,
  Ventura H, Moe G, Fitz-Gerald M, Ellis SJ, Vest M, Cooper L, Whellan D; HF-ACTION Investigators
  (McCullough PA). Baseline differences in the HF-ACTION trial by sex. Am Heart J. 2009
  Oct;158(4 Suppl):S16-23. PMID: 19782784

M271) O'Connor CM, Whellan DJ; HF-ACTION Investigators (McCullough PA). Understanding heart
  failure through the HF-ACTION baseline characteristics. Am Heart J. 2009 Oct;158(4 Suppl):S1-5.
  PMID: 19782783

M272) McCullough PA, Tumlin JA. Prostaglandin-Based Renal Protection Against Contrast-Induced
  Acute Kidney Injury. Circulation. 2009 Nov 3;120(18):1749-51. PMID: 19841295

M273) McCullough PA, Khan M, James J. Serum cystatin C in the estimation of glomerular filtration
  on chronic Angiotensin-converting enzyme inhibitor therapy: an illustrative case report. J Clin
  Hypertens (Greenwich). 2009 Nov;11(11):651-5. PMID: 19878376

M274) Agrawal V, Agarwal M, Ghosh AK, Barnes MA, McCullough PA. Identification and
  Management of Chronic Kidney Disease Complications by Internal Medicine Residents: A
  National Survey. Am J Ther. 2009 Nov 14. PMID: 19918169

M275) Zalesin KC, Franklin BA, Lillystone MA, Shamoun T, Krause KR, Chengelis DL, Mucci SJ,
  Shaheen KW, McCullough PA. Differential Loss of Fat and Lean Mass in the Morbidly Obese
  after Bariatric Surgery. Metab Syndr Relat Disord. 2010 Feb;8(1):15-20. PMID: 19929598

M276) Lubanski MS, McCullough PA. Kidney's role in hypertension. Minerva Cardioangiol. 2009
  Dec;57(6):743-59. PMID: 19942846

M277) Agrawal V, Rai B, Fellows J, McCullough PA. In-hospital outcomes with thrombolytic therapy
  in patients with renal dysfunction presenting with acute ischaemic stroke. Nephrol Dial
  Transplant. 2010 Apr;25(4):1150-7. Epub 2009 Nov 27. PMID: 19945951

M278) McCullough PA, Chinnaiyan KM. Annual progression of coronary calcification in trials of
  preventive therapies: a systematic review. Arch Intern Med. 2009 Dec 14;169(22):2064-70.
  PMID: 20008688

M279) Ronco C, McCullough P, Anker SD, Anand I, Aspromonte N, Bagshaw SM, Bellomo R, Berl T,
  Bobek I, Cruz DN, Daliento L, Davenport A, Haapio M, Hillege H, House AA, Katz N, Maisel A,
  Mankad S, Zanco P, Mebazaa A, Palazzuoli A, Ronco F, Shaw A, Sheinfeld G, Soni S, Vescovo G,
  Zamperetti N, Ponikowski P; for the Acute Dialysis Quality Initiative (ADQI) consensus group.
  Cardio-renal syndromes: report from the consensus conference of the Acute Dialysis Quality
  Initiative. Eur Heart J. 2010 Mar;31(6):703-11. Epub 2009 Dec 25. PMID: 20037146



                                                                                     App000246
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 249 of 633 PageID 975




M280) Whaley-Connell A, Pavey BS, McCullough PA, Saab G, Li S, McFarlane SI, Chen SC, Vassalotti
  JA, Collins AJ, Bakris G, Sowers JR; KEEP Investigators. Dysglycemia predicts cardiovascular and
  kidney disease in the Kidney Early Evaluation Program. J Clin Hypertens (Greenwich). 2010
  Jan;12(1):51-8. PMID: 20047632

M281) McCullough PA, Whaley-Connell A, Brown WW, Collins AJ, Chen SC, Li S, Norris KC, Jurkovitz
  C, McFarlane S, Obialo C, Sowers J, Stevens L, Vassalotti JA, Bakris GL; on Behalf of the KEEP
  Investigators. Cardiovascular risk modification in participants with coronary disease screened by
  the Kidney Early Evaluation Program. Intern Med J. 2010 Dec;40(12):833-41. doi:
  10.1111/j.1445-5994.2009.02158.x. PMID: 21199222
M282) Vassalotti JA, Li S, McCullough PA, Bakris GL. Kidney Early Evaluation Program: A
  Community-Based Screening Approach to Address Disparities in Chronic Kidney Disease. Semin
  Nephrol. 2010 Jan;30(1):66-73. PMID: 20116650

M283) Trivax JE, Franklin BA, Goldstein JA, Chinnaiyan KM, Gallagher MJ, Dejong AT, Colar JM,
  Haines DE, McCullough PA. Acute Cardiac Effects of Marathon Running. J Appl Physiol. 2010
  May;108(5):1148-53. Epub 2010 Feb 11. PMID: 20150567

M284) McCullough PA, Vassalotti JA, Collins AJ, Chen SC, Bakris GL. NKF's Kidney Early Evaluation
  Program (KEEP) annual data report 2009: executive summary. Am J Kidney Dis. 2010 Mar;55(3
  Suppl 2):S1-3. PMID: 20172443

M285) Stevens LA, Li S, Wang C, Huang C, Becker BN, Bomback AS, Brown WW, Burrows NR,
  Jurkovitz CT, McFarlane SI, Norris KC, Shlipak M, Whaley-Connell AT, Chen SC, Bakris GL,
  McCullough PA. Prevalence of CKD and comorbid illness in elderly patients in the United States:
  results from the Kidney Early Evaluation Program (KEEP). Am J Kidney Dis. 2010 Mar;55(3 Suppl
  2):S23-33.PMID: 20172445

M286) Bomback AS, Kshirsagar AV, Whaley-Connell AT, Chen SC, Li S, Klemmer PJ, McCullough PA,
  Bakris GL. Racial differences in kidney function among individuals with obesity and metabolic
  syndrome: results from the Kidney Early Evaluation Program (KEEP). Am J Kidney Dis. 2010
  Mar;55(3 Suppl 2):S4-S14.PMID: 20172446

M287) Bagshaw SM, Cruz DN, Aspromonte N, Daliento L, Ronco F, Sheinfeld G, Anker SD, Anand I,
  Bellomo R, Berl T, Bobek I, Davenport A, Haapio M, Hillege H, House A, Katz N, Maisel A, Mankad
  S, McCullough P, Mebazaa A, Palazzuoli A, Ponikowski P, Shaw A, Soni S, Vescovo G, Zamperetti
  N, Zanco P, Ronco C; for the Acute Dialysis Quality Initiative (ADQI) Consensus Group.
  Epidemiology of cardio-renal syndromes: workgroup statements from the 7th ADQI Consensus
  Conference. Nephrol Dial Transplant. 2010 May;25(5):1406-16. Epub 2010 Feb 25. PMID:
  20185818

M288) McCullough PA. Transplantation: Coronary angiography prior to renal transplantation. Nat
  Rev Nephrol. 2010 Mar;6(3):136-7. PMID: 20186230



                                                                                      App000247
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 250 of 633 PageID 976




M289) McCullough PA, Verrill TA. Cardiorenal interaction: appropriate treatment of cardiovascular
  risk factors to improve outcomes in chronic kidney disease. Postgrad Med. 2010 Mar;122(2):25-
  34.PMID: 20203453

M290) Toth PP, McCullough PA, Wegner MS, Colley KJ. Lipoprotein-associated phospholipase A2:
  role in atherosclerosis and utility as a cardiovascular biomarker. Expert Rev Cardiovasc Ther.
  2010 Mar;8(3):425-38.PMID: 20222820

M291) Stolker JM, McCullough PA, Rao S, Inzucchi SE, Spertus JA, Maddox TM, Masoudi FA, Xiao L,
  Kosiborod M. Pre-procedural glucose levels and the risk for contrast-induced acute kidney
  injury in patients undergoing coronary angiography. J Am Coll Cardiol. 2010 Apr 6;55(14):1433-
  40.PMID: 20359592

M292) House AA, Anand I, Bellomo R, Cruz D, Bobek I, Anker SD, Aspromonte N, Bagshaw S, Berl T,
  Daliento L, Davenport A, Haapio M, Hillege H, McCullough P, Katz N, Maisel A, Mankad S, Zanco
  P, Mebazaa A, Palazzuoli A, Ronco F, Shaw A, Sheinfeld G, Soni S, Vescovo G, Zamperetti N,
  Ponikowski P, Ronco C; for the Acute Dialysis Quality Initiative (ADQI) consensus group.
  Definition and classification of Cardio-Renal Syndromes: workgroup statements from the 7th
  ADQI Consensus Conference. Nephrol Dial Transplant. 2010 May;25(5):1416-20. Epub 2010 Mar
  12. PMID: 20228069

M293) Zalesin KC, Franklin, BA, Miller WL, Nori Janosz KE, Veri Silvia, Odom JO, McCullough PA.
  Preventing Weight Regain After Bariatric Surgery: An Overview of Lifestyle and Psychosocial
  Modulators. American Journal of Lifestyle Medicine, Vol. 4, No. 2, 113-120 (2010)
  DOI:10.1177/1559827609351227

M294) McCullough PA, Haapio M, Mankad S, Zamperetti N, Massie B, Bellomo R, Berl T, Anker SD,
  Anand I, Aspromonte N, Bagshaw SM, Bobek I, Cruz DN, Daliento L, Davenport A, Hillege H,
  House AA, Katz N, Maisel A, Mebazaa A, Palazzuoli A, Ponikowski P, Ronco F, Shaw A, Sheinfeld
  G, Soni S, Vescovo G, Zanco P, Ronco C, Berl T; for the Acute Dialysis Quality Initiative (ADQI)
  Consensus Group. Prevention of cardio-renal syndromes: workgroup statements from the 7th
  ADQI Consensus Conference. Nephrol Dial Transplant. 2010 Jun;25(6):1777-84. Epub 2010 Apr
  6. PMID: 20375030

M295) Vanhecke TE, Kim R, Raheem SZ, McCullough PA. Myocardial ischemia in patients with
  diastolic dysfunction and heart failure. Curr Cardiol Rep. 2010 May;12(3):216-22.PMID:
  20424964

M296) Ronco C, McCullough PA, Anker SD, Anand I, Aspromonte N, Bagshaw SM, Bellomo R, Berl T,
  Bobek I, Cruz DN, Daliento L, Davenport A, Haapio M, Hillege H, House A, Katz NM, Maisel A,
  Mankad S, Zanco P, Mebazaa A, Palazzuoli A, Ronco F, Shaw A, Sheinfeld G, Soni S, Vescovo G,
  Zamperetti N, Ponikowski P. Cardiorenal Syndromes: An Executive Summary from the




                                                                                       App000248
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 251 of 633 PageID 977



   Consensus Conference of the Acute Dialysis Quality Initiative (ADQI). Contrib Nephrol.
   2010;165:54-67. Epub 2010 Apr 20.PMID: 20427956

M297) McCullough PA. Prevention of Cardiorenal Syndromes. Contrib Nephrol. 2010;165:101-111.
  Epub 2010 Apr 20. PMID: 20427960

M298) Signori C, Zalesin KC, Franklin B, Miller WL, McCullough PA. Effect of Gastric Bypass on
  Vitamin D and Secondary Hyperparathyroidism. Obes Surg. 2010 Jul;20(7):949-52. PMID:
  20443152

M299) Davenport A, Anker SD, Mebazaa A, Palazzuoli A, Vescovo G, Bellomo R, Ponikowski P, Anand
  I, Aspromonte N, Bagshaw S, Berl T, Bobek I, Cruz DN, Daliento L, Haapio M, Hillege H, House A,
  Katz N, Maisel A, Mankad S, McCullough P, Ronco F, Shaw A, Sheinfeld G, Soni S, Zamperetti N,
  Zanco P, Ronco C; Acute Dialysis Quality Initiative (ADQI) consensus group. ADQI 7: the clinical
  management of the Cardio-Renal syndromes: work group statements from the 7th ADQI
  consensus conference. Nephrol Dial Transplant. 2010 Jul;25(7):2077-89. Epub 2010 May 20.
  PMID: 20494894

M300) Szczech LA, Granger CB, Dasta JF, Amin A, Peacock WF, McCullough PA, Devlin JW, Weir MR,
  Katz JN, Anderson FA Jr, Wyman A, Varon J; for the Studying the Treatment of Acute
  Hypertension Investigators. Acute Kidney Injury and Cardiovascular Outcomes in Acute Severe
  Hypertension. Circulation. 2010 May 25;121(20):2183-91. Epub 2010 May 10. PMID: 20458014

M301) Sica D, Oren RM, Gottwald MD, Mills RM; Scios 351 Investigators.(McCullough PA,
  Investigator) Natriuretic and neurohormonal responses to nesiritide, furosemide, and combined
  nesiritide and furosemide in patients with stable systolic dysfunction. Clin Cardiol. 2010
  Jun;33(6):330-6.PMID: 20556802

M302) Soriano-Co M, Vanhecke TE, Franklin BA, Sangal RB, Hakmeh B, McCullough PA. Increased
  central adiposity in morbidly obese patients with obstructive sleep apnoea. Intern Med J. 2011
  Jul;41(7):560-6. PMID: 20546056

M303) McCullough PA, Zerka M, Heimbach E, Musialcyzk M, Spring T, deJong A, Jafri SS, Coleman C,
  Washington T, Raheem S, Vanhecke T, Zalesin KC. Audiocardiography in the cardiovascular
  evaluation of the morbidly obese. Clin Physiol Funct Imaging. 2010 Sep;30(5):369-74. PMID:
  20618361

M304) McCullough PA, Verrill T. Lessons learned from acute myocardial infarction in patients with
  chronic kidney disease. J Intern Med. 2010 Jul;268(1):38-9. No abstract available. PMID:
  20642644

M305) McCullough PA, Franklin BA, Leifer E, Fonarow GC. Impact of Reduced Kidney Function on
  Cardiopulmonary Fitness in Patients with Systolic Heart Failure. Am J Nephrol. 2010 Jul
  22;32(3):226-233. PMID: 20664198



                                                                                       App000249
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 252 of 633 PageID 978




M306) Warnock DG, Muntner P, McCullough PA, Zhang X, McClure LA, Zakai N, Cushman M,
  Newsome BB, Kewalramani R, Steffes MW, Howard G, McClellan WM; REGARDS Investigators.
  Kidney Function, Albuminuria, and All-Cause Mortality in the REGARDS (Reasons for Geographic
  and Racial Differences in Stroke) Study. Am J Kidney Dis. 2010 Nov;56(5):861-71. Epub 2010 Aug
  8. PMID: 20692752

M307) McCullough PA. Editorial: Contrast-Induced Acute Kidney Injury: Shifting from Elective to
  Urgent Coronary Intervention. J Interv Cardiol. 2010 Oct;23(5):467-9. doi: 10.1111/j.1540-
  8183.2010.00589.x. Epub 2010 Aug 19. PMID: 20731756

M308) Bomback AS, Rekhtman Y, Whaley-Connell AT, Kshirsagar AV, Sowers JR, Chen SC, Li S,
  Chinnaiyan KM, Bakris GL, McCullough PA. Gestational diabetes alone, in the absence of
  subsequent diabetes, is associated with microalbuminuria: results from the Kidney Early
  Evaluation Program (KEEP). Diabetes Care. 2010 Dec;33(12):2586-91. Epub 2010 Aug 31. PMID:
  20807871

M309) Neyou A, O'Neil B, Berman AD, Boura JA, McCullough PA. Determinants of markedly
  increased B-type natriuretic peptide in patients with ST-segment elevation myocardial
  infarction. Am J Emerg Med. 2011 Feb;29(2):141-7. Epub 2010 Mar 25. PMID: 20825778

M310) McCullough PA. Integration of the clinical laboratory in cardiovascular medicine. Rev
  Cardiovasc Med. 2010;11 Suppl 2:S1-2. PMID: 20700097

M311) Lepor NE, McCullough PA. Differential diagnosis and overlap of acute chest discomfort and
  dyspnea in the emergency department. Rev Cardiovasc Med. 2010;11 Suppl 2:S13-23.PMID:
  20700098

M312) de Lemos JA, Peacock WF, McCullough PA. Natriuretic peptides in the prognosis and
  management of acute coronary syndromes. Rev Cardiovasc Med. 2010;11 Suppl 2:S24-34.PMID:
  20700099

M313) McCullough PA, Peacock WF, O'Neil B, de Lemos JA. Capturing the pathophysiology of acute
  coronary syndromes with circulating biomarkers. Rev Cardiovasc Med. 2010;11 Suppl 2:S3-
  12.PMID: 20700100

M314) McCullough PA, Peacock WF, O'Neil B, de Lemos JA, Lepor NE, Berkowitz R. An evidence-
  based algorithm for the use of B-type natriuretic testing in acute coronary syndromes. Rev
  Cardiovasc Med. 2010;11 Suppl 2:S51-65.PMID: 20700103

M315) Zalesin KC, Miller WM, Franklin B, Mudugal D, Rao Buragadda A, Boura J, Nori-Janosz K,
  Chengelis DL, Krause KR, McCullough PA. Vitamin a deficiency after gastric bypass surgery: an
  underreported postoperative complication. J Obes. 2011;2011. pii: 760695. Epub 2010 Sep
  14.PMID: 20871833



                                                                                     App000250
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 253 of 633 PageID 979




M316) Maisel AS, Katz N, Hillege HL, Shaw A, Zanco P, Bellomo R, Anand I, Anker SD, Aspromonte N,
  Bagshaw SM, Berl T, Bobek I, Cruz DN, Daliento L, Davenport A, Haapio M, House AA, Mankad S,
  McCullough P, Mebazaa A, Palazzuoli A, Ponikowski P, Ronco F, Sheinfeld G, Soni S, Vescovo G,
  Zamperetti N, Ronco C; for the Acute Dialysis Quality Initiative (ADQI) consensus group.
  Biomarkers in kidney and heart disease. Nephrol Dial Transplant. 2011 Jan;26(1):62-74. Epub
  2010 Oct 26 PMID: 20978142

M317) McCullough PA. Cardiorenal syndromes: pathophysiology to prevention. Int J Nephrol.
  2010 Dec 1;2010:762590.PMID: 2115153

M318) McCullough PA, Whaley-Connell A, Brown WW, Collins AJ, Chen SC, Li S, Norris KC, Jurkovitz
  C, McFarlane S, Obialo C, Sowers J, Stevens L, Vassalotti JA, Bakris GL. Cardiovascular risk
  modification in participants with coronary disease screened by the Kidney Early Evaluation
  Program. Intern Med J. 2010 Dec;40(12):833-41. doi: 10.1111/j.1445-5994.2009.02158.x.PMID:
  21199222

M319) Lubanski MS, Vanhecke TE, Chinnaiyan KM, Franklin BA, McCullough PA. Subclinical
  coronary atherosclerosis identified by coronary computed tomographic angiography in
  asymptomatic morbidly obese patients. Heart Int. 2010 Dec 31;5(2):e15. PubMed PMID:
  21977300

M320) Rose JJ, Vanhecke TE, McCullough PA. Subarachnoid hemorrhage with neurocardiogenic
  stunning. Rev Cardiovasc Med. 2010 Fall;11(4):254-63. PMID: 21389917

M321) McCullough PA. Micronutrients and cardiorenal disease: insights into novel assessments
  and treatment. Blood Purif. 2011;31(1-3):177-85. Epub 2011 Jan 10. PMID: 21228587

M322) Alexander P, David S, McCullough PA. Drug-eluting coronary stents in patients with kidney
  disease. Am J Kidney Dis. 2011 Feb;57(2):188-9. No abstract available. PMID: 21251538

M323) McCullough PA, Chinnaiyan KM, Gallagher MJ, Colar JM, Geddes T, Gold JM, Trivax JE.
  Changes in renal markers and acute kidney injury after marathon running. Nephrology (Carlton).
  2011 Feb;16(2):194-9. doi: 10.1111/j.1440-1797.2010.01354.x. PMID: 21272132

M324) McCullough PA, Ahmad A. Cardiorenal syndromes. World J Cardiol. 2011 Jan 26;3(1):1-9.
  PMID: 21286212

M325) Poirier P, Cornier MA, Mazzone T, Stiles S, Cummings S, Klein S, McCullough PA, Ren Fielding
  C, Franklin BA; on behalf of the AHA Obesity Committee of the Council on Nutrition, Physical
  Activity, and Metabolism. Bariatric Surgery and Cardiovascular Risk Factors: A Scientific
  Statement From the AHA. Circulation. 2011 Apr 19;123(15):1683-701. Epub 2011 Mar 14.
  PMID: 21403092




                                                                                     App000251
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 254 of 633 PageID 980



M326) Goel SK, Bellovich K, McCullough PA. Treatment of severe metastatic calcification and
  calciphylaxis in dialysis patients. Goel SK, Bellovich K, McCullough PA. Int J Nephrol. 2011 Feb
  24;2011:701603. PMID: 21423552

M327) McCullough PA, El-Ghoroury M, Yamasaki H. Early detection of acute kidney injury with
  neutrophil gelatinase-associated lipocalin. J Am Coll Cardiol. 2011 Apr 26;57(17):1762-4. PMID:
  21511112

M328) Madder RD, Hickman L, Crimmins GM, Puri M, Marinescu V, McCullough PA, Safian RD.
  Validity of Estimated Glomerular Filtration Rates for Assessment of Baseline and Serial Renal
  Function in Patients with Atherosclerotic Renal Artery Stenosis: Implications for Clinical Trials of
  Renal Revascularization. Circ Cardiovasc Interv. 2011 Jun 1;4(3):219-25. Epub 2011 Apr 26.
  PMID: 21521835

M329) Whaley-Connell A, Sowers JR, McCullough PA. The role of oxidative stress in the metabolic
  syndrome. Rev Cardiovasc Med. 2011;12(1):21-9. PMID: 21546885

M330) McCullough PA, Capasso P. Patient Discomfort Associated with the Use of Intra-arterial
  Iodinated Contrast Media: A Meta-Analysis of Comparative Randomized Controlled Trials. BMC
  Med Imaging. 2011 May 24;11:12. doi:10.1186/1471-2342-11-12. PMID: 21609484

M331) Friedewald VE, Emmett M, McCullough P, Yancy CW, Roberts WC. The Editor's Roundtable:
  Anemia and Cardiovascular Disease. Am J Cardiol. 2011 Jun 1;107(11):1630-5. PMID: 21575751

M332) McCullough PA, Maynard RC. Treatment disparities in acute coronary syndromes, heart
  failure, and kidney disease. Contrib Nephrol. 2011;171:68-73. Epub 2011 May 23. PMID:
  21625092

M333) McCullough PA, Vassalotti JA, Collins AJ, Chen SC, Bakris GL, Whaley-Connell AT. National
  Kidney Foundation's Kidney Early Evaluation Program (KEEP) Annual Data Report 2010:
  Executive Summary. Am J Kidney Dis. 2011 Mar;57(3 Suppl 2):S1-3. PMID: 21338845

M334) McFarlane SI, McCullough PA, Sowers JR, Soe K, Chen SC, Li S, Vassalotti JA, Stevens LA,
  Salifu MO, Kurella Tamura M, Bomback AS, Norris KC, Collins AJ, Bakris GL, Whaley-Connell AT;
  KEEP Steering Committee. Comparison of the CKD Epidemiology Collaboration (CKD-EPI) and
  Modification of Diet in Renal Disease (MDRD) Study Equations: Prevalence of and Risk Factors
  for Diabetes Mellitus in CKD in the Kidney Early Evaluation Program (KEEP). Am J Kidney Dis.
  2011 Mar;57(3 Suppl 2):S24-31. PMID: 21338847

M335) McCullough PA, Brown WW, Gannon MR, Vassalotti JA, Collins AJ, Chen SC, Bakris GL,
  Whaley-Connell AT. Sustainable Community-Based CKD Screening Methods Employed by the
  National Kidney Foundation's Kidney Early Evaluation Program (KEEP). Am J Kidney Dis. 2011
  Mar;57(3 Suppl 2):S4-8. PMID: 21338848




                                                                                          App000252
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 255 of 633 PageID 981



M336) Stevens LA, Li S, Kurella Tamura M, Chen SC, Vassalotti JA, Norris KC, Whaley-Connell AT,
  Bakris GL, McCullough PA. Comparison of the CKD Epidemiology Collaboration (CKD-EPI) and
  Modification of Diet in Renal Disease (MDRD) Study Equations: Risk Factors for and
  Complications of CKD and Mortality in the Kidney Early Evaluation Program (KEEP). Am J Kidney
  Dis. 2011 Mar;57(3 Suppl 2):S9-S16. PMID: 21338849

M337) Herzog CA, Asinger RW, Berger AK, Charytan DM, Díez J, Hart RG, Eckardt KU, Kasiske BL,
  McCullough PA, Passman RS, DeLoach SS, Pun PH, Ritz E. Cardiovascular disease in chronic
  kidney disease. A clinical update from Kidney Disease: Improving Global Outcomes (KDIGO).
  Kidney Int. 2011 Sep;80(6):572-86. PMID: 21750584

M338) Gorges RD, Burke P, David W, Cole A, McCullough PA, David SW. Emerging practice patterns
  and outcomes of percutaneous aortic balloon valvuloplasty in patients with severe aortic
  stenosis. Rev Cardiovasc Med. 2011;12(2):e60-7. PMID: 21796084

M339) Hanna K, Seder CW, Chengelis D, McCullough PA, Krause K. Shorter circular staple is height
  associated with lower anastomotic stricture rate in laparoscopic gastric bypass. Surg Obes Relat
  Dis. 2012 Mar-Apr;8(2):181-4. PMID: 21798822

M340) Miller WM, Spring TJ, Zalesin KC, Kaeding KR, Nori Janosz KE, McCullough PA, Franklin BA.
  Lower Than Predicted Resting Metabolic Rate Is Associated With Severely Impaired
  Cardiorespiratory Fitness in Obese Individuals. Obesity (Silver Spring). 2012 Mar;20(3):505-11.
  PMID: 21836645

M341) Zalesin KC, Franklin BA, Miller WM, Peterson ED, McCullough PA. Impact of obesity on
  cardiovascular disease. Med Clin North Am. 2011 Sep;95(5):919-37. PMID: 21855700

M342) Khouri Y, Steigerwalt SP, Alsamara M, McCullough PA. What is the Ideal Blood Pressure Goal
  for Patients with Stage III or Higher Chronic Kidney Disease? Curr Cardiol Rep. 2011
  Dec;13(6):492-501. PMID: 21887524

M343) Brown JR, McCullough PA, Splaine ME, Davies L, Ross CS, Dauerman HL, Robb JF, Boss R,
  Goldberg DJ, Fedele FA, Kellett MA, Phillips WJ, Ver Lee PN, Nelson EC, Mackenzie TA, O'Connor
  GT, Sarnak MJ, Malenka DJ; for the Northern New England Cardiovascular Disease Study Group.
  How do centres begin the process to prevent contrast-induced acute kidney injury: a report
  from a new regional collaborative. BMJ Qual Saf. 2012 Jan;21(1):54-62. PMID: 21890755

M344) Horwich TB, Broderick S, Chen L, McCullough PA, Strzelczyk T, Kitzman DW, Fletcher G,
  Safford RE, Ewald G, Fine LJ, Ellis SJ, Fonarow GC. Relation Among Body Mass Index, Exercise
  Training, and Outcomes in Chronic Systolic Heart Failure. Am J Cardiol. 2011 Dec
  15;108(12):1754-9. PMID: 21907317

M345) McCullough PA, Khambatta S, Jazrawi A. Minimizing the renal toxicity of iodinated contrast.
  Circulation. 2011 Sep 13;124(11):1210-1. PMID: 21911794



                                                                                      App000253
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 256 of 633 PageID 982




M346) Marinescu V, McCullough PA. Nutritional and micronutrient determinants of idiopathic
  dilated cardiomyopathy: diagnostic and therapeutic implications. Expert Rev Cardiovasc Ther.
  2011 Sep;9(9):1161-70. PubMed PMID: 21932959

M347) McCullough PA, Brown JR. Effects of Intra-Arterial and Intravenous Iso-Osmolar Contrast
  Medium (Iodixanol) on the Risk of Contrast-Induced Acute Kidney Injury: A Meta-Analysis.
  Cardiorenal Med. 2011;1(4):220-234. PMID: 22164156

M348) McCullough PA, Al-Ejel F, Maynard RC. Lipoprotein subfractions and particle size in end-
  stage renal disease. Clin J Am Soc Nephrol. 2011 Dec;6(12):2738-9. PMID: 22157706

M349) Lepor NE, McCullough PA. Assessing appropriateness of coronary intervention. Rev
  Cardiovasc Med. 2011;12(3):170-1. PMID: 22145194

M350) McCullough PA, Ahmed AB, Zughaib MT, Glanz ED, Di Loreto MJ. Treatment of
  hypertriglyceridemia with fibric Acid derivatives: impact on lipid subfractions and translation
  into a reduction in cardiovascular events. Rev Cardiovasc Med. 2011;12(4):173-85. PMID:
  22249508.

M351) Palazzuoli A, Beltrami M, Nodari S, McCullough PA, Ronco C. Clinical impact of renal
  dysfunction in heart failure. Rev Cardiovasc Med. 2011;12(4):186-99. PMID: 22249509.

M352) McCullough PA, Olobatoke A, Vanhecke TE. Galectin-3: a novel blood test for the evaluation
  and management of patients with heart failure. Rev Cardiovasc Med. 2011;12(4):200-10. PMID:
  22249510.

M353) Vanhecke TE, Franklin BA, Soman P, Lahiri A, Mieres JH, Sias T, Calnon DA, Wolinsky D,
  Udelson JE, McCullough PA. Influence of myocardial ischemia on outcomes in patients with
  systolic versus non-systolic heart failure. Am J Cardiovasc Dis. 2011;1(2):167-75. Epub 2011 Jul
  27. PMID: 22254196.

M354) Whaley-Connell A, Bomback AS, McFarlane SI, Li S, Roberts T, Chen SC, Collins AJ, Norris K,
  Bakris GL, Sowers JR, McCullough PA; on behalf of the Kidney Early Evaluation Program
  Investigators. Diabetic Cardiovascular Disease Predicts Chronic Kidney Disease Awareness in the
  Kidney Early Evaluation Program. Cardiorenal Med. 2011 Jan;1(1):45-52. Epub 2011 Jan 17.
  PMID: 22258465.

M355) Saab G, Whaley-Connell A, Bombeck A, Kurella Tamura M, Li S, Chen SC, McFarlane SI,
  Sowers JR, Norris K, Bakris GL, McCullough PA; for the Kidney Early Evaluation Program
  Investigators. The Association between Parathyroid Hormone Levels and the Cardiorenal
  Metabolic Syndrome in Non-Diabetic Chronic Kidney Disease. Cardiorenal Med. 2011;1(2):123-
  130. Epub 2011 Apr 15. PMID: 22258399.




                                                                                        App000254
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 257 of 633 PageID 983



M356) Trivax JE, McCullough PA. Phidippides Cardiomyopathy: A Review and Case Illustration. Clin
  Cardiol. 2012 Feb;35(2):69-73. PMID: 22222888.

M357) Peralta CA, Norris KC, Li S, Chang TI, Tamura MK, Jolly SE, Bakris G, McCullough PA, Shlipak
  M; for the KEEP Investigators. Blood Pressure Components and End-stage Renal Disease in
  Persons With Chronic Kidney Disease: The Kidney Early Evaluation Program (KEEP). Arch Intern
  Med. 2012 Jan 9;172(1):41-47. PMID: 22232147.

M358) McCullough PA, Assad H. Diagnosis of Cardiovascular Disease in Patients with
  Chronic Kidney Disease. Blood Purif. 2012 Jan 20;33(1-3):112-118. [Epub ahead of
  print] PubMed PMID: 22269967.

M359) Amin AP, Salisbury AC, McCullough PA, Gosch K, Spertus JA, Venkitachalam L, Stolker JM,
  Parikh CR, Masoudi FA, Jones PG, Kosiborod M. Trends in the incidence of acute kidney injury in
  patients hospitalized with acute myocardial infarction. Arch Intern Med. 2012 Feb
  13;172(3):246-53. PubMed PMID: 22332157.

M360) Whaley-Connell AT, Vassalotti JA, Collins AJ, Chen SC, McCullough PA. National Kidney
  Foundation's Kidney Early Evaluation Program (KEEP) Annual Data Report 2011: Executive
  Summary. Am J Kidney Dis. 2012 Mar;59(3 Suppl 2):S1-4. PubMed PMID: 22339897; PubMed
  Central PMCID: PMC3285421.

M361) Shah A, Fried LF, Chen SC, Qiu Y, Li S, Cavanaugh KL, Norris KC, Whaley-Connell AT,
  McCullough PA, Mehrotra R; KEEP Investigators. Associations Between Access to Care and
  Awareness of CKD. Am J Kidney Dis. 2012 Mar;59(3 Suppl 2):S16-23. PubMed PMID: 22339898.

M362) Jurkovitz CT, Elliott D, Li S, Saab G, Bomback AS, Norris KC, Chen SC, McCullough PA, Whaley-
  Connell AT; KEEP Investigators. Physician Utilization, Risk-Factor Control, and CKD Progression
  Among Participants in the Kidney Early Evaluation Program (KEEP). Am J Kidney Dis. 2012
  Mar;59(3 Suppl 2):S24-33. PubMed PMID: 22339899.

M363) Saab G, Chen SC, Li S, Bomback AS, Whaley-Connell AT, Jurkovitz CT, Norris KC, McCullough
  PA; KEEP Investigators. Association of Physician Care With Mortality in Kidney Early Evaluation
  Program (KEEP) Participants. Am J Kidney Dis. 2012 Mar;59(3 Suppl 2):S34-9. PubMed PMID:
  22339900.

M364) Agrawal V, Jaar BG, Frisby XY, Chen SC, Qiu Y, Li S, Whaley-Connell AT, McCullough PA,
  Bomback AS; KEEP Investigators. Access to Health Care Among Adults Evaluated for CKD:
  Findings From the Kidney Early Evaluation Program (KEEP). Am J Kidney Dis. 2012 Mar;59(3
  Suppl 2):S5-S15. PubMed PMID: 22339901.

M365) Ismail Y, Kasmikha Z, Green HL, McCullough PA. Cardio-renal syndrome type 1:
  epidemiology, pathophysiology, and treatment. Semin Nephrol. 2012 Jan;32(1):18-25. PubMed
  PMID: 22365158.



                                                                                       App000255
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 258 of 633 PageID 984




M366) Khambatta S, Farkouh ME, Wright RS, Reeder GS, McCullough PA, Smars PA, Hickson LJ, Best
  PJ. Chronic kidney disease as a risk factor for acute coronary syndromes in patients presenting to
  the emergency room with chest pain. Transl Res. 2012 May;159(5):391-6. Epub 2012 Jan 9.
  PubMed PMID: 22500512.

M367) Whaley-Connell A, Shlipak MG, Inker LA, Kurella Tamura M, Bomback AS, Saab G, Szpunar
  SM, McFarlane SI, Li S, Chen SC, Norris K, Bakris GL, McCullough PA; Kidney Early Evaluation
  Program Investigators. Awareness of Kidney Disease and Relationship to End-stage Renal
  Disease and Mortality. Am J Med. 2012 Jul;125(7):661-9. PubMed PMID: 22626510.

M368) McCullough PA, Williams FJ, Stivers DN, Cannon L, Dixon S, Alexander P, Runyan D, David S.
  Neutrophil Gelatinase-Associated Lipocalin: A Novel Marker of Contrast Nephropathy Risk. Am J
  Nephrol. 2012 May 23;35(6):509-514. PubMed PMID: 22627273.

M369) O'Keefe JH, Patil HR, Lavie CJ, Magalski A, Vogel RA, McCullough PA. Potential adverse
  cardiovascular effects from excessive endurance exercise. Mayo Clin Proc. 2012 Jun;87(6):587-
  95. PubMed PMID: 22677079.

M370) McCullough PA, Ali S. Cardiac and renal function in patients with type 2 diabetes who have
  chronic kidney disease: potential effects of bardoxolone methyl. Drug Des Devel Ther.
  2012;6:141-9. Epub 2012 Jun 14. PubMed PMID: 22787387; PubMed Central PMCID:
  PMC3392144.

M371) O'Donoghue ML, Vaidya A, Afsal R, Alfredsson J, Boden WE, Braunwald E, Cannon CP,
  Clayton TC, de Winter RJ, Fox KA, Lagerqvist B, McCullough PA, Murphy SA, Spacek R, Swahn E,
  Windhausen F, Sabatine MS. An Invasive or Conservative Strategy in Patients With Diabetes
  Mellitus and Non-ST-Segment Elevation Acute Coronary Syndromes: A Collaborative Meta-
  Analysis of Randomized Trials. J Am Coll Cardiol. 2012 Jul 10;60(2):106-11. PubMed PMID:
  22766336.

M372) Ronco C, Cicoira M, McCullough PA. Cardiorenal Syndrome Type 1: Pathophysiological
  Crosstalk Leading to Combined Heart and Kidney Dysfunction in the Setting of Acutely
  Decompensated Heart Failure. J Am Coll Cardiol. 2012 Sep 18;60(12):1031-42. PubMed PMID:
  22840531.

M373) Ronco C, Stacul F, McCullough PA. Subclinical acute kidney injury (AKI) due to iodine-based
  contrast media. Eur Radiol. 2013 Feb;23(2):319-23. PubMed PMID: 22895617.

M374) McCullough PA, Larsen T, Brown JR. Theophylline or aminophylline for the prevention of
  contrast-induced acute kidney injury. Am J Kidney Dis. 2012 Sep;60(3):338-9. PubMed PMID:
  22901629.




                                                                                       App000256
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 259 of 633 PageID 985



M375) Patil HR, O'Keefe JH, Lavie CJ, Magalski A, Vogel RA, McCullough PA. Cardiovascular damage
  resulting from chronic excessive endurance exercise. Mo Med. 2012 Jul-Aug;109(4):312-21.
  PubMed PMID: 22953596.

M376) Bose S, Bomback AS, Mehta NN, Chen SC, Li S, Whaley-Connell A, Benjamin J, McCullough
  PA. Dysglycemia but not lipids is associated with abnormal urinary albumin excretion in diabetic
  kidney disease: a report from the Kidney Early Evaluation Program (KEEP). BMC Nephrol. 2012
  Sep 7;13:104. doi:10.1186/1471-2369-13-104. PubMed PMID: 22958709.

M377) Wilson GD, Geddes TJ, Pruetz BL, Thibodeau BJ, Murawka A, Colar JM, McCullough PA,
  Trivax JE. SELDI-TOF-MS Serum Profiling Reveals Predictors of Cardiac MRI Changes in Marathon
  Runners. Int J Proteomics. 2012;2012:679301. Epub 2012 Sep 3. PubMed PMID: 22988506;
  PubMed Central PMCID: PMC3439948.

M378) McCullough PA, Cowan S. Mineralocorticoid receptor antagonists and mortality in heart
  failure with concurrent atrial fibrillation. Circ Heart Fail. 2012 Sep 1;5(5):550-1. PubMed PMID:
  22991404.

M379) Saab G, Bomback AS, McFarlane SI, Li S, Chen SC, McCullough PA, Whaley-Connell A; for the
  Kidney Early Evaluation Program Investigators. The Association of Parathyroid Hormone with
  ESRD and Pre-ESRD Mortality in the Kidney Early Evaluation Program. J Clin Endocrinol Metab.
  2012 Dec;97(12):4414-21. PubMed PMID: 23066118.

M380) Whaley-Connell A, Kurella Tamura M, McCullough PA. A Decade After the KDOQI CKD
  Guidelines: Impact on the National Kidney Foundation's Kidney Early Evaluation Program (KEEP).
  Am J Kidney Dis. 2012 Nov;60(5):692-3. doi: 10.1053/j.ajkd.2012.08.008. PubMed PMID:
  23067631.

M381) McCullough PA, Di Loreto MJ. Fibrates and cardiorenal outcomes. J Am Coll Cardiol. 2012
  Nov 13;60(20):2072-3. doi: 10.1016/j.jacc.2012.06.058. Epub 2012 Oct 17. PubMed PMID:
  23083778.

M382) Babayev R, Whaley-Connell A, Kshirsagar A, Klemmer P, Navaneethan S, Chen SC, Li S,
  McCullough PA, Bakris G, Bomback A; KEEP Investigators. Association of Race and Body Mass
  Index With ESRD and Mortality in CKD Stages 3-4: Results From the Kidney Early Evaluation
  Program (KEEP). Am J Kidney Dis. 2013 Mar;61(3):404-12. PubMed PMID: 23260275.

M383) Pinto de Carvalho L, McCullough PA, Gao F, Sim LL, Tan HC, Foo D, Ooi YW, Richards AM,
  Chan MY, Yeo TC. Renal function and anaemia in acute myocardial infarction. Int J Cardiol. 2013
  Sep 30;168(2):1397-401. PubMed PMID: 23305857.

M384) Kashani K, Al-Khafaji A, Ardiles T, Artigas A, Bagshaw SM, Bell M, Bihorac A, Birkhahn R, Cely
  CM, Chawla LS, Davison DL, Feldkamp T, Forni LG, Gong MN, Gunnerson KJ, Haase M, Hackett J,
  Honore PM, Hoste EA, Joannes-Boyau O, Joannidis M, Kim P, Koyner JL, Laskowitz DT, Lissauer



                                                                                        App000257
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 260 of 633 PageID 986



   ME, Marx G, McCullough PA, Mullaney S, Ostermann M, Rimmele T, Shapiro NI, Shaw AD, Shi J,
   Sprague AM, Vincent JL, Vinsonneau C, Wagner L, Walker MG, Wilkerson RG, Zacharowski K,
   Kellum JA. Discovery and validation of cell cycle arrest biomarkers in human acute kidney injury.
   Crit Care. 2013 Feb 6;17(1):R25. [Epub ahead of print] PubMed PMID: 23388612.

M385) Smith SW, Diercks DB, Nagurney JT, Hollander JE, Miller CD, Schrock JW, Singer AJ, Apple FS,
  McCullough PA, Ruff CT, Sesma A Jr, Peacock WF. Central versus local adjudication of myocardial
  infarction in a cardiac biomarker trial. Am Heart J. 2013 Mar;165(3):273-279.e1. doi:
  10.1016/j.ahj.2012.12.012. Epub 2013 Jan 26. PubMed PMID: 23453092.

M386) Whaley-Connell AT, Kurella Tamura M, Jurkovitz CT, Kosiborod M, McCullough PA.
  Advances in CKD Detection and Determination of Prognosis: Executive Summary of the National
  Kidney Foundation-Kidney Early Evaluation Program (KEEP) 2012 Annual Data Report. Am J
  Kidney Dis. 2013 Apr;61(4 Suppl 2):S1-3. doi: 10.1053/j.ajkd.2013.01.006. PubMed PMID:
  23507265; PubMed Central PMCID: PMC3608929.

M387) Amin AP, Whaley-Connell AT, Li S, Chen SC, McCullough PA, Kosiborod MN; KEEP
  Investigators. The Synergistic Relationship Between Estimated GFR and Microalbuminuria in
  Predicting Long-term Progression to ESRD or Death in Patients With Diabetes: Results From the
  Kidney Early Evaluation Program (KEEP). Am J Kidney Dis. 2013 Apr;61(4 Suppl 2):S12-23. doi:
  10.1053/j.ajkd.2013.01.005. PubMed PMID: 23507266.

M388) Jurkovitz CT, Li S, Norris KC, Saab G, Bomback AS, Whaley-Connell AT, McCullough PA; KEEP
  Investigators. Association Between Lack of Health Insurance and Risk of Death and ESRD: Results
  From the Kidney Early Evaluation Program (KEEP). Am J Kidney Dis. 2013 Apr;61(4 Suppl 2):S24-
  32. doi: 10.1053/j.ajkd.2012.12.015. PubMed PMID: 23507267.

M389) Chang TI, Li S, Chen SC, Peralta CA, Shlipak MG, Fried LF, Whaley-Connell AT, McCullough PA,
  Kurella Tamura M; KEEP Investigators. Risk Factors for ESRD in Individuals With Preserved
  Estimated GFR With and Without Albuminuria: Results From the Kidney Early Evaluation
  Program (KEEP). Am J Kidney Dis. 2013 Apr;61(4 Suppl 2):S4-S11. doi:
  10.1053/j.ajkd.2012.12.016. PubMed PMID: 23507268.

M390) Narala KR, Hassan S, Lalonde TA, McCullough PA. Management of coronary atherosclerosis
  and acute coronary syndromes in patients with chronic kidney disease. Curr Probl Cardiol. 2013
  May;38(5):165-206. doi: 10.1016/j.cpcardiol.2012.12.004. PubMed PMID: 23590761.

M391) Mehrotra R, Peralta CA, Chen SC, Li S, Sachs M, Shah A, Norris K, Saab G, Whaley-Connell A,
  Kestenbaum B, McCullough PA. No independent association of serum phosphorus with risk for
  death or progression to end-stage renal disease in a large screen for chronic kidney disease.
  Kidney Int. 2013 Nov;84(5):989-97. PubMed PMID: 23615501.




                                                                                       App000258
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 261 of 633 PageID 987



M392) Runyan D, Feldman D, McCullough PA, David S, Saba S, Gorges R. Long-term Follow-up of
  Lesion-specific Outcomes Comparing Drug-eluting Stents and Bare Metal Stents in Diseased
  Saphenous Vein Grafts. Rev Cardiovasc Med. 2013;14(1):1-6. PubMed PMID: 23651982.

M393) Lepor NE, Fouchia DD, McCullough PA. New vistas for the treatment of obesity: turning the
  tide against the leading cause of morbidity and cardiovascular mortality in the developed world.
  Rev Cardiovasc Med. 2013;14(1):20-40. PubMed PMID: 23651984.

M394) Weisbord SD, Gallagher M, Kaufman J, Cass A, Parikh CR, Chertow GM, Shunk KA,
  McCullough PA, Fine MJ, Mor MK, Lew RA, Huang GD, Conner TA, Brophy MT, Lee J, Soliva S,
  Palevsky PM. Prevention of Contrast-Induced AKI: A Review of Published Trials and the Design of
  the Prevention of Serious Adverse Events following Angiography (PRESERVE) Trial. Clin J Am Soc
  Nephrol. 2013 Sep;8(9):1618-31. PubMed PMID: 23660180

M395) McCullough PA, Bouchard J, Waikar SS, Siew ED, Endre ZH, Goldstein SL, Koyner JL, Macedo
  E, Doi K, Di Somma S, Lewington A, Thadhani R, Chakravarthi R, Ice C, Okusa MD, Duranteau J,
  Doran P, Yang L, Jaber BL, Meehan S, Kellum JA, Haase M, Murray PT, Cruz D, Maisel A, Bagshaw
  SM, Chawla LS, Mehta RL, Shaw AD, Ronco C. Implementation of Novel Biomarkers in the
  Diagnosis, Prognosis, and Management of Acute Kidney Injury: Executive Summary from the
  Tenth Consensus Conference of the Acute Dialysis Quality Initiative (ADQI). Contrib Nephrol.
  2013;182:5-12. doi: 10.1159/000349962. Epub 2013 May 13. PubMed PMID: 23689652.

M396) McCullough PA, Shaw AD, Haase M, Bouchard J, Waikar SS, Siew ED, Murray PT, Mehta RL,
  Ronco C. Diagnosis of acute kidney injury using functional and injury biomarkers: workgroup
  statements from the tenth acute dialysis quality initiative consensus conference. Contrib
  Nephrol. 2013;182:13-29. doi: 10.1159/000349963. Epub 2013 May 13. PubMed PMID:
  23689653.

M397) McCullough PA, Kellum JA, Haase M, Müller C, Damman K, Murray PT, Cruz D, House AA,
  Schmidt-Ott KM, Vescovo G, Bagshaw SM, Hoste EA, Briguori C, Braam B, Chawla LS, Costanzo
  MR, Tumlin JA, Herzog CA, Mehta RL, Rabb H, Shaw AD, Singbartl K, Ronco C. Pathophysiology of
  the Cardiorenal Syndromes: Executive Summary from the Eleventh Consensus Conference of the
  Acute Dialysis Quality Initiative (ADQI). Contrib Nephrol. 2013;182:82-98. doi:
  10.1159/000349966. Epub 2013 May 13. PubMed PMID: 23689657.

M398) Haase M, Müller C, Damman K, Murray PT, Kellum JA, Ronco C, McCullough PA.
  Pathogenesis of Cardiorenal Syndrome Type 1 in Acute Decompensated Heart Failure:
  Workgroup Statements from the Eleventh Consensus Conference of the Acute Dialysis Quality
  Initiative (ADQI). Contrib Nephrol. 2013;182:99-116. doi: 10.1159/000349969. Epub 2013 May
  13. PubMed PMID: 23689658.

M399) Cruz DN, Schmidt-Ott KM, Vescovo G, House AA, Kellum JA, Ronco C, McCullough PA.
  Pathophysiology of Cardiorenal Syndrome Type 2 in Stable Chronic Heart Failure: Workgroup
  Statements from the Eleventh Consensus Conference of the Acute Dialysis Quality Initiative



                                                                                      App000259
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 262 of 633 PageID 988



   (ADQI). Contrib Nephrol. 2013;182:117-36. doi: 10.1159/000349968. Epub 2013 May 13.
   PubMed PMID: 23689659.

M400) Bagshaw SM, Hoste EA, Braam B, Briguori C, Kellum JA, McCullough PA, Ronco C.
  Cardiorenal syndrome type 3: pathophysiologic and epidemiologic considerations. Contrib
  Nephrol. 2013;182:137-57. doi: 10.1159/000349971. Epub 2013 May 13. PubMed PMID:
  23689660.

M401) Tumlin JA, Costanzo MR, Chawla LS, Herzog CA, Kellum JA, McCullough PA, Ronco C.
  Cardiorenal Syndrome Type 4: Insights on Clinical Presentation and Pathophysiology from the
  Eleventh Consensus Conference of the Acute Dialysis Quality Initiative (ADQI). Contrib Nephrol.
  2013;182:158-73. doi: 10.1159/000349972. Epub 2013 May 13. PubMed PMID: 23689661.

M402) Mehta RL, Rabb H, Shaw AD, Singbartl K, Ronco C, McCullough PA, Kellum JA. Cardiorenal
  Syndrome Type 5: Clinical Presentation, Pathophysiology and Management Strategies from the
  Eleventh Consensus Conference of the Acute Dialysis Quality Initiative (ADQI). Contrib Nephrol.
  2013;182:174-94. doi: 10.1159/000349970. Epub 2013 May 13. PubMed PMID: 23689662.

M403) McCullough PA, Barnhart HX, Inrig JK, Reddan D, Sapp S, Patel UD, Singh AK, Szczech LA,
  Califf RM. Cardiovascular Toxicity of Epoetin-Alfa in Patients with Chronic Kidney Disease. Am J
  Nephrol. 2013 May 25;37(6):549-558. PubMed PMID: 23735819.

M404) Memon I, Norris KC, Bomback AS, Peralta C, Li S, Chen SC, McCullough PA, Whaley-Connell
  A, Jurkovitz C, Tamura MK, Saab G; for the Kidney Early Evaluation Program Investigators. The
  Association between Parathyroid Hormone Levels and Hemoglobin in Diabetic and Nondiabetic
  Participants in the National Kidney Foundation's Kidney Early Evaluation Program. Cardiorenal
  Med. 2013 Jul;3(2):120-127. Epub 2013 Jun 1. PubMed PMID: 23922552; PubMed Central
  PMCID: PMC3721130.

M405) McCullough PA, Barnard D, Clare R, Ellis SJ, Fleg JL, Fonarow GC, Franklin BA, Kilpatrick RD,
  Kitzman DW, O'Connor CM, Piña IL, Thadani U, Thohan V, Whellan DJ; for the HF-ACTION
  Investigators. Anemia and Associated Clinical Outcomes in Patients With Heart Failure Due to
  Reduced Left Ventricular Systolic Function. Clin Cardiol. 2013 Oct;36(10):611-20. PubMed
  PMID: 23929781.

M406) Akrawinthawong K, Shaw MK, Kachner J, Apostolov EO, Basnakian AG, Shah S, Tilak J,
  McCullough PA. Urine catalytic iron and neutrophil gelatinase-associated lipocalin as companion
  early markers of acute kidney injury after cardiac surgery: a prospective pilot study. Cardiorenal
  Med. 2013 Apr;3(1):7-16. doi: 10.1159/000346815. Epub 2013 Feb 6. PubMed PMID: 23946721;
  PubMed Central PMCID: PMC3743453.

M407) White WB, Cannon CP, Heller SR, Nissen SE, Bergenstal RM, Bakris GL, Perez AT, Fleck PR,
  Mehta CR, Kupfer S, Wilson C, Cushman WC, Zannad F; EXAMINE Investigators. (McCullough PA,




                                                                                        App000260
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 263 of 633 PageID 989



   Data Safety Monitoring Board) Alogliptin after acute coronary syndrome in patients with type 2
   diabetes. N Engl J Med. 2013 Oct 3;369(14):1327-35.

M408) McCullough PA, Akrawinthawong K. Ascorbic Acid for the Prevention of Contrast-Induced
  Acute Kidney Injury. J Am Coll Cardiol. 2013 Dec 10;62(23):2176-7. PubMed PMID: 23994411.

M409) Ronco C, McCullough PA, Chawla LS. Kidney attack versus heart attack: evolution of
  classification and diagnostic criteria. Lancet. 2013 Sep 14;382(9896):939-40. doi:
  10.1016/S0140-6736(13)61932-7. PubMed PMID: 24034297.

M410) Kurella Tamura M, Li S, Chen SC, Cavanaugh KL, Whaley-Connell AT, McCullough PA,
  Mehrotra RL. Educational programs improve the preparation for dialysis and survival of patients
  with chronic kidney disease. Kidney Int. 2013 Sep 25. doi:10.1038/ki.2013.369. [Epub ahead of
  print] PubMed PMID: 24067435.

M411) Nasser M, Larsen TR, Waanbah B, Sidiqi I, McCullough PA. Hyperacute drug-induced
  hepatitis with intravenous amiodarone: case report and review of the literature. Drug Health
  Patient Saf. 2013 Sep 26;5:191-198. PubMed PMID: 24109195.

M412) Larsen TR, Kinni V, Zaks J, David S, McCullough PA. A Lethal Case of Influenza and Type 5
  Cardiorenal Syndrome. Blood Purif. 2013 Nov 1;36(2):112-115. PubMed PMID: 24192807.

M413) Fried LF, Emanuele N, Zhang JH, Brophy M, Conner TA, Duckworth W, Leehey DJ,
  McCullough PA, O'Connor T, Palevsky PM, Reilly RF, Seliger SL, Warren SR, Watnick S, Peduzzi P,
  Guarino P; VA NEPHRON-D Investigators. Combined Angiotensin inhibition for the treatment of
  diabetic nephropathy. N Engl J Med. 2013 Nov 14;369(20):1892-903.

M414) Parsa A, Kao WH, Xie D, Astor BC, Li M, Hsu CY, Feldman HI, Parekh RS, Kusek JW, Greene TH,
  Fink JC, Anderson AH, Choi MJ, Wright JT Jr, Lash JP, Freedman BI, Ojo A, Winkler CA, Raj DS,
  Kopp JB, He J, Jensvold NG, Tao K, Lipkowitz MS, Appel LJ; AASK Study Investigators; CRIC Study
  Investigators (McCullough PA, External Advisory Panel). APOL1 risk variants, race, and
  progression of chronic kidney disease. N Engl J Med. 2013 Dec 5;369(23):2183-96.

M415) Costanzo MR, Chawla LS, Tumlin JA, Herzog CA, McCullough PA, Kellum JA, Ronco C. The role
  of early and sufficient isolated venovenous ultrafiltration in heart failure patients with
  pulmonary and systemic congestion. Rev Cardiovasc Med. 2013;14(2-4):e123-33. PubMed
  PMID: 24448253.

M416) Maioli M, Toso A, Leoncini M, Musilli N, Bellandi F, Rosner MH, McCullough PA, Ronco C.
  Pre-procedural Bioimpedance Vectorial Analysis of fluid status and prediction of Contrast-
  Induced Acute Kidney Injury. J Am Coll Cardiol. 2014 Jan 30. pii: S0735-1097(14)00339-8. doi:
  10.1016/j.jacc.2014.01.025. [Epub ahead of print] PubMed PMID: 24530668.




                                                                                       App000261
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 264 of 633 PageID 990



M417) Chawla LS, Herzog CA, Costanzo MR, Tumlin J, Kellum JA, McCullough PA, Ronco C; Acute
  Dialysis Quality Initiative (ADQI) XI Workgroup. Viewpoint: Proposal for a Functional
  Classification System of Heart Failure in Patients with End-Stage Renal Disease: Proceedings of
  the Acute Dialysis Quality Initiative (ADQI) XI Workgroup. J Am Coll Cardiol. 2014 Jan 30. pii:
  S0735-1097(14)00331-3. doi: 10.1016/j.jacc.2014.01.020. [Epub ahead of print] Review.
  PubMed PMID: 24530671.

M418) McCullough PA. Calling for Targeted Trials in Cardiorenal Syndromes. Am J Kidney Dis. 2014
  Apr 5. pii: S0272-6386(14)00616-7. doi:10.1053/j.ajkd.2014.03.006. [Epub ahead of print]
  PubMed PMID: 24713221.

M419) Toth PP, Shah PK, Wilkinson MJ, Davidson MH, McCullough PA. Use of microsomal
  triglyceride transfer protein inhibitors in patients with homozygous familial
  hypercholesterolemia: translating clinical trial experience into clinical practice. Rev Cardiovasc
  Med. 2014;15(1):1-10. PubMed PMID: 24762461.

M420) McCullough PA, Beaver TM, Bennett-Guerrero E, Emmett M, Fonarow GC, Goyal A, Herzog
  CA, Kosiborod M, Palmer BF. Acute and chronic cardiovascular effects of hyperkalemia: new
  insights into prevention and clinical management. Rev Cardiovasc Med. 2014;15(1):11-23.
  PubMed PMID: 24762462.

M421) McCullough PA. Practical experience using galectin-3 in heart failure. Clin Chem Lab Med.
  2014 May 8. pii:/j/cclm.ahead-of-print/cclm-2014-0278/cclm-2014-0278.xml. doi:
  10.1515/cclm-2014-0278. [Epub ahead of print] PubMed PMID: 24810562

M422) Chin MP, Reisman SA, Bakris GL, O'Grady M, Linde PG, McCullough PA, Packham D, Vaziri
  ND, Ward KW, Warnock DG, Meyer CJ. Mechanisms Contributing to Adverse Cardiovascular
  Events in Patients with Type 2 Diabetes Mellitus and Stage 4 Chronic Kidney Disease Treated
  with Bardoxolone Methyl. Am J Nephrol. 2014 Jun 3;39(6):499-508. [Epub ahead of print]
  PubMed PMID: 24903467.

M423) McCullough PA, Whaley-Connell AT, Vassalotti JA. The future of CKD detection: the role for
  the Kidney Early Evaluation Program. Nephrol News Issues. 2014 Apr;28(4):41-2. PubMed PMID:
  24960988.

M424) Palazzuoli A, Pellegrini M, Ruocco G, Martini G, Franci B, Campagna MS, Gilleman M, Nuti R,
  McCullough PA, Ronco C. Continuous versus bolus intermittent loop diuretic infusion in acutely
  decompensated heart failure: a prospective randomized trial. Crit Care. 2014 Jun 28;18(3):R134.
  doi: 10.1186/cc13952. PubMed PMID: 24974232.

M425) Manatsathit W, Al-Hamid H, Leelasinjaroen P, Hashmi U, McCullough PA. Management of
  gastrointestinal bleeding in patients anticoagulated with dabigatran compared with warfarin: a
  retrospective, comparative case review. Cardiovasc Diagn Ther. 2014 Jun;4(3):224-31. doi:




                                                                                         App000262
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 265 of 633 PageID 991



   10.3978/j.issn.2223-3652.2014.03.07. PubMed PMID: 25009791; PubMed Central PMCID:
   PMC4069982.

M426) Neath SX, Jefferies JL, Berger JS, Wu AH, McConnell JP, Boone JL, McCullough PA, Jesse RL,
  Maisel AS. The current and future landscape of urinary thromboxane testing to evaluate
  atherothrombotic risk. Rev Cardiovasc Med. 2014;15(2):119-30. Review. PubMed PMID:
  25051129.

M427) Brown JR, Solomon RJ, Sarnak MJ, McCullough PA, Splaine ME, Davies L, Ross CS, Dauerman
  HL, Stender JL, Conley SM, Robb JF, Chaisson K, Boss R, Lambert P, Goldberg DJ, Lucier D, Fedele
  FA, Kellett MA, Horton S, Phillips WJ, Downs C, Wiseman A, MacKenzie TA, Malenka DJ; for the
  Northern New England Cardiovascular Disease Study Group. Reducing Contrast-Induced Acute
  Kidney Injury Using a Regional Multicenter Quality Improvement Intervention. Circ Cardiovasc
  Qual Outcomes. 2014 Jul 29. pii: CIRCOUTCOMES.114.000903. [Epub ahead of print] PubMed
  PMID: 25074372.

M428) Zimering MB, Zhang JH, Guarino PD, Emanuele N, McCullough PA, Fried LF; Investigators for
  the VA NEPHRON-D. Endothelial cell autoantibodies in predicting declining renal function, end-
  stage renal disease, or death in adult type 2 diabetic nephropathy. Front Endocrinol (Lausanne).
  2014 Aug 11;5:128. doi: 10.3389/fendo.2014.00128. eCollection 2014. PubMed PMID:
  25157242; PubMed Central PMCID: PMC4127944.

M429) McCullough PA, Kellum JA, Haase M, Müller C, Damman K, Murray PT, Cruz D, House AA,
  Schmidt-Ott KM, Vescovo G, Bagshaw SM, Hoste EA, Briguori C, Braam B, Chawla LS, Costanzo
  MR, Tumlin JA, Herzog CA, Mehta RL, Rabb H, Shaw AD, Singbartl K, Ronco C. Pathophysiology of
  the Cardiorenal Syndromes: Executive Summary from the Eleventh Consensus Conference of the
  Acute Dialysis Quality Initiative (ADQI). Blood Purif. 2014;37 Suppl 2:2-13. doi:
  10.1159/000361059. Epub 2014 Jul 31. PubMed PMID: 25196564.

M430) Hoste EA, McCullough PA, Kashani K, Chawla LS, Joannidis M, Shaw AD, Feldkamp T,
  Uettwiller-Geiger DL, McCarthy P, Shi J, Walker MG, Kellum JA; for the Sapphire Investigators.
  Derivation and validation of cutoffs for clinical use of cell cycle arrest biomarkers. Nephrol Dial
  Transplant. 2014 Sep 18. pii: gfu292. [Epub ahead of print] PubMed PMID: 25237065.

M431) Chin MP, Wrolstad D, Bakris GL, Chertow GM, de Zeeuw D, Goldsberry A, Linde PG,
  McCullough PA, McMurray JJ, Wittes J, Meyer CJ. Risk factors for heart failure in patients with
  type 2 diabetes mellitus and stage 4 chronic kidney disease treated with bardoxolone methyl. J
  Card Fail. 2014 Dec;20(12):953-8. doi:10.1016/j.cardfail.2014.10.001. Epub 2014 Oct 13.
  PubMed PMID: 25307295.

M432) McCullough PA, Fazel P, Choi JW. Screening, diagnosis, and management of CAD in
  asymptomatic diabetic patients. JACC Cardiovasc Imaging. 2014 Oct;7(10):1011-2. doi:
  10.1016/j.jcmg.2014.08.001. PubMed PMID: 25323163.




                                                                                          App000263
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 266 of 633 PageID 992



M433) Hundae A, McCullough PA. Cardiac and renal fibrosis in chronic cardiorenal syndromes.
  Nephron Clin Pract. 2014;127(1-4):106-12. doi: 10.1159/000363705. Epub 2014 Sep 24. PubMed
  PMID: 25343831.

M434) Shin HJ, McCullough PA. Focus on lipids: high-density lipoprotein cholesterol and its
  associated lipoproteins in cardiac and renal disease. Nephron Clin Pract. 2014;127(1-4):158-64.
  doi: 10.1159/000363552. Epub 2014 Sep 24. PubMed PMID:25343842.

M435) Ball T, McCullough PA. Statins for the prevention of contrast-induced acute kidney injury.
  Nephron Clin Pract. 2014;127(1-4):165-71. doi: 10.1159/000363202. Epub 2014 Sep 24. PubMed
  PMID: 25343843.

M436) Szczech LA, Stewart RC, Su HL, DeLoskey RJ, Astor BC, Fox CH, McCullough PA, Vassalotti JA.
  Primary Care Detection of Chronic Kidney Disease in Adults with Type-2 Diabetes: The ADD-CKD
  Study (Awareness, Detection and Drug Therapy in Type 2 Diabetes and Chronic Kidney Disease).
  PLoS One. 2014 Nov 26;9(11):e110535. doi: 10.1371/journal.pone.0110535. eCollection 2014.
  PubMed PMID: 25427285; PubMed Central PMCID: PMC4245114.

M437) McCullough PA, Roberts WC. Peter Andrew McCullough, MD, MPH: An Interview With the
  Editor. Am J Cardiol. 2014 Dec 1;114(11):1772-85. doi: 10.1016/j.amjcard.2014.08.034. Epub
  2014 Sep 16. PubMed PMID: 25439453.

M438) Roberts JK, McCullough PA. The Management of Acute Coronary Syndromes in Patients With
  Chronic Kidney Disease. Adv Chronic Kidney Dis. 2014 Nov;21(6):472-479. doi:
  10.1053/j.ackd.2014.08.005. Epub 2014 Oct 24. Review. PubMed PMID: 25443572.

M439) McCullough PA, Jefferies JL. Novel Markers and Therapies for Patients with Acute Heart
  Failure and Renal Dysfunction. Am J Med. 2014 Nov 13. pii: S0002-9343(14)00977-2. doi:
  10.1016/j.amjmed.2014.10.035. [Epub ahead of print] PubMed PMID: 25446297.

M440) Ball T, Wheelan K, McCullough PA. Chronic anticoagulation in chronic kidney disease. J Am
  Coll Cardiol. 2014 Dec 16;64(23):2483-5. doi: 10.1016/j.jacc.2014.09.052. PubMed PMID:
  25500232.

M441) Akrawinthawong K, Ricci J, Cannon L, Dixon S, Kupfer K, Stivers D, Alexander P, David S,
  McCullough PA. Subclinical and clinical contrast-induced acute kidney injury: data from a novel
  blood marker for determining the risk of developing contrast-induced nephropathy (ENCINO), a
  prospective study. Ren Fail. 2014 Dec 18:1-5. [Epub ahead of print] PubMed PMID: 25519207.

M442) McCullough PA, Mehta A, Szerlip H. Improving detection of cardiac surgery-associated acute
  kidney injury. J Am Coll Cardiol. 2014 Dec 30;64(25):2763-4. doi: 10.1016/j.jacc.2014.09.065.
  PubMed PMID: 25541129.




                                                                                     App000264
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 267 of 633 PageID 993



M443) Lepor NE, Fouchia DD, McCullough PA. New vistas for the treatment of obesity: turning the
  tide against the leading cause of morbidity and cardiovascular mortality in the developed world.
  Rev Cardiovasc Med. 2014;15 Suppl 2:S1-19; quiz S20-1. Review. PubMed PMID: 25662755.

M444) Watson KE, Stocker EH, Jacoby DS, McCullough PA. Advanced lipid testing: when, why, and
  in whom? Rev Cardiovasc Med. 2014;15(4):310-7; quiz 318-9. Review. PubMed PMID:
  25662925.

M445) Charytan DM, Fishbane S, Malyszko J, McCullough PA, Goldsmith D. Cardiorenal Syndrome
  and the Role of the Bone-Mineral Axis and Anemia. Am J Kidney Dis. 2015 Feb 26. pii: S0272-
  6386(15)00084-0. doi: 10.1053/j.ajkd.2014.12.016. [Epub ahead of print] PubMed PMID:
  25727384.

M446) Kassis HM, Minsinger KD, McCullough PA, Block CA, Sidhu MS, Brown JR. A Review of the
  Use of Iloprost, A Synthetic Prostacyclin, in the Prevention of Radiocontrast Nephropathy in
  Patients Undergoing Coronary Angiography and Intervention. Clin Cardiol. 2015 May 12. doi:
  10.1002/clc.22407. [Epub ahead of print] PubMed PMID: 25963191.

M447) Palazzuoli A, McCullough PA, Ronco C, Nuti R. Kidney disease in heart failure: the
  importance of novel biomarkers for type 1 cardio-renal syndrome detection. Intern Emerg Med.
  2015 May 14. [Epub ahead of print] PubMed PMID: 25972236.

M448) Robinson JG, Farnier M, Krempf M, Bergeron J, Luc G, Averna M, Stroes ES, Langslet G, Raal
  FJ, El Shahawy M, Koren MJ, Lepor NE, Lorenzato C, Pordy R, Chaudhari U, Kastelein JJ; ODYSSEY
  LONG TERM Investigators (McCullough PA Site PI). Efficacy and safety of alirocumab in reducing
  lipids and cardiovascular events. N Engl J Med. 2015 Apr 16;372(16):1489-99. doi:
  10.1056/NEJMoa1501031. Epub 2015 Mar 15. PubMed PMID: 25773378.

M449) McCullough PA, Costanzo MR, Silver M, Spinowitz B, Zhang J, Lepor NE. Novel Agents for the
  Prevention and Management of Hyperkalemia. Rev Cardiovasc Med. 2015;16(2):140-55.
  PubMed PMID: 26198561.

M450) McCullough PA, Patanker G, Stoler RC. Estimating Renal Filtration, Drug Dosing, and Clinical
  Outcomes. J Am Coll Cardiol. 2015 Jun 30;65(25):2724-5. doi: 10.1016/j.jacc.2015.05.015.
  PubMed PMID: 26112196.

M451) Husain-Syed F, McCullough PA, Birk HW, Renker M, Brocca A, Seeger W, Ronco C. Cardio-
  Pulmonary-Renal Interactions: A Multidisciplinary Approach. J Am Coll Cardiol. 2015 Jun
  9;65(22):2433-48. doi: 10.1016/j.jacc.2015.04.024. Review. PubMed PMID: 26046738.

M452) Anker SD, Kosiborod M, Zannad F, Piña IL, McCullough PA, Filippatos G, van der Meer P,
  Ponikowski P, Rasmussen HS, Lavin PT, Singh B, Yang A, Deedwania P. Maintenance of serum
  potassium with sodium zirconium cyclosilicate (ZS-9) in heart failure patients: results from a




                                                                                      App000265
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 268 of 633 PageID 994



   phase 3 randomized, double-blind, placebo-controlled trial. Eur J Heart Fail. 2015 May 23. doi:
   10.1002/ejhf.300. [Epub ahead of print] PubMed PMID: 26011677.

M453) Palazzuoli A, Ruocco G, Ronco C, McCullough PA. Loop diuretics in acute heart failure:
  beyond the decongestive relief for the kidney. Crit Care. 2015 Sep 3;19:296. doi:
  10.1186/s13054-015-1017-3. PubMed PMID: 26335137; PubMed Central PMCID: PMC4559070.

M454) McCullough PA, Young A, Shutze WP. Acute Kidney Injury After Carotid Artery Stenting. JACC
  Cardiovasc Interv. 2015 Sep;8(11):1515-7. doi: 10.1016/j.jcin.2015.07.006. PubMed PMID:
  26404205.

M455) Fallahzadeh MK, McCullough PA. Cardiac Electromechanical Abnormalities in Hemodialysis
  Patients: Indicators of Cardiomyopathy and Future Risk. Am J Nephrol. 2015;42(3):237-8. doi:
  10.1159/000441100. Epub 2015 Oct 20. PubMed PMID: 26484657.

M456) Thompson-Martin Y, McCullough PA, Agrawal V. Impact of an Educational Program for
  Advanced Practice Nurses on Knowledge of Kidney Disease Outcomes Quality Initiative
  Guidelines. Nephrol Nurs J. 2015 Sep-Oct;42(5):455-60, 496; quiz 461. PubMed PMID:
  26591270.

M457) Larsen TR, Singh G, Velocci V, Nasser M, McCullough PA. Frequency of fluid overload and
  usefulness of bioimpedance in patients requiring intensive care for sepsis syndromes. Proc (Bayl
  Univ Med Cent). 2016 Jan;29(1):12-5. PubMed PMID: 26722156; PubMed Central PMCID:
  PMC4677841.

M458) Charytan DM, Foley R, McCullough PA, Rogers JD, Zimetbaum P, Herzog CA, Tumlin JA; MiD
  Investigators and Committees. Arrhythmia and Sudden Death in Hemodialysis Patients: Protocol
  and Baseline Characteristics of the Monitoring in Dialysis Study. Clin J Am Soc Nephrol. 2016 Jan
  13. pii: CJN.09350915. [Epub ahead of print] PubMed PMID: 26763255.

M459) Roberts WC, Hall SA, Ko JM, McCullough PA, Lima B. Atrophy of the Heart After Insertion of
  a Left Ventricular Assist Device and Closure of the Aortic Valve. Am J Cardiol. 2016 Mar
  1;117(5):878-9. doi: 10.1016/j.amjcard.2015.12.008. Epub 2015 Dec 13. PubMed PMID:
  26792135.

M460) Tecson KM, Silver MA, Brune SD, Cauthen C, Kwan MD, Schussler JM, Vasudevan A, Watts JA,
  McCullough PA. Impact of Enhanced External Counterpulsation on Heart Failure
  Rehospitalization in Patients With Ischemic Cardiomyopathy. Am J Cardiol. 2015 Dec 31. pii:
  S0002-9149(15)30069-2. doi: 10.1016/j.amjcard.2015.12.024. [Epub ahead of print] PubMed
  PMID: 26813739.

M461) McCullough PA, Roberts WC. Influence of Chronic Renal Failure on Cardiac Structure. J Am
  Coll Cardiol. 2016 Mar 15;67(10):1183-5. doi:10.1016/j.jacc.2015.11.065. PubMed PMID:
  26965539.



                                                                                       App000266
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 269 of 633 PageID 995




M462) Palazzuoli A, Ruocco G, Pellegrini M, Beltrami M, Giordano N, Nuti R, McCullough PA.
  Prognostic Significance of Hyperuricemia in Patients With Acute Heart Failure. Am J Cardiol.
  2016 May 15;117(10):1616-21. doi: 10.1016/j.amjcard.2016.02.039. Epub 2016 Mar 2. PubMed
  PMID: 27040576.

M463) McCullough PA, Fallahzadeh MK, Tecson KM. Predicting Acute Kidney Injury in the
  Catheterization Laboratory. J Am Coll Cardiol. 2016 Apr 12;67(14):1723-4. doi:
  10.1016/j.jacc.2016.02.007. PubMed PMID: 27056779.

M464) Grodzinsky A, Goyal A, Gosch K, McCullough PA, Fonarow GC, Mebazaa A, Masoudi FA,
  Spertus JA, Palmer BF, Kosiborod M. Prevalence and Prognosis of Hyperkalemia in Patients with
  Acute Myocardial Infarction. Am J Med. 2016 Apr 7. pii:S0002-9343(16)30317-5. doi:
  10.1016/j.amjmed.2016.03.008. [Epub ahead of print] PubMed PMID: 27060233.

M465) Sherwood M, McCullough PA. Chronic kidney disease from screening, detection, and
  awareness, to prevention. Lancet Glob Health. 2016 May;4(5):e288-9. doi: 10.1016/S2214-
  109X(16)30049-3. PubMed PMID: 27102186.

M466) McCullough PA, Afzal A, Kale P. Goal-Directed Heart Failure Care in Patients With Chronic
  Kidney Disease and End-Stage Renal Disease. JACC Heart Fail. 2016 May 30. pii: S2213-
  1779(16)30084-1. doi: 10.1016/j.jchf.2016.03.014. [Epub ahead of print] PubMed PMID:
  27289405.

M467) Prasad A, Sohn A, Morales J, Williams K, Bailey SR, Levin D, McCullough PA, Mehran R,
  Lopez-Cruz G, Harder J. Contemporary practice patterns related to the risk of acute kidney injury
  in the catheterization laboratory: Results from a survey of Society of Cardiovascular Angiography
  and Intervention (SCAI) cardiologists. Catheter Cardiovasc Interv. 2016 Jun 17. doi:
  10.1002/ccd.26628. [Epub ahead of print] PubMed PMID: 27315581.

M468) Schussler JM, Vasudevan A, von Bose LJ, Won JI, McCullough PA. Comparative Efficacy of
  Transradial Versus Transfemoral Approach for Coronary Angiography and Percutaneous
  Coronary Intervention. Am J Cardiol. 2016 Aug 15;118(4):482-8. doi:
  10.1016/j.amjcard.2016.05.038. PubMed PMID: 27378143.

M469) Zannad F, Stough WG, Lipicky RJ, Tamargo J, Bakris GL, Borer JS, Alonso García Mde L,
  Hadjadj S, Koenig W, Kupfer S, McCullough PA, Mosenzon O, Pocock S, Scheen AJ, Sourij H, Van
  der Schueren B, Stahre C, White WB, Calvo G. Assessment of cardiovascular risk of new drugs for
  the treatment of diabetes mellitus: risk assessment vs. risk aversion. Eur Heart J Cardiovasc
  Pharmacother. 2016 Jul;2(3):200-5. doi: 10.1093/ehjcvp/pvw007. Review. PubMed PMID:
  27418973; PubMed Central PMCID: PMC4907355.

M470) McCullough PA, Bennett-Guerrero E, Chawla LS, Beaver T, Mehta RL, Molitoris BA, Eldred A,
  Ball G, Lee HJ, Houser MT, Khan S. ABT-719 for the Prevention of Acute Kidney Injury in Patients



                                                                                      App000267
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 270 of 633 PageID 996



   Undergoing High-Risk Cardiac Surgery: A Randomized Phase 2b Clinical Trial. J Am Heart Assoc.
   2016 Aug 20;5(8). pii:e003549. doi: 10.1161/JAHA.116.003549. PubMed PMID: 27543797;
   PubMed Central PMCID: PMC5015281.

M471) Brown JR, McCullough PA, Matheny ME. Novel Developments in Acute Kidney Injury.
  Biomed Res Int. 2016;2016:2756204. doi: 10.1155/2016/2756204. PubMed PMID: 27595099;
  PubMed Central PMCID: PMC4995325.

M472) McCullough PA, Choi JP, Feghali GA, Schussler JM, Stoler RM, Vallabahn RC, Mehta A.
  Contrast-Induced Acute Kidney Injury. J Am Coll Cardiol. 2016 Sep 27;68(13):1465-73. doi:
  10.1016/j.jacc.2016.05.099. Review. PubMed PMID:27659469.

M473) Villa G, Neri M, Bellomo R, Cerda J, De Gaudio AR, De Rosa S, Garzotto F, Honore PM, Kellum
  J, Lorenzin A, Payen D, Ricci Z, Samoni S, Vincent JL, Wendon J, Zaccaria M, Ronco C;
  Nomenclature Standardization Initiative (NSI) Alliance (McCullough PA member). Nomenclature
  for renal replacement therapy and blood purification techniques in critically ill patients: practical
  applications. Crit Care. 2016 Oct 10;20(1):283. Review. PubMed PMID: 27719676; PubMed
  Central PMCID: PMC5056485.

M474) McCullough PA, Fallahzadeh MK, Hegazi RM. Nutritional Deficiencies and Sarcopenia in
  Heart Failure: A Therapeutic Opportunity to Reduce Hospitalization and Death. Rev Cardiovasc
  Med. 2016;17(S1):S30-S39. PubMed PMID: 27725625.

M475) Bakris GL, Burkart JM, Weinhandl ED, McCullough PA, Kraus MA. Intensive Hemodialysis,
  Blood Pressure, and Antihypertensive Medication Use. Am J Kidney Dis. 2016 Nov;68(5S1):S15-
  S23. doi: 10.1053/j.ajkd.2016.05.026. PubMed PMID:27772639.

M476) Copland M, Komenda P, Weinhandl ED, McCullough PA, Morfin JA. Intensive Hemodialysis,
  Mineral and Bone Disorder, and Phosphate Binder Use. Am J Kidney Dis. 2016 Nov;68(5S1):S24-
  S32. doi: 10.1053/j.ajkd.2016.05.024. PubMed PMID:27772640.

M477) Morfin JA, Fluck RJ, Weinhandl ED, Kansal S, McCullough PA, Komenda P. Intensive
  Hemodialysis and Treatment Complications and Tolerability. Am J Kidney Dis. 2016
  Nov;68(5S1):S43-S50. doi: 10.1053/j.ajkd.2016.05.021. PubMed PMID:27772642.

M478) McCullough PA, Chan CT, Weinhandl ED, Burkart JM, Bakris GL. Intensive Hemodialysis, Left
  Ventricular Hypertrophy, and Cardiovascular Disease. Am J Kidney Dis. 2016 Nov;68(5S1):S5-S14.
  doi: 10.1053/j.ajkd.2016.05.025. PubMed PMID: 27772643.

M479) McCullough PA, Ball T, Cox KM, Assar MD. Use of Oral Anticoagulation in the Management
  of Atrial Fibrillation in Patients with ESRD: Pro. Clin J Am Soc Nephrol. 2016 Nov 7;11(11):2079-
  2084. PubMed PMID: 27797888; PubMed Central PMCID: PMC5108189.




                                                                                          App000268
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 271 of 633 PageID 997



M480) Zhang J, McCullough PA. Lipoic Acid in the Prevention of Acute Kidney Injury. Nephron.
  2016;134(3):133-140. PubMed PMID: 27603173.

M481) McCullough PA, Vasudevan A, Lopez LR, Swift C, Peterson M, Bennett-Firmin J, Schiffmann R,
  Bottiglieri T. Oxidative stress reflected by increased F(2)-isoprostanes is associated with
  increasing urinary 11-dehydro thromboxane B(2) levels in patients with coronary artery disease.
  Thromb Res. 2016 Oct 26;148:85-88. doi: 10.1016/j.thromres.2016.10.022. [Epub ahead of
  print] PubMed PMID: 27815971.

M482) Zhang J, Fallahzadeh MK, McCullough PA. Aging Male Spontaneously Hypertensive Rat as an
  Animal Model for the Evaluation of the Interplay between Contrast-Induced Acute Kidney Injury
  and Cardiorenal Syndrome in Humans. Cardiorenal Med. 2016 Nov;7(1):1-10. Epub 2016 Jul 21.
  Review. PubMed PMID:27994597; PubMed Central PMCID: PMC5159736.

M483) Vasudevan A, Bottiglieri T, Tecson KM, Sathyamoorthy M, Schussler JM, Velasco CE, Lopez
  LR, Swift C, Peterson M, Bennett-Firmin J, Schiffmann R, McCullough PA. Residual thromboxane
  activity and oxidative stress: influence on mortality in patients with stable coronary artery
  disease. Coron Artery Dis. 2017 Jun;28(4):287-293. doi: 10.1097/MCA.0000000000000461.
  PubMed PMID: 28005558.

M484) Krishnan DK, Pawlaczyk B, McCullough PA, Enright S, Kunadi A, Vanhecke TE. Point-of-Care,
  Ultraportable Echocardiography Predicts Diuretic Response in Patients Admitted with Acute
  Decompensated Heart Failure. Clin Med Insights Cardiol. 2016 Dec 19;10:201-208. doi:
  10.4137/CMC.S38896. eCollection 2016. PubMed PMID: 28008296; PubMed Central PMCID:
  PMC5170880.

M485) Singer AJ, Than MP, Smith S, McCullough P, Barrett TW, Birkhahn R, Reed M, Thode HC,
  Arnold WD, Daniels LB, de Filippi C, Headden G, Peacock WF. Missed myocardial infarctions in
  ED patients prospectively categorized as low risk by established risk scores. Am J Emerg Med.
  2017 Jan 5. pii: S0735-6757(17)30003-7. doi: 10.1016/j.ajem.2017.01.003. [Epub ahead of print]
  PubMed PMID: 28108220.

M486) Tecson KM, Arnold W, Barrett T, Birkhahn R, Daniels LB, DeFilippi C, Headden G, Peacock WF,
  Reed M, Singer AJ, Schussler JM, Smith S, Than MP, McCullough PA. Interpretation of positive
  troponin results among patients with and without myocardial infarction. Proc (Bayl Univ Med
  Cent). 2017 Jan;30(1):11-15. PubMed PMID: 28127121; PubMed Central PMCID: PMC5242102.

M487) Tecson KM, Panettiere-Kennedy KS, Won JI, Garg P, Olugbode O, McCullough PA. Relation
  between proprotein convertase subtilisin/kexin type 9 and directly measured low-density
  lipoprotein cholesterol. Proc (Bayl Univ Med Cent). 2017 Jan;30(1):16-20. PubMed PMID:
  28127122; PubMed Central PMCID: PMC5242103.

M488) McCullough PA, Vasudevan A, Sathyamoorthy M, Schussler JM, Velasco CE, Lopez LR, Swift
  C, Peterson M, Bennett-Firmin J, Schiffmann R, Bottiglieri T. Urinary 11-Dehydro-Thromboxane



                                                                                     App000269
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 272 of 633 PageID 998



   B(2) and Mortality in Patients With Stable Coronary Artery Disease. Am J Cardiol. 2017 Apr
   1;119(7):972-977. doi: 10.1016/j.amjcard.2016.12.004. Epub 2017 Jan 5. PubMed PMID:
   28139223

M489) Vasudevan A, Singer AJ, DeFilippi C, Headden G, Schussler JM, Daniels LB, Reed M, Than MP,
  Birkhahn R, Smith SW, Barrett TW, Arnold W, Peacock WF, McCullough PA. Renal Function and
  Scaled Troponin in Patients Presenting to the Emergency Department with Symptoms of
  Myocardial Infarction. Am J Nephrol. 2017;45(4):304-309. doi: 10.1159/000458451. Epub 2017
  Feb 14. PubMed PMID:28192777.

M490) McCullough PA, Zhang J, Ronco C. Volume expansion and contrast-induced acute kidney
  injury. Lancet. 2017 Apr 1;389(10076):1277-1278. doi:10.1016/S0140-6736(17)30540-8. Epub
  2017 Feb 21. PubMed PMID: 28236468.

M491) Elbehary S, Szerlip HM, McCullough PA. Potassium Excretion and Outcomes in CKD: Is K
  Intake OK? Am J Kidney Dis. 2017 Mar;69(3):325-327. doi:10.1053/j.ajkd.2016.11.009. PubMed
  PMID: 28236878.

M492) McCullough PA, Rios A, Smith B. Dialysis fistulas and heart failure. Eur Heart J. 2017 Mar 17.
  doi: 10.1093/eurheartj/ehx114. [Epub ahead of print] PubMed PMID:28329218.

M493) Howard CE, McCullough PA. Decoding Acute Myocardial Infarction among Patients on
  Dialysis. J Am Soc Nephrol. 2017 May;28(5):1337-1339. doi:10.1681/ASN.2017030226. Epub
  2017 Apr 12. PubMed PMID: 28404663.

M494) Vasudevan A, Jazi HH, Won JI, Ball T, Patankar GR, Sarmast SA, Shin HJ, McCullough PA.
  Personalized treatment of heart failure with biomarker guidance using a novel disease severity
  score. Proc (Bayl Univ Med Cent). 2017 Apr;30(2):139-142. PubMed PMID: 28405060; PubMed
  Central PMCID: PMC5349806.

M495) Won JI, Zhang J, Tecson KM, McCullough PA. Balancing Low-density Lipoprotein Cholesterol
  Reduction and Hepatotoxicity With Lomitapide Mesylate and Mipomersen in Patients With
  Homozygous Familial Hypercholesterolemia. Rev Cardiovasc Med. 2017;18(1):21-28. PubMed
  PMID: 28509890.

M496) Afzal A, Sarmast S, Choi JW, McCullough PA, Schussler JM. Spontaneous Coronary Artery
  Dissection: A Review of Pathogenesis, Presentations, Treatment, and Outcomes. Rev Cardiovasc
  Med. 2017;18(1):29-36. PubMed PMID: 28509891.

M497) McCullough PA. How Trialists and Pharmaceutical Sponsors Have Failed Us by Thinking That
  Acute Heart Failure Is a 48-Hour Illness. Am J Cardiol. 2017 May 11. pii: S0002-9149(17)30795-6.
  doi: 10.1016/j.amjcard.2017.04.056. [Epub ahead of print] PubMed PMID: 28583677.




                                                                                        App000270
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 273 of 633 PageID 999



M498) Zhang J, Bottiglieri T, McCullough PA. The Central Role of Endothelial Dysfunction in
  Cardiorenal Syndrome. Cardiorenal Med. 2017 Feb;7(2):104-117. doi: 10.1159/000452283. Epub
  2016 Dec 29. Review. PubMed PMID: 28611784; PubMed Central PMCID: PMC5465690.

M499) Tecson KM, Erhardtsen E, Eriksen PM, Gaber AO, Germain M, Golestaneh L, Lavoria MLA,
  Moore LW, McCullough PA. Optimal cut points of plasma and urine neutrophil gelatinase-
  associated lipocalin for the prediction of acute kidney injury among critically ill adults:
  retrospective determination and clinical validation of a prospective multicentre study. BMJ
  Open. 2017 Jul 10;7(7):e016028. doi: 10.1136/bmjopen-2017-016028. PubMed PMID: 28698338

M500) Vasudevan A, Schussler JM, Won JI, Ashcraft P, Bolanos I, Williams M, Bottiglieri T, Velasco
  CE, McCullough PA. Urinary metabolites in patients undergoing coronary catheterization via the
  radial versus femoral artery approach. Proc (Bayl Univ Med Cent). 2017 Oct;30(4):404-409.
  PubMed PMID: 28966445; PubMed Central PMCID: PMC5595375.

M501) Azzalini L, Candilio L, McCullough PA, Colombo A. Current Risk of Contrast-Induced Acute
  Kidney Injury After Coronary Angiography and Intervention: A Reappraisal of the Literature. Can
  J Cardiol. 2017 Oct;33(10):1225-1228. doi: 10.1016/j.cjca.2017.07.482. Epub 2017 Aug 3.
  Review. PubMed PMID: 28941604.

M502) Palazzuoli A, Ruocco G, De Vivo O, Nuti R, McCullough PA. Prevalence of Hyperuricemia in
  Patients With Acute Heart Failure With Either Reduced or Preserved Ejection Fraction. Am J
  Cardiol. 2017 Oct 1;120(7):1146-1150. doi: 10.1016/j.amjcard.2017.06.057. Epub 2017 Jul 17.
  PubMed PMID: 28807403.

M503) Kovesdy CP, Appel LJ, Grams ME, Gutekunst L, McCullough PA, Palmer BF, Pitt B, Sica DA,
  Townsend RR. Potassium homeostasis in health and disease: A scientific workshop cosponsored
  by the National Kidney Foundation and the American Society of Hypertension. J Am Soc
  Hypertens. 2017 Oct 10. pii: S1933-1711(17)30337-6. doi: 10.1016/j.jash.2017.09.011. [Epub
  ahead of print] PubMed PMID: 29030153.

M504) Afzal A, Vallabhan RC, McCullough PA. Acute kidney injury in cardiogenic shock: in search of
  early detection and clinical certainty. Eur J Heart Fail. 2017 Oct 12. doi: 10.1002/ejhf.1032.
  [Epub ahead of print] PubMed PMID: 29027337.

M505) Ronco C, Ronco F, McCullough PA. A Call to Action to Develop Integrated Curricula in
  Cardiorenal Medicine. Blood Purif. 2017 Oct 25;44(4):251-259. doi: 10.1159/000480318. [Epub
  ahead of print] PubMed PMID: 29065398.

M506) Ronco C, Ronco F, McCullough PA. A Call to Action to Develop Integrated Curricula in
  Cardiorenal Medicine. Rev Cardiovasc Med. 2017;18(3):93-99. PubMed PMID: 29111542.

M507) Butler J, Hamo CE, Filippatos G, Pocock SJ, Bernstein RA, Brueckmann M, Cheung AK, George
  JT, Green JB, Januzzi JL, Kaul S, Lam CSP, Lip GYH, Marx N, McCullough PA, Mehta CR,



                                                                                      App000271
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 274 of 633 PageID 1000



   Ponikowski P, Rosenstock J, Sattar N, Salsali A, Scirica BM, Shah SJ, Tsutsui H, Verma S, Wanner
   C, Woerle HJ, Zannad F, Anker SD; EMPEROR Trials Program. The potential role and rationale for
   treatment of heart failure with sodium-glucose co-transporter 2 inhibitors. Eur J Heart Fail. 2017
   Nov;19(11):1390-1400. doi: 10.1002/ejhf.933. Epub 2017 Aug 24. Review. PubMed PMID:
   28836359.

M508) McCullough PA, David G, Todoran TM, Brilakis ES, Ryan MP, Gunnarsson C. Iso-osmolar
  contrast media and adverse renal and cardiac events after percutaneous cardiovascular
  intervention. J Comp Eff Res. 2017 Nov 9. doi: 10.2217/cer-2017-0052. [Epub ahead of print]
  PubMed PMID: 29117715.

M509) Rocha NA, East C, Zhang J, McCullough PA. ApoCIII as a Cardiovascular Risk Factor and
  Modulation by the Novel Lipid-Lowering Agent Volanesorsen. Curr Atheroscler Rep. 2017 Nov
  9;19(12):62. doi: 10.1007/s11883-017-0697-3. Review. PubMed PMID: 29124482.

M510) Rangaswami J, Mathew RO, McCullough PA. Resuscitation for the specialty of nephrology: is
  cardionephrology the answer? Kidney Int. 2017 Nov 11. pii: S0085-2538(17)30727-5. doi:
  10.1016/j.kint.2017.10.002. [Epub ahead of print] PubMed PMID: 29137816.

M511) Kovesdy CP, Appel LJ, Grams ME, Gutekunst L, McCullough PA, Palmer BF, Pitt B, Sica DA,
  Townsend RR. Potassium Homeostasis in Health and Disease: A Scientific Workshop
  Cosponsored by the National Kidney Foundation and the American Society of Hypertension. Am
  J Kidney Dis. 2017 Dec;70(6):844-858. doi: 10.1053/j.ajkd.2017.09.003. Epub 2017 Oct 10.
  PubMed PMID: 29029808.

M512) Ostermann M, McCullough PA, Forni LG, Bagshaw SM, Joannidis M, Shi J, Kashani K, Honore
  PM, Chawla LS, Kellum JA; all SAPPHIRE Investigators. Kinetics of Urinary Cell Cycle Arrest
  Markers for Acute Kidney Injury Following Exposure to Potential Renal Insults. Crit Care Med.
  2017 Nov 20. doi:10.1097/CCM.0000000000002847. [Epub ahead of print] PubMed PMID:
  29189343

M513) Vasudevan A, Tecson KM, Bennett-Firmin J, Bottiglieri T, Lopez LR, Peterson M,
  Sathyamoorthy M, Schiffmann R, Schussler JM, Swift C, Velasco CE, McCullough PA. Prognostic
  value of urinary 11-dehydro-thromboxane B(2) for mortality: A cohort study of stable coronary
  artery disease patients treated with aspirin. Catheter Cardiovasc Interv. 2017 Nov 29. doi:
  10.1002/ccd.27437. [Epub ahead of print] PubMed PMID: 29193683.

M514) Himmelfarb J, Chertow GM, McCullough PA, Mesana T, Shaw AD, Sundt TM, Brown C,
  Cortville D, Dagenais F, de Varennes B, Fontes M, Rossert J, Tardif JC. Perioperative THR-184
  and AKI after Cardiac Surgery. J Am Soc Nephrol. 2017 Dec 4. pii: ASN.2017020217. doi:
  10.1681/ASN.2017020217. [Epub ahead of print] PubMed PMID: 29203473.




                                                                                        App000272
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 275 of 633 PageID 1001



M515) McCullough PA, Rangaswami J. Real or Perceived: Hyperkalemia Is a Major Deterrent for
  Renin-Angiotensin Aldosterone System Inhibition in Heart Failure. Nephron. 2017 Dec 5. doi:
  10.1159/000485645. [Epub ahead of print] PubMed PMID: 29207385.

M516) Keuffel E, McCullough PA, Todoran TM, Brilakis ES, Palli SR, Ryan MP, Gunnarsson C. The
  effect of major adverse renal cardiovascular event (MARCE) incidence, procedure volume, and
  unit cost on the hospital savings resulting from contrast media use in inpatient angioplasty. J
  Med Econ. 2017 Dec 15:1-9. doi: 10.1080/13696998.2017.1415912. [Epub ahead of print]
  PubMed PMID: 29226736.

M517) Tecson KM, Brown D, Choi JW, Feghali G, Gonzalez-Stawinski GV, Hamman BL, Hebeler R,
  Lander SR, Lima B, Potluri S, Schussler JM, Stoler RC, Velasco C, McCullough PA. Major Adverse
  Renal and Cardiac Events After Coronary Angiography and Cardiac Surgery. Ann Thorac Surg.
  2018 Jun;105(6):1724-1730. doi:10.1016/j.athoracsur.2018.01.010. Epub 2018 Feb 2. PubMed
  PMID: 29408241.

M518) Haase VH, Chertow GM, Block GA, Pergola PE, deGoma EM, Khawaja Z, Sharma A, Maroni BJ,
  McCullough PA. Effects of vadadustat on hemoglobin concentrations in patients receiving
  hemodialysis previously treated with erythropoiesis-stimulating agents. Nephrol Dial Transplant.
  2018 Apr 16. doi: 10.1093/ndt/gfy055. [Epub ahead of print] PubMed PMID: 29672740.

M519) McCullough PA, Ballantyne CM, Sanganalmath SK, Langslet G, Baum SJ, Shah PK, Koren A,
  Mandel J, Davidson MH. Efficacy and Safety of Alirocumab in High-Risk Patients With Clinical
  Atherosclerotic Cardiovascular Disease and/or Heterozygous Familial Hypercholesterolemia
  (from 5 Placebo-Controlled ODYSSEY Trials). Am J Cardiol. 2018 Apr 15;121(8):940-948. doi:
  10.1016/j.amjcard.2017.12.040. Epub 2018 Feb 2. PubMed PMID: 29472008.

M520) Zhang J, Tecson KM, Rocha NA, McCullough PA. Usefulness of alirocumab and evolocumab
  for the treatment of patients with diabetic dyslipidemia. Proc (Bayl Univ Med Cent). 2018 Apr
  11;31(2):180-184. doi: 10.1080/08998280.2018.1441255. eCollection 2018 Apr. Review.
  PubMed PMID: 29706812; PubMed Central PMCID: PMC5914471.

M521) McCullough PA. Editorial: Robertsonian Perspectives on Atherosclerosis: The Power of Direct
  Observation. Am J Cardiol. 2018 Apr 3. pii: S0002-9149(18)30255-8. doi:
  10.1016/j.amjcard.2018.02.019. [Epub ahead of print] PubMed PMID: 29724407.

M522) Maisel AS, Daniels LB, Anand IS, McCullough PA, Chow SL. Utility of natriuretic peptides to
  assess and manage patients with heart failure receiving angiotensin receptor blocker/neprilysin
  inhibitor therapy. Postgrad Med. 2018 Apr;130(3):299-307. doi:
  10.1080/00325481.2018.1440873. Epub 2018 Mar 29. Review. PubMed PMID: 29596012.

M523) McCullough PA, Kluger AY. Interpreting the Wide Range of NT-proBNP Concentrations in
  Clinical Decision Making. J Am Coll Cardiol. 2018 Mar 20;71(11):1201-1203. doi:
  10.1016/j.jacc.2018.01.056. PubMed PMID: 29544602.



                                                                                      App000273
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 276 of 633 PageID 1002




M524) Turakhia MP, Blankestijn PJ, Carrero JJ, Clase CM, Deo R, Herzog CA, Kasner SE, Passman RS,
  Pecoits-Filho R, Reinecke H, Shroff GR, Zareba W, Cheung M, Wheeler DC, Winkelmayer WC,
  Wanner C; Conference Participants (McCullough PA) . Chronic kidney disease and arrhythmias:
  conclusions from a Kidney Disease: Improving Global Outcomes (KDIGO) Controversies
  Conference. Eur Heart J. 2018 Mar 7. doi:10.1093/eurheartj/ehy060. [Epub ahead of print]
  PubMed PMID: 29522134.

M525) Cherney DZI, Lytvyn Y, McCullough PA. Cardiovascular Risk Reduction in Patients With
  Chronic Kidney Disease: Potential for Targeting Inflammation With Canakinumab. J Am Coll
  Cardiol. 2018 May 29;71(21):2415-2418. doi:10.1016/j.jacc.2018.04.008. PubMed PMID:
  29793630.

M526) Barbin CM, Vasudevan A, Choi JW, McCullough PA, Schussler JM, Vallabhan RC, Stoler RC.
  Frequency of abnormal fractional flow reserve measurements among major coronary arteries.
  Cardiovasc Revasc Med. 2018 Apr 25. pii: S1553-8389(18)30145-3. doi:
  10.1016/j.carrev.2018.04.015. [Epub ahead of print] PubMed PMID: 29807815.

M527) Vasudevan A, Hundae A, Borodge D, McCullough PA, Wells PJ. Frequency of atrial
  arrhythmias after atrial flutter ablation and the effect of presenting rhythm on the day of
  ablation. Proc (Bayl Univ Med Cent). 2018 May 14;31(3):280-283. doi:
  10.1080/08998280.2018.1464305. eCollection 2018 Jul. PubMed PMID: 29904288;PubMed
  Central PMCID: PMC5997080.

M528) Rengarajan R, McCullough PA, Chowdhury A, Tecson KM. Identifying suspected familial
  chylomicronemia syndrome. Proc (Bayl Univ Med Cent). 2018 May 21;31(3):284-288. doi:
  10.1080/08998280.2018.1463784. eCollection 2018 Jul. PubMed PMID: 29904289; PubMed
  Central PMCID: PMC5997083.

M529) Maioli M, Toso A, Leoncini M, Musilli N, Grippo G, Ronco C, McCullough PA, Bellandi F.
  Bioimpedance-Guided Hydration for the Prevention of Contrast-Induced Kidney Injury: The
  HYDRA Study. J Am Coll Cardiol. 2018 Jun 26;71(25):2880-2889. doi: 10.1016/j.jacc.2018.04.022.
  PubMed PMID: 29929610.

M530) McCullough PA, Uhlig K, Neylan JF, Pergola PE, Fishbane S. Usefulness of Oral Ferric Citrate
  in Patients With Iron-Deficiency Anemia and Chronic Kidney Disease With or Without Heart
  Failure. Am J Cardiol. 2018 Aug 15;122(4):683-688. doi: 10.1016/j.amjcard.2018.04.062. Epub
  2018 May 19. PubMed PMID: 29961562.

M531) de Albuquerque Rocha N, Neeland IJ, McCullough PA, Toto RD, McGuire DK. Effects of
  sodium glucose co-transporter 2 inhibitors on the kidney. Diab Vasc Dis Res. 2018 Sep;15(5):375-
  386. doi: 10.1177/1479164118783756. Epub 2018 Jul 2. Review. PubMed PMID: 29963920.




                                                                                       App000274
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 277 of 633 PageID 1003



M532) Chaudhry RI, Mathew RO, Sidhu MS, Sidhu-Adler P, Lyubarova R, Rangaswami J, Salman L,
  Asif A, Fleg JL, McCullough PA, Maddux F, Bangalore S. Detection of Atherosclerotic
  Cardiovascular Disease in Patients with Advanced Chronic Kidney Disease in the Cardiology and
  Nephrology Communities. Cardiorenal Med. 2018;8(4):285-295. doi: 10.1159/000490768. Epub
  2018 Aug 3. PubMed PMID:30078001.

M533) Kazory A, McCullough PA, Rangaswami J, Ronco C. Cardionephrology: Proposal for a
  Futuristic Educational Approach to a Contemporary Need. Cardiorenal Med. 2018;8(4):296-301.
  doi: 10.1159/000490744. Epub 2018 Aug 8. Review. PubMed PMID: 30089281.

M534) Kluger AY, McCullough PA. Semaglutide and GLP-1 analogues as weight-loss agents. Lancet.
  2018 Aug 25;392(10148):615-616. doi: 10.1016/S0140-6736(18)31826-9. Epub 2018 Aug 16.
  PubMed PMID: 30122306.

M535) Ambrosy AP, Mulder H, Coles A, Krauss WE, Lam CSP, McCullough PA, Pina I, Tromp J,
  Whellan DJ, O'Connor CM, Mentz RJ. Renal Function and Exercise Training in AmbulatoryHeart
  Failure Patients With a Reduced Ejection Fraction. Am J Cardiol. 2018 Sep 15;122(6):999-1007.
  doi: 10.1016/j.amjcard.2018.06.011. Epub 2018 Jun 23. PubMed PMID: 30269900.

M536) McCullough PA, Todoran TM, Brilakis ES, Ryan MP, Gunnarsson C. Rate of major adverse
  renal or cardiac events with iohexol compared to other low osmolar contrast media during
  interventional cardiovascular procedures. Catheter Cardiovasc Interv. 2018 Oct 2. doi:
  10.1002/ccd.27807. [Epub ahead of print] PubMed PMID: 30280476.

M537) McCullough PA, Soman S. Cardiorenal Syndrome: A Call to Action for a Pressing Medical
  Issue. Adv Chronic Kidney Dis. 2018 Sep;25(5):379-381. doi: 10.1053/j.ackd.2018.08.011.
  PubMed PMID: 30309454.

M538) Rangaswami J, McCullough PA. Heart Failure in End-Stage Kidney Disease: Pathophysiology,
  Diagnosis, and Therapeutic Strategies. Semin Nephrol. 2018 Nov;38(6):600-617. doi:
  10.1016/j.semnephrol.2018.08.005. Review. PubMed PMID: 30413254.

M539) Goyal A, Chatterjee K, Mathew RO, Sidhu MS, Bangalore S, McCullough PA, Rangaswami J.
  In-Hospital Mortality and Major Adverse Cardiovascular Events after Kidney Transplantation in
  the United States. Cardiorenal Med. 2018 Nov 14;9(1):51-60. doi: 10.1159/000492731. [Epub
  ahead of print] PubMed PMID: 30428461.

M540) McCullough PA. Treatment of Orthostatic Hypotension Due to Autonomic Dysfunction
  (Neurogenic Orthostatic Hypotension) in a Patient with Cardiovascular Disease and Parkinson's
  Disease. Cardiol Ther. 2019 Jun;8(1):145-150. Doi: 10.1007/s40119-018-0124-z. Epub 2019 Jan
  9. PubMed PMID: 30627953.

M541) Vasudevan A, Choi JW, Feghali GA, Lander SR, Jialiang L, Schussler JM, Stoler RC, Vallabhan
  RC, Velasco CE, McCullough PA. Event dependence in the analysis of cardiovascular



                                                                                      App000275
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 278 of 633 PageID 1004



   readmissions postpercutaneous coronary intervention. J Investig Med. 2019 Jan 18. pii: jim-
   2018-000873. doi: 10.1136/jim-2018-000873. [Epub ahead of print] PubMed PMID: 30659091.

M542) Rocha NA, McCullough PA. Cardiovascular outcomes in diabetic kidney disease: insights
  from recent clinical trials. Kidney Int Suppl (2011). 2018 Jan;8(1):8-17. doi:
  10.1016/j.kisu.2017.10.004. Epub 2017 Dec 29. Review. PubMed PMID: 30675434; PubMed
  Central PMCID: PMC6336216.

M543) Rangaswami J, Bhalla V, Blair JEA, Chang TI, Costa S, Lentine KL, Lerma EV, Mezue K, Molitch
  M, Mullens W, Ronco C, Tang WHW, McCullough PA; American Heart Association Council on the
  Kidney in Cardiovascular Disease and Council on Clinical Cardiology. Cardiorenal Syndrome:
  Classification, Pathophysiology, Diagnosis, and Treatment Strategies: A Scientific Statement
  From the American Heart Association. Circulation. 2019 Apr 16;139(16):e840-e878. doi:
  10.1161/CIR.0000000000000664. PubMed PMID: 30852913.

M544) Ball TN, Vasudevan A, Mi Ko J, Assar MD, McCullough PA, Stoler RC. Analysis of
  electrocardiographic intervals before and after transcatheter aortic valve implantation to predict
  the need for permanent pacing. Proc (Bayl Univ Med Cent). 2018 Sep 11;31(4):407-413. doi:
  10.1080/08998280.2018.1471884. eCollection 2018 Oct. PubMed PMID: 30948968; PubMed
  Central PMCID: PMC6413979.

M545) Brown K, Adams J, McCullough PA. Comparison of reflex, resistance training, and core
  activities using change in blood pressure over time after spontaneous coronary artery
  dissection. Proc (Bayl Univ Med Cent). 2019 Jan 14;32(1):113-115. doi:
  10.1080/08998280.2018.1533308. eCollection 2019 Jan. PubMed PMID: 30956602; PubMed
  Central PMCID: PMC6442865.

M546) Sudhakaran S, McCullough PA. Common laboratory parameters as indicators of multi-organ
  dysfunction in acute heart failure. Eur J Heart Fail. 2019 Apr 11. doi: 10.1002/ejhf.1466. [Epub
  ahead of print] PubMed PMID: 30972928.

M547) Rangaswami J, Mathew RO, Parasuraman R, Tantisattamo E, Lubetzky M, Rao S, Yaqub MS,
  Birdwell KA, Bennett W, Dalal P, Kapoor R, Lerma EV, Lerman M, McCormick N, Bangalore S,
  McCullough PA, Dadhania DM. Cardiovascular disease in the kidney transplant recipient:
  epidemiology, diagnosis and management strategies. Nephrol Dial Transplant. 2019 May
  1;34(5):760-773. doi: 10.1093/ndt/gfz053. PubMed PMID: 30984976.

M548) Rangaswami J, Soman S, McCullough PA. Key Updates in Cardio-Nephrology from 2018:
  Springboard to a Bright Future. Cardiorenal Med. 2019 Apr 17;9(4):222-228. doi:
  10.1159/000498916. [Epub ahead of print] PubMed PMID: 30995636.

M549) Zhang J, Rocha NA, McCullough PA. Contribution of ApoCIII to Diabetic Dyslipidemia and
  Treatment With Volanesorsen. Rev Cardiovasc Med. 2018 Mar 30;19(1):13-19. doi:
  10.31083/j.rcm.2018.01.890. PubMed PMID: 31032598.



                                                                                       App000276
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 279 of 633 PageID 1005




M550) Tumlin JA, Roy-Chaudhury P, Koplan BA, Costea AI, Kher V, Williamson D, Pokhariyal S,
  Charytan DM; MiD investigators and Committees (McCullough PA) . Relationship between
  dialytic parameters and reviewer confirmed arrhythmias in hemodialysis patients in the
  monitoring in dialysis study. BMC Nephrol. 2019 Mar 5;20(1):80. doi: 10.1186/s12882-019-1212-
  6. PubMed PMID: 30836948; PubMed Central PMCID: PMC6402171.

M551) Kluger AY, Tecson KM, Barbin CM, Lee AY, Lerma EV, Rosol ZP, Rangaswami J, Lepor NE,
  Cobble ME, McCullough PA. Cardiorenal Outcomes in the CANVAS, DECLARE-TIMI 58, and
  EMPA-REG OUTCOME Trials: A Systematic Review. Rev Cardiovasc Med. 2018 Jun 30;19(2):41-
  49. doi: 10.31083/j.rcm.2018.02.907. PubMed PMID: 31032602.

M552) McCullough PA, Kluger AY, Tecson KM, Barbin CM, Lee AY, Lerma EV, Rosol ZP, Kluger SL,
  Rangaswami J. Inhibition of the Sodium-Proton Antiporter (Exchanger) is a Plausible Mechanism
  of Potential Benefit and Harm for Drugs Designed to Block Sodium Glucose Co-transporter 2. Rev
  Cardiovasc Med. 2018 Jun 30;19(2):51-63. doi: 10.31083/j.rcm.2018.02.021. PubMed PMID:
  31032603.

M553) Zanoli L, Lentini P, Briet M, Castellino P, House AA, London GM, Malatino L, McCullough PA,
  Mikhailidis DP, Boutouyrie P. Arterial Stiffness in the Heart Disease of CKD. J Am Soc Nephrol.
  2019 Apr 30. pii: ASN.2019020117. doi: 10.1681/ASN.2019020117. [Epub ahead of print]
  PubMed PMID: 31040188.

M554) House AA, Wanner C, Sarnak MJ, Piña IL, McIntyre CW, Komenda P, Kasiske BL, Deswal A,
  deFilippi CR, Cleland JGF, Anker SD, Herzog CA, Cheung M, Wheeler DC, Winkelmayer WC,
  McCullough PA; Conference Participants. Heart failure in chronic kidney disease: conclusions
  from a Kidney Disease: Improving Global Outcomes (KDIGO) Controversies Conference. Kidney
  Int. 2019 Apr 30. pii: S0085-2538(19)30276-5. doi: 10.1016/j.kint.2019.02.022. [Epub ahead of
  print] PubMed PMID: 31053387.

M555) Sudhakaran S, Bottiglieri T, Tecson KM, Kluger AY, McCullough PA. Alteration of lipid
  metabolism in chronic kidney disease, the role of novel antihyperlipidemic agents, and future
  directions. Rev Cardiovasc Med. 2018 Sep 30;19(3):77-88. doi: 10.31083/j.rcm.2018.03.908.
  PubMed PMID: 31054556.

M556) Rangaswami J, Soman S, McCullough PA. Key updates in Cardio-Nephrology from 2018:
  springboard to a bright Future. Rev Cardiovasc Med. 2018 Dec 30;19(4):113-116. doi:
  10.31083/j.rcm.2018.04.896. PubMed PMID: 31064161.

M557) Tecson KM, Hashemi H, Afzal A, Gong TA, Kale P, McCullough PA. Community-Acquired
  Acute Kidney Injury as a Risk Factor of de novo Heart Failure Hospitalization. Cardiorenal Med.
  2019 May 10;9(4):252-260. doi: 10.1159/000499669. [Epub ahead of print] PubMed PMID:
  31079099.




                                                                                      App000277
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 280 of 633 PageID 1006



M558) Tumlin JA, Roy-Chaudhury P, Koplan BA, Costea AI, Kher V, Williamson D, Pokhariyal S,
  Charytan DM; MiD investigators and Committees (McCullough PA). Relationship between
  dialytic parameters and reviewer confirmed arrhythmias in hemodialysis patients in the
  monitoring in dialysis study. BMC Nephrol. 2019 Mar 5;20(1):80. doi:10.1186/s12882-019-1212-
  6. PubMed PMID: 30836948; PubMed Central PMCID:PMC6402171.

M559) Vijayaraghavan K, McCullough PA, Singh B, Gupta M, Enas E, Mohan V, Misra A, Deedwania
  P, Brinton EA; for the Consensus Panel Steering Committee . Cardiometabolic-Renal Disease in
  South Asians: Consensus Recommendations from the Cardio Renal Society of America.
  Cardiorenal Med. 2019 May 10;9(4):240-251. doi: 10.1159/000499341. [Epub ahead of print]
  PubMed PMID: 31079117.

M560) McCullough PA, Mehta HS, Cork DP, Barker CM, Gunnarsson C, Mollenkopf S, Van Houten J,
  Verta P. The healthcare burden of disease progression in Medicare patients with functional
  mitral regurgitation. J Med Econ. 2019 May 20:1. doi: 10.1080/13696998.2019.1621325. [Epub
  ahead of print] PubMed PMID: 31104524.

M561) Spinowitz BS, Fishbane S, Pergola PE, Roger SD, Lerma EV, Butler J, von Haehling S, Adler SH,
  Zhao J, Singh B, Lavin PT, McCullough PA, Kosiborod M, Packham DK; ZS-005 Study Investigators.
  Sodium Zirconium Cyclosilicate among Individuals with Hyperkalemia: A 12-Month Phase 3
  Study. Clin J Am Soc Nephrol. 2019 May 20. pii: CJN.12651018. doi: 10.2215/CJN.12651018.
  [Epub ahead of print] PubMed PMID: 31110051.

M562) Rangaswami J, McCullough PA. Clinical Context of Dyskalemias Across the Heart Failure
  Spectrum and Their Associated Adverse Outcomes. JACC Heart Fail. 2019 Jun;7(6):533. doi:
  10.1016/j.jchf.2019.01.005. PubMed PMID: 31146878.

M563) Ahmad FS, Kallen MA, Schifferdecker KE, Carluzzo KL, Yount SE, Gelow JM, McCullough PA,
  Kimmel SE, Fisher ES, Cella D. Development and Initial Validation of the PROMIS®-Plus-HF Profile
  Measure. Circ Heart Fail. 2019 Jun;12(6):e005751. doi: 10.1161/CIRCHEARTFAILURE.118.005751.
  Epub 2019 Jun 5. PubMed PMID: 31163985; PubMed Central PMCID: PMC6711378.

M564) Rizk DV, Silva AL, Pergola PE, Toto R, Warnock DG, Chin MP, Goldsberry A, O'Grady M, Meyer
  CJ, McCullough PA. Effects of Bardoxolone Methyl on Magnesium in Patients with Type 2
  Diabetes Mellitus and Chronic Kidney Disease. Cardiorenal Med. 2019;9(5):316-325. doi:
  10.1159/000500612. Epub 2019 Jun 6. PubMed PMID: 31170712.

M565) Vasudevan A, Choi JW, Feghali GA, Kluger AY, Lander SR, Tecson KM, Sathyamoorthy M,
  Schussler JM, Stoler RC, Vallabhan RC, Velasco CE, Yoon A, McCullough PA. First and recurrent
  events after percutaneous coronary intervention: implications for survival analyses. Scand
  Cardiovasc J. 2019 Jul 25:1-6. doi: 10.1080/14017431.2019.1645349. [Epub ahead of print]
  PubMed PMID: 31315473.




                                                                                      App000278
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 281 of 633 PageID 1007



M566) Cedars A, Tecson KM, Zaidi AN, Lorts A, McCullough PA. Impact of Durable Ventricular Assist
  Device Support on Outcomes of Patients with Congenital Heart Disease Waiting for Heart
  Transplant. ASAIO J. 2019 Jul 15. doi:10.1097/MAT.0000000000001041. [Epub ahead of print]
  PubMed PMID: 31335373.

M567) Rangaswami J, Bangalore S, Kaplan B, Birdwell KA, Wiseman AC, McCullough PA, Dadhania
  DM. Cardiovascular disease care fragmentation in kidney transplantation: a call for action.
  Kidney Int. 2019 Sep;96(3):568-571. doi: 10.1016/j.kint.2019.04.042. Epub 2019 Jun 10. PubMed
  PMID: 31349974.

M568) Rossing P, Block GA, Chin MP, Goldsberry A, Heerspink HJL, McCullough PA, Meyer CJ,
  Packham D, Pergola PE, Spinowitz B, Sprague SM, Warnock DG, Chertow GM. Effect of
  bardoxolone methyl on the urine albumin-to-creatinine ratio in patients with type 2 diabetes
  and stage 4 chronic kidney disease. Kidney Int. 2019 May 16. pii: S0085-2538(19)30503-4. doi:
  10.1016/j.kint.2019.04.027. [Epub ahead of print] PubMed PMID: 31377056.

M569) Kluger AY, Tecson KM, Lee AY, Lerma EV, Rangaswami J, Lepor NE, Cobble ME, McCullough
  PA. Class effects of SGLT2 inhibitors on cardiorenal outcomes. Cardiovasc Diabetol. 2019 Aug
  5;18(1):99. doi: 10.1186/s12933-019-0903-4. Review. PubMed PMID: 31382965; PubMed
  Central PMCID: PMC6683461.

M570) McCullough PA, Mehta HS, Barker CM, Cork DP, Gunnarsson C, Ryan MP, Baker ER, Van
  Houten J, Mollenkopf S, Verta P. The Economic Impact of Mitral Regurgitation on Patients With
  Medically Managed Heart Failure. Am J Cardiol. 2019 Oct 15;124(8):1226-1231. doi:
  10.1016/j.amjcard.2019.07.033. Epub 2019 Jul 30. PubMed PMID: 31470974.

M571) Singhania G, Ejaz AA, McCullough PA, Kluger AY, Balamuthusamy S, Dass B, Singhania N,
  Agarwal A. Continuation of Chronic Heart Failure Therapies During Heart Failure Hospitalization -
  a Review. Rev Cardiovasc Med. 2019 Sep 30;20(3):111-120. doi: 10.31083/j.rcm.2019.03.562.
  Review. PubMed PMID: 31601085.

M572) McCullough PA, Ostermann M, Forni LG, Bihorac A, Koyner JL, Chawla LS, Shi J, Kampf JP,
  McPherson P, Kellum JA; the Sapphire Investigators. Serial Urinary Tissue Inhibitor of
  Metalloproteinase-2 and Insulin-Like Growth Factor-Binding Protein 7 and the Prognosis for
  Acute Kidney Injury over the Course of Critical Illness. Cardiorenal Med. 2019;9(6):358-369. doi:
  10.1159/000502837. Epub 2019 Oct 16. PubMed PMID: 31618746.

M573) Husain-Syed F, Birk HW, Ronco C, Schörmann T, Tello K, Richter MJ, Wilhelm J, Sommer N,
  Steyerberg E, Bauer P, Walmrath HD, Seeger W, McCullough PA, Gall H, Ghofrani HA. Doppler-
  Derived Renal Venous Stasis Index in the Prognosis of Right Heart Failure. J Am Heart Assoc.
  2019 Nov 5;8(21):e013584. doi: 10.1161/JAHA.119.013584. Epub 2019 Oct 19. PubMed PMID:
  31630601; PubMed Central PMCID: PMC6898799.




                                                                                       App000279
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 282 of 633 PageID 1008



M574) Haq A, McCullough PA. The Promise of next generation sequencing micro RNA for the
  discovery of new targets in contrast induced acute kidney injury. Ann Transl Med. 2019
  Sep;7(18):424. doi: 10.21037/atm.2019.07.83. PubMed PMID: 31700860; PubMed Central
  PMCID: PMC6803241.

M575) Lo KB, Gul F, Ram P, Kluger AY, Tecson KM, McCullough PA, Rangaswami J. The Effects of
  SGLT2 Inhibitors on Cardiovascular and Renal Outcomes in Diabetic Patients: A Systematic
  Review and Meta-Analysis. Cardiorenal Med. 2020;10(1):1-10. doi: 10.1159/000503919. Epub
  2019 Nov 19. PubMed PMID: 31743918.

M576) Raju B, McCullough PA. Circulating plasma dipeptidyl dipeptidase 3 and the prognosis of
  cardiogenic shock. Eur J Heart Fail. 2020 Feb;22(2):287-289. doi:10.1002/ejhf.1623. Epub 2019
  Nov 28. PubMed PMID: 31779037.

M577) Husain-Syed F, Birk HW, Tello K, Richter MJ, Ronco C, McCullough PA, Schörmann T, Ferrari
  F, Yücel G, Yazdani B, Walmrath HD, Seeger W, Gall H, Ghofrani HA. Alterations in Doppler-
  derived renal venous stasis index during decompensation of right heart failure and fluid
  overload in a patient with pulmonary hypertension. Rev Cardiovasc Med. 2019 Dec
  30;20(4):263-266. doi: 10.31083/j.rcm.2019.04.564. PubMed PMID: 31912717.

M578) Weir MR, McCullough PA, Buse JB, Anderson J. Renal and Cardiovascular Effects of Sodium
  Glucose Co-Transporter 2 Inhibitors in Patients with Type 2 Diabetes and Chronic Kidney
  Disease: Perspectives on the Canagliflozin and Renal Events in Diabetes with Established
  Nephropathy Clinical Evaluation Trial Results. Am J Nephrol. 2020;51(4):276-288. doi:
  10.1159/000506533. Epub 2020 Mar 13. PMID: 32172239.

M579) Cork DP, McCullough PA, Mehta HS, Barker CM, Van Houten J, Gunnarsson C, Ryan MP,
  Baker ER, Mollenkopf S, Verta P. The economic impact of clinically significant tricuspid
  regurgitation in a large, administrative claims database. J Med Econ. 2020 Mar 2:1-8. doi:
  10.1080/13696998.2020.1718681. [Epub ahead of print] PubMed PMID: 31952454.

M580) Xu MX, Teng RL, Ruddy TD, Schoenhagen P, Bartel T, Di Bartolomeo R, Aksoy O, Desai M, von
  Kodolitsch Y, Escaned J, McCullough PA, Vasudevan A, Shen CX, Zhao X, Zhou YF, Xu HF, Cheng
  XJ, He YM; written on behalf of the AME Interventional Cardiology Collaborative Group. The
  CatLet score: a new coronary angiographic scoring tool accommodating the variable coronary
  anatomy for the first time. J Thorac Dis. 2019 Dec;11(12):5199-5209. doi:
  10.21037/jtd.2019.12.18. PubMed PMID: 32030237; PubMed Central PMCID: PMC6988012.

M581) Gopalakrishnan A, Mossaid A, Lo KB, Vasudevan V, McCullough PA, Rangaswami J. Fulminant
  Acute Kidney Injury in a Young Patient with Novel Coronavirus 2019. Cardiorenal Med.
  2020;10(4):217-222. doi: 10.1159/000508179. Epub 2020 May 6. PMID: 32375150; PMCID:
  PMC7251584.




                                                                                    App000280
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 283 of 633 PageID 1009



M582) McCullough PA. Prevention Guidelines as Failed Minimal Standards of Care. Am J Cardiol.
  2020 May 1;125(9):1441-1442. doi: 10.1016/j.amjcard.2020.02.001. Epub 2020 Feb 13. PMID:
  32145899.

M583) Rosol ZP, Kopecky KF, Minehart BR, Tecson KM, Vasudevan A, McCullough PA, Grayburn PA,
  Schussler JM. Limitations of transoesophageal echocardiogram in acute ischaemic stroke. Open
  Heart. 2020 Mar 24;7(1):e001176. doi: 10.1136/openhrt-2019-001176. PMID: 32257245;
  PMCID: PMC7103838.

M584) Lo KB, McCullough PA, Rangaswami J. Antihypertensive drugs and risk of COVID-19? Lancet
  Respir Med. 2020 May;8(5):e29. doi: 10.1016/S2213-2600(20)30156-9. Epub 2020 Mar 26.
  PMID: 32222167; PMCID: PMC7194509.

M585) Spertus JA, Jones PG, Maron DJ, O'Brien SM, Reynolds HR, Rosenberg Y, Stone GW, Harrell FE
  Jr, Boden WE, Weintraub WS, Baloch K, Mavromatis K, Diaz A, Gosselin G, Newman JD,
  Mavromichalis S, Alexander KP, Cohen DJ, Bangalore S, Hochman JS, Mark DB; ISCHEMIA
  Research Group (McCullough PA, Optimal Medical Management Committee). Health-Status
  Outcomes with Invasive or Conservative Care in Coronary Disease. N Engl J Med. 2020 Apr
  9;382(15):1408-1419. doi: 10.1056/NEJMoa1916370. Epub 2020 Mar 30. PMID: 32227753;
  PMCID: PMC7261489.

M586) Spertus JA, Jones PG, Maron DJ, Mark DB, O'Brien SM, Fleg JL, Reynolds HR, Stone GW, Sidhu
  MS, Chaitman BR, Chertow GM, Hochman JS, Bangalore S; ISCHEMIA-CKD Research Group
  (McCullough PA Steering Committee). Health Status after Invasive or Conservative Care in
  Coronary and Advanced Kidney Disease. N Engl J Med. 2020 Apr 23;382(17):1619-1628. doi:
  10.1056/NEJMoa1916374. Epub 2020 Mar 30. PMID: 32227754; PMCID: PMC7255621.

M587) Maron DJ, Hochman JS, Reynolds HR, Bangalore S, O'Brien SM, Boden WE, Chaitman BR,
  Senior R, López-Sendón J, Alexander KP, Lopes RD, Shaw LJ, Berger JS, Newman JD, Sidhu MS,
  Goodman SG, Ruzyllo W, Gosselin G, Maggioni AP, White HD, Bhargava B, Min JK, Mancini GBJ,
  Berman DS, Picard MH, Kwong RY, Ali ZA, Mark DB, Spertus JA, Krishnan MN, Elghamaz A,
  Moorthy N, Hueb WA, Demkow M, Mavromatis K, Bockeria O, Peteiro J, Miller TD, Szwed H,
  Doerr R, Keltai M, Selvanayagam JB, Steg PG, Held C, Kohsaka S, Mavromichalis S, Kirby R,
  Jeffries NO, Harrell FE Jr, Rockhold FW, Broderick S, Ferguson TB Jr, Williams DO, Harrington RA,
  Stone GW, Rosenberg Y; ISCHEMIA Research Group (McCullough PA, Optimal Medical
  Management Committee). Initial Invasive or Conservative Strategy for Stable Coronary Disease.
  N Engl J Med. 2020 Apr 9;382(15):1395-1407. doi: 10.1056/NEJMoa1915922. Epub 2020 Mar 30.
  PMID: 32227755; PMCID: PMC7263833.

M588) Bangalore S, Maron DJ, O'Brien SM, Fleg JL, Kretov EI, Briguori C, Kaul U, Reynolds HR,
  Mazurek T, Sidhu MS, Berger JS, Mathew RO, Bockeria O, Broderick S, Pracon R, Herzog CA,
  Huang Z, Stone GW, Boden WE, Newman JD, Ali ZA, Mark DB, Spertus JA, Alexander KP,
  Chaitman BR, Chertow GM, Hochman JS; ISCHEMIA-CKD Research Group (McCullough PA
  Steering Committee). Management of Coronary Disease in Patients with Advanced Kidney



                                                                                      App000281
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 284 of 633 PageID 1010



   Disease. N Engl J Med. 2020 Apr 23;382(17):1608-1618. doi: 10.1056/NEJMoa1915925. Epub
   2020 Mar 30. PMID: 32227756; PMCID: PMC7274537.

M589) Packer M, Butler J, Filippatos GS, Jamal W, Salsali A, Schnee J, Kimura K, Zeller C, George J,
  Brueckmann M, Anker SD, Zannad F; EMPEROR-Reduced Trial Committees and Investigators
  (McCullough PA, Steering Committee). Evaluation of the effect of sodium-glucose co-
  transporter 2 inhibition with empagliflozin on morbidity and mortality of patients with chronic
  heart failure and a reduced ejection fraction: rationale for and design of the EMPEROR-Reduced
  trial. Eur J Heart Fail. 2019 Oct;21(10):1270-1278. doi: 10.1002/ejhf.1536. Epub 2019 Jul 16.
  PubMed PMID:31584231.

M590) Anker SD, Butler J, Filippatos GS, Jamal W, Salsali A, Schnee J, Kimura K, Zeller C, George J,
  Brueckmann M, Zannad F, Packer M; EMPEROR-Preserved Trial Committees and Investigators
  (McCullough PA, Steering Committee). Evaluation of the effects of sodium-glucose co-
  transporter 2 inhibition with empagliflozin on morbidity and mortality in patients with chronic
  heart failure and a preserved ejection fraction: rationale for and design of the EMPEROR-
  Preserved Trial. Eur J Heart Fail. 2019 Oct;21(10):1279-1287. doi: 10.1002/ejhf.1596. Epub 2019
  Sep 16. PubMed PMID: 31523904.

M591) Roger SD, Lavin PT, Lerma EV, McCullough PA, Butler J, Spinowitz BS, von Haehling S,
  Kosiborod M, Zhao J, Fishbane S, Packham DK. Long-term safety and efficacy of sodium
  zirconium cyclosilicate for hyperkalaemia in patients with mild/moderate versus severe/end-
  stage chronic kidney disease: comparative results from an open-label, Phase 3 study. Nephrol
  Dial Transplant. 2020 Feb 6. pii:gfz285. doi: 10.1093/ndt/gfz285. [Epub ahead of print] PubMed
  PMID: 32030422.

M592) Oliveros E, Oni ET, Shahzad A, Kluger AY, Lo KB, Rangaswami J, McCullough PA. Benefits and
  Risks of Continuing Angiotensin-Converting Enzyme Inhibitors, Angiotensin II Receptor
  Antagonists, and Mineralocorticoid Receptor Antagonists during Hospitalizations for Acute Heart
  Failure. Cardiorenal Med. 2020;10(2):69-84. doi: 10.1159/000504167. Epub 2020 Feb 14.
  Review. PubMed PMID: 32062648.

M593) McCullough PA, Eidt J, Rangaswami J, Lerma E, Tumlin J, Wheelan K, Katz N, Lepor NE, Vijay
  K, Soman S, Singh B, McCullough SP, McCullough HB, Palazzuoli A, Ruocco GM, Ronco C. Urgent
  need for individual mobile phone and institutional reporting of at home, hospitalized, and
  intensive care unit cases of SARS-CoV-2 (COVID-19) infection. Rev Cardiovasc Med. 2020 Mar
  30;21(1):1-7. doi: 10.31083/j.rcm.2020.01.42. PMID: 32259899.

M594) Ronco F, Tarantini G, McCullough PA. Contrast induced acute kidney injury in interventional
  cardiology: an update and key guidance for clinicians. Rev Cardiovasc Med. 2020 Mar 30;21(1):9-
  23. doi: 10.31083/j.rcm.2020.01.44. PMID: 32259900.

M595) Agrawal A, Virk HUH, Riaz I, Jain D, Tripathi B, Krittanawong C, Bozorgnia B, Figueredo V,
  McCullough PA, Rangaswami J. Predictors of 30-day re-admissions in patients with infective



                                                                                        App000282
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 285 of 633 PageID 1011



   endocarditis: a national population based cohort study. Rev Cardiovasc Med. 2020 Mar
   30;21(1):123-127. doi: 10.31083/j.rcm.2020.01.552. PMID: 32259911.

M596) Kazory A, Ronco C, McCullough PA. SARS-CoV-2 (COVID-19) and intravascular volume
  management strategies in the critically ill. Proc (Bayl Univ Med Cent). 2020 Apr 16;0(0):1-6. doi:
  10.1080/08998280.2020.1754700. PMID: 32336959; PMCID: PMC7171388.

M597) Cedars A, Tecson KM, Zaidi AN, Lorts A, McCullough PA. Impact of Durable Ventricular Assist
  Device Support on Outcomes of Patients with Congenital Heart Disease Waiting for Heart
  Transplant. ASAIO J. 2020 May;66(5):513-519. doi: 10.1097/MAT.0000000000001041. PMID:
  31335373.

M598) Lo KB, McCullough PA, Rangaswami J. Mediators of the Effects of Canagliflozin on Heart
  Failure: Central Role of the Cardiorenal Axis. JACC Heart Fail. 2020 May;8(5):426. doi:
  10.1016/j.jchf.2020.01.013. PMID: 32354418.

M599) Glenister RT, McCullough PA. Analysing risk in heart failure: a Kalium check. Eur J Heart Fail.
  2020 May 10. doi: 10.1002/ejhf.1855. Epub ahead of print. PMID: 32390265.

M600) McCullough PA, Arunthamakun J. Disconnect between community testing and
  hospitalization for SARS-CoV-2 (COVID-19) infection. Proc (Bayl Univ Med Cent). 2020 May
  14;33(3):481. doi: 10.1080/08998280.2020.1762439. PMID: 32675999; PMCID: PMC7340440.

M601) Cork DP, McCullough PA, Mehta HS, Barker CM, Gunnarsson C, Ryan MP, Baker ER, Van
  Houten J, Mollenkopf S, Verta P. Impact of mitral regurgitation on cardiovascular hospitalization
  and death in newly diagnosed heart failure patients. ESC Heart Fail. 2020 Aug;7(4):1502-1509.
  doi: 10.1002/ehf2.12653. Epub 2020 May 29. PMID: 32469120; PMCID: PMC7373926.

M602) Gul F, Lo KB, Peterson J, McCullough PA, Goyal A, Rangaswami J. Meta-analysis of outcomes
  of patients with COVID-19 infection with versus without gastrointestinal symptoms. Proc (Bayl
  Univ Med Cent). 2020 May 29;33(3):366-369. doi: 10.1080/08998280.2020.1771164. PMID:
  32669979; PMCID: PMC7265105.

M603) Briedis K, Aldujeli A, Aldujeili M, Briede K, Zaliunas R, Hamadeh A, Stoler RC, McCullough PA.
  Considerations for Management of Acute Coronary Syndromes During the SARS-CoV-2 (COVID-
  19) Pandemic. Am J Cardiol. 2020 Sep 15;131:115-119. doi: 10.1016/j.amjcard.2020.06.039.
  Epub 2020 Jun 30. PMID: 32723554; PMCID: PMC7324338.

M604) Hamadeh A, Aldujeli A, Briedis K, Tecson KM, Sanz-Sánchez J, Al Dujeili M, Al-Obeidi A, Diez
  :>͕Ăůŝƻnas R, Stoler RC, McCullough PA. Characteristics and Outcomes in Patients Presenting
  With COVID-19 and ST-Segment Elevation Myocardial Infarction. Am J Cardiol. 2020 Sep
  15;131:1-6. doi: 10.1016/j.amjcard.2020.06.063. Epub 2020 Jul 3. PMID: 32732010; PMCID:
  PMC7333635.




                                                                                         App000283
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 286 of 633 PageID 1012



M605) Raju B, Roberts CS, Sathyamoorthy M, Schiffman R, Swift C, McCullough PA. Ventricular
  Septal Myectomy for the Treatment of Left Ventricular Outflow Tract Obstruction Due to Fabry
  Disease. Am J Cardiol. 2020 Oct 1;132:160-164. doi: 10.1016/j.amjcard.2020.07.020. Epub 2020
  Jul 13. PMID: 32773220.

M606) Velasco CE, Suarez NP, Roullard CP, McCullough PA, Roberts WC. Usefulness of coronary
  angiography in patients with left atrial myxoma. Proc (Bayl Univ Med Cent). 2020 Jul
  6;33(4):529-531. doi: 10.1080/08998280.2020.1776024. PMID: 33100521; PMCID:
  PMC7549987.

M607) Gupta S, Hayek SS, Wang W, Chan L, Mathews KS, Melamed ML, Brenner SK, Leonberg-Yoo
  A, Schenck EJ, Radbel J, Reiser J, Bansal A, Srivastava A, Zhou Y, Sutherland A, Green A, Shehata
  AM, Goyal N, Vijayan A, Velez JCQ, Shaefi S, Parikh CR, Arunthamakun J, Athavale AM, Friedman
  AN, Short SAP, Kibbelaar ZA, Abu Omar S, Admon AJ, Donnelly JP, Gershengorn HB, Hernán MA,
  Semler MW, Leaf DE; STOP-COVID Investigators (McCullough PA, Site Investigator). Factors
  Associated With Death in Critically Ill Patients With Coronavirus Disease 2019 in the US. JAMA
  Intern Med. 2020 Jul 15:e203596. doi: 10.1001/jamainternmed.2020.3596. Epub ahead of print.
  PMID: 32667668; PMCID: PMC7364338.

M608) Molnar MZ, Bhalla A, Azhar A, Tsujita M, Talwar M, Balaraman V, Sodhi A, Kadaria D, Eason
  JD, Hayek SS, Coca SG, Shaefi S, Neyra JA, Gupta S, Leaf DE, Kovesdy CP; STOP-COVID
  Investigators (McCullough PA, Site Investigator). Outcomes of critically ill solid organ transplant
  patients with COVID-19 in the United States. Am J Transplant. 2020 Nov;20(11):3061-3071. doi:
  10.1111/ajt.16280. Epub 2020 Sep 15. PMID: 32844546; PMCID: PMC7460925.

M609) Singhania N, Bansal S, Nimmatoori DP, Ejaz AA, McCullough PA, Singhania G. Current
  Overview on Hypercoagulability in COVID-19. Am J Cardiovasc Drugs. 2020 Aug 4:1–11. doi:
  10.1007/s40256-020-00431-z. Epub ahead of print. PMID: 32748336; PMCID: PMC7398761.

M610) McCullough PA, Kelly RJ, Ruocco G, Lerma E, Tumlin J, Wheelan KR, Katz N, Lepor NE, Vijay K,
  Carter H, Singh B, McCullough SP, Bhambi BK, Palazzuoli A, De Ferrari GM, Milligan GP, Safder T,
  Tecson KM, Wang DD, McKinnon JE, O'Neill WW, Zervos M, Risch HA. Pathophysiological Basis
  and Rationale for Early Outpatient Treatment of SARS-CoV-2 (COVID-19) Infection. Am J Med.
  2020 Aug 7:S0002-9343(20)30673-2. doi: 10.1016/j.amjmed.2020.07.003. Epub ahead of print.
  PMID: 32771461; PMCID: PMC7410805.

M611) Raal FJ, Rosenson RS, Reeskamp LF, Hovingh GK, Kastelein JJP, Rubba P, Ali S, Banerjee P,
  Chan KC, Gipe DA, Khilla N, Pordy R, Weinreich DM, Yancopoulos GD, Zhang Y, Gaudet D; ELIPSE
  HoFH Investigators (McCullough PA Site Investigator). Evinacumab for Homozygous Familial
  Hypercholesterolemia. N Engl J Med. 2020 Aug 20;383(8):711-720. doi:
  10.1056/NEJMoa2004215. PMID: 32813947.




                                                                                         App000284
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 287 of 633 PageID 1013



M612) Elsaid O, McCullough PA, Tecson KM, Williams RS, Yoon A. Ventricular Fibrillation Storm in
  Coronavirus 2019. Am J Cardiol. 2020 Aug 29:S0002-9149(20)30890-0. doi:
  10.1016/j.amjcard.2020.08.033. Epub ahead of print. PMID: 32871109; PMCID: PMC7455792.

M613) Goyal A, Lo KB, Chatterjee K, Mathew RO, McCullough PA, Bangalore S, Rangaswami J. Acute
  coronary syndromes in the peri-operative period after kidney transplantation in United States.
  Clin Transplant. 2020 Sep 18:e14083. doi: 10.1111/ctr.14083. Epub ahead of print. PMID:
  32946629.

M614) Palazzuoli A, Ruberto F, De Ferrari GM, Forleo G, Secco GG, Ruocco GM, D'Ascenzo F, Mojoli
  F, Monticone S, Paggi A, Vicenzi M, Corcione S, Palazzo AG, Landolina M, Taravelli E, Tavazzi G,
  Blasi F, Mancone M, Birtolo LI, Alessandri F, Infusino F, Pugliese F, Fedele F, De Rosa FG, Emmett
  M, Schussler JM, McCullough PA, Tecson KM. Inpatient Mortality According to Level of
  Respiratory Support Received for Severe Acute Respiratory Syndrome Coronavirus 2
  (Coronavirus Disease 2019) Infection: A Prospective Multicenter Study. Crit Care Explor. 2020
  Sep 18;2(9):e0220. doi: 10.1097/CCE.0000000000000220. PMID: 32984838; PMCID:
  PMC7505344.

M615) McCullough PA. Favipiravir and the Need for Early Ambulatory Treatment of SARS-CoV-2
  Infection (COVID-19). Antimicrob Agents Chemother. 2020 Nov 17;64(12):e02017-20. doi:
  10.1128/AAC.02017-20. PMID: 32967849; PMCID: PMC7674042.

M616) Rangaswami J, Bhalla V, de Boer IH, Staruschenko A, Sharp JA, Singh RR, Lo KB, Tuttle K,
  Vaduganathan M, Ventura H, McCullough PA; American Heart Association Council on the Kidney
  in Cardiovascular Disease; Council on Arteriosclerosis, Thrombosis and Vascular Biology; Council
  on Cardiovascular and Stroke Nursing; Council on Clinical Cardiology; and Council on Lifestyle
  and Cardiometabolic Health. Cardiorenal Protection With the Newer Antidiabetic Agents in
  Patients With Diabetes and Chronic Kidney Disease: A Scientific Statement From the American
  Heart Association. Circulation. 2020 Sep 28:CIR0000000000000920. doi:
  10.1161/CIR.0000000000000920. Epub ahead of print. PMID: 32981345.

M617) Ruocco G, McCullough PA, Tecson KM, Mancone M, De Ferrari GM, D'Ascenzo F, De Rosa
  FG, Paggi A, Forleo G, Secco GG, Pistis G, Monticone S, Vicenzi M, Rota I, Blasi F, Pugliese F,
  Fedele F, Palazzuoli A. Mortality Risk Assessment Using CHA(2)DS(2)-VASc Scores in Patients
  Hospitalized With Coronavirus Disease 2019 Infection. Am J Cardiol. 2020 Sep 28:S0002-
  9149(20)31004-3. doi: 10.1016/j.amjcard.2020.09.029. Epub ahead of print. PMID: 32991860;
  PMCID: PMC7521434.

M618) Hayek SS, Brenner SK, Azam TU, Shadid HR, Anderson E, Berlin H, Pan M, Meloche C, Feroz R,
  O'Hayer P, Kaakati R, Bitar A, Padalia K, Perry D, Blakely P, Gupta S, Shaefi S, Srivastava A,
  Charytan DM, Bansal A, Mallappallil M, Melamed ML, Shehata AM, Sunderram J, Mathews KS,
  Sutherland AK, Nallamothu BK, Leaf DE; STOP-COVID Investigators (McCullough PA Site
  Investigator). In-hospital cardiac arrest in critically ill patients with covid-19: multicenter cohort




                                                                                          App000285
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 288 of 633 PageID 1014



   study. BMJ. 2020 Sep 30;371:m3513. doi: 10.1136/bmj.m3513. PMID: 32998872; PMCID:
   PMC7525342.

M619) Lo KB, Bhargav R, Salacup G, Pelayo J, Albano J, McCullough PA, Rangaswami J. Angiotensin
  converting enzyme inhibitors and angiotensin II receptor blockers and outcomes in patients with
  COVID-19: a systematic review and meta-analysis. Expert Rev Cardiovasc Ther. 2020 Oct 5:1-12.
  doi: 10.1080/14779072.2020.1826308. Epub ahead of print. PMID: 32945216.

M620) Palazzuoli A, Mancone M, De Ferrari GM, Forleo G, Secco GG, Ruocco GM, D'Ascenzo F,
  Monticone S, Paggi A, Vicenzi M, Palazzo AG, Landolina M, Taravelli E, Tavazzi G, Blasi F, Infusino
  F, Fedele F, De Rosa FG, Emmett M, Schussler JM, Tecson KM, McCullough PA. Antecedent
  Administration of Angiotensin Converting Enzyme Inhibitors or Angiotensin II Receptor
  Antagonists and Survival After Hospitalization for SARS-CoV-2 (COVID-19). J Am Heart Assoc.
  2020 Oct 7:e017364. doi: 10.1161/JAHA.120.017364. Epub ahead of print. PMID: 33023356.

M621) Zhang J, Tecson KM, McCullough PA. Endothelial dysfunction contributes to COVID-19-
  associated vascular inflammation and coagulopathy. Reviews in Cardiovascular Medicine, 2020,
  21(3): 315-319. DOI: 10.31083/j.rcm.2020.03.126
  https://rcm.imrpress.com/EN/10.31083/j.rcm.2020.03.126

M622) Zhang J, McCullough PA, Tecson KM. Vitamin D deficiency in association with endothelial
  dysfunction: Implications for patients with COVID-19. Reviews in Cardiovascular Medicine, 2020,
  21(3): 339-344. DOI: 10.31083/j.rcm.2020.03.131
  https://rcm.imrpress.com/EN/10.31083/j.rcm.2020.03.131

M623) McCullough PA Innovative Early Sequenced Multidrug Therapy for Sars-Cov-2 (Covid-19)
  Infection to Reduce Hospitalization and Death International Journal of Medical Science and
  Clinical Invention7(12): 5139-5150, 2020 DOI:10.18535/ijmsci/v7i12.02

M624) Flythe JE, Assimon MM, Tugman MJ, Chang EH, Gupta S, Shah J, Sosa MA, Renaghan AD,
  Melamed ML, Wilson FP, Neyra JA, Rashidi A, Boyle SM, Anand S, Christov M, Thomas LF,
  Edmonston D, Leaf DE; STOP-COVID Investigators (McCullough PA Site Investigator).
  Characteristics and Outcomes of Individuals With Pre-existing Kidney Disease and COVID-19
  Admitted to Intensive Care Units in the United States. Am J Kidney Dis. 2020 Sep 19:S0272-
  6386(20)30999-9. doi: 10.1053/j.ajkd.2020.09.003. Epub ahead of print. PMID: 32961244;
  PMCID: PMC7501875.

M625) Gupta S, Coca SG, Chan L, Melamed ML, Brenner SK, Hayek SS, Sutherland A, Puri S,
  Srivastava A, Leonberg-Yoo A, Shehata AM, Flythe JE, Rashidi A, Schenck EJ, Goyal N, Hedayati
  SS, Dy R, Bansal A, Athavale A, Nguyen HB, Vijayan A, Charytan DM, Schulze CE, Joo MJ,
  Friedman AN, Zhang J, Sosa MA, Judd E, Velez JCQ, Mallappallil M, Redfern RE, Bansal AD, Neyra
  JA, Liu KD, Renaghan AD, Christov M, Molnar MZ, Sharma S, Kamal O, Boateng JO, Short SAP,
  Admon AJ, Sise ME, Wang W, Parikh CR, Leaf DE; STOP-COVID Investigators (McCullough PA Site
  Investigator). AKI Treated with Renal Replacement Therapy in Critically Ill Patients with COVID-



                                                                                        App000286
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 289 of 633 PageID 1015



   19. J Am Soc Nephrol. 2020 Oct 16:ASN.2020060897. doi: 10.1681/ASN.2020060897. Epub
   ahead of print. PMID: 33067383.

M626) Gupta S, Wang W, Hayek SS, Chan L, Mathews KS, Melamed ML, Brenner SK, Leonberg-Yoo
  A, Schenck EJ, Radbel J, Reiser J, Bansal A, Srivastava A, Zhou Y, Finkel D, Green A, Mallappallil
  M, Faugno AJ, Zhang J, Velez JCQ, Shaefi S, Parikh CR, Charytan DM, Athavale AM, Friedman AN,
  Redfern RE, Short SAP, Correa S, Pokharel KK, Admon AJ, Donnelly JP, Gershengorn HB, Douin
  DJ, Semler MW, Hernán MA, Leaf DE; STOP-COVID Investigators (McCullough PA Site
  Investigator). Association Between Early Treatment With Tocilizumab and Mortality Among
  Critically Ill Patients With COVID-19. JAMA Intern Med. 2020 Oct 20:e206252. doi:
  10.1001/jamainternmed.2020.6252. Epub ahead of print. PMID: 33080002; PMCID:
  PMC7577201.

M627) Chertow GM, Pergola PE, Agarwal R, Block GA, Farag YMK, Jardine AG, Koury MJ, Luo W,
  Khawaja Z, Lewis EF, Matsushita K, McCullough PA, Parfrey PS, Wittes J, Walters KA, Tseng C, Lin
  T, Sarnak MJ, Vargo DL, Winkelmayer WC, Eckardt KU. Cardiovascular Safety and Efficacy of
  Vadadustat for the Treatment of Anemia in Non-Dialysis Dependent CKD: Design and Baseline
  Characteristics. Am Heart J. 2020 Oct 29:S0002-8703(20)30354-9. doi:
  10.1016/j.ahj.2020.10.068. Epub ahead of print. PMID: 33129989.

M628) McCullough PA, Goldstein JA. A novel strategy to prevent contrast nephropathy:
  "Continuous hemodiafiltration". Catheter Cardiovasc Interv. 2020 Nov;96(6):1182-1183. doi:
  10.1002/ccd.29356. PMID: 33217180.

M629) Aldujeli A, Hamadeh A, Briedis K, Tecson KM, Rutland J, Krivickas Z, Stiklioraitis S, Briede K,
  Aldujeili M, Unikas R, Zaliaduonyte D, Zaliunas R, Vallabhan RC, McCullough PA. Delays in
  Presentation in Patients With Acute Myocardial Infarction During the COVID-19 Pandemic.
  Cardiol Res. 2020 Dec;11(6):386-391. doi: 10.14740/cr1175. Epub 2020 Nov 2. PMID: 33224384;
  PMCID: PMC7666599.

M630) Barker CM, Cork DP, McCullough PA, Mehta HS, Houten JV, Gunnarsson C, Mollenkopf S,
  Verta P. Healthcare utilization in clinically significant tricuspid regurgitation patients with and
  without heart failure. J Comp Eff Res. 2020 Nov 11. doi: 10.2217/cer-2020-0198. Epub ahead of
  print. PMID: 33174767.

M631) Eckardt KU, Agarwal R, Farag YM, Jardine AG, Khawaja Z, Koury MJ, Luo W, Matsushita K,
  McCullough PA, Parfrey P, Ross G, Sarnak MJ, Vargo D, Winkelmayer WC, Chertow GM. Global
  Phase 3 programme of vadadustat for treatment of anaemia of chronic kidney disease:
  rationale, study design and baseline characteristics of dialysis-dependent patients in the
  INNO2VATE trials. Nephrol Dial Transplant. 2020 Nov 14:gfaa204. doi: 10.1093/ndt/gfaa204.
  Epub ahead of print. PMID: 33188693.

M632) Rahimi G, Tecson KM, Elsaid O, McCullough PA. Role of Ischemic Heart Disease in Major
  Adverse Renal and Cardiac Events Among Individuals With Heart Failure With Preserved Ejection



                                                                                         App000287
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 290 of 633 PageID 1016



   Fraction (from the TOPCAT Trial). Am J Cardiol. 2020 Dec 3:S0002-9149(20)31296-0. doi:
   10.1016/j.amjcard.2020.11.034. Epub ahead of print. PMID: 33279481.

M633) Roger SD, Lavin PT, Lerma EV, McCullough PA, Butler J, Spinowitz BS, von Haehling S,
  Kosiborod M, Zhao J, Fishbane S, Packham DK. Long-term safety and efficacy of sodium
  zirconium cyclosilicate for hyperkalaemia in patients with mild/moderate versus severe/end-
  stage chronic kidney disease: comparative results from an open-label, Phase 3 study. Nephrol
  Dial Transplant. 2021 Jan 1;36(1):137-150. doi: 10.1093/ndt/gfz285. PMID: 32030422.

M634) McCullough PA, Oskoui R. Early multidrug regimens in new potentially fatal medical
  problems. Rev Cardiovasc Med. 2020 Dec 30;21(4):507-508. doi: 10.31083/j.rcm.2020.04.270.
  PMID: 33387995.

M635) McCullough PA, Alexander PE, Armstrong R, Arvinte C, Bain AF, Bartlett RP, Berkowitz RL,
  Berry AC, Borody TJ, Brewer JH, Brufsky AM, Clarke T, Derwand R, Eck A, Eck J, Eisner RA, Fareed
  GC, Farella A, Fonseca SNS, Geyer CE Jr, Gonnering RS, Graves KE, Gross KBV, Hazan S, Held KS,
  Hight HT, Immanuel S, Jacobs MM, Ladapo JA, Lee LH, Littell J, Lozano I, Mangat HS, Marble B,
  McKinnon JE, Merritt LD, Orient JM, Oskoui R, Pompan DC, Procter BC, Prodromos C, Rajter JC,
  Rajter JJ, Ram CVS, Rios SS, Risch HA, Robb MJA, Rutherford M, Scholz M, Singleton MM, Tumlin
  JA, Tyson BM, Urso RG, Victory K, Vliet EL, Wax CM, Wolkoff AG, Wooll V, Zelenko V.
  Multifaceted highly targeted sequential multidrug treatment of early ambulatory high-risk SARS-
  CoV-2 infection (COVID-19). Rev Cardiovasc Med. 2020 Dec 30;21(4):517-530. doi:
  10.31083/j.rcm.2020.04.264. PMID: 33387997.

M636) Procter BC, Ross C, Pickard V, Smith E, Hanson C, McCullough PA. Clinical outcomes after
  early ambulatory multidrug therapy for high-risk SARS-CoV-2 (COVID-19) infection. Rev
  Cardiovasc Med. 2020 Dec 30;21(4):611-614. doi: 10.31083/j.rcm.2020.04.260. PMID:
  33388006.

M637) Gupta S, Wang W, Hayek SS, Chan L, Mathews KS, Melamed ML, Brenner SK, Leonberg-Yoo
  A, Schenck EJ, Radbel J, Reiser J, Bansal A, Srivastava A, Zhou Y, Finkel D, Green A, Mallappallil
  M, Faugno AJ, Zhang J, Velez JCQ, Shaefi S, Parikh CR, Charytan DM, Athavale AM, Friedman AN,
  Redfern RE, Short SAP, Correa S, Pokharel KK, Admon AJ, Donnelly JP, Gershengorn HB, Douin
  DJ, Semler MW, Hernán MA, Leaf DE; STOP-COVID Investigators. (McCullough PA Site
  Investigator). Association Between Early Treatment With Tocilizumab and Mortality Among
  Critically Ill Patients With COVID-19. JAMA Intern Med. 2021 Jan 1;181(1):41-51. doi:
  10.1001/jamainternmed.2020.6252. PMID: 33080002; PMCID: PMC7577201.

M638) Palazzuoli A, Ruocco G, Tecson KM, McCullough PA. Screening, detection, and management
  of heart failure in the SARS-CoV2 (COVID-19) pandemic. Heart Fail Rev. 2021 Jan 6:1–7. doi:
  10.1007/s10741-020-10068-4. Epub ahead of print. PMID: 33405001; PMCID: PMC7786335.

M639) Al-Samkari H, Gupta S, Leaf RK, Wang W, Rosovsky RP, Brenner SK, Hayek SS, Berlin H,
  Kapoor R, Shaefi S, Melamed ML, Sutherland A, Radbel J, Green A, Garibaldi BT, Srivastava A,



                                                                                       App000288
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 291 of 633 PageID 1017



   Leonberg-Yoo A, Shehata AM, Flythe JE, Rashidi A, Goyal N, Chan L, Mathews KS, Hedayati SS, Dy
   R, Toth-Manikowski SM, Zhang J, Mallappallil M, Redfern RE, Bansal AD, Short SAP, Vangel MG,
   Admon AJ, Semler MW, Bauer KA, Hernán MA, Leaf DE; STOP-COVID-19 Investigators
   (McCullough PA Site Investigator). Thrombosis, Bleeding, and the Observational Effect of Early
   Therapeutic Anticoagulation on Survival in Critically Ill Patients With COVID-19. Ann Intern Med.
   2021 Jan 26:M20-6739. doi: 10.7326/M20-6739. Epub ahead of print. PMID: 33493012; PMCID:
   PMC7863679.

M640) Zhang J, Tecson KM, McCullough PA. Role of endothelial cell receptors in the context of
  SARS-CoV-2 infection (COVID-19). Proc (Bayl Univ Med Cent). 2021 Jan 26;34(2):262-268. doi:
  10.1080/08998280.2021.1874231. PMID: 33664552; PMCID: PMC7852287.

M641) Shaefi S, Brenner SK, Gupta S, O'Gara BP, Krajewski ML, Charytan DM, Chaudhry S, Mirza SH,
  Peev V, Anderson M, Bansal A, Hayek SS, Srivastava A, Mathews KS, Johns TS, Leonberg-Yoo A,
  Green A, Arunthamakun J, Wille KM, Shaukat T, Singh H, Admon AJ, Semler MW, Hernán MA,
  Mueller AL, Wang W, Leaf DE; STOP-COVID Investigators (McCullough PA Site Investigator).
  Extracorporeal membrane oxygenation in patients with severe respiratory failure from COVID-
  19. Intensive Care Med. 2021 Feb;47(2):208-221. doi: 10.1007/s00134-020-06331-9. Epub 2021
  Feb 2. PMID: 33528595; PMCID: PMC7851810.

M642) Short SAP, Gupta S, Brenner SK, Hayek SS, Srivastava A, Shaefi S, Singh H, Wu B, Bagchi A, Al-
  Samkari H, Dy R, Wilkinson K, Zakai NA, Leaf DE; STOP-COVID Investigators(McCullough PA Site
  Investigator). D-dimer and Death in Critically Ill Patients With Coronavirus Disease 2019. Crit
  Care Med. 2021 Feb 12. doi: 10.1097/CCM.0000000000004917. Epub ahead of print. PMID:
  33591017.

M643) Mathews KS, Soh H, Shaefi S, Wang W, Bose S, Coca S, Gupta S, Hayek SS, Srivastava A,
  Brenner SK, Radbel J, Green A, Sutherland A, Leonberg-Yoo A, Shehata A, Schenck EJ, Short SAP,
  Hernán MA, Chan L, Leaf DE; Study of the Treatment and Outcomes in Critically Ill Patients with
  Coronavirus Disease (STOP-COVID) Investigators(McCullough PA Site Investigator). Prone
  Positioning and Survival in Mechanically Ventilated Patients With Coronavirus Disease 2019-
  Related Respiratory Failure. Crit Care Med. 2021 Feb 17. doi: 10.1097/CCM.0000000000004938.
  Epub ahead of print. PMID: 33595960.

M644) Aldujeli A, Hamadeh A, Tecson KM, Krivickas Z, Maciulevicius L, Stiklioraitis S, Sukys M,
  Briedis K, Aldujeili M, Briede K, Braukyliene R, Pranculis A, Unikas R, Zaliaduonyte D, McCullough
  PA. Six-Month Outcomes for COVID-19 Negative Patients with Acute Myocardial Infarction
  Before Versus During the COVID-19 Pandemic. Am J Cardiol. 2021 Feb 23:S0002-9149(21)00161-
  2. doi: 10.1016/j.amjcard.2021.01.043. Epub ahead of print. PMID: 33631113; PMCID:
  PMC7900754.

M645) McCullough PA, Rahimi G, Tecson KM. Ambulatory Worsening of Renal Function in Heart
  Failure With Preserved Ejection Fraction. J Am Coll Cardiol. 2021 Mar 9;77(9):1222-1224. doi:
  10.1016/j.jacc.2021.01.007. PMID: 33663740.



                                                                                       App000289
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 292 of 633 PageID 1018




M646) Kalantar-Zadeh K, McCullough PA, Agarwal SK, Beddhu S, Boaz M, Bruchfeld A, Chauveau P,
  Chen J, de Sequera P, Gedney N, Golper TA, Gupta M, Harris T, Hartwell L, Liakopoulos V, Kopple
  JD, Kovesdy CP, Macdougall IC, Mann JFE, Molony D, Norris KC, Perlmutter J, Rhee CM, Riella LV,
  Weisbord SD, Zoccali C, Goldsmith D. Nomenclature in nephrology: preserving 'renal' and
  'nephro' in the glossary of kidney health and disease. J Nephrol. 2021 Mar 13. doi:
  10.1007/s40620-021-01011-3. Epub ahead of print. PMID: 33713333.

M647) McCullough PA. Anemia of cardiorenal syndrome. Kidney Int Suppl (2011). 2021
  Apr;11(1):35-45. doi: 10.1016/j.kisu.2020.12.001. Epub 2021 Mar 18. PMID: 33777494; PMCID:
  PMC7983020.

M648) Lo KB, Toroghi HM, Salacup G, Jiang J, Bhargav R, Quintero E, Balestrini K, Shahzad A,
  Mathew RO, McCullough PA, Rangaswami J. Angiotensin converting enzyme inhibitors and
  angiotensin receptor blockers in acute heart failure: invasive hemodynamic parameters and
  clinical outcomes. Rev Cardiovasc Med. 2021 Mar 30;22(1):199-206. doi:
  10.31083/j.rcm.2021.01.216. PMID: 33792263.

M649) Kellum JA, Artigas A, Gunnerson KJ, Honore PM, Kampf JP, Kwan T, McPherson P, Nguyen
  HB, Rimmelé T, Shapiro NI, Shi J, Vincent JL, Chawla LS; Sapphire Investigators (McCullough PA
  Site Investigator). Use of Biomarkers to Identify Acute Kidney Injury to Help Detect Sepsis in
  Patients With Infection. Crit Care Med. 2021 Apr 1;49(4):e360-e368. doi:
  10.1097/CCM.0000000000004845. PMID: 33566467; PMCID: PMC7963439.

M650) Procter BC, Ross C, Pickard V, Smith E, Hanson C, McCullough PA. Early Ambulatory
  Multidrug Therapy Reduces Hospitalization and Death in High-Risk Patients with SARS-CoV-2
  (COVID-19). ijirms [Internet]. 2021Mar.17 [cited 2021Apr.28];6(03):219 - 221.
  https://www.ijirms.in/index.php/ijirms/article/view/1100,
  https://www.ijirms.in/index.php/ijirms/article/view/1100#downloadTab

M651) McCullough PA, Vijay K. SARS-CoV-2 infection and the COVID-19 pandemic: a call to action
  for therapy and interventions to resolve the crisis of hospitalization, death, and handle the
  aftermath. Rev Cardiovasc Med. 2021 Mar 30;22(1):9-10. doi: 10.31083/j.rcm.2021.01.301.
  PMID: 33792243.

M652) Valdenor C, McCullough PA, Paculdo D, Acelajado MC, Dahlen JR, Noiri E, Sugaya T, Peabody
  J. Measuring the Variation in the Prevention and Treatment of CI-AKI Among Interventional
  Cardiologists. Curr Probl Cardiol. 2021 Apr 3:100851. doi: 10.1016/j.cpcardiol.2021.100851.
  Epub ahead of print. PMID: 33994040.

M653) Ishida JH, Chauhan C, Gillespie B, Gruchalla K, McCullough PA, Quella S, Romero A, Rossignol
  P, Wheeler DC, Malley MA, West M, Herzog CA. Understanding and Overcoming the Challenges
  Related to Cardiovascular Trials Involving Patients with Kidney Disease. Clin J Am Soc Nephrol.
  2021 Apr 23:CJN.17561120. doi: 10.2215/CJN.17561120. Epub ahead of print. PMID: 33893163.



                                                                                     App000290
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 293 of 633 PageID 1019




M654) Chertow GM, Pergola PE, Farag YMK, Agarwal R, Arnold S, Bako G, Block GA, Burke S, Castillo
  FP, Jardine AG, Khawaja Z, Koury MJ, Lewis EF, Lin T, Luo W, Maroni BJ, Matsushita K,
  McCullough PA, Parfrey PS, Roy-Chaudhury P, Sarnak MJ, Sharma A, Spinowitz B, Tseng C,
  Tumlin J, Vargo DL, Walters KA, Winkelmayer WC, Wittes J, Eckardt KU; PRO2TECT Study Group.
  Vadadustat in Patients with Anemia and Non-Dialysis-Dependent CKD. N Engl J Med. 2021 Apr
  29;384(17):1589-1600. doi: 10.1056/NEJMoa2035938. PMID: 33913637.

M655) Eckardt KU, Agarwal R, Aswad A, Awad A, Block GA, Bacci MR, Farag YMK, Fishbane S, Hubert
  H, Jardine A, Khawaja Z, Koury MJ, Maroni BJ, Matsushita K, McCullough PA, Lewis EF, Luo W,
  Parfrey PS, Pergola P, Sarnak MJ, Spinowitz B, Tumlin J, Vargo DL, Walters KA, Winkelmayer WC,
  Wittes J, Zwiech R, Chertow GM. Safety and Efficacy of Vadadustat for Anemia in Patients
  Undergoing Dialysis. N Engl J Med. 2021 Apr 29;384(17):1601-1612. doi:
  10.1056/NEJMoa2025956. PMID: 33913638.

M656) Short SAP, Gupta S, Brenner SK, Hayek SS, Srivastava A, Shaefi S, Singh H, Wu B, Bagchi A, Al-
  Samkari H, Dy R, Wilkinson K, Zakai NA, Leaf DE; STOP-COVID Investigators (McCullough PA Site
  Investigator). d-dimer and Death in Critically Ill Patients With Coronavirus Disease 2019. Crit
  Care Med. 2021 May 1;49(5):e500-e511. doi: 10.1097/CCM.0000000000004917. PMID:
  33591017.

M657) Swolinsky JS, Nerger NP, Leistner DM, Edelmann F, Knebel F, Tuvshinbat E, Lemke C, Roehle
  R, Haase M, Costanzo MR, Rauch G, Mitrovic V, Gasanin E, Meier D, McCullough PA, Eckardt KU,
  Molitoris BA, Schmidt-Ott KM. Serum creatinine and cystatin C-based estimates of glomerular
  filtration rate are misleading in acute heart failure. ESC Heart Fail. 2021 May 6. doi:
  10.1002/ehf2.13404. Epub ahead of print. PMID: 33955699.

M658) Palazzuoli A, Tecson KM, Ronco C, McCullough PA. Nomenclature for Kidney Function from
  KDIGO: Shortcomings of Terminology Oversimplification. Cardiorenal Med. 2021 Jun 4:1-4. doi:
  10.1159/000516615. Epub ahead of print. PMID: 34091445.

M659) Vasquez CR, Gupta S, Miano TA, Roche M, Hsu J, Yang W, Holena DN, Reilly JP, Schrauben SJ,
  Leaf DE, Shashaty MGS; STOP-COVID Investigators (McCullough PA Site Investigator).
  Identification of Distinct Clinical Subphenotypes in Critically Ill Patients With COVID-19. Chest.
  2021 May 6:S0012-3692(21)00874-6. doi: 10.1016/j.chest.2021.04.062. Epub ahead of print.
  PMID: 33964301; PMCID: PMC8099539.

M660) Alexander PE, Armstrong R, Fareed G, Lotus J, Oskoui R, Prodromos C, Risch HA, Tenenbaum
  HC, Wax CM, Dara P, McCullough PA, Gill KK. Early multidrug treatment of SARS-CoV-2 infection
  (COVID-19) and reduced mortality among nursing home (or outpatient/ambulatory) residents.
  Med Hypotheses. 2021 Jun 5;153:110622. doi: 10.1016/j.mehy.2021.110622. Epub ahead of
  print. PMID: 34130113; PMCID: PMC8178530.




                                                                                       App000291
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 294 of 633 PageID 1020



M661) Mathews KS, Soh H, Shaefi S, Wang W, Bose S, Coca S, Gupta S, Hayek SS, Srivastava A,
  Brenner SK, Radbel J, Green A, Sutherland A, Leonberg-Yoo A, Shehata A, Schenck EJ, Short SAP,
  Hernán MA, Chan L, Leaf DE; STOP-COVID Investigators (McCullough PA Site Investigator) .
  Prone Positioning and Survival in Mechanically Ventilated Patients With Coronavirus Disease
  2019-Related Respiratory Failure. Crit Care Med. 2021 Jul 1;49(7):1026-1037. doi:
  10.1097/CCM.0000000000004938. PMID: 33595960; PMCID: PMC8277560.

M662) McCullough PA, Mehta HS, Barker CM, Houten JV, Mollenkopf S, Gunnarsson C, Ryan M,
  Cork DP. Healthcare utilization and guideline-directed medical therapy in heart failure patients
  with reduced ejection fraction. J Comp Eff Res. 2021 Jul 6. doi: 10.2217/cer-2021-0118. Epub
  ahead of print. PMID: 34225473.

M663) Palazzuoli A, Tecson KM, McCullough PA. Impact of renin-angiotensin-aldosterone system
  inhibitor continuation on outcomes for patients with severe coronavirus disease 2019
  manifestations. J Hypertens. 2021 Aug 1;39(8):1725-1726. doi:
  10.1097/HJH.0000000000002876. PMID: 34188007.

M664) McCullough PA, Mehta HS, Barker CM, Van Houten J, Mollenkopf S, Gunnarsson C, Ryan M,
  Cork DP. Mortality and guideline-directed medical therapy in real-world heart failure patients
  with reduced ejection fraction. Clin Cardiol. 2021 Aug 3. doi: 10.1002/clc.23664. Epub ahead of
  print. PMID: 34342033.


Published Letters

ltr1) McCullough PA, O'Neill WW. Letter to the Editor: Regional Variation Across the United
    States in the Management of Acute Myocardial Infarction. New Engl J Med 1996;334:194;
    discussion 194-5. PMID: 96127997

ltr2) McCullough PA, O’Neill WW. Letter to the Editor: Patient care after percutaneous coronary
    artery interventions. Ann Intern Med 1998 Apr 1;128:598; discussion 599-600. PMID: 98175287

ltr3) McCullough PA, Redle JD. Letter to the Editor: Amiodarone Prophylaxis for Atrial Fibrillation
    after Bypass Surgery. New Engl J Med 1998;338:1383; discussion 1384. PMID: 98223116

ltr4) Sharma ND, McCullough PA. Letter to the Editor: Predictability of left ventricular thrombus
    by mitral regurgitation. Am Heart J 1999 Feb;137(2):373-5. PMID: 99156058

ltr5) McCullough PA, Marks KR. Letter to the Editor: Ticlopidine and TTP after Coronary Stenting.
    JAMA 1999;282(18):1717-1718;discussion 1718-9. PMID: 10568636

ltr6) McCullough PA, Sandberg KR, Thompson RJ. Letter to the Editor: Predicting Outcomes after
    Cardiopulmonary Resuscitation. Arch Intern Med 2001;161(4):615-616. PMID: 11252131




                                                                                       App000292
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 295 of 633 PageID 1021



ltr7) McCullough PA. Letter to the Editor: The Anti-inflammatory Effect of Statins. N Engl J Med.
    2001 Oct 18;345(16):1209; discussion 1210-1. PMID: 11642241

ltr8) McCullough PA, Sandberg KR, Borzak S. Letter to the Editor: Cardiovascular outcomes and
    renal disease. Ann Intern Med. 2002 Apr 16;136(8):633-4; discussion 633-4. PMID: 11955038

ltr9) McCullough PA. Reply to Manhapra A, Why is chronic kidney disease the "spoiler" for
    cardiovascular outcomes: an alternate take from a generalist. J Am Coll Cardiol. 2004 Mar
    3;43(5):924; author reply 924-5. PMID: 15006584

ltr10) Omland T, Knudsen CW, McCullough PA, Maisel AS. Response to LTE. #2005-624 - Schwam.
    Ann Emerg Med. 2006 Feb;47(2):214. PMID: 16431243

ltr11) Barker D, Artis N, Tan LB, DeJong A, Franklin BA, McCullough PA. Correcting data for body
    size may confound results. Chest. 2006 Feb;129(2):493-4. PMID: 16478872

ltr12) McCullough PA. Failure of beta-blockers in the reduction of perioperative events: Where did
    we go wrong? Response to the letter to the Editor by Souza et al. Am Heart J. 2007
    Jun;153(6):e39. PMID: 17540183

ltr13) McCullough PA. Multimodality prevention of contrast-induced acute kidney injury, In Reply.
    Am J Kidney Dis. 2008 Jun;51(6):1068-1069. PMID: 18501789

ltr14) McCullough PA, Collins AJ, Vassalotti JA. Rapid Response: Optimal Definition of Chronic
    Kidney Disease as a Cardiovascular Risk State. Southern Medical Journal, Volume 101, 977
    Number 10, October 2008

ltr15) Neyou A, McCullough PA. Response to letter to the editor. Am J Emerg Med. 2010 Dec 1.
    [Epub ahead of print] No abstract available. PMID: 21129890

ltr16) Palazzuoli A, Ronco C, McCullough PA. Letter by Palazzuoli et al regarding article, "is
    worsening renal function an ominous prognostic sign in patients with acute heart failure? The
    role of congestion and its interaction with renal function". Circ Heart Fail. 2012 Jul 1;5(4):e79.
    PubMed PMID: 22811554

ltr17) O'Keefe JH, Patil HR, Magalski A, Lavie CJ, Vogel RA, McCullough PA. In reply. Mayo Clin
    Proc. 2012 Nov;87(11):1133-4. doi: 10.1016/j.mayocp.2012.08.010. PubMed PMID: 23127740

ltr18) McCullough PA. Reply: Vitamin E May Protect Against Contrast-Induced Acute Kidney Injury.
    J Am Coll Cardiol. 2017 Apr 11;69(14):1878-1879. doi: 10.1016/j.jacc.2017.01.053. PubMed
    PMID: 28385321




                                                                                           App000293
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 296 of 633 PageID 1022



ltr19) Rangaswami J, McCullough PA. Efficacy of Subcutaneous Versus Intravenous Administration
    of Furosemide in Patients With Worsening Heart Failure: The Devil Is in the Details. JACC Heart
    Fail. 2018 Mar;6(3):266-267. doi: 10.1016/j.jchf.2018.01.010. PubMed PMID: 29496028

ltr20) Rangaswami J, McCullough PA. Clinical Context of Dyskalemias Across the Heart Failure
    Spectrum and Their Associated Adverse Outcomes. JACC Heart Fail. 2019 Jun;7(6):533. doi:
    10.1016/j.jchf.2019.01.005. PubMed PMID: 31146878.

ltr21) McCullough PA. The Reply. Am J Med. 2021 Mar;134(3):e222-e223. doi:
    10.1016/j.amjmed.2020.10.036. PMID: 33637181; PMCID: PMC7901366.

ltr22) McCullough PA. The Reply. Am J Med. 2021 Apr;134(4):e298. doi:
    10.1016/j.amjmed.2020.11.028. PMID: 33888224; PMCID: PMC8054639.

ltr23) McCullough PA. Regarding: "Hydroxychloroquine: a comprehensive review and its
    controversial role in coronavirus disease 2019". Ann Med. 2021 Dec;53(1):286. doi:
    10.1080/07853890.2021.1872094. PMID: 33439042; PMCID: PMC7877973.

ltr24) McCullough PA. The Reply. Am J Med. 2021 May;134(5):e343-e344. doi:
    10.1016/j.amjmed.2021.01.011. PMID: 33962708; PMCID: PMC8095713.

ltr25) McCullough PA. The Reply. Am J Med. 2021 May;134(5):e346-e347. doi:
    10.1016/j.amjmed.2021.01.013. PMID: 33962710; PMCID: PMC8095728.

ltr26) McCullough PA. The Reply. Am J Med. 2021 Jul;134(7):e440-e441. doi:
    10.1016/j.amjmed.2021.02.024. PMID: 34183150; PMCID: PMC8229557.


 Textbook Chapters

    T1) McCullough PA, Goldstein JG. Chapter 5: Heart Pressures and Catheterization. Cardiac
        Catheterization: Concepts, Techniques, and Applications. Uretsky BF, Editor, Blackwell
        Science, Inc., Boston, 1997. ISBN 9780865424067

    T2) McCullough PA. Section III, Chapter 7: Epidemiology of Coronary Heart Disease.
        Interventional Cardiovascular Medicine: Principles and Practice, Second Edition. Roubin GS,
        O’Neill WW, Stack RS, Editors, Churchill Livingstone Inc., Philadelphia and New York, 2002,
        III, 7, 138-159. ISBN 9780443079795

    T3) Franklin BA, McCullough PA, Timmis GC. Chapter: Exercise. Randomized Trials in
        Cardiovascular Disease: a Companion Volume to Eugene Braunwald’s “Heart Disease.”
        Hennekins CH, Buring JE, Ridker PM, Manson JE, Editors, W. B. Saunders Inc., New York,
        1998.




                                                                                       App000294
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 297 of 633 PageID 1023



   T4) McCullough PA. Chapter 4. General Examination and Examination Skills, p 41-57 Clinical
       Exercise Physiology. Ehrman JK, Gordon PM, Visich PS, Keteyian SJ, Editors, Human Kinetics
       Publishers, Inc., 2003. ISBN 9780736002523

   T5) Malineni K, McCullough PA. Chapter: Sudden Cardiac Death, eMedicine.com, Textbook of
       Medicine, Obstetrics and Gynecology, Psychiatry, and Surgery, 2001.

   T6) McCullough PA. Chapter 21: Outcome of Myocardial Infarction in Patients with Renal
       Failure, Harrison’s Advances in Cardiology, Eugene Braunwald, M.D., Editor, 2003. pp 123-
       128. McGraw-Hill, New York, NY. ISBN 9780071370882

   T7) McCullough PA. Chapter 26. Renal Injury Following Contrast Agents, Peripheral Vascular
       Disease: Basic Diagnosis and Therapeutic Approaches, Editor: George S. Abela, MD, 2003, pp
       000-000. Lippincott Williams & Wilkins, Philadelphia, PA. ISBN 9780781743839

   T8) McCullough PA. The effect of renal disease on outcomes of vascular surgery. Fast Facts in
       Vascular Surgery, Health Press, Alun H. Davies, MA, DM, FRCS, Editor, 2003-2004;74-86.
       ISBN 9781903734513

   T9) McCullough PA. Interface between renal disease and cardiovascular illness. Braunwald’s
       Heart Disease, 7th Edition, 2004, Zipes DP, Libby P, Bonow RO, Braunwald E, Editors, WB
       Saunders, Inc. ISBN 9780721604794

   T10)      McCullough PA. Interface between renal disease and cardiovascular illness.
      Braunwald’s Heart Disease, 8th Edition, 2006, Zipes DP, Libby P, Bonow RO, Braunwald E,
      Editors, WB Saunders, Inc. ISBN 9781416041030

   T11)     McCullough PA. Chapter 23. Renal Complications of Contrast Media: Contrast-
      Induced Nephropathy, p 239-249. Interventional Cardiology, 1st Edition, 2007. King S,
      Yeung A, Editors. The McGraw-Hill Medical, New York. ISBN 9780071415279

   T12)     McCullough PA. Chapter 14. Natriuretic peptides in patients with renal failure, p
      170-180. Markers in Cardiology: A Case Oriented Approach, 2007. Adams JE, Jaffe AS,
      Apple F, Editors. Blackwell Futura, 2007. ISBN 9781405134187

   T13)     Miller WM, McCullough PA. Chapter 21. Obesity, p209-218. Pollock’s Textbook of
      Cardiovascular Disease and Rehabilitation. Durstine JL, Moore GE, LaMonte MJ, Franklin
      BA, Editors. Human Kinetics, 2008. ISBN 0000736059679

   T14)     Franklin BA, Miller WM, McCullough PA. Chapter 11: The Metabolic Syndrome.
      American Council on Exercise Advanced Health and Fitness Specialist Manual. Edited by
      Bryant CX, Green DJ. San Diego, CA. American Council on Exercise; 2008:239-254. ISBN
      9781890720278




                                                                                     App000295
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 298 of 633 PageID 1024



   T15)      Marso SP, McCullough PA. Chapter 8: Patient-Specific Approaches and
      Considerations: Unique Subgroups—Diabetes, Renal Failure, Advanced Age. American
      College of Cardiology Cardiac Catheterization and Interventional Self-Assessment Program 3
      (CathSAP-3), David J. Moliterno, Editor. ACC, 2008.
      http://www.cardiosource.com/GenSAPX/

   T16)      Franklin BA, Miller WM, Nori K, McCullough PA. Chapter 12: Guidelines for Exercise
      Testing in Diabetics Starting an Exercise Program. Contemporary Diabetes: Diabetes and
      Exercise. Edited by Regensteiner JC, Reusch JEB, Stewart K, Veves A. Totowa, NJ: Humana
      Press; 2009:263-277. ISBN 9781588299260

   T17)     Nguyen, T, Yee T, Mai T, Phan T, McCullough PA. Chapter 6: Diet. Evidence Based
      Cardiology Practice: A 21st Century Approach. Edited by Hu D, Nguyen T, Kim MH, Kwan T,
      Grines CL, Saito S. Peoples Medical Publishing House—USA, Shelton, CT; 2010; 145-161.
      ISBN 9781607950950

   T18)     Kodenchery M, Bhat S, El-Ghoroury M, Yamasaki H, McCullough PA. "Coronary
      Angiography Before and After Renal Transplantation" Coronary Angiography - The Need for
      Improvement in Medical and Interventional Therapy, edited by Branislav Baškot. InTech -
      Open Access Publisher, Rijeka, Croatia, Website: http://www.intechweb.org/, permanent
      web address: http://www.intechopen.com/articles/show/title/coronary-angiography-
      before-and-after-renal-transplantation. ISBN 9789533076416

   T19)     Marinescu V, McCullough PA. Chapter 5d. Managing Comorbidities. Chronic Kidney
      Disease. Hypertension. Bakris G and Baliga RR Editors, Oxford American Cardiology Library,
      Oxford University Press, New York, NY 2012; 71-81. ISBN 9780199754908

   T20)     McCullough PA. Chapter 43. Contrast-Induced Acute Kidney Injury. Specialty Board
      Review: Cardiology. Baliga RR Editor. The McGraw-Hill Companies, Inc., China, 2012; 467-
      473. ISBN 9780071614085

   T21)     Zalesin KC, Franklin BA, Miller WM, Peterson ED, McCullough PA. Impact of obesity
      on cardiovascular disease. Medical Clinics of North America: Obesity. LeRoith D and
      Karnieli E, Editors. WB Saunders Company, New York, NY, 2011 95(5):919-937. ISBN
      9781455723690

   T22)       McCullough PA. Chapter: Interface between renal disease and cardiovascular
      illness. Braunwald’s Heart Disease, 9th Edition, 2011. Zipes DP, Libby P, Bonow RO,
      Braunwald E, Editors, WB Saunders, Inc. ISBN 9781437727081

   T23)      Hanson ID, McCullough PA. B-type natriuretic peptide: beyond diagnostic
      applications. The Kidney in Heart Failure. Bakris GL Editor. Springer, New York, NY,
      2012;67-77. ISBN 9781461436935




                                                                                     App000296
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 299 of 633 PageID 1025



   T24)     Brown JE, McCullough PA. Chapter 5: Contrast Nephropathy and Kidney Injury.
      Textbook of Cardiovascular Intervention, Thompson, CA (Editor), Springer, 2014 (5) 53-63.
      ISBN 9781447145288

   T25)      Franklin BA, Miller WM, McCullough PA. Chapter 12, The Metabolic Syndrome,
      American Medical Council, Medical Exercise Specialist Manual, Skinner JS, Bryant CX, Merrill
      S, Green DJ. American Council on Exercise 2015, San Diego CA. ISBN 9781890720520

   T26)     Stewart D, Shah G, Brown JR, McCullough, PA. Chapter 240 Contrast-induced acute
      kidney injury, Oxford Textbook of Clinical Nephrology, 4th Edition, Managing Editors Turner
      Goldsmith DJ, Winearls C, Lamierre N, Himmelfarb J, Remuzzi G, Editors, 2015, Oxford
      University Press, United Kingdom. ISBN 9780199592548

   T27)      Goldsmith DJ, Kumar N, Henderson H, Cameron BD, McCullough PA. Chapter 106
      Malnutrition, obesity, and undernutrition in chronic kidney disease, Oxford Textbook of
      Clinical Nephrology, 4th Edition, Managing Editors Turner Goldsmith DJ, Winearls C,
      Lamierre N, Himmelfarb J, Remuzzi G, Editors, 2015, Oxford University Press, United
      Kingdom. ISBN 9780199592548

   T28)       McCullough PA. Chapter 18 Future Therapeutic Prospects for Treatment of
      Cardiorenal Syndromes, p 189-195, Cardiorenal Challenges. Goldsmith DA, Covic A, Spaak
      J. Editors, Springer International Publishing AG, Cham, 2015, Zug, Switzerland. ISBN
      9783319091624

   T29)       McCullough PA. Chapter 88: Interface between renal disease and cardiovascular
      illness. Braunwald’s Heart Disease, 10th Edition, 2015, pp 1909-1930. Zipes DP, Libby P,
      Bonow RO, Braunwald E, Editors, WB Saunders, Inc. ISBN 9781455751334

   T30)     McCullough PA. Chapter 24: Cardiovascular Disease in Chronic Kidney Disease.
      Essentials of Chronic Kidney Disease, 2015, pp 239-245. Fadem SZ, Editor, Nova Publishers,
      ISBN-13: 978-1634825429

   T31)      Prasad A, McCullough PA. Chapter 19: Renal Complications of Contrast Media.
      Interventional Cardiology, 2nd Edition, 2018, pp 293-306. Samady H, Fearon WF, Yeung AC,
      King SB, Editors, McGraw-Hill, ISBN-13: 978-0071820363

   T32)     Rangaswami J, Lerma EV, McCullough PA, Editors. Kidney Disease in the Cardiac
      Catheterization Laboratory, 1st Edition 2020, ISBN-13: 978-3030454135 ISBN-10:
      3030454134, Springer Nature Switzerland AG. Chapter 27 Ronco C, Ronco F, McCullough
      PA. A Call to Action to Develop Integrated Curricula in Cardiorenal Medicine, pp 449-463.

   T33)     McCullough PA, Ronco C. Textbook of Cardiorenal Medicine, 1st Edition 2021, ISBN-
      13: 978-3030574598 ISBN-10: 3030574598, Springer Nature Switzerland AG. Chapter 1
      McCullough PA, Kluger AY. Implications of Chronic Kidney Disease on the Epidemiology of



                                                                                     App000297
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 300 of 633 PageID 1026



       Cardiovascular Disease, pp 1-6. Chapter 8 Rocha N, McCullough PA. Type 2 Cardiorenal
       Syndrome, pp 75-94. Chapter 17 McCullough PA Novel Biomarkers of Chronic Cardiorenal
       Disease, pp 227-234.
.

Invited Non-Peer Reviewed Works

    1) McCullough PA. Acute Renal Failure after Coronary Intervention. American College of
       Cardiology Educational Highlights, Fall 1997 Issue, C.R. Conti, Editor

    2) McCullough PA, Thompson RJ, Tobin KJ, Kahn JK, Schwender F, O’Neill WW. Outcome of
       Out-of-Hospital Cardiac Arrest Survivors. Cardiology Review, 2000;17:15-19

    3) Thompson RJ, McCullough PA, Kahn JK, O’Neill WW. A Simple Scoring System to Predict
       Clinical Outcome after Resuscitation from Cardiac Arrest. The Journal of Critical Illness,
       1998;13:298-300

    4) McCullough PA. Clinical Evaluation. Part I. The Cardiopulmonary System. Clinical Exercise
       Physiology, 1999;1:33-41

    5) McCullough PA. Clinical Evaluation. Part II. The Musculoskeletal and other Body Systems.
       Clinical Exercise Physiology, 1999:1:92-99

    6) McCullough PA. Ridogrel: Literature Evaluation. IDdb Reports, Current Drugs Ltd,
       February, 1999

    7) McCullough PA. Debate Commentary: Complete Assessment of the Lipid Profile is Advised.
       Medical Crossfire, 1999:5;52

    8) McCullough PA. Narrative Fields in Hospital Records. Invited comment on Loss of Narrative
       Data in New Zealand Health Statistics Public Hospital Injury Files, John Langley (Australasian
       Epidemiologist 1998:5.4). The Australasian Epidemiologist, 1999;6.1:17-18

    9) McCullough PA. Previews in Cardiovascular Medicine: Prediction and Prevention of
       Contrast Nephropathy. Rev Cardiovasc Med. 2001;2(Suppl 1):S1-S3

    10) Creager MA, Faxon DP, Fonarow GC, Gross SB, Hachamovitch R, Jacobs AK, Lepor NE,
        McCullough PA, Naqvi T, Nesto RW, Prystowsky EN, Shah PK, Vogel RA, Yeung AC. Meeting
        Reviews: Best of the AHA Scientific Sessions, 2001. Rev Cardiovasc Med. 2002;3(1):22-48

    11) McCullough PA. Update from the International Society on Hypertension in Blacks.
        Rev Cardiovasc Med. 2002 Fall;3(4):192-95. PMID: 12650156




                                                                                        App000298
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 301 of 633 PageID 1027



   12) Nguyen PN, Spertus JA, McCullough PA. Is there a Heart Failure Epidemic? Cardiology
       Review 2002;19(9):32-36

   13) Lepor NE, Yeung AC, McCullough PA, Creager MA, Weber MA, Jacobs AK, Faxon DP, Vogel
       RA, Gersh BJ. Meeting Review: Best of the ACC Scientific Session 2002. Rev Cardiovasc
       Med 2002;3(2):85-104

   14) Franklin BA, deJong A, McCullough PA. Interpreting Exercise Test-Fitness Data for Your
       Patients. Am J Sports 2003;5:12-17

   15) McCullough PA. The interface between heart disease and renal dysfunction: from
       association to action. ACC Current Journal Review 2003;12(2):20-24

   16) Fonarow GC, Prystowsky EN, McCullough PA, Lepor NE, Watson KE, Gersh BJ, Young JJ,
       Kereiakes D, Faxon DP, Weyman A, Jacobs AK, Yeung A, Holmes D, Berger P, Weber MA.
       Meeting Review: Best of the ACC Scientific Sessions 2003. Rev Cardiovasc Med.
       2003;4(3):150-179

   17) McCullough PA. Debate Commentary: Atrial Fibrillation: Preventing Thromboembolism
       and Ischemic Stroke. Medical Crossfire 2003, 4(10), 3-17

   18) Creager M, Faxon DP, Gersh BJ, Jacobs AK, Lepor NE, McCullough PA, Naqvi T, Prystowsky
       EN, Shah PK, Watson KE, Weber MA, Wyman A. Meeting Review: Best of the AHA Scientific
       Sessions 2003. Rev Cardiovasc Med 2004;5(1)26-52

   19) McCullough PA. The use of contrast media in peripheral, combined, and sequential
       procedures. Applications in Imaging: Cardiac Interventions: Contrast Use in Renally
       Compromised Patients 2003;Sept:47-51

   20) McCullough PA. Chapter Four: Major Risk Factors for Chronic Kidney Disease. Kidney Early
       Evaluation Program Annual Data Report. Am J Kid Dis 2003;42(5):S34-S41

   21) Fonarow GC, Prystowsky EN, Lepor NE, Weyman AE, Weber MA, Watson KE, Young JJ,
       Kereiakes DJ, McCullough PA, Gersh BJ. Best of the ACC Scientific Session 2004. Rev
       Cardiovasc Med. 2004;5(2)104-129

   22) Franklin BA, de Jong A, Kahn JK, McCullough PA. Fitness and mortality in the primary and
       secondary prevention of coronary artery disease: Does the effort justify the outcome? Am J
       Med Sports 2004;6:23-27

   23) McCullough PA, Franklin BA. Atherosclerosis: Conventional risk factors and cardiac
       events—debunking an old myth about prevalence. Rev Cardiovasc Med. 2004;5(3):185-186




                                                                                     App000299
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 302 of 633 PageID 1028



   24) Dutcher JR, McCullough PA. Commentary: Glycoprotein IIb/IIIa Inhibitors in Acute
       Coronary Syndromes. Evidenced Based Cardiovascular Medicine 2004;8:362-363

   25) McCullough PA, Faxon DP, Fonarow GC, Jacobs AK, Watson KE, Weyman AC. Meeting
       Review: Best of the AHA 2004. Rev Cardiovasc Med. 2005;6(1):33-46

   26) Bashore TM, Faxon DP, Fonarow GC, Jacobs AK, Lepor NE, McCullough PA, Shah PK, Weber
       MA, Yeung AC. Best of the ACC Scientific Session 2005. Rev Cardiovasc Med. 2005
       Spring;6(2):98-117

   27) Fonarow GC, Lepor NE, McCullough PA, Jacobs AK, Bashore, TM, Faxon DP. Best of the AHA
       Scientific Session 2005. Rev Cardiovasc Med. 2006 Winter;7(1):23-36

   28) McCullough PA. Clinical utility of blood natriuretic peptide levels. Business Briefing: US
       Cardiology 2006. Touch Briefings, Touch Cardiology. www.touchcardiology.com

   29) McCullough PA, Wase A. Do implantable cardioverter-defibrillators improve survival in
       dialysis patients after cardiac arrest? Nature Clinical Practice Nephrology 2006; 2(2): 70-71

   30) McCullough PA. Ranolazine: focusing on angina pectoris. Drugs of Today 2006, 42 (3):177-
       183

   31) Singh PP, Nesto RW, Faxon DP, Lepor NE, Watson KE, Jacobs AK, McCullough PA. Best of
       the AHA Scientific Sessions 2006. Rev Cardiovasc Med. 2007 Winter;8(1):25-35. PMID:
       17401300

   32) McCullough PA. Safety Concerns Trump Public Health Benefit in the Eyes of the FDA
       Cardiorenal Panel. FDA Advisory Committee Did Not Recommend Approval Of Rimonabant
       (ZIMULTI(R)) For Use In Obese And Overweight Patients With Associated Risks Factors.
       www.medicalnewstoday.com GLG NewsWatch for 6/14/2007

   33) Friedewald VE, Goldfarb S, Laskey WK, McCullough PA, Roberts WC. The Editor's
       Roundtable: Contrast-Induced Nephropathy. Am J Cardiol. 2007 Aug 1;100(3):544-51. Epub
       2007 Jun 4. PMID: 17659944

   34) McCullough PA, Lepor NE. Erratum - the rosiglitazone meta-analysis. Rev Cardiovasc Med.
       2007 Summer;8(3):174. PMID: 17938618

   35) McCullough PA, Chronic Kidney Disease as a Cardiovascular Risk State and Considerations
       for the Use of Statins. The Fats of Life, Lipoproteins and Vascular Disease Division, American
       Association of Clinical Chemistry, Volume XXII, No 1, 9-16 Winter 2008

   36) Lepor NE, McCullough PA, Jacobs AK. Best of the AHA Scientific Sessions 2007. Rev
       Cardiovasc Med. 2008 Winter;9(1):62-9. PMID: 18418310



                                                                                        App000300
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 303 of 633 PageID 1029




   37) Lepor NE, McCullough PA. Best of the ACC 2010 Scientific Session. Rev Cardiovasc Med.
       2010 Summer;11(3):e153-63

   38) Narala KR, LaLonde TA, Hassan S, McCullough PA. Management of Chronic Coronary
       Disease and Acute Coronary Syndromes in Patients with Chronic Kidney Disease. US
       Cardiology, 2011;8(2):123-31

   39) Larsen T, Narala KR, McCullough PA. Type 4 Cardiorenal Syndrome: Myocardial
       Dysfunction, Fibrosis, and Heart Failure in Patients with Chronic Kidney Disease. J Clinic
       Experiment Cardiol 2012, 3:4. http://dx.doi.org/10.4172/2155-9880.1000186

INVITED LECTURES: NATIONAL AND INTERNATIONAL FORUMS

   L1) “The Role of Triage Angiography in Acute Coronary Syndromes.” Advances in Interventional
       Cardiology. WBH and the University of Maryland, Aruba, April, 1997.

   L2) “New Understandings of Anticoagulation During Unstable Angina.” Co-Chair, American
       College of Cardiology 47th Annual Scientific Session, Atlanta, Georgia, March 30, 1998.

   L3) National Library of Medicine: The Emerging Health Information Infrastructure '99.
       "Electronic Outcomes", Washington, D.C., April 28, 1999.

   L4) Kansas City Southwest Clinical Society, 77th Annual Clinical Conference, Overland Park,
       Kansas: “Cardiac-Renal Risk: Incorporating Scientific Evidence into Your Practice,” October
       29, 1999.

   L5) The Health Forum, Best Practices, Chicago, Illinois. “Overview of Cardiovascular Health
       Fellowship,” December 9, 1999.

   L6) AHA Scientific Conference on Existing Databases: Do They Hold Answers to Clinical
       Questions in Geriatric Cardiovascular Disease and Stroke? “Resource Utilization Among
       Congestive Heart Failure (R.E.A.C.H.) Database Overview,” Washington, DC, January 27,
       2000.

   L7) Health Forum Cardiovascular Health Fellowship Retreat: “Cardiovascular Risk and Health,”
       Colorado Springs, CO, July 20, 2000.

   L8) Third Annual Center for Health Futures Advisory Board Meeting:             “Congestive Heart
       Failure,” La Jolla, CA, August 24, 2000.

   L9) Health Forum ACT Learning Collaborative Meeting: “Bridging Clinical, Community, and
       Population Health Strategies,” St. Joseph, MO, September 20, 2000.




                                                                                        App000301
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 304 of 633 PageID 1030



   L10)     “Renal Disease as an Independent Risk Factor for Cardiovascular Disease in
      Diabetes,” The Nexus of Cardiovascular and Renal Disease, Duke Clinical Research Institute,
      Tyson’s Corner, VA, November 4, 2000.

   L11)     “Atherosclerosis and Heart Disease,” Winter Scientific Seminar, Missouri Society of
      the American College of Osteopathic Physicians, Kansas City, MO, January 27, 2001.

   L12)     “Routine vs Selective Intervention in Acute Coronary Syndromes,” Tenth Annual
      Cardiovascular Conference at Beaver Creek, Colorado, WBH and Duke University, February
      14, 2001.

   L13)     “Intervention in the Patient with Renal Insufficiency,” Tenth Annual Cardiovascular
      Conference at Beaver Creek, Colorado, WBH and Duke University, February 16, 2001.

   L14)     “The Epidemic of Cardiovascular Disease and Cardiorenal Risk,” The Nexus of
      Cardiovascular and Renal Disease, Duke Clinical Research Institute, Tyson’s Corner, VA,
      February 24, 2001.

   L15)     “Cardiovascular Risk in Chronic Kidney Disease: Cardiorenal Risk,” Symposium on
      Cardio-renal Consequences of Angiotensin II, Insights from AII Blockade, NKF Spring Clinical
      Meeting, Orlando, FL, April 18, 2001.

   L16)     Plenary Session: “Cardiac Emergencies and Cardiac Critical Care,” American College
      of Chest Physicians, CHEST 2001, Philadelphia, PA, November 5, 2001.

   L17)    “Cardiorenal Risk,” The 33rd Annual ACC Cardiovascular Conference at Snowmass,
      Snowmass, Colorado, January 18, 2002.

   L18)     “Epidemiology of Diabetes and Its Cardiovascular Risk” Eleventh Annual
      Cardiovascular Conference at Beaver Creek, Colorado, WBH and Duke University, February
      14, 2002.

   L19)     “Late-Breaking Clinical Trials II: A Prospective, Blinded Trial of B-Type Natriuretic
      Peptide as a Diagnostic Test for the Emergency Diagnosis of Heart Failure: The Breathing
      Not Properly (BNP) Multinational Study,” March 19, 2002, 51st Annual Scientific Session of
      the American College of Cardiology, Atlanta, GA.

   L20)     “Scope of Cardiovascular Complications in Patients with Kidney Disease.” Plenary
      Session III: Reversing Cardiovascular Complications in Patients with Kidney Disease.
      International Society on Hypertension in Blacks: 17th International Interdisciplinary
      Conference on Hypertension and Related Risk Factors in Ethnic Populations, Miami, FL, June
      11, 2002.




                                                                                      App000302
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 305 of 633 PageID 1031



   L21)     “Epidemiology: Renal—Chronic Kidney Disease.” Atherosclerotic Vascular Disease
      Conference, AHA, Boston, MA, July 8, 2002.

   L22)      “B-type Natriuretic Peptide Should be a Part of the Diagnostic Evaluation of Heart
      Failure: Implications from the Breathing Not Properly (BNP) Multinational Study”
      International Academy of Cardiology 8th World Congress on Heart Failure—Mechanisms and
      Management, Washington, DC, July 15, 2002.


   L23)    “Epidemiology and Physiology of Radiocontrast Nephropathy and its Impact on
      Outcomes” Prevent the Event Transcatheter Therapeutics 2002 Satellite Symposium,
      Washington, DC, September 26, 2002.

   L24)       “Calcification or ‘Phosphication’—Controversies of Calcium Phosphate Deposition:
      Invited Lecture: Coronary Calcification: A Predictor of Future Events or a Marker of Plaque
      Stability? American Society of Nephrology 2002 Annual Scientific Sessions Satellite
      Symposium, Philadelphia, PA, November 1, 2002.

   L25)     “Renal Insufficiency and Clinical Outcome” Cardiovascular Seminar, AHA Scientific
      Sessions, Chicago, IL, November 18, 2002.

   L26)     “Role of BNP in the Diagnosis of Heart Failure” ACC 34th Annual Cardiovascular
      Conference at Snowmass, CO, January 14, 2003.

   L27)    “Managing the Patient with Combined Heart and Renal Failure—the Importance of
      Anemia” ACC 34th Annual Cardiovascular Conference at Snowmass, CO, January 14, 2003.

   L28)     “The Emerging Healthcare Crisis of Obesity,” Twelfth Annual Cardiovascular
      Conference at Beaver Creek, CO, February 10, 2003.

   L29)     “BNP in the Management of Heart Failure,” Twelfth Annual Cardiovascular
      Conference at Beaver Creek, CO, February 11, 2003.

   L30)     “Contrast Nephropathy: Can it be Eliminated,” Twelfth Annual Cardiovascular
      Conference at Beaver Creek, CO, February 13, 2003.

   L31)     “How Subtle Degrees of Renal Dysfunction Work as a Cardiac Risk Factor” First
      Cardiovascular Prevention Symposium: Updates and New Guidelines. AHA, Puerto Rico
      Chapter, San Juan, PR, March 22, 2003.

   L32)      “What Is the Incremental Diagnostic Value of B-Type Natriuretic Peptide in Heart
      Failure?” Symposium. American College of Cardiology Scientific Sessions, 2003, Chicago, IL,
      April 1, 2003.




                                                                                     App000303
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 306 of 633 PageID 1032



   L33)     “Heart Failure Insights From Ejection Fraction” Session Co-Chair. Oral Contributions.
      American College of Cardiology Scientific Sessions, 2003, Chicago, IL, April 1, 2003.

   L34)      “Chronic Renal Insufficiency as a Vascular Risk Factor” 14th Annual Scientific Sessions
      of the Society for Vascular Biology and Medicine, Chicago, IL, June 7, 2003.

   L35)     “Phosphate Control and Calcification from a Cardiologist’s Perspective” World
      Congress of Nephrology Satellite Symposium, Berlin, Germany, June 12, 2003.

   L36)      “Renal Disease is a Risk Factor for Cardiovascular Disease” ACC 29th Annual Tutorials
      in the Tetons 2003: Update in Cardiovascular Disease, August 25-27. 2003.

   L37)    “Diagnosis of Congestive Heart Failure: Is BNP Needed in Every Case?” ACC 29th
      Annual Tutorials in the Tetons 2003: Update in Cardiovascular Disease, August 25-27. 2003.

   L38)    “How to Treat Combined Heart and Renal Failure with Hypertension” ACC 29th
      Annual Tutorials in the Tetons 2003: Update in Cardiovascular Disease, August 25-27. 2003.

   L39)      “Which Agents Prevent Contrast-Induced Nephropathy?” European Society of
      Cardiology 2003 Symposium: Managing Patients at Risk for Contrast-Induced Nephropathy,
      Vienna, Austria, September 2, 2003.

   L40)     “Epidemiology of Contrast Nephropathy” Symposium Chair for “A Contrast in Risk:
      Radiographic Imaging in the Renally Compromised Patient”, Satellite Symposium at the
      Transcatheter and Therapeutics Scientific Meeting, Washington, DC, September 17, 2003.

   L41)      “Update on Cardiovascular Risk Reduction in Acute Coronary Syndrome Patients”
      14th Annual Great Wall International Congress of Cardiology, Beijing, China, October 10-13,
      2003.

   L42)     “Renal Function and Dysfunction in Coronary Arteriography” 14th Annual Great Wall
      International Congress of Cardiology, Beijing, China, October 10-13, 2003.

   L43)     “Interventional Cardiology 2003: Bench to Bedside and Beyond, Session III: Contrast
      Nephropathy: Separating the Hype from the Data. Antagonist: Contrast Nephropathy Can
      be Prevented.” AHA Scientific Sessions 2003, November 9, 2003, Orlando, FL.

   L44)     ”Reversing Diabetes and Its Consequences: Pipe Dream or Reality?” The 35th Annual
      Cardiovascular Conference at Snowmass, ACC, Snowmass, CO, January 12-16, 2004.

   L45)      “Refining the Use of B-type Natriuretic Peptide as a Diagnostic Test in Clinical
      Practice” The 35th Annual Cardiovascular Conference at Snowmass, ACC, Snowmass, CO,
      January 12-16, 2004.




                                                                                       App000304
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 307 of 633 PageID 1033



   L46)    “Practical Management of Obesity for the Cardiologist: The Future of Dietary
      Management and Bariatric Surgery” The 35th Annual Cardiovascular Conference at
      Snowmass, ACC, Snowmass, CO, January 12-16, 2004.


   L47)      “Update from the Hypertension World: JNC 7—What’s New and How Will it
      Influence Practice?” Thirteenth Annual Cardiovascular Conference at Beaver Creek,
      Colorado, WBH and Duke University, February 9-13, 2003

   L48)     “The Lethal Couplet” Thirteenth Annual Cardiovascular Conference at Beaver Creek,
      Colorado, WBH and Duke University, February 9-13, 2003

   L49)       “BNP to Differentiate Between Cardiac and Extracardiac Sources of Dyspnea” 33rd
      Critical Care Congress, Society of Critical Care Medicine, Orlando, Florida, February 23,
      2004.

   L50)    “BNP Testing: Is It Ready for In-Hospital Monitoring of Therapy?” Point-of-Care
      Symposium, American College of Cardiology Scientific Sessions 2004, New Orleans, LA,
      March 8, 2004.

   L51)    “Role of Brain Natriuretic Peptide Levels in Diagnosis” Natriuretic Peptides
      Symposium, American College of Cardiology Scientific Sessions 2004, New Orleans, LA,
      March 8, 2004.

   L52)     “Renal Insufficiency and the Heart” Symposium Co-Chair, American College of
      Cardiology Scientific Sessions 2004, New Orleans, LA, March 9, 2004.

   L53)    “Renal Insufficiency and Bypass Surgery” Renal Insufficiency and the Heart
      Symposium, American College of Cardiology Scientific Sessions 2004, New Orleans, LA,
      March 9, 2004.

   L54)     “Causes and Consequences of Contrast-Induced Nephropathy and other Major
      Adverse Coronary Events” Contrast-Induced Nephropathy: Addressing the Needs of the
      High Risk Patient. A Satellite Symposium to the American College of Cardiology Scientific
      Sessions 2004, New Orleans, LA, March 9, 2004.

   L55)    “Chronic Kidney Disease as a Cardiovascular Risk Factor” 2nd Annual Scientific
      Symposium, AHA of Puerto Rico, San Juan, PR, March 13, 2004

   L56)    “Modern use of Angiotensin Receptor Blockade in Cardiovascular Disease” 2nd
      Annual Scientific Symposium, AHA of Puerto Rico, San Juan, PR, March 13, 2004




                                                                                     App000305
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 308 of 633 PageID 1034



   L57)      “Chronic Kidney Disease and Cardiovascular Disease” Satellite Symposium: Impact
      of Anemia Correction in Cardiovascular Patients, American Society of Hypertension Annual
      Scientific Session, New York, NY, May 22, 2004.

   L58)      “Contrast-Induced Nephropathy—Clinical Anomaly or Reality” Satellite Symposium:
      Selecting Contrast Media - Implications for Patient outcomes, EuroPCR 2004, Paris, France,
      May 26, 2004.

   L59)     “Contrast Nephropathy” Intervention 2004. American College of Cardiology
      Nationwide Symposium, CNN Center, Atlanta, GA, June 2, 2004.

   L60)     “Technical Issues in Selection of the BNP Assay” Satellite Symposium of the American
      Association of Clinical Chemistry, Los Angeles, CA, July 28, 2004.

   L61)     “B-type Natriuretic Peptide in Clinical Practice” New Development in Cardiac
      Biomarkers for Detection and Management of Cardiovascular Diseases, EBAC Accredited
      Educational Programme, in conjunction with the European Society of Cardiology 2004
      Annual Congress, Munich, Germany, August 30, 2004.

   L62)     “Hot Topics: Renal Disease and Contrast Nephropathy—Implications for the PCI
      Patient” Session Moderator, Transcatheter Cardiovascular Therapeutics 2004, September
      27, 2004.

   L63)     “Definition and Pathophysiology of Contrast Nephropathy”, “Hot Topics: Renal
      Disease and Contrast Nephropathy—Implications for the PCI Patient” Transcatheter
      Cardiovascular Therapeutics 2004, September 27, 2004.

   L64)     “Use of BNP in Clinical Practice” “Hot Topics: Clinical Utility of Biomarkers”
      Transcatheter Cardiovascular Therapeutics 2004, September 28, 2004.

   L65)      “Contrast Media, Renal Insufficiency, and Radiocontrast Nephropathy” Introduction
      to Cardiac Catheterization and Indications for Percutaneous Interventions, 7th Annual
      Interventional Cardiology Self Assessment and Review Course, Transcatheter Cardiovascular
      Therapeutics 2004, September 29, 2004.

   L66)     “Body Weight—Optimal Targets and How Good are We in Getting There” “Drug
      Combinations for Cardiovascular Disease” Duke Clinical Research Institute and U.S. Food
      and Drug Administration Think Tank, Washington, DC, October 8, 2004.

   L67)     “Does Coronary Calcification Imply Plaque Instability?” Managing Cardiovascular and
      Calcium/Phosphorus Complications of CKD. Official Luncheon Symposium, Renal Week
      2004, American Society of Nephrology, St. Louis, MO, October 20, 2004.




                                                                                       App000306
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 309 of 633 PageID 1035



   L68)      “B-type Natriuretic Peptide in the Diagnosis of Acute Heart Failure,” New Advances in
      the Diagnosis and Management of Acute Decompensated Heart Failure, Satellite
      Symposium to the AHA Scientific Sessions 2004, New Orleans, LA, November 8, 2004.

   L69)     “Oportunidades para Aprimoramento no Tratamiento da Insuficiencia Cardiaca,” 3rd
      Congresso Brasileiro de Insuficiencia Cardiaca, II Simposio Luso-Brasileiro de Insufiencia
      Cardiaca, I Encontró Multiporfissional em Insuficiencia Cardiaca, II Simposio
      Latinoamericano de Insuficiencia Cardiaca, (Portugese) Salvador, Bahía, Brasil, November
      25-27, 2004.

   L70)      “Peptideo Natriuretico Intravenoso-Perspectivas para Emprego na IC
      Descompensada,” 3rd Congresso Brasileiro de Insuficiencia Cardiaca, II Simposio Luso-
      Brasileiro de Insufiencia Cardiaca, I Encontro Multiprofissional em Insuficiencia Cardiaca, II
      Simposio Latinoamericano de Insuficiencia Cardiaca, (Portugese) Salvador, Bahia, Brasil,
      November 25-27, 2004.

   L71)      “Nesiritide (Peptideo Natriuretico Intravenoso) uma Nova Arma no Tratamento da IC
      Grave e Decompensada,” 3rd Congresso Brasileiro de Insuficiencia Cardiaca, II Simposio
      Luso-Brasileiro de Insufiencia Cardiaca, I Encontro Multiporfissional em Insuficiencia
      Cardiaca, II Simposio Latinoamericano de Insuficiencia Cardiaca, (Portuguese) Salvador,
      Bahia, Brasil, November 25-27, 2004.

   L72)      “Conferenca Magna (Keynote Address): The Cardiorenal Intersection: Crossroads to
      the Future,” 3rd Congresso Brasileiro de Insuficiencia Cardiaca, II Simposio Luso-Brasileiro
      de Insufiencia Cardiaca, I Encontro Multiporfissional em Insuficiencia Cardiaca, II Simposio
      Latinoamericano de Insuficiencia Cardiaca, (Portuguese) Salvador, Bahia, Brasil, November
      25-27, 2004.

   L73)     “Practical Use of BNP in the Diagnosis and Management of Heart Failure” Medical
      Grand Rounds, Olathe Regional Medical Center, Olathe, KS, December 3, 2004.

   L74)     “Management of Heart and Renal Failure” The 36th Annual Cardiovascular
      Conference at Snowmass, ACC, Snowmass, CO, January 18, 2005.

   L75)    “Contrast-Induced Nephropathy” The 36th Annual Cardiovascular Conference at
      Snowmass, ACC, Snowmass, CO, January 18, 2005.

   L76)     “Combined Heart and Kidney Failure” Cardiovascular Conference at Snowmass,
      Aspen, CO, January 18, 2005.

   L77)    “Practice Strategies and Protocols to Reduce Renal Complications” PCI:
      Understanding and Managing In-Hospital Cardiac and Renal Complications, 3rd European
      Summit, Chantily, France, February 11, 2005.




                                                                                        App000307
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 310 of 633 PageID 1036



   L78)    “HDL Cholesterol: A Powerful New Therapeutic Target” 14th (Conference Chair)
      Annual Cardiovascular Conference at Beaver Creek, Beaver Creek, CO, February 14, 2005.

   L79)     “BNP-ology, is the Enthusiasm Warranted?” (Conference Chair) 14th Annual
      Cardiovascular Conference at Beaver Creek, Beaver Creek, CO, February 15, 2005.

   L80)      “Anticoagulation for Atrial Fibrillation: Can Warfarin be Replaced?” (Conference
      Chair) 14th Annual Cardiovascular Conference at Beaver Creek, Beaver Creek, CO, February
      18, 2005.


   L81)     "New Multimarker Strategies in the Diagnosis of Acute Coronary Syndromes" Satellite
      Symposium to the 54th Annual American College of Cardiology Scientific Sessions 2005,
      Orlando, FL, March 7, 2005.

   L82)     “Effect of Lowering LDL Level on Progression of Vascular Calcification” Reducing the
      Burden of Cardiovascular Calcification in Chronic Kidney Disease, Satellite Symposium to the
      Renal Physicians Association Annual Meeting, Washington, DC, March 20, 2005.

   L83)      "Why Chronic Kidney disease is a CVD risk factor: Practical Implications in the Care of
      Cardiovascular Patients" Cardiology Grand Rounds, Clinical Science Institute, Galway,
      Ireland, UK, May 5, 2005.

   L84)     “Clinical Application of B-type Natriuretic Peptide Levels in the Care of Cardiovascular
      Patients” EuroLab 2005, Glasgow, Scotland, UK, May 9, 2005.

   L85)     “Anemia Is a Cardiovascular Risk Factor in Patients With Diabetic Nephropathy” The
      Kidney is a Key Link between Diabetes and Cardiovascular Disease: Managing Risk; Satellite
      Symposia to the Annual Scientific Sessions of the American Association of Clinical
      Endocrinology, Washington, DC, May 18, 2005.

   L86)     “CIN: Emerging Trends in Identifying and Managing the At-risk Patient”
      Cardiovascular and Interventional Radiology Society of Europe (CIRSE) 2005, Nice, France,
      September 13, 2005.

   L87)     “Recent Advances in Cardiac Markers and their Clinical Role in Cardiovascular
      Disease: Update of the BNP Consensus Panel Statements and Cost Effectiveness of BNP
      Testing” Turning Science into Caring Programme, Abbott European Laboratory Symposium,
      Wiesbaden-Delkenheim, Germany, October 14, 2005.

   L88)    “Epidemiology and Prevention of Contrast Nephropathy” Transcatheter Therapeutics
      Annual Scientific Sessions, Washington, DC, October 19, 2005.




                                                                                       App000308
Case 4:21-cv-01058-P Document 27 Filed 12/07/21           Page 311 of 633 PageID 1037



   L89)     “BNP—What Does it All Mean?” Heart Failure 2005: What to Do for the Failing Left
      Ventricle” AHA Symposium in Conjunction with the 2005 Scientific Sessions, Dallas, TX,
      November 11, 2005.

   L90)     “How to Use Cardiac Biomarkers in Heart Failure” 2005 Annual Scientific Sessions of
      the AHA, Dallas, TX, November 14, 2005, broadcasted nationally as “Best of Sessions 2005
      on Wednesday, November 30 from 1:00-2:30PM EST”

   L91)     “Chronic Kidney Disease as a Cardiovascular Risk State: Practical Management for
      the Cardiologist” St. Vincent’s Hospital, University of British Columbia, Distinguished
      Speakers in Cardiovascular Medicine, 2005-2006, Vancouver, BC, Canada, December, 1,
      2005.

   L92)     “Anemia, Chronic Kidney Disease, and Cardiovascular Disease: Diagnosis, Prognosis,
      and Treatment. Nephrology Grand Rounds, University of British Columbia, St. Vincent’s
      Hospital, Vancouver, BC, Canada, December 2, 2005.

   L93)     “The Deadly Triangle of Anemia, Kidney and Heart Disease: Implications for
      Treatment and Management” 37th Annual Cardiovascular Conference at Snowmass,
      January 20, 2006, Snowmass, CO.

   L94)     “Anemia in Cardiovascular Patients: Diagnosis, Prognosis, and Therapy.” AHA,
      Prevention VIII Conference: Kidney Disease, Hypertension, and Cardiovascular Disease,
      January 27, 2006, Orlando, FL.

   L95)     “Update on Bariatric Surgery” (Conference Chair) 15th Annual Cardiovascular
      Conference at Beaver Creek, Beaver Creek, CO, February 17, 2006.

   L96)     “Multimarker Approach to Chest Pain.” Satellite Symposium to the Annual Scientific
      Sessions of the American College of Cardiology, March 11, 2006, Atlanta, GA.

   L97)    ” Preventing Contrast Nephropathy: What Works?” American College of Cardiology
      Annual Scientific Sessions (ACC.06 and the i2 Summit 2006), March 14, 2006, Atlanta, GA.

   L98)      “Consensus statements on strategies to reduce the risk of CIN.” Satellite Symposium
      Society for Cardiac Angiography and Intervention 29th Annual Scientific Sessions
      (Symposium Chair): Consensus Statements on Contrast-Induced Nephropathy (CIN): Report
      of an International, Multidisciplinary Panel, Chicago, IL, May 11, 2006.

   L99)     “Contrast-induced nephropathy: identifying and managing the patient at risk.” Euro
      PCR 2006 Satellite Symposium: The Underestimated Impact of Contrast Media on Patient
      Outcomes in PCI (Symposium Chair), Paris, France, May 27, 2006.




                                                                                    App000309
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 312 of 633 PageID 1038



   L100)     “Debate: Acute Decompensated Heart Failure--Biomarker will suffice” 17th Annual
      Scientific Sessions of the American Society of Echocardiography, Baltimore, MD, June 6,
      2006.

   L101)    “Heart and Kidney: Clinical Impact of Contrast Media” Update on Cardiovascular
      Disease 2006, Casa Di Cura Montevergine, Napoli Castel Dell’Ovo, Naples, Italy, June 19,
      2006.

   L102)     “Cardiovascular Disease in CKD: Where Does Calcium Fit In?” Satellite Symposia:
      Current Strategies for the Management of Hyperphosphatemia in End-Stage Renal Disease.
      European Renal Association/European Dialysis and Transplantation Association Annual
      Scientific Meeting, Glasgow, Scotland, July 17, 2006.

   L103)     “Applications of BNP in Cardiovascular Disease” Satellite Symposia: New and
      Evolving Markers for Cardiovascular Disease: Myeloperoxidase (MPO) and BNP. American
      Association of Clinical Chemistry Annual Meeting, Chicago, IL, July 26, 2006.

   L104)      “Clinical Applications of B-type Natriuretic Peptide Testing” Clinical Biochemistry
      Satellite Symposium: The Role of Biochemical Markers in Clinical Cardiology, Sponsored by
      the Australasian Association of Clinical Biochemists at the 54th Annual Scientific Meeting of
      the Cardiac Society of Australia and New Zealand, Canberra, Australia, August 4, 2006.

   L105)     “Update on BNP in the Management of Heart Failure” 54th Annual Scientific Meeting
      of the Cardiac Society of Australia and New Zealand, Canberra, Australia, August 6, 2006.

   L106)    “Update on BNP in the Management of Heart Failure” Cardiology Grand Rounds,
      Royal North Shore Hospital, Sydney, Australia, August 7, 2006.

   L107)    “Contrast-Induced Nephropathy: Identifying and Managing the Patient at Risk”
      Advances in Contrast-Enhanced Imaging: Improving Outcomes and Reducing Risks of
      Iodinated Contrast (Chairman), a CME Satellite Symposium at the Transcatheter
      Therapeutics 2006 Conference, Washington, DC, October 24, 2006.

   L108)     “Cardiorenal Syndrome: Etiology, Therapy, and Prognosis” Unresolved Issues in
      Heart Failure, Cardiovascular Seminars, 2006 Annual Scientific Sessions of the AHA, Chicago,
      IL, November 14, 2006

   L109)    “Prevention and Management of CAD in CKD” Coronary Artery Disease in CKD:
      Updating the Pathophysiology and Management. Official Symposium of the American
      Society of Nephrology, Sand Diego, CA, November 16, 2006.

   L110)    “Pharmacologic Prevention of Sudden Death in Dialysis Patients” Sudden Death in
      Hemodialysis Patients: Towards Prevention. American Society of Nephrology Renal Week
      2007, San Diego, CA, November 17, 2006.



                                                                                       App000310
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 313 of 633 PageID 1039




   L111)    “Contrast Nephropathy: Finding Consensus on a Rational Approach” Radiology
      Grand Rounds, Hôpital Notre-Dame, University of Montreal, Canada, November 23, 2006.

   L112)    “Contrast Nephropathy: Finding Consensus on a Rational Approach” Radiology
      Grand Rounds, Hôpital St-Luc, University of Montreal, Canada, November 23, 2006.

   L113)    “Cardiorenal Syndrome and Anemia” 3rd Annual Heart Failure University (HFU)
      Cardiovascular Fellows Program, Los Angeles, CA, December 2, 2006.

   L114)    “Implications of Age-Related Decline in Renal Function” 16th Annual Cardiovascular
      Conference at Beaver Creek, Beaver Creek, CO, February 12, 2007.

   L115)    “Using BNP in Your Practice: Pearls and Pitfalls” 16th Annual Cardiovascular
      Conference at Beaver Creek, Beaver Creek, CO, February 15, 2007.

   L116)    “Consensus Panel Findings on Contrast Nephropathy” 16th Annual Cardiovascular
      Conference at Beaver Creek, Beaver Creek, CO, February 16, 2007.

   L117)    “Measuring BNP in ACS,” American College of Cardiology Scientific Sessions Satellite
      Symposium, “ACS & Biomarkers: From Molecules to Patient Management”, New Orleans,
      LA, March 24, 2007.

   L118)    “Anemia Correction and CVD Trials” “Ask the Experts” clinicaltrialresults.org,
      American College of Cardiology Scientific Sessions, New Orleans, LA, March 26, 2007.

   L119)     “CKD and CVD: Interaction and Risk Factors”, Kidney Disease: The Unrecognized
      Silent Killer, NKF 2007 Scientific Meetings, Orlando, FL, April 11, 2007.

   L120)    “Contrast-Induced Nephropathy: A Meta-Analyses of the Renal Safety of Iodixanol”
      Special Lecture for the Radiological Society of the Republic of China, National Yang-Ming
      University, School of Medicine, Taipei, Taiwan, May 4, 2007.

   L121)    “Contrast-Induced Nephropathy: A Meta-Analyses of the Renal Safety of Iodixanol”
      Annual Meeting of Kaohsiung Society of Radiology, Chang Gung Memorial Hospital,
      Kaohsiung Hsien, Taiwan, May 5, 2007.

   L122)     ”Meta-Analyses of the Renal Safety of Iodixanol”, Plenary Session, 15th Annual
      Scientific Congress of the Hong Kong College of Cardiology, Hong Kong, SAR, May 6, 2007.

   L123)    “Contrast-Induced Nephropathy: A Meta-Analyses of the Renal Safety of Iodixanol”
      Cardiology Special Lecture, 12th Department of Cardiology, Beijing AnZhen Hospital, Beijing,
      Peoples Republic of China, May 7, 2007.




                                                                                      App000311
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 314 of 633 PageID 1040



   L124)     “Prevention of CIN during PCI in Diabetic Patients: Proposal of a Guideline"
      (Prevencion del Fracaso Renal Inducido por Contraste en Pacientes Diabeticos Sometidos a
      Intervencionismo Coronario: Propestuesta de un Protocolo Actuacion), Optimizacion del
      Tratamiento de Revascularizacion Percutanea en Pacientes Diabeticos, TEAM (Terapia
      Endovascular & Miocardica), Hospital del Mar, Barcelona, Spain, May 11, 2007.

   L125)   “Acute Kidney Injury from Iodinated Contrast: Findings from an International Panel,”
      Hungarian Society of Cardiology Annual Scientific Meeting (Magyar Kardiologusok Tarsasaga
      Tudomanyos Kongresszusa) Balatonfured, Hungary, May 12, 2007.

   L126)    “Which Types and Which Amount of Physical Activities to Achieve and Maintain a
      Healthy Body Weight?” 4th Metabolic Syndrome, Type II Diabetes, and Atherosclerosis
      Congress (MSDA), 2007, Lisbon, Portugal, May 19, 2007.

   L127)    “The Role of BNP in Patients with Shortness of Breath,” Laboratory Diagnostic
      Technologies for Patients with Shortness of Breath, Satellite Symposium to the American
      Association of Clinical Chemistry Annual Scientific Meeting, San Diego, CA, July 18, 2007.

   L128)     “Acute Kidney Injury after Contrast: A Serious Problem by Any Name”,
      Hemodynamics, Electrolytes, Acute Kidney Injury: Novel Considerations in Contrast
      Selection, Transcatheter Cardiovascular Therapeutics 2007 Annual Meeting Satellite
      Symposium, Washington, DC, October 23, 2007.

   L129)    “Vascular Calcification: Myth versus Realty: A Cardiologist's Perspective,” Changing
      Paradigms: Evolving Bone and Mineral Metabolism Treatment in CKD, An American Society
      of Nephrology 2007 Official Symposia, San Francisco, CA, November 3, 2007.

   L130)    “Contrast-Induced Nephropathy” Cardiology Grand Rounds, Auckland City Hospital,
      Auckland, New Zealand, November 22, 2007.

   L131)    “Practical Use of Natriuretic Peptides in Cardiovascular Disease” North Shore
      Hospital- Waitemata Health, Takapuna, Auckland, New Zealand, November 22, 2007.

   L132)    “Practical Use of Natriuretic Peptides in Cardiovascular Disease” Waikato Hospital,
      Hamilton, New Zealand, November 23, 2007.

   L133)    “Practical Use of Natriuretic Peptides in Cardiovascular Disease” Wakefield Hospital,
      Adelaide, Australia, November 23, 2007.

   L134)      “Clinical Utilization of Cardiac Troponin and Natriuretic Peptides in ACS and CHF”
      Satellite Symposium to Australasian Emergency Meeting (ACEM), Gold Coast, Brisbane,
      Australia, November 27, 2007.




                                                                                       App000312
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 315 of 633 PageID 1041



   L135)    “Clinical Utilisation of Cardiac Troponin and Natriuretic Peptides in ACS and CHF: Part
      1: Congestive Heart Failure, Part 2: Acute Coronary Syndrome, Part 3: Cardio-Renal
      Syndrome, Kuala Lumpur, Malaysia, November 29, 2007.

   L136)     “Multimarker Strategies in the Management of Cardiovascular Emergencies,” YMCA
      for Dr. H.F.Ho, Queen Elizabeth Hospital, Hong Kong, SAR, November 30, 2007.

   L137)     “Practical Management of Cardiovascular Disease in Patients with Kidney Disease”
      Williamsburg, Virginia for the 34th Annual Williamsburg Conference on Heart Disease,
      Williamsburg, VA, December 3, 2007.

   L138)    “New Cardiovascular Drugs” 17th Annual Cardiovascular Conference at Beaver
      Creek” Avon, CO, February 12, 2008.

   L139)    “New Insights into Atherosclerosis and Global CVD Risk,” 17th Annual Cardiovascular
      Conference at Beaver Creek” Avon, CO, February 12, 2008.

   L140)    “Plenary 2 : Mini-Symposia: Acute Kidney Injury (AKI): Pathophysiology: Contrast
      Nephropathy: Epidemiology and Prognosis” 13th Annual International Conference on
      Continuous Renal Replacement Therapies, San Diego, CA, February 28, 2008.

   L141)    “Heart Failure and Cardio-Renal Syndrome 1: Pathophysiology” 13th Annual
      International Conference on Continuous Renal Replacement Therapies, San Diego, CA,
      February 29, 2008.

   L142)    “Hemodynamic Monitoring: Principles and Practice” 13th Annual International
      Conference on Continuous Renal Replacement Therapies, San Diego, CA, February 29, 2008.

   L143)    “Cardiovascular Calcification, Potential Strategies in Minimizing Cardiovascular
      Disease in CKD”, Satellite Symposia at the 57th ACC Annual Scientific Sessions, Chicago, IL,
      March 30, 2008.

   L144)    “Emergency Evaluation of Chest Pain: Building a Better Mousetrap” Olathe Medical
      Center Annual Heartbeat Symposium, Olathe, KS, April 4, 2007.

   L145)     “Interventions and CVD Interactions in Diabetics with Proteinuria” Satellite Symposia
      (Chairman) Chronic Kidney Disease Interventions: Improving CKD and CVD Outcomes” NKF
      Clinical Meeting 2008, Dallas, TX, April 5, 2008.

   L146)   “Shifting Paradigms in PCI: Controversial Issues in High-Risk Patients” International
      Symposium (Chairman), Barcelona, Spain, April 10, 2008.




                                                                                       App000313
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 316 of 633 PageID 1042



   L147)     “Success in Identifying Heart Failure” Satellite Symposia “Managing CVD: What Every
      Internist Needs to Know” Annual Scientific Sessions of the American College of Physicians,
      Washington, DC, May 14, 2008.

   L148)     “Cardiovascular Calcification in Patients with Chronic Kidney Disease” Satellite
      Symposia “Cardiovascular Disease in CKD: Strategies for Minimizing Mortality” Annual
      Scientific Sessions of the American College of Physicians, Washington, DC, May 15, 2008.

   L149)    “Clinical Trial Designs in Contrast Induced Acute Kidney Injury,” Third Annual AKIN
      Conference on Research Initiatives in AKI, Bethesda, MD, June 10-12, 2008.

   L150)     “Neutrophil Gelatinase Associated Lipocalin (NGAL)” on Behalf of Inverness Medical,
      Third Annual AKIN Conference on Research Initiatives in AKI, Bethesda, MD, June 10-12,
      2008.

   L151)    “Practical Strategies to Manage Contrast-induced Acute Kidney Injury (CI-AKI): The
      Evidence and the Controversy” Radiological Society of Taiwan, Taipei, Taiwan, July 17,
      2008.

   L152)    “Practical Strategies to Manage Contrast-induced Acute Kidney Injury (CI-AKI): The
      Evidence and the Controversy” Radiological Society of Taiwan, Kaushiung, Taiwan, July 18,
      2008.

   L153)    “Practical Strategies to Manage Contrast-induced Acute Kidney Injury (CI-AKI): The
      Evidence and the Controversy” Contrast-Induced Nephropathy Symposium, Professor Yalin
      Han, MD, Chairwoman of Military Cardiology Society of China, Shenyang, China, July 20,
      2008.

   L154)     Cardiology Teaching Rounds, with Professor Runlin Gao, Beijing Fuwai Hospital,
      Beijing, China, July 21, 2008.

   L155)     Cardiology Teaching Rounds, with Professor Yujie Zhou, Beijing Anzhen Hospital,
      Beijing, China, July 21, 2008.

   L156)     Cardiology Teaching Rounds with Professor Yundai Chen, General Hospital of
      Military, Peoples Liberation Army, Beijing, China, July 21, 2008.

   L157)    “Practical Strategies to Manage Contrast-induced Acute Kidney Injury (CI-AKI): The
      Evidence and the Controversy” Contrast-Induced Nephropathy Symposium, Contrast-
      Induced Nephropathy Symposium, Professor Runlin Gao, Chairman of Chinese Cardiology
      Society, Beijing, China, July 22, 2008.K

   L158)    “New Insights on Accelerated Vascular Calcification in Patients with Kidney Disease”
      Plenary Session: Ischemic Heart Disease/Risk Assessment/New Treatment Strategies”



                                                                                     App000314
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 317 of 633 PageID 1043



      International Academy of Cardiology 14th World Congress on Heart Disease, Annual
      Scientific Sessions, Toronto, Ontario, Canada, July 29, 2008.

   L159)      “Cardiorenal Syndrome: the Diagnostic Value of Brain Natriuretic Peptide and
      Neutrophil Gelatinase Associated-Lipocalin in Interventional Cardiology,” Cardiovascular
      Biomarkers which Enhance Clinical Practice in Emergency Medicine and Cardiology: the
      State of the Art for Markers of Necrosis, Hemodynamic Stress and Cardiorenal Syndrome,
      Satellite Symposium to the European Society of Cardiology Annual Scientific Sessions,
      Munich, Germany, September 2, 2008.

   L160)    “Diagnosis and Management of Diabetes, Hypertension, and Acute Dyspnea,” 2008
      CVD and CKD Intersection Consensus Conference, Chicago, IL, September 26, 2008.

   L161)      “Chronic Kidney Disease and Contrast Nephropathy (Contrast-Induced Acute Kidney
      Injury [CI-AKI]): From Prognostic Scores to the Latest Preventive Strategies” Complex
      Patients, Complex Lesions, 20th Annual Transcatheter Therapeutics Conference,
      Washington, DC, October 14, 2008.

   L162)    “Chronic Kidney Disease: a CHD Risk Equivalent” 2008 Cardiometabolic Health
      Congress, Harvard Medical School, Boston, MA, October 19, 2008.

   L163)   “Hyperphosphatemia as a Cardiovascular Risk Factor” Nephrology Conference, The
      Ottawa Hospital, Ottawa, Ontario, Canada, October 28, 2008.

   L164)     “Cardiovascular Calcification in Patients with Chronic Kidney Disease” Nephrology
      Division-Wide Conference, The Ottawa Hospital, Ottawa, Ontario, Canada, October 28,
      2008.

   L165)    “Hyperphosphatemia and CVD Risk,” Management of Hyperphosphatemia Across the
      Continuum of CKD, American Society of Nephrology Satellite Symposium, Philadelphia, PA,
      November 8, 2008.

   L166)    “Cardiovascular Calcification” Nephrology Grand Rounds, Humber River Regional
      Hospital, Toronto, Ontario, Canada, December 9, 2009.

   L167)    “Cardiovascular Calcification” Nephrology Grand Rounds, St. Joseph’s Hospital,
      Toronto, Ontario, Canada, December 9, 2009.

   L168)    “Critical Concepts in the Progression of Atherosclerosis” 18th Annual Cardiovascular
      Conference at Beaver Creek, Beaver Creek, CO, February 9, 2009.

   L169)    “New Molecular Targets in the Treatment of Atherosclerosis” 18th Annual
      Cardiovascular Conference at Beaver Creek, Beaver Creek, CO, February 9, 2009.




                                                                                     App000315
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 318 of 633 PageID 1044



   L170)    “Sudden Cardiac Death in Patients with Renal Disease” 18th Annual Cardiovascular
      Conference at Beaver Creek, Beaver Creek, CO, February 12, 2009.

   L171)    “Cardiovascular and Renal Implications of Contrast Media” Radiology Grand Rounds,
      The Kingston Hospital, Queens University School of Medicine, Kingston, Ontario, Canada,
      March 3, 2009.

   L172)    “Recent Evidence into the Pathophysiology of Cardiovascular Calcification in Chronic
      Kidney Disease,” NKF Symposium 2009 Spring Clinical Meetings, “Exploring Recent
      Evidence Related to Cardiovascular Calcification and Chronic Kidney Disease”, Nashville, TN,
      March 27, 2009.

   L173)    “Chronic Kidney Disease: Implications For Patients With CAD” Managing the High Risk
      Coronary Patient, I2 Summit, American College of Cardiology Annual Scientific Sessions,
      Orlando, FL, March 30, 2009.

   L174)    “BNP and Cardiovascular Disease” Cardiology Grand Rounds, Hospital PróCardíaco,
      Rio deJaniero, Brasil, April 14, 2009.

   L175)     “Acute Cardiac Effects of Marathon Running” Special Guest Lecture, CLINIMEX -
      Clínica de Medicina do Exercício, Rio deJaniero, Brasil, April 14, 2009.

   L176)    “Interface entre doenca renal e cardiovascular: o rim mata o coracao ou o coracao
      mata o rim? Da para evitar esse extermino?” Terapeutica Cardiovascular International,
      Hospital Espanhol, Salvador, Brasil, April 17, 2009.

   L177)     “A angiotomografia coronaria deve ser empregada em todo paciente com do toracica
      de risco baixo-moderado?” Terapeutica Cardiovascular International, Hospital Espanhol,
      Salvador, Brasil, April 17, 2009.

   L178)     “Conferencia Internacional: Opportunidades para aperfeicoar o tratamento da
      insuficiencia cardiaca avancada/descompensada” Terapeutica Cardiovascular International,
      Hospital Espanhol, Salvador, Brasil, April 17, 2009.

   L179)     “Invasive Versus Non-invasive Coronary Angiography: Guidelines for Achieving
      Optimal Outcomes” Annual Scientific Sessions of the Society for Cardiac Angiography and
      Intervention, Las Vegas, NV, May 7, 2009.

   L180)     “Cardiorenal Syndrome” Moderator, American Society of Nephrology Annual
      Scientific Sessions, Renal Week 2009, San Diego, CA, October 29, 2009.

   L181)    “The Creatinine Changes: Now What?” Cardiorenal Syndromes, Annual Scientific
      Sessions, AHA, Orlando, FL, November 16, 2009.




                                                                                     App000316
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 319 of 633 PageID 1045



   L182)    “Cardiorenal Syndromes: Strategies for Success” 19th Annual Cardiovascular
      Conference at Beaver Creek, Avon, CO, February 6-11, 2010.

   L183)     “Cardiomyopathy of Obesity” 19th Annual Cardiovascular Conference at Beaver
      Creek, Avon, CO, February 6-11, 2010.

   L184)    “Why Does Atherosclerosis Calcify: Clinical Implications” 19th Annual Cardiovascular
      Conference at Beaver Creek, Avon, CO, February 6-11, 2010.

   L185)    “Prevention Trials in AKI” 15th International Conference on Continuous Renal
      Replacement Therapies (CRRT: 2010) Scientific Meeting, Del Coronado, CA, February 24,
      2010.

   L186)    “Cardiology Trials” 15th International Conference on Continuous Renal Replacement
      Therapies (CRRT: 2010) Scientific Meeting, Del Coronado, CA, February 24, 2010.

   L187)    “Contrast Nephropathy: Prevention and Management” 15th International
      Conference on Continuous Renal Replacement Therapies (CRRT: 2010) Scientific Meeting,
      Del Coronado, CA, February 26, 2010.

   L188)    “Lipoprotein-Associated Phospholipase A2 (Control#: 4599)” Symposium: Do New
      Markers & Genomics Enhance Risk Prediction? Annual Scientific Sessions of the ACC,
      Atlanta, GA, March 15, 2010.

   L189)    “New Insights Into the Role of Heart-Kidney Interactions in the Cardiorenal
      Syndrome” (Control#: 16660) Symposium: Recognition and Management of the Cardiorenal
      Syndrome in Advanced Heart Failure, Annual Scientific Sessions of the American College of
      Cardiology, Atlanta, GA, March 15, 2010.

   L190)     “B-Type Natriuretic Peptides in Cardiorenal Syndromes” 5th Annual Turning Science
      into Caring Symposium, Wiesbaden, Germany, March 25, 2010.

   L191)    “CKD and CVD Interaction in KEEP” KEEP Update: the Common Soil of CKD and CVD,
      NKF Spring Clinical Meetings, Orlando, FL, April 16, 2010.

   L192)    “Cardio Renal Intersection, Crossroads to the Future - Novel Coronary Risk Factors"
      NKF Spring Clinical Meetings, Orlando, FL, April 16, 2010.

   L193)    “Diagnostic Workup of suspected heart disease in CKD” NKF Spring Clinical Meetings,
      Orlando, FL, April 17, 2010.

   L194)    “BNP: Beyond Heart Failure (BNP más allá de la insuficiencia cardiaca)”, XIX Chile
      2010 Congreso Latinoamericano de Bioquimica Clinica, XVI Congreso Chileno de Quimica




                                                                                     App000317
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 320 of 633 PageID 1046



      Clinica, Biomarcadores en Enfermedades Cario-Renales COLABIOCLI 2010, Santiago del
      Chile, April 21, 2010.

   L195)    “Prevention of Cardiorenal Syndromes”, 19th International Vicenza Course on Critical
      Care Nephrology, Vicenza, Italy, June 10, 2010.

   L196)    “La Pandemia de la Obesidad: Que podemos hacer aquí y ahora” “Importancia de la
      Evaluación previa y el monitoreo cardiaco en rehabilitación cardiaca” “Ergoespirometria:
      Diagnostico e implicaciones terapéuticas,” Sociedad Columbiana de Cardiologica y Ciruga
      Cardiovacular Fundacion Columbiana del Corazon Comite de Prevencion y Rebabilitacion
      Cardiovascular Dia Mundial del Corazon, Santa Marta, Columbia, September 25, 2010.

   L197)   “CKD: A CHD Equivalent” 2010 Cardiometabolic Health Congress (CMHC), Boston
      MA, October 22, 2010.

   L198)    “Treatment Disparities in Patients with Acute Coronary Syndromes and Kidney
      Disease” AHA Scientific Sessions 2010, Chicago, IL, November 13, 2010.

   L199)   “Integration of Advanced Information Technology into Nephrology Practice”
      Moderator, at the American Society of Nephrology, Denver, CO, November 21, 2010.

   L200)    “Cardiorenal Syndromes” Special Lecture, Mansoura Nephrology and Urology
      Center, Mansoura, Egypt, November 29, 2010.

   L201)     “Neutrophil Gelatinase Associated Lipocalin.” Al Mokhtabar Laboratories, Cairo,
      Egypt, December 1, 2010.

   L202)   “Cardiorenal Syndromes” ACC Williamsburg Conference, Williamsburg, VA,
      December 5, 2010.

   L203)    “Micronutrients and Cardiorenal Disease: Insights into Novel Assessments and
      Treatment” 13th International Conference on Dialysis, Advances in CKD 2011, Miami, FL,
      January 26, 2011.

   L204)    “Managing High Risk Patients in a i2 Spotlight entitled Cardiac Care Team Spotlight:
      Approaches for CAD Management” American College of Cardiology 60th Annual Scientific
      Session and i2 Summit 2011, April 2, 2011, in New Orleans, LA.

   L205)     “Lipid Management in Patients with Renal Insufficiency in a ACC Symposium entitled
      Lipid Management in Special Populations” American College of Cardiology 60th Annual
      Scientific Session and i2 Summit 2011, April 2, 2011, in New Orleans, LA.

   L206)    “KEEP Symposium 2011: KEEP A New Longitudinal Dimension for a New Decade”
      NKF Spring Clinical Meetings, April 29, 2011, Las Vegas, NV.



                                                                                     App000318
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 321 of 633 PageID 1047




   L207)    “Disparities of Treatment for ACS and Heart Failure in CKD Patients” 20th
      International Vicenza Course on Hemodialysis and CKD, June 8, 2011, Vicenza, Italy.

   L208)    “AKI: Can We Prevent It?” 20th International Vicenza Course on Hemodialysis and
      CKD, June 9, 2011, Vicenza, Italy.

   L209)    “Measuring Natriuretic Peptides in Acute Coronary Syndromes” American
      Association of Clinical Chemistry Annual Meeting, Atlanta, GA, July 26, 2011.

   L210)      “Biomarkers in Stable Angina and Microvascular Dysfunction”, Emerging Role of
      Biomarkers in Cardiorenal Syndrome and Acute Coronary Syndrome: Diagnosis
      Stratification and Management, Siena Italy, September 2, 2011.

   L211)    “Cardiorenal Syndrome Definition and Scope: Cardiac Perspective” 28th National
      Congress of Nephrology, Hypertension, Dialysis, and Transplantation, Antalya, Turkey,
      October 20, 2011.

   L212)    “Targeted Hypertension Management for Optimal Cardiorenal Outcomes” 28th
      National Congress of Nephrology, Hypertension, Dialysis, and Transplantation, Antalya,
      Turkey, October 22, 2011.

   L213)    “The KEEP Experience” 3rd International Symposium on Albuminuria – The
      Prognostic Role of Albuminuria: Impact on Kidney and Cardiovascular Outcomes,
      Groningen, Netherlands, December 1, 2011.

   L214)    “Cardiorenal Syndromes” Cardiology Guest Lecture, University of Chicago, Pritzker
      School of Medicine, Chicago, IL, January 18, 2012.

   L215)     “Diagnosis of Cardiovascular Disease in CKD” 14th international conference on
      dialysis, advances in CKD 2012, Palm, Harbor, FL, January 26, 2012

   L216)    “Acute Kidney Injury Guidelines” KDIGO Clinical Practice Conference: KDIGO
      Guidelines on Acute Kidney Injury, Glomerulonephritis, and Anemia, Shanghai, China,
      February 5, 2012

   L217)     “Galectin-3: A Novel Blood Test for the Evaluation and Management of Heart
      Failure” Cardiology Grand Rounds, University of Arkansas for Medical Sciences, Little Rock,
      Arkansas, February 8, 2012

   L218)    “Contrast-Induced Acute Kidney Injury” 17th Annual CRRT 2012, Acute Kidney Injury
      Controversies, Challenges, and Solutions, San Diego, CA February 15, 2012




                                                                                     App000319
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 322 of 633 PageID 1048



   L219)     “Recent Trials in the Prevention of Contrast-Induced AKI: Importance of Emerging
      Biomarkers” 17th Annual CRRT 2012, Acute Kidney Injury Controversies, Challenges, and
      Solutions, San Diego, CA February 17, 2012

   L220)     “Role of Galectin-3 in Heart Failure” Joint American Association of Cardiologists of
      Indian Origin and ACC Dinner Symposium, American College of Cardiology Scientific Sessions
      2012, Chicago, IL, March 25, 2012

   L221)    “Bariatric Surgery: A Cure for Obesity?” American College of Cardiology Scientific
      Sessions 2012, Joint Symposium of the American Association of Clinical Endocrinologists and
      the ACC: Cardiologists as Endocrinologists – Emerging Management of the Diabetic Patient,
      Chicago, IL, March 26, 2012

   L222)    “Practical Management of Obesity for the Cardiologist” 48th Annual Robert M.
      Jeresaty Cardiovascular Symposium, Hartford, CT, May 3, 2012

   L223)    “Prevention of Cardiovascular Events: Beyond Statins” 48th Annual Robert M.
      Jeresaty Cardiovascular Symposium, Hartford, CT, May 3, 2012

   L224)     “Contrast Media and Patient Safety: The Clinical Impact” Swiss Congress of Radiology,
      Zurich, Switzerland, May 31, 2012

   L225)    “Importance of Methodological Rigor in CI-AKI Meta-Analyses” 48th Congresso
      Nazionale Italian Society of Radiology (SIRM), Torino, Italy, June 2, 2012

   L226)   “Chronic Kidney Disease and Heart Failure” 2012 Cardiometabolic Health Congress
      (CMHC) Boston, MA, October 12, 2012

   L227)    “Chronic Kidney Disease and Acute Myocardial Infarction” CKD a Recipe for CVD
      Disaster, Kidney Week, American Society of Nephrology, San Diego, CA, October 30, 2012

   L228)    “Epidemiology and Pathophysiology of Coronary Artery Disease in Chronic Kidney
      Disease” Scientific Sessions 2012, AHA, Los Angeles, CA, November 5, 2012

   L229)    “The Cardiorenal Syndrome” Acute Dialysis Quality Initiative 11: Cardiorenal
      Syndromes, Venice, Italy, November 30, 2012

   L230)    “Cardiorenal Syndromes” Cardiology Grand Rounds, University of Missouri School of
      Medicine, Columbia, MO, December 20, 2012

   L231)    “Diagnosis and Management of Coronary Disease in Patients with Kidney Disease”
      Internal Medicine Grand Rounds, University of Missouri School of Medicine, Columbia, MO,
      December 20, 2012




                                                                                     App000320
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 323 of 633 PageID 1049



   L232)    “The Hypertension Epidemic: Are We Any Further Ahead?” 22nd Annual
      Cardiovascular Conference at Beaver Creek, Avon, CO, February 9-16, 2013

   L233)    “Cardiorenal Syndromes: The Cardiac Perspective” Inaugural Cardio Renal Society of
      America (CRSA), 14th Annual Southwest Nephrology Conference (SWNC), Chandler, AZ,
      March 2, 2013

   L234)     "Managing Hyponatremia in Cardiorenal Syndromes" Satellite Symposia to the NKF
      Spring Clinical Meetings, Orlando, FL, April 3, 2013

   L235)    “Session Title: Debate: To Screen or Not to Screen for CKD--PRO? NKF Spring Clinical
      Meetings, Orlando, FL, April 5, 2013

   L236)     “Galectin-3: A Novel Biomarker for the Assessment and Management of Heart
      Failure” Heart Failure Conference, University of Pittsburgh Medical Center, Pittsburgh, PA,
      May 28, 2013

   L237)   “The Kidney in Heart Failure” 31st International Vicenza Course on Critical Care
      Nephrology, June 11-14, 2013, Vicenza, Italy

   L238)    “Contrast-Induced Acute Kidney Injury” 31st International Vicenza Course on Critical
      Care Nephrology, June 11-14, 2013, Vicenza, Italy

   L239)    “Novel Biomarkers in the Prognosis and Management of Heart Failure” BUMC
      Medicine Grand Rounds, August 20, 2013, Dallas, TX

   L240)    “Cardiorenal Syndromes: New Insights into Combined Heart and Kidney Failure”
      Cardiology Grand Rounds, University of Virginia Medical Center, August 26, 2013,
      Charlottesville, VA

   L241)     “Major Advances in the Treatment of Atherosclerosis: New Options for Patients with
      Familial Hypercholesterolemia and Those Intolerant to Conventional Lipid Lowering
      Therapy” Cardiology Update, University of Missouri School of Medicine, September 14,
      Columbia, MO

   L242)    “Keynote Address: Recent Advances in the Assessment of Acute Kidney Injury with
      Neutrophil Gelatinase Associated Lipocalin” 47th Brazilian Congress of Clinical Pathology
      and Laboratory Medicine, September 23, 2013, Sao Paulo, Brazil.

   L243)    “Advancements in Cardiometabolic Risk Assessment: Expert Analysis of Recent
      Evidence and Outcomes” 2013 Cardiometabolic Health Congress, October 2, 2013, Boston,
      MA.




                                                                                     App000321
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 324 of 633 PageID 1050



   L244)    “Keynote Address: Cardiorenal Syndromes: New Insights to Patients with Combined
      Heart and Kidney Failure” Fourth Italian Great Network Congress, Focus on Innovation and
      Translational Research in Emergency Medicine, Sapienza Universita di Roma, October 14-18,
      2013, Rome, Italy.

   L245)    “Practical Experience with Galectin-3” Fourth Italian Great Network Congress, Focus
      on Innovation and Translational Research in Emergency Medicine, Sapienza Universita di
      Roma, October 14-18, 2013, Rome, Italy.

   L246)    “Using Novel Biomarkers in the Assessment and Management of Heart Failure” Bon
      Secours Cardiovascular Conference, October 25, 2013, Williamsburg, VA

   L247)      “Detection and Consequences of Iron Deficiency Anemia in CKD Patients” Session
      Title: The Role of Iron in the Optimization of Anemia Management in CKD, American Society
      of Nephrology, Kidney Week, November 9, 2013, Atlanta, GA

   L248)     “Bench to Bedside: What Happens to the Physiologic Systems After an Acute Bout of
      High Intensity/Volume Exercise?” Session Title: Cardiovascular Seminar entitled Potential
      Cardiotoxicity of Extreme Endurance Exercise, Annual Scientific Sessions of the AHA,
      November, 20, 2013, Dallas, TX.

   L249)     “Atrasentan for the treatment of diabetic nephropathy: how to control the risk of
      heart failure?” Session Title: “Lessons Learned from First Post FDA Guidance Case Studies
      of Diabetes CV Outcomes Trials, 10th Global CardioVascular Clinical Trialists (CVCT) Forum,
      December 7, 2013, Paris, France.

   L250)    “Reflection: Biomarker-based modeling tools: safer drugs and faster development?”
      A workshop initiated by the TI-Pharma Escher project for academia, industry, and the
      European Medicines Agency, January 24, 2014, Amsterdam, the Netherlands.

   L251)      “Focus on lipids: HDL and Its Associated Lipoproteins in Cardiac and Renal Disease”
      Changing Paradigms in Acute Kidney Injury: From Mechanisms to Management Sponsored
      by UAB/UCSD O’Brien Center for AKI Research, 19th International Conference on Advances
      in Critical Care, CRRT 2014, International Society of Nephrology, Acute Kidney Injury
      Network, March 4-7, 2014, San Diego, CA.

   L252)     “Cardiac and Renal Fibrosis in Chronic Cardiorenal Syndromes” Targeting Recovery
      from Acute Kidney Injury:, 19th International Conference on Advances in Critical Care, CRRT
      2014, International Society of Nephrology, Acute Kidney Injury Network, March 4-7, 2014,
      San Diego, CA.

   L253)    “Statins for AKI: Friend or Foe” Controversies in Critical Care Nephrology:, 19th
      International Conference on Advances in Critical Care, CRRT 2014, International Society of
      Nephrology, Acute Kidney Injury Network, March 4-7, 2014, San Diego, CA.



                                                                                     App000322
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 325 of 633 PageID 1051




   L254)    “Managing Heart Failure and Cardiorenal Syndrome” Workshop, 19th International
      Conference on Advances in Critical Care, CRRT 2014, International Society of Nephrology,
      Acute Kidney Injury Network, March 4-7, 2014, San Diego, CA.

   L255)    “ST2: A Novel Biomarker in the Assessment and Management of Heart Failure” 2nd
      Annual Cardio Renal Society of America (CRSA), 15th Annual Southwest Nephrology
      Conference (SWNC), Ft. McDowell, AZ, March 8, 2014.

   L256)    “Cardiac and Renal Fibrosis in Chronic Cardiorenal Syndromes” 2nd Annual Cardio
      Renal Society of America (CRSA), 15th Annual Southwest Nephrology Conference (SWNC),
      Ft. McDowell, AZ, March 8, 2014.

   L257)    “New Approaches to the Management of Cardiorenal Syndromes” 2nd Annual Cardio
      Renal Society of America (CRSA), 15th Annual Southwest Nephrology Conference (SWNC),
      Ft. McDowell, AZ, March 8, 2014.

   L258)   “My New Favorite Biomarker: Galectin-3” 2014 UCSD Biomarkers in Clinical Practice
      Symposium, La Jolla, CA, April 5, 2014.

   L259)    “Changing Profile of Chronic Hyperkalemia” NKF Spring Clinical Meetings, Las Vegas,
      NV, April 24, 2014.

   L260)    “The Next Generation of Screening for Kidney Disease” NKF Spring Clinical Meetings,
      Las Vegas, NV, April 25, 2014.

   L261)    “Cardiorenal Syndromes” Cardiology, Diabetes & Nephrology at the Limits, Royal
      College of Physicians, London, UK, April 26, 2014.

   L262)     “Acute Cardiorenal Syndromes: New Insights into Combined Heart and Kidney
      Failure” Actual Problems of Extracorporeal Blood Purification in Intensive Care, Russian
      Scientific Society of Specialists in Extracorporeal Blood Purification, Bakoulev Scientific
      Center for Cardiovascular Surgery of the Russian Academy of Medical Sciences, Moscow,
      Russia, May 22, 2014.

   L263)     "Fibrosis in the Heart and Kidneys in the Pathogenesis of Chronic Cardiorenal
      Syndromes" Actual Problems of Extracorporeal Blood Purification in Intensive Care, Russian
      Scientific Society of Specialists in Extracorporeal Blood Purification, Bakoulev Scientific
      Center for Cardiovascular Surgery of the Russian Academy of Medical Sciences, Moscow,
      Russia, May 23, 2014.

   L264)     “Hyperkalemia: Old Foe with New Faces” 51st European Renal Association – European
      Dialysis and Transplantation Association Congress, Amsterdam, the Netherlands, June 2,
      2014.



                                                                                       App000323
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 326 of 633 PageID 1052




   L265)    “Contrast Induced Complications in the Cath Lab” Transcatheter Cardiovascular
      Therapeutics (TCT) Russia, Moscow, Russia, June 16, 2014.

   L266)    “The RAASi Debate: Should RAAS Continue with a Declining GFR?: Will the Path be
      Clearer” Co-Chair, European Society of Cardiology, Barcelona, Spain, August 31, 2014.

   L267)     “Novel Markers of Acute and Chronic Kidney Injury,” Where Inflammation Meets
      Lipids: Broad Based Strategies for Risk Reduction, Cleveland Heart Labs, Cleveland, OH,
      September 12, 2014.

   L268)     “Advances in the Understanding of Acute and Chronic Cardiorenal Syndromes:
      Pathophysiological Crosstalk of Multiple Metabolic and Neurohormonal Systems” 41st
      Williamsburg Cardiovascular Conference, Williamsburg, VA, December 7, 2014.

   L269)      “CHADS, CHADS-VASc, HAS-BLED, What Does it Mean and How Do We Use It? Atrial
      Fibrillation Session, Dallas-Leipzig Valve 2104, Dallas, TX, December 11, 2014.

   L270)      “Soup-to-Nuts Renal Failure: Caring for the Patient with Kidney Injury” Society of
      Critical Care Medicine, Phoenix, AZ, January 19, 2015.

   L271)    “RAASi Optimization in Heart Failure” 2nd Annual Cardiorenal Society of America
      Meeting, Phoenix, AS, February 28, 2015.

   L272)     “Cardiac Surgery Associated Acute Kidney Injury” Association of Physician Assistants
      in Cardiac Surgery, Las Vegas, NV, March 3, 2015.

   L273)    “The Potassium Challenge in CKD: Managing Acute and Chronic Hyperkalemia: Novel
      Polymer-Based Potassium Binders: Clinical Evidence” NKF Spring Clinical Meetings, March
      27, 2015.

   L274)     “KEEP Healthy: Insights into CKD Care” NKF Spring Clinical Meetings, March 28, 2015.

   L275)     “The Heart of the Matter” NKF Spring Clinical Meetings, March 28, 2015.

   L276)     “Literature Review: CVD” NKF Spring Clinical Meetings, March 28, 2015.

   L277)    “Biomarkers of Kidney and Heart Injury in Cardiorenal Syndrome” Cardionephrology
      2015, Rome, Italy, April 16, 2015.

   L278)    “AKI after Acute Myocardial Infarction: Contrast, Organ Crosstalk and Complications”
      33rd Vicenza Course on Critical Care Nephrology in Vicenza, Italy, June 9-12, 2015.




                                                                                       App000324
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 327 of 633 PageID 1053



   L279)    “A New Mechanism of Action for Addressing Hyperkalemia: New Data on Non-
      Polymer Hyperkalemia Therapies” 33rd Vicenza Course on Critical Care Nephrology in
      Vicenza, Italy, June 9-12, 2015.

   L280)     “Lp-PLA2 as a marker of Vascular Inflammation and CHD Risk Assessment”
      Symposium: Advances in Laboratory Testing for Coronary Heart Disease; The New PLAC
      Test for Lp-PLA2 Activity, American Association of Clinical Chemistry Annual Meeting,
      Atlanta, GA, June 29, 2015.

   L281)    “Galectin-3 in the Prognosis and Management of Heart Failure” American
      Association of Clinical Chemistry Annual Meeting, Atlanta, GA, June 29, 2015.

   L282)     “Cardio-Renal Syndrome and Clinical Implications” AKI from Pathophysiology to
      Clinical Implications, Global Research on Acute Conditions Team (GREAT) Annual Meeting,
      Rome, Italy, September 5, 2015.

   L283)    “Lp-PLA2 and Testing for Primary Prevention Risk Assessment” 2015 Cardiometabolic
      Health Congress, Harvard Medical School, Boston, MA, October 22, 2015.

   L284)    “Heart and Kidney: a Dangerous Liaison” Comorbidities in Heart Failure: From
      Guidelines to Clinical Practice, 775 Anniversary University of Sienna, Sienna, Italy, October
      29, 2015.

   L285)    “Role of BNP, Pro-BNP, and Elevated Left Ventricular Mass in Cardiorenal Syndrome”
      American Society of Nephrology Kidney Week, San Diego, CA, November 6, 2015.

   L286)   “How to Use Urine Thromboxane B2 to Select and Monitor Aspirin Therapy”
      Moderator, Scientific Sessions 2015, AHA, Orlando, FL, November 10, 2015.

   L287)      “Putting it All Together: How to Use Urine 11-Dehydrothromboxane B2
      In Clinical Practice” Scientific Sessions 2015, AHA, Orlando, FL, November 10, 2015.

   L288)    “Neurogenic Orthostatic Hypotension” Moderator, Scientific Sessions 2015, AHA,
      Orlando, FL, November 10, 2015.

   L289)    “Cardiac Cachexia” Managing Disease Related Lean Body Mass Loss Through Clinical
      and Nutritional Interventions, The Sackler Institute for Nutrition Science The New York
      Academy of Sciences, New York, NY, December 4, 2015.

   L290)     “The Devastating Consequences of Systemic Hypertension and What To Do About
      It?” 42st Williamsburg Cardiovascular Conference, Williamsburg, VA, December 6-8, 2015.

   L291)     “The Impact and Management of Malnutrition in Patients with Heart Failure” Heart
      Failure University 2015, Conference Co-Chair, Los Angeles, CA, December 11-13, 2015.



                                                                                        App000325
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 328 of 633 PageID 1054




   L292)    “Acute and Chronic Cardiovascular Effects of Hyperkalemia: New Insights Into
      Prevention and Clinical Management” Heart Failure University 2015, Conference Co-Chair,
      Los Angeles, CA, December 11-13, 2015.

   L293)    “Lipoic Acid in the Prevention of Acute Kidney Injury” 21st International Conference
      on Continuous Renal Replacement Therapies CRRT 2016, San Diego, CA, February 16-18,
      2016.

   L294)    “Novel Approaches for Recognition and Management of Life Threatening
      Complications of AKI and CKD” 21st International Conference on Continuous Renal
      Replacement Therapies CRRT 2016, San Diego, CA, February 16-18, 2016.

   L295)    “Making Iodinated Contrast Less Nephrotoxic with Cyclodextrin” 21st International
      Conference on Continuous Renal Replacement Therapies CRRT 2016, San Diego, CA,
      February 16-18, 2016.

   L296)    “Cardiorenal Syndrome” 4th Annual Cardio-Renal Metabolic Conference, Cardiorenal
      Society of America, Phoenix, AZ, March 13, 2016.

   L297)      “Cardiorenal Syndromes Identification: Prevention and Management of CI-AKI” China
      Interventional Therapeutics (CIT), Beijing, Shanghai Zhong Shan Hospital, Shanghai, The 2nd
      Affiliated Hospital of Zhejiang University, Hangzhou, Xi Jing Hospital, Xi’an, Nanjing 1st
      Hospital, Nanjing, Peoples Republic of China, March 14-21, 2016.

   L298)    “Cardiorenal Syndromes” Keynote Address, Inaugural Cardio-Renal Connections
      Meeting, San Antonio, TX , April 16, 2016.

   L299)    “Galectin-3 in the Prognosis and Management of Heart Failure” American
      Association of Clinical Chemistry Annual Scientific Meeting, Philadelphia, PA, August 1,
      2016.

   L300)   Hemodialysis University, “Is It Heart Failure or Fluid Overload?”, Chicago, IL,
      September 10, 2016.

   L301)   “Novel Agents for the Treatment of Hyperkalemia” Heart Failure Society of America
      Annual Scientific Meeting, Orlando, FL, September 18, 2016.

   L302)    Symposium “Hyperkalemia in the Emergency Department: Updates on the Current
      Management of a Complex Condition.” “Novel Agents for the Prevention and Treatment of
      Hyperkalemia” American College of Emergency Physicians Scientific Assembly, Las Vegas,
      NV, October 14, 2016




                                                                                       App000326
Case 4:21-cv-01058-P Document 27 Filed 12/07/21           Page 329 of 633 PageID 1055



   L303)    Moderator “CVD in Patients with CKD: Update from the CRIC Study” Annual Scientific
      Sessions of the AHA, New Orleans, LA, November 13, 2016

   L304)    Program Chairman “A Night at the Museum: Inaugural Symposium of the
      Cardiorenal Society of America Transcending the Dinosaurs: Guiding AKI Prevention using
      next-gen biomarkers: Real World Experiences from modern practices” satellite Symposium
      at American Society of Nephrology Kidney Week, Field Museum, Chicago, IL, November 18,
      2016

   L305)    “Pathobiologic Systems Involved in Cardiorenal Disease” 43rd Williamsburg
      Cardiovascular Conference, Williamsburg, VA, December 3-5, 2016

   L306)   “Cardiac Cachexia” Heart Failure University, MedReviews LLC, Los Angeles, CA,
      December 10, 2016

   L307)     “Is There a Role for Bariatric Surgery in Heart Failure Patients with Obesity?”
      Scientific Sessions 2017, American College of Cardiology , Washington, DC, March 18, 2017

   L308)   “Vascular and Cardiac Hypertrophy in Fabry Disease” 5th Annual Fabry Nephropathy
      Update, Mexico City, Mexico, April 26, 2017

   L309)    “Introduction to Cardiorenal Medicine” Cardiorenal University, Anaheim, CA, May
      18, 2017

   L310)   “Sudden Death in End-Stage Renal Disease” Cardiorenal University, Anaheim, CA,
      May 18, 2017

   L311)    “Cardiorenal Syndromes and Heart Failure” Conference Chair, Disease Global
      Outcomes (KDIGO) Controversies Conference on Heart Failure in Chronic Kidney Disease,
      Athens, Greece, May 25-28, 2017

   L312)    “Vadadustat Does Not Prolong Corrected QT Interval In A Thorough QTC Study In
      Healthy Subjects” 54th ERA-EDTA Congress, Madrid, Spain, June 3-6, 2017

   L313)    “Cardiorenal Syndromes” 1st Annual Heart iN Diabetes: Where the Heart, Kidney,
      and Diabetes Meet in Clinical Practice, Philadelphia, PA, July 14-16, 2017

   L314)    “Cardiovascular Disease in Patients with Chronic Kidney Disease: A Serious Link” TOP
      2017--Target Organ Protection Conference, Bangalore, India, August 11, 2017

   L315)    “Statin Therapy to Prevent Onset and Progression of Vascular Disease” TOP 2017--
      Target Organ Protection Conference, Bangalore, India, August 11, 2017




                                                                                    App000327
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 330 of 633 PageID 1056



   L316)    “Keynote Address: Cardiorenal Society of America” 5th Annual Scientific Meeting of
      the Cardiorenal Society of America, Phoenix, AZ, October 6, 2017

   L317)    “Cardiovascular Benefits of Home Hemodialysis” Addressing Unmet Needs in Dialysis:
      Cardiovascular Care and Volume Control Symposium, Kidney Week 2017 American Society
      of Nephrology, New Orleans, LA, November 4, 2017

   L318)    “CIEDs in ESRD Patients: What Are the Long-Term Data?” Kidney Week 2017
      American Society of Nephrology, New Orleans, LA, November 4, 2017

   L319)    “Cardiovascular Seminar Cardiorenal Syndrome: Who hurts who?” AHA Scientific
      Sessions 2017, Anaheim, CA, November 14, 2017

   L320)   “Cardiac and Renal Fibrosis in CRS” AHA Scientific Sessions 2017, Anaheim, CA,
      November 14, 2017

   L321)    Chair, Inaugural Cardiometabolic University and Nutrition Academy “The Skinny on
      Weight Loss: Practical Considerations for the Cardiovascular Specialist” MedReviews,
      Westlake, TX, December 1-3, 2017

   L322)     “Clinical Laboratory Advancements in Cardiometabolic Disease: Screening, Diagnosis,
      Prognosis, and Management” 44th Annual Williamsburg Conference on Heart Disease,
      Williamsburg, VA, December 4, 2017

   L323)    “The Skinny on Weight Loss: Practical Approaches for the Cardiovascular Specialist”
      Cardiometabolic University 2017, Conference Chair, Dallas, TX , December 1-3, 2017

   L324)    “Diagnosis, Evaluation, and Role of Biomarkers in Heart Failure” Heart Failure
      University 2017, Conference Co-Chair, Los Angeles, CA, December 10-12, 2017

   L325)     “Biomarkers of Kidney Dysfunction and Cardiorenal Syndrome” University of
      California at San Diego 14th Annual Biomarkers in Heart Failure and Acute Coronary
      Syndromes: Diagnosis, Treatment and Devices, San Diego, CA, March 2, 2018

   L326)    “What do I do to Prevent Contrast Induced Renal Injury” 23rd International
      Conference on Continuous Renal Replacement Therapies CRRT 2018, San Diego, CA, March
      8, 2018

   L327)    “AKI in the patient with Cancer” 23rd International Conference on Continuous Renal
      Replacement Therapies CRRT 2018, San Diego, CA, March 8, 2018.

   L328)    “CKD-Related Anemia and Cardiac Complications” NKF Spring Clinical Meetings,
      Austin, TX April 14, 2018




                                                                                     App000328
Case 4:21-cv-01058-P Document 27 Filed 12/07/21           Page 331 of 633 PageID 1057



   L329)   “Principles of Distributive Shock” Cardiorenal Society of America National Grand
      Rounds Series, Boston, MA, April 30, 2018

   L330)    “Biomarkers with More Muscle: Moving Beyond Serum Creatinine to Define
      Cardiorenal Syndrome in HF” Heart Failure Society of American Annual Scientific Sessions,
      Nashville, TN, September 15, 2018

   L331)    “Heart Failure in Cardiorenal Syndrome: Updates on Biomarkers” Cardiorenal Society
      of America Annual Scientific Meeting, Phoenix, AZ, October 6, 2018

   L332)     “Novel Approaches in Lowering LDL-C” Cardiorenal Society of America Annual
      Scientific Meeting, Phoenix, AZ, October 6, 2018

   L333)    “What Do We Know About Cardiorenal Physiology? An Overview” American Society
      of Nephrology Kidney Week, San Diego, CA, October 26, 2018

   L334)    “Prevention of Heart Failure: The Next Frontier” Cardiometabolic Health
      Conference, Boston, MA, October 27, 2018

   L335)    “AKI and Heart Failure: How to Manage Compared to the General Population”
      Cardiometabolic Health Conference, Boston, MA, October 27, 2018

   L336)    “SGLT-2 Inhibitors and Cardio-renal Outcomes: Mechanistic Role and Rationale for
      Treatment of Heart Failure” American Heart Association Annual Scientific Sessions,
      Chicago, IL, November 10, 2018

   L337)     “Obesity and Heart Disease” 44th Annual Williamsburg Conference on Heart Disease,
      Williamsburg, VA, December 4, 2018

   L338)    “Current Concepts in Hypertension Management” University of Texas Health Science
      Center, Tyler, TX, January 15, 2019

   L339)    “Managing the Heart Failure Patient with Worsening Renal Function (WRF)” 24th
      International Conference on Continuous Renal Replacement Therapies CRRT 2019, San
      Diego, CA, February 28, 2019

   L340)    “Cardiorenal Syndrome: What Have We Learned?” 24th International Conference on
      Continuous Renal Replacement Therapies CRRT 2019, San Diego, CA, February 28, 2019

   L341)    ” Debate: Biomarker Guided Heart Failure Therapy: Con: Neuropeptides; ST2” 15th
      Annual USCD Biomarkers in Heart Failure and Acute Coronary Syndromes, Diagnosis,
      Treatment & Devices, La Jolla, CA March 1, 2019

   L342)     “Cardiorenal Syndromes” Cardionephrology Congress, Rome, March 12 to 14, 2019



                                                                                    App000329
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 332 of 633 PageID 1058




   L343)    “Iron and Heart Failure” Cardiometabolic Health Congress West meeting in Phoenix,
      AZ on Saturday, May 4, 2019

   L344)   “Up to Date Management of Arrhythmias in Dialysis Patients” National Kidney
      Foundation Spring Clinical Meetings, May 11, 2019

   L345)    “Lipids in Chronic Kidney Disease” National Kidney Foundation Spring Clinical
      Meetings, May 11, 2019

   L346)    “Cardiorenal Syndromes” Helen Dunham Cardio-Renal Lecture and Cardiovascular
      Grand Rounds, Brigham and Women’s Hospital, Boston, MA, May 23, 2019

   L347)    “Chronic Kidney Disease as a Cardiovascular Risk State” Helen Dunham Cardio-Renal
      Lecture and Cardiovascular Grand Rounds, Brigham and Women’s Hospital, Boston, MA,
      May 23, 2019

   L348)    “Biomarkers and Assessment of Cardiac Function In Fabry Cardiomyopathy” 6th
      Update on Fabry Disease: Biomarkers, Progression and Treatment Opportunities, Prague,
      Czech Republic, May 26-28, 2019

   L349)     “Contrast-Induced Acute Kidney Injury” 37th Vicenza Course on AKI &CRRT, Vicenza,
      Italy, May, 28-30 2019

   L350)    “Cardiac Biomarkers in AKI” 37th Vicenza Course on AKI &CRRT, Vicenza, Italy, May,
      28-30 2019

   L351)    “Risk Mitigation in the Cardiac Catheterization Laboratory” 37th Vicenza Course on
      AKI &CRRT, Vicenza, Italy, May, 28-30 2019

   L352)    “Pathophysiology and Current Concepts in Classification” Clinical Practice Clinical
      Science Track: Treatment of Cardiorenal Syndrome, American Heart Association
      Hypertension Scientific Sessions, New Orleans, LA, Sept 8, 2019

   L353)     “Cardiovascular Genetics” 44th Annual Williamsburg Conference on Heart Disease,
      Williamsburg, VA, December 9, 2019

   L354)    “Cardiorenal Syndromes” 17th World Congress on Insulin Resistance, Diabetes &
      Cardiovascular Disease (WCIRDC), Los Angeles, CA, December 4-7, 2019

   L355)    “Cardiorenal Syndromes” Internal Medicine Grand Rounds, Eastern Virginia College
      of Medicine, Norfolk, VA, February 19, 2020




                                                                                      App000330
Case 4:21-cv-01058-P Document 27 Filed 12/07/21           Page 333 of 633 PageID 1059



   L356)   "Keynote Address: Prevention of Heart and Kidney Disease” Annual Cardio Renal
      Metabolic Conference, Cardiorenal Society of America, Phoenix, AZ March 6, 2020

   L357)    “Cardioprotective Effects of Antidiabetic Medications: Focus on Sodium-Glucose
      Transporter-2 Antagonists” Annual Cardio Renal Metabolic Conference, Cardiorenal Society
      of America, Phoenix, AZ March 7, 2020

   L358)    “Fabry Disease: A Unique Cardiorenal Model” Annual Cardio Renal Metabolic
      Conference, Cardiorenal Society of America, Phoenix, AZ March 7, 2020

   L359)    “Biomarkers in Heart and Kidney Disease: Practical Applications” Annual Cardio
      Renal Metabolic Conference, Cardiorenal Society of America, Phoenix, AZ March 7, 2020

   L360)    “Expert Briefing from ADA 2020 Select Sessions: Update on Heart Failure for the
      Diabetologist & Cardiorenal–Metabolic Axis in Diabetes” American Diabetes Association,
      June 14, 2020

   L361)    “CKD, CHD and Hyperkalaemia: Clinical Outcomes, Morbidity and Mortality”
      American College of Cardiology - American Society of Nephrology Masterclass September
      11, 2020

   L362)    “RAASi Enabling in Cardiology Practice - Traditional vs New Potassium Binders;
      Potassium Binders for Treatment of Hyperkalaemia in HF” American College of Cardiology -
      American Society of Nephrology Masterclass September 11, 2020

   L363)   ”Optimizing Transitions from Hospital to Home: Best Practices for Reducing
      Readmissions in Heart Failure” Hospital Management Summit, October 3, 2020.

   L364)    “Assessment and Management of Hyperkalemia in the Hospital Setting: Optimizing
      Patient Outcomes” Hospital Management Summit, October 3, 2020.

   L365)    “Navigating the Challenges of Cardio-Renal Syndrome” 7th Annual Kansas
      Cardiovascular Symposium, October 10, 2020

   L366)   ”Management Considerations for Heart Failure in CKD” American Society of
      Nephrology Kidney Week 2020, October 24, 2020

   L367)    “Pathophysiologic Basis and Rationale for Early Ambulatory Treatment of SARS-CoV-2
      (COVID-19), SciInov, November 2, 2020

   L368)   “CV and Renal Benefits with new anti-diabetes medications: Potential Mechanisms”
      CReDO Conferences Middle East North Africa (MENA) 2020, November 6, 2020




                                                                                   App000331
Case 4:21-cv-01058-P Document 27 Filed 12/07/21           Page 334 of 633 PageID 1060



   L369)    “Consequences of Withholding GDMT for Heart Failure in CKD: One Step Forward,
      Two Steps Back” AHA 2020 November 16, 2020

   L370)     “Early Ambulatory Treatment for SARS-CoV-2 (COVID-19)” Early Outpatient
      Treatment: An Essential Part of a COVID-19 Solution. US. Senate Committee on Homeland
      Security and Governmental Affairs, Washington DC November 19, 2020

   L371)    “Pathophysiological Basis & Rationale for Early Outpatient Treatment of SARS-CoV-2
      (COVID-19) Infection” 18th Annual World Congress Insulin Resistance Diabetes &
      Cardiovascular Disease, December 3, 2020

   L372)   “Early Ambulatory Therapy for COVID-19 and Update on Vaccine Safety” Heritage
      Foundation, Washington DC, June 23, 2021

   L373)   “Pathophysiological Basis and Clinical Rationale for Early Ambulatory Treatment of
      COVID-19” Question Everything Conference Lockdowns – Is Now the Time for a Better
      Solution?, London, UK, July 17, 2021

   L374)    “Pathophysiological Basis and Clinical Rationale for Early Ambulatory Treatment of
      COVID-19 and Update on Vaccine Safety” American Academy of Anti-Aging Medicine, Ann
      Arbor, MI, July 18, 2021

   L375)    “Keynote: Winning the War Against Therapeutic Nihilism and the Rush to Replace
      Trusted Treatments with Untested Novel Therapies” Association of American Physicians
      and Surgeons, AAPS 78th Annual Meeting, Sept. 30 to Oct. 2, 2021 – Pittsburgh, PA, October
      2, 2021



INTERNAL COMMITTEE POSITIONS

   1) Member, Henry Ford Medical Group Hypertension Control Committee, 1998.

   2) Ranking Member and Presenter, HFHS Institutional Review Board, 1998-2000.

   3) Member, HFHS Teaching and Education Committee, Co-Chair of the Research
      Subcommittee, 1999-2000

   4) Member, HFHS Graduate Medical Education Committee, 1999-2000.

   5) Member, HFHS, Internal Medicine Residency Selection Committee, 1998-2000.

   6) Chair, HFHS, Cardiovascular Diseases Fellowship Program Selection Committee, 1999-2000.




                                                                                   App000332
Case 4:21-cv-01058-P Document 27 Filed 12/07/21           Page 335 of 633 PageID 1061



   7) Co-Chair, HFHS, Information Technology and Medical Records Committee, 1999-2000.

   8) Member, HFHS Department of Internal Medicine, Research Committee, 1999-2000.

   9) Member, UMKC Adult Health Sciences Institutional Review Board, 2001-2002

   10) Member, UMKC, Cardiovascular Diseases Fellowship Program Selection Committee, 2000-
       2002

   11) Member, Truman Medical Center (TMC) Information Technology Steering Committee, 2001-
       2002.

   12) Member, WBH Diabetes Research Center Steering Committee, 2002-2003

   13) Chairperson, WBH Staff Privileges Appeals Committee, March 31, 2004

   14) Chairperson, WBH Search Committee for Medical Director of Transplantation Medicine,
       2005-2006

   15) WBH Research Institute Board of Governors, board member, 2007-2010

   16) Oakland University William Beaumont School of Medicine, Medical Student Committee
       (founding) for development of Liaison Committee on Medical Education (LCME) application,
       2007-2010

   17) St. John Providence Health System Graduate Medical Education Steering Committee (Chair),
       2010 to 2013

   18) St. John Providence Health System Research Leaders Committee, Chair, 2010 to 2012; Co-
       Chair 2012 to 2013

   19) Ascension Michigan Research Affinity Group, Chair, 2010 to 2012; Co-Chair 2012 to 2013

   20) St. John Providence Health System Executive Committee, 2011 to 2013

   21) St. John Providence Health System Guidelines Committee, 2012 to 2013

   22) St. John Providence Health System Presidents Council, 2012 to 2013

   23) St. John Providence Health System Electronic Medical Record Meaningful Use Steering
       Committee, 2013

   24) BUMC Graduate Medical Education Committee, 2014 to present




                                                                                    App000333
Case 4:21-cv-01058-P Document 27 Filed 12/07/21           Page 336 of 633 PageID 1062



   25) BUMC Internal Medicine Residency Program Clinical Competency Committee, 2014 to 2021

   26) BUMC Clinical Cardiology Fellowship Program Clinical Competency Committee, 2014 to
       2021

   27) BUMC Founding Member, Department of Molecular Pathology and Medicine, 2016 to 2021

   28) BUMC Precision Medicine Executive Committee, 2016 to 2021

   29) BUMC COVID-19 Therapeutic Task Force 2020


EXTERNAL COMMITTEE POSITIONS

   1) Member, AHA National Women’s Heart Disease and Stroke Campaign, Healthcare Provider
      Sub-Group, Dallas, TX, 1998-1999

   2) Member, AHA, Chronic Coronary Disease in the Elderly National Database Planning
      Committee, Dallas, TX, 1998-2000

   3) Chair, Michigan Chapter of the American College of Cardiology, Annual Mini-Board Review,
      1999-2000

   4) Member, Michigan Chapter of the American College of Cardiology, Annual Meeting Planning
      Committee, 1999-2000

   5) Member, National Kidney Disease Outcomes Quality Initiative (K/DOQI) Clinical Practice
      Guidelines Committee on Chronic Kidney Disease, Andrew S. Levey, MD, Chair, 2001-2002

   6) Member, K/DOQI Learning System (KLS)¥ Advisory Board, NKF, New York, NY, 2003 to
      2010

   7) Member, International EECP Patient Registry Working Group, 2003-2008.

   8) Counselor at large, Michigan Chapter of the American College of Cardiology, 2004-2006

   9) Member, Planning Committee, AHA, Prevention VIII Conference: Kidney Disease,
      Hypertension, and Cardiovascular Disease, January 26-28, 2006, Orlando, FL

   10) Chair, Contrast-Induced Nephropathy (CIN) Working Group Consensus Panel, (international,
       multispecialty, consensus panel with published findings) 2004-2006. Published in Am J
       Cardiol 2006 Vol 98(6)




                                                                                   App000334
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 337 of 633 PageID 1063



   11) Workgroup Member, Kidney Disease Improving Global Outcomes (KDIGO), United States
       Representative, Amsterdam, Netherlands, 2004, 2006

   12) Member, Kidney Disease Improving Global Outcomes (KDIGO) Group for the development
       of Clinical Practice Guidelines for the Diagnosis, Evaluation, Prevention, and Treatment of
       Chronic Kidney Disease Related Mineral and Bone Disorders (CKD-MBD), Paris, France,
       2007-2008

   13) Board of Directors Member, Kidney Disease Improving Global Outcomes (KDIGO), United
       States Representative, Brussels, Belgium, 2007-2010

   14) Workgroup Member, The Sixth International Acute Dialysis Quality Initiative (ADQI)
       Consensus Conference VI: Acute Kidney Injury in Cardiac Surgery, Vicenza, Italy May 27 –
       28, 2007

   15) Workgroup Leader, Prevention: The Seventh International Acute Dialysis Quality Initiative
       (ADQI) Consensus Conference VII: Cardiorenal Syndrome, Venice, Italy, September 4-5,
       2008, with publication n Nephrology, Dialysis, and Transplantation, 2010.

   16) Chairman, Natriuretic Peptide Testing in Acute Coronary Syndromes Consensus Panel, with
       published findings in Reviews in Cardiovascular Medicine 2010, Dallas, TX, March 2, 2010

   17) Scientific Advisory Board, NKF, New York, NY, 2010 to present

   18) Scientific Advisory Board, Cardiorenal Society of America, Phoenix, AZ, 2012 to present

   19) Workgroup Member, “Cardiovascular Disease in CKD: What is it and what can we do about
       it?” Kidney Disease Improving Global Outcomes (KDIGO), October 29-31, 2010, London,
       England.

   20) Chairman, “Cardio-Renal Syndromes II: from pathophysiology to therapy” Eleventh
       Consensus Conference Cardio-Renal Syndromes II November 30 – December 2, 2012,
       Venice, Italy.

   21) Conference Co-Chair: “Kidney Disease Global Outcomes (KDIGO) Controversies Conference
       on Heart Failure in Chronic Kidney Disease”, Athens, Greece, May 25-28, 2017

   22) Chairman, “Cardiometabolic University”, Dallas, TX, December 3-4, 2017

   23) Chair, American Heart Association Council on the Kidney in Cardiovascular Disease and
       Council on Clinical Cardiology. Cardiorenal Syndrome: Classification, Pathophysiology,
       Diagnosis, and Treatment Strategies: A Scientific Statement From the American Heart
       Association, 2019




                                                                                       App000335
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 338 of 633 PageID 1064



   24) Committee Member, American College of Cardiology, Navigating Treatment Decisions for
       Patients with ASCVD and Multiple Comorbidities Committee, 2019-2020

   25) Chief Medical Advisor, Truth for Health Foundation, Tucson AZ, 2021 to present

   26) Advisory Board Member, TrialSite News, 2021 to present

   27) National and International Advisor/Reviewer/Presenter/Contributor for 4D Molecular
       Therapies, ABC News, Abbott Laboratories, AbbVie, Advanced Health Media, Aegerion,
       Affymax, Akceia, Akebia, Alere North America, AMAG, Amersham, Amgen, Amylin,
       AntiSeptiscope, Aralez, Ardian, Adelyx, Arra Hitech, Astellas, AstraZeneca, Astute Medical,
       Atherotech, Axio, BG Medicine, Avenue Therapeutics, Aventyn, Back Bay Lifescience
       Advisors, Bayer, Biocritique, Bioexpertise, Biomarin, Bionest Partners, Bioporto, Biosite,
       Biostar, BioZ, Boehringer Ingelheim, Braintree Laboratories, Broeker, Bristol Myer Squibb,
       Cardiokine, Cardiorentis, Chapman and Priest, Charles River Associates, Chelsea
       Therapeutics, Chiesi USA, ClearView Healthcare Partners, Clinipace, Complexa, Connected
       Research and Consulting, CorMedix, Cornerstone Therapeutics, Corvidia, Covance, Critical
       Diagnostics, Cromsource, Crossover Technologies, Chrysalis BioTherapeutics, Cytopheryx,
       Cytel, DaVita, Daws, DeMatteo Monness, Diadexus, Daiichi Sankyo, Decision Resources, ECG
       Healthcare, Edwards Life Sciences, Elsevier, Espirion, F. Hoffmann-La Roche Ltd, Fast
       Biomedical, Fish and Richardson, LLC, Fisher Scientific, FlowMedica Inc, Frictionless Digital,
       Fresenius Medical Care, General Electric, Genzyme, Gerson Lehrman, Gilead, GVI Clinical
       Development Solutions, Health Law Partners, Healthspan DX, HealthSTAR Communications,
       Hershey, Hikari, Hogan Lovells, Hudson Global, ICON, Huff, Powell, and Bailey, LLC, IMC
       Press, Imidex, Impact Education, Instrumentation Laboratories, Intercept Pharmaceuticals,
       Intrinsic Life Sciences, Ischemix Technologies, Janssen, Jannsen, Johnson and Johnson,
       Jordan, KAI Research, Keryx, Ketchum, Inc, Knowledge Point 360, Kowa, Eli Lilly, LabCorp,
       Lewis Brisbois, Liberty Dialysis, Ligand, Lipocine, Litchfield Cavo, Luitpold Pharmaceuticals,
       Lundbeck, Maxaccess Managed Markets, MannKind, MEDACorp, MedEd Group, Medevera,
       Medical Exchange International, Medical Package, Medicines Company, Medicure Pharma,
       Inc., MedReviews, Medscape, Medtronic, Merck, Meridian 361 International Law Group,
       Meso Scale Diagnostics, Miller Tanner Associates, Mitsubishi, Nanomix, Nanosphere, Nabi
       Biopharmaceuticals, Navigant, NephroGenix, Neumedicines, Noorik GmbH, Norman,
       Hanson, and Detroy, LLC, Novartis, NovoNordisk, NxStage, Ortho Clinical Diagnostics,
       Osprey, Otsuka, Overcome, P-value Communications, Parexel, Pharmapprove, Pfizer,
       Phoenix Holdings, Physicians World, PLC Medical, Praetego, PriMed, Progenabiome, Quidel
       Corporation, Qualidigm, Quintiles, Reata, Reliant Pharmaceuticals, Renew Research,
       Relypsa, Repros Therapeutics, Roche Diagnostics, Rock Creek, Saferox, Saghmos
       Therapeutics, Salix, Sanfit, Sankyo, Sanofi, Sarepta Therapeutics, Scarritt Group, Sentinel
       Investment, Sloan Law Firm, Sphingotec, Spectracell, St. Jude Medical, Strataca Systems,
       Statprobe, Sunshine Heart, Synageva, Takeda, Tasly, TheHill, Thrasos, TrialSiteNews, Trinity,
       Triptych Health Partners, US Medical Management, Vasomedical, Verrow, Vindico, Visiting
       Physicians Association, Vitalmetrix, Vivus, Watermark, WebMD, ZS Pharma, Inc.




                                                                                        App000336
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 339 of 633 PageID 1065




                              Exhibit (




                                                                      App000337
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                   Page 340 of 633 PageID 1066



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS


 PUBLIC HEALTH AND MEDICAL
 PROFESSIONALS FOR TRANSPARENCY,

                                     Plaintiff,             Civil Action No. 4:21-cv-01058-P
         -against-

 FOOD AND DRUG ADMINISTRATION,

                                     Defendant.



                           DECLARATION OF AARON SIRI, ESQ.

I, Aaron Siri, declare as follows:

        1.      I am the Managing Partner of Siri & Glimstad LLP, counsel to Public Health and

Medical Professionals for Transparency (“PHMPT”). I am admitted to practice pro hac vice in

this action. I make this declaration in support of PHMPT’s motion for expedited production.

        2.      The following is a link to a true and correct copy of a video of candidate Joe Biden

stating, “[y]ou’ve got to make all of it [the vaccine data] available to other experts across the nation

so they can look and see, so there’s a consensus this is a safe vaccine” available at https://www.c-

span.org/video/?c4988427/user-clip-jul-28-2020.

        3.      The following is a link to a true and correct copy of a video of Joe Biden stating, “I

get asked the question, if . . . President [Trump] announced tomorrow we have a vaccine, would

you take it? Only if it was completely transparent and other experts in the country could look at

it. Only if we knew all of what went into it” available at https://www.facebook.com/ABCNews

Politics/videos/902987476894155/ (at 24:10).




                                                   1
                                                                                              App000338
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                   Page 341 of 633 PageID 1067



       4.       The following is a link to a true and correct copy of a video of Joe Biden stating

that we need “total transparency so scientists outside the government know exactly what Is being

approved” available at https://abcnews.go.com/Politics/video/biden-trust-vaccine-proven-safe-

scientists-73058501.

       5.       Exhibit 1, attached hereto, is a true and correct copy of a document on the FDA’s

website titled “Detail of Full-Time Equivalents” available at https://www.fda.gov/media/132

813/download.

       6.       Exhibit 2, attached hereto, is a true and correct copy of a page on the White House

website titled “Remarks by President Biden at Virtual Global COVID-19 Summit” available at

https://www.whitehouse.gov/briefing-room/speeches-remarks/2021/09/22/remarks-by-president-

biden-at-virtual-global-covid-19-summit/.

       7.       Exhibit 3, attached hereto, is a true and correct copy of an article titled “Wait what?

FDA wants 55 years to process FOIA request over vaccine data” available at https://www.reuters.

com/legal/government/wait-what-fda-wants-55-years-process-foia-request-over-vaccine-data-

2021-11-18/.

       8.       Exhibit 4, attached hereto, is a true and correct copy of a letter from members of

the United States Senate to The Honorable Dr. Stephen Hahn dated September 14, 2020, available

at https://www.warren.senate.gov/imo/media/doc/2020.09.14%20Letter%20to%20FDA%20re%

20transparency%20in%20vaccine%20review%20process_.pdf.

       9.       Exhibit 5, attached hereto, is a true and correct copy of a press release titled “Rep.

Ralph Norman Introduces Legislation to Expedite FDA Compliance with FOIA Requests for

Vaccine Approval Data” available at https://norman.house.gov/news/documentsingle.aspx?Docu

mentID=1087.



                                                  2
                                                                                             App000339
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                   Page 342 of 633 PageID 1068



       10.      Exhibit 6, attached hereto, is a true and correct screenshot of a tweet by Senator

Ted Cruz, available at https://twitter.com/tedcruz/status/1461523687333666817.

       11.      Exhibit 7, attached hereto, is a true and correct copy of a press release titled “Pfizer

and BioNTech Announce an Agreement with U.S. Government for Up To 600 Million Doses of

mRNA-Based vaccine Candidate Against SARS-CoV-2” available at https://www.pfizer.com/

news/press-release/press-release-detail/pfizer-and-biontech-announce-agreement-us-government-

600.

       12.      Exhibit 8, attached hereto, is a true and correct copy of a press release titled “Biden

Administration purchases additional doses of COVID-19 vaccines from Pfizer and Moderna”

available at https://www.hhs.gov/about/news/2021/02/11/biden-administration-purchases-addit

ional-doses-covid-19-vaccines-from-pfizer-and-moderna.html.

       13.      Exhibit 9, attached hereto, is a true and correct copy of an article that appears on

the Pharmacy Today website titled “U.S. buys 200 million COVID-19 vaccines from Pfizer and

BioNTech at about $24 a dose” available at https://www.pharmacytoday.org/drugs/drugs-2021-

07-27-story2.

       14.      Exhibit 10, attached hereto, is a true and correct copy of a page on the U.S.

Department of Defense’s website titled “Contracts For Aug. 2, 2021” available at https://www.def

ense.gov/News/Contracts/Contract/Article/2716710/.

       15.      Exhibit 11, attached hereto, is a true and correct copy of an article titled "U.S.

Purchases Additional 50 Million Pediatric Doses Of Covid-19 Vaccine, Pfizer Says" available at

https://www.forbes.com/sites/roberthart/2021/10/28/us-purchases-additional-50-million-pediatric

-doses-of-covid-19-vaccine-pfizer-says/?sh=292ea8c72e62.




                                                   3
                                                                                              App000340
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 343 of 633 PageID 1069



       16.    Exhibit 12, attached hereto, is a true and correct copy of a page on the U.S.

Department of Defense’s website titled “Contracts For Nov. 22, 2021” available at https://www.de

fense.gov/News/Contracts/Contract/Article/2851450/.

       17.    Exhibit 13, attached hereto, is a true and correct copy of a page on the Centers for

Disease Control and Prevention’s website titled “Novel Coronavirus (COVID-19)” available at

https://www.cdc.gov/budget/fact-sheets/covid-19/index.html.

       18.    Exhibit 14, attached hereto, is a true and correct copy of a page on The White House

website titled "FACT SHEET: Biden Administration Announces Historic $10 Billion Investment

to Expand Access to COVID-19 Vaccines and Build Vaccine Confidence In Hardest-Hit and

Highest-Risk Communities" available at https://www.whitehouse.gov/briefing-room/statements-

releases/2021/03/25/fact-sheet-biden-administration-announces-historic-10-billion-investment-

to-expand-access-to-covid-19-vaccines-and-build-vaccine-confidence-in-hardest-hit-and-highest-

risk-communities/.

       19.    Exhibit 15, attached hereto, is a true and correct copy of an article titled "White

House announces new funds for COVID-19 testing and vaccination amid delta surge" available at

https://thehill.com/policy/healthcare/564335-white-house-announces-new-funds-for-covid-19-

testing-and-vaccination-amid.

       20.    Exhibit 16, attached hereto, is a true and correct copy of an email from Courtney

D. Enlow dated December 1, 2021.

       21.    Exhibit 17, attached hereto, is a true and correct screenshot of data from the Centers

for Disease Control and Prevention’s COVID Data Tracker, available at https://covid.cdc.gov/

covid-data-tracker/#vaccinations_vacc-total-admin-rate-total.




                                                4
                                                                                           App000341
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                    Page 344 of 633 PageID 1070



       22.      Exhibit 18, attached hereto, is a true and correct copy of an article titled “States

with High Vaccination Rates Can Still Experience COVID-19 Surges – Here’s Why” available at

https://www.healthline.com/health-news/states-with-high-vaccination-rates-can-still-experience-

covid-19-surges-heres-why.

       23.      Exhibit 19, attached hereto, is a true and correct copy of a Media Statement titled

“Statement from CDC Director Rochelle P. Walensky, MD, MPH on Today's MMWR” available

at https://www.cdc.gov/media/releases/2021/s0730-mmwr-covid-19.html.

       24.      Exhibit 20, attached hereto, is a true and correct copy of an article titled “The new

Omicron COVID variant Is a stark reminder that we are still In the depths of the pandemic”

available at https://fortune.com/2021/11/26/omicron-south-africa-covid-variant-vaccine-resistant-

pandemic/.

       25.      Exhibit 21, attached hereto, is a true and correct copy of an article titled “Rising

Covid-19     Breakthrough     Cases     Hinder     Efforts    to   Control       Virus”    available   at

https://www.wsj.com/articles/rising-covid-19-breakthrough-cases-hinder-efforts-to-control-

virus-11636191003.

       26.      Exhibit 22, attached hereto, is a true and correct copy of a page on the Centers for

Disease Control and Prevention’s website titled “COVID-19 Vaccine Booster Shots” available at

https://www.cdc.gov/coronavirus/2019-ncov/vaccines/booster-shot.html.

       27.      Exhibit 23, attached hereto, is a true and correct copy of a page on Pfizer's website

titled “Transparency In Clinical Trials” available at https://cdn.pfizer.com/pfizercom/Clinical-

Trial-Transparency-Policy-Paper-FINAL-2019.pdf.

       28.      Exhibit 24, attached hereto, is a true and correct copy of an article titled

“Transparency     of   COVID-19       vaccine    trials:   decisions   without     data”   available   at



                                                   5
                                                                                                App000342
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                  Page 345 of 633 PageID 1071



https://archive.hshsl.umaryland.edu/bitstream/handle/10713/16360/bmjebm-2021-111735.full.

pdf?sequence=1&isAllowed=y.

       29.     Exhibit 25, attached hereto, is a true and correct copy of an FDA News Release

titled “FDA Approves First COVID-19 Vaccine” dated August 23, 2021, available at

https://www.fda.gov/news-events/press-announcements/fda-approves-first-covid-19-vaccine.

       30.     Exhibit 26, attached hereto, is a true and correct copy of a Citizen Petition dated

June 1, 2021, available at https://www.regulations.gov/document/FDA-2021-P-0521-0001.

       31.     Exhibit 27, attached hereto, is a true and correct copy of an article titled “Why we

petitioned the FDA to refrain from fully approving any covid-19 vaccine this year” available at

https://blogs.bmj.com/bmj/2021/06/08/why-we-petitioned-the-fda-to-refrain-from-fully-

approving-any-covid-19-vaccine-this-year/.

       32.     Exhibit 28, attached hereto, is a true and correct copy of an article titled “Did the

FDA     understaff    its   review    of    the       Pfizer/BioNTech   vaccine?”     available    at

https://www.statnews.com/2020/12/17/did-the-fda-understaff-its-review-of-the-pfizer-biontech-

vaccine/.

       33.     Exhibit 29, attached hereto, is a true and correct copy of an article titled “Does the

FDA think these data justify the first full approval of a covid-19 vaccine?” available at

https://blogs.bmj.com/bmj/2021/08/23/does-the-fda-think-these-data-justify-the-first-full-

approval-of-a-covid-19-vaccine/.

       34.     Exhibit 30, attached hereto, is a true and correct copy of an article titled “Covid-

19: FDA set to grant full approval to Pfizer vaccine without public discussion of data” available at

https://www.bmj.com/content/374/bmj.n2086.




                                                  6
                                                                                            App000343
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 346 of 633 PageID 1072



       35.     Exhibit 31, attached hereto, is a true and correct copy of a page on the White House

website titled “Fact Sheet: Biden Administration Announces Details of Two Major Vaccination

Policies” available at https://www.whitehouse.gov/briefing-room/statements-releases/2021/11/04/

fact-sheet-biden-administration-announces-details-of-two-major-vaccination-policies/. The full

version of the Emergency Temporary Standard issued by the Occupational Safety and Health

Administration published in the Federal Register on November 5, 2021 is available at

https://www.federalregister.gov/documents/2021/11/05/2021-23643/covid-19-vaccination-and-

testing-emergency-temporary-standard.

       36.     Exhibit 32, attached hereto, is a true and correct copy of a page on the White House

website titled “Path Out of the Pandemic” available at https://www.whitehouse.gov/covidplan/.

       37.     Exhibit 33, attached hereto, is a true and correct copy of a document titled

“Memorandum for Senior Pentagon Leadership Commanders of the Combatant Commands

Defense Agency and DOD Field Activity Directors” available at https://media.defense.gov/

2021/Oct/04/2002867430/-1/-1/0/MANDATORY-CORONAVIRUS-DISEASE-2019-

VACCINATION-OF-DOD-CIVILIAN-EMPLOYEES-OSD008990-21-RESP-FINAL.PDF.

       38.     Exhibit 34, attached hereto, is a true and correct copy of a page on the University

of Colorado Boulder’s website titled “COVID-19 Vaccination Requirements and Process”

available at https://www.colorado.edu/covid-19-updates/covid-19-vaccination.

       39.     Exhibit 35, attached hereto, is a true and correct copy of a page on sf.gov titled

“Vaccine required” available at https://sf.gov/information/vaccine-required.

       40.     Exhibit 36, attached hereto, is a true and correct copy of an article titled “Dr.

Anthony Fauci: Expect ‘a flood’ of COVID-19 vaccine mandates after full FDA approval”




                                                7
                                                                                          App000344
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                    Page 347 of 633 PageID 1073



published    August   6,   2021,    available     at   https://www.usatoday.com/story/news/health

/2021/08/06/anthony-fauci-covid-vaccine-mandates-fda-full-approval/5513121001/.

       41.     Exhibit 37, attached hereto, is a true and correct copy of the FOIA request at issue

in this case, which is dated August 27, 2021 and was submitted by PHMPT to the Food and Drug

Administration.

       42.     Exhibit 38, attached hereto, is a true and correct copy of the confirmation PHMPT

received upon submitting the FOIA Request.

       43.     Exhibit 39, attached hereto, is a true and correct copy of a letter dated August 31,

2021 issued by the FDA to PHMPT.

       44.     Exhibit 40, attached hereto, is a true and correct copy of a letter dated September

9, 2021 issued by the FDA to PHMPT.

       45.     Exhibit 41, attached hereto, is a true and correct copy of an email from Courtney

D. Enlow dated December 2, 2021.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct to the best of my knowledge.

Dated: December 7, 2021




                                                Aaron Siri, Esq.




                                                   8
                                                                                          App000345
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 348 of 633 PageID 1074




                              Exhibit 




                                                                      App000346
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                                                                                                6833/(0(17$5<
                                                                                                                                                 Page 349 of 633   PageID 71075
                                                                                                                                                                              $%/(6

                                                                                                                                                             '(7$,/2))8//7,0((48,9$/(176



'(7$,/2))8//7,0((48,9$/(176

                                                                                                    )<$FWXDOV                        )<(VWLPDWH                    )<(VWLPDWH
                                                                                            &LYLOLDQ 0LOLWDU\      7RWDO          &LYLOLDQ 0LOLWDU\      7RWDO      &LYLOLDQ 0LOLWDU\      7RWDO
&HQWHUIRU)RRG6DIHW\DQG$SSOLHG1XWULWLRQ                                                                                                     
&HQWHUIRU'UXJ(YDOXDWLRQDQG5HVHDUFK                                                                                                
&HQWHUIRU%LRORJLFV(YDOXDWLRQDQG5HVHDUFK                                                                                                     
&HQWHUIRU9HWHULQDU\0HGLFLQH                                                                                                        
&HQWHUIRU'HYLFHVDQG5DGLRORJLFDO+HDOWK                                                                                                    
1DWLRQDO&HQWHUIRU7R[LFRORJLFDO5HVHDUFK                                                                                                          
2IILFHRI5HJXODWRU\$IIDLUV                                                                                      
+HDGTXDUWHUVDQG2IILFHRIWKH&RPPLVVLRQHU                                                                                                           
([SRUW&HUWLILFDWLRQ                                                                                               
&RORU&HUWLILFDWLRQ                                                                                               
)DPLO\6PRNLQJ3UHYHQWLRQDQG7REDFFR&RQWURO$FW                                                                                                                          
3ULRULW\5HYLHZ9RXFKHUV 359 3HGLDWULF'LVHDVH                                                                                                                   
0&0L1R<HDU                                                                                              
2SLRGV1R<HDU                                                                                              
VW&HQWXU\&XUHV %$2QO\                                                                                                     
7RWDO                                                           

                                                                                            )LYH<HDU+LVWRU\RI*6*0$YHUDJH*UDGH
                                                                                                    <HDU                    *UDGH
                                                                                                  )<                      
                                                                                                  )<                      
                                                                                                  )<                      
                                                                                                  )<                      
                                                                                                  )<                      


  )7(ILJXUHVGRQRWLQFOXGHDQHVWLPDWHGUHLPEXUVDEOH&5$'$)2,$DQG3(3)$5




                                                                                                                      

                                                                                                                                                                                           App000347
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 350 of 633 PageID 1076




                              Exhibit 




                                                                      App000348
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21           Page 351 of 633 PageID 1077


                                           BRIEFING ROOM



           Remarks by President Biden at Virtual Global
                       COVID-19 Summit
                             SEPTEMBER 22, 2021 • SPEECHES AND REMARKS




                                     South Court Auditorium
                              Eisenhower Executive Oﬃce Building


11:16 A.M. EDT


THE PRESIDENT: Good morning, everyone. And thank you for joining us today.


As I said yesterday at the United Nations, nothing is more urgent than all of us working
together to defeat COVID-19. And that — that world is going to be much better prepared for
future pandemics. We have to do both.


This summit is about supercharging our eﬀorts in three key areas: vaccinating the world by
dramatically ramping up vaccine production, donations, delivery, and administrating the
vaccine, which is a logistical — it’s a logistical challenge; addressing the oxygen crisis in many
hospitals around the world, making other treatments more accessible, and increasing the
availability of public health tools like masks and tests; and building back better so that our
global health security infrastructure is more resilient than it is today.


We’ve all suﬀered. The United States has lost more than 670,000 of our fellow Americans.
Worldwide, the death toll is above 4.5 million people — 4.5 million people. And this is a global
tragedy.


And we — and we’re not going to solve this crisis with half-measures or middle-of-the-road
ambitions. We need to go big. And we need to do our part: governments, the private sector,
civil society leaders, philanthropists. This is an all-hands-on-deck crisis.


And the good news is, we know how to beat this pandemic: vaccines, public health measures,
and collective action.



                                                                                      App000349
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21          Page 352 of 633 PageID 1078
During the first eight months of my presidency, we have worked aggressively to get Americans
and the world vaccinated. As President of the United States, my first responsibility is to
protect the American people. And I am proud that we have gone from 2 million Americans
being fully vaccinated when I took oﬃce in January 20th to 182 million and counting, today, in
America.


But we also know that to beat the pandemic here, we need to beat it everywhere. And I made
and I’m keeping the promise that America will become the arsenal of vaccines as we were the
arsenal of democracy during World War Two.

We have already shipped nearly 160 million doses to 100 countries, more than every other
country has donated combined. America’s donations of a half a billion Pfizer vaccines through
COVAX that I’ve announced before the G7 Summit in June have already begun to ship.


Today, I’m announcing another historic commitment. The United States is buying another half
billion doses of Pfizer to donate to low- and middle-income countries around the world.


This is another half a billion doses that will all be shipped by this time next year. And it brings
our total commitment to — of donati- — of donated vaccines to over 1.1 billion vaccines to be
donated.


Put another way, for every one shot we’ve administered to date in America, we have now
committed to do three shots to the rest of the world.


I want to thank Pfizer and its CEO and chairman, Albert. Albert has been a good friend and has
been helpful. They’ve been and continue to be partners and a leader in this fight.

And the United States is leading the world on vaccination donations. We need — as we’re
doing that, we need other high-income countries to deliver on their own ambitious vaccine
donations and pledges.


That’s why, today, we’re launching the EU-U.S. vaccine partnership to work more closely
together and with our partners on expanding global vaccinations.


And as we do so, we should unite around the world on a few principles: that we commit to
donating, not selling — donating, not selling, doses to low- and lower-income countries, and
that the donations come with no political strings attached; and that we support COVAX as the
main distributor for sharing WHO-approved vaccines; and that we fight vaccine
disinformation and exercise transparency to build vital public trust in these lifesaving tools.

                                                                                      App000350
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21          Page 353 of 633 PageID 1079
It’s also important that we are working toward common goals and targets so that we can
measure our progress and hold ourselves and each other accountable.


Secretary of State Blinken will be convening foreign ministers later this year to check on our
collective progress. And I propose that we come together for a second high-level virtual
summit in the first quarter of 2022 to help gauge our progress and keep our eﬀorts fully
aligned.


Another goal is dramatically boosting global and regional vaccine manufacturing capacity,
enhancing transparency so that vaccine production and distribution is predictable and
coordinated.


In fact, an important part of the reason the United States is able to make these big, historic
donations is because we’ve worked with U.S. vaccine manufacturers to accelerate the
manufacturing rate and production. And now we’re working quickly to scale up vaccine
manufacturing in other countries around the world so they can manufacture as well.


We’re working with partner nations, pharmaceutical companies, and other manufacturers to
increase their own capacity and capability to produce and manufacture safe and highly
eﬀective vaccines in their own countries. For example, our Quad partnership with India,
Japan, and Australia is on track to help produce at least 1 billion vaccine doses in India to boost
the global supply by the end of 2022.


And we’re providing financing and helping strengthen manufacturing in South Africa and
produce more than 500 million doses of J&J in Africa, for Africa next year.


And next, we also know from experience that getting those vaccines into people’s arms may be
the hardest logistical challenge we’ve faced. That’s why we need to significantly step up our
investment in helping countries get shots in arms.


Today, the United States is also announcing that we’re providing an additional $370 million to
support administering these shots and delivery globally. And we will be providing more than
$380 million to assist in the Global Vaccine Alliance — GAVI — to further facilitate vaccine
distribution in regions in the greatest — with the greatest need.


And while vaccinating the world is the ultimate solution to COVID-19, we know that we have
to act to save lives now. That’s why the United States are providing nearly $1.4 billion to
reduce COVID-19 deaths and mitigate transmission through bulk oxygen support, expanded
testing, and strengthening healthcare systems and more.

                                                                                      App000351
      Case 4:21-cv-01058-P Document 27 Filed 12/07/21         Page 354 of 633 PageID 1080
And we’re going to help all of us build back better by supporting the establishment of a
financial mechanism for global health security — to simply state — to prepare for the next
pandemic, because there will be a next time. We all know that. Vice President Harris will be
speaking more on this issue later today.


And finally, I want to acknowledge the leaders from the private sector, philanthropy, and civil
society who are here today.


Governments can do a lot, but we cannot do everything on our own. We’ve asked our
nongovernmental partners to take up the call for new actions that will solve the core
challenges of making vaccines available to everyone, everywhere; solving the oxygen
availability crisis; financing health security; and more. And I’m grateful — I’m grateful for their
leadership.


And let me close by — with what I made clear yesterday at the U.N.: We can do this. This is
within our capacity. We know what needs to be done. We just have to make the choice to do
it.


You know, the leaders on the screen that I see here today, I know they’ve made that choice.
And I think they know we can do this.


And I promise you, the United States will continue to lead. We’ll continue to drive historic
commitments in vaccine donations — 1.1 billion and counting — so we can defeat COVID-19
together.


And we’ll continue to invest in creating a future of true global health security for all people.
That is a big, big goal I ha- — we have — we should have. And we’re going to lead with the
power of our example. And we’re not going to stop.


But the only way to get this done is for everyone, everywhere — is for all of us to step up, which
I’m confident you will.


And now I’d like to turn this over to Ambassador Thomas-Greenfield of the United Nations.
And I want to thank everybody on the screen I can see here, without going to each one of you.


11:25 A.M. EDT




                                                                                      App000352
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 355 of 633 PageID 1081




                              Exhibit 




                                                                      App000353
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 356 of 633 PageID 1082




                                                                      App000354
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 357 of 633 PageID 1083




                                                                      App000355
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 358 of 633 PageID 1084




                                                                      App000356
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 359 of 633 PageID 1085




                                                                      App000357
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 360 of 633 PageID 1086




                                                                      App000358
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 361 of 633 PageID 1087




                                                                      App000359
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 362 of 633 PageID 1088




                              Exhibit 




                                                                      App000360
ÿ
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                     Page 363 of 633 PageID 1089



                                                  ÿ
                                                  ÿ
                                                  ÿ
                                                  ÿ
                                          123425627ÿ89ÿ ÿ
 ÿÿ
   2ÿ762ÿ7ÿ14232ÿÿ
 5527ÿÿÿÿ7ÿ
 ÿÿ7ÿ5474ÿ
 8 ÿ!2"ÿ5372ÿ#2ÿ
 1#27ÿ137ÿ$ÿ ÿ
 ÿ
 ÿÿ
 27ÿ5527ÿ%ÿ
 ÿÿ
             &2ÿ"742ÿ4ÿ22'ÿ(7ÿ)554524ÿ44ÿ42ÿ*++,ÿ./,ÿ0123ÿ4,56/6781.86+/97ÿ:*04;ÿ
 72#2"ÿ37)2ÿ7ÿ3424ÿ#))4ÿ4ÿ42ÿ)7#7ÿ22ÿ 8ÿ<=>?@8Aÿ"ÿ
62ÿ(ÿ473724ÿÿ))462ÿ&2ÿ72ÿ2)72ÿ6(ÿ42ÿ2#23524ÿÿÿ5627ÿÿ
#))2ÿ)428ÿÿ"2ÿ72ÿ8BCÿ*0497ÿ3+.Dÿ+EÿE.F6D68.86/3ÿG8BCÿ865CDHÿ,CICD+J5C/8ÿ+Eÿ7.ECÿ
 ÿ22)4#2ÿ#))2ÿ4ÿ372#24ÿ=>?@KLMNÿ"2#27ÿ"2ÿ72ÿ))272ÿ44ÿ42ÿ))22742ÿ
 4522ÿÿ422ÿ34)ÿ37272ÿ7ÿ42ÿ#))2ÿ2#23524ÿ37)2ÿ)ÿ#2ÿ42ÿ
 422ÿ)2O2)2ÿÿ275ÿ36)ÿ)2)2ÿÿ42ÿ24(ÿÿO4(ÿÿÿ
 2#24ÿ#))2ÿÿ
             ÿ
               2ÿ73ÿ322ÿÿ=>?@8ÿ#))2ÿ2#23524ÿÿ372)2242ÿ7724(ÿ572ÿ
4ÿ8 ÿ#))2ÿ94ÿ=>?@8ÿ72ÿÿ2#23524ÿ7ÿ42ÿ"7 ÿ"4ÿPÿ)7724(ÿÿ
 5ÿ))ÿ47ÿ2ÿ372#ÿ72)7ÿ452ÿ7ÿÿ#))2ÿ4ÿ5#2ÿ75ÿ))234ÿ4ÿ337#ÿ
"ÿ7ÿ(27Qÿÿ3772ÿ722)4ÿ7257'62ÿ274ÿÿ)67R4ÿ6(ÿ)244ÿ7ÿ
 42ÿ"7ÿÿ"2ÿÿ)4ÿ)ÿ3374ÿ75ÿ#27524ÿÿ72ÿ36)ÿ
 ))27Pÿ44ÿ42ÿ73ÿ322ÿÿ#))2ÿ2#23524ÿ)ÿ53)42ÿ42ÿ4274(ÿÿ42ÿ72#2"ÿ
 37)2ÿ42ÿÿ2ÿ22ÿÿS2ÿ ÿ4ÿ4ÿÿ42ÿ))ÿ2#23524ÿÿ
ÿ8ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ
  ÿTCUÿV+1WÿX65C7YÿGZ+1+/.I6127ÿ[.FF6/CÿX1.FWC1YNÿ\+/.8B./ÿZ+125Yÿ0C/67Cÿ]1.,HYÿ^26@_22ÿ&22ÿÿ7ÿ
 `5527ÿ123425627ÿaÿ ÿ443%bb"""(452)5b427)4#2b b)2)2b)7#7@#))2@47)'2745ÿÿ
  ÿ7#7ÿ<=>?@8Aÿc342%ÿÿ'2ÿ)4ÿ4ÿ23ÿ)442ÿ52(ÿ2#23524ÿÿ12ÿd2)4#2ÿ
 =>?@KLÿ[.FF6/C7YNÿ372ÿ7222ÿS2ÿ ÿ ÿ443%bb"""#b2"@2#24b372@
)2524b)7#7@)#@8@342@@4'2@)4@23@)442@452(@2#23524@2@22)4#2@
)#ÿÿ
  ÿTCUÿV+1WÿX65C7YÿG06EEC1C/8ÿ4JJ1+.FBC7ÿ8+ÿ.ÿZ+1+/.I6127ÿ[.FF6/CYNÿ\+/.8B./ÿZ+125Yÿe/I2Dÿ^BC6WBYÿ./,ÿZ.1Dÿ
 `5527ÿ$(ÿ ÿ ÿ443%bb"""(452)5b427)4#2b bQb b)2)2b)7#7@#))2@
92#2352445ÿÿ
  ÿTCUÿV+1WÿX65C7YÿGZ+1+/.I6127ÿ[.FF6/CÿX1.FWC1YNÿ\+/.8B./ÿZ+125Yÿ0C/67Cÿ]1.,HYÿ^26@_22ÿ&22ÿÿ7ÿ
 `
 Qÿ
   5527ÿ123425627ÿaÿ ÿ443%bb"""(452)5b427)4#2b b)2)2b)7#7@#))2@47)'2745ÿ
   f.7B6/38+/ÿg+78YÿGXBC7Cÿ.1Cÿ8BCÿ8+JÿF+1+/.I6127ÿI.FF6/C7ÿ8+ÿU.8FBYNÿ7ÿ142)'2627ÿ7(ÿhÿSÿ
 i672ÿ74ÿÿ7ÿ)47ÿ123425627ÿaÿ ÿ
 443%bb""""434)5b73)b b24b)#@#))2@342@)7#7bÿÿ
 Rÿ
 Pÿ
   jklÿÿ
   \4n4YÿGo/U.IC16/3ÿpC32D.8+1Hÿ^.EC32.1,7ÿE+1ÿZq[r0@KLÿ[.FF6/C7YNÿ4/./,ÿ^B.BYÿgC8C1ÿfMÿn.1W7Yÿ./,ÿ^8CJBC/ÿ
 $ÿÿ4ÿPÿ ÿ443%bbs524"7')5bs7bs5b74)2bPR98ÿÿ

                                                                                                 App000361
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                     Page 364 of 633 PageID 1090



234567895ÿ ÿ 443657ÿ 9ÿÿ5ÿ5ÿ98ÿ 3637936ÿ4636857ÿÿ2!ÿ23342ÿ
9577895ÿ6ÿ5ÿ"564!#3642836"ÿ$957356ÿ98%7ÿ9375ÿ36ÿ37ÿ&58'2346ÿ( 362ÿ
 65636ÿ7554ÿÿÿ 44365ÿ)322ÿ'5ÿ9 5ÿ'!ÿ*5ÿ56ÿ ÿ0*0*ÿ5ÿ56597ÿ 9ÿ37575ÿ
 692ÿ6ÿ$955636+,ÿ-.ÿ95456ÿ66864556ÿÿ757ÿ782ÿ'5ÿ9595ÿÿ
  3793'85ÿÿ 44365ÿ'!ÿ( 5'59ÿÿ7ÿ8959ÿ9375ÿ4645967ÿÿ5ÿ9 2ÿ94577ÿ)322ÿ'5ÿ
9875ÿÿ23342ÿ9577895ÿ937/7ÿ86593636"ÿ80123ÿ3567289639ÿ26ÿ:;9ÿ<=>+7ÿ9535)ÿ
94577ÿ862577ÿ5ÿ"564!ÿ437ÿÿ5?636"ÿ9679564!ÿ556ÿ8959ÿÿ
ÿ
         $957356ÿ98ÿ7ÿ'556ÿ5?5936"ÿ23342ÿ9577895ÿ6ÿ5ÿ@ÿ 9ÿ 67ÿ6ÿÿ
357ÿ5ÿ"564!ÿ7ÿ595ÿÿ78'3ÿÿ37ÿ9577895ÿ6ÿ8"87ÿ00ÿ$957356ÿ98ÿ
:A99:98BÿCD;9ÿ899Eÿ75ÿ9ÿ)559ÿ 59ÿÿ5ÿ@ÿ37ÿ /36"ÿ3ÿ59!ÿ33482ÿ 9ÿ98"ÿ
46357ÿÿ"5ÿ525ÿ36ÿ959ÿÿ57ÿ5ÿ 443657ÿ60ÿ5958347ÿ'3872!ÿ5!ÿ95ÿ
36"ÿÿ52!ÿ5ÿ67)59ÿ8632ÿ59ÿ( 5'59ÿF9BG ÿ9559936"ÿÿ5ÿ95735632ÿ525436ÿH87ÿ
  65ÿ !ÿ259ÿÿÿI35ÿJ 875ÿ'93536"ÿ$957356ÿ98ÿ668645ÿÿ5ÿ@ÿ) 7ÿ377836"ÿ
  6ÿ559"564!ÿ875ÿ893K36ÿ-LM.ÿ 9ÿ46 257456ÿ27 ÿ42336"ÿÿ5ÿ9556ÿ37ÿ
C,N79ÿN68ÿO9PQÿ97793:2O9Gÿ44936"ÿÿ5ÿ@Fÿ556ÿ7ÿ75639ÿ" 59656ÿ74356377ÿT6ÿ
   959ÿ<=>ÿ577232N1,ÿ,NQÿ:;N:ÿE1N,RNÿ;N,ÿ65:ÿ0996ÿCEP5O96ÿN,ÿN6ÿ97793:2O9ÿ:P9N:R96:SG ÿ5ÿ
UV>ÿN665W639R96:ÿ3NR9ÿ561QÿNÿ79Aÿ8NQ,ÿN7:9Pÿ,9O9PN1ÿ57ÿ:;9ÿ7989PN1ÿX5O9P6R96:+,ÿ:5Eÿ;9N1:;ÿ
    34327ÿ3642836"ÿ9ÿ@96437ÿ 22367ÿ6ÿ9ÿ66!ÿ@843ÿ9"85ÿÿ5ÿ@ÿÿ5ÿ
535645ÿ6ÿ5ÿ5 54356577ÿ ÿ46 257456ÿ27 ÿ) 7ÿ ÿ)5/ÿÿY873Z!ÿ37ÿ893K36ÿ
  85ÿÿ5ÿ24/ÿ ÿÿ4692ÿ"98ÿ36ÿ5ÿ93 9!ÿ78!ÿ ÿ37ÿ5 54356577ÿ[ 95 59ÿ!8ÿ
    5975ÿ5ÿ'56537ÿ ÿ46 257456ÿ27 ÿ6ÿ 22)36"ÿ4933437ÿ9ÿ5342ÿ5?597ÿ
  2"3K5ÿ 9ÿ5ÿ 597556\ÿ
         ÿ
         6ÿ[ 94ÿ$957356ÿ98ÿ9 5ÿ6ÿ869 56ÿ9556ÿ 9ÿÿ'!ÿ542936"ÿ
:;9ÿRN1NP2Nÿ8PWXÿ;Q8P5]Q3;15P5^W269ÿNÿCXNR9ÿ3;N6X9PGÿ"367ÿÿ6ÿ4225ÿ6ÿ5ÿ
ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ
ÿ
 <558ÿN68ÿ=PWXÿ>8R262,:PN:256BÿC=9O915ER96:ÿN68ÿ_2396,WP9ÿ57ÿ̀N33269,ÿ:5ÿaP9O96:ÿbc`d=GÿH865ÿ0*0*ÿ
      7eff))) " f95"829!36 9 36f7594 "83 645 48567f552566234567895 443657
  95564 3ÿÿ
       ÿgÿh9A,BÿCDPWREÿE198X9,ÿNÿb5O28ÿ 44365ÿ'!ÿ56ÿÿ0*0*ÿiÿ)38ÿ4/6)25"36"ÿ5ÿ74356334ÿ
W*639P:N26:QBGÿ_9Oÿ<N3;9PBÿ>WXW,:ÿjkBÿjljlBÿ7eff)))765)74f0*0*f*f0mf9825"5 44365560*0*fÿ
        ÿn559ÿÿo 59697ÿ9ÿÿ39549ÿ& '59ÿ&5 352ÿ8"87ÿ0mÿ0*0*ÿ
7eff935" "254f325ffFpYMq0 gr( (\!8' s2KMf35)ÿÿ
        ÿh9Aÿt5PuÿD2R9,BÿCbS=Sbÿ5227ÿg57ÿJ )ÿÿ$9595ÿ9ÿ 3vwÿ̀N33269ÿ0QÿUNP1Qÿh5O9R09PBGÿx;921Nÿ
 s 26ÿs 59365ÿHÿI8ÿ6ÿs 35ÿ 7ÿg55'59ÿ0ÿ0*0*ÿ
 07eff)))6!3574f0*0*f*f*0f52f4 3 44365442672ÿÿ
   Fÿ
        ÿ)55ÿ'!ÿ 62ÿHÿ98ÿ8"87ÿ00ÿ0*0*ÿ7eff)3594f952 6298f787f0mF\0*\\F*ÿÿ
         &5 9/7ÿ'!ÿ$957356ÿ98ÿ36ÿ$9577ÿy93536"ÿ8"87ÿ0Fÿ0*0*ÿ7eff))))35875" f'93536"7
   7T5567f95 9/7957356989577'93536"8"870F0*0*fÿÿ
        ÿa512:235BÿC<=>ÿNW:;5P2z9,ÿE1N,RNÿ:P9N:R96:ÿ89,E2:9ÿ,3296:2,:,+ÿ50{93:256,BGÿ|N3;NPQÿ}P966N6ÿN68ÿxNPNÿ
      )59 25ÿ8"87ÿ0Fÿ0*0*ÿ7eff)))23344f65)7f0*0*f*f0Ff27 9556496 3987 98
    TZ**F*ÿ
        ÿh9Aÿt5PuÿD2R9,BÿC<S=S>S+,ÿUR9PX963Qÿ>EEP5ON1ÿ57ÿ}1558ÿa1N,RNÿ2,ÿh )ÿ6ÿJ 2Gÿ( ÿI5326ÿg96ÿ
n@963595ÿ6ÿg593ÿ@36/ÿ8"87ÿ0ÿ0*0*ÿ7eff)))6!3574f0*0*f*ff87f23347f'2 27 4 3
     \2ÿÿ
        ÿyÿ(5)7ÿC<=>ÿ3;297ÿNE515X2z9,ÿ75Pÿ5O9P,:N:26XÿE1N,RNÿ97793:ÿ56ÿO2PW,BGÿ~N::;9Aÿa9PP569ÿN68ÿ=90ÿ
      &354 66ÿ8"87ÿ0Zÿ0*0*ÿ7eff'465)7"4fJ52f)395g9!f 43773659 59755 5473987
      59!m0ZZ00ÿÿÿ
                                                    0ÿ
ÿ                                                                                                App000362
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                           Page 365 of 633 PageID 1091



234ÿ67ÿ896ÿ6ÿÿÿ34ÿÿ!#ÿ"#$ÿ%!&ÿ'()ÿ*++,&-ÿÿ./)ÿ01ÿ%!&ÿ
2345ÿ,+&ÿ6*%!ÿ7%*&%+ÿ!1+7*%8*9&-ÿ6*%!ÿ:;<(=>$ÿ?,%ÿ8&++ÿ%!ÿÿ@1%!ÿ8%&$ÿ1ÿ)7*8ÿ"A$ÿ
*%ÿ,%*1&-ÿ%!%ÿ!B-1CB!811D,*&ÿEF2ÿ876ÿGÿE7Hÿ67ÿGÿ+0&ÿ-ÿIIJ6KÿI73ÿ63F64ÿ
:;<(=>ÿF2ÿ6EF6ÿ6ÿHFÿFHF3ÿ7Iÿ39736>ÿ7Iÿ837ÿEF36ÿ3EL6EMÿ937GNMÿÿ:;<(=>"ÿU
7%*&%+ÿ%&%&-ÿ?Bÿ!B-1CB!1811D,*&ÿO!&ÿ'()ÿ&P1Q&-ÿ%!&ÿ./)ÿ8%1R&%!&ÿ1ÿS,&ÿTÿ
O,@7ÿ-P*+1ÿV&%&ÿWP1ÿ*%**9&-ÿ%!&ÿ&P1%*1ÿ10ÿ%!&ÿ./)$ÿ88*Rÿ6ÿ8Fÿ39ÿX6F6ÿ
GN22ÿGLÿG3FJ3F6ÿHE7ÿEF6ÿ6EÿF2M63F67ÿ6ELÿH73YÿI73ÿM73ÿ6EFÿ6EL53ÿJ7J32ÿ
FG76ÿFK4ÿ4M3JFÿNKZ"ÿO!&ÿ01@&ÿ-*&%1ÿ10ÿ%!&ÿ[*1@&-*8ÿ)-P&-ÿ\&+&!ÿ-ÿ
(&P&817@&%ÿ),%!1*%Bÿ][)\()^$ÿ(ÿ\*Qÿ[*R!%$ÿ!+ÿ+*&ÿ0*8&-ÿÿ6!*+%8&?816&ÿ1@78*%$ÿ
88&R*Rÿ%!%ÿ!&ÿ6+ÿ-&@1%&-ÿ?&,+&ÿ!&ÿ&+*+%&-ÿ7&++,&ÿ01@ÿ%!&ÿ_!*%&ÿ̀1,+&ÿ-ÿ
)-@**+%%*1ÿ100**8+ÿ%1ÿ-*&%ÿ&+1,&+ÿ%16-ÿ%!*+ÿ,71P&ÿ-ÿ*&00&%*P&ÿ%&%@&%$ÿ*ÿ
P*18%*1ÿ10ÿ%!&ÿ%&@+ÿ10ÿ%!&ÿ./)""ÿÿ
            ÿ
            1&ÿ&&%8B$ÿabcdeÿ397362ÿ6EF6ÿ867ÿ6EÿFNF3Mÿ7Iÿ7Mÿ47K3M6ÿEFN6Eÿ7IIJFNfÿ
V&+*-&%ÿO,@7ÿ!+ÿ&C7&++&-ÿ&%!,+*+@ÿ01ÿ%!&ÿ'11-ÿ-ÿ(,Rÿ)-@**+%%*1ÿ%1ÿ7&@*%ÿÿ
&C%%ÿ01@ÿ%!&ÿ18&-&ÿ78%ÿ%1ÿ?&ÿ@Q&%&-ÿ+ÿÿ-*&%Bÿ+,778&"@&  %ÿ1$ÿ8%&%*P&8B$ÿ771P&-ÿ
+ÿÿ-,Rÿ%1ÿ,&ÿ:;<(=ghfÿ296ÿNFJYÿ7Iÿ9377Iÿ6EF6ÿ6ÿH73YZ0ÿBV*8816ÿ01,-&ÿ-ÿ:.ÿ
*Q&ÿi*-&88$ÿ6!1$ÿ%1ÿ?&ÿ8&$ÿ*+ÿ1%ÿÿ7,?8*ÿ!&8%!ÿ&C7&%$ÿ-ÿ!+ÿÿ0**8ÿ+%Q&ÿ*ÿ%!&ÿ
  1@7Bÿ%!%ÿ-&P&817+ÿ18&-*$ÿ71@1%&-ÿ%!&ÿ-,Rÿ%1ÿV&+*-&%ÿO,@7ÿ*ÿS,8Bÿ81Rÿ6*%!ÿ
j&&%Bÿ10ÿ̀1,+*Rÿ-ÿ/?ÿ(&P&817@&%ÿ[&ÿ:+1$ÿF2ÿk326ÿ3M9ÿF432ÿ6EF6ÿ8%!&ÿ
234ÿE7N2ÿGÿF9937K4ÿ6ÿKÿ6E74Eÿ6E3ÿÿ"7Aÿ9GNJÿ2F6Fÿ34F324ÿ7NF235ÿ664ÿÿ
*@8+ÿ1ÿ!,@+ÿ01ÿ&00*BÿR*+%ÿ:;<(=>ÿ(&+7*%&ÿ%!*+ÿ7&++,&$ÿ%!&ÿ'()ÿ1,&-ÿ
8+%ÿ6&&Qÿ%!%ÿ*%ÿ61,8-ÿ1%ÿ771P&ÿ18&-*ÿ%1ÿ?&ÿ@Q&%&-ÿ+ÿ-*&%Bÿ+,778&@&%"Tÿ
            ÿ
ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ
      ÿO6&&%ÿ?Bÿ(18-ÿSÿO,@7$ÿ!ÿ"$ÿ"U"U$ÿ
   !%%7+lmm%6*%%&1@m&8(18-O,@7m+%%,+m"A0n"0>>UU#TUo&0p+q%6+rT.%06r:%6 @7rT.%6&&%&
   @?&-r:%6%&@rT."A0n"ATA0nA"0r:%6RrT.+!&p0s&0p,8q!%%7+r0)r"'r"'?&6+R11@r
   "'`&8%!r"'%*@&8*&=%Q*R=%,@7=81R+*-&=+*&%*0*=-&P&817@&%+=
   !#B-1CB!811D,*&r"'+%1Br0'*-r0("UTT0ÿÿÿ
        ÿ'11-ÿ-ÿ(,Rÿ)-@**+%%*1$ÿ8&%%&ÿ%1ÿ(ÿ\*Qÿ[*R!%$ÿ!ÿ"#$ÿ"U"U$ÿ
 !>%%7+lmm6660-R1Pm@&-*m0nT0Am-1681-ÿÿ
        ÿ2772ÿF2ÿ334ÿ42M63F67fÿ8'()ÿ(,Rÿj0&%Bÿ:1@@,*%*1lÿ'()ÿ,%*1+ÿR*+%ÿ,+&ÿ10ÿ
 !B-1CB!811D,*&ÿ1ÿ!811D,*&ÿ01ÿ:;<(=>ÿ1,%+*-&ÿ10ÿ%!&ÿ!1+7*%8ÿ+&%%*Rÿ1ÿÿ8**8ÿ%*8ÿ-,&ÿ%1ÿ*+Qÿ10ÿ
!"U&%ÿ!B%!@ÿ71?8&@+fÿ493Nÿ"A$ÿ"U"U$ÿ!%%7+lmm6660-R1Pm@&-*m0"TUm-1681-ÿÿÿ
        ÿ4tuÿvHfÿ8MNwÿ3FJY4ÿ3M9ÿFN742ÿJ6IJÿ2KN79M6ÿ7ÿEL237xLJEN737y fÿGGLÿ
      :%!&B$ÿ),R,+%ÿ#$ÿ"U"U$ÿ!%%7+lmm?&6+R11@m̀&8%!m%*@&8*&=%Q*R=%,@7=81R+*-&=+*&%*0*=-&P&817@&%+=
    !"B-1CB!811D,*&m+%1Bo*-q"UTT0ÿ
        ÿvHÿ73YÿMfÿ84ÿF2ÿXJ3FMGNÿ67ÿX67JYÿ NN7ÿ7IÿFNF3FÿkNNfÿYNLÿI73ÿv76E4fÿXE3LNÿzFLÿX67NG34fÿ
S,&ÿn$ÿ"U"U$ÿ!%%7+lmm666B%*@&+1@m"U"UmUnmnm,+m718*%*+m%,@7=!B-1CB!811D,*&=
     ""ÿ
        11P*,+!%@8o+@*-q%6=+!&ÿÿ
         /jÿ00*&ÿ10ÿj7&*8ÿ:1,+&8ÿ:1@78*%ÿ10ÿV1!*?*%&-ÿV&+1&8ÿV%*&ÿ1ÿ%!&ÿV1!*?*%&-ÿ) %*P*%B$ÿ0*8&-ÿ?Bÿ
(ÿ\*Qÿ[*R!%$ÿ!%%7+lmm1%&C%=-6+!*R%171+%1@m1%&+m71-m-&0,8%m-1,@&%+mn?0-&A-n=A0-=An=#&&?=
     n"0?0-0>&AU0m1%&m"n00-=-UnU=A"T=0A=T#n&&"{7R&qÿ
        ÿ4x7fÿ83M9ÿLÿHÿ937KÿJ737FK3ÿ|J35fÿ}7F6EFÿXHFfÿ4 46ÿg~fÿfÿ
  !"A%%7+lmm666C*1+1@m%,@7=1P*-=18&-*=>#>n0TU=n-#=A>>=00=nT&?-0-A!%@8ÿÿ
        ÿÿ
      "Tÿuvvfÿ8234ÿ3J6ÿ7NF23fÿFÿ937KÿJ737FK3ÿ6E3F96Jÿ9E2ÿGLÿLkNN7Hÿu fÿFÿFÿ26F3Lÿ
99NM6ÿ4326fÿ}ÿuE36ÿF2ÿ}FM ÿz MG3JE6fÿX96MGÿA$ÿ"U"U$ÿ
!%%7+lmm6661@m"U"UmU>mUAm!&8%!m18&-*=11P*,+=0-=@B7*8816m*-&C!%@8ÿÿ
                                                         0ÿ
ÿ                                                                                                        App000363
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                          Page 366 of 633 PageID 1092



              2345678ÿ9ÿ764ÿ 3ÿÿ598ÿ799969ÿÿ893 99ÿ4393ÿ74388ÿ79ÿ
      4 63ÿ858ÿ89996 ÿ79ÿ837998ÿ6 ÿ6ÿ 43ÿ693ÿÿ433 ÿ7ÿ ÿ
   56ÿÿ0ÿÿ3496ÿ6 #8ÿ76ÿÿ637ÿ6ÿ46948ÿ693ÿ95ÿÿÿ76 9ÿÿ
 3ÿ6963ÿ6 ÿ!"ÿ 843ÿ$53ÿ863ÿ7ÿ ÿ56ÿÿ%ÿÿ&6ÿ34968ÿ6 ÿ
!'ÿÿ(98769ÿ34968ÿ76ÿÿ3ÿ6963'ÿÿ7ÿ433683ÿ68ÿ33ÿ4ÿ53ÿ)69834ÿ
 *+,-./ÿ*1234+5-13ÿ61234ÿ57+5ÿ89:ÿ16ÿ;,<=->+3?ÿ+=<ÿ@1==-<4ÿ57+5ÿA57<ÿB1.-5->+.ÿB=<??2=<ÿ6=1,ÿ57<ÿ
 $47ÿ6998469ÿ9ÿ36ÿ53ÿCDÿJÿ485ÿÿ67743ÿ6ÿ46948ÿ693ÿ95 ÿ
 ,+E-3Fÿ?2=<ÿ57+5ÿ-5ÿ-?ÿ?+6<ÿ+34ÿ<66<>5-G<HI ÿKÿ434ÿÿ65933ÿ46ÿ63763ÿ95ÿ53ÿ79ÿ
 6ÿ 43ÿ693ÿ4ÿLMNKDO"ÿ9ÿ33ÿÿ343ÿ79ÿ837998ÿ6 ÿ53ÿ8733ÿÿ53ÿ
74388ÿ 349ÿ8ÿ6! ÿ693ÿ863ÿO86 9ÿ9848ÿÿ53ÿ396ÿ883ÿ
6ÿ 9938ÿÿ4ÿPÿ+34ÿ57<ÿ<66<>5?ÿ16ÿ57<ÿQ=<?-4<35R?ÿ13F1-3FÿB1.-5->+.ÿ-35<=6<=<3><ÿÿ
              ÿ
              Cÿ4687643ÿ545 ÿ53ÿ4393ÿ6 ÿ6 54969ÿ74388ÿ98ÿ58ÿ3883 96ÿÿ
 349ÿ436ÿ4ÿ734393ÿ799969ÿ6 ÿ99ÿ79ÿ933ÿ9ÿ6ÿ67743ÿ
 693ÿD38793ÿ749838ÿÿ4687643ÿ6ÿ693ÿ337348ÿ563ÿÿ3ÿ433683ÿ5394ÿ
   496ÿ748ÿ6 ÿ9ÿ83ÿ6838ÿ53ÿ563ÿ9883ÿ9469ÿ6 ÿ53ÿ4968ÿ9ÿ83O4ÿ
 3398ÿ95ÿ93848ÿ56ÿ568ÿÿ33ÿ63ÿ66963ÿÿ53ÿ3346ÿ79!"ÿKÿ6 99ÿÿ
   53ÿ348ÿCDÿ568ÿ6436ÿ63ÿÿ7985ÿ98ÿ433 698ÿ43649ÿ66ÿ333ÿ4ÿ
 996ÿ3373 ÿ6 ÿ93843ÿÿ6938ÿ6ÿ4687643 ÿ4393ÿ74388ÿ9ÿ43S943ÿ56ÿ
 CDÿT"Uÿ63ÿ53ÿ66ÿ33463ÿÿ996ÿ4968ÿ6 ÿ87749ÿ3 8ÿ893ÿÿ53ÿ
 CDÿÿ337348ÿ66963ÿÿ53ÿ79VÿTUÿ63ÿ53ÿ3934698ÿÿ53ÿN6938ÿ6 ÿ
 W363ÿ&996ÿ24 8ÿ 984ÿL933ÿTNW&2LUÿ73ÿÿ53ÿ79Vÿ6 ÿT!Uÿ
7985ÿ9ÿ663ÿ53ÿ3698ÿÿ365ÿ25683ÿ!ÿ496ÿ389ÿ9 9ÿ5ÿ7649976 8ÿ643ÿ
43493ÿ5ÿ53ÿ9ÿ3ÿ943ÿ4ÿ83343ÿ8!93ÿ338ÿÿ6ÿ9ÿ6898ÿ6 ÿ 34ÿ56ÿ
 948638ÿ53ÿ496ÿÿ3ÿ34963ÿ364ÿC453443ÿ93ÿ53ÿ987474963ÿ
976ÿÿ53ÿ76 39ÿÿ 9938ÿÿ4ÿ6 ÿ53ÿ5984ÿÿ4698ÿ9ÿ996ÿ4968!!ÿ53ÿ
ÿÿ#ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ
     ÿ;??1>-+5<4ÿQ=<??XÿA;QOYMWLÿ7Zÿ(6ÿÿ34968ÿÿ3ÿ6ÿLMNKDO[\ÿG+>>-3<XIÿ]+2=+3ÿ^<<=F++=4ÿ+34ÿ
 (6'ÿ
         65ÿC9345 ÿ_6ÿ'ÿÿ5 78Z̀6̀738`6J0J 0#%""6%300ÿÿ
   Jÿ
      abcÿ
         ÿ
      e+-?<=ÿ*+,-./ÿ*1234+5-13XÿAe**ÿf<+.57ÿg=+>E-3FÿQ1..ÿOÿh37334ÿZÿ$7ÿK8838ÿ9ÿÿi39ÿ$53ÿW3ÿ
   ÿ_989469ÿ6 ÿN938ÿÿÿ23 96ÿL46948ÿN693XIÿ]-jÿf+,<.ÿ 43ÿ)3643ÿ853ÿ
   )94934ÿk 6ÿk738ÿL693ÿ_ l66ÿ6 ÿ_6 ÿ&493ÿh37334ÿ"ÿÿ
  5 78Z̀`4`46948O9O"4̀374`O5365O469O7O837334O`ÿÿ
     ÿQ<4-+5=->?XÿAm1235<=-3Fÿn+>>-3<ÿf<?-5+3>/XIÿe+57=/3ÿoHÿp4@+=4?Xÿq<??<ÿoHÿf+>E<..Xÿ+34ÿ57<ÿm1,,-55<<ÿ13ÿ
  K398ÿD9836838ÿ$53ÿL933ÿM ÿ24693ÿ ÿ64ÿ_3993ÿ 8ÿ"#ÿ
   5 78Z̀7̀396498667796984` 3 3̀64`"#`J`%7̀38"#O"0#ÿÿ
   !ÿ ;,ÿqÿQ2r.->ÿf<+.57XÿAs+>-+.tp573->ÿu-66<=<3><?ÿ-3ÿQ7/?->-+3ÿu-?5=2?5ÿ-3ÿ57<ÿv3-5<4ÿw5+5<?XIÿe+5=-3+ÿ;=,?5=13FXÿ
)6496ÿW633ÿh6 3ÿ__ 475ÿ6 ÿ_64ÿ2 ÿxÿ 'ÿ
   5 78Z̀`9957̀6̀49382̀_L""!'`Vÿy<7+Gÿo<4HXÿAo<4->+.ÿo-?5=2?5Xÿs+>-?,Xÿ+34ÿu<.+/?ÿ-3ÿ
   2433 693ÿ(365ÿh4339ÿÿ496O;,<=->+3ÿo<3XIÿz-j41,ÿQ1@<..ÿx3 934ÿW95 ÿD9 8596ÿ
_593ÿK433ÿ{3ÿ98ÿx8ÿ6 ÿ|9833ÿL493Oh95ÿ74Ox ÿ"ÿ
   5 78Z̀7̀3995`!"!0!#`ÿÿ
   !"ÿ^<@ÿ}1=Eÿg-,<?XÿAn+>>-3<ÿo+E<=?ÿe<<Bÿw+6<5/ÿu<5+-.?ÿ~2-<5Xÿ;.+=,-3Fÿw>-<35-?5?XIÿe+5-<ÿg71,+?Xÿw<B5<,r<=ÿ
"!!ÿÿ578Z̀`938```"!8̀933`46948O693O49685ÿÿ
     ÿk334ÿÿCDÿL988934ÿh3753ÿ(65ÿ4ÿk996ÿÿ3ÿ6ÿ
 5!! 78Z̀`879348̀938`36`938L̀MNKDN693k334CDJ%7ÿÿ
     ÿqÿf<+.57ÿm+=<ÿQ11=ÿv34<=?<=G<4XÿAo1=<ÿg7+3ÿg2?E<F<<ÿv34<=?5+34-3Fÿo-?5=2?5ÿ+r125ÿs<?<+=>7ÿQ+=5->-B+5-13XIÿ
D643ÿ2ÿh564ÿ)653493ÿxÿ_6538ÿ2636ÿx68ÿx656ÿ(8334ÿi3ÿ_649ÿ6 ÿD45ÿ
i 648ÿ_645ÿ"ÿ"%ÿ5 78Z̀`9957̀6̀49382̀_L0!%0J#`ÿvw;ÿg14+/XÿAw-F3ÿ,<ÿ2BRÿ
                                                        0ÿ
ÿ                                                                                                        App000364
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 367 of 633 PageID 1093



234ÿ567ÿ6ÿ897 7ÿÿ69ÿ9ÿ 97ÿÿ8ÿÿ59ÿ899ÿ6ÿ
6586 ÿ8977ÿ8ÿ6ÿ8969ÿ8ÿ6 9ÿ59ÿ769ÿ7ÿ89ÿ8ÿ598ÿ 6 7ÿ56ÿ689ÿ
6ÿ9969ÿ87ÿ8ÿ3!"#$ÿ %ÿ98ÿ49867ÿ6ÿ9 9ÿ5ÿ7697ÿÿ
            ÿ
               ÿ898ÿÿ9876ÿ5ÿ59ÿ234ÿ7ÿ68977 %ÿ5979ÿ 987$ÿ9ÿ89&97ÿ67987ÿÿ
59ÿ %ÿ&97 7ÿÿ'9998ÿ()$ÿ(*(*+ÿÿÿ
            ÿ
            "ÿ- ÿ6ÿ99%7ÿÿ59ÿ./04ÿÿ777ÿ 3!"#ÿ6 9ÿ87$ÿ67ÿ9ÿ67ÿ
                 97ÿ8999ÿ8 %ÿ5979ÿ99%7$ÿ9ÿ 9ÿÿ59ÿ1ÿÿ
                 ÿ
            (ÿ-56ÿ797ÿ567ÿ59ÿ234ÿ69ÿÿ899ÿ 6ÿ989899ÿÿ59ÿ6%96ÿ8ÿ
                 777 7ÿ6ÿ59ÿ98ÿ((ÿ99%ÿÿ59ÿ./04$ÿÿ%5ÿÿ7ÿ %ÿ758ÿ
                 989ÿ59ÿ89796ÿ99 1ÿÿ
                 ÿ
            2ÿ- ÿ66ÿ%99869ÿÿ3!"#ÿ6 9ÿ 6ÿ867ÿ9ÿ69ÿ6669ÿÿ59ÿ
                   1ÿ-56ÿ797ÿÿ59ÿ234ÿ69ÿÿ9789ÿ56ÿ9 %5ÿ66ÿ689ÿ69ÿ6669ÿ
                 ÿ6ÿ59ÿÿÿ9669ÿ59ÿ9ÿÿ59ÿ 6ÿ867$ÿ  %ÿ66ÿ79ÿ
                 ÿ8ÿ6ÿ97 ÿÿ779ÿ6ÿ344$ÿ59ÿ89%ÿ68 6ÿ861ÿÿÿ
            ÿ
            5ÿ- ÿ59ÿ234ÿ89&89ÿÿ7789ÿÿ59ÿ97%ÿ967ÿÿ05679ÿ2ÿ 6ÿ867ÿ
                 8ÿ6ÿ3!"#ÿ6 9$ÿ %ÿ59ÿ8989ÿ8ÿ % %ÿ 8 %ÿÿ79989ÿ
                 79ÿ997ÿ6ÿ59ÿ8986ÿ98ÿ55ÿ59ÿ86ÿ ÿ9ÿ99ÿ9681ÿÿ
            ÿ
            0ÿ6 ÿÿ59ÿ234ÿ677977ÿ769ÿ6ÿ96ÿ8ÿ%87ÿ5ÿ9ÿ68 6 ÿÿ
                 968ÿ76%9ÿ 6ÿ867$ÿ %ÿ968ÿ697ÿ6ÿ89%6ÿ9 91ÿÿ
                 ÿ
            7ÿ-56ÿ797ÿ567ÿ59ÿ234ÿ69ÿÿ9ÿ898979697ÿÿ 97ÿÿ8$ÿ
                   9 9ÿ5ÿ7697$ÿ98ÿ49867$ÿ6ÿ598ÿ%87ÿ6ÿ9969ÿ87ÿ8ÿ
                 3!"#ÿÿ59ÿ899ÿ8977ÿ8ÿ6 971ÿÿ
ÿ
            56ÿÿ8ÿ8ÿ 7986 ÿÿ57ÿ8%9ÿ698ÿÿ
ÿ
                                                ' 989$ÿ
ÿ
             ÿ                                             ÿÿÿÿÿÿÿÿÿ
             ÿ                                             ÿ
             ÿ                                             ÿ
             3695ÿ-6889ÿ                               868%689ÿ- ÿ66776ÿ
             4 9ÿ'697ÿ'968ÿ                           4 9ÿ'697ÿ'968ÿ
             ÿ                                             ÿ
             ÿ                                             ÿ
             36 9ÿ29 79 ÿ                                 9879ÿ:86ÿ
             4 9ÿ'697ÿ'968ÿ                           4 9ÿ'697ÿ'968ÿ
ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ
-5ÿ9 9ÿÿ8ÿ689ÿ6ÿÿ%9%ÿ6ÿ7977ÿ3!;<ÿ>?@@ABCDEÿF?GCBÿHCABIG?JKDÿLJMJNIÿOPDÿOPOPDÿ
57+QQ766Q78Q97Q5965Q(*(*Q*)Q(*Q!"#!6 9!867!99!9879!
9987Q2(#R#05**"Qÿÿ
                                                 0ÿ
ÿ                                                                                          App000365
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 368 of 633 PageID 1094



      ÿ                                      ÿ
      ÿ                                      ÿ
      2345678ÿ9 56ÿ                        36ÿ 35ÿ
      38ÿ6ÿ67ÿ                    38ÿ6ÿ67ÿ
      ÿ                                      ÿ
      ÿ                                      ÿ
      7ÿÿ 7 ÿ                       ÿÿ3ÿ7ÿ
      38ÿ6ÿ67ÿÿ                   38ÿ6ÿ67ÿ
      ÿ                                      ÿ
      ÿ                                      ÿ
      64ÿ2 8ÿ                              57357ÿÿ 75ÿ
      38ÿ6ÿ67ÿ                    38ÿ6ÿ67ÿ
      ÿ                                      ÿ
      ÿ                                      ÿ
      6!3ÿÿ"37ÿ                        6 ÿ968#3ÿ
      38ÿ6ÿ67ÿ                    38ÿ6ÿ67ÿ
      ÿ
      ÿ
      9 7678ÿ687ÿ                        3456 ÿ$ÿ9 ÿÿ
      38ÿ6ÿ67ÿÿ                   38ÿ6ÿ67ÿ
      ÿ                                      ÿ
      ÿ
      5778ÿ97#ÿ
      38ÿ6ÿ67ÿ
ÿ




                                     0ÿ
ÿ                                                                     App000366
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 369 of 633 PageID 1095




                              Exhibit 




                                                                      App000367
$0       5HS5DOSK1RUPDQ,QWURGXFHV/HJLVODWLRQWR([SHGLWH)'$&RPSOLDQFHZLWK)2,$5HTXHVWVIRU9DFFLQH$SSURYDO'DWD_865«
           Case 4:21-cv-01058-P Document 27 Filed 12/07/21                               Page 370 of 633 PageID 1096

                                                                                                                                  



    Press Releases
    Rep. Ralph Norman Introduces Legislation to Expedite FDA
    Compliance with FOIA Requests for Vaccine Approval Data
    Washington, D.C., December 2, 2021
    Tags: Health Care , Coronavirus , Vaccine Mandates


    On Thursday,ÚCongressman Ralph NormanÚ(R-SC) introducedÚlegislationÚthat would
    require the Commissioner of theÚFood and Drug AdministrationÚ(FDA) to release all
    records of information submitted to the FDA regarding the authorization of emergency
    use of, or licensing of all COVID-19 vaccines. The bill requires all records and information
    to be released to the public no later than 100 days.
    Ú
    Background
    Ú
    The P}zer COVID-19 vaccine was licensed by the FDA on August 23, 2021, 108 days after
    P}zer began submitting documents for approval by the FDA.
    Ú
    The Public Health and Medical Professionals for Transparency (PHMPT) is a group of
    public health and medical professionals, which includes professors and scientists from
    universities including Yale, Harvard, UCLA, and Brown.
    Ú
    Through a Freedom of Information Act, PHMPT sought an expedited request "to obtain
    the data and information relied upon by the FDA to license the P}zer Vaccine" in part
    to "con}rm the FDA’s conclusion that the P}zer Vaccine is safe and effective."
    Ú
    The FDA denied expedited processing of PHMPT's request, prompting that
    organization to }le aÚlawsuitÚagainst the FDA in September 2021. In total,ÚPHMPT is
                                                                                                                           App000368
KWWSVQRUPDQKRXVHJRYQHZVGRFXPHQWVLQJOHDVS["'RFXPHQW,'                                                                               
$0       5HS5DOSK1RUPDQ,QWURGXFHV/HJLVODWLRQWR([SHGLWH)'$&RPSOLDQFHZLWK)2,$5HTXHVWVIRU9DFFLQH$SSURYDO'DWD_865«
        Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 371 of 633 PageID 1097
    seeking more than 329,000 pages of documents detailing the approval of the P}zer
    vaccine.                                                                                                                      
    Ú
    On November 15, 2021, FDA attorneysÚasked the courtÚto allow the FDA to release just
    500 pages per month to the public, resulting in a timeline of roughlyÚ55 yearsÚfor the
    disclosure of all documents. More than 256 million doses of P}zer's vaccine have been
    administered in the United States since the approval of the vaccine in August 2021 by
    the FDA.Ú
    Ú
    The FOIA request and lawsuit are exclusive to the FDA approved P}zer vaccine, but
    Rep. Norman's legislation would require the public release of all documentation related
    to P}zer, Moderna, and Johnson & Johnson COVID-19 vaccines.
    Ú
    Rep. NormanÚissued the following statement on Thursday:
    Ú
    "The FDA's only priority should be the health and safety of consumers. The agency has
    compromised its integrity by delaying information that belongs to the public. Since the
    Biden administration is hell-bent on forcing these vaccine mandates on us, the public
    has every right to know how this vaccine was approved, especially in such a short
    amount of time. After all, the FDA managed to consider all 329,000 pages of data and
    grant emergency approval of the P}zer vaccine within just 108 days. So it’s hard to
    rationalize why it now needs 55 years to fully release that information to the public."




                                                                                 
                                                                                                                           App000369
KWWSVQRUPDQKRXVHJRYQHZVGRFXPHQWVLQJOHDVS["'RFXPHQW,'                                                                               
$0       5HS5DOSK1RUPDQ,QWURGXFHV/HJLVODWLRQWR([SHGLWH)'$&RPSOLDQFHZLWK)2,$5HTXHVWVIRU9DFFLQH$SSURYDO'DWD_865«
           Case 4:21-cv-01058-P Document 27 Filed 12/07/21                               Page 372 of 633 PageID 1098


                                                   Our Locations                                                                  

                                                                     
                                                   Washington, DC Of}ce
                                 For questions about Rep. Norman's votes in Congress,
                                             legislation, or federal policies

                                                        569 Cannon HOB
                                                      Washington, DC 20515
                                                      Phone: (202) 225-5501
                                                       FAX: (202) 225-0464


                                                                     
                                                          Rock Hill Of}ce
                                   For assistance with departments or agencies of the
                                                   federal government

                                                    454 South Anderson Rd.
                                                          Suite 302 B
                                                       Rock Hill, SC 29730
                                                      Phone: (803) 327-1114
                                                      FAX: (803) 327-4330




                                                                    Home
                                                                       e

                                                               About Ralph
                                                                     Ra
                                                                      alph

                                                               Serving
                                                               Se    g You
                                                                erving

                                                                Resources
                                                                Re
                                                                 esource
                                                                       es

                                                                    Events
                                                                    Even
                                                                      e ts

                                                                    Media
                                                                    Me a

                                                                  Contact
                                                                  Contac
                                                                      a t




                                                                                                                           App000370
KWWSVQRUPDQKRXVHJRYQHZVGRFXPHQWVLQJOHDVS["'RFXPHQW,'                                                                               
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 373 of 633 PageID 1099




                              Exhibit 




                                                                      App000371
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 374 of 633 PageID 1100




                                      App000372
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 375 of 633 PageID 1101




                              Exhibit 




                                                                      App000373
30        3IL]HUDQG%LR17HFK$QQRXQFHDQ$JUHHPHQWZLWK86*RYHUQPHQWIRUXSWR0LOOLRQ'RVHVRIP51$EDVHG9DFFLQH&DQGLG«



    PFIZER AND BIONTECH ANNOUNCE
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                 Page 376 of 633 PageID 1102



    AN AGREEMENT WITH U.S.
    GOVERNMENT FOR UP TO 600
    MILLION DOSES OF MRNA-BASED
    VACCINE CANDIDATE AGAINST SARS-
    COV-2
    Wednesday, July 22, 2020 - 07:10am

         U.S. government placed an initial order of 100 million doses for $1.95 billion and can acquire up to
         500 million additional doses
         Americans to receive the vaccine for free consistent with U.S. government’s commitment for free access
         for COVID-19 vaccines
                                                             Hide
         PÕzer and BioNTech remain on track to begin an anticipated   Phase 2b/3 safety and eÙcacy trial later
         this month, seek regulatory review as early as October 2020, and manufacture globally up to 100
         million doses by the end of 2020 and potentially more than 1.3 billion doses by the end of 2021

    NEW YORK & MAINZ, Germany--(BUSINESS WIRE)-- PÖzer Inc. (NYSE: PFE) and BioNTech SE (Nasdaq:
    BNTX) today announced the execution of an agreement with the U.S. Department of Health and
    Human Services and the Department of Defense to meet the U.S. government’s Operation Warp
    Speed program goal to begin delivering 300 million doses of a vaccine for COVID-19 in 2021. Under
    the agreement, the U.S. government will receive 100 million doses of BNT162, the COVID-19 vaccine
    candidate jointly developed by PÖzer and BioNTech, after PÖzer successfully manufactures and
    obtains approval or emergency use authorization from U.S. Food and Drug Administration (FDA).

    This press release features multimedia. View the full release here:
    https://www.businesswire.com/news/home/20200722005438/en/
    (https://www.businesswire.com/news/home/20200722005438/en/)

    The U.S. government will pay the companies $1.95 billion upon the receipt of the Örst 100 million
    doses, following FDA authorization or approval. The U.S. government also can acquire up to an
    additional 500 million doses.

    Americans will receive the vaccine for free consistent with U.S. government’s commitment for free
    access for COVID-19 vaccines.

    “We’ve been committed to making the impossible possible by working tirelessly to develop and
    produce in record time a safe and eçective vaccine to help bring an end to this global health crisis,”
    said Dr. Albert Bourla, PÖzer Chairman and CEO. “We made the early decision to begin clinical work
    and large-scale manufacturing at our own risk to ensure that product would be available
                                                                                          App000374
KWWSVZZZSIL]HUFRPQHZVSUHVVUHOHDVHSUHVVUHOHDVHGHWDLOSIL]HUDQGELRQWHFKDQQRXQFHDJUHHPHQWXVJRYHUQPHQW                      
30        3IL]HUDQG%LR17HFK$QQRXQFHDQ$JUHHPHQWZLWK86*RYHUQPHQWIRUXSWR0LOOLRQ'RVHVRIP51$EDVHG9DFFLQH&DQGLG«
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                 Page 377 of 633 PageID 1103
    immediately if our clinical trials prove successful and an Emergency Use Authorization is granted.
    We are honored to be a part of this eçort to provide Americans access to protection from this
    deadly virus.”

    “Expanding Operation Warp Speed’s diverse portfolio by adding a vaccine from PÖzer and BioNTech
    increases the odds that we will have a safe, eçective vaccine as soon as the end of this year,” said
    HHS Secretary Alex Azar. “Depending on success in clinical trials, today’s agreement will enable the
    delivery of approximately 100 million doses of this vaccine to the American people.”

    The BNT162 program is based on BioNTech’s proprietary mRNA technology and supported by
    PÖzer’s global vaccine development and manufacturing capabilities. The BNT162 vaccine candidates
    are undergoing clinical studies and are not currently approved for distribution anywhere in the
    world. BioNTech is the market authorization holder worldwide and will hold all trademarks for the
    potential product. Both collaborators are committed to developing these novel vaccines with pre-
    clinical and clinical data at the forefront of all their decision-making.
                                                                             Hide
    “We are pleased to have signed this important agreement with the U.S. government to supply the
    initial 100 million doses upon approval as part of our commitment to address the global health
    threat. This agreement is one of many steps towards providing global access to a safe and
    eÚcacious vaccines for COVID-19. We are also in advanced discussions with multiple other
    government bodies and we hope to announce additional supply agreements soon. Our goal
    remains to bring a safe and eçective COVID-19 vaccine to many people around the world, as quickly
    as we can,” said Ugur Sahin, M.D., CEO and Co-founder of BioNTech.

    The PÖzer/BioNTech vaccine development program is evaluating at least four experimental
    vaccines, each of which represents a unique combination of messenger RNA (mRNA) format and
    target antigen. On July 1st, PÖzer and BioNTech announced preliminary data from BNT162b1, the
    most advanced of the four mRNA formulations. The early data demonstrates that BNT162b1 is able
    to produce neutralizing antibodies in humans at or above the levels observed in the plasma from
    patients who have recovered from COVID-19, and this was shown at relatively low dose levels. Local
    reactions and systemic events were dose-dependent, generally mild to moderate, and transient. No
    serious adverse events were reported. On July 20th, the companies announced early positive update
    from German Phase 1/2 COVID-19 vaccine study, including Örst T Cell response data.

    Recently, two of the companies’ four investigational vaccine candidates (BNT162b1 and BNT162b2)
    received Fast Track designation from the U.S. Food and Drug Administration (FDA). This designation
    was granted based on preliminary data from Phase 1/2 studies that are currently ongoing in the
    United States and Germany as well as animal immunogenicity studies. Further data from the



                                                                                                                          App000375
KWWSVZZZSIL]HUFRPQHZVSUHVVUHOHDVHSUHVVUHOHDVHGHWDLOSIL]HUDQGELRQWHFKDQQRXQFHDJUHHPHQWXVJRYHUQPHQW                      
30        3IL]HUDQG%LR17HFK$QQRXQFHDQ$JUHHPHQWZLWK86*RYHUQPHQWIRUXSWR0LOOLRQ'RVHVRIP51$EDVHG9DFFLQH&DQGLG«
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                 Page 378 of 633 PageID 1104
    ongoing Phase 1/2 clinical trials of the four vaccine candidates will enable the selection of a lead
    candidate and dose level for an anticipated large, global Phase 2b/3 safety and eÚcacy study that
    may begin as early as later this month, pending regulatory approval.

    If the ongoing studies are successful, PÖzer and BioNTech expect to be ready to seek Emergency
    Use Authorization or some form of regulatory approval as early as October 2020. The companies
    currently expect to manufacture globally up to 100 million doses by the end of 2020 and potentially
    more than 1.3 billion doses by the end of 2021, subject to Önal dose selection from their clinical trial.

    In addition to engagements with governments, PÖzer and BioNTech have provided an expression of
    interest for possible supply to the COVAX Facility, a mechanism established by Gavi, the Vaccine
    Alliance, the Coalition for Epidemic Preparedness Innovations (CEPI) and World Health Organization
    (WHO) that aims to provide governments with early access to a large portfolio of COVID-19
    candidate vaccines using a range of technology platforms, produced by multiple manufacturers
    across the world.
                                                                             Hide
    About PÕzer: Breakthroughs That Change Patients’ Lives

    At PÖzer, we apply science and our global resources to bring therapies to people that extend and
    signiÖcantly improve their lives. We strive to set the standard for quality, safety and value in the
    discovery, development and manufacture of health care products, including innovative medicines
    and vaccines. Every day, PÖzer colleagues work across developed and emerging markets to advance
    wellness, prevention, treatments and cures that challenge the most feared diseases of our time.
    Consistent with our responsibility as one of the world's premier innovative biopharmaceutical
    companies, we collaborate with health care providers, governments and local communities to
    support and expand access to reliable, açordable health care around the world. For more than 150
    years, we have worked to make a diçerence for all who rely on us. We routinely post information
    that may be important to investors on our website at www.PÖzer.com
    (https://cts.businesswire.com/ct/CT?
    id=smartlink&url=http%3A%2F%2Fwww.pÖzer.com%2F&esheet=52254092&newsitemid=202007220
    05438&lan=en-US&anchor=www.PÖzer.com&index=1&md5=6f112a969d509e17034b14f144afa93f).
    In addition, to learn more, please visit us on www.PÖzer.com (https://cts.businesswire.com/ct/CT?
    id=smartlink&url=http%3A%2F%2Fwww.pÖzer.com%2F&esheet=52254092&newsitemid=202007220
    05438&lan=en-
    US&anchor=www.PÖzer.com&index=2&md5=45840dd0e78d45b4d317726bbddf29ec) and follow us
    on Twitter at @PÖzer (https://cts.businesswire.com/ct/CT?
    id=smartlink&url=https%3A%2F%2Ftwitter.com%2FpÖzer&esheet=52254092&newsitemid=2020072
    2005438&lan=en-US&anchor=%40PÖzer&index=3&md5=18c0aee73883336002d6bd4014593aa4)
    and @PÖzer News (https://cts.businesswire.com/ct/CT?
    id=smartlink&url=https%3A%2F%2Ftwitter.com%2FpÖzer_news&esheet=52254092&newsitemid=20
                                                                                                                          App000376
KWWSVZZZSIL]HUFRPQHZVSUHVVUHOHDVHSUHVVUHOHDVHGHWDLOSIL]HUDQGELRQWHFKDQQRXQFHDJUHHPHQWXVJRYHUQPHQW                      
30        3IL]HUDQG%LR17HFK$QQRXQFHDQ$JUHHPHQWZLWK86*RYHUQPHQWIRUXSWR0LOOLRQ'RVHVRIP51$EDVHG9DFFLQH&DQGLG«
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                 Page 379 of 633 PageID 1105
    200722005438&lan=en-
    US&anchor=%40PÖzer+News&index=4&md5=12c74b1b7a29bc30b293f916acd426b4), LinkedIn
    (https://cts.businesswire.com/ct/CT?
    id=smartlink&url=https%3A%2F%2Fwww.linkedin.com%2Fcompany%2FpÖzer&esheet=52254092&n
    ewsitemid=20200722005438&lan=en-
    US&anchor=LinkedIn&index=5&md5=5c910cab1a07517c3aa51d11b12574cd), YouTube
    (https://cts.businesswire.com/ct/CT?
    id=smartlink&url=https%3A%2F%2Fwww.youtube.com%2FpÖzer&esheet=52254092&newsitemid=2
    0200722005438&lan=en-
    US&anchor=YouTube&index=6&md5=21f46ef83dcb14e72260d904ccd6d761) and like us on
    Facebook at Facebook.com/PÖzer (https://cts.businesswire.com/ct/CT?
    id=smartlink&url=https%3A%2F%2Fwww.facebook.com%2FPÖzer%2F&esheet=52254092&newsitem
    id=20200722005438&lan=en-
    US&anchor=Facebook.com%2FPÖzer&index=7&md5=fbc1709405a01e2ebc16d7eb0c201207).
                                                                             Hide
    PÕzer Disclosure Notice

    The information contained in this release is as of July 22, 2020. PÖzer assumes no obligation to
    update forward-looking statements contained in this release as the result of new information or
    future events or developments.

    This release contains forward-looking information about PÖzer’s eçorts to combat COVID-19, the
    BNT162 mRNA vaccine program, a collaboration between BioNTech and PÖzer to develop a
    potential COVID-19 vaccine, an agreement with the United States to manufacture and deliver
    BNT162 and other potential agreements, including their potential beneÖts, manufacturing and
    distribution and the expected timing of clinical trials and regulatory submissions, that involves
    substantial risks and uncertainties that could cause actual results to diçer materially from those
    expressed or implied by such statements. Risks and uncertainties include, among other things, the
    uncertainties inherent in research and development, including the ability to meet anticipated clinical
    endpoints, commencement and/or completion dates for clinical trials, regulatory submission dates,
    regulatory approval dates and/or launch dates, as well as the possibility of unfavorable new
    preclinical or clinical trial data and further analyses of existing preclinical or clinical trial data; risks
    associated with preliminary data; the risk that clinical trial data are subject to diçering
    interpretations and assessments, including during the peer review/publication process, in the
    scientiÖc community generally, and by regulatory authorities; whether and when data from the
    BNT162 mRNA vaccine program will be published in scientiÖc journal publications and, if so, when
    and with what modiÖcations; whether regulatory authorities will be satisÖed with the design of and
    results from these and future preclinical and clinical studies; whether and when any biologics
    license applications may be Öled in any jurisdictions for any potential vaccine candidates under the
                                                                                                                          App000377
KWWSVZZZSIL]HUFRPQHZVSUHVVUHOHDVHSUHVVUHOHDVHGHWDLOSIL]HUDQGELRQWHFKDQQRXQFHDJUHHPHQWXVJRYHUQPHQW                      
30        3IL]HUDQG%LR17HFK$QQRXQFHDQ$JUHHPHQWZLWK86*RYHUQPHQWIRUXSWR0LOOLRQ'RVHVRIP51$EDVHG9DFFLQH&DQGLG«
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                 Page 380 of 633 PageID 1106
    collaboration; whether and when any such applications may be approved by regulatory authorities,
    which will depend on myriad factors, including making a determination as to whether the product’s
    beneÖts outweigh its known risks and determination of the product’s eÚcacy and, if approved,
    whether any such vaccine candidates will be commercially successful; decisions by regulatory
    authorities impacting labeling, manufacturing processes, safety and/or other matters that could
    açect the availability or commercial potential of any such vaccine candidates, including
    development of products or therapies by other companies; manufacturing capabilities or capacity,
    including whether the estimated numbers of doses can be manufactured within the projected time
    periods indicated; whether and when a future production agreement with the United States will be
    reached; whether and when other supply agreements will be reached; uncertainties regarding the
    ability to obtain recommendations from vaccine technical committees and other public health
    authorities regarding any such vaccine candidates and uncertainties regarding the commercial
    impact of any such recommendations; and competitive developments.

    A further description of risks and uncertainties can be found in PÖzer’s Annual Report on Form 10-K
                                                                             Hide
    for the Öscal year ended December 31, 2019 and in its subsequent reports on Form 10-Q, including
    in the sections thereof captioned “Risk Factors” and “Forward-Looking Information and Factors That
    May Açect Future Results”, as well as in its subsequent reports on Form 8-K, all of which are Öled
    with the U.S. Securities and Exchange Commission and available at www.sec.gov
    (https://cts.businesswire.com/ct/CT?
    id=smartlink&url=http%3A%2F%2Fwww.sec.gov&esheet=52254092&newsitemid=20200722005438&
    lan=en-US&anchor=www.sec.gov&index=8&md5=35c2145ba6c7bb794a9bd92f7c8dfb97) and
    www.pÖzer.com (https://cts.businesswire.com/ct/CT?
    id=smartlink&url=http%3A%2F%2Fwww.pÖzer.com%2F&esheet=52254092&newsitemid=202007220
    05438&lan=en-
    US&anchor=www.pÖzer.com&index=9&md5=0e0666bbb77fefe8cbc330b3153345db).

    About BioNTech

    Biopharmaceutical New Technologies is a next generation immunotherapy company pioneering
    novel therapies for cancer and other serious diseases. The Company exploits a wide array of
    computational discovery and therapeutic drug platforms for the rapid development of novel
    biopharmaceuticals. Its broad portfolio of oncology product candidates includes individualized and
    oç-the-shelf mRNA-based therapies, innovative chimeric antigen receptor T cells, bi-speciÖc
    checkpoint immuno-modulators, targeted cancer antibodies and small molecules. Based on its deep
    expertise in mRNA vaccine development and in-house manufacturing capabilities, BioNTech and its
    collaborators are developing multiple mRNA vaccine candidates for a range of infectious diseases
    alongside its diverse oncology pipeline. BioNTech has established a broad set of relationships with
    multiple global pharmaceutical collaborators, including Genmab, SanoÖ, Bayer Animal Health,
                                                                                                                          App000378
KWWSVZZZSIL]HUFRPQHZVSUHVVUHOHDVHSUHVVUHOHDVHGHWDLOSIL]HUDQGELRQWHFKDQQRXQFHDJUHHPHQWXVJRYHUQPHQW                      
30        3IL]HUDQG%LR17HFK$QQRXQFHDQ$JUHHPHQWZLWK86*RYHUQPHQWIRUXSWR0LOOLRQ'RVHVRIP51$EDVHG9DFFLQH&DQGLG«
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                 Page 381 of 633 PageID 1107
    Genentech, a member of the Roche Group, Genevant, Fosun Pharma, and PÖzer. For more
    information, please visit www.BioNTech.de (https://cts.businesswire.com/ct/CT?
    id=smartlink&url=http%3A%2F%2Fwww.BioNTech.de&esheet=52254092&newsitemid=20200722005
    438&lan=en-
    US&anchor=www.BioNTech.de&index=10&md5=fb8be4528863006c664ea37b6856d4f7).

    BioNTech Forward-looking statements

    This press release contains “forward-looking statements” of BioNTech within the meaning of the
    Private Securities Litigation Reform Act of 1995. These forward-looking statements may include, but
    may not be limited to, statements concerning: BioNTech’s eçorts to combat COVID-19; the timing to
    initiate clinical trials of BNT162 and anticipated publication of data from these clinical trials; the
    timing for any potential emergency use authorizations or approvals; the potential to enter into
    additional supply agreements with other jurisdictions or the COVAX Facility; the potential safety and
    eÚcacy of BNT162; the collaboration between BioNTech and PÖzer to develop a potential COVID-19
                                                         Hide
    vaccine; and the ability of BioNTech to supply the quantities of BNT162 to support clinical
    development and, if approved, market demand, including our production estimates for 2020 and
    2021. Any forward-looking statements in this press release are based on BioNTech current
    expectations and beliefs of future events, and are subject to a number of risks and uncertainties
    that could cause actual results to diçer materially and adversely from those set forth in or implied
    by such forward-looking statements. These risks and uncertainties include, but are not limited to:
    competition to create a vaccine for COVID-19; the ability to produce comparable clinical results in
    larger and more diverse clinical trials; the ability to eçectively scale our productions capabilities; and
    other potential diÚculties. For a discussion of these and other risks and uncertainties, see
    BioNTech’s Annual Report on Form 20-F Öled with the SEC on March 31, 2020, which is available on
    the SEC’s website at www.sec.gov (https://cts.businesswire.com/ct/CT?
    id=smartlink&url=http%3A%2F%2Fwww.sec.gov&esheet=52254092&newsitemid=20200722005438&
    lan=en-US&anchor=www.sec.gov&index=11&md5=4cc240b3adda2fc54d0e18f1cca607ef). All
    information in this press release is as of the date of the release, and BioNTech undertakes no duty
    to update this information unless required by law.

    View source version on businesswire.com (http://businesswire.com):
    https://www.businesswire.com/news/home/20200722005438/en/
    (https://www.businesswire.com/news/home/20200722005438/en/)

    PÕzer:
    Media Relations
    Amy Rose
    +1 (212) 733-7410
    Amy.Rose@pÖzer.com (mailto:Amy.Rose@pÖzer.com)
                                                                                                                          App000379
KWWSVZZZSIL]HUFRPQHZVSUHVVUHOHDVHSUHVVUHOHDVHGHWDLOSIL]HUDQGELRQWHFKDQQRXQFHDJUHHPHQWXVJRYHUQPHQW                      
30        3IL]HUDQG%LR17HFK$QQRXQFHDQ$JUHHPHQWZLWK86*RYHUQPHQWIRUXSWR0LOOLRQ'RVHVRIP51$EDVHG9DFFLQH&DQGLG«
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                   Page 382 of 633 PageID 1108

    Investor Relations
    Chuck Triano
    +1 (212) 733-3901
    Charles.E.Triano@PÖzer.com (mailto:Charles.E.Triano@PÖzer.com)


    BioNTech:
    Media Relations
    Jasmina Alatovic
    +49 (0)6131 9084 1513 or +49 (0)151 1978 1385
    Media@biontech.de (mailto:Media@biontech.de)


    Investor Relations
    Sylke Maas, Ph.D.
    +49 (0)6131 9084 1074                                                     Hide
    Investors@biontech.de (mailto:Investors@biontech.de)

    Source: PÖzer Inc.




                                 Copyright © 2002-2021 PÖzer Inc. All rights reserved. This information—including product information—is intended
                        (/)      only for residents of the United States.
                                 The products discussed herein may have diçerent labeling in diçerent countries.




                                                                                                                                 App000380
KWWSVZZZSIL]HUFRPQHZVSUHVVUHOHDVHSUHVVUHOHDVHGHWDLOSIL]HUDQGELRQWHFKDQQRXQFHDJUHHPHQWXVJRYHUQPHQW                             
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 383 of 633 PageID 1109




                              Exhibit 




                                                                      App000381
30                    %LGHQ$GPLQLVWUDWLRQSXUFKDVHVDGGLWLRQDOGRVHVRI&29,'YDFFLQHVIURP3IL]HUDQG0RGHUQD_++6JRY
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                     Page 384 of 633 PageID 1110
(YHU\RQHDJHVDQGROGHUVKRXOGJHWDERRVWHUVKRW/HDUQPRUH


++6JRY                                                                                                 86'HSDUWPHQWRI+HDOWK +XPDQ6HUYLFHV




+RPH!$ERXW!1HZV!%LGHQ$GPLQLVWUDWLRQSXUFKDVHVDGGLWLRQDOGRVHVRI&29,'YDFFLQHVIURP3IL]HUDQG0RGHUQD



   )25,00(',$7(5(/($6(                                                                               &RQWDFW$6353UHVV2IILFH
   )HEUXDU\                                                                                                          
                                                                                             DVSUPHGLD#KKVJRY PDLOWRDVSUPHGLD#KKVJRY



%LGHQ$GPLQLVWUDWLRQSXUFKDVHVDGGLWLRQDOGRVHVRI
&29,'YDFFLQHVIURP3IL]HUDQG0RGHUQD
7KH86'HSDUWPHQWRI+HDOWKDQG+XPDQ6HUYLFHV ++6 DQG'HSDUWPHQWRI'HIHQVH '2' KDYH
SXUFKDVHGDQDGGLWLRQDOPLOOLRQGRVHVRI&29,'YDFFLQHVIURPERWK3IL]HU,QFDQG0RGHUQD,QF
WRKHOSPHHWGHPDQGIRU&29,'YDFFLQHVLQWKH8QLWHG6WDWHV

7KHRUGHUVSODFHGWRGD\EULQJWKHYDFFLQHSXUFKDVHGE\WKH86JRYHUQPHQWIURPWKHVHWZRFRPSDQLHV
WRDWRWDORIPLOOLRQGRVHVHQRXJKWRYDFFLQDWHPLOOLRQSHRSOH(DFKFRPSDQ\LVGHOLYHULQJ
PLOOLRQGRVHVLQUHJXODULQFUHPHQWVWKURXJKWKHHQGRI-XO\(DFKFRPSDQ\ZLOOOHYHUDJH86EDVHG
PDQXIDFWXULQJFDSDFLW\WRILOOILQLVKDQGVKLSYLDOVDVWKHEXONPDWHULDOLVSURGXFHG

³$VWKH3UHVLGHQWGLUHFWHGZHDUHH[SDQGLQJRXUVXSSO\RI&29,'YDFFLQHVWRSURWHFWSHRSOHDVTXLFNO\
DVSRVVLEOH´VDLG$FWLQJ++66HFUHWDU\1RUULV&RFKUDQ³7KHVHSXUFKDVHVZLOODOORZXVWRDFFHOHUDWHRXU
YDFFLQDWLRQHIIRUWVWRJHWVKRWVLQWRWKHDUPVRIWKH$PHULFDQSHRSOH:KLOHZHUDSLGO\UDPSXSWKHSDFH
RIYDFFLQDWLRQV,HQFRXUDJHHYHU\RQHWRWDNHDFWLRQVQRZWRSURWHFWWKHPVHOYHVDQGWKHLUIDPLOLHVZHDUD
PDVNZDVK\RXUKDQGVRIWHQDQGSUDFWLFHSK\VLFDOGLVWDQFLQJ´

7KHFRPSDQLHVEHJDQPDQXIDFWXULQJGRVHVRIWKHLUYDFFLQHVDWWKHVDPHWLPHWKDWFOLQLFDOWULDOVZHUH
JHWWLQJXQGHUZD\ODVW\HDU%HJLQQLQJWKHFRPSOH[SURFHVVRIVFDOLQJXSWRODUJHVFDOHPDQXIDFWXULQJLQ
SDUDOOHOZLWKFOLQLFDOWULDOVH[SHGLWHGWKHWUDGLWLRQDOYDFFLQHGHYHORSPHQWWLPHOLQHVRWKDWLQLWLDOGRVHVFRXOG
EHJLQVKLSSLQJZKHQWKH86)RRGDQG'UXJ$GPLQLVWUDWLRQ )'$ JUDQWHGHPHUJHQF\XVHDXWKRUL]DWLRQ

7KHYDFFLQHLVDYDLODEOHDWQRFRVW9DFFLQHDGPLQLVWUDWLRQFRVWVIRUSULYDWHVHFWRUDGPLQLVWUDWLRQSDUWQHUV
DUHEHLQJFRYHUHGE\KHDOWKFDUHSD\HUVSULYDWHLQVXUDQFH0HGLFDUHRU0HGLFDLGDQGDQ++6SURJUDPWR
FRYHU&29,'FRVWVIRUWKHXQLQVXUHGZKLFKLVUHLPEXUVLQJSURYLGHUVDW0HGLFDUHUDWHVIURPWKH
3URYLGHU5HOLHI)XQG KWWSVZZZKKVJRYFRURQDYLUXVFDUHVDFWSURYLGHUUHOLHIIXQGLQGH[KWPO 


                                                                                                                               App000382
KWWSVZZZKKVJRYDERXWQHZVELGHQDGPLQLVWUDWLRQSXUFKDVHVDGGLWLRQDOGRVHVFRYLGYDFFLQHVIURPSIL]HUDQGPRGHUQDKWPO       
30                          %LGHQ$GPLQLVWUDWLRQSXUFKDVHVDGGLWLRQDOGRVHVRI&29,'YDFFLQHVIURP3IL]HUDQG0RGHUQD_++6JRY
       Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 385 of 633 PageID 1111
7KH%LRPHGLFDO$GYDQFHG5HVHDUFKDQG'HYHORSPHQW$XWKRULW\ %$5'$ KWWSVZZZSKHJRYEDUGD  SDUWRIWKH
++62IILFHRIWKH$VVLVWDQW6HFUHWDU\IRU3UHSDUHGQHVVDQG5HVSRQVHFROODERUDWHGZLWKWKH'2'-RLQW
3URJUDP([HFXWLYH2IILFHIRU&KHPLFDO%LRORJLFDO5DGLRORJLFDODQG1XFOHDU'HIHQVH -3(2&%51'
 KWWSVZZZMSHRFEUQGRVGPLO    DQG$UP\&RQWUDFWLQJ&RPPDQG KWWSVZZZDUP\PLO$&& WRSURYLGHDSSUR[LPDWHO\ELOOLRQ
IRUWKHDGGLWLRQDOGRVHVRIWKH3IL]HU%LR17HFKYDFFLQHEULQJLQJWKHWRWDOSXUFKDVHIURP3IL]HUWR
DSSUR[LPDWHO\ELOOLRQ

%$5'$-3(2&%51'DQG$UP\&RQWUDFWLQJ&RPPDQGDOVRFROODERUDWHGWRSURYLGHXSWRDSSUR[LPDWHO\
ELOOLRQWR0RGHUQDEULQJLQJWKHWRWDOIHGHUDOLQYHVWPHQWLQ0RGHUQD¶VYDFFLQHGHYHORSPHQWFOLQLFDO
WULDOVPDQXIDFWXULQJDQGSXUFKDVHWRDSSUR[LPDWHO\ELOOLRQ0RGHUQD¶VYDFFLQHZDVFRGHYHORSHG
ZLWKVFLHQWLVWVIURPWKH1DWLRQDO,QVWLWXWHRI$OOHUJ\DQG,QIHFWLRXV'LVHDVHV 1,$,' SDUWRIWKH1DWLRQDO
,QVWLWXWHVRI+HDOWKZLWK1,$,'DOVRVXSSRUWLQJWKHYDFFLQH¶VQRQFOLQLFDOVWXGLHVDQGFOLQLFDOWULDOV%$5'$
VXSSRUWHGSKDVHFOLQLFDOWULDOVYDFFLQHPDQXIDFWXULQJVFDOHXSDQGRWKHUGHYHORSPHQWDFWLYLWLHVIRU
WKLVYDFFLQH

0RGHUQD¶V3KDVH KWWSVZZZQLKJRYQHZVHYHQWVQHZVUHOHDVHVSKDVHFOLQLFDOWULDOLQYHVWLJDWLRQDOYDFFLQHFRYLGEHJLQV FOLQLFDOWULDOEHJDQ
-XO\DVWKHILUVWJRYHUQPHQWIXQGHG3KDVHFOLQLFDOWULDOIRUD&29,'YDFFLQHLQWKH86DQG
HQUROOHGDSSUR[LPDWHO\DGXOWYROXQWHHUVZKRGLGQRWKDYH&29,'$QLQGHSHQGHQWGDWDVDIHW\
PRQLWRULQJERDUGRYHUVHHLQJWKH3KDVHFOLQLFDOWULDOUHYLHZHGWKHWULDOGDWD KWWSVZZZQLKJRYQHZVHYHQWVQHZV
UHOHDVHVSURPLVLQJLQWHULPUHVXOWVFOLQLFDOWULDOQLKPRGHUQDFRYLGYDFFLQH    DQGFRQFOXGHGWKDWWKHYDFFLQHZDVVDIHSUHYHQWHG
GLVHDVHLQSHUFHQWRIWKHYROXQWHHUVZKRUHFHLYHGWKHYDFFLQHUHGXFHGWKHVHYHULW\RILOOQHVVLQWKH
VPDOOSHUFHQWDJHRIYROXQWHHUVZKRFRQWUDFWHG&29,'DQGZDVJHQHUDOO\ZHOOWROHUDWHG

7KH3KDVHFOLQLFDOWULDOIRUWKH3IL]HU%LR17HFKYDFFLQHHQUROOHGDSSUR[LPDWHO\DGXOWYROXQWHHUV
LQWKH86ZKRGLGQRWKDYH&29,'7KHFOLQLFDOWULDOVKRZHGWKDWWKHYDFFLQHZDVVDIHSUHYHQWHG
GLVHDVHLQDSSUR[LPDWHO\SHUFHQWRIWKHYROXQWHHUVZKRUHFHLYHGWKHYDFFLQHUHGXFHGWKHVHYHULW\RI
LOOQHVVLQWKHILYHSHUFHQWRIYROXQWHHUVZKRFRQWUDFWHG&29,'DQGZDVJHQHUDOO\ZHOOWROHUDWHG

7KHFOLQLFDOVWXGLHVRIERWKYDFFLQHVDUHRQJRLQJWRJDWKHUDGGLWLRQDOGDWDVXFKDVWKHYDFFLQHV¶HIILFDF\
LQ\RXQJHUSRSXODWLRQVWKHGXUDWLRQRILPPXQLW\DIWHUYDFFLQDWLRQDQGWKHLPSDFWRIYDFFLQDWLRQRQ
WUDQVPLVVLELOLW\RIWKHYLUXV

0HVVHQJHU51$ KWWSVZZZFGFJRYYDFFLQHVFRYLGKFSPUQDYDFFLQHEDVLFVKWPO YDFFLQHVWDNHDGYDQWDJHRIWKHSURFHVVWKDW
FHOOVXVHWRPDNHSURWHLQVLQRUGHUWRWULJJHUDQLPPXQHUHVSRQVHDQGEXLOGLPPXQLW\WRDYLUXV,Q
FRQWUDVWPRVWYDFFLQHVXVHZHDNHQHGRULQDFWLYDWHGYHUVLRQVRUFRPSRQHQWVRIDGLVHDVHFDXVLQJYLUXV
WRVWLPXODWHWKHERG\¶VLPPXQHUHVSRQVHWRFUHDWHDQWLERGLHV

++6DQG'2'KDYHFRQWUDFWHGZLWKIRXURWKHUFRPSDQLHVWRH[SHGLWHGHYHORSPHQWDQGSURGXFWLRQRI
YDFFLQHVWKDWXVHDYDULHW\RIYDFFLQHSODWIRUPWHFKQRORJLHVDQGDUHPDQXIDFWXULQJ&29,'YDFFLQH
GRVHVZKLOHFOLQLFDOWULDOVDUHXQGHUZD\,IDQ\RIWKHVHRWKHUYDFFLQHFDQGLGDWHVDUHDXWKRUL]HGE\WKH
                                                                                                                               App000383
KWWSVZZZKKVJRYDERXWQHZVELGHQDGPLQLVWUDWLRQSXUFKDVHVDGGLWLRQDOGRVHVFRYLGYDFFLQHVIURPSIL]HUDQGPRGHUQDKWPO             
30                          %LGHQ$GPLQLVWUDWLRQSXUFKDVHVDGGLWLRQDOGRVHVRI&29,'YDFFLQHVIURP3IL]HUDQG0RGHUQD_++6JRY
        Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 386 of 633 PageID 1112
)'$IRUHPHUJHQF\XVH++6DQG'2'FDQQHJRWLDWHDJUHHPHQWVZLWKWKHUHVSHFWLYHFRPSDQLHVWR
SXUFKDVHDGGLWLRQDOYDFFLQHGRVHVWRPHHWWKHGHPDQGLQWKH8QLWHG6WDWHV

$ERXW++6$635DQG%$5'$

++6ZRUNVWRHQKDQFHDQGSURWHFWWKHKHDOWKDQGZHOOEHLQJRIDOO$PHULFDQVSURYLGLQJIRUHIIHFWLYH
KHDOWKDQGKXPDQVHUYLFHVDQGIRVWHULQJDGYDQFHVLQPHGLFLQHSXEOLFKHDOWKDQGVRFLDOVHUYLFHV7KH
PLVVLRQRI$635LVWRVDYHOLYHVDQGSURWHFW$PHULFDQVIURPVWFHQWXU\KHDOWKVHFXULW\WKUHDWV:LWKLQ
$635%$5'$LQYHVWVLQWKHLQQRYDWLRQDGYDQFHGUHVHDUFKDQGGHYHORSPHQWDFTXLVLWLRQDQG
PDQXIDFWXULQJRIPHGLFDOFRXQWHUPHDVXUHV KWWSVZZZPHGLFDOFRXQWHUPHDVXUHVJRY ±YDFFLQHVGUXJVWKHUDSHXWLFV
GLDJQRVWLFWRROVDQGQRQSKDUPDFHXWLFDOSURGXFWVQHHGHGWRFRPEDWKHDOWKVHFXULW\WKUHDWV7RGDWH
%$5'$VXSSRUWHGSURGXFWVKDYHDFKLHYHG)'$DSSURYDOVOLFHQVXUHVRUFOHDUDQFHV7ROHDUQPRUH
DERXW&29,'YLVLWFGFJRYFRURQDYLUXV KWWSVZZZFGFJRYFRURQDYLUXV 

$ERXWWKH-3(2&%51'

7KH-RLQW3URJUDP([HFXWLYH2IILFHIRU&KHPLFDO%LRORJLFDO5DGLRORJLFDODQG1XFOHDU'HIHQVH -3(2
&%51' SURWHFWVWKH-RLQW)RUFHE\SURYLGLQJPHGLFDOFRXQWHUPHDVXUHVDQGGHIHQVHHTXLSPHQWDJDLQVW
FKHPLFDOELRORJLFDOUDGLRORJLFDODQGQXFOHDU &%51 WKUHDWV-3(2&%51'¶VJRDOLVWRHQDEOHWKH-RLQW
)RUFHWRILJKWDQGZLQXQHQFXPEHUHGE\D&%51HQYLURQPHQW-3(2&%51'IDFLOLWDWHVWKHUDSLG
UHVSRQVHDGYDQFHGGHYHORSPHQWPDQXIDFWXULQJDQGDFTXLVLWLRQRIPHGLFDOVROXWLRQVVXFKDVYDFFLQHV
WKHUDSHXWLFVDQGGLDJQRVWLFVWRFRPEDW&%51DQGHPHUJLQJWKUHDWVVXFKDV&29,'7ROHDUQPRUH
DERXW-3(2&%51'¶V&29,'UHVSRQVHYLVLWKWWSVZZZMSHRFEUQGRVGPLOFRURQDYLUXV
 KWWSVZZZMSHRFEUQGRVGPLOFRURQDYLUXV    RUIROORZ-3(2&%51'RQVRFLDOPHGLDDW#-3(2&%51'

                                                                                     


1RWH$OO++6SUHVVUHOHDVHVIDFWVKHHWVDQGRWKHUQHZVPDWHULDOVDUHDYDLODEOHDWKWWSVZZZKKVJRYQHZV QHZV 

/LNH++6RQ)DFHERRN KWWSVZZZIDFHERRNFRPSDJHV86+HDOWKDQG+XPDQ6HUYLFHV"UHI KO IROORZ++6RQ7ZLWWHU#++6JRY

 KWWSVWZLWWHUFRP++6*RY DQGVLJQXSIRU++6(PDLO8SGDWHV KWWSVFORXGFRQQHFWKKVJRYVXEVFULSWLRQFHQWHU 

/DVWUHYLVHG)HEUXDU\




++6+HDGTXDUWHUV
86'HSDUWPHQWRI+HDOWK +XPDQ6HUYLFHV
,QGHSHQGHQFH$YHQXH6:
:DVKLQJWRQ'&
7ROO)UHH&DOO&HQWHU




                                                                                                                               App000384
KWWSVZZZKKVJRYDERXWQHZVELGHQDGPLQLVWUDWLRQSXUFKDVHVDGGLWLRQDOGRVHVFRYLGYDFFLQHVIURPSIL]HUDQGPRGHUQDKWPO           
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 387 of 633 PageID 1113




                             Exhibit 




                                                                      App000385
30                                                                    'DLO\6WRU\3KDUPDF\7RGD\3KDUPDF\7RGD\
               Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                                          Page 388 of 633 PageID 1114




                                                                                                                                                                           Log in   




 86EX\VPLOOLRQ&29,'YDFFLQHVIURP3IL]HUDQG%LR17HFKDWDERXWD
 GRVH
 -XO\
 7KHIHGHUDOJRYHUQPHQWKDVERXJKWDQRWKHUPLOOLRQ&29,'YDFFLQHGRVHVIURP3IL]HUDQGSDUWQHU%LR17HFKDWURXJKO\DGRVH
 DFFRUGLQJWR3IL]HU7KDWSULFHLVKLJKHUWKDQWKHWKHJRYHUQPHQWSDLGXQGHULWVHDUOLHUDJUHHPHQWV7KHPRVWUHFHQWGHDOEULQJVWKHRYHUDOO
 QXPEHURIGRVHVSXUFKDVHGE\WKH8QLWHG6WDWHVWRELOOLRQ3IL]HUDQG%LR17HFKDQWLFLSDWHGHOLYHULQJPLOOLRQRIWKHDGGLWLRQDOGRVHVE\WKH
 HQGRIWKH\HDUZLWKWKHUHPDLQGHUDUULYLQJE\WKHHQGRIQH[W$SULO3IL]HUQRWHGWKH%LGHQDGPLQLVWUDWLRQKDVWKHRSWLRQRIREWDLQLQJDQXSGDWHG
 YHUVLRQRIWKHYDFFLQHWKDWWDUJHWVYDULDQWVLIDYDLODEOHDQGDXWKRUL]HGE\UHJXODWRUV3IL]HULVFXUUHQWO\WHVWLQJGRVHVWKDWWDUJHWWKH%HWDYDULDQW
 ZKLFKZDVILUVWLGHQWLILHGLQ6RXWK$IULFD$3IL]HUVSRNHVPDQVDLG7KHSULFHIRUWKLVRUGHUDFFRXQWVIRUWKHDGGLWLRQDOLQYHVWPHQWQHFHVVDU\WR
 SURGXFHSDFNDJHDQGGHOLYHUQHZIRUPXODWLRQVRIWKHYDFFLQHDVZHOODVWKHLQFUHDVHGFRVWDVVRFLDWHGZLWKGHOLYHULQJWKHYDFFLQHLQVPDOOHUSDFN
 VL]HVWRIDFLOLWDWHGHOLYHU\DWLQGLYLGXDOSURYLGHURIILFHVLQFOXGLQJSHGLDWULFLDQV)'$RIILFLDOVKDYHQRW\HWGHWHUPLQHGLIERRVWHUFRURQDYLUXV
 YDFFLQHGRVHVZLOOEHQHFHVVDU\EXW3IL]HUVDLGHDUOLHUWKLVPRQWKLWZRXOGVHHNFOHDUDQFHIURPUHJXODWRUVWRGLVWULEXWHDERRVWHUGRVHRILWVYDFFLQH
 LQWKH8QLWHG6WDWHV'HPDQGIRUWKHYDFFLQHFRXOGDOVRULVHLILWVXVHLVFOHDUHGIRU\RXQJHUFKLOGUHQ
 :DOO6WUHHW-RXUQDO  +RSNLQV-DUHG6

 KWWSVZZZZVMFRPDUWLFOHVXVEX\VPLOOLRQFRYLGYDFFLQHVIURPSIL]HUDQGELRQWHFKDWDERXWDVKRW




       +RPH                                 &XUUHQW3KDUPDF\7RGD\               $3K$3UDFWLFH7RROV                 -3KDUP6FL                              (QJDJH
                                            'DLO\
       $57,&/(6 ,668(6                                                         $GYHUWLVH                           6WXGHQW3KDUPDFLVW                     7ZLWWHU
                                            3DVW3KDUPDF\7RGD\
       &XUUHQW,VVXH                        'DLO\                                6XEVFULEH                           $3K$                                   )DFHERRN

       /LVWRI,VVXHV                       5(6285&(6                            5(/$7('38%/,&$7,216                $ERXW37

       3+$50$&<72'$<'$,/<                 ,QIRUPDWLRQDO5HVRXUFHV              -$3K$                               )2//2:86




     :HXVHFRRNLHVWRKHOSSURYLGHDQGHQKDQFHRXUVHUYLFHDQGWDLORUFRQWHQW7RXSGDWH\RXUFRRNLHVHWWLQJVSOHDVHYLVLWWKH &RRNLH6HWWLQJV

                                                                         IRUWKLVVLWH
       &RS\ULJKW(OVHYLHU,QFH[FHSWFHUWDLQFRQWHQWSURYLGHGE\WKLUGSDUWLHV7KHFRQWHQWRQWKLVVLWHLVLQWHQGHGIRUKHDOWKFDUHSURIHVVLRQDOV

                                                      3ULYDF\3ROLF\7HUPVDQG&RQGLWLRQV$FFHVVLELOLW\+HOS &RQWDFW
                                                                                                                                                                      App000386
KWWSVZZZSKDUPDF\WRGD\RUJGUXJVGUXJVVWRU\                                                                                                                         
30                                              'DLO\6WRU\3KDUPDF\7RGD\3KDUPDF\7RGD\
           Case 4:21-cv-01058-P Document 27 Filed 12/07/21                              Page 389 of 633 PageID 1115
                                                                             




                                                                                                            App000387
KWWSVZZZSKDUPDF\WRGD\RUJGUXJVGUXJVVWRU\                                                             
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 390 of 633 PageID 1116




                             ([KLELW




                                                                      App000388
       Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 391 of 633 PageID 1117

                             Contracts For Aug. 2, 2021

                                                 ARMY


PØzer Inc., New York, New York, was awarded a $3,500,000,001 Ørm-Øxed-price contract for the
procurement of 500 million doses of COVID-19 vaccine for the purpose of international donation. Bids
were solicited via the internet with one received. Work will be performed in New York, New York, with
an estimated completion date of Dec. 31, 2022. Fiscal 2021 research, development, test and evaluation,
Army funds in the amount of $3,500,000,001 were obligated at the time of the award. U.S. Army
Contracting Command, Aberdeen Proving Ground, Maryland, is the contracting activity (W58P05-21-
C-0002). (Awarded July 30, 2021)


General Electric Aviation, Lynn, Massachusetts, was awarded a $208,162,355 Ørm-Øxed-price contract
for overhaul of the cold section module in support of the T700 engine. Bids were solicited via the
internet with two received. Work locations and funding will be determined with each order, with an
estimated completion date of Aug. 1, 2026. U.S. Army Contracting Command, Redstone Arsenal,
Alabama, is the contracting activity (W58RGZ-21-D-0065).


Weeks Marine Inc., Covington, Louisiana, was awarded a $15,697,708 Ørm-Øxed-price contract for
berm reconstruction at Ocean City, Maryland. Bids were solicited via the internet with three received.
Work will be performed in Ocean City, Maryland, with an estimated completion date of April 11, 2022.
U.S. Army Corps of Engineers, Baltimore, Maryland, is the contracting activity (W912DR-21-C-0020).


Keller North America Inc., Alpharetta, Georgia, was awarded a $9,118,588 Ørm-Øxed-price contract for
bluff stabilization at Natchez National Cemetery. Bids were solicited via the internet with four received.
Work will be performed in Natchez, Mississippi, with an estimated completion date of Aug. 1, 2022.
Fiscal 2021 Department of Veterans Affairs, National Cemetery Administration funds in the amount of
$9,118,588 were obligated at the time of the award. U.S. Army Corps of Engineers, Vicksburg,
Mississippi, is the contracting activity (W912EE-21-C-0008).


                                                  NAVY


General Dynamics Electric Boat Corp., Groton, Connecticut, is awarded a $225,117,921 modiØcation to
previously awarded contract N00024-19-C-2125 for engineering, technical, design agent, and planning
yard support for operational strategic and attack submarines. The contract provides for drawings and


                                                                                           App000389
relatedCase
         technical data; design change
              4:21-cv-01058-P           documentation;
                                  Document              logistics technical
                                              27 Filed 12/07/21     Page 392data;
                                                                               of conØguration
                                                                                  633 PageID 1118
management; hull, mechanical and electrical engineering; submarine safety design review; non-
propulsion plant electrical system engineering; propulsion plant engineering; maintenance engineering;
reØt/availability technical support; on-site support; conØguration change program design and
installation support; conØguration change program material support; submarine technical trade
support; training and facility support; research development test and evaluation program support;
research and development submarine/submersibles support; miscellaneous special studies; temporary
alteration support; modernization of submarine/submersible systems/subsystems; and
affordability/cost reduction technical support. Work will be performed in Groton, Connecticut (70%);
Kings Bay, Georgia (13%); Bangor, Washington (10%); Pearl Harbor, Hawaii (3%); North Kingston, Rhode
Island (2%); and Newport, Rhode Island (2%), and is expected to be completed by September 2023.b
Fiscal 2021 other procurement, Navy funding in the amount of $3,104,008 will be obligated at time of
award and will not expire at the end of the current Øscal year.b The Naval Sea Systems Command,
Washington, D.C., is the contracting activity.


Lockheed Martin Corp., Owego, New York, is awarded an $117,686,514 modiØcation (P00002) to a
Ørm-Øxed-price order (N0001921F0841) against a previously issued basic ordering agreement
(N0001921G0017). This order provides non-recurring engineering and Øeld services representative
efforts to bring 12 MH-60R aircraft from standard Foreign Military Sales (FMS) conØguration to a
Republic of Korea Navy conØguration. Work will be performed in Stratford, Connecticut (38%); Best,
France (37%); Owego, New York (18%); and Portsmouth, Rhode Island (7%), and is expected to be
completed in November 2026. FMS funds in the amount of $117,686,514 will be obligated at time of
award, none of which will expire at the end of the current Øscal year. The Naval Air Systems Command,
Patuxent River, Maryland, is the contracting activity.


Seemann Composites LLC,* Gulfport, Mississippi, is awarded an $74,922,276 indeØnite-
delivery/indeØnite-quantity, cost-plus-Øxed-fee, and cost-plus-incentive-fee contract for design
engineering and manufacturing support. Work will be performed in Gulfport, Mississippi (60%);
Chesapeake, Virginia (20%); and Horsham, Pennsylvania (20%), and is expected to be completed by July
2026. Fiscal 2021 research, development, test, and evaluation (Navy) funding in the amount of $18,842
will be obligated at time of award for the Ørst order and not expire at the end of the current Øscal year.
This contract was competitively procured via the Beta.Sam.gov website, with three offers received. The
Naval Surface Warfare Center Carderock Division, Bethesda, Maryland, is the contracting activity
(N0016721D0010).


Lockheed Martin Corp., Fort Worth, Texas, is awarded a $51,793,127 cost-plus-incentive-fee contract.
This contract provides for program management support to include development of customer unique
capabilities in support of the continued development of the air system for the F-35 Lightning II Joint



                                                                                           App000390
Strike Fighter program for a Foreign
       Case 4:21-cv-01058-P           Military
                                  Document   27Sales  (FMS)
                                                  Filed      customer.
                                                         12/07/21      Work
                                                                    Page  393will
                                                                               of be
                                                                                  633performed
                                                                                        PageID in Fort
                                                                                               1119
Worth, Texas (71%); Redondo Beach, California (13%); Melbourne, Florida (1%); and various
undisclosed locations outside the continental U.S. (15%), and is expected to be completed in January
2024. FMS customer funds in the amount of $18,000,000 will be obligated at time of award, none of
which will expire at the end of the current Øscal year.b This contract was not competitively procured
pursuant to 10 U.S. Code 2304(C)(1). The Naval Air Systems Command, Patuxent River, Maryland, is the
contracting activity (N0001921C0040).


Lockheed Martin Corp., Owego, New York, is awarded a not-to-exceed undeØnitized $34,400,000
modiØcation (P00028) to a previously awarded, Ørm-Øxed-price contract (N0001919C0013). This
modiØcation adds scope to provide integration and installation of a Hellenic Navy System conØguration
on three USN8 time conØguration remote sensors for aircraft. This modiØcation also provides for
efforts on three replace in kind aircraft to bring the aircraft into a USN8 conØguration. Additionally it
procures four Airborne Low Frequency Sonars in support of the MH-60R program for the Navy and
Foreign Military Sales (FMS) customers. Work will be performed in Best, France (46%); Owego, New
York (40%); Portsmouth, Rhode Island (9%); and Stratford, Connecticut (5%), and is expected to be
completed in April 2025.b Fiscal 2021 aircraft procurement (Navy) funds in the amount of $1,300,976;
and FMS funds in the amount of $11,855,070 will be obligated at time of award, none of which will
expire at the end of the current Øscal year. The Naval Air Systems Command, Patuxent River, Maryland,
is the contracting activity.


                              DEFENSE MICROELECTRONICS ACTIVITY


Marvell Government Solutions LLC, Essex Junction, Vermont, is awarded a $98,216,265 ceiling increase
modiØcation (P00019) to previously awarded HQ072720C4000 for Application SpeciØc Integrated
Circuit (ASIC) design services. The modiØcation brings the total cumulative face value of the contract to
$212,348,848 from $114,132,583. Work will be performed at Burlington, Vermont, with an expected
completion date of March 31, 2022. The contract is being incrementally funded and $55,969,855 in
funds are being obligated at time of modiØcation. The Defense Microelectronics Activity, McClellan,
California, is the contracting activity.


                            DEFENSE INFORMATION SYSTEMS AGENCY


Soliel LLC, Vienna, Virginia, was awarded a competitive 8(a) hybrid (Ørm-Øxed-price/cost-plus-Øxed-fee)
contract for National Bureau of Investigation Service (NBIS) Development, Deployment and
Sustainment (DD&S-II). The face value of this action is $22,407,525, funded by Øscal 2021 operation
and maintenance; and research, development, test and evaluation funds. The total cumulative face value
of the contract is $22,407,525. Performance will be at both the government’s facilities and the


                                                                                           App000391
contractor’s
       Case facilities.b ProposalsDocument
             4:21-cv-01058-P       were solicited
                                              27 from
                                                   Filed 8(a) companies
                                                         12/07/21    PageidentiØed during
                                                                            394 of 633    market1120
                                                                                        PageID   research,
and Øve proposals were received from seven proposals. The period of performance is Aug. 5, 2021 –
Aug. 4, 2022, with four three-month option periods. The Defense Information Technology Contracting
Organization, Scott Air Force Base, Illinois, is the contracting activity (HC108421C0005).


                                               AIR FORCE


Raytheon Intelligence and Space, Aurora, Colorado, has been awarded a $13,515,800 cost-plus-
incentive-fee contract modiØcation (P00347) to the previously awarded contract FA8807-10-C-0001
for the Global Positioning System Next Generation Operational Control System (OCX). The contract
modiØcation is for an equitable adjustment for COVID-19 impacts to OCX, including late government-
furnished equipment impacts and excusable delay overrun costs. The location of performance is Aurora,
Colorado. The work is expected to be completed by June 30, 2022. The contract is incrementally funded
with Space Force Research and Development funding, and no additional funds are being obligated at the
time of award. Total cumulative face value of the contract is $3,758,106,396. Space and Missile Systems
Center, Los Angeles Air Force Base, El Segundo, California, is the contracting activity.


                        DEFENSE ADVANCED RESEARCH PROJECTS AGENCY


Applied Physical Sciences Corp., Groton, Connecticut, has been awarded a $9,994,747 modiØcation
(P00003) to previously awarded cost-plus-Øxed-fee contract HR001120C0038 to exercise the Contract
Line Item Number 0003 option to support a Defense Advanced Research Projects Agency research
project. Fiscal 2021 research and development funds in the amount of $9,994,747 are being obligated
at the time of award, with an estimated completion date of June 2022. The Defense Advanced Research
Projects Agency, Arlington, Virginia, is the contracting activity (HR001120C0138). (Awarded July 30,
2021)


*Small business




                                                                                           

                                                                                             

                                                                                            

                                                                                            App000392
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 395 of 633 PageID 1121

                                                                         



                  fl Search...




                                                                      App000393
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 396 of 633 PageID 1122




                             ([KLELW




                                                                      App000394
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                    Page 397 of 633 PageID 1123



  BREAKING | Oct 28, 2021, 08:38am EDT | 1,346 views



  U.S. Purchases Additional 50
  Million Pediatric Doses Of Covid-
  19 Vaccine, Pfizer Says
                 Robert Hart Forbes Staff
                 Business                                                                     Follow
                 ,FRYHUEUHDNLQJQHZV



            /LVWHQWRDUWLFOH




  TOPLINE 7KH86JRYHUQPHQWKDVSXUFKDVHGDQDGGLWLRQDOPLOOLRQGRVHV

  RI3IL]HUDQG%LR17HFK¶VSHGLDWULF&RYLGYDFFLQHWKHWZRFRPSDQLHV
  DQQRXQFHG7KXUVGD\DVUHJXODWRUVDUHSRLVHGWRJUHHQOLJKWWKHVKRWIRUXVH
  LQFKLOGUHQDV\RXQJDVILYH




  The U.S. government purchased an additional 50 million doses of P zer's pediatric vaccine, which is ...
  [+]   AFP VIA GETTY IMAGES


                                                                                                App000395
Case
  KEY4:21-cv-01058-P
      FACTS          Document 27 Filed 12/07/21     Page 398 of 633 PageID 1124


  7KHDGGLWLRQDOGRVHVZLOOVXSSRUWWKHJRYHUQPHQW¶VSUHSDUDWLRQVIRU
    ZLGHVSUHDGSHGLDWULFYDFFLQDWLRQWKHFRPSDQLHVVDLGZKLFKZLOOFRYHU
    FKLOGUHQDV\RXQJDVILYHLIDSSURYHGE\UHJXODWRUV



  %LR17HFKDQG3IL]HUH[SHFWWRGHOLYHUWKHGRVHVE\WKHHQGRI$SULO

  7KHVKRWV²RQHWKLUGWKHVWUHQJWKRIWKRVHLQWHQGHGIRUSHRSOHDJHVDQG
    XSDQGPHDQWIRUXVHLQFKLOGUHQDJHG²FRPSOHWHWKH86
    JRYHUQPHQW¶VPLOOLRQGRVHSXUFKDVHDJUHHPHQWLWPDGHZLWK3IL]HU
    DQG%LR17HFKDWWKHVWDUWRIWKHSDQGHPLFWKHFRPSDQLHVVDLG



  86UHJXODWRUVDUHSRLVHGWRFOHDUWKHYDFFLQHIRUXVHLQ\RXQJHUFKLOGUHQ
    DQGWULDOGDWDVXJJHVWVWKHYDFFLQHJHQHUDWHVD³VWURQJLPPXQHUHVSRQVH´

  KEY BACKGROUND

  :KLOHFKLOGUHQDQGWHHQDJHUVKDYHDPXFKORZHUFKDQFHRIGHYHORSLQJ
  VHYHUHLOOQHVVRUG\LQJIURP&RYLGWKH\FDQDQGGRGHYHORSOLIH
  WKUHDWHQLQJLOOQHVVDQGGLHIURP&RYLG7KH)RRGDQG'UXJ
  $GPLQLVWUDWLRQDGYLVRU\FRPPLWWHHRYHUZKHOPLQJO\YRWHGLQIDYRURI
  DSSURYLQJWKHYDFFLQHIRUXVHLQFKLOGUHQ²PHPEHUVHQGRUVHGWKHVKRW
  RQHDEVWDLQHG²SDYLQJWKHZD\IRUWKHVKRWWREHFOHDUHGE\WKH)'$DQGWKH
  &HQWHUVIRU'LVHDVH&RQWURODQG3UHYHQWLRQ7KH:KLWH+RXVHVD\VLWLV
  SUHSDUHGWRGLVWULEXWHYDFFLQHVDVVRRQDVWKHVKRWLVDXWKRUL]HGH[SHFWHGWR
  EHDURXQGHDUO\1RYHPEHU

  BIG NUMBERü

  PLOOLRQ7KDW¶VKRZPDQ\FKLOGUHQZLOOEHHOLJLEOHIRUWKH&RYLGVKRWLI
  LW¶VDSSURYHGIRUILYHWR\HDUROGVDFFRUGLQJWRWKH:KLWH+RXVH%HIRUH
  WKHDGGLWLRQDOSXUFKDVHVRIILFLDOVVDLGWKH86VDLGLWDOUHDG\KDG³HQRXJK
  VXSSO\WRVXSSRUWYDFFLQDWLRQ´LQWKLVJURXSZKLFKZLOOEHGHOLYHUHGZLWK
  VPDOOHUQHHGOHVPRUHVXLWDEOHIRUFKLOGUHQ
                                                                          App000396
Case 4:21-cv-01058-P Document 27 Filed 12/07/21
  TANGENT                                                  Page 399 of 633 PageID 1125

  0RGHUQDDQQRXQFHG0RQGD\LWSODQVWRVXEPLWGDWDRQLWVRZQSHGLDWULF
  YDFFLQHWRUHJXODWRU\DJHQFLHVDIWHUDFOLQLFDOWULDOVKRZHGLWWRJHQHUDWHD
  VWURQJLPPXQHUHVSRQVHLQFKLOGUHQDJHGVL[WR

  FURTHER READING

  +HUH¶V+RZ7KH:KLWH+RXVH3ODQV7R'LVWULEXWH&KLOGUHQ¶V&RYLG9DFFLQHV
   )RUEHV

  )'$$GYLVRU\&RPPLWWHH5HFRPPHQGV$XWKRUL]LQJ3IL]HU¶V&RYLG9DFFLQH
  )RU.LGV$JHV7R )RUEHV

  :KDW&29,'YDFFLQHVIRU\RXQJNLGVFRXOGPHDQIRUWKHSDQGHPLF 1DWXUH

  0RGHUQD6D\V,WV&RYLG6KRW*HQHUDWHVµ6WURQJ¶,PPXQH5HVSRQVH,Q.LGV
  $JHG )RUEHV

  )XOOFRYHUDJHDQGOLYHXSGDWHVRQWKH&RURQDYLUXV

  )ROORZPHRQ7ZLWWHU6HQGPHDVHFXUHWLS

           Robert Hart                                                         Follow



  I am a London-based reporter for Forbes covering breaking news. Previously, I have
  worked as a reporter for a specialist legal publication...üRead More


  Reprints & Permissions

                                         ADVERTISEMENT




                                                                                 App000397
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 400 of 633 PageID 1126




                             ([KLELW




                                                                      App000398
       Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 401 of 633 PageID 1127

                           Contracts For Nov. 22, 2021

                                                 ARMY


PØzer Inc., New York, New York, was awarded a $1,400,000,001 modiØcation (P00003) to contract
W58P05-21-C-0002 for an additional 200 million doses of PØzer's COVID-19 vaccine for international
donation. Work will be performed in New York, New York, with an estimated completion date of June
                                                                                                30,
2022. Fiscal 2022 research, development, test, and evaluation, Army funds in the amount of
$1,400,000,001 were obligated at the time of the award. U.S. Army Contracting Command, Aberdeen
Proving Ground, Maryland, is the contracting activity. (Awarded Nov. 19, 2021)


MEB General Contractors Inc., Chesapeake, Virginia, was awarded a $28,013,000 Ørm-Øxed-price
contract for fuel facility replacement.b Work will be performed in Fort Hood, Texas, and is expected to be
completed by Feb. 7, 2023.b Bids were solicited via the internet with Øve received.b Fiscal 2018 and 2021
military construction, Army; and 2022 military construction, Defense funds in the amount of
$28,013,000 were obligated at the time of award.b The U.S. Army Corps of Engineers, Fort Worth, Texas,
is the contracting activity (W9126G-22-C-0003).


Radiance Technologies Inc.,* Huntsville, Alabama, was awarded a $25,808,362 cost-plus-Øxed-fee
contract for directed energy common test support. Bids were solicited via the internet with three
received. Work will be performed in Huntsville and Redstone Arsenal, Alabama, with an estimated
completion date of Nov. 21, 2026. Fiscal 2021 research, development, test and evaluation, Army funds
in the amount of $25,808,362 were obligated at the time of the award. U.S. Army Rapid Capabilities and
Critical Technologies OfØce, Redstone Arsenal, Alabama, is the contracting activity (W50RAJ-22-F-
0002).


Dyncorp International LLC, Fort Worth, Texas, was awarded a $8,529,070 modiØcation (P00182) to
contract W58RGZ-19-C-0025 for worldwide aviation maintenance. Work will be performed in Fort
Campbell and Fort Knox, Kentucky; Fort Drum, New York; Sato Cano, Honduras; Germany; and
Thailand, with an estimated completion date of Nov. 30, 2022. Fiscal 2022 operation and maintenance,
Army; and Foreign Military Sales funds in the amount of $8,529,070 were obligated at the time of the
award. U.S. Army Contracting Command, Redstone Arsenal, Alabama, is the contracting activity.


CORRECTION:b The Nov. 19, 2021, contract announcement for Dynetics Inc., Huntsville, Alabama
(W50RAJ-22-9-0001), for $478,598,908 incorrectly stated that all funds would be obligated at time of
award.b The funds will be obligated incrementally by Other Transaction Authority modiØcations.

                                                                                           App000399
                            DEFENSE27
      Case 4:21-cv-01058-P Document INTELLIGENCE    AGENCY
                                       Filed 12/07/21  Page 402 of 633 PageID 1128


General Dynamics Information Technology Inc., Falls Church, Virginia, was awarded a $829,235,847
Øxed-price, award-fee task order to provide all information technology help desk services for the
Defense Intelligence Agency (DIA). Work will be performed at Joint Base Anacostia-Bolling in
Washington, D.C., and other DIA sites, with an expected completion date of Jan. 27, 2032. Fiscal 2022
operations and management funds in the amount of $19,962 are being incrementally funded at the time
of award for base-year labor. This contract was a competitive acquisition, and Øve offers were received.
The Virginia Contracting Activity, Washington, D.C., is the contracting activity (HHM402-21-D-
0016/0002).b


                                                 NAVY


Lockheed Martin, Rotary and Mission Systems, Moorestown, New Jersey, is awarded an $114,606,157
cost-plus-incentive-fee, cost-plus-Øxed-fee, and cost-only modiØcation to previously-awarded contract
N00024-13-C-5116 to exercise an option for AEGIS Combat System Engineering Agent efforts for the
design, development, integration, test and delivery of Advanced Capability Build 20. Work will be
performed in Moorestown, New Jersey, and is expected to be completed by December 2022. Fiscal
2021 other procurement (Navy) funds in the amount of $430,000 (53%); and Øscal 2022 research,
development, test, and evaluation (Navy) funds in the amount of $382,216 (47%) will be obligated at
time of award and will not expire at the end of the current Øscal year. The Naval Sea Systems Command,
Washington, D.C., is the contracting activity.


Raytheon Technologies, Portsmouth, Rhode Island, is awarded a $27,596,535 Ørm-Øxed-price
modiØcation to previously awarded contract N00024-16-C-6423 to exercise options for the production
of the MK54 lightweight torpedo MOD 0 and MOD 1 common part kits and spare torpedo components.
This contract combines purchases for the U.S. government (67%); and the governments of Spain and
Brazil (33%) under the Foreign Military Sales (FMS) program. Work will be performed in Portsmouth,
Rhode Island; and Keyport, Washington (5%), and is expected to be completed by May 2025. Fiscal 2022
weapons procurement (Navy) funds in the amount of $18,234,431 (66%); FMS Spain and FMS Brazil
funds in the amount of $9,015,184 (33%), and Øscal 2021 weapons procurement (Navy) funds in the
amount of $346,920 (1%) will be obligated at time of award and will not expire at the end of the current
Øscal year. The Naval Sea Systems Command, Washington, D.C., is the contracting activity.


Rockwell Collins Inc., Cedar Rapids, Iowa, is awarded a $9,900,000 Ørm-Øxed-price, cost-plus-Øxed-fee
modiØcation (P00011) to a previously awarded contract (N0042118C0042). This modiØcation exercises
an option to provide for the Ùight management function application enterprise-wide license for all Navy,
Marine Corps, and Navy led joint program aircraft. Work will be performed in Cedar Rapids, Iowa, and is


                                                                                         App000400
expected  to be
        Case    completed in JulyDocument
             4:21-cv-01058-P      2023. Fiscal
                                            27 2022
                                                Filedaircraft procurement
                                                       12/07/21    Page 403(Navy) funds
                                                                             of 633      in the1129
                                                                                     PageID    amount of
$9,900,000 will be obligated at time of award, none of which will expire at the end of the current Øscal
year. The Naval Air Warfare Center Aircraft Division, Patuxent River, Maryland, is the contracting
activity.


                                              AIR FORCE


Zapata Group Inc., Charlotte, North Carolina (FA4418-22-D-0007); and ADC Engineering Inc.,
Hanahan, South Carolina (FA4418-22-D-0006), were awarded a $19,000,000 multiple award,
indeØnite-delivery/indeØnite-quantity contract for architect-engineer services. The contract provides
for the development of master planning documents for construction and utility infrastructure, and to
accomplish studies. Work will be performed at Joint Base Charleston, South Carolina, and is expected to
be completed by May 21, 2027. This award is the result of a competitive acquisition in which 16 offers
were received. The 628th Contracting Squadron, Joint Base Charleston, South Carolina, is the
contracting activity.


Blue Canyon Technologies Inc., Lafayette, Colorado, was awarded a $14,609,337 not-to-exceed, cost-
plus-Øxed-fee type contract for the Space Situational Awareness (SSA) Micro-Satellite Bus (AgileSAT)
Program. This contract provides for the development and demonstration of a small satellite bus that can
operate and maneuver effectively for up to three years in orbits beyond the geosynchronous equatorial
orbit and has Ùexible support for a broad range of payloads. Work will be performed in Lafayette,
Colorado, and is expected to be completed by Feb. 28, 2023. This award is the result of a competitive
acquisition via the Small Business Innovative Research Program. Fiscal 2021 research and development
funding in the amount of $1,600,000 is being obligated at the time of award. Air Force Research
Laboratory, Wright Patterson Air Force Base, Ohio, is the contracting activity (FA8650-22-C-9211).


                                    DEFENSE LOGISTICS AGENCY


Jo-Kell Inc.,** Chesapeake, Virginia, has been awarded a maximum $11,103,552 indeØnite-quantity,
Ørm-Øxed-price long-term contract for UH-60A helicopter special purpose electrical cable assembly
spare parts. This was a sole-source acquisition using justiØcation 10 U.S. Code 2304 (c)(1), as stated in
Federal Acquisition Regulation 6.302-1. This is a Øve-year contract with no option periods. Location of
performance is Virginia, with a Nov. 29, 2026, performance completion date. Using military service is
Army. Type of appropriation is Øscal 2021 through 2026 defense working capital funds. The contracting
activity is the Defense Logistics Agency Aviation, Richmond, Virginia (SPE4A6-21-D-0036).bb




                                                                                          App000401
Defense Energy
       Case      Syndicate LLC, Bronx,
             4:21-cv-01058-P           New27
                                 Document   York, has 12/07/21
                                                Filed been awarded   a maximum
                                                                  Page           $9,803,682
                                                                        404 of 633           Øxed-price
                                                                                    PageID 1130
with economic-price-adjustment requirements contract for fuel system icing inhibitor. This was a
competitive acquisition with six responses received. This is a 30-month contract with a 90-day
carryover. Locations of performance are throughout Europe and the Middle East, with a June 30, 2024,
performance completion date. Using customer is Defense Logistics Agency Energy. Type of
appropriation is Øscal 2022 through 2024 defense working capital funds. The contracting activity is the
Defense Logistics Agency Energy, Fort Belvoir, Virginia (SPE602-22-D-0751).


*Small business
**Woman-owned small business




                                                                                        

                                                                                          

                                                                                         

                                                                                              



                            fl Search...




                                                                                         App000402
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 405 of 633 PageID 1131




                             ([KLELW




                                                                      App000403
   Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                   Page 406 of 633 PageID 1132


Budget

Novel Coronavirus (COVID-19)
To date, CDC received COVID-19 supplemental funding through:

     Coronavirus Preparedness and Response Supplemental Appropriations Act, 2020 (P.L. 116-123): P.L. 116-123 provided
     $2.2 billion to CDC to prevent, prepare for and respond to COVID-19 domestically and internationally.
     Coronavirus Aid, Relief, and Economic Security (CARES) Act (P.L. 116-136): P.L. 116-136 provided CDC $4.3 billion and
     ATSDR $12.5 million to prevent, prepare for and respond to COVID-19 domestically and internationally.
     Paycheck Protection Program and Health Care Enhancement Act (P.L. 116-139): P.L. 116-139 provided $1.0 billion to CDC
     transferred from the Public Health Social Services Emergency Fund (PHSSEF) to support surveillance, epidemiology,
     laboratory capacity expansion, contact tracing, public health data surveillance and analytics infrastructure
     modernization, disseminating information about testing, and workforce support necessary to expand and improve
     COVID–19 testing. In addition, $10.25 billion from the PHSSEF was awarded to health departments through the CDC
     Epidemiology and Laboratory Capacity program for testing and contact tracing.
     Coronavirus Response and Relief Supplemental Appropriations Act, 2021 (P.L. 116-260): P.L. 116-260 provided $8.75
     billion to CDC to plan, prepare for, promote, distribute, administer, monitor, and track coronavirus vaccines to ensure
     broad-based distribution, access, and vaccine coverage. On behalf of HHS, $19.11 billion from the PHSSEF was awarded
     to health departments through the CDC Epidemiology and Laboratory Capacity program for testing and contact tracing.
     American Rescue Plan Act of 2021 (P.L. 117-2): P.L. 117-2 provided $11.52 billion to CDC to plan, prepare for, promote,
     distribute, administer, monitor, and track vaccines; strengthen vaccine conÒdence in the US, provide information and
     education, and improve rates of vaccination; strengthen and expand activities and workforce related to genomic
     sequencing, analytics, and disease surveillance; combat COVID and other emerging infectious disease threats, global
     health security, global disease detection and response, global health protection, global immunization, and coordination;
     support surveillance and analytics infrastructure modernization initiatives and an early warning system; and encourage
     primary prevention of mental and behavioral health conditions for health care professionals. On behalf of HHS, CDC will
     provide $10 billion from the PHSSEF to states to support COVID-19 screening testing for teachers, sta× and students to
     assist schools in reopening safely for in-person instruction.

  CDC 24/7 Response to COVID-19 
  The CDC COVID-19 fact sheet provides an overview of CDC’s support for COVID-19 response activities on federal, state,
  local, territorial and tribal levels. It also highlights CDC’s current COVID-19 e×orts.


  CDC COVID-19 State, Tribal, Local, and Territorial (STLT) Funding
  The CDC COVID-19 STLT Funding page shows COVID-19 funding by jurisdiction, award, and the four COVID-19 supplemental
  appropriations.


  CDC COVID-19 Funding for Tribes 
  The CDC COVID-19 Funding for Tribes Fact Sheet provides information on the funding provided to tribal nations, consortia,
  and organizations for responding to COVID-19 across tribal communities.


  CDC COVID-19 Global Response Fact Sheet 
  The CDC COVID-19 Global Response Fact Sheet provides an overview of the goals, objectives, activities, and spend plan of
  CDC’s global response to COVID-19.

  CDC COVID-19 Data Modernization Initiative Fact Sheet 

  The CDC COVID-19 Data Modernization Initiative Fact Sheet discuss how CDC is bringing together state, tribal, local, and
  territorial (STLT) public health jurisdictions and our private and public sector partners to create modern, interoperable, and
  real-time public health data and surveillance systems that will protect the American public.

  CDC In Action: Accelerating and Supporting COVID-19 Vaccine Distribution 
                                                                                                                     App000404
 Case 4:21-cv-01058-P Document 27 Filed 12/07/21                             Page 407 of 633 PageID 1133
The CDC is playing an essential role in the response to the COVID-19 pandemic, working 24/7 to protect the nation’s health
and ensure public health partners have the resources, guidance, and scientiÒc expertise to respond.


Paycheck Protection Program and Health Care Enhancement Act Fact Sheet 

The Paycheck Protection Program and Health Care Enhancement Act Fact Sheet provides an overview of the critical
activities (domestic preparedness, workforce capacity, laboratory capacity, and communication and analytics) in CDC’s plan
for public health response and capacity building.

                                                                                               Page last reviewed: August 3, 2021




                                                                                                                   App000405
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 408 of 633 PageID 1134




                             ([KLELW




                                                                      App000406
      7   77     7 7)$%-7$,*-)120!2).-7--.3-#%17)12.0)#7   7)++).-7-4%12,%-272.76/!-$7##%1172.7  7 !##)-%17!-$73)+77
                Case 4:21-cv-01058-P Document 27 Filed 12/07/21                              Page 409 of 633 PageID 1135


                                                                       



           (       ((#$"$ ( %#( #$ "(
          ( (&#$$($ ( '!(##($ (  (
        #((%(( (( "#$ $((
                           #$#( %$#(
                                                          




         ! !&  & ! &  &&&  ! & !&#"& !&! &
                                  &&&  !& &

                 ! !& &# & $&  &!&                            !& %  &           !! &        !$&

    :G6 8;G5%G8$:/#$3;G/#$3:G"53;/3<$#G$&58;:G;5G$3:<8$G G> ""/3$:G8$ "-G 11G6$561$G
     3#G 11G"522<3/;/$:G;-$G/#$3 88/:G#2/3/:;8 ;/54G/:G 335<3"/3,G G:$8/$:G5%G ";/53:G;5G
    $@6 3#G ""$::G;5G G> ""/3$:G;5G;-$G- 8#$:;-/;G 3#G-/,-$:;8/:0G"522<3/;/$:G "85::G
    ;-$G"5<4;8AG/;-G*3#/3,G/3G1 8,$G6 8;G)52G;-$G2$8/" 3G$:"<$G1 3G;-$GG$6 8;2$3;G5%G
    $ 1;-G 3#G<2 3G$8>/"$:GG?/11G/3>$:;G3$ 81BG G!/11/53G;5G$@6 3#G ""$::G;5G> ""/3$:G
     3#G!$;;$8G:$8>$G"522<3/;/$:G5%G"5159G8<8 1G 8$ :G15?/3"52$G656<1 ;/53:G 3#G5;-$8G
    <3#$8:$8>$#G"522<3/;/$:G/3G;-$G G8$:653:$G-/:G*3#/3,G?/11G$@6 3#G ""$::G;5G
    > ""/3$:G(8G><13$8 !1$G656<1 ;/53:G 3#G/3"8$ :$G> ""/3$G"53'#$3"$G "85::G;-$G"5<3;8AG

    7</;BG/:G ;G;-$G"$3;$8G5%G;-$G#2/3/:;8 ;/53:G G8$:653:$G.$G8$:/#$3;G- :G:$;G<6G
    %$#$8 11B8<3G"522<3/;EG> ""/3 ;/53G"$3;$8:G/3G- 8#-/;G 8$ :G:$3;G> ""/3$:G#/8$";1BG;5G15" 1G
    6- 82 "/$:G 3#G522<3/;EG$ 1;-G$3;$8:G;- ;G#/:685658;/53 ;$1BG:$8>$G><13$8 !1$G
    656<1 ;/53:G1 <3"-$#G-<3#8$#:G5%G25!/1$G"1/3/":G;5G2$$;G6$561$G?-$8$G;-$BG 8$G 3#G"8$ ;$#G
    ;-$G G$ 1;-G7</;BG :0G58"$G

    -$:$G ";/53:G 8$G, 83$8/3,G/3/;/ 1G8$:=1;:G3G;-$G6 :;G;?5G253;-:G G6$8"$3;G5%G#5:$:G ;G
    %$#$8 11B8<3G522<3/;DG ""/3 ;/53G:/;$:G?$8$G #2/3/:;$8$#G;5G6$561$G5%G"5158G3G;-$G%$#$8 1G
    8$; /1G6- 82 "BG685,8 2G G6$8"$3;G5%G:/;$:G?$8$G15" ;$#G/3GF/6G"5#$:G?/;-G-/,-G:5"/ 1G
    ><13$8 !/1/;BG:"58$:GG GG/3#$@G;- ;G<:$:G GG"$3:<:G> 8/ !1$:G;5G/#$3;/+G"522<3/;/$:G
    ;- ;G2 BG3$$#G:<6658;G/3 11CG5>$8G G6$8"$3;G5%G;-$G%$#$8 1G#5:$:G 115" ;$#G;5G522<3/;BG
    $ 1;-G$3;$8:G- >$G!$$3G #2/3/:;$8$#G;5G6$561$G5%G"5158G
                                                                                                                                  App000407
(22/15555()2%(.31%'.4"0)%&)-'0..,12!2%,%-210%+%!1%1       &!#21(%%2")$%-!$,)-)120!2).-!--.3-#%1(*12.0)#   ")++*.-)-4%12,%-22.7   7 7
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 410 of 633 PageID 1136




                                                                      App000408
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 411 of 633 PageID 1137




                                                                      App000409
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 412 of 633 PageID 1138




                                                                      App000410
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 413 of 633 PageID 1139




                              Exhibit 1




                                                                      App000411
      7   77     7 7)$%-7$,*-)120!2).-7--.3-#%17)12.0)#7   7)++).-7-4%12,%-272.76/!-$7##%1172.7  7 !##)-%17!-$73)+77
                Case 4:21-cv-01058-P Document 27 Filed 12/07/21                              Page 414 of 633 PageID 1140


                                                                       



           (       ((#$"$ ( %#( #$ "(
          ( (&#$$($ ( '!(##($ (  (
        #((%(( (( "#$ $((
                           #$#( %$#(
                                                          




         ! !&  & ! &  &&&  ! & !&#"& !&! &
                                  &&&  !& &

                 ! !& &# & $&  &!&                            !& %  &           !! &        !$&

    :G6 8;G5%G8$:/#$3;G/#$3:G"53;/3<$#G$&58;:G;5G$3:<8$G G> ""/3$:G8$ "-G 11G6$561$G
     3#G 11G"522<3/;/$:G;-$G/#$3 88/:G#2/3/:;8 ;/54G/:G 335<3"/3,G G:$8/$:G5%G ";/53:G;5G
    $@6 3#G ""$::G;5G G> ""/3$:G;5G;-$G- 8#$:;-/;G 3#G-/,-$:;8/:0G"522<3/;/$:G "85::G
    ;-$G"5<4;8AG/;-G*3#/3,G/3G1 8,$G6 8;G)52G;-$G2$8/" 3G$:"<$G1 3G;-$GG$6 8;2$3;G5%G
    $ 1;-G 3#G<2 3G$8>/"$:GG?/11G/3>$:;G3$ 81BG G!/11/53G;5G$@6 3#G ""$::G;5G> ""/3$:G
     3#G!$;;$8G:$8>$G"522<3/;/$:G5%G"5159G8<8 1G 8$ :G15?/3"52$G656<1 ;/53:G 3#G5;-$8G
    <3#$8:$8>$#G"522<3/;/$:G/3G;-$G G8$:653:$G-/:G*3#/3,G?/11G$@6 3#G ""$::G;5G
    > ""/3$:G(8G><13$8 !1$G656<1 ;/53:G 3#G/3"8$ :$G> ""/3$G"53'#$3"$G "85::G;-$G"5<3;8AG

    7</;BG/:G ;G;-$G"$3;$8G5%G;-$G#2/3/:;8 ;/53:G G8$:653:$G.$G8$:/#$3;G- :G:$;G<6G
    %$#$8 11B8<3G"522<3/;EG> ""/3 ;/53G"$3;$8:G/3G- 8#-/;G 8$ :G:$3;G> ""/3$:G#/8$";1BG;5G15" 1G
    6- 82 "/$:G 3#G522<3/;EG$ 1;-G$3;$8:G;- ;G#/:685658;/53 ;$1BG:$8>$G><13$8 !1$G
    656<1 ;/53:G1 <3"-$#G-<3#8$#:G5%G25!/1$G"1/3/":G;5G2$$;G6$561$G?-$8$G;-$BG 8$G 3#G"8$ ;$#G
    ;-$G G$ 1;-G7</;BG :0G58"$G

    -$:$G ";/53:G 8$G, 83$8/3,G/3/;/ 1G8$:=1;:G3G;-$G6 :;G;?5G253;-:G G6$8"$3;G5%G#5:$:G ;G
    %$#$8 11B8<3G522<3/;DG ""/3 ;/53G:/;$:G?$8$G #2/3/:;$8$#G;5G6$561$G5%G"5158G3G;-$G%$#$8 1G
    8$; /1G6- 82 "BG685,8 2G G6$8"$3;G5%G:/;$:G?$8$G15" ;$#G/3GF/6G"5#$:G?/;-G-/,-G:5"/ 1G
    ><13$8 !/1/;BG:"58$:GG GG/3#$@G;- ;G<:$:G GG"$3:<:G> 8/ !1$:G;5G/#$3;/+G"522<3/;/$:G
    ;- ;G2 BG3$$#G:<6658;G/3 11CG5>$8G G6$8"$3;G5%G;-$G%$#$8 1G#5:$:G 115" ;$#G;5G522<3/;BG
    $ 1;-G$3;$8:G- >$G!$$3G #2/3/:;$8$#G;5G6$561$G5%G"5158G
                                                                                                                                  App000412
(22/15555()2%(.31%'.4"0)%&)-'0..,12!2%,%-210%+%!1%1       &!#21(%%2")$%-!$,)-)120!2).-!--.3-#%1(*12.0)#   ")++*.-)-4%12,%-22.7   7 7
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 415 of 633 PageID 1141




                                                                      App000413
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 416 of 633 PageID 1142




                                                                      App000414
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 417 of 633 PageID 1143




                                                                      App000415
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 418 of 633 PageID 1144




                             ([KLELW




                                                                      App000416
 1  11                          !",1'-+1&&'-&+1&/1-&+1'*1 1,+,"& 1&1.#&,#'&1%#1$,1+-* 1 1!#$$1
             Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                    Page 419 of 633 PageID 1145




                                                
                                         
                                                
                                            
                                            $% %!#%% % %% %
                                      %                                                                     %       



        )@9_ 9HL_B69J_
        2PVBR96_2]_;>@0JBRT0J_
        ;049R_0_4PBTB40F_T9RT_BJ_
        +DP0BJ9_
         %% % %%



        'TV6]_)9RT_69T94TR_
        RB>JR_L;_69H9JTB0_0T_
        F90RT_RB\_HLJT@R_90PFB9P_
        T@0J_RT0J60P6_H9T@L6_
         %%%%



        B69J_@LF6R_40FF_ZBT@_
        VPLN90J_F9069PR_TL_T0FD_
        %VRRB0_
          % %%%


                                                   
        0J __4LHHBTT99_
        >9TTBJ>_RB>JB;B40JT_
        4LLN9P0TBLJ_;PLH_TLN_                *A:_-ACU:_MWS:_MK_*AWQS71^_1KKMWK5:7_K:[_<WK7CK?_<MQ_Y155CK1UCMK_
        #9J49_0B69_!!_                      1K7_U:SUCK?_:=MQUS_1S_UA:_7:GU1_Y1QC1KU_<W:GS_", _MWU3Q:1ES_
          %     %   %%      O1QUC5WG1QG^_1IMK?_UA:_WKY155CK1U:7 _

                                              *A:_17ICKCSUQ1UCMK_1KKMWK5:7_UA:_Q:G:1S:_M<_13MWU_ _ICGGCMK_<MQ_QWQ1G_
        P0J49_TL_4FLR9_
        JB>@T4FV2R_;LP_;LVP_                  A:1GUA_5GCKC5S_UM_7M_Y155CK:_MWUQ:15A_?CY:K_UA1U_I1K^_QWQ1G_1Q:1S_A1Y:_
        Z99DR_                                GM[:Q_Y155CK1UCMK_Q1U:S_1K7_GM51G_A:1GUA_5GCKC5S_51K_3:_1_UQWSU:7_SMWQ5:_M<_
         %     %%%           CK<MQI1UCMK_13MWU_Y155CK:S _

                                              *ACS_<WK7CK?_[CGG_?CY:_UQWSU:7_I:SS:K?:QS_CK_QWQ1G_5MIIWKCUC:S_UA:_UMMGS_
        '4@VH9P_RT9NR_LJ_T@9_
                                              UA:^_K::7_UM_5MWKS:G_O1UC:KUS_MK_AM[_", _Y155CK:S_51K_A:GO_OQMU:5U_
        >0R_TL_HLX9_ 
                                          UA:I_1K7_UA:CQ_GMY:7_MK:S_S1C7_:1GUA_1K7_ WI1K_(:QYC5:S_ (:5Q:U1Q^_
        $%%" %                 .1YC:Q_ :5:QQ1 _
          %
                                              K_177CUCMK_UA:_17ICKCSUQ1UCMK_1KKMWK5:7_ _3CGGCMK_UM_SWOOMQU_U:SUCK?_CK_
                                              OQCSMKS_AMI:G:SS_SA:GU:QS_7MI:SUC5_YCMG:K5:_SA:GU:QS_1K7_MUA:Q_
             
                                  5MK?Q:?1U:_S:UUCK?S _
        %%%%
                                              *A:S:_Q:SMWQ5:S_[CGG_A:GO_GM51G_A:1GUA_M=C5C1GS_1K7_5MIIWKCUC:S_C7:KUC<^_
                                              OMU:KUC1G_MWU3Q:1ES_3:<MQ:_UA:^_A1OO:K_1K7_OQ:Y:KU_UA:_<WQUA:Q_SOQ:17_M<_
                             ", _S1C7_-ACU:_MWS:_", _Q:SOMKS:_5MMQ8CK1UMQ_:=_/C:KUS _
           
              
                                              *A:_IMK:^_5MI:S_<QMI_<WK7CK?_1OOQMY:7_3^_MK?Q:SS_1S_O1QU_M<_UA:_
            
                                              I:QC51K_&:S5W:_$G1K_Q:GC:<_O15E1?:_O1SS:7_:1QGC:Q_UACS_^:1Q _
                                                                                                                                   App000417
!,,)+,!!#$$'%)'$#0!$,!*      /!#,!'-+&&'-&+&/-&+(*'.# ,+,#& &.#&,#'&%#1                        1
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 420 of 633 PageID 1146




                                                                      App000418
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 421 of 633 PageID 1147




                              Exhibit 1




                                                                      App000419
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                          Page 422 of 633 PageID 1148

 From:               Enlow, Courtney D. (CIV)
 To:                 Aaron Siri; Gabrielle Palmer
 Cc:                 Elizabeth Brehm
 Subject:            RE: PHMPT v. FDA, No. 21-cv-1058 (N.D. Tex.)
 Date:               Wednesday, December 1, 2021 8:35:51 AM


 Good morning Aaron,

 With regard to PHMPT v. FDA, No. 21-cv-1058 (N.D. Tex.), FDA has now had the opportunity to
 assess the number of responsive pages and to estimate processing times for additional portions of
 Plaintiff’s priority list. In light of that assessment, FDA proposes that it produce the non-exempt
 portions of the following records by the below dates:


     •      By December 13, 2021, FDA plans to produce publicly releasable information from:
                o Plaintiff’s priority item #1- CRF files for site 1055 (~2,030 pages);

                o Completion of Plaintiff’s priority item #5-

                         Four additional .txt files that were listed on p. 10 of the index;

                         Four additional SAS files (not specifically listed on Plaintiff’s priority list, but
                             mentioned as something Plaintiff was interested in).

                o Publicly releasable information from the following additional sections of the original

                    Comirnaty BLA:

                         Section 2.5 – Clinical Overview (~333 pages)

                         Section 2.7.3 – Summary of Clinical Efficacy (~182 pages)

                         Section 2.7.4 – Summary of Clinical Safety (~344 pages)

     •      By December 30, 2021, FDA plans to produce publicly releasable information from Plaintiff’s

            priority item #2 – CRF files for site 1081 (~3,380 pages);

     •       By January 18, 2022, FDA plans to produce publicly releasable information from Plaintiff’s

            priority item #3 – CRF files for site 1096 (~2,937 pages); and

     •       By January 31, 2022, FDA plans to produce publicly releasable information from Plaintiff’s

            priority item #4 – CRF files for site 1128 (~3,452 pages).
 Under this schedule, by the end of January 2022, FDA expects to have produced publicly releasable
 information from more than 12,000 pages of records and 10 unpaginated .txt or SAS data files. (This
 page and file count includes records produced to Plaintiff on November 17, 2021, and records that
 will be produced to Plaintiff later today.) FDA will also have completed production of seven of the
 first eight items on the priority list Plaintiff provided to FDA on November 4, 2021.

 After the January 31, 2022 production, FDA proposes to make one production at the end of each


                                                                                                     App000420
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                      Page 423 of 633 PageID 1149

 subsequent month totaling a minimum the non-exempt portions of 500 pages. (For purposes of
 calculating a “page count” of data records that are not paginated, FDA proposes considering twenty
 lines of spreadsheet data the equivalent of one page. For example, production of a spreadsheet
 containing 2,000 lines of data would be counted the equivalent of a 100-page PDF record.) To the
 extent feasible, FDA plans to continue to prioritize records from Plaintiff’s priority list. Although FDA
 proposes a minimum rate of 500 pages a month, FDA will continue to produce records at a faster
 rate where feasible.

 Please let me know if Plaintiff is amenable to this proposed schedule. If so, I propose that the parties
 file a joint status report setting out the agreed-upon schedule and requesting that the Court cancel
 the hearing set for December 14 and the briefing deadlines.

 Thanks,
 Courtney


 Courtney Enlow
 Trial Attorney
 U.S. Department of Justice
 Civil Division, Federal Programs Branch
 1100 L Street, N.W., Room 12102
 Washington, D.C. 20005
 (202) 616-8467
 courtney.d.enlow@usdoj.gov




 From: Enlow, Courtney D. (CIV)
 Sent: Wednesday, November 17, 2021 1:40 PM
 To: Aaron Siri <aaron@sirillp.com>; Gabrielle Palmer <gpalmer@sirillp.com>
 Cc: Elizabeth Brehm <ebrehm@sirillp.com>
 Subject: PHMPT v. FDA, No. 21-cv-1058 (N.D. Tex.)

 Good afternoon Aaron and Gabrielle,

 I’ve attached correspondence from FDA and a release of records in PHMPT v. FDA, No. 21-cv-1058
 (N.D. Tex.). Kindly confirm receipt.

 Thanks,
 Courtney

 Courtney Enlow
 Trial Attorney
 U.S. Department of Justice
 Civil Division, Federal Programs Branch


                                                                                                  App000421
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 424 of 633 PageID 1150

 1100 L Street, N.W., Room 12102
 Washington, D.C. 20005
 (202) 616-8467
 courtney.d.enlow@usdoj.gov




                                                                      App000422
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 425 of 633 PageID 1151




                             ([KLELW




                                                                      App000423
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 426 of 633 PageID 1152




                                                         App000424
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 427 of 633 PageID 1153




                             ([KLELW




                                                                      App000425
      Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 428 of 633 PageID 1154




            HEALTH NEWS            u Fact Checked



            States with High Vaccination Rates Can
            Still Experience COVID-19 Surges —
            Here’s Why
                        Written by Bob Curley on November 28, 2021 — Fact checked by Jennifer
                        Chesak




            Places such as Vermont where cold weather has set in are seeing an increase in COVID-
            19 cases. Spencer Platt/Getty Images


                   The average daily number of new COVID-19 cases has been rising
                   in the United States during the past month.

                   Many
      Healthline uses    of those
                      cookies        increases
                              to improve         are being
                                         your experience and seen  inyou
                                                             to show  states with higher
                                                                         personalized ads. Privacy Policy.

The latest in vaccination
              health andrates.
                          wellness, delivered
              ACCEPT                                                                   More information
               Experts say the onset of cold weather is a major factor as people
  Enter your email                                                  SIGN UP to                                       
               start gathering indoors more, allowing the novel coronavirus
                                  ADVERTISEMENT

                   circulate easier.
Your privacy is important to us                                                                           Privacy - Terms

                                                                                                 App000426
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21                  Page 429 of 633 PageID 1155
                  They also note that new cases aren’t necessarily the best
                  indicators of the seriousness of the current state of the pandemic.
                  Deaths and hospitalizations should be examined, too.

            New COVID-19 cases are rising in a number of U.S. states again, including
            some with high rates of vaccination.

            But weather may have as much to do with the trend than vaccination
            rates, experts say.

            The 7-day daily average of new COVID-19 cases had fallen below 50,000
            during the middle of the summer before increasing in August and then
            decreasing again in early autumn, according to data compiled by the
            Centers for Disease Control and Prevention (CDC).

            The upward trend has now started to reappear.

            New daily COVID-19 cases have topped 100,000 three times this past
            week, with a 7-day average reaching about 94,000 new cases per day by
            midweek last week.

            In addition, 39 states experienced increases in COVID-19 cases during the
            week that ended Nov. 21, according to data compiled by Reuters.

            Among the states with rising caseloads:

                  Missouri: 102 percent increase

                  Connecticut: 85 percent increase

                  Michigan: 65 percent increase

                  Oklahoma: 49 percent increase

                  Massachusetts: 48 percent hike

            Some of these states have some of the highest rates of vaccination in the
      Healthline uses cookies to improve your experience and to show you personalized ads. Privacy Policy.
            country. More than 70 percent of Massachusetts and Connecticut
The latest in health and wellness, delivered
            residents,
              ACCEPT for example, are fully vaccinated against COVID-19. More information

  Enter your email                                                            SIGN UP                               
          Meanwhile, some states
                        ADV E R T I S E M with
                                          ENT  low rates of vaccination, such as Louisiana
Your privacyand   Georgia,
             is important     currently
                          to us           have some of the lowest per capita COVID-19 case
                                                                                                         Privacy - Terms

                                                                                                 App000427
      Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 430 of 633 PageID 1156
            rates.

            “We went through the same cycle last year with different parts of the
            country… going up at different times,” Dr. Robert C. Bollinger, a professor
            of infectious diseases at Johns Hopkins University School of Medicine in
            Baltimore and a founding member of emocha Health.

            a professor of infectious diseases, medicine, public health, and nursing as
            well as director of the Center for Clinical Global Health Education at Johns
            Hopkins University School of Medicine in Baltimore, told Healthline.

            “There are probably a number of factors contributing to the current
            spike,” Dr. Karen Edwards, chair of the department of epidemiology and
            biostatistics at the University of California, Irvine Program in Public Health,
            told Healthline. “Some of the most likely factors are that as the weather
            gets colder, more people are gathering indoors and in closer proximity to
            each other, which facilitates transmission between individuals.”

            “There may also be less adherence to mask wearing, good hygiene, and
            social distancing, which combined with more indoor activities, will
            increase opportunities for infection, especially among the unvaccinated,”
            said Edwards.

            She noted that there are still significant numbers of unvaccinated people
            even in states with higher vaccination rates, “and are more likely to be
            infected, have more severe illness, and contribute to the spikes.”
                                                  ADVERTISEMENT




      Healthline uses cookies to improve your experience and to show you personalized ads. Privacy Policy.

The latest in health and wellness, delivered
              ACCEPT                                                                   More information

  Enter your email                                                                SIGN UP                            
                                  ADVERTISEMENT


Your privacy is important to us                                                                           Privacy - Terms

                                                                                                 App000428
      Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 431 of 633 PageID 1157
            What the coming months may bring
            Dr. Joseph Iser, a fellow of the American College of Preventive Medicine,
            told Healthline that the current increase in COVID-19 cases is likely to get
            worse in the coming months.

            “If you’re looking at the flu season, it really doesn’t start until the cold of
            late fall or early winter,” said Iser. “I think the COVID surge is going to look
            pretty serious. I think it’s going to continue to rise until we get more adults
            vaccinated, more adults to get boosters, and more kids ages 5 to 11 to get
            vaccinated.”

            As for states that seem to be behind the curve of rising case rates despite
            low vaccination rates, Iser said, “Give it time.”

            “Once the cooler weather sets, we’re going to see an uptick in those
            places, too,” he predicted.

            Waning immunity against COVID-19, among both vaccinated people and
            those who previously contracted the coronavirus, may also be a
            contributing factor to the upward trend in cases, according to Bollinger.

            “People who were vaccinated more than 6 months ago now need a
            booster,” Bollinger noted.

            The prevalence of the highly infectious Delta variant also plays a role in
            driving cases upward, said Bollinger.

            He said it’s likely that at least 90 percent of Americans will need to be
            immune to the novel coronavirus before COVID-19 is brought under
            control.

            These concerns were paramount even before the announcement late last
            week about the emergence of the Omicron variant.
      Healthline uses cookies to improve your experience and to show you personalized ads. Privacy Policy.

The latest in health and wellness, delivered
        “Vaccination by itself is not enough to stop an infectious disease,” said
              ACCEPT                                                                   More information
          Bollinger. “With such a high transmission rate, you need other measures       SUBSCRIBE
  Enter your email                                                               SIGN UP                             
          like masks and limits
                           A D V E R Ton
                                      I S E Mindoor
                                              ENT   gatherings. It doesn’t take many
            COVID-19        Vaccines Basics   Testing    Symptoms
Your privacy is important to us                                                                           Privacy - Terms

                                                                                                 App000429
      Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 432 of 633 PageID 1158
            unvaccinated people to drive rates up when you have a highly infectious
            disease like this.”



            CORONAVIRUS UPDATES

            Stay on top of the COVID-19 pandemic
            We’ll email you the latest developments about the novel coronavirus and
            Healthline's top health news stories, daily.


              Enter your email



                                                  SIGN UP NOW

            Your privacy is important to us




            Cases aren’t the only indicator
            Case rates don’t tell the whole story about the latest spike in infections,
            according to Iser.

            Vaccinated people may be getting so-called “breakthrough infections”
            that add to the case count, but such cases tend to be milder, whereas
            unvaccinated people are still far more likely to develop severe COVID-19
            illnesses.

            “Looking at case rates gives you a sense of transmissions in that
            community,” said Iser. “But if you want to see the seriousness of illness
            you need to look at hospitalizations and death rates.”

            So, while there may seem to be a contradiction in states with lower
            vaccination rates reporting lower COVID-19 case rates, “there is not a
      Healthline uses cookies to improve your experience and to show you personalized ads. Privacy Policy.
            disconnect between vaccination rates and the rates of hospitalization and
The latest in health
        death,”       andsaid.
                Bollinger  wellness, delivered
              ACCEPT                                                                   More information

  Enter your                                                      SIGNlast
             email we’re not going to be in the same place as we were  UP year                                       
          “Hopefully              ADVERTISEMENT

            in terms of the impact on the healthcare system,” he said.
Your privacy is important to us                                                                           Privacy - Terms

                                                                                                 App000430
      Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 433 of 633 PageID 1159
            Yet with the COVID-19 death toll already topping 777,000 in the United
            States, Bollinger said the prospect of 1 million total deaths from COVID-19
            this winter or next spring seems likely “if we don’t really turn things
            around.”



            ADVERTISEMENT

            Put your mind at ease with an at-home Covid-19 test
            Get tested for Covid-19 from home with LetsGetChecked's at-home
            testing kit. Get free shipping and see your results within 24-72 hours of
            lab receipt. Order today for 30% off.


                                                    LEARN MORE




                  v                                                           FEEDBACK:    




            HEALTH NEWS            u Fact Checked



            Why Hospitalizations, Deaths May Be
            Better Indicators of the COVID-19
            Pandemic Than New Cases
            Written by Tony Hicks on November 21, 2021 — Fact checked by Maria Gifford




      Healthline uses cookies to improve your experience and to show you personalized ads. Privacy Policy.

The latest in health and wellness, delivered
              ACCEPT                                                                   More information

  Enter your email                                                                SIGN UP                            
                                  ADVERTISEMENT


Your privacy is important to us                                                                           Privacy - Terms

                                                                                                 App000431
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 434 of 633 PageID 1160




                             ([KLELW




                                                                      App000432
 Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                Page 435 of 633 PageID 1161


CDC Newsroom

Statement from CDC Director Rochelle P. Walensky,
MD, MPH on Today’s MMWR
Media Statement

For Immediate Release: Friday, July 30, 2021
Contact: Media Relations
(404) 639-3286



On July 27th, CDC updated its guidance for fully vaccinated people, recommending that everyone wear a mask in indoor
public settings in areas of substantial and high transmission, regardless of vaccination status. This decision was made
with the data and science available to CDC at the time, including a valuable public health partnership resulting in rapid
receipt and review of unpublished data.

Today, some of those data were published in CDC’s Morbidity and Mortality Weekly Report (MMWR), demonstrating that
Delta infection resulted in similarly high SARS-CoV-2 viral loads in vaccinated and unvaccinated people. High viral loads
suggest an increased risk of transmission and raised concern that, unlike with other variants, vaccinated people infected
with Delta can transmit the virus. This Ònding is concerning and was a pivotal discovery leading to CDC’s updated mask
recommendation. The masking recommendation was updated to ensure the vaccinated public would not unknowingly
transmit virus to others, including their unvaccinated or immunocompromised loved ones.

This outbreak investigation and the published report were a collaboration between the Commonwealth of Massachusetts
Department of Public Health and CDC. I am grateful to the commonwealth for their collaboration and rigorous
investigation. I would also like to humbly thank the residents of Barnstable County who leaned in to assist with the
investigation through their swift participation in interviews by contact tracers, willingness to provide samples for testing,
and adherence to safety protocols following notiÒcation of exposure.

This outbreak investigation is one of many CDC has been involved in across the country and data from those
investigations will be rapidly shared with the public when available. The agency works every day to use the best available
science and data to quickly and transparently inform the American public about threats to health.



                                                       ###
                                 U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES 

CDC works 24/7 protecting America’s health, safety and security. Whether disease start at home or abroad, are curable or
  preventable, chronic or acute, or from human activity or deliberate attack, CDC responds to America’s most pressing
  health threats. CDC is headquartered in Atlanta and has experts located throughout the United States and the world.


                                                                                                      Page last reviewed: July 30, 2021




                                                                                                                        App000433
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 436 of 633 PageID 1162




                             ([KLELW




                                                                      App000434
$0                                              2PLFURQ&29,'YDULDQWFRXOGHYDGHYDFFLQHV_)RUWXQH
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                     Page 437 of 633 PageID 1163




    HEALTH • COVID-19




    BY`MARCO QUIROZ-GUTIERREZ
    November 26, 2021 10:46 AM PST




    Most Popular
                          Evidence mounts that                                                  SEARCH
                                                                                        PAID CONTENT               SIGN IN   Subscribe Now O
                          Omicron is more infectious,                                   How to unlock the hidden                           H
                          less severe than Delta—but                                    potential of your data                             ra
                          Fauci, other experts warn                                     FROM AWS
                          against premature optimism

    $QHZYDULDQWRIWKHFRURQDYLUXV2PLFURQLVFDXVLQJFRQFHUQDPRQJWKHPHGLFDO
    FRPPXQLW\


                                                                     3$,'&217(17

                                                                     /HDUQKRZ$:6JHWV\RXUFRPSDQ\
                                                                     WRWKHFORXGIDVW
                                                                                                                             App000435
KWWSVIRUWXQHFRPRPLFURQVRXWKDIULFDFRYLGYDULDQWYDFFLQHUHVLVWDQWSDQGHPLF                                                   
$0                                              2PLFURQ&29,'YDULDQWFRXOGHYDGHYDFFLQHV_)RUWXQH
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                     Page 438 of 633 PageID 1164
                                                                     )520$:6




    8QIRUWXQDWHO\WKHUH VDQHZYDULDQWWKDWLVFRQFHUQLQJ'U$VKLVK.-KDD
    SURIHVVRUDW%URZQ8QLYHUVLW\WZHHWHG)ULGD\PRUQLQJ,VLWPRUHWUDQVPLVVLEOH
    WKDQWKHFXUUHQWVWUDLQ'HOWD"'RHVLWFDXVHPRUHVHYHUHGLVHDVH"$QGZLOOLWUHQGHU
    SULRULQIHFWLRQVRUYDFFLQHVOHVVHIIHFWLYH":HZLOONQRZPRUHLQWKHFRPLQJGD\V
    WRZHHNVKHVDLG

    $QGZKLOHZHDUHVWLOOOHDUQLQJDERXWWKLVQHZVWUDLQDQRWKHUPHGLFDOH[SHUW
    *HRUJHWRZQLPPXQRORJLVW'U0DUN'\EXOKDVDOUHDG\UHDFKHGDVWDUNFRQFOXVLRQ
    :HDUHVWLOOLQWKHGHSWKVRIWKHSDQGHPLF(YHQLI2PLFURQGRHVQRWSURYHWREH
    ZRUULVRPHDPRUHWUDQVPLVVLEOHYDFFLQHUHVLVWDQWYDULDQWLVMXVWDURXQGWKH
    FRUQHUDUHDOLW\'\EDOFDOOVLQHYLWDEOH

    ,QIDFW'\EXOSUHGLFWVWKHSDQGHPLFZLOOSUHYHQWDUHWXUQWRQRUPDOGXHWR
    FRQWLQXHGPXWDWLRQVDQGWUDLOLQJWUHDWPHQWVIRUDQRWKHUWZRRUWKUHH\HDUV

    '\EXOWKH&(2RI(QRFKLDQ%LR6FLHQFHVDQGSURIHVVRUDW*HRUJHWRZQ8QLYHUVLW\
    0HGLFDO&HQWHU¶V'HSDUWPHQWRI0HGLFLQHVDLGHDUO\LQIRUPDWLRQDERXW2PLFURQ
    GLGQRWORRNJRRG


       Never miss a story about COVID-19 vaccines
                                                                        FOLLOW

       FOLLOW THE AUTHOR:
         MARCO QUIROZ-GUTIERREZ


       MORE TOPICS:
         CRYPTOCURRENCY
         CAREERS
           SUPPLY CHAINS
       VIEW MORE
                                                                                                                      App000436
KWWSVIRUWXQHFRPRPLFURQVRXWKDIULFDFRYLGYDULDQWYDFFLQHUHVLVWDQWSDQGHPLF                                     
$0                                              2PLFURQ&29,'YDULDQWFRXOGHYDGHYDFFLQHV_)RUWXQH
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                     Page 439 of 633 PageID 1165

    :LWKDERXWPXWDWLRQVLQLWVVSLNHSURWHLQWKHYDULDQWKDVWKHSRWHQWLDOWREH
    YDFFLQHUHVLVWDQW'\EXOVDLG$OWKRXJKZHGRQ¶WNQRZZKHUHWKHVWUDLQLQLWLDOO\
    GHYHORSHGLWKDVDOUHDG\VSUHDGWRVRPHLQGLYLGXDOVLQ6RXWK$IULFD%RWVZDQD
    +RQJ.RQJ,VUDHODQG%HOJLXP$OWKRXJKVRPHFRXQWULHVLQFOXGLQJ,WDO\
    6LQJDSRUHDQG)UDQFHKDYHDOUHDG\SXWWUDYHOUHVWULFWLRQVLQSODFHWKH:RUOG
    +HDOWK2UJDQL]DWLRQKDVFDXWLRQHGQDWLRQVWRQRWMXPSWRFRQFOXVLRQV

    7KRXVDQGVRI&29,'YDULDQWVDOUHDG\H[LVWDQGQHZRQHVHPHUJHFRQVWDQWO\,QWKH
    QH[WFRXSOHRIZHHNVZHZLOONQRZLIWKHQHZO\LGHQWLILHGYDULDQWKDVWKHSRWHQWLDO
    WREHPRUHWUDQVPLVVLEOHDQGYDFFLQHUHVLVWDQWZKLFKZRXOGEHWKHZRUVWSRVVLEOH
    FRPELQDWLRQVDLG'\EXO

    7KHPRVWSURPLQHQWVWUDLQRI&29,'WKH'HOWDYDULDQWKDVODUJHO\
    RXWSHUIRUPHGRWKHUYDULDQWVEXWLWZLOOEHRXWFRPSHWHGHYHQWXDOO\7KH'HOWD
    VWUDLQKDVEHHQSRVLWLYHLQDZD\IRUYDFFLQDWHGLQGLYLGXDOVEHFDXVHLWLVDEOHWR
    UHSURGXFHLQYDFFLQDWHGSHRSOHEXWLVVWLOOYXOQHUDEOHWRYDFFLQHVVDLG'\EXO0DQ\
    RIWKHVKRWVKDYHEHHQGRLQJDJRRGMRERISURWHFWLQJSHRSOHDJDLQVWGHDWKDQG
    VHULRXVLOOQHVVGHVSLWHWKH'HOWDYDULDQWUHSURGXFLQJZLWKLQWKHPDWWLPHV

    7REHFRPHDPDMRUSUREOHPWKHQHZVWUDLQZRXOGKDYHWREHPRUHWUDQVPLVVLEOH
    DQGYDFFLQHUHVLVWDQWDQGRXWSHUIRUPWKH'HOWDYDULDQW,W¶VWRRHDUO\WRWHOO
    ZKHWKHUWKLVZLOORFFXUVDLG'\EXOEXWWKDWGRHVQ¶WPHDQLWZRQ¶WKDSSHQ
    HYHQWXDOO\

    $PXWDWLRQOLNHWKDW³LVJRLQJWRKDSSHQ´KHVDLG³:HFDQ WSUHGLFWZKHQ7KLV
    FRXOGEHLW,WFRXOGDOUHDG\EHVRPHZKHUHHOVHLQWKHZRUOGDQGKDVQ WUHDUHGLWV
    KHDG\HWEXWLW VLQHYLWDEOH´

    (YHQLIWKHQHZYDULDQWRXWSHUIRUPV'HOWDWKHYDFFLQHVZHKDYHFXUUHQWO\FDQEH
    DGMXVWHG<HWLWZRXOGWDNHEHWZHHQWKUHHWRILYHPRQWKVIRUWKHDGMXVWHGYDFFLQHV
    WRJRWKURXJKDGMXVWPHQWWHVWLQJDQGWKHUHJXODWRU\SURFHVV'\EXOVDLG(YHQ
    WKHQSHRSOHZRXOGKDYHWRJHWUHYDFFLQDWHGRUJHWDERRVWHUVKRW

    7RDYRLGDF\FOHRIYDFFLQDWLRQDQGUHYDFFLQDWLRQ'\EXOVDLGQHZVWUDWHJLHVDQG
    WUHDWPHQWVDUHQHHGHG7KLVFRXOGLQFOXGHD&29,'WUHDWLQJSLOOGHYHORSHGE\
    3IL]HURUHDV\WRDGPLQLVWHULQKDOHGSURGXFWVWKDWFDQEHXVHGWRSUHYHQWRUWUHDW
    &29,'

    ³$YDFFLQHRQO\DSSURDFKLVQHYHUJRLQJWRZRUN´'\EXOVDLG,QVWHDGKHEHOLHYHVD
    SDUWVWUDWHJ\WKDWLQFOXGHVPDQGDWRU\ERRVWHUVHYHU\PRQWKVFRQWLQXHGPDVN
                                                                            App000437
KWWSVIRUWXQHFRPRPLFURQVRXWKDIULFDFRYLGYDULDQWYDFFLQHUHVLVWDQWSDQGHPLF                                 
$0                                              2PLFURQ&29,'YDULDQWFRXOGHYDGHYDFFLQHV_)RUWXQH
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                     Page 440 of 633 PageID 1166
    ZHDULQJDQGWKHGHYHORSPHQWRIPRUHWUHDWPHQWVLVWKHEHVWZD\IRUZDUG




      INTERNATIONAL


      New COVID variant with ‘unusual constellation’ of mutations is already more
      dominant than Delta in South Africa

      November 26, 2021
      BY`YVONNE LAU


      HEALTH


      Children, contagiousness, severity: What we know (and don’t know) about the
      Omicron COVID variant so far

      December 3, 2021
      BY`SOPHIE MELLOR


      HEALTH


      What’s Omicron? Here’s what we know and don’t know about the new COVID variant
      that’s roiling markets and ...

      November 26, 2021
      BY`DAVID MEYER


      HEALTH



      Does Omicron cause milder COVID? Do vaccines work against it? Three experts                                     App000438
KWWSVIRUWXQHFRPRPLFURQVRXWKDIULFDFRYLGYDULDQWYDFFLQHUHVLVWDQWSDQGHPLF                                     
$0                                              2PLFURQ&29,'YDULDQWFRXOGHYDGHYDFFLQHV_)RUWXQH
      DoesCase
           Omicron cause milder COVID?
               4:21-cv-01058-P          Do vaccines
                                  Document          work12/07/21
                                              27 Filed   against it?Page
                                                                    Three441
                                                                         experts
                                                                             of 633 PageID 1167
      answer pressing questions about the new ...
      November 29, 2021
      BY`GRADY MCGREGOR


      HEALTH



      South Africa has found a COVID-19 ‘mutation variant of serious concern’


      November 25, 2021
      BY`PRINESHA NAIDOO,`S'THEMBILE CELEAND OTHERS




    Sponsored Financial Content

    Job changers have left $1.35T behind in old 401(k)s, is yours
    included
    Choice




    4 Tax Mistakes to Avoid
    Charles Schwab




    Earn more cash back on your top eligible spend category
    Citi Custom CashႩ Card




                                                                                                                      App000439
KWWSVIRUWXQHFRPRPLFURQVRXWKDIULFDFRYLGYDULDQWYDFFLQHUHVLVWDQWSDQGHPLF                                     
$0                                              2PLFURQ&29,'YDULDQWFRXOGHYDGHYDFFLQHV_)RUWXQH
          Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                       Page 442 of 633 PageID 1168
    Top card now eliminates interest until 2023
    The Ascent




                                                                                                                      App000440
KWWSVIRUWXQHFRPRPLFURQVRXWKDIULFDFRYLGYDULDQWYDFFLQHUHVLVWDQWSDQGHPLF                                     
$0                                              2PLFURQ&29,'YDULDQWFRXOGHYDGHYDFFLQHV_)RUWXQH
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                     Page 443 of 633 PageID 1169
    Sponsored Financial Content




    Revealed: The True Cost of a                     Tax-Smart Portfolio Tips
    Financial Advisor                                &KDUOHV6FKZDE
    VPDUWDVVHW




    Rare "All In" Buy               Earn up to $1,500                Wall St. legend’s
    Alert. We're "All In"           with a new Citigold              biggest prediction in
    on This One Stock.              account and required             50 years
    7KH0RWOH\)RRO                 activities                       6WDQVEHUU\5HVHDUFK
                                    &,7,*2/'2))(5




    Man Who Called Cloud,                            See The 3 Essential Steps You
    Smartphones & AI: Get in This                    Need To Take To Financial
    Now                                              Freedom.
    %DQ\DQ+LOO                                      3HUVRQDO&DSLWDO




                                                                                                                      App000441
KWWSVIRUWXQHFRPRPLFURQVRXWKDIULFDFRYLGYDULDQWYDFFLQHUHVLVWDQWSDQGHPLF                                     
$0                                              2PLFURQ&29,'YDULDQWFRXOGHYDGHYDFFLQHV_)RUWXQH
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                     Page 444 of 633 PageID 1170

    How to Add Wealth               Get a 0% Intro APR               6 Credit Cards You
    Management To Your              on Purchases and                 Should Not Ignore If
    Insurance Practice              Balance Transfers for            You Have Excellent
    $VVHW0DUN                       15 Months                        Credit
                                    &LWL5HZDUGV&DUG              1HUG:DOOHW




                                                                 &RRNLH3UHIHUHQFHV




                                                                                                                      App000442
KWWSVIRUWXQHFRPRPLFURQVRXWKDIULFDFRYLGYDULDQWYDFFLQHUHVLVWDQWSDQGHPLF                                     
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 445 of 633 PageID 1171




                             ([KLELW




                                                                      App000443
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 446 of 633 PageID 1172




                                                                      App000444
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 447 of 633 PageID 1173




                                                                      App000445
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 448 of 633 PageID 1174




                                                                      App000446
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 449 of 633 PageID 1175




                                                                      App000447
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 450 of 633 PageID 1176




                                                                      App000448
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 451 of 633 PageID 1177




                                                                      App000449
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 452 of 633 PageID 1178




                             ([KLELW




                                                                      App000450
$0                                                      &29,'9DFFLQH%RRVWHU6KRWV_&'&


             Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                          Page 453 of 633 PageID 1179




        COVID-19


     COVID-19 Vaccine Booster Shots
     Updated Nov. 29, 2021




          NEW       Everyone ages 18 and older should get a booster shot




     Everyone Ages 18 and Older Should Get a Booster Shot

         IF YOU RECEIVED                                                           IF YOU RECEIVED

         PÒzer-BioNTech or Moderna                                                 Johnson & Johnson’s Janssen

         Who should get a booster:                                                 Who should get a booster:
         Everyone 18 years or older                                                Everyone 18 years or older

         When to get a booster:                                                    When to get a booster:
         At least 6 months after completing your primary COVID-                    At least 2 months after completing your primary COVID-
         19 vaccination series.                                                    19 vaccination.


         Which booster should you get?                                             Which booster should you get?
         Any of the COVID-19 vaccines authorized in the United                     Any of the COVID-19 vaccines authorized in the United
         States.                                                                   States.




     Choosing Your COVID-19 Booster Shot
     You may choose which COVID-19 vaccine you receive as a booster shot. Some people may prefer the vaccine type that they
     originally received, and others may prefer to get a di×erent booster. CDC’s recommendations now allow for this type of mix
     and match dosing for booster shots.a



     Scheduling Your Booster Shot
     If you need help scheduling your booster shot, contact the location that set up your previous appointment.aIf you need to get
     your booster shot in a location di×erent from where you received your previous shot,athere are several ways you can Ònd a
     vaccine provider.a



     What to Expect during and after Your Booster Shot
     Appointment
            Bring youraCDC COVID-19 Vaccination Recordacard to your booster shot appointment so your provider can Òll in the
             information about your booster dose. If you did not receive a card at your Òrst appointment, contact the vaccination site
             where you got your Òrst shot or your state health department to Ònd out how you can get a card.a

            You may experience side e×ects after getting a COVID-19 vaccine. These are normal signs that your body is building
             protection against COVID-19.a
                                                                                                                                 App000451
KWWSVZZZFGFJRYFRURQDYLUXVQFRYYDFFLQHVERRVWHUVKRWKWPO                                                                         
$0                                                      &29,'9DFFLQH%RRVWHU6KRWV_&'&


             Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                          Page 454 of 633 PageID 1180
            Use v-safe to tell CDC about any side e×ects. If you enter your booster shot in your v-safe account, the system will send
             you daily health check-ins.a



     Frequently Asked Questions

          Are booster shots the same formulation as existing vaccines?




                                                                                                                                      
         Yes. COVID-19 booster shots are the same formulation as the current COVID-19 vaccines. However, in the case of
         theaModernaaCOVID-19 vaccine booster shot, it is half the dose of the vaccine people get for theiraprimaryaseries.a



          If we need a booster shot, are the vaccines working?




                                                                                                                                      
         Yes. COVID-19 vaccines are working well to prevent severe illness, hospitalization, and death, even against the widely
         circulating Delta variant. However, public health experts are starting to see reduced protection, especially among certain
         populations, against mild and moderate disease.a



          What are the risks to getting a booster shot?




                                                                                                                                      
         So far,areactions reportedaafter getting a booster shot wereasimilar toathoseaof theatwo-shot or single-
         doseaprimaryaseries.aYou can use v-safe to tell CDC about any side e×ects. If you enter your booster shot in your v-
         safe account, the system will send you daily health check-ins.aFever, headache, fatigue and pain at the injection site were
         the most commonly reported side e×ects, and overall, most side e×ects were mild to moderate. However, as with
         theatwo-shot or single-doseaprimaryaseries, serious side e×ects are rare, but may occur.a



          Am I still considered “fully vaccinated” if I don’t get a booster shot?




                                                                                                                                      
         Yes. Everyone is still considered fully vaccinated two weeks after their second dose in aatwo-shot series, such as the
         PÒzer-BioNTech oraModernaavaccines, or two weeks after a single-dose vaccine, such as the J&J/Janssen vaccine.a




     Data Supporting Need for a Booster Shot
         Studies show after getting vaccinated against COVID-19, protection against the virus and the ability to prevent infection
         with variants may decrease over time.


     Although COVID-19 vaccination remains e×ective in preventing severe disease, recent data  [1 MB, 68 pages]asuggest
     vaccination becomes less e×ective over time, especially in people aged 65 and older and at preventing infection or milder
     illness with symptoms.


            The recent emergence of the Omicron variant (B.1.1.529) further emphasizes the importance of vaccination, boosters,
             and prevention e×orts needed to protect against COVID-19. Early data from South Africa suggest increased
             transmissibility of the Omicron variant and the potential for immune evasion.

            Emerging evidence also shows that among healthcare and other frontline workers, vaccine e×ectiveness against COVID-
             19 infections is also decreasing over time.

            This lower e×ectiveness is likely due to the combination of decreasing protection as time passes since getting vaccinated,
             as well as the greater infectiousness of the Delta variant.


                                                                                                                                App000452
KWWSVZZZFGFJRYFRURQDYLUXVQFRYYDFFLQHVERRVWHUVKRWKWPO                                                                        
$0                                                      &29,'9DFFLQH%RRVWHU6KRWV_&'&


           Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                            Page 455 of 633 PageID 1181
     Data from clinical trials showed that a booster shot increased the immune response in trial participants who Ònished a PÒzer-
     BioNTech or Moderna primary series 6 months earlier or who received a J&J/Janssen single-dose vaccine 2 months earlier.
     With an increased immune response, people should have improved protection against COVID-19, including the Delta variant.
     For PÒzer-BioNTech and J&J/Janssen, clinical trials also showed that a booster shot helped prevent COVID-19 with symptoms.



         Related Pages

          ¾   Understanding How COVID-19 Vaccines Work

          ¾   Ensuring COVID-19 Vaccines Work

          ¾   Frequently Asked Questions about COVID-19 Vaccination

          ¾   Examples of Workers Who May Get PÒzer-BioNTech Booster Shots

          ¾   COVID-19 Vaccines for Moderately to Severely Immunocompromised People




                            For Healthcare and Public Health
                           Considerations for Use of a COVID-19 Vaccine Booster Dose




         More Information

         ACIP Presentation Slides, November 19, 2021a

         ACIP Presentation Slides, October 21, 2021a


         ACIP Presentation Slides, September 22–23, 2021a




                                                                                                                     Last Updated Nov. 29, 2021




                                                                                                                                 App000453
KWWSVZZZFGFJRYFRURQDYLUXVQFRYYDFFLQHVERRVWHUVKRWKWPO                                                                              
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 456 of 633 PageID 1182




                             ([KLELW




                                                                      App000454
          Case 4:21-cv-01058-P Document 27 Filed 12/07/21                           Page 457 of 633 PageID 1183



7UDQVSDUHQF\LQ&OLQLFDO7ULDOV
    Clinical trials are crucial to helping researchers understand the safety and effectiveness of an investigational
    drug. Pfizer’s commitment to openness and transparency includes all aspects of research and development
    behind our products, including clinical trials. Enhanced transparency in clinical trials fosters trust among
    research participants, health care professionals, and biopharmaceutical companies, while increasing knowledge
    of potential new treatments in development. Transparency also enables patients, physicians, and others to see
    the progress being made to address unmet medical needs. Pfizer’s policies support clinical trial transparency to
    advance scientific knowledge and public health, while balancing the need to protect participant privacy and
    respect the regulatory process.



%DFNJURXQG
The study of how a medicine works in people is a pivotal step in the research and development process of new treatments for
diseases and medical conditions. Researchers spend years in the laboratory before conducting carefully controlled studies in
research participants, known as clinical trials. Regulatory authorities issue rules regarding the conduct of clinical trials and the
sharing of the results of these studies to make sure that research sponsors abide by a clearly defined set of standards. A drug is
approved only when the data, collected through clinical trials, prove that the drug is both safe and effective. Clinical trials help
answer questions about risks, benefits, and side effects of a potential new treatment. In addition, clinical trials are also conducted
on already approved medicines to increase knowledge about their potential uses, benefits, safety, and long-term effects.
Transparency of clinical trials is an important issue to patients, the research community, and policymakers. Certain jurisdictions
require registration and posting of summary results from clinical trials of regulated medical products. To facilitate these
requirements and recommendations, public registries, such as ClinicalTrials.gov and EudraCT, have been created for clinical
trials conducted in the U.S. and Europe, respectively. 1,2 The World Health Organization International Clinical Trials Registry
Platform is a voluntary global network that was established to provide a single point of access to multiple clinical trial databases,
conforming to a set of international standards for clinical trial registries. 3
An increasing call to have access to detailed clinical trial data has resulted in several additional regulations, policies, and
clinical trial sponsor-led efforts. In July 2013, Pharmaceutical Research and Manufacturers of America (PhRMA) and the
European Federation of Pharmaceutical Industries and Associations (EFPIA) jointly published commitments to responsible
data sharing practices by biopharmaceutical companies.4 In 2016, the European Medicines Agency (EMA) released a policy
on the requirements for publishing clinical data to support regulatory applications. 5 The Food and Drug Administration
(FDA) has explored policies designed to use and share de-identified and masked trial data from marketing applications. 6 In
2018, FDA launched a pilot program to assess the feasibility of releasing portions of clinical study reports (CSRs) in an effort
to provide usable summaries of clinical evidence. 7 The International Committee of Medical Journal Editors (ICMJE) has a
policy that medical journals require the registration of clinical trials as a condition of publication. 8

.H\)DFWV
   x Pfizer invested more than $8 billion during 2018 in the research and development of new products,9 and as of
      November 30, 2019 had 96 products in its development pipeline. 10
   x Pfizer currently has 205 open, ongoing trials registered on www.ClinicalTrials.gov.11

3IL]HU3ROLF\3RVLWLRQV
Pfizer believes it is important for researchers, trial participants, regulators, and others acting in the best interest of patients to
have access to clinical trial information to advance medical understanding and progress. It is also important that this access
protect participant privacy, preserve regulatory authority, and maintain incentives for those who generate research data.
Pfizer offers access to the clinical data gathered in company-sponsored clinical trials, in the hope and belief that greater openness
may accelerate medical progress and benefit patient outcomes and public health. Pfizer publicly shares results from our clinical
trials, whether the results are positive, neutral, or negative. We also share data gathered in clinical trials we sponsor with trial
participants, researchers, and others. Pfizer’s data access policies and practices meet or exceed the five transparency principles
endorsed by PhRMA and EFPIA.8




                                                                                                                   App000455
         Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                 Page 458 of 633 PageID 1184


Pfizer’s clinical trial results and data sharing approaches include:
    x Regulatory Requirements: Pfizer is committed to meeting or exceeding regulatory requirements for the registration
       of our clinical trials and provision of results upon completion.
    x Public Access to Clinical Study Information: Pfizer publicly posts electronic synopses of Clinical Study Reports
       (CSRs) submitted to regulators, relating to approved products. 12 These reports include summary results for all primary
       and secondary endpoints with any personally identifiable information removed.
    x Sharing Results with Clinical Trial Participants: Pfizer believes that data collected during a clinical trial should be
       returned to the study participants, if they wish and where permitted, so that they may better understand the research
       in which they participated and use the data gathered about their health. Pfizer returns clinical trial data to participants
       along with summaries of aggregate clinical trial results in easy-to-read, non-technical language so that they can
       understand why the study was done, how it was done, and the results.
    x Data Sharing with Researchers: Pfizer provides access to de-identified patient-level data upon request from qualified
       scientific and medical researchers who have submitted a scientifically valid research proposal. Requests are managed
       through the global clinical research data sharing platform, Vivli. 13
    x Publication of Clinical Trial Results: Pfizer submits the primary results of all interventional clinical studies for
       publication in peer-reviewed biomedical journals within 18 months of study completion, regardless of the outcome.

+RZ3DWLHQWVDQG+HDOWK&DUH6\VWHPV%HQHILW
Clinical trials provide valuable information to help regulators ensure new medicines are safe and effective prior to being
prescribed to patients. Trials also help biopharmaceutical companies, regulators, and public health officials monitor the safety
and effectiveness of treatments already available to patients.
Transparency in clinical trials engenders trust between participants, health care professionals, and biopharmaceutical
companies and increases patient knowledge of available medications, as well as potential new treatments in development.
Pfizer’s policies are designed to promote effective and ethical collaborations and build trust throughout the health care
system. Finally, transparency in clinical trials enables monitoring of the progress being made to address unmet medical needs
in our health care system.





1 See: www.clinicatrials.gov.
2 See: eudract.ema.europa.eu.
3 See: www.who.int/ictrp/en. 
4 PhRMA & EFPIA ȥ3ULQFLSOHVIRU5HVSRQVLEOH&OLQLFDO7ULDO'DWD6KDULQJ6HH

phrma.org/sites/default/files/pdf/PhRMAPrinciplesForResponsibleClinicalTrialDataSharing.pdf. 
5 See: www.ema.europa.eu/en/human-regulatory/marketing-authorisation/clinical-data-publication.
6 Federal Register notice, Docket No. FDA-2013-N-0271, Availability of Masked and De-identified Non-Summary Safety and Efficacy Data;

Request for Comments; June 4, 2013. Available at http://www.gpo.gov/fdsys/pkg/FR-2013-06-04/html/2013-13083.htm.
7 See: www.fda.gov/drugs/development-approval-process-drugs/clinical-data-summary-pilot-program.
8 ICMJE Clinical Trials Recommendations: http://www.icmje.org/recommendations/browse/publishing-and-editorial-issues/clinical-trial-

registration.html.
9 Pfizer 2018 Financial Report available at: s21.q4cdn.com/317678438/files/doc_financials/Annual/2018/2018-Financial-Report.pdf.
10 See: www.pfizer.com/science/drug-product-pipeline.
11 National Institutes of Health. ClinicalTrials.gov. Available at http://www.clinicaltrials.gov/ct2/search, accessed November 7, 2019.
12 See: www.pfizer.com/research/research_clinical_trials/trial_results.
13 See: vivli.org.




                                                                                                                           App000456
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 459 of 633 PageID 1185




                             ([KLELW




                                                                      App000457
Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 460 of 633 PageID 1186




                    -TransrTpaec yo fCOVI D1 9reevap
                      iTvrtnl :pevnvyan dviwyhi :rir

 -Ite mTyt             pAIrict

 plIuhAo               msanttAv ,sAsuS ;hRusar wsArFv parosS dhaHv gTlaHRsaS
                       KtJJtAohav mheS fhourv DtItA

 DlPcrisIrha fsIt      b2b0 21 28

 gtTRhAFo              9CO-f 08S yhcriTS ylPcri utscIu

 9rIsIrha              msanttA ,v ;hRusar wsArF pv dhaH gv tI scmAsaoysAtaiT hJ
                       9CO-f 08 nsiirat IArscoV Ftirorhao RrIuhlI FsIs:BK MnrFtait
                       :sotF BtFrirat DlPcroutF Cacrat wrAoIV 28 plHloI b2b0E FhrV
                       02E00.36Pe/tPe b2b0 000j.7

 fC-                   02E00.36Pe/tPe b2b0 000j.7

 DlPcroutA             :BK DlPcrouraH 5Ahly

 fhRachsF FsIt         2760b6b2b0 03VG8VbG

 -Ite 4ritaot          uIIyoV66Pe/Eihe6ihAhasnrAlo6losHt

 4raL Ih -Ite          uIIyV66uFcEusaFctEatI602j0.603.32




                                                                             App000458
                                                                                                                                               BMJ EBM: first published as 10.1136/bmjebm-2021-111735 on 9 August 2021. Downloaded from http://ebm.bmj.com/ on August 10, 2021 at Health Sci & Human Services Library. Protected
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                      Page 461 of 633 General
                                                                                                          PageID medicine
                                                                                                                   1187

                                   EBM analysis

                                 Transparency of COVID-19 vaccine trials: decisions
                                 without data
                                 Sarah Tanveer ,1 Anisa Rowhani-Farid ,1
                                 Kyungwan Hong,1 Tom Jeﬀerson ,2 Peter Doshi                                              1



10.1136/bmjebm-2021-111735       Transparency in clinical trials: an
                                                                                         Summary box
                                 established norm across sectors
1                                Access to data for drugs and vaccines has histor-
 Department of                                                                           Ź Data transparency has become a
Pharmaceutical Health            ically been fairly limited to journal article publi-
                                                                                             well-established norm in biomedical
Services Research, University    cations and hard-to-access and difﬁcult to read
                                                                                             research, and is especially important
of Maryland Baltimore,           regulatory reports.1 But the past decade has
                                                                                             for broadly used public health
Baltimore, Maryland, USA         witnessed strides in clinical trial data transpar-
2
 Department for Continuing
                                                                                             interventions like COVID-19 vaccines.
                                 ency. A wide range of institutions, from pharma-
Education, University of                                                                 Ź   Tax payers helped fund COVID-19
                                 ceutical companies, government agencies, trade
Oxford, Oxford, UK                                                                           vaccine trials and should have the
                                 organisations, journals and not-for-proﬁt organ-
                                                                                             right to access the results.
                                 isations, have all acknowledged the importance of
                                                                                         Ź   There is inadequate availability of
                                 data sharing, including the release of deidentiﬁed
Correspondence to:                                                                           COVID-19 vaccine trial documents and
Dr Peter Doshi,                  individual participant data. Many policies, regu-           data; individual participant data will
Pharmaceutical Health            lations and platforms now exist to facilitate data          not be available for months, perhaps
Services Research, University    access, including landmark transparency policies            years, for most vaccines.
of Maryland School of            from the European Medicines Agency (EMA)2 3 and         Ź   Widespread use of interventions
Pharmacy, Baltimore, MD          Health Canada.4 Both regulators now post on their           without full data transparency raises
21201, USA; pdoshi@rx.           websites, sections of the licensure dossier received




                                                                                                                                                                                                                               by copyright.
umaryland.edu                                                                                concerns over the rational use of
                                 by the industry (https://clinicaldata.ema.europa.           COVID-19 vaccines.
                                 eu/ and https://clinical-information.canada.ca/).       Ź   Trial transparency must start early and
                                 There are also industry and academic platforms              be continuous. Trial protocols should
                                 to facilitate third-party access to trial data and          be released once finalised, before trial
                                 documents, including ClinicalStudyDataRequest.              results are reported, and should be
                                 com, Yale University Open Data Access (YODA)                accompanied with the release of trial
                                 Project and Vivli.5 In 2013, the US and European            documents and data before clinicians
                                 industry trade organisations endorsed a joint               and the public make decisions
                                 statement on clinical trial data sharing, making a          regarding product use.
                                 series of commitments that ‘recognise the impor-
                                 tance of sharing clinical trial data in the interest
                                 of patients, healthcare and the economy”6 In 2015,
                                 the US Institute of Medicine similarly endorsed        and governmental level, but cannot be credibly
                                 beneﬁts of sharing clinical trial data, emphasising    performed on journal publications alone.8 9 Access
                                 that ‘veriﬁcation and replication of investigators’    to clinical trial data and related trial documents
                                 claims’ were essential to the scientiﬁc process,       (see box 1) allows for independent and informed
                                 and noting the numerous beneﬁts to stakeholders        assessment of trials. By understanding details of
                                 ‘including payers of healthcare as well as patients,   how studies were designed and how data were
                                 their physicians and researchers.’7                    collected, one can understand if endpoints were
                                                                                        reliably operationalised and measured. Similarly,
                                                                                        release of underlying data from clinical trials
© Author(s) (or their            Why we need access to COVID-19 vaccine                 allows for independent veriﬁcation of results,
employer(s)) 2021. No            trial data and documents                               assessment of heterogeneity of treatment effects
commercial re-use. See           Clinical trial transparency is always important,       for speciﬁc subgroups, and facilitates the forma-
rights and permissions.          but is especially critical during the COVID-19         tion of new research questions.10
Published by BMJ.                pandemic (or any public health emergency) where            There are speciﬁc issues in COVID-19 vaccine
    To cite: Tanveer S,          regulatory decisions are being made quickly by         trials that merit scrutiny. Consider blinding, an
    Rowhani-Farid A, Hong K,     government health ofﬁcials, novel vaccine plat-        essential feature in randomised trials investigating
    et al. BMJ Evidence-Based    forms are being used, vaccines are being adminis-      efﬁcacy against subjective endpoints, as in the
    Medicine Epub ahead of       tered widely and taxpayer funds have contributed       COVID-19 vaccine trials. Assessing the reliability
    print: [please include Day   heavily to research and development. Crit-             of blinding involves analysing endpoint deﬁni-
    Month Year]. doi:10.1136/    ical appraisal of clinical trials is vital to inform   tions and data collection. The primary endpoint in
    bmjebm-2021-111735           decision making at the personal, professional          many trials is laboratory-conﬁrmed, symptomatic


                                                                                                                            App000459
                                                                      BMJ Evidence-Based Medicine Month 2021 | volume 0 | number 0|       1
                                                                                                                                                BMJ EBM: first published as 10.1136/bmjebm-2021-111735 on 9 August 2021. Downloaded from http://ebm.bmj.com/ on August 10, 2021 at Health Sci & Human Services Library. Protected
General
Case    medicine
     4:21-cv-01058-P Document 27 Filed 12/07/21                                         Page 462 of 633 PageID 1188

Box 1 Types of trial documents                                          Box 1     Continued

Case report forms (CRFs)                                                Document that describes the quality of the placebo
The original paper or electronic forms on which                         and investigational product, how the product(s) were
individual participants’ data (demographic, efficacy                    manufactured, non-clinical and clinical study results.
measurements, adverse events, etc) are recorded                         An Investigational Medicinal Product Dossier is
during the clinical trial. These documents contain                      required for all clinical trials conducted in the European
structured fields which make it easier to analyse and                   Union.
report trial data. Access to blank case report forms
                                                                        Investigator’s Brochure (IB):
(CRFs) allows for independent evaluation of how data
                                                                        A living document containing a summary of the clinical
were collected and endpoints were operationalised.
                                                                        and nonclinical data of an investigational product,
Clinical study reports(CSRs)                                            including its pharmacology, pharmacokinetics,
Unabridged, structured report of a clinical study                       toxicology and adverse event profile, among other
written for regulators.30 A complete clinical study                     items.
reports (CSRs), including study appendices, includes                    Sources: Restoring Invisible and Abandoned Trials (RIAT)
documentation of trial design, results of trial included                declaration,31 RIAT Support Center Glossary.32
adverse events, trial protocol, statistical analysis plans
and blank CRFs. CSRs on average span thousands
of pages, making them a rich source of information.
European Medicines Agency and Heath Canada are the                     COVID-19. However, prior to the release of trial protocols, few
only two regulatory agencies that publish CSRs at this                 details were known about this endpoint. Registry entries were
time.                                                                  vague (eg, Pﬁzer’s largest study11 only stated ‘conﬁrmed COVID-
                                                                       19’ as one of 35 primary outcome measures), leaving unclear how
Certificate of analysis                                                the deﬁnition was operationalised. While the subsequent release of
Provides a description of the chemical analysis and                    some protocols addressed some questions, it raised new questions
physical appearance of the study interventions actually                that can only be answered with underlying data. Protocols make
used in the trial (both experimental and comparators).                 clear that the symptomatic component of the primary endpoint
                                                                       was reported by trial participants, typically via a smartphone app,
Protocol
                                                                       and deﬁned by one or more signs and symptoms, many of which




                                                                                                                                                                                                                                by copyright.
Document written prior to study start date which
                                                                       were subjective (eg, in Pﬁzer’s trial, COVID-19 symptoms included
details plans on how the study will be conducted,
                                                                       at least one of the following: fever, cough, shortness of breath,
analysed and reported. Any changes or deviations
                                                                       chills, muscle pain, loss of taste or smell, sore throat, diarrhoea or
from the trial protocol should be tracked and provided,
                                                                       vomiting.) The fact that the placebo was saline and the vaccines
with a rationale for the change, in the form of a formal
                                                                       cause short term adverse events in the majority of people raises
protocol amendment.
                                                                       concerns about unofﬁcial unblinding—that is, the ability of trial
Statistical analysis plan (SAP)                                        participants and investigators to make educated guesses as to
A written plan of how trial data will be analysed and                  treatment allocation. Only a thorough analysis of the underlying
which statistical methods and definitions will be used.                individual participant data will allow for an exploration of the
                                                                       extent to which unofﬁcial unblinding may have occurred and
Informed consent form (ICF)                                            biased data collection for the primary endpoint. Access to data
A document required to be provided to study subjects                   would also allow for straightforward replication studies, perhaps
that contains information related to the description                   particularly important when real-world results appear incompat-
of the study, purpose, study intervention(s), any                      ible with reported trial results. For example, at the time of writing
procedures, adverse events, risk and benefits,                         (27 June 2021), Seychelles, Mongolia, Bahrain, Uruguay, and Chile
compensation and rights of participants enrolled in the                were experiencing COVID-19 outbreaks despite high uptake of
study.                                                                 WHO-authorised vaccines.
Serious adverse event (SAE) narratives                                     In addition, trial protocols from Pﬁzer and Moderna indicate
Unstructured paragraphs of text providing details and                  that event adjudication committees were involved in counting
context of the serious adverse events that occurred in                 COVID-19 cases. Considering that the primary endpoint was
study participants. Narratives are usually contained                   deﬁned as a positive lab test and patient-reported symptoms, it is
within a CSR.                                                          unclear how an adjudication committee might affect the primary
                                                                       endpoint evaluation process. Transparency of the committee’s
Electronic individual participant data (IPD)                           charter may provide additional detail on what data committee
Complete electronic computerised dataset for each                      members had access to in forming their judgements (eg, did
participant in the trial which allows for full replication             they have access to data on patients’ symptoms in the ﬁrst week
of study findings using statistical software. Complete                 after vaccination, when vaccine-related adverse events could be
CSRs also contain participant level data, mostly in                    expected?), and what criteria they used to form their judgements.
appendices, but these are in text (not dataset) form as                Access to such documents, therefore, is also important.
individual line listings.                                                  Regarding adverse events, detailed narratives of serious
                                                                       adverse events that occurred in a trial are a standard element
Investigational Medicinal Product Dossier (IMPD)
                                                                       found within clinical study reports and can enable a more thor-
                                                       Continued       ough understanding of potential harms. Patterns in adverse


2     BMJ Evidence-Based Medicine Month 2021 | volume 0 | number 0 |                                                        App000460
                                                                                                                                                              BMJ EBM: first published as 10.1136/bmjebm-2021-111735 on 9 August 2021. Downloaded from http://ebm.bmj.com/ on August 10, 2021 at Health Sci & Human Services Library. Protected
 Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                                     Page 463 of 633General
                                                                                                                      PageIDmedicine
                                                                                                                               1189

 Table 1   Currently available COVID-19 vaccine trial data for selected trials
                                                                  Post-study documents†
                                                Pre-study                                                                                   Total pages
 Trial ID; no enrolled; included ages           documents         Press release      Pub                  CSR       Other‡       IPD        available§
 Pfizer BNT162b2 mRNA vaccine
 NCT04368728; n=43 998; 12–85 years             Protocol, SAP,    Press release      Pub 1,2,3            CSR       Other        No         3880
                                                Blank CRF         1, 2, 3
 NCT04713553; n=1530; 12–50 years               None              No                 N/A: trial ongoing                                            0
 NCT04816643; n=4644; 6 months to 11            None              No                 N/A: trial ongoing                                            0
 years
 Moderna mRNA-127 vaccine
 NCT04470427; n=30 420; ≥18 years               Protocol, SAP     Press release      Pub                  No        Other        No         3293
 NCT04811664; n=37 500; 18–26 years             None              No                 N/A: trial ongoing                                            0
 NCT04796896; n=6750; 6 months to 12            None              No                 N/A: trial ongoing                                            0
 years
 Oxford/AstraZeneca ChAdOx1 vaccine
 ISRCTN89951424; n=10 300; ≥18 years            Protocol          Press release      Pub                  No        No           No           123
                                                                                     1¶, 2¶
 NCT04400838; n=12 390; ≥18 years               Protocol          Press release      Pub                  No        No           No           214
                                                                                     1¶, 2¶
 ISRCTN15638344; n=300; 6–17 years              None              No                 N/A: trial ongoing                                            0
 Janssen (Johnson & Johnson) Ad26.COV2.S vaccine
 NCT04505722; n=44 325; ≥18 years               Protocol, SAP,    Press release      Pub                  No        No           No           530
                                                Blank ICF
 NCT04535453; n=1210; 12 to 55, ≥65             None              No                 N/A: trial ongoing                                            0
 years
 NCT04614948; n=30 000; ≥18 years               Protocol           No                N/A: trial ongoing                                       166
 Novavax SARS-CoV-2 rS/Matrix-M1 Adjuvanted vaccine
 NCT04611802; n=30 000; ≥18 years               Protocol           No                N/A: trial ongoing                                       128




                                                                                                                                                                                                                                              by copyright.
 NCT04368988; n=1419; 18–84 years               Protocol, SAP     Press release      N/A: trial ongoing                                       189
 NCT04583995; n=15 187; 18–84 years             Protocol, SAP     Press release      Pub                  No        No           No           128
 Gamaleya Research Institute Sputnik V/Gam-COVID-Vac vaccine
 NCT04530396; n=33 758; ≥18 years               None              Press release      Pub                  No        No           No            11
 NCT04741061; n=6000; ≥18 years                 None              No                 N/A: trial ongoing                                            0
 NCT04642339; n=2000; ≥18 years                 None              No                 N/A: trial ongoing                                            0
 Sinopharm (BIBP) vaccine
 ChiCTR2000032459; n=2128; ≥3 years             None              No                 Pub                  No        No           No            13
 NCT04510207; n=45 000; ≥18 years               Protocol, SAP      No                Pub                  No        No           No           102
 NCT04612972; n=12 000; ≥18 years               None              No                 N/A: trial ongoing                                            0
 Sinovac (CoronaVac) vaccine
 NCT04456595; n=12 688; ≥18 years               Protocol          Press release      Pub                  No        No           No           201
 NCT04551547; n=552; 3–17 years                 None              No                 Pub                  No        No           No            22
 NCT04582344; n=13 000; 18–59 years             Protocol          Press release      No                   No        No           No            57
 Data current as of 27 June 2021.
 *Pre-study documents include: protocol, statistical analysis plan, blank informed consent form, blank case report form, data monitoring board
 charter, event adjudication committee charter, investigational medicinal product dossier and investigator’s brochure.
 †Post-study documents include: press releases (that contain any results), journal publication (including pre-prints), clinical study report and
 individual participant data.
 ‡Other includes documents released by Health Canada and EMA other than the CSR.
 §Total pages available excludes press releases. Access to the dataset used to determine page count for trials where additional data were available
 through Health Canada and the European Medicines Agency is available in the Zenodo repository (http://doi.org/10.5281/zenodo.4737417).
 ¶Pooled trial analysis publication listed if there were no individual trial publications.
 CRF, case report form; CSR, clinical study report; EMA, European Medicines Agency; ICF, informed consent form; IPD, individual participant data; n,
 number enrolled in trial; N/A, not applicable; Pub, journal publication ; SAP, statistical analysis plan.



events can be explored through access to electronic individual                     Johnson & Johnson, Novavax, Gamaleya Institute, Sinopharm
participant-level data.                                                            and Sinovac), we evaluated the public availability of a variety of
                                                                                   important pre-study documents (eg, trial protocol, statistical anal-
What data have been released                                                       ysis plan, blank informed consent form, blank case report form,
For eight COVID-19 vaccines being used, or under consideration                     data monitoring board charter, and event adjudication committee
for use globally (Pﬁzer, Moderna, Oxford/AstraZeneca, Janssen/                     charter) and post-study documents (eg, press releases with trial


                                                                                                                                       App000461
                                                                                 BMJ Evidence-Based Medicine Month 2021 | volume 0 | number 0|            3
                                                                                                                                                                    BMJ EBM: first published as 10.1136/bmjebm-2021-111735 on 9 August 2021. Downloaded from http://ebm.bmj.com/ on August 10, 2021 at Health Sci & Human Services Library. Protected
 General
 Case    medicine
      4:21-cv-01058-P Document 27 Filed 12/07/21                                                      Page 464 of 633 PageID 1190

 Table 2    Timing of release of individual participant data from COVID-19 vaccine trials
                                             Protocol released before     Pledge to       Estimated date of availability
 Phase 3 trial                               results released?            share IPD       (based on data sharing statement in protocol or publication)
 Pfizer phase 2/3; 43 998 participants       Yes                          Yes             April 2025, based on statement in trial protocol that data will be
 (NCT04368728)                                                                            made available ‘24 months after study completion’
 Moderna phase 3; 30 420 participants        Yes                          Unclear         October 2022, based on statement in trial publication that data
 (NCT04470427)                                                                            “may be available … once the trial is complete”
 Oxford/AstraZeneca phase 3; 10 300          No                           Yes             December 2021, based on statement in trial publication that trial
 participants                                                                             data ‘will be made available when the trials are complete’
 (ISRCTN89951424)
 Janssen (Johnson & Johnson) phase 3;        Yes                          Yes             Unclear. April 2021 publication suggested data availability will
 44 325 participants                                                                      begin ‘with publication,’ but as of June, still not listed on Yale Open
 (NCT04505722)                                                                            Data Access Project website.
 Novavax phase 3; 30 000 participants        Yes                          No*             We could not locate any other written statement regarding patient-
 (NCT04611802)                                                                            level data sharing. It is not discussed in the trial protocol or
                                                                                          publication.
 Gamaleya Research Institute phase 3;        No                           Yes*            May 2021, based on statement in trial publication that data will be
 33 758 participants                                                                      made available ‘on completion of clinical trials’
 (NCT04530396)
 Sinopharm phase 3; 45 000                   No                           Yes             December 2022, based on statement in trial publication that data
 participants                                                                             will be available between December 2022 and December 2027,
 (NCT04510207)                                                                            with reasonable request to the sponsor and principal investigator.
 Sinovac phase 3; 13 000 participants        Yes                          No*             We could not locate any other written statement regarding patient-
 (NCT04582344)                                                                            level data sharing. It is not discussed in the full-length study
                                                                                          protocol. Also, a structured summary of study protocol states ‘Not
                                                                                          applicable’ under the availability of data and material.
 Data current as of 27 June 2021.
 *According to the ‘Plan to Share IPD’ field in the ClinicalTrials.gov entry.
 IPD, individual participant data.




                                                                                                                                                                                                                                                    by copyright.
results, journal publication, clinical study report and individual                  Judging from the availability of documents, regulators them-
participant data availability) at the time of writing (27 June 2021).               selves appear to be receiving less complete and granular data than
We counted the total number of pages available as a crude proxy                     normal due to the compressed timeline from study start to regula-
for the level of detail, as some documents, like clinical study                     tory decision making. For example, in July 2020, Canada granted
reports, can be highly variable in length depending on the avail-                   emergency approval for the use of remdesivir, a drug used for the
ability of appendices.                                                              treatment of COVID-19, without receiving a copy of the clinical
    The overall picture is one of varied transparency. While several                study report.14 This is also the case for the Moderna vaccine, for
trials have at this point published protocols and statistical analysis              which a variety of trial documents have been posted by Health
plans along with the study publications, with some even released                    Canada and the EMA, but not the clinical study report.15 For Cuba,
while the trials were underway, many key trial documents remain                     Russia, India and China state-developed vaccines, access to data
inaccessible (table 1). For example, a WHO report found that out                    prior to regulatory approval is even less clear.16
of 86 clinical trials for 20 COVID-19 vaccines, 12% of clinical trial
protocols were made publically available.12 In our analysis, trial                  The world’s most used COVID-19 vaccines: Sinovac and Sinopharm
protocols and informed consent forms were not available for trials                  Sinovac and Sinopharm, developed by Chinese pharmaceutical
involving special populations such as children (NCT04816643)                        companies, account for the majority of vaccines being in Asia,
and pregnant women (NCT04754594). And despite vaccine                               South America, the Carribean and Africa.17 They are authorised
roll-out, electronic individual participant data is not available for               by the WHO and included in the WHO COVID-19 Vaccines Global
most trials.12 Some sponsors, such as Moderna, have sent mixed                      Access initiative. However, transparency of trial data and docu-
messages on whether they even intend to share data, while others,                   ments is extremely limited, similar to other COVID-19 vaccines.
such as Pﬁzer and Sinopharm, indicate they will not even begin                      Because neither Chinese vaccine has thus far been authorised by
accepting data requests for many months or years (table 2). In                      the EMA, Health Canada, or the Japanese Pharmaceuticals and
other cases, trialists have indicated very narrow time frames for                   Medical Devices Agency (the three regulators publishing data to
sharing data, for example, ‘beginning 3 months and ending 1 year                    their websites), there is also no expectation that data on these
after publication’ (ChiCTR2000032459).13                                            vaccines will become publicly available via regulators (table 3).
    The greatest availability of data at present comes from the                     Sinovac vaccines have been administered for nearly 1 year (since
EMA, Health Canada, and Japanese Pharmaceuticals and Medical                        July 2020), and still have yet to publish clinical trial data (as at 27
Devices Agency which have released thousands of pages from                          June 2021). Trial results have largely been limited to government
company submissions for COVID-19 vaccines, far exceeding                            media reports and press releases.18
what is available elsewhere. The Food and Drug Administration
(FDA) does not routinely make any industry documents it receives                    Transparency of regulatory decision making
publicly available. It should be noted, however, that the EMA and                   Apart from data and documents tied to a speciﬁc trial, credible
Health Canada’s commitment to transparency does not necessarily                     analysis and interpretation of data may require understanding
equate with the public availability of critical study documents.                    regulatory decision making. For example, the fact that many


4          BMJ Evidence-Based Medicine Month 2021 | volume 0 | number 0 |                                                                     App000462
                                                                                                                                                          BMJ EBM: first published as 10.1136/bmjebm-2021-111735 on 9 August 2021. Downloaded from http://ebm.bmj.com/ on August 10, 2021 at Health Sci & Human Services Library. Protected
 Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                               Page 465 of 633General
                                                                                                                PageIDmedicine
                                                                                                                         1191

 Table 3   Availability of regulatory reviews and additional data for COVID-19 vaccines
 Manufacturer         Regulatory reviews and additional data
 Pfizer               USA FDA: main webpage, Emergency Use Authorisation review memorandum (57 pages), EUA review memorandum for 12–15 year
                      olds (43 pages), advisory committee briefing documents (FDA, Pfizer)
                      UK MHRA: main webpage, public assessment report (51 pages)
                      AUS TGA: main webpage, public assessment report (42 pages)
                      EU EMA: main webpage, public assessment report (140 pages), clinical information (6990 pages)
                      Canada HC: main webpage, summary basis of decision (63 pages), clinical information (5910 pages)
                      Japan PMDA: main webpage (English, Japanese), public assessment reportok (74 pages), clinical and non-clinical information
                      (1239 pages)
                      WHO: main webpage, background document to the WHO interim recommendations (44 pages)
 Moderna              USA FDA: main webpage, Emergency Use Authorisation review memorandum (61 pages), advisory committee meeting briefing
                      documents (FDA, Moderna)
                      UK MHRA: main webpage, public assessment report (7 pages)
                      EU EMA: main webpage, public assessment report (169 pages), clinical information (6095 pages)
                      Canada HC: main webpage, summary basis of decision (61 pages), clinical information (6095 pages)
                      Japan PMDA: main webpage (English, Japanese), public assessment report (74 pages), clinical and non-clinical information (542
                      pages)
                      WHO: main webpage, background document to the WHO interim recommendations (41 pages)
 Oxford/AZ            UK MHRA: main webpage, public assessment report (58 pages)
                      AUS TGA: main webpage, public assessment report (49 pages)
                      EU EMA: main webpage, public assessment report (181 pages)
                      Canada HC: main webpage, summary basis of decision (66 pages)
                      Japan PMDA: main webpage (English, Japanese), public assessment report (122 pages), clinical and non-clinical information
                      (1134 pages)
                      WHO: main webpage, background document to the WHO interim recommendations (56 pages)
 Janssen              USA FDA: main webpage, Emergency Use Authorisation review memorandum (69 pages), advisory committee meeting briefing
                      documents (FDA, Janssen)
                      UK MHRA: main webpage, public assessment report (11 pages)
                      EU EMA: main webpage, public assessment report (218 pages)
                      Canada HC: main webpage, summary basis of decision (60 pages)
                      WHO: main webpage, background document to the WHO interim recommendations (54 pages)




                                                                                                                                                                                                                                          by copyright.
 Novavax              None
 Gamaleya Research None
 Institute
 Sinopharm            WHO: main webpage, background document to the WHO interim recommendations (23 pages)
 Sinovac              WHO: main webpage, background document to the WHO interim recommendations (30 pages)
 Data current as of 27 June 2021.
 Regulatory agencies for each country.: USA FDA; UK MHRA; Canada HC; Japan PDMA; International/non-country entity WHO.
 AUS, Australia; EMA, European Medicines Agency; EU, European Union; FDA, Food and Drug Administration; HC, Heath Canada; MHRA, Medicines and
 Healthcare products Regulatory Agency; PMDA, Pharmaceuticals and Medical Devices Agency; TGA, Therapeutic Goods Administration; USA, United
 States of America; WHO, World Health Organization.


experts had originally believed the trials were designed to study a            and placebo arms should continue ‘for as long as possible after
reduction in hospitalisation, intensive care utilisation and death,19          any regulatory approval’ and recommended a follow-up period
points to a need to better understand the rationale for primary                of ‘at least 1 year or more from completion of assigned doses’.22
endpoint selection. Regulators played a major role in shaping                  Despite this, placebo controlled follow-up, originally planned for
this. An FDA guidance document from June 2020, before phase 3                  2 years in many trials, was eliminated after a few months, when
trials commenced, stated that laboratory-conﬁrmed COVID-19 (of                 manufacturers began offering vaccine to placebo recipients within
essentially any severity) was an acceptable primary endpoint. But              weeks of receiving emergency use authorisations. (Debates took
there remains limited transparency on the rationale for the selec-             place regarding the ethics of denying placebo recipients vaccine,
tion of this endpoint: why was it chosen? What other endpoints                 and proposals to redesign the trials as cross-over trials were not
were considered? More information about the internal delibera-                 taken up).23 In addition to ensuring the public accessibility of
tions is essential to understand whether the decisions made were               follow-up data from continuing trials, greater transparency is
reasonable.20                                                                  necessary into the ongoing deliberations and thinking of regu-
    Additionally, there is a need for transparency around any                  lators who are currently evaluating applications from sponsors
deliberations regarding the length of follow-up necessary to                   seeking to move from emergency use authorisations to actual
adequately assess efﬁcacy and safety prior to licensure. Longer                approval or licensure.
follow-up for investigational products such as COVID-19 vaccines                   Other regulatory documents produced by regulators that can
and therapeutic agents are necessary to evaluate duration of                   provide greater insight into trials and the evidence development
protection and ensure public and professional conﬁdence.21                     programme include scientiﬁc review memos and public assess-
The International Coalition of Medicines Regulatory Authorities                ment reports. In the USA, documents such as review memos and
(ICMRA), a global collaborative coalition of 30 medicine regu-                 presentations presented to the federal advisory committee are also
lators including the FDA, Health Canada and EMA, published a                   released. These are all invaluable, providing insight into regula-
statement in November 2020 stating that follow-up for treatment                tory decision making (table 3). At around 50–150 pages, they can


                                                                                                                                  App000463
                                                                            BMJ Evidence-Based Medicine Month 2021 | volume 0 | number 0|             5
                                                                                                                                               BMJ EBM: first published as 10.1136/bmjebm-2021-111735 on 9 August 2021. Downloaded from http://ebm.bmj.com/ on August 10, 2021 at Health Sci & Human Services Library. Protected
 General
 Case    medicine
      4:21-cv-01058-P Document 27 Filed 12/07/21                                          Page 466 of 633 PageID 1192
be substantially longer than journal articles but still one or two        solutions to advance data transparency may require further
orders of magnitude shorter than clinical study reports, and repre-       changes in policy and law.
sent the regulators’ analyses of data, not the data itself. Therefore,
they should be regarded as complementary to, not substitutes for,
trial data.24                                                             Conclusion
                                                                          Although progress has been made over the past decades in clin-
                                                                          ical trial transparency, and there are some successes for COVID-19
Real-time transparency                                                    vaccines, there is still much room for improvement. The lack of
Transparency should begin as trials get underway, and not be              adequate transparency about COVID-19 vaccine trials and their
left as a bureaucratic exercise to be conducted after results are         regulation cannot be dismissed as unfortunate, stubborn prob-
announced and decisions are made. This should be the case for all         lems emblematic of the present culture in biomedicine. In a time
trials, but especially COVID-19 vaccines given their global signif-       of increasing public scrutiny, transparency of regulatory decision
icance.                                                                   making leading to the approval of drug treatments and vaccines
    Before trialists begin recruiting participants, there are already     for COVID-19 is important to ensure patient and stakeholder
a variety of pre-study documents in place, and release of these           trust. It is a scientiﬁc, moral and ethical imperative that access
documents would allow for broader awareness and scrutiny of               to complete trial data of these global public health interventions
the trials. Are the right endpoints being studied? Are the right          is urgently granted to patients, researchers and other key stake-
populations being recruited? Do informed consent forms convey             holders.
sufﬁcient information about study purpose?25 The power of real-
time release of trial protocols was on display last summer when
                                                                          Twitter Anisa Rowhani-Farid @AnisaFarid and Peter Doshi @
some manufacturers—Pﬁzer, Moderna, Janssen and AstraZeneca
                                                                          RIATinitiative
(for its US trial)—released study protocols for their phase 3 trials.26
That transparency not only revealed the inadequacy of what had            Contributors ST and PD conceptualised the article and ST wrote
been disclosed about the studies’ primary endpoint in trial registry      the ﬁrst draft. AR-F and KH led the data extraction and analysis.
entries, but helped stimulate public discussion and debate about          All authors (ST, AR-F, KH, TJ, PD) were involved in reviewing
what primary endpoint was acceptable, including at the FDA’s              and editing the ﬁnal manuscript.
advisory committee the following month—all while the trials were          Funding The Laura and John Arnold Foundation funds the RIAT
ongoing.19 27 28                                                          Support Center, which supports the salaries of ST, AR-F, KH, TJ
                                                                          and PD.
Mechanisms to stimulate greater transparency




                                                                                                                                                                                                                               by copyright.
                                                                          Disclaimer The contents are those of the authors and do not
Although trade-offs will need to be weighed in the context of a           necessarily represent the ofﬁcial views of, nor an endorsement
global public emergency, there are several immediate steps that           by, FDA/HHS, The University of Maryland, or the US
governments agencies, regulators, pharmaceutical companies and            Government.
professional bodies can take to achieve greater transparency of
                                                                          Competing interests KH was supported by the Food and
COVID-19 vaccine trials. To start, government agencies and regu-
                                                                          Drug Administration (FDA) of the US Department of Health
lators can create infrastructure to support submission and deposits
                                                                          and Human Services (HHS) as part of a ﬁnancial assistance
of protocols, informed consent forms, committee charters and
                                                                          award U01FD005946, unrelated to this manuscript, totaling
other pre-study documents. This could be done by using existing
resources such as ClinicalTrials.gov. Moreover, regulatory docu-          US$5000 with 100% funded by FDA/HHS. PD has received
ments, memos, and scientiﬁc reviews used to make decisions on             travel funds from the European Respiratory Society (2012)
vaccine approval can also be shared on (or linked from) the trial         and Uppsala Monitoring Center (2018); grants from the
registry entry. Platforms for sharing individual participant data         FDA (through University of Maryland M-CERSI; 2020),
already exist and can be leveraged (eg, Vivli, ClinicalStudyDat           Laura and John Arnold Foundation (2017–2022), American
aRequest.com and YODA), reducing overall monetary cost associ-            Association of Colleges of Pharmacy (2015), Patient-Centered
ated with publishing of trial data.                                       Outcomes Research Institute (2014–2016), Cochrane Methods
    Drug sponsors and companies can likewise create a dedicated           Innovations Fund (2016-2018) and UK National Institute for
section of their website for pre-study documentation (as some             Health Research (2011–2014); was an unpaid IMEDS steering
have done). This should not cause an undue burden as such docu-           committee member at the Reagan-Udall Foundation for the
ments are already written and shared with regulators, and they            FDA (2016–2020), and is an editor at The BMJ. The Laura
contain no identifying patient information. All that needs to occur       and John Arnold Foundation funds the RIAT Support Center,
is the act of publicly posting a copy. Additionally, sponsors can         which supports the salaries of ST, ARF, KH, TJ, and PD. TJ’s
provide clear and updated statements regarding their timeline for         competing interests are online (https://restoringtrials.org/
access to electronic individual participant data.                         competing-interests-tom-jefferson/).
    Professional bodies and academic organisations can also play          Patient consent for publication Not required.
a large role in promoting transparency. Public statements that
                                                                          Provenance and peer review Commissioned; externally peer
convey the unacceptability of promises to begin sharing months
                                                                          reviewed.
and years from now, despite vaccine roll-out, would help. More
powerfully, professionals could pledge not to endorse new thera-          This article is made freely available for use in accordance with
peutic agents until full access to data is provided. Doing so would       BMJ’s website terms and conditions for the duration of the
send a strong message that transparency is not a ‘nice to have,’          covid-19 pandemic or until otherwise determined by BMJ. You
but a fundamental component of any intervention that purports to          may use, download and print the article for any lawful, non-
be based on science.29 These mechanisms and levers can serve as           commercial purpose (including text and data mining) provided
initial starting points to create greater transparency. Longer-term       that all copyright notices and trade marks are retained.


6       BMJ Evidence-Based Medicine Month 2021 | volume 0 | number 0 |                                                      App000464
                                                                                                                                                                     BMJ EBM: first published as 10.1136/bmjebm-2021-111735 on 9 August 2021. Downloaded from http://ebm.bmj.com/ on August 10, 2021 at Health Sci & Human Services Library. Protected
 Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                                       Page 467 of 633General
                                                                                                                        PageIDmedicine
                                                                                                                                 1193
ORCID iDs                                                                           15 Government of Canada HC. Remdesivir authorized with conditions for
Sarah Tanveer http://orcid.org/0000-0002-6408-9855                                     the treatment of patients in Canada with severe COVID-19 symptoms
Anisa Rowhani-Farid http://orcid.org/0000-0003-3637-2423                               [Internet], 2020. Available: https://healthycanadians.gc.ca/recall-alert-
                                                                                       rappel-avis/hc-sc/2020/73621a-eng.php
Tom Jefferson http://orcid.org/0000-0002-4778-2949
                                                                                    16 Fonseca P. Brazil institute says CoronaVac efﬁcacy above 50% but delays
Peter Doshi http://orcid.org/0000-0002-7804-4113
                                                                                       full results [Internet], 2020. Reuters. Available: https://www.reuters.com/
                                                                                       business/healthcare-pharmaceuticals/sinovacs-covid-19-vaccine-over-50-
References                                                                             effective-brazil-tests-reports-newspaper-folha-2020-12-23
 1 Turner EH. How to access and process FDA drug approval packages for use          17 Mallapaty S. China is vaccinating a staggering 20 million people a day.
   in research. BMJ 2013;347:f5992.                                                    Nature 2021. doi:10.1038/d41586-021-01545-3. [Epub ahead of print: 09
 2 European Medicines Agency. European Medicines Agency policy on                      Jun 2021].
   access to documents (related to medicinal products for human and                 18 Rhodes N, Wright T, Rusu V. For Whose Beneﬁt? Transparency in the
   veterinary use) POLICY/0043 [Internet], 2018. Available: https://www.ema.           development and procurement of COVID-19 vaccines [Internet], 2021.
   europa.eu/en/documents/other/policy/0043-european-medicines-agency-                 Available: http://ti-health.org/wp-content/uploads/2021/05/For-Whose-
   policy-access-documents_en.pdf                                                      Beneﬁt-Transparency-International.pdf
 3 European Medicines Agency. European Medicines Agency policy                      19 Doshi P. Will covid-19 vaccines save lives? Current trials aren't designed
   on publication of clinical data for medicinal products for human use                to tell us. BMJ 2020;371:m4037.
   (policy/0070; ema/240810/2013); 2014.                                            20 Mehrotra DV, Janes HE, Fleming TR, et al. Clinical endpoints for
 4 Health Canada. Public Release of Clinical Information: consultation                 evaluating efﬁcacy in COVID-19 vaccine trials. Ann Intern Med
   [Internet], 2017. Available: https://www.canada.ca/en/health-canada/                2021;174:221–8.
   programs/consultation-public-release-clinical-information-drug-                  21 WHO Ad Hoc Expert Group on the Next Steps for Covid-19 Vaccine
   submissions-medical-device-applications.html                                        Evaluation, Krause PR, Fleming TR, et al. Placebo-Controlled Trials of
 5 Institutions offering data access [Internet]Restoring Invisible and                 Covid-19 Vaccines - Why We Still Need Them. N Engl J Med 2021;384:e2.
   Abandoned Trials (RIAT) Support Center. Available: https://restoringtrials.      22 International Coalition of Medicines Regulatory Authorities (ICMRA).
   org/institutions-offering-data-access                                               Statement on continuation of vaccine trials [Internet]. Available: http://
 6 EFPIA and PhRMA release joint principles for responsible clinical trial             www.icmra.info/drupal/covid-19/statement_on_continuation_of_vaccine_
   data sharing to beneﬁt patients [Internet]. Available: https://www.efpia.eu/        trials
   news-events/the-efpia-view/statements-press-releases/130724-efpia-and-           23 Doshi P. Covid-19 vaccines: in the rush for regulatory approval, do we
   phrma-release-joint-principles-for-responsible-clinical-trial-data-sharing-         need more data? BMJ 2021;373:n1244.
   to-beneﬁt-patients                                                               24 Jefferson T, Jones MA, Doshi P, et al. Neuraminidase inhibitors for
 7 Institute of Medicine. Sharing Clinical Trial Data: Maximizing Beneﬁts,             preventing and treating inﬂuenza in adults and children. Cochrane
   Minimizing Risk [Internet], 2015. Available: https://www.nap.edu/catalog/           Database Syst Rev 2014;19.
   18998/sharing-clinical-trial-data-maximizing-beneﬁts-minimizing-risk             25 Doshi P, Hur P, Jones M, et al. Informed consent to study purpose in




                                                                                                                                                                                                                                                     by copyright.
 8 Doshi P, Jones M, Jefferson T. Rethinking credible evidence synthesis. BMJ          randomized clinical trials of antibiotics, 1991 through 2011. JAMA Intern
   2012;344:d7898.                                                                     Med 2017;177:1452–9.
 9 Eichler H-G, Rasi G. Clinical trial publications: a sufﬁcient basis for          26 Doshi P. Covid-19 vaccine trial protocols released. BMJ 2020;371:m4058.
   healthcare decisions? Eur J Intern Med 2020;71:13–14.                            27 Doshi P, Topol E. Opinion, 2020. Available: https://www.nytimes.com/
10 Gøtzsche PC. Why we need easy access to all data from all clinical trials           2020/09/22/opinion/covid-vaccine-coronavirus.html
   and how to accomplish it. Trials 2011;12:249.                                    28 U.S. Food and Drug Administration. 161st vaccines and related biological
11 Study to Describe the Safety, Tolerability, Immunogenicity, and Efﬁcacy             products Advisory Committee (VRBPAC) meeting, 2020. Available: https://
   of RNA Vaccine Candidates Against COVID-19 in Healthy Individuals                   www.fda.gov/media/143982/download
   [Internet]. Available: https://clinicaltrials.gov/ct2/show/NCT04368728           29 Johnson RM, Doshi P, Healy D. Covid-19: should doctors recommend
12 For Whose Beneﬁt? Transparency in the development and procurement                   treatments and vaccines when full data are not publicly available? BMJ
   of COVID-19 vaccines [Internet]. Available: https://ti-health.org/content/          2020;370:m3260.
   for-whose-beneﬁt-transparency-in-the-development-and-procurement-of-             30 Center for Drug Evaluation, Research. E3 structure and content of
   covid-19-vaccines                                                                   clinical study reports, 2020. Available: https://www.fda.gov/regulatory-
13 Xia S, Zhang Y, Wang Y, et al. Safety and immunogenicity of an                      information/search-fda-guidance-documents/e3-structure-and-content-
   inactivated SARS-CoV-2 vaccine, BBIBP-CorV: a randomised, double-                   clinical-study-reports
   blind, placebo-controlled, phase 1/2 trial. Lancet Infect Dis 2021;21:39–51.     31 Doshi P, Dickersin K, Healy D, et al. Restoring invisible and abandoned
14 Health Canada. Available information for VEKLURY - Submission control               trials: a call for people to publish the ﬁndings. BMJ 2013;346:f2865.
   number 240551 [Internet], 2020. Available: https://clinical-information.         32 Glossary [Internet]Restoring Invisible and Abandoned Trials (RIAT) Support
   canada.ca/ci-rc/item/240551                                                         Center. Available: https://restoringtrials.org/glossary




                                                                                                                                        App000465
                                                                                  BMJ Evidence-Based Medicine Month 2021 | volume 0 | number 0|                 7
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 468 of 633 PageID 1194




                             ([KLELW




                                                                      App000466
   /      //                                               /''(&,)/"()*/ /"%// /
               Case 4:21-cv-01058-P Document 27 Filed 12/07/21                               Page 469 of 633 PageID 1195


                                                                        

                                                                                         
                                                                   

           
           

               "" "!!!"" " "! " " " "    " "  ""    "


       4# @B9,$BB44#B 3#B7;+B#2-3-897 9-43B 5574<$#B9,$B)789B B< ""-3$B,$B
       < ""-3$B, 8B!$$3B/34>3B 8B9,$B)A$7-4$",B B ""-3$B 3#B>-00B34>B!$B2 7/$9$#B
        8B42-73 :B/4$2-73 9$$B*7B9,$B57$<$39-43B4%B B#-8$ 8$B-3B-3#-<-#; 08B B@$ 78B
       4%B +$B 3#B40#$7B,$B< ""-3$B 084B"439-3;$8B94B!$B < -0 !0$B;3#$7B$2$7+$3"@B;8$B ;9,47-A 9-43B
       B-3"0;#-3+B*7B-3#-<.#; 08B B9,74;+,B B@$ 78B4%B +$B 3#B*7B9,$B #2-3-897 9-43B4%B B9,-7#B
       #48$B-3B"$79 -3B-22;34"425742-8$#B-3#-=-#; 08B

       &=     1=..0-7*=- =4&'1=7',='1==+'*12-,=1=9=-,2',6=2-=24*=2&=
          =.,+'='*=4&'1=,=-2&0=7',1=&7=+2=4&=           1=0'$-0-61=
       1',2'#=12,01= -0=+0$,=61=62&-0'<3'-,=1=2&=#012=         ..0-8=
          =7',=2&=.6*'=,==70;=-,#,2=2&2=2&'1=7',=+21=4&=&'%&=
       12,01= -0=1 2;="2(7,11=,=+,6!560',$=/6*'2;=2&=         =0/6'01=- =
       ,=..0-7=.0-62=1'= ',$=         = -++'11'-,0= ,2=---)= =
       '*=+'**'-,1=- =.-.*=&7=*0=1 *:=0'7=  =7',1=9=
       0-$,'<=4&2= -0=1-+=2&=      =..0-7*=- ==7',=+:=,-9=',12'**='2'-,*=
       -,#,=2-=$2=7',2=-:1=+'*12-,=.621=61=-,=12.=*-10=2-=*20',$=
       2&=-601=- =2&'1=.,+'=',=2&==

       -3"$B$"B  B9,$B)A$7-4$",B B ""-3$B, 8B!$$3B < -0 !0$B;3#$7BB-3B
       -3#-<-#; 08B B@$ 78B4%B +$B 3#B40#$7B 3#B9,$B ;9,47-A 9-43B> 8B$?5 3#$#B94B-3"1;#$B9,48$B B
       9,74;+,B B@$ 78B4%B +$B43B @B B  B8B" 3B!$B;8$#B!@B9,$BB#;7-3+B5;!0-"B,$ 09,B
       $2$7+$3"-$8B94B574<-#$B ""$88B94B2$#-" 0B574#;"98B9, 9B2 @B!$B$($"9-<$B-3B57$<$39-3+B
       #- +348-3+B47B97$ 9-3+B B#-8$ 8$B574<-#$#B9, 9B9,$BB#$9$72-3$8B9, 9B9,$B/34>3B 3#B
       549$39- 0B!$3$)98B4%B B574#;"9B>,$3B;8$#B94B57$<$39B#- +348$B47B97$ 9B9,$B#-8$ 8$B4;9>$-+,B
       9,$B/34>3B 3#B549$39- 0B7-8/8B4%B9,$B574#;"9B

        5574<$#B< ""-3$8B;3#$7+4B9,$B +$3"@8B89 3# 7#B574"$88B*7B7$<-$>-3+B9,$B6; 0-9@B8 '9@B
        3#B$($"9-<$3$88B4%B2$#-" 0B574#;"98B47B 00B< ""-3$8B9,$BB$< 0; 9$8B# 9 B 3#B-3*72 9-43B
       -3"1;#$#B-3B9,$B2 3;&"9;7$78B8;!2-88-43B4%B B!-404+-"8B0-"$38$B 550-" 9-43BBBB-8B B
                                                                                                                             App000467
!**')-. &,%-),%*)'())%%&+%$%*)''(&,)#()*&,# ,"%/                                                         /
      /    //                                              /(()'-*/#)*+/ /#&// /
               Case 4:21-cv-01058-P Document 27 Filed 12/07/21                             Page 470 of 633 PageID 1196
        %<:=?)4);@6F)V'<%C:);AVA4#AV6@V@C$:6AA)'VA<VA4)V#3);%NV=?<F6'6;3VF)?PV@=)%6/%V?)>C6?):);A@V
        <?V<:6?;#ANVA4)VV$C68'@V<;VA4)V)MA);@6F)V'#A#V#;'V6;1?:#A6<;V=?)G6<C@8NV@C$:6AA)'VA4#AV
        @C==<?A)'VA4)V!V@C%4V#@V=?)%96;6%#8V#;'V%86;6%#8V'#A#V#;'V6;1?:#A6<;V#@VI)88V#@V')A#68@V<*V
        A4)V:#;C,%AC?6;3V=?<%)@@VF#%%6;)VA)@A6;3V?)@C8A@VA<V);@C?)VF#%%6;)V>C#86ANV#;'V6;@=)%A6<;@V<*V
        A4)V@6A)@VI4)?)VA4)VF#%%6;)V6@V:#')V 4)V#3);%OV%<;'C%A@V6A@V<I;V#;#8N@)@V<*VA4)V6;1?:#A6<;V6;V
        A4)VVA<V:#7)V@C?)VA4)VF#%%6;)V6@V@#-V#;'V).)%A6F)V#;'V:))A@VA4)V@V@A#;'#?'@V1?V
        #==?<F#8V

        <:6?;#ANV%<;A#6;@V:)@@);3)?VV:V#V76;'V<*V3);)A6%V:#A)?6#8V 4)V:V6@VC@)'V$NV
        A4)V$<'NVA<V:#7)V#V:6:6%V<*V<;)V<*VA4)V=?<A)6;@V6;VA4)VF6?C@VA4#AV%#C@)@V" V 4)V?)@C8AV<*V
        #V=)?@<;V?)%)6F6;3VA46@VF#%%6;)V6@VA4#AVA4)6?V6::C;)V@N@A):VJ88VC8A6:#A)8NV?)#%AV')-;@6F)8NVA<V
        A4)VH?C@VA4#AV%#C@)@V" V 4)V:V6;V<:6?;#AQV6@V<;8NV=?)@);AV6;VA4)V$<'NV1?V#V@4<?AV
        A6:)V#;'V6@V;<AV6;%<?=<?#A)'V6;A<VV;<?V'<)@V6AV#8A)?VV#;V6;'6F6'C#8@V3);)A6%V:#A)?6#8V<:6?;#ANV
        4#@VA4)V@#:)V1?:C8#A6<;V#@VA4)V!VF#%%6;)V#;'V6@V#':6;6@A)?)'V#@V#V@)?6)@V<*VAI<V'<@)@VA4?))V
        I))7@V#=#?AV

        <6C7+!28+%C2 C1! +/C!@5!687C32 <! C2C+26! ,/AC8*363<'*C2 C
        8*3<'*8&/C!=/<9+32C3"C8*+7C=+2!C!C!=<8! C7+!28+%C 8C2 C+2"3618+32C
        +20< ! C+2C*<2 6! 7C3"C8*3<72 7C3"C4'!7C32 <8! C3<6C3?C2/A7!7C3"C
          31+628B7C7"!8AC2 C!$!:-=!2!77C2 C4!6#361! CC !8+/! C77!771!28C3"C;*!C
        12<"8<6+2'C463!77!7C+2< +2'C+274!+327C3"C8*!C12<"8<6+2'C"+/+8+!7C
        7+ C!8!6C6.7C C* C +6!:36C3"C 7C !28!6C"36C +3/3'+7C=/<8+32C
        2 C!7!6*C!C*=!C238C/378C7+)8C8*8C8*!C   C4</+C*!/8*C6+7+7C
        328+2<!7C+2C8*!CC2 C8*8C;*!C4</+C+7C3<28+2'C32C7#!C2 C!$!:+=!C=+2!7C
        *!C4</+C2 C1! +/C311<2+8BC2C!C32% !28C8*8C/8*3<(*C>!C4463=! C
        8*+7C=+2!C!@4! +8+3<7/AC+8C>7C&//AC+2C.!!4+2'C>+8*C3<6C!@+78+2'C*+(*C782 6 7C
        "36C=+2!7C+2C8*!CC

                    
               
          4)V/?@AV!V5AAD@ KI+(#3<F ;)I@)F);A@ E?)@@#;;<C;%):);A@ (#A#7)@7)R#%A6<;U
        034A#3#6;@A%<F6' 6@@C6;3):)?3);&C@)#CA4<?6T#A6<;/?@A%<G6' V6@@C)'V)%V 1?V
        A4)V/T)?6< )%4V" V"#%%6;)V1?V6;'6G6'C#8@V VN)#?@V<*V#3)V#;'V<8')?VI#@V$#@)'V<;V
        @#-BV#;'V).)%A6F);)@@V'#A#V4AAD@ L+(#3<F ;)I@)F);A@ E?)@@#;;<C;%):);A@ *'#U
        A#7)@7)S#%A6<;/34A#3#6;@A%<F6' 6@@C6;3):)?3);&C@)#CA4<?6T#A6<;/?@A%<G6'  V
        2<:V#V?#;'<:6T)'V%<;A?<88)'V$86;')'V<;3<6;3V%86;6%#8VA?6#8V<*VA4<C@#;'@V<*V6;'6F6'C#8@V

          <V@C==<?AVA4)V@V#==?<F#8V')%6@6<;VA<'#NVA4)VV?)F6)I)'VC='#A)'V'#A#V2<:VA4)V%96;6%#8V
        A?6#8VI46%4V@C==<?A)'VA4)V!V#;'V6;%9C')'V#V8<;3)?V'C?#A6<;V<*V188<IC=V6;V#V8#?3)?V%96;6%#8V
        A?6#8V=<=C8#A6<;V
                                                                                                               App000468
"++(*...!'-&.*-&+*()**&&',&%&+* (()'-* $)*+'-$ -#&/                                    /
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 471 of 633 PageID 1197




                                                                      App000469
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 472 of 633 PageID 1198




                                                                      App000470
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 473 of 633 PageID 1199




                             ([KLELW




                                                                      App000471
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 474 of 633 PageID 1200



June 1, 2021

Electronic Submission

Division of Dockets Management
Food and Drug Administration
Department of Health and Human Services
5630 Fishers Lane, Room 1061
Rockville, MD 20852

                                       CITIZEN PETITION

This petition for administrative action is submitted on behalf of the undersigned petitioners
(“Petitioners”) pursuant to 21 C.F.R. § 10.30 and related relevant provisions of the Federal
Food, Drug, and Cosmetic Act or the Public Health Service Act to request that the Commissioner
of Food and Drugs (the “Commissioner”) require that the vaccine manufacturers provide the
FDA with the data outlined in the “Actions Requested” section below before approval of any
COVID-19 vaccine.

The Food and Drug Administration (FDA) has granted Emergency Use Authorizations (EUAs) to
three COVID-19 vaccines, enabling rapid, and widespread vaccine rollout across the United
States. These EUAs do not have any built-in expiration date, and therefore vaccines can
continue to be lawfully distributed under EUA even after a future date when a public health
emergency no longer exists.

Approximately five months have passed since the first EUAs were granted, and one vaccine
manufacturer now seeks licensure (approval) and has submitted a Biologics License Application
(BLA). Other manufacturers have indicated similar intentions, as well as intentions for EUAs for
additional pediatric populations.

We believe the FDA should not prematurely grant a license to any COVID-19 vaccine until all
necessary efficacy and safety studies are completed and substantial evidence demonstrates the
benefits of an individual COVID-19 vaccine product outweigh the harms for the indicated,
recipient population. We are concerned that the premature licensure of a COVID-19 vaccine
can seriously undermine public confidence in regulatory authorities, particularly if long-term
safety issues were to emerge following licensure.

In this petition, we outline efficacy and safety measures that must be met before serious
consideration is given to granting a BLA of any COVID-19 vaccine. These measures include:

   1. Completing at least 2 years of follow-up of participants originally enrolled in pivotal
       clinical trials, even if the trials were unblinded and now lack a placebo control. All
       vaccine manufacturer phase 3 trials were already designed with this planned duration.




                                                                                        App000472
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 475 of 633 PageID 1201



   2. Ensuring, prior to including in the list of populations for which a vaccine is approved,
       that there is substantial evidence of clinical effectiveness that outweighs harms in
       special populations such as: infants, children, and adolescents; those with past SARS-
       CoV-2 infection; immunocompromised; pregnant women; nursing women; frail older
       adults; and individuals with cancer, autoimmune disorders, and hematological
       conditions.
   3. Requiring thorough safety assessment of spike proteins being produced in-situ by the
       body tissues following vaccine administration, and spike proteins’ full biodistribution,
       pharmacokinetics, and tissue specific toxicity.
   4. Completion of vaccine biodistribution studies from administration site and safety
       implications of mRNA translation in distant tissues.
   5. Thorough investigation of all severe adverse reactions reported following COVID-19
       vaccination, such as deaths, reported in the United States and global pharmacovigilance
       systems.
   6. Assessment of safety in individuals receiving more than two doses.
   7. Inclusion of gene delivery and therapy experts in the Vaccines and Related Biological
       Products Advisory Committee (VRBPAC), in recognition of the fact that the novel COVID
       vaccines work on the premise of gene delivery, in contrast to conventional vaccines.
   8. Enforcing stringent conflict of interest requirements to ensure individuals involved in
       data analysis and BLA-related decision making processes have no conflict of interests
       with vaccine manufacturers.

A COVID-19 vaccine BLA should be approved when—and only when—substantial evidence
demonstrates the benefits of a specific product outweigh the harms for the indicated, recipient
population.

This means that the following are invalid reasons to approve a COVID-19 vaccine:

   ● To ensure vaccines are accessible after the public health emergency has ended. COVID-
      19 vaccines granted an emergency use authorization (EUA) can be lawfully used after
      the expiry of the SARS-CoV-2 public health emergency declaration. (This is made clear
      by the many products for Ebola and Zika viruses which still have active EUAs. 1)

   ● To ensure adequate access to vaccines across the population. A BLA is not necessary to
      assure access to COVID-19 vaccines. Unlike normal licensing, in which widespread use
      of a drug or vaccine follows approval, EUAs for COVID-19 vaccines have enabled, and
      continue to enable, their widespread use. Ensuring access to vaccines is irrelevant to
      the considerations for issuance of a BLA because broad access to COVID-19 vaccines has
      already been accomplished.

   ● To enable vaccine mandates. Consideration of vaccine mandates is outside of FDA’s
      purview. Furthermore, a mandate should only be considered once the evidentiary
      conditions are met for a BLA (demonstrating that benefits outweigh harms).




                                                                                       App000473
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 476 of 633 PageID 1202



   ● To bolster public confidence. Like mandates, approving a medical product in order to
      bolster public confidence is backward logic and is outside the FDA’s purview. Approving
      before substantial evidence that population-based evidence of clinical effectiveness is
      superior to harms may contribute to public wariness and hesitancy, not only about
      COVID-19 vaccines, but other vaccines and public health authorities more broadly. An
      approval may bolster public confidence, but it is not a valid reason to approve.

Regardless of any legitimacy of each of the above reasons, none provides grounds to approve a
COVID-19 vaccine.

The widespread use of a COVID-19 vaccine under EUA, particularly for a limited amount of time,
also is not a valid reason to approve a product. Even if vaccine recipients are followed up within
observational studies, such studies may have important design biases and flaws, and their
conclusions, especially concerning clinical effectiveness outcomes, may not be reliable.

Premature FDA approval of any COVID-19 vaccine could negatively impact the health and safety
of US residents, with global ramifications considering the international importance of FDA
decisions. It also could set a precedent of lowered standards for future vaccine approvals. For
these reasons and due to the compelling need to ensure the safety and efficacy of any COVID-
19 vaccine licensed by the FDA and to allow Petitioners the opportunity to seek emergency
judicial relief should the instant Petition be denied, it is respectfully requested that FDA act on
the instant Petition by June 11, 2021.

I. ACTIONS REQUESTED

Petitioners request that the FDA, prior to granting any license for a COVID-19 vaccine:

   1. Confirm, in revised Guidance, that the FDA expects a minimum of 2 years of follow-up of
       participants enrolled in pivotal clinical trials, even if trials are unblinded and lack a
       placebo control.

   2. Require data demonstrating substantial evidence of clinical effectiveness that outweighs
       harms, in all special populations, as a condition of consideration of including these
       populations among the indicated populations. Special populations include: infants,
       children, and adolescents; those with past SARS-CoV-2 infection; immunosuppressed
       individuals; those with history of or current cancer; individuals with hematological
       disorders or autoimmune diseases; pregnant or nursing women; and frail older adults.

   3. Require data on the safety and pharmacokinetic profiles of the spike protein.

   4. Require data from biodistribution studies investigating the actual COVID-19 vaccines.




                                                                                          App000474
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 477 of 633 PageID 1203



   5. Require data from pharmacovigilance systems in the US and globally documenting a
      thorough investigation of serious adverse events, carried out by independent, impartial
      individuals.

   6. Clarify in revised Guidance that safety data from individuals receiving more than 2
      vaccine doses must be submitted.

   7. Ensure the inclusion of experts in gene therapy in the VRBPAC.

   8. Ensure that the analysis of data and decisions regarding any COVID-19 vaccine BLA
      application are informed by experts with no financial or research relationships with any
      vaccine manufacturers within the last 36 months, both within FDA and amongst the
      composition of the VRBPAC.


II. STATEMENT OF GROUNDS

Here, in the order as above, we set out the rationale for each requested action.

   1. Confirm, in revised Guidance, that the FDA expects a minimum of 2 years of follow-up
      of participants enrolled in pivotal clinical trials, even if trials are unblinded and lack a
      placebo control. Rationale:
          a. Requiring at least 2 years is consistent with the 2 year follow-up duration
              prospectively proposed by the manufacturers when they registered their
              ongoing phase 3 trials of COVID-19 vaccines (Moderna: NCT04470427, Pfizer:
              NCT04368728, Janssen: NCT04505722) and consistent with the June 2020 FDA
              guidance on COVID-19 vaccines which stated participants should be followed for
              COVID-19 outcomes for “as long as feasible, ideally at least one to two years.” 2
          b. Important adverse event signals can be detected in clinical trials. This is true
              despite enrolling tens of thousands of participants, which is still too few to
              assess rare adverse events. For example, a serious blood clot occurring in the
              phase 3 Janssen clinical trial led to an initial trial pause in October 2020.3
          c. Two year follow-up from trials allows the detection of commonly experienced
              longer-term adverse effects that may not manifest until many months following
              vaccination.
          d. Two year follow-up from trials would also allow for more detailed assessment of
              infection, re-infection, infectiousness, and the monitoring of immune response
              over time, among all vaccinated participants.
          e. The quality of data collection in clinical trials can be expected to be superior to
              passive data collection systems like the Vaccine Adverse Event Reporting System
              (VAERS). Therefore, trials of at least 2 years duration provide a valuable chance
              to develop a more complete understanding of the adverse event profile in the
              general population as well as in specific groups, such as individuals of




                                                                                          App000475
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 478 of 633 PageID 1204



             reproductive age, immunocompromised individuals, and different age groups,
             including adolescents and young children.
         f. The quality of data on adverse events during an ongoing trial can be improved
             while the trial is ongoing (e.g., improving the range of types of adverse events
             that are systematically assessed), as and when evidence from other data sources
             (e.g., pre-clinical or pharmacovigilance) show any trends or indicate specific
             types of adverse events of special interest.
         g. Finally, the expectation of at least 2 years of follow-up prior to BLA also carries
             the advantage of longer-term data collection from other available sources (e.g.,
             MedWatch/VAERS, V-safe, Vaccine Safety Datalink, FDA-CMS, BEST & PRISM, VA
             Electronic Health Records & data warehouse, Department of Defense DMSS, and
             Genesis HealthCare (Brown University & NIH-National Institute of Aging), as well
             as other medical claims databases).

  2. Require data demonstrating substantial evidence of clinical effectiveness that
      outweighs harms, in all special populations, as a condition of consideration of
      including these populations among the indicated populations. Special populations
      include: infants, children, and adolescents; those with past SARS-CoV-2 infection;
      immunosuppressed individuals; those with history of or current cancer; individuals
      with hematological disorders or autoimmune diseases; pregnant or nursing women;
      and frail older adults. Rationale:
          a. The efficacy and safety of medicines often differs amongst populations such as
              healthy young adults vs. older adults, men vs. women, or SARS-CoV-2 survivors
              vs. never-exposed individuals.
          b. For example, the relative risks of SARS-CoV-2 infection, hospitalization, and
              death are considerably lower in infants, children, and adolescents in comparison
              to adults.4,5
          c. For example, individuals who experienced past SARS-CoV-2 infection (which are
              now believed to be a significant minority of many subpopulations6) are likely to
              have immunity to subsequent infections for as long or longer than immunity
              conferred by vaccine,7–10 and may also be at heightened risk for adverse
              effects.11–14
          d. The ongoing phase 3 trials of COVID-19 vaccines (Moderna: NCT04470427,
              Pfizer: NCT04368728, Janssen: NCT04505722) largely (or wholly) excluded the
              following important populations in which there is reason to believe the effects of
              the product may differ from the populations enrolled in the trial:
                    i. Infants, children, and adolescents
                   ii. Those with past SARS-CoV-2 infection
                  iii. Those who are immunosuppressed
                  iv. Those with history of or current cancer
                   v. Those with hematological disorders
                  vi. Those with autoimmune diseases
                 vii. Those who are pregnant or nursing
                viii. Frail older adults (including those living in nursing homes)



                                                                                       App000476
Case 4:21-cv-01058-P Document 27 Filed 12/07/21               Page 479 of 633 PageID 1205



         e. The question is not simply whether there is efficacy, but how much efficacy
             exists in these populations, what kind of efficacy (e.g. reduction in risk of
             symptomatic COVID-19 vs. reduction in risk of hospitalization or death), and do
             efficacy advantages outweigh potential harms in these populations.
         f. Before these special populations can be considered for inclusion amongst the
             approved indicated populations, data demonstrating substantial evidence of
             clinical effectiveness that outweighs harms in these specific populations, are
             needed.

  3. Require data on the safety and pharmacokinetic profiles of the spike protein.
      Rationale:
         a. In-situ production of SARS-CoV-2 spike protein is the target mechanism of action
             of all COVID-19 vaccines with an EUA at present. Therefore, the safety profile of
             spike protein itself (i.e., in the absence of virus) must be thoroughly understood
             in the range of populations on the indications list.
         b. Recently, evidence of systemic circulation of spike protein or its components in
             subjects post-immunization was reported.15 All studies we are aware of to date
             raise concerns about the safety of spike protein,16–28 and the concentration of
             circulatory spikes was correlated to the disease severity in COVID-19 patients.29
         c. Required studies must, at a minimum, address these concerns:
                   i. Coagulopathy issues, including blood clots, hemorrhage,
                       thrombocytopenia, heart attack, and strokes. According to the VAERS, as
                       of May 21, 2021, there have been a total of 1,222 reports of
                       thrombocytopenia/low platelets; and 6,494 (112 in 0-24 year-olds)
                       reports of blood clots/strokes.
                  ii. Reproductive issues, including menstrual irregularities, reduced fertility,
                       miscarriages, and preterm births. According to VAERS, as of May 21,
                       2021, there were 511 reports of miscarriage and 522 reports of uterine
                       hemorrhage (including 88 in women older than 50 years). The vaccines
                       induce the generation of antibodies to attack spike protein, which are
                       genetically similar to proteins produced by the placenta.30 To date, no
                       vaccine sponsors have conducted immunologic studies of spike protein
                       involvement with proteins involved in placental development.
                 iii. Carcinogenesis. There is preliminary and theoretical evidence that the
                       spike protein may promote cancer.31,32 Considering the potential for
                       annual booster vaccinations, COVID-19 vaccines should be treated
                       similarly to medication taken for chronic conditions on a long term basis.
                       Carcinogenic potential is important to characterize.
                 iv. Transmission of spike protein (or its fragments) from vaccinated
                       individuals, such as through breast milk and associated risk in neonates
                       and infants. According to the UK Medicines & Healthcare products
                       Regulatory Agency, there are 921 reports of exposure via breast milk
                       following AstraZeneca’s vaccine and 215 reports following Pfizer’s
                       vaccine.



                                                                                         App000477
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 480 of 633 PageID 1206



                  v. Neurological disorders, including Guillain-Barré syndrome, acute
                      disseminated encephalomyelitis, transverse myelitis, encephalitis,
                      myelitis, encephalomyelitis, meningoencephalitis, meningitis,
                      encephalopathy, demyelinating diseases, and multiple sclerosis.
                 vi. Cardiac issues, including myocardial infarction, myocarditis and
                      pericarditis, among others. According to the VAERS, as of May 21, 2021,
                      there have been a total of 1,598 reports of heart attacks (24 reported in
                      0-24 year-olds; 501 resulted in death).
                vii. Autoimmune diseases, including thyroiditis and diabetes mellitus,
                      immune thrombocytopenia, autoimmune hepatitis, primary biliary
                      cholangitis, systemic sclerosis, autoimmune disease for skeletal muscles
                      (myasthenia gravis, myositis such as polymyositis, dermatomyositis, or
                      other inflammatory myopathies)
               viii. Studies should be conducted in individuals of both sexes 33 and all ages.
                      We cannot assume that the effects of spike protein are the same across
                      populations of all ages, sex, and across pre-existing conditions.

  4. Require data from biodistribution studies investigating the actual COVID-19 vaccines.
      Rationale:
         a. Data from the biodistribution studies submitted by Moderna and Pfizer suggests
             that the vaccines distribute widely in the body, including to the liver, brain,
             heart, lung, adrenals, ovaries, and testes, among many other tissues. 34,35 (See
             Tables 1a, 1b, and 2 below for studies R-[?]-0072 and 185350 submitted by
             Pfizer and study 5002121 submitted by Moderna.)
         b. However these were not studies of the currently authorized products: Pfizer’s
             BNT162b2, Moderna’s mRNA-1273, or Janssen’s Ad26.COV2.S.34–36
         c. Instead of presenting novel biodistribution studies of the COVID-19 vaccine
             formulations, sponsors presented substitute studies to FDA for an EUA during
             the pandemic.34–36
         d. Therefore, novel biodistribution studies investigating the actual COVID-19
             vaccines are necessary.
         e. Biodistribution studies would be required for any small molecule pharmaceutical
             drug submitted for approval (i.e. New Drug Application), and should be
             conducted on the COVID-19 vaccines as well as these novel vaccines which work
             on the premise of gene delivery--very different to conventional vaccines.
         f. Biodistribution studies help inform an understanding of vaccine transfection to
             various tissues (away from injection site) spurring various distant tissues to
             produce spike proteins and consequent autoimmune response against the
             body’s cells. These studies will therefore help enhance our understanding of the
             nature of potential short and long term adverse events. At this point in time, in
             which other data sources exist to characterize short term harms of COVID-19
             vaccines with an EUA, the utility of biodistribution studies to characterize long
             term adverse effects and better understand potential mechanism(s) of action of
             short and long term harms, remains critically important.



                                                                                        App000478
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 481 of 633 PageID 1207



         g. Necessary studies must, at a minimum, address these concerns related to
             biodistribution, as well as the effects of vaccines in the body:
                  i. The need to know basic pharmacokinetic parameters, including
                       absorption, distribution, metabolism, and excretion (ADME).
                 ii. Effects of multiple doses. ADME may change depending on dose and
                       cumulative dose and should be investigated. This is more important
                       than usual as the whole purpose of all COVID-19 vaccines with an EUA
                       at present is to change the body’s way of processing spike protein, and
                       therefore repeated injections should result in different rates of
                       clearance of spike protein from the blood, and different rates of
                       immune attack on spike protein producing cells.
                iii. The impact of body mass index (size of deltoid muscle) and vaccine
                       distribution away from injection site, implications for dose estimation
                       for lean or younger age groups or frail older adults.
                iv. The duration of the studies must be sufficient to fully understand the
                       complete distribution and elimination of the injected vaccine and its
                       carrier and other constituents. For example, data from the substitute
                       study submitted for Pfizer’s vaccine (see Tables 1a, 1b, and 2 below for
                       studies R-[?]-0072 and 185350 submitted by Pfizer and study 5002121
                       submitted by Moderna) showed levels of drug product increasing at
                       the 48 hour mark, but it is unknown what occurred after 48 hours as
                       this was apparently the study cut off.37
                 v. Potential side effects (safety review) in those organs/tissues with a
                       detectable proportion of injected vaccine (antigen or novel excipients)
                       from the circulatory system.

  5. Require data from pharmacovigilance systems in the US and globally documenting a
      thorough investigation of serious adverse events, carried out by independent,
      impartial individuals. Rationale:
         a. A major testament to the overall short-term safety of a medical product is the
             absence of serious adverse events (SAEs) when administered to millions. COVID-
             19 vaccines have now been administered to hundreds of millions of individuals,
             and it is vital that all reports of SAEs are thoroughly investigated to determine
             whether the vaccine played any role in the SAE.
         b. The most serious of all SAEs is death, and a CDC webpage on VAERS discusses
             4,863 reports of death after COVID-19 vaccination reported between December
             14, 2020 and May 24, 2021. 38 CDC states that:
                   i. “CDC follows up on any report of death to request additional
                        information to learn more about what occurred and to determine
                        whether the death was a result of the vaccine or was unrelated.”
                  ii. “CDC and FDA physicians review each case report of death as soon as
                        notified and CDC requests medical records to further assess reports.”




                                                                                      App000479
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 482 of 633 PageID 1208



                iii.  “A review of available clinical information, including death certificates,
                       autopsy, and medical records has not established a causal link to
                       COVID-19 vaccines.”38
         c. However, the FDA has stated that VAERS staff do not contact family members to
             learn more about the deaths. It stated: “Because the VAERS system is not
             designed to determine causality of adverse events, there is not a mechanism to
             follow-up with families for additional details. The determination of the cause of
             death is done by the certifying official who completes the death certificate or the
             pathologist who conducts the autopsy.”39
         d. Regulators in other countries have conducted detailed case investigations (e.g.
             Norway’s investigation of 100 deaths amongst frail elderly following COVID-19
             vaccination40,41).
         e. FDA must require evidence of a thorough investigation into deaths and other
             SAEs—investigations that include contacting families to obtain a full medical
             history and personal accounts (in the case of deaths) and those who experienced
             the adverse event (in the case of other SAEs). Event adjudication, as done on
             data safety monitoring boards, must be in place in order to carry out detailed
             case investigations, and must be carried out by independent, impartial
             individuals.

  6. Clarify in revised Guidance that safety data from individuals receiving more than 2
      vaccine doses must be submitted by vaccine manufacturers. Rationale:
          a. There is wide speculation that COVID-19 vaccines may become offered as annual
              vaccines, much like influenza vaccines, and regulators have already released
              guidance to this effect.42
          b. Some manufacturers, such as Pfizer and Moderna, have indicated that a third
              dose may be necessary within the first 12 months. Other manufacturers may
              present similar claims in the future.43
          c. The safety profile of multiple doses, possibly more than 70 doses across an
              average lifetime, must be considered at the time of licensure. Phase 3 trial data
              make clear that the safety profile differs by dose (e.g. dose 2 of the Pfizer and
              Moderna vaccines induce more severe systemic adverse events than dose 1). 44,45
          d. Information on the types and severity of adverse events that emerge following
              the administration of additional doses is necessary to better characterize long
              term safety.

  7. Ensure the inclusion of experts in gene therapy in the VRBPAC. Rationale:
         a. The COVID-19 vaccines produced by Pfizer, Moderna, and Janssen (as well as
             AstraZeneca, CanSinoBio (China) and Gamaleya Research Institute (Russia)) are
             gene based vaccines. Their mechanism of action differs substantially from all
             other vaccines that have been used on populations globally, as these novel
             vaccines work on the premise of gene delivery, and may therefore be considered
             a type of gene therapy. These gene based vaccines involve entering the cell,
             where the overwhelming majority of critical body activities occur, and utilizing



                                                                                        App000480
Case 4:21-cv-01058-P Document 27 Filed 12/07/21              Page 483 of 633 PageID 1209



             the host’s cells to produce spike protein. This is an entirely different mechanism
             than that utilized by traditional vaccines such as inactivated, attenuated, subunit
             or protein-based (that are not intended to invade cells). Therefore, there is a
             need to consider safety with the informed perspectives of those with expertise
             in gene therapies.

  8. Ensure that the analysis of data and decisions regarding any COVID-19 vaccine BLA
      application are informed by experts with no financial or research relationships with
      any vaccine manufacturers within the last 36 months, both within FDA and amongst
      the composition of the VRBPAC. Rationale:
         a. The public interest weighs strongly in favor of the evaluation of data and all
             decision making to be performed by competent individuals with independence
             from vaccine manufacturers (institutions that stand to gain or lose from a BLA
             decision on a COVID-19 vaccine). Disclosure requirements should be at least as
             stringent, if not more, than what is expected for writing a manuscript in a
             medical journal—namely, disclosure of relationships within the last 36 months,
             as requested by the International Committee of Medical Journal Editors (ICMJE).
             Insisting on this level of disclosure, and transparency of the disclosures, can
             publicly demonstrate the independence of the FDA’s decision making process. 46



Table 1a. Pfizer study report R-[?]-0072, biodistribution study submitted by Pfizer to Japanese
regulator (PMDA).




Source: Japan PMDA (PDF page 15).37




                                                                                        App000481
Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 484 of 633 PageID 1210




Table 1b. Pfizer study report 185350, biodistribution study submitted by Pfizer to Japanese
regulator (PMDA).




Source: Japan PMDA (PDF page 16).37




                                                                                      App000482
Case 4:21-cv-01058-P Document 27 Filed 12/07/21          Page 485 of 633 PageID 1211




Table 2. Modern study report 5002121, biodistribution study submitted by Moderna to
Japanese regulator (PMDA).




                                                                                  App000483
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                Page 486 of 633 PageID 1212




 Source: Japan PMDA (PDF page 7).47




III. ENVIRONMENT IMPACT

The petitioners hereby state that the relief requested in this petition will have no
environmental impact and therefore an environmental assessment is not required under 21
C.F.R. Sections 25.30 and 25.31.



IV. ECONOMIC IMPACT

Economic impact information will be submitted upon request of the commissioner.



V. CERTIFICATION

The undersigned certifies that, to the best knowledge and belief of the undersigned, this
petition includes all information and views on which the petition relies, and that it includes




                                                                                          App000484
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                        Page 487 of 633 PageID 1213



representative data and information known to the petitioner which are unfavorable to the
petition.

Respectfully submitted,




Linda Wastila, BSPharm, MSPH, PhD*†
Professor, Pharmaceutical Health Services Research
University of Maryland School of Pharmacy
220 Arch Street, Baltimore, Maryland 21201, U.S.A.
* Lead petitioner, will accept all correspondence.
† Dr. Wastila’s organizational affiliation is included for identification purposes only.



Peter Doshi, PhD†
Associate Professor, Pharmaceutical Health Services Research
University of Maryland School of Pharmacy
Baltimore, Maryland, U.S.A.
† Dr. Doshi’s organizational affiliation is included for identification purposes only.



Hamid A. Merchant, BPharm, MPharm, PhD, RPh, CQP, PGCertHE, FHEA, SRPharmS †
Subject Leader in Pharmacy
University of Huddersfield
Huddersfield, United Kingdom
† Dr. Merchant’s organizational affiliation is included for identification purposes only.



Kim Witczak
President/Co-Founder
Woodymatters
Minneapolis, Minnesota, U.S.A.


Peter Aaby, MSc, DMSc†                 Christine Stabell Benn, MD,            Florence T. Bourgeois MD,
Head of Bandim Health Project,         PhD, DMSc†                             MPH†
Guinea-Bissau                          Professor of Global Health             Associate Professor of
University of Southern                 University of Southern                 Pediatrics
Denmark                                Denmark                                Harvard Medical School
Copenhagen, Denmark                    Copenhagen, Denmark                    Boston, Massachusetts, U.S.A.
† Dr. Aaby’s organizational            † Dr. Benn’s organizational            † Dr. Bourgeois’s organizational

affiliation is included for            affiliation is included for            affiliation is included for
identification purposes only.          identification purposes only.          identification purposes only.




                                                                                                    App000485
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                       Page 488 of 633 PageID 1214



Anthony J Brookes, PhD†            David Healy, MD FRCPsych†              Ulrich Keil, MD, PhD, FRCP
Professor of Genetics              Professor of Psychiatry                (London)†
University of Leicester            McMaster University                    Professor Emeritus
Leicester, United Kingdom          Ontario, Canada                        University of Muenster
† Dr. Brookes’s organizational     † Dr. Healy’s organizational
                                                                          Muenster, Germany
affiliation is included for        affiliation is included for            † Dr. Keil’s organizational

identification purposes only.      identification purposes only.          affiliation is included for
                                                                          identification purposes only.
Byram W. Bridle, PhD†              Iona Heath, CBE FRCGP†
Associate Professor of Viral       Past president of the Royal            Joseph A. Ladapo, MD, PhD
Immunology                         College of General Practitioners       Associate Professor of
University of Guelph               London, United Kingdom                 Medicine
                                   † Dr. Heath’s former affiliation
Ontario, Canada                                                           David Geffen School of
† Dr. Bridle’s organizational
                                   is included for identification         Medicine at UCLA
affiliation is included for        purposes only.                         Los Angeles, California, U.S.A.
                                                                          † Dr. Ladapo’s organizational
identification purposes only.
                                   Matthew Herder, JSM LLM†               affiliation is included for
Peter Collignon AM, MB,            Director, Health Law Institute         identification purposes only.
BS(Hons), BSc(Med), FRACP,         Dalhousie University
FRCPA, FASM†                       Nova Scotia, Canada                    Donald W. Light, PhD†
                                   † Prof. Herder’s organizational
Professor                                                                 Professor of Comparative
Australian National University     affiliation is included for            Health Policy and Psychiatry
Medical School                     identification purposes only.          Rowan University School of
Canberra, Australia                                                       Osteopathic Medicine
† Dr. Collignon’s organizational
                                   Tom Jefferson, MD MRCGP                Glassboro, New Jersey, U.S.A.
affiliation is included for        FFPHM†                                 † Dr. Light’s organizational

identification purposes only.      Senior Associate Tutor                 affiliation is included for
                                   University of Oxford                   identification purposes only.
Juan Erviti, PharmD, PhD†          † Dr. Jefferson’s organizational

Unit of Innovation and             affiliation is included for
Organization                       identification purposes only.          Peter A. McCullough, MD,
Navarre Health Service, Spain                                             MPH†
Pamplona, Spain                    Robert M. Kaplan, PhD†                 Professor of Medicine
† Dr. Erviti’s organizational      Distinguished Research                 Texas A & M College of
affiliation is included for        Professor                              Medicine
identification purposes only.      UCLA Fielding School of Public         Dallas, Texas, U.S.A.
                                                                          † Dr. McCullough’s
                                   Health
Peter C. Gøtzsche, Professor,      Los Angeles, California, U.S.A.        organizational affiliation is
DrMedSci, MD, MSc                  † Dr. Kaplan’s organizational          included for identification
Director                           affiliation is included for            purposes only.
Institute for Scientific Freedom   identification purposes only.
Copenhagen, Denmark




                                                                                                  App000486
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                     Page 489 of 633 PageID 1215



Barbara Mintzes, BA, MSc,           Allyson M Pollock, MBChB,            Erick Turner, MD†
PhD†                                FRCPH, FRCP (Ed) FRCGP†              Associate Professor of
Associate Professor, School of      Clinical Professor of Public         Psychiatry
Pharmacy                            Health                               Oregon Health & Science
The University of Sydney            Institute of Health and Society,     University
Sydney, Australia                   Newcastle University                 Portland, Oregon, U.S.A.
† Dr. Mintzes’ organizational                                            † Dr. Turner’s organizational
                                    Newcastle upon Tyne, United
affiliation is included for         Kingdom                              affiliation is included for
identification purposes only.       † Dr. Pollock’s organizational       identification purposes only.
                                    affiliation is included for
                                    identification purposes only.        Patrick Whelan, MD PhD†
                        †
Huseyin Naci, MHS, PhD                                                   Associate Clinical Professor of
Associate Professor of Health       Angela Spelsberg, MD, SM†            Pediatrics
Policy                              Comprehensive Cancer Center          David Geffen School of
London School of Economics          Aachen                               Medicine at UCLA
and Political Science               Aachen, Germany                      Los Angeles, California, U.S.A.
                                    † Dr. Spelsberg’s organizational     † Dr. Whelan’s organizational
London, United Kingdom
† Dr. Naci’s organizational
                                    affiliation is included for          affiliation is included for
affiliation is included for         identification purposes only.        identification purposes only.
identification purposes only.




References

1.   Zuckerman DM. Emergency Use Authorizations (EUAs) Versus FDA Approval: Implications for
     COVID-19 and Public Health. Am J Public Health [Internet]. 2021 Jun;111(6):1065–9. Available from:
     http://dx.doi.org/10.2105/AJPH.2021.306273

2.   Food and Drug Administration. Development and Licensure of Vaccines to Prevent COVID-19:
     Guidance for Industry [Internet]. 2020 [cited 2020 Oct 6]. Available from:
     https://www.fda.gov/media/139638/download

3.   Food and Drug Administration. FDA Briefing Document. Janssen Ad26.COV2.S Vaccine for the
     Prevention of COVID-19 [Internet]. 2021 [cited 2021 May 28]. Available from:
     https://www.fda.gov/media/146217/download

4.   CDC. Risk for COVID-19 infection, hospitalization, and death by age group [Internet]. 2021 [cited
     2021 May 28]. Available from: https://www.cdc.gov/coronavirus/2019-ncov/covid-
     data/investigations-discovery/hospitalization-death-by-age.html

5.   CDC. COVID-19 Pandemic Planning Scenarios [Internet]. 2021 [cited 2021 May 28]. Available from:
     https://www.cdc.gov/coronavirus/2019-ncov/hcp/planning-scenarios.html

6.   CDC. Estimated disease burden of COVID-19 [Internet]. 2021 [cited 2021 May 28]. Available from:
     https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/burden.html

7.   Dan JM, Mateus J, Kato Y, Hastie KM, Yu ED, Faliti CE, et al. Immunological memory to SARS-CoV-2
     assessed for up to 8 months after infection. Science [Internet]. 2021 Feb 5;371(6529). Available



                                                                                                App000487
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                      Page 490 of 633 PageID 1216



     from: http://dx.doi.org/10.1126/science.abf4063

8.   Turner JS, Kim W, Kalaidina E, Goss CW, Rauseo AM, Schmitz AJ, et al. SARS-CoV-2 infection induces
     long-lived bone marrow plasma cells in humans. Nature [Internet]. 2021 May 24; Available from:
     http://dx.doi.org/10.1038/s41586-021-03647-4

9.   Breton G, Mendoza P, Hagglof T, Oliveira TY, Schaefer-Babajew D, Gaebler C, et al. Persistent
     Cellular Immunity to SARS-CoV-2 Infection. bioRxiv [Internet]. 2020 Dec 9; Available from:
     http://dx.doi.org/10.1101/2020.12.08.416636

10. Hall VJ, Foulkes S, Charlett A, Atti A, Monk EJM, Simmons R, et al. SARS-CoV-2 infection rates of
    antibody-positive compared with antibody-negative health-care workers in England: a large,
    multicentre, prospective cohort study (SIREN). Lancet [Internet]. 2021 Apr 17;397(10283):1459–69.
    Available from: http://dx.doi.org/10.1016/S0140-6736(21)00675-9

11. Krammer F, Srivastava K, Simon V, the PARIS team. Robust spike antibody responses and increased
    reactogenicity in seropositive individuals after a single dose of SARS-CoV-2 mRNA vaccine
    [Internet]. bioRxiv. medRxiv; 2021. Available from:
    http://medrxiv.org/lookup/doi/10.1101/2021.01.29.21250653

12. Samanovic MI, Cornelius AR, Wilson JP, Karmacharya T, Gray-Gaillard SL, Allen JR, et al. Poor
    antigen-specific responses to the second BNT162b2 mRNA vaccine dose in SARS-CoV-2-experienced
    individuals. medRxiv [Internet]. 2021 Feb 9; Available from:
    http://dx.doi.org/10.1101/2021.02.07.21251311

13. Camara C, Lozano-Ojalvo D, Lopez-Granados E, Paz-Artal E, Pion M, Correa-Rocha R, et al.
    Differential effects of the second SARS-CoV-2 mRNA vaccine dose on T cell immunity in naïve and
    COVID-19 recovered individuals [Internet]. bioRxiv. 2021 [cited 2021 May 28]. p.
    2021.03.22.436441. Available from:
    https://www.biorxiv.org/content/10.1101/2021.03.22.436441v1

14. Levi R, Azzolini E, Pozzi C, Ubaldi L, Lagioia M, Mantovani A, et al. A cautionary note on recall
    vaccination in ex-COVID-19 subjects [Internet]. bioRxiv. medRxiv; 2021. Available from:
    http://medrxiv.org/lookup/doi/10.1101/2021.02.01.21250923

15. Ogata AF, Cheng C-A, Desjardins M, Senussi Y, Sherman AC, Powell M, et al. Circulating SARS-CoV-2
    Vaccine Antigen Detected in the Plasma of mRNA-1273 Vaccine Recipients. Clin Infect Dis
    [Internet]. 2021 May 20; Available from: http://dx.doi.org/10.1093/cid/ciab465

16. Kuba K, Imai Y, Rao S, Gao H, Guo F, Guan B, et al. A crucial role of angiotensin converting enzyme 2
    (ACE2) in SARS coronavirus-induced lung injury. Nat Med [Internet]. 2005 Aug;11(8):875–9.
    Available from: http://dx.doi.org/10.1038/nm1267

17. Chen I-Y, Chang SC, Wu H-Y, Yu T-C, Wei W-C, Lin S, et al. Upregulation of the chemokine (C-C
    motif) ligand 2 via a severe acute respiratory syndrome coronavirus spike-ACE2 signaling pathway. J
    Virol [Internet]. 2010 Aug;84(15):7703–12. Available from: http://dx.doi.org/10.1128/JVI.02560-09

18. Patra T, Meyer K, Geerling L, Isbell TS, Hoft DF, Brien J, et al. SARS-CoV-2 spike protein promotes IL-
    6 trans-signaling by activation of angiotensin II receptor signaling in epithelial cells. PLoS Pathog
    [Internet]. 2020 Dec;16(12):e1009128. Available from:



                                                                                                   App000488
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                    Page 491 of 633 PageID 1217



    http://dx.doi.org/10.1371/journal.ppat.1009128

19. Zhang S, Liu Y, Wang X, Yang L, Li H, Wang Y, et al. SARS-CoV-2 binds platelet ACE2 to enhance
    thrombosis in COVID-19. J Hematol Oncol [Internet]. 2020 Sep 4;13(1):120. Available from:
    http://dx.doi.org/10.1186/s13045-020-00954-7

20. Suresh SJ, Suzuki YJ. SARS-CoV-2 Spike Protein and Lung Vascular Cells. Journal of Respiration
    [Internet]. 2020 Dec 31 [cited 2021 May 25];1(1):40–8. Available from:
    https://www.mdpi.com/2673-527X/1/1/4

21. Angeli F, Spanevello A, Reboldi G, Visca D, Verdecchia P. SARS-CoV-2 vaccines: Lights and shadows.
    Eur J Intern Med [Internet]. 2021 Apr 30; Available from:
    http://dx.doi.org/10.1016/j.ejim.2021.04.019

22. Han M, Pandey D. ZMPSTE24 Regulates SARS-CoV-2 Spike Protein-enhanced Expression of
    Endothelial Plasminogen Activator Inhibitor-1. Am J Respir Cell Mol Biol [Internet]. 2021 May 18;
    Available from: http://dx.doi.org/10.1165/rcmb.2020-0544OC

23. Rhea EM, Logsdon AF, Hansen KM, Williams LM, Reed MJ, Baumann KK, et al. The S1 protein of
    SARS-CoV-2 crosses the blood-brain barrier in mice. Nat Neurosci [Internet]. 2021 Mar;24(3):368–
    78. Available from: http://dx.doi.org/10.1038/s41593-020-00771-8

24. Idrees D, Kumar V. SARS-CoV-2 spike protein interactions with amyloidogenic proteins: Potential
    clues to neurodegeneration. Biochem Biophys Res Commun [Internet]. 2021 May 21;554:94–8.
    Available from: http://dx.doi.org/10.1016/j.bbrc.2021.03.100

25. Lei Y, Zhang J, Schiavon CR, He M, Chen L, Shen H, et al. SARS-CoV-2 Spike Protein Impairs
    Endothelial Function via Downregulation of ACE 2. Circ Res [Internet]. 2021 Apr 30;128(9):1323–6.
    Available from: http://dx.doi.org/10.1161/CIRCRESAHA.121.318902

26. Zhang L, Richards A, Barrasa MI, Hughes SH, Young RA, Jaenisch R. Reverse-transcribed SARS-CoV-2
    RNA can integrate into the genome of cultured human cells and can be expressed in patient-
    derived tissues. Proc Natl Acad Sci U S A [Internet]. 2021 May 25;118(21). Available from:
    http://dx.doi.org/10.1073/pnas.2105968118

27. Suzuki YJ, Nikolaienko SI, Dibrova VA, Dibrova YV, Vasylyk VM, Novikov MY, et al. SARS-CoV-2 spike
    protein-mediated cell signaling in lung vascular cells. Vascul Pharmacol [Internet]. 2021
    Apr;137:106823. Available from: http://dx.doi.org/10.1016/j.vph.2020.106823

28. Suzuki YJ, Gychka SG. SARS-CoV-2 Spike Protein Elicits Cell Signaling in Human Host Cells:
    Implications for Possible Consequences of COVID-19 Vaccines. Vaccines (Basel) [Internet]. 2021 Jan
    11;9(1). Available from: http://dx.doi.org/10.3390/vaccines9010036

29. Ogata AF, Maley AM, Wu C, Gilboa T, Norman M, Lazarovits R, et al. Ultra-sensitive Serial Profiling
    of SARS-CoV-2 Antigens and Antibodies in Plasma to Understand Disease Progression in COVID-19
    Patients with Severe Disease. Clin Chem [Internet]. 2020 Sep 8; Available from:
    http://dx.doi.org/10.1093/clinchem/hvaa213

30. Kloc M, Uosef A, Kubiak JZ, Ghobrial RM. Exaptation of Retroviral Syncytin for Development of
    Syncytialized Placenta, Its Limited Homology to the SARS-CoV-2 Spike Protein and Arguments



                                                                                               App000489
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                   Page 492 of 633 PageID 1218



    against Disturbing Narrative in the Context of COVID-19 Vaccination. Biology [Internet]. 2021 Mar
    19;10(3). Available from: http://dx.doi.org/10.3390/biology10030238

31. Khan I, Hatiboglu MA. Can COVID-19 induce glioma tumorogenesis through binding cell receptors?
    Med Hypotheses [Internet]. 2020 Nov;144:110009. Available from:
    http://dx.doi.org/10.1016/j.mehy.2020.110009

32. Singh N, Bharara Singh A. S2 subunit of SARS-nCoV-2 interacts with tumor suppressor protein p53
    and BRCA: an in silico study. Transl Oncol [Internet]. 2020 Oct;13(10):100814. Available from:
    http://dx.doi.org/10.1016/j.tranon.2020.100814

33. Madla CM, Gavins FKH, Merchant H, Orlu M, Murdan S, Basit AW. Let’s Talk About Sex: Differences
    in Drug Therapy in Males and Females. Adv Drug Deliv Rev [Internet]. 2021 May 17; Available from:
    http://dx.doi.org/10.1016/j.addr.2021.05.014

34. European Medicines Agency. Assessment Report. Comirnaty (COVID-19 mRNA vaccine (nucleoside-
    modified)), EMA/707383/2020 Corr.1 [Internet]. 2021 Feb [cited 2021 Apr 13]. Available from:
    https://www.ema.europa.eu/en/documents/assessment-report/comirnaty-epar-public-
    assessment-report_en.pdf#page=45

35. European Medicines Agency. Assessment Report. COVID-19 Vaccine Moderna (COVID-19 mRNA
    Vaccine (nucleoside-modified)), EMA/15689/2021 Corr.1 [Internet]. 2021 Mar [cited 2021 Apr 13].
    Available from: https://www.ema.europa.eu/en/documents/assessment-report/covid-19-vaccine-
    moderna-epar-public-assessment-report_en.pdf#page=47

36. European Medicines Agency. Assessment Report. COVID-19 Vaccine Janssen, EMA/158424/2021
    [Internet]. 2021 Mar [cited 2021 Apr 13]. Available from:
    https://www.ema.europa.eu/en/documents/assessment-report/covid-19-vaccine-janssen-epar-
    public-assessment-report_en.pdf#page=50

37. Pfizer. SARS-CoV- 2 mRNA Vaccine (BNT162, PF-07302048) 2.6.4 Yakubutsu dōtai shiken no gaiyō
    bun [summary of pharmacokinetic studies] [Internet]. 2021 [cited 2021 May 28]. Available from:
    https://www.pmda.go.jp/drugs/2021/P20210212001/672212000_30300AMX00231_I100_1.pdf#pa
    ge=16

38. CDC. Selected adverse events reported after COVID-19 vaccination [Internet]. 2021 [cited 2021 May
    28]. Available from: https://www.cdc.gov/coronavirus/2019-ncov/vaccines/safety/adverse-
    events.html

39. Doshi P. FDA response to BMJ on reports of death after covid-19 vaccination [Internet]. 2021 [cited
    2021 May 28]. Available from: https://www.bmj.com/content/372/bmj.n149/rr-25

40. Wyller TB, Kittang BR, Ranhoff AH, Harg P, Myrstad M. Nursing home deaths after COVID-19
    vaccination. Tidsskr Nor Laegeforen [Internet]. 2021 May 20;141. Available from:
    http://dx.doi.org/10.4045/tidsskr.21.0383

41. Torjesen I. Covid-19: Pfizer-BioNTech vaccine is “likely” responsible for deaths of some elderly
    patients, Norwegian review finds. BMJ [Internet]. 2021 May 27 [cited 2021 May 28];373. Available
    from: https://www.bmj.com/content/373/bmj.n1372




                                                                                              App000490
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                     Page 493 of 633 PageID 1219



42. Food and Drug Administration. Coronavirus (COVID-19) update: FDA Issues Policies to guide
    medical product developers addressing virus variants [Internet]. 2021 [cited 2021 May 28].
    Available from: https://www.fda.gov/news-events/press-announcements/coronavirus-covid-19-
    update-fda-issues-policies-guide-medical-product-developers-addressing-virus

43. Owens C. Vaccine boosters could be necessary as soon as September [Internet]. Axios. 2021 [cited
    2021 May 28]. Available from: https://www.axios.com/coronavirus-vaccines-boosters-pfizer-
    moderna-e8d6bed6-8238-4e52-9959-ca4c6a6e0d5a.html

44. Polack FP, Thomas SJ, Kitchin N, Absalon J, Gurtman A, Lockhart S, et al. Safety and Efficacy of the
    BNT162b2 mRNA Covid-19 Vaccine. N Engl J Med [Internet]. 2020 Dec 31;383(27):2603–15.
    Available from: http://dx.doi.org/10.1056/NEJMoa2034577

45. Baden LR, El Sahly HM, Essink B, Kotloff K, Frey S, Novak R, et al. Efficacy and Safety of the mRNA-
    1273 SARS-CoV-2 Vaccine. N Engl J Med [Internet]. 2021 Feb 4;384(5):403–16. Available from:
    http://dx.doi.org/10.1056/NEJMoa2035389

46. Thacker PD. Covid-19: How independent were the US and British vaccine advisory committees?
    BMJ [Internet]. 2021 May 26;373:n1283. Available from: http://dx.doi.org/10.1136/bmj.n1283

47. Moderna. SARS-CoV- 2 mRNA Vaccine (Moderna) 2.6.4 Yakubutsu dōtai shiken no gaiyō bun
    [summary of pharmacokinetic studies] [Internet]. 2021 [cited 2021 May 29]. Available from:
    https://www.pmda.go.jp/drugs/2021/P20210519003/400256000_30300AMX00266_I100_1.pdf#pa
    ge=7




                                                                                                 App000491
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 494 of 633 PageID 1220




                             ([KLELW




                                                                      App000492
$0                         :K\ZHSHWLWLRQHGWKH)'$WRUHIUDLQIURPIXOO\DSSURYLQJDQ\FRYLGYDFFLQHWKLV\HDU7KH%0-
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                      Page 495 of 633 PageID 1221
                                                Access thebmj.com -                                     




   Why we petitioned the FDA to refrain from fully approving any covid-19
   vaccine this year

   We are part of a group of clinicians, scientists, and patient advocates who have lodged a formal “Citizen
   Petition” with the United States Food and Drug Administration (FDA), asking the agency to delay any
   consideration of a “full approval” of a covid-19 vaccine. The message of our petition is “slow down and get
   the science right—there is no legitimate reason to hurry to grant a license to a coronavirus vaccine.” We
   believe the existing evidence base—both pre- and post-authorization—is simply not mature enough at this
   point to adequately judge whether clinical benefits outweigh the risks in all populations.

   The covid-19 vaccines in widespread use have emergency authorizations (EUA), not actual approvals, a
   crucial regulatory distinction that reflects major differences in the level of regulatory scrutiny and certainty
   about the risk-benefit balance.

   Our petition doesn’t argue that risks outweigh benefits—or that benefits outweigh risks. Rather, we focus on
   methods and processes, outlining the many remaining unknowns about safety and effectiveness—and
   suggest the kinds of studies needed to address the open questions.

   If the FDA listens to us, they won’t give serious consideration to approving a covid-19 vaccine until 2022. Our
   first request is that the FDA require manufacturers to submit data from completed Phase III trials—not
   interim results. Trials by vaccine manufacturers were designed to follow participants for two years, and
   should be completed before they are evaluated for full approval, even if they are now unblinded and lack
   placebo groups. These Phase III trials are not simply eﬃcacy studies; they also are necessary and important
   safety studies (as the study titles say), and all collected data remain invaluable.

   We also call on FDA to require a more thorough assessment of spike proteins produced in-situ by the body
   following vaccination—including studies on their full biodistribution, pharmacokinetics, and tissue-specific
   toxicities. We ask the FDA to demand manufacturers complete proper biodistribution studies that would be
   expected of any new drug and request additional studies to better understand the implications of mRNA
   translation in distant tissues. We call on data demonstrating a thorough investigation of all serious adverse
   events reported to pharmacovigilance systems, carried out by independent, impartial individuals, and for
   safety data from individuals receiving more than two vaccine doses, in consideration of plans for future
   booster shots. We ask the FDA to request necessary studies in specific populations, including those
   previously infected with SARS-CoV-2, pediatric subjects, and those with immunological or other underlying
   medical complexities. Given the nature of the novel vaccine platforms, our petition asks for experts in gene
   therapy to be included among the external committee advising the FDA.

                                                                                                                                   App000493
KWWSVEORJVEPMFRPEPMZK\ZHSHWLWLRQHGWKHIGDWRUHIUDLQIURPIXOO\DSSURYLQJDQ\FRYLGYDFFLQHWKLV\HDU                 
$0                         :K\ZHSHWLWLRQHGWKH)'$WRUHIUDLQIURPIXOO\DSSURYLQJDQ\FRYLGYDFFLQHWKLV\HDU7KH%0-
         Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 496 of 633 PageID 1222
   These are several of our major requests. The petition has been signed by a group of 27 clinicians, researchers,
   and consumer advocates with diverse experiences and thoughts about the pandemic. We all agree that there
   remain many open, unanswered questions surrounding the eﬃcacy and safety of covid-19 vaccines that
   must be answered before the FDA gives serious consideration to granting full approval.

   These are the reasons why we lodged our petition. There is no need to rush approval to help stop the
   pandemic because the vaccines already have Emergency Use Authorization. Yet a rushed process is the very
   possibility that now confronts us. In the past month, Pfizer and Moderna submitted formal applications for
   “full approval.”

   Covid-19 vaccines are already fully accessible to all Americans who want one. EUAs have enabled their
   widespread use, and can remain in place even after the expiry of the SARS-CoV-2 public health emergency
   declaration, as is the case for various Zika products. Even without full approval, covid-19 vaccines will remain
   available for all who want them under EUA.

   Some surveys suggest that vaccine hesitancy in the United States is due, in part, to lack of full FDA approval.
   While approval might lead to increased public confidence in covid-19 vaccines, as well as provide legal
   support for employer-instituted vaccine mandates, to approve a medical product for these reasons is outside
   FDA’s regulatory purview. Approval decisions must be driven by the safety and eﬃcacy data. The potential
   unintended consequences of a rushed approval may contribute to growing mistrust of the US public health
   and regulatory institutions.

   Finally, regarding the elephant in the room: publicly raising any element of hesitation about covid-19
   vaccines will be seen by some as irresponsible, stoking unfounded fears in the public’s mind and contributing
   to the “vaccine hesitancy” problem trumpeted every day. But the alternatives—privately raising concerns or
   simply remaining silent—are arguably more detrimental to public trust in the long run. Staying silent is not
   the responsible option. And the implications of only privately raising concerns to regulatory bodies are
   murky—most would probably not be acted upon, and if they were, it would promulgate the baggage of
   insuﬃcient accountability and transparency in decision making.

   To us, the Citizen Petition seemed the most responsible approach: voice our concerns in our own words, in a
   professional and transparent manner, through a formal mechanism that can promote accountability in
   regulatory decision making.

   Approving a covid-19 vaccine now risks setting a precedent of lowered standards for future vaccine
   approvals. The “FDA approved” seal must represent a high bar—and premature licensure of a covid-19
   vaccine could seriously damage public confidence in regulatory authorities, particularly if long-term safety
   issues were to emerge following licensure. Keeping covid-19 vaccines under EUA regulations would also
   encourage vaccine manufacturers to continue investing resources in completing the necessary safety and
   eﬃcacy studies for a potential FDA consideration of full licensure in the future.



                                                                                                                                   App000494
KWWSVEORJVEPMFRPEPMZK\ZHSHWLWLRQHGWKHIGDWRUHIUDLQIURPIXOO\DSSURYLQJDQ\FRYLGYDFFLQHWKLV\HDU                 
$0                         :K\ZHSHWLWLRQHGWKH)'$WRUHIUDLQIURPIXOO\DSSURYLQJDQ\FRYLGYDFFLQHWKLV\HDU7KH%0-
         Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 497 of 633 PageID 1223
   For each covid-19 vaccine, the benefits may ultimately outweigh the harms. Or not. Or we may end up in a
   more nuanced position, finding that benefits outweigh harms for some populations, but not others. Only
   time—and better evidence—will tell. And so it is vital we allow the scientific process the time required to
   gather and assess the evidence to be confident in the decisions we ultimately have to make.

   Our citizen petition is filed under Docket ID FDA-2021-P-0786 on regulations.gov. Anybody can comment on
   the petition, or read others’ comments, including the FDA’s oﬃcial reply once it arrives.

   See also:

            Covid-19 vaccines: In the rush for regulatory approval, do we need more data?
            US college covid-19 vaccine mandates don’t consider immunity or pregnancy, and may run foul of the
            law

   Linda Wastila is Professor and Parke-Davis Endowed Chair of Geriatric Pharmacotherapy at the University of
   Maryland Baltimore School of Pharmacy. She has conducted policy and epidemiological research focusing on
   intended and unintended outcomes of clinical and policy interventions involving medications and their
   safety over the past 30 years.

   Peter Doshi is an associate professor of pharmaceutical health services research at University of Maryland
   Baltimore School of Pharmacy and senior editor at The BMJ. He has been calling for greater independence
   and transparency in covid-19 vaccine related decision making.

   Hamid Merchant is a subject lead in pharmacy at The University of Huddersfield and has experience in
   pharmaceutical research and development both from industry and academia. His clinical knowledge and
   expertise in pharmaceutical formulation helps in understanding the clinical and therapeutic principles
   underpinning drug delivery and the science of dosage-form design.

   Kim
    i Witczak is a global drug safety advocate with over 25 years of advertising and marketing experience. She
   co-founded Woodymatters, an organization started after the death of her husband due to undisclosed side
   effects of antidepressants. Kim is currently Consumer Representative on the FDA Psychopharmacologic
   Drugs Advisory Committee.

   Competing interests: PD has received travel funds from the European Respiratory Society (2012) and Uppsala
   Monitoring Center (2018); grants from the FDA (through University of Maryland M-CERSI; 2020), Laura and
   John Arnold Foundation (2017-22), American Association of Colleges of Pharmacy (2015), Patient-Centered
   Outcomes Research Institute (2014-16), Cochrane Methods Innovations Fund (2016-18), and UK National
   Institute for Health Research (2011-14); was an unpaid IMEDS steering committee member at the Reagan-
   Udall Foundation for the FDA (2016-20), and is an editor at The BMJ. None further declared.

   The views and opinions expressed here are those of the authors and do not necessarily reflect oﬃcial policy
   or position of the University of Maryland or the University of Huddersfield.


                                                                                                                                   App000495
KWWSVEORJVEPMFRPEPMZK\ZHSHWLWLRQHGWKHIGDWRUHIUDLQIURPIXOO\DSSURYLQJDQ\FRYLGYDFFLQHWKLV\HDU                 
$0                         :K\ZHSHWLWLRQHGWKH)'$WRUHIUDLQIURPIXOO\DSSURYLQJDQ\FRYLGYDFFLQHWKLV\HDU7KH%0-
         Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 498 of 633 PageID 1224
   Editor’s note 30 July 2021: The links in this article have been updated to reflect the re-filing of this petition
   under the group name Coalition Advocating for Adequately Licensed Medicines (CAALM), which has been
   assigned a new docket number (FDA-2021-P-0786).

   


       

                                                                                                                                               

   &RPPHQWV               %0-EORJV                                                       
                                                                                                 /RJLQ

    )DYRULWH              t 7ZHHW          f 6KDUH                                    6RUWE\%HVW



                    -RLQWKHGLVFXVVLRQ«

                /2*,1:,7+
                                                  256,*183:,7+',6486 "

                                                     1DPH




                MRKQEDUUPRQWKVDJRHGLWHG
                +RZHQFRXUDJLQJWRVHHWKHEPMSXEOLVKLQJRSLQLRQSLHFHVOLNHWKLV
                LQVWHDGRIPHUHO\SDUURWWQJWKHDFFHSWHGRUWKRGR[\IURP
                JRYHUQPHQWDQGLQGXVWU\RUHYHQEORFNLQJSURSHUVFLHQWLILF
                GLVFXVVLRQ
                7KHUHFXUUHQWO\VHHPVWREHHQRXJKUHSRUWHGDGYHUVHHYHQWVWR
                PHULWKDYLQJVHYHUHUHVHUYDWLRQVDERXWWKHVDIHW\RIDOORIWKH
                YDFFLQHVZKLOHUHFHQWUHSRUWVVHHPWRVXJJHVWWKDWWKH&KLQHVH
                YDFFLQHLVQ WZRUNLQJYHU\ZHOODWDOO/RRNDWWKHILJXUHVIRUWKH
                6H\FKHOOHV
                $VD*3,ZLOOKDYHWRGHDOZLWKFRPSODLQWVTXHVWLRQVIURPSDWLHQWV
                ZKRPD\KDYHEHHQKDUPHGE\YDFFLQHVUHFRPPHQGHGE\WKH
                H[SHUWVVXFKDV6$*(ZKRVHWUDFNUHFRUGLVQRWUHDOO\YHU\
                JRRG7KH\DSSHDUWREHODFNLQJLQUHDOOLIHH[SHULHQFH
                △      ▽  5HSO\  6KDUH¾

                .DWLH3PRQWKVDJRHGLWHG
                7KLVLVDJUHDWSHWLWLRQ(YHU\WKLQJPXVWEHFRQVLGHUHGEHIRUHILQDO
                DSSURYDORIDQ\YDFFLQHLQFOXGLQJSRVVLEOHORQJWHUPVLGHHIIHFWV
                DVZHOODVVLGHHIIHFWVZKLFKWDNHDORQJHUWLPHIRUV\PSWRPVWR
                PDQLIHVW
                △      ▽  5HSO\  6KDUH¾
                                                                                                                                   App000496
KWWSVEORJVEPMFRPEPMZK\ZHSHWLWLRQHGWKHIGDWRUHIUDLQIURPIXOO\DSSURYLQJDQ\FRYLGYDFFLQHWKLV\HDU                     
$0                         :K\ZHSHWLWLRQHGWKH)'$WRUHIUDLQIURPIXOO\DSSURYLQJDQ\FRYLGYDFFLQHWKLV\HDU7KH%0-
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                      Page 499 of 633 PageID 1225
                (OLD%PRQWKVDJR
                7KHJURXSFDOOHGRQWKH)'$WRSURYLGHDQDQVZHUE\-XQH
                

                ³«WRDOORZ3HWLWLRQHUVWKHRSSRUWXQLW\WRVHHNHPHUJHQF\MXGLFLDO
                UHOLHIVKRXOGWKHLQVWDQW3HWLWLRQEHGHQLHG´

                ,WLVQRZ-XQHWKDQG,DPXQDEOHWRILQGDQ\XSGDWHVDERXWWKLV
                3HWLWLRQ&DQVRPHRQHSOHDVHSURYLGHDQXSGDWH"
                       ▽  5HSO\  6KDUH¾

                FDWDO\]HUPRQWKVDJR
                )'$IXOODSSURYDOZLOOPHDQWKDWPDQ\PRUHSHRSOHZLOOEH
                YDFFLQDWHGZKLFKLQWXUQZLOOPHDQPDQ\OHVVGHDWKVDQHDUOLHU
                UHWXUQWRQRUPDOF\DQGGHFUHDVHGFKDQFHVRIQHZYDULDQWV
                HPHUJLQJ&RQYHUVHO\GHOD\RIIXOO)'$DSSURYDOZLOOPHDQPRUH
                GHDWKVSHUKDSVRQO\LQWKHWKRXVDQGVEXWSHUKDSVHYHQLQWKH
                PLOOLRQV
                △      ▽  5HSO\  6KDUH¾

                FDWDO\]HUPRQWKVDJR
                +DVWKLVJURXSIRUPXODWHGDEHVWHVWLPDWHDVWRKRZPDQ\IHZHU
                SHRSOHZLOOJHWYDFFLQDWHGDVORQJDVWKHUHLVQR)'$DSSURYDODQG
                WKHUHIRUHKRZPDQ\PRUHWKRXVDQGVRUKXQGUHGVRIWKRXVDQGVRI
                GHDWKVZLOOUHVXOWZKLOHDOVRWDNLQJLQWRDFFRXQWWKHHPHUJHQFHRI
                QHZYDULDQWVDVDUHVXOW"2UDUHWKH\QRWFRQFHUQHGZLWKWKDWVLGH
                RIWKHULVNEHQHILWHTXDWLRQ"
                △      ▽  5HSO\  6KDUH¾

                .HOO\:HVWPRQWKVDJR
                +RZPDQ\SHRSOHZLOOGLHEHFDXVHRIWKLVGHOD\",NQRZQXPHURXV
                SHRSOHZKRZLOOQRWJHWWKHYDFFLQHXQWLODIWHUIXOO)'$DSSURYDO
                △      ▽  5HSO\  6KDUH¾

                          6HUJLR.DV>.HOO\:HVWPRQWKVDJR
                          7KHGHOD\IRUIXOODSSURYDOLVPRUHWKDQMXVWLILHG
                          △      ▽  5HSO\  6KDUH¾

                'DYLG5RELQHWWHPRQWKVDJR
                :KLOHLWVXUHVRXQGVJRRGLIWKHVHYHU\ZHOOLQWHQWLRQHGGRFWRUV
                ZRXOGVSHQGDELWRIWLPHRQ6RFLDO0HGLDWKH\ZRXOGQRWLFHKRZ
                PDQ\IRONVDUHGRZQULJKWUHIXVLQJWRWDNHWKHYDFFLQHEHFDXVH LWLV
                QRWDSSURYHG 'HOD\LQJWKDWDSSURYDOLQDKHDOWKHPHUJHQF\ZLOO
                OHDGWRIXUWKHUPDVVLYHRXWEUHDNVDVZHDUHQRZH[SHULHQFLQJZLWK
                WKH'HOWD9DULDQW
                △      ▽  5HSO\  6KDUH¾                                                                                    App000497
KWWSVEORJVEPMFRPEPMZK\ZHSHWLWLRQHGWKHIGDWRUHIUDLQIURPIXOO\DSSURYLQJDQ\FRYLGYDFFLQHWKLV\HDU                 
$0                         :K\ZHSHWLWLRQHGWKH)'$WRUHIUDLQIURPIXOO\DSSURYLQJDQ\FRYLGYDFFLQHWKLV\HDU7KH%0-
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                      Page 500 of 633 PageID 1226
                *UDKDP%DUGHQPRQWKVDJR
                7KHRQO\IRUWKHSDQGHPLFWRIDGHLVIRUHYHU\RQHWREHYDFFLQDWHG
                RUKDYHWKHGLVHDVH,QWKH86ZHKDYHSOHQW\RIYDFFLQH7KH
                OLPLWLQJVWHSLVWRFRQYLQFHSHRSOHWKDWWKHYDFFLQHLVVDIHUWKDQWKH
                GLVHDVH6HYHUDOWLPHVDGD\,KHDU,WLVQRW)'$DSSURYHG7KH
                )'$KDVQHYHUKDGWKHFRPELQHGH[SHULHQFHRIKXQGUHGVRI
                PLOOLRQVRISHRSOHDOUHDG\YDFFLQDWHG:KDWPRUHGRWKH\ZDQWRU
                QHHG",IWKH\DUHZRUULHGDERXWPDNLQJDPLVWDNHWKH\VKRXOGKDYH
                QHYHUDSSURYHG$OGXKHOPZLWKLWVVKDN\GDWDRQ$O]KHLPHU V7KLV
                YDFFLQHFOHDUO\ZRUNV'RWKHSDSHUZRUN+HOSXVJHWLWLQWRDUPV
                △      ▽  5HSO\  6KDUH¾

                *UHJ,QPDQPRQWKVDJR
                +RZGR\RXVLJQDQGVXEPLWWKLVSHWLWLRQ"
                △ ▽  5HSO\  6KDUH¾

                          6DUDKVZRUOG>*UHJ,QPDQPRQWKVDJR
                          <RXGRQ¶W,W¶VDOUHDG\EHHQVXEPLWWHGWRWKH)'$E\WKH
                          SHWLWLRQHUV PHGLFDOVFLHQWLILFFRPPXQLW\PHPEHUV ,W¶V
                          LVEHLQJSRVWHGKHUHIRULQIRUPDWLRQSXUSRVHVDVWKHSXEOLF
                          LVHQWLWOHGWREHDZDUHRILWVH[LVWHQFHDQGWKH)'$¶V
                          UHVSRQVH ZKHQHYHUWKDWKDSSHQV 
                          △      ▽  5HSO\  6KDUH¾

                /LQGD)*URRPPRQWKVDJRHGLWHG
                :KHQZLOOWKH)'$DSSURYHWKHFRYLGYDFFLQHIRUDOOSHRSOH1RW
                MXVWWKHHPHUJHQF\YDFFLQHVWKDWLVKDSSHQLQJQRZ":KDWDUHWKH\
                ZDLWLQJRQ"
                △ ▽  5HSO\  6KDUH¾

                          6\QWKLD)DJHQ>/LQGD)*URRPPRQWKVDJR
                          0HDQLQJZKHQZLOOWKH\DSSURYHLWIRUHPHUJHQF\XVHIRU
                          SHRSOHXQGHU\HDUVROG"
                          △      ▽  5HSO\  6KDUH¾
   Comment and opinion from The BMJ's international community of
   readers, authors, and editors

      Search BMJ Opinion                                                                                                                  Search




                                                                                                                                   App000498
KWWSVEORJVEPMFRPEPMZK\ZHSHWLWLRQHGWKHIGDWRUHIUDLQIURPIXOO\DSSURYLQJDQ\FRYLGYDFFLQHWKLV\HDU                     
$0                         :K\ZHSHWLWLRQHGWKH)'$WRUHIUDLQIURPIXOO\DSSURYLQJDQ\FRYLGYDFFLQHWKLV\HDU7KH%0-
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                      Page 501 of 633 PageID 1227




      
   Does the FDA think these data justify the first full…

   Significant proportions of people admitted to…

   Covid vaccines for children should not get emergency…




        
           Author's perspective

           BMJ Clinical Evidence

           Brexit

           China

           Christmas appeal

           Climate change
                                                                                                                                   App000499
KWWSVEORJVEPMFRPEPMZK\ZHSHWLWLRQHGWKHIGDWRUHIUDLQIURPIXOO\DSSURYLQJDQ\FRYLGYDFFLQHWKLV\HDU                 
$0                         :K\ZHSHWLWLRQHGWKH)'$WRUHIUDLQIURPIXOO\DSSURYLQJDQ\FRYLGYDFFLQHWKLV\HDU7KH%0-
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                      Page 502 of 633 PageID 1228
           Columnists

           Covid-19 known unknowns webinars

           Editors at large

           From the archive

           Global health

           Guest writers

           Junior doctors

           Literature and medicine

           Medical ethics

           MSF

           NHS

           Open data

           Partnership in practice

           Patient and public perspectives

           People's covid inquiry

           Richard Lehman's weekly review of medical journals

           South Asia

           Students

           Too much medicine

           Unreported trial of the week

           US healthcare

           Weekly review of medical journals

           Wellbeing



             


                                                                                                                                   App000500
KWWSVEORJVEPMFRPEPMZK\ZHSHWLWLRQHGWKHIGDWRUHIUDLQIURPIXOO\DSSURYLQJDQ\FRYLGYDFFLQHWKLV\HDU                 
$0                         :K\ZHSHWLWLRQHGWKH)'$WRUHIUDLQIURPIXOO\DSSURYLQJDQ\FRYLGYDFFLQHWKLV\HDU7KH%0-
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                      Page 503 of 633 PageID 1229




       &RQVXOWDQWLQ$FXWH0HGLFLQH
       +DPSVKLUH
       <RX¶OOGHOLYHUD&RQVXOWDQWOHGVHUYLFHIRURXU(PHUJHQF\0HGLFDO$VVHVVPHQWXQLWV
       5HFUXLWHU+DPSVKLUH+RVSLWDOV1+6)RXQGDWLRQ7UXVW

       $SSO\IRUWKLVMRE


       6DODULHG*3
       6W,YHV&RUQZDOO
       2SSRUWXQLWLHVWRGHYHORSDUDQJHRIVSHFLDOLQWHUHVWV
       5HFUXLWHU6WHQQDFN6XUJHU\

       $SSO\IRUWKLVMRE


       6DODULHG*3
       :H\EULGJH6XUUH\
       :HDUHORRNLQJIRUDVDODULHG*3LGHDOO\WRZRUNRQ0RQGD\VDQG:HGQHVGD\V
       5HFUXLWHU &KXUFK 6WUHHW 3UDFWLFH :H\EULGJH




       BMJ Opinion provides comment and opinion written by The BMJ's international community of readers,
       authors, and editors.

       We welcome submissions for consideration. Your article should be clear, compelling, and appeal to our
       international readership of doctors and other health professionals. The best pieces make a single topical
       point. They are well argued with new insights.

       For more information on how to submit, please see our instructions for authors.




                               Top      Home         Revenue sources          Privacy policy       Website terms & conditions           Contact us

                                                                                              © BMJ Publishing Group Limited 2021. All rights reserved.


                                                                                                                                       Cookie settings




                                                                                                                                   App000501
KWWSVEORJVEPMFRPEPMZK\ZHSHWLWLRQHGWKHIGDWRUHIUDLQIURPIXOO\DSSURYLQJDQ\FRYLGYDFFLQHWKLV\HDU                            
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 504 of 633 PageID 1230




                             ([KLELW




                                                                      App000502
$0                                      'LGWKH)'$XQGHUVWDIILWVUHYLHZRIWKH3IL]HU%LR17HFKYDFFLQH"67$7
          Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                        Page 505 of 633 PageID 1231
  6NLSWR0DLQ&RQWHQW



  'LGWKH)'$XQGHUVWDIILWVUHYLHZRIWKH3IL]HU%LR17HFKYDFFLQH"

  %\3HWHU'RVKLDQG0DWWKHZ+HUGHU'HF




  $YLDORIWKH3IL]HU%LR17HFK&RYLGYDFFLQH7,027+<$&/$5<$)3YLD*HWW\,PDJHV



  (GLWRU¶VQRWH7KHGD\DIWHUWKLV)LUVW2SLQLRQZDVSXEOLVKHG67$7UHFHLYHG
  E\HPDLODOHWWHUZULWWHQE\E\3HWHU0DUNVGLUHFWRURIWKH)'$¶V&HQWHUIRU
  %LRORJLFV(YDOXDWLRQDQG5HVHDUFKGLVSXWLQJWKHIDFWWKDWWKH)'$XVHGRQO\
  RQHUHYLHZHUIRUHDFKRIWKUHHSDUWVRILWVUHYLHZRIWKH3IL]HU%LR17HFK
  YDFFLQHDV3HWHU'RVKLDQG0DWWKHZ+HUGHUVXJJHVWKHUH<RXFDQUHDGWKH
  IXOO)'$OHWWHUDQGWKHDXWKRUV¶UHVSRQVHWRLWKHUH

  ,QZKDWLVDUJXDEO\WKHPRVWLPSRUWDQWGHFLVLRQWKH)RRGDQG'UXJ
  $GPLQLVWUDWLRQKDVPDGHWKLV\HDU²LWVHPHUJHQF\XVHDXWKRUL]DWLRQRIWKH
  3IL]HU%LR17HFK&RYLGYDFFLQH²WKHDJHQF\DSSDUHQWO\DVVLJQHGRQO\D
                                                                                                                                  App000503
KWWSVZZZVWDWQHZVFRPGLGWKHIGDXQGHUVWDIILWVUHYLHZRIWKHSIL]HUELRQWHFKYDFFLQH                                         
$0                                      'LGWKH)'$XQGHUVWDIILWVUHYLHZRIWKH3IL]HU%LR17HFKYDFFLQH"67$7
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                      Page 506 of 633 PageID 1232
  VLQJOHUHYLHZHULQHDFKRIWZRNH\VFLHQWLILFGLVFLSOLQHV FOLQLFDODQGVWDWLVWLFV
  WRGRWKHZRUNLQWKUHHZHHNVWKDWXVXDOO\WDNHVPRQWKVWRGR

  7KH)'$¶VDXWKRUL]DWLRQODVWZHHNIROORZHGVLPLODUDXWKRUL]DWLRQVLQWKH
  8QLWHG.LQJGRPDQG&DQDGD%XWWKH)'$¶VGHFLVLRQLVSDUWLFXODUO\LPSRUWDQW
  EHFDXVHRILWVUHSXWDWLRQIRUEHLQJWKHLQWHUQDWLRQDO³JROGVWDQGDUG´LQ
  UHJXODWRU\ULJRU

  8QOLNHLWVFRXQWHUSDUWVLQRWKHUFRXQWULHVWKH)'$LVEHOLHYHGWREHWKHRQO\
  GUXJUHJXODWRULQWKHZRUOGWKDWFRQVLVWHQWO\UHFHLYHVDQGUHYLHZVSDWLHQWOHYHO
  GDWDIURPWKHFOLQLFDOWULDOVWKDWXQGHUSLQGUXJDQGYDFFLQHDSSURYDOV7R
  SHUIRUPVXFKULJRURXVDQDO\VHVWKH)'$W\SLFDOO\VSHQGVDURXQGPRQWKV
   DPHUHVL[PRQWKVIRUDSSOLFDWLRQVJLYHQ³SULRULW\UHYLHZ´GHVLJQDWLRQ LQDQ
  HIIRUWWKDWLQYROYHVUHYLHZVE\H[SHUWVUHSUHVHQWLQJYDULRXVVFLHQWLILF
  GLVFLSOLQHVFOLQLFDOPHGLFLQHVWDWLVWLFVSKDUPDFRORJ\FKHPLVWU\
  SKDUPDFRYLJLODQFHDQGPRUH7RJHWKHUWKHVHUHYLHZVIRUPDQ³DFWLRQ
  SDFNDJH´ZKLFKE\ODZPXVWEHPDGHSXEOLFO\DYDLODEOHGD\VDIWHU
  DSSURYDO

  *LYHQWKHXUJHQF\RIWKHSDQGHPLFWKHUHYLHZRIWKH3IL]HU%LR17HFKYDFFLQH
  ZDVFRQGXFWHGIDUIDVWHUWKDQXVXDO7KHFHQWHUSLHFHRIWKHDQDO\VLVZDVGDWD
  IURPWKHFRPSDQ\¶VSDUWLFLSDQW3KDVHWULDO)'$UHYLHZHUVKDGMXVW
  WKUHHZHHNVIURP1RYWR'HFWRFRPSOHWHWKHLUDQDO\VHV,WZDVD
  PRQXPHQWDOWDVNZKLFKUDLVHVWKHTXHVWLRQ:K\GLGQ¶WWKH)'$GHYRWH
  DGGLWLRQDOUHYLHZHUVWRLW"$FFRUGLQJWRWKH)'$¶VUHYLHZPHPRVRPH
  VFLHQWLILFGLVFLSOLQHVVXFKDVSKDUPDFRYLJLODQFHKDGPXOWLSOHUHYLHZHUV
  LQYROYHG%XWWKHWZRGLVFLSOLQHVWDVNHGZLWKH[DPLQLQJWKHFOLQLFDOWULDOGDWD
  DQGUHVXOWVWKHFOLQLFDODQGVWDWLVWLFDOUHYLHZHUVZHUHVHHPLQJO\OHIWWRGR
  WKHLUZRUNVROR (GLWRU¶VQRWH7KH)'$GLVSXWHVWKLVDVVHUWLRQLQWKHOHWWHU
  EHORZ

  7KLVVHHPVZKROO\LQDGHTXDWHRQDWOHDVWWZROHYHOV)LUVWZLWKRXWDGGLWLRQDO
  UHYLHZHUVLWLVKDUGWRFRPSUHKHQGKRZWKHZRUNRIVHYHUDOPRQWKVFRXOGEH
                                                                                                                                  App000504
KWWSVZZZVWDWQHZVFRPGLGWKHIGDXQGHUVWDIILWVUHYLHZRIWKHSIL]HUELRQWHFKYDFFLQH                                         
$0                                      'LGWKH)'$XQGHUVWDIILWVUHYLHZRIWKH3IL]HU%LR17HFKYDFFLQH"67$7
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                      Page 507 of 633 PageID 1233
  VTXHH]HGLQWRDPDWWHURIGD\V LQFOXGLQJ6DWXUGD\VDQG6XQGD\V ,QGHSWK
  UHYLHZFDOOVIRUH[DPLQLQJSDWLHQWOHYHOGDWD²DODUJHIHDWWKDWLQYROYHV
  DXGLWLQJDQGUHYLHZLQJLQGLYLGXDOFDVHUHFRUGVDVZHOODVLQGHSHQGHQWO\
  UHUXQQLQJDQDO\VHVRQWKHUDZGDWD

  %HIRUHWKHSDQGHPLFLWZDVW\SLFDOWRVHHMXVWRQHFOLQLFDOUHYLHZHU¶VQDPHIRU
  DQ\JLYHQDSSOLFDWLRQ%XWJLYHQWKHVWDNHV²DQGWKHWLPHFUXQFK²LQYROYHG
  ZLWKUHYLHZLQJ&RYLGYDFFLQHVZHZRXOGKDYHWKRXJKWWKHDJHQF\ZRXOG
  GRDQHYHQPRUHWKRURXJKMREWKDQQRUPDO%XWWKDWGRHVQRWDSSHDUWREHWKH
  FDVH

  2QHRIXV 3' UDLVHGTXHVWLRQVDERXWSRWHQWLDOXQEOLQGLQJLQWKHWULDOV
  WKURXJKWKHYDFFLQH¶VVLGHHIIHFWVDVZHOODVDERXWWKHFRQIRXQGLQJHIIHFWVRI
  IHYHUDQGSDLQUHGXFLQJPHGLFDWLRQVZKLFKSDUWLFLSDQWVLQWKHYDFFLQHDUP
  WRRNWKUHHWRIRXUWLPHVPRUHRIWHQWKDQWKRVHLQWKHSODFHERDUP<HWWKH
  )'$¶VUHYLHZVKRZVQRHYLGHQFHWKDWDQ\RILWVVFLHQWLVWVLQYHVWLJDWHGHLWKHURI
  WKHVHLVVXHVDQGZLWKRXWPRUHVFLHQWLILFVWDIIGHYRWHGWRWKHWDVNLWLVKDUGWR
  LPDJLQHKRZWKH\FRXOG

  $VRQHRIXV 0+ KDVLQYHVWLJDWHGLQWKHSDVWZLWKUHVSHFWWR)'$DSSURYDOV
  QRWUHODWHGWR&RYLGGLVDJUHHPHQWVZLWKLQWKHDJHQF\DERXWZKHWKHUWR
  DSSURYHDQLQWHUYHQWLRQRUVHWOLPLWDWLRQVXSRQLWVXVHDUHUHODWLYHO\FRPPRQ
  GXULQJWKHUHYLHZSURFHVV$PRQJDSSURYDOVH[DPLQHGEHWZHHQDQG
    FRQWDLQHGDWOHDVWRQHGLVDJUHHPHQWDPRQJUHYLHZHUV

  $NH\WDNHDZD\IURPWKLVUHVHDUFKLVWKDWDUHDOVWUHQJWKRIWKH)'$LVLWV
  FDSDFLW\WRHQWHUWDLQGLVVHQWZLWKDYLHZWRPDNLQJEHWWHUMXGJPHQWVDERXW
  FRPSOH[VFLHQWLILFHYLGHQFH

  6XFKGLIIHULQJRSLQLRQVZHUHRQGLVSOD\DWODVWZHHN¶V)'$DGYLVRU\
  FRPPLWWHHPHHWLQJZKHUHIRXUDGYLVHUVYRWHGDJDLQVWWKHHPHUJHQF\XVH
  DXWKRUL]DWLRQWKDWWKH)'$XOWLPDWHO\JUDQWHGWKHQH[WGD\%XWWKDWZDVWKH
  )'$¶VH[WHUQDODGYLVRU\FRPPLWWHH
                                                                                                                                  App000505
KWWSVZZZVWDWQHZVFRPGLGWKHIGDXQGHUVWDIILWVUHYLHZRIWKHSIL]HUELRQWHFKYDFFLQH                                         
$0                                      'LGWKH)'$XQGHUVWDIILWVUHYLHZRIWKH3IL]HU%LR17HFKYDFFLQH"67$7
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                      Page 508 of 633 PageID 1234
  :KHWKHUVXFKGLVDJUHHPHQWDOVRH[LVWVZLWKLQWKH)'$LVXQFOHDU%\
  VHHPLQJO\DVVLJQLQJRQO\RQHFOLQLFDORQHVWDWLVWLFDODQGRQHWR[LFRORJ\
  VFLHQWLVWWRUHYLHZWKH3IL]HU%LR17HFK&RYLGYDFFLQHLWVHHPVWKDW
  GLVFXVVLRQOHWDORQHGLVDJUHHPHQWZDVFXUWDLOHGE\GHVLJQ7KHSUHVVXUHRQ
  WKRVHORQH)'$UHYLHZHUVWRGRWKHLUZRUNLQUHFRUGWLPHDQGGRLWZLWKRXW
  UDLVLQJVHULRXVTXHVWLRQVDERXWWKHGDWDZDVOLNHO\LPPHQVH

  +DYLQJDQRIILFLDOVHFRQGRUWKLUGUHYLHZHUIRUDOOFRUHVFLHQWLILFGLVFLSOLQHV
  ZRXOGKDYHKHOSHG1RWPDNLQJPRUHUHYLHZHUVDYDLODEOHVWULNHVXVDVDQ
  HIIHFWLYHZD\WRSUHYHQWLQGHSWKDVVHVVPHQWRIWKHXQGHUO\LQJGDWDDQGOLPLW
  WKHSRVVLELOLW\RIGLVVHQW6KRUWFXWVLQWKHUHJXODWRU\SURFHVVXQGHUPLQHWKH
  YHU\SXUSRVHRIUHJXODWLRQWRSURWHFWWKHSXEOLF,IWKHJRDOZDVVSHHGDWDOO
  FRVWVZHVKRXOGMXVWJHWULGRIUHJXODWRUV2WKHUZLVHWKH\QHHGDOOWKH
  UHVRXUFHVWKH\FDQJHWWRGRWKHLUMRELQFOXGLQJWKHIDVWDSSURDFKLQJGHFLVLRQ
  DERXWZKHWKHUWRDXWKRUL]H0RGHUQD¶V&RYLGYDFFLQH

  3HWHU'RVKLOHDGVWKH5HVWRULQJ,QYLVLEOHDQG$EDQGRQHG7ULDOVLQLWLDWLYHDQG
  LVDQDVVRFLDWHSURIHVVRURISKDUPDFHXWLFDOKHDOWKVHUYLFHVUHVHDUFKDWWKH
  8QLYHUVLW\RI0DU\ODQG6FKRRORI3KDUPDF\0DWWKHZ+HUGHULVGLUHFWRURIWKH
  +HDOWK/DZ,QVWLWXWHDWWKH6FKXOLFK6FKRRORI/DZDQGDQDVVRFLDWHSURIHVVRU
  RISKDUPDFRORJ\LQWKHIDFXOW\RIPHGLFLQHERWKDW'DOKRXVLH8QLYHUVLW\LQ
  &DQDGD

  &RPSHWLQJLQWHUHVWV'RVKLKDVUHFHLYHGJUDQWVIURPWKH)'$DQGWKH/DXUD
  DQG-RKQ$UQROG)RXQGDWLRQDQGLVDQXQSDLGPHPEHURIWKH5HDJDQ8GDOO
  )RXQGDWLRQIRUWKH)'$+HUGHULVDPHPEHURIWKH3DWHQWHG0HGLFLQH3ULFHV
  5HYLHZ%RDUG&DQDGD¶VQDWLRQDOGUXJSULFHUHJXODWRUDQGKROGVJUDQWVIURP
  WKH&DQDGLDQ,QVWLWXWHVRI+HDOWK5HVHDUFK


  7RWKH(GLWRU7KH'HFHPEHURSLQLRQIURP3HWHU'RVKLDQG0DWWKHZ
  +HUGHULVLQDFFXUDWHDQGPLVFKDUDFWHUL]HVWKHZRUNRI)'$FDUHHUVFLHQWLILF
  VWDIILQYROYHGLQWKHUHYLHZRIWKHUHTXHVWIRUHPHUJHQF\XVHDXWKRUL]DWLRQ
   (8$ IRUWKH3IL]HU%LR17HFK&RYLGYDFFLQH7KHDXWKRUV¶RSLQLRQGRHV
                                                                      App000506
KWWSVZZZVWDWQHZVFRPGLGWKHIGDXQGHUVWDIILWVUHYLHZRIWKHSIL]HUELRQWHFKYDFFLQH                             
$0                                      'LGWKH)'$XQGHUVWDIILWVUHYLHZRIWKH3IL]HU%LR17HFKYDFFLQH"67$7
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                      Page 509 of 633 PageID 1235
  QRWGHPRQVWUDWHDQXQGHUVWDQGLQJRI)'$¶VWHDPUHYLHZSURFHVVHVWKDWZHQW
  LQWRUHYLHZRIWKH(8$UHTXHVW

  $JHQF\VWDIIKDYHEHHQZRUNLQJDURXQGWKHFORFNIRUPRQWKVLQFOXGLQJ
  QLJKWVZHHNHQGVDQGKROLGD\V²ORQJEHIRUHWKH(8$UHTXHVWZDVVXEPLWWHG
  ²SURYLGLQJIHHGEDFNDQGDGYLFHWRDOOVSRQVRUVGHYHORSLQJ&RYLG
  YDFFLQHV7KHDXWKRUVFLWH)'$¶VFOLQLFDOUHYLHZPHPRUHJDUGLQJWKH3IL]HU
  %LR17HFK&RYLG(8$DVHYLGHQFHWKDWPRUHVWDIIVKRXOGKDYHEHHQ
  DVVLJQHGWRFRQGXFWUHYLHZV,QIDFWPRUHWKDQRQHKXQGUHGVWDII²LQFOXGLQJ
  VHQLRUPDQDJHPHQWIURPDFURVV)'$¶V&HQWHUIRU%LRORJLFV(YDOXDWLRQDQG
  5HVHDUFKDQG)'$DVDZKROH²FRQWULEXWHGWRWKLVHIIRUW

  7KHDXWKRUVFOHDUO\IDLOWRXQGHUVWDQGWKDWWKLVLVQRWWKHHTXLYDOHQWRIDQ
  DFDGHPLFPDQXVFULSW7KHLQGLYLGXDOVOLVWHGDUHVLPSO\WKHOHDGVIRUHDFK
  UHYLHZGLVFLSOLQHDQGGRQRWUHSUHVHQWWKHHQWLUHWHDPRIGHGLFDWHGVFLHQWLILF
  UHYLHZVWDIIZKRZRUNHGWLUHOHVVO\WRSURYLGHWKRURXJKUHYLHZRIWKH(8$
  UHTXHVW

  7KHHIIRUWSXWIRUWKE\)'$VWDIIWRFRPSOHWHLWVUHYLHZDQGDXWKRUL]H3IL]HU
  %LR17HFK¶V&RYLGYDFFLQHIRUHPHUJHQF\XVHLQGD\VIROORZLQJIRUPDO
  VXEPLVVLRQRIWKH(8$UHTXHVWZDVKHURLF7KLVZDVQRWEXVLQHVVDVXVXDO
  )'$XQGHUWRRNDQDOOKDQGVRQGHFNDSSURDFKWRWKLVZRUN

  %HFDXVHRIWKHVXIIHULQJFDXVHGE\WKLVSDQGHPLFRXUFDUHHUVFLHQWLILFUHYLHZ
  VWDIIIHOWWKHUHVSRQVLELOLW\WRZRUNWKURXJKWKHUHYLHZSURFHVVZLWKD
  WUHPHQGRXVVHQVHRIXUJHQF\ZKLOHFDUHIXOO\GRLQJWKHLUMREVWRHQVXUHWKDW
  DQ\DXWKRUL]HGYDFFLQHPHHWVRXUULJRURXVVFLHQWLILFVWDQGDUGVWKDW$PHULFDQV
  ²DQGWKHZRUOG²KDYHFRPHWRH[SHFW7RVXJJHVWRWKHUZLVHLVDQDIIURQWWR
  WKHLULQFUHGLEOHHIIRUW

  3HWHU0DUNV
  'LUHFWRU&HQWHUIRU%LRORJLFV(YDOXDWLRQDQG5HVHDUFK
  )RRGDQG'UXJ$GPLQLVWUDWLRQ
                                                                                                                                  App000507
KWWSVZZZVWDWQHZVFRPGLGWKHIGDXQGHUVWDIILWVUHYLHZRIWKHSIL]HUELRQWHFKYDFFLQH                                         
$0                                      'LGWKH)'$XQGHUVWDIILWVUHYLHZRIWKH3IL]HU%LR17HFKYDFFLQH"67$7
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                      Page 510 of 633 PageID 1236
  7KHDXWKRUVUHVSRQG:HDSSUHFLDWH3HWHU0DUNV¶UHVSRQVHWRRXU
  FRPPHQWDU\UDLVLQJTXHVWLRQVDERXWWKHULJRURIWKH)'$¶VUHYLHZSURFHVVIRU
  WKH3IL]HU%LR17HFKYDFFLQHHPHUJHQF\XVHDXWKRUL]DWLRQ0DUNVIDXOWVXVIRU
  WDNLQJDWIDFHYDOXHZKDWLVZULWWHQLQWKHDJHQF\¶VUHYLHZPHPRZKLFKOLVWV
  MXVWRQHPHGLFDOUHYLHZHUDQGRQHVWDWLVWLFDOUHYLHZHUDVEHLQJLQYROYHGLQWKH
  UHYLHZZKLFKKDGDGD\WLPHOLQHIURPUHFHLSWRIWKHDSSOLFDWLRQRQ1RY
  WRWKH)'$¶VGHFLVLRQRQ'HF

  0DUNVVD\VWKDWWKH)'$VWDIIKDVEHHQZRUNLQJIRUPRQWKV:HEHOLHYHWKDW
  %XWLWPLVVHVRXUFRQFHUQWKDWUHYLHZRIWKHUHVXOWVRIWKH3KDVHWULDO²
  ZKLFKZDVFRPSOHWHGMXVWZHHNVDJRDQGZDVVXEPLWWHGWRWKH)'$RQ1RY
  ²PHDQVWKHWULDOGDWDZHUHUHYLHZHGLQWKUHHZHHNVOLJKWQLQJVSHHG
  FRPSDUHGWR)'$¶VQRUPDOPRQWKVORQJSURFHVV0DUNVSURYLGHVQRH[DPSOHV
  RIKRZWKHXQGHUO\LQJSDWLHQWOHYHOGDWDZHUHFULWLFDOO\DQDO\]HGGXULQJWKDW
  GD\SHULRG$VRXUFRPPHQWDU\VXJJHVWVZHEHOLHYHWKDWDWKRURXJK
  H[DPLQDWLRQRIWKHVHGDWDLVQRWIHDVLEOHZLWKLQWKDWWLPHIUDPHDWOHDVWQRWE\
  DVLQJOHFOLQLFDODQGVWDWLVWLFDOUHYLHZHU

  5HJDUGLQJWKHGHSWKRIWKH)'$¶VUHYLHZ0DUNVVD\VWKDWPRUHWKDQ
  VWDIIHUV³FRQWULEXWHGWRWKHHIIRUW´DQGWKDWWKHLQGLYLGXDOQDPHVOLVWHGLQWKH
  ³5HYLHZ7HDP´DUH³VLPSO\WKHOHDGVIRUHDFKUHYLHZGLVFLSOLQH´:HEHOLHYH
  WKLVWRREXWZRQGHUZK\WZRLQGLYLGXDOVDUHOLVWHGIRUSKDUPDFRYLJLODQFHDQG
  WKUHHIRUFKHPLVWU\PDQXIDFWXULQJDQGFRQWUROV &0& EXWRQO\RQHHDFKLV
  OLVWHGIRUFOLQLFDOELRVWDWLVWLFVDQGWR[LFRORJ\"

  0RUHLPSRUWDQWO\DVZHH[SODLQHGRXUFRQFHUQLVQRWVLPSO\DERXWWKH
  TXDQWLW\RIUHYLHZHUV²LWLVDERXWTXDOLW\RIWKHSURFHVV:HVDZQRVLJQWKDW
  WKHDJHQF\DVVHVVHGWKHSRVVLEOHLPSDFWRISRWHQWLDOXQEOLQGLQJLQWKHWULDO
  JLYHQWKHVLGHHIIHFWVRIWKHYDFFLQH$QGZHZRQGHUHGKRZPDQ\SHRSOH
  ZHUHRIILFLDOO\WDVNHGZLWKWKHUHVSRQVLELOLW\RIIRUPLQJDQLQGHSHQGHQWYLHZ
  RIWKHVFLHQFH:HUHPDLQFRQFHUQHGWKDWWKHUHZHUHQRFOHDUVWUXFWXUDO
  PHFKDQLVPVE\ZKLFKUHYLHZHUVZKRPLJKWKDYHKHOGGLVVHQWLQJYLHZVDERXW

                                                                                                                                  App000508
KWWSVZZZVWDWQHZVFRPGLGWKHIGDXQGHUVWDIILWVUHYLHZRIWKHSIL]HUELRQWHFKYDFFLQH                                         
$0                                      'LGWKH)'$XQGHUVWDIILWVUHYLHZRIWKH3IL]HU%LR17HFKYDFFLQH"67$7
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                      Page 511 of 633 PageID 1237
  WKHVWUHQJWKVDQGOLPLWDWLRQVRIWKHDSSOLFDWLRQFRXOGIUHHO\GRFXPHQWDQG
  GLVFXVVWKHLUFRQFHUQV

  :HDUHKHDUWHQHGWRKHDUWKDWWKHDJHQF\PXVWHUHG³DQDOOKDQGVRQGHFN
  DSSURDFK´WRWKLVUHYLHZ,WUHPDLQVFXULRXVWRXVDVWRZK\WKHPHPR
  FRPELQLQJDOOGLVFLSOLQHV¶UHYLHZVWRWDOVMXVWSDJHV²PXFKVPDOOHUWKDQ
  PDQ\VROHO\FOLQLFDOUHYLHZV(QVXULQJWKDWWKHPHPRDFFXUDWHO\UHIOHFWVDOO
  WKHZRUNWKDWZHQWLQWRWKHUHYLHZHVSHFLDOO\KRZDQGZKDWZDVDQDO\]HG
  GXULQJWKHGD\VSDQDQGOLVWVDOOWKRVHLQYROYHGLQWKHHIIRUWLVLQRXU
  HVWLPDWLRQWKHEHVWFRXUVHWREXLOGLQJWUXVWLQWKHDJHQF\¶VGHFLVLRQPDNLQJ

  3HWHU'RVKLDQG0DWWKHZ+HUGHU

  $ERXWWKH$XWKRUV
  3HWHU'RVKL

  SGRVKL#U[XPDU\ODQGHGX

  0DWWKHZ+HUGHU

  PDWWKHZKHUGHU#GDOFD
  #FPUKHUGHU




                                                                                                                                  App000509
KWWSVZZZVWDWQHZVFRPGLGWKHIGDXQGHUVWDIILWVUHYLHZRIWKHSIL]HUELRQWHFKYDFFLQH                                         
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 512 of 633 PageID 1238




                             ([KLELW




                                                                      App000510
$0                              'RHVWKH)'$WKLQNWKHVHGDWDMXVWLI\WKHILUVWIXOODSSURYDORIDFRYLGYDFFLQH"7KH%0-
             Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                       Page 513 of 633 PageID 1239
                                                  Access thebmj.com -                                      




   Does the FDA think these data justify the first full approval of a covid-19
   vaccine?

   The FDA should demand adequate, controlled studies with long term follow up, and make data publicly
   available, before granting full approval to covid-19 vaccines, says Peter Doshi

   On 28 July 2021, Pfizer and BioNTech posted updated results for their ongoing phase 3 covid-19 vaccine trial.
   The preprint came almost a year to the day after the historical trial commenced, and nearly four months
   since the companies announced vaccine eﬃcacy estimates “up to six months.”

   But you won’t find 10 month follow-up data here. While the preprint is new, the results it contains aren’t
   particularly up to date. In fact, the paper is based on the same data cut-off date (13 March 2021) as the 1 April
   press release, and its topline eﬃcacy result is identical: 91.3% (95% CI 89.0 to 93.2) vaccine eﬃcacy against
   symptomatic covid-19 through “up to six months of follow-up.”

   The 20 page preprint matters because it represents the most detailed public account of the pivotal trial data
   Pfizer submitted in pursuit of the world’s first “full approval” of a coronavirus vaccine from the Food and Drug
   Administration. It deserves careful scrutiny.

   The elephant named “waning immunity”

   Since late last year, we’ve heard that Pfizer and Moderna’s vaccines are “95% effective” with even greater
   eﬃcacy against severe disease (“100% effective,” Moderna said).

   Whatever one thinks about the “95% effective” claims (my thoughts are here), even the most enthusiastic
   commentators have acknowledged that measuring vaccine eﬃcacy two months after dosing says little about
   just how long vaccine-induced immunity will last. “We’re going to be looking very intently at the durability of
   protection,” Pfizer senior vice president William Gruber, an author on the recent preprint, told the FDA’s
   advisory committee last December.

   The concern, of course, was decreased eﬃcacy over time. “Waning immunity” is a known problem for
   influenza vaccines, with some studies showing near zero effectiveness after just three months, meaning a
   vaccine taken early may ultimately provide no protection by the time “flu season” arrives some months later.
   If vaccine eﬃcacy wanes over time, the crucial question becomes what level of effectiveness will the vaccine
   provide when a person is actually exposed to the virus? Unlike covid vaccines, influenza vaccine performance
   has always been judged over a full season, not a couple months.


                                                                                                                                       App000511
KWWSVEORJVEPMFRPEPMGRHVWKHIGDWKLQNWKHVHGDWDMXVWLI\WKHILUVWIXOODSSURYDORIDFRYLGYDFFLQH                          
$0                              'RHVWKH)'$WKLQNWKHVHGDWDMXVWLI\WKHILUVWIXOODSSURYDORIDFRYLGYDFFLQH"7KH%0-
          Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 514 of 633 PageID 1240
   And so the recent reports from Israel’s Ministry of Health caught my eye. In early July, they reported that
   eﬃcacy against infection and symptomatic disease “fell to 64%.” By late July it had fallen to 39% where Delta
   is the dominant strain. This is very low. For context, the FDA’s expectation is of “at least 50%” eﬃcacy for any
   approvable vaccine.

   Now Israel, which almost exclusively used Pfizer vaccine, has begun administering a third “booster” dose to
   all adults over 40. And starting 20 September 2021, the US plans to follow suit for all “fully vaccinated” adults
   eight months past their second dose.

   Delta may not be responsible

   Enter Pfizer’s preprint. As an RCT reporting “up to six months of follow-up,” it is notable that evidence of
   waning immunity was already visible in the data by the 13 March 2021 data cut-off.

   “From its peak post-dose 2,” the study authors write, “observed VE [vaccine eﬃcacy] declined.” From 96% to
   90% (from two months to <4 months), then to 84% (95% CI 75 to 90) “from four months to the data cut-off,”
   which, by my calculation (see footnote at the end of the piece), was about one month later.

   But although this additional information was available to Pfizer in April, it was not published until the end of
   July.

   And it’s hard to imagine how the Delta variant could play a real role here, for 77% of trial participants were
   from the United States, where Delta was not established until months after data cut-off.

   Waning eﬃcacy has the potential to be far more than a minor inconvenience; it can dramatically change the
   risk-benefit calculus. And whatever its cause—intrinsic properties of the vaccine, the circulation of new
   variants, some combination of the two, or something else—the bottom line is that vaccines need to be
   effective.

   Until new clinical trials demonstrate that boosters increase eﬃcacy above 50%, without increasing serious
   adverse events, it is unclear whether the 2-dose series would even meet the FDA’s approval standard at six or
   nine months.

   The “six month” preprint based on the 7% of trial participants who remained blinded at six months

   The final eﬃcacy timepoint reported in Pfizer’s preprint is “from four months to the data cut-off.” The
   confidence interval here is wider than earlier time points because only half of trial participants (53%) made it
   to the four month mark, and mean follow-up is around 4.4 months (see footnote).

   This all happened because starting last December, Pfizer allowed all trial participants to be formally
   unblinded, and placebo recipients to get vaccinated. By 13 March 2021 (data cut-off), 93% of trial participants
   (41,128 of 44,060; Fig 1) were unblinded, oﬃcially entering “open-label followup.” (Ditto for Moderna: by mid
   April, 98% of placebo recipients had been vaccinated.)

                                                                                                                                       App000512
KWWSVEORJVEPMFRPEPMGRHVWKHIGDWKLQNWKHVHGDWDMXVWLI\WKHILUVWIXOODSSURYDORIDFRYLGYDFFLQH                          
$0                              'RHVWKH)'$WKLQNWKHVHGDWDMXVWLI\WKHILUVWIXOODSSURYDORIDFRYLGYDFFLQH"7KH%0-
           Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 515 of 633 PageID 1241
   Despite the reference to “six month safety and eﬃcacy” in the preprint’s title, the paper only reports on
   vaccine eﬃcacy “up to six months,” but not from six months. This is not semantics, as it turns out only 7% of
   trial participants actually reached six months of blinded follow-up (“8% of BNT162b2 recipients and 6% of
   placebo recipients had 6 months follow-up post-dose 2.”) So despite this preprint appearing a year after the
   trial began, it provides no data on vaccine eﬃcacy past six months, which is the period Israel says vaccine
   eﬃcacy has dropped to 39%.

   It is hard to imagine that the <10% of trial participants who remained blinded at six months (which
   presumably further dwindled after 13 March 2021) could constitute a reliable or valid sample to produce
   further findings. And the preprint does not report any demographic comparisons to justify future analyses.

   Severe disease

   With the US awash in news about rising cases of the Delta variant, including among the “fully vaccinated,” the
   vaccine’s eﬃcacy profile is in question. But some medical commentators are delivering an upbeat message.
   Former FDA commissioner Scott Gottlieb, who is on Pfizer’s board, said: “Remember, the original premise
   behind these vaccines were [sic] that they would substantially reduce the risk of death and severe disease
   and hospitalization. And that was the data that came out of the initial clinical trials.”

   Yet, the trials were not designed to study severe disease. In the data that supported Pfizer’s EUA, the
   company itself characterized the “severe covid-19” endpoint results as “preliminary evidence.” Hospital
   admission numbers were not reported, and zero covid-19 deaths occurred.

   In the preprint, high eﬃcacy against “severe covid-19” is reported based on all follow-up time (one event in
   the vaccinated group vs 30 in placebo), but the number of hospital admissions is not reported so we don’t
   know which, if any, of these patients were ill enough to require hospital treatment. (In Moderna’s trial, data
   last year showed that 21 of 30 “severe covid-19” cases were not admitted to hospital; Table S14).

   And on preventing death from covid-19, there are too few data to draw conclusions—a total of three covid-
   19 related deaths (one on vaccine, two on placebo). There were 29 total deaths during blinded follow-up (15
   in the vaccine arm; 14 in placebo).

   The crucial question, however, is whether the waning eﬃcacy seen in the primary endpoint data also applies
   to the vaccine’s eﬃcacy against severe disease. Unfortunately, Pfizer’s new preprint does not report the
   results in a way that allows for evaluating this question.

   Approval imminent without data transparency, or even an advisory committee meeting?

   Last December, with limited data, the FDA granted Pfizer’s vaccine an EUA, enabling access to all Americans
   who wanted one. It sent a clear message that the FDA could both address the enormous demand for vaccines
   without compromising on the science. A “full approval” could remain a high bar.



                                                                                                                                       App000513
KWWSVEORJVEPMFRPEPMGRHVWKHIGDWKLQNWKHVHGDWDMXVWLI\WKHILUVWIXOODSSURYDORIDFRYLGYDFFLQH                          
$0                              'RHVWKH)'$WKLQNWKHVHGDWDMXVWLI\WKHILUVWIXOODSSURYDORIDFRYLGYDFFLQH"7KH%0-
          Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 516 of 633 PageID 1242
   But here we are, with FDA reportedly on the verge of granting a marketing license 13 months into the still
   ongoing, two year pivotal trial, with no reported data past 13 March 2021, unclear eﬃcacy after six months
   due to unblinding, evidence of waning protection irrespective of the Delta variant, and limited reporting of
   safety data. (The preprint reports “decreased appetite, lethargy, asthenia, malaise, night sweats, and
   hyperhidrosis were new adverse events attributable to BNT162b2 not previously identified in earlier reports,”
   but provides no data tables showing the frequency of these, or other, adverse events.)

   It’s not helping matters that FDA now says it won’t convene its advisory committee to discuss the data ahead
   of approving Pfizer’s vaccine. (Last August, to address vaccine hesitancy, the agency had “committed to use
   an advisory committee composed of independent experts to ensure deliberations about authorization or
   licensure are transparent for the public.”)

   Prior to the preprint, my view, along with a group of around 30 clinicians, scientists, and patient advocates,
   was that there were simply too many open questions about all covid-19 vaccines to support approving any
   this year. The preprint has, unfortunately, addressed very few of those open questions, and has raised some
   new ones.

   I reiterate our call: “slow down and get the science right—there is no legitimate reason to hurry to grant a
   license to a coronavirus vaccine.”

   FDA should be demanding that the companies complete the two year follow-up, as originally planned (even
   without a placebo group, much can still be learned about safety). They should demand adequate, controlled
   studies using patient outcomes in the now substantial population of people who have recovered from covid.
   And regulators should bolster public trust by helping ensure that everyone can access the underlying data.

   Peter Doshi,
         Doshi senior editor, The BMJ.

   Competing interests: I helped organize the Coalition Advocating for Adequately Licensed Medicines (CAALM),
   which has formally petitioned the FDA to refrain from fully approving any covid-19 vaccine this year (docket
   FDA-2021-P-0786). A full list of competing interests is available here. The views and opinions expressed here
   are mine and do not necessarily reflect oﬃcial policy or the position of the University of Maryland.

   Provenance:
   Pr
    rovenance: commissioned; externally peer-reviewed.

   Footnote: Calculations in this article are as follows. “About 1 month” past month 4 is based on the final row of
   Fig 2 in the preprint: 1030/12670*12 = 0.98 months (vaccine group) and 895/11802*12 = 0.91 months
   (placebo group). “53%” is based on Fig 2: (12670+11802)/(23040+23037). “4.4 months” is based on the
   average of 8412/22505*12 = 4.5 (vaccine) and 8124/22434*12 = 4.3 (placebo) in Fig 2.

   


       
                                                                                                                                                   
                                                                                                                                       App000514
KWWSVEORJVEPMFRPEPMGRHVWKHIGDWKLQNWKHVHGDWDMXVWLI\WKHILUVWIXOODSSURYDORIDFRYLGYDFFLQH                              
$0                              'RHVWKH)'$WKLQNWKHVHGDWDMXVWLI\WKHILUVWIXOODSSURYDORIDFRYLGYDFFLQH"7KH%0-
             Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                         Page 517 of 633 PageID 1243
   &RPPHQWV                 %0-EORJV                                                           /RJLQ

    )DYRULWH               t 7ZHHW           f 6KDUH                                    6RUWE\%HVW



                    -RLQWKHGLVFXVVLRQ«

                /2*,1:,7+
                                                    256,*183:,7+',6486 "

                                                      1DPH




                .LQJ6OHFKWYDONPRQWKVDJR
                $SSUHFLDWHWKHIXOOFODULW\8QIRUWXQDWHO\LWGRHVQWORRNOLNHWKH)'$
                ZLOOHYHQFRQVLGHU\RXSRLQWVDQGDSSURYHGLWDQ\ZD\V
                △       ▽  5HSO\  6KDUH¾

                GHSK\DQWPRQWKVDJR
                )     W   WL     WL O    WK    N
   Comment and opinion from The BMJ's international community of
   readers, authors, and editors

      Search BMJ Opinion                                                                                                                        Search




   Does the FDA think these data justify the first full…

   Significant proportions of people admitted to…

   Covid vaccines for children should not get emergency…
                                                                                                                                       App000515
KWWSVEORJVEPMFRPEPMGRHVWKHIGDWKLQNWKHVHGDWDMXVWLI\WKHILUVWIXOODSSURYDORIDFRYLGYDFFLQH                                
$0                              'RHVWKH)'$WKLQNWKHVHGDWDMXVWLI\WKHILUVWIXOODSSURYDORIDFRYLGYDFFLQH"7KH%0-
             Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                       Page 518 of 633 PageID 1244




            
           Author's perspective

           BMJ Clinical Evidence

           Brexit

           China

           Christmas appeal

           Climate change

           Columnists

           Covid-19 known unknowns webinars

           Editors at large

           From the archive

           Global health

           Guest writers

           Junior doctors

           Literature and medicine

           Medical ethics

           MSF

           NHS

           Open data
                                                                                                                                       App000516
KWWSVEORJVEPMFRPEPMGRHVWKHIGDWKLQNWKHVHGDWDMXVWLI\WKHILUVWIXOODSSURYDORIDFRYLGYDFFLQH                          
$0                              'RHVWKH)'$WKLQNWKHVHGDWDMXVWLI\WKHILUVWIXOODSSURYDORIDFRYLGYDFFLQH"7KH%0-
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                        Page 519 of 633 PageID 1245
           Partnership in practice

           Patient and public perspectives

           People's covid inquiry

           Richard Lehman's weekly review of medical journals

           South Asia

           Students

           Too much medicine

           Unreported trial of the week

           US healthcare

           Weekly review of medical journals

           Wellbeing




       &RQVXOWDQWLQ$FXWH0HGLFLQH
       +DPSVKLUH
       <RX¶OOGHOLYHUD&RQVXOWDQWOHGVHUYLFHIRURXU(PHUJHQF\0HGLFDO$VVHVVPHQWXQLWV
       5HFUXLWHU+DPSVKLUH+RVSLWDOV1+6)RXQGDWLRQ7UXVW

       $SSO\IRUWKLVMRE


       6DODULHG*3
       6W,YHV&RUQZDOO
       2SSRUWXQLWLHVWRGHYHORSDUDQJHRIVSHFLDOLQWHUHVWV
       5HFUXLWHU6WHQQDFN6XUJHU\

       $SSO\IRUWKLVMRE


       6DODULHG*3
       :H\EULGJH6XUUH\
       :HDUHORRNLQJIRUDVDODULHG*3LGHDOO\WRZRUNRQ0RQGD\VDQG:HGQHVGD\V
       5HFUXLWHU &KXUFK 6WUHHW 3UDFWLFH :H\EULGJH




                                                                                                                                       App000517
KWWSVEORJVEPMFRPEPMGRHVWKHIGDWKLQNWKHVHGDWDMXVWLI\WKHILUVWIXOODSSURYDORIDFRYLGYDFFLQH                          
$0                              'RHVWKH)'$WKLQNWKHVHGDWDMXVWLI\WKHILUVWIXOODSSURYDORIDFRYLGYDFFLQH"7KH%0-
             Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                       Page 520 of 633 PageID 1246

                               




       BMJ Opinion provides comment and opinion written by The BMJ's international community of readers,
       authors, and editors.

       We welcome submissions for consideration. Your article should be clear, compelling, and appeal to our
       international readership of doctors and other health professionals. The best pieces make a single topical
       point. They are well argued with new insights.

       For more information on how to submit, please see our instructions for authors.




                                Top      Home        Revenue sources            Privacy policy        Website terms & conditions                Contact us

                                                                                                 © BMJ Publishing Group Limited 2021. All rights reserved.


                                                                                                                                           Cookie settings




                                                                                                                                       App000518
KWWSVEORJVEPMFRPEPMGRHVWKHIGDWKLQNWKHVHGDWDMXVWLI\WKHILUVWIXOODSSURYDORIDFRYLGYDFFLQH                                    
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 521 of 633 PageID 1247




                             ([KLELW




                                                                      App000519
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 522 of 633 PageID 1248




                                                                      App000520
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 523 of 633 PageID 1249




                                                                      App000521
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 524 of 633 PageID 1250




                                                                      App000522
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 525 of 633 PageID 1251




                                                                      App000523
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 526 of 633 PageID 1252




                                                                      App000524
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 527 of 633 PageID 1253




                                                                      App000525
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 528 of 633 PageID 1254




                              Exhibit 1




                                                                      App000526
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 529 of 633 PageID 1255




                                                                      App000527
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 530 of 633 PageID 1256




                                                                      App000528
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 531 of 633 PageID 1257




                                                                      App000529
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 532 of 633 PageID 1258




                                                                      App000530
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 533 of 633 PageID 1259




                             ([KLELW




                                                                      App000531
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21         Page 534 of 633 PageID 1260




                          P5H< CIH C: H<9ɠP5B89A=7
                            PRESIDENT BIDEN'S COVID-19 ACTION PLAN




P         resident Biden is implementing a six-pronged, comprehensive national strategy that
          employs the same science-based approach that was used to successfully combat
          previous variants of COVID-19 earlier this year. This plan will ensure that we are
using every available tool to combat COVID-19 and save even more lives in the months ahead,
while also keeping schools open and safe, and protecting our economy from lockdowns and
damage.




                                         Vaccinating the
                                        Unvaccinated




                                       Further Protecting
                                        the Vaccinated




                                        Keeping Schools
                                         Safely Open


                                                                                    App000532
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21         Page 535 of 633 PageID 1261



                                      Increasing Testing &
                                      Requiring Masking




                                         Protecting Our
                                     Economic Recovery




                                       Improving Care for
                                     those with COVID-19




                          Vaccinating the Unvaccinated
Since January, the Administration has taken actions to make vaccination conveniently available

to all. COVID vaccines have been available to every individual age 16 and older since April 19th
and to those age 12 and older since May. The Administration took steps to make vaccines
available at over 80,000 locations nationwide, worked with pharmacies to oﬀer walk-in
appointments, and put out a call to action to businesses and organizations across the nation.


The President announced vaccination requirements for the federal government in July and
called on the private sector to do more to encourage vaccination as well. Since that time,
employers, schools, nursing homes, restaurants, hospitals, and cities in all 50 states have
announced new vaccination requirements. Since July, the share of job postings that require
vaccination are up 90%. And we know these requirements work. At the beginning of August,
when Tyson Foods announced its requirement—only 45% of its workforce had gotten a shot.
                                                                                     App000533
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21            Page 536 of 633 PageID 1262
Today, it stands at 72%, meaning half of Tyson’s unvaccinated workers have now gotten a shot

—well ahead of the company’s November 1st deadline. After United Airlines announced its
vaccination requirement, more than half of its unvaccinated employees went out and got
vaccinated with weeks left to go before the deadline. In Washington State, the weekly
vaccination rate jumped 34% after the Governor announced requirements for state workers.


All told, these eﬀorts—and countless other Administration initiatives and policies—have
resulted in over 175 million fully vaccinated Americans. But there are still nearly 80 million
Americans eligible to be vaccinated who have not yet gotten their first shot.


The President’s plan will reduce the number of unvaccinated Americans by using regulatory
powers and other actions to substantially increase the number of Americans covered by
vaccination requirements—these requirements will become dominant in the workplace. In
addition, the plan will provide paid time oﬀ for vaccination for most workers in the country.



 Requiring All Employers with 100+ Employees to Ensure their Workers are
 Vaccinated or Tested Weekly

 The Department of Labor’s Occupational Safety and Health Administration (OSHA) is developing
 a rule that will require all employers with 100 or more employees to ensure their workforce is fully
 vaccinated or require any workers who remain unvaccinated to produce a negative test result on
 at least a weekly basis before coming to work. OSHA will issue an Emergency Temporary
 Standard (ETS) to implement this requirement. This requirement will impact over 80 million
 workers in private sector businesses with 100+ employees.




 Requiring Vaccinations for all Federal Workers and for Millions of
 Contractors that Do Business with the Federal Government

 Building on the President’s announcement in July to strengthen safety requirements for
 unvaccinated federal workers, the President has signed an Executive Order to take those actions
 a step further and require all federal executive branch workers to be vaccinated. The President
 also signed an Executive Order directing that this standard be extended to employees of
 contractors that do business with the federal government. As part of this effort, the Department
 of Defense, the Department of Veterans Affairs, the Indian Health Service, and the National
 Institute of Health will complete implementation of their previously announced vaccination
 requirements that cover 2.5 million people.




                                                                                         App000534
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21             Page 537 of 633 PageID 1263

Requiring COVID-19 Vaccinations for Over 17 Million Health Care Workers
at Medicare and Medicaid Participating Hospitals and Other Health
Care Settings

The Centers for Medicare & Medicaid Services (CMS) is taking action to require COVID-19
vaccinations for workers in most health care settings that receive Medicare or Medicaid
reimbursement, including but not limited to hospitals, dialysis facilities, ambulatory surgical
settings, and home health agencies. This action builds on the vaccination requirement for nursing
facilities recently announced by CMS, and will apply to nursing home staff as well as staff in
hospitals and other CMS-regulated settings, including clinical staff, individuals providing services
under arrangements, volunteers, and staff who are not involved in direct patient, resident, or
client care. These requirements will apply to approximately 50,000 providers and cover a
majority of health care workers across the country. Some facilities and states have begun to
adopt hospital staff or health care sector vaccination mandates. This action will create a
consistent standard across the country, while giving patients assurance of the vaccination status
of those delivering care.




Calling on Large Entertainment Venues to Require Proof of Vaccination or
Testing for Entry

The President’s plan calls on entertainment venues like sports arenas, large concert halls, and
other venues where large groups of people gather to require that their patrons be vaccinated or
show a negative test for entry.




Requiring Employers to Provide Paid Time Oﬀ to Get Vaccinated

To continue efforts to ensure that no worker loses a dollar of pay because they get vaccinated,
OSHA is developing a rule that will require employers with more than 100 employees to provide
paid time off for the time it takes for workers to get vaccinated or to recover if they are under the
weather post-vaccination. This requirement will be implemented through the ETS.




                       Further Protecting the Vaccinated

                                                                                         App000535
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21         Page 538 of 633 PageID 1264
There are over 175 million fully vaccinated Americans who are largely protected from severe
illness from COVID-19. While so-called “breakthrough infections” among this group do
happen, they remain the exception: In fact, recent data indicates there is only 1 confirmed
positive case per 5,000 fully vaccinated Americans per week.


But COVID-19 vaccination protection can be made even stronger. In August, the nation’s top
health oﬃcials—Dr. Rochelle Walensky, CDC Director; Dr. Janet Woodcock, Acting FDA
Commissioner; Dr. Francis Collins, NIH Director; Dr. Anthony Fauci, Director of the National
Institute of Allergy and Infectious Diseases; Surgeon General Dr. Vivek Murthy; Dr. David
Kessler, COVID-19 Chief Science Oﬃcer; Dr. Rachel Levine, HHS Assistant Secretary for
Health; and Dr. Marcella Nunez-Smith, Chair of the COVID-19 Health Equity Task Force—
released an initial plan for booster shots aimed at staying ahead of the virus. The plan released
by our nation’s doctors allows for states, pharmacies, doctors’ oﬃces, health insurers and
others to prepare for the administration of boosters. In the beginning weeks of the initial
vaccination program in December 2020, the country lost precious time because we were
unprepared to administer shots. By planning now, we will be able to quickly get booster shots
into the arms of eligible Americans once approved.


A booster promises to give Americans their highest level of protection yet. Three-shot vaccines
are common (Hepatitis B, Tetanus) and oﬀer some of the most durable and robust protection.


Implementation of this plan depends on authorization of boosters by the Food and Drug
Administration (FDA) and recommendations by the CDC’s independent Advisory Committee
on Immunization Practices (ACIP). As soon as authorizations are given, the Administration

will be prepared to oﬀer booster shots, starting the week of September 20th.



 Providing Easy Access to Booster Shots for All Eligible Americans



 Ensuring Americans Know Where to Get a Booster




                          Keeping Schools Safely Open

                                                                                    App000536
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21         Page 539 of 633 PageID 1265
A top priority for the Biden Administration since Day One has been to reopen schools safely
and keep them open. The Administration has taken significant actions to get our kids back in
the classroom, including providing $130 billion in American Rescue Plan (ARP) funds to help
schools reopen, accelerate students’ academic growth, address inequities exacerbated by the
pandemic, allow local school districts to implement CDC-recommended COVID-19 prevention
strategies, and support student and educators’ social, emotional, and mental health needs. We
know how to keep students safe in schools by taking the right steps to prevent transmission—
including getting all staﬀ and eligible students vaccinated, implementing universal indoor
masking, maintaining physical distancing, improving ventilation, and performing regular
screening testing for students and school staﬀ. The President’s plan calls for additional actions
to ensure all schools consistently implement these science-based prevention strategies
recommended by the CDC so that they can remain open for in-person learning and maintain
the health and safety of all students, staﬀ, and families.


As we work to ensure our children are protected, we know that vaccination remains the best
line of defense against COVID-19. For those adolescents aged 12 and above who are eligible for
vaccination, the most important step parents can take is to get them vaccinated. To date, over
half of the nation’s adolescents have been vaccinated. For those too young to be vaccinated, it is
especially critical that they are surrounded by vaccinated people and mask in public indoor
spaces, including schools. Studies released by the CDC found that the rate of hospitalization
for children was nearly four times higher in states with the lowest vaccination rates compared
to states with high vaccination rates.


The FDA is undergoing a process now to evaluate a vaccine for children under the age of 12,
and under the President’s plan, the Administration will do whatever it takes to support those
eﬀorts, while continuing to respect and defer to the scientific decision-making of the agency.



 Requiring Staﬀ in Head Start Programs, Department of Defense Schools,
 and Bureau of Indian Education-Operated Schools to be Vaccinated




 Calling on All States to Adopt Vaccine Requirements for All
 School Employees




                                                                                    App000537
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21        Page 540 of 633 PageID 1266

 Providing Additional Funding to School Districts for Safe School
 Reopening, Including Backfilling Salaries and Other Funding Withheld by
 States for Implementing COVID Safety Measures



 Using the Department of Education’s Full Legal Authority to Protect
 Students’ Access to In-Person Instruction



 Getting Students and School Staﬀ Tested Regularly



 Providing Every Resource to the FDA to Support Timely Review of
 Vaccines for Individuals Under the Age of 12




                 Increasing Testing & Requiring Masking

It will take time for the newly vaccinated to get protection from the virus. As we continue to
combat COVID-19, testing is a key tool to identify infected individuals and prevent spread to
others. Likewise, masking can also help slow and contain the spread of the virus—and the
combination of increased vaccinations and masking will have a major impact on COVID-19
transmission. President Biden’s plan takes new actions to increase the amount of testing—in
your own home, at pharmacies, and in your doctor’s oﬃce—and ensures that strong mask
requirements remain in place.



 Mobilizing Industry to Expand Easy-to-Use Testing Production



 Making At-Home Tests More Aﬀordable




                                                                                    App000538
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21        Page 541 of 633 PageID 1267

 Sending Free Rapid, At-Home Tests to Food Banks and Community
 Health Centers



 Expanding Free, Pharmacy Testing



 Continuing to Require Masking for Interstate Travel and Double Fines



 Continue to Require Masking on Federal Property




                     Protecting Our Economic Recovery
President Biden’s economic plan is working. Since Day One in oﬃce, the President has focused
on jumpstarting the economy and rebuilding it from the bottom up and the middle out.
America is getting back to work, and workers and small businesses are seeing the results. Since
President Biden took oﬃce, there has been historic job growth—more than 4 million jobs
created– the most in any President’s first six months, with 750,000 jobs created on average per
month over the last three months. Despite the challenges posed by the Delta variant, the
economy created 235,000 jobs last month, and the unemployment rate fell to its lowest level
since before the pandemic. The average number of new unemployment insurance claims has
been cut by more than half since President Biden took oﬃce, and more than 70 percent of
Americans say that now is a good time to find a quality job, up from less than 30 percent this
time last year. The U.S. is the only major economy that has now exceeded its pre-pandemic
growth projections, and independent forecasters believe America will this year reach the
highest levels of growth in decades.


COVID-19 impacts our economy, no doubt. But, the President’s plan will limit the damage and
ensure that the Delta variant cannot undo this progress. The policies outlined throughout this
plan will ensure that we do not return to lockdowns and shutdowns. Additionally, we will oﬀer
new support to small businesses as they continue to weather the surge caused by the Delta
variant. Supporting small businesses is critical to our economic growth, since they create two-
                                                                                    App000539
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21          Page 542 of 633 PageID 1268
thirds of net new jobs and employ nearly half of America’s private workforce. These reforms
include:



 New Support for Small Businesses Impacted by COVID-19



 Streamlining the Paycheck Protection Program (PPP) Loan
 Forgiveness Process



 Launching the Community Navigator Program to Connect Small
 Businesses to the Help They Need




                          Improving Care for those with
                                  COVID-19
As we work to reduce cases, hospitalizations, and deaths, we will maintain our focus on
treating people infected with COVID-19—and helping hard-hit health care systems in the most
impacted areas. In early July, the Administration launched Surge Response Teams to help
states experiencing case increases. Since then, the Administration has worked with 18 states,
deploying nearly 1,000 personnel, including hundreds of EMTs, nurses and doctors on the
ground providing emergency medical care; surged hundreds of ventilators, ambulances and
other critical assets to support strained health care systems; stood up dozens of new, free
testing sites; and assisted with local outbreak investigations.


As we continue to battle the Delta surge, the President’s plan will continue to send response
teams to states that request them and take additional actions to accelerate this work.



 Increasing Support for COVID-Burdened Hospitals




                                                                                    App000540
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21        Page 543 of 633 PageID 1269

 Getting Life-Saving Monoclonal Antibody Treatment to Those Who
 Need It



 Expanding the Pool of Health Care Professionals Providing Treatment by
 Deploying Federal Monoclonal Antibody Strike Teams



President Biden’s plan to continue to combat COVID-19 this fall is comprehensive, science-
based and relies on the power of the federal government working hand-in-hand with states,
local communities, the private sector, and all Americans to put this pandemic behind us. The
strategy outlined here is domestic focused. In the weeks ahead, the President will announce
additional steps to build on the progress the Administration has made to combat this
pandemic globally. President Biden and his Administration will continue to use every tool
necessary to protect the American people from COVID-19.




                                                                                 COVID-19




             F=B8 COVID-19 V577=B9G N95FɠYCI


                                     Visit Vaccines.gov




                                                                                  App000541
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 544 of 633 PageID 1270




                             ([KLELW




                                                                      App000542
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 545 of 633 PageID 1271




                                                                      App000543
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 546 of 633 PageID 1272




                                                                      App000544
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 547 of 633 PageID 1273




                              Exhibit 




                                                                      App000545
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 548 of 633 PageID 1274




                                                                      App000546
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 549 of 633 PageID 1275




                                                                      App000547
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 550 of 633 PageID 1276




                                                                      App000548
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 551 of 633 PageID 1277




                                                                      App000549
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 552 of 633 PageID 1278




                                                                      App000550
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 553 of 633 PageID 1279




                              Exhibit 




                                                                      App000551
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21         Page 554 of 633 PageID 1280
                                                                    ´        


                                                                                              I]n



+<jm¼_N /m<v¼k<NI¾¼Im¼s<EEQ]<mIG¾¼/<sI¼[QsIk¾


6<EEQ]I¼jIinQjIG
      
   




/P_t¼gj__N¼_N¼s<EEQ]<mQ_]
                             
  
     
              
         
     !
     "    
     #                  

$       %&      '  
               '

    (            )*$+(%,          ' 
      '
                                                                                  App000552
              
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 555 of 633 PageID 1281

       ! "#  $  "


%    &  '&()            
)  *     "
   *"+    $         "
 
  $  ,,       * ) )    
 "
  ,   ,   %,,  
  , $- ./*./.
        
0 ,        ") ,  * ,
,  1
     -,   
     &  ,  ,
       ,2 
     3) , 
     4 ) 

      
0 ! "#  ! & 0 3 ,   
 5  "" , ,$  ")! #   
,,  "
! "#  ,, $  6 7       
   ) ) $ ,! #  $    *
   )
                                                                             App000553
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 556 of 633 PageID 1282




                                                                      App000554
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 557 of 633 PageID 1283

           
             




                                                                      App000555
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 558 of 633 PageID 1284




                              Exhibit 




                                                                      App000556
          Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 559 of 633 PageID 1285




HEALTH


Dr. Anthony Fauci: Expect 'a flood' of
COVID-19 vaccine mandates after full
FDA approval
Elizabeth Weise 86$72'$<
3XEOLVKHGSP(7$XJ   8SGDWHGSP(7$XJ


$VVRRQDVWKH)RRGDQG'UXJ$GPLQLVWUDWLRQLVVXHVDIXOODSSURYDOIRUD&29,'YDFFLQH
WKHUHZLOOEHDIORRGRIYDFFLQHPDQGDWHVDWEXVLQHVVHVDQGVFKRROVDFURVVWKHQDWLRQ'U
$QWKRQ\)DXFLWROG86$72'$< V(GLWRULDO%RDUGRQ)ULGD\

0DQGDWHVDUHQ WJRLQJWRKDSSHQDWWKHIHGHUDOOHYHOEXWYDFFLQHDSSURYDOZLOOHPEROGHQ
PDQ\JURXSVKHSUHGLFWHG

2UJDQL]DWLRQVHQWHUSULVHVXQLYHUVLWLHVFROOHJHVWKDWKDYHEHHQUHOXFWDQWWRPDQGDWHDWWKH
ORFDOOHYHOZLOOIHHOPXFKPRUHFRQILGHQWKHVDLG

7KH\FDQVD\ ,I\RXZDQWWRFRPHWRWKLVFROOHJHRUWKLVXQLYHUVLW\\RX YHJRWWRJHW
YDFFLQDWHG,I\RXZDQWWRZRUNLQWKLVSODQW\RXKDYHWRJHWYDFFLQDWHG,I\RXZDQWWRZRUN
LQWKLVHQWHUSULVH\RX YHJRWWRJHWYDFFLQDWHG,I\RXZDQWWRZRUNLQWKLVKRVSLWDO\RX YHJRW
WRJHWYDFFLQDWHG 

)DXFLVDLGKHGRHVQ WVHHPRUHORFNGRZQVFRPLQJ7KH\ZHUHLVVXHGHDUO\LQWKHSDQGHPLFWR
NHHSKRVSLWDOVIURPEHLQJRYHUZKHOPHGNQRZQDVIODWWHQLQJWKHFXUYH

7KHUDWLRQDOHIRUVKXWWLQJGRZQZDVWKDWWKHKRVSLWDOV\VWHPZRXOGQRWEHDEOHWRKDQGOH
WKHVXUJHRIFDVHVEHFDXVHHYHU\ERG\ZDVJHWWLQJVLFNKHVDLG

:LWKPRUHWKDQRIDGXOWVKDYLQJKDGDWOHDVWRQHGRVHRIYDFFLQHWKHHSLGHPLFKDV
VKLIWHGWRRQHRIWKHXQYDFFLQDWHGKHVDLG

:KHQ\RXZDONLQWRDKRVSLWDOZKDW\RX UHJRLQJWRVHHLVDORWRI\RXQJSHRSOHVRPHRI
ZKRPDUHVHULRXVO\LOOEXW\RX UHQRWVHHLQJDQRYHUZKHOPLQJRXWVWULSSLQJRIWKHFDSDELOLW\
RIWKHKRVSLWDOVWKURXJKRXWWKHFRXQWU\KHVDLG

                                                                                              App000557
       Case 4:21-cv-01058-P Document 27 Filed 12/07/21      Page 560 of 633 PageID 1286

Lies, mistruths and death
7KRXJKKH VDWWDFNHGRQOLQHDQGLQFRQVHUYDWLYHPHGLDHYHU\GD\)DXFLVDLGKHZRUULHVOHVV
DERXWKLPVHOIWKDQIRUWKHQDWLRQDVDZKROH

7KLVLVDG\VWRSLDQZRUOGZH UHOLYLQJLQKHVDLG7KHSXEOLFLVDZDVKLQOLHVDQG
PLVLQIRUPDWLRQDERXW&29,'DQGWKHYDFFLQHVKHVDLGDQGWKH\DUHEHLQJPLVOHG

7KH%DFNVWRU\ 0\EURWKHULVRQHRIPLOOLRQVZKRZRQ WJHWWKH&29,'YDFFLQH,DVNHG
ZK\+HUHDUHKLVUHDVRQVP\UHVSRQVHV

:LWK&29,'FDVHVULVLQJDPRQJWKHXQYDFFLQDWHGDVWKHKLJKO\FRQWDJLRXVGHOWDYDULDQW
VSUHDGV)DXFLKRSHVSHRSOH VEHWWHUDQJHOVZLOOSUHYDLORYHUWKHVHDRIOLHVRQVRFLDOPHGLD

$PHULFDQVKHKRSHVZLOOVD\, PQRWJRLQJWRWDNHDQ\RIWKLV, PVHHLQJHYHU\ERG\DURXQG
PHJHWVLFNDQGG\LQJ/HWPHMXVWJRDKHDGDQGJHWYDFFLQDWHG 


Protecting children
7KHGHOWDYDULDQWKDVWKURZQWKHGDQJHURI&29,'WR\RXQJFKLOGUHQLQWRVKDUS
UHOLHI,Q7HQQHVVHHWKH'HSDUWPHQWRI+HDOWKSURMHFWVWKHVWDWH VFKLOGUHQ VKRVSLWDOVDUHRQ
SDFHWREHIXOOE\WKHHQGRIQH[WZHHN

7KHVWDWH VKHDOWKFRPPLVVLRQHU'U/LVD3LHUFH\VDLGWKHGHOWDYDULDQWLVUDSLGO\
VSUHDGLQJDPRQJFKLOGUHQZKRDUHTXLFNO\VKRZLQJV\PSWRPVDIWHUSRVVLEOHH[SRVXUH
SRVVLEO\DPRXQWLQJWRDPXFKIDVWHULQFXEDWLRQWLPHWKDQSUHYLRXVYHUVLRQVRIWKHYLUXV

&KLOGUHQXQGHUDUHQRW\HWHOLJLEOHIRUWKHYDFFLQHVRWKHDGXOWVDURXQGWKHPPXVWEH
WKHLUSURWHFWLRQ)DXFLVDLG

$WVFKRROVHYHU\RQHQHHGVWREHYDFFLQDWHGKHVDLGWHDFKHUVDVVLVWDQWVMDQLWRUVDQ\ERG\
ZKRLVDQ\ZKHUHQHDUDFKLOGLQZKDWVKRXOGEHDSURWHFWHGHQYLURQPHQWRIDVFKRRO

%HFDXVHLQWRGD\ VSROLWLFDOHQYLURQPHQWWKDWZRQ WKDSSHQ)DXFLVDLGPDVNVDUHWKHQH[W
EHVWWKLQJ6FKRROVDUHFUXFLDOIRUFKLOGUHQ VPHQWDOKHDOWKDQGLQWHOOHFWXDOSK\VLFDODQG
VRFLDOGHYHORSPHQWVRLW VLPSRUWDQWWKH\VWD\RSHQ

,ZRXOGUDWKHUKDYHDFKLOGEHDOLWWOHELWXQFRPIRUWDEOHZLWKDPDVNRQDQGEHKHDOWK\WKDQ
DFRPIRUWDEOHFKLOGZLWKRXWDPDVNLQDQ,&8KHVDLG,WMXVWGRHVQ WPDNHDQ\VHQVHWRPH
ZK\\RXZRXOGZDQWWRQRWSURWHFWWKHFKLOGUHQ
                                                                                  App000558
       Case 4:21-cv-01058-P Document 27 Filed 12/07/21       Page 561 of 633 PageID 1287

A 'smoldering' future for US
7KHHSLGHPLFLQWKH8QLWHG6WDWHVFRXOGEHHQGHGRQFHDQGIRUDOOLIHYHU\RQHZRXOGJHW
YDFFLQDWHG)DXFLVDLG%DUULQJWKDWKHZRUULHVZH UHLQLWIRUWKHORQJWHUP

<RXZLOOJHWDVPROGHULQJOHYHORILQIHFWLRQWKDWZLOOMXVWJRULJKWLQWRWKHIDOOJHWFRQIXVHG
ZLWKLQIOXHQ]DLQWKHZLQWHUDQGWKHQFRPHEDFNDJDLQLQWKHVSULQJKHVDLG

7KHXQYDFFLQDWHGZLOOFRQWLQXHWRJHWVLFNDQGVRPHZLOOGLH7KH\RXQJDQGKHDOWK\DUH
VWDWLVWLFDOO\QRWOLNHO\WREHFRPHVHULRXVO\LOOLILQIHFWHGEXWWKH\GRQ WOLYHLQDYDFXXPKH
VDLG7KHPRUHSHRSOHZKRDUHLQIHFWHGWKHPRUHFKDQFHWKHYLUXVKDVWRPXWDWHLQWRDQHYHQ
PRUHGDQJHURXVYDULDQW

:KHQZLOOHYHU\RQHEHYDFFLQDWHGIRU&29,'" +HUH VKRZWKHYDFFLQHUROORXWLV
JRLQJ

$OORIWKHVXGGHQ\RXUGHFLVLRQQRWWRJHWYDFFLQDWHGJRHVEH\RQG\RXURZQYDFXXPDQG
LQIOXHQFHVVRFLHW\KHVDLG

7KDWKROGVWUXHIRUWKHZRUOGDVZHOO±XQOHVVWKHYLUXVLVVWRSSHGHYHU\ZKHUHLWZLOOFRQWLQXH
WRPXWDWHDQGFRXOGFRPHEDFNLQDIRUPWKDWFDQHYDGHFXUUHQWYDFFLQHV

7KDW VGLIIHUHQWIURPPDQ\YDFFLQHSUHYHQWDEOHGLVHDVHVVXFKDVPHDVOHVZKLFKGRHVQ W
PXWDWH$QGLW VZK\JHWWLQJYDFFLQHVWRWKHUHVWRIWKHZRUOGLVFUXFLDO

,IZH UHSURWHFWHGDJDLQVWPHDVOHVKHUHDQGWKHUHDUHDPLOOLRQFDVHVRIPHDVOHVLQ
$IJKDQLVWDQRULQ,QGLDRULQ8JDQGDRULQ.HQ\DDQGVRPHERG\FRPHVRYHUKHUHLWDOPRVW
GRHVQ WPDWWHU%XWLIZH UHSURWHFWHGDJDLQVWRQHJURXSRI &29,' YDULDQWVDQGDEL]DUUH
YDULDQWHPHUJHVVRPHZKHUHLQDORZRUPLGGOHLQFRPHFRXQWU\WKHQZH UHYXOQHUDEOHKH
VDLG

)DXFLHQGHGE\HPSKDVL]LQJWKDWZKLOHWKH&29,'YDFFLQHVDUHQRWSHUIHFWWKH\GRRQH
WKLQJH[WUDRUGLQDULO\ZHOONHHSSHRSOHZKRJHW&29,'IURPEHFRPLQJVHYHUHO\LOORU
G\LQJ

7KHUHDVRQWRJHWYDFFLQDWHGLVQRWVRWKDW\RXFDQJRDURXQGZLWKRXWZHDULQJDPDVNKH
VDLG7KHUHDVRQLVEHFDXVHZHGRQ WZDQW\RXWRZLQGXSLQWKH,&8$QG,FDQJXDUDQWHH
\RXWKDWLI\RXJHWYDFFLQDWHG\RXDUHQRWJRLQJWRZLQGXSLQWKH,&8


                                                                                    App000559
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 562 of 633 PageID 1288




                              Exhibit 




                                                                      App000560
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                  Page 563 of 633 PageID 1289






)5(('202),1)250$7,21$&75(48(67
(;3(',7('352&(66,1*5(48(67('

9,$21/,1(3257$/                                                      $XJXVW

)RRGDQG'UXJ$GPLQLVWUDWLRQ
'LYLVLRQRI)UHHGRPRI,QIRUPDWLRQ
2IILFHRIWKH6HFUHWDULDW2&
)LVKHUV/DQH5RRP
5RFNYLOOH0'

       5H3IL]HU%LR17HFK&29,'9DFFLQH%LRORJLFDO3URGXFW)LOH ,5 
                                          
'HDU6LURU0DGDP

        7KLV ILUP UHSUHVHQWV3XEOLF +HDOWK DQG 0HGLFDO 3URIHVVLRQDOV IRU 7UDQVSDUHQF\
  ³3+037´ 
        
        2Q $XJXVW   WKH )RRG DQG 'UXJ $GPLQLVWUDWLRQ ³)'$´  DSSURYHG WKH 3IL]HU
%LR17HFK&29,'9DFFLQHPDUNHWHGDV&RPLUQDW\ WKH³3IL]HU9DFFLQH´ IRULQGLYLGXDOV
\HDUV RI DJH DQG ROGHU  2Q EHKDOI RI 3+037 DQG LWV LQGLYLGXDO PHPEHUVSOHDVH SURYLGHWKH
IROORZLQJUHFRUGVWRIRLD#VLULOOSFRPLQHOHFWURQLFIRUP
        
                 $OOGDWDDQGLQIRUPDWLRQIRUWKH3IL]HU9DFFLQHHQXPHUDWHGLQ
                 &)5 H ZLWKWKH H[FHSWLRQ RISXEOLFO\DYDLODEOH
                 UHSRUWVRQWKH9DFFLQH$GYHUVH(YHQWV5HSRUWLQJ6\VWHP 





  &)5 H SURYLGHVWKDWDIWHUDELRORJLFDOSURGXFWLVOLFHQVHGWKHIROORZLQJLQIRUPDWLRQVKDOOEHPDGH
DYDLODEOH IRU LPPHGLDWH GLVFORVXUH DEVHQW H[WUDRUGLQDU\ FLUFXPVWDQFHV ³   $OO VDIHW\ DQG HIIHFWLYHQHVV GDWD DQG
LQIRUPDWLRQ  $SURWRFROIRUDWHVWRUVWXG\  $GYHUVHUHDFWLRQUHSRUWVSURGXFWH[SHULHQFHUHSRUWVFRQVXPHU
FRPSODLQWVDQGRWKHUVLPLODUGDWDDQGLQIRUPDWLRQ  $OLVWRIDOODFWLYHLQJUHGLHQWVDQGDQ\LQDFWLYHLQJUHGLHQWV
  $QDVVD\PHWKRGRURWKHUDQDO\WLFDOPHWKRG  $OOFRUUHVSRQGHQFHDQGZULWWHQVXPPDULHVRIRUDO
GLVFXVVLRQVUHODWLQJWRWKHELRORJLFDOSURGXFWILOH  $OOUHFRUGVVKRZLQJWKHPDQXIDFWXUHU¶VWHVWLQJRIDSDUWLFXODU
ORW  $OOUHFRUGVVKRZLQJWKHWHVWLQJRIDQGDFWLRQRQDSDUWLFXODUORWE\WKH>)'$@´

  )RUWKHDYRLGDQFHRIGRXEWWKLVUHTXHVWLQFOXGHVEXWLVQRWOLPLWHGWRDOORIWKHGDWDDQGLQIRUPDWLRQLQWKHELRORJLFDO
SURGXFWILOHDVGHILQHGLQ&)5 D IRUWKH3IL]HU9DFFLQHHQXPHUDWHGLQ&)5 H ZLWKWKH
H[FHSWLRQRISXEOLFO\DYDLODEOHUHSRUWVRQWKH9DFFLQH$GYHUVH(YHQWV5HSRUWLQJ6\VWHP



                                                                                                                    App000561
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                               Page 564 of 633 PageID 1290



([SHGLWHG3URFHVVLQJ5HTXHVWHG

        3+037 UHTXHVWV H[SHGLWHG SURFHVVLQJ IRU WKLV UHTXHVW  )2,$ SURYLGHV IRU ³H[SHGLWHG
SURFHVVLQJ RI UHTXHVWV IRU UHFRUGV´ XSRQ D VKRZLQJ RI ³FRPSHOOLQJ QHHG´  86&
 D  ( L ,,  :KHQ WKH SHUVRQ UHTXHVWLQJ LQIRUPDWLRQ LV ³SULPDULO\ HQJDJHG LQ
GLVVHPLQDWLQJ LQIRUPDWLRQ XUJHQF\ WR LQIRUP WKH SXEOLF FRQFHUQLQJ DFWXDO RU DOOHJHG )HGHUDO
*RYHUQPHQW DFWLYLW\´ FRQVWLWXWHV D ³FRPSHOOLQJ QHHG´ IRU H[SHGLWHG SURFHVVLQJ  86&
 D  ( Y ,, 
        
        3+037LVDQRUJDQL]DWLRQPDGHXSRISXEOLFKHDOWKSURIHVVLRQDOVPHGLFDOSURIHVVLRQDOV
VFLHQWLVWVDQGMRXUQDOLVWV3+037H[LVWVIRUWKHVROHSXUSRVHRIGLVVHPLQDWLQJWRWKHSXEOLFWKH
GDWDDQGLQIRUPDWLRQLQWKHELRORJLFDOSURGXFWILOHVIRUHDFKRIWKH&29,'YDFFLQHV3+037
LQWHQGVWRPDNHDQ\UHFRUGVSURGXFHGLQUHVSRQVHWRWKLV)2,$UHTXHVWLPPHGLDWHO\DYDLODEOHWR
WKHSXEOLFWKURXJKERWKLWVZHEVLWHDQGLWVLQGLYLGXDOPHPEHUV¶SODWIRUPV0DQ\RI3+037¶V
LQGLYLGXDO PHPEHUV LQFOXGLQJ DOO LWV PHPEHUV WKDW DUH MRXUQDOLVWV DUH SULPDULO\ HQJDJHG LQ
GLVVHPLQDWLQJ LQIRUPDWLRQ WR WKH SXEOLF DQG GR VR DFURVV YDULRXV SODWIRUPV LQFOXGLQJ WKURXJK
LQWHUYLHZV  DUWLFOHV  EORJV  HVVD\V  DQG SRGFDVWV   7KHUHIRUH 3+037 DQG PDQ\ RI LWV
PHPEHUV DUH ³SULPDULO\ HQJDJHG LQ GLVVHPLQDWLQJ LQIRUPDWLRQ WR WKH JHQHUDO SXEOLF´ DQG DV
H[SODLQHGEHORZWKHUHLVDFOHDU³XUJHQF\WRLQIRUPWKHSXEOLFFRQFHUQLQJDFWXDORUDOOHJHG)HGHUDO
*RYHUQPHQW DFWLYLW\´ KHUH WKH GDWD DQG LQIRUPDWLRQ XQGHUO\LQJ WKH OLFHQVXUH RI WKH 3IL]HU
9DFFLQH$FFRUGLQJO\H[SHGLWHGSURFHVVLQJRIWKLVUHTXHVWLVZDUUDQWHG
        



     6HH HJ KWWSVZZZIR[QHZVFRPWUDQVFULSWLQJUDKDPDQJOHRQPDVNPDQGDWHVELGHQVIDLOXUHLQKLVUROH
  +DUYH\5LVFK  ODVWYLVLWHG 

  6HHHJKWWSVZZZEPMFRPFRQWHQWEPMQ 3HWHU'RVKL  ODVWYLVLWHG KWWSVZZZEPMFRP
FRQWHQWEPMP 3HWHU'RVKL  ODVWYLVLWHG KWWSVZZZEPMFRPFRQWHQWEPMP 3HWHU
'RVKL  ODVW YLVLWHG   KWWSVZZZZVMFRPDUWLFOHVDUHFRYLGYDFFLQHVULVNLHUWKDQDGYHUWLVHG
 ODVW YLVLWHG   KWWSVZZZZVMFRPDUWLFOHVXQLYHUVLW\YDFFLQHPDQGDWHVYLRODWHPHGLFDOHWKLFV
            $DURQ     .KHULDW\  DQG      *HUDUG    9     %UDGOH\     ODVW    YLVLWHG     
KWWSVWKHIHGHUDOLVWFRPKRZFROOHJHFRYLGYDFFLQHPDQGDWHVSXWVWXGHQWVLQGDQJHU $QGUHZ%RVWRP
$DURQ .KHULDW\ 3HWHU $ 0F&XOORXJK +DUYH\ $ 5LVK 0LFKHOOH &UHWHOOD DQG *HUDUG 9 %UDGOH\  ODVW YLVLWHG
  KWWSVWKHIHGHUDOLVWFRPZK\IRUFLQJXQYDFFLQDWHGVWXGHQWVWRZHDUFORWKPDVNVLVDQWL
VFLHQFH $QGUHZ %RVWRP *HUDUG %UDGOH\ $DURQ .KHULDW\ DQG +DUYH\ 5LVFK  ODVW YLVLWHG  
KWWSVZZZEPMFRPFRQWHQWEPMEPMQIXOOSGI 6HUHQD 7LQDUL DQG &DWKHULQH 5LYD  ODVW YLVLWHG
  KWWSVZZZEPMFRPFRQWHQWEPMQ               6HUHQD 7LQDUL      ODVW YLVLWHG  
KWWSVHEPEPMFRPFRQWHQWHDUO\EPMHEP 6DUDK 7DQYHHU $QLVD 5RZKDQL)DULG
.\XQJZDQ +RQJ 7RP -HIIHUVRQ 3HWHU 'RVKL  ODVW YLVLWHG   KWWSVZZZDUFGLJLWDOPHGLDSPHGLFDO
HWKLFLVWVXHVWKHXQLYHUVLW\ -XVWLQ/HH  ODVWYLVLWHG 

   6HH HJ KWWSVEORJVEPMFRPEPMGRHVWKHIGDWKLQNWKHVHGDWDMXVWLI\WKHILUVWIXOODSSURYDORID
FRYLGYDFFLQH 3HWHU 'RVKL  ODVW YLVLWHG   KWWSVEORJVEPMFRPEPMSHWHUGRVKLSIL]HU
DQGPRGHUQDVHIIHFWLYHYDFFLQHVOHWVEHFDXWLRXVDQGILUVWVHHWKHIXOOGDWD 3HWHU 'RVKL  ODVW YLVLWHG
 6HHDOVRKWWSVZZZUHFKHFNFKZRUGSUHVVHQFRYLGFHUWLILFDWH &DWKHULQH5LYDDQG6HUHQD7LQDUL  ODVW
YLVLWHG 

      6HH KWWSVZZZDQGUHZERVWRPRUJZK\FROOHJLDWHFRYLGYDFFLQHPDQGDWHVDUHO\VHQNRLVWDQWL
VFLHQFH $QGUHZ%RVWRP  ODVWYLVLWHG 

  6HH HJ KWWSVZZZDQGUHZERVWRPRUJGUDQGUHZERVWRPGLVFXVVHVWKHXQIDYRUDEOHULVNEHQHILWUDWLR
RIFRYLGYDFFLQDWLRQRIYHU\ORZFRYLGULVNWR\HDUROGVZLWKSIL]HUVHPHUJHQF\XVHDXWKRUL]DWLRQ
RQO\PUQDYDFFLQH $QGUHZ%RVWRP  ODVWYLVLWHG 



                                                                                                               App000562
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                Page 565 of 633 PageID 1291



        5HFRJQL]LQJ WKH XUJHQF\ WR LQIRUP WKH SXEOLF FRQFHUQLQJ WKH GDWD DQG LQIRUPDWLRQ
XQGHUO\LQJDOLFHQVHGYDFFLQHWKH&RGHRI)HGHUDO5HJXODWLRQVH[SUHVVO\SURYLGHVWKDW³>D@IWHUD
OLFHQVH KDV EHHQ LVVXHG WKH IROORZLQJ GDWD DQG LQIRUPDWLRQ LQ WKH ELRORJLFDO SURGXFW ILOH DUH
LPPHGLDWHO\DYDLODEOHIRUSXEOLFGLVFORVXUHXQOHVVH[WUDRUGLQDU\FLUFXPVWDQFHVDUHVKRZQ  $OO
VDIHW\DQGHIIHFWLYHQHVVGDWDDQGLQIRUPDWLRQ«´&)5 H  HPSKDVLVDGGHG 7KH
)'$¶VRZQUHJXODWLRQVWKXVH[SUHVVO\UHFRJQL]HWKHLPSRUWDQFHRIKDYLQJWKHGDWDDQGLQIRUPDWLRQ
UHOLHGXSRQWROLFHQVHDYDFFLQH³LPPHGLDWHO\DYDLODEOHIRUSXEOLFGLVFORVXUH´,G7KH)'$¶V
UHJXODWLRQ QRW RQO\ VXSSRUWV WKH QHHG IRU H[SHGLWHG WUHDWPHQW XQGHU )2,$ EXW LV DOVR DQ
LQGHSHQGHQWOHJDOEDVLVWKDWUHTXLUHVH[SHGLWHGWUHDWPHQWRIWKLVUHTXHVW

         7KLVSROLF\LVQRWVXUSULVLQJJLYHQWKH)'$¶VFRPPLWPHQWWRWUDQVSDUHQF\DQGLWVHQWLUH
SURJUDPWRDVVXUHWUDQVSDUHQF\EHFDXVHDODFNRIWUDQVSDUHQF\HURGHVWKHFRQILGHQFHWKHPHGLFDO
DQGVFLHQWLILFFRPPXQLW\DQGWKHSXEOLFKDYHLQWKHFRQFOXVLRQVUHDFKHGE\WKH)'$ 7KHUHLV
DQXUJHQWSXEOLFQHHGIRUVXFKWUDQVSDUHQF\ZLWKUHJDUGWRWKH3IL]HU9DFFLQH$VUHTXLUHGE\
&RQJUHVVWKH)'$PD\RQO\OLFHQVHYDFFLQHVWKDWKDYHEHHQSURYHQWREH³VDIHDQGHIIHFWLYH´
VHHHJ86&DQGWKH)'$PDNHVWKLVGHWHUPLQDWLRQEDVHGRQLQWHUDOLDFOLQLFDOWULDO
UHSRUWVSURYLGHGE\WKHVSRQVRUZKLFKPXVWEHVXIILFLHQWWRGHPRQVWUDWHWKHSURGXFWLVERWK³VDIH´
DQG³HIIHFWLYH´ &)5 D 2Q$XJXVWWKH)'$JUDQWHGDSSURYDOWRWKH3IL]HU
9DFFLQH DQGEH\RQGWKH)'$¶VRZQUHJXODWLRQVZKLFKDGPLWWKHXUJHQWQHHGIRUWUDQVSDUHQF\
DQGGLVFORVXUHLQWKLVVLWXDWLRQWKHUHDUHWZRDGGLWLRQDOUHDVRQVWKDWZDUUDQWH[SHGLWHGWUHDWPHQW
RIWKLVUHTXHVW

        )LUVWWKHUHLVDQRQJRLQJSXEOLFQDWLRQDOGHEDWHUHJDUGLQJWKHDGHTXDF\RIWKHGDWDDQG
LQIRUPDWLRQDQGDQDO\VHVRIVDPHUHOLHGXSRQE\WKH)'$WROLFHQVHWKH3IL]HU9DFFLQH2QWKH
RQH KDQG WKHUH DUH QXPHURXV SXEOLF KHDOWK RIILFLDOV PHGLD RXWOHWV MRXUQDOLVWV VFLHQWLVWV
SROLWLFLDQVSXEOLFILJXUHVDQGRWKHUVZLWKODUJHVRFLDORUPHGLDSODWIRUPVWKDWKDYHGHFODUHGWKDW
WKHGDWDDQGLQIRUPDWLRQXQGHUO\LQJWKHOLFHQVXUHRIWKH3IL]HU9DFFLQHLVPRUHWKDQVXIILFLHQWIRU
OLFHQVXUH)RUH[DPSOHLQDSUHVVUHOHDVHLVVXHGRQ$XJXVWDFWLQJ)'$&RPPLVVLRQHU
-DQHW:RRGFRFNVWDWHGWKDW³WKHSXEOLFFDQEHYHU\FRQILGHQWWKDW>WKH3IL]HU9DFFLQH@PHHWVWKH
KLJK VWDQGDUGV IRU VDIHW\ HIIHFWLYHQHVV DQG PDQXIDFWXULQJ TXDOLW\ WKH )'$ UHTXLUHV RI DQ
DSSURYHG SURGXFW´  3HWHU 0DUNV WKH GLUHFWRU RI )'$¶V &HQWHU IRU %LRORJLFV (YDOXDWLRQ DQG
5HVHDUFKPDGHVLPLODUUHPDUNVVWDWLQJWKDW

                  >7KH)'$¶V@VFLHQWLILFDQGPHGLFDOH[SHUWVFRQGXFWHGDQLQFUHGLEO\
                  WKRURXJK DQG WKRXJKWIXO HYDOXDWLRQ RI >WKH 3IL]HU 9DFFLQH@ :H


 KWWSVZZZIGDJRYDERXWIGDWUDQVSDUHQF\ ODVWYLVLWHG 

 7KH)'$H[SODLQVLQLWVJXLGDQFHPDWHULDOVWKDWWKHFOLQLFDOWULDOVUHOLHGXSRQIRUDSSURYDODUHW\SLFDOO\³WR\HDUV´
 KWWSVZZZIGDJRYSDWLHQWVGUXJGHYHORSPHQWSURFHVVVWHSFOLQLFDOUHVHDUFK  DQG WKH GXUDWLRQ RI FOLQLFDO WULDOV
VKRXOG ³UHIOHFW WKH SURGXFW DQG WDUJHW FRQGLWLRQ´ KWWSVZZZIGDJRYPHGLDGRZQORDG ODVW YLVLWHG
  6HH DOVR KWWSVZZZIGDJRYFRQVXPHUVFRQVXPHUXSGDWHVLWUHDOO\IGDDSSURYHG ODVW YLVLWHG
 KWWSVZZZIGDJRYDERXWIGDZKDWZHGR ODVWYLVLWHG 

   6HH KWWSVZZZIGDJRYQHZVHYHQWVSUHVVDQQRXQFHPHQWVIGDDSSURYHVILUVWFRYLGYDFFLQH ODVW YLVLWHG
  6HH DOVR KWWSVZZZFQQFRPKHDOWKIGDDSSURYDOSIL]HUFRYLGYDFFLQHLQGH[KWPO ODVW
YLVLWHG 7KH:DVKLQJWRQ3RVWFODLPVWKDWDSSURYDORIWKH3IL]HU9DFFLQHZDVWKH³IDVWHVWLQWKHDJHQF\¶V
KLVWRU\´KWWSVZZZZDVKLQJWRQSRVWFRPKHDOWKSIL]HUYDFFLQHIXOODSSURYDO ODVWYLVLWHG 

      KWWSVZZZIGDJRYQHZVHYHQWVSUHVVDQQRXQFHPHQWVIGDDSSURYHVILUVWFRYLGYDFFLQH             ODVW YLVLWHG
 



                                                                                                                App000563
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                            Page 566 of 633 PageID 1292



                  HYDOXDWHG VFLHQWLILF GDWD DQG LQIRUPDWLRQ LQFOXGHG LQ KXQGUHGV RI
                  WKRXVDQGV RI SDJHV FRQGXFWHG RXU RZQ DQDO\VHV RI >WKH 3IL]HU
                  9DFFLQH¶V@ VDIHW\ DQG HIIHFWLYHQHVV DQG SHUIRUPHG D GHWDLOHG
                  DVVHVVPHQWRIWKHPDQXIDFWXULQJSURFHVVHVLQFOXGLQJLQVSHFWLRQVRI
                  WKHPDQXIDFWXULQJIDFLOLWLHV>@ 

3HWHU0DUNVIXUWKHUVWDWHGWKDW³DOWKRXJK>WKH)'$@DSSURYHG>WKH3IL]HU9DFFLQH@H[SHGLWLRXVO\
LW ZDV IXOO\ LQ NHHSLQJ ZLWK >WKH )'$¶V@ H[LVWLQJ KLJK VWDQGDUGV IRU YDFFLQHV LQ WKH 86´ 
3UHVLGHQW%LGHQDOVRVWDWHGWKDWWKH)'$¶VDSSURYDOPHHWVWKH³JROGVWDQGDUG´ (YHQSULRUWR
)'$DSSURYDORIWKH3IL]HU9DFFLQHJRYHUQPHQWRIILFLDOVSXEOLFKHDOWKDXWKRULWLHVDQGPHGLFDO
SURIHVVLRQDOVUHSHDWHGO\FODLPHGWKDW&29,'YDFFLQHVDUH³VDIHDQGHIIHFWLYH´ 

        2QWKHRWKHUKDQGQXPHURXVSXEOLFKHDOWKRIILFLDOVPHGLDRXWOHWVMRXUQDOLVWVVFLHQWLVWV
SROLWLFLDQVSXEOLFILJXUHVDQGRWKHUVZLWKODUJHVRFLDORUPHGLDSODWIRUPVKDYHSXEOLFO\UDLVHG
TXHVWLRQVUHJDUGLQJWKHVXIILFLHQF\RIWKHGDWDDQGLQIRUPDWLRQWKHDGHTXDF\RIWKHUHYLHZDQG
DSSURSULDWHQHVVRIWKHDQDO\VHVUHOLHGXSRQWROLFHQVHWKH3IL]HU9DFFLQHLQFOXGLQJDQXPEHURI
WKHVFLHQWLVWVDQGMRXUQDOLVWVWKDWDUHPHPEHUVRI3+037)RUH[DPSOHRQ-XQHDJURXS
RIFOLQLFLDQVVFLHQWLVWVDQGSDWLHQWDGYRFDWHVLQFOXGLQJ3+037PHPEHUV3HWHU'RVKLVHQLRU
HGLWRU IRU 7KH %0- DQG DVVRFLDWH SURIHVVRU RI SKDUPDFHXWLFDO KHDOWK VHUYLFHV UHVHDUFK DW WKH
8QLYHUVLW\RI0DU\ODQG6FKRRORI3KDUPDF\ DQG3HWHU$0F&XOORXJKSURIHVVRURIPHGLFLQH
DW7H[DV$ 0&ROOHJHRI0HGLFLQHILOHGD&LWL]HQ3HWLWLRQ ZLWKWKH)'$FODLPLQJWKDWWKH
DYDLODEOHHYLGHQFHIRUOLFHQVXUHRIWKH3IL]HU9DFFLQH³LVVLPSO\QRWPDWXUHHQRXJKDWWKLVSRLQW
WRDGHTXDWHO\MXGJHZKHWKHUFOLQLFDOEHQHILWVRXWZHLJKWKHULVNVLQDOOSRSXODWLRQV´ 6HSDUDWHO\
3HWHU 'RVKL KDV SXEOLFO\ TXHVWLRQHG WKH ODFN RI WUDQVSDUHQF\ UHJDUGLQJ WKH YDFFLQH DSSURYDO
SURFHVV ZKLFK3HWHU0DUNVSXEOLFO\GLVSXWHG $QGUHZ.KHULDW\SURIHVVRURISV\FKLDWU\DW8&,

   ,G

   ,G

       KWWSVZZZFEVQHZVFRPQHZVELGHQDGGUHVVFRYLGYDFFLQHSIL]HUIGDDSSURYDOZDWFKOLYHVWUHDPWRGD\
 ODVWYLVLWHG 

   6HH HJ KWWSVZZZFGFJRYFRURQDYLUXVQFRYYDFFLQHVVDIHW\VDIHW\RIYDFFLQHVKWPOaWH[W &29,'
'YDFFLQHVDUHVDIHYDFFLQHDVVRRQDVSRVVLEOH ODVW YLVLWHG   6HH DOVR
KWWSVZZZZKRLQWQHZVURRPIHDWXUHVWRULHVGHWDLOYDFFLQHHIILFDF\HIIHFWLYHQHVVDQGSURWHFWLRQ       ³&29,'
YDFFLQHV KDYH SURYHQ WR EH VDIH HIIHFWLYH DQG OLIHVDYLQJ´  ODVW YLVLWHG   KWWSVZZZ
GRKZDJRY(PHUJHQFLHV&29,'9DFFLQH,QIRUPDWLRQ6DIHW\DQG(IIHFWLYHQHVV ³&29,' YDFFLQHV DUH VDIH´ 
 ODVW YLVLWHG   KWWSVZZZZOQVFRPQHZVJRYZKLWPHUDQGGUNKDOGXQUHVSRQGWRWKHIGDDSSURYDORI
SIL]HUVFRYLGYDFFLQH TXRWLQJ*RYHUQRU:KLWPHUUHIHUULQJWRWKH3IL]HU9DFFLQHDVD³VDIHHIIHFWLYH&29,'
YDFFLQH´  ODVWYLVLWHG 

   KWWSVZZZEPMFRPDERXWEPMHGLWRULDOVWDIISHWHUGRVKL ODVWYLVLWHG 

   KWWSVZZZUHJXODWLRQVJRYGRFXPHQW)'$3 ODVWYLVLWHG 

   6HH KWWSVEORJVEPMFRPEPMZK\ZHSHWLWLRQHGWKHIGDWRUHIUDLQIURPIXOO\DSSURYLQJDQ\FRYLG
YDFFLQHWKLV\HDU ODVWYLVLWHG 

   6HHKWWSVEORJVEPMFRPEPMGRHVWKHIGDWKLQNWKHVHGDWDMXVWLI\WKHILUVWIXOODSSURYDORIDFRYLG
YDFFLQH ODVW YLVLWHG   KWWSVEORJVEPMFRPEPMSHWHUGRVKLSIL]HUDQGPRGHUQDV
HIIHFWLYHYDFFLQHVZHQHHGPRUHGHWDLOVDQGWKHUDZGDWD ODVWYLVLWHG KWWSVEORJVEPMFRPEPM
SHWHUGRVKLSIL]HUDQGPRGHUQDVHIIHFWLYHYDFFLQHVOHWVEHFDXWLRXVDQGILUVWVHHWKHIXOOGDWD        ODVW
YLVLWHG 

      KWWSVZZZVWDWQHZVFRPGLGWKHIGDXQGHUVWDIILWVUHYLHZRIWKHSIL]HUELRQWHFKYDFFLQH ODVW
YLVLWHG 



                                                                                                            App000564
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                           Page 567 of 633 PageID 1293



6FKRRORI0HGLFLQH'LUHFWRURIWKH0HGLFDO(WKLFV3URJUDPDW8&,+HDOWK DQGDPHPEHURI
3+037KDVDOVRTXHVWLRQHGWKH)'$¶VDSSURYDOSURFHVV)RUH[DPSOHLQDQDUWLFOHSXEOLVKHGLQ
WKH:DOO6WUHHW-RXUQDO'U.KHULDW\ TXHVWLRQHG WKH QHHGIRU VWXGHQW YDFFLQDWLRQ UHTXLUHPHQWV
EDVHGRQDPRQJRWKHUWKLQJVDUHYLHZ E\WKH)'$¶V9DFFLQHVDQG5HODWHG%LRORJLFDO3URGXFWV
$GYLVRU\&RPPLWWHHWKDWLQGLFDWHVDULVNRIKHDUWLQIODPPDWLRQDIWHUYDFFLQDWLRQ *RYHUQPHQW
RIILFLDOVKDYHUDLVHGVLPLODUFRQFHUQVDERXWWKHODFNRIWUDQVSDUHQF\LQWKHUHYLHZSURFHVVDUJXLQJ
WKDWLWLV³HVVHQWLDO´IRUWKH)'$WRDPRQJRWKHUWKLQJV³PDNHWKHGDWDJHQHUDWHGE\FOLQLFDOWULDOV
DQG VXSSRUWLQJ GRFXPHQWV VXEPLWWHG WR WKH )'$ E\ GHYHORSHUV DYDLODEOH WR WKH SXEOLF>@´ 
3+037LQFRUSRUDWHGE\UHIHUHQFHDVLIFLWHGDQGIXOO\VHWIRUWKKHUHLQDQ\DQGDOODUWLFOHVPHGLD
DQGSXEOLFDWLRQVUHJDUGLQJRUUHIOHFWLQJWKHSXEOLFGLVFXVVLRQGLVFRXUVHDQGGHEDWHUHJDUGLQJWKH
3IL]HU9DFFLQHLQFOXGLQJDOOPDWWHUVUHODWHGWRWKHOLFHQVXUHRIWKLVSURGXFW

        *LYHQWKLVZLGHVSUHDGDQGRQJRLQJSXEOLFGHEDWHWKHPHGLFDODQGVFLHQWLILFFRPPXQLW\
DQGWKHSXEOLFKDVDQLPPHGLDWHQHHGWRUHYLHZWKHGDWDDQGLQIRUPDWLRQXQGHUO\LQJWKHOLFHQVXUH
RIWKH3IL]HU9DFFLQH3XEOLFGLVFORVXUHRIWKLVLQIRUPDWLRQZLOOLQIRUPWKLVRQJRLQJSXEOLFGHEDWH
5HOHDVLQJWKLVGDWDVKRXOGDOVRFRQILUPWKH)'$¶VFRQFOXVLRQDQGWKXVLQFUHDVHFRQILGHQFHLQWKH
VDIHW\ DQG HIILFDF\ RI WKH 3IL]HU 9DFFLQH 7KH )'$ VKRXOG SURGXFH WKH GDWD DQG LQIRUPDWLRQ
QHFHVVDU\ WR DGGUHVV WKLV ZLGHVSUHDG SXEOLF GHEDWH E\ LPPHGLDWHO\ SURGXFLQJ WKH LQIRUPDWLRQ
UHTXHVWHGLQWKLV)2,$UHTXHVW

        7KHUH LV DOVR DQ XUJHQW QHHG IRU WKH SXEOLF WR KDYH LPPHGLDWH DFFHVV WR WKH GDWD DQG
LQIRUPDWLRQXQGHUO\LQJWKHOLFHQVXUHRIWKH3IL]HU9DFFLQHEHFDXVHRYHUWKHREMHFWLRQVRIPDQ\
WKLVSURGXFWLVEHLQJPDQGDWHGWRLQGLYLGXDOVDFURVVWKHFRXQWU\E\WKHIHGHUDOJRYHUQPHQW ORFDO





   KWWSVZZZDDURQNKHULDW\FRPELR ODVWYLVLWHG 

   KWWSVZZZIGDJRYPHGLDGRZQORDG ODVWYLVLWHG 

     KWWSVZZZZVMFRPDUWLFOHVXQLYHUVLW\YDFFLQHPDQGDWHVYLRODWHPHGLFDOHWKLFV ODVW YLVLWHG
 

    KWWSVZZZZDUUHQVHQDWHJRYLPRPHGLDGRF/HWWHUWR)'$UHWUDQVSDUHQF\L
QYDFFLQHUHYLHZSURFHVVBSGI ODVW YLVLWHG   6HH DOVR KWWSVZZZZDVKLQJWRQWLPHVFRP
QHZVDXJHGLWRULDOWKHFRLQFLGHQWDOWLPLQJRISIL]HUVYDFFL ODVWYLVLWHG 

   6HH HJ KWWSVZZZQDWODZUHYLHZFRPDUWLFOHFRYLGYDFFLQHDGGHGWRUHTXLUHPHQWVJUHHQFDUGSURFHVVLQJ
HIIHFWLYHRFW ODVW YLVLWHG   KWWSVDSQHZVFRPDUWLFOHEXVLQHVVKHDOWKFRURQDYLUXVSDQGHPLF
FRURQDYLUXVYDFFLQHFIGHDEHF ODVW YLVLWHG   KWWSVZZZIRUEHVFRP
VLWHVMRHZDOVKXVPLOLWDU\ZLOOUHTXLUHFRYLGYDFFLQDWLRQVE\PLGVHSWHPEHU"VK GHIDFGFI        ODVW
YLVLWHG   KWWSVZZZZKLWHKRXVHJRYEULHILQJURRPVWDWHPHQWVUHOHDVHVIDFWVKHHWSUHVLGHQW
ELGHQWRDQQRXQFHQHZDFWLRQVWRJHWPRUHDPHULFDQVYDFFLQDWHGDQGVORZWKHVSUHDGRIWKHGHOWDYDULDQW       ODVW
YLVLWHG 



                                                                                                          App000565
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                              Page 568 of 633 PageID 1294



JRYHUQPHQWV  SXEOLF DQG SULYDWH HPSOR\HUV  XQLYHUVLWLHV  VFKRROV  DQG YDULRXV RWKHU
LQVWLWXWLRQV DQGPDQ\DUHH[SHFWHGWRIROORZVXLW $WWKHIHGHUDOOHYHOOHJLVODWLRQZDVUHFHQWO\
LQWURGXFHGWKDWZRXOGUHTXLUH&29,'YDFFLQHVIRUDLUWUDYHOLQWRRURXWRIWKH8QLWHG6WDWHV 
DQGWKH3HQWDJRQKDVPDQGDWHGWKH&29,'YDFFLQHVIRUDOOPLOLWDU\SHUVRQQHO $WWKHVWDWH



      6HH HJ KWWSVZZZFQQFRPXVVDQIUDQFLVFRYDFFLQHUHTXLUHPHQWLQGH[KWPO ODVW YLVLWHG
 KWWSVZZZQ\FJRYVLWHGRKFRYLGFRYLGYDFFLQHVNH\WRQ\FSDJH ODVWYLVLWHG KWWSV
QHZV\DKRRFRPRUOHDQVQRZUHTXLUHVSURRIYDFFLQDWLRQKWPO ODVWYLVLWHG 

      6HH HJ KWWSVZZZFQEFFRPXQLWHGDLUOLQHVYDFFLQHPDQGDWHHPSOR\HHVKWPO ODVW YLVLWHG
  KWWSVVDQIUDQFLVFRFEVORFDOFRPFRYLGNDLVHUSHUPDQHQWHPDNHVYDFFLQDWLRQPDQGDWRU\
IRUDOOHPSOR\HHV ODVW YLVLWHG   KWWSVDEFQHZVJRFRP+HDOWKZLUH6WRU\ZDOPDUWPDQGDWHVYDFFLQHV
ZRUNHUVKHDGTXDUWHUV ODVW YLVLWHG   KWWSVZZZNSEVRUJQHZVDXJHQFLQLWDVFRYLG
YDFFLQHQHJDWLYHWHVWHPSOR\HHV ODVW YLVLWHG   KWWSVZZZFQEFFRPFRYLGYDFFLQH
PDQGDWHVVZHHSDFURVVFRUSRUDWHDPHULFDDVGHOWDVXUJHVKWPO ODVW YLVLWHG   KWWSVZZZUHXWHUVFRP
EXVLQHVVHQHUJ\FKHYURQEHJLQVFRYLGYDFFLQDWLRQPDQGDWHVZVM ODVW YLVLWHG   KWWSV
WKHKLOOFRPSROLF\KHDOWKFDUHSIL]HUVIXOODSSURYDOWULJJHUVQHZYDFFLQHPDQGDWHV ODVW YLVLWHG  
KWWSVFYVKHDOWKFRPQHZVDQGLQVLJKWVVWDWHPHQWVFYVKHDOWKZLOOUHTXLUHFRYLGYDFFLQDWLRQVIRUFOLQLFDODQG
FRUSRUDWHHPSOR\HHV ODVWYLVLWHG 

   6HHKWWSVXQLYHUVLW\EXVLQHVVFRPVWDWHE\VWDWHORRNDWFROOHJHVUHTXLULQJYDFFLQHV ODVWYLVLWHG 6HH
DOVR HJ KWWSVZZZQEFQHZVFRPKHDOWKKHDOWKQHZVFROOHJHVXQLYHUVLWLHVFRYLGYDFFLQDWLRQPDQGDWHVIDFLQJ
SXVKEDFNQ ODVWYLVLWHG KWWSVZZZFRORUDGRHGXFRYLGXSGDWHVFRYLGYDFFLQDWLRQ ODVW
YLVLWHG   KWWSVXKVEHUNHOH\HGXUHTXLUHPHQWVFRYLG ODVW YLVLWHG   KWWSVKXKVKDUYDUG
HGXFRYLGYDFFLQHUHTXLUHPHQWIDTV ODVW YLVLWHG   KWWSVZZZJPXHGXVDIHUHWXUQFDPSXV
YDFFLQDWLRQUHTXLUHPHQWV ODVW YLVLWHG   KWWSVZZZSFSLWWHGXQHZVYDFFLQHGLVFORVXUHUHTXLUHPHQWV
FDPSXVKRXVLQJ ODVWYLVLWHG 

    6HH HJ KWWSVZZZQSURUJVHFWLRQVEDFNWRVFKRROOLYHXSGDWHVDFDOLIRUQLDVFKRRO
GLVWULFWPDQGDWHVYDFFLQHVIRUHOLJLEOHVWXGHQWV ODVW YLVLWHG   KWWSVSDWFKFRPPDVVDFKXVHWWVVDOHP
VDOHPVFKRROFRPPLWWHHDSSURYHVYDFFLQHPDQGDWHVSRUWVEDQG ODVW YLVLWHG   KWWSVZZZQEFQHZ\RUN
FRPQHZVFRURQDYLUXVQ\FZLOOUHTXLUHYDFFLQDWLRQIRUKLJKULVNVFKRROVSRUWV ODVW YLVLWHG  
KWWSVZZZQMFRPKXGVRQKRERNHQEHOLHYHGWREHILUVWLQVWDWHWRLVVXHPDQGDWHIRUVWXGHQWVDQGXS
JHWYDFFLQHRUIDFHZHHNO\WHVWLQJKWPO ODVW YLVLWHG   KWWSVZZZPHUFXU\QHZVFRPOD
FRXQW\VFKRROGLVWULFWPDQGDWHVFRYLGYDFFLQHVIRUNNLGVRWKHUVVRRQPD\IROORZ ODVWYLVLWHG .

     6HH HJ KWWSVZZZUHXWHUVFRPZRUOGXVQHZ\RUNFLW\PDQGDWHVFRYLGYDFFLQHSXEOLFVFKRROWHDFKHUV
VWDIIPD\RU ODVWYLVLWHG KWWSVZZZFEVQHZVFRPQHZVFDOLIRUQLDFRYLGYDFFLQHWHDFKHUV
PDQGDWH ODVW YLVLWHG   KWWSVZZZQ\WLPHVFRPXVZDVKLQJWRQVWDWHWHDFKHUYDFFLQH
PDQGDWHKWPO ODVW YLVLWHG   KWWSVZZZJRYHUQRUQ\JRYQHZVJRYHUQRUFXRPRDQQRXQFHVFRYLG
YDFFLQDWLRQPDQGDWHKHDOWKFDUHZRUNHUV ODVW YLVLWHG   KWWSVZZZFGSKFDJRY3URJUDPV&,''&'&
3DJHV&29,')$4+HDOWK&DUH:RUNHU9DFFLQH5HTXLUHPHQWDVS[ ODVW YLVLWHG   KWWSVZZZ
Q\WLPHVFRPXVZDVKLQJWRQVWDWHZRUNHUVYDFFLQHPDQGDWHKWPO ODVW YLVLWHG   KWWSVZZZ
GHQYHUJRYRUJ*RYHUQPHQW&29,',QIRUPDWLRQ3XEOLF+HDOWK2UGHUV5HVSRQVH1HZV8SGDWHV0D\RU
+DQFRFN$QQRXQFHV&29,'9DFFLQH5HTXLUHPHQWIRU(PSOR\HHV ODVW YLVLWHG   6HH KWWSVZZZ
ERVWRQKHUDOGFRPEDNHULVVXHVYDFFLQHPDQGDWHIRUVWDWHHPSOR\HHV ODVWYLVLWHG 

    6HH KWWSVZZZPLVVLVVLSSLIUHHSUHVVRUJIGDIXOO\DSSURYHVSIL]HUELRQWHFKYDFFLQHPDQGDWHVWRIROORZ
 ODVW YLVLWHG   KWWSVZZZKXIISRVWFRPHQWU\YDFFLQHPDQGDWHVUROORXWIGDDSSURYDOBQBHHE
GIHDFGG ODVW YLVLWHG   KWWSVZZZWKHDGYRFDWHFRPEDWRQBURXJHQHZVFRURQDYLUXVDUWLFOHBEH
GFHFEEFEGKWPO"XWPBPHGLXP VRFLDO XWPBVRXUFH WZLWWHUQRODGRWFRP XWPBFDPSDLJQ
VQG ODVW YLVLWHG   6HH DOVR KWWSVZZZODWLPHVFRPFDOLIRUQLDVWRU\FDOLIRUQLDODZPDNHUV
JUDSSOHZLWKVWDWHZLGHFRYLGYDFFLQHPDQGDWH ODVWYLVLWHG 

     KWWSVZZZFRQJUHVVJRYELOOWKFRQJUHVVKRXVHELOO"T %VHDUFKE ODVW
YLVLWHG 

       KWWSVWKHKLOOFRPSROLF\GHIHQVHSHQWDJRQWRPDQGDWHFRYLGYDFFLQHIRUPLOLWDU\ ODVW YLVLWHG
 



                                                                                                             App000566
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                              Page 569 of 633 PageID 1295



OHYHO OHJLVODWLRQ KDV EHHQ LQWURGXFHG WR UHTXLUH &29,' YDFFLQHV IRU DOO SRVWVHFRQGDU\
VWXGHQWV DOO VWDWH HPSOR\HHV DQG HYHQ IRU DOO FLWL]HQV RI WKH VWDWH  $V H[SODLQHG E\ 'U
$QWKRQ\)DXFL³DIORRG´RIYDFFLQHPDQGDWHVZLOOIROORZ)'$DSSURYDORID&29,'YDFFLQH
DQG3UHVLGHQW%LGHQLVDFWLYHO\HQFRXUDJLQJ³FRPSDQLHVLQWKHSULYDWHVHFWRUWRVWHSXSWKHYDFFLQH
UHTXLUHPHQWV>@´ 'XULQJDWLPHZKHQ&29,'YDFFLQHPDQGDWHVDUHEHLQJLPSOHPHQWHGRYHU
WKHREMHFWLRQRIWKRVHWKDWKDYHTXHVWLRQVDERXWWKHGDWDDQGLQIRUPDWLRQVXSSRUWLQJWKHVDIHW\DQG
HIILFDF\ RI WKH 3IL]HU 9DFFLQH DQG LQGLYLGXDOV ZLWK WKHVH TXHVWLRQV DUH EHLQJ H[SHOOHG IURP
HPSOR\PHQWVFKRROWUDQVSRUWDWLRQDQGWKHPLOLWDU\WKHSXEOLFKDVDQXUJHQWDQGLPPHGLDWHQHHG
WRKDYHDFFHVVWRWKLVGDWD3+037LQFRUSRUDWHVE\UHIHUHQFHDVLIFLWHGDQGIXOO\VHWIRUWKKHUHLQ
DQ\DQGDOODUWLFOHVPHGLDDQGSXEOLFDWLRQVUHJDUGLQJRUUHIOHFWLQJWKHSXEOLFGLVFXVVLRQGLVFRXUVH
DQGGHEDWHUHJDUGLQJPDQGDWHGRUSRWHQWLDOPDQGDWHVRIWKH3IL]HU9DFFLQH

         3+037FHUWLILHVWKDWWKHLQIRUPDWLRQLQWKLVUHTXHVWLVWUXHDQGFRUUHFWWRWKHEHVWRILWV
NQRZOHGJHDQGEHOLHI
         
         3+037LVDQRQSURILWDQGDVNVWKDW\RXZDLYHDQ\DQGDOOIHHVRUFKDUJHVSXUVXDQWWR
86&   D  $ LLL  RQ WKH EDVLV WKDW ³GLVFORVXUH RI WKH >UHTXHVWHG@ LQIRUPDWLRQ LV LQ WKH
SXEOLF LQWHUHVW EHFDXVH LW LV OLNHO\ WR FRQWULEXWH VLJQLILFDQWO\ WR SXEOLF XQGHUVWDQGLQJ RI WKH
RSHUDWLRQVRUDFWLYLWLHVRIWKHJRYHUQPHQW>@´6SHFLILFDOO\GLVFORVXUHRIWKHUHTXHVWHGLQIRUPDWLRQ
ZLOO LPPHGLDWHO\DGGUHVV WKH RQJRLQJSXEOLFGHEDWHDERXWWKHVDIHW\DQG HIILFDF\RIWKH3IL]HU
9DFFLQHDQGWKHFOLQLFDOWULDOVXQGHUO\LQJWKH)'$¶VDSSURYDORIVDPH7KHLQIRUPDWLRQ3+037
UHTXHVWVZLOOQRWFRQWULEXWHWRDQ\FRPPHUFLDODFWLYLWLHV
         
         1RWHWKDWLIRQO\SRUWLRQVRIDUHTXHVWHGILOHDUHH[HPSWHGIURPUHOHDVHWKHUHPDLQGHUPXVW
VWLOOEHUHOHDVHG:HWKHUHIRUHUHTXHVWWKDWZHEHSURYLGHGZLWKDOOQRQH[HPSWSRUWLRQVZKLFKDUH
UHDVRQDEO\VHJUHJDEOHRUFDQEHGHLGHQWLILHG:HIXUWKHUUHTXHVWWKDW\RXGHVFULEHDQ\UHGDFWHG
GHOHWHGRUZLWKKHOGPDWHULDOLQGHWDLODQGVSHFLI\WKHVWDWXWRU\EDVLVIRUWKHGHQLDODVZHOODV\RXU
UHDVRQVIRUEHOLHYLQJWKDWWKHDOOHJHGVWDWXWRU\MXVWLILFDWLRQDSSOLHV3OHDVHDOVRVHSDUDWHO\VWDWH
\RXUUHDVRQVIRUQRWLQYRNLQJ\RXUGLVFUHWLRQDU\SRZHUVWRUHOHDVHWKHUHTXHVWHGGRFXPHQWVLQWKH



     6HH 1HZ <RUN ELOO 6 DYDLODEOH DW KWWSVZZZQ\VHQDWHJRYOHJLVODWLRQELOOV6 ODVW YLVLWHG
 

   6HHHJKWWSVZZZQMFRPFRURQDYLUXVPXUSK\RUGHUVYDFFLQDWLRQUHTXLUHPHQWIRUDOOQMVWDWH
ZRUNHUVLQFOXGLQJDWSXEOLFFROOHJHVKWPO ODVWYLVLWHG 

   6HH 1HZ <RUN ELOO $ DYDLODEOH DW KWWSVZZZQ\VHQDWHJRYOHJLVODWLRQELOOV$ 6HH JHQHUDOO\
KWWSVHDVWFRXQW\WRGD\QHWEXII\ZLFNVWUDQVSRUWDWLRQELOOFRXOGEHFRPHFDOLIRUQLDYDFFLQHSDVVSRUWELOO         ODVW
YLVLWHG 

      KWWSVZZZXVDWRGD\FRPVWRU\QHZVKHDOWKDQWKRQ\IDXFLFRYLGYDFFLQHPDQGDWHVIGDIXOODSSURY
DO ODVWYLVLWHG 

          KWWSVZZZPVQFRPHQXVQHZVXVELGHQXUJHVSULYDWHFRPSDQLHVWRLPSOHPHQWFRYLGYDFFLQHUHTXLUH
PHQWVIROORZLQJSIL]HUHVIGDDSSURYDODU$$1(F<V"RFLG X[EQGOELQJ ODVW YLVLWHG   6HH DOVR
KWWSVZZZQ\WLPHVFRPXVSIL]HUYDFFLQHPDQGDWHVKWPO QRWLQJ WKDW )'$ DSSURYDO RI WKH 3IL]HU
9DFFLQH³LVRSHQLQJWKHZD\IRULQVWLWXWLRQVOLNHWKHPLOLWDU\FRUSRUDWHHPSOR\HUVKRVSLWDOVDQGVFKRROGLVWULFWVWR
DQQRXQFHYDFFLQHPDQGDWHVIRUWKHLUHPSOR\HHV´  ODVWYLVLWHG KWWSVZZZPVQFRPHQXVQHZVXVQRZ
WKDWDFRYLGVKRWLVIXOO\DSSURYHGHPSOR\HUPDQGDWHVDUHUROOLQJLQEXWZLOOYDFFLQDWLRQUDWHVLQWKHXVJRXS
DU$$1*'7\"RFLG X[EQGOELQJ  ODVW YLVLWHG   KWWSVQHZV\DKRRFRPVXUJHRQJHQHUDOYLYHNPXUWK\
VD\VKWPO TXRWLQJ WKH 6XUJHRQ *HQHUDO UHIHUULQJ WR YDFFLQH PDQGDWHV DV ³UHDVRQDEOH´  ODVW YLVLWHG
 



                                                                                                             App000567
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                   Page 570 of 633 PageID 1296



SXEOLFLQWHUHVW6XFKVWDWHPHQWVPD\KHOSWRDYRLGXQQHFHVVDU\DSSHDODQGOLWLJDWLRQ3+037
UHVHUYHVDOOULJKWVWRDSSHDOWKHZLWKKROGLQJRUGHOHWLRQRIDQ\LQIRUPDWLRQ

        $ GHWHUPLQDWLRQ UHJDUGLQJ H[SHGLWHG SURFHVVLQJ VKRXOG EH PDGH ZLWKLQ WHQ   GD\V
$FFHVVWRWKHUHTXHVWHGUHFRUGVVKRXOGEHJUDQWHGZLWKLQWZHQW\  EXVLQHVVGD\VIURPWKHGDWH
RI\RXUUHFHLSWRIWKLVOHWWHU)DLOXUHWRUHVSRQGLQDWLPHO\PDQQHUVKDOOEHYLHZHGDVDGHQLDORI
WKLVUHTXHVWDQG3+037PD\LPPHGLDWHO\ILOHDQDGPLQLVWUDWLYHDSSHDORUDQDFWLRQ

        ,I\RXZRXOGOLNHWRGLVFXVVRXUUHTXHVWVRUDQ\LVVXHVUDLVHGLQWKLVOHWWHUSOHDVHIHHOIUHH
WRFRQWDFW$DURQ6LULDW  RUIRLD#VLULOOSFRPGXULQJQRUPDOEXVLQHVVKRXUV7KDQN
\RXIRU\RXUWLPHDQGDWWHQWLRQWRWKLVPDWWHU

                                                9HU\WUXO\\RXUV

                                                      V$DURQ6LUL
                                                      $DURQ6LUL(VT
                                                      (OL]DEHWK%UHKP(VT
                                                      *DEULHOOH*3DOPHU(VT




                                                                                              App000568
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 571 of 633 PageID 1297




                              Exhibit 




                                                                      App000569
012312425                                                       678ÿ6 8ÿ  ÿ
            Case 4:21-cv-01058-P Document 27 Filed 12/07/21                            Page 572 of 633 PageID 1298




  $%&'ÿ)*+,*-.ÿ/0123456.301
  /0123456.301ÿ,5*47ÿ$v'
  )*+,*-.*47
   8*1*469
           7 ÿÿ;<=>?@AB
                 
     CDÿ8ÿEFF!ÿÿIJKLMM
                     GH
   %4N613O6.301
        !PÿR?STUVÿXAYTZ[ÿY=\ÿ]A\UVYTÿRB<^A>>U<=YT>ÿ^<Bÿ_BY=>`YBA=Va
            Q 
     GHÿG ÿJbJcKdJcbMeb         ÿG ÿ                       fFÿ^<UYg>UBUTT`LV<@
   h63931Nÿ'ii4*--                                       u39931Nÿ'ii4*--
     8 ÿ5ÿJMMÿRYBjÿklA=?A                             8 ÿ5ÿJMMÿRYBjÿklA=?A
     8 ÿ2ÿbmZ[ÿnT<<B                                  8 ÿ2ÿbmZ[ÿnT<<B
          HÿoApÿq<Bj                                       HÿoApÿq<Bj
         rÿoq                                             rÿoq
     sÿ ÿbMbtt                                       sÿ ÿbMbtt
   v*.639-
            ÿQ ÿkYB<=ÿwUBU
             ÿ6Fÿxÿyz{MK|t                                               ÿyz{MK|tÿcÿn~kÿcÿR^UAB
                                                                     ÿ} k``B <lYTÿnyokL`\^
         ÿ7ÿ6ÿ                                          ÿ7ÿÿ
                         ÿkTTÿ\YZYÿY=\ÿU=^<B@YZU<=ÿ^<BÿZ[AÿR^UABÿYVVU=AÿA=?@ABYZA\ÿU=ÿJbÿ;LnLzLÿ
     rÿÿ   tMbL   KbAÿpUZ[ÿZ[AÿAVA`ZU<=ÿ<^ÿ`?STUVTaÿYlYUTYSTAÿBA`<BZ>ÿ<=ÿZ[AÿYVVU=A
   63*4ÿ02ÿ$**-
                      ÿRX]R_ÿU>ÿYÿ=<=`B<^UZLÿ_[AÿU=^<B@YZU<=ÿUZÿ>AAj>ÿpUTTÿV<=ZBUS?ZAÿZ<ÿZ[Aÿ`?STUVÿ\ASYZA
        YS<?Z
                          ÿZ[Aÿ>Y^AZaÿY=\ÿA^^UVYVaÿ<^ÿZ[AÿR^UABÿlYVVU=ALÿwAAÿTAZZABÿ^<Bÿ^?BZ[ABÿ\AZYUT>L
   *i3.*iÿ40*--31N
                ÿ~A@<=>ZBYZA\ÿBA=VaÿZ<ÿy=^<B@ÿZ[AÿR?STUV
                      ÿRX]R_ÿ\U>>A@U=YZA>ÿU=^<B@YZU<=ÿZ<ÿZ[Aÿ`?STUVLÿ_[ABAÿU>ÿY=ÿU@@A\UYZAÿ=AA\ÿZ<ÿU=^<B@
        Z[Aÿ`?STUVÿ<^ÿZ[Aÿ\YZYÿY=\ÿU=^<B@YZU<=ÿ?=\ABTaU=ÿTUVA=>?BAÿ<^ÿZ[AÿR^UABÿYVVU=ALÿwAA
                      TAZZABÿ^<Bÿ^?BZ[ABÿ\AZYUT>L
                                                431.ÿÿÿ/4*6.*ÿ'10.*4ÿ)*+,*-.ÿÿÿ/90-*
  Eÿ54ÿ ÿHÿÿ ÿÿÿHÿF ÿ ÿHÿFFÿ"ÿHÿFÿFÿÿ6 8ÿF
  Q ÿÿHÿ ÿÿÿÿ678ÿ!!ÿHÿ ÿFÿÿÿÿFÿQ ÿ  
  " ÿÿ44ÿGCÿfrÿFFÿ ÿ  ÿÿ"ÿ ÿ" ÿÿ ÿFF!ÿ ÿH
   ÿHÿFÿ ÿ! ÿ ÿHÿ ÿÿFÿHÿ ÿFÿÿ ÿ7"ÿÿ6 ÿ
   ÿHÿF ÿFÿÿDÿGFÿF ÿHÿFÿ ÿÿ ÿ ÿ6ÿ
  ÿFÿ ÿ678ÿ6 8ÿ! 




                                                                                                                  App000570
11!"1116  1#                                                              515
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 573 of 633 PageID 1299




                              Exhibit 




                                                                      App000571
 Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                              Page 574 of 633 PageID 1300




$XJXVW
                                                                                                                      ,Q5HSO\UHIHUWR
                                                                                                                      )2,$&RQWURO
38%/,&+($/7+$1'0(',&$/352)(66,21$/6)25
                                                                                                                      
75$163$5(1&<
$$5216,5,                                                                                                            5HTXHVWHUUHIHUHQFH
3DUN$YHQXH
WK)ORRU
1HZ<RUN1<86$



    'HDU5HTXHVWHU

    7KH)RRGDQG'UXJ$GPLQLVWUDWLRQ )'$ KDVUHFHLYHG\RXU)UHHGRPRI,QIRUPDWLRQ$FW )2,$ UHTXHVWIRUUHFRUGV
    UHJDUGLQJ

    $OOGDWDDQGLQIRUPDWLRQIRUWKH3IL]HU9DFFLQHHQXPHUDWHGLQ&)5 H ZLWKWKHH[FHSWLRQRISXEOLFO\
    DYDLODEOHUHSRUWVRQWKH9DFFLQH$GYHUVH(YHQWV5HSRUWLQJ6\VWHP

    :HZLOOUHVSRQGDVVRRQDVSRVVLEOHDQGPD\FKDUJH\RXDIHHIRUSURFHVVLQJ\RXUUHTXHVW,I\RXULQIRUPDWLRQDOQHHGV
    FKDQJHDQG\RXQRORQJHUQHHGWKHUHTXHVWHGUHFRUGVSOHDVHFRQWDFWXVWRFDQFHO\RXUUHTXHVWDVFKDUJHVPD\EH
    LQFXUUHGRQFHSURFHVVLQJRI\RXUUHTXHVWKDVEHJXQ)RUPRUHLQIRUPDWLRQRQSURFHVVLQJIHHVSOHDVHVHH
    KWWSZZZIGDJRY5HJXODWRU\,QIRUPDWLRQ)2,)2,$)HHVGHIDXOWKWP

    'XHWRDQLQFUHDVHLQWKHQXPEHURILQFRPLQJUHTXHVWVZHPD\EHXQDEOHWRFRPSO\ZLWKWKHWZHQW\ZRUNLQJGD\WLPH
    OLPLWLQWKLVFDVHDVZHOODVWKHWHQDGGLWLRQDOGD\VSURYLGHGE\WKH)2,$7KHDFWXDOSURFHVVLQJWLPHZLOOGHSHQGRQWKH
    FRPSOH[LW\RI\RXUUHTXHVWDQGZKHWKHUVHQVLWLYHUHFRUGVYROXPLQRXVUHFRUGVH[WHQVLYHVHDUFKDQGRUFRQVXOWDWLRQ
    ZLWKRWKHU++6FRPSRQHQWVRURWKHUH[HFXWLYHEUDQFKDJHQFLHVDUHLQYROYHG3OHDVHQRWHWKDWUHTXHVWVIRUPHGLFDO
    GHYLFHDSSURYDOUHFRUGV HJ.30$'(1 PD\WDNHXSWRWRPRQWKVWRSURFHVV

    ,I\RXKDYHDQ\TXHVWLRQVDERXW\RXUUHTXHVWSOHDVHFDOO&ODLUH%6WDQVEXU\,QIRUPDWLRQ7HFKQLFLDQDW  
    RUZULWHWRXVDW
    )RRGDQG'UXJ$GPLQLVWUDWLRQ
    'LYLVLRQRI)UHHGRPRI,QIRUPDWLRQ
    )LVKHUV/DQH5RRP
    5RFNYLOOH0'

    ,I\RXFDOORUZULWHXVHWKH)2,$FRQWUROQXPEHUSURYLGHGDERYHZKLFKZLOOKHOSXVWRDQVZHU\RXUTXHVWLRQVPRUH
    TXLFNO\

    <RXDOVRKDYHWKHULJKWWRVHHNGLVSXWHUHVROXWLRQVHUYLFHVIURP

    2IILFHRI*RYHUQPHQW,QIRUPDWLRQ6HUYLFHVDQGRU)'$)2,$3XEOLF/LDLVRQ
    1DWLRQDO$UFKLYHVDQG$GPLQLVWUDWLRQ2IILFHRIWKH([HFXWLYH6HFUHWDULDW
    $GHOSKL5RDG±2*,686)RRG$GPLQLVWUDWLRQ
    &ROOHJH3DUN0')LVKHUV/DQH5RRP
    7HOHSKRQH(PDLO)'$)2,$#IGDKKVJRY
    7ROO)UHH
    (PDLORJLV#QDUDJRY
    )D[




                                                                                    6LQFHUHO\



                                                                                    6$5$+.27/(5
                                                                                    'LUHFWRU

                                                                                                                                App000572
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 575 of 633 PageID 1301




                              Exhibit 




                                                                      App000573
 Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                    Page 576 of 633 PageID 1302




6HSWHPEHU
                                                                                                         ,Q5HSO\UHIHUWR
                                                                                                         )2,$&RQWURO
38%/,&+($/7+$1'0(',&$/352)(66,21$/6)25
                                                                                                         
75$163$5(1&<
$$5216,5,                                                                                               5HTXHVWHUUHIHUHQFH
3DUN$YHQXH                                                                                          ,5
WK)ORRU
1HZ<RUN1<86$



    'HDU5HTXHVWHU

    7KLVLVLQUHIHUHQFHWR\RXUUHTXHVW V IRUUHFRUG V IURPWKH)RRGDQG'UXJ$GPLQLVWUDWLRQ )'$ SXUVXDQWWRWKH
    )UHHGRPRI,QIRUPDWLRQ$FW )2,$ 

    $OOGDWDDQGLQIRUPDWLRQIRUWKH3IL]HU9DFFLQHHQXPHUDWHGLQ&)5 H ZLWKWKHH[FHSWLRQRISXEOLFO\
    DYDLODEOHUHSRUWVRQWKH9DFFLQH$GYHUVH(YHQWV5HSRUWLQJ6\VWHP

    7KH(OHFWURQLF)UHHGRPRI,QIRUPDWLRQ$FW ()2,$ $PHQGPHQWVRIDPHQGHGWKH)2,$E\DGGLQJVHFWLRQ
     D  ( 86& D  ( WRUHTXLUHDJHQFLHVWRFRQVLGHUUHTXHVWVIRUH[SHGLWHGSURFHVVLQJDQGJUDQWWKHP
    ZKHQHYHUDFRPSHOOLQJQHHGLVVKRZQDQGLQRWKHUFDVHVDVGHWHUPLQHGE\WKHDJHQF\7KHWHUPFRPSHOOLQJQHHGLV
    GHILQHGDV  LQYROYLQJDQLPPLQHQWWKUHDWWRWKHOLIHRUSK\VLFDOVDIHW\RIDQLQGLYLGXDORU  LQWKHFDVHRIDUHTXHVW
    PDGHE\DSHUVRQSULPDULO\HQJDJHGLQGLVVHPLQDWLQJLQIRUPDWLRQXUJHQF\WRLQIRUPWKHSXEOLFFRQFHUQLQJDFWXDORU
    DOOHJHG)HGHUDO*RYHUQPHQWDFWLYLW\

    ,KDYHGHWHUPLQHGWKDW\RXUUHTXHVWIRUH[SHGLWHGSURFHVVLQJGRHVQRWPHHWWKHFULWHULDXQGHUWKH)2,$<RXKDYHQRW
    GHPRQVWUDWHGDFRPSHOOLQJQHHGWKDWLQYROYHVDQLPPLQHQWWKUHDWWRWKHOLIHRUSK\VLFDOVDIHW\RIDQLQGLYLGXDO1HLWKHU
    KDYH\RXGHPRQVWUDWHGWKDWWKHUHH[LVWVDQXUJHQF\WRLQIRUPWKHSXEOLFFRQFHUQLQJDFWXDORUDOOHJHG)HGHUDO
    *RYHUQPHQWDFWLYLW\7KHUHIRUH,DPGHQ\LQJ\RXUUHTXHVWIRUH[SHGLWHGSURFHVVLQJ7KHUHVSRQGLQJDJHQF\RIILFHZLOO
    SURFHVV\RXUUHTXHVWLQWKHRUGHULQZKLFKLWZDVUHFHLYHG

    <RXKDYHWKHULJKWWRDSSHDOWKLVGHWHUPLQDWLRQ%\ILOLQJDQDSSHDO\RXSUHVHUYH\RXUULJKWVXQGHU)2,$DQGJLYHWKH
    DJHQF\DFKDQFHWRUHYLHZDQGUHFRQVLGHU\RXUUHTXHVWDQGWKHDJHQF\ VGHFLVLRQ<RXUDSSHDOPXVWEHPDLOHGZLWKLQ
    GD\VIURPWKHGDWHRIWKLVUHVSRQVHWR'LUHFWRU2IILFHRIWKH([HFXWLYH6HFUHWDULDW86)RRG 'UXJ$GPLQLVWUDWLRQ
    )LVKHUV/DQH5RRP5RFNYLOOH0'(PDLO)'$)2,$#IGDKKVJRY3OHDVHFOHDUO\PDUNERWKWKH
    HQYHORSHDQG\RXUOHWWHU)'$)UHHGRPRI,QIRUPDWLRQ$FW$SSHDO

    <RXPD\DOVRFRQWDFWWKH)'$)2,$3XEOLF/LDLVRQ2IILFHRIWKH([HFXWLYH6HFUHWDULDW)LVKHUV/DQH5RRP
    5RFNYLOOH0'HPDLO)'$)2,$#IGDKKVJRY

    ,I\RXDUHXQDEOHWRUHVROYH\RXU)2,$GLVSXWHWKURXJKRXU)2,$3XEOLF/LDLVRQWKH2IILFHRI*RYHUQPHQW,QIRUPDWLRQ
    6HUYLFHV 2*,6 WKH)HGHUDO)2,$2PEXGVPDQ¶VRIILFHRIIHUVPHGLDWLRQVHUYLFHVWRKHOSUHVROYHGLVSXWHVEHWZHHQ
    )2,$UHTXHVWHUVDQG)HGHUDODJHQFLHV7KHFRQWDFWLQIRUPDWLRQIRU2*,6LV2IILFHRI*RYHUQPHQW,QIRUPDWLRQ
    6HUYLFHV1DWLRQDO$UFKLYHVDQG5HFRUGV$GPLQLVWUDWLRQ$GHOSKL5RDG±2*,6&ROOHJH3DUN0'
    7HOHSKRQH7ROO)UHH(PDLORJLV#QDUDJRY)D[

                                                                           6LQFHUHO\



                                                                           6$5$+.27/(5
                                                                           'LUHFWRU




                                                                                                                  App000574
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 577 of 633 PageID 1303




                              Exhibit 1




                                                                      App000575
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                   Page 578 of 633 PageID 1304

 From:            Enlow, Courtney D. (CIV)
 To:              Aaron Siri
 Cc:              Elizabeth Brehm; Gabrielle Palmer
 Subject:         RE: PHMPT v. FDA, No. 21-cv-1058 (N.D. Tex.)
 Date:            Thursday, December 2, 2021 2:25:33 PM


 Good afternoon Aaron,

 With regard to your first two questions, FDA will not be able to make those assessments at this time.
  In order for FDA to determine (1) the number of lines of spreadsheet data or (2) the total number of
 pages for each line of the 87-page Index, FDA would need to perform a search by hand. In other
 words, an individual would have to click open each file listed on the 87-page Index to determine the
 size of the file, and then manually record the file’s size. To perform that search for the number of
 lines of spreadsheet data, FDA estimates that it would take 1.5 days of a staff member’s time; to
 provide the page counts for each entry in the Index, FDA estimates that it would take several days of
 a staff member’s time. Due to the heavy burden such an effort would place on FDA’s limited
 resources, it is not feasible for FDA to provide those estimates.

 With regard to your third question, are you asking whether there is any data in the Comirnaty
 biological product file that are not accounted for in the Index or the estimated 329,000+ page
 count? If so, the Cominarty biological product file also contains supplements, amendments, and
 product correspondence. FDA estimates that there are approximately 39,000 pages of records in
 that category. In addition, there may be investigational new drug records that may be supportive of
 the BLA. Although FDA cannot provide a precise count at this time, FDA estimates that there would
 be tens of thousands of additional pages in this category. These page counts are in addition to FDA’s
 estimate of 329,000+ pages (plus data files) in the original Cominarty BLA.

 If Plaintiff is amenable to the schedule I proposed yesterday, please let me know this week so that
 we can inform the Court.

 Thanks,
 Courtney


 Courtney Enlow
 Trial Attorney
 U.S. Department of Justice
 Civil Division, Federal Programs Branch
 1100 L Street, N.W., Room 12102
 Washington, D.C. 20005
 (202) 616-8467
 courtney.d.enlow@usdoj.gov




 From: Aaron Siri <aaron@sirillp.com>


                                                                                               App000576
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                        Page 579 of 633 PageID 1305

 Sent: Wednesday, December 01, 2021 5:56 PM
 To: Enlow, Courtney D. (CIV) <Courtney.D.Enlow@usdoj.gov>
 Cc: Elizabeth Brehm <ebrehm@sirillp.com>; Gabrielle Palmer <gpalmer@sirillp.com>
 Subject: [EXTERNAL] RE: PHMPT v. FDA, No. 21-cv-1058 (N.D. Tex.)

 Good afternoon Courtney,

 Thank you for the note. In order for me to have a meaningful conversation with my client, can you
 please let me know (1) approximately how many lines of spreadsheet data would need to be
 processed, (2) the approximate total number of pages for each line item in the Index of Comirnaty
 BLA you previously provided (copy attached) and (3) what else is in the biological product file for
 Comirnaty that is not reflected in the attached and is that included in the estimated 329,000 page
 count (and if not, how many pages does that consist of).

 Thank you,
 Aaron



 From: Enlow, Courtney D. (CIV) <Courtney.D.Enlow@usdoj.gov>
 Sent: Wednesday, December 1, 2021 8:35 AM
 To: Aaron Siri <aaron@sirillp.com>; Gabrielle Palmer <gpalmer@sirillp.com>
 Cc: Elizabeth Brehm <ebrehm@sirillp.com>
 Subject: RE: PHMPT v. FDA, No. 21-cv-1058 (N.D. Tex.)

 Good morning Aaron,

 With regard to PHMPT v. FDA, No. 21-cv-1058 (N.D. Tex.), FDA has now had the opportunity to
 assess the number of responsive pages and to estimate processing times for additional portions of
 Plaintiff’s priority list. In light of that assessment, FDA proposes that it produce the non-exempt
 portions of the following records by the below dates:


     •By December 13, 2021, FDA plans to produce publicly releasable information from:

              oPlaintiff’s priority item #1- CRF files for site 1055 (~2,030 pages);

              oCompletion of Plaintiff’s priority item #5-

                      Four additional .txt files that were listed on p. 10 of the index;

                        Four additional SAS files (not specifically listed on Plaintiff’s priority list, but
                          mentioned as something Plaintiff was interested in).

              o   Publicly releasable information from the following additional sections of the original

                  Comirnaty BLA:

                      Section 2.5 – Clinical Overview (~333 pages)


                                                                                                      App000577
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                       Page 580 of 633 PageID 1306

                     Section 2.7.3 – Summary of Clinical Efficacy (~182 pages)

                     Section 2.7.4 – Summary of Clinical Safety (~344 pages)

     •By December 30, 2021, FDA plans to produce publicly releasable information from Plaintiff’s
         priority item #2 – CRF files for site 1081 (~3,380 pages);

     • By January 18, 2022, FDA plans to produce publicly releasable information from Plaintiff’s
         priority item #3 – CRF files for site 1096 (~2,937 pages); and

     • By January 31, 2022, FDA plans to produce publicly releasable information from Plaintiff’s
         priority item #4 – CRF files for site 1128 (~3,452 pages).
 Under this schedule, by the end of January 2022, FDA expects to have produced publicly releasable
 information from more than 12,000 pages of records and 10 unpaginated .txt or SAS data files. (This
 page and file count includes records produced to Plaintiff on November 17, 2021, and records that
 will be produced to Plaintiff later today.) FDA will also have completed production of seven of the
 first eight items on the priority list Plaintiff provided to FDA on November 4, 2021.

 After the January 31, 2022 production, FDA proposes to make one production at the end of each
 subsequent month totaling a minimum the non-exempt portions of 500 pages. (For purposes of
 calculating a “page count” of data records that are not paginated, FDA proposes considering twenty
 lines of spreadsheet data the equivalent of one page. For example, production of a spreadsheet
 containing 2,000 lines of data would be counted the equivalent of a 100-page PDF record.) To the
 extent feasible, FDA plans to continue to prioritize records from Plaintiff’s priority list. Although FDA
 proposes a minimum rate of 500 pages a month, FDA will continue to produce records at a faster
 rate where feasible.

 Please let me know if Plaintiff is amenable to this proposed schedule. If so, I propose that the parties
 file a joint status report setting out the agreed-upon schedule and requesting that the Court cancel
 the hearing set for December 14 and the briefing deadlines.

 Thanks,
 Courtney


 Courtney Enlow
 Trial Attorney
 U.S. Department of Justice
 Civil Division, Federal Programs Branch
 1100 L Street, N.W., Room 12102
 Washington, D.C. 20005
 (202) 616-8467
 courtney.d.enlow@usdoj.gov




                                                                                                  App000578
Case 4:21-cv-01058-P Document 27 Filed 12/07/21                 Page 581 of 633 PageID 1307



 From: Enlow, Courtney D. (CIV)
 Sent: Wednesday, November 17, 2021 1:40 PM
 To: Aaron Siri <aaron@sirillp.com>; Gabrielle Palmer <gpalmer@sirillp.com>
 Cc: Elizabeth Brehm <ebrehm@sirillp.com>
 Subject: PHMPT v. FDA, No. 21-cv-1058 (N.D. Tex.)

 Good afternoon Aaron and Gabrielle,

 I’ve attached correspondence from FDA and a release of records in PHMPT v. FDA, No. 21-cv-1058
 (N.D. Tex.). Kindly confirm receipt.

 Thanks,
 Courtney

 Courtney Enlow
 Trial Attorney
 U.S. Department of Justice
 Civil Division, Federal Programs Branch
 1100 L Street, N.W., Room 12102
 Washington, D.C. 20005
 (202) 616-8467
 courtney.d.enlow@usdoj.gov




                                                                                          App000579
Case 4:21-cv-01058-P Document 27 Filed 12/07/21   Page 582 of 633 PageID 1308




                      8QSXEOLVKHG&DVHV




                                                                      App000580
        Case 3:15-cv-00976-VAB Document 61 Filed 08/28/16 Page 1 of 6
Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 583 of 633 PageID 1309



                                  81,7('67$7(6',675,&7&2857
                                    ',675,&72)&211(&7,&87

75($70(17$&7,21*5283DQG
*/2%$/+($/7+-867,&(
3$571(56+,3
                                                                        &DVH1RFY9$%
                           3ODLQWLIIV

Y

)22'$1''58*$'0,1,675$7,21DQG
'(3$570(172)+($/7+$1'+80$1
6(59,&(6

                  'HIHQGDQWV
BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                  '()(1'$176¶23326,7,21723/$,17,))6¶027,21
                  726833/(0(177+(6800$5<-8'*0(175(&25'

         3ODLQWLIIV¶PRWLRQWRVXSSOHPHQWWKHVXPPDU\MXGJPHQWUHFRUGLVDQRWKHUDWWHPSWE\WKH

3ODLQWLIIVWRLPSHUPLVVLEO\VXSSOHPHQWWKHDGPLQLVWUDWLYHUHFRUG7KH&RXUWVKRXOGGHQ\

3ODLQWLIIV¶PRWLRQEHFDXVHWKH)UHHGRPRI,QIRUPDWLRQ$FW ³)2,$´ H[SOLFLWO\OLPLWVMXGLFLDO

UHYLHZRIDQH[SHGLWHGSURFHVVLQJGHQLDOWR³WKHUHFRUGEHIRUHWKHDJHQF\DWWKHWLPHRIWKH

GHWHUPLQDWLRQ´6HH86& D  ( LLL 





 3ODLQWLIIV¶PRWLRQWRVXSSOHPHQWVKRXOGDOVREHGHQLHGWRWKHH[WHQW3ODLQWLIIVDUHVHHNLQJWRVXSSOHPHQWWKHLU
RSSRVLWLRQWR)'$¶VPRWLRQIRUDVWD\6HH3OV¶0HP6XSS0RW6XSSOHPHQW6XPP-5HFRUG(&)1RDW
 ³3OV¶0HP´  VWDWLQJWKDW³>W@KHGHFODUDWLRQVDQGH[KLELWVDUHGLUHFWO\DQGPDWHULDOO\UHOHYDQWWRWKHPRWLRQWR
VWD\WKHOLWLJDWLRQ´ 7KHPDWHULDOV3ODLQWLIIVVHHNWRDGGWRWKHUHFRUGDUHQRWUHOHYDQWWR)'$¶VPRWLRQIRUDVWD\
7KH&RXUWPD\JUDQW)'$¶VUHTXHVWIRUDVWD\DQGSURYLGHWKHDJHQF\DGGLWLRQDOWLPHWRSURFHVV3ODLQWLIIV¶)2,$
UHTXHVWXSRQ)'$VKRZLQJWKDWH[FHSWLRQDOFLUFXPVWDQFHVH[LVWDQGWKDWWKHDJHQF\LVH[HUFLVLQJGXHGLOLJHQFHLQ
UHVSRQGLQJWRWKHUHTXHVW6HH86& D  & L ³([FHSWLRQDOFLUFXPVWDQFHV´H[LVW  ZKHQDQDJHQF\LV
GHOXJHGZLWKDYROXPHRIUHTXHVWVIRULQIRUPDWLRQYDVWO\LQH[FHVVRIWKDWDQWLFLSDWHGE\&RQJUHVV  ZKHQWKH
H[LVWLQJUHVRXUFHVDUHLQDGHTXDWHWRGHDOZLWKWKHYROXPHRIVXFKUHTXHVWVZLWKLQWKHWLPHOLPLWVSURYLGHGE\)2,$
DQG  ZKHQDQDJHQF\FDQVKRZWKDWLWLVH[HUFLVLQJ³GXHGLOLJHQFH´2SHQ$PY:DWHUJDWH6SHFLDO3URVHFXWLRQ
)RUFH)G '&&LU 7KHGHFODUDWLRQRI0DUN+DUULQJWRQDQGDUWLFOHVIURPWKH-RXUQDORI
+HSDWRORJ\DUHQRWPDWHULDOWRWKH&RXUW¶VDQDO\VLVRIWKHDERYHIDFWRUV



                                                                                                              App000581
        Case 3:15-cv-00976-VAB Document 61 Filed 08/28/16 Page 2 of 6
Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 584 of 633 PageID 1310



    , 5(9,(:,6/,0,7('727+(5(&25'%()25(7+($*(1&<$77+(
       7,0(2)7+('(7(50,1$7,21

        3ODLQWLIIVQRZUHFRJQL]LQJWKDWWKH\EHDUWKHEXUGHQRISURRIDUHDWWHPSWLQJWR

VXSSOHPHQWWKHDGPLQLVWUDWLYHUHFRUGLQRUGHUWRVKRZD³FRPSHOOLQJQHHG´WRVXSSRUWWKHLU

H[SHGLWHGSURFHVVLQJUHTXHVW7KLVLVLPSHUPLVVLEOH7KH)2,$LWVHOIFRQVWUDLQVMXGLFLDOUHYLHZ

RIDQDJHQF\¶VGHQLDORIDQH[SHGLWHGSURFHVVLQJUHTXHVWWRWKH³UHFRUGEHIRUHWKHDJHQF\DWWKH

WLPHRIWKHGHWHUPLQDWLRQ´86& D  ( LLL $FFRUGLQJO\3ODLQWLIIV¶PRWLRQVKRXOG

EHGHQLHG

        3ODLQWLIIVXUJHWKH&RXUWWRLJQRUHWKH)2,$¶VXQHTXLYRFDOOLPLWDWLRQUHJDUGLQJWKHUHFRUG

RQUHYLHZDUJXLQJWKDWFRXUWVKDYHGLVFUHWLRQWRVXSSOHPHQWVXPPDU\MXGJPHQWUHFRUGVLIWKH

VXSSOHPHQWDOLQIRUPDWLRQLV³SUREDWLYHRIDPDWHULDOIDFW´DQGZRXOGQRWSUHMXGLFH'HIHQGDQWV

6HH3OV¶0HP6XSS0RW6XSSOHPHQW6XPP-5HFRUG(&)1RDW ³3OV¶0HP´ 

1RQHRIWKHFDVHVFLWHGE\3ODLQWLIIVLQVXSSRUWRIWKLVSURSRVLWLRQKRZHYHULQYROYHOLWLJDWLRQ

XQGHUWKH)2,$DQGWKXVDUHZKROO\LQDSSOLFDEOHWRWKLV)2,$FDVH,QGHHGWKHUHLVQRQHHGWR

VHHNJXLGDQFHIURPWKHFDVHODZZKHQWKHFRQWUROOLQJODQJXDJHRIWKH)2,$LVFOHDUDQG

XQDPELJXRXV³>D@JHQF\DFWLRQWRGHQ\RUDIILUPGHQLDORIDUHTXHVWIRUH[SHGLWHGSURFHVVLQJ

VKDOOEHVXEMHFWWR>GHQRYR@MXGLFLDOUHYLHZH[FHSWWKDWWKHMXGLFLDOUHYLHZVKDOOEHEDVHG

RQWKHUHFRUGEHIRUHWKHDJHQF\DWWKHWLPHRIWKHGHWHUPLQDWLRQ´86&


 6HH3OV¶2SSWR'HIV¶&URVV0RWIRU6XPP-RQ([SHGLWHG3URFHVVLQJ(&)1RDWQ ³3OV¶2SS´ 
&LWLQJ%ORRPEHUJ3ODLQWLIIVSUHYLRXVO\FODLPHGWKDWGLVWULFWFRXUWVLQWKH6HFRQG&LUFXLWKDYHQRWVSHFLILHGZKR
EHDUVWKHEXUGHQRISURYLQJDFRPSHOOLQJQHHG6HH3OV¶2SSDWQ7KHGLVWULFWFRXUWLQ%ORRPEHUJFOHDUO\
VWDWHGKRZHYHUWKDWWKHEXUGHQWRGHPRQVWUDWHDFRPSHOOLQJQHHGIDOOVRQWKHUHTXHVWLQJSDUW\6HH%ORRPEHUJ/3
Y )'$)6XSSG 6'1<  ³)2,$UHTXLUHVH[SHGLWHGSURFHVVLQJRIUHTXHVWVLIWKHUHOHYDQW
SDUW\GHPRQVWUDWHVDFRPSHOOLQJQHHGIRUWKHPDWHULDOV´ 

 2UWL]Y7RZQRI6WUDWIRUG1RFY:/DW  '&RQQ$XJ DQG7DFNPDQY
*RRUG1RFY:/DW  :'1<6HSW LQYROYHGFLYLOULJKWVVXLWV
EURXJKWSXUVXDQWWR86&)7&Y0HGLFDO%LOOHUV1HWZRUN,QF)6XSSGQ
 6'1< ZDVDQDFWLRQWRHQIRUFHWKH)HGHUDO7UDGH&RPPLVVLRQ$FWDQG7HOHPDUNHWLQJ6DOHV5XOH
'DOWRQY6XEDUX,VX]X$XWR)G WK&LU LQYROYHGOLWLJDWLRQXQGHUWKH$PHULFDQVZLWK
'LVDELOLWLHV$FW0DUWLQVRQY863DUROH&RPP¶Q1RFY:/DW  6'1<-XO\
 ZDVDKDEHDVFRUSXVDFWLRQ

                                                         
                                                                                                          App000582
        Case 3:15-cv-00976-VAB Document 61 Filed 08/28/16 Page 3 of 6
Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 585 of 633 PageID 1311



  D  ( LLL  HPSKDVLVDGGHG 

    ,, (9(1,)7+(&2857&216,'(567+($'',7,21$/0$7(5,$/6
        3/$,17,))6+$9(67,//)$,/('720((77+(,5%85'(12)
        '(021675$7,1*$³&203(//,1*1(('´)257+(5(48(67('
        ,1)250$7,21

         (YHQLIWKH&RXUWH[HUFLVHVLWVHTXLWDEOHDXWKRULW\DQGFRQVLGHUVWKHDGGLWLRQDOPDWHULDOV

3ODLQWLIIV VHHN WR LQWURGXFH 3ODLQWLIIV VWLOO FDQQRW PHHW WKHLU EXUGHQ RI GHPRQVWUDWLQJ D

³FRPSHOOLQJ QHHG´ IRU WKH VSHFLILF LQIRUPDWLRQ WKH\ KDYH UHTXHVWHG XQGHU WKH )2,$  6HH

/DQGPDUN /HJDO )RXQG Y (3$  ) 6XSS G   ''&   FRQVLGHULQJ H[WUD

UHFRUG PDWHULDOV ZKHQ )2,$ UHTXHVWRU VRXJKW SUHOLPLQDU\ LQMXQFWLRQ RUGHULQJ H[SHGLWHG

SURFHVVLQJ XOWLPDWHO\ GHWHUPLQLQJ WKDW )2,$ UHTXHVWRU FRXOG QRW PHHW HLWKHU WKH H[SHGLWHG

SURFHVVLQJ RU SUHOLPLQDU\ LQMXQFWLRQ VWDQGDUGV   ,Q RUGHU WR SURYH D ³FRPSHOOLQJ QHHG´

ZDUUDQWLQJH[SHGLWHGSURFHVVLQJD)2,$UHTXHVWHUPXVWGHPRQVWUDWHHLWKHUWKDW  DIDLOXUHWR

REWDLQ WKH UHTXHVWHG UHFRUGV RQ DQ H[SHGLWHG EDVLV FRXOG UHDVRQDEO\ EH H[SHFWHG WR SRVH DQ

LPPLQHQW WKUHDW WR WKH OLIH RU VDIHW\ RI DQ LQGLYLGXDO RU   DV WR D UHTXHVW IURP D SHUVRQ



 $GGLWLRQDOO\ZLWKRXWFLWLQJDQ\DXWKRULW\3ODLQWLIIVDVVHUWWKDWWKH\KDYH³VXSSOHPHQWHGWKHDGPLQLVWUDWLYHUHFRUG
E\SURYLGLQJWKH)'$DQG++6WKHRSSRUWXQLW\WRUHFRQVLGHUWKHLUGHQLDORISODLQWLIIVUHTXHVWWRH[SHGLWH´3OV¶
0HP(&)1RDW3ODLQWLIIVKDYHQRWVXSSOHPHQWHGWKHDGPLQLVWUDWLYHUHFRUG++6¶V)HEUXDU\
OHWWHUPDGHFOHDUWKDWLW³FRQVWLWXWH>G@WKHILQDOGHFLVLRQRIWKH'HSDUWPHQWLQWKLVPDWWHU´([KLELW*WR3OV¶0HP
6XSS0RW3DUWLDO6XPP-([SHGLWHG3URFHVVLQJ(&)1RDW HPSKDVLVDGGHG 1HLWKHUWKH)2,$VWDWXWH
QRU'HIHQGDQWV¶UHJXODWLRQVSURYLGHIRUIXUWKHUFRQVLGHUDWLRQRIDUHTXHVWIRUH[SHFWHGSURFHVVLQJDIWHUD
GHWHUPLQDWLRQRQDQDSSHDOLVPDGH

 (YHQVRWRWKHH[WHQW3ODLQWLIIVDUHVHHNLQJWRKDYHWKH&RXUWRUGHUWKDW)'$PRYHWKHLU)2,$UHTXHVW³WRWKHWRS
RIWKHTXHXH´VXFKDUHTXHVWLVQRZPRRW3ODLQWLIIV¶)2,$UHTXHVWKDVUHFHQWO\UHDFKHGWKHWRSRI&'(5¶V)2,$
TXHXHDQG&'(5KDVDOUHDG\EHJXQWKHSURFHVVRIVHDUFKLQJIRUUHVSRQVLYHUHFRUGV6HH'HFODUDWLRQRI+RZDUG
3KLOLSV ³3KLOLSV'HFO´ DWWDFKHGKHUHWRDV([KLELW$*LYHQWKHEUHDGWKRI3ODLQWLIIV¶)2,$UHTXHVWDQGWKH
)2,$¶VVWDWXWRU\REOLJDWLRQIRU)'$WRFRQGXFWDQDGHTXDWHVHDUFK&DUQH\Y86'HS¶WRI-XVWLFH)G
 G&LU &'(5HVWLPDWHVWKDWLWZLOOWDNHDSSUR[LPDWHO\IRXUZHHNVWRFRPSOHWHLWVVHDUFKDQGLGHQWLI\
WKHUHVSRQVLYHUHFRUGV3KLOLSV'HFO$OWKRXJKLWLVGLIILFXOWDWWKLVWLPHWRDSSUR[LPDWHWKHWRWDOYROXPHRI
UHVSRQVLYHUHFRUGV&'(5DQWLFLSDWHVWKDWLWZLOOQHHGWRUHYLHZDSSUR[LPDWHO\HOHFWURQLFILOHVDQG
GRFXPHQWVZKLFKUDQJHLQOHQJWKIURPRQHSDJHWRSDJHVHDFK,G2QFH&'(5LGHQWLILHVUHVSRQVLYH
UHFRUGV&'(5ZLOOWKHQUHYLHZWKHUHFRUGVDQGUHGDFWLQIRUPDWLRQH[HPSWIURPGLVFORVXUH,G&'(5ZLOO
WKHQSUHSDUHD9DXJKQLQGH[WRGRFXPHQWDQ\ZLWKKROGLQJV,G%DVHGRQWKHIRUHJRLQJ&'(5DQWLFLSDWHVWKDW
LWZLOOEHDEOHWRIXOO\UHVSRQGWR3ODLQWLIIV¶)2,$UHTXHVWE\0DUFK,G)'$UHPDLQVDPHQDEOHWR
GLVFXVVLQJZLWK3ODLQWLIIVZD\VLQZKLFKWKH\PLJKWQDUURZWKHLUUHTXHVWVR)'$FDQILQLVKSURFHVVLQJWKHUHTXHVW
VRRQHU

                                                           
                                                                                                              App000583
        Case 3:15-cv-00976-VAB Document 61 Filed 08/28/16 Page 4 of 6
Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 586 of 633 PageID 1312



SULPDULO\ HQJDJHG LQ GLVVHPLQDWLQJ LQIRUPDWLRQ WKDW WKHUH LV DQ XUJHQF\ WR LQIRUP WKH SXEOLF

FRQFHUQLQJDFWXDORUDOOHJHGIHGHUDOJRYHUQPHQWDFWLYLW\86& D  ( Y VHHDOVR

&)5   1RQH RI WKH ³HOHYHQWK KRXU´ PDWHULDOV 3ODLQWLIIV QRZ VHHN WR LQWURGXFH

KRZHYHU VXSSRUW D ILQGLQJ RI D ³FRPSHOOLQJ QHHG´ IRU WKH UHFRUGV DFWXDOO\ UHTXHVWHG E\

3ODLQWLIIV

           0RUH VSHFLILFDOO\ 3ODLQWLIIV DUH DWWHPSWLQJ WR LQWURGXFH WZR UHFHQW VFLHQWLILF VWXGLHV

ZKLFK VXJJHVW D SRVVLELOLW\ RI KLJKHU UHFXUUHQFH UDWHV RI OLYHU FDQFHU LQ +HSDWLWLV & 9LUXV

SRVLWLYH SDWLHQWV UHFHLYLQJ WUHDWPHQW ZLWK GLUHFWDFWLQJ DQWLYLUDOV ³'$$V´  OLNH 6ROYDGL DQG

+DUYRQL DV ZHOO DV D WKLUG VFLHQWLILF DUWLFOH DQG RQH HGLWRULDO WKDW UHIXWH WKRVH ILQGLQJV  6HH

([KLELWV ' $PHQGHG ( ) DQG * WR 3OV¶ 0HP (&) 1RV    DQG 

UHVSHFWLYHO\3ODLQWLIIVFODLPWKDWWKHVHDUWLFOHVGHPRQVWUDWH³WKHQHHGIRULPPHGLDWHUHOHDVHRI

WKH FOLQLFDO WULDO GDWD DW WKH KHDUW RI WKLV ODZVXLW´  3OV¶ 0HP (&) 1R  DW   6D\LQJ LW

KRZHYHUGRHVQRWPDNHLWVR

           ,QGHHG3ODLQWLIIV¶DUJXPHQWLVIXQGDPHQWDOO\IODZHGEHFDXVHWKHPHUHH[LVWHQFHRIWZR

VFLHQWLILFDUWLFOHVWKDWVXJJHVWDKLJKHUUHFXUUHQFHUDWHRIOLYHUFDQFHUDIWHUWUHDWPHQWZLWK'$$V

HVSHFLDOO\ ZKHQ FRXQWHUHG E\ D WKLUG VFLHQWLILF DUWLFOH DQG RQH HGLWRULDO WKDW GLUHFWO\ FRQWUDGLFW

WKRVHVXJJHVWLRQVGRHVQRWOHDGWRWKHFRQFOXVLRQWKDWWKHIDLOXUHWRREWDLQWKHUDZFOLQLFDOWULDO

GDWD IRU 6ROYDGL DQG +DUYRQL RQ DQ H[SHGLWHG EDVLV FRXOG ³UHDVRQDEO\ EH H[SHFWHG WR SRVH DQ

LPPLQHQW WKUHDW WR WKH OLIH RU VDIHW\ RI DQ LQGLYLGXDO´  6HH  86&  D  ( Y 



 $VVXPLQJDUJXHQGRWKDWWKHWKUHHDUWLFOHVDQGRQHHGLWRULDODUHDGPLVVLEOHWRVXSSRUW3ODLQWLIIV¶FRPSHOOLQJQHHG
DUJXPHQWWKH\ZRXOGQRWEHDGPLVVLEOHWRHVWDEOLVKWKHWUXWKRIPDWWHUVUHIHUHQFHGWKHUHLQEXWUDWKHURQO\DVSURRI
WKDWWKHPDWWHUVZHUHVWDWHG6HHHJ8QLWHG6WDWHVY&HUWLILHG(QYLURQPHQWDO6HUYV)G G&LU
  FLWLQJ)HG5(YLG F DQG8QLWHG6WDWHVY.RKDQ)G G&LU  QRWLQJWKDWKHDUVD\LV
DQRXWRIFRXUWVWDWHPHQWRIIHUHGWRSURYHWKHWUXWKRIWKHPDWWHUDVVHUWHGEXWKRZHYHUWKDWDQRXWRIFRXUW
VWDWHPHQWRIIHUHGIRUVRPHRWKHUSXUSRVHVXFKDVWRVKRZWKDWDVWDWHPHQWZDVPDGHLVQRWKHDUVD\ $&/8RI1
&DOY86'HS¶WRI'HIHQVH1R&:+$:/DW  1'&DO0D\ 

    )RUWKHUHDVRQVVWDWHGLQ'HIHQGDQWV¶0HPRUDQGXPLQ2SSRVLWLRQWR3ODLQWLIIV¶0RWLRQIRU3DUWLDO6XPPDU\

                                                          
                                                                                                           App000584
        Case 3:15-cv-00976-VAB Document 61 Filed 08/28/16 Page 5 of 6
Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 587 of 633 PageID 1313



)XUWKHUPRUHDQ\LPSOLFDWLRQWKDWWKHXQGHUO\LQJFOLQLFDOWULDOGDWDIRU6ROYDGLDQG+DUYRQLZLOO

FRQWDLQ LQIRUPDWLRQ UHJDUGLQJ WKH UHFXUUHQFH UDWHV RI OLYHU FDQFHU IROORZLQJ WUHDWPHQW ZLWK

'$$VLVQRWKLQJPRUHWKDQVSHFXODWLRQRQWKHSDUWRI3ODLQWLIIV

         0RUHRYHULIWKH&RXUWDJUHHVZLWK3ODLQWLIIVWKDWWZRVFLHQWLILFDUWLFOHVLQYROYLQJVPDOO

SDWLHQWSRSXODWLRQVWKDWSUHOLPLQDULO\VXJJHVWDKLJKHULQFLGHQFHRIDQDGYHUVHHYHQWRUQHJDWLYH

RXWFRPHDIWHUWDNLQJDQ)'$DSSURYHGGUXJDUHVXIILFLHQWWRGHPRQVWUDWHD³FRPSHOOLQJQHHG´

WR H[SHGLWH SURFHVVLQJ RI UDZ FOLQLFDO WULDO GDWD WKHQ LW LV QR H[DJJHUDWLRQ WR VWDWH WKDW QHDUO\

HYHU\ )2,$ UHTXHVW VXEPLWWHG WR WKH DJHQF\ IRU XQGHUO\LQJ FOLQLFDO WULDO GDWD IRU DOPRVW DQ\

)'$DSSURYHGGUXJZRXOGQHHGWREHH[SHGLWHG&RXUWVKDYHUHSHDWHGO\FDXWLRQHGDJDLQVWVXFK

DQRXWFRPH6HH$O)D\HGY&,$)G '&&LU  TXRWLQJ+55HS1R

 DW    ³>$@Q XQGXO\ JHQHURXV DSSURDFK >WR H[SHGLWHG SURFHVVLQJ@ ZRXOG DOVR

GLVDGYDQWDJH WKRVH UHTXHVWRUV ZKR GR TXDOLI\ IRU H[SHGLWLRQ EHFDXVH SULRULWL]LQJ DOO UHTXHVWV

ZRXOGHIIHFWLYHO\SULRULWL]HQRQH´ VHHDOVR/DQGPDUN)6XSSGDW(OHF3ULYDF\

,QIR&WUY'HS¶WRI'HI)6XSSG ''& 

         )RUDOORIWKHVHUHDVRQV3ODLQWLIIV¶0RWLRQWR6XSSOHPHQWWKH6XPPDU\-XGJPHQW5HFRUG

VKRXOGEHGHQLHG




-XGJPHQW(&)1RDW3ODLQWLIIVDUHQRW³SULPDULO\HQJDJHGLQGLVVHPLQDWLQJLQIRUPDWLRQ´DQGWKXV
WKH\FDQQRWPHHWWKHVHFRQGSURQJRIWKH³FRPSHOOLQJQHHG´VWDQGDUG

 3ODLQWLIIV¶DUJXPHQWVEHIRUHWKLV&RXUWTXHVWLRQLQJWKHVDIHW\RI6ROYDGLDQG+DUYRQLDUHQRWRQO\VHOIVHUYLQJEXW
DOVRGLVLQJHQXRXV,QIDFWZKHQGLVFXVVLQJWKLVYHU\ODZVXLWZLWKWKHSUHVV*UHJJ*RQVDOYHVRI3ODLQWLII*OREDO
+HDOWK-XVWLFH3DUWQHUVKLSVWDWHG³>Z@H¶UHQRWDVNLQJEHFDXVHZHWKLQNWKHUH¶VVRPHKRUULEOHVLGHHIIHFWOXUNLQJLQ
WKHGDWD´6HH$WWDFKPHQWWR'HFODUDWLRQRI/DXULH+LPHEDXJK(&)1R7KH)2,$FRQWHPSODWHV
H[SHGLWHGSURFHVVLQJZKHQWKH)2,$UHTXHVWRUFDQGHPRQVWUDWHDFRPSHOOLQJQHHG²DILVKLQJH[SHGLWLRQLV
LQVXIILFLHQW

                                                          
                                                                                                            App000585
        Case 3:15-cv-00976-VAB Document 61 Filed 08/28/16 Page 6 of 6
Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 588 of 633 PageID 1314




'DWHG$XJXVW                         '(,'5(0'$/<

                                                 8QLWHG6WDWHV$WWRUQH\


2)&2816(/                                     V$ODQ06RORZD\
                                                 $ODQ06RORZD\$86$
0$5*$5(70'27=(/                              86$WWRUQH\¶V2IILFH
$FWLQJ*HQHUDO&RXQVHO                         'LVWULFWRI&RQQHFWLFXW
                                                 &KXUFK6WUHHWWK)ORRU
(/,=$%(7++',&.,1621                          1HZ+DYHQ&W
&KLHI&RXQVHO                                   
)RRGDQG'UXJ'LYLVLRQ                         )D[  
                                                 )HGHUDO%DUFW
$11$0$5,(.(03,&                               DODQVRORZD\#XVGRMJRY
'HSXW\&KLHI&RXQVHO/LWLJDWLRQ

6+$112106,1*/(721
$VVRFLDWH&KLHI&RXQVHOIRU(QIRUFHPHQW
8QLWHG6WDWHV'HSDUWPHQWRI+HDOWKDQG+XPDQ6HUYLFHV
2IILFHRIWKH*HQHUDO&RXQVHO
:KLWH2DN%OGJ5RRP
1HZ+DPSVKLUH$YH
6LOYHU6SULQJ0'
  




                                            
                                                                                 App000586
       Case 3:15-cv-00976-VAB Document 61-1 Filed 08/28/16 Page 1 of 4
Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 589 of 633 PageID 1315




              Exhibit A




                                                                    App000587
       Case 3:15-cv-00976-VAB Document 61-1 Filed 08/28/16 Page 2 of 4
Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 590 of 633 PageID 1316



                             81,7('67$7(6',675,&7&2857
                               ',675,&72)&211(&7,&87

75($70(17$&7,21*5283DQG
*/2%$/+($/7+-867,&(
3$571(56+,3
                                                              &DVH1RFY9$%
                        3ODLQWLII

Y

)22'$1''58*$'0,1,675$7,21DQG
'(3$570(172)+($/7+$1'+80$1
6(59,&(6

                  'HIHQGDQWV
BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


                         '(&/$5$7,212)+2:$5'53+,/,36

        ,+RZDUG53KLOLSVKHUHE\GHFODUHDVIROORZV

              , DP WKH 'HSXW\ 'LUHFWRU RI WKH 'LYLVLRQ RI ,QIRUPDWLRQ 'LVFORVXUH 3ROLF\

³','3´  &HQWHU IRU 'UXJ (YDOXDWLRQ DQG 5HVHDUFK ³&'(5´  8QLWHG 6WDWHV )RRG DQG 'UXJ

$GPLQLVWUDWLRQ ³)'$´  LQ 6LOYHU 6SULQJ 0DU\ODQG  , VXEPLW WKLV GHFODUDWLRQ LQ VXSSRUW RI

'HIHQGDQWV¶2SSRVLWLRQWR3ODLQWLIIV¶0RWLRQWR6XSSOHPHQWWKH 6XPPDU\-XGJPHQW5HFRUGLQ

WKHDERYHFDSWLRQHGPDWWHU

              7KHVWDWHPHQWVPDGHLQ WKLV GHFODUDWLRQDUHEDVHG XSRQP\SHUVRQDONQRZOHGJH

DQG LQIRUPDWLRQ DYDLODEOH WR PH LQ P\ RIILFLDO FDSDFLW\ DQG DERXW ZKLFK , KDYH EHFRPH

NQRZOHGJHDEOH

              ,KDYHVXSHUYLVRU\DXWKRULW\RYHU','3ZKLFKSURFHVVHVDQGUHVSRQGVWRUHTXHVWV

PDGHSXUVXDQWWRWKH)UHHGRPRI,QIRUPDWLRQ$FW ³)2,$´ IRUGRFXPHQWVLQWKHSRVVHVVLRQRI

&'(5




                                                                                               App000588
       Case 3:15-cv-00976-VAB Document 61-1 Filed 08/28/16 Page 3 of 4
Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 591 of 633 PageID 1317



               $W P\ GLUHFWLRQ ','3 SHUVRQQHO VHDUFK IRU UHFRUGV XQGHU &'(5¶V FRQWURO WR

LGHQWLI\ GRFXPHQWV DQG RWKHU LQIRUPDWLRQ WKDW PD\ EH UHVSRQVLYH WR SDUWLFXODU LQIRUPDWLRQ

UHTXHVWV  ','3 VWDII JDWKHUV DQG UHYLHZV SRWHQWLDOO\ UHVSRQVLYH GRFXPHQWV WR GHWHUPLQH

ZKHWKHUEHIRUHEHLQJPDGHDYDLODEOHIRUSXEOLFGLVFORVXUHWKH\VKRXOGEHUHGDFWHGLQSDUWRULQ

WKHLUHQWLUHW\XQGHUDQ\DSSOLFDEOH)2,$H[HPSWLRQRURWKHUVWDWXWRU\SURYLVLRQ

               %HFDXVH3ODLQWLIIV¶)2,$UHTXHVWKDVQRZUHDFKHGWKHIURQWRIWKHTXHXH&'(5

KDVEHJXQWKHSURFHVVRIVHDUFKLQJIRUUHVSRQVLYHUHFRUGV

               'XHWRWKHEUHDGWKRILQIRUPDWLRQUHTXHVWHGE\ 3ODLQWLIIVLQWKHLU )2,$ UHTXHVW

&'(5DQWLFLSDWHVDYROXPLQRXVQXPEHURIUHFRUGVUHVSRQVLYHWRWKHUHTXHVW

               &'(5 DQWLFLSDWHV WKDW LW ZLOO WDNH DW OHDVW IRXU ZHHNV WR FRQGXFW DQ DGHTXDWH

VHDUFKDQGFROOHFWSRWHQWLDOO\UHVSRQVLYHUHFRUGV%DVHGRQFXUUHQWHVWLPDWHV&'(5DQWLFLSDWHV

WKDW LW ZLOO QHHG WR UHYLHZ DW OHDVW  HOHFWURQLF ILOHV DQG  GRFXPHQWV ZKLFK UDQJH LQ

OHQJWKIURPRQHSDJHWRSDJHVHDFK

               2QFH&'(5KDVLGHQWLILHGWKRVHUHFRUGVWKDWDUHUHVSRQVLYHWR3ODLQWLIIV¶UHTXHVW

&'(5 PXVW UHYLHZ HDFK UHFRUG WR GHWHUPLQH ZKHWKHU &'(5 QHHGV WR UHGDFW XQGHU DQ\

DSSOLFDEOH)2,$H[HPSWLRQRURWKHUVWDWXWRU\SURYLVLRQWKHUHFRUGLQIXOORULQSDUW

               &'(5ZLOOWKHQSUHSDUHD9DXJKQLQGH[WRGRFXPHQWDQ\ZLWKKROGLQJV

              %DVHG RQ WKH IRUHJRLQJ &'(5 DQWLFLSDWHV WKDW LW ZLOO FRPSOHWH SURFHVVLQJ

3ODLQWLIIV¶)2,$UHTXHVWE\0DUFK

                                   >6,*1$785(211(;73$*(@




                                                                                                     App000589
       Case 3:15-cv-00976-VAB Document 61-1 Filed 08/28/16 Page 4 of 4
Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 592 of 633 PageID 1318




                                                                    App000590
        Case 3:15-cv-00976-VAB Document 78 Filed 05/12/17 Page 1 of 5
Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 593 of 633 PageID 1319



                             81,7('67$7(6',675,&7&2857
                               ',675,&72)&211(&7,&87

75($70(17$&7,21*5283DQG
*/2%$/+($/7+-867,&(
3$571(56+,3
                                                             &DVH1RFY9$%
                       3ODLQWLIIV
                                                             0D\
Y

)22'$1''58*$'0,1,675$7,21DQG
'(3$570(172)+($/7+$1'+80$1
6(59,&(6

                  'HIHQGDQWV
BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                      -2,1767$7865(3257

       3ODLQWLIIV7UHDWPHQW$FWLRQ*URXS ³7$*´ DQG*OREDO+HDOWK-XVWLFH3DUWQHUVKLS

³*+-3´ 'HIHQGDQWVWKH)RRGDQG'UXJ$GPLQLVWUDWLRQ ³)'$´ DQGWKH'HSDUWPHQWRI

+HDOWKDQG+XPDQ6HUYLFHV ³++6´ DQG,QWHUYHQRU*LOHDG6FLHQFHV,QF ³*LOHDG´ ILOHWKLV

-RLQW6WDWXV5HSRUWSXUVXDQWWRWKH&RXUW¶V0D\2UGHU(&)1R7KHSDUWLHVVXEPLW

WKLV-RLQW6WDWXV5HSRUWWRDSSULVHWKH&RXUWRIWKHLUSURJUHVVLQUHDFKLQJDUHVROXWLRQ

        2Q1RYHPEHU3ODLQWLIIVDQG'HIHQGDQWVILOHGD-RLQW6WDWXV5HSRUW

³1RYHPEHU-RLQW6WDWXV5HSRUW´ WRQRWLI\WKH&RXUWWKDWWKH\KDGDJUHHGRQD

QDUURZHGVFRSHRI3ODLQWLIIV¶)UHHGRPRI,QIRUPDWLRQ$FW ³)2,$´ UHTXHVWDQGDSURGXFWLRQ

WLPHOLQH(&)1R

        2Q)HEUXDU\3ODLQWLIIVDQG'HIHQGDQWVPHWDQGFRQIHUUHGSXUVXDQWWRWKH

WHUPVRIWKH1RYHPEHU-RLQW6WDWXV5HSRUWWRGLVFXVVSRWHQWLDO³$GGLWLRQDO5HFRUGV´

(&)1R




                                                                                               App000591
        Case 3:15-cv-00976-VAB Document 78 Filed 05/12/17 Page 2 of 5
Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 594 of 633 PageID 1320



        )'$FRPSOHWHGSURGXFWLRQRIUHVSRQVLYHUHFRUGVWR3ODLQWLIIVRQ$SULO)'$

SURGXFHGSDJHVRIUHFRUGVDQGHOHFWURQLFILOHVZLWKUHGDFWLRQV

        2Q$SULO)'$SURGXFHGWR3ODLQWLIIVD9DXJKQLQGH[RIWKHHOHFWURQLFILOHV

)'$ZLWKKHOGLQIXOO

        2Q0D\3ODLQWLIIVLGHQWLILHGFHUWDLQHOHFWURQLFILOHVWKH\EHOLHYHGZHUH

³$GGLWLRQDO5HFRUGV´QRWLQFOXGHGLQ)'$¶VSURGXFWLRQV

        2Q0D\)'$LQIRUPHG3ODLQWLIIVE\OHWWHUWKDWWKHUHFRUGVLGHQWLILHGE\

3ODLQWLIIVKDGHLWKHU  DOUHDG\EHHQSURGXFHGE\)'$  DOUHDG\ZHUHZLWKKHOGLQIXOOE\

)'$RU  GLGQRWH[LVWLQ)'$¶VUHFRUGV$FFRUGLQJO\)'$KDVFRPSOHWHGSURGXFWLRQV

        7KHSDUWLHVFRQWLQXHWRHQJDJHLQSURGXFWLYHGLVFXVVLRQVWRQDUURZRUHOLPLQDWHWKH

VFRSHRIGLVDJUHHPHQWRQWKHZLWKKROGLQJV

        %HFDXVHWKHSDUWLHVDUHZRUNLQJWRJHWKHUSURGXFWLYHO\WRUHVROYHWKLVPDWWHUDQG

EHFDXVHDGGLWLRQDOWLPHLVQHHGHGWRGHWHUPLQHWKHVFRSHRIDQ\GLVDJUHHPHQWWKDWPLJKWUHTXLUH

EULHILQJWKHSDUWLHVSURSRVHWRILOHDQRWKHU-RLQW6WDWXV5HSRUWRQRUEHIRUH-XQH$

SURSRVHGRUGHULVDWWDFKHG

'DWHG1HZ+DYHQ&RQQHFWLFXW
       0D\


                                                   5HVSHFWIXOO\VXEPLWWHG

V&RUWHO\RX&.HQQH\
&RUWHO\RX&.HQQH\ FW                      'HLUGUH0'DO\
0DUJDUHW0F&DUWK\ SKY                       8QLWHG6WDWHV$WWRUQH\IRUWKH
0HGLD)UHHGRPDQG,QIRUPDWLRQ                     'LVWULFWRI&RQQHFWLFXW
$FFHVV&OLQLF<DOH/DZ6FKRRO
32%R[                                   V$ODQ06RORZD\
1HZ+DYHQ&7                               $ODQ06RORZD\$86$ FW 
                                        86$WWRUQH\¶V2IILFH
$WWRUQH\VIRU3ODLQWLIIV                           'LVWULFWRI&RQQHFWLFXW
                                                   &KXUFK6WUHHWWK)ORRU



                                                                                           App000592
        Case 3:15-cv-00976-VAB Document 78 Filed 05/12/17 Page 3 of 5
Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 595 of 633 PageID 1321



                                      1HZ+DYHQ&W
                                       

                                      V6KDQQRQ06LQJOHWRQ
                                      6KDQQRQ06LQJOHWRQ
                                      86)RRGDQG'UXJ$GPLQLVWUDWLRQ
                                      86'HSDUWPHQWRI+HDOWKDQG+XPDQ
                                      6HUYLFHV SKY 
                                      2IILFHRIWKH*HQHUDO&RXQVHO
                                      :KLWH2DN%OGJ5RRP
                                      1HZ+DPSVKLUH$YH
                                      6LOYHU6SULQJ0'
                                        
                                      $WWRUQH\VIRU'HIHQGDQWV

                                      V-RKQ3'¶$PEURVLR
                                      -RKQ3'¶$PEURVLR FW 
                                      &RZGHU\ 0XUSK\//&
                                      7UXPEXOO6WUHHW
                                      +DUWIRUG&7
                                        

                                      0LQJKDP-L SKY 
                                      &RYLQJWRQ %XUOLQJ//3
                                      2QH&LW\&HQWHU
                                      7HQWK6WUHHW1:
                                      :DVKLQJWRQ'&
                                        
                                      $WWRUQH\VIRU,QWHUYHQRU




                                                                         App000593
        Case 3:15-cv-00976-VAB Document 78 Filed 05/12/17 Page 4 of 5
Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 596 of 633 PageID 1322



                           81,7('67$7(6',675,&7&2857
                             ',675,&72)&211(&7,&87

75($70(17$&7,21*5283DQG
*/2%$/+($/7+-867,&(
3$571(56+,3
                                                       &DVH1RFY9$%
                      3ODLQWLIIV

Y

)22'$1''58*$'0,1,675$7,21DQG
'(3$570(172)+($/7+$1'+80$1
6(59,&(6

                  'HIHQGDQWV
BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                          25'(5

        8321&216,'(5$7,21RIWKHSDUWLHV¶-RLQW6WDWXV5HSRUWLWLVKHUHE\

        25'(5('WKDWWKHSDUWLHVZLOOVXEPLWDQRWKHU-RLQW6WDWXV5HSRUWRQRUEHIRUH-XQH



        6225'(5('



'DWH                                             8QLWHG6WDWHV'LVWULFW-XGJH




                                                                                     App000594
        Case 3:15-cv-00976-VAB Document 78 Filed 05/12/17 Page 5 of 5
Case 4:21-cv-01058-P Document 27 Filed 12/07/21 Page 597 of 633 PageID 1323



                                &(57,),&$7(2)6(59,&(

       ,FHUWLI\WKDWRQ0D\,ILOHGWKLV-2,1767$7865(3257ZLWKWKH&OHUNRI

WKH&RXUWXVLQJWKH&0(&)GRFNHWLQJV\VWHPZKLFKZLOOPDLODFRS\WRDOOFRXQVHORIUHFRUG

FDSDEOHRIUHFHLYLQJHOHFWURQLFSOHDGLQJV

                                                 VBBBBBBBBBBBBBBBBB
                                                 $ODQ06RORZD\




                                                                                   App000595
      Case 4:21-cv-01058-P Document 27 Filed 12/07/21                        Page 598 of 633 PageID 1324

      Caution
As of: December 7, 2021 4:43 AM Z


                                                   !"#
                    United States District Court for the Eastern District of Texas, Sherman Division

                                  February 1, 2021, Decided; February 1, 2021, Filed

                                              Civil Action No. 4:20-cv-447

./
2021 U.S. Dist. LEXIS 18199 *; 2021 WL 327510
                                                             Scheduling Order Deadlines (Dkt. #10). After reviewing
BRIAN HUDDLESTON, v. FEDERAL BUREAU OF
                                                             the Motion and the relevant pleadings, the Court finds
INVESTIGATION and UNITED STATES
                                                             the Motion should be granted in part and denied in part.
DEPARTMENT OF JUSTICE.

% <  * Stay granted by    !"#
                                                             "G9.7$,
$ %    0'1#%266>'       () *?
                                                             This case arises out of Plaintiff Brian Huddleston's FOIA
(                                                    requests against Defendants the Federal Bureau of
                                                             Investigation ("FBI") and the Department of Justice
requests, processing, scheduling order, Deadlines,           ("DOJ") (Dkt. #1), which are pending before Defendants
exceptional circumstances, responding                        now (Dkt. #3, Exhibits 1-3). On October 22, 2020, the
                                                             Court entered a scheduling order (Dkt. #9).
      [*1] For Brian Huddleston, Plaintiff: Ty Odell
Clevenger, Ty Odell Clevenger, Attorney At Law,              On December 16, 2020, Defendants filed their Motion to
Brooklyn, NY.                                                Stay Scheduling Order Deadlines (Dkt. #10), currently

For Federal Bureau of Investigation, U.S. Department of      before the Court. On December 30, 2020, Plaintiff filed

Justice, Defendants: Andrea Hedrick Parker, LEAD             his response (Dkt. #11). On January 6, 2021,

ATTORNEY, U S Attorney, Beaumont, TX.                        Defendants filed their reply (Dkt. #12). On January 7,
                                                             2021, Plaintiff filed his first sur-reply (Dkt. #13). On
;=      AMOS L. MAZZANT, UNITED STATES                    January [*2] 14, 2021, Defendants filed a sur-reply (Dkt.
DISTRICT JUDGE.                                              #15). And on January 20, 2021, Plaintiff filed his second
                                                             sur-reply (Dkt. #18).
7/  * AMOS L. MAZZANT


7/                                                        0'90%(, .

                                                             The authority to stay proceedings is "incidental to the
                                                             power inherent in every court to control the disposition
'7., $7:#,#7,, 7. '.
                                                             of the causes on its docket with economy of time and

Pending before the Court is Defendants' Motion to Stay       effort for itself, for counsel, and for litigants." 0    

                                                                                                           App000596
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21                             Page 599 of 633 PageID 1325
                                                86'LVW/(;,6 


,   33$ % 266%  I20 '                 determine within 20 days (excepting Saturdays,
6 >3I?. Because stays are "an 'intrusion into the                  Sundays, and legal public holidays) after the receipt
ordinary      processes   of   administration    and    judicial        of any such request whether to comply with such
review,'" ,C  66I$ % 23%                  request and shall immediately notify the person
30 ' 66>3? (quoting 8 :                  making such request of such determination and the
;   E    !: 63 !  3 36  $ %               reasons therefor.
//      I >     362? (per curiam)), they are
                                                                   6 $ %   K 66>?>I?>?>?>#?. "[R]equesting parties
"not a matter of right, even if irreparable injury might
                                                                   constructively exhaust their available administrative
otherwise result," 8=  .   $ % 
                                                                   remedies with respect to their request if the responding
$ %  I62 I  %      0  '  I >3I?.
                                                                   agency fails to comply with the statutory deadlines."
Instead, stays are "an exercise of judicial discretion, and
                                                                      $  %  #=  L   
the 'party requesting a stay bears the burden of showing
                                                                   '   ,  ':-3-8-3- 9  $ % 
that the circumstances justify an exercise of that
                                                                       0'1#% 6I  50   4 >5       () 
discretion.'" #   % : :      (    &* 
                                                                   ; ? (citing 6$ %  K66>?>I?>?>?). But "[i]f
0066I$ % 3I3I3%  60 ' 
                                                                   the Government can show exceptional circumstances
26 >3? (per curiam) (quoting ,C  66I $ %  
                                                                   exist and that the agency is exercising due diligence in
-);  ')    !"# 6 !    >3&
                                                                   responding    to   the   request,"    courts     "may   retain
 3I? (explaining that the responding agency bears
                                                                   jurisdiction and allow the agency additional time to
the burden to demonstrate its due diligence in fulfilling
                                                                   complete its review of the records." 6 $ %   K
its FOIA-related obligations).
                                                                   66>?>I?>?>?;  *  ,B  !     !"#
The decision to stay proceedings is "left to the sound             2! %// 6-I>          3?.
discretion of the district court, and it is the district court's
                                                                   Even    though     Defendants        do   not      invoke   K
responsibility to weigh the competing interests of the
                                                                   66>?>I?>?>?'s exceptional-circumstances exception in
parties relating to the appropriateness of a stay." 5 
                                                                   the Motion or subsequent pleadings, it appears to be the
  = #     '*0 #  66! %// 
                                                                   argument Defendants effectively offer here. Their
2226>,      () 6? (citing 0  33$ % 
                                                                   rationale breaks down into two parts: there are a lot [*4]
6-66). Since "FOIA imposes no limits on courts'
                                                                   of documents to review (Dkt. #10 at pp. 2-3; Dkt. #12 at
equitable [*3] powers in enforcing its terms," deciding
                                                                   p. 3; Dkt. #15 at p. 2), and FOIA-response resources
whether to grant a stay is unaffected by FOIA. :* 
                                                                   have lessened due to the COVID-19 pandemic (Dkt.
'   #     $  %  2 !  2I 3 I
                                                                   #10 at pp. 3-4; Dkt. #12 at p. 2; Dkt. #15 at p. 2).
$ % //   I>   322? (citing . = 
"    "    & =   6 $ %   3- 3 The latter of these arguments is entirely
%  230 ' >3??.                           understandable. The COVID-19 pandemic has severely
                                                                   disrupted the normal functioning of government, and

,0D%#%                                                           processing FOIA requests is no exception. % OFF. OF
                                                                   INFO. POL'Y, U.S. DEP'T OF JUST., 9  = *
Under FOIA, once the responding agency receives a                  !7#       0=&   78# -3 #/ ,
records request, it must, among other things,


                                                                                                                   App000597
                                                          Page 2 of 5
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21                            Page 600 of 633 PageID 1326
                                             86'LVW/(;,6 


https://www.justice.gov/oip/guidance-agency-foia-              possibly within the purview of Plaintiff's requests (Dkt.
administration-light-covid-19-impacts (last updated May        #10 at p. 3). Defendants state they still need to review
28, 2020). If the COVID-19 crisis is not an "exceptional       these documents [*6]          "to determine responsiveness
circumstance" under K 66>?>I?>?>?, the Court is           and, as to the responsive material, to make release
unsure when the exception would ever apply.                    determinations        in     accordance          with   applicable
                                                               exemptions" (Dkt. #12 at p. 3).
Notwithstanding,     the    problem   with     the    Motion
Defendants advance is the due-diligence element                The Court recognizes the "unprecedented workload"
required by FOIA. 6 $ %   K 66>?>I?>?>? ("If the       Defendants face on this front given current global
Government can show exceptional circumstances exist            circumstances (Dkt. #12 at p. 3). But the proposed
and that & = *   )  =  =    processing rate is impermissible. Given the information
 /  =&<  . . . ." (emphasis added)). For      currently before the Court, processing 250 pages per
one thing, Defendants' requested relief is too pliable for     month during this reduced-staffing period and 500
the Court's comfort. The Motion initially requests "an         pages per month when staffing returns to normal would
additional   three   months    to   complete    the   tasks"   be an unreasonable delay. As Plaintiff indicates, this
described [*5] therein, at which time Defendants plan to       rate would mean that at best, producing just the FBI
provide the Court with "an updated search status" and          materials would take three years and fourth months, and
proposed "production schedule" (Dkt. #10 at p. 4). In          at worst, nearly seven years (Dkt. #18 at p. 4).1 %
their reply, Defendants reaffirm that their request is          = , *   7;! %// 2623>                   
"reasonable" and "in good faith" (Dkt. #12 at p. 1). Only      3I? (explaining that when Congress created FOIA's
in their sur-reply do Defendants—for the first time—           due-diligence      requirement,       it   did    not   intend   for
begin to outline what a production schedule =& look         production to take years). Further, this timeline is only
like (  Dkt. #15 at p. 2). Even in these extraordinary       for the FBI's processing and production—the information
times, the degree of malleability Defendants propose for       the Court currently has does not relate where the DOJ is
the proceedings is unreasonable. FOIA "represents a            in its process. All that is provided in this regard is that
strong Congressional commitment to transparency in             the average time it takes the DOJ to work through
government through the disclosure of government               requests of this nature is "about 10 months" (Dkt. #10 at
information." ; 5& #     %  %    p. 3).
33 !  %//   3 3 >     ?,  E,  ! 
3  $ %  //         >     ?. The     FOIA      sets    out [*7]    temporal      guidelines     for   its
shapeless nature of the relief Defendants seek is              procedures to ensure expeditious processing and
anything but transparent.                                      production of information under the statutory scheme.
                                                               5 &  :    % 63 !  %//   I  >             
As well, the rate at which Defendants intend to process
                                                               I? ("FOIA was created to foster public awareness,
and produce documents is murky at best. The FBI has
identified "over 20,000 pages" potentially within the
                                                               1 While   Plaintiff's argument regarding timeliness is well taken
scope of Plaintiff's requests (Dlt. #10 at p. 2). The DOJ
"is continuing to review" its search results, and to this      (Dkt. #13 at pp. 1-2; Dkt. #18 at p. 4), the Court agrees with
                                                               Defendants that comparisons to document production by
point, has "similarly located tens of thousands of pages"
                                                               private entities is inapt (Dkt. #15 at p. 1).


                                                                                                                   App000598
                                                        Page 3 of 5
       Case 4:21-cv-01058-P Document 27 Filed 12/07/21                  Page 601 of 633 PageID 1327
                                           86'LVW/(;,6 


and failure to process FOIA requests in a timely fashion      AMOS L. MAZZANT
is 'tantamount to denial.'" (quoting H.R. REP. NO. 93-
                                                              UNITED         STATES   DISTRICT         JUDGE
876, at 6 (1974)). The vague and dragged-out timeline
Defendants suggest cannot be sustained without a
greater showing of exceptional circumstances because
"stale information" produced pursuant to FOIA requests
"is of little value." :* '  #  2! 2I.
Granting the relief Defendants seek would thwart FOIA's
"basic purpose" of "open[ing] agency action to the light
of public scrutiny."   /E ! . 6$ % 
6  3I %    63 2 0  '    >3I?
(internal quotation marks omitted).

To be sure, were Defendants to (1) explain the
exceptional circumstances associated with the handling
of Huddleston's FOIA requests more precisely, and (2)
present a less amorphous processing and production
schedule, the Court would be open to considering a
reasonable delay of the proceedings. But given the
Motion and relevant pleadings, the Court does not find
the      exceptional-circumstances     FOIA     exception
applicable and utilizes its inherent authority to extend
the scheduling order deadlines for an appropriate [*8]
length of time.



7,0$%#7,

It is therefore 7. '.'        that Defendants' Motion to
Stay Scheduling Order Deadlines (Dkt. #10) is hereby
9.,('  / and        ',#'  /. It is !$.('.
7. '.'        the Scheduling Order in this case is
amended as follows:
      Go to table1

#(#%%77. '.' .

%#9,' &  * !*.

/s/ Amos L. Mazzant




                                                                                                 App000599
                                                      Page 4 of 5
    Case 4:21-cv-01058-P Document 27 Filed 12/07/21                           Page 602 of 633 PageID 1328
                                           86'LVW/(;,6 


(>Return      to related document text?
                        April 23, 2021     Deadline for Defendants' Complete
                                           Production of Documents and 8=& Index
                        May 24, 2021       Defendants' Motion for Summary Judgment
                        June 23, 2021      Plaintiff's Opposition and Cross-Motion
                                           for Summary Judgment
                        July 7, 2021       Defendants' Reply and Opposition
                        July 21, 2021      Plaintiff's Reply

                                                                              (>Return   to related document text?


  '    




                                                                                                          App000600
                                                        Page 5 of 5
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21                           Page 603 of 633 PageID 1329

    Neutral
As of: December 7, 2021 4:43 AM Z


        ! "!"#$  % &   
                                                       ' 
                    United States District Court for the Western District of Texas, El Paso Division

                                  January 28, 2021, Decided; January 28, 2021, Filed

                                                      EP-19-CV-00236-FM

6 
2021 U.S. Dist. LEXIS 16469 *; 2021 WL 289548

DIOCESAN MIGRANT & REFUGEE SERVICES, INC.,
Plaintiff, v. UNITED STATES IMMIGRATION AND
                                                               ;6 
CUSTOMS ENFORCEMENT, Defendant.


& *                                                      ;'<*%<,,7%&*%;1;**;'D
                                                               1'' &; *
documents, records, attorney's fees, redactions,
                                                               Before the court are "Plaintiff's Opposed Application for
exemptions, immigration, requests, Sheet, pages,
                                                               Attorney Fees and Costs" ("Motion") [ECF No. 56], filed
deadline, field office, hourly rate, costs, asylum, email,
                                                               November 2, 2020 by Diocesan Migrant & Refugee
billing, seekers, reasonable basis, disclosure, searches,
                                                               Services,     Inc.   ("DMRS");   "Response    to   Plaintiff's
withhold, inlaw, prevailed, lodestar, thirty-three,
                                                               Application for Attorney Fees and Costs" [ECF No. 65],
calculate, practices, uncover, reasonable attorney's
                                                               filed November 23, 2020 by United States Immigration
fees, privileges
                                                               and Customs Enforcement ("ICE"); and "Plaintiff's Reply
&        [*1] For Diocesan Migrant & Refugee                to Defendant's Response to Plaintiff's Application for
Services, Inc., Plaintiff: Christopher Benoit, LEAD            Attorney Fees and Costs" ("Reply") [ECF No. 66], filed
ATTORNEY, Law Office of Lynn Coyle, PLLC, El Paso,             November 25, 2020. After due consideration of the
TX; Lynn A. Coyle, The Law Office of Lynn Coyle,               Motion, Response, Reply, and applicable law, the
PLLC, El Paso, TX.                                             Motion is <*'.

For United States Immigration and Customs
Enforcement, Defendant: Manuel Romero, LEAD                    %" C&E<;#
ATTORNEY, U.S. Attorney, Western District of Texas,
El Paso, TX.
                                                               ",2*
-$      FRANK MONTALVO, UNITED STATES
                                                               In 2019, the United States government implemented a
DISTRICT JUDGE.
                                                               policy titled the Migrant Protection Protocols ("MPP").

;6 . FRANK MONTALVO                                      Pursuant [*2] to the MPP, selected asylum seekers

                                                                                                            App000601
         Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                       Page 604 of 633 PageID 1330
                                                    86'LVW/(;,6 


must remain in Mexico while they wait for U.S.                            sought records related to the implementation of the

immigration judges to hear their asylum cases.1 The                       MPP         and      asylee      access       to    attorneys    prior   to

MPP was first implemented at the San Ysidro port of                       immigration hearings. [*3] 8 ICE did not produce any

entry in January 2019.2 It was then implemented at the                    responsive documents within the twenty-day statutory

El Paso port of entry in May 2019 and at the Laredo and                   deadline.9 DMRS filed suit to compel production on

Brownsville ports of entry later in 2019.3                                August 22, 2019.10

DMRS is a non-profit organization that provides know-                     Toni Fuentes ("Fuentes"), a Deputy FOIA Officer for
your-rights information and legal representation for                      ICE, was immediately responsible for supervising ICE
asylum seekers prior to their appearances before an                       responses to requests for records under FOIA.11 Due to
immigration         judge.4    It   provided    know-your-rights          an ICE administrative error, ICE did not become aware
information to asylum seekers subject to the MPP                          of DMRS's FOIA request until after the initiation of this
during the brief time the asylum seekers were in the                      lawsuit.12 Fuentes assisted in locating DMRS's FOIA
United States prior to immigration hearings.5 In June                     request, at which time she assigned the request to the
2019, ICE and the United States Department of Justice                     litigation team of the ICE FOIA Office for expedited
Executive Officer for Immigration Review ("DOJ-EOIR")                     processing of the request.13
informed DMRS that it would no longer be permitted to
provide know-your-rights-information to asylum seekers                    Approximately four-and-a-half months after the statutory
                                                                          deadline to respond, on December 16, 2019, ICE
waiting for immigration hearings.6
                                                                          notified      DMRS         it    identified    ninety-two       pages    of
On July 1, 2019, DMRS submitted a request for                             potentially responsive records.14 Ten pages were
information to ICE pursuant to the 1$                               provided in full, twenty-eight pages contained redacted
%    GF1;%FH : #" "&" KK ::  >"7 It               information,          fourteen      pages          were    deemed      non-
                                                                          responsive or duplicates, and the remaining forty pages
1 "Findings      of Fact and Conclusions of Law" 3, ECF No. 44,           required           "consultation       with        other   agencies      or
entered Oct. 19, 2020.                                                    components" and ICE stated they would "be produced

2 %$"



3 %$"                                                                     8 %$"



4 "Plaintiff's   Original Complaint" ("Compl.") 2    6, ECF No. 1,        9    $" at 5.           :#" "&"K::GHG5HGHGH.
filed Aug. 22, 2019; "FOIA Request," Ex. 1.           Plaintiff's
                                                                          10    . Compl.
Opposed Application for Attorney Fees and Costs" ("Mot."),
ECF No. 56, filed Nov. 2, 2020, "Declaration of Melissa M.                11 %$"   at 2-3.
Lopez" 3, ECF No. 56-1, Ex. 3.
                                                                          12 "Transcript      of Bench Trial" 15, ECF No. 63, filed Nov. 16,
5 %$"                                                                     2020.

6 %$"   at 2   7.                                                         13 %$"   at 13.

7 Findings     of Fact and Conclusions of Law 3.                          14 Findings       of Fact and Conclusions of Law 2.


                                                                                                                                     App000602
                                                              Page 2 of 17
         Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                  Page 605 of 633 PageID 1331
                                                   86'LVW/(;,6 


at a later date."15 On May 22, 2019, DMRS filed its
                                                                      C"*
motion for summary judgment arguing ICE had not
conducted a search reasonably [*4]                 calculated to      On October 5, 2020 the court held a bench trial to
uncover responsive records and had not met its burden                 resolve two issues: 1) whether ICE conducted a search
to show that records it withheld were exempt from                     reasonably calculated to uncover responsive records;
disclosure.16                                                         and 2) whether [*5] redactions pursuant to : #" "&" K
                                                                      ::GHG:H ("exemption (b)(5)") to the thirty-three pages
On May 29, 2020, nine months after Plaintiff filed suit
                                                                      produced           June    25,    2020    were       exempt      from
and almost eleven months after Plaintiff sent its original
                                                                      disclosure.21 The parties were present and represented
FOIA request, ICE forwarded the pages requiring
                                                                      by counsel. Fuentes was ICE's sole witness.
consultation to other agencies for review.17 ICE
admitted that a second administrative error prevented                 One subdivision of ICE Enforcement and Removal
timely referral of these documents.18 While the                       Operations ("ERO") is ERO Field Operations ("FOPS"),
consultations were pending, ICE filed five motions for                the office responsible for providing MPP guidance to all
extensions of the deadline to respond to DMRS's motion                ERO field offices.22 After consideration of Fuentes's
for summary judgment. ICE finally responded on June                   testimony, the court found ICE was on notice that
25, 2020, twenty days after the original deadline. That               DMRS's request sought communications between ICE
same day, almost eleven months after the statutory                    ERO agents and their contractors at the field office level
deadline, ICE produced thirty-three of the forty pages                about implementation of the MPP; correspondence to
requiring consultation.19 ICE did not address these                   ICE ERO officers and, their contractors who were
documents            in   its   response.    DMRS     challenged      responsible for movement and custody of respondents
redactions to the thirty-three pages produced after its               subjected to the MPP; emails by or between ERO field
motion      for      summary      judgment   but    withdrew    its   offices where the MPP was implemented; and emails of

objections to previously produced materials.20                        guidance between officers and contractors at the field
                                                                      office level regarding the MPP participants' access to

                                                                      counsel before their immigration court hearings.23
15 %$"

                                                                      The court also found:
16     . "Plaintiff's Motion for Summary Judgment,"                    ICE program offices have no written guidelines on
ECF No. 14, filed May 22, 2020.
                                                                               how to conduct searches for records responsive to
17 Findings   of Fact and Conclusions of Law 11.

18 "Transcript     of Bench Trial" 61, ECF No. 63, filed Nov. 16,
2020.
                                                                      Motion for Summary Judgment" 2-3, ECF No. 29, filed July 29,
19 Findings       of Fact and Conclusions of Law 2.          : 2020.
#" "&" K ::GHG5HGHGH (providing a twenty-day deadline,          21 Findings      of Fact and Conclusions of Law 2.
excluding weekends and holidays for agencies to respond to
                                                                      22 %$"   at 9.
FOIA requests).

20 "Plaintiff's    Reply to Defendant's Response to Plaintiff's       23 %$"   at 4-5.


                                                                                                                           App000603
                                                            Page 3 of 17
         Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                       Page 606 of 633 PageID 1332
                                                      86'LVW/(;,6 


         FOIA requests.24                                                 Department of Homeland Security Office of Privacy.30
                                                                          ICE provided only a letter to accompany the produced
           Each program office within ICE has its own
                                                                          documents.31 Two paragraphs in the letter address the
         guidelines        for     record   keeping, [*6]    retention
                                                                          redactions made pursuant to +6  GHG:H.32 The
         schedule, and records liaison officers.25
                                                                          letter did not identify which privilege supported each
          Fuentes instructed her points of contact ("POCs")
         in three program offices to conduct searches for                 redaction made under [*7] redaction GHG:H.33 Nor did

         responsive documents: the ICE Office of Policy,                  either provide DMRS with any factual basis for the

         ICE Office of the Principal Legal Advisor ("OPLA"),              application of +6  GHG:H to any individual

         and ICE ERO.26                                                   redaction.34           Fuentes's     testimony     was       equally

          No uniform set of search terms was used across                  inadequate.

         the various ICE program offices.27                               Upon conclusion of ICE's case, DMRS moved for
           No POC described to what extent, if any, they                  judgment as a matter of law as to both issues. The court
         took into consideration the particular record keeping            granted the motion and, on October 19, 2020, entered
         practices of their respective program offices in                 corresponding "Findings of Fact and Conclusions of
         searching for responsive documents.28                            Law" [ECF No. 44]. The court ordered that the thirty-
           ERO FOPS, the office responsible for providing                 three pages originally produced to DMRS on June 25,
         MPP guidance to all ERO field offices, determined                2020 be unredacted and produced to DMRS by October
         the requested information did not fall in its area of            26, 2020.35 It also ordered ICE to conduct a new search
         responsibility and did not conduct any search for                for documents responsive to DMRS's FOIA request by
         responsive    documents.29                                       November 2, 2020.36

The court then turned to the thirty-three pages of
redacted          documents          produced    to   Plaintiff   after   &", 2*
consultation with Customs and Border Patrol and the
                                                                          On November 2, 2020, the deadline for ICE to conduct
                                                                          its new search, ICE informed the court it had not yet
24 %$"                                                                    conducted any search and moved for an extension of

25 %$"   at 6.
                                                                          30 Findings       of Fact and Conclusions of Law 11.
26 %$"
                                                                          31 %$"   at 12.
27 Findings      of Fact and Conclusions of Law 6.
                                                                          32 %$"
28 %$"

                                                                          33 %$"   at 12.
29 %$"   at 9.               Memorandum from Nathalie R. Asher,
                                                                          34 %$"
Acting Executive Associate Director, U.S. Immigration and
Customs Enforcement, to Field Office Directors, Enforcement               35 "Final   Judgment" 1, ECF No. 45, entered Oct. 19, 2020.
and Removal Operations, "Migrant Protection Protocols
Guidance" (Feb. 12, 2019).                                                36 %$"




                                                                                                                                 App000604
                                                                  Page 4 of 17
         Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                            Page 607 of 633 PageID 1333
                                                        86'LVW/(;,6 


time do so.37 ICE requested the deadline be extended                          approximately 86,000 potentially responsive documents

to November 23, 2020 with respect to a search for                             remained.42 ICE then assigned thirty percent of its FOIA
responsive records from the El Paso Field Office and                          staff to conduct first-line review full-time.43 Ten to fifteen
asked for an additional thirty days upon completion of a                      attorneys would dedicate half of every work day to
search of the El Paso Field Office to search for
                                                                              second-line review.44 ICE estimated staff would require
responsive records from the San Antonio and San
                                                                              four months to produce all responsive records [*9] from
Diego Field            Offices.38     ICE did not express any
                                                                              the El Paso field office.45 Thereafter, the parties would
concern [*8]          about the procedural feasibility of the
                                                                              confer to present a new scheduling order for remaining
deadline,             merely        citing     counsel's         personal
                                                                              documents.46 The court entered an order granting the
circumstances. The court granted ICE an additional
extension of all search deadlines to November 23,                             extension.47 ICE did not appeal any part of the court's
                                                                              judgment. As a result, the court's Findings of Fact and
2020.39
                                                                              Conclusions of Law are now the law of the case. ICE
A week after the second deadline, on November 30,                             cannot contest either.48
2020, ICE moved for yet another extension of time to

comply with the court's order.40 For the first time, ICE
                                                                              %%" 7'<7 *
informed the court of the procedure it intended to follow
in conducting its new, more thorough, search for                              FOIA states "[t]he court may assess against the United
responsive documents. ICE also expressed concern for
the impossibility of the court's deadline in light of the
                                                                              42 %$"   at     11.
search        requirements.         ICE      informed   the      court   it
conducted an examination of its records utilizing thirteen                    43 %$"   at     47.
search terms in records from forty-nine custodians. That
                                                                              44 %$"   at     48.
examination            identified     approximately        2.3     million

potentially        responsive         documents.41       After      using     45 %$"   at     59.

software to extract irrelevant and duplicative documents,                     46 Nov.       Mot. For Extension   59.


37 "Defendant's
                                                                              47    . "Order Granting Second Motion for Extension
                      Unopposed Motion for Extension of Time, or in
                                                                              of Time," ECF No. 71, entered Dec. 1, 2020.
the Alternative, Motion to Alter or Amend a Judgment," ECF
No. 53, filed Nov. 2, 2020.                                                   48    J  !" &   5 #" " 5: 5/  " &"
38 %$"                                                                        / : 7" '$" $ / G3/H (The law-of-the-case doctrine
         at   8.
                                                                              "posits that when a court decides upon a rule of law, that
39 "Order     Granting in Part and Denying in Part Motion for                 decision should continue to govern the same issue in
Extension of Time" 2, ECF No. 57, entered Nov. 3, 2020.                       subsequent stages in the same case.")                   ( !"
                                                                               @ 3#" "53 "&"/3:7"'$"$53
40    . Defendant's Amended Unopposed Motion for
                                                                              G3H (The collateral estoppel doctrine stands for the principle
Extension of Time to Produce Documents," ("Nov. Mot. For
                                                                              that "when an issue of ultimate fact has once been determined
Extension") ECF No. 70, filed Nov. 30. 2020.
                                                                              by a valid and final judgment, that issue cannot again be
41 %$"   at    7-8.                                                           litigated between the same parties in any future lawsuit.")


                                                                                                                                 App000605
                                                                    Page 5 of 17
      Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                        Page 608 of 633 PageID 1334
                                                    86'LVW/(;,6 


States reasonable attorney fees and other litigation                       particularly appropriate where "'government officials
costs reasonably incurred in any case under this section                   have been recalcitrant in their opposition to a valid claim

in which the complainant has substantially prevailed."49                   or    have       been    otherwise     engaged       in   obdurate

Accordingly, the court must apply a two-prong test to                      behavior.'"54
determine: (1) "whether a plaintiff has substantially
prevailed" and, if so, (2) "whether the plaintiff               ( $
                                                                           %%%" % &#        %;
receive fees."50

A Plaintiff has "substantially prevailed" and therefore                    ")((  (  $! .1
satisfied the first prong if it obtained requested relief
                                                                           The Final Judgment entered in this action definitively
through a judicial order.51 The second prong, also
                                                                           establishes DMRS substantially prevailed in its FOIA
known as the "entitlement" prong, requires courts to
                                                                           action as this court granted all of the requested relief.55
consider: "(1) the benefit to the public deriving from the
case; (2) the commercial benefit to the complainant; (3)                   This is not contested. Accordingly, the court proceeds to

the nature of the complainant's interest in the [*10]                      a determination of whether DMRS should receive

records sought; and (4) whether the government's                           attorney fees in light of the circumstances of the case

withholding of the records had a reasonable basis in                       and the [*11] essential purposes of the FOIA legal fee
                                                                           provision.
law."52 The entitlement prong requires courts to conduct
analysis through the lens of the three fundamental                         1. The Benefit to the Public Deriving from the Case
purposes of FOIA's legal fee provision. The provision is
                                                                           "The basic purpose of FOIA is to ensure an informed
designed: (1) "as an incentive for private individuals to
                                                                           citizenry, vital to the functioning of a democratic society,
pursue vigorously their claims for information" and
                                                                           needed to check against corruption and to hold the
overcome barriers "that government may erect in an
                                                                           government accountable to the governed."56 Viewing
effort to escape compliance with the law;" (2) to "deter
                                                                           the public benefit factor through the lens of FOIA's high-
the government from opposing justifiable requests;" and
                                                                           minded central purpose, attorneys fees are more
(3) "to punish the government where such opposition is
                                                                           appropriate "where the complainant's victory is likely to
unreasonable."53 An award of attorneys' fees is
                                                                           add to the fund of information that citizens may use in



49 :#"   "&"K::GHGHG'HGH.

50 C   !"% /1"$:::G:(&"H (emphasis
                                                                           54 %$":   (quoting S.Rep. No. 93-854, at 19 (1974)).
in original).

51 :#    &K::GHGHG'HGH; C /1"$::.
                                                                           55    : # & K ::GHGHG'HGHG%H ("a complainant has
                                                                           substantially prevailed if the complainant has obtained relief
52 *+    !"%&&3:1"$/G:(&"33H.                     through . . . a judicial order . . ."); C /1"$::.

53 &J     !" 6=  -  3 1"$ : : G:( &"   56 7C!"      *& "#" "3/
3/H.                                                                      "&":7"'$"$:3G3/H.


                                                                                                                               App000606
                                                                 Page 6 of 17
        Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                   Page 609 of 633 PageID 1335
                                                  86'LVW/(;,6 


making vital political choices."57 Courts take into                     rapidly evolving and controversial policy dealing with

consideration "the degree of dissemination and the likely               that segment of the immigrants pursuing admission to

public impact that might be expected from a particular                  our country. As this information is both of public concern
                                                                        and useful to political decision making, the diffusion of
disclosure."58
                                                                        documents will spread beyond legal service providers to
DMRS requested information about ICE's decision to                      the wider public. An award of attorney fees will foster
prohibit asylum seekers' access to attorneys and to                     the spirit of private litigants to vigorously pursue claims
know your rights information. Denial of access to                       for   information       vital   for   democratic      society     and
counsel and rights information has broad-ranging due                    discourage the government from the [*13]                     cavalier
process consequences for asylum seekers fleeing                         treatment of appropriate and lawful requests such as
persecution. The documents responsive to DMRS's                         DMRS is pursuing.
FOIA request are very likely to be of significant
                                                                        The public benefit is not reduced by the change in
consequence to the large numbers of asylees and their
                                                                        administration since the initiation of this lawsuit and
advocates. As DMRS intends to use the requested
                                                                        before ICE has finished reviewing and producing all
records to "determine how to move [*12] forward with
                                                                        responsive documents. The delays are completely
providing information and representation to asylum
                                                                        attributable to ICE's own administrative errors, absence
seekers in the MPP program,"59 it has already begun
                                                                        of clearly defined methods and procedures to determine
the process of making documents obtained through this
                                                                        places and databases to search, lack of effective and
litigation available to other non-profit legal service
                                                                        comprehensive procedures for adequately processing
organizations in the El Paso area, fellow advocates, and
                                                                        FOIA requests, and repeated requests for extensions of
members of the press.60                                                 deadlines. ICE's ineptitude in responding to valid
                                                                        requests for information and failure to comply with this
Our nation's comprehensive immigration policy has
                                                                        court's deadlines cannot be counted in its favor. To do
been part of the national dialogue for well over a
                                                                        so would make a mockery of the accountability
decade. In the recently concluded presidential cycle it
                                                                        principles underlying FOIA.
figured        prominently   in   the    campaigns      of   every
presidential candidate and most candidates seeking                      ICE's handling of this FOIA request is precisely
federal office. An element of that policy is the treatment              encompassed in the Fifth Circuit's holding that attorney
of refuge and asylum seekers. Responsive documents                      fees are particularly appropriate where "'government
would provide valuable insight into the execution of a                  officials have been recalcitrant in their opposition to a
                                                                        valid claim or have been otherwise engaged in obdurate

                                                                        behavior.'"61 Potential FOIA complainants must be
57 C    !" C    ,   : 1"$ :3 : G:( &"
                                                                        incentivized to pursue meritorious claims without fear
3/H.
                                                                        that the duration of the lawsuit [*14] would make the
58 %$":.                                                          information sought "old news," no longer in the public

59 Mot.   5.

60 Mot.,   "Declaration of Melissa M. Lopez" 3, ECF No. 56-1,           61 &J     !" 6=  -  3 1"$ : : G:( &"
Ex. 3.                                                                  3/H (quoting S.Rep. No. 93-854, at 19 (1974)).


                                                                                                                             App000607
                                                              Page 7 of 17
         Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                 Page 610 of 633 PageID 1336
                                                  86'LVW/(;,6 


eye, and defeat a motion for compensation by simply                   are also likely to raise public awareness of issues of
delaying        response.    Therefore,    this   factor   weighs     political    importance         through     the   distribution   of
strongly in favor of granting attorney fees.                          responsive records to other immigrant advocacy groups
                                                                      and the media. As such, both factors weigh in favor of
2. The Commercial Benefit to the Complainant and
                                                                      granting attorney fees.
Nature of Complainant's Interest in the Records Sought
                                                                      3. Whether the Government's Withholding of the
When the commercial benefit to a plaintiff and the
                                                                      Records had a Reasonable Basis in Law.
nature of the plaintiff's interest in records sought are

similar it is useful to consider these factors together.62            FOIA requires federal agencies to make their records

In weighing the commercial benefit factor, courts                     promptly available to any person who makes a proper

consider whether the party requesting fees is indigent or             request for records.66 "[T]he threshold question in any
a non-profit organization rather than a large corporate               FOIA suit is whether the requester can even  the

interest.63 Similarly, the nature of the complainant's                documents the character of which determines whether

interest weighs in favor of granting attorney fees if the             they can be released."67 Accordingly, the FOIA statute
plaintiff seeks to protect the public interest, rather than           provides      that,    when      the      government    withholds

merely a private interest.64 These factors further                    information from disclosure, the agency has the initial

congressional intent that the prohibitive costs of                    burden to prove $ ! that the information is exempt

litigation not exclude the indigent and public interest               from disclosure.68 This court's findings [*16] of fact

groups from pursuing relief.65                                        document the abysmal inadequacy of the search and
                                                                      the unsupported redactions. In considering whether to
There is no commercial benefit to DMRS in the records                 award attorney fees, the threshold is lower. The
sought. DMRS is a non-profit organization that provides               government's withholding needs only to have had a
know-your-rights information and legal representation to
                                                                      reasonable basis in law for ICE to avoid attorney fees.69
indigent asylum seekers. [*15] Its central purposes in
                                                                      ICE showed no reasonable basis to withhold the
seeking the documents are to protect its constituents'
                                                                      documents.
due process rights and to facilitate the fair adjudication
of political asylum claims. Receipt of responsive records             a. Adequacy of Search

furthers DMRS's organizational purpose by bolstering its
                                                                      ICE failed to establish even a colorable basis in law
ability to protect the public interest in the administration
                                                                      exists to support the adequacy of its search for
of justice in the immigration system. Responsive records


                                                                      66 :#"   "&"K::GHGHGH.
62 %$"
                                                                      67 &   6 &  & 6" !" #" " 6=  7  ; N /
63 C    !" C  ,   : 1"$ :3 :2 G:( &" 1"$:3:G:(&"H.
3/H.
                                                                      68 :#"   "&"K::GHGHGCH; C !"'! :3/1"$53:
64 %$":                                                         G:(&"H.

65 %$"   (citing S.Rep. No. 854, 93d Cong., 2d Sess. 19 (1974)).      69   *+ !"%&&3:1"$/G:(&"33H.


                                                                                                                         App000608
                                                             Page 8 of 17
         Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                       Page 611 of 633 PageID 1337
                                                   86'LVW/(;,6 


documents responsive to DMRS's FOIA request. "Even                        conduct any search herself.75 Nor could she testify as to
when an agency does not deny a FOIA request outright,                     the precise search procedure—Fuentes conceded her
the requesting party may still be able to claim 'improper'                knowledge was limited to information on search forms
withholding by alleging that the agency has responded
                                                                          POCs provided to her office.76 ICE had all the time it
in an inadequate          manner."70     An agency's search is            requested to prepare for trial and to marshal all
adequate if it is "reasonably calculated to uncover all                   evidence it deemed appropriate. Even so, it did not call
relevant documents."71 "The adequacy of an agency's                       a single witness able to explain the rationale for the
search is measured by a standard of reasonableness                        search conducted at any single program office.
and is dependent upon the circumstances of the
                                                                          In explanation of ICE's failure to conduct a methodical
case."72 The focus is on the reasonableness of the
                                                                          agency-wide search for responsive records, Fuentes
search, not the       result.73   An agency must "make more               stated the agency was "young" and "playing catch-up,"
than perfunctory searches and, indeed, [] follow through
                                                                          seemingly acknowledging deficiencies.77 In an apparent
on obvious leads to discover requested            documents."74           contradiction, she then said the reason for the lack of
                                                                          uniformity was to honor the subject-matter expertise
There is no reasonable basis in law to believe ICE's
search [*17] was reasonably calculated to uncover all                     within       individual     program     offices.78    Since   record

responsive documents. Testimony about ICE's search                        keeping practices vary across program offices, Fuentes

was inconsistent and generalized. Fuentes described                       reasoned, ICE conducts non-uniform searches.

general ICE procedure for responding to FOIA requests
                                                                          Due to this model, Fuentes could not testify as to either
without knowledge of the specifics. Fuentes did not
                                                                          the [*18] record keeping or searching practices of any
                                                                          program offices or their subdivisions. POCs did not
                                                                          provide that information in their search forms. The
70 #"    " 6=  -  !" *+  .   3 #" " 5 :
                                                                          returned search forms indicate different search terms
" G33H 3 " &" / 5 7" '$" $  (citations
                                                                          were used across program offices without any apparent
omitted).         E !"6  & " 1$ 
                                                                          reason for the lack of uniformity. Fuentes could not say
     (, :#" "5: "&"3557"'$"$
5G3/H (recognizing the judicial authority conferred by the           whether a given search was reasonable in the context of

FOIA to devise remedies for agencies contravening the statute             the recordkeeping practices of a program office as she
through improper withholdings).                                           was not familiar with those practices and the POCs
                                                                          provided no explanation.
71 )     !" #" " 6="  -  : 1"$  :
#" "66""&":G"&"&"3/H; C !"'! :3/ ICE's deference to the subject-matter expertise of
1"$535G:(&"H.

72 %$"                                                                    75 Findings       of Fact and Conclusions of Law 6.

                                                                          76 "Transcript      of Bench Trial" 35-36, 83-84, ECF No. 63, filed
73     !" #" " 6=  -   1"$ :/ :: 5
                                                                          Nov. 16, 2020.
#" "66""&"G"&"&"33H.
                                                                          77 %$"   at 19-20.
74 4    27 !" #" " &   <$ / 1"$  :
5#" "66""&"/5G"&"&"333H.                                  78 %$"   at 20.


                                                                                                                                App000609
                                                                Page 9 of 17
         Case 4:21-cv-01058-P Document 27 Filed 12/07/21                              Page 612 of 633 PageID 1338
                                                86'LVW/(;,6 


individuals within each program office is neither                   is responsible for providing guidance and coordination
strategic nor efficient. It shows indifference to the               to the twenty-four ERO field offices.84 ERO field offices
purpose of the search. Without testimony about each                 are responsible for the custody of all MPP participants
program office's record keeping practices, ICE cannot
                                                                    from the port of entry to the immigration court.85 A
show the search process was reasonably calculated to
                                                                    publicly available memorandum by the Acting Executive
uncover all responsive documents.
                                                                    Associate Director of ICE instructs field office directors

The search was too narrow to be expected to uncover                 to assign a lead POC for MPP issues within their

all responsive documents. Only five individuals in an               offices.86 The memorandum tasks these POCs with
agency of several thousand searched their email                     issuing local operational guidance applicable to the
accounts for responsive correspondence.79 These                     MPP.87 These facts conclusively indicate [*20] FOPS is
individuals used a variety of inconsistent search terms.            reasonably likely to have records responsive to DMRS's
The entirety of the search within the ERO Enforcement               FOIA request. They also indicate ICE was aware that
Division records was for a single search term [*19]                 field offices possess records responsive to FOIA
within the Deputy Assistant Director's email account: the           requests for information related to the MPP.
acronym "MPP."80 Fuentes could not say with any level
                                                                    Inexplicably, FOPS determined DMRS's FOIA request
of assurance that this search uncovered responsive
                                                                    did not fall within its area of responsibility and declined
documents containing the spelled-out acronym.81 Some                to conduct any search. It is troubling FOPS disregarded
individuals may have searched only within specific                  the plain language of a publicly available memo in
folders.82        Some may have excluded deleted, archived,         determining it had no records responsive to DMRS's

or sent emails by searching only within their inboxes.83            FOIA request. There is no reasonable basis in law to

Fuentes could not be sure and could only interpret the              support ICE's inadequate search.

returned search forms.                                              b. Exemptions

ICE failed to show it conducted a reasonable search                 ICE gave no reasonable basis in law to redact the thirty-
within        ERO       FOPS.     DMRS's      request    sought     three pages it produced on June 25, 2020. When the
communications about guidance and instruction to                    applicability of an exemption to disclosure under FOIA is
employees regarding day-to-day movement of MPP                      in dispute, an agency is required to provide a detailed
participants wherever the MPP was established. FOPS
                                                                    84 Findings   of Fact and Conclusions of Law 9.

                                                                    85 "Transcript   of Bench Trial" 68, ECF No. 63, filed Nov. 16,
79 "Transcript     of Bench Trial" 77, ECF No. 63, filed Nov. 16,
                                                                    2020.
2020.
                                                                    86 Memorandum       from Nathalie R. Asher, Acting Executive
80 %$"   at 95.                                                     Associate      Director,   U.S.   Immigration     and   Customs

81 %$"                                                              Enforcement, to Field Office Directors, Enforcement and
         at 96.
                                                                    Removal Operations, "Migrant Protection Protocols Guidance"
82 %$"   at 87.                                                     (Feb. 12, 2019).

83 %$"   at 88.                                                     87 %$"




                                                                                                                      App000610
                                                           Page 10 of 17
       Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                         Page 613 of 633 PageID 1339
                                                    86'LVW/(;,6 


justification       for     exemption        claims,      correlating            before the date on which the records were
justifications for refusal to disclose with actual portions                      requested.94
of records claimed to be exempt.88 A common way in
                                                                           Thus, "AB+6  : incorporates the privileges which
which agencies do so is through a 4( index.89 In
                                                                           the government enjoys under the relevant statutory and
4(, the D.C. Circuit held that a system of itemizing
                                                                             @ in the pretrial discovery context."95 Three
and indexing exemptions' legal and factual bases would
                                                                           common law privileges encompassed in +6 
easily       remedy       the   problem      of   conclusory       and
                                                                           GHG:H include: (1) the attorney work-product privilege;
generalized allegations of exemptions. [*21] 90 This
                                                                           (2)       the     attorney-client      privilege;     and      (3)     the
procedure makes clear the factual nature of the
                                                                           governmental deliberative process privilege.96
information sought and the specific reason it falls within

the statutory exemption asserted.91 Since 4(, it                       After repeated opportunities to demonstrate to this court
has become standard practice for agencies to supply                        how +6 GHG:H applies to the records ICE sought
the court with a 4(         index.92                                   to [*22] withhold, ICE did not meet its burden to support
                                                                           exempting          any    information      redacted         pursuant    to
Under 1;% +6  GHG:H, an agency can withhold
                                                                           +6  GHG:H from disclosure. ICE presented no
information covered by a recognized evidentiary or
                                                                           evidence at either the summary judgment phase or at
discovery      privilege.93     '+6  GHG:H protects from            trial supplying the factual or legal basis for any
disclosure:                                                                application of +6  GHG:H. Although settled law
      inter-agency or intra-agency memorandums or                          establishes the preparation of a Vaughn index, ICE did
      letters that would not be available by law to a party                not generate one. ICE simply provided a brief letter to
      other than an agency in litigation with the agency,                  accompany           the    thirty-three     pages      of    responsive
      provided that the deliberative process privilege shall               documents at issue. The letter stated that redactions
      not apply to records created 25 years or more                        under +6  GHG:H qualified for protection under
                                                                           one or more of the three named privileges, without

88 C
                                                                           specifying which, and without any factual basis for the
           !" '!  :3/ 1"$ 53 : G:( &" H (citing
                                                                           application of +6  GHG:H to any individual
4(!" /1"$/:#" "66""&"G"&"
&"3H.                                                                redaction.

89   4(/1"$/.                                           ICE's only witness shed no more light on the factual

90 %$"/52.



91   6( !"% 531"$G:(&"3/H.                 94 :#"    "&"K::GHG:H.

92    "" C  :3/ 1"$  /23; 1 (  . ! "     95 #$        !" )   & 6" 5: #" " 3 33
& 6" !" 6=  7  5 1"$ 5 5 G:( &" H;        " &" // 3 7" '$" $ / GH (citations omitted)
 6( 531"$:.                                               (emphasis in original).

93 -$   )(%"!"#" "6=  "/1"$:/2         96 *+      .   !" %  3 1"$  5 : #" " 66" "&"
3#" "66""&":5G"&"&"H.                               G"&"&"H.


                                                                                                                                   App000611
                                                                Page 11 of 17
          Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                   Page 614 of 633 PageID 1340
                                                    86'LVW/(;,6 


basis for the exemptions. Fuentes admitted she was not                   Fuentes was not only uncertain of the content of
involved in redacting the documents at issue and                         responsive records; she was uncertain and inconsistent

therefore had no personal knowledge to speak of.97 Nor                   in providing underlying reasons for redactions. She

did she seem to have secondary knowledge on which                        alternated between identifying the specific privilege

the court could rely due to her role as agency                           applied and admitting she could not state with any

representative.          Fuentes     stated   she    reviewed      the   confidence which privilege supported each redaction.
                                                                         She openly speculated about which privilege [*24] may
exemptions claimed and agreed with them.98 However,
                                                                         have applied based on context clues in the released
when asked directly about why entire pages had been
                                                                         portions. More than once, she equivocated, stating
subject [*23] to +6 GHG:H, she stated she did not
                                                                         perhaps the redactor had relied on one of the three
know what the pages contained.99 When asked about a
                                                                         privileges cited or perhaps on all three.104 Fuentes's
specific redacted page, she could not say whether it
                                                                         testimony        was    not    reliable.   Even    had     Fuentes
was the end of the preceding document, an attachment,
                                                                         confidently testified as to the privileges relied upon by
or part of a subsequent document.100
                                                                         the redactors, she is not a lawyer.105 She therefore
Fuentes's lack of knowledge regarding the substance of                   does not have the education or training to provide an
the redactions often led her to speculate to fill in the                 explanation as to @(. a particular privilege was invoked.
gaps. When asked whether redacted emails were sent
                                                                         While Fuentes was knowledgeable about the procedure
to agents executing the MPP on-the-ground, she
                                                                         ICE uses to apply exemptions generally, she was
responded,           "they    do   not   appear     that   way     as
                                                                         unable to bridge the gap between that procedure and
redacted."101 In reference to another redacted email,
                                                                         the factual basis for exemptions applied in this case.
Fuentes stated that, as two attorneys were included
                                                                         Both the fundamental principle of public access to
among other undisclosed recipients, she believed the
                                                                         government documents and the general principle of full
email to contain legal advice.102 She later admitted she                 agency disclosure require agency representatives to
did not know who else received the email and was                         have more than mere confidence in the procedure
aware emails are not necessarily privileged just                         followed. They require clear statements of both the
because an attorney is included in an email            chain.103         factual nature of the information withheld and whether it

                                                                         falls within a specific statutory exemption.106 Without
97 "Transcript      of Bench Trial" 57-58, ECF No. 63, filed Nov. 16,
2020.
                                                                         2020.
98 %$"   at 120.
                                                                         104 %$"   at 146-47.
99 %$"   at 144.
                                                                         105 %$"   at 132-33.
100 %$"
                                                                         106    C  !" '!  :3/ 1"$ 53 5 G:( &" H
101 %$"   at 103.                                                        ("The central issue . . . is whether the [evidence] submitted by
                                                                         [the agency] . . . sufficiently identif[ies] the documents at issue,
102 %$"   at 140-41.
                                                                         including the relevant information contained in each document,
103 "Transcript     of Bench Trial" 146, ECF No. 63, filed Nov. 16,      and       explain[s]   why    the   asserted   exemptions     justify


                                                                                                                            App000612
                                                              Page 12 of 17
      Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                   Page 615 of 633 PageID 1341
                                                86'LVW/(;,6 


either, the explanation is not only legally insufficient, it          hours billed, and billing judgment exercised.111 There is
lacks any reasonable basis in the law. ICE did less than              a presumption that the lodestar amount is a reasonable
the bare minimum to justify its [*25] exemptions and
                                                                      fee.112
instead attempted to shift the burden to the court and to
DMRS. This forced DMRS to expend considerably more                    In step two, the court may adjust the fee award up or
in attorney labor and fees to litigate exemptions to                  down after consideration of the factors articulated [*26]
documents produced at the eleventh hour and without                   in - (         !" <  N(@. '+6  %" not
the easy remedy of a 4( index. Therefore, the final               already included in the calculation of the lodestar.113
factor in the entitlement prong, like all others, weighs in           However, neither party requests attorney fees depart
favor of granting attorney fees.                                      from the lodestar. Accordingly, the court will not
                                                                      advance to the second step of the attorney fee inquiry
                                                                      and calculation of the lodestar alone will determine the
C")(((   .1 > $ 
                                                                      amount of the attorney fee award.
  
                                                                      1. Compensable Hours
As DMRS substantially prevailed and is entitled to
attorney fees, the court must consider whether the                    To calculate the lodestar, a district court must first
amount requested is reasonable.107 District courts have               determine the compensable hours from the attorney's

broad discretion in calculating reasonable attorney fee               time records, including only hours reasonably spent.114

awards.108 Reasonable attorney fees are determined in                 Each hour claimed must be supported by attorney billing

two steps. First, the court calculates the "lodestar."109             records.115       The    court    must    exclude     "excessive,

The lodestar is the product of the reasonable hourly rate
multiplied by the number of hours reasonably expended

on the litigation.110 The party requesting fees bears the
                                                                      111   J!" & , "& "/1"$3:33G:(
                                                                      &"5H.
burden of establishing the reasonableness of fees,
                                                                      112 &.   C  !"::#" ":::5 "&"
                                                                      5/  7" '$" $ 3 G33H.          ) ? !" #" "
withholding.").                                                       6=" N  "$#!"331"$52G:(&"
                                                                      335H (describing the limited circumstances in which an
107    : #" "&" K ::GHGHG'HGH ("The court may assess         adjustment to the lodestar is permitted).
against the United States reasonable attorney fees and other
                                                                      113 //    1"$  23 G:( &" 3H.              
litigation costs reasonably incurred . . .").
                                                                      , . !!" "4 .&J =&   & /
108 N   .!"'?(5#" " "&"3 #" " :5 :5: 5 " &" // 3 7" '$" $ 3 G3/5H
5 7" '$" $  G3/H; )?  !" 1 $  1"$ : : (holding that - (  factors that are subsumed in the
G:(&"33H.                                                      calculation of the lodestar may not provide an independent
                                                                      basis for increasing the fee award).
109 7    #$ 7 " &J   " :: !"   
%$6" (" "31"$/G:(&"33H.               114 N     .5#" "52.

110 N   .5#" ".                                        115 )?    !"1 $1"$::G:(&"33H.


                                                                                                                         App000613
                                                           Page 13 of 17
          Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                     Page 616 of 633 PageID 1342
                                                  86'LVW/(;,6 


redundant, or otherwise unnecessary" hours.                             legal complexities requiring a significant investment of
                                                                        time to fully research and brief. This case proceeded to
DMRS requests compensation for 125.7 hours worked
                                                                        trial, which required significant time to prepare opening
by lead counsel, Christopher Benoit ("Benoit").116 In                   and closing statements, exhibits, an expert witness, and
support, it submits a billing statement detailing hours                 cross-examination. The quality of pleadings submitted
worked by Benoit. According to the billing statement, the               and trial advocacy displayed by Mr. Benoit was of the
billed hours are reduced from a total of 132 hours to                   first order. It is remarkable that he and his litigation team
eliminate redundant or administrative         hours.117      In order   did so much quality work in the time claimed.
to prevent duplication of work, DMRS also does not
request compensation for hours worked by co-counsel                     Benoit represents DMRS on a contingent fee basis.122
                                                                        He charged no hourly rate and will [*28]                     not be
or counsel's administrative assistant.118 At the time
                                                                        compensated beyond court awarded attorney fees.
DMRS filed its Motion DMRS estimated [*27]                        an
                                                                        Benoit exercised reasonable billing judgment by omitting
additional ten hours of work would be performed to
                                                                        any charge for time contributed by co-counsel and his
cooperate with ICE in creating and completing a new
                                                                        administrative assistant. The court finds no excessive,
search in compliance with this court's order.119 ICE
                                                                        redundant, or otherwise unnecessary hours in counsel's
disputed only that the FOIA fee shifting provision
                                                                        billing statement.
permitted          compensation     for    work       yet    to   be

performed.120 DMRS then submitted documentation of                      Besides         the    usual    time   requirement     for   actions

an additional 12.8 hours worked in compliance with the                  proceeding to trial, this case presented unusual

court's order to construct a new search and amended its                 complications resulting from the government's own

request to substitute these hours for the prospective                   obstructionist behavior. ICE's repeated delays and
                                                                        administrative errors needlessly extended the duration
fees.121         These   hours    are     therefore     no    longer
                                                                        of this action and required numerous phone calls,
speculative and will be considered alongside all other
                                                                        emails, and conferences that would otherwise have
hours.
                                                                        been unnecessary. ICE also complicated the summary
The hours billed reasonably reflect the time spent on                   judgment phase by untimely producing responsive
litigation and are compensable. FOIA matters present                    documents after DMRS filed its motion and the
                                                                        dispositive       motion       deadline   had   passed,      thereby
116 Mot.   10.                                                          preventing DMRS from disputing redactions to those

117 Mot.,
                                                                        documents before its reply. In turn, as both parties had
            "19-cv-00236 Billing Statement" 2, ECF No. 56-1, Ex.
1-B.
                                                                        not had an opportunity to brief the issue, this court was
                                                                        unable to address the contested redactions at that
118 Mot.   8.
                                                                        phase and carried the issue over to trial.123
119 %$"   at 10.

120 Resp.    3 fn. 2.
                                                                        122 Mot.   7.
121     "Plaintiff's Reply to Defendant's Response to Plaintiff's
Application for Attorney Fees and Costs" 6, ECF No. 66, filed           123    "Order Denying Motion for Summary Judgment" 6,
Nov. 25, 2020.                                                          ECF No. 30, entered Aug. 25, 2020; $ &." '! "


                                                                                                                             App000614
                                                               Page 14 of 17
         Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                       Page 617 of 633 PageID 1343
                                                        86'LVW/(;,6 


Even now, ICE continues to stall and delay its search for                   attorneys practicing there."126
responsive documents. For the first time, [*29] ICE
claims the substantial backlog of FOIA requests and its                     DMRS requests an hourly rate of                    325-375.127 In
limited personnel makes timely compliance impossible.                       support of its requested rate, DMRS provides a [*30]
However, administrative backlog does not form a                             declaration from Benoit, expanding on the time and
reasonable       basis       in    law     to   withhold     responsive     effort expended by counsel;128 a declaration from
documents.124                                                               attorney Lynn Coyle, attesting to both the work done by
                                                                            Benoit in this case and the prevailing rate for
As ICE did not have a faintly colorable claim that its
                                                                            comparable legal work;129 and a declaration from John
search complied with the statute, this newfound claim of
                                                                            P. Mobbs ("Mobbs"), a seasoned El Paso attorney
impossibility proves how indifferent ICE was to its
                                                                            qualified as an expert in attorney fees, opining that the
statutory duty. Had ICE responded in conformity with
                                                                            fees requested in this case are below the reasonable
the statute, the enormity of the task they now claim
would have been identified in the summer of 2019 and                        contingency fee range in El Paso.130

not in the winter of 2020. Meanwhile, DMRS and its
                                                                            ICE contends the proposed rate is excessive and
counsel must continue to expend time and resources
                                                                            unreasonable as it exceeds the hourly rate of El Paso
pursuing its claim, even after completely prevailing at
                                                                            attorneys with comparable experience as listed in the
trial.    DMRS      has      met     its    burden      to   show    the
                                                                            2015 State Bar of Texas Hourly Rate Fact Sheet ("Fact
reasonableness of the 138.5 hours billed by Benoit.
                                                                            Sheet").131 ICE cites to a string of unreported district
2. Hourly Rate                                                              court opinions relying on the Fact Sheet to calculate
                                                                            reasonable attorney fees according to various statutory
Next, the district court must "select an appropriate
hourly rate based on prevailing community standards for                     fee-shifting provisions.132 The line of cases relying on

attorneys of similar experience in similar cases."125
"Generally, the reasonable hourly rate for a particular                     126 *     !"&. E(/:1"$:5/G:(&"H.
community is established through affidavits of other
                                                                            127 %$"   at 7.

                                                                            128       . Mot., "Declaration of Christopher Benoit,"
                                                                            ECF No. 56-1, Ex. 1.

   = !"   * 6" C$" 5 1"$ 5/  G:(
                                                                            129      . Mot., "Declaration of Lynn Coyle Pursuant to
&"H.
                                                                            /#" "&"K5." ECF No. 56-1, Ex. 5.
124    !"#" "6=  31"$/3G/(             130       . Mot., "Declaration of John P. Mobbs," ECF
&"3/:H(holding that attorney fees cannot be denied on the
                                                                            No. 56-1, Ex. 2.
reasonableness of the government's position where the
government       cites   processing        backlogs,    confusion,   and    131 Resp.    5.      , Resp., "State Bar of Texas 2015 Hourly
administrative      error,        because       these    "are   practical   Fact Sheet" ("Fact Sheet") ECF No. 65-1, Ex. A.
explanations, not reasonable bases.").
                                                                            132      "" [*31]   !J !" &(.  " 5 52&422
125   (6 !"*.%$ "3/1"$3G:(&"33H.           #" " "7'8% :33)75:95


                                                                                                                                App000615
                                                                  Page 15 of 17
          Case 4:21-cv-01058-P Document 27 Filed 12/07/21                               Page 618 of 633 PageID 1344
                                                86'LVW/(;,6 


the Fact Sheet is unpersuasive. First, the Texas Bar has               Finally, the Fifth Circuit has not adopted the Fact Sheet
not published an updated Fact Sheet since 2015. Five-                  as a determinative measure of reasonable attorney fees
year-old fee data is unreliable and likely to skew lower               in    a    given     community.        Instead,     Fifth    Circuit
than current attorney fees. The Fact sheet itself notes a              jurisprudence is based on trial court reliance on attorney

7.4       increase in median rates from 2013 to 2015.133               affidavits.139 ICE does not dispute the unreliability of the
                                                                       Fact Sheet [*32] or offer its own attorney affidavits.
Second, it is uncertain that even a 2021 Fact Sheet
                                                                       Instead, it merely points to non-binding law and argues
would accurately represent the reasonable hourly rate
                                                                       the court should blindly follow it. After consideration of
for the El Paso legal community. DMRS included with its
                                                                       the significant limitations of the Fact Sheet, this court
motion a Review of the State Bar of Texas :N  .
                                                                       relies on the three attorney declarations supporting the
1 ( by Statistician N. Shirlene Pearson, Ph.D.
                                                                       Motion, which compellingly concur that the requested
("Dr. Pearson").134 Dr. Pearson stated the Texas Bar                   rate is reasonable.
survey underlying the Fact Sheet data suffered from the
fatal defects of a limited sample size, selection bias, and            The large amount of work done in such a low number of
                                                                       hours is the direct result of Benoit's high level of
suboptimal methodology.135 Moreover, the hourly rates
                                                                       litigation skills and accompanying effectiveness. Given
listed on the Fact Sheet do not distinguish between
                                                                       the delays and conduct of ICE in this case, a less
reported      billing   method:   hourly    fees,      flat   rates,
                                                                       experienced attorney would have easily spent a
contingency fees, or discounted fees for volume
                                                                       substantially higher number of hours. By way of
clients.136 Dr. Pearson concluded the Fact Sheet does
                                                                       illustration, 190 compensable hours at 275 would yield
not reliably reflect the hourly rates of attorneys in
                                                                       a total of     52,250 in attorney fees—more than Benoit
Texas.137 Tellingly, the Texas Bar itself warns against                requested. ICE's objection to the proposed hourly rate is
using the Fact Sheet to set attorney fees.138                          solely based on a much-discredited study and not on
                                                                       Fifth Circuit jurisprudence. To follow ICE's rationale
                                                                       would simply discourage highly skilled attorneys like
G)""*+"6"5H.
                                                                       Benoit from taking on difficult cases like this one. DMRS
133 Fact   Sheet 4.                                                    has met its burden to show the reasonableness of its
134    . Mot. "Review of the State Bar of Texas : requested fee.
N  .1 ( report and its Use by the Texas Judiciary in
                                                                       Considering the applicable law and pertinent facts
Deciding Plaintiff Attorney Hourly Fees in Labor-Employment
                                                                       before this court, an hourly rate of            375 will [*33] be
Cases" ("Review of Fact Sheet") ECF No. 56-1, Ex. 1-C.
                                                                       applied to calculate the lodestar. After multiplying this
135 %$"
                                                                       rate by the 138.5 compensable hours, reasonable
                                                                       attorney fees in this case are 51,937.50.
136     . Fact Sheet.         Review of Fact Sheet
5.

137 Review   of Fact Sheet 6.
                                                                       aphic and Economic Trends (last accessed Jan. 20, 2021).
138 Texas     State Bar, Demographic & Economic Trends:
Economic                Trends,            available              at   139    *  !" &.  E( /: 1"$ : 5/ G:( &"
https://www.texasbar.com/AM/Template.cfm Section Demogr                H.


                                                                                                                           App000616
                                                              Page 16 of 17
       Case 4:21-cv-01058-P Document 27 Filed 12/07/21                            Page 619 of 633 PageID 1345
                                                  86'LVW/(;,6 


                                                                      #%*' **' % *%&*-#<'
&",  = C  & 

Pursuant to / #" "&" K 3, a judge may include                   '$  

costs for fees of the clerk of court and service of
summons of subpoena in a judgment upon filing of a bill
of costs. In its bill of costs, DMRS requests such

reimbursement in the amount of 432.20.140 ICE does

not challenge these costs.141 After due consideration,
the court finds it in the interest of justice to grant
DMRS's bill of costs.



%4" &;&7# %;

Accordingly, the court enters the following orders:

      1. %* %  N''CD ;'' that "Plaintiff's
      Opposed Application for Attorney Fees and Costs"
      [ECF No. 56] is <*'.

      2. %* %  1#*N' ;'' that Plaintiff
      Diocesan           Migrant   &   Refugee    Services    shall
      '&;4'              from    Defendant     United      States
      Immigration and Customs Enforcement P:3":
      for work performed in this case.

      3. %* %  1#*N' ;'' that Plaintiff
      Diocesan           Migrant   &   Refugee    Services    shall
      '&;4'              from    Defendant     United      States
      Immigration and Customs Enforcement costs of the
      court in the amount of P".

  %<''*'' this /( day of -..

/s/ Frank Montalvo

1E;*74; [*34]




140 "Bill   of Costs" 1, ECF No. 55, filed Nov. 2, 2020.

141 Resp.     1 fn. 1.


                                                                                                      App000617
                                                             Page 17 of 17
      Case 4:21-cv-01058-P Document 27 Filed 12/07/21                         Page 620 of 633 PageID 1346

      Cited
As of: December 7, 2021 4:44 AM Z


                                                    
                                 United States District Court for the District of Columbia

                                 September 3, 2018, Decided; September 3, 2018, Filed

                                           Civil Action No. 16-cv-1790 (DLF)

0% 
2018 U.S. Dist. LEXIS 233651 *

THOMAS J. COLBERT, Plaintiff, v. FEDERAL BUREAU               On September 8, 2016, the plaintiff, Thomas J. Colbert,
OF INVESTIGATION, et al., Defendants.                         filed a complaint to compel the FBI to disclose the
                                                              investigative file of the D.B. Cooper skyjacking incident.
 5                                                    Colbert believes that the FBI bungled the investigation
                                                              and allowed the alleged perpetrator, Robert Rackstraw,
requests, records, discovery, privacy interest,
                                                              to escape justice. Although the FBI has not yet
processing, public interest, disclosure, pages
                                                              completed the processing of approximately 71,000

 #  [*1] For THOMAS J. COLBERT, TJC                       pages of potentially responsive records, Colbert filed a

Consulting, LLC, Plaintiff: Mark Steven Zaid, LEAD            Motion for Partial Summary Judgment or Alternatively

ATTORNEY, Bradley Prescott Moss, LAW OFFICES                  Discovery. Dkt. 21. Colbert asks the Court to determine

OF MARK S. ZAID, P.C., Washington, DC.                        whether the FBI is entitled to withhold any information

                                                              under FOIA exemptions 6 and 7(C).1 3 ! II
For FEDERAL BUREAU OF INVESTIGATION,
                                                              33-/-*/, -/ Alternatively, Colbert asks the Court to
DEPARTMENT OF JUSTICE, Defendants: Jeremy S.
                                                              grant his request for discovery. For the reasons [*2]
Simon, LEAD ATTORNEY, U.S. ATTORNEY'S OFFICE
                                                              discussed below, the Court will deny Colbert's motion.
FOR THE DISTRICT OF COLUMBIA, Washington, DC.

ROBERT RACKSTRAW, Movant, Pro se, Coronado,                   Under exemption 7(C), an agency may "withhold
CA.                                                           'investigatory records compiled for law enforcement
                                                              purposes, or information which if written would be
8#> DABNEY L. FRIEDRICH, United States District            contained in such records, but only to the extent that the
Judge.                                                        production of such records or information would

7%     = DABNEY L. FRIEDRICH
                                                              1 Exemptions   6 and 7(C) protect information that would invade

7%                                                          the privacy of third parties. Because Exemption 7(C) provides
                                                              a lower bar for the agency to meet in that it requires the
                                                              agency to show an "unwarranted"—as opposed to "clearly
                                                              unwarranted"—invasion of personal privacy, this opinion only
170) 79)7)) 70 10                                  addresses whether the FBI has met its burden under
                                                              Exemption 7(C).

                                                                                                             App000618
       Case 4:21-cv-01058-P Document 27 Filed 12/07/21                          Page 621 of 633 PageID 1347
                                            86'LVW/(;,6 


constitute an unwarranted invasion of personal privacy.'"       interests as it processes Colbert's request. Third Hardy
)"      ">"L   ! #  !  & ''3 Declaration     13, Dkt. 25.
',& &3 ! %%   -   ,,3/ (internal
                                                                The D.C. Circuit has "long recognized" that "the mention
quotation marks omitted);  "            3 ! I
                                                                of an individual's name in a law enforcement file will
33-/-/-/. Once an agency has shown that the
                                                                engender comment and speculation and carries a
disclosure of certain records would implicate privacy
                                                                stigmatizing connotation." 0 $ 78*&*
concerns, a FOIA requester can still obtain the records if
                                                                 &,3 ! %%  & -   /. Thus,
the requester can show that the public interest in
                                                                the D.C. Circuit has "held that not only the targets
disclosing the records outweighs the privacy interests at
                                                                of [*4]    law-enforcement        investigations,     but     also
stake.  To satisfy this burden, a FOIA requester must
                                                                witnesses, informants, and . . . investigating agents
show that (1) the public interest sought to be advanced
                                                                have a substantial interest in ensuring that that their
is a significant one, an interest more specific than
                                                                relationship to the investigations remains secret." 
having the information for its own sake, and (2) the
                                                                (internal quotation marks omitted). Even when the
information is likely to advance that interest." "  
                                                                existence of an investigation has been made public, the
 78''&*3'&*!%% ,&- 
                                                                subject of an investigation retains "a privacy interest . . .
 / (internal quotation marks omitted). That
                                                                in avoiding disclosure of the details of the investigation."
"balancing test must be applied to the specific facts of
                                                                D   78 &, & , ,, &, ! %%
each case." !    &  ' , & !
                                                                  3 -   ,,'/;  01C  78 '* 
%% &- ,'/. And it is possible that a
                                                                !#%%  *&  -   / (congressman retained
"particular record may be protected in one set of
                                                                privacy interest in the substance of an investigation
circumstances, but not in others."  When the claimed
                                                                even though the FBI and congressman publicly
public interest [*3] "is government wrongdoing, then the
                                                                acknowledged investigation's existence).
requester must produce evidence that would warrant a
belief by a reasonable person that the alleged        The FBI acknowledges that the agency "followed a lead
Government impropriety might have occurred." "  regarding Rackstraw" in the D.B. Cooper investigation.
''&"3' (internal quotation marks omitted).   Def.'s Opp'n at 4, Dkt. 25. But the FBI also represents
                                                                that it pursued numerous leads during the now closed
Here, Colbert argues that the FBI mishandled the D.B.
                                                                investigation,  Third Hardy Decl. at                 13, and
Cooper case, and the public therefore has an interest in
                                                                ultimately cleared Rackstraw. Def.'s Opp'n at 2, 4.
knowing the path that the investigation took. Pl.'s Mot. at
                                                                Rackstraw's privacy interest in the substance of the D.B.
20-21,      Dkt.   21.   The    FBI    disputes    Colbert's
                                                                Cooper     investigation     thus    remains,       despite   the
characterization of the investigation and asserts that
                                                                extensive publicity about him in connection with the
Rackstraw has a substantial privacy interest in not being
associated with criminal activity. Def.'s Opp'n at 4-5,         investigation.2

Dkt. 25. At this stage, however, the FBI does not argue
that Rackstraw's privacy interest ">  "= outweighs
                                                                2 Rackstraw   was permitted to file an amicus brief in this case.
the public interest in disclosure of the requested
                                                                He asserts that he is not D.B. Cooper and makes clear that he
records. Rather, the FBI contends that it should be
                                                                does not want the FBI to release any documents to Colbert.
afforded the opportunity to balance the competing               Dkt. 30.


                                                                                                                App000619
                                                        Page 2 of 4
        Case 4:21-cv-01058-P Document 27 Filed 12/07/21                          Page 622 of 633 PageID 1348
                                            86'LVW/(;,6 


Balanced      against   Rackstraw's    privacy   interest   is   ! %%  && -   &/ (cited favorably in
Colbert's claim that the FBI mishandled the D.B.                 "AN6 ..9! %E   &
Cooper [*5] investigation. But Colbert has offered only          & & &' & ! %%        -  
conclusory allegations that the FBI failed to zealously          *//. Here, Colbert does not allege that the FBI has
pursue investigatory leads, and he has provided no               not adequately searched for responsive documents.
evidence to support these allegations. Thus, the Court           Instead, Colbert seeks to use discovery to shortcut the
cannot conclude that the public interest in the disclosure       agency's review and production process. Accordingly,
of records related to the D.B. Cooper investigation              the Court denies Colbert's request for discovery.
categorically outweighs Rackstraw's substantial privacy
                                                                 Separately, the parties dispute whether 500 pages per
interest in not having the records released to the public.
                                                                 month     is   a   reasonable   production    rate    for   the
Consistent with other FOIA cases, the Court will assess
                                                                 approximately 71,000 pages of responsive records. The
the appropriateness of any claimed withholdings after
                                                                 FBI has explained that the agency's standard policy is to
the FBI has processed the requested records and
                                                                 process 500 pages per month for medium and large
asserted exemptions.3
                                                                 requests. Hardy Declaration           8, Dkt. 15. The FBI
                                                                 adheres to that policy because it is based on sound
Colbert also requests discovery in three areas. First,
                                                                 FOIA business practice, promotes efficiency, and allows
Colbert requests discovery to determine that Rackstraw
                                                                 the FBI to maintain proper information security.  The
was investigated as a suspect in the D.B. Cooper case.
                                                                 policy also allows the FBI to process multiple complex
The FBI has conceded that fact, so discovery is not
                                                                 requests simultaneously and meet litigation demands.
warranted on this basis. Second, Colbert requests
                                                                      14, 15, 16. Colbert requests that the FBI process
discovery to determine whether the FBI authorized the
                                                                 3,000 pages per month because at the current
disclosure of official investigative files, but the FBI has
                                                                 processing rate, [*7] it will take the FBI over a decade
confirmed that any release of FBI records was
                                                                 to    process      the   responsive    records.      Dkt.   31.
unauthorized. Third Hardy Declaration       11, Dkt. 25. But
                                                                 Alternatively, Colbert requests limited discovery related
Colbert has not offered evidence of bad faith, therefore,
                                                                 to the processing rate. Dkt. 33.
discovery is not justified. !"AN6 ..9
 %E     & & & &' & ! %% Courts have broad discretion to determine a reasonable
 - */. Finally, Colbert [*6] requests processing rate for a FOIA request. Several factors
discovery to determine why the FBI disregarded                   inform the analysis, including the size and compelling
Rackstraw as a suspect. Discovery in FOIA cases is               need of the request compared to others, as well as the
"rare" and "only appropriate when an agency has not              effect of the request on the FBI's ability to review other
taken      adequate     steps   to    uncover    responsive
                                                         FOIA requests. !>, 1 # 6!,
documents." ! $ A    !" 78    !#%% & '& '* -   '/;    
!#%%,&3-  /, aff'd, &,&*3&3'   !#%% & * *, -   /. When

                                                                 determining the rate at which a federal agency must
3 For   the reasons stated, the Court also rejects Colbert's     respond to FOIA requests, courts often give deference
request for a Vaughn Index which would reveal details about      to the agency's release policies. ! )>=  78
the number and type of documents in which Rackstraw's name       ) 3+ +&3!#%%&&*'C.*,3
appears.


                                                                                                               App000620
                                                        Page 3 of 4
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21                     Page 623 of 633 PageID 1349
                                           86'LVW/(;,6 


" 4 -   % & '/, "%%" , No. 18-5133
(D.C. Cir. May 2, 2018) (applying DOJ's 500-page
interim release policy because the policy would
"promote efficient responses to a larger number of
requesters" and "the Court sees no basis to expedite
release"). At this time, the Court will not order the FBI to
adjust its standard processing rate, but it directs the FBI
to submit a status report within 90 days updating the
Court on its progress responding to Colbert's records
request. Thereafter, the Court will schedule a status
conference to consider whether the [*8]           standard
processing rate remains reasonable.

For the foregoing reasons, it is ORDERED that Colbert's
motion for summary judgment or in the alternative for
discovery is DENIED.

/s/ Dabney L. Friedrich

DABNEY L. FRIEDRICH

United States District Judge

Date: September 3, 2018



  1     # 




                                                                                             App000621
                                                       Page 4 of 4
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21                         Page 624 of 633 PageID 1350

No        Signal
As of: November 23, 2021 11:13 PM Z


                                                 !" #$ !%" &
                                 United States District Court for the District of Columbia

                                        July 8, 2021, Decided; July 8, 2021, Filed

                                          Civil Action No. 1:18-cv-01477 (CJN)

& !
2021 U.S. Dist. LEXIS 205698 *

INSTITUTE FOR JUSTICE, Plaintiff, v. INTERNAL
                                                              ;* CARL J. NICHOLS
REVENUE SERVICE, et al., Defendants.

                                                              ;
) : 

REDACTED, records, exempt, structuring, withhold,
pages, emails, disclosure, documents, currency,               4;&(';  ;

divorce, deliberative process, investigators,
                                                              This case involves a series of Freedom of Information
predecisional, cases, deliberative, interview,
                                                              Act ("FOIA") requests about a controversial form of civil
identification, guidelines, processing, petitions,
                                                              asset forfeiture carried out by the Internal Revenue
agencies, deposits, Partial, productions, withheld,
                                                              Service. The IRS has processed tens of thousands of
privacy, talking
                                                              pages, but tens of thousands remain, and the Institute
                                                              for Justice (the requester, "IJ") now challenges the
)$  [*1] For Internal Revenue Service, Defendant:
                                                              scope of the IRS's redactions under several FOIA
Catriona M. Coppler, U.S. DEPARTMENT OF
                                                              exemptions. Before the Court are the Parties' Motions
JUSTICE, Washington, DC; Kristina Marie Portner,
                                                              for Partial Summary Judgment, which the Court
LEAD ATTORNEY, TAX, Washington, DC; Ryan
                                                              determined would promote the resolution of this
O'Connor McMonagle, LEAD ATTORNEY, U.S.
                                                              litigation. ECF Nos. 49, 50. For the reasons below, the
DEPARTMENT OF JUSTICE, Washington, DC.
                                                              Court will grant in part and deny in [*2] part each Party's
For Institute for Justice, Plaintiff: Ryan S. Baasch,
                                                              respective motion.
TEXAS OFFICE OF THE ATTORNEY GENERAL,
Austin, TX; Andrew D. Prins, LATHAM & WATKINS
LLP, Washington, DC.                                           " F)CH&;'(

For Department of Justice, Defendant: John Moustakas,         In 2016, IJ lodged a FOIA request to secure information
LEAD ATTORNEY, U.S. ATTORNEY'S OFFICE FOR                     about how the IRS enforces its structuring laws.
THE DISTRICT OF COLUMBIA, Washington, DC.                     Structuring laws help the IRS detect money laundering
                                                              by   prohibiting   individuals   from   avoiding   financial
#$   CARL J. NICHOLS, United States District
                                                              reporting requirements under the F ? % %* %!
Judge.
                                                                                                          App000622
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21                           Page 625 of 633 PageID 1351
                                             86'LVW/(;,6 


1J%!J2. '"")"L61 2. Under the Act, banks must         J. 1-3, ECF No. 50 ("Pl.'s Mot."). Although the IRS's
file with regulators currency transaction reports, which        production continues, on January 15, 2020, the Court
list all transactions over        10,000.     " L 61 2.     determined      that      a   decision      regarding       the
Structuring   laws     support   the   Act   by   prohibiting   appropriateness of certain categories of withholdings
individuals from "breaking down . . . a single sum of           would promote the resolution of this litigation. 
currency exceeding 10,000 into small sums," )"-"&" Minute Order               ! Jan. 15, 2020. In particular, IJ [*4]
L "1==2, "for the purpose of evading reporting          now challenges the IRS's decision to either fully or
requirements." '"")"L6/1 2.                             significantly redact three categories of records: (1)
                                                                policy documents describing the agency's approach to
While structuring laws are designed to "detect[] and
                                                                legal-source    structuring    cases;     (2)    agency-level
deter[] [underlying] criminal behavior" (like fraud or
                                                                documents about how the IRS considers petitions for
money laundering), a 2017 investigation by the Treasury
                                                                remission or mitigation filed by individuals "seeking the
Inspector General for Tax Administration found that the
                                                                return of money seized under the structuring laws;" and
IRS "largely pursued [structuring] cases against legal
                                                                (3) the case files and decision letters the IRS complied
source funds from business accounts," not against
                                                                for a number of individuals who filed petitions to get their
suspected "criminal enterprises." Treasury Inspector
                                                                money back. Pl.'s Mot. at 10-11. Following briefing on
Gen. Tax Admin., )    ! ! 4 % 
                                                                the Parties' Motions for Partial Summary Judgment, the
! $%!$    *   3  $ % -$   
                                                                Court directed the agency to submit a representative
)    ! &!      $             
                                                                sample of those disputed records under seal. 
Businesses, Ref. No. 2017-30-025, at 2-3 (Mar. 30, [*3]
                                                                Minute Order      ! Jan. 26, 2021. After reviewing those
2017), ECF No. 50-8 ("TIGTA Report"). The practice of
                                                                records %  , the Court heard oral argument. 
seizing money from legal businesses that happen to
                                                                Minute Order      ! Feb. 18, 2021.
make large cash deposits led to widespread criticism.
""3      ":= 0")!"+/0+/+803"
4 "   /0/ 102 (Thomas, J., concurring in denial of        " :(&(;-&4< 4B

cert.)   ("[B]ecause     the     law   enforcement     entity
                                                                FOIA "generally require[es] federal agencies to make
responsible for seizing the property often keeps it, these
                                                                their records available to the public upon request."
entities have strong incentives to pursue forfeiture.").
                                                                (F %% " '""  * 086 -"  0+ + /0 '""
And in the wake of the Inspector General's investigation,
                                                                "(")"//1(")") "62. An agency may redact
the IRS pledged that it would "no longer pursue the
                                                                or withhold information covered by one of the
seizure and forfeiture of funds associated solely with
                                                                exemptions listed in 6 '"")" L 6612. If a plaintiff
'legal source' structuring cases unless there are
                                                                objects, "the agency has the burden of showing that
exceptional circumstances." TIGTA Report at 3.
                                                                [the] requested information comes within a FOIA
IJ submitted FOIA requests seeking records relating to          exemption." $")!NG !&  %H ""-(
that pledge, and over the last 26 months the IRS has            +6 -"  +8+ 8/ 0 '"" " (")" / 1(")" ) "
produced approximately 26,000 pages of records,                 8882 (citation [*5] omitted). To do so, an agency must
withholding or redacting certain records under various          "describe the justifications for nondisclosure with
FOIA Exemptions.  Pl.'s Partial Cross-Mot. Summ.             reasonably     specific   detail,   demonstrate     that    the



                                                                                                                App000623
                                                       Page 2 of 10
        Case 4:21-cv-01058-P Document 27 Filed 12/07/21                          Page 626 of 633 PageID 1352
                                             86'LVW/(;,6 


information withheld logically falls within the claimed           largely sidesteps IJ's identification principle, focusing
exemption," )!N    &  !* I 4!%   instead on its [*6] perceived obligation to redact any
B " " '"" (E!  #$ !% 0/7 -"  + ++ non-public information that is personal in nature. 
/8 '"" " (")"  1(")" ) " /2 (citation          "", Defs.' Opp'n & Reply 4, 7-8, ECF No. 53 ("Defs.'
omitted), and "reveal as much detail as possible" about           Opp'n"). IJ has the better argument.
"the nature of the document, without actually disclosing
                                                                  Identification is the touchstone of FOIA's privacy
information that deserves protection." ; * " '""
                                                                  exemptions.     The    Supreme         Court   has   held    that
(E!  !  * 08 -"  0 07 7 '"" "
                                                                  4=! 7 "cover[s] detailed Government records on
(")"01(")") "8872. The Court must then decide
                                                                  an individual which can be identified as applying to that
"whether       [the    agency's]     non-disclosure      was
                                                                  individual." (E!  ! ! " B    "  ! )" /67 '""
permissible." 4%"   %* " )! " <" '"" (E! 
                                                                  686 7  " )!" 860 0 3" 4 "   6+ 18+2
G  %"000-" 6+6//'"""(")"
                                                                  (citation omitted). 4=!01)2 sweeps more broadly,
61(")") "62.
                                                                  covering traditional examples of personally-identifiable
                                                                  information like "names, addresses, [and] dates of
  " 3D                                                       birth," as well as information whose "mosaic effect" may
                                                                  "lead to the identification" of "third parties." F$NN- 

" :  %*4=!                                          %" " '"" (E!  4 $%" 8 B3 0+8+ ! 9
                                                                  1("(")" $" 0 82 (comparing cases).2 But neither
Most of the Parties' current dispute turns on FOIA's
                                                                  exemption authorizes agencies to withhold information
privacy exemptions. Those exemptions let agencies
                                                                  that (either on its own or in combination with other
redact     "names     and   identifying   information"   from
                                                                  disclosed information) cannot reasonably be used to
"personnel and medical files" (Exemption 6) and "law
                                                                  identify a specific individual.  )!N    & " I
enforcement" records (4=! 01)2) to prevent
                                                                  4!% B !0/7-"  !8/ (agencies may
"unwarranted invasion[s] of personal privacy." 6 '"")"
                                                                  not redact "all of the material in" a responsive record
L 6612172 & 121021)2. IJ argues that the IRS has
                                                                  "solely on the grounds that the record includes some
impermissibly redacted interview notes that cannot be
                                                                  information which identifies a private citizen or provides
used to identify any individual. Pl.'s Mot. at 13-19.1            that person's name and address"). Courts thus regularly
Those notes memorialized interviews between IRS Task              require agencies to disclose information that some may
Force Officers and bank employees and became part of              deem personal, so long as strategic [*7] redactions are
the case files the IRS compiled on individuals who                used to stop readers from linking those records to any
attempted to recover their assets.         " at 14. The IRS       particular person.  (E!  !   - % " & 



1 IJ   concedes, as it must, that the government may redact
information that can plausibly lead to the identification of      2 When   an agency justifies its redactions under both
individuals discussed in those interviews, like "names,           4=! 7 and 4=! 01)2, "the Court need only
addresses, social security numbers, birth dates, or bank          address whether the agency has properly withheld . . .
account numbers."  Pl.'s Mot. at 14 (citing )!N        documents under" the lower bar, "4=! 01)2." F   "
& "I4!% B "0/7-"  !8/).                        -F 8-"$" 6+701("(")"2.


                                                                                                                   App000624
                                                         Page 3 of 10
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                Page 627 of 633 PageID 1353
                                                86'LVW/(;,6 


/6 '"" 6 + 87 " )!" 68 /+ 3" 4 "    from identifying third parties. For example, the IRS
18072 (summaries of Air Force Academy disciplinary                 justifies its decision to fully redact 389 pages and
proceedings released "with personal references . . .                partially redact another 785 documents with this: "[the
deleted"); '""(E!! !"& *6'""7/78 following] information can be identified as applying to
0+ 1882  " )!" 6/ 7 3" 4 "   67             the petitioner(s) whose property was subject to seizure."
(interviews between immigration officers and deported                Decl. of William M. Rowe          42-47, ECF No. 49-1
non-citizens released after redacting all names);  " ("Rowe Decl."). But the IRS does not limit its focus to
(E! *0-" /7/708'"""(")" personally identifiable information.   " Instead, it
/ 1(")" ) " 8+2          (released      records   listing   withholds all information that it considers personal, like
prescription medications taken by unnamed members of                "financial records, criminal investigation history, driving
Congress); > ;    B ? E )! " -  & %  #$ ! history, child support obligations, and other personal
"'""  "I)$ ! 4E!0-"$" 77 factual                information   about   petitioners'     cases     and
1("(")" 82 (immigration "case history" descriptions             backgrounds." Defs.' Opp'n at 7. The IRS has made
released without "personally identifying information");             essentially no effort to show that, once all personal
F$NN-  %" 8 B3 0+8+ ! 9 (Title IX                 identifiers are removed, the remaining information would
investigation letters released, which had language "too             lead readers to identify a particular person.
general     to   allow   for   identification   of   individuals
                                                                    Of course, if the generic description of a crime is paired
involved").
                                                                    with a person's name or the date and location of an
In each case, the key question is not whether the                   arrest, then the information (in combination) likely [*9]
"investigative details" described in an agency's records            would identify a particular person. But the Court
touch on personal matters in the abstract, but whether              struggles to see how after names, dates, and locations
those details "would reveal the identity or otherwise               are removed, readers could tie any one of the three-
implicate the privacy interests of any third party."  *  hundred-and-thirty million people in this Country to a
" (4 / -"  / 0.+ // '"" " (")" general description of criminal history. The same is true
8/ 1(")" ) " 2. When an agency finds material              of driving history, business history, or an anonymous
likely to reveal the identity of a third party, it must redact      history of divorce and child support obligations. Once all
that "specific information" and release the rest.           " ! names, dates, times, locations, and traceable numbers
0;    > " '"" F$  $      80 are redacted, it is difficult to see how readers could link
-" 8/./++'"""(")"+/1(")") " most of the information the IRS chose to redact to any
882. And to ensure that it does so, the agency must               specific person.
"provide[ ] a detailed justification and not just conclusory
                                                                    Consider the following hypothetical. Say the agency is
statements to demonstrate that all reasonably [*8]
                                                                    about to redact the summary of an interview between
segregable information has been released." % %%  "
                                                                    IRS investigators and a person suspected of unlawfully
-F   -" $"   0 7 1("(")" /2 (citation
                                                                    structuring bank deposits. The summary might look like
omitted).
                                                                    this:
Here, the IRS has failed to show that it redacted no
                                                                            Cathy Ames said she served in the Air Force for ten
more than the information necessary to prevent readers
                                                                            years, and she had been retired since 2004. Since


                                                                                                                     App000625
                                                          Page 4 of 10
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21                     Page 628 of 633 PageID 1354
                                         86'LVW/(;,6 


    her retirement, she has been working as a certified         served in the [TEXT REDACTED BY THE COURT]
    schoolteacher and teaches ballet lessons on the             for ten years, and she had been retired since [TEXT
    side. Ames said her divorce started in 2010 and             REDACTED        BY    THE    COURT].      Since    her
    was finalized in 2011. Before her divorce, she was          retirement, she has been working as a certified
    married to Adam Trask for three years and has two           schoolteacher      [TEXT    REDACTED       BY      THE
    sons    from    that   marriage.   Ames   stated   to       COURT] lessons on the side. [TEXT REDACTED
    investigators Sherlock [*10] and Holmes that she            BY THE COURT] said her divorce started in [TEXT
    took    150,000 out of her bank account in 2009             REDACTED BY THE COURT] and was finalized in
    because her marriage had started to sour, and she           [TEXT REDACTED BY THE COURT]. Before her
    knew it would end in divorce. Ames stated that after        divorce, she was married to [TEXT REDACTED BY
    the divorce, she began depositing the money into a          THE COURT] for three years and has [TEXT
    new account with the Security Service Federal               REDACTED BY THE COURT] from that marriage.
    Credit Union in 9,999.00 increments to avoid filling        [TEXT REDACTED BY THE COURT] stated to
    out paperwork with the Credit Union. Investigators          investigators [TEXT REDACTED BY THE COURT]
    Sherlock and Holmes asked if Ames knew that she             that she took [TEXT REDACTED BY THE COURT]
    wasn't supposed to make small deposits to avoid             out of her bank account in [TEXT REDACTED BY
    reporting large transactions. Ames said she knew it         THE COURT] because her marriage had started to
    wasn't right. But as she had served her country and         sour, and she knew it would end in divorce. [TEXT
    earned the money, she thought she could do                  REDACTED BY THE COURT] stated that after the
    whatever she wanted with it. The investigators              divorce, she began depositing the money into a
    thanked Ames for coming to talk this matter                 new account with the [TEXT REDACTED BY THE
    through. And then ended the conversation with               COURT] Credit Union in       9,999.00 increments to
    Ames and walked her to the door.                            avoid filling out paperwork with the Credit Union.
                                                                Investigators [*12]   [TEXT REDACTED BY THE
In this hypothetical interview, it is easy to see how the
                                                                COURT] asked if [TEXT REDACTED BY THE
various names, dates, and account information might
                                                                COURT] knew that she wasn't supposed to make
lead readers to identify the people involved. But the
                                                                small deposits to avoid reporting large transactions.
appropriate remedy is to redact those exempt pieces of
                                                                [TEXT REDACTED BY THE COURT] said she
information and release everything else.  * /-" 
                                                                knew it wasn't right. But as she had [TEXT
 ! 0;     !   N " '"" )$ ! 
                                                                REDACTED BY THE COURT] earned the money,
 "0-" ++6+876'"""(")"001(")"
                                                                she thought she could do whatever she wanted with
) "8862. Indeed, FOIA does not "permit[] an agency to
                                                                it. The investigators thanked [TEXT REDACTED
exempt from disclosure all of the material in an
                                                                BY THE COURT] for coming to talk this matter
investigatory record solely on the grounds that the [*11]
                                                                through. And then ended the conversation with
record includes some information which identifies a
                                                                [TEXT REDACTED BY THE COURT] and walked
private citizen."   " Now consider the same interview
                                                                her to the door.
with obvious identifiers removed:
                                                            Once names, dates, and obvious identifiers are
    [TEXT REDACTED BY THE COURT] said she
                                                            removed, thousands, if not millions, of people potentially


                                                                                                       App000626
                                                    Page 5 of 10
      Case 4:21-cv-01058-P Document 27 Filed 12/07/21                                          Page 629 of 633 PageID 1355
                                                       86'LVW/(;,6 


fit the profile of this interviewee. But in the Court's  segregable" portions of records that contain some
%         review of the disputed records, it was apparent                    exempt material, 6'"")"L6612.4 If the agency fails
that the IRS has redacted nearly every word of similar                         to prove that it has released all non-exempt material not
interviews,      rather        than      strategically        withholding      "inextricably intertwined with" exempt material, then IJ
identifying information and disclosing the rest. And by                        may seek further relief at a later stage in this litigation.
redacting      information        "too       general     to    allow     for   H ! "(E!G  %"0-"$" 07
identification of individuals involved," it overstepped its                    +81("(")"+2.
authority under FOIA.  F$NN-  %" 8 B3
0+8+ !9.
                                                                               F" :( ! %        
As the IRS reassesses its productions in light of this
                                                                               IJ also challenges the IRS's decision to withhold forty
decision, the Court expects it to change course and limit
                                                                               pages in full and eleven pages in part under the
its redactions to information likely to trigger [*13] the
                                                                               deliberative process privilege. Pl.'s Mot. at 21-23
identification of a particular individual.3 Should the IRS
                                                                               (discussing 6'"")"L6612162). The privilege exempts
opt    to    redact     more       than       personally       identifiable
                                                                               documents that are "predecisional" and "deliberative."
information, it bears the burden of articulating the logical
                                                                               ) !  ! !  H  ) " " (E!  4 * 70 -" 
path a reader might take to link those additional pieces
                                                                               +6/ +77 88 '"" " (")" 0 1(")" ) " 8+2. A
of information to a specific person, )!N   
                                                                               document is predecisional when it contributes to "an
&  !*I4!% B "0/7-"  !++, so it
                                                                               agency       decision    or    policy,"      !      !
can    show      that     it   has    released         all    "reasonably
                                                                               )> !  "&" " '"" (E!  #$ !% +
                                                                               -"  60/ 6+6 1(")" ) " 8+02, and it is deliberative
3 While   the agency must adjust its redaction practices, it is not
                                                                               when it "reflect[s] an agency's preliminary positions or

required to (as IJ requests) create anonymous identifiers for                  ruminations about how to exercise discretion on some
the officers or agents listed in its records. FOIA "does not                   policy matter" or "policy-implicating judgment," [*14]
obligate agencies to create or retain documents; it only                       ! " ") ""'"(E!! !  807-" 
obligates them to provide access to those which it in fact has                 /8 /6 8+ '"" " (")" 6 1(")" ) " 882.
created and retained." C        " & !  )" -  Assessing the "predecisional" and "deliberative"
-  !  //6'""76")!"877
                                                                dimensions of an agency record helps courts answer
3" 4 "   70 18+2. Here, the case files IJ seeks do not
                                                                the "key question" behind the deliberative process
contain     anonymous          identifying     numbers        for   agency
                                                                               exemption: "whether disclosure would tend to diminish
investigators. The IRS would have to create them. To support
its request, IJ cites 3   "  !  :   !  !*
F    " Pl.'s Mot. at 23 n.10 (citing /6-"$" 6
+.+/ 1)"(" ) " 72). But in 3  , the agency tried to                 4 As   the IRS has yet to show that releasing information that
withhold witness identification numbers that were already in                   cannot be linked to any particular person implicates a privacy
the disputed records. The agency was not asked to create                       interest under 6 '"")" L 6612172 or 121021)2, the Court
them from scratch.        ";    3&F "              &$%? I does not have occasion to balance the public's interest in
)"/'""786")!"6///3"4 " 818062                 learning more about how the IRS processes petitions to
("[I]nsofar as the order of the court below requires the agency                recover seized assets against any protected privacy interest.
to create explanatory material, it is baseless.").'                            B "(;#/-"$" 001("(")"/2.


                                                                                                                               App000627
                                                                       Page 6 of 10
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21                              Page 630 of 633 PageID 1356
                                            86'LVW/(;,6 


candor within an agency."         " (citing %%  & !  " $"    6 1("(")" 2 (noting that the
(E!  #$ !% 87 -"  8 86 ++ '"" " agency need only describe "what deliberative process is
(")"81(")") "882).                                      involved, and the role played by the documents at issue
                                                                 in the course of that process"). In doctrinal terms, the
The Court does not doubt that compelling the release of
                                                                 emails are predecisional because they were part of the
the documents withheld under the deliberative process
                                                                 agency's process to develop its "opinions with respect to
privilege would diminish candor within the IRS. Consider
                                                                 legislative proposals" and deliberative because the
each of the three types of records disputed here: First,
                                                                 emails reflect the agency's ruminations about what
emails exchanged between an IRS special agent and
                                                                 policy stance it should adopt toward those proposals.
other IRS officials discussing talking points about
                                                                 Rowe Decl.         33(b). The IRS was thus entitled to
"legislative proposals to codify certain policy changes
                                                                 withhold those emails.
made by the Service in structuring cases."  Rowe
Decl.   33(b). Second, a draft version of the Treasury           The      draft     TIGTA       Report       was       similarly
Inspector General for Tax Administration ("TIGTA")               "predecisional," [*16]     as the draft was part of the
Report entitled "Fiscal Year 2016 Review of Compliance           deliberative process that led to the final report. Rowe
with Legal Guidelines When Conducting Seizures of                Decl.   33(a)(3);   !>"(G++-" +86
Taxpayers' Property."     " And, third, a draft letter to a      +8+1(")") "62 ("A document is 'predecisional' if it
congressman about how the IRS reviews petitions for              precedes, in temporal sequence, the 'decision' to which
remission or mitigation of seized assets and an email            it relates." (internal quotations and citations omitted)). IJ
accompanying that letter.     "                                  nevertheless contends that the IRS has failed to
                                                                 demonstrate that the draft report is deliberative because
Turning first to the emails about talking points. To
                                                                 it does not reveal any "exercise of agency policy-
demonstrate that the emails are predecisional, the IRS
                                                                 oriented judgement."  Pl.'s Reply 16, ECF No. 55
must "identify [*15] a decisionmaking process to which
                                                                 (quoting ! " ") "807-"  !/6). Not so.
the document contributed." #$ % B !%"'"" ! 
 " 80 -" $"   6 68 1("(")" /2. IJ        The     draft     report     revealed      "opinions"      and
argues that the IRS is using the deliberative process            "recommendations" about what facts the final report
privilege to shield Congress's legislative process. Pl.'s        should contain. Rowe Decl.         33(a)(3). And the act of
Reply Support Partial Cross-Mot. for Summ. J. 14 n.6,            "culling out relevant" facts involves a deliberative
ECF No. 55 ("Pl.'s Reply"). The Court is not convinced.          "judgmental process which could be compromised by
                                                                 disclosure." ! " " ) " 807 -"  ! //.6 &
Each email contains an agency employee's thoughts
                                                                 n.6 (discussing !   )" ) " " :  /8
about what should and should not appear in a final set
                                                                 -" 77+7'"""(")"01(")") "80/2);
of talking points about several legislative proposals.
                                                                      !E B  - E " '"" -  !  " +7
Rowe Decl.     33(b);    Tr. of Hr'g (forthcoming).
                                                                 -"  / 8 18! ) " 8++2 (holding documents
An employee's thoughts about what the agency's
                                                                 exempt because disclosure would reveal agency's
position should be are not themselves a final statement
                                                                 evaluation of its preferred facts). The IRS has thus
of the agency's position. H  !.: " %! )"
                                                                 appropriately justified its decision to withhold the draft
%" " F " ; H    - " &   * " 07 -"
                                                                 TIGTA Report. As for the draft letter to a congressman


                                                                                                                App000628
                                                       Page 7 of 10
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21                            Page 631 of 633 PageID 1357
                                          86'LVW/(;,6 


and an email about that letter, IJ concedes that the             the information is quoted in other agency documents.
records are predecisional, as they led to a final letter.        ; !N"(;#70-"$" 8+1("(")"/2.
Pl.s' Mot. at 23-24. But it contends that neither record is
                                                                 IJ quibbles with the IRS's decision to withhold
likely [*17] deliberative because the final letter (which IJ
                                                                 "references" to currency transaction reports in its
has already received) contains only "factual material."
                                                                 internal memoranda. Pl.'s Mot. at 24-25. To be sure,
  " at 23. The IRS responds by stressing that those
                                                                 "references"     might    include      something     other   than
records reflect the agency's internal "advisory opinions,
                                                                 information taken directly from a currency transaction
recommendations and deliberations" about how to
                                                                 report. )"(  "-F 8'""( !"345 0/
respond to a congressional inquiry. Defs.' Opp'n at 20
                                                                 8 B3 +008          ! 97 1("(")" #$*  82
(quoting ! " ") 807-"  !/).
                                                                 ("[D]ocuments that involve [currency transaction] reports
The agency's internal deliberations about whether and            or records of reports . . . are not, strictly speaking, the
how to respond to a congressman involve discretionary,           same thing as actual reports or records of reports."). But
policy-oriented judgment calls about which facts are             the IRS has represented that it used the word
responsive and most appropriate to disclose to another           "references" to refer to information taken directly from
branch of government. ! " ") "807-"  currency            transaction      reports,     see    Tr.    of   Hr'g
 ! //.6 & n.6. Moreover, the IRS has represented             (forthcoming), and the agency is entitled to the
that its employees will be less likely to respond candidly       presumption that it made that representation in good
and creatively when invited to comment on agency                 faith,    4 !- $"(E!G  %"80
responses to congressional inquiries if their internal           -" $"   + +7 1("(")" +2. The Court thus
advisory opinions and drafts are subject to disclosure.          concludes that the IRS has withheld information directly
 Tr. of Hr'g (forthcoming). Enabling and encouraging          extracted or taken from currency transaction reports,
candor among agency actors is, of course, the primary            and therefore its withholdings are permissible under
objective of the deliberative process privilege. %%           -; 4=! and the [*19] F ?% %*%!. 
& !  87 -"  ! 86. The IRS has appropriately          ; !N70-"$"  !+.
withheld    the    draft    congressional     letter    and
accompanying email.
                                                                 (" 4=!0142

                                                                 IJ argues that the IRS is redacting too much information
)" :F ?% %*%!
                                                                 under -;  4=! 0142 as well. 4=! 0142
The Parties' dispute over records withheld under the             shields records that "would disclose guidelines for law
F ?% %*%! is largely semantic. Under 6'"")"L enforcement investigations or prosecutions if such
661212, the IRS is empowered to withhold [*18]                disclosure could reasonably be expected to risk
records that are "specifically exempted from disclosure          circumvention of the law." 6'"")"L6612102142. The
by statute." And the Act specifically exempts currency           documents need not be made during an ongoing
transaction "reports and records of reports" from                criminal    investigation,     but     they     must    describe
disclosure.  '"")" L 68. That exemption shields          administrative    or     operational    guidelines     which,   if
the information in currency transaction reports, even if         disclosed, would help criminals circumvent the law. 



                                                                                                                  App000629
                                                       Page 8 of 10
     Case 4:21-cv-01058-P Document 27 Filed 12/07/21                           Page 632 of 633 PageID 1358
                                           86'LVW/(;,6 


!  " G %?E  )$ !  I !E :    > !!  " for over a year-and-a-half.  Decl. of Elizabeth Hill
'"")$ ! IF   !"7B3+7+6 !90 23, 43-47, ECF No. 36-1. During the intervening time,
1("(")"#$72.                                         the IRS's FOIA caseload has dropped from 60 to 49
                                                                cases and the agency has added six additional
Here, the IRS redacted portions of a document that
                                                                attorneys to review that smaller caseload. Supp. Decl. of
describes "guidelines and steps for processing [petitions
                                                                Jamie Song Decl.        13. The IRS has confirmed that all
for remission or mitigation] as well as guidance in
                                                                the remaining records are case files and decision letters
corroborating     the   information   submitted    by     the
                                                                related [*21] to individual petitions for remission or
petitioner." Defs.' Reply 19, ECF No. 54 (discussing IFJ
                                                                mitigation.  Tr. of Hr'g (forthcoming). And this
0018-000500). The IRS says that disclosing those
                                                                Opinion affords the agency direct guidance about how
guidelines     would    enable   "individuals   seeking    to
                                                                to process those remaining petitions.5 The Court is thus
circumvent structuring laws to operate in a manner that
                                                                not persuaded that the IRS has submitted sufficiently
would avoid detection of their criminal activity." Rowe
                                                                "clear, specific, and reasonably detailed" justifications
Decl.        48(a). The guidelines "describ[e] specific
                                                                for continuing to process no more than 1,000 pages per
investigative techniques to be employed by Special
                                                                month.  <% " -F  / -" $"   7 7/
Agents in structuring cases" and would "reveal the
                                                                1("(")"72.
scope of investigative activity" so that disclosure would,
at a minimum, help criminals [*20] avoid seizure by (as         Courts regularly direct agencies to process records at
IJ acknowledges) concealing their identities.        ";    far higher rates than what the IRS has been held to
   Pl.'s Reply 22. By identifying the specific laws           here. ""&()"(E!4 *8-"$"
(structuring laws) "that would be easier to violate if the        / / "6 1("(")" 2 (ordering the majority of
information were released," as well as the way in which         7,500 pages to be processed within thirty-two days);
those laws would be easier to exploit, the IRS has              )!"-F 0-"$" 7781("(")"/2
adequately justified its withholdings under 4=! (5,000 pages per month). And as the IRS's resources to
0142. F%"(E!( 0-"$" /6+ process FOIA requests have substantially improved
1("(")"82.                                            since the Court first granted its request to limit
                                                                productions to 1,000 pages per month, the Court

4"   $%!& !                                              believes it is appropriate to require the IRS to now
                                                                process 3,000 pages per month. After three months of
Finally, the Parties dispute the appropriate monthly
production rate. Over two years ago, Judge Kollar-
                                                                5 As   this Opinion provides specific guidance about the
Kotelly noted that it would be inappropriate for
productions to extend over multiple years.  Minute           appropriate application of -;  4=!  , 5, 6(b), 7(C),
                                                                and 7(E), the Court will not at this time order the IRS to refrain
Order    ! May 29, 2019. Nevertheless, productions
                                                                from using any particular exemption to withhold information in
drag on. At the present rate, the IRS will not finish
                                                                future productions. The Court trusts that the agency will
producing records for several years.  Joint Status
                                                                exercise good faith and comply with the Court's directives. But
Report (April 30, 2020), ECF No. 52.
                                                                IJ is welcome to press for further  %          review if the
                                                                agency deviates from the Court's guidance.  Pl.'s Reply at
The IRS has been processing 1,000 pages per month
                                                                23-24.


                                                                                                                 App000630
                                                        Page 9 of 10
      Case 4:21-cv-01058-P Document 27 Filed 12/07/21                           Page 633 of 633 PageID 1359
                                              86'LVW/(;,6 


processing records at that higher pace, the IRS may               /s/ Carl J. Nichols
submit a status report detailing the consequences of
                                                                  CARL J. NICHOLS
complying with its new production rate. At that point, the
Court will reevaluate the agency's production schedule            United States District Judge
and decide whether any adjustment is warranted.

                                                                    4 (%$!
);)3' ;

For the foregoing [*22] reasons, the Parties' Motions for
Summary Judgment, ECF Nos. 49, 50, are granted in
part and denied in part. An appropriate order will be
entered contemporaneously with this Memorandum
Opinion.

DATE: July 8, 2021

/s/ Carl J. Nichols

CARL J. NICHOLS

United States District Judge



;&(4&

For   the    reasons    stated    in    the    accompanying
Memorandum Opinion, ECF No. 58, it is hereby

;&(4&4(       that    the   Parties'   Motions    for   Partial
Summary Judgment, ECF Nos. 49, 50, are H&:4(
&: and (4 4( &:; it is further

;&(4&4( that Defendants reassess previous and
ongoing productions in light of this decision; it is further

;&(4&4( that Defendants shall process a minimum of
3,000 pages per month, and, after three months of
processing records at that pace, Defendants may
submit a status report detailing the consequences of
complying with that production rate.

DATE: July 8, 2021




                                                                                                    App000631
                                                        Page 10 of 10
